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                        Exhibit 14
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                               Mark Krekeler, Ph.D.

                                                                        Page 1
                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


              ______________________________
                                            :
              IN RE: JOHNSON & JOHNSON      :            MDL NO. 2592
              TALCUM POWDER PRODUCTS        :            16-2738 (FLW) (LGH)
              MARKETING, SALES PRACTICES    :
              AND PRODUCTS LIABILITY        :
              LITIGATION                    :
                                            :
              THIS DOCUMENT RELATES TO:     :
              ALL CASES                     :
                                            :
              ______________________________

                                       Videotaped Deposition of
                                           MARK KREKELER, Ph.D.
                       Taken:              By the Defendants
                                           Pursuant to Notice

                       Date:               January 25, 2019

                       Time:               Commencing at 9:16 a.m.

                       Place:              Hampton Inn
                                           375 South College Avenue
                                           Oxford, Ohio 45056

                       Before:             Susan M. Gee, RMR, CRR
                                           Notary Public - State of Ohio
                                                 and
                                           Melinda Sindiong, CLVS




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                                                                          2
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                   BY: JENNIFER K. EMMEL, ESQ.
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                   Montgomery, Alabama 36103                              7   CROSS-EXAMINATION
        6          (334) 269-2343                                         8       By Mr. Ferguson         283
                   leigh.odell@beasleyallen.com
        7          jennifer.emmel@beasleyallen.com
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                   Mt. Pleasant, South Carolina 29464
       10          (843) 216-9160
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                   cscott@motleyrice.com                                                   EXHIBITS
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       13          Suite 900                                                   1    11/16/18 Rule 26 Expert Report of     13
                   Woodbridge, New Jersey 07095                          16         Mark Krekeler, Ph.D.
       14          (732) 865-6066
                   dlapinski@wilentz.com
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       18         600 Campus Drive                                       19
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       21          BY: NINA R. ROSE, ESQ.                                22
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       22          Washington, D.C. 20005
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       23          nina.rose@skadden.com                                            Asbestos 9/2001
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        5          Cleveland, Ohio 44113                                  6    8    State of Montana, Bureau of Mines and 120
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       20          Washington, D.C. 20004                                21        Investigations Vermont Preliminary
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       21          jbillingskang@seyfarth.com                            22
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       25                                                                          Non-Asbestiform Talc in Vermont        182
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        1            EXHIBITS                                             1        Rees, for Imerys.
        2   NUMBER            DESCRIPTION              PAGE
        3    18  Preliminary Investigation of Cosmetic 188                2             MR. CARY: Andrew Cary, Gordon & Rees,
                Talc Potential, Lungsheng Operations,                     3        for Imerys.
        4       Kwangsi, China
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        5                                                                 5        for the Pharmatech defendants.
             19    Sampling of Run-of-mine mill feed -   209
        6         A practical approach                                    6             MR. BILLINGS-KANG: James Billings-Kang
                  by Afewu and Lewis                                      7        for Personal Care Products Council.
        7
             20    Email dated 10/31/13               218                 8             VIDEOGRAPHER: The court reporter is
        8         Bates JNJ14T5_000005157 - 48                            9        Susan Gee, RMR and CRR, and will now swear in
        9    21    Zuffar Days Symposium Held in Cagliari 236
                  October 10 - 15, 1988                                  10        the witness, and we can proceed.
       10         Geology of the Italian high quality                    11               MARK KREKELER, Ph.D.
                  cosmetic talc from the Pinerolo district
       11         (Western Alps) by Sandrone and Zucchetti               12   of lawful age, a witness herein, being first duly sworn
       12    22    Krekeler Deposition Asbestos Documents 240
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                                                                         13   as hereinafter certified, was examined and deposed as
       13                                                                14   follows:
             23    An Introduction to the Rock-Forming 285
       14         Materials by Deer, Howie & Zussman
                                                                         15                CROSS-EXAMINATION
       15    24    The Mineral Industry of Italy by   288                16   BY MR. FROST:
                  by Harold R. Newman
       16                                                                17        Q. Good morning, Dr. Krekeler. My name is
             25     Analysis of an Authentic Historical 289              18   Jack Frost. I'll be asking you probably the majority of
       17         Italian Cosmetic Talc Sample - Further
                  Evidence for he Lack of Cancer Risk                    19   the questions today.
       18                                                                20        A. Okay.
             26    Excerpt from the Deposition of Patrick 291
       19         Downey taken 11/8/17                                   21        Q. But before we get started, could you
       20    27    FDA Action Related to Talc          297               22   please state your full name for the record?
       21    28    USB Jump Drive                  331
       22    29    Color Photograph                331                   23        A. Mark Paul Spigg Krekeler.
       23    30    Color Photograph                331                   24        Q. And where do you currently work?
       24                 ---
       25                                                                25        A. I am an associate professor at Miami

                                                                Page 7                                                     Page 9
       1               VIDEOGRAPHER: We are now on the record.            1   University. I hold an appointment where my tenure is
       2          My name is Melinda Sindiong, CLVS. I'm                  2   held on the Oxford campus in the department of geology,
       3          videographer for Golkow Litigation Services.            3   and my teaching the -- I work at the Hamilton campus as
       4          Today is January 25th, 2019. The time is 9:16.          4   well.
       5          The video deposition is being held in Oxford,           5         Q. And just so the record is clear, Miami
       6          Ohio, in the matter of Johnson & Johnson Talcum         6   University, there are two. We're at the one in Ohio,
       7          Powder Products Marketing Sales Liability               7   right?
       8          Litigation. This is for the United States               8         A. To my knowledge, there's only one Miami
       9          District Court of the District of New Jersey.           9   University.
      10          The deponent is Mark Krekeler, M.D.                    10         Q. The other one's University of?
      11               Will counsel please identify yourselves           11         A. Yes.
      12          and the parties you represent?                         12         Q. Okay. All right.
      13               MS. SCOTT: My name is Carmen Scott. I'm           13         A. Miami was founded in 1809.
      14          with Motley Rice, for the plaintiffs.                  14         Q. And have you ever been deposed before?
      15               MS. O'DELL: Leigh O'Dell, Beasley Allen,          15         A. No, I have not been deposed before.
      16          for the plaintiffs.                                    16         Q. Okay. Have you ever testified before?
      17               MS. EMMEL: Jennifer Emmel, Beasley                17         A. No, I have not testified before.
      18          Allen, for the plaintiffs.                             18         Q. All right. Real quick, I'll go over some
      19               MR. LAPINSKI: Daniel Lapinski, Wilentz            19   ground rules. I'm sure your counsel has told you this,
      20          law firm, for the plaintiffs.                          20   but the number one most important thing is everything
      21               MR. FROST: Jack Frost, Drinker Biddle &           21   we're saying today is being written down by the court
      22          Reath, on behalf of Johnson & Johnson.                 22   reporter who's to my left. So because of that, we have
      23               MS. ROSE: Nina Rose, Skadden, Arps, on            23   to make sure we verbalize everything. Uh-huh, huh-uh,
      24          behalf of Johnson & Johnson.                           24   nods of the head, pointing, things like that don't show
      25               MR. FERGUSON: Ken Ferguson, Gordon &              25   up very well in written word.

                                                                                                   3 (Pages 6 to 9)
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       1         A. Very good.                                         1   just say it again and agree on it or -- I'm unclear.
       2         Q. So we just need to make sure that, you             2   I've never done this before.
       3   know, we're verbalizing everything.                         3   BY MR. FROST:
       4               Second thing is, and I guarantee we'll          4         Q. Sure. So to the extent we can, just
       5   get in trouble for this at some point. It's very hard       5   listen to my question and answer the question, yeah, as
       6   for the court reporter to write down when both of us are    6   I've asked it. What shows up on the screen is called
       7   talking at the same time. I'm not saying we're doing it     7   phonetic, so sometimes the words converted over by the
       8   in a rude way but just normal human conversation.           8   computer will be incorrect, and ultimately, when they
       9   Eventually, you'll pick up what the end of my question      9   come and transfer it for the final transcript, it will
      10   is. I'll pick up the end of your answer, and we'll just    10   change.
      11   start naturally talking over each other. We've got to      11              So these are sort of there as a guide, if
      12   be really careful about that, you know, make sure she      12   we can't remember what we're talking about a couple
      13   can write it down.                                         13   minutes ago, to look back. But this is not the official
      14               At some points during the deposition,          14   record. The official record will be what's on the
      15   your counsel may object or other people in the room may    15   video, and then, ultimately, what's in the transcript,
      16   object. Allow time to give counsel, you know, to put       16   which might end up being a little different than what's
      17   their objections on. Once they're done, unless you're      17   on the screen.
      18   instructed otherwise by your counsel, you have to answer   18         A. Okay. And because -- so a third party
      19   my question.                                               19   would go and transcribe what's on the video?
      20               The other thing is, if you answer my           20         Q. So I'm not sure at the end, yeah.
      21   question, I'm going to understand you assumed it or        21         A. So if there's something garbled on here,
      22   understood it. So if you don't understand what I'm         22   someone else does that?
      23   asking, you need clarification, let me know. If there      23         Q. Yes. That's correct.
      24   is, you know, something you need for me to work out, I'd   24         A. So they don't come back to me or --
      25   rather work it out than have you answer something that,    25         Q. No. You don't need to worry about that.

                                                       Page 11                                                         Page 13
       1   you know, you and I are talking at different places.        1   That's done somewhere else.
       2               The only other thing, too, I don't want         2        A. Okay. Yeah. I don't -- I don't know.
       3   you to guess here today, and if you're guessing or          3        Q. No. That's okay. It's a fair question.
       4   making an estimate, just let us know. And, you know,        4   But --
       5   but if it's a wild guess, I don't know, I don't             5             VIDEOGRAPHER: Sorry. If I can interject
       6   remember, those are perfectly fine answers.                 6        as well, you're talking with your hands, and it
       7               And other than that, if you need a break        7        does get in the shot.
       8   at any time, let us know. If there's a question             8             MR. FROST: Oh, mine does?
       9   pending, you've got to answer the question first, but       9             VIDEOGRAPHER: Yes.
      10   we're here on your schedule, so -- and we'll try to        10             THE WITNESS: Okay. Sorry.
      11   break every hour, hour and a half or so, but if you need   11             VIDEOGRAPHER: Thank you.
      12   to break in between, you know, just let us know, and       12             MR. FROST: All right. So if I can mark
      13   we'll stop.                                                13        a couple exhibits to begin. I'll mark this as
      14         A. Can I ask a question?                             14        Exhibit 1.
      15         Q. Sure.                                             15             (Exhibit 1 was marked for
      16         A. So I've never done this before. I've              16             identification.)
      17   never been deposed, and I noticed early on, when the       17             MR. FROST: I'll mark this as Exhibit 2.
      18   videographer was making some statements, that the          18             THE WITNESS: Does it matter which copy?
      19   statements that I heard were not recorded accurately on    19             MS. SCOTT: You can take a look at
      20   this. So the word was "demotion."                          20        whichever you're more comfortable with. They're
      21               MS. SCOTT: You don't need to worry about       21        the same.
      22         that.                                                22             MR. FROST: I imagine they're the same,
      23         A. So but my question is, is if I go -- if I         23        right?
      24   use this to read your question, how do I know a word's     24             (Exhibit 2 was marked for
      25   not -- how do we make sure that word is right? Do we       25             identification.)

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       1    BY MR. FROST:                                               1   phyllosilicates as well. And, basically, I worked with
       2          Q. All right. In front of you marked as               2   industrial mineral materials, mine materials, and then
       3    Exhibits 1 and 2 are your expert report that's dated        3   my time at Miami University, I've also worked with
       4    November 16th, 2018, and then Exhibit 2 is your             4   synthetic minerals and natural minerals.
       5    supplemental report dated January 17th, 2019; is that       5             So my training as a Ph.D. student was to
       6    correct?                                                    6   look at the phyllosilicate minerals as a whole. So
       7          A. Yes.                                               7   mineralogy has evolved significantly in that we think of
       8          Q. Are these the only two reports that                8   minerals as sort of a system, and we look at things at
       9    you've written in this case?                                9   how they're interrelated. And that's -- so, basically,
      10          A. Yes.                                              10   I've had some -- my degree is in geotechnical
      11          Q. Now, you understand you've been                   11   engineering and environmental earth science, so I have a
      12    designated by the plaintiffs in this case in the Johnson   12   few engineering classes. And then I've collaborated and
      13    & Johnson talc MDL?                                        13   worked with several mineral companies. My Ph.D. was
      14          A. Yes.                                              14   sponsored by a mineral company, in part.
      15          Q. Okay. Can you explain to me what, or              15         Q. So long story short, would you define
      16    define what your area of expertise is?                     16   your area of expertise as mineralogy?
      17          A. Yes. So my undergraduate degree was in            17         A. Yes.
      18    geology, and since my freshman year, I've been working     18         Q. Okay. And the two reports in front of
      19    with clay materials and clay intervals. My degree is       19   you, do those reflect all the opinions you plan to give
      20    in -- my undergraduate degree is a bachelor's of science   20   in this case or intend to give in this case?
      21    in geology, and so that entailed field work. And,          21         A. Well, again, I'm legally not familiar
      22    actually, I think since my freshman year, I've been        22   with the process, but I think I -- currently, this is my
      23    doing powder x-ray diffraction. My master's was on,        23   opinions. If something new comes up and I'm asked, I
      24    also, a clay rich rock, bentonite, so -- and then in --    24   would...
      25    I finished that degree in '98.                             25         Q. Okay. I guess a better way to ask that

                                                         Page 15                                                        Page 17
        1             Then my Ph.D. was in mineralogy and               1   question --
        2   specifically phyllosilicate mineralogy and looking at       2         A. Sorry. I'm unclear. I'm not familiar.
        3   the impurities and materials associated with                3         Q. Yeah. That's okay. As we sit here
        4   phyllosilicates. My dissertation was on                     4   today, do you intend to offer any opinions in this case
        5   palygorskite-sepiolite minerals and smectite minerals.      5   that aren't reflected in either of these two reports?
        6   My Ph.D. advisor was Steve Guggenheim, who essentially      6         A. No. The reports are what I am using.
        7   is the North American expert in crystallography for         7         Q. And were you asked to render any reports
        8   phyllosilicates.                                            8   by your counsel that you did not or are not included in
        9             And, then, so I finished that degree in           9   those reports?
       10   2003. Throughout my degrees, I think my first              10              MS. SCOTT: Objection. You can answer.
       11   consulting job was a project with Amoco when I was an      11   BY MR. FROST:
       12   undergrad doing x-ray diffraction, looking at clays from   12         Q. You can answer.
       13   Trinidad through my advisor, Warren Huff. But through      13         A. Oh, I can answer? So, if I remember
       14   that period of time, I did occasional consulting           14   correctly, with the deposition notice, it was requested
       15   projects, largely with powder x-ray diffraction and        15   that reports or documents I prepared relating to, I
       16   sometimes electron microscopy.                             16   think, all talc cases were requested. So there's one
       17             Then I did not do a postdoc. There were          17   report that I gave to them from another case that I'm
       18   two mineralogy positions available nationwide when I       18   involved in.
       19   graduated. My graduation year was 2003. I then got one     19         Q. Okay. So you're currently involved in
       20   of those positions at George Mason University, and I was   20   another talc case or is this an older case?
       21   hired in a department of environmental science and         21         A. This is a current case.
       22   policy. And my research there, I was specifically          22         Q. And it's a talc case?
       23   teaching mineralogy. Then my research was centered         23         A. It is a talc-related case, yes.
       24   around mineralogy.                                         24         Q. Is it a case against Johnson & Johnson?
       25             I produced a few patents relating to             25         A. I believe it's a case against Imerys.

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       1          Q. Against Imerys? Do you know what the               1   cite throughout the report?
       2    case is called or where it's venued?                        2         A. Yes.
       3          A. I don't remember offhand. The law firm             3         Q. The piece of literature, things like
       4    is Waters & Kraus.                                          4   that?
       5          Q. That's who retained you?                           5         A. Yes.
       6          A. Yes.                                               6         Q. Okay. Other than documents, books,
       7          Q. Do you know what state it's in?                    7   literature, et cetera, that are already included in your
       8          A. The law firm is in Texas. I think the              8   report, have you brought anything else with you today?
       9    case is in Texas.                                           9         A. No. I believe just what is in the
      10          Q. And what have you been asked to do in             10   report.
      11    that case?                                                 11         Q. Okay. We're also going to probably send
      12               MS. SCOTT: I'm going to object to the           12   a request for, you know, a copy of the report written on
      13          extent that I'm not aware of what his role is in     13   the other case as well. It seems like it was turned
      14          that case.                                           14   over to counsel.
      15               MR. FROST: Sure.                                15               MS. O'DELL: No. You misunderstood.
      16               MS. SCOTT: And I'm not sure he knows            16         It's not been turned over to counsel.
      17          what's going on and, you know, the extent of         17               MR. FROST: It hasn't been turned over to
      18          the -- whether he's been disclosed in that case      18         you guys.
      19          or not.                                              19               MS. O'DELL: We don't have any
      20               MR. FROST: Okay.                                20         information about that case.
      21               MS. SCOTT: So I'm going to object to any        21               MR. FROST: Oh, okay.
      22          questions on that.                                   22               MS. O'DELL: Yeah. So if you have any
      23               MR. FROST: All right. We'll reserve our         23         questions about that, you need to talk to Waters
      24          right to come back.                                  24         & Kraus or whoever else is involved.
      25               MS. SCOTT: Sure.                                25

                                                        Page 19                                                         Page 21
        1   BY MR. FROST:                                               1   BY MR. FROST:
        2          Q. Have you brought that report that you             2         Q. So before, when you said you'd given the
        3   drafted in that case with you today?                        3   report to counsel, you're talking about Waters & Kraus,
        4          A. I don't know.                                     4   not --
        5          Q. Okay. Did you bring anything with you --          5         A. I don't recall specifics.
        6   I'll start. So there seems to be a table of stuff next      6         Q. All right. Have you turned that report
        7   to you. Is that a fair way to describe that?                7   at all over to any of your attorneys who are here today
        8          A. Yes.                                              8   or anybody who works for them, their law firms, if you
        9          Q. And what, generally, is that stuff? Like          9   can recall?
       10   what's in the binders and things like that?                10         A. I don't remember specifics.
       11          A. So, generally, those are documents that          11         Q. Okay. Do you recall when you were
       12   were provided when I requested them, and those documents   12   retained in that case?
       13   are from the companies.                                    13         A. In the other case?
       14          Q. Are those all the documents that are             14         Q. Yes.
       15   listed in your materials-relied-upon list at the end of    15         A. It was about the same time as this case.
       16   your report?                                               16         Q. Do you recall when that was?
       17          A. Yes.                                             17         A. Basically, I want to say it was towards
       18          Q. Is there anything in those binders that          18   the end of December of 2017, but -- so that's when we
       19   isn't otherwise reflected on the list in your reports?     19   talked, and then I think it was like late January, maybe
       20          A. I'm sorry?                                       20   February, when I actually started reviewing documents
       21          Q. I can reask it if it's easier.                   21   for that case.
       22          A. Is there anything in those binders that          22         Q. Have you generated any invoices for your
       23   isn't otherwise reflected on the list? I have books        23   work in this case yet?
       24   that are also included in the report.                      24         A. I'm sorry. Are you referring to --
       25          Q. Okay. Those are the various books you            25         Q. For this, what we're here for today, the

                                                                                             6 (Pages 18 to 21)
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       1   Johnson & Johnson MDL case.                                 1         A. Is it fair to say that, effectively, the
       2         A. Yes. I'm up to date with invoices.                 2   opinions you're rendering here are limited to review of
       3         Q. And did you bring any of those invoices            3   the geologic deposits utilized by Johnson & Johnson
       4   with you?                                                   4   and -- it's kind of garbled.
       5             MS. SCOTT: Counsel, those were provided           5         Q. Yeah. And Imerys.
       6         previously about a week ago by email.                 6         A. And to create talcum powder. So, yes, I
       7             MR. FROST: All right.                             7   reviewed those materials.
       8   BY MR. FROST:                                               8         Q. Okay. And you're not here to opine about
       9         Q. But other than that, there's nothing, no           9   anything outside of those geological deposits and the
      10   additional documents or invoices?                          10   mining practices, et cetera, that were going on at those
      11         A. Right. There's no outstanding billing or          11   areas?
      12   anything --                                                12               MS. SCOTT: Objection.
      13         Q. Yeah.                                             13         A. So the nature of mineralogy, as I alluded
      14         A. -- like that.                                     14   to earlier, is very systematic, right? So it's not the
      15         Q. Okay.                                             15   same deposit. It's not the same deposit, but there's
      16         A. Yeah. We're all caught up.                        16   Caledonia. New Caledonia is a terrain that has a lot of
      17         Q. All right. Turning back to the reports            17   talc in it, that has a lot of nickel in it, and so,
      18   that are in front of you as Exhibits 1 or 2, are these     18   essentially, the geologic knowledge as a whole,
      19   reports complete, as far as you're concerned?              19   essentially, I'm relying on my educational base, my
      20         A. To the best of my knowledge, they're              20   research base, things like that. So being aware of the
      21   complete, based on what I was provided to review.          21   geology of talc and the mineralogy of talc, geochemistry
      22         Q. And do you believe what's reflected in            22   of talc through global settings is critical to evaluate
      23   those reports is accurate?                                 23   any subset of data relating to talc and associated
      24         A. I believe that my opinions are accurate.          24   rocks.
      25   The data as presented as findings are as they are          25

                                                       Page 23                                                         Page 25
       1   interpreted by the company. So when you say -- again,       1   BY MR. FROST:
       2   I'm unexperienced.                                          2          Q. I'll ask it a sort of different way.
       3        Q. Sure.                                               3   I'll break it down. You didn't do any testing here of
       4        A. So when you say "accurate," I don't think           4   any product, right?
       5   some of the report, some of the findings are                5          A. I was not asked to do any testing.
       6   scientifically accurate, based on the analytical            6          Q. Okay. And you're not going to render any
       7   methods. So...                                              7   opinions about what causes disease, anything of that
       8        Q. Are you talking about some of your                  8   nature?
       9   findings? I'm asking sort of what your ultimate             9          A. Correct. I am not a medical expert. I
      10   opinions and your findings in this case. Do you believe    10   am not an environmental health expert.
      11   that what you've opined to in this case is accurate in     11          Q. And you're not going to render any
      12   these reports?                                             12   opinions about what level of exposure to any particular
      13        A. So is my opinion --                                13   metal or contaminate can cause disease?
      14        Q. Yes.                                               14          A. Again, I would defer for details to
      15        A. -- accurate?                                       15   environmental health experts and medical experts.
      16        Q. Yes.                                               16          Q. You're not going to render any opinion
      17        A. Yes, I believe my opinion is accurate.             17   that use of Johnson & Johnson talcum powder causes
      18        Q. Is there anything, before we get started           18   ovarian cancer, right?
      19   going through those opinions, that you want to change or   19          A. So I'm sorry. I am not an expert in the
      20   amend?                                                     20   molecular mechanisms of carcinogenicity, if I said that
      21        A. No.                                                21   correct. I don't know. I'm not a medical person. So,
      22        Q. And is it fair to say that, effectively,           22   no.
      23   the opinions you're rendering here are limited to review   23          Q. All right. Looking at Exhibit 2, which
      24   of the geologic deposits utilized by Johnson & Johnson     24   is the addendum report, why did you draft this addendum?
      25   and Imerys to create talcum powder?                        25          A. New materials became available.

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        1         Q. When were you asked to draft the                   1          A. I might have been confused with the Longo
        2   addendum?                                                   2   title. It says, "Analysis of Johnson & Johnson's
        3         A. I think when Longo had his supplemental,           3   historical product," so that might be the source of
        4   and then I can't remember exactly when, but what really     4   the...
        5   caught my eye was this testing where they used              5          Q. Do you know if there are anything else or
        6   .1 milligrams of a sample, and that's not representative    6   any other changes that you'd like to make to either the
        7   in any way, and then they use a silver membrane.            7   supplemental or the original report?
        8         Q. I'll stop you here, because we'll be here          8               MS. SCOTT: Objection. Asked and
        9   for a very long time.                                       9          answered.
       10         A. Okay.                                             10   BY MR. FROST:
       11         Q. So the question was: When were you asked          11          Q. You can answer.
       12   to draft the report?                                       12          A. Do I --
       13         A. I'm sorry. I'm sorry. You're right. I             13          Q. Yeah. Do you know if there are any other
       14   got distracted. It was in January sometime.                14   typos or anything else you'd want to correct in either
       15         Q. And if you look at the second paragraph           15   of the two reports?
       16   of the report, it states, "After I submitted my            16          A. I think there are a few typos in the
       17   preliminary report on November 16, 2018, I reviewed        17   report, or I'm, you know, I'm not perfect so...
       18   additional documents provided by Johnson & Johnson and     18          Q. We talked about, sort of, what's in the
       19   Imerys through the course of this litigation as well as    19   binders over there and in the tubs. We'll start with
       20   documents produced after submitting my report." Is that    20   the binders, which are the documents. Did plaintiffs'
       21   correct?                                                   21   counsel provide all of the documents you relied on from
       22         A. Yes.                                              22   both Imerys and Johnson & Johnson in this case?
       23         Q. If you turn to pages 4 -- I'm sorry, page         23               MS. SCOTT: Objection.
       24   5 of the report. You list the supplemental materials       24          A. I requested documents from the lawyers to
       25   and data considered?                                       25   review.

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       1          A. Yes.                                               1   BY MR. FROST:
       2          Q. Am I also correct, you only list Imerys            2         Q. What did you request from the lawyers?
       3    documents as the additional materials reviewed?             3         A. I requested any documents relating to the
       4          A. Yes.                                               4   mineralogy, the geology, things such as coring, x-ray
       5          Q. Okay. So you, in fact, did not actually            5   diffraction, bulk chemical tests, electron microscopy,
       6    review any additional Johnson & Johnson documents to        6   anything relating to, essentially, problems in
       7    create this addendum; is that correct?                      7   manufacturing or things that are related to how well
       8              MS. SCOTT: Objection.                             8   audits, for example -- audits would be a good example of
       9          A. I don't remember specifically. That may            9   something that would be a third-party objective thing,
      10    be a typo. I think I -- I think it's likely that I         10   and I think there's, you know, there's an audit in here,
      11    looked at some Johnson & Johnson documents but only        11   and any, any materials that would give sort of a big,
      12    ended up focusing on these others.                         12   big picture of the situation at hand.
      13    BY MR. FROST:                                              13         Q. Did you ever ask to have access to all
      14          Q. Do you know what additional Johnson &             14   the documents so you could perform searches yourself?
      15    Johnson documents --                                       15         A. I don't remember. I remember I reviewed
      16          A. I don't. I don't remember.                        16   a lot of, a lot of documents, but I don't remember if I
      17          Q. Okay. And I take it because they didn't           17   specifically asked that. I asked for things relating to
      18    make it into the report, it's not something you're         18   what I just said.
      19    relying on?                                                19         Q. Did you ever run any searches against any
      20              MS. SCOTT: Objection.                            20   documents to see if there's anything additional to what
      21          A. I don't know.                                     21   was provided to you?
      22    BY MR. FROST:                                              22              MS. SCOTT: Object to form. You can
      23          Q. Are there any other typos --                      23         answer.
      24          A. So I think --                                     24         A. What do you mean by "search"? So I
      25          Q. Go ahead.                                         25   don't -- it was my understanding that -- so this is sort

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        1   of a closed system that, essentially, there's the           1   There's a lot of data, as I understand it. I don't
        2   documents that the company produces. If I were to           2   think it's reasonable to review every document.
        3   search for something else, I don't necessarily know if      3   Unfortunately, I'm one person, and if there's hundreds
        4   that's from the company, right, or that's my thought.       4   of thousands of pages of documents, yeah, I don't think
        5   So I did not -- I didn't do any additional searches.        5   any single person can review those in a reasonable
        6   BY MR. FROST:                                               6   manner.
        7          Q. So you just relied on the documents as            7   BY MR. FROST:
        8   provided to you by plaintiffs' counsel?                     8         Q. So you don't think it's important, as an
        9          A. Yes.                                              9   expert giving opinions about the overall mining and
       10              MS. SCOTT: Objection.                           10   sampling and testing practices of Johnson & Johnson, to
       11          A. For these, for the documents that were           11   have looked at or at least had access to the complete
       12   used.                                                      12   set of documents?
       13   BY MR. FROST:                                              13              MS. SCOTT: Objection.
       14          Q. And you have no way of knowing whether or        14         A. I think it's important to have a
       15   not they've given you a complete set of every document,    15   representative set, and that representative -- you know,
       16   correct, that hits the categories you asked for?           16   so -- you know, I didn't look at one document. I didn't
       17              MS. SCOTT: Objection.                           17   look at a few documents. You know, here's Hopkins'
       18          A. I think it's very representative of a            18   deposition, for example. There's all kinds of documents
       19   set. But, I mean, as I understand, there's, you know,      19   in that. There's a lot. There is a lot, but it's my
       20   an enormous amount of data, as there should be, and that   20   expert opinion that the amount of documents that I
       21   is -- that would be expected, but, you know, I've          21   reviewed were adequate to arrive at my conclusions.
       22   reviewed what was requested.                               22   BY MR. FROST:
       23   BY MR. FROST:                                              23         Q. And, again, that's solely based on the
       24          Q. You reviewed what was provided, not what         24   set of documents that was compiled for you by
       25   was requested, correct?                                    25   plaintiffs' counsel in this case given to you, which you

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        1        A. What was provided that I requested from             1   don't know is complete or not, correct?
        2   them.                                                       2              MS. SCOTT: Objection.
        3        Q. And you don't know whether or not -- you            3         A. I believe it is a representative set of
        4   have no way of telling, sitting here, whether or not        4   documents, but I did rely on what they provided as
        5   you've been given the complete record, correct?             5   that's what I requested. I requested the documents, as
        6             MS. SCOTT: Objection. Asked and                   6   I previously indicated in the answer.
        7        answered. You can answer if you can.                   7   BY MR. FROST:
        8        A. I think it's, I think it's very                     8         Q. So you keep calling this a representative
        9   representative. So I found examples where asbestos and      9   set, but how can you make a determination if a set is
       10   contaminate -- essentially where asbestos was              10   representative if you hadn't actually looked at or had
       11   undetected. You know, I looked at a wide variety of        11   access to the full set of documents?
       12   things.                                                    12              MS. SCOTT: Objection.
       13   BY MR. FROST:                                              13         A. It's my expert opinion that's a -- it's a
       14        Q. But you would agree with me it's a                 14   reasonable amount of documents. There's, you know --
       15   representative set as chosen to be given to you by your    15   BY MR. FROST:
       16   counsel?                                                   16         Q. So you're basing the representativeness
       17             MS. SCOTT: Objection.                            17   off of the sheer size of the pile of documents on the
       18        A. I think it's representative.                       18   table?
       19   BY MR. FROST:                                              19              MS. SCOTT: Objection.
       20        Q. You have no way of knowing what else               20         A. It's what I think is a representative
       21   might exist, correct?                                      21   population of documents. I mean, there's -- there are a
       22             MS. SCOTT: Objection. Asked and                  22   lot of documents, but I've -- and I've looked at a lot
       23        answered. You can answer.                             23   of documents, and I've arrived at my professional
       24        A. So, yeah, there could be more bad reports          24   opinion based on the review of those documents.
       25   out there. There could be more good reports out there.     25

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        1   BY MR. FROST:                                               1   on page 5 of the shorter document.
        2         Q. Would it change your opinion --                    2         Q. Okay. And these are all Longo expert
        3         A. I can't ask a question, right?                     3   reports, correct, Longo testing reports?
        4         Q. No.                                                4         A. Yes.
        5         A. Okay. All right. Yeah.                             5         Q. Did you ever see any draft reports from
        6         Q. Would it change your opinion if you knew           6   any other experts in these cases before you finished
        7   that the set of documents provided to you by plaintiffs'    7   yours?
        8   counsel only represents a portion of the story and there    8         A. No, I did not.
        9   are hundreds and possibly thousands of additional           9         Q. Have you reviewed any other expert
       10   documents that weren't provided to you by counsel?         10   reports given in any talcum powder cases other than this
       11              MS. SCOTT: Objection.                           11   one? You know, for example, were you provided any
       12         A. So those documents would not negate the           12   expert reports from other cases against Johnson &
       13   findings of the report. So, for example, if there was      13   Johnson?
       14   an additional document that said talc was undetected, it   14         A. I'm trying to think about the other case
       15   wouldn't negate the findings of the materials starting     15   for a moment. I don't remember.
       16   on page 14.                                                16         Q. And have you reviewed any deposition or
       17   BY MR. FROST:                                              17   trial transcripts in either preparation of your report
       18         Q. Well, that's -- I'm glad you brought that         18   or to prepare for today's deposition?
       19   up, because we'll get to those at the end of the           19         A. Yes.
       20   deposition, because I think you were actually not          20         Q. What depositions have you reviewed?
       21   provided some very important documents regarding that      21         A. Hopkins.
       22   chart, but we'll turn back to that later when we start     22         Q. I guess I'll ask it a different way.
       23   going through the report.                                  23   Other than the ones that are already reflected in your
       24         A. Okay.                                             24   report, have you reviewed any depositions of any other
       25         Q. But it wouldn't change your opinion at            25   experts in talcum powder cases, any other, you know,

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        1   all to know that you were only given a selection of         1   other than --
        2   documents that supported plaintiffs' theories in this       2        A. Not that I remember.
        3   case?                                                       3        Q. -- Dr. Downey, Dr. Hopkins?
        4             MS. SCOTT: Objection. Asked and                   4        A. I don't remember.
        5         answered.                                             5             THE WITNESS: Can we take a little break?
        6         A. No. My opinion remains unchanged.                  6             MR. FROST: Sure.
        7   BY MR. FROST:                                               7             VIDEOGRAPHER: We're now going off
        8         Q. And, again, it wouldn't change your                8        record. The time is 9:53.
        9   opinion if you knew that there are documents that           9             (A recess was taken from 9:53 to 10:04.)
       10   specifically refute some of the findings that you've       10             VIDEOGRAPHER: We are now back on record
       11   relied on in these reports?                                11        and the time is 10:04.
       12             MS. SCOTT: Objection.                            12   BY MR. FROST:
       13         A. Again, my opinion remains unchanged. The          13        Q. All right. Before going on the break, we
       14   data present demonstrates that there was asbestos          14   talked about whether or not you'd read any depositions
       15   materials and metals materials.                            15   of any other experts in these cases. Has plaintiffs'
       16   BY MR. FROST:                                              16   counsel ever discussed with you the testimony of any
       17         Q. Have you reviewed any reports from other          17   other experts in these cases?
       18   experts in this case?                                      18             MS. SCOTT: Objection.
       19         A. Yes.                                              19             MS. O'DELL: I would instruct the
       20         Q. We know you reviewed Longo. You                   20        witness -- I'm sorry. Instruct the witness not
       21   mentioned that in the report. Anybody else other than      21        to discuss anything that's been discussed or
       22   Dr. Longo?                                                 22        communicated with plaintiffs' counsel.
       23         A. Not -- let me look here. So the expert            23             MR. FROST: Let's mark the record. I
       24   reports are listed on page 97, and there are four of       24        disagree with that assumption because, you know,
       25   those. And then the expert report, there's one listed      25        I believe any discussion of depositions in these

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        1          cases is discoverable under the federal rules,       1   reports or were they just provided to you and then you
        2          but I'll move on. All right.                         2   included them in your final opinion paper?
        3   BY MR. FROST:                                               3         A. The chart?
        4          Q. Was there anything you asked plaintiffs'          4              MS. SCOTT: Objection.
        5   counsel to provide for you in this case to help prepare     5   BY MR. FROST:
        6   your reports that you were not given?                       6         Q. That was a bad question. Did you do any
        7          A. I'm sorry. Can you just say that again?           7   editing of the charts that were included in the final
        8          Q. Sure. Was there anything you asked                8   report or did you just put them in as provided by
        9   plaintiffs' counsel to provide you in preparation of        9   counsel?
       10   your report that you were not given or you didn't          10         A. I directed them to put them in.
       11   receive?                                                   11         Q. So plaintiffs' counsel ultimately put it
       12          A. No. I believe they gave me                       12   into the report the way it's structured?
       13   representative materials of what I requested. I'm not      13              MS. SCOTT: Objection.
       14   sure, but I also have the materials that I rely on. So     14         A. I indicated the documents to be included
       15   like the, you know, reviews in mineralogy books and        15   in the table, and they put it in the table.
       16   things like that are in the reliance list, but I           16   BY MR. FROST:
       17   acquired those. They did not produce those.                17         Q. Is that true for all of the tables or did
       18          Q. Okay. That was actually my next question         18   they produce -- did they provide some of the content of
       19   is that the stuff that's under your reliance material      19   the tables as well?
       20   list, is that things that you independently found          20              MS. SCOTT: Objection.
       21   yourself or that were provided to you by counsel?          21         A. I'd have to look to refresh.
       22          A. Yeah, yeah. Those are things I found.            22   BY MR. FROST:
       23          Q. Were any of the articles --                      23         Q. That's okay. Take your time.
       24          A. Those --                                         24         A. I'm already a little tired. That table,
       25          Q. I'm sorry?                                       25   I requested them to do. And that table. Sorry. I'm
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        1        A. Those are things I found on my own. You             1   new at this, a little bit nervous. So I directed them
        2   know, many of the books I -- some I just had on my          2   to put those tables in.
        3   shelf, you know. I've actually gone through three           3         Q. Okay. Did you direct them to -- I'll
        4   versions of some of them.                                   4   strike that.
        5        Q. So were any of the reports, treatises,              5              So the actual documents that are
        6   books, et cetera, you relied on provided to you by          6   reflected in the tables, was that your work that you --
        7   plaintiffs' counsel?                                        7         A. Those are documents I reviewed, yes.
        8        A. No, I don't think so.                               8         Q. Okay. And you're the one who put
        9        Q. Did anybody help you prepare the report?            9   together the list of documents for them ultimately to
       10        A. I asked counsel to create the charts that          10   put in table form to include in the report?
       11   are in the report, and this was my first time doing such   11              MS. SCOTT: Objection. Asked and
       12   an extensive report. So I asked about organizational       12         answered.
       13   issues, things like that.                                  13         A. Ultimately, I selected the documents,
       14        Q. What about other than the charts that              14   told them to put them in.
       15   appear in the report? Did counsel assist you with any      15   BY MR. FROST:
       16   of the other -- the word just escaped my mind. I           16         Q. In forming your opinions to this report,
       17   apologize.                                                 17   did you have to come to any -- did you have to make any
       18        A. Text?                                              18   assumptions that you relied on, then, for your ultimate
       19        Q. Any of the other, sort of principle of             19   opinions?
       20   research or any of the other opinions that are in the      20              MS. SCOTT: Objection.
       21   paper?                                                     21         A. That's kind of a tricky question. I
       22              MS. SCOTT: Objection.                           22   assumed that the documents provided by the company were
       23        A. No.                                                23   genuine.
       24   BY MR. FROST:                                              24   BY MR. FROST:
       25        Q. And did you have any hand at editing the           25         Q. Okay. Any other assumptions you had to

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        1   make to reach your opinions?                                1   role was to be objective. And I reviewed several
        2         A. I'm just thinking. I -- I don't think              2   documents, you know, numerous, numerous, numerous
        3   so. I -- I assume that documents that I reviewed were       3   documents objectively.
        4   genuine, I guess, is maybe the best way to express that.    4   BY MR. FROST:
        5         Q. And by "genuine," do you mean, you know,           5        Q. And did you know what role the counsel
        6   part of the actual documents accompanied?                   6   who engaged you had? Did you know that you were
        7         A. They weren't altered in some way or --             7   representing the plaintiffs versus the company?
        8         Q. Okay. Yep.                                         8        A. I'm sorry. I missed a word.
        9         A. Sometimes it was, you know, there were --          9        Q. Did you know what role you were hired to
       10   so, for example, the SEM document in this report and,      10   do?
       11   actually, other things, the images were extremely          11        A. I knew they were on the side of the
       12   degraded. It appeared that several documents had been      12   plaintiffs, yes.
       13   photocopied, so one could supplant things. You know,       13        Q. And you knew that, ultimately, they were
       14   again, I don't know, so that's why I say that I assume     14   looking for evidence of bad mining practices and
       15   things are genuine.                                        15   opinions regarding inadequate sampling, things of that
       16         Q. Okay. I think we're on the same page              16   nature?
       17   about what "genuine" means. I just wanted to make sure.    17              MS. SCOTT: Objection.
       18         A. Yeah.                                             18        A. I think they -- it's my opinion that they
       19         Q. All right. And do you agree with me that          19   were looking for data to support their case in some way
       20   in forming your opinions, it's important for you to keep   20   and also evaluate, potentially, if there was not a case.
       21   a fair and open mind and look at the data in an            21   BY MR. FROST:
       22   impartial way?                                             22        Q. Do you believe there's any additional
       23              MS. SCOTT: Objection.                           23   data you need to see in order to fully evaluate the
       24         A. I believe it's important to look at data,         24   mining practices and the sampling practices by the two
       25   yes.                                                       25   companies in this case?
                                                        Page 43                                                         Page 45
        1   BY MR. FROST:                                               1             MS. SCOTT: Objection. Asked and
        2         Q. Do you believe it's important to look at           2        answered multiple times.
        3   it in an impartial way?                                     3        A. I would consider looking at other data,
        4              MS. SCOTT: Objection.                            4   of course, but looking at that other data would not
        5         A. I did look at things impartially, yes.             5   change the opinions expressed in this report. Other
        6   BY MR. FROST:                                               6   data doesn't negate the fact that we have all these
        7         Q. Coming in to your review of the                    7   occurrences of materials. I mean, so there's over 90
        8   documents, were you told what plaintiffs' liability         8   occurrences documented or there's about 90 or so in the
        9   theories were in this case?                                 9   one table of asbestos. You know, it doesn't negate --
       10              MS. SCOTT: Objection.                           10   for me, fundamentally, it's using the powder x-ray
       11         A. I don't know what that word means.                11   diffraction as the screening method that's fundamentally
       12   BY MR. FROST:                                              12   flawed. The reasons, you know, I don't want to -- do
       13         Q. Sure.                                             13   you want me to --
       14         A. What's plaintiff liability theory?                14   BY MR. FROST:
       15         Q. Yeah. I'll ask it a different way.                15        Q. We'll get to that.
       16         A. Okay.                                             16        A. I can stop.
       17         Q. Before you were coming in to review the           17        Q. We'll turn to that later.
       18   documents, were you told by plaintiffs, ultimately, what   18        A. Okay. All right. Good.
       19   an opinion or what type of opinion they were looking       19        Q. You said before you're not a medical
       20   for?                                                       20   doctor, right?
       21              MS. SCOTT: Objection.                           21        A. I'm sorry? Medical doctor, no.
       22         A. No, not really. I mean, in our early              22        Q. And you're not a toxicologist, right?
       23   discussions, my job was to evaluate the data, so -- and    23        A. Correct.
       24   I feel I've done that objectively. I knew it was           24        Q. And do you consider yourself a regulatory
       25   connected to a case involving ovarian cancer, but my       25   expert?

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        1         A. No.                                                1   for the record, you don't know one way or the other
        2         Q. And you're not an expert in regulatory             2   whether this mine --
        3   processes or mine regulations?                              3         A. I don't know the exact source.
        4         A. No, I'm not an expert.                             4              MS. SCOTT: Be careful you don't talk
        5         Q. Before working on this report, have you            5         over one another.
        6   ever worked with talc before?                               6              THE WITNESS: I'm sorry.
        7         A. In my class work, my advisor was Steve             7              MS. SCOTT: That's okay.
        8   Guggenheim, and, of course, Warren Huff was my master's     8              THE WITNESS: I apologize.
        9   advisor. So I had several clay mineralogy classes, and      9   BY MR. FROST:
       10   we analyzed talc. And my Ph.D. advisor specifically,       10         Q. And when you were at this mine in Darwin,
       11   you know, he would tell me, go look at this mineral with   11   I take it there were no mine operations continuing at
       12   the TEM and x-ray, so I would know and be familiar with    12   the time you were visiting?
       13   things, so but I don't have a specific thing on talc.      13         A. I believe it would just be alum land.
       14         Q. So other than, you know, your use of it           14   But dealings and things were -- you know, I mean, things
       15   in undergraduate and graduate and Ph.D. work, you know,    15   were there.
       16   you've never studied talc, you've never published on       16         Q. And you can't tell me what type of talc
       17   talc, anything like that?                                  17   that was produced, whether it was industrial talc,
       18         A. No.                                               18   cosmetic talc or something else, right?
       19         Q. Other than, you know, looking at it so            19         A. Correct. I don't know. There's no
       20   you'd be able to identify minerals, have you ever done     20   record. We found it in a guidebook, thought it'd be a
       21   any examination or testing of talc?                        21   good experience for the students.
       22         A. Other than just looking at it for -- as           22         Q. And other than that visit, you've
       23   far as learning the details of the mineral, no.            23   certainly never been to a talc mine that is currently
       24         Q. Have you ever been to a talc mine?                24   undergoing operation, correct?
       25         A. Yes, in California. There's this mine in          25         A. Correct.

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        1   Darwin. So Darwin was this area in California on the        1        Q. Have you ever published anything
        2   south side of Joshua Tree, and there's asbestos all over    2   regarding amphiboles?
        3   the place, and the mine closed -- if I remember             3        A. I'm trying to think. My master's thesis
        4   correctly, the mine closed, like, in the '50s. So it        4   had -- there were amphiboles in those bentonites. Aside
        5   might have been, you know, the mine that was -- where       5   from that, I don't think so, or if I did, it was not a
        6   things were sourced from when the Italian mines were not    6   major component. Not memorable.
        7   around or, you know, the World War II era.                  7        Q. And other than what you recall in your
        8              But, yeah, I went there with Brian               8   thesis, you've never done any testing of amphiboles or
        9   Currie, and we do a field trip to Death Valley and the      9   anything of that nature?
       10   surrounding areas all the time. So, yes, I've been to      10        A. I'm trying to -- well, I have nothing
       11   at least that talc mine, and I've been on several --       11   published, but I have ran across -- so I've done -- you
       12   I've been on field trips to, like, metamorphic terrains    12   know, I have several. I have many projects with
       13   in New England states, but I can't remember if I saw       13   students, and some of those projects, for example, I
       14   talc there or not. I have not physically been to the       14   think I -- there were minerals that I would identify in
       15   Vermont mines, but, yes, I've been to a talc mine.         15   the TEM as amphibole for the coke formation, which was
       16         Q. So you just made the statement that this          16   kind of unusual. So the coke formation is a local
       17   mine in Darwin, you know, may have been during World War   17   bedrock.
       18   II, where they -- I'm looking at the thing -- where they   18        Q. Okay.
       19   source talc from. That's just a guess by you, correct?     19        A. So but nothing -- nothing in the
       20         A. Correct. As I said, it may have been.             20   peer-review literature, and I don't even know if it was
       21   But the region, as I understand thinking about that        21   mentioned in the abstract. I do remember occasionally
       22   field trip, you know, I may be foggy, but there's other    22   running across amphiboles. It's amazing what you'll
       23   talc mines in the area. But, yeah, there was asbestos      23   find in the TEM. There's all kind of crazy stuff if you
       24   in that.                                                   24   look for it. Yeah.
       25         Q. Okay. But, again, I just want to clarify          25        Q. And I think we covered this before, but

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        1   you've never done any testing of talcum powder or           1         Q. And you certainly have never written any
        2   over-the-counter cosmetic products, right?                  2   opinions regarding talc, talc mining practices, you
        3         A. No.                                                3   know, et cetera, before getting engaged in this case and
        4         Q. Before you were contacted by plaintiffs'           4   the other case from Waters & Kraus, right?
        5   attorneys in -- it sounds like about December, give or      5         A. Correct.
        6   take, of 2017, had you ever done any research regarding     6              MS. SCOTT: Objection.
        7   talc, talcum powder, anything of that nature?               7   BY MR. FROST:
        8         A. No.                                                8         Q. On your CV, I know you notice you have a
        9         Q. And had you ever done any research prior           9   patent for something called asbestos containment
       10   to being contacted about the mining practices at talc      10   composition.
       11   mines or looking at the geological mine deposits?          11         A. Yes.
       12         A. I'm sorry. A research on, on talc                 12         Q. What is that?
       13   mining?                                                    13         A. It's a mixture of clay minerals.
       14         Q. Exactly. Talc-mining practices.                   14         Q. And what's the patent?
       15         A. Specifically? No.                                 15         A. Basically, it's a mixture of kaolinite
       16         Q. Okay. Well, what about the geology of             16   and montmorillonite, if I recall. Essentially, it's one
       17   the specific -- you know, did you ever look at the         17   we produced but didn't really pursue. It was actually
       18   specific geology of any talc mines prior to being          18   my brother-in-law thought it would be a good idea. So
       19   engaged in this case?                                      19   but, yeah.
       20         A. I took a metamorphic course, and during           20         Q. So it's patented but not in production or
       21   my master's, under Craig Dietsch, I remember we talked     21   use?
       22   about talc in that class. So Craig is a metamorphic        22         A. Right. And I don't regard patents as
       23   petrologist. So -- and then, you know, my -- I've read     23   peer-review literature. Those are -- that's a
       24   papers. I mean, all through my Ph.D., my advisor           24   different.
       25   hammered that I should read everything around the topic.   25         Q. Yeah. I actually agree with you on that
                                                        Page 51                                                         Page 53
        1   So -- but I've not -- I haven't mapped a talc deposit,      1   one.
        2   for example.                                                2        A. Yeah.
        3         Q. So I guess the best way to put it, and             3        Q. I was just -- I couldn't find the
        4   you can correct me if I'm wrong, but it sounds like         4   patents, so I was wondering what it was.
        5   you've read papers about talc deposits and all other        5        A. Oh, surprise.
        6   types of deposits.                                          6        Q. All right. If you want to open your
        7         A. That's in my training.                             7   report to page -- it's Exhibit 1 in front of you.
        8         Q. But you never did any specific research            8        A. Okay.
        9   narrowing down on talc deposits, specifically?              9        Q. To page 45. Do you have a summary of the
       10         A. Correct. I have no peer-review                    10   opinions you're rendering in this case?
       11   literature on talc.                                        11        A. Okay.
       12         Q. Have you ever attended any conferences            12        Q. And in looking at one through five there,
       13   that talk about talc mining or specific, you know, talc    13   are those the five opinions that you believe are
       14   mine geology?                                              14   supported by the report?
       15         A. I've attended several clay minerals               15             MS. SCOTT: Objection.
       16   society meetings periodically throughout my career. I      16        A. Yeah, I believe these are, these are my
       17   haven't attended any in a few years. I don't remember      17   opinions. That's the -- essentially, these are the
       18   their names, but, you know, I remember seeing some stuff   18   summary of those opinions.
       19   on talc, nothing specific. I was always focused on         19   BY MR. FROST:
       20   either the bentonites or palygorskite/sepiolite.           20        Q. Okay. And these fairly reflect the
       21         Q. Okay. So there might -- you know, these           21   opinions you intend to offer in this case? There's
       22   various conferences, talc might have been a topic, but     22   nothing else that you can think of that you're going to
       23   it wasn't something you were there to concentrate on or    23   opine about?
       24   to talk about?                                             24        A. With respect to this report, correct.
       25         A. Correct.                                          25        Q. And then I note in the addendum report,

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        1   there's not an additional opinion given. I think the        1   but I had read those during my dissertation time as
        2   report states that it supports the opinions given in the    2   well.
        3   preliminary report; is that correct?                        3          Q. Did you go --
        4          A. Let me look.                                      4          A. So I was -- I'm sorry.
        5          Q. That's Exhibit 2. I believe the quote is          5          Q. I'm sorry. I didn't mean to cut you off.
        6   that "it supports and further enhances my opinions          6   I thought you were done.
        7   outlined in the original report"?                           7          A. So I'm familiar with a broad range of
        8          A. Correct, yeah.                                    8   literature.
        9          Q. So you agree with me there are no new             9          Q. Did you have to go out and do any
       10   opinions in the addendum report. It's just additional      10   searches for new literature that you didn't already have
       11   support for the five opinions you plan to render in this   11   in your possession?
       12   case?                                                      12          A. We got some materials from -- or I got
       13          A. There's no new opinions. The silver --           13   some materials from the library, and there were some
       14   there's new data, but, yeah, there's no new opinions.      14   things like Gy were things I knew of and Finkelstein
       15   It's the addendum supports the first.                      15   were things I knew of that had been discussed either in
       16          Q. And I take it you haven't published this         16   my classes or I ran across it previously that I had to
       17   report or published these opinions anywhere, have you?     17   go re-get.
       18          A. Absolutely not.                                  18          Q. Did you spend any time doing any, what
       19          Q. Do you intend to publish them?                   19   I'll call sort of new or independent research in
       20          A. No.                                              20   addition to things you've already done in the past to
       21          Q. Do you intend to publish any of the              21   prepare your report?
       22   research you've done with relation to this report?         22          A. I don't understand the question. In the
       23          A. No.                                              23   sense that?
       24          Q. Did anybody help you do any of the, the          24          Q. For example, did you spend any time in a
       25   research underlying the report?                            25   research library trying to find all the articles about
                                                        Page 55                                                          Page 57
        1         A. No.                                                1   the different geological deposits at issue in this case?
        2         Q. So all the opinions and all the analysis           2         A. No. My opinion, the knowledge set I had
        3   in the original report and the addendum report, you         3   generated over decades was appropriate reference point.
        4   know, are all things that you've researched yourself and    4   So I didn't, I didn't look at, you know, French
        5   are solely your opinion and your --                         5   literature, Chinese or Russian literature, for example.
        6         A. Yep.                                               6         Q. Do you agree with me that the standard
        7         Q. -- based on your work. Okay.                       7   for rendering your opinions in peer-reviewed literature
        8              So you have, I believe it's a couple             8   is different than the standard for rendering opinions in
        9   boxes, right, of stuff on the ground that are articles      9   litigation cases?
       10   and textbooks? How did you actually go about selecting     10              MS. SCOTT: Objection.
       11   the literature you were going to review in this case?      11         A. That's a -- sort of a complex question.
       12         A. The stuff outside?                                12   Can I talk about?
       13         Q. Yes, the stuff outside the documents.             13   BY MS. SCOTT:
       14         A. So I was informed by, you know, really,           14         Q. Sure.
       15   the core of my Ph.D. So I had a class on crystal           15         A. So industrial mineral companies, margins
       16   chemistry and phyllosilicates, and basically, I was        16   are not great. So, basically, the profits are not
       17   expected to read and learn things. And so my collection    17   great. So, you know, there's not -- well, I should back
       18   of books is, in part, from that effort. And then, also,    18   up. Industrial mineral companies, other mineral
       19   I teach classes regularly, so I'm familiar with the        19   companies, they rely on peer-review literature for their
       20   books that I use in those classes and then, also, citing   20   analytical standards and practices. So, essentially,
       21   things for research.                                       21   peer-review literature is kind of part of that. They
       22              So I had a master's student who did a           22   don't -- mineral companies don't necessarily talk to
       23   thesis on New Caledonia, which has talc and asbestos and   23   each other. There are, like, societies, so there's a
       24   other things. So, essentially, you know, the Brinley       24   clay mineral society. I think there's a zeolite
       25   papers were an example of, you know, those came back up,   25   society. But the sort of industrial secrets or the

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                                                        Page 58                                                         Page 60
        1   details and methods, you know, everyone's afraid that       1   regarded that metamorphic rock, metamorphic terrains
        2   they're going to get ripped off from someone else. So       2   take a long time to form. So pressure temperature
        3   peer-review literature is a sort of common ground that      3   loops, and this is well documented in the geologic
        4   everyone uses.                                              4   literature. You know, it's in the classwork that I've
        5         Q. I guess I'll ask the question a different          5   had.
        6   way.                                                        6         Q. Would you agree with me that some talc
        7         A. Okay.                                              7   deposits form -- you know, the formation of talc
        8         Q. Because it was about, sort of, the                 8   deposits, some take a lot longer, some take a lot
        9   standard for opinions. Do you believe that the standard     9   shorter, depending upon the characteristics of the
       10   of review for an opinion, you know, such as in the         10   formation?
       11   expert report you've given in this case, is the same or    11              MS. SCOTT: Objection.
       12   different than the standard review if you were trying to   12         A. I'm not gonna speculate without data.
       13   publish a peer-reviewed article on the same subject?       13   But, you know, generally it's accepted that talc
       14              MS. SCOTT: I'm going to object and ask          14   deposits take several millions of years to form.
       15         him not to speculate on your initial question in     15   BY MR. FROST:
       16         any legal standards.                                 16         Q. What's your basis of that opinion?
       17         A. Yeah. I am -- as I -- I'm not familiar            17         A. My classwork.
       18   with legal review.                                         18         Q. Can you tell me what factors affect the
       19   BY MS. SCOTT:                                              19   formation of talc, what the controlling factors of
       20         Q. Do you believe the -- when you were               20   metamorphism would be?
       21   writing the report, do you believe that the opinions in    21         A. Heat and pressure and fluids.
       22   this report, you know, would meet or be sufficient for     22         Q. Would you agree with me that not all talc
       23   peer-review publication?                                   23   is formed with the exact same amount of heat, pressure
       24              MS. SCOTT: Objection.                           24   and fluids in the mix?
       25         A. I don't want -- I'm not an editor. I              25         A. There is variability.
                                                        Page 59                                                         Page 61
        1   don't want to speculate.                                    1         Q. Would you agree with me that not all talc
        2   BY MS. SCOTT:                                               2   deposits are geologically the same?
        3         Q. That's fine. Turning in to your report.            3             MS. SCOTT: Objection.
        4   Start at page 2. So you state that "Talc is a mineral       4         A. I don't think any -- every rock and every
        5   derived almost exclusively from metamorphic deposits,"      5   geologic deposit has its own history, so one of the big
        6   right?                                                      6   things that's come out in mineralogy is mineralogical
        7         A. Correct.                                           7   evolution. And Bob Hazen's paper talks about this, and
        8         Q. You also agree with me that not all talc           8   there's been several successive papers. So based on
        9   forms through a metamorphic process, right?                 9   that, you know, every deposit has individual
       10         A. You can have soils developed on talc              10   characteristics, but there's general sort of groups or
       11   deposits, so, yes.                                         11   classes.
       12         Q. Yes, you can have talc form --                    12   BY MR. FROST:
       13         A. Developed on. And then you can also have          13         Q. And you'd agree with me that not every
       14   potential hydrothermal alteration at mid-ocean ridges,     14   mined deposit of talc is the same either, correct?
       15   which is also a metamorphic. It's hydrothermal             15         A. It all depends on what you mean by "the
       16   alteration.                                                16   same." You know, you can have things that are not the
       17         Q. You also state further down that the              17   same but very similar.
       18   process of metamorphism occurs over several tens of        18         Q. Sure. But not every mined deposit is
       19   millions of years. Is that always the case?                19   going to be exactly the same chemically, geologically.
       20         A. Generally, that's the case, you know, in          20   They're all going to form in different ways at different
       21   rocks where you have talc occurring, yes.                  21   times. Would you agree with that?
       22         Q. Do you think that's true for all talc             22         A. Unless they are geologically related. So
       23   deposits that have formed?                                 23   you can have two parts. You can have multiple deposits
       24         A. For, you know, the instances of mid-ocean         24   in the same geologic terrain that form at approximately
       25   ridge, perhaps not, but, essentially, it's generally       25   the same time. Other issues, I mean there's issues with

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        1   geochronology, right? So, you know, age range errors        1         A. Yes, it does.
        2   can be plus or minus 10 million years. So if you have a     2         Q. And that's effectively what we're talking
        3   age of a metamorphic deposit that is talc and the age is    3   about here, is that it's the other minerals that were
        4   plus or minus 20 million years, you know, based on the      4   around during the formation of the talc. They may be in
        5   available data, that's a reasonable, you know,              5   the deposit, they may not, and they may be different
        6   chronometric value.                                         6   depending on deposits, right?
        7         Q. Sure. And based upon when it formed, how           7             MS. SCOTT: Objection.
        8   it formed, the pressures, the temperatures, whether or      8         A. I'm sorry. Can you --
        9   not there's variability of that would effect what other     9   BY MS. SCOTT:
       10   minerals might be with the talc, right?                    10         Q. Sure. So you agree with me that not
       11         A. Correct.                                          11   every talc deposit is going to have the same exact
       12         Q. And also depending what surrounding rock          12   associated other minerals with talc, right?
       13   there is to the rock that changed to talc would also,      13             MS. SCOTT: Objection.
       14   you know, affect what might be on the margins of a talc    14         A. It depends, because, I mean, you have --
       15   deposit, for example?                                      15   so, in mineralogy, we have a term called "perigenesis."
       16         A. I'm sorry. The last part of your                  16   So essentially, there are -- these common minerals are
       17   question?                                                  17   associated with each other. So out of context, for
       18         Q. Sure. So depending what the surrounding           18   example, galena and sphalerite are very commonly
       19   rock was to the rock that metamorphosed to talc would      19   associated with each other.
       20   also affect what you would see in the black wall, for      20             So, essentially, I think a more correct
       21   example, what you see at the boundaries for the talc,      21   way of saying things is that chrysotile asbestos and
       22   right?                                                     22   talc are commonly associated with each other. So
       23         A. It can, if there's a reaction or not, so          23   perhaps not all talc deposits have the same mineral
       24   it's dependent upon the situation.                         24   assemblage, but many of them do have very similar
       25         Q. That's what I was going to stay. It's             25   mineral assemblages, and that's even when the chemistry

                                                        Page 63                                                        Page 65
        1   variable, and it changes from deposit to deposit? You       1   varies.
        2   have to look specifically?                                  2   BY MS. SCOTT:
        3         A. That's why every deposit should be                 3         Q. And that's what I'm getting to, is just
        4   evaluated with an appropriate core density and high         4   because some minerals are associated with talc doesn't
        5   sampling density.                                           5   mean that other mineral is going to be in every single
        6         Q. So in order to fully understand what's in          6   talc deposit in the world, right?
        7   a particular talc deposit, you really do need to know       7             MS. SCOTT: Objection.
        8   how it formed, what was with it when it formed, what's      8         A. Correct, but that doesn't mean that's not
        9   around it, things like that, right?                         9   very common, either.
       10         A. I'm sorry. To understand a talc deposit?          10   BY MR. FROST:
       11         Q. Yes.                                              11         Q. Sure. But we're talking about -- you
       12         A. At what level or what understanding, what         12   agree with my statement that not every single talc
       13   context?                                                   13   deposit in the world will have all of the same exact
       14         Q. To understand what specifically, you              14   accessory minerals associated with it, right?
       15   know, is associated with that talc, what other minerals    15             MS. SCOTT: Objection. Calls for
       16   might be associated with the talc, you really have to      16         speculation.
       17   look at the specific deposit, how it was formed, what      17         A. Yeah. I don't want to speculate on that.
       18   other constituent minerals were around it, things of       18   BY MR. FROST:
       19   that nature, correct?                                      19         Q. It's not speculation.
       20         A. Yes. One should evaluate what is in the           20         A. Because, you know, there's --
       21   deposit and what is adjacent to the deposit.               21         Q. Isn't it science?
       22         Q. You also state on page 2, on the next             22         A. You know, I go back to the New Caledonia
       23   paragraph down, that "Talc can have, and commonly does     23   example. It has talc, but not every talc deposit has
       24   have, natural impurities." And that's effectively what     24   New Caledonia assemblages.
       25   we're talking about?                                       25         Q. Okay. So the answer to my question would

                                                                                           17 (Pages 62 to 65)
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                                               Mark Krekeler, Ph.D.
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        1   be yes, right, that not every single talc deposit has       1   chrysotile.
        2   the exact same accessory minerals associated with it?       2   BY MR. FROST:
        3              MS. SCOTT: Objection.                            3         Q. So as an expert in geology, you can't
        4         A. Correct.                                           4   tell me as a fact, sitting here today, that there are
        5   BY MR. FROST:                                               5   some talc deposits that are exist in the world that are
        6         Q. And you also agree with me that -- I'm             6   comprised of more talc than others?
        7   going to use the word, you know, "pure," to mean more       7             MS. SCOTT: Objection. Asked and
        8   talc, but there are some talc deposits that are more        8         answered.
        9   pure than other talc deposits. There's some talc            9         A. I think I answered that, yeah. There's
       10   deposits that are comprised of more talc than others,      10   some that have a higher percentage of talc, but there's
       11   correct?                                                   11   impurities that also occur. So, you know, if you have
       12              MS. SCOTT: Objection.                           12   10 percent asbestos in one mine and 2 percent asbestos
       13         A. It's -- so it's speculative. I don't              13   in one and 30 percent in another, so, yes, that's,
       14   know exactly what you mean by "pure." So it's been         14   that's possible.
       15   known, for example, that at the atomic level, you can      15   BY MR. FROST:
       16   have intergrowths with chrysotile with talc. So, yeah.     16         Q. I don't think you're understanding my
       17   I'm really not quite sure how to answer that question.     17   question. More fundamentally, don't you agree with me
       18   BY MR. FROST:                                              18   some talc deposits are only made up of 20 percent talc
       19         Q. So you have no opinion that if I were to          19   and are predominantly other minerals, as were other talc
       20   go find a talc deposit over here and find one over here,   20   deposits are made up of, for example, 50 or 60 percent
       21   that one might have -- be comprised of more talc or have   21   talc?
       22   a more pure metamorphism of the talc than another?         22         A. So I'm unclear. Are you talking about
       23              MS. SCOTT: Objection.                           23   talc deposits or talc ores?
       24         A. Without any priority knowledge -- yeah.           24         Q. I'm talking about talc deposits,
       25   I would want to -- to answer that question correctly,      25   generally, geological formations of talc.

                                                        Page 67                                                         Page 69
        1   you need to analyze each individual deposit.                1         A. So, yeah. Talc can occur at a variable
        2   BY MR. FROST:                                               2   concentration in metamorphic rocks.
        3          Q. As an expert in geology, you can't tell           3         Q. You will also agree with me that some
        4   me that there are some deposits of talc in the world        4   talc deposits can be larger than others, right,
        5   that are more pure than others, that are more comprised     5   geologically?
        6   of talc than others?                                        6         A. Yes.
        7              MS. SCOTT: Objection.                            7         Q. You'll agree with me that talc is sort of
        8          A. One would expect -- you know, so                  8   all over the place and what are the mine deposits are
        9   materials are variable in percentages, but I don't think    9   sort of unique?
       10   it's reasonable just to declare -- I mean, it seems like   10         A. No. Talc is not all over the place.
       11   a -- perhaps I'm misinterpreting it, but it seems like a   11   Metamorphic rocks comprise approximately 10 percent or
       12   arbitrary setup or question. So the -- one cannot --       12   so of rocks exposed at the surface of the earth, and so
       13   what I'm trying to say is one cannot predict the exact     13   talc, by that definition alone, talc is not all over the
       14   impurities in any given deposit.                           14   place.
       15              There are general -- using the                  15         Q. You'd agree with me talc can be found
       16   peer-reviewed literature and well documented, you know,    16   from Quebec to Georgia, for example?
       17   work of archives going back, for example, Hess, 1933,      17         A. I think that's a very general in, perhaps
       18   you know, it is common and reasonable to know that         18   in consumers' homes, in baby powder bottles. The --
       19   there's some, or very, very likely, asbestos materials     19         Q. You don't think there are talc formations
       20   are associated with talc.                                  20   found in the Appalachian Mountains from Quebec through
       21              And so it is reasonable that -- it's a          21   Georgia?
       22   reasonable, scientifically reasonable interpretation       22         A. There --
       23   that one would expect impurities of many types, but they   23              MS. SCOTT: Objection.
       24   may not be the same. So we have examples where there's     24         A. There are other talc deposits in North
       25   tremolite, and there's examples where there's              25   America, yes. They're not restricted to Vermont, but

                                                                                           18 (Pages 66 to 69)
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        1   talc deposits do occur.                                     1   but you can have minerals that have fibrous habits that
        2   BY MR. FROST:                                               2   are not microscopic.
        3         Q. And talc deposits occur in places like             3             So an example would be millerite, which
        4   Alabama, Texas, Minnesota, California? You'll agree         4   is a nickel sulfide that, essentially, you have these
        5   with me on that as well, right?                             5   very long black fibers, and it's very commonly -- that's
        6         A. I remember some of the specifics in the            6   what it occurs as. And the fiber -- fibrous textures,
        7   Southern states. I know they occur in California.           7   you know, essentially, all morphologies are driven by
        8         Q. Will you agree with me that some talc              8   the unit cell and, essentially, bonding strengths and
        9   deposits are larger than others?                            9   defect densities and things like that. So fibers are
       10              MS. SCOTT: Objection.                           10   common in asbestiform materials.
       11         A. Yes. You can have small talc deposits.            11         Q. Is a fibrous habit different than the
       12   You can have big talc deposits. You can have -- they're    12   asbestiform habit?
       13   just like granites. You can have small granites and        13         A. So a fiber would be more of a subset of
       14   large granites. You can have -- you know, a variation      14   asbestiform. So if I had a chunk of chrysotile, that
       15   in size and scale and complexity is a very common trait    15   would be asbestiform, and it would be composed of
       16   in geologic terrains.                                      16   fibers.
       17   BY MR. FROST:                                              17         Q. So fibers are a smaller subset of
       18         Q. You'd agree with me because of variations         18   asbestiform?
       19   in size, scale, complexity, accessory minerals, et         19         A. Generally.
       20   cetera, you can't make general statements about talc       20         Q. Can you define for me what "asbestiform
       21   deposits. Not every talc deposit's the same, right?        21   habit" means? Are you able to define what "asbestiform
       22              MS. SCOTT: Objection.                           22   habit" means without referencing your report?
       23         A. To some level, I think one can. You can           23         A. Asbestiform basically is --
       24   make general statements about rock types, what is common   24         Q. Here, could we do it this way? Without
       25   or likely to occur. If we were able to precisely           25   looking at your report, can you define for me what

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        1   predict just by thought the distribution of ore, we         1   "asbestiform" means?
        2   would have no problem finding platinum and gold and         2              MS. SCOTT: Objection. If he needs to
        3   those kinds of things, right? So does that answer the       3          look at his report, he can look at his report.
        4   question?                                                   4              MR. FROST: Well, I just want to see if
        5         Q. Sure.                                              5          he can do it without looking at the report.
        6             THE WITNESS: Can we take a break?                 6   BY MR. FROST:
        7             MR. FROST: Sure.                                  7          Q. But if you need to look at your report,
        8             VIDEOGRAPHER: We are now going off                8   just let me know that you have to look at your report to
        9         record, and the time is 10:48.                        9   define it.
       10             (A recess was taken from 10:48 to 11:03.)        10              MS. SCOTT: Objection.
       11             VIDEOGRAPHER: We are now back on record,         11          A. Asbestiform essentially is a texture that
       12         and the time is 11:03.                               12   is -- the particles are elongated. They have a high
       13   BY MR. FROST:                                              13   general aspect ratio.
       14         Q. Would you describe for me what a "fibrous         14   BY MR. FROST:
       15   habit" means?                                              15          Q. So asbestiform is purely a texture?
       16         A. In general, it is an elongated particle           16              MS. O'DELL: Object to the form.
       17   that -- and the -- so on page 4, I indicate there's        17          A. A texture with respect to what?
       18   length or width ratios for fibers which have fibrous       18   BY MR. FROST:
       19   habit of three to one, and then NIOSH is five to one.      19          Q. Well, that's what you just said. That's
       20   BY MR. FROST:                                              20   what I'm trying to figure out. You used the word
       21         Q. Okay. Can you define for me what a                21   "texture." You defined asbestiform as a texture?
       22   "fibrous habit" means? Does it purely mean dimensions      22          A. So texture is a general term that means
       23   of three to one to five to one?                            23   the size, shape and distribution of mineral particles.
       24         A. So in the general context of mineralogy,          24          Q. Is that different than the morphology?
       25   fiber can -- it's actually a little bit of a loose term,   25          A. Morphology generally refers to a crystal

                                                                                           19 (Pages 70 to 73)
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        1   or single phase.                                            1   BY MR. FROST:
        2         Q. What do you mean by that, the "single              2         Q. If you look at page 4 of your report,
        3   phase"?                                                     3   second paragraph, under "Asbestos," you write that
        4         A. Single phase, phase is like a -- phase is          4   "Asbestiform refers to a mineral that has grown into a
        5   a thermodynamic term. So, in theory, it is something        5   fibrous aggregate of long, thin flexible crystals that
        6   that is separable from a system. So you can have            6   readily separate into smaller crystals of a" smaller
        7   something like chrysocolla that is grown around and fill    7   "length-to-width aspect ratio." You agree with me
        8   some other mineral, where you can have glass. Glass is      8   that's very different than what you just told me, right?
        9   a separate phase. Or it can also be a mineral, so it's      9              MS. SCOTT: Objection. You just misread
       10   more of just a thermodynamic term.                         10         something. It says, "smaller crystals of a
       11         Q. Do you agree with me that in order for a          11         similar length."
       12   mineral to be asbestiform, it has to grow in an            12              MR. FROST: Oh, I apologize.
       13   asbestiform habit?                                         13              MS. SCOTT: No problem.
       14             MS. SCOTT: Objection.                            14         A. So I think that's a correct statement.
       15         A. No. So talc is mechanically soft, and I           15   BY MR. FROST:
       16   can certainly imagine scenarios where you have             16         Q. Which one, the one in your report or the
       17   tremolite, large tremolite crystals that exist in a talc   17   one you just gave me?
       18   schist, and that talc schist then experiences continued    18              MS. SCOTT: Objection.
       19   dynamic metamorphism, so things move, and that talc        19         A. Both.
       20   crystal can be -- other talc -- or, I'm sorry, the         20   BY MR. FROST:
       21   tremolite crystal in the talc can then hit other talc or   21         Q. You think you can, a mineral can both
       22   other tremolite crystals and essentially abrade and        22   grow as you have here in a fibrous aggregate of long or
       23   grind and be broken down into smaller elongate, elongate   23   you can create it?
       24   mineral particles which would be fibrous, and that would   24         A. It can -- it can result from the process.
       25   be one way of producing that texture.                      25   So in the broad context, if you are crushing or milling
                                                        Page 75                                                         Page 77
        1   BY MR. FROST:                                               1   a talc ore and there's tremolite in it, basically, you
        2        Q. Is that different than growing in an                2   can process that, it's my expert opinion, that you can
        3   asbestiform habit? In order to be asbestiform, do you       3   process that and result in producing asbestiform
        4   have to grow in the asbestiform habit?                      4   materials or fibers, elongated mineral particles.
        5             MS. SCOTT: Objection.                             5         Q. So are all elongated mineral particles
        6        A. There's not necessarily -- mineral growth           6   asbestiform?
        7   would not necessarily be a part of that.                    7         A. I'm sorry. I misspoke. Not necessarily,
        8   BY MR. FROST:                                               8   no.
        9        Q. So mineral growth has nothing to do with            9         Q. Okay. Why don't we look at -- well,
       10   whether or not a mineral is asbestiform?                   10   first off, do you have any studies or research that you
       11             MS. SCOTT: Objection.                            11   rely on to support your opinion that you can change
       12        A. I think there's a false dilemma. You               12   something that grew prismatic into something that's now
       13   know, as I described, so you can have that, you know, a    13   asbestiform?
       14   nice, happy actinolite or tremolite crystal. Stress is     14         A. So I think it's reasonable, based on my
       15   applied during metamorphism and that then breaks apart     15   knowledge of crystal chemistry.
       16   and you can end up with material that is -- that meets     16         Q. You can't point me to a single
       17   the definition of a fiber.                                 17   peer-reviewed study or NIOSH or anything else that has
       18   BY MR. FROST:                                              18   ever supported this opinion?
       19        Q. So as far as you're concerned, all fibers          19              MS. SCOTT: Objection.
       20   are asbestiform?                                           20         A. So I was taught by Steve Guggenheim that
       21             MS. SCOTT: Objection.                            21   you can reduce particle size, and when you reduce
       22        A. No. My mineral, one of the minerals I'm            22   particle size in minerals, essentially, that is driven
       23   an expert in, palygorskite/sepiolite, often the            23   by cleavage. So basically every mineral has a unit
       24   individual crystals are referred to as fibers.             24   cell, and that is definition of the elements that are
       25                                                              25   unique to that mineral and a specific arrangement.

                                                                                           20 (Pages 74 to 77)
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        1              And, essentially, the nature of bonds in        1   particular particle is asbestiform or a cleavage
        2   that mineral will be weaker along certain planes for       2   fragment, and your answer to that was cleavage fragments
        3   certain minerals such as amphiboles. So basically what     3   implies that through some mechanism process, it's been
        4   happens is when you apply stress, it doesn't matter if     4   developed. That's what I'm asking. What is this
        5   that is a five-foot piece of tremolite or if it is a       5   mechanism process? Is this an outside force? Are you
        6   micron piece of tremolite. Essentially, it's absolutely    6   talking about processing --
        7   reasonable that if you apply stress and you break that,    7          A. Mechanical.
        8   it will break into smaller pieces, and you can end up      8          Q. You're talking about mechanics. So if a
        9   with -- essentially, the hat or the shape is the same.     9   fragment cleaves off because a mechanical force is
       10   Or, essentially, hat or shape is driven by those          10   applied to it, it's a cleavage fragment? If it occurs,
       11   crystallographic parameters.                              11   if it naturally cleaves, then it's asbestiform?
       12   BY MR. FROST:                                             12              MS. SCOTT: Objection.
       13         Q. All right. Do you know what a cleavage           13          A. You can have, as I mentioned before, you
       14   fragment is?                                              14   can have the situations totally reasonable, both in the
       15         A. Yeah. It's essentially a fragment that           15   processing and then the natural geologic process, where
       16   has broken off.                                           16   you can have a tremolite crystal, for example, that
       17         Q. And you're telling me that cleavage              17   essentially is deformed through metamorphic processes.
       18   fragments can be asbestiform that have broken off as      18   You can have multiple directions of force, and so,
       19   prismatic crystals?                                       19   basically, you can end up with particles that are
       20         A. I think they can, so they can. They can          20   asbestiform as a result of that, and then you can grind,
       21   meet the crystallographic requirements.                   21   crush, process things that also have an asbestiform
       22         Q. Is your opinion generally accepted by the        22   texture.
       23   scientific community?                                     23   BY MR. FROST:
       24         A. I have not presented or published on             24          Q. Are there any standards you're relying on
       25   that, but I think, based on my experience and what I      25   to make this determination of asbestiform versus

                                                       Page 79                                                         Page 81
        1   know about crystal chemistry of minerals, that is a        1   cleavage fragment?
        2   reasonable interpretation.                                 2             MS. SCOTT: Objection.
        3         Q. Okay. So your interpretation is that a            3         A. I'm using the terminology as described in
        4   particle can become asbestiform, even if it didn't form    4   my mineralogy class that I took from Dr. John Grover in
        5   naturally in an asbestiform habit by this cleaving down    5   1991, and he -- he grew some of the artificial,
        6   to a particular particle size? Is that a fair summary?     6   synthetic fibers for the rat tests in the '70s.
        7             MS. O'DELL: Object to the form.                  7   BY MR. FROST:
        8         A. You, through processing, you can modify           8         Q. Okay. Other than this class you had with
        9   many things.                                               9   Dr. John Grover, you can't name me another source,
       10   BY MR. FROST:                                             10   another peer-reviewed literature, a scientific paper
       11         Q. So can you tell me what particular               11   that supports your theory?
       12   properties will determine whether or not a particle was   12             MS. SCOTT: Objection to form.
       13   a cleavage fragment versus an asbestiform fragment?       13             MR. LAPINSKI: I was going to say, make
       14             MS. SCOTT: Objection.                           14         sure you let him ask the full question before
       15         A. Cleavage fragment implies that it has,           15         you start to answer.
       16   through some mechanical process, it's been developed.     16             THE WITNESS: Okay. I'm sorry.
       17   BY MR. FROST:                                             17   BY MR. FROST:
       18         Q. So a cleavage fragment purely refers to          18         Q. Do you want me to reask it?
       19   some outside mechanical process?                          19         A. The terms were used in my graduate school
       20             MS. SCOTT: Objection.                           20   classes as well. I think that -- yeah.
       21         A. What do you mean by "purely"?                    21         Q. And your opinion is whether or not this
       22   BY MR. FROST:                                             22   fragment that breaks off, whether or not it's
       23         Q. That's what I'm trying to figure out,            23   asbestiform or cleavage doesn't have anything to do with
       24   what your definition is. So I asked you, you know, what   24   the way in which the particle originally formed?
       25   the properties are that will determine whether or not a   25             MS. SCOTT: Objection.

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                                              Mark Krekeler, Ph.D.
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        1        A. So crystallographically, in a way, the             1   high aspect ratio, (length/diameter ratio), increased
        2   term's not necessarily extremely relevant. It is the       2   mechanical properties, flexibility and durability.
        3   physicality of a particle is such that, you know, it's     3             "In the asbestiform morphology, the
        4   driven by, essentially, the science. So you can crush,     4   crystals grew by forming long and filiform fibers.
        5   you can grind something, and you can end up with an        5   These fibers are found in bundles that can easily
        6   asbestiform particle.                                      6   separate into smaller fibers (fibrals), which, during
        7             MR. FROST: Let me look at some articles.         7   processes, retain their surface and activity properties.
        8        I'm going to mark this as -- I believe, we're at      8             "OSHA (1992) specifies that the
        9        Exhibit 3.                                            9   asbestiform criterion does not depend on the crystalline
       10             (Exhibit 3 was marked for                       10   structure but on how the crystal grows or its
       11             identification.)                                11   crystalline formation. When pressure is applied to" an
       12   BY MR. FROST:                                             12   asbestiform "fiber, it will bend rather than break."
       13        Q. Do you recognize this paper?                      13   Did I read that correctly?
       14        A. No, I do not. I have not seen this                14             MS. SCOTT: With one correction.
       15   report.                                                   15             MR. FROST: I did miss one?
       16        Q. This is not the IRSST 2010 Montreal paper         16             MS. SCOTT: Asbestos fiber, not
       17   you reference in your report?                             17        asbestiform fiber.
       18        A. I don't remember.                                 18             MR. FROST: Oh, I apologize.
       19        Q. Look at your -- let me see. I want to             19   BY MR. FROST:
       20   find a place that you reference this. If you look at      20        Q. Did I read that -- other than that, did I
       21   Footnote 5 on page 4.                                     21   read this correctly?
       22        A. I don't see a Footnote 5 on page 4.               22        A. Okay. Yeah.
       23        Q. Of your report.                                   23        Q. Do you agree with me this definition is
       24             MS. SCOTT: Of your report.                      24   very different than the definition you've given me?
       25        A. Oh, I'm sorry. Okay. Yeah.                        25             MS. SCOTT: Objection.
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        1   BY MR. FROST:                                              1         A. Not necessarily. It is more specific,
        2         Q. Do you agree that this is the same report         2   but it's, you know, generally in line.
        3   that you have referenced in Footnote 5 on your paper?      3   BY MR. FROST:
        4         A. Yeah.                                             4         Q. Generally in line. Doesn't the IRSST
        5         Q. Have you ever read this report before?            5   paper specifically state that an asbestiform crystal has
        6         A. I think so.                                       6   to grow into that structure to be asbestiform?
        7         Q. And this is something --                          7         A. It says that, but again --
        8         A. I'm tired.                                        8         Q. You disagree with that?
        9         Q. And this is something you rely on                 9               MS. SCOTT: Objection.
       10   otherwise in your paper, correct?                         10         A. It --
       11         A. I forget the specifics of where I've             11   BY MR. FROST:
       12   cited it.                                                 12         Q. It's okay. You can disagree with it.
       13         Q. If you turn to page 10, please.                  13         A. In my -- it's permissive, not exclusive.
       14             MS. SCOTT: Of the report or of the --           14   So I - I --
       15             MR. FROST: Of the paper, the IRSST              15         Q. I don't -- where does it say it's
       16         paper.                                              16   permissive, not exclusive? Is that in this paper?
       17         A. Page 10.                                         17         A. No. My class terminology might not be
       18   BY MR. FROST:                                             18   consistent with this.
       19         Q. So it's Section 5.1.2, "Asbestiform."            19         Q. Okay. Let's look at another one. What
       20         A. Okay.                                            20   exhibit are we on? Four? I would like to mark this as
       21         Q. It states, "The term 'asbestiform; refers        21   Exhibit 4. I'll give you a copy.
       22   to a morphology originating from the natural              22               MR. FROST: Are we not on four?
       23   crystallization of a mineral into small crystals, into    23               MS. SCOTT: I think it's five.
       24   hair-like fibers (unidimensional). This morphology        24               MR. FROST: Are we on five? I thought we
       25   gives the mineral-specific characteristics, including a   25         were on five, too.

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        1              MS. SCOTT: I think we're on five.                1   that are related to the crystal structure and are always
        2              MR. FROST: Okay. Yeah. I was going to            2   parallel to crystal faces." That's in line with what
        3         say maybe we can keep track.                          3   you've described, right, for cleaving?
        4              VIDEOGRAPHER: I'm keeping track, but the         4         A. That statement is not correct.
        5         last one you just gave him, you said three.           5         Q. It's not correct?
        6              MR. FROST: Oh, okay. So I guess we are           6         A. You can have cleavage that is, has a
        7         on 4. We'll mark this whatever the next exhibit       7   variety of degree as a perfection to it.
        8         is.                                                   8         Q. And, again, do you have -- can you cite
        9              (Exhibit 4 was marked for                        9   me a study that you're relying on for that opinion?
       10              identification.)                                10         A. I can probably point to a book, but it's
       11   BY MR. FROST:                                              11   something that is -- I mean, it's taught in mineralogy,
       12         Q. Take a look at it. Have you ever seen             12   introduction to mineralogy. You have different levels
       13   this paper before?                                         13   of perfection of cleavage. So, for example, micas are
       14         A. I'm not sure. I immediately don't see it          14   said to be perfect in cleavage, and a lot of the
       15   in the reference list.                                     15   amphiboles are said to be good but not necessarily
       16         Q. I can tell you, it's not on your                  16   perfect.
       17   reference list.                                            17              And, actually, you can see in this SEM
       18         A. Okay. Yeah. I have not seen this                  18   image, there's all kinds of irregularities on the
       19   before.                                                    19   surface. And on this particular SEM image, it's
       20         Q. Have you ever heard of Dr. William J.             20   extremely bright. The contrast is wrong. It's not --
       21   Campbell?                                                  21   you know, you can't tell what is on that right end of
       22         A. No, I have not.                                   22   the image that is the tremolite particle there.
       23         Q. You'd agree with me that this is a report         23         Q. I'll stop you here. I'm confused because
       24   from the United States Department of the Interior,         24   your problem with the definition appears to be the word
       25   Bureau of Mines?                                           25   "perfect," which doesn't actually appear in the
                                                        Page 87                                                         Page 89
        1         A. Yes.                                               1   definition. But you generally agree that a cleavage
        2         Q. You'd agree with me that they are a                2   fragment is a cleave along a generally parallel plane of
        3   reliable source --                                          3   a crystalline structure, right?
        4         A. So this is from 1977?                              4         A. Yes.
        5         Q. Yes. You'd agree with me that the Bureau           5         Q. Okay. If you continue along, it says,
        6   of Mines is a reliable source of information for            6   "Minerals" --
        7   geological term -- geological --                            7         A. It says "with perfect cleavage."
        8         A. I am somewhat hesitant's to make a                 8         Q. That's in the next, you know, paragraph.
        9   generalization of any organization being extremely          9         A. I'm sorry. I got confused.
       10   reliable or not. It depends on the individual. But,        10         Q. So it talks a little bit, you know, about
       11   generally, many things that have been produced are         11   it. It talks about amphiboles, et cetera. What I'm
       12   reliable. This document is from 1977, which is sort of     12   concerned is the next paragraph down. It starts,
       13   the end of the heyday of asbestos production. So right     13   "However, because they did not grow as fibers, they
       14   around this time, essentially, it was coming to light      14   cannot have characteristics of fibers. Consequently,
       15   that asbestos really did have a lot of hazards             15   cleavage fragments cannot be called fibers."
       16   associated with it.                                        16              Do you see where the Bureau of Mines has
       17         Q. Can you please turn to page 30 of this            17   said that?
       18   report? Specifically, there's a the paragraph, it's        18              MS. SCOTT: Object to form.
       19   called "Cleavage Fragment." Do you see where I'm           19         A. So it's my professional opinion that
       20   talking about?                                             20   that's inaccurate. I mean, the crystallographic -- you
       21         A. Yes.                                              21   know, from the materials aspect of things, whether
       22         Q. Okay. If you go down to the second -- I           22   something has grown or not, you know, doesn't -- it
       23   can read the first few on, but -- I'll read all of it      23   really doesn't matter too much as far as what it is. So
       24   for clarity. "Cleavage fragment: A fragment produced       24   and -- and so, "However, because they did not grow as
       25   by the breaking of crystals in" direct -- in "directions   25   fibers, they cannot have characteristics of fibers."

                                                                                           23 (Pages 86 to 89)
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                                               Mark Krekeler, Ph.D.
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        1   Well, you know, if you can cleave or process something,     1         A. Yes, I believe this is what's cited in
        2   roll it such that, you know, you get particle size          2   the report. This is the 2010 IARC.
        3   reduction, and that particle size is then, matches,         3         Q. Can you please turn to page 277? If you
        4   although perhaps there is disagreement on what              4   look at the bottom paragraph, it says, "Asbestos is a
        5   asbestiform is, but it matches what a fiber is, then        5   commercial term that describes six minerals that occur
        6   that's --                                                   6   in the asbestiform habit: Actinolite, anthophyllite,
        7   BY MR. FROST:                                               7   chrysotile, grunerite, riebeckite and tremolite (IARC,
        8         Q. But, again, you can't point me to a                8   1977). Similarly to talc, these six minerals occur more
        9   single study or peer-reviewed piece of literature that      9   commonly in a non-asbestiform habit and may also be
       10   supports your opinion, correct?                            10   elongated without being asbestiform." And then if you
       11              MS. SCOTT: Objection.                           11   follow down, it says, "when asbestiform, they constitute
       12         A. I think it's -- I think it's a very much          12   asbestos and, when not asbestiform, they are referred to
       13   a reasonable interpretation. It's almost too basic, in     13   as mineral fragments or cleavage fragments."
       14   a way. I mean, if we know -- we're taught, actually, at    14             So, again, here, IARC is talking about
       15   the introductory level, that minerals cleavage is the      15   how the crystal forms or how it grows to distinguish
       16   first things we teach, and essentially cleavage is an      16   asbestiform versus cleavage fragment, correct?
       17   interval property of a given mineral, and then you can     17             MS. SCOTT: Objection.
       18   reduce it, and that's why minerals, when you crush a       18         A. So you're saying as it forms?
       19   mineral, you actually, you have sort of the same general   19   BY MR. FROST:
       20   kind of particle shape. So you take mica, for example,     20         Q. Yes.
       21   and you crush it and you get a particle size reduction,    21         A. So mechanical processes can be how a
       22   and a lot of that is happening along the cleavage          22   mineral is formed or how a texture is developed.
       23   planes. So I think --                                      23         Q. So you're saying the cleave of a
       24   BY MR. FROST:                                              24   prismatic crystal can considered the morphology of how
       25         Q. So that's what I established. So you              25   that crystal forms?

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        1   think IRSST is wrong. You think the Bureau of Mines is      1         A. No. You said how a mineral -- what did
        2   wrong, right?                                               2   you say?
        3              MS. SCOTT: Objection.                            3         Q. Yes, that's what I said is how a mineral
        4   BY MR. FROST:                                               4   forms. This is what they're saying: A mineral can
        5        Q. Why don't we look at the World Health               5   form --
        6   Organization?                                               6         A. So --
        7              MR. FROST: This is -- I'll mark this as          7         Q. -- an asbestiform habit or not.
        8        Exhibit 5.                                             8         A. -- form is not growth. Form is not
        9              MS. O'DELL: Monograph 93.                        9   growth.
       10              MR. FROST: Yes, it's Monograph 93.              10         Q. Okay. Fine. It's saying here that how a
       11        Sorry.                                                11   crystal grows or develops determines whether or not it's
       12              (Exhibit 5 was marked for                       12   is a mineral fragment or asbestiform, correct?
       13              identification.)                                13             MS. SCOTT: Objection.
       14        A. So this would be IARC 2010.                        14             MS. O'DELL: Object to the form.
       15              MR. FROST: Does anyone need a copy or           15         A. "When asbestiform, they constitute
       16        pull it up on your computer?                          16   asbestos, and when not asbestiform, they are referred to
       17              MS. SCOTT: Yeah.                                17   as mineral fragments or cleavage fragments." That's how
       18              MR. FROST: That's a better way to look          18   they are referred to. But I don't see anything in here
       19        at it.                                                19   about growth. There's nothing about precipitating out
       20              MR. FERGUSON: I'll take one, Jack, if           20   of a solution. There's nothing precipitating out of a
       21        you've got an extra one.                              21   melt. There's nothing precipitating from some
       22              MR. FROST: I do.                                22   mineralogical transformation. So -- and, again, you
       23              MR. FERGUSON: Lighten your load.                23   know --
       24   BY MR. FROST:                                              24   BY MR. FROST:
       25        Q. Are you familiar with this publication?            25         Q. But, again, I just want to go back.

                                                                                           24 (Pages 90 to 93)
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                                               Mark Krekeler, Ph.D.
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        1       A.      -- cleavage --                                  1   question.
        2              MR. LAPINSKI: Let him finish his answer.         2         A. -- activity --
        3              MR. FROST: Sure.                                 3         Q. Let me ask you a question. Let me ask
        4        A. Whether something is a cleavage or                  4   you the question without reading from the thing, because
        5   fragment or not, it can be -- it can match the              5   you're reading the phonetics, which aren't actually the
        6   dimensions of something that is defined by NIOSH or         6   question I'm asking.
        7   other things. It can be 1 micron by 3 microns or it can     7         A. Okay. I'm sorry.
        8   be 1 micron by 5 microns. So I don't -- the -- you          8         Q. What properties, other than size, will
        9   know. But this, this doesn't seem to -- you keep            9   tell you whether or not a particle is a cleavage
       10   implying that there has to be growth for the mineral to    10   fragment versus an asbestiform fiber?
       11   occur, but it's not -- apparently, in here, it doesn't,    11         A. What properties other than size?
       12   it doesn't make that stipulation.                          12         Q. I guess size truly -- is that what
       13              Grinding, grinding can be one method, and       13   determines whether or not a particle is asbestiform
       14   then deformation. We have other examples where,            14   versus a cleavage fragment, in your opinion?
       15   essentially, textures are developed from deformation,      15             MS. SCOTT: Objection.
       16   meteorite impacts. We have metamorphic rocks. We can       16         A. It's a major, a major factor in it. But,
       17   have, essentially, high temperature or high pressure       17   you know, you can have things that are large that are
       18   metamorphic rocks that have one form of quartz in them.    18   asbestiform as well. So hand samples, images in --
       19   Then when they get exhumed, essentially, they shatter      19         Q. Okay. Can you answer my question? Is it
       20   the granite around them and create a different texture.    20   a major component or is that the difference? And if
       21              So I don't, I don't think that growth is        21   there's more than just size, what are the other things
       22   necessarily related to -- I think, in my professional      22   you look at to determine whether or not a particle is a
       23   opinion, it's not related to the generation of cleavage    23   cleavage fragment versus an asbestiform fiber?
       24   fragments, and it's my professional opinion that           24             MS. SCOTT: Objection. He is answering
       25   cleavage fragments can have asbestiform materials.         25         your question. Go ahead, Doctor.

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        1              The other thing that confuses things is          1   BY MR. FROST:
        2   you can have a cleavage fragment that's a meter, right?     2         Q. I don't understand how telling me the
        3   You can -- you can have large crystals. You can go out      3   size of giant pattern, giant rocks that are grabbed from
        4   to the South Dakota mines and pick up a spodumene, hit      4   somewhere else. What I want to know are what properties
        5   it with a hammer. That's a cleavage fragment. Because       5   do you look at when you're trying to determine if it's
        6   we have these same atomic laws, essentially, you get the    6   an asbestiform fiber versus a cleavage fragment? Is it
        7   same type of effects into the small particle ranges.        7   just the size of the mineral with -- you know, the
        8         Q. So now I'll go back to the same question           8   aspect ratio of the mineral? Is that purely what
        9   I asked before you couldn't answer, and that was, other     9   determines, in your opinion, whether a particle is
       10   than size, other than this whole idea of aspect ratio,     10   asbestiform versus cleavage?
       11   what other differences can you tell me there is between    11         A. That and the texture.
       12   an asbestiform fiber and a cleavage fragment? Is it        12         Q. What do you mean by "texture"? What
       13   truly just size, in your opinion, that makes something     13   properties are you looking at in the texture?
       14   asbestiform?                                               14         A. The texture is how -- is the size, shape
       15              MS. SCOTT: Object to the form of the            15   and distribution of materials.
       16         question. You can answer.                            16         Q. So, again, we're talking about size,
       17   BY MR. FROST:                                              17   shape and distribution. These are the only -- these are
       18         Q. It's an easy enough question. I'll ask            18   the aspects --
       19   it a different way if you want.                            19         A. I get that from -- I'm sorry.
       20         A. I'm a slow reader. Sorry. What                    20         Q. I was going to say, size, shape and
       21   differences can you tell me there is between asbestiform   21   distribution are the attributes you look at to determine
       22   fiber around achieve advantage fragment -- a cleavage      22   whether or not a particle is asbestiform versus
       23   fragment. So if you're talking about just differences      23   cleavage?
       24   in general --                                              24         A. A spatial distribution is not necessarily
       25         Q. Well, no. That's why. Let me ask you a            25   size and shape.

                                                                                           25 (Pages 94 to 97)
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                                               Mark Krekeler, Ph.D.
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        1         Q. What do you mean by "spatial                       1   between a cleavage fragment and an asbestiform fiber?
        2   distribution," then?                                        2        Q. Yes.
        3         A. The occurrence of it in a sample or                3        A. A cleavage fragment can be a subset of
        4   substrate.                                                  4   asbestiform fibers.
        5         Q. What do you mean by "occurrence of it in           5        Q. So you're telling me there's no
        6   a sample or substrate"?                                     6   difference between a cleavage fragment and asbestiform
        7         A. The placement of it. So, essentially, we           7   fiber if it's --
        8   can have a lithology onto which, relative to that, an       8        A. No.
        9   asbestiform material occurs.                                9        Q. -- if they're the same size?
       10         Q. What do you mean by lithology upon which          10        A. If it's --
       11   an asbestiform material occurs?                            11               MS. SCOTT: Let him finish.
       12         A. Lithology is a general term for a type of         12   BY MR. FROST:
       13   rock. It's a very general term for a type of rock.         13        Q. If they meet whatever aspect ratio
       14         Q. Okay. So, effectively, you're saying the          14   definition you want to put on it, as far as you're
       15   type of rock it is and the size and shape of the           15   concerned, any cleavage fragment that meets that
       16   particle determine whether or not it's asbestiform?        16   definition is an asbestiform fiber?
       17   Those are the three considerations you look at?            17               MS. SCOTT: Objection.
       18         A. Well, so, not necessarily, but, you know,         18        A. Speculative in that I don't -- you know,
       19   I'm talking about hand sample size.                        19   I don't --
       20         Q. Okay. And this is -- and what about --            20   BY MR. FROST:
       21   and what about micron size, when you're looking at a       21        Q. It's not speculative. I'm asking for
       22   particle that's micron size?                               22   your definition.
       23         A. Aspect ratio is important. I think that           23        A. I'm sorry. I have an incomplete thought.
       24   and -- so to identify a fiber or a cleavage fragment, to   24   A cleavage fragment can be a subset of -- it can be a
       25   thoroughly identify things, one should generally do,       25   subset of an asbestiform fiber.

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        1   should do TEM work. And in order for that data to be        1          Q. How? Like how do you -- so what -- okay.
        2   interpreted, to identify the aspect ratio and also what     2          A. Based on the size and the dimensions that
        3   the material is, you need to do imaging electron            3   are provided in the paragraph in page 4.
        4   diffraction and electron microscopy.                        4          Q. Okay. So it's purely size and dimension
        5         Q. Okay. I fear you're not understanding my           5   is what determines whether or not a cleavage fragment is
        6   question. I'm not -- I want to know what the difference     6   a subset of asbestiform?
        7   is between an asbestiform particle and a cleavage           7          A. Correct.
        8   fragment. Is it purely the aspect ratio and the type of     8          Q. That's your opinion?
        9   rock it's generated from, in your opinion?                  9             MS. SCOTT: Objection.
       10              MS. SCOTT: Objection.                           10          A. With respect to only my -- so I think
       11         A. I'm sorry. I'm having difficulty                  11   some of our confusion is is I'm talking about minerals
       12   describing it. I thought I described it. I thought I       12   in general, so things, you know, you would see in a
       13   answered.                                                  13   museum. And then there's, essentially, the microscopic
       14   BY MR. FROST:                                              14   scale.
       15         Q. What you keep saying is you keep telling          15   BY MR. FROST:
       16   me is that aspect ratio is a major component. Is it the    16          Q. Okay. So there's a -- how you define
       17   only component? Are there others? We've heard the type     17   asbestiform is different depending on whether or not
       18   of rock. Are there any other things you would look at      18   it's a hand sample versus something you look at in a
       19   to tell me these are the properties of an asbestiform      19   microscope?
       20   fiber versus these are the properties of a cleavage        20          A. Potentially, and things can, you know,
       21   fragment? I'm just asking for simple mineralogic           21   appear to be asbestiform, but they are pseudomorphs.
       22   definition here of what's the difference between a         22          Q. Okay. So other than size, which we've
       23   cleavage fragment and an asbestiform fiber. If it's        23   now determined is aspect ratio, you can't tell me any
       24   rock type and aspect ratio, that's fine.                   24   other properties that you would look at to determine
       25         A. So, okay. So what's the difference                25   whether or not a particle, an elongated mineral

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                                              Mark Krekeler, Ph.D.
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        1   particle, is a cleavage fragment versus an asbestiform      1   first, it has to be of a rock that could be asbestiform,
        2   fragment. Is that -- is that a fair summary of your         2   and then the major component is the size, meaning aspect
        3   opinion?                                                    3   ratio. Is that a fair summary of the definition you're
        4          A. I'm unsure. I'm sorry. I'm tired.                 4   giving me?
        5   The -- if it -- so the -- so in your question, mineral      5          A. I'm not sure. I'm sorry. I'm spacing
        6   type doesn't matter, correct?                               6   out a little bit. A cleavage fragment can be
        7          Q. I don't know. I'm asking you how you              7   asbestiform.
        8   define. Does mineral type matter for asbestiform versus     8          Q. Okay. But what I keep asking you is --
        9   non-asbestiform?                                            9          A. The criteria?
       10          A. Well, there are minerals that tend to be         10          Q. The criteria you're using to define
       11   asbestiform or can be asbestiform and not. So, but         11   something as asbestiform, is it purely rock type, that
       12   that's not necessarily related to the -- asbestiform is    12   is, a type of rock that can be asbestiform?
       13   a descriptor of the minerals, not necessarily -- so I      13          A. I --
       14   would use what, what I have in the report, basically. I    14          Q. Hold on. That's one.
       15   would say that a cleavage fragment can be an asbestiform   15          A. Okay.
       16   particle and size. The aspect ratio is a major             16          Q. And then the other, which is the major
       17   contributor.                                               17   component, is the size, meaning the aspect ratio of the
       18              Also, the -- you know, if it is a -- so,        18   particle. Are those the two things you look at when
       19   for example, if the chemistry and the electron             19   you're determining whether or not a particle is an
       20   diffraction data and the images also indicate that it is   20   asbestiform fiber?
       21   a mineral that is known to be asbestos, I think that       21          A. I would sort of correct myself in saying
       22   that would be -- that would support that.                  22   the particle size and the mineralogy.
       23              I think that, you know, if you had --           23          Q. Okay. Particle size and mineralogy. And
       24   it's like kyanite, for example, might -- kyanite might     24   mineralogy, meaning the type of mineral it is, correct?
       25   have -- meet those dimension, fiber-dimension              25          A. Yes.

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        1   requirements, but because it is kyanite, it wouldn't        1         Q. Okay. And, again, the basis of your
        2   necessarily be described as asbestiform, but it would be    2   opinion that that's the definition of asbestiform comes
        3   a fiber. So there's complexities.                           3   from your coursework and undergraduate and graduate,
        4          Q. Okay. So I think we have -- I'll change           4   correct?
        5   my summary of your opinion. So in determining whether       5         A. Yes.
        6   or not an elongated mineral particle, and we can agree      6         Q. And sitting here today, you can't cite me
        7   an elongated mineral particle is a particle that, you       7   a single study in the peer-reviewed literature or from
        8   know, broke off of something that's long, right? Can we     8   any government organization that supports that theory,
        9   agree on that?                                              9   correct?
       10          A. Yes.                                             10             MS. SCOTT: Objection.
       11          Q. Okay. So in order to determine if an             11             MS. O'DELL: Objection. Form.
       12   elongated mineral particle is a cleavage fragment or       12         A. So --
       13   asbestiform fiber, the two things you look at are,         13   BY MR. FROST:
       14   first, whether or not it's a rock that can be              14         Q. I'm just asking for citations.
       15   asbestiform, and then, second, which is the major          15             MR. LAPINSKI: Let him finish.
       16   component, is its size, meaning aspect ratio. Is that a    16         A. I cannot -- I cannot -- let me think how
       17   fair summary of your opinion?                              17   to phrase this. Peer review, I have had discussions,
       18          A. Well, so that's a different question. So         18   actually, with my -- a former committee member, Bill
       19   elongated mineral particle --                              19   Mull. He was on my Ph.D. committee, and we had several
       20          Q. Then if elongated mineral particle's             20   discussions about impurities and things like that and
       21   confusing you, I'll take that out.                         21   industrial minerals. He was an industry guy.
       22              So if we're trying to figure out if a           22             And, basically, we talked about small
       23   particle -- I don't care what size, I don't care if it's   23   particles breaking off and how that could be of concern
       24   elongated or not. If we're trying to figure out if a       24   in different ways. And then I've had discussions in
       25   particle is a cleavage fragment or an asbestiform fiber,   25   industry about, essentially, fine particles getting

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                                              Mark Krekeler, Ph.D.
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        1   entrained in things with another company, one based here    1   definition, according to the paragraph?
        2   in Cincinnati, not basically asbestiform, not basically     2         A. I'm just saying that's what they define
        3   asbestos, but there's graphite and biotite.                 3   those as.
        4             So no peer-review literature, but I've            4         Q. Do you believe you've included the whole
        5   had discussions in a general sense, but not specific to     5   definition that ATSDR has of asbestos in your paper?
        6   talc, but with contaminants, small particles breaking.      6               MS. SCOTT: Objection.
        7         Q. So the basis --                                    7         A. I believe it's consistent with a document
        8         A. So I think companies sometimes use                 8   I've done. I was gonna say, there are other academic
        9   different -- it's actually common for companies to use      9   classifications. Sometimes I know, in my classwork, it
       10   different words. They have internal vocabularies, even,    10   was discussed like antigorite sometimes comes up.
       11   you know, so that might be the issue.                      11   Antigorite is actually something that's detected in some
       12   BY MR. FROST:                                              12   of the documents as well. So antigorite can be, look
       13         Q. So it's based off your coursework and             13   like it's asbestos, but it's not officially classified.
       14   discussions with industry individuals but not any          14               So there's some con -- if you look in the
       15   peer-reviewed literature?                                  15   older literature, there's some confusion. People will
       16             MS. SCOTT: Objection.                            16   also refer to other minerals, perhaps incorrectly, as
       17         A. Yes. Correct.                                     17   being asbestos. So it's -- historically, I think it can
       18   BY MR. FROST:                                              18   be a term that is applied either too loosely or things
       19         Q. All right. We're going to move to                 19   just haven't worked out, so...
       20   another definition. Okay?                                  20   BY MR. FROST:
       21         A. Okay.                                             21         Q. And the definition of asbestos in the
       22         Q. I note in your report -- let me find              22   ATSDR, is that something you found yourself or was that
       23   where it is. At the top, under the section that says       23   given to you by plaintiffs' counsel?
       24   "Asbestos" on page 4. Second sentence, you say,            24               MS. SCOTT: Objection.
       25   "Asbestos is a naturally occurring mineral that can be     25         A. I looked at -- ATSDR is something that

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        1   in close proximity to talc in mines around the world."      1   I've used in the past for my publications in general, so
        2   Is asbestos a mineral?                                      2   I'm familiar with them. So we use that in a variety of
        3        A. I'm sorry. It should be mineral group.              3   ways to help frame our discussions in peer-review
        4        Q. Okay. That was going to be my next                  4   articles and things like that.
        5   question. Asbestos is a defined group of minerals,          5   BY MR. FROST:
        6   correct?                                                    6         Q. All right. I'm going to mark this next
        7        A. Yeah. It can be referred to that.                   7   exhibit. I think we're on six.
        8        Q. Okay. Without looking at your report,               8              MS. SCOTT: Yes.
        9   can you tell me what minerals fit the definition of         9              MR. FROST: Yep.
       10   asbestos?                                                  10              (Exhibit 6 was marked for
       11             MS. SCOTT: Objection.                            11              identification.)
       12        A. Tremolite, crocidolite, anthophyllite,             12              MR. FROST: Do you need a copy?
       13   chrysotile, amosite.                                       13              MR. FERGUSON: I'll take it unless
       14   BY MR. FROST:                                              14         anybody else wants one.
       15        Q. And in your report, you know, you list             15              MS. O'DELL: Have you directed us to a
       16   them. I believe it's here on page 4. You list the          16         page?
       17   amphibole class includes, you know, amosite,               17              MR. FROST: He was looking at his
       18   crocidolite, actinolite, anthophyllite and tremolite,      18         references to make sure. I think he's
       19   correct?                                                   19         identifying that it's the same article.
       20        A. I'm sorry. Where?                                  20         A. I'm not -- I'm not sure if this is Item
       21             MS. SCOTT: Here.                                 21   Number 6.
       22   BY MR. FROST:                                              22   BY MR. FROST:
       23        Q. Page 4.                                            23         Q. Well, here. I can speed this up. You
       24        A. Yeah. So, yeah, end of the second line.            24   agree with me that this is an ATSD article, correct?
       25        Q. And you're relying on the ATSDR for this           25         A. Yes.

                                                                                      28 (Pages 106 to 109)
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                                               Mark Krekeler, Ph.D.
                                                      Page 110                                                        Page 112
        1         Q. Okay. Turn to -- actually, it's page 1.            1        statement.
        2   It's a misnomer. It's decently into it, probably about      2             MR. FROST: Sure.
        3   10 or 15 pages into it. As I said, the one is a             3             MS. SCOTT: Go ahead.
        4   misnomer. Okay.                                             4   BY MR. FROST:
        5              MS. SCOTT: I have a --                           5        Q. Do you see the second highlighted portion
        6              MR. FROST: Yeah. I was going to say, I           6   on that page? It starts at the bottom. "Asbestos
        7         apologize for it being highlighted, but I'm           7   minerals consist of thin, separable fibers that have a
        8         going to read the highlighted parts anyway, so        8   parallel arrangement. Nonfibrous forms of tremolite,
        9         it will help guide us there. That was a               9   actinolite and anthophyllite are found naturally.
       10         printing issue.                                      10   However, because they are not fibrous, they are not
       11   BY MR. FROST:                                              11   classified as an asbestos mineral." That's different
       12         Q. Do you see where it defines, under                12   than what you're telling us here, correct?
       13   Section 1.1, "What is Asbestos"?                           13        A. Let me compare.
       14         A. Yes, I do.                                        14        Q. Well, that's what you just told us, that
       15         Q. Do you notice that its definition of              15   you could have nonfibrous tremolite and it would still
       16   asbestos are "the fibrous varieties of tremolite,          16   be asbestos.
       17   actinolite and anthophyllite that occur naturally in the   17        A. I'm sorry. What was the question again?
       18   environment"?                                              18   This is not consistent with what I have written?
       19              MS. SCOTT: Objection.                           19        Q. I'm saying it's not consistent with what
       20         A. I see that, yeah.                                 20   you just told me. You just told me the fibers doesn't
       21   BY MR. FROST:                                              21   really matter because you can have --
       22         Q. That's slightly different than what you           22        A. Fibers --
       23   attribute the definition of asbestos from the ATSDR in     23        Q. So my question is: You're relying on --
       24   your report, right? You don't note that it's the           24   say you rely on the ATSDR as the definition for
       25   fibrous varieties of the amosite, crocidolite,             25   asbestos, but your definition of asbestos, sitting here
                                                      Page 111                                                        Page 113
        1   actinolite, anthophyllite and tremolite, correct?           1   today, is actually different than that of the ATSDR. So
        2         A. Let me just double-check.                          2   it doesn't really support what you're saying today,
        3         Q. It's page 4.                                       3   correct?
        4         A. In two general classes. I omitted the              4              MS. SCOTT: Objection. Misrepresents.
        5   word "fibrous," but it seems that the minerals are          5         A. No. I think that is a misrepresentation.
        6   consistent.                                                 6   So I cited this, and the minerals are listed here are
        7         Q. Yeah, the minerals are consistent, but             7   the same minerals there.
        8   isn't the omission of "fibrous" an important distinction    8   BY MR. FROST:
        9   in the definition of what's asbestos and what isn't?        9         Q. Okay.
       10              MS. SCOTT: Objection.                           10         A. And then, based on my academic
       11         A. In the context of this situation, I               11   experience, knowledge, these minerals are also, you
       12   don't -- I don't think it exclusively applies because      12   know, what I would list as well.
       13   you can mechanically produce particles that are -- meet    13         Q. But that's not -- you didn't say they say
       14   the criteria on the bottom of the last paragraph on page   14   that certain types of these minerals can be asbestos.
       15   4. So tremolite -- and actually, you know, on one hand,    15   The definition that you attribute, and you're talking
       16   IARC 2012 lists tremolite as a carcinogen in general.      16   today about asbestos, is different than the -- you say
       17   So IARC is not -- I was consistent, but you're correct.    17   the ATSDR supports your definition of asbestos, but
       18   I did not use the word "fibrous."                          18   yours is actually slightly different than theirs, right?
       19   BY MR. FROST:                                              19              MS. SCOTT: Objection. Misrepresents.
       20         Q. So you're not consistent, because you're          20         A. I left out a word.
       21   saying ATSDR defines asbestos, and then you need to put    21   BY MR. FROST:
       22   them out. But you fail to leave out that these are         22         Q. And according to them, it's an important
       23   fibrous. I'll tell you why it's important. Do you see      23   word, because as the ATSDR says, "Because they are not
       24   the second highlighted portion?                            24   fibrous, they are not classified as asbestos minerals."
       25              MS. SCOTT: Let me just object to the            25   Do you agree?

                                                                                      29 (Pages 110 to 113)
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                                              Mark Krekeler, Ph.D.
                                                      Page 114                                                        Page 116
        1              MS. SCOTT: Objection.                            1   morphology can have potentially dangerous health
        2         A. That's what's stated in the document.              2   effects?
        3   BY MR. FROST:                                               3        A. Yes, I say those documents.
        4         Q. Okay. Let's move down to the third                 4        Q. Okay. Let's look at the NIOSH road map.
        5   paragraph under "Asbestos" in your report. Do you see       5             MR. FROST: Did you mark that yet?
        6   the -- I don't know. What sentence is it? Third             6             (Exhibit 7 was marked for
        7   sentence starts, "However, non-asbestiform cleavage         7             identification.)
        8   particles can correspond to the definition of respirable    8   BY MR. FROST:
        9   fiber as defined by WHO and, due to its morphology, can     9        Q. Do you recognize this as the NIOSH
       10   have potentially dangerous health effects." Do you see     10   document that you were relying on for your statement?
       11   that?                                                      11             MS. SCOTT: Jack, can you, just for my
       12         A. Yes.                                              12        ease, can you direct me to the citation within
       13         Q. Now, you don't have an opinion yourself           13        the report?
       14   as to whether or not asbestiform can cause any disease.    14             MR. FROST: That I'm going to go to?
       15   You're not a doctor, right?                                15             MS. SCOTT: Yeah.
       16         A. Correct.                                          16             MR. FROST: I'm going to page 5, or V,
       17         Q. And you're relying on, you know, other            17        which is the Executive Summary.
       18   documents and things you've read for that statement?       18             MS. O'DELL: Thank you. You're talking
       19   That's correct?                                            19        about in the NIOSH document?
       20         A. Correct.                                          20             MR. FROST: Oh, in his?
       21         Q. Do you have any opinion on whether or not         21             MS. O'DELL: Yes.
       22   the surface chemistries of cleavage fragments versus       22             MR. FROST: It's on page 4, third
       23   asbestiform fibers are the same?                           23        paragraph down from Asbestos. It's NIOSH 2010,
       24         A. I'm not a surface geochemist.                     24        IRSST 2012.
       25         Q. Okay. Do you agree with me that IARC has          25             MS. SCOTT: Thank you.
                                                      Page 115                                                        Page 117
        1   ultimately determined that non-asbestiform cleavage         1         A. I'm not seeing it in my list.
        2   fragments actually are not or do not -- sorry. Let me       2   BY MR. FROST:
        3   reform that.                                                3         Q. Well, yeah. But if you look at page 4 of
        4              Could we also agree that IARC has                4   your report, you cite to NIOSH 2012 for the proposition
        5   determined that non-asbestiform minerals are not            5   that --
        6   carcinogenic?                                               6         A. Wait. Okay.
        7              MS. SCOTT: Objection.                            7         Q. -- non-asbestiform cleavage fragments can
        8        A. I believe IARC 2012 lists tremolite as a            8   have the same potentially dangerous health effects. If
        9   carcinogen.                                                 9   you turn to page V, "Executive Summary."
       10   BY MR. FROST:                                              10         A. Page V. Okay. "Executive Summary."
       11        Q. And do you know what level of carcinogen?          11         Q. The second paragraph, about halfway down,
       12   Do you know what category?                                 12   there's a sentence that starts, "Asbestos fibers are
       13              MS. O'DELL: Objection to form.                  13   clearly a substantial health concern."
       14        A. I don't specifically remember. I know              14         A. Let me find it. Okay. I found it.
       15   there are three categories that are relevant. There's      15         Q. After that, it reads, "Further research
       16   Group 1, and then Group 2-A and 2-B. Group 1 are known     16   is needed to better understand health risks associated
       17   carcinogens. 2-A is probable, and I think 2-B is           17   with exposure to other thoracic-size EMPs, including
       18   possible. But, again, I'm kind of --                       18   those with mineralogical compositions identical or
       19   BY MR. FROST:                                              19   similar to the asbestos minerals in those that have
       20        Q. That's not your -- that's not your field           20   already been documented to cause asbestos-like disease
       21   of expertise?                                              21   as well as the physiochemical characteristics that
       22        A. That's not my area.                                22   determine their toxicity." Did I read that correctly or
       23        Q. And you also -- so you cite the NIOSH              23   close enough, anyway, I'm sure?
       24   2010. You also cite the IRSST 2012, correct, for your      24         A. Yes, yes. Yep.
       25   proposition that these, the fragments of the same          25         Q. Okay. So, again, NIOSH here isn't saying

                                                                                      30 (Pages 114 to 117)
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                                               Mark Krekeler, Ph.D.
                                                      Page 118                                                        Page 120
        1   that -- NIOSH is not supporting the position you have in    1   indicated, I thought there might be typos in the report.
        2   your paper here, correct? NIOSH's determination is that     2        Q. Okay. What's the typo?
        3   they can't make one. More research is necessary, right?     3        A. So, essentially, the difference should be
        4              MS. SCOTT: Objection.                            4   diversity. Talc forms in the earth in metamorphic
        5          A. That is what's stated here.                       5   terranes, and the diversity is metamorphosed mafic and
        6   BY MR. FROST:                                               6   ultramafic rock deposits show the complexity of talc
        7          Q. Let's turn back to the IRSST document. I          7   ores at different levels.
        8   forget what we marked that as. I think it's 4. There        8        Q. Okay. And --
        9   it is. If you can turn to page 37.                          9        A. Sorry about that.
       10          A. Okay.                                            10        Q. That's okay. Typos happens.
       11          Q. And, again, at the top nine                      11              Your support for that is Berg 1977?
       12   recommendations, it states, Since a conclusion cannot be   12        A. Yes.
       13   reached about the biological effects from the              13        Q. I'll mark Berg.
       14   distinction between a cleavage fragment and asbestos       14        A. It's e.g., Berg, so that's an example.
       15   fibers -- actually, I did not read that correctly. Let     15        Q. Yes. Well, look at the one example you
       16   me try again.                                              16   pointed to.
       17              "Since a conclusion cannot be reached           17              MR. FROST: Let me see if I can find a
       18   about the biological effects from the distinction          18        copy. Let me see if I can find a copy where the
       19   between cleavage fragments and asbestos fibers," and       19        staple hasn't come out. We'll mark that one.
       20   then it continues to say precautionary things. So,         20        Do you all need one?
       21   again, they also haven't determined, as you state in       21              MS. SCOTT: Sure.
       22   your report, that it has the same dangerous health         22              MR. FROST: Be careful of the staple.
       23   effects, correct?                                          23        It's pokey.
       24              MS. SCOTT: Objection. Scope.                    24              MS. SCOTT: I appreciate that.
       25          A. It says what it says.                            25              (Exhibit 8 was marked for
                                                      Page 119                                                        Page 121
        1   BY MR. FROST:                                               1             identification.)
        2         Q. Yes. They come to the same conclusion as           2   BY MR. FROST:
        3   NIOSH, and that's, we don't know one way or the other.      3        Q. Do we agree this is the Berg '77 you
        4   More research needs to be done, right?                      4   reference in your report?
        5         A. Correct.                                           5        A. I'm not a hundred percent sure.
        6         Q. Other than these two, can you point me             6        Q. It also appears, if you look at 18 --
        7   right now to any other studies that actually support the    7             MS. O'DELL: Excuse me, Doctor. Are you
        8   sentence you have here in your report that cleavage         8        finished? Did you finish with your answer?
        9   fragments are the same, have the same dangerous health      9        A. I'm not sure. So either I might have
       10   effects as asbestiform fibers?                             10   misquoted something. Let's see. I don't think I -- I
       11         A. No.                                               11   don't think I have it. Let me --
       12         Q. All right. If we move down, further down          12   BY MR. FROST:
       13   to page 4 of your report, the section called "Formation    13        Q. We can look at it during a break. We can
       14   of Talc deposits and inherent asbestos impurities."        14   come back.
       15         A. Okay.                                             15        A. I'll check. Berg had several.
       16         Q. The first sentence, "Talc forms in the            16        Q. I believe it's number 18.
       17   earth in metamorphic terranes, and the difference is       17        A. So I am not a hundred percent sure. I
       18   metamorphosed" -- I apologize. Can tell me how to          18   might have misquoted --
       19   pronounce that word?                                       19        Q. Okay.
       20         A. Metamorphosed.                                    20        A. -- this. Because, as I remember the
       21         Q. Metamorphosed. Okay. "And the                     21   book, it was -- I honestly don't think I --
       22   difference in metamorphosed mafic and ultramafic rock      22        Q. Looked different?
       23   deposits show the complexity of talc ores at different     23        A. Yeah. It was -- yeah. I think I've
       24   levels."                                                   24   looked at some of this before. It looks familiar, but
       25         A. I'm sorry. That's a typo. As I                    25   the thing that I'm thinking, I think I misquoted. I'm
                                                                                      31 (Pages 118 to 121)
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                                               Mark Krekeler, Ph.D.
                                                      Page 122                                                       Page 124
        1   sorry.                                                      1   think --
        2        Q. If I were to tell you that talc isn't               2         Q. You certainly didn't include it in the
        3   even mentioned in this paper --                             3   report, right?
        4        A. Yeah. I mean, there's like -- the book I            4              MS. SCOTT: Objection.
        5   had, there's images of mines that talks about, I think,     5         A. I don't know. I forget.
        6   the Yellowstone mines, specifically. So I'm sorry about     6              THE WITNESS: Can we take a break?
        7   that. I totally, totally missed that.                       7              MR. FROST: Sure.
        8        Q. Okay. If we move down to the next                   8              VIDEOGRAPHER: We're now going off
        9   sentence, you state that "Italian mines, which Johnson &    9         record. The time is 12:21.
       10   Johnson and Imerys obtained talc for cosmetic              10              (A recess was taken from 12:21 to 1:25.)
       11   production, were ultramafic origin."                       11              VIDEOGRAPHER: We're now back on record.
       12        A. Okay.                                              12         The time is 1:25.
       13        Q. Is that true?                                      13   BY MR. FROST:
       14        A. I believe so.                                      14         Q. All right. Welcome back from lunch. We
       15        Q. Can we turn back to the IARC 2010? It's            15   were on page 4 of your report under "Formations of
       16   the one with the orange cover. Go to page 283 to 84.       16   Talc." And we talked about Italy. Let's move on to
       17        A. Okay.                                              17   Vermont. You say, "Vermont mines relevant to this
       18        Q. If you look at B, towards the bottom, it           18   litigation are mafic and ultramafic origins." What's
       19   says, "Talc derived from magnesium carbonites."            19   your support for that statement?
       20        A. Okay.                                              20         A. I'm sorry. Oh, bottom of 4?
       21        Q. "Talc deposits formed from the alteration          21         Q. Yeah, bottom of 4, moving on to 5.
       22   of carbonite and sandy carbonite, such as dolomite and     22         A. It's the geology of the area.
       23   limestone, are the most important in terms of world        23         Q. Do you believe there are mafic formations
       24   production. Two types are recognized." And if you skip     24   of talc relevant to the Vermont mines used by Johnson &
       25   down to two, it says, "Those derived from hydrothermal     25   Johnson and Imerys in this case?

                                                      Page 123                                                       Page 125
        1   alteration (including retrograde metamorphism) of           1         A. Yes.
        2   regionally *metamorphosed siliceous dolomites and other     2         Q. And do you have a geological survey or
        3   magnesium-rich rocks." And then if you turn the page        3   something else you're relying on for that?
        4   over one, two, three, it says "Italy vouches own after      4         A. There are USGS reports and things like
        5   that."                                                      5   that.
        6         A. So this is information produced by                 6         Q. And they say mafic? They don't just say
        7   Luzenac?                                                    7   it's an ultramafic belt?
        8         Q. Well, this is from IARC.                           8         A. I believe so.
        9         A. It's in IARC, but they're citing Luzenac           9         Q. On page 5, kick down to the next
       10   as part of this, and each -- the occurrences of each       10   paragraph, the one that starts, "Asbestos minerals,
       11   individual mine are -- location are not shown. IARC is     11   including chrysotile, tremolite and actinolite" -- I'm
       12   more of a health thing. I would not necessarily expect     12   sorry, "tremolite, actinolite and anthophyllite are
       13   a detailed analysis of a geology from an IARC monograph.   13   common in talc ores." What's your basis for the
       14   So...                                                      14   statement, because it's uncited?
       15         Q. Can you point to me to any geological             15         A. It's common knowledge --
       16   study that shows --                                        16         Q. Can you point me to a --
       17              MR. LAPINSKI: Counsel, let him finish           17         A. -- mineralogy.
       18         his answer first.                                    18         Q. Can you point me to a peer-reviewed
       19         A. So, I don't think that -- I don't know            19   source that states that?
       20   what they are specifically relying on.                     20         A. Let see here.
       21   BY MR. FROST:                                              21               MR. LAPINSKI: Jack, while he's looking,
       22         Q. Can you cite me any geological study that         22         what was the statement from the report?
       23   shows that the Italian mines of Val Chisone were of        23               MR. FROST: It's page 5, the first
       24   ultramafic origin?                                         24         sentence of the first full paragraph. The
       25         A. I forget the citations specifically. I            25         "Asbestos minerals, including chrysotile,
                                                                                      32 (Pages 122 to 125)
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                                               Mark Krekeler, Ph.D.
                                                      Page 126                                                        Page 128
        1        tremolite," et cetera. The first full                  1   something. That's not actually stated in this book,
        2        paragraph.                                             2   correct?
        3        A. So reference 40, figure 3, is a                     3              MS. SCOTT: Object to the form.
        4   comparison I computed with silica activities. So,           4         A. The diagrams are -- that's how one can
        5   essentially, it showed boundaries between talc and          5   interpret these diagrams.
        6   chrysotile. And figure 2 shows temperature pressure         6   BY MR. FROST:
        7   diagrams for chrysotile and talc. Figure 4 shows            7         Q. Okay. So --
        8   comparison of computer phase equillibrium, experimental     8         A. The field --
        9   data of Johannes, 1969. It shows chrysotile and talc        9         Q. Does it say it's common?
       10   fields. So the significance of those fields is that        10              MR. LAPINSKI: Counsel, let him finish
       11   because of -- so those are fields where things, when, in   11         his answer, please.
       12   absolute equillibrium, those discrete phases are set or,   12              MR. FROST: Sure.
       13   essentially, those are the phases that are stable.         13         A. So, you know, phase diagrams and the
       14             The minerals are stable. But you can go          14   interpretation of phase diagrams is something that
       15   back, you know, because of geologic conditions are         15   mineralogists and petrologists do all the time, and
       16   variable, you can have metamorphism that heats up an       16   basically, we often will refer to a given phase diagram.
       17   area or then cools down. You can then -- the geologic      17   People spend their entire lives perfecting phase
       18   conditions then can cross those phase boundaries, and      18   diagrams. That was typically in the '50s, '60, '70s and
       19   you essentially can have minerals that are stable for a    19   '80s.
       20   while and then revert. But, often, those reversions are    20              So people will actually refer to specific
       21   not necessarily complete. And to substantiate that --      21   phase diagrams by people. So one of my committee
       22   BY MR. FROST:                                              22   members, when I was on my Ph.D., he had the best phase
       23        Q. Can I stop you right there?                        23   diagram for quartz for some period of time. So we use
       24        A. Yes.                                               24   those phase diagrams. They're commonly used to
       25        Q. Where does Chernoskey say that asbestos            25   interpret mineral associations and assemblages.

                                                      Page 127                                                        Page 129
        1   minerals are common in talc ores? You just told me          1              To further answer the question, the -- I
        2   about how, chemically, things form --                       2   believe it's the Veblen '79. Veblen and Buseck is the
        3         A. The thermodynamic diagram. I'm sorry.              3   science paper that shows the TEM associations, you know,
        4   Go ahead.                                                   4   essentially, these intergrowths of talc and chrysotile.
        5         Q. Yes. You just told me about how                    5   And, essentially, that literature proves the --
        6   chemically talc forms, but where does Chernoskey talk       6   essentially, the interpretation of the assertion I said,
        7   about talc ores and relate that asbestos minerals are       7   that you go between these regions that are of one
        8   common in talc ores?                                        8   condition and another. You don't necessarily get the
        9         A. So this is a mineralogical volume, so              9   full conversion because of the kinetics. Essentially,
       10   this is a review volume, and basically, talc is a          10   either the reaction goes too fast or things basically
       11   mineral that is in talc ores and, therefore, is            11   sort of get frozen in the rock, depending upon the
       12   relevant.                                                  12   various conditions.
       13         Q. So you're telling me how talc forms, and          13   BY MR. FROST:
       14   where on the pressure and temperature scale, you know,     14         Q. Okay. So let's be careful with the
       15   it can go back and forth to, you know, tremolite. But,     15   language we're using here. What you're giving me is a
       16   again, does that, just because something can form in       16   generalization about how talc, the mineral, forms, and
       17   nature, where does it say that asbestos minerals are       17   what other minerals that might be associated with that
       18   common in talc ores? What you're telling me --             18   formation. Is that -- is that fair?
       19         A. Well, these are --                                19         A. I would be hesitant about the word
       20         Q. -- is scientifically how talc forms.              20   "generalization." I mean, these are experiments. They
       21         A. They're commonly associated                       21   take years.
       22   thermodynamically.                                         22         Q. Okay. But --
       23         Q. And that says that in that book?                  23         A. And the data, you know, these boundaries,
       24         A. The diagrams indicate that.                       24   people in the '50s, '60s and '70s, I mean, they put a
       25         Q. Okay. But this is you interpreting                25   great deal of effort into establishing the boundaries.

                                                                                      33 (Pages 126 to 129)
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                                               Mark Krekeler, Ph.D.
                                                      Page 130                                                        Page 132
        1   These are relevant for understanding larger processes of    1               MS. SCOTT: Objection.
        2   metamorphism and understanding, you know, what --           2          A. You can have an ore of talc. The two are
        3   essentially what the history of the earth is. So the        3   not -- so go ahead. Proceed.
        4   diagrams aren't generalized. They're very, very             4   BY MR. FROST:
        5   specific --                                                 5          Q. So where in this book is it specifically
        6         Q. That's why I want you to listen very               6   saying that talc ores, which are ores that have been,
        7   carefully to what I'm asking you. We'll really step         7   you know, talc deposits that have been determined, as
        8   back.                                                       8   you said, to be economically viable, will commonly be
        9              All right. You agree with me, talc ore           9   associated with chrysotile, tremolite, actinolite,
       10   is different than talc, right? Ore means it's the          10   anthophyllite?
       11   deposit that is being mined, right?                        11               MS. SCOTT: Objection.
       12              MS. O'DELL: Objection.                          12          A. The mineral constituency --
       13         A. The mineral talc is a primary --                  13   BY MR. FROST:
       14         Q. But listen to the "ore."                          14          Q. So, again, you're --
       15         A. -- constituent --                                 15          A. -- is -- minerals make up the talc ore.
       16              MR. LAPINSKI: Let him answer the                16   So you can't separate -- you can't separate the ore from
       17         question, Counsel.                                   17   the mineral when you're talking about how it's formed.
       18         A. So the mineral talc is a primary                  18   It's integral. I mean, it's absolutely integral to the
       19   constituent of ore, and you can't --                       19   ore. You know, it would not be an ore if it didn't have
       20   BY MR. FROST:                                              20   talc in it, right? It wouldn't -- you have to have the
       21         Q. And that's why I want you to listen to            21   required constituent in order for it to be an ore.
       22   me. I'm talking about ore. Ore means it's a talc           22               So, therefore, you know, every
       23   deposit that's being mined, right? You wouldn't find a     23   petrologist in the world, every, you know, mineralogist,
       24   piece of talc you found in somebody's backyard and call    24   you know, we refer to these thermodynamic diagrams that
       25   it ore, would you? Ore is a definition of a mineral        25   have been worked out for, you know, now, some of them,

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        1   that's being mined. Do you agree with me there?             1   you know, decades. One was '69 or whatever. So I don't
        2              MS. SCOTT: Objection.                            2   think it's -- it's my professional opinion that these
        3         A. Yeah. Ore is not necessarily a mineral.            3   thermodynamic diagrams adequately relate and describe to
        4   Ore can be multiple minerals.                               4   the mineral phases that occur in talc ore.
        5   BY MR. FROST:                                               5   BY MR. FROST:
        6         Q. Sure. But ore is something that's being            6         Q. Okay. So you are making a
        7   mined, right?                                               7   generalization, based upon the mineral phases, that all
        8         A. Yes. It's something of economic                    8   talc ores --
        9   interest --                                                 9         A. I would be hesitant to call it a
       10         Q. Sure. So in order --                              10   generalization. I mean, it's --
       11         A. -- as opposed to a primary material of            11         Q. Can I finish my question, sir?
       12   interest.                                                  12         A. Yeah. I'm sorry. Sorry. Go ahead.
       13         Q. Okay. So in order to be an ore, it has            13         Q. So, again, can you give me a -- can you
       14   to be something that's being mined, right?                 14   give me a cite that shows that anthophyllite is common
       15              MS. SCOTT: Objection.                           15   in every talc ore mined across the world?
       16         A. No. You can have ores that are not being          16              MS. SCOTT: Objection.
       17   mined. They're just recognized as ore deposits. I have     17         A. Where does it say that in the report?
       18   a book of ore deposits.                                    18         Q. "Asbestos minerals, including chrysotile,
       19   BY MR. FROST:                                              19   tremolite and actinolite and anthophyllite are common in
       20         Q. Okay. It's not this complicated, sir.             20   talc ores."
       21   Just listen to what I'm saying. Talc ore means             21         A. Are common, yes. You said every talc
       22   something different than just a talc, you know, deposit,   22   deposit in the world.
       23   a talc formation somewhere. A talc ore is something        23         Q. Well, no. Show me where -- show me in
       24   that has been identified as a mineable source of talc.     24   there where it says that anthophyllite is common in
       25   Are we fair on that?                                       25   every talc ore across the world.

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        1         A. I think the interpretations of these               1   I mean, this is long recognized.
        2   thermodynamic diagrams indicate that it's --                2   BY MR. FROST:
        3         Q. So it's purely theoretical?                        3         Q. See, that's why -- I fear you're not
        4         A. No. It's experimental.                             4   listening to my questions. My question is: Depending
        5         Q. Okay.                                              5   upon the thermodynamics that were in play in creating
        6         A. Is how the diagrams are designed. And              6   any particular deposit, it will be different. And
        7   then, essentially, these are peer-reviewed articles that    7   depending on the differences, you will get different
        8   are long-standing. So let me just check that to be          8   mineral crystallization within the phases, correct?
        9   sure. Yeah, so there's, you know, these different -- so     9             MS. SCOTT: Object to the form.
       10   Berman '88 is kind of one of these benchmark               10         A. Each situation may be slightly different.
       11   thermodynamic databases, and we use these all the time     11   But the -- to the blunt of the major phases, the
       12   to understand and predict mineral stabilities and          12   thermodynamics is relevant, and actually, you can
       13   understand and interpret the environments.                 13   tweak -- you know, there's other programs that exist.
       14             So, essentially, through the use of these        14             So, for example, on the igneous field,
       15   diagrams over time, we can interpret, you know, the        15   there's a program called MELTS where you can fine tune
       16   condition. So whether it's an ore or talc, you know, is    16   your models. And I think things were being in
       17   immaterial, the thermodynamics don't, don't really care.   17   development for these. You know, essentially, similar
       18         Q. Well, don't you agree with me that                18   types of things exist. There's like geochemist
       19   depending on the temperature, time and pressure, the       19   workbench and other modeling programs that exist.
       20   constituent rock of any particular deposit is going to     20             So, yes, you can -- things will change,
       21   be different? I mean, that's what those phrase diagrams    21   but these diagrams are generalizable in the sense that
       22   say, right?                                                22   they can be applied to multiple regions throughout
       23             MS. SCOTT: Objection.                            23   the -- throughout the world.
       24         A. No. The phase diagrams indicate that              24   BY MR. FROST:
       25   things will be stable under different fields.              25         Q. And that's exactly what I asked you at

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        1   BY MR. FROST:                                               1   the very beginning is these are generalizable tables
        2         Q. That's what I'm talking about. So you'll           2   that you can use to predict what's in a particular
        3   have -- different minerals are stable under different       3   deposit?
        4   pressures and temperatures, right?                          4         A. They're not tables. They're phase
        5             MS. SCOTT: Objection.                             5   diagrams.
        6         A. Not -- because of the kinetics,                    6         Q. Or figures or phase diagrams.
        7   essentially, this lag effect. You know, things are --       7         A. Yeah.
        8   that's not necessarily the case. So diamonds, you know,     8         Q. But so we're right back to where I
        9   the classic example that we use in courses, diamonds are    9   started, and that's these are generalization of how
       10   thermodynamically stable deep in the earth. They get       10   phases work that you can use to predict what's in
       11   brought up and then they -- thermodynamically, they        11   something, but it's not necessarily saying there is this
       12   should persist. But because of the kinetics in that        12   constituent in this particular deposit, correct?
       13   particular situation, the bonds of the carbon are          13             MS. SCOTT: Objection.
       14   really, really strong. That diamond doesn't revert to      14   BY MR. FROST:
       15   graphite.                                                  15         Q. How the phase operated will affect what's
       16             So, essentially, the thermodynamics gives        16   in a particular deposit, right?
       17   us a guide. It is a very, very good guide. But when        17         A. So it's really the combination of the
       18   things cross these boundaries, it takes time to            18   phase diagram. Plus, you know, I keep referring to
       19   essentially equilibrate to the new conditions. And if      19   Veblen.
       20   not enough time evolves geologically, things occur such    20         Q. Yeah.
       21   that you get these relic phases. And in the case of        21         A. So basically, yeah. So the phase diagram
       22   talc ores or talc deposits or whatever you want to call    22   is relevant when things are -- assumed to be absolutely
       23   that, you can have essentially these relics or asbestos    23   perfect when everything is in thermodynamic equilibrium.
       24   minerals, chrysotile, for example, that co-occur. So       24         Q. Yes.
       25   the thermodynamics basically is -- and people know that.   25         A. And it is relevant when it's not. When

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        1   things are not or when they're moving, things               1   BY MR. FROST:
        2   essentially react and progress slowly. But you can have     2         Q. Then you cite Evans 2004 as the basis for
        3   incomplete or imperfect reactions as, you know,             3   that statement?
        4   illustrated by the one Buseck paper, the '79 paper.         4         A. Yes.
        5         Q. So if you want to predict what's in a              5              MR. FROST: Let's mark this.
        6   particular deposit, you have to sort of know what the       6              MR. LAPINSKI: What number is this?
        7   time pressure, the metamorphic history of it, when it       7              VIDEOGRAPHER: Nine.
        8   formed, how stable it was, what it started from, what       8              MR. FROST: I told you I'd forget.
        9   the constituent beginning minerals were, you know. Then     9              (Exhibit 9 was marked for
       10   you can apply that to a phase model?                       10              identification.)
       11         A. If you want to predict -- I'm sorry.              11   BY MR. FROST:
       12         Q. Yeah. And then you can apply it to the            12         Q. Do you recognize this article?
       13   phase model, right?                                        13         A. Yes, I do.
       14         A. No.                                               14         Q. Can you point to me where this article
       15              MS. SCOTT: Objection.                           15   shows that talc and chrysotile are associated with each
       16         A. Well, There's multiple ways of predicting         16   other in deposits?
       17   what a deposit would be, and it's scale dependent, phase   17         A. The thing I was referring to is
       18   dependent. It's dependent on the geology, and it's         18   concluding remarks. "Despite an up temperature
       19   dependent upon tectonics, as well. So there's many         19   transition from lizardite to chrysotile at these
       20   things. So as a mineralogist, you know, one thing that     20   temperatures, the latter remains metastable."
       21   I would heavily rely on are the phase diagrams.            21              So basically in giving these diagrams,
       22   BY MR. FROST:                                              22   the thermodynamic diagrams, because that metastability,
       23         Q. Sure. But you have to know the specific           23   that's the kinetic thing, that's what, essentially, the
       24   history of a formation if you want to do an accurate       24   chrysotile would potentially persist.
       25   prediction of what's in that particular thing. The         25         Q. Okay. So he's not saying that. You're

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        1   phase diagrams are one of the things you'd look at,         1   just interpreting that from this article? That's not
        2   right?                                                      2   his conclusion? That's yours?
        3              MS. SCOTT: Objection.                            3         A. That is the interpretation of the
        4         A. You would use phase diagrams to predict            4   thermodynamic, you know, this article. And I think that
        5   potential, potentially what would be in text, because       5   data supports it as does other, you know, these
        6   you have this kinetic issue, right.                         6   diagrams.
        7   BY MR. FROST:                                               7         Q. What I'm saying is that's not his.
        8         Q. Yeah, and that's based upon the geologic           8   That's not Evans' conclusion. That's you interpreting
        9   formation, all the other factors that come into how that    9   data within the Evans report, correct?
       10   formation was formed, temperature, pressure, time, you     10             MS. SCOTT: Objection.
       11   know, all the things that we've talked about, right?       11         A. Yes, but I'm citing that.
       12         A. You can use the phase diagrams. Also if           12   BY MR. FROST:
       13   you have bulk chemistry data -- if you have bulk           13         Q. Okay. Let's move on. The next
       14   chemistry data, you can use that bulk chemistry data,      14   paragraph, the one that starts "Metamorphic systems." I
       15   sort of figure out and do models to see where things       15   believe it's the last sentence. It says, "Reactions can
       16   are. So you don't necessarily have to know -- so you       16   also progress for some period and then revert to
       17   can, you an model things, and that model would give you    17   asbestiform mineral chrysotile," and it continues
       18   some prediction.                                           18   because it changes.
       19         Q. If you look at the next sentence, it              19             So, hopefully, you'll agree with me on
       20   says, "Talc and chrysotile are associated with each in     20   this one. For it to revert back to chrysotile, it would
       21   talc deposits at the micrometer and nanometer scale        21   have to have started as chrysotile, correct?
       22   making the separation impossible during the mining and     22         A. So that is a possibility. You can go
       23   manufacturing process." Do you see that?                   23   from -- that's what the stability fields are all about.
       24         A. Yes.                                              24   So you can start off as chrysotile. You can cross that
       25                                                              25   phase boundary, and then it can revert back if the

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        1   conditions change back. And, actually, we know this in      1   completely new chemical structure of chrysotile,
        2   metamorphic rocks, that, essentially, the phase             2   correct?
        3   assemblage can basically go back and forth, back and --     3         A. Correct. Not all the time, yeah.
        4   it can revert. So I'm specifically -- I'm talking about     4         Q. Okay. Thank you. Bear with me a second
        5   reverting on that phase boundary.                           5   here. Okay. Next paragraph down after you cite the
        6         Q. Yes, but it can only revert back to                6   various Imerys documents, you said, "A 1977 thesis by
        7   chrysotile if it started at chrysotile, right?              7   Barry Seymour (JNJ 272469) describes the complex
        8         A. So that might be a poor phrasing of the            8   mineralogical development of the specific ore." So are
        9   word, but essentially it's not an inaccurate phrasing.      9   you talking about the specific ore in the Seymour paper
       10   So when I wrote this, I was thinking of these phase        10   or are you talking about the specific ore at issue in
       11   diagrams.                                                  11   this case?
       12         Q. What I'm getting at is, let's say it              12         A. I forget. Can we bring that document up?
       13   started as, you know, a serpentinite or an anthophyllite   13         Q. Yeah, I can get you Seymour.
       14   converted to talc. It's not going to then revert back      14             MR. FROST: Would you like a copy?
       15   to a different crystal, right? It's not going to --        15             MS. SCOTT: Yes, please. Thank you.
       16   it's not going to go from anthophyllite to talc to         16             (Exhibit 10 was marked for
       17   chrysotile?                                                17             identification.)
       18         A. Based on the geologic history, there's            18             MS. SCOTT: Are you marking this?
       19   multiple pathways. So it won't revert to the same magic    19             MR. FROST: Yes, I forget what number it
       20   crystal, if that's what you're implying.                   20         is.
       21         Q. So the way -- and I agree with you. It's          21             MS. SCOTT: Ten.
       22   very inartfully written here. So you say, "Reactions       22             MR. FROST: Ten.
       23   can progress for some period of time and then revert to    23         A. I think "specific" is -- I think it might
       24   the mineral chrysotile." So the reactions of talc can      24   be a typo.
       25   only revert back to chrysotile if that's where they        25

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        1   started from, correct?                                      1   BY MR. FROST:
        2              MS. O'DELL: Objection to form.                   2          Q. Okay.
        3         A. So let me just read the sentence before            3          A. So as I look at this document, I
        4   here, because I think -- "Reactions may also be             4   basically remember looking at the introductory material
        5   incomplete, meaning there may not be enough geologic        5   in it. So --
        6   time or other chemical component to drive the reaction      6          Q. You'd agree with me it's a thesis about
        7   to completion as discussed in Deer, Howie and Zussman.      7   the East Johnson mine?
        8   Reactions can also progress for some period of time,        8          A. I would have to reread the document.
        9   then revert to asbestiform mineral chrysotile because of    9          Q. If I would represent to you it's about
       10   changes in geologic conditions."                           10   the East Johnson mine and if you actually look at the
       11              So, in part, I think I'm referring to           11   abstract --
       12   Deer, Howie and Zussman. I don't think I've said           12          A. Foley and Johnson.
       13   anything inaccurate there. It's not exclusive to --        13          Q. And you'd also agree with me the East
       14   BY MR. FROST:                                              14   Johnson mine was never one that was used for cosmetic
       15         Q. I'm trying to clarify --                          15   talcum powder by Johnson & Johnson, correct?
       16         A. You know, you can have reactions, you             16               MS. O'DELL: Objection to form.
       17   know, that's not complete.                                 17          A. It may not have been used, but it is in
       18         Q. So what I'm getting at, it's a really             18   the same general geology. And, certainly, in geology,
       19   simple question. The reversion won't always be from        19   it is part of the same general terrane, so therefore,
       20   talc to chrysotile, right? It will only revert back to     20   it's not exactly like the hammer, the Rainbow mine, but
       21   chrysotile if that's where it started. Do you agree        21   it is relevant because it's geologically connected in
       22   with me there? So while it may be correct that if it       22   the sense of the terranes.
       23   starts as chrysotile, partially transforms to talc and     23   BY MR. FROST:
       24   reverts back to chrysotile, that makes sense. But if it    24          Q. So you're telling me that it has the same
       25   starts as something else, it's not going to revert to a    25   formation as the deposits in the Hammondsville and

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        1   Rainbow mines or are you just saying --                    1   define the geology as a whole, you know. So they want
        2         A. I don't remember specifically, but                2   to know where ore is and where ore is not, if there is
        3   essentially the geology, so...                             3   problematic areas. So, for example, the mine I work
        4         Q. The second half of my question, or is it          4   with in Nevada, they have a formation, Stebbins Hill
        5   more that you're basing it on they're all part of the      5   unit that they avoid, because it's got all kinds of
        6   ultramafic belt, the Appalachian ultramafic belt that      6   problematic stuff in it.
        7   runs from Quebec through Georgia?                          7         Q. And that's probably a pretty good
        8         A. It is more the general geologic                   8   example. I take it they -- every now and again, they
        9   association.                                               9   take samples from the problematic portion of that mine,
       10         Q. Okay. That's all I was going to ask              10   correct?
       11   about that.                                               11         A. They sample everything as they go. So
       12         A. Page 15 is geologic map of Vermont. It           12   I've seen datasets of 20,000 from a single -- single
       13   shows things being connected.                             13   level.
       14         Q. Well, it shows the Appalachian ultramafic        14         Q. So what I'm getting to is just because
       15   belt running through Vermont, correct?                    15   you have a test of -- you know, a test coming back from
       16         A. Yes.                                             16   a mine doesn't necessarily mean that the rock associated
       17         Q. Turn to page 6 of your report, the               17   with that test makes it into the final product, right?
       18   "Common toxic metals of interest." So before we start     18              MS. SCOTT: Objection.
       19   looking at any specific documents, will you agree with    19         A. I don't -- there's no -- I didn't see any
       20   me that seeing metals at certain levels in deposit        20   specific chain of custody, so I can't, you know.
       21   samples is different than seeing metals in certain        21   BY MR. FROST:
       22   levels in a finished talcum powder product?               22         Q. I'm talking from a general perspective.
       23             MS. SCOTT: Objection.                           23   They're sampling a lot more of the rock than that
       24         A. It can be metals in processing. It could         24   ultimately ends up in a final product in a mine,
       25   be reduced or they could also be increased depending      25   correct?

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        1   upon the details of the processing. I don't think I saw    1             MS. SCOTT: Objection.
        2   any documents, although I requested documents, any         2        A. So there's a difference between coring to
        3   documents about the detail, you know, before -- before     3   define your geology and then mining --
        4   and after, kind of full throughput, you know, as far as    4   BY MR. FROST:
        5   watching a specific sample go through, but, yeah.          5        Q. Uh-huh. That's what I'm saying.
        6   BY MR. FROST:                                              6        A. -- to get your product.
        7         Q. You'd also agree with me, too, that               7        Q. So just because you find something here
        8   sometimes mine samples aren't necessarily from the ore     8   doesn't necessarily mean that that ends up, that
        9   that is used in the final product. It might be from a      9   particular test sample ends up in the final ore that
       10   boundary. It might be from a surrounding rock, a black    10   makes it to the grinding process for final talc,
       11   wall. Just because you see something in a sample          11   correct?
       12   doesn't necessarily mean that that's the ore that is      12             MS. SCOTT: Objection. Speculation.
       13   then converted over into the final powder as well,        13        A. Yeah. You don't -- that would be
       14   correct?                                                  14   speculative or you -- it doesn't mean it doesn't.
       15              MS. SCOTT: Objection.                          15   BY MR. FROST:
       16              MS. O'DELL: Object to form.                    16        Q. But, again, that's why --
       17         A. I am confused by the question. As I              17        A. So --
       18   think I understand you, can contaminants or other         18        Q. Okay. I'll ask you this way. Does every
       19   material that is not the primary ore be included in the   19   single sample that's ever tested in a mine --
       20   ore processing?                                           20             MS. O'DELL: Excuse me. You guys just --
       21   BY MR. FROST:                                             21             MR. FROST: Sure.
       22         Q. Other way around. When you sample a              22             MS. O'DELL: If you'd give him a chance
       23   mine, when you drill sample holes, they're not just       23        to finish.
       24   drilling the mineable ore body, correct?                  24             MR. FROST: I thought he did finish his
       25         A. Generally correct. They're looking to            25        question.
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        1              MS. O'DELL: I don't think he did. I'm            1   hypothetical questions here. I'm trying to get down to,
        2         sure he needs to give you an opportunity to           2   and again, as part of the mining process, you sample to
        3         finish as well --                                     3   determine which parts of the ore you avoid and which
        4              MR. FROST: I'm sorry. I thought you had          4   parts of the ore you mine, right?
        5         finished your question.                               5         A. Yes. That is a common procedure.
        6              MS. O'DELL: But you're talking over each         6         Q. So just because a sample comes up and has
        7         other. In fact, you just interrupted me.              7   a hit of a particular chemical in it doesn't necessarily
        8         A. That's why I was distracted. Can you               8   mean that they then use that as a final product, because
        9   restate your question again, please?                        9   part of sampling is to tell you what parts of the mine
       10   BY MR. FROST:                                              10   to avoid, right?
       11         Q. Sure. So my question is: Every sample             11              MS. SCOTT: Objection.
       12   that comes out of a mine doesn't -- you know, everywhere   12         A. Potentially. But there's reasonable
       13   they're sampling, they're doing core outside of the talc   13   risk. If you find it in one spot, it might be near
       14   body. They're coring through. They're trying to find       14   another spot. When you have high concentrations, such
       15   areas of ore they don't use. Do you agree with all         15   as those observed, it's a natural. Essentially, you
       16   these as just general mining concepts?                     16   have gradients that occur over some degree of space. So
       17         A. Generally.                                        17   you, you know, so arsenic might have, you know, a
       18         Q. Okay.                                             18   thousand parts per million in one spot and be zero in
       19         A. But it -- go ahead.                               19   another, but without, you don't know where to mine,
       20         Q. And you also agree with me that,                  20   where that's cut -- cut off.
       21   generally, mines aren't just sampling from the ore they    21   BY MR. FROST:
       22   are using to put into a final product, correct?            22         Q. But, again, but my question's very easy,
       23              MS. SCOTT: Objection.                           23   and it's just because you see something here doesn't
       24         A. Correct. But that doesn't mean that --            24   mean it's there, right? You'd have to know more?
       25   that doesn't mean that you're not, when you sample and     25              MS. SCOTT: Objection.

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        1   find things like asbestos, it doesn't negate that they      1   BY MR. FROST:
        2   exist.                                                      2         Q. Right?
        3   BY MR. FROST:                                               3         A. Correct.
        4         Q. Okay. Here's my next question: Based on            4         Q. Okay. And just because something shows
        5   that, just because a sample comes back with a particular    5   up here doesn't necessarily mean it's going to end up in
        6   level of some, say, heavy metal, you know, just because     6   what becomes the mill feed, right?
        7   some sample in a mine somewhere came up with a level of     7             MS. SCOTT: Objection.
        8   chromium, for example, based on that sample, you can't      8         A. Correct. But there's always the
        9   say, without knowing more, that that particular area        9   potential for it to do so.
       10   where the sample came from ultimately ended up in talcum   10   BY MR. FROST:
       11   powder that consumers used, right?                         11         Q. Okay. And you also agree with me that
       12              MS. SCOTT: Objection. Calls for                 12   beneficiation is one way that mines specifically for
       13         speculation.                                         13   talc can clean out some of the accessory minerals and
       14         A. So, yeah, I think it is speculative,              14   some of the heavy metals, right?
       15   because you're talking about one powder. There's many,     15             MS. O'DELL: Object to the form.
       16   many analyses of things. So you're not -- you're not       16         A. Beneficiation works when applied
       17   gonna spend a huge amount of time on things that are not   17   properly. I'm not a mineral engineer, so I don't fully
       18   directly related to your work, because, you know, you do   18   think I can comment on details of that.
       19   have to keep costs in mind. So, you know, if -- you        19   BY MR. FROST:
       20   know, there were numerous, numerous, numerous analyses     20         Q. Okay. But you agree with me that
       21   of arsenic, for example, in some of the Vermont            21   beneficiation is one way in which you can reduce the
       22   material. So, you know, some of those were related to      22   amount of, say, a heavy metal that ends up in a final
       23   ores. And let's look to --                                 23   product, correct?
       24   BY MR. FROST:                                              24             MS. SCOTT: Objection.
       25         Q. We don't need to. I'm asking very just            25         A. I would rather not comment, so the --

                                                                                      39 (Pages 150 to 153)
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                                              Mark Krekeler, Ph.D.
                                                     Page 154                                                        Page 156
        1   BY MR. FROST:                                              1   beforehand, and basically, they walked away with $50,000
        2         Q. You comment in your report specifically           2   worth of aquamarines. So gem mining certainly is
        3   about the beneficiation going on at the Vermont mines.     3   something that you could selectively mine.
        4   So is that not something you're going to opine on here?    4              Gold is another example where there are
        5              MS. SCOTT: Do you want to point him to          5   deposits in Nigeria where, essentially, groups of women
        6         the place in his report?                             6   go out and they selectively, you know, go through,
        7         A. Yeah. Sorry. Is this the Colorado mines           7   basically pan and find gold nuggets. I think it's --
        8   study?                                                     8   you know, it really depends on how you say selective
        9   BY MR. FROST:                                              9   mining, and so the thing that, you know -- did I answer
       10         Q. Yeah, it might be. I don't have it right         10   that?
       11   in front of me. It's something that I think we can get    11          Q. I'm listening to your explanation, yeah.
       12   back to later. But you agree with me as a general         12          A. Okay. So selective mining, I think in
       13   mining concept --                                         13   the context of talc deposits, is -- I really don't think
       14         A. I'd like to see the document.                    14   you can effectively do it. So with respect to Chinese
       15         Q. Yeah. Well, I'm asking you general               15   ore that is supposedly hand sorted -- let me find where
       16   concepts, because you are giving opinions about the       16   that section is. So if you're -- yeah, as I understand
       17   mining that was going on at these mines, correct?         17   it, they basically look at the rock and say it's okay.
       18         A. Yes.                                             18   There's nothing wrong.
       19         Q. And beneficiation is one thing that mines        19              Well, there's several issues with that.
       20   use, correct?                                             20   So, one, the human eye cannot detect either metals or
       21         A. Yes.                                             21   small asbestos fibers by simply looking at, at the rock,
       22         Q. And beneficiation can be used to reduce          22   at the surface of the rock, right? So, essentially, you
       23   the amount of contaminants that are in an ore, correct?   23   can do it. You can visually inspect the outside of the
       24              MS. SCOTT: Objection.                          24   material, and you would not be able to visibly see if
       25              MS. O'DELL: Objection to form.                 25   there's a thousand parts per million of nickel or

                                                     Page 155                                                        Page 157
        1         A. Reduce, but not purify.                           1   chromium or some other element.
        2   BY MR. FROST:                                              2              And then, in addition, you can have
        3         Q. It can be used to reduce, correct?                3   inclusions of stuff in the rock that you could not --
        4              MS. SCOTT: Objection.                           4   you just physically can't see. So there's a
        5         A. Potentially, if executed well.                    5   hypothetical risk that you can have inclusion of, let's
        6   BY MR. FROST:                                              6   say, sulfides, a lot of sulfides, a nodule that has a
        7         Q. Okay. And selective mining is another             7   lot of sulfides in it, that, in this chunk, you would
        8   tactic that can be used in an ore to try to reduce         8   not be able to visually discern what was there. So and
        9   contaminates, correct?                                     9   then, you know, so you basically -- and so that's the
       10              MS. SCOTT: Objection.                          10   sorting, as I understand it, with China.
       11         A. No. There's -- the selective mining was          11         Q. Do you agree with me that -- so, is it
       12   an issue, significant issue that I found. And the         12   your opinion that selective mining for talc can never
       13   reason --                                                 13   work or do you agree with me that selective mining is
       14   BY MR. FROST:                                             14   one of the tools that a mine can use to help to purify
       15         Q. I'm asking in general, sir. Can                  15   its ore?
       16   selective mining --                                       16         A. I would say in the context of -- in the
       17         A. In general, I don't -- you know, I think         17   context of talc, selective mining is not very effective,
       18   it really depends on what you mean by "selective          18   because the scale of the issue is with the ore.
       19   mining." So I think a good effective example of           19         Q. Okay. Other than your personal opinion,
       20   selective mining would be gemstones. So you find a        20   can you cite to me any peer-reviewed or scientific
       21   pegmatite. You go -- actually, there was a group that     21   source that supports that?
       22   did this a couple years ago. They went to a site in       22              MS. SCOTT: Objection.
       23   Colorado. They basically looked at the geology. They      23         A. I don't think there's any peer-reviewed
       24   selectively looked at specific lithologies. They were     24   literature that I can think of. I think it's just
       25   able to narrow it down. They did a lot of research        25   common sense. You know, everyone knows that you can

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                                                      Page 158                                                        Page 160
        1   hide -- you can have inclusions and impurities in an        1   basis of this is Van Gosen 2004. I'm going to mark
        2   ore. And if you're only using your eyes and you're only     2   that.
        3   hand sorting things -- plus there's human error.            3         A. Okay. It's the environmental earth
        4   There's just simply human error. If someone, you know,      4   science paper?
        5   is, you know -- they'll just make mistakes.                 5         Q. What's that?
        6              And then the other issue I think is              6         A. It's the environmental earth science
        7   unclear, I didn't find any degree of training, you know,    7   paper? It's the journal?
        8   or no description of the training methods that were used    8         Q. Yes. Environmental Geology, 2004.
        9   for hand sorting. So an ore-controlled geologist is a       9         A. Oh, yeah. That's currently -- the
       10   common, common position in mines.                          10   journal name changed. I had a few papers in it. Is
       11              One of my former students, he's an              11   there a copy of it?
       12   ore-controlled geologist in Stillwater, and it takes       12         Q. The court reporter's marking it.
       13   three months of training for them to delineate the ore.    13             (Exhibit 11 was marked for
       14   So that is an example of selective mining, but there's a   14             identification.)
       15   high level of effort that goes into it, and the goal is    15   BY MR. FROST:
       16   platinum. And, basically, the way that particular mine     16         Q. Since we've already established we're
       17   is set up is to extract the platinum. They're not          17   talking about the same paper, can you show me anywhere
       18   really -- they don't have to worry about other             18   in this paper that Van Gosen specifically speaks about
       19   contaminants that might be present.                        19   any of the mines that you've listed here in your report?
       20   BY MR. FROST:                                              20         A. Correct. No specific mine is listed. It
       21         Q. Okay. I'm going to stop you because we            21   talks about Vermont talc, in general.
       22   keep getting off on a lot of these tangents. My            22             (Exhibit 12 was marked for
       23   question was: Can you point me to any mining studies or    23             identification.)
       24   anything else that say that selective mining does not      24   BY MR. FROST:
       25   work for talc?                                             25         Q. I've now marked the Ross article. It's

                                                      Page 159                                                        Page 161
        1         A. I know of no peer-review publications.             1   Ross 74. "Environmental Health Perspectives." She's
        2         Q. Okay. Thank you. Turn to page 7 of your            2   already marked it for you.
        3   report. It's 7 into 8, actually. You know, we start         3         A. Oh.
        4   talking about the various regions that talc is sourced      4         Q. Same question. Can you show me where in
        5   from, correct?                                              5   this article it details any mine actually used by
        6         A. Yes.                                               6   Johnson & Johnson?
        7         Q. Okay. On page 7 to 8, you list various             7              MS. SCOTT: Objection.
        8   time frames and various mines, you know, from which you     8         A. I don't see mention of a specific mine.
        9   believe. I take it this came from your review of the        9   BY MR. FROST:
       10   documents, the timeline that you put forth here?           10         Q. Next, I'm going to mark -- I'm sorry.
       11         A. Just give me a moment to review.                  11         A. Go ahead.
       12         Q. The easier way to ask is: Is this                 12         Q. I didn't mean to cut you off if you
       13   something that was provided to you or is this something    13   weren't done. Next I'm going to mark Document
       14   that you came up with yourself?                            14   JNJ 000521616, the first page of it, anyway.
       15         A. I came up with it.                                15              (Exhibit 13 was marked for
       16         Q. Okay. So at the very end of it, so we             16              identification.)
       17   talked about all the various mines, and afterwards, you    17   BY MR. FROST:
       18   have a sentence that reads, "These mines are known to      18         Q. Do you remember looking at this document?
       19   have impurities associated with talc, including toxic      19         A. Actually, I'm unsure.
       20   metals, chrysotile, and amphibole asbestos." Do you see    20         Q. Okay.
       21   that?                                                      21         A. I might have used the wrong number.
       22             MS. O'DELL: Objection to form.                   22         Q. Okay. But you agree with me this doesn't
       23         A. Yes.                                              23   talk about any of the mines, certainly, right?
       24   BY MR. FROST:                                              24         A. Right. Yeah.
       25         Q. Okay. So the first thing you note as the          25              MS. SCOTT: Object to form.

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                                              Mark Krekeler, Ph.D.
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        1             MS. O'DELL: Object to form.                       1   as amphibole and grit and stuff like that, correct?
        2         A. Correct. I -- I haven't -- I don't think           2         A. So, for example, the one ending in 87231,
        3   I've seen this. I think I used -- there's a typo or         3   "Battelle Memorial Institute document dated 1958,
        4   something in there. Sorry.                                  4   indicated the presence of tremolite in the talc,
        5   BY MR. FROST:                                               5   commonly at levels ranging from 1-3 percent. That
        6         Q. No. That's okay. That's why we're --               6   document also studied the abrasiveness and grit of
        7   that's why we're doing this.                                7   Italian talc." So that's something, that the grit is in
        8             All right. If you turn to page 14 of              8   addition to the finding of tremolite.
        9   your report under, "Evidence that Asbestos Occurred in      9         Q. Do you agree with me that none of these
       10   Defendants' Mines." The first sentence reads, "The         10   documents actually find asbestos or define that they
       11   documents I reviewed provided strong evidence that the     11   have found asbestos in any of the ore from Italy?
       12   talc used by Imerys and Johnson & Johnson to produce       12              MS. O'DELL: Object to the form.
       13   Johnson's Baby Powder and Shower to Shower came from       13         A. I would want to double-check all of
       14   mines that contained asbestos minerals or fibrous talcum   14   these, but they do two things. The last one, presence
       15   in an asbestiform habit." Did I read that right?           15   of tremolite and actinolite and, also, tremolite and one
       16         A. Yes.                                              16   that I just mentioned. And tremolite is a -- recognized
       17         Q. And looking back, you cite the same exact         17   as a carcinogen by IARC 2012.
       18   documents as we just -- as the last sentence, correct?     18         Q. Can you show me anywhere in your report
       19             MS. SCOTT: Objection.                            19   that you note that tremolite is found by IARC to be a
       20         A. It's in the report.                               20   potentially dangerous mineral, you know, a human
       21   BY MR. FROST:                                              21   carcinogen?
       22         Q. Yeah. Okay. And you'd agree with me,              22              (Exhibit 14 was marked for
       23   you know, that these materials don't actually relate       23              identification.)
       24   directly to the mines used by Johnson & Johnson as         24         A. I can't find a specific example.
       25   identified on pages -- I believe it's 7 and 8 of your      25
                                                      Page 163                                                        Page 165
        1   report, right?                                              1   BY MR. FROST:
        2              MS. SCOTT: Objection.                            2         Q. And you're not qualified to say whether
        3              MS. O'DELL: Objection to form.                   3   or not a particular mineral would be harmful, you know,
        4         A. I would have to read -- double -- I would          4   as a human carcinogen. You have no basis by which to
        5   want to double-check each individual document.              5   say that's correct or not correct, right?
        6   BY MR. FROST:                                               6              MS. SCOTT: Objection.
        7         Q. But, certainly, the ones we just looked            7         A. Correct. I'm not a medical.
        8   at --                                                       8   BY MR. FROST:
        9         A. The one we just looked at.                         9         Q. Okay. All right. What number was that?
       10         Q. -- certainly don't support that, right?           10   Fourteen. So I've just marked -- I've given you a
       11         A. Correct.                                          11   binder marked 14. It has tabs 1 through 5. I'm sorry.
       12         Q. Okay. All right. Move on to the next              12   I have yours. I apologize.
       13   section of the report. It's "Mines in Italy," pages 8      13              So these are the various documents you
       14   to 9, I believe, of your report.                           14   cite in your report. So let's look through each of
       15         A. Oh, 8 to 9.                                       15   them. We'll start with 1.
       16         Q. Then on page 9, it's the third paragraph.         16              MS. O'DELL: Let's get this one back
       17   You have, "Based on what I have reviewed, I have           17         together.
       18   sufficient basis to conclude that Italian ore was of       18              MR. FROST: Oh, did it come apart?
       19   poor quality," correct?                                    19              MS. O'DELL: Yes. Is there a particular
       20         A. Yes.                                              20         part of his report that these came from or are
       21         Q. What are you talking about there when you         21         you jumping around?
       22   say "poor quality"?                                        22              MR. FROST: Yes. No, we're talking about
       23         A. That I'm referring to the findings of the         23         the report now. They're page 9 to 10. These
       24   items listed below.                                        24         are the documents that support the
       25         Q. These items are talking about things such         25         ore-is-of-poor-quality statement.

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                                               Mark Krekeler, Ph.D.
                                                      Page 166                                                        Page 168
        1   BY MR. FROST:                                               1   BY MR. FROST:
        2         Q. So this first one, can you tell me                 2         Q. But it's JNJAZ55_6104. I think it starts
        3   anywhere in the Battelle report that starts JNJ 87868,      3   at 6103, but 6104 is the letter. The one, two, three --
        4   that they note the trace amounts of amphibole are           4   fourth paragraph down says, "I have also checked into
        5   asbestiform in any way?                                     5   the mineralization of that part of the territory, and
        6              MS. O'DELL: Object to the form.                  6   the minerals which show in the valley are: Talc,
        7         A. No, I don't.                                       7   pyrite," magnesite -- sorry, "magnetite, calcite,
        8   BY MR. FROST:                                               8   dolomite, apatite, clinochlore," sorry, "chrysotile,"
        9         Q. Okay. Turn to tab 2, which is -- the               9   and then, you know, talks about others, including
       10   document starts JNJ 87231. Same question. Can you tell     10   tremolite, actinolite, correct?
       11   me anywhere in here where, I believe it's Battelle         11         A. Yes.
       12   again, identifies finding any asbestiform mineral?         12         Q. And this is talking about the valley.
       13              MS. SCOTT: Objection.                           13   There is nothing in here that indicates that this is
       14         A. So tremolite is noted as trace on page 4          14   talking specifically about the Fontaine mine, correct?
       15   here.                                                      15              MS. SCOTT: Objection.
       16   BY MR. FROST:                                              16              MS. O'DELL: Objection.
       17         Q. Does it note the trace tremolite has              17         A. It's unclear.
       18   asbestiform?                                               18   BY MR. FROST:
       19         A. No, it does not.                                  19         Q. Dr. Ashton also isn't saying that any of
       20         Q. So you'd have no way to tell whether or           20   these minerals have been found in the ore coming from
       21   not it's asbestiform or non-asbestiform based on this      21   the Fontaine mine, correct?
       22   document?                                                  22              MS. O'DELL: Objection to form.
       23              MS. O'DELL: Object to form.                     23              MS. SCOTT: Objection.
       24              MS. SCOTT: Objection.                           24         A. Correct, but mineralization of that part
       25         A. The -- it has been so, "The amphibole             25   of the territory. So...
                                                      Page 167                                                        Page 169
        1   component has been established to be the variety of         1   BY MR. FROST:
        2   tremolite." Yeah. It does not say that it is asbestos       2         Q. But there can be different mineral
        3   form, but it is tremolite.                                  3   profiles throughout the valley depending on when it
        4   BY MR. FROST:                                               4   formed, what it formed from?
        5          Q. Okay. Turn to tab 17 -- or sorry, tab 3.          5         A. Yes, and it could be present because of
        6   It's the document Bates numbered JNJAZ55_213.               6   the association observed.
        7                And, again, I think it mentions tremolite      7         Q. Unfortunately, there's just no way to
        8   and actinolite as things that may be in the ore, but it     8   tell from this document, correct?
        9   doesn't talk about whether or not anything's asbestiform    9              MS. SCOTT: Objection.
       10   or any levels, correct?                                    10              MS. O'DELL: Object to form.
       11          A. True. It does say tremolite and                  11         A. Correct.
       12   actinolite.                                                12   BY MR. FROST:
       13          Q. Turn to tab 4. Somebody's conveniently           13         Q. All right. Turn to tab 5. It's the
       14   put an arrow, I think, to the paragraph that you're        14   document that starts JNJAZ_87. This is the Pooley
       15   relying on. It states -- sorry, this is the document       15   report from 1972. It's very long, so I'll help you out.
       16   that starts JNJAZ --                                       16   If you turn to the very end of it --
       17                MS. O'DELL: Just to make clear --             17              MS. O'DELL: Doctor, feel free to --
       18                MR. FROST: It's on the document.              18   BY MR. FROST:
       19                MS. O'DELL: It's the original.                19         Q. Yeah. I was going to say, you can review
       20                MR. FROST: Yeah. I was going to say,          20   the whole thing if you want, but I'm going to
       21          it's not something we've done.                      21   concentrate on the "Conclusions" section.
       22                MS. SCOTT: Or anyone else?                    22              If you look at -- it's on page 121 of the
       23                MR. FROST: Yes. It's part of the              23   report.
       24          original document as produced.                      24         A. Oh, this one.
       25                                                              25         Q. Do you recognize that you've seen this
                                                                                      43 (Pages 166 to 169)
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                                               Mark Krekeler, Ph.D.
                                                       Page 170                                                       Page 172
        1   one?                                                        1   formed from the amphibole mineral found at the mine were
        2        A. Yeah.                                               2   hardly fibrous in character, the majority of the
        3        Q. The quality's bad.                                  3   tremolite breaking to give compact particles," correct?
        4        A. Oh, there's -- you can see chrysotile.              4          A. It also said, "Those fibres formed were
        5   "Examples of commercial amphibole and chrysotile            5   short and had a very large diameter." So fibers were
        6   asbestos particles together with typical selected area      6   formed. But, yeah, you're correct.
        7   electron diffraction patterns." Yeah. So the images         7          Q. So, again, it's his opinion that there
        8   are here, but, yeah. So, yeah. That's right. That           8   was no asbestos in that test, correct?
        9   page you can't tell.                                        9                MS. O'DELL: Object to the form.
       10             MS. O'DELL: What page are you on?                10                MS. SCOTT: Objection.
       11             THE WITNESS: I'm on Page 56. I'm sorry.          11   BY MR. FROST:
       12             MS. O'DELL: Yeah. No, no. I'm just               12          Q. But that the tremolite was not
       13        trying to follow along. You go where you need         13   asbestiform. I think they were just called the
       14        to go.                                                14   amphibole, but the amphibole that he found was not
       15        A. Amosite asbestos particles there.                  15   asbestos, correct?
       16   BY MR. FROST:                                              16          A. Correct.
       17        Q. Again, the chrysotile you pointed out on           17          Q. Turning back to your report, page 10, the
       18   56, he's showing you an example of what a commercial       18   "Mines in Vermont." So I think we talked about it a
       19   chrysotile looks like, right, not a picture of what came   19   little bit, but I think you and I will agree the
       20   from the talc. Do you agree?                               20   Appalachian ultramafic belt is where the talc is found
       21             MS. O'DELL: Object to the form.                  21   in Vermont, correct? I think it's your second sentence.
       22        A. What's your question?                              22          A. Yes. Yeah.
       23   BY MR. FROST:                                              23          Q. Now, do you have the opinion that all the
       24        Q. When you just talked about 56, the                 24   ultramafic rocks within the Appalachian belt had the
       25   picture of chrysotile you're talking about is a            25   same general metamorphic histories and formation

                                                       Page 171                                                       Page 173
        1   reference to --                                             1   histories and profiles?
        2          A. I just recognized it.                             2         A. No. There would be some variability.
        3          Q. Okay.                                             3         Q. Okay. I agree with you. So have you
        4               MS. O'DELL: Object to the form.                 4   ever looked at the local geology for the formation
        5   BY MR. FROST:                                               5   associated with the Hammondsville mine?
        6          Q. So if you look at the fourth paragraph            6         A. I've never been on site. I've never been
        7   down on page 121, Pooley's page 121, it's page 210 of       7   to the mine.
        8   the Bates number. The conclusion is "The only               8         Q. Have you ever looked at any geological
        9   asbestos-type mineral to be detected in the hand samples    9   survey specific to the Hammondsville mine deposit?
       10   was tremolite, which was found in three specimens." If     10         A. The Hammondsville?
       11   you go down to the next sentence, it says, "no tremolite   11         Q. Yes.
       12   was detected in the talc-type specimens." Is that          12         A. Yeah. Yeah. I see its geological
       13   right?                                                     13   survey.
       14               MS. O'DELL: Object to the form.                14         Q. I see the one you've typed here. That's
       15          A. That's what it says, yes.                        15   really just geological survey showing you where it is,
       16   BY MR. FROST:                                              16   correct? That doesn't tell you about the morphology and
       17          Q. Okay. So, again, Pooley did not find any         17   the geological deposit formation?
       18   tremolite in the actual ore or the talc, correct?          18         A. I think there's some geologic data that's
       19               MS. O'DELL: Object to the form.                19   associated with it. I don't remember specifics.
       20               MS. SCOTT: Objection.                          20         Q. Okay. So and this is true for -- it's
       21          A. As it reads, yes.                                21   27, 28, 29 and 30, your footnotes, correct? These are
       22   BY MR. FROST:                                              22   all, you know, USGS website hits for Hamm, et cetera?
       23          Q. And if you go to the next page, page 122,        23         A. Yeah.
       24   it's the first full paragraph, the second paragraph on     24         Q. Have you ever looked at any of the USGS
       25   the page. About halfway down, it reads, "Particles         25   actual reports or surveys that were done examining the

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                                              Mark Krekeler, Ph.D.
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        1   talc in these particular mines?                            1   geological survey?
        2         A. I believe I have.                                 2         A. As stated, yeah.
        3         Q. Do you recall which ones they are?                3         Q. Any reason this would not have come up in
        4         A. Not specifically at the moment.                   4   your search?
        5              MS. SCOTT: Before you get into this             5              MS. SCOTT: Objection.
        6         next --                                              6         A. I didn't search for this particular
        7              MR. FROST: Do you want to take a break?         7   document. When I was doing my search for the
        8              MS. SCOTT: Yeah, let's do that. We've           8   peer-review literature, you know, I use, like, Web of
        9         been going about an hour and a half, I think, is     9   Science. So Web of Science has, essentially, this
       10         that right, or about an hour?                       10   higher level of peer-review material. So this isn't
       11              MS. O'DELL: Hour and 13 minutes.               11   necessarily -- these types of reports aren't included in
       12              VIDEOGRAPHER: We're now going off the          12   that, but I did use Google to search things, and that's
       13         record. The time is 2:39.                           13   how I found some of the other things. So -- but, no, I
       14              (A recess was taken from 2:39 to 2:58)         14   don't believe that I've seen this report.
       15              VIDEOGRAPHER: We're now back on record,        15   BY MR. FROST:
       16         and the time is 2:58.                               16         Q. Okay. Given your rendering opinions
       17              (Exhibit 15 was marked for                     17   about the geology specifically at the Vermont talc
       18              identification.)                               18   deposits, any particular reason you didn't search the
       19   BY MR. FROST:                                             19   geological surveys, the USGS surveys regarding the
       20         Q. All right. I'm going to start -- can you         20   areas?
       21   grab, I think, number 15? It's the 1951 geological        21              MS. SCOTT: Objection.
       22   survey from Chidester. Have you ever seen this article    22         A. I looked at the literature that I thought
       23   before?                                                   23   was relevant, based on my professional opinion.
       24         A. I don't remember. Let me look at my              24   BY MR. FROST:
       25   references, the author or the agency. It doesn't appear   25         Q. The next one marked. Take a look at --
                                                     Page 175                                                        Page 177
        1   to be on my reference list.                                1   yep, the next one.
        2        Q. Okay. Turn to page 28 of the report.               2              MS. O'DELL: What's the exhibit number on
        3             MS. SCOTT: And, Doctor, feel free to             3         this one?
        4        take a look at the entirety of the report if you      4              MR. FROST: Sixteen.
        5        need to.                                              5              (Exhibit 16 was marked for
        6        A. Okay. I'm not sure.                                6              identification.)
        7             MS. SCOTT: Do you have one?                      7   BY MR. FROST:
        8             MR. FROST: Do you need a copy?                   8         Q. And, again, this is Chidester 1964.
        9             MS. SCOTT: Yes.                                  9         A. It's the geological survey. Let me check
       10             MR. FROST: I apologize.                         10   and see if I have that. It doesn't look like I have
       11             MS. SCOTT: That's okay. Thanks.                 11   that in the reference list.
       12             MR. FROST: You're welcome. Sorry about          12         Q. Turn to pages --
       13        that.                                                13         A. So let me look. Can I look at the report
       14             MS. SCOTT: No problem.                          14   and --
       15   BY MR. FROST:                                             15         Q. Yes.
       16        Q. And my question about this paper is: You          16         A. -- just see what the nature is?
       17   agree with me, turning to page 28, that this geological   17         Q. Sure. And, specifically, I'm going to
       18   survey specifically talks about the Hammondsville talc    18   turn your attention to 48 and 49.
       19   mine, correct?                                            19         A. 48 and 49, okay. Let me look at the
       20        A. Turn to page 28. Let's see here.                  20   report in general here.
       21        Q. About halfway down the first column,              21         Q. The question, then, is going to be: You
       22   "Hammondsville talc quarry, Locality 117."                22   agree with me that in this USGS survey, they
       23        A. 28, Locality 117. Okay. I see that.               23   specifically ran chemical analysis of ore coming out of
       24        Q. So you agree with me this paper talks             24   the Hammondsville mine? I guess it's typed ore mill
       25   about the Hammondsville talc mine, correct, this          25   product.

                                                                                     45 (Pages 174 to 177)
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        1         A. Yes. It says, "Chemical analyses of a             1               MS. O'DELL: Let him finish.
        2   variety of talc in Vermont," and the year on this is --    2         A. Power diffraction was beginning to be
        3   well, I'm sorry.                                           3   common and then chemical analyses. So I didn't
        4         Q. I believe it's 19 --                              4   necessarily exclude it based on -- or I didn't really --
        5         A. So 40a, 40b and 40c. The source is from           5   I just -- I didn't find it, but I didn't -- you know,
        6   Spence, so let's see what Spence 1940 is. So at that       6   these are older references and I would not --
        7   period of time, most things were done by wet chemistry,    7   BY MR. FROST:
        8   and so the -- there were limitations as far as the         8         Q. That was question is you didn't find
        9   detection limits. So I'm sorry. 1940.                      9   this, right?
       10         Q. Well, again, my question --                      10               MS. SCOTT: Objection.
       11         A. Yeah. Go ahead with your question.               11         A. I did not search for a lot of the older
       12         Q. Despite the fact that there is specific          12   literature because the analytical methods dated,
       13   testing of ore in this document as well as Spence,        13   predated what appear to be the operational -- operation
       14   neither of those two documents ever came up in your       14   timelines or --
       15   searches, correct?                                        15   BY MR. FROST:
       16              MS. SCOTT: Objection.                          16         Q. But it doesn't sound like you searched
       17   BY MR. FROST:                                             17   for any USGS surveys regarding these specific mines; is
       18         Q. And this is testing specific to the ore          18   that fair? That wouldn't have come up in your search?
       19   from the Hammondsville mine. Do you agree with me that    19               MS. SCOTT: Objection.
       20   neither Spence nor this paper came up in your searches?   20         A. So specific mines may not -- they're not
       21         A. Correct. I mean, you know, so one of the         21   necessarily in USGS reports. Mines tend to show up in
       22   things is that it depends --                              22   USGS reports if there's permission or --
       23         Q. Well, answer my question.                        23   BY MR. FROST:
       24         A. Yep. I'm seeing if it -- it's not --             24         Q. Sir, I have a limited amount of time, and
       25   actually, Spence is not cited in this document.           25   I really need you to just answer my questions. So my

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        1        Q. It appears to be. Spence?                          1   question is --
        2        A. Pearre, Pearre, Pearre, Pearre, Perry,             2        A. I'm trying to give a thorough answer.
        3   Pratt, Quinn.                                              3        Q. No, no. The question is -- it's a very
        4        Q. If you at page 61, Spence, HS 1940.                4   simple question. Did you search USGS reports for the
        5        A. It's not listed in the --                          5   specific mines that Johnson & Johnson used in Vermont?
        6        Q. Page 61, selected bibliography?                    6             MS. SCOTT: Objection.
        7        A. 61. I'm sorry. I don't see it. Oh,                 7        A. I don't remember.
        8   Spence. I was thinking Pence. Okay. Right. Very            8   BY MR. FROST:
        9   good.                                                      9        Q. Okay. And you certainly didn't cite
       10        Q. Okay.                                             10   them.
       11        A. So, essentially, the -- I don't think the         11        A. I did not cite these. I did not cite
       12   company was mining Hammondsville at that time, was it?    12   these.
       13        Q. My question becomes, did these come up --         13        Q. Do you know what NIOSH is?
       14   despite the fact that there's testing specifically of     14        A. Yes.
       15   ore from Hammondsville in both Spence and this, this      15        Q. Okay. Are you aware that NIOSH has
       16   report did not come up or the Spence report come up in    16   funded an epidemiological study based out of the workers
       17   your searches; is that correct?                           17   of the Vermont mines?
       18             MS. SCOTT: Objection.                           18             MS. SCOTT: Objection.
       19        A. Correct, because the analytical                   19        A. I'm not a medical expert. I only know
       20   techniques at the time, certainly for electron            20   NIOSH really exists. I use it for the basic definition.
       21   microscopy, was in its infancy. Power diffraction         21   BY MR. FROST:
       22   was --                                                    22        Q. So is that a no?
       23   BY MR. FROST:                                             23        A. I'm sorry. Repeat the question, please.
       24        Q. So you're saying it didn't come up in             24        Q. I said, are you aware that NIOSH has run
       25   your computer search because of --                        25   an epidemiological study of the workers at the Vermont

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        1   mines?                                                     1   explanations about other parts of the report that don't
        2       A.     No I am not. I don't remember.                  2   have to do with question are just taking up my time on
        3             MR. FROST: We'll mark this as -- I               3   the record. So I'm not trying to be rude, but I'm
        4         believe this is new 17.                              4   running out of time, so I'm trying to move it along.
        5             (Exhibit 17 was marked for                       5              MS. SCOTT: But to be fair, you're also
        6             identification.)                                 6         asking him about an epidemiological study. He's
        7   BY MR. FROST:                                              7         not an epidemiologist.
        8         Q. Have you ever seen this paper? Do you             8   BY MR. FROST:
        9   know who Dr. Boundy is?                                    9         Q. And my question was whether or not this
       10         A. So what is the journal? I don't have it          10   was something he would have searched for, and the answer
       11   cited as Boundy. The journal -- is this a National        11   is no, right?
       12   Institutes of Health paper, just so I can be sure?        12         A. No. I would not go to a journal called
       13         Q. I believe it is a journal called Dust and        13   Dust and Disease. Are you okay on time?
       14   Disease.                                                  14         Q. You don't need to worry about that.
       15         A. Oh, I don't think I cited anything from          15   That's a lawyer thing.
       16   Dust and Disease.                                         16              MS. O'DELL: Yes.
       17         Q. Okay.                                            17   BY MR. FROST:
       18         A. So in occupational exposures,                    18         Q. Turning back to your report, looking at
       19   non-asbestiform talc in Vermont. Okay?                    19   the bottom of page 10, we then move on to the mines in
       20         Q. Is this not something that came up in            20   China.
       21   your search?                                              21         A. I requested documents on -- I requested
       22             MS. SCOTT: Objection.                           22   documents on China, mines in China. There were --
       23         A. No. I'm not -- I'm sorry. Dust and               23   apparently, there was not a whole lot of information. I
       24   Disease?                                                  24   know Dr. Longo tested materials from China, but I don't
       25                                                             25   think -- I mean, I made a request for cores. I made

                                                     Page 183                                                        Page 185
        1   BY MR. FROST:                                              1   requests for testing results, including TEM, XRD, bulk
        2         Q. That's correct.                                   2   chemistry. But the data that I was able to have was, as
        3         A. Yeah. I'm not a medical --                        3   far as I did actually, I tried to search on Web of
        4         Q. So you wouldn't have --                           4   Science and other things about talc deposits in China,
        5         A. -- expert.                                        5   and I could not discernibly find anything. I think
        6         Q. Sorry.                                            6   there's Chinese references, but I don't speak Chinese
        7         A. So I'm not a medical expert, so I didn't.         7   and --
        8         Q. So you wouldn't have looked at any                8         Q. Sure.
        9   journals outside of your specific field, because I will    9         A. -- I couldn't really translate those.
       10   relate to you that they tested talc from the various      10         Q. And by saying you asked, you asked
       11   mines and found that there was no asbestos in it based    11   plaintiffs' counsel, and they provided you what they
       12   on the NIOSH study. It's not something you relied on?     12   provided you, correct?
       13         A. So there's --                                    13              MS. SCOTT: Objection.
       14              MS. O'DELL: Object to the form. Excuse         14         A. Yeah. So I want to use company
       15         me, Doctor. Object to the form. You may             15   documents, so give the company, essentially, as I
       16         answer.                                             16   believe I was supposed to do, so the company documents
       17         A. In all these questions are still -- I did        17   are -- I mean.
       18   not look at this paper, but this paper does not negate    18   BY MR. FROST:
       19   the findings of the rest of the report. I've tried to     19         Q. Okay. And like we established before,
       20   take a broad net.                                         20   you have no way of knowing if there are any other
       21   BY MR. FROST:                                             21   documents that just weren't given to you by plaintiffs'
       22         Q. Sir, again --                                    22   counsel, right?
       23         A. I have a broad net.                              23              MS. SCOTT: Objection.
       24         Q. I'm asking very simply yes or no                 24         A. Well, I did. I did search -- I did
       25   questions about whether he searched for things,           25   search the Internet to try to find --

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        1   BY MR. FROST:                                               1   metal contents like lead, cobalt, chromium, iron, nickel
        2         Q. I'm talking about documents.                       2   and titanium, correct?
        3         A. The documents?                                     3         A. Correct.
        4         Q. Yes. You have no way of knowing if what            4         Q. And then you cite to JNJ 59273, right?
        5   plaintiffs gave you is the complete set of documents        5         A. Right.
        6   that relate to the mine, right?                             6         Q. Okay. Let's look at that document.
        7         A. I expected --                                      7         A. It's got 750 parts per million of
        8              MS. SCOTT: Objection.                            8   titanium in it. It's actually low. It's like .2.
        9         A. Yeah. Of all the documents that exist, I           9              (Exhibit 18 was marked for
       10   expect that it's not each and every single document.       10              identification.)
       11   BY MR. FROST:                                              11   BY MR. FROST:
       12         Q. So you've made your review and your               12         Q. I'll divert your attention to page 2086.
       13   opinions on the China based on what is admittedly an       13   I take it the comment at the bottom of 2086 is where
       14   incomplete set of documents provided to you by             14   you're getting this information from, right?
       15   plaintiffs' counsel, right?                                15              MS. SCOTT: Objection.
       16              MS. SCOTT: Object to the form.                  16         A. I looked at the data. Actually, I'm
       17         A. I don't know if it's fully -- I made              17   looking for the data table that I saw the other day.
       18   requests for the China for as much -- all the              18   Yeah, so 2078, titanium 750. The lead there is 12.7 on
       19   information on China that there was and, to my             19   the previous table. Let's look and see what the
       20   knowledge, what was provided, and then what I looked at,   20   concentrations are.
       21   I tried to search things on my own. There just is          21   BY MR. FROST:
       22   apparently not a lot I would consider. I would             22         Q. You're on 2078?
       23   certainly consider reviewing documents on China. I         23         A. I am on 2078.
       24   would certainly consider translated documents, so          24         Q. Okay.
       25   someone who's got an expertise but --                      25         A. And so --
                                                      Page 187                                                        Page 189
        1   BY MR. FROST:                                               1          Q. Do you see the top of 2078 that that
        2        Q. Again, I'm trying to rein in your answers           2   chart relates to something called "Kwangsi No. 1 talc"?
        3   here --                                                     3          A. Yes.
        4        A. Okay.                                               4          Q. Do you believe that Kwangsi No. 1 talc
        5        Q. -- to what we're talking about. But I               5   was the talc ever used by Johnson & Johnson?
        6   want to be clear. The requests you made weren't to          6          A. It's unclear. I don't.
        7   either Imerys or Johnson & Johnson. You made those          7          Q. Well, in your report, I think you note
        8   requests to plaintiffs' counsel?                            8   that they use Kwangsi No. 1 and Kwangsi No. 2, correct?
        9        A. Yes.                                                9          A. Correct.
       10        Q. And then plaintiffs' counsel provided              10              MS. O'DELL: Objection.
       11   back to you a set of documents?                            11          A. I think -- again, I'm not an expert in
       12        A. Yes.                                               12   Chinese language.
       13        Q. And you can't tell me whether or not that          13   BY MR. FROST:
       14   set consists of all documents that you requested related   14          Q. But you'd agree with me that Kwangsi No.
       15   to the Chinese mines, right?                               15   1 is not Kwangsi talc, correct? It's a different ore?
       16             MS. SCOTT: Objection.                            16          A. I don't really know. Names of mines
       17        A. I cannot without certainty.                        17   change and things, but, potentially, they seem
       18   BY MR. FROST:                                              18   different. That's reasonable. But in my sentence, I
       19        Q. All right. So let's look at what you               19   say defense information indicating that Chinese talc
       20   opine. Page 11, the second paragraph, you state, as far    20   contains higher than normal levels and, you know, the
       21   back as 1983, and again, we know in 1983, Johnson &        21   metals are there. So I think that statement is
       22   Johnson was not sourcing talc from China, right?           22   consistent with the chart on page 2078 and 2086, and
       23        A. Correct.                                           23   let's look at -- it's been a while since I looked at the
       24        Q. Defendants had information indicating              24   document.
       25   that Chinese talc contains higher than normal heavy        25          Q. Hold on. Let me walk you through it.

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        1         A. I'd like to review --                              1   refer to this as an indication that there are
        2         Q. Well, I want to talk about your                    2   problematic materials in Chinese ore. Obviously, it was
        3   statement, then. When you're saying Chinese talc is         3   investigated for a reason, so they were interested in it
        4   higher than normal --                                       4   at some level.
        5         A. Can I?                                             5   BY MR. FROST:
        6         Q. No.                                                6          Q. Okay. But you agree with me you have no
        7              MS. SCOTT: Let him ask the question.             7   way to tell us one way or the other that any of the
        8   BY MR. FROST:                                               8   tests of any of the ore in this document actually relate
        9         Q. Can you answer my question, please?                9   to the talcum powder that 20 years, 30 years later made
       10         A. Okay. Good.                                       10   it into Johnson & Johnson talcum powder products?
       11         Q. When you say Chinese talc contains higher         11              MS. O'DELL: Objection.
       12   than normal heavy metal contents, you're talking about     12          A. The -- the documentation provided to me
       13   all talc from China, not necessarily the Chinese talc      13   is -- there's many gaps.
       14   that Johnson & Johnson was using? Is that what you're      14   BY MR. FROST:
       15   telling me?                                                15          Q. Sir, I'm talking about this document.
       16              MS. SCOTT: Objection.                           16   Focus on this document. So my question is: This
       17         A. I'm sorry.                                        17   document, is there anywhere in this document that says
       18   BY MR. FROST:                                              18   the talc that Johnson & Johnson uses 20 years later for
       19         Q. I'll ask you the question again, so you           19   talcum powder has constituents? I understand we're
       20   don't have to read it.                                     20   talking --
       21         A. Yeah.                                             21          A. Has constituents?
       22         Q. So in your report, when you're talking            22          Q. Has the constituents we're talking about
       23   about Chinese talc, you're talking about talc from the     23   here. You know, that "Defendant had information
       24   country of China, not the Chinese talc ore that Johnson    24   indicating that Chinese talc contains higher than normal
       25   & Johnson was using? Is that what you're telling us?       25   heavy metal contents like lead, cobalt, chromium, nickel

                                                       Page 191                                                        Page 193
        1             MS. SCOTT: Objection.                             1   and titanium." Is there anything in here --
        2         A. I meant, essentially, both more Chinese,           2         A. They simply knew that this is how I --
        3   Chinese talc, meaning talc within the boundaries of         3   they simply know that this report existed, right?
        4   China has more or has contaminants and would be of          4         Q. You have to listen to my question. You
        5   potential concern.                                          5   can't tell me one way or the other that this report in
        6   BY MR. FROST:                                               6   any way relates to any talc ever used by Johnson &
        7         Q. That's a general statement as to all               7   Johnson for its talcum powder, right?
        8   talcs coming out of all talc regions of China?              8              MS. SCOTT: Objection.
        9             MS. O'DELL: Object to the form.                   9         A. I do not have a chain of custody, so,
       10   BY MR. FROST:                                              10   yes.
       11         A. Well, it's specific to this example, and          11         Q. Okay.
       12   as an example, I think there's, there's a lot of concern   12         A. But the way the sentence is phrased, the
       13   in the general environmental literature about materials    13   sentence is general.
       14   in China in general so --                                  14         Q. Yes. We've established that now.
       15         Q. And by concerns over materials in                 15              MS. O'DELL: Excuse me.
       16   general, you're talking about now everything coming out    16   BY MR. FROST:
       17   of China as a generalization?                              17         Q. No, no. I'm saying --
       18             MS. SCOTT: Objection.                            18              MS. O'DELL: You interrupted him -- let
       19         A. Not everything.                                   19         him finish.
       20   BY MR. FROST:                                              20              MR. FROST: Sure.
       21         Q. But you're talking about, like, the lead          21   BY MR. FROST:
       22   concerns out of manufactured products like toys, and       22         Q. In general --
       23   we're including this now in your statement, right?         23              MS. O'DELL: Stop talking. Let him talk.
       24             MS. SCOTT: Objection.                            24         Thank you.
       25         A. No. I'm sorry. Let me just be clear. I            25         A. So the sentence is general. Defendants
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        1   have information indicating that Chinese talc contains      1   deposits are geologically related, to the best of my
        2   higher than normal levels of lead, cobalt, chromium. So     2   ability. Again, there is some paucity of data, but it
        3   I feel that this document supports that statement. It       3   seemed, from what I could gather, that these are
        4   doesn't say all talc, but they had knowledge that           4   geologically related.
        5   some --                                                     5   BY MR. FROST:
        6   BY MR. FROST:                                               6         Q. So sitting here today, you can tell me
        7         Q. Some talc?                                         7   that you've specifically looked at the Maanshan deposit
        8         A. -- talc had issues.                                8   and the -- I apologize to the court reporter for these
        9         Q. Okay.                                              9   names -- and Zhizhua Mine, and you're confident and you
       10               THE WITNESS: My thing is -- I think it         10   can tell me that you have seen sources that shows those
       11         stopped. What time? It says 1520.                    11   two exact deposits are similar and come from the same
       12               MS. SCOTT: Did you hit "follow"?               12   areas? And if that's true, what's your source?
       13               THE WITNESS: Yeah, I have hit "follow"         13         A. Let me -- so...
       14         several times.                                       14              MS. O'DELL: Objection.
       15   BY MR. FROST:                                              15         A. So asbestos was discovered and fractures
       16         Q. All right. While they're sorting that             16   of the talc ore body of the Maanshan deposit looking in
       17   out, I'll continue to ask my questions.                    17   the Shanglin region. And the question is am I certain
       18         A. Okay.                                             18   that talc --
       19         Q. All right. Page 11 of your report,                19   BY MR. FROST:
       20   second full paragraph starts, "In the Guangxi Province."   20         Q. You just told me that you've seen
       21         A. Yes.                                              21   something that says Maanshan is the same geological
       22         Q. If you look down the citation, you say,           22   formation?
       23   after it, it says, "In 'Talc Geology, Resources,           23         A. Can we look at 413792?
       24   Production and Market Study, Guangxi Autonomous Region,'   24         Q. I don't have it. Is that the one we just
       25   asbestos was discovered in fractures of the talc ore       25   looked at, though?

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        1   body of the Maanshan talc deposit located in the            1            MS. SCOTT: No.
        2   Shanglin region."                                           2            MR. FROST: A different one. I don't
        3             Did I read that right, or close enough,           3       have it, so, no. I mean, you guys can do it
        4   anyway, on the pronunciations?                              4       during your time.
        5        A. Yes.                                                5            MS. O'DELL: If he wants to see the
        6        Q. Did Johnson & Johnson ever use talc from            6       document and it's available to him --
        7   the Maanshan deposit?                                       7            All right. If he has it.
        8        A. I'm not sure. I'm confused by that, the             8       A. Can we? So it's Imerys 413792, Imerys.
        9   Chinese words, so I'm not sure. But, again, there           9            VIDEOGRAPHER: Watch your mic. Doctor,
       10   was -- so I don't know for sure, but there was a paucity   10       watch your mic.
       11   of data relating to Chinese, I think.                      11       A. That's 413792. 413792. It is a JNJ.
       12        Q. You specifically state, if you look back           12   BY MR. FROST:
       13   at page 8 --                                               13       Q. No. It is an Imerys.
       14        A. I forget.                                          14            VIDEOGRAPHER: Do you want to go off the
       15        Q. -- of your report, you state, "2002 to             15       record?
       16   present: Zhizhua Mine, Guigang Province, China.            16            MR. FROST: Let's go off the record,
       17   Product Name: Guangxi No. 2 and Guangxi No. 2A"            17       please.
       18        A. Yeah. Those are two.                               18            VIDEOGRAPHER: We're now going off
       19        Q. Maanshan is not the Guangxi mine that's            19       record. The time is 3:32.
       20   mentioned there, correct?                                  20            (Recess taken from 3:32 to 3:39.)
       21        A. Correct.                                           21            VIDEOGRAPHER: We're now back on record.
       22        Q. And you have no evidence that Johnson &            22       The time is 3:39.
       23   Johnson ever sourced talc from the Maanshan deposit?       23   BY MR. FROST:
       24             MS. SCOTT: Objection.                            24       Q. Okay. So do you believe this document
       25        A. Correct. But as I understand it, the               25   supports that the geology of Zhizhua and Maanshan are

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        1   the same?                                                   1   anything to refute that statement?
        2          A. So Guangxi is an autonomous region.               2              MS. SCOTT: Objection.
        3          Q. Okay.                                             3         A. I have nothing to refute or endorse. I
        4          A. And there are different mines within that         4   do know the geology of China is very chopped up. It's
        5   autonomous region.                                          5   extremely complex. So you can have areas that are
        6          Q. So, again, do you have anything that              6   geologically connected that are distant from each other.
        7   shows me that the formation at the Zhizhua Mine are the     7   So Tianchen is a basin area in north central China. I
        8   same as the Maanshan mine?                                  8   have colleagues that work there, and essentially, there
        9          A. No. I don't think so, or I'm unclear.             9   are major displacements that occur.
       10   I'm confused by the names.                                 10              So, again, I didn't have details of
       11          Q. All right. That's fine. Moving on on             11   China, but, essentially, China is very complex, and you
       12   page 11, the paragraph that starts about halfway down      12   can have parts of the geology disperse. Yes, I was not
       13   the page, "Beginning in July of 2004."                     13   aware that they were separated by geographic distance.
       14          A. Uh-huh.                                          14   That doesn't preclude that.
       15          Q. And then the next two paragraphs sort of         15   BY MR. FROST:
       16   preceding that, do you agree with me that these all        16         Q. Well, I was going to say without
       17   relate to a mine visit in the Liboshikuang Mine of the     17   speculating, your can't tell me whether or not the talc
       18   Shandong Province?                                         18   districts of Hubei and Shandong are the same as the talc
       19          A. I'm confused by the names. I would need          19   district in Guangxi, for example, correct?
       20   to look at the document.                                   20              MS. SCOTT: Objection.
       21          Q. Yeah. And Hubei and Shandong. Well,              21   BY MR. FROST:
       22   here. We'll start with the first paragraph. "Beginning     22         Q. Sitting here today --
       23   in ... 2004, Rio Tinto began investigating talc            23         A. Correct. But the statement as "Rio Tinto
       24   operations and talc potential in the provinces of Hubei    24   began investigating talc operations and talc potential
       25   and Shandong." Did I read that correctly?                  25   in the provinces of Hubei and Shandong."

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        1        A. Yeah. So, to my knowledge, that                     1          Q. Yes. Just answer my questions, okay?
        2   paragraph is correct.                                       2   And, again, there's no evidence that talc ever came from
        3        Q. But I didn't ask if it was correct.                 3   Hubei and Shandong that was used in Johnson & Johnson
        4        A. Okay.                                               4   talcum powder. You, sitting here today, without
        5        Q. My question is: Do you agree with me                5   speculating, can't tell me that Johnson & Johnson ever
        6   that Hubei and Shandong are different areas of China        6   used talc that came from Hubei and Shandong, correct?
        7   than Guangxi?                                               7          A. Correct.
        8             MS. SCOTT: Objection.                             8          Q. And then it continues on, and it starts
        9        A. I don't know.                                       9   talking about the detailed visit to the Liboshikuang
       10   BY MR. FROST:                                              10   Mine in the Shandong province, correct? It's two
       11        Q. Okay. Did you ever look up Hubei and               11   paragraphs down. It talks about the field report and
       12   Shandong and compare them to where Guangxi sits?           12   "the report detailed a visit?
       13        A. I don't remember. If I did, I -- you               13          A. The second paragraph on the bottom?
       14   know, I got -- the nomenclature, the names were            14          Q. Yes.
       15   confusing. So I did -- I try to look at Google Earth       15          A. In Shandong? Okay.
       16   and figure things out. But, again, I don't think there     16          Q. Okay. And, again, it talks about a mine
       17   was, like, a location map that was provided. The data      17   that you have no evidence whatsoever whether or not this
       18   from China was very limited. There's no -- I don't         18   has any geological similarity to the Shandong province
       19   think there's any GPS coordinates, which is another        19   or the Guangxi province, correct?
       20   thing that's kind of odd. Okay. Go ahead.                  20              MS. SCOTT: Objection.
       21        Q. If I were to represent to you that                 21          A. Specifically, no. There is no data that
       22   they're about 2,000 kilometers away from each other, the   22   was --
       23   Hubei and Shandong are coastal by Shanghai and Guangxi     23   BY MR. FROST:
       24   is southern and internal and they're about                 24          Q. So what I'm getting at here is I'm a
       25   2,000 kilometers away from each other, would you have      25   little confused why we're talking about talc districts

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        1   upon which you have no data that are thousands of           1             MS. SCOTT: Objection.
        2   kilometers away from the mine actually being used by        2   BY MR. FROST:
        3   Johnson & Johnson.                                          3         Q. You don't know one way or the other; is
        4             MS. SCOTT: Form.                                  4   that correct?
        5         A. Because just like in, as you pointed out           5             MS. SCOTT: Objection.
        6   for the Appalachians, we have this very large district      6             MS. O'DELL: Objection.
        7   that extends hundreds of kilometers. Based on the           7         A. With a hundred percent degree of
        8   limited data that was available to me, it's likely that,    8   certainty, sure. But, geologically, it makes sense that
        9   essentially, talc deposits are genetically related in       9   things would be related.
       10   some way.                                                  10   BY MR. FROST:
       11   BY MR. FROST:                                              11         Q. Okay. And that's based on what studies
       12         Q. Except that didn't you just tell me               12   have you looked at in China that show you can make the
       13   without speculating --                                     13   leap to say that these regions that you don't --
       14             MS. O'DELL: Excuse me.                           14         A. That's --
       15             MR. FROST: Old on.                               15         Q. Hold on -- that you don't know anything
       16             MS. O'DELL: He was not finished.                 16   about are related?
       17         A. So, basically, it's reasonable, you know,         17             MS. SCOTT: Objection.
       18   so if you have -- you know, you have a deposit of          18         A. I base that on, essentially, just the
       19   something, and you have similar deposits of that same      19   nature of tectonics on the planet. Essentially, there's
       20   something, that it's reasonable that you would expect      20   no peer review literature.
       21   there to be some connection or relationship. That's        21   BY MR. FROST:
       22   something that we do in geology all the time,              22         Q. Turn to page 12. It's the first full
       23   essentially develop hypotheses as far as spatial           23   paragraph. "I have reviewed multiple documents." It is
       24   relationships of things.                                   24   the paragraph that starts there. Do you see where I am?
       25             So, basically, the fact that there's             25         A. Yes.

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        1   60 percent white talc and 40 percent black talc with the    1         Q. Where is it? The third sentence. You
        2   latter having obvious tremolite association, so that's,     2   know that "The practices and procedures defendants' talc
        3   okay, one thing. And then, notably, it was associated       3   fall short of satisfying international standards of
        4   with amphibolite-grade metamorphism. Therefore,             4   quality and purity." What international standards of
        5   Johnson & Johnson and Imerys had information regarding      5   quality and purity are you talking about here that you
        6   tremolite's presence in the region.                         6   didn't cite?
        7             And if you had indication of the presence         7         A. So industrial mineral companies,
        8   of something in the region, you know, you might exclude     8   basically, we used the peer-review literature, and
        9   that or you would want to do further exploration to sort    9   essentially, things are developed internally to assure
       10   of constrain, as we mentioned earlier, with mining, we     10   that you have variability or control, and so it's
       11   want to define what's not there and what is there.         11   commonly done that you run multiple x-ray diffraction
       12   BY MR. FROST:                                              12   analyses on materials, for example. So a company I work
       13         Q. But here's where I'm going stop you. All          13   closely with in Virginia, or have historically, they
       14   of this concerns a region that's thousands of kilometers   14   analyze 200 samples a day, essentially, and they do that
       15   away from the region that's actually being mined, right?   15   with powder diffraction and, also, XRF.
       16             MS. SCOTT: Objection.                            16              There's analytical technologies that
       17   BY MR. FROST:                                              17   exist that you can do rapid XRF analyses with a handheld
       18         Q. So what does any of this actually have            18   device, and that's been around since the early 2000s.
       19   anything to do, without speculating, about the talc        19   So, basically, the peer-review literature is one general
       20   coming from the Zhizhua Mine in the Guangxi Province?      20   way of doing things.
       21             MS. SCOTT: Objection.                            21         Q. And then -- well, hold on. We'll start
       22         A. The geology can be potentially related.           22   there. What studies? Can you point me a single study
       23   BY MR. FROST:                                              23   that talks about the international standards of quality
       24         Q. See, we're talking about can be here, but         24   and purity that weren't met here?
       25   you're speculating, right?                                 25              MS. SCOTT: Objection.

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        1        A. So methods are communicated verbally in             1   you if you want.
        2   industrial mineral companies. So, basically, by             2         A. Yeah. I need to look at it, but I think
        3   interacting with companies, I know, basically, that you     3   that might be related to gold mining, but Gy is
        4   analyze things repeatedly, repeatedly trying to             4   something that's used in general.
        5   constrain the variability. Things aren't necessarily,       5         Q. Is Gy a universally adopted standard for
        6   as far as what individual companies do, they look to the    6   mining practices around the world?
        7   peer-review literature to use or learn what analyses are    7         A. I think it's commonly used. Again, every
        8   done and how they are executed.                             8   company has their own.
        9             As far as the numbers of things, that's           9         Q. Why don't we look at Afewu, but, again,
       10   something that's decided by companies, and basically,      10   you agree with me that Gy is one. There are probably
       11   using general statistical approaches, they want to know    11   hundreds, if not thousands, of competing theories and
       12   what the variation is. So companies that I work with,      12   methodologies, right?
       13   they commonly will analyze hundreds of, a couple hundred   13              MS. SCOTT: Objection.
       14   samples a day or a week.                                   14              MS. O'DELL: Objection.
       15             Other companies I know, they have                15         A. I don't think that's an accurate
       16   dedicated labs that basically analyze hundreds of          16   statement.
       17   thousands of samples a week, and it's expected that they   17   BY MR. FROST:
       18   maintain that level because, eventually, they can get      18         Q. But it's certainly not the only one,
       19   sold or bought, so they want to be able to prove the       19   right?
       20   reserves and the historical thing. So that's -- that's     20         A. Others exist.
       21   kind of the international standard is sort of multiple     21         Q. So you can't tell me that Gy is the
       22   things. It's by experience.                                22   universal standard for talc mining, right, and that
       23        Q. Here's what I want to get at. If I want            23   that's the standard that companies have to follow?
       24   to know what the international standards of quality and    24   That's the, quote, international standard of quality and
       25   purity are, you're telling me there's not any document I   25   purity?
                                                      Page 207                                                        Page 209
        1   can go to, any regulation or anything out there. I'm        1             MS. SCOTT: Objection.
        2   trying to get the basis for your opinion here, and the      2         A. I think it's relevant.
        3   basis for your opinion here is Dr. Krekeler had told me     3   BY MR. FROST:
        4   it's wrong and here's why, and you can't point to any       4         Q. We'll mark Afewu. We talked about Afewu.
        5   study --                                                    5         A. So if you're mining --
        6         A. So --                                              6         Q. There's not a question pending, sir.
        7             MS. O'DELL: Let him finish.                       7         A. Okay. Sorry.
        8             THE WITNESS: Okay.                                8             MS. O'DELL: This is 20?
        9   BY MR. FROST:                                               9             MR. FROST: 18.
       10         Q. -- regulation, mine document, anything            10             COURT REPORTER: 19.
       11   out there to support your basis. It's just I, Mark         11             MR. FROST: 19?
       12   Krekeler, am telling you this. You should believe me.      12             COURT REPORTER: Yes.
       13             MS. SCOTT: Objection.                            13             (Exhibit 19 was marked for
       14         A. So Gy and the reference. Gy 79 is                 14             identification.)
       15   something that's used sampling of particulate materials    15   BY MR. FROST:
       16   there in practice.                                         16         Q. On the first page, it's page 299 on the
       17   BY MR. FROST:                                              17   first column. It's the paragraph that starts, "An
       18         Q. Let's talk about Gy. Gy is about gold             18   essential condition of any sample."
       19   mining, right?                                             19         A. Okay. I found the paragraph.
       20         A. Gy is about sampling of particulate               20         Q. Okay. About halfway through, it starts
       21   materials.                                                 21   talking about the Gy paper. "A number of approaches
       22         Q. Related to gold mining, right?                    22   have been proposed to address these problems. The most
       23         A. I don't recall specifically. Was it               23   notable one is the work of Gy." Do you see where I am?
       24   Afewu? I believe the Afewu.                                24         A. Yes.
       25         Q. If you look at Afewu, I can mark that for         25         Q. After that, it says, "Most practitioners

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        1   have used this model for gold ores, though, without much    1   Gy paper, and he talks about running Gy analysis of the
        2   fulfillment in the results." Am I reading that              2   samples to determine whether or not they're
        3   correctly?                                                  3   representative. Is that a fair sort of, really high
        4         A. You're reading what they've said.                  4   level synopsis of what he's talking about?
        5         Q. Okay.                                              5         A. Yes.
        6         A. But, yeah.                                         6         Q. And in forming your opinions, I take it
        7         Q. And you agree with me that there are laws          7   you rely -- I mean, we've talked about Gy. You're
        8   and regulations that relate to mining standards, how        8   relying on the Gy theory, right? Is it a theory? I
        9   mining has to be done, things of that nature, correct?      9   don't know what the right word to call it is. Is it
       10         A. There are -- there's a code of mining             10   mine theory?
       11   regulations. To my knowledge, there's not a specific       11         A. It is an approach.
       12   code as far as what's required for sampling. It's my       12         Q. Mine approach?
       13   experience that, essentially, it's based on indications    13         A. Yeah. It's very dense mathematically.
       14   from peer-reviewed literature, the concerns the company    14         Q. I will agree with you there. And you're
       15   has had as far as maintaining quality of their product,    15   effectively relying on the Gy approach in forming your
       16   so these are the standards that are set. Some companies    16   opinions about the mining sampling practices, correct?
       17   will have, essentially, internal protocols and standards   17         A. It is one of them. It is one approach,
       18   that are applied, and they're international companies,     18   yes.
       19   so this is applied by international.                       19         Q. And Afewu and Lewis is another one you
       20         Q. So you don't believe there are any                20   cite, too?
       21   regulations that relate to any miners that talk about      21         A. It's another example.
       22   requirements of sampling?                                  22         Q. And Afewu and Lewis also is another
       23              MS. SCOTT: Objection.                           23   mathematical geostatistical computation to determine
       24         A. At this point, I don't remember. I                24   whether or not sampling is adequate and representative,
       25   don't --                                                   25   correct?
                                                       Page 211                                                      Page 213
        1   BY MR. FROST:                                               1          A. Yes. That's another approach.
        2        Q. "I don't know" is a fine answer, sir.               2          Q. Have you actually run any of the
        3        A. Yeah. I don't know with certainty.                  3   geostatistical calculations in this case to determine
        4        Q. Okay. And I think we established this               4   whether or not the sampling that was being done by
        5   morning, you're not a regulatory expert? You're not a       5   Imerys and Johnson & Johnson is adequate?
        6   mine regulations expert?                                    6               MS. SCOTT: Objection.
        7        A. Yeah.                                               7          A. No, I have not. But I do note that I did
        8        Q. Okay. So at this point, you just don't              8   not see evidence of it either.
        9   know. Have you ever heard of the organization JORC,         9               MR. FROST: Move to strike. No question
       10   J-O-R-C?                                                   10          was pending.
       11        A. What's that?                                       11   BY MR. FROST:
       12        Q. JORC, J-O-R-C. I think it's the Joint              12          Q. While we're on mining, let's talk about
       13   Regulatory Commission, something like that.                13   it a little bit. Do you agree with me that mining
       14        A. No, I have not.                                    14   companies do not mill -- sorry. Let me try again. I
       15        Q. Do you recall seeing, in several of the            15   used the wrong word. Do you agree with me that mining
       16   Imerys documents, that they were doing sampling to         16   companies do not drill the entire deposit all at once?
       17   various JORAC regulatory specifications?                   17               MS. O'DELL: Object to the form. Do you
       18        A. No, I do not remember seeing that.                 18          mean --
       19        Q. And you have no idea what any of the               19   BY MR. FROST:
       20   sampling regulations that they're applying for would be?   20          Q. When they're doing core sampling?
       21   That's correct?                                            21          A. They will -- it depends. So if there's
       22            MS. O'DELL: Object to the form.                   22   field indications that things are looking good and they
       23        A. Yeah. I'm not familiar with that.                  23   want to establish things, then there would be a reason
       24   BY MR. FROST:                                              24   to drill the entire deposit if it's small. But, yeah,
       25        Q. While we're talking about Gy, I read the           25   if you have a large deposit, you would drill that in

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        1   phases.                                                     1   factor is the scale of the geologic features that are
        2         Q. And you'd sort of do it as the mine                2   involved in the deposit. So, generally, you want to
        3   develops, right, as the -- as you're following the          3   have a core density such that you can capture those
        4   deposit? You -- a really untechnical way of saying it       4   scales of features.
        5   is, effectively, you're drilling ahead of where you are     5         Q. And that's ore deposit -- by "ore
        6   so you know where you can keep going, right?                6   deposit," depending, right, what you have to do to
        7              MS. SCOTT: Objection.                            7   capture those features? Effectively, every mine is
        8         A. It -- sometimes it's more complex than             8   different; is that a fair synopsis?
        9   that. So, basically, people gain investment for             9               MS. SCOTT: Objection.
       10   exploration and it's -- you know, the investors are set    10         A. The -- it depends on the local geology,
       11   on doing things one particular way because of what they    11   but it still must be representative based on the
       12   believe. So there's variation in that.                     12   features you're trying to capture.
       13         Q. Okay. And you agree that additional --            13   BY MR. FROST:
       14   you know, one of the reasons you do additional coring,     14         Q. Okay. I think we're saying the same
       15   additional drilling, is to further refine the mine plan,   15   thing. You're just adding a lot more words, right?
       16   the mine schedule, things like that?                       16         A. Okay.
       17         A. Yes. So, often, coring will be done               17         Q. But it depends on the local geology what
       18   every day in certain situations. So that's the case in     18   the deposit looks like because every deposit is
       19   some palygorskite deposits in Georgia, and that's also     19   different, right?
       20   the case in Brown Mountain Mine and other, other           20               MS. SCOTT: Objection.
       21   situations, yes. They'll drill daily and produce lots      21         A. You can have similar deposits, but, yeah,
       22   of core.                                                   22   every deposit is in a different location.
       23         Q. And, ultimately, mine operators are               23   BY MR. FROST:
       24   drilling a mine site in order to determine what the ore    24         Q. Sure. And there are different shapes and
       25   body itself actually looks like, right?                    25   sizes, right?
                                                       Page 215                                                       Page 217
        1         A. As well as other areas of concern. So I            1         A. Yes.
        2   gave the example on the Stebbins Hill for Brown             2         Q. So because of that, you have to drill
        3   Mountain. And they, you know, they have extensive           3   appropriate to the deposit that you're coring, correct?
        4   amounts of core. They filled an entire high school,         4         A. Yes.
        5   abandoned high school, with core.                           5         Q. And that's a determination that's usually
        6         Q. Where you mine -- or sorry. Where you              6   made by the on-site geologist or by the company that's
        7   drill, when you drill, what angle you're drilling at, et    7   mining. You know, hopefully, they're consulting with
        8   cetera, all these are very complicated. You know, in a      8   somebody who understands the geology to determine where
        9   complicated ore body, where you drill, when you drill,      9   to drill. Is that also a fair statement?
       10   the angles you drill at, these are all dictated by lots    10              MS. SCOTT: Objection.
       11   of factors, including topography, access to certain        11         A. Ultimately, the company is responsible
       12   areas, things of that nature. Do you agree with that       12   for how it drills, yes.
       13   statement?                                                 13   BY MR. FROST:
       14              MS. O'DELL: Objection.                          14         Q. Okay. Turn back to page 12 of your
       15         A. Not necessarily. You may -- people want           15   report. It's the third paragraph. You note that, "The
       16   to essentially have a good, even distribution so they      16   practice of hand sorting is not acceptable in the United
       17   try to drill on a grid, you know, if possible.             17   States." Do you have any law or regulation that you're
       18   BY MR. FROST:                                              18   pointing to that says that's inappropriate?
       19         Q. Okay. As you said, not necessarily. It            19              MS. SCOTT: Objection.
       20   all depends, sort of, what you're seeing and what you're   20         A. No. But, you know, the companies I work
       21   looking for, correct? There's no one way to drill core     21   with wouldn't do that with something of this complexity.
       22   and ore body, right?                                       22   BY MR. FROST:
       23         A. There's multiple ways, but, you know,             23         Q. And you've never worked with talc before,
       24   using -- essentially having something that is              24   right? You've never worked with a company that mines
       25   representative is reasonable. And one determining          25   talc?

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        1        A. Correct.                                            1   bottom of 5147 -- I'll go two lines up. I'll start
        2        Q. Okay. The next paragraph down, the -- I             2   there. There's some stuff above it, but it starts,
        3   believe this is an email. Maybe I'll just mark the          3   "During unloading, a representative industrial sample
        4   document. It might be easier.                               4   (at least 25mt) is processed in the plant at various
        5             MR. FROST: We'll mark this one. I think           5   meshes and sent to our central Denver lab to be analyzed
        6        we're on 20.                                           6   for main specs (whiteness, mineralogy, chemical
        7             COURT REPORTER: 20.                               7   composition, major elements and traces). Fibers
        8             (Exhibit 20 was marked for                        8   investigation is carried out systematically. The lot is
        9             identification.)                                  9   quarantined, waiting the lab results." Don't you agree
       10   BY MR. FROST:                                              10   with me that's the most important piece of what Cutler
       11        Q. Do you see where you are in your report            11   is saying there --
       12   on page 12?                                                12              MS. SCOTT: Objection.
       13        A. I'm checking to see. I'll go back.                 13   BY MR. FROST:
       14        Q. Sorry.                                             14         Q. -- for purposes of your opinion that it
       15        A. Go back to 12. So 517. Okay.                       15   does not guarantee the absence of fibers or asbestos and
       16        Q. And this is -- you're quoting here from            16   fibrous talc?
       17   an email --                                                17              MS. SCOTT: Objection.
       18        A Okay.                                               18         A. So when the cargo arrives at destination,
       19        Q -- from Mr. Cutler? Do you see where we             19   so that's after it's been hand picked, right?
       20   are?                                                       20   BY MR. FROST:
       21        A. Yes.                                               21         Q. Sure. What I'm saying here is: You use
       22        Q. Okay. So you quote a portion of this               22   the quote you have above as a basis for your --
       23   email from Mr. Cutler, right? And then the next            23         A. So they're not -- I'm stating --
       24   paragraph down, you go, "Cutler goes on to say, 'In        24         Q. Let me finish, sir.
       25   principle, the inspection is enough to guarantee the       25         A. Okay. I'm sorry. Sorry.

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        1   requested specs to insure no fibers.'" And then, after      1         Q. So you use the quote above here as the
        2   that, you make the opinion, "That practice falls below      2   basis for your statement that the practice falls below
        3   the standards of quality control in mining operations in    3   the standards of quality in mine operations in the
        4   the United States, and it does not guarantee the absence    4   United States and does not guarantee the absence of
        5   of fibers, such as asbestos or fibrous talc." Did I         5   fibers such as asbestos and fibrous talc, but left out
        6   read that correctly?                                        6   of the quote you're taking from the email is the
        7          A. Yes.                                              7   specific part of the testing that talks about the
        8          Q. Okay. If you look up at the quote from            8   testing for fibers in the talc. Am I correct or
        9   Mr. Cutler's email and if you turn to the email itself,     9   incorrect?
       10   it's the bottom of page 5147. This is not a complete       10         A. I did not include that portion in the
       11   quote from Mr. Cutler's email, correct?                    11   quote.
       12              MS. SCOTT: Objection.                           12         Q. Okay. Let's move on.
       13          A. Let me find -- so where is it on 5147?           13         A. I --
       14   BY MR. FROST:                                              14         Q. All right. Moving on.
       15          Q. It's at the bottom.                              15         A Okay.
       16              MS. SCOTT: It's in B.                           16             MS. SCOTT: If he's not done with his
       17   BY MR. FROST:                                              17         answer, let him finish his answer.
       18          Q. Yeah, it's in B.                                 18         A. But, yeah, I'm not. So it is -- you
       19          A. So "In principle, this inspection is             19   know, if you're mining material and then you have a
       20   enough to guarantee the requested specs and insure no      20   point of shipment, you would want to test that at that
       21   fibers."                                                   21   point of shipment in case you find something later. You
       22          Q. Okay. But do you see above that your             22   would be able to identify where in the supply chain an
       23   block quote? So what I find interesting is the part you    23   issue occurred. So is this -- you know, is this shipped
       24   left out of Mr. Cutler's email is actually the part that   24   by a ship, correct? Right? So multiple things can be
       25   talks about the testing for fibers. If you look at the     25   put into a ship cargo. You can have a whole crate of

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        1   asbestos, you know, from Indiana or Russia or some other    1          A. Yes.
        2   place or some other material that is mixed in. So, to       2          Q. Okay. What is the basis that grinding
        3   me, it really does make sense that at the stage of when     3   the sample before testing will make it much more
        4   it leaves the port, you would want to have some quality     4   difficult to --
        5   control so --                                               5          A. So talc is a phyllosilicate mineral.
        6   BY MR. FROST:                                               6   It's a two-to-one layer clay. Essentially, the
        7         Q. Here's my question. Isn't that exactly             7   structure is held together by long hydrogen bonds and it
        8   the part that you left out of the quote? Isn't it           8   is mechanically very soft. So, basically,
        9   disingenuous that you left out the fibrous talc?            9   phyllosilicates have essentially delicate structures and
       10         A. As I read it, as I read it --                     10   they need to be prepared in specific ways so grinding is
       11              MS. O'DELL: Dr. Krekeler, he's not done.        11   a rotary motion and what that does is -- the crystal
       12         A. Oh, I'm sorry. Sorry.                             12   structure is shown here for talc.
       13   BY MR. FROST:                                              13              So what that does is it takes these
       14         Q. Don't you agree with me that it's                 14   two-to-one layers. When you grind, you displace, you
       15   disingenuous to leave out the specific portion of the      15   know, essentially, a rotation of the crystal structure,
       16   quote that talks about the testing that's done once the    16   and that rotation of the crystal structure basically
       17   talc arrives at port in Houston when you're making,        17   destroys the crystallographic coherency through the clay
       18   based on that quote, the opinion that it does not          18   particle. So if you are -- essentially, for x-ray
       19   guarantee the absence of fibers and falls short?           19   analysis, you're supposed to crush materials. So crush
       20              MS. SCOTT: Objection. Misrepresents.            20   is specifically an up-and-down motion. And, basically,
       21         A. Yeah. I say it's in the report for the            21   it's easy to do with talc. You crush it in this
       22   reasons I provided.                                        22   up-and-down motion, typically in an agate mortar and
       23   BY MR. FROST:                                              23   pestle.
       24         Q. Okay. All right. Let's move on.                   24              And then so, basically, what happens is
       25              MR. FROST: Actually, if you want, I             25   you also have other potential contaminants such as

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        1         don't know how long we've been going. This is         1   chrysotile. Chrysotile is a one-to-one layer
        2         probably a good time for a break. I'm changing        2   serpentine. It is coiled because the octahedral sheet
        3         subjects.                                             3   and the tetrahedral sheet don't match up. So there's
        4              MS. SCOTT: Sure. Great.                          4   other serpentines such as antigorite, lizardite,
        5              VIDEOGRAPHER: We are now going off               5   crocidolites, other things like that.
        6         record. The time is 4:12.                             6             So what needs to happen is, again, that
        7              (A recess was taken from 4:12 to 4:38.)          7   needs to be prepared in a crush method, not a rotary,
        8              VIDEOGRAPHER: We're now back on record,          8   not ground. So grinding -- ground, grinding -- those
        9         and the time is 4:38.                                 9   words have specific meanings in the context of
       10   BY MR. FROST:                                              10   phyllosilicates. It's been well, recognized, and I
       11         Q. I'm going to move back to page 12 --              11   provide several references elsewhere in the report.
       12         A. Okay.                                             12             So essentially what happens is x-ray
       13         Q. -- of your report. The last full                  13   diffraction has detection limits, and for many
       14   paragraph on page 12, sir, it's a document entitled        14   materials, such as quartz, that are very crystalline,
       15   "Quality Control."                                         15   your detection limit is approximately about a tenth of a
       16         A. Okay.                                             16   weight percent, and that's generally understood. That's
       17         Q. Okay. And you note, "This document                17   a long-standing detection limit.
       18   includes procedures related to Guangxi Number 1 and        18             Clay minerals, in general, the
       19   Number 2A, the talc ore purchased by Defendants for use    19   phyllosilicates, in general, those materials typically
       20   in Johnson's Baby Powder and Shower to Shower products.    20   have a detection limit that is at least a few weight
       21   Again, the procedure calls for samples to be ground        21   percent, in part because they start off as essentially
       22   prior to testing a protocol that will disrupt the          22   poorly crystalline material. So if you take a talc or a
       23   physical properties of the talc ore, making detection of   23   chlorite and you compare that to another, you know, a
       24   harmful contaminants, including asbestos, much more        24   mineral such as a pyroxene, the overall crystallinity of
       25   difficult." Did I read that right?                         25   the pyroxene is much, much more than the talc or the

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        1   chlorite. So and then there's also many issues with --      1   crush and smear, correct?
        2   the minerals are just very sensitive, and they naturally    2             MS. O'DELL: Objection.
        3   have disorder.                                              3         A They would be far less -- I think the
        4              For example, chlorite theoretically can          4   proper thing to say is they would be far less
        5   have 1,024 different arrangements of the layers of atoms    5   susceptible to reduction and crystallinity, but, yeah,
        6   in the structure, two-layer structure. So, basically,       6   the chrysotile would be.
        7   the crushing and grinding, you can grind -- if you have,    7   BY MR. FROST:
        8   let's say you have 4 percent chrysotile and 96 percent      8         Q Okay. But, again, chrysotile is not --
        9   talc and you have that sample and you grind it, and         9   because of the closeness to talc, XRD is not the primary
       10   essentially, you are destroying the crystal structures     10   way of identifying chrysotile, correct?
       11   of both, and you only have, essentially, a 1 percent or    11         A. Oh, no.
       12   so that is still crystalline or maybe none of it is        12         Q. I'm talking about specific to talc here.
       13   crystalline.                                               13         A. Were -- I'm sorry, was the question can
       14              You can grind, actually do experiments          14   you -- the difference --
       15   and grind things to be amorphous. We did this when I       15         Q. Not can you, no.
       16   was a Ph.D. student. He had us hammer home the point.      16         A. -- between talc and chrysotile?
       17   But, basically, so the net effect is is when you grind     17         Q. Okay. Let me ask it another way. In the
       18   stuff, you deflate the detection limit of materials that   18   testing that is done of talc to determine whether or not
       19   are there.                                                 19   there is asbestos, the way -- the test for chrysotile,
       20              It's already a problem -- you know,             20   you'll agree with me, is PLM, correct?
       21   chrysotile is already problematic because, essentially,    21         A. I understand that powder x-ray
       22   the shape of it. So it's a difficult material to work      22   diffraction is the primary screen.
       23   with. When you grind those materials, you will end up      23         Q. That's the first screen, correct?
       24   with, essentially, stuff that won't diffract. So,          24         A. Yes.
       25   therefore, with powder x-ray diffraction, you cannot be    25         Q. Okay.

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        1   assured that what you're measuring that you detect. So      1         A. And then if -- then if there's something
        2   that's the issue with grounding.                            2   that's detected, it then goes to PLM. And then if is
        3         Q. Okay. So let me start here. Amphibiles             3   something is detected, it goes to TEM. So if you
        4   aren't phyllosilicates, correct, amphibile minerals?        4   don't -- if you're not -- if you're having, essentially,
        5               MS. O'DELL: Amphiboles.                         5   a false negative because you've ground away the
        6   BY MR. FROST:                                               6   chrysotile, you would not -- you know, as things were
        7         Q. Or amphiboles.                                     7   described, you wouldn't go on to the other techniques,
        8         A. They're part of the biopyriboles.                  8   but you would potentially have tremolite.
        9         Q Okay.                                               9         Q. Yes. And you're actually going -- again,
       10         A So but they are not a --                           10   you've looked at Longo's testing, right?
       11         Q. It's not phyllosilicate, correct?                 11         A. Yes.
       12         A. Correct.                                          12         Q. So would you invalidate Longo's testing
       13         Q. And, again, the point of XRD, the                 13   because he crushes and grinds the samples before putting
       14   testing, is to determine whether or not there are          14   them through his various tests, including XRD?
       15   amphibole particles in the talc. Is that also correct?     15              MS. O'DELL: Objection.
       16               MS. SCOTT: Objection.                          16         A. I -- there might be some differences, but
       17         A. Yes.                                              17   overall, my review of Longo's report, I think it's fine.
       18   BY MR. FROST:                                              18   BY MR. FROST:
       19         Q. Okay. So what you're talking about here           19         Q. Okay. And, again, in looking through
       20   is we'd ruin the talc and it would be hard, but we don't   20   Longo's report, despite that he crushed and smeared, did
       21   care because we know talc is in there. What we're          21   he come up with any amorphous -- you know, did he
       22   looking for are amphiboles, right? So crushing isn't       22   identify any amorphous figures within the talc?
       23   going to be a problem with identifying the amphiboles,     23              MS. SCOTT: Objection.
       24   because they aren't subject to smear and amorphousness,    24              MS. O'DELL: Object to form.
       25   if that's the right word, but becoming amorphous through   25         A. I don't remember specific. I remember

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        1   seeing lots and lots of TEM images by -- there's a lot      1   or done by anybody else, have you ever seen any problem
        2   of TEM images. I don't remember specifically.               2   with either smear or amorphous?
        3   BY MR. FROST:                                               3              MS. SCOTT: Object to the form.
        4        Q. You also agree with me that the amphibole           4         A. Yeah. By the nature of the test, as it's
        5   content that you're looking for in baby powder is           5   been described, you know, you can't, you can't see -- I
        6   actually very small. We're talking about the micron         6   want to say you can't see something that is not, that
        7   level, correct?                                             7   you can't detect. So amorphous material doesn't
        8             MS. O'DELL: Object to the form.                   8   diffract x-rays. So x-rays arise when we have coherent
        9        A. I'm sorry. What?                                    9   crystallinity that occurs. And then I'm trying to --
       10   BY MR. FROST:                                              10   BY MR. FROST:
       11        Q. We're talking about particles that are             11         Q. I understand, but let me stop you there.
       12   measured by microns, not --                                12   You would see amorphous on TEM or SEM, wouldn't you,
       13        A. For?                                               13   when you were looking at images of the talc after it's
       14        Q. -- inches or centimeters for the --                14   been prepared for a sample?
       15        A. For what context?                                  15              MS. O'DELL: Objection.
       16        Q. The amphiboles --                                  16         A. The -- only if you're, only if you're
       17        A. The amphiboles?                                    17   looking for it. So you need to have electron
       18        Q. -- that would be located in ground talcum          18   diffraction data that -- you said if you're only looking
       19   powder.                                                    19   for the asbestos materials so you're looking for
       20        A. I'm sorry. I'm unclear on the question.            20   crystalline materials. You would not necessarily be
       21   Can I --                                                   21   looking for amorphous. So I don't think Longo was
       22        Q. I'll just ask it again.                            22   tasked with finding amorphous, amorphous
       23        A. Well, I would prefer to read, if that's            23   phyllosilicates. I think he --
       24   okay.                                                      24   BY MR. FROST:
       25        Q. Well, I'd prefer to reask you the, ask             25         Q. But I'm confused. Doesn't Longo

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        1   you a different question, sir.                              1   categorize every particle that was on the TEM grids?
        2         A. Okay. All right. Good.                             2              MS. O'DELL: Objection. In what way?
        3             MS. O'DELL: He can ask a different                3              MR. FROST: He accounts for them on his
        4         question.                                             4         count sheets.
        5   BY MR. FROST:                                               5   BY MR. FROST:
        6         Q. So, again, my question is: The                     6         Q. If you don't know, sir, that's fine, too.
        7   amphiboles that we care about here, the ones we're          7         A. I don't remember.
        8   finding in the testing of talcum powder, are in microns     8         Q. Okay. That's fine. We'll move on.
        9   of size. They're tiny, correct?                             9              Now, sir, are you aware that talcum
       10         A. They can be, yes.                                 10   powder, cosmetic talcum powder specifically is regulated
       11         Q. Okay. And because they're so small and            11   by the FDA?
       12   small by volume, grinding and crushing really isn't a      12              MS. SCOTT: Objection.
       13   problem because you're not going to affect the             13         A. I know they have looked at it. I don't
       14   crystalline structure of something that small when you     14   know if they've -- I'm not a regulatory expert. So I
       15   grind it. Do you also agree with that?                     15   just know that they've looked at it. I don't know that
       16             MS. SCOTT: Objection.                            16   there's a study on talc.
       17         A. Not necessarily. It depends on the                17   BY MR. FROST:
       18   specific methods of grinding.                              18         Q. I'm not talking about regulations,
       19   BY MR. FROST:                                              19   regulations and testings --
       20         Q. And have you seen any evidence in any of          20         A. Oh, okay. I'm sorry. Yeah. No.
       21   the testing that you've looked at in this case that        21         Q. Okay. All right. Are you aware that
       22   grinding and crushing has caused a problem with smear or   22   there is an FDA sanction testing model called J4-1?
       23   amorphous -- I guess it would become an amorphous          23         A. No, I'm not.
       24   particle. I don't know what the right second term would    24         Q. Okay. And you don't know whether or not
       25   be. But in any of the testing you've seen done by Longo    25   the companies are using J4-1 to test their product

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        1   because that's what's required of them?                     1   for that statement, correct?
        2             MS. O'DELL: Object to form.                       2         A. Yes.
        3             MS. SCOTT: Object to the form.                    3         Q. So we'll start at the first cite, which
        4        A. No.                                                 4   is Furtron or Furcron, F-u-r-c-r-o-n, and others, 1947,
        5   BY MR. FROST:                                               5   deposits of Murray -- talc deposits in Murray County,
        6        Q. Okay. Sir, do you agree with me that                6   Georgia, Georgia State Division of Conservation
        7   compliance with legal standards is an important             7   Department of Mines, Mineralogy, Mining and Geology?
        8   consideration in determining if a mine is being operated    8         A. Uh-huh.
        9   correctly?                                                  9         Q. Okay. You agree with me that they're
       10             MS. SCOTT: Objection.                            10   looking at Georgia mine formations, correct?
       11        A. Yes, in general.                                   11         A. Yes.
       12   BY MR. FROST:                                              12         Q. And that would -- they'd have nothing --
       13        Q. And as we said before, you just don't              13   no opinions or no specifics of what the actual ore body
       14   know one way or the other whether or not -- well, I        14   in Vermont looks like or Italy or China, correct?
       15   guess, what regulations govern these talc mines and        15              MS. SCOTT: Objection.
       16   whether or not the companies were abiding by those         16         A. Correct.
       17   regulations. Is that fair?                                 17   BY MR. FROST:
       18             MS. SCOTT: Object to the form.                   18         Q. Okay. The second citation here is Berg
       19   BY MR. FROST:                                              19   1977, and I think that was the one we identified earlier
       20        Q That's not your area of expertise?                  20   that was a mis-cite?
       21        A. Yeah. I'm not a regulatory expert.                 21         A. Yes. I think it relates to Montana.
       22        Q. Turn to page 39, I believe, of your                22         Q. All right. Tab -- the next one is
       23   report. One, two, third paragraph down, it says,           23   Mark -- where is it? Sandrone and Zucchetti?
       24   "Examination of data from several mines."                  24         A. So --
       25        A. On page 39. "Examination of data from              25              (Exhibit 21 was marked for

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        1   several mines," that paragraph?                             1              identification.)
        2        Q. Yes, that paragraph. Let me just orient             2   BY MR. FROST:
        3   myself. I apologize.                                        3         Q. So it seems like this is talking about
        4              All right. You note here, "Examination           4   the Italian deposit.
        5   of data from several mines shows that ore bodies are        5         A Yes. So, yeah.
        6   very complex, with mixtures of several rock types,          6         Q You go one, two, three, four.
        7   including those likely to have the presence of asbestos     7              MR. FROST: Oh, I apologize I thought he
        8   and heavy metals. These rock types are intimately mixed     8         had the paper in front of him.
        9   with talc ore. The variation of the bodies of rock          9              COURT REPORTER: No.
       10   differs and significant features may be only one foot      10              MR. FROST: Oh, I'm sorry.
       11   thick or less." Correct?                                   11   BY MR. FROST:
       12        A. Yes. That is what it says.                         12         Q I'll reask the question. She didn't get
       13        Q. Are you talking about the features there           13   it.
       14   of the talc ore itself or are you talking about the        14              So the question was: This paper appears
       15   other minerals that might be in the geological             15   to be dealing with the Italian mines, correct, the
       16   formation?                                                 16   Italian deposit?
       17        A. So I'm talking about the ore as a whole,           17         A. Yes. Can I state a clarification?
       18   including, you know, lithologies that are rich in talc     18         Q. Sure.
       19   and not as well as the minerals and all the constituents   19         A. So this is actually meant as an
       20   of ore.                                                    20   introduction paragraph. So several mines, meaning
       21        Q. So you're talking about the ore body? I            21   several mines of talc, in general.
       22   just want to clarify what we're talking about there.       22         Q. Okay.
       23   All right.                                                 23         A. So that sentence does not specifically
       24        A. Yes.                                               24   relate to -- as written doesn't necessarily relate to
       25        Q. And that's Footnote 36, is the support             25   mines in Vermont but just in general.
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        1        Q. Okay.                                               1         A. No, I did not.
        2        A. So --                                               2         Q. Do you know if your counsel provided the
        3        Q. So it's not a statement --                          3   charts that you created to Dr. Cook?
        4        A. The thing that's gone, the Berg paper               4              MS. SCOTT: Objection.
        5   shows really intimate associations of, you know,            5         A. I don't know if they did or not. I
        6   small-scale features. So it's meant to be general.          6   presume not. He looked at the same -- I think he looked
        7   Sorry.                                                      7   at the same sets of documents. It doesn't surprise me
        8        Q. Okay. So these aren't talking about any             8   that --
        9   of the mines that we're specifically talking about here:    9   BY MR. FROST:
       10   The Vermont mines, the Italian mine and the Chinese        10         Q. That they look exactly the same?
       11   mines, the ones at issue on page 7 and 8 --                11         A -- they're similar. I don't know if
       12        A. That sentence does --                              12   they're exactly the same. I didn't --
       13        Q -- of your report?                                  13         Q Yeah. You didn't look at it in detail?
       14        A -- not refer to those, yes.                         14         A -- look at Cook's. I didn't look at
       15        Q Turn to page 41 of your report, please.             15   Cook's documents in detail.
       16   The very -- the sentence that goes from 41 to 42.          16         Q. Bear with me a second. I have to go to
       17   "Composite sampling is a flawed methodology to             17   the third box. It's far away.
       18   adequately" monitor -- sorry. It's a typo, but --          18              (Exhibit 22 was marked for
       19   "adequately monitoring for asbestos and toxic metals and   19              identification.)
       20   should be reserved for products not intended for human     20              VIDEOGRAPHER: I'm going to make a
       21   consumption or cosmetic use." And then you cite to the     21         general housekeeping announcement. If you've
       22   Afewu paper?                                               22         got a laptop in front of you and you've got a
       23        A. That is an editorial error. The Afewu              23         mic on, push it back a little bit and make sure
       24   reference is there as its own parenthetical sentence.      24         your phones stay away from the mic wires.
       25        Q. So you agree with me --                            25         Thanks.

                                                       Page 239                                                       Page 241
        1         A. I don't -- it's a typo.                            1             MR. FROST: Can we go off the record for
        2         Q. Okay. So you agree with me that Afewu              2        a second?
        3   and Lewis don't talk about testing for heavy metals or      3             VIDEOGRAPHER: We're now going off
        4   whether or not ores are meant for human consumption?        4        record. The time is 5:02.
        5         A. Correct, yeah. That's a streaming, a               5             (Off the record.)
        6   streaming reference. It's cited where -- it's just          6             VIDEOGRAPHER: We are now back on record,
        7   stand alone. There's a period before it and a period        7        and the time is 5:10.
        8   after it. Sorry about that.                                 8   BY MR. FROST:
        9         Q. That's okay. All right. I'm going to               9        Q. All right, sir. If you look at page 21
       10   turn to the various charts now that are in your report.    10   of your report, do you see the sample with the date
       11   So as a preliminary question, did you review each of the   11   8/22/1985?
       12   documents that are listed in the various documents?        12             VIDEOGRAPHER: I'm sorry, Counsel. Can
       13         A. I looked at all these documents, yes.             13        you put that notebook lid down?
       14         Q. Have you ever seen the expert report done         14             MR. FROST: Oh.
       15   by Dr. Cook in this case?                                  15             VIDEOGRAPHER: Thanks.
       16         A. Yeah. I have seen it recently, yes.               16             MS. O'DELL: 21.
       17         Q. It was after you were done drafting your          17        A. 21, and what was the line on the table?
       18   initial and supplemental reports? Do you know?             18   BY MR. FROST:
       19         A. I believe so.                                     19        Q. 8/22/1985.
       20         Q. Okay. I'll note that Dr. Cook seems to            20        A. Yes.
       21   have the exact same lists that you do. Did you provide     21        Q. I'll move this binder, so it's out of the
       22   these to him?                                              22   way.
       23         A. We looked at the same data. I'm sorry.            23             And that relates to sample WMI 85-28 and
       24         Q. Okay. I was going to say, did you                 24   WMI 85-30?
       25   provide the charts that you created to him?                25        A. Yeah, as indicated on the chart.

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                                              Mark Krekeler, Ph.D.
                                                     Page 242                                                        Page 244
        1         Q. Do you know where Samples 85-28 and 85-30         1        A. Presumably, yeah.
        2   were mined?                                                2   BY MR. FROST:
        3         A. I'm looking at the document.                      3        Q. On page 12, if you go down to the next
        4         Q. Yes. If you look for the actual                   4   sample listed, it's the 4/29/1986 sample.
        5   document, if you turn to Tab 1 in the book you have        5        A. I'm sorry. Page 12?
        6   there.                                                     6        Q. I'm sorry. I meant page 21. I got it
        7         A. I have Tab 1.                                     7   backwards.
        8         Q. All right. Great.                                 8        A. Page 21. Okay. And I'm sorry. And what
        9         A. All right. Let me just read. Yes. As              9   was the line?
       10   is common, there's not -- it doesn't say the exact        10        Q. It's the next one down, 4/29/1986.
       11   location.                                                 11        A. 4/29/1986. So J&J 182. So is that --
       12         Q. Would it surprise you to learn that these        12        Q. That's Tab 4.
       13   samples came from a mine in San Andreas, California?      13        A. Tab 4.
       14             MS. SCOTT: Objection.                           14        Q. And do you see in the middle of page
       15         A. I did not know that.                             15   we're talking here, it's sample number WMI 85-53, WMI
       16   BY MR. FROST:                                             16   85-55 and WMI 85-57?
       17         Q. Turn to Tab 2. It's a document Bates             17        A. Yes.
       18   stamped JNJ 65646.                                        18        Q. Okay. And those are the ones that
       19         A. I'm sorry. Tab 2?                                19   they're talking about in the letter about the chrysotile
       20         Q. Yeah. Turn to the second page.                   20   detection?
       21         A. Okay. The second page.                           21        A. Yes.
       22         Q. Okay. And if you look at sample WMI              22        Q. Okay. Do you know where these samples
       23   85-28, it notes that it's grade TC-700. Do you see        23   were mined?
       24   that?                                                     24        A. We can just check. No.
       25         A. 85-28. Oh, okay. Yes.                            25        Q. Turn to Tab 5, sir. And that's the

                                                     Page 243                                                        Page 245
        1              MS. O'DELL: What sample are you on in           1   document with Bates number JNJ 578888. You can turn to
        2         the chart, Jack? I'm sorry.                          2   the third page.
        3              MR. FROST: It's WMI 85-28. It's on page         3         A. Where is that on the --
        4         2.                                                   4         Q. It's on the --
        5              MS. O'DELL: I've got you. All right.            5         A. Chart?
        6   BY MR. FROST:                                              6         Q. No. It's the -- I was just identifying
        7         Q. And then looking down at 85-30, which is          7   for the record the document. It's Tab 5 of the binder.
        8   the second sample, that is also grade TC-700, correct?     8         A. Tab 5, yes.
        9         A. Correct.                                          9         Q. If you turn to the third page --
       10         Q. Okay. And those are the two samples we           10              MS. SCOTT: 8890.
       11   saw from the Tab 1 document that appear in the chart,     11   BY MR. FROST:
       12   right?                                                    12         Q. Yeah, 8890.
       13         A. Yes.                                             13         A. Yes.
       14         Q. Okay. You now can turn to Tab 3, which           14         Q. Okay. Do you see here on here the WMI
       15   is a document that starts IMERYS 013723. If you turn to   15   85-53 is identified as the grade TC-700?
       16   the third page of it. The very bottom of the product      16         A. Yes.
       17   certification protocol on page 3. Yeah, I know. It's      17         Q. And that's the one we just saw that comes
       18   tiny. I apologize. Do you see where it says, "San         18   from the San Andreas, California, mine, correct?
       19   Andreas, California, Red Hill Grade," and then it has     19         A. Okay. Yes.
       20   "TC-700, light" and "dark"?                               20         Q. If you look down at WMI 85-56 and 85-57,
       21         A. Yes.                                             21   which are the other two samples, do you see that one is
       22         Q. Okay. This clearly indicates that these          22   grade 76 and the other is also grade TC-700?
       23   two samples did not come from one of the Vermont mines    23         A. Yes.
       24   or the Italian or the Chinese mines, correct?             24         Q. Okay. So for the TC-700, we know that's
       25              MS. SCOTT: Object to the form.                 25   San Andreas. If you turn back to Tab --

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                                              Mark Krekeler, Ph.D.
                                                     Page 246                                                        Page 248
        1             MS. O'DELL: Object to the form.                  1         A. No, not specifically.
        2   BY MR. FROST:                                              2         Q. Okay. If you turn to Tab 7, that's the
        3         Q. Turn back to Tab 3.                               3   document, it's identified as JNJMX68_2659.
        4             MS. O'DELL: Is that a question?                  4         A. JNJMX68_2659. Okay. Where is it in
        5             MR. FROST: Sure.                                 5   the --
        6   BY MR. FROST:                                              6         Q. If you look at the third paragraph.
        7         Q. Do you agree with me that we know from            7         A. Okay.
        8   looking at the document before that the TC-700 is          8         Q. So it's the third and the fifth
        9   identified as San Andreas, California?                     9   paragraph.
       10             MS. O'DELL: Object to the form.                 10         A. "The samples represented both the
       11         A. I don't remember.                                11   industrial materials produced at the Gassetts and West
       12   BY MR. FROST:                                             12   Windsor."
       13         Q. We're going to turn back there. It's Tab         13         Q. Okay. If you look down at the fifth
       14   3, please, in the binder. It's the last page of that      14   paragraph, it says, "In one instance, asbestos was
       15   document.                                                 15   identified, this being associated with sample D-GI
       16         A. Right. Oh, okay. Yeah.                           16   produced at the Gassetts Mill."
       17         Q. And do you also see the grade 76?                17         A. Okay.
       18         A. 76 is listed there as well.                      18         Q. And do you agree with me that the
       19         Q. Okay.                                            19   Gassetts Mill and industrial talc are different than the
       20         A. Okay. Yes.                                       20   cosmetic talcum powder used in Johnson & Johnson Baby
       21         Q. So the samples in this, from this testing        21   Powder -- or Johnson's Baby Powder and Shower to Shower
       22   also did not come from any of the mines utilized by       22   products?
       23   Johnson & Johnson for talcum powder, correct?             23         A. The geology is related.
       24             MS. O'DELL: Object to the form.                 24         Q. Okay. But specifically the -- this is
       25         A. Okay. As far as -- yeah.                         25   not talcum powder that ever made it into a bottle of

                                                     Page 247                                                        Page 249
        1   BY MR. FROST:                                              1   Johnson's Baby Powder or Shower to Shower; is that
        2        Q. Turn to page 19 of your report.                    2   correct?
        3        A. Page 19 of the report?                             3              MS. SCOTT: Objection.
        4        Q. Yes. The very bottom, the                          4        A. Presumably, that is correct.
        5   10/10/1974 sample.                                         5   BY MR. FROST:
        6        A. Okay.                                              6        Q. Turn to page 15 of your report.
        7        Q. And if you look at Tab 7, that's the               7        A. Page 15?
        8   corresponding document. I'm sorry. Tab 6. I                8        Q. Yep.
        9   apologize. Tab 6 is the corresponding document.            9        A. Of the report? Okay.
       10        A. J&J-74. Okay.                                     10        Q. It's the sample 7/7/1971.
       11        Q. Do you see here where it states that the          11        A. 7/7/1971, J&J-15, Colorado School of
       12   sample that came back, the fibrous asbestiform material   12   Mines, the Vermont talc.
       13   is D-GI? It's in the semi-highlighted section, the gray   13        Q. And if you turn to Tab 8. This is the
       14   box.                                                      14   corresponding document related to processed talc sample
       15        A. "Only one sample was found to contain             15   344-L?
       16   fibrous asbestiform material."                            16              MS. O'DELL: I'm sorry, Jack. Did you
       17        Q. And that's D-GI?                                  17        say Tab 8?
       18        A. D -- okay. If you say -- all right.               18              MR. FROST: Tab 8 of the binder, yes.
       19   Okay. "7/15 to 7/29. Chrysotile fibers were found to      19        It's JNJAZ55_6089.
       20   be present at an estimated level (good at approximately   20              MS. O'DELL: Great. Thanks.
       21   to an order of magnitude) of .006 percent."               21        A. It says, "only minor amounts (below
       22        Q. And do you know where this sample was             22   1 percent) of tremolite and actinolite were detected."
       23   mined?                                                    23   BY MR. FROST:
       24        A. Not specifically, no. I mean it's --              24        Q. Okay. And you agree that this is sample
       25        Q. That -- yeah, I think it's the short --           25   344-L that they're talking about?

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                                                      Page 250                                                        Page 252
        1         A. Yeah. It says, "Following are results of           1   permissible, but, again, you know, it also indicates
        2   the x-ray analyses on the 344-L Vermont talc product and    2   that they're sloppy with their materials and they --
        3   the six monthly Vermont talc product samples." Yes.         3         Q. I'll stop you here. Without speculating,
        4              MS. O'DELL: Jack, are you going to               4   you can't tell me that the talc in 344-L contained
        5         mark -- I think what made it to the chart was         5   asbestos, correct?
        6         J&J-15.                                               6             MS. SCOTT: Object to the form.
        7              MR. FROST: I didn't have a copy with the         7         A. I would say that based on these
        8         J&J-15 sticker on it. It's the same document,         8   documents, that, objectively, the analysis might be
        9         though. This is just from our production.             9   suspect or based on what I saw previously.
       10              MS. O'DELL: I see. Do you mind giving           10   BY MR. FROST:
       11         me just a minute to pull that up --                  11         Q. Yeah. But you can't tell me one way or
       12              MR. FROST: Sure.                                12   the other based on this, considering it's a retraction?
       13              MS. O'DELL: -- so we can correlate it?          13         A. Well, it was measured once. We don't
       14         It will take me two seconds.                         14   know -- they didn't -- I don't see any data that backs
       15              Thanks very much.                               15   up --
       16   BY MR. FROST:                                              16         Q. Well, there's no data in this report.
       17         Q. If you turn, sir, to page -- or, sorry,           17         A. It says, I saw where evidently
       18   to Tab Number 9. Well, before I get there, this report     18   contamination. "Evidently" is a word up to
       19   was done by the Colorado School of Mines, correct?         19   interpretation. Prove it. I don't see, you know,
       20         A. Colorado School of Mines Research                 20   essentially, some sort of chemical analysis or whatever
       21   Institute it what it says, yes.                            21   that would prove the exact same thing.
       22         Q. Are you aware that the Colorado School of         22         Q. So with the guy who did the testing
       23   Mines issued a subsequent report regarding these           23   saying my testing is wrong, you're still comfortable in
       24   samples?                                                   24   saying 100 percent that there was asbestos in that
       25         A. I don't know. I believe I've seen other           25   talcum powder sample?
                                                      Page 251                                                        Page 253
        1   things from the Colorado School of Mines.                   1              MS. SCOTT: Objection.
        2         Q. Okay. If you turn to Tab 9. It's a                 2         A. Well, I would say it's probable --
        3   document identified as JNJAZ55_3828.                        3   BY MR. FROST:
        4         A. Okay.                                              4         Q And what's that based on?
        5         Q. Do you see it where it says -- it's Point          5         A -- or possible.
        6   Number 1. "In the report of July 7, 1971." Do you           6         Q. What's your basis?
        7   agree with me that's the report you just looked at in       7         A. The first finding.
        8   Tab 8?                                                      8         Q. And the fact that it was negated and
        9         A. Okay.                                              9   specifically retracted by the person who does the
       10         Q. Continues down, it says, "Subsequent              10   testing has absolutely no sway in your mind as to
       11   x-ray work on the six monthly product samples and the      11   whether or not? You're just now basing your opinion on
       12   344-L product sample shows no definite indications of      12   speculation?
       13   asbestos-type minerals within our limits of                13              MS. SCOTT: Objection.
       14   detectability. The trace amounts I saw were evidently      14   BY MR. FROST:
       15   contamination from the standard asbestos samples." Did     15         Q. Don't you think the guy who did the test
       16   I read that correctly?                                     16   is in a better position than you are today, 40, 50 years
       17         A. You read it correctly. But it's also, in          17   later, to say what was in that particular sample that he
       18   my mind, it's unclear, you know -- you know, again,        18   tested?
       19   like, there's no detail as far as, like, the methods and   19              MS. O'DELL: Objection.
       20   such. So if they're doing this as powders and then         20         A. I've stated my opinion.
       21   they're reanalyzing, so they're repacking the powder at    21   BY MR. FROST:
       22   a sample volume can be several cubic centimeters. So       22         Q Okay. Interesting one. Let's turn to
       23   it's not necessarily surprising that we would have a       23   1972. It's page 16.
       24   positive result and then, if you repack it, you might      24         A. There's many from '72 here. Which one?
       25   get a negative result. And their interpretation is         25         Q. It's the very -- it's 8/3/1972.

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                                               Mark Krekeler, Ph.D.
                                                      Page 254                                                       Page 256
        1         A. "8/3/1972, J&J-28, NYU, Shower to Shower           1              MS. O'DELL: Give us just a minute.
        2   ... 5 percent chrysotile."                                  2         A. Here's one by Doctor -- I'm sorry. I'm
        3         Q. Turn to Tab 8. I'm sorry. Tab 10.                  3   getting Dr. Lewin-- okay. D. You said D-1?
        4         A. Tab 10.                                            4              MS. O'DELL: Is it DX?
        5         Q. Do you agree this is a corresponding               5              MR. FROST: I have it as D. It's
        6   document to that entry?                                     6         possible it's DX.
        7         A. J&J-28. Yes.                                       7         A. So let's see what the date is. We have a
        8         Q. Okay. Real quick, before I get there,              8   date. We're looking for January 7th, '76. January 7th,
        9   turning back to Tab 9, you were never provided with this    9   '76. I think there's only -- I have one. I have only
       10   document, right?                                           10   one.
       11              MS. SCOTT: Objection.                           11   BY MR. FROST:
       12         A. Tab 9. I think I was.                             12         Q. Sir, we're trying to pull up the
       13   BY MR. FROST:                                              13   documents, but this relates -- and I'll get back -- but
       14         Q. And then why didn't you consider this             14   this relates to your testing of 8/3/72 by Dr. Lewin.
       15   document in creating your chart?                           15   The Shower to Shower sample 84, you note on the 8/3/72.
       16              MS. SCOTT: Objection.                           16   If you look back at Tab 10, that's the corresponding
       17         A. I potentially missed it in the                    17   document for that. It's on the one, two, three, four,
       18   compilation.                                               18   five, sixth page.
       19   BY MR. FROST:                                              19              MS. SCOTT: Is subsection B on the
       20         Q. And you also didn't include it under              20         tabulation of Dr. Lewin's original findings
       21   materials considered?                                      21         smudged?
       22         A. I missed it.                                      22              MR. FROST: Yeah, it's smudged, too.
       23         Q. Okay. So back to Tab 10. So we agree              23              MS. SCOTT: Okay.
       24   this is the source of the entry on page 16 of your         24              MR. FROST: Yeah. Mine looks the same.
       25   report, correct? The Shower to Shower sample 84.           25              MS. SCOTT: Got it. And that's the

                                                      Page 255                                                       Page 257
        1         A. Yeah. J&J-28?                                      1        original?
        2         Q. Yes.                                               2             MR. FROST: Yes. My understanding is
        3         A. Yes.                                               3        that's the original.
        4         Q. Okay. And this was testing that was done           4   BY MR. FROST:
        5   by Dr. Lewin?                                               5        Q. Okay. So you see we're talking about
        6         A. Yes.                                               6   Sample 84 on Tab 10?
        7         Q. Are you aware that Dr. Lewin retested              7        A. Right. So I'm at Tab 10. Tab 10.
        8   this sample and was unable to replicate his results?        8        Q. One, two, three, four -- it's the fifth
        9         A. No.                                                9   page.
       10         Q. Okay. Turn to Tab 11. If you look at              10        A. One, two, three, four, five.
       11   page 4, it's the testing of Number 29. I think it's        11        Q. Do you see a Product 84?
       12   four -- three down.                                        12        A. Product 84? Yes.
       13         A. It is one, two, three, four. And I'm              13        Q. And if you follow across, there's --
       14   sorry. This is --                                          14        A. 5 percent chrysotile.
       15         Q. Yes. That's the chart.                            15        Q. -- 5 percent chrysotile. Okay. So if
       16         A. Where? I don't see a number on this.              16   you turn to the document at Tab 11.
       17         Q. Yeah. It appears to have gotten cut off,          17             MS. O'DELL: I'm not able to find that
       18   so I don't know what the number of this document is. We    18        DX.
       19   can sort that out at the back end.                         19             MR. FROST: Okay. Well, I'll provide it
       20         A. Where is it at on the chart?                      20        to you after the deposition. We'll figure it
       21         Q. It's D-7113. As I said, it got cut off.           21        out.
       22             MS. O'DELL: Yeah. Was it marked in a             22   BY MR. FROST:
       23         deposition?                                          23        Q. So if you look at this, this document,
       24             MR. FROST: I believe it is. It's marked          24   you go to the fourth page. Sorry. One, two, three,
       25         somewhere, but I have it in my notes as D-7113.      25   fourth page.
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                                              Mark Krekeler, Ph.D.
                                                      Page 258                                                        Page 260
        1         A Okay. One, two, three, four.                        1   Powder, 3 percent chrysotile.
        2         Q. Do you see here under Sample 84 with the           2         Q. You're looking at page 4 of 7?
        3   retest that there's a no detect and there's no finding      3         A. 4 of 7.
        4   of chrysotile?                                              4         Q. Samples 183 and 184?
        5              MS. SCOTT: Objection.                            5         A. Yes.
        6         A. In the -- oh, there's a question mark for          6         Q. If you look back at Tab 11. If you look
        7   chrysotile, right?                                          7   at Samples 133 and 134 here. Again, on the retest, this
        8   BY MR. FROST:                                               8   time there's no question mark. It says nondetect for
        9         Q. Yeah. It certainly doesn't find that               9   chrysotile, tremolite. Do you agree?
       10   there's chrysotile in the retest, correct?                 10         A. 133 and 134, ND. Yes, ND is listed.
       11              MS. SCOTT: Objection.                           11         Q. And if you look back at your chart on
       12         A. It doesn't say "no detect," also.                 12   16 -- strike that.
       13   BY MR. FROST:                                              13              So, again, looking at this, you can't
       14         Q. Again, without speculating, can you tell          14   tell me whether or not there's actually asbestos that
       15   me whether or not that that means there's chrysotile in    15   made it into the sample that's listed as 9/26/72 in your
       16   that product?                                              16   chart, correct, without speculating?
       17         A. No. But it means there's some question.           17         A. Correct. It was detected once in a
       18   Yeah, I don't know why they would use question marks.      18   sample, and it was not detected again in what is
       19   If it was no detect, I would expect it to be an ND.        19   supposedly the same sample. So I'm unclear. Is it the
       20         Q. But, again, you can't tell me one way or          20   exact -- is it the same exact sample or same lot?
       21   the other without speculating that there's chrysotile in   21         Q. It's the same sample, sir. It was
       22   that product, correct?                                     22   retesting of the same sample.
       23              MS. O'DELL: Object to the form.                 23         A. Resting.
       24         A. So with all these, you know, re-analyses,         24              MS. O'DELL: Object to the form.
       25   you know, essentially, one aspect of variability is that   25         A. Is the exact --
                                                      Page 259                                                        Page 261
        1   perhaps the samples were either ground more or not          1             MS. O'DELL: Excuse me. Object to the
        2   prepared, you know, in the same way.                        2        form.
        3   BY MR. FROST:                                               3   BY MR. FROST:
        4         Q. Let's stop you here. You're speculating            4        Q. You can read the document yourself, sir.
        5   about all of this, correct? Based on these documents,       5             All right. So I think we've gone
        6   can you tell me one way or the other that there was any     6   through, like, six of these, correct? And we've come up
        7   problems with the retest or that they've actually found     7   with six of them either are samples that have absolutely
        8   chrysotile in any of these samples? I don't want you to     8   nothing to do with Johnson's Baby Powder or Shower to
        9   speculate.                                                  9   Shower or any other cosmetic talcum problem. Do you
       10              MS. SCOTT: Object to the form.                  10   agree? Talcum powder product.
       11         A. The -- this has a question mark listed            11             MS. O'DELL: Objection.
       12   for chrysotile.                                            12   BY MR. FROST:
       13   BY MR. FROST:                                              13        Q. Do you agree?
       14         Q. And based on that, you can't tell me one          14        A. We've gone through six examples as
       15   way or the other whether there was chrysotile in the       15   you've -- yeah.
       16   final sample that was tested, according to this            16        Q. And others we've come up with, we
       17   document, correct?                                         17   basically determined without speculating you can't say
       18         A. Correct. According to that document.              18   one way or the other that there is asbestos in that
       19         Q. Okay. Go to your chart. Still on page             19   product that made it onto the market, correct?
       20   16, I believe. It's 9/26/72.                               20             MS. SCOTT: Object to the form.
       21         A. 9/26/72.                                          21        A. Based on those documents, yes.
       22         Q. If you turn to Tab 12. Do you agree that          22   BY MR. FROST:
       23   that's the corresponding document, J&J-31?                 23        Q. So I think it would take us days to go
       24         A. JNJ-31. I believe so, yes. Johnson's              24   through all of these, but can you definitively sit here
       25   Baby Powder, 2 percent chrysotile; Johnson's Baby          25   now and tell me that every single hit or every single

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        1   reference you have on this list showing asbestos and        1   they provided to you?
        2   talcum powder is actually talcum powder that was, one,      2              MS. SCOTT: Objection.
        3   either use or ended up in an bottle of Johnson's Baby       3         A. No. But I -- well, I remember there's a
        4   Powder or Shower to Shower or other talcum powder           4   deposition by Blount who indicated, I think, on page 10
        5   products or, two, that you can say without speculating      5   that work from 1991 was Johnson & Johnson talcum powder,
        6   contains asbestos?                                          6   if I remember correctly. I've seen that somewhere.
        7             MS. O'DELL: Objection.                            7   BY MR. FROST:
        8         A. To the best of my knowledge, I stand by            8         Q. Okay. So Blount, Longo. And, again,
        9   the report.                                                 9   Blount was provided to you by plaintiffs' counsel,
       10   BY MR. FROST:                                              10   correct?
       11         Q. But sitting here today, you can't tell me         11         A. Yes.
       12   one way or the other that absolutely every -- well, we     12         Q. Now, you've done no additional testing
       13   know not every single entry is correct?                    13   yourself of talcum powder? I think you said that
       14             MS. O'DELL: Objection.                           14   before.
       15         A. Yeah. So there -- there are some                  15         A. Correct. Yeah. That was not requested
       16   misidentifications or later corrections, later             16   of me.
       17   corrections that I was unaware of, but it's also           17         Q. And have you done any testing or cusing
       18   concerning that you can -- it's not exactly -- you know,   18   of the testing done by Dr. Longo?
       19   so what is a sample? It's not exactly clear if the         19              MS. SCOTT: Objection. Asked and
       20   sample is like a kilogram sample, so you could have        20         answered.
       21   portions in that sample that have asbestos that you        21         A. No. I was not asked to retest on any of
       22   cannot detect, and then you can have regions of the        22   his samples or anything like that.
       23   sample that have a lot. So that, that's my opinion.        23   BY MR. FROST:
       24         Q. So what you're telling me is you can't            24         Q. So you're merely relying on the results
       25   actually speculate as to any of the testing results in     25   of his testing for purposes of your opinions here,

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        1   here because of the various sample sizes retesting, and     1   correct?
        2   again, not everything we found is a retest, right? Some     2        A. Yes.
        3   aren't even products of cosmetic talc, correct?             3        Q. You have no opinions about his sample
        4             MS. O'DELL: Object to the form.                   4   preparation, his underlying testing methods, anything of
        5             MS. SCOTT: Objection.                             5   that nature?
        6        A. I don't remember.                                   6        A. I'm fine with what he's done.
        7   BY MR. FROST:                                               7        Q. Okay. But you're not rendering any
        8        Q. You don't remember that we found talcum             8   opinions that it's correct or incorrect or the
        9   powder that came from a mine in San Andreas, California?    9   methodology about it? You're not going to sit here
       10        A. I'm sorry. Yeah, that's correct.                   10   today and walk me through the methodology that Longo
       11        Q. Okay. So it's not just retesting that              11   used to give me opinions that that's the proper way or
       12   came back. I've also identified some product that has      12   not the proper way?
       13   nothing to do with cosmetic talcum powder, correct?        13             MS. SCOTT: Objection.
       14             MS. SCOTT: Objection.                            14        A. I think what he did was fine for the
       15        A. Correct.                                           15   purpose of the report.
       16   BY MR. FROST:                                              16   BY MR. FROST:
       17        Q. Okay. Now, you also reference in your              17        Q. You have no problems with any of the
       18   report Dr. Longo's reports; is that correct?               18   methodology he employed in his testing?
       19        A. Yes.                                               19             MS. O'DELL: Objection. Asked and
       20        Q. And I take it you were provided those              20        answered.
       21   reports by plaintiffs' counsel?                            21        A. No. I'm fine with what he's done in the
       22        A. Yes.                                               22   report.
       23        Q. Did you ever ask plaintiffs' counsel if            23   BY MR. FROST:
       24   anybody else has done testing of Johnson & Johnson         24        Q. This is despite the fact that you've done
       25   talcum powder other than Dr. Longo and the records that    25   nothing to verify the results of his report?

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        1             MS. SCOTT: Objection.                             1   found asbestos in every sample he tested?
        2         A. You know, I looked at a lot of TEM data.           2        A. I would not be comfortable saying that.
        3   You know, just looking at the quality of the data,          3   I don't know.
        4   electron diffraction is, requires a certain level of        4        Q. Okay.
        5   skill, and he produced several, you know, really good       5        A. I know he found asbestos in many samples.
        6   nets, so he was obviously able to get good orientations     6        Q. Okay. Turning to -- where I did put your
        7   of crystals. So, you know, he didn't have anything that     7   report?
        8   was extremely off axis or anything like that. So at         8             THE WITNESS: Can we take a little break?
        9   that level, I mean, I am fine with his data.                9             MR. FROST: Sure.
       10   BY MR. FROST:                                              10             VIDEOGRAPHER: We're now going off
       11         Q. You didn't go through and actually run            11        record. The time is 5:47.
       12   any calculations to determine whether or not his           12             (A recess was taken from 5:47 to 6:00.)
       13   accessees were correct or whether or not any of his        13             VIDEOGRAPHER: We are back on record, and
       14   underlying calculations or determinations are correct?     14        the time is 6:00.
       15             MS. SCOTT: Objection. Asked and                  15   BY MR. FROST:
       16         answered.                                            16        Q. We're going to change gears a little bit
       17         A. I did not index things, but the                   17   and talk about fibrous talc. Of course, I'm not finding
       18   diffraction patterns looked suitable and consistent as     18   it. That's all right. It doesn't matter.
       19   to the EDS, suitable and consistent with the materials     19             So, in general, you're relying on the
       20   that he identified.                                        20   IARC statement from 2012, correct, that fibrous talc is
       21   BY MR. FROST:                                              21   carcinogenic?
       22         Q. And is suitable and consistent the                22        A. I'm just trying to find it.
       23   scientific requirement for testing?                        23   BY MR. FROST:
       24             MS. SCOTT: Objection.                            24        Q. If you find it, tell me the page. Okay.
       25         A. So with TEM work, essentially, one should         25   Page 23 is where it starts.

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        1   have an image, an EDS pattern and a diffraction pattern.    1         A. Twenty-three.
        2   So I find what he has done is in agreement with what I      2         Q. In general, I think a couple different
        3   would do and what others have done.                         3   places in your report, you note that, according to IARC,
        4   BY MR. FROST:                                               4   it's actually -- I see it on page 3. Yeah, that rely on
        5         Q. This is despite the fact that you didn't           5   IARC 2012 to state that fibrous talc can be a human
        6   do any retesting of the work calculations. You didn't       6   carcinogen?
        7   do any cusing of it. You're just taking it a face value     7         A. I'm sorry. You said page 3?
        8   based on your review?                                       8         Q. Yes.
        9             MS. SCOTT: Objection.                             9         A. Page 3.
       10         A. I was not tasked with retesting samples.          10              MS. SCOTT: I'll just object.
       11   BY MR. FROST:                                              11         A. "Talc can occur in a fibrous habit"?
       12         Q. You agree with me that there are samples          12         Q. Yep.
       13   where Dr. Longo detected no asbestos, correct?             13         A. "These fibers can be inhaled into the
       14         A. I'm not sure. There may have been some,           14   lower lungs based on their length and diameter,
       15   but I don't remember the exact details.                    15   producing effects linked to significant health risks in
       16         Q. So you're relying on Dr. Longo's report           16   humans. IARC 2012."
       17   and testing as a basis for your opinions here, but you     17   BY MR. FROST:
       18   can't even tell me whether or not what percentage or if    18         Q. Okay. Would you agree with me that
       19   he finds no asbestos in some of the bottles he tested?     19   you're not an expert in reading the literature of what
       20             MS. SCOTT: Objection.                            20   causes cancer?
       21         A. There were, you know, hundreds and                21              MS. SCOTT: Objection.
       22   hundreds of images diffraction patterns in EDS, so I       22         A. I am not an oncologist. I am not a
       23   don't remember specifics.                                  23   medical expert.
       24   BY MR. FROST:                                              24   BY MR. FROST:
       25         Q. So you can't tell me whether or not he            25         Q. Do you agree with me that an IARC

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        1   monograph does not represent independent lab work but,      1   BY MR. FROST:
        2   instead, it's a summary of work that's already been done    2         Q. If you want me to explain it --
        3   by others?                                                  3         A. I don't -- I don't remember.
        4               MS. SCOTT: Objection.                           4         Q. And that, specifically, the theory is
        5         A. And that's normal. There are many                  5   that -- you know, the explanation is that if you look at
        6   monographs. I mean, we have, you know, the CRC              6   talc edge on, it can appear in a 2-D image as fibrous.
        7   chemistry book.                                             7   Would you agree with that?
        8   BY MR. FROST:                                               8             MS. SCOTT: Objection.
        9         Q. That's what I'm saying.                            9         A. Can I make a statement?
       10         A. It is a cumulative document, as I                 10   BY MR. FROST:
       11   understand it, based on peer-review literature, and it's   11         Q. Sure.
       12   also an international document, so it's global             12         A. So the miopyroboles are this mineral
       13   peer-review literature, as I understand it.                13   group that actually were discovered in the ultramafic,
       14         Q. Do you agree with me that if there are --         14   these talc-rich zones in Vermont. So Dave Devlin, I
       15   IARC does not draw conclusions on its own, so if there's   15   worked with Thompson at Harvard, and basically, what
       16   not peer-reviewed literature that says one way or the      16   they showed is that you can have these structural
       17   other, IARC isn't going to jump out and say this is or     17   intermediates where, essentially, you can have a region
       18   this isn't, correct? IARC relies on the work of others     18   of a crystal.
       19   in order to reach its conclusions?                         19         Q. Okay. I am going to stop you because we
       20               MS. O'DELL: Object to form.                    20   are talking about something completely different. My
       21         A. I think it's speculation because I'm not          21   question was --
       22   an expert in health and medical things.                    22         A. I was explaining how one might get
       23   BY MR. FROST:                                              23   fibrous talc.
       24         Q. Okay. Are you aware whether or not there          24         Q. No, no. I'm talking about -- that's why
       25   are any peer-reviewed studies that actually link           25   I stopped you, because that's not what we're talking
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        1   exposure to talc to ovarian cancer?                         1   about.
        2              MS. SCOTT: Objection.                            2              So do you agree that if you're looking at
        3              MS. O'DELL: Object to form.                      3   a plate of talc on edge, it can appear as a fiber in a
        4         A. I'm sorry. Any studies or any                      4   2-D SEM or TEM image? And have you read any literature
        5   information?                                                5   about the problems with misidentifying talc?
        6   BY MR. FROST:                                               6              MS. O'DELL: Objection.
        7         Q. I said any peer-reviewed studies linking           7              MS. SCOTT: Objection.
        8   exposure to talc to ovarian cancer.                         8         A. It can look -- so a fibrous -- a fiber
        9         A. I'm not a medical expert.                          9   can look like a two-dimensional plate or a
       10         Q. Again, can you tell me whether or not             10   two-dimensional plate can look like a fiber.
       11   IARC specifically links exposure to talc to ovarian        11   BY MR. FROST:
       12   cancer?                                                    12         Q. So the problem is when you're looking --
       13              MS. SCOTT: Objection. Asked and                 13   because, usually, a platy talc, you know, if it's
       14         answered.                                            14   sitting oriented this way, you can see the large
       15              MS. O'DELL: Objection.                          15   platiness of it, but if it's oriented that you're
       16         A. I'm not a medical expert.                         16   looking at the flat plane, have you ever read anything
       17   BY MR. FROST:                                              17   that talks about the fact that you can misidentify platy
       18         Q. Have you ever done any work identifying           18   talc as fiber based on the orientation of the image?
       19   talc as either platy or fibrous?                           19              MS. SCOTT: Objection.
       20         A. No. I have no peer-reviewed articles.             20         A. I don't remember.
       21         Q. Are you aware if you ever heard of the            21              MR. FROST: Can we get IARC 2010? I
       22   common misreporting of platy talc as fibrous?              22         forget what that was marked as. It's the big
       23              MS. SCOTT: Objection.                           23         orange one, I believe. Yeah, there it is.
       24              MS. O'DELL: Objection.                          24              MS. O'DELL: Five.
       25                                                              25              MR. FROST: It looks like that. It's

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        1        five.                                                  1   finished talcum powder, correct?
        2   BY MR. FROST:                                               2               MS. SCOTT: Objection.
        3        Q. I'll skip this. You said you haven't                3               MS. O'DELL: Objection.
        4   read anything. You don't know about that, so it's not       4          A. I'm sorry. Repeat the question.
        5   something that comes up in your work?                       5   BY MR. FROST:
        6        A. I don't remember.                                   6          Q. Sure. You can't tell me without
        7        Q. That's fine. I'll move on for sake of               7   speculating that levels of -- we're looking at nickel,
        8   time. All right.                                            8   for example, here, found in ore samples are the same
        9             Now, you've also noted in your report             9   levels that would be located in finished talcum powder,
       10   various opinions about findings of nickel, chromium and    10   correct?
       11   cobalt, correct?                                           11               MS. SCOTT: Objection.
       12        A. Yes.                                               12          A. Correct. The levels of metals may be the
       13        Q. And you're not qualified to opine as to            13   same, may be less or may be more depending upon the
       14   whether or not a particular level of nickel is             14   process.
       15   sufficient to cause human disease, correct?                15   BY MR. FROST:
       16             MS. SCOTT: Objection.                            16          Q. And things like beneficiation, blending,
       17        A. I am not a toxicologist.                           17   things of this nature would ultimately affect what ends
       18   BY MR. FROST:                                              18   up in the final product, right?
       19        Q. You're also not qualified to opine what,           19          A. If it's executed correctly, but I think
       20   if any, disease may be associated with nickel              20   it's also reasonable to say that some -- it is
       21   contaminated or with nickel exposure, correct?             21   scientifically likely -- it's my opinion that some of
       22             MS. SCOTT: Objection.                            22   this would, from the ore samples, would make it into
       23        A. I'm not a toxicologist or oncologist.              23   product if it is used for that purpose.
       24   BY MR. FROST:                                              24          Q. But you can't tell me, of these ore
       25        Q. I'm looking at your report, starting on            25   samples, what sample may or may not have made --
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        1   page 34.                                                    1        A. I can't tell you where, what bottle that
        2         A. I'm right there.                                   2   might have ended up in, yes.
        3         Q. Some of these tests, you'll agree with             3        Q. Or if it even could have ended up in the
        4   me, you know, not that they're from ore. Several of         4   bottle, correct?
        5   them actually note that they're from ore grade 66.          5             MS. SCOTT: Objection.
        6   Windsor 66, you agree, is an ore, correct?                  6   BY MR. FROST:
        7             MS. O'DELL: Object to the form.                   7        Q. At that --
        8         A. I'm sorry?                                         8        A. Specifically, no.
        9   BY MR. FROST:                                               9        Q. Okay.
       10         Q. You'd agree with me, looking at these,            10        A. If you process it, you may modify it one
       11   that the marks that say "ore in concentrate, grade 66,     11   way or the other.
       12   Windsor 66," et cetera, these are all ore samples,         12        Q. The same thing would also be true with
       13   correct?                                                   13   respect to the chromium, cobalt, and I think this is the
       14             MS. SCOTT: Objection.                            14   only other ones, right, chromium, cobalt that are listed
       15         A. I think so. I'd like to look at the               15   in the charts? Yes.
       16   document to be sure.                                       16             MS. SCOTT: Objection.
       17   BY MR. FROST:                                              17   BY MR. FROST:
       18         Q. I mean, you can go on them, such as the           18        Q. The same would be true with chromium and
       19   example of Imerys 045182. It says three ore samples?       19   cobalt, right?
       20         A. Yeah. So that's what it's listed as,              20        A. Chromium, cobalt, nickel. Chromium
       21   yes.                                                       21   cobalt, nickel -- I'm just checking and double checking.
       22         Q. So you'd agree with me without                    22   Chromium, cobalt, and then it's not in chart form, but I
       23   speculating, you can't say one way or the other that       23   do talk about arsenic on page 33.
       24   levels, as detected in the ore samples, are actually the   24        Q. And it would be the same for the
       25   levels that may have ever made it into a bottle of         25   chromium, cobalt, nickel and arsenic based on ore sample

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        1   testing? You couldn't say one way or the other what         1         Q. It you turn to, I believe, Exhibit 2,
        2   level ultimately made it into, if at all, talcum powder,    2   your supplemental report.
        3   finished talcum powder, correct?                            3         A. Okay.
        4             MS. SCOTT: Objection.                             4         Q. Okay. The second page.
        5         A. Yes.                                               5         A. Okay.
        6   BY MR. FROST:                                               6         Q. Under sampling and techniques, do you see
        7         Q. With respect to chromium, which is page            7   it's one, two, three, four down?
        8   36 of your report, sir?                                     8         A. Under "Sampling and Testing"?
        9         A. Uh-huh.                                            9         Q. Under "Sampling and Testing Results,"
       10         Q. You know that chromium can occur in two           10   yes. You know that it failed to provide data
       11   different forms, Chromium III and Chromium VI?             11   supporting -- no. I'm in the wrong place.
       12         A. It's a slight typo. What I mean to say            12         A. I'm sorry. Where were you?
       13   there is chromium can occur in two common forms and        13         Q. Sorry. I was in the wrong place. Bear
       14   minerals, Chromium III and Chromium IV. So chromium can    14   with me a second here. Okay. It's the one, two, third
       15   actually have several different valent states to it --     15   paragraph down. It starts with "Another issue."
       16         Q. And it's Chromium VI --                           16         A. Yeah.
       17         A. -- including the zero valent metal, which         17         Q. So "Another issue was the vague
       18   we don't really see in nature.                             18   description of the preparation technique. The method
       19         Q. And it's chromium 6, correct, that is the         19   fails to identify whether the material was ground,
       20   known carcinogen?                                          20   crushed or made into a powder by another method." Do
       21         A. Yeah. That is one of high concern, as I           21   you see that there?
       22   understand it.                                             22         A. Yes.
       23         Q. Are you generally aware that Chromium III         23         Q. If you look up to the testing, it says,
       24   is actually an essential element in the human body?        24   "XRD methodology states." Do you see where I am there?
       25         A. I'm a diabetic. Yes.                              25         A. Yes.

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        1         Q. Okay. And are you also aware that                  1         Q. It's the part that's indented.
        2   chromium 3 is commonly found in rocks and minerals?         2   Underneath, it says, "Monthly talc composite, February
        3         A. Yes.                                               3   1990."
        4         Q. And, again, in looking at the chart, you           4         A. Yeah.
        5   don't list here whether or not it is Chromium III,          5         Q. Do you agree with me that the monthly
        6   Chromium VI or some other variant of the mineral -- or      6   talc composite is a composite of the ground finished
        7   the metal, correct?                                         7   talc that's being tested?
        8         A. Correct. But I think it's reasonable               8              MS. SCOTT: Objection.
        9   that -- yes. There's no specific determination of           9         A. I'm unsure. I'm unsure. The -- you --
       10   valent state, which would have been a nice step if you     10   one would essentially prepare the -- I'm sorry. Go
       11   could definitively show that there is no chromium or       11   ahead.
       12   active valent chromium that would have been a good         12   BY MR. FROST:
       13   thing. But, yes, there's no specific EELS, electron        13         Q. Yes.
       14   energy loss spectroscopy, or what comes through            14         A. I'm unsure.
       15   techniques to determine that.                              15         Q. You can't tell me whether or not this was
       16         Q. And with respect to the arsenic, the              16   the composite sample of the already ground and prepared
       17   cobalt and the chromium, just like the nickel, you can't   17   talc?
       18   tell me what level of exposure is required to cause        18         A. I don't -- I don't remember specifically.
       19   disease of those heavy metals, correct?                    19         Q. And if the talc was already ground as a
       20         A. I am not a medical or oncologist, sir,            20   finished product, there wouldn't be further grinding of
       21   yes.                                                       21   it. Do you agree with that?
       22         Q. And it's the same thing. You couldn't             22              MS. SCOTT: Objection.
       23   tell me what diseases they're known to cause if you have   23         A. So as I understand, the final talc
       24   exposure, correct?                                         24   particle size is approximately 15, 25 microns or so, so
       25         A. Correct.                                          25   that's essentially fine salt size. So, typically, in

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        1   power diffraction, you would want to reduce that           1         A. Yes.
        2   particle size further.                                     2         Q. And you've published a hundred and
        3   BY MR. FROST:                                              3   something; is that right?
        4         Q. Did you see anywhere in reviewing this            4         A. Over 40 peer-review papers. I have over
        5   testing that they state that they reduce the particle      5   a hundred presentations at meetings and a couple
        6   size further?                                              6   patents, yes.
        7               MS. O'DELL: If you need to review the          7         Q. In your peer-review papers, when you're
        8         document, Doctor, we can pull it.                    8   citing authorities in your peer-review papers, you tend
        9         A. Yeah. Why don't we pull it up?                    9   to or customarily cite peer-reviewed papers, don't you?
       10   BY MR. FROST:                                             10         A. Generally, yes.
       11         Q. Sure. I don't have it. That's fine. We           11         Q. Because you know that they have the
       12   can move on. I don't want to waste my time.               12   likelihood to be more accurate and have been, obviously,
       13               MS. O'DELL: To ask him questions,             13   reviewed by peers, correct?
       14         specific questions about the document not having    14             MS. O'DELL: Object to form.
       15         this.                                               15         A. Correct, yes.
       16               MR. FROST: I'm just asking -- I'm just        16   BY MR. FERGUSON:
       17         asking if he knows and what he remembers in         17         Q. Now, in your report that you did in this
       18         drafting his report.                                18   case, and I know it's been marked as an exhibit. I
       19               All right, sir. I think that's all the        19   forget which number. In your report in this case, you
       20         questions I have for now. I reserve the right       20   have, among other authorities, cited Dr. Longo and
       21         to look at my notes and come back, but I'm going    21   Dr. Rigler's report, correct?
       22         to yield my time to some of the other               22         A. I've cited expert witness reports, yes.
       23         defendants. We can go off the record.               23         Q. And you understand that Dr. Longo and
       24               VIDEOGRAPHER: We're now going off             24   Rigler's report, that's not peer reviewed, correct? You
       25         record. The time is 6:19.                           25   understand that?

                                                     Page 283                                                        Page 285
        1              (A recess was taken from 6:19 to 6:33.)         1        A. Yes, I do.
        2              VIDEOGRAPHER: We are now back on record,        2        Q. So while your custom is to cite
        3         and the time is 6:33.                                3   peer-reviewed articles in your scientific papers that
        4                 CROSS-EXAMINATION                            4   you're writing, you've varied from that in doing your
        5   BY MR. FERGUSON:                                           5   report here in this matter, correct?
        6         Q. Good evening, Dr. Krekeler. How are you?          6             MS. O'DELL: Object to the form.
        7         A. Good.                                             7        A. Yes. So I have not in my previous work
        8         Q. Okay. We met briefly before. My name is           8   cited an expert witness report.
        9   Ken Ferguson, and I represent Imerys. Do you understand    9   BY MR. FERGUSON:
       10   that?                                                     10        Q. And you understand that Dr. Longo and his
       11         A. Yes.                                             11   colleague, Dr. Rigler, and I think they wrote these
       12         Q. Okay. And I've got, along with Mr. Cary,         12   reports together, that they are being paid as experts by
       13   who's down, three people down from me.                    13   counsel for plaintiffs just as you are, correct?
       14         A. Okay.                                            14             MS. SCOTT: Objection.
       15         Q. I've got some questions for you. I'm not         15        A. I believe that is the case, yes.
       16   going to spend a lot of time, because there's not a lot   16   BY MR. FERGUSON:
       17   of time left, so I may skip around a little, just         17        Q. I want to talk to you a little bit about
       18   depending on which questions I feel like I need to get    18   a book that I see you've got your copy out. I've got my
       19   asked before I run out of time. So I'm not trying to      19   copy out, and we have some copies we've made that I'm
       20   confuse you by that, but if I do, then you let me know,   20   going to mark as Exhibit 23, I believe.
       21   and I'll restate the question, okay?                      21             (Exhibit 23 was marked for
       22         A. Okay.                                            22             identification.)
       23         Q. Okay. Fair enough.                               23   BY MR. FERGUSON:
       24              So in your career as an academic, you've       24        Q. Now what I've marked, Dr. Krekeler, are
       25   written scientific papers before, correct?                25   some pages from a book called "An Introduction to the

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                                              Mark Krekeler, Ph.D.
                                                      Page 286                                                       Page 288
        1   Rock-Forming Minerals" by Deer, Howie and Zussman,          1             (Exhibit 24 was marked for
        2   correct?                                                    2             identification.)
        3         A. Is this the same edition?                          3   BY MR. FERGUSON:
        4         Q. I believe -- I believe it's the third              4         Q. And this is a paper by a Harold R.
        5   edition.                                                    5   Newman, correct?
        6         A. Oh, I'm sorry.                                     6         A. That's what it says.
        7         Q. And yours is?                                      7         Q. And it says, "The Mineral Industry of
        8         A. Third. Yeah, we're good.                           8   Italy," correct?
        9         Q. This is a book that is often relied upon           9         A. Yes. What journal did this come from?
       10   by mineralogists, correct, material scientists?            10   Is this peer review?
       11         A. This is a book that is used as a textbook         11         Q. I don't know. I believe it is, but I
       12   for mineralogy courses, yes.                               12   don't know the answer, so I'm not going to answer it.
       13         Q. So let's go back to your report, and if           13         A. You believe or it is?
       14   you would, just keep the Deer, Howie and Zussman by your   14         Q. I get to ask the questions.
       15   side. Go to your report at page 5. Are you with me?        15         A. All right.
       16         A. Page 5.                                           16         Q. We have Harold Newman's paper here, okay?
       17         Q. And in the first paragraph on page 5 of           17         A. Okay.
       18   your report, there's a sentence in the middle that says,   18         Q. From The Mineral Institute of Italy,
       19   "As a result, natural talc formation is commonly           19   right?
       20   accompanied by veins of other minerals, including          20         A. Mineral Industry of Italy, one.
       21   asbestiform minerals like tremolite and serpentine,"       21         Q. So look at page --
       22   correct?                                                   22         A. I'm sorry?
       23         A. Yes.                                              23         Q. Look at page 428, please.
       24         Q. And you cite for that Deer, Howie &               24         A. 428?
       25   Zussman 2013, correct?                                     25         Q. Yes. And you see on the right-hand

                                                      Page 287                                                       Page 289
        1         A. Yep.                                               1   column, this is a paragraph that has "Talc" in bold at
        2         Q. And the citation down below cites, for             2   the beginning of the paragraph, correct?
        3   that assertion, pages 145, 149, 151 and 164 to 165,         3         A. Correct.
        4   correct?                                                    4         Q. And it says -- and I won't try to
        5         A. Yes. That's what it reads.                         5   pronounce the Italian names. We had enough trouble with
        6         Q. And it's your contention in your expert            6   Chinese names earlier on, but "Talco" -- I'll try -- "e
        7   report that those pages stand for the proposition that      7   Grafite Val Chisone S.p.A. operated two underground
        8   we just read the "natural talc formation is commonly        8   mines at Pinerolo near Turin," correct?
        9   accompanied by veins of other minerals, including           9         A. That is what it says. I didn't know.
       10   asbestiform minerals like tremolite and serpentine,"       10         Q. And next sentence says, "The white talc,
       11   correct?                                                   11   mined from metamorphic rocks, has been of very high
       12         A. Yes.                                              12   quality," correct?
       13         Q. Let's move on because I'm not sure I have         13         A. That is what it says. It doesn't say
       14   it time to sit and read them all now. Let's move on to     14   what high quality for. Is it -- the table in the back,
       15   another topic. Let's look at page 9 of your report,        15   does it say what the talc is used for? Talc and related
       16   please.                                                    16   materials. It just lists tonnages.
       17         A. Page 9?                                           17               MR. FERGUSON: And I'd like the next
       18         Q. Page 9, sir, yes. And do you see on page          18         list, Exhibit 24 -- 25. My bad.
       19   9 that you have said in the -- I think it's the second     19               (Exhibit 25 was marked for
       20   full paragraph. "Based on what I have reviewed, I have     20               identification.)
       21   sufficient basis to conclude that Italian ore was of       21   BY MR. FERGUSON:
       22   poor quality," correct?                                    22         Q. The first author is Edward B. Ilgren,
       23         A. Yes.                                              23   I-l-g-r-e-n, correct?
       24         Q. And let me show you, first of all, an             24         A. Ilgren, yes.
       25   exhibit that we'll mark as Exhibit 24.                     25         Q. And the title is "Analysis of an

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                                              Mark Krekeler, Ph.D.
                                                      Page 290                                                        Page 292
        1   Authentic Historical Italian Cosmetic Talc Sample           1         about his report while you're pulling that up,
        2   Further Evidence for the Lack of Cancer Risk," correct?     2         if you wouldn't mind?
        3          A. And analysis of an, implying one,                 3              MS. O'DELL: Yeah, sure. I've got it
        4   authentic historical Italian. Yes, that's what the          4         right here.
        5   title is.                                                   5   BY MR. FERGUSON:
        6          Q. Exactly. It does say "an," a-n?                   6         Q. Could look at page 31 of your report,
        7          A. A single or it's implied that's a single          7   Dr. Krekeler?
        8   sample. I have not seen this paper before.                  8         A. I'm at page 31.
        9          Q. Can you look with me at the first line of         9         Q. Are you with me, sir? Okay. Just above
       10   the abstract, where it says, "Italian talc from the        10   the heading of "Toxic Metal Contamination," is a
       11   Pinerolo Mines in northwest Italy is known for its         11   paragraph that starts "In summary." And do you see a
       12   extreme purity," correct?                                  12   sentence there that says, "Defendants admit that the
       13          A. That is what it says. It doesn't say             13   beneficiation process does not remove asbestos"? Do you
       14   with respect to what, so and then -- so it's an            14   see that sentence?
       15   abstract. It should be a summary from introductory         15         A. I do see that sentence.
       16   materials, so let's see if they discuss that in the        16         Q. And for that proposition, you cite the
       17   introduction. "It is known for its extreme purity.         17   deposition of Patrick Downey at page 407, pages -- line.
       18   More than 60 years of epidemiological studies have         18   Excuse me. Lines 13 through 16, correct? That's what
       19   failed to demonstrate any attendant cancer risk." So --    19   you cited?
       20          Q. I don't need you to read it out loud. I          20         A. Correct.
       21   apologize for interrupting. Obviously, time is limited.    21         Q. All right. Let's look, if we may, look
       22   You've answered my question, so what we know is that       22   at Exhibit 26, and the second -- the first page of that
       23   Mr. Newman and Dr. Ilgren disagree with your comment       23   is just the cover page to Mr. Downey's deposition.
       24   that the Italian talc is not good quality, correct?        24   Could you turn to the second page, and let's look at
       25              MS. O'DELL: Object to the form.                 25   page 407, lines 13 to 16, which you cited.

                                                      Page 291                                                        Page 293
        1         A. They can disagree, correct.                        1         A. So 407?
        2   BY MS. ROSE:                                                2         Q. Yes, sir.
        3         Q. At one point in your report on page 13,            3         A. 13 to 16. Can I have a moment to read
        4   you say that, "Usually, companies have a dedicated          4   the context above it and stuff?
        5   in-house laboratory for these analyses."                    5         Q. Certainly, sir.
        6         A. Yes. Oil Dry as an example. There's                6         A. To refresh my memory?
        7   other companies that have, you know, extensive labs, and    7         Q. Certainly, sir. Ready to go? Got the
        8   also, people rely on third-party labs to check their        8   context?
        9   internal labs.                                              9         A. Yes.
       10         Q. And you're aware that Imerys has had and          10         Q. All right. So if we look at lines 13
       11   has a dedicated in-house laboratory as well, correct?      11   through 16, that is an answer by Mr. Downey where he
       12         A. I believe so, yes.                                12   says, "I don't know if -- I'm not familiar, and I don't
       13         Q. And, in addition, Imerys has had occasion         13   know if flotation was intended to remove asbestos, but
       14   to send samples to third-party laboratories as well,       14   to my knowledge, our products don't contain asbestos
       15   correct?                                                   15   so." Did I read that correctly?
       16         A. Correct.                                          16         A. Yes, you did read that correctly.
       17         Q. Let me mark for you Exhibit 26 to your            17         Q. So, in fact, Mr. Downey is not, as you
       18   deposition, please.                                        18   say, admitting that the beneficiation process does not
       19             (Exhibit 26 was marked for                       19   remove asbestos. Instead, what he says is I don't know
       20             identification.)                                 20   if flotation was intended to remove asbestos, correct?
       21             MS. O'DELL: Let me get that out here.            21         A. That's what it says. I took it as -- he
       22             MR. FERGUSON: Sure. No problem. Let me           22   said "I don't know" twice, "I'm not familiar." And it
       23         know when you're ready.                              23   says, "I don't know if flotation was intended to remove
       24             MS. O'DELL: Yeah. Okay.                          24   asbestos." So the text is correct, yes.
       25             MR. FERGUSON: Can I ask him a question           25         Q. But you would agree he did not admit that

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                                               Mark Krekeler, Ph.D.
                                                       Page 294                                                        Page 296
        1   the beneficiation process does not remove asbestos,         1         A. I have -- "I have just a general broad
        2   correct?                                                    2   understanding that as it's crushed, an automatic sampler
        3              MS. SCOTT: Objection.                            3   takes a sample at specific time intervals." That's
        4         A. He doesn't know if it was intended or not          4   through line 13.
        5   is how -- that's how I interpret it. Others can             5         Q. All right. So would you agree with me
        6   interpret it in other ways.                                 6   that in that portion of the deposition, Ms. Pier does
        7   BY MR. FERGUSON:                                            7   not acknowledge the fact that chemical elements are
        8         Q. Would you look at the bottom of page 31,           8   inherent properties of talc ore, correct?
        9   please, of your report?                                     9         A. Correct.
       10         A. Okay. On page 31. I see it, yes.                  10         Q. It doesn't say that at all, does it?
       11         Q. And you see it says, at the bottom, it            11         A. Yeah. I must have made a mistake with
       12   starts a sentence, "In fact, these chemical elements are   12   the numbering.
       13   inherent properties of talc ore, a fact acknowledged by    13         Q. You also state in your report that Imerys
       14   Julie Pier in her deposition." And then you cite Julie     14   admitted in depositions that -- well, let me skip back
       15   Pier Deposition, page 211, lines six through 13 from the   15   because I don't have my citation. So let's -- let's
       16   September 12, 2018, session of her deposition. Do you      16   move on to another topic. I may come back to that if I
       17   see that?                                                  17   have time, okay?
       18         A. Yes, I do.                                        18         A. Right. Do you want me to put the Pier
       19         Q. And could you go to your left and pick up         19   deposition away?
       20   Miss Pier's deposition? And both sessions are there.       20         Q. Yeah, for now.
       21   If you could, look at the -- they're in reverse order, I   21         A. I'll set it aside.
       22   noticed before, so would you look at the deposition that   22         Q. Yeah. Keep it handy in case we have time
       23   is the second one in that notebook? It's the second        23   to get back to that.
       24   one. It's not the first one because they're in reverse     24         A. Okay.
       25   order. That's the September 13 session, I notice, and      25         Q. Now, you have taken, as you -- as we

                                                       Page 295                                                        Page 297
        1   you can go all the way past those. There you go.            1   discussed earlier, you have taken the report of
        2         A. I'll try not to break the stuff.                   2   Drs. Longo and Rigler and relied upon it for your
        3         Q. Can we look at page --                             3   report, correct?
        4         A. You said -- is it 211?                             4         A. Correct.
        5         Q. Yes, sir. Page 211, please, sir.                   5         Q. And that has to do with whether there are
        6         A. I turned right to it. 211.                         6   contaminants in talc that is sold by Imerys and by
        7         Q. Okay.                                              7   Johnson & Johnson, correct? That's what they addressed?
        8         A. And you're interested in lines 6 through           8         A. Correct.
        9   13? Is that your question?                                  9         Q. Now, are you an aware, Dr. Krekeler, that
       10         Q. Right. And what you've asserted is                10   the United States Food & Drug Administration actually
       11   that -- you cite that for the proposition, "In fact,       11   performed a survey of talc and body powders and cosmetic
       12   these chemical elements are inherit properties of talc     12   raw material talc?
       13   ore, a fact acknowledged by Julie Pier."                   13         A. I believe so. I looked at an FDA
       14              Can you read for me page 211, Lines 6           14   document on the Internet, and if I remember correctly --
       15   through 13 of the September 12 deposition?                 15   I would want to check -- there was four suppliers that
       16         A. Well, this has to do -- can I first read          16   provided talc products, and they did not find any
       17   the context a little bit to refresh myself?                17   indications or it was nondetects for those many samples.
       18         Q. Right now, I'd like you to read what --           18   But I also remember that the FDA also said that -- I'd
       19         A. Okay. I can just read the text.                   19   have to look at it for the exact language, but,
       20         Q. Yeah, what you cited.                             20   essentially, the FDA couldn't fully assure that talc is
       21         A. "Well, this has to do with sampling               21   free of asbestos, I think. Do you have that?
       22   that's done at the operation. I'm thinking that Pat is     22             MR. FERGUSON: Yeah. Let's go ahead and
       23   in -- If you don't know, you can tell me that."            23         mark as Exhibit 27 the FDA survey.
       24   Question. "I'm" -- dash dash dash or -- ". . ."            24             (Exhibit 27 was marked for
       25         Q. Are you past line --                              25             identification.)

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                                              Mark Krekeler, Ph.D.
                                                     Page 298                                                        Page 300
        1          A. I don't know if it's exactly the same one        1         Q. Let's call it rows.
        2   that I looked at.                                          2         A. Oh, rows. Okay. All right.
        3              MR. BILLINGS-KANG: Ken, was the Pier            3         Q. Okay.
        4          deposition marked at all?                           4         A. So for these seven rows, yes.
        5              MR. FERGUSON: No. I didn't mark it. I           5         Q. Okay.
        6          can mark it.                                        6         A. There's no asbestos detected for those
        7              MS. SCOTT: 27?                                  7   seven samples.
        8              MR. FERGUSON: Yes.                              8         Q. Okay. And if we go to the
        9          A. It's a printed, so it looks like a               9   second-to-the-last page of that exhibit -- in fact, it's
       10   different format than maybe the one I looked at. The      10   the last page that has typing on it.
       11   tables look familiar.                                     11         A. The second-to-the-last page.
       12   BY MR. FERGUSON:                                          12         Q. Are you there?
       13          Q. So since our time is growing short, if          13         A. Okay.
       14   you would, it looks familiar?                             14         Q. Do you see there's a column that is or a
       15          A. Okay. Yeah. I -- I do think it's the            15   chart that is entitled "Body Powder," correct?
       16   one I looked at, I think.                                 16         A. Correct.
       17          Q. Go to the second page of the exhibit, and       17         Q. And there's a line, a row for Johnson's
       18   you see that it has a heading and a little chart saying   18   Baby Powder, correct?
       19   "Cosmetic-grade raw material talc," correct?              19         A. Correct.
       20          A. The second page, the heading is "How FDA        20         Q. That says no asbestos detected by PLM or
       21   followed up on the latest"?                               21   by TEM, correct?
       22          Q. Yeah. If you go to the bottom, there's a        22         A. Correct.
       23   little chart with a heading that says, "Cosmetic-grade    23         Q. And a row for Shower or Shower, Morning
       24   raw material talc," correct?                              24   Fresh Absorbent Body Powder that likewise says no
       25          A. Yes.                                            25   asbestos detected by PLM and TEM, correct?
                                                     Page 299                                                        Page 301
        1         Q. And you see under "Supplier," it says,            1        A. At the very bottom, yes.
        2   "Rio Tinto Minerals/Luzenac America," correct?             2        Q. So in this Food & Drug Administration
        3         A. Correct.                                          3   survey that was done, the results were different than
        4         Q. And if you look at that and the next              4   the ones that Drs. Longo and Rigler came up with,
        5   page, there are seven lots that were tested from Rio       5   correct?
        6   Tinto Minerals/Luzenac America, correct?                   6             MS. O'DELL: Object to the form.
        7         A. One, two, three, four. Yes. Seven?                7        A. Well, it's not the same sample size.
        8         Q. Yes, sir.                                         8   And. yeah, this is the same report. As it says, "For
        9         A. From Rio Tinto.                                   9   these reasons, while FDA finds these results
       10         Q. Okay. And there's a column for                   10   informative, they do not prove that most or all talc or
       11   "Percentage Asbestos by PLM." That's polarized light      11   talc-containing cosmetic products currently marketed in
       12   microscopy, correct?                                      12   the United States are likely to be free of asbestos
       13         A. Yes. There's a column for that.                  13   contamination. As always, when potential" -- yeah.
       14         Q. And there's a percentage asbestos by TEM         14   This is, yeah. This is the, yeah.
       15   or transmission electron microscope, correct?             15   BY MS. ROSE:
       16         A. Yes. There's a column for that.                  16        Q. But we know that they tested Luzenac, raw
       17         Q. Okay. And in all 14 columns, it notes no         17   material talc and Johnson & Johnson body powder,
       18   asbestos detected, correct?                               18   correct?
       19             MS. O'DELL: Objection.                          19        A. Correct. Yes.
       20         A. Fourteen columns?                                20             MR. FERGUSON: What are we doing on time,
       21   BY MS. ROSE:                                              21        if you wouldn't mind letting me know?
       22         Q. Well, there's seven for PLM, seven for           22             VIDEOGRAPHER: You've been on record six
       23   TEM?                                                      23        hours and 51 minutes.
       24         A. Oh, you mean rows or 14 columns? One,            24             MR. FERGUSON: I've got a few minutes.
       25   two, three, four, five columns.                           25             MR. BILLINGS-KANG: Plenty of time.

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                                              Mark Krekeler, Ph.D.
                                                     Page 302                                                        Page 304
        1             MR. FERGUSON: Plenty of time.                    1   jet mills and are classified and separated from other
        2             THE WITNESS: Are we done with this one?          2   minerals by froth flotation or magnetic separation,"
        3             MR. FERGUSON: Yes, sir. We're done with          3   correct?
        4        that one.                                             4         A. Yes. And there's no citation for that.
        5   BY MS. ROSE:                                               5         Q. And the IARC working group does note that
        6        Q. Let me ask you one more area, one more             6   the techniques by which top ores may be processed
        7   area, and then I'll quit.                                  7   include hand sorting, correct?
        8             MR. BILLINGS-KANG: I'm going to give him         8         A. Correct, yes. That's in the second line
        9        my time.                                              9   on the paragraph. That's what they say. Again, it's
       10             MR. FERGUSON: Okay.                             10   not cited, so I'm not sure where they get the
       11             MR. CARY: Time for the gentleman from           11   information from, but they say that.
       12        Texas.                                               12              MR. FERGUSON: Can we go off for one
       13             MS. O'DELL: It's like we're in the              13         second? I know we're almost done, please.
       14        Senate or House.                                     14              VIDEOGRAPHER: We're now going off
       15             MR. FERGUSON: The House. I hope not.            15         record. The time is 7:05.
       16             MR. FROST: Won't do too well for that.          16              (Off the record.)
       17             MS. SCOTT: I was just going to say the          17              VIDEOGRAPHER: We are now back on record.
       18        same thing.                                          18         The time is 7:07.
       19   BY MR. FERGUSON:                                          19   BY MR. FERGUSON:
       20        Q. Could you get the IARC 93 monograph,              20         Q. Dr. Krekeler, could you turn to page 42
       21   which I believe is Exhibit 5?                             21   of your report?
       22        A. IARC 93. IARC 93. Yep. Exhibit 5, yes.            22         A. 42 of my report?
       23        Q. All right.                                        23         Q. Yes, sir.
       24             MR. FERGUSON: And I'm sorry, Leigh and          24         A. 42.
       25        Carmen, do you guys have? Okay.                      25         Q. Not of the IARC.

                                                     Page 303                                                        Page 305
        1              MS. O'DELL: What page?                          1         A. Oh, I thought we were still talking about
        2              MR. FERGUSON: I am going to be looking          2   that. I'm sorry.
        3        at page 286.                                          3         Q. No. I apologize. Of your report?
        4   BY MR. FERGUSON:                                           4         A. Okay.
        5        Q. Can you find page 286?                             5         Q. Okay?
        6        A. 286. 285, 286. I found it.                         6         A. Yep.
        7        Q. At the top of page 286, the section --             7         Q. Are you there?
        8   and, again, this is from the IARC monograph, correct?      8         A. Yes.
        9        A. Correct.                                           9         Q. Okay. So if you look at the last
       10        Q. That you discussed earlier and you've             10   paragraph on page 42 about --
       11   cited in your report, correct?                            11         A. Grinding?
       12              MS. O'DELL: Objection. Cites the               12         Q. That paragraph.
       13        monograph, but you're saying he cites this.          13         A. Yep.
       14        It's a little confusing.                             14         Q. But if you look at the fifth line of
       15              MR. FERGUSON: I apologize.                     15   that, you see where it starts, "Imerys admitted," and it
       16   BY MR. FERGUSON:                                          16   goes on to say, "Imerys admitted, in deposition, that a
       17        Q. You've cited this monograph, not                  17   phyllosilicate sample could be ground to a near
       18   necessarily this portion of it?                           18   amorphous state, damaging the sample, even with minimal
       19        A. Correct. Yeah. I've cited the                     19   grinding." Correct? Did I read that correctly?
       20   monograph.                                                20         A. Yes. That is correct.
       21        Q. So let's look at the first paragraph              21         Q. And then you cite the Julie Pier
       22   there on page 286. You see it says, "Talc ores may be     22   deposition, page 25, 23 to 25, and page 26, 1 through
       23   processed by a variety of techniques that include         23   23, September 23rd, 2018? Correct?
       24   selective mining, hand sorting and milling by roller      24         A. Correct.
       25   mills, hammer mills, ball mills, fluid energy mills and   25         Q. And so would you pick up again the Julie

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                                              Mark Krekeler, Ph.D.
                                                     Page 306                                                        Page 308
        1   Pier notebook to your left? And this time, we're           1        Q. Well, those pages weren't missing. The
        2   looking at the first deposition in the notebook because    2   words that you quoted were not just not on them,
        3   they're reversed, and that's the September 13th, 2018,     3   correct?
        4   date. So would you turn to page 25 in that                 4            MS. SCOTT: Objection.
        5   deposition --                                              5        A. It's unclear.
        6        A. This starts at page 340.                           6   BY MR. FERGUSON:
        7        Q. Yes, it does.                                      7        Q. Do you think maybe this is another
        8        A. So page --                                         8   mistake or typo?
        9        Q. Would you with agree with me there is no           9        A. I don't know.
       10   page 25 and no page 26 in the Julie Pier deposition       10            MR. FERGUSON: That's all I have,
       11   transcript from September 13th, 2018?                     11        Dr. Krekeler. Thank you for your time, sir.
       12        A. I don't know.                                     12            VIDEOGRAPHER: Do you want to go off?
       13        Q. Well --                                           13            MS. O'DELL: James, are you okay?
       14        A. Let's look and see.                               14            MR. BILLINGS-KANG: I'm fine. Thank you.
       15        Q. You have the deposition transcript in             15            MS. O'DELL: How much time on the record?
       16   front of you, sir.                                        16            VIDEOGRAPHER: Seven hours even.
       17        A. Is that -- I don't remember if it's a one         17            MS. O'DELL: Let's go take a break.
       18   or two volume. Some of these, I think, were two volume.   18            MR. FROST: Look at that.
       19        Q. Well, sir --                                      19            VIDEOGRAPHER: We are going off record.
       20        A. So I think if -- yeah, I don't remember           20        The time is 7:13.
       21   specifically, but if this is --                           21            (A recess was taken from 7:13 to 7:47.)
       22        Q. Why don't you look at the very first              22            VIDEOGRAPHER: We are now back on record.
       23   page.                                                     23        The time is 7:47.
       24        A. The first page says 340. This is the              24                 EXAMINATION
       25   page number.                                              25

                                                     Page 307                                                        Page 309
        1         Q. Look at the very first page there that            1   BY MS. O'DELL:
        2   you're looking at there, and does that say Julie Pier's    2         Q. Dr. Krekeler, good evening. I've got a
        3   deposition from September 13th of 2018?                    3   few questions for you to follow up.
        4         A. Actually, on this page, there is not --           4         A. Okay.
        5   oh, September 13th, 2018.                                  5         Q. First, you were asked a number of
        6         Q. And just as you told us, there is no page         6   questions about Italian talc and the talc ore deposits
        7   25 or page 26 for the September 13, 2018, deposition of    7   in Italy. Do you recall those questions?
        8   Julie Pier, is there?                                      8         A. Generally, yes.
        9         A. In this printed copy, there appears not           9         Q. And, in fact, you were handed a binder of
       10   to be. I don't --                                         10   a documents that I think are in front of you now that --
       11         Q. So --                                            11   they were marked as Exhibit 14.
       12         A. Can I check to see if it's confused by --        12         A. Exhibit -- yes.
       13   just double-check? I might have.                          13         Q. And they related to certain documents
       14         Q. Do you want to check the September 12th          14   regarding talc formations in Italy. Do you recall those
       15   version and see?                                          15   documents?
       16         A. Yeah. I don't know if I've confused              16         A. Correct.
       17   things or not. So we're looking at --                     17         Q. And specifically in terms of the Italian
       18         Q. Page 25 and page 26.                             18   ore bodies, were there positive tests of asbestos in
       19         A. 25 and 26.                                       19   Italian talc that you reviewed in reaching your opinions
       20         Q. She is not talking about phyllosilicates         20   in this case?
       21   on pages 25 or 26 of the September 12th, is she?          21              MR. FROST: Objection to form.
       22         A. Correct. I currently don't have an               22         A. Yes.
       23   explanation for the apparent discrepancy.                 23   BY MS. O'DELL:
       24         Q. Do you think since --                            24         Q. And, in fact, if you'll turn to page -- I
       25         A. I don't know if pages are missing or...          25   think it was 14 of your report. Do you see that?

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                                               Mark Krekeler, Ph.D.
                                                      Page 310                                                        Page 312
        1         A. Yes.                                               1   BY MS. O'DELL:
        2         Q. And are the test results depicted on page          2         Q. In fact, at the top, in the first full
        3   14 -- well, let me just ask you this way. Where did the     3   paragraph, it says, "The TEM micrograph in Figure B1
        4   test results depicted in the table on page 14 of your       4   shows a number of platy talc particles. Figure B-2
        5   expert report, where did they originate from?               5   shows platy talc particles and an elongated fragment of
        6         A. There are five examples from 1957 to '58           6   talc."
        7   from Italy.                                                 7         A. Of talc. Two -- yeah. "Two other
        8         Q. And you were also handed by Mr. Ferguson           8   tremolite fibers were detected," and then it restates
        9   what's been marked as Exhibit 25. I don't recall if you     9   that numerical concentration of tremolite fibers in talc
       10   recall a document entitled, "Analysis of an Authentic      10   was the number that I mentioned previously.
       11   Historical --                                              11   BY MS. O'DELL:
       12         A. Yes.                                              12         Q. And so does, in fact, Exhibit 25 support
       13         Q. -- "Italian Cosmetic Talc Sample." Do             13   your opinion that Italian talc is contaminated with
       14   you recall that?                                           14   asbestos?
       15         A. Yep.                                              15             MR. BILLINGS-KANG: Objection to form.
       16         Q. Do you have it in front of you?                   16             MR. FROST: Objection to form.
       17         A. Yes.                                              17   BY MS. O'DELL:
       18         Q. And Mr. Ferguson asked you to read the            18         Q. Now, let me ask you to turn to your
       19   first sentence of the abstract which addressed "the        19   report specifically. Oh, one question. You were asked
       20   extreme purity" of Italian talc. Do you recall that?       20   a few questions today about the beneficiation process,
       21         A. Correct. Yes, I do.                               21   and if there is asbestos fibers present in talc ore, is
       22         Q. Did this report that's been marked as             22   there anything in the beneficiation process that you
       23   Exhibit 5 actually report the presence of tremolite        23   would expect to remove the asbestos fibers from the
       24   fibers in Italian talc?                                    24   talc?
       25         A. Yes. There's -- it reports the numerical          25         A. Not efficiently.
                                                      Page 311                                                        Page 313
        1   concentration of tremolite fibers in the talc sample was    1         Q. Let me ask you to turn to page 35 of your
        2   3.67 -- 3.687 times 10 to the negative 6 fibers per         2   report. Actually, 36.
        3   gram, so that is over 3 million fibers per gram             3         A. Okay. I'm on page 36.
        4   corresponding to a mass concentration of .722 parts per     4         Q. And, actually, you can look at, actually,
        5   million.                                                    5   either 35 or 36, but are the test results and the
        6         Q. And if you'll turn to page 3 of this               6   samples that are of the samples reported in the table on
        7   exhibit --                                                  7   page 35, and do many of them include the results of
        8              MR. FROST: Leigh, what exhibit is this?          8   annual composite samples?
        9              MS. O'DELL: 25.                                  9         A. Yes.
       10              MR. FROST: 25. Okay.                            10         Q. And are -- what are annual composite
       11              MS. O'DELL: It's what Ken marked.               11   samples?
       12              MR. FROST: Oh, I thought you said five.         12         A. They are, essentially, talcum powder
       13         I apologize.                                         13   that's ready to go as a consumer product, essentially a
       14              MS. O'DELL: Did I? Sorry. Thank you.            14   consumer product.
       15              MR. BILLINGS-KANG: You said five.               15         Q. And annual samples would be composed of
       16              MS. O'DELL: I don't think you heard the         16   processed talc?
       17         two, but 25 is what I'm referring to.                17         A. Yes.
       18              MR. FROST: Thank you.                           18         Q. And let me ask you to look at page 36,
       19   BY MS. O'DELL:                                             19   where you report some of the findings regarding
       20         Q. On page 3 of the exhibit, Dr. Krekeler,           20   chromium. Did Johnson & Johnson conduct testing of its
       21   did the authors of this report also report the presence    21   talc powder that was specific enough to identify whether
       22   of fibrous talc in this particular sample?                 22   the type of chromium contained was either hexavalent
       23              MR. BILLINGS-KANG: Object to form.              23   chromium or trivalent chromium?
       24         A. Yes. I believe I saw it in here.                  24             MR. BILLINGS-KANG: Objection to form.
       25                                                              25             MR. FROST: Objection to form.

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                                               Mark Krekeler, Ph.D.
                                                       Page 314                                                       Page 316
        1         A. No. I saw no evidence of any testing to            1   geologic terrain.
        2   determine whether chromium was in the three-plus state      2        Q. And in the comments that are included in
        3   or the six-plus state.                                      3   the Ross paper would cover the geologic formations that
        4              MR. FROST: Move to strike the response           4   were used to source Johnson & Johnson's talcum powder in
        5         as speculative.                                       5   Vermont?
        6   BY MS. O'DELL:                                              6        A. Yes.
        7         Q. Is that also true -- is that also true of          7             MR. FROST: Objection to form. Calls for
        8   the testing that was conducted by Imerys?                   8        speculation.
        9              MR. FROST: Objection to form.                    9   BY MS. O'DELL:
       10         A. I'm sorry. Can you repeat the question?           10        Q. Let me ask you to turn to Exhibit 11,
       11   BY MS. O'DELL:                                             11   which should be right --
       12         Q. Is that -- is that also true of the               12        A. Eleven.
       13   testing that was conducted by Imerys regarding chromium?   13        Q. -- in front of you there.
       14              MR. FROST: Same objection.                      14        A. Yes.
       15         A. Yes.                                              15        Q. And if you'll turn to page 2 of --
       16   BY MS. O'DELL:                                             16        A. Page 921 in the article?
       17         Q. You were asked a number of questions              17        Q. Yes. Let me ask you, with the
       18   regarding the ore deposits in Vermont. Do you recall       18   constituents of the geology, geologic formation that is
       19   those questions?                                           19   described in Ross, and we'll get to it, but, also, in
       20         A. Yes.                                              20   Van Gosen, would those constituents, as described in
       21         Q. And you -- one of the exhibits that was           21   those publications, be the same or similar to the mines
       22   marked in regard to Vermont was the Ross commentary that   22   in Vermont that were used to source Johnson & Johnson's
       23   you cited, and I believe it's in front of you. What's      23   talcum powder?
       24   the exhibit number, please?                                24             MR. FROST: Objection to form.
       25         A. Twelve, I think.                                  25        A. Yes.

                                                       Page 315                                                       Page 317
        1         Q. Okay.                                              1   BY MS. O'DELL:
        2         A. That's correct.                                    2        Q. Let me ask you to turn specifically to
        3         Q. And Exhibit 12 was a reference that you            3   Van Gosen, which we've marked as Exhibit 11 and
        4   cited in your report?                                       4   specifically ask you to turn to page 933.
        5         A. Correct.                                           5        A. Okay. Yes.
        6         Q. And is the Ross commentary supportive of           6        Q. Does page 933 begin a description of
        7   your opinions?                                              7   Vermont talc?
        8         A. Yes.                                               8        A. Yes, it does.
        9         Q. Why?                                               9        Q. Does this description by Van Gosen apply
       10         A. So, essentially, end of second column,            10   to the, or is it relevant to the geology of the talc
       11   "Ultramafic talc deposits of Vermont offer a third         11   mines that were used to source J&J talc?
       12   example of the complexities of rock formations             12        A. Yes, it is.
       13   containing asbestos minerals. The core of the              13             MR. FROST: Objection. Calls for
       14   ultramafic bodies is off a serpentine rock derived from    14        speculation.
       15   a hydrothermal alteration of a pre-existing pyroxene and   15   BY MS. O'DELL:
       16   olivine-rich ultramafic rock. The serpentine core often    16        Q. And if you'll turn to page 934, what is
       17   grades outward into talc-serpentine-carbonate rock, then   17   the description of the Vermont talc geology that Van
       18   steatite (massive talc ore containing often small          18   Gosen includes in his article?
       19   amounts of serpentine), then 'blackwall' rock (contains    19        A. So, sorry. On the previous page, the
       20   amphiboles, chlorite, quartz, albite, et cetera), and      20   alteration of zones are typically compromised by
       21   finally the country rock. Equivalent ultramafic bodies     21   sequence, provides details --
       22   in Quebec, Canada, form some of the world's largest        22        Q. Doctor, read more clearly for the court
       23   chrysotile deposits."                                      23   reporter, please.
       24             So, essentially, this is all the talc            24        A. "Ultramafic rocks, grading to a
       25   mines are all part of this one essentially extensive       25   talc-carbonate-dominant zone, grading to a nearly
                                                                                      80 (Pages 314 to 317)
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                                               Mark Krekeler, Ph.D.
                                                      Page 318                                                        Page 320
        1   mono-mineralogical ... zone," all these other rich          1         A. I had it somewhere. Yeah, 18. Yes.
        2   zones, Items 1 through 7. And then "Black-wall talc         2         Q. And if you'll turn in Exhibit 18 to page
        3   deposits are associated spatially with serpentinite         3   11, is this a document that you relied on in reaching
        4   masses that, in some areas, host well-developed             4   your opinions?
        5   chrysotile asbestos." And there's citations from 1942       5         A. Yes. I'll get to page --
        6   and '63.                                                    6         Q. Page 11.
        7   BY MS. O'DELL:                                              7         A. Page 11, "Elemental Scan" at the top.
        8        Q. Okay. And did it also say that some of              8         Q. And does this page address the presence
        9   the alteration zones contain actinolite, tremolite and      9   of certain heavy metals in Chinese talc deposits?
       10   anthophyllite?                                             10         A. Yes.
       11        A. Yes.                                               11         Q. And what metals specifically were
       12        Q. And does the Van Gosen article support             12   elevated?
       13   your opinions in this case?                                13         A. Titanium.
       14             MR. FROST: Objection. Calls for                  14         Q. And based on this document, does the
       15        speculation.                                          15   writer include a comment below regarding the need to --
       16        A. Yes.                                               16   well, let me just say for the writer's comments below
       17   BY MS. O'DELL:                                             17   regarding the presence?
       18        Q. Let me ask you now to turn to Exhibit 15,          18         A. "This very sophisticated analysis shows a
       19   which also should be in front of you.                      19   relatively wide array of elements in subtrace levels.
       20        A. Fifteen.                                           20   Other high grade talcs can show a similar array. The
       21        Q. It's the Chidester --                              21   analysis represents research information, which should
       22        A. Fourteen.                                          22   be conducted on a periodic basis to anticipate any
       23        Q. Fifteen.                                           23   mineral contamination in future assessments of other
       24        A. Okay.                                              24   exposures of talc in the district."
       25        Q. So the Chidester article that was                  25         Q. Let me ask you to put that aside, please,

                                                      Page 319                                                        Page 321
        1   referenced earlier, and I'll ask you to turn to page 28.    1   sir. Thank you.
        2   If you'll turn --                                           2              If you'll turn now to the IARC monograph,
        3         A. I am on page 28.                                   3   which I think is on the '93 monograph, which is right
        4         Q. Right. And does page 28 relate to the              4   there. Yes.
        5   Hammondsville talc mine?                                    5         A. This? Five?
        6         A. Yes, it does.                                      6         Q. That's right, Exhibit 5.
        7         Q. And was the Hammondsville talc mine one            7         A. Okay.
        8   of the mines that was used to source Johnson & Johnson's    8         Q. You were asked a number of questions
        9   talc?                                                       9   about a statement that you made in your report about, I
       10         A. Yes.                                              10   think along the lines of it was common to find minerals
       11         Q. And if you'll look on the right-hand              11   such as tremolite, anthophyllite, asbestos in talc
       12   side, on the second paragraph, do you see that?            12   deposits. Do you recall those lines of questions?
       13         A. Yeah. "The deposit consists entirely of           13         A. Yes.
       14   coarse, flakey grit and of steatite. No serpentenite       14         Q. And if you'll turn to page 284 of the
       15   has been found. In the southwestern face of the quarry,    15   IARC monograph, 284, and this is the '93 monograph that
       16   there is a large mass of actinolite rock."                 16   relates to talc not containing asbestiform fibers. If
       17         Q. Does that support your opinions in this           17   you look at the bottom of 284, what does it say in the
       18   case?                                                      18   IARC monograph regarding the presence of these minerals
       19         A. Yes.                                              19   in talc deposits?
       20              MR. FROST: Objection. Form.                     20         A. It discusses minerals associated with
       21   BY MS. O'DELL:                                             21   talc. "The most common minerals found in talc products
       22         Q. Let me ask you to set that aside and turn         22   include chlorite, magnesite, dolomite, tremolite
       23   to Exhibit 18. It's the document, the "Preliminary         23   anthophyllite, serpentine and quartz."
       24   Investigation of Cosmetic Talc Potential" in China,        24         Q. And if you'll turn over to page 285, that
       25   Kwangsi, China. I think you had it in front of you.        25   statement is further supported in Table 1.4?

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                                               Mark Krekeler, Ph.D.
                                                       Page 322                                                       Page 324
        1        A.     Yes.                                            1   BY MS. O'DELL:
        2              MR. FROST: Object to form.                       2         Q. Dr. Krekeler, describe for us the
        3         A. Tremolite is listed, anthophyllite is              3   methodology that you've used in reaching your opinions
        4   listed, actinolite is listed.                               4   in this case.
        5   BY MS. O'DELL:                                              5         A. I evaluated data, I evaluated x-ray
        6         Q. And is that supportive of your opinion             6   diffraction data, I evaluated core data, I evaluated
        7   that those asbestos minerals are common in talc             7   electron microscopy data, I evaluated bulk chemistry
        8   deposits?                                                   8   data, I evaluated descriptions, I used peer-review
        9         A. Yes.                                               9   literature, and these are essentially methods that would
       10              MR. FROST: Objection to form.                   10   be expected if I was working as a consultant in a
       11   BY MS. O'DELL:                                             11   company.
       12         Q. Let me ask you just a general question            12         Q. Did you rely on published books regarding
       13   first. How would you define fibrous talc?                  13   the geology of Vermont, Italy and China?
       14         A. Fibrous talc is a talc particle that has          14         A. Yes.
       15   a morphology consistent with the definition of a fiber.    15         Q. To the degree they were available?
       16         Q. And would it be fair to say that fibrous          16         A. To the degree, yes. I would agree with
       17   talc could be defined as talc formed in an asbestiform     17   that.
       18   habit?                                                     18         Q. Is another common source that geologists
       19              MR. BILLINGS-KANG: Objection to form.           19   rely on publications such as the U.S. Geological Survey?
       20              MR. FROST: Objection to form.                   20         A. Yes.
       21         A. Yes.                                              21         Q. And are there also publications from the
       22   BY MS. O'DELL:                                             22   U.S. Bureau of Mines?
       23         Q. Let me ask you to look at Exhibit 22,             23         A. Yes.
       24   Dr. Krekeler, which I think I had in front of you. It      24         Q. And did you rely on those types of
       25   may be.                                                    25   materials in reaching your opinions in this case?

                                                       Page 323                                                       Page 325
        1         A. Twenty-two?                                        1         A. Yes.
        2         Q. Yes.                                               2         Q. Is the methodology that you used
        3         A. Okay.                                              3   methodology that would be generally acceptable in the
        4         Q. And I would like for you -- you recall             4   field of geology?
        5   there was a number of documents that Mr. Frost showed       5         A. Yes.
        6   you regarding six asbestos test results that were           6             MR. FROST: Objection to form.
        7   contained in the asbestos chart in your report beginning    7   BY MS. O'DELL:
        8   at page 14. Do you recall those questions?                  8         Q. Did you rely on peer-reviewed literature
        9         A. Yes.                                               9   to support your opinions?
       10         Q. And if I marked them correctly, Mr. Frost         10         A. Yes.
       11   pointed out one, two, three, four, five, six test          11         Q. Is peer-reviewed literature always
       12   results that he took issue with. Do you recall that?       12   available for specific mineral formations or deposits in
       13         A. Yes.                                              13   geology?
       14         Q. How many positive tests results, just             14         A. Not necessarily.
       15   estimate if you don't know --                              15         Q. You were asked about the documents that
       16         A. Approximately 125.                                16   you had received, internal documents that you had
       17         Q. So let me -- and so let me ask you this           17   received in formulating your opinions in this case.
       18   question. Is there anything that you heard today that,     18   Obviously, corporate documents were not available to you
       19   in your mind, would call into question the veracity of     19   other than lawyers giving them to you, fair?
       20   the test results that, the other 125 test results that     20         A. Yes. Correct.
       21   you reported in the chart, which begins in your report     21         Q. You didn't have an independent way to get
       22   on page 14?                                                22   the documents from Johnson & Johnson or Imerys in order
       23              MR. FROST: Objection to form.                   23   to reach your opinions, right?
       24         A. No.                                               24         A. Correct.
       25                                                              25         Q. And did you feel that you had adequate

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                                              Mark Krekeler, Ph.D.
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        1   materials to support the opinions contained in your        1   particular order, but if we can first turn to the IARC
        2   report?                                                    2   monograph. It's the one right in front of you there.
        3             MR. FROST: Objection to form.                    3   Which exhibit number is that?
        4             MR. BILLINGS-KANG: Objection to form.            4         A. I'm sorry. What?
        5         A. Yes.                                              5         Q. Which exhibit number is that?
        6   BY MS. O'DELL:                                             6         A. Five.
        7         Q. In terms of the testing documents that            7         Q. Okay. If you can turn to page 284.
        8   are mentioned and reported in your expert report, are      8         A. Okay.
        9   testing documents something that you rely on in the        9         Q. So if you look at the bottom of the page,
       10   normal course of your role as a geologist?                10   Miss O'Dell had you read from the line starting, "The
       11         A. Yes.                                             11   most common minerals found in talc products," but before
       12         Q. Would that also be true of core logs?            12   that, it reads, "Because talc deposits are formed from
       13         A. Yes.                                             13   different protoliths under many different geological
       14         Q. And those are some of the documents that         14   conditions, each talc deposit has a combination of
       15   you cited in your report?                                 15   mineralogy and mineral habit that is distinctive and, in
       16         A. Yes.                                             16   many cases, unique." Did I read that correctly?
       17         Q. Let me ask you just to talk just briefly         17         A. There's no citation for that and, yes,
       18   about your qualifications as a geologist. As a            18   you did.
       19   geologist, are you -- do you teach the process of         19         Q. Sir, my question is: Did I read that
       20   evaluating mineral deposits?                              20   correctly?
       21         A. Yes. I teach a course on ore deposits,           21         A. Yes.
       22   and I've taught courses on industrial minerology and      22         Q. And that's what the IARC monograph says,
       23   I've taught --                                            23   correct?
       24         Q. Excuse me.                                       24         A. Correct.
       25         A. When I was at George Mason, I would              25         Q. If you can turn to the Van Gosen article,

                                                     Page 327                                                        Page 329
        1   regularly teach minerology.                                1   which is Exhibit 11.
        2         Q. And would those courses have included             2         A. Okay.
        3   teaching students how to conduct expiration such as        3         Q. Page 934.
        4   drilling, core drilling and other ways to define an ore    4         A. All right. I'm on that page.
        5   deposit?                                                   5         Q. Before, when you were reading this, you
        6         A. Yes.                                              6   skipped over most of Number 3. Number 3 reads, "a
        7              MR. FROST: Object to form.                      7   nearly mono-mineralogical talc zone (often of high
        8   BY MS. O'DELL:                                             8   purity) several centimeters to meters thick." Did I
        9         Q. Have you given presentations on those             9   read that correctly?
       10   types of activities?                                      10         A. Yes.
       11         A. Yes.                                             11         Q. Do you agree with me that that would be
       12              MS. O'DELL: Okay. I don't have anything        12   the talc ore zone, correct?
       13         further. Thank you.                                 13             MS. O'DELL: Object to the form.
       14              THE WITNESS: Okay.                             14         A. Presumably. A nearly -- a nearly
       15              MR. FROST: Could we go off the record?         15   monomineralic -- mineralogical talc zone.
       16              VIDEOGRAPHER: Sure. We are now going           16   BY MR. FROST:
       17         off record, and the time is 8:13.                   17         Q. Now, if we can turn to Exhibit 15, which
       18              (A recess was taken from 8:13 to 8:20.)        18   is the Chidst article -- Chidester.
       19              VIDEOGRAPHER: We are now back on record,       19         A. 215.
       20         and the time is 8:20.                               20         Q. And specifically page 28. Okay. Counsel
       21              FURTHER CROSS-EXAMINATION                      21   had pointed you to the second paragraph, the second
       22   BY MR. FROST:                                             22   column down, and you read the, "In the southwest face of
       23         Q. All right, Doctor. A couple quick                23   the quarry, there is large mass of actinolite rock,"
       24   follow-ups, and unfortunately, I'm going to run them in   24   correct?
       25   the order they're in my binder, which probably is no      25         A. Correct.

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        1        Q. It doesn't say here that it's asbestos            1               CERTIFICATE
        2   actinolite, correct?                                      2   State of Ohio       :
        3        A. It does not specifically say that it's                              : SS
                                                                      3   County of Hamilton :
        4   asbestos.
                                                                      4          I, Susan M. Gee, RMR, CRR, the undersigned, a
        5        Q. And you couldn't, without speculating,            5   duly commissioned notary public within and for the State
        6   based on this document, say whether or not it's           6   of Ohio, do hereby certify that before the giving of his
        7   asbestos, correct?                                        7   aforesaid deposition, MARK KREKELER, Ph.D., was by me
        8              MS. O'DELL: Object to the form.                8   first duly sworn to depose the truth, the whole truth
        9        A. I would agree.                                    9   and nothing but the truth; that the foregoing is the
       10   BY MR. FROST:                                            10   deposition given at said time and place by MARK
       11        Q. And then the sentence before that, the           11   KREKELER, Ph.D.; that said deposition was taken in all
                                                                     12   respects pursuant to stipulations of counsel; that I am
       12   end of it reads, No serpentine has been found; is that
                                                                     13   neither a relative of nor employee of any of their
       13   correct?                                                 14   parties or their counsel, and have no interest whatever
       14        A. No. It says, "No serpentinite."                  15   in the result of the action; that I am not, nor is the
       15        Q. "No serpentinite," sorry, "has been              16   court reporting firm with which I am affiliated, under a
       16   found"?                                                  17   contract as defined in Civil Rule 28(D).
       17        A. "Has been found."                                18          IN WITNESS WHEREOF, I have hereunto set my
       18        Q. Okay. Sorry. I did read it incorrectly.          19   hand and official seal of office at Cincinnati, Ohio, on
       19   You are right. So "No serpentinite has been found"?      20   this 29th day of January, 2019.
                                                                     21
       20   That's correct?
                                                                     22
       21        A. Correct.                                                           _______________________________
       22              MR. FROST: That's all questions I have,       23   My commission expires: S/ Susan M. Gee, RMR, CRR
       23        sir.                                                     September 20, 2020. Notary Public - State of Ohio
       24              VIDEOGRAPHER: Is that it?                     24
       25              MR. FERGUSON: I don't have any                25

                                                     Page 331                                                       Page 333
        1       questions.                                            1
        2           MS. O'DELL: I have nothing further.               2
        3           MR. FROST: All right.                             3        DECLARATION UNDER PENALTY OF PERJURY
                                                                      4
        4           VIDEOGRAPHER: This adjourns the
                                                                      5   Case Name: Talcum Powder Litigation
        5       deposition of Dr. Mark Krekeler. We are now
                                                                          Name of Witness: Mark Krekeler, Ph.D.
        6       going off record, and the time is 8:24.
                                                                      6   Date of Deposition: January 25, 2019
        7           COURT REPORTER: What about signature?             7
        8           MS. O'DELL: Yes.                                  8
        9           (Exhibit 28 through 30 were marked for            9         I, MARK KREKELER, Ph.D., hereby certify under
       10           identification.)                                 10   penalty of perjury under the laws of the State of
       11                  ---                                       11   ________________ that the foregoing is true and correct.
       12         DEPOSITION CONCLUDED AT 8:34 P.M.                  12         Executed this _______ day of
       13                  ---                                       13   __________________, 2019, at _________________________.
       14                                                            14
       15                                                            15
                                                                     16                 ____________________________
       16
                                                                                          MARK KREKELER, Ph.D.
       17
                                                                     17
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        1   DEPOSITION ERRATA SHEET
        2   Case Name: Talcum Powder Litigation
            Name of Witness: Mark Krekeler, Ph.D.
        3   Date of Deposition: January 25, 2019
            Reason Codes: 1. To clarify the record.
        4            2. To conform to the facts.
                     3. To correct transcription errors.
        5
        6   Page _______ Line _______ Reason ____________________
        7   From _________________________ to ___________________
        8   Page _______ Line _______ Reason ____________________
        9   From _________________________ to ___________________
       10   Page _______ Line _______ Reason ____________________
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       12   Page _______ Line _______ Reason ____________________
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       15   From _________________________ to ___________________
       16   Page _______ Line _______ Reason ____________________
       17   From _________________________ to ___________________
       18   Page _______ Line _______ Reason ____________________
       19   From _________________________ to ___________________
       20   _________ Subject to the above changes, I certify that
                  the transcript is true and correct.
       21   _________ No changes have been made. I certify that the
                  transcript is true and correct.
       22
       23             _________________________________
                         MARK KREKELER, Ph.D.
       24
       25




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       I.      Qualifications and Background



            I am a founding director of and a faculty investigator with the Genomic Services
    Laboratory at the HudsonAlpha Institute for Biotechnology.          My focus is on use of high
    performance genotyping and sequencing technologies as support for plant and animal phylogenetic
    studies and translational and clinical-based projects. A portion of my research entails using whole-
    genome sequencing to identify genetic markers associated with specific health conditions.


            I serve as executive director of the HudsonAlpha Clinical Services Laboratory, LLC, which
    I launched in 2014. I am adjunct faculty in the department of genetics and department of
    epidemiology at the University of Alabama at Birmingham, adjunct faculty in the department of
    biological Sciences at the University of Alabama at Huntsville, and serve as an ad hoc reviewer
    for scientific journals including Nature, Nature Genetics, Science, Cell, Genome Research and
    several others. I have been a co-chair of the Genomics Working Group of the American Medical
    Informatics Association, a community of scientists and health care professionals that work to
    facilitate collaboration and share knowledge across a continuum, from basic and applied research
    to the consumer and public health arenas.


            Prior to joining HudsonAlpha in 2009, I was a faculty member at Vanderbilt University
    Medical Center with appointments in the Department of Molecular Physiology and Biophysics
    and the Department of Biomedical Informatics. I was the founding director of the Vanderbilt
    Microarray Shared Resource where I served as Director for 9 years. I received my PhD in
    biochemistry and completed a postdoctoral fellowship in genetics at Emory University in Atlanta,
    where I set up a microarray facility at the Emory Center for Molecular Medicine. My education,
    training, and experience are further set forth in my Curriculum Vitae (CV), which is attached to
    this report as Exhibit A.


            As detailed in my CV, my research activities have examined a number of basic questions
    in human cancer such as the role of viral infection in head and neck cancer, the role of genetic
    mutation in risk for secondary cancer events following initial treatment, the genetics of B-cell
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    lymphoma, hepatosplenic T-cell lymphoma and malignant melanoma, and the role of STAT3 in
    triple-negative breast cancer. As the founding and Executive Director of the HudsonAlpha
    Clinical Services Laboratory, I also have interests and responsibilities in the clinical use of genetic
    testing for cancer risk and treatment stratification. HudsonAlpha launched the Information is
    Power campaign and has provided genetic testing for breast and ovarian cancer risk to women
    across the state of Alabama free of charge. My lab has also supported the Alabama Genomics
    Health Initiative that tests for genetic risks and carrier status for a number of diseases, including
    breast and ovarian cancer. This body of work in basic and clinical research in combination with
    earlier epidemiological work in the Shanghai Women’s Health study provides the experience,
    education and expertise to develop this report.


            I have been retained to describe the role of genetics in the pathogenesis of cancer in general
    and specifically ovarian cancer. Further, I have been asked to assess whether perineal use of
    talcum powder products induces a biologically plausible mechanism or mechanisms that result in
    ovarian cancer.


            My report consists of a review and my conclusions regarding this cause-and-effect
    relationship. My opinions are based on my assessing and weighing the totality of the evidence,
    including relevant literature and available documentation, and my experience as a geneticist and
    scientific researcher.    Report references are listed at the end of this report, and a more
    comprehensive list of the documents and materials reviewed prior to formulating the opinion in
    this report is attached as Exhibit B. The methodology that I have used to reach my opinions in
    this case is generally accepted in the scientific community and is the same methodology that I use
    in my research and other professional activities. All of my opinions stated below are held to a
    reasonable degree of scientific certainty. My opinions reflect my sole and independent judgment
    at the time of this report.


            My billing rate is $500 per hour. I have not testified by deposition or at trial during the last
    four years.




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       II.        Cancer Overview


              Cancer has become a descriptor that is ubiquitously used but describes an extremely
    complex and diverse collection of medical conditions. Cancer is also a word that represents an
    amazingly complicated and often misunderstood collection of diseases. At the most basic level,
    cancer can be described as a disease of unregulated cell growth but its simplicities end with that
    simple description. From the moment of conception until death, humans experience an unending
    cycle of cell growth, differentiation and death. As infants grow to children and then to adults,
    there are an array of growth processes that occur that represent the milestones of development and
    maturation. These processes are an orchestra of highly coordinated and regulated events with
    important checks and balances. When those highly regulated processes are defective or the checks
    and balances malfunction, the growth of the cells can become unregulated. Which tissue or cells
    become unregulated and exactly what process is defective defines the type of cancer and its
    progression. Cancer can be aggressive and highly metastatic when unregulated cells invade other
    parts of the body and destroy organs and tissues. Other types of cancer remain restricted to specific
    organs or cell types and may be less aggressive.

              It is the DNA within our cells which provides the genetic code or instructions to create the
    cells, tissues, and organs that make a human. Subtle changes in that code lead to the diversity of
    people around the world, while more substantial changes in that code create the diversity of life
    forms around us, from the smallest bacteria to the largest plants and animals. All cells have one
    set of instructions that provides the information for cells to divide, tissues to grow and how cells
    should die.



       III.       The Role of Gene Mutations in the Development of Cancer


              At its fundamental level, cancer is caused by changes (mutations) to the DNA within cells.
    The DNA that makes up our genetic code is organized into a large number of individual genes,
    each of which contains a specific subset of instructions telling the cell what functions to perform,
    as well as how to grow and divide. Errors in the instructions can cause the cell to stop its normal
    function and may allow a cell to become cancerous. Mutations that cause cancer most commonly

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    disrupt the regulation of the cell cycle (i.e., stages of cell growth and division). The following
    classifications of mutations are those most commonly found in cancer, but many other gene
    mutations can contribute to causing cancer as well.

           U   Increasing cell growth and division. A gene mutation can initiate more rapid cell growth
                                                   U




           and division, resulting in many new cells that all have that same mutation. Proto-
           oncogenes are a group of genes that regulate cell growth, differentiation, division and
           death. When a proto-oncogene is mutated, it can become an oncogene that then instructs
           the cell to grow rapidly in an unregulated manner.


           U   Loss of growth inhibition. A gene mutation can result in the renewed growth of a cell that
                                            U




           had previously stopped growing. Normal cells regulate their division so that the human
           body contains the appropriate number of each type of cell. When the tumor suppressor
           genes that provide this inhibitory control become mutated, cells become cancer cells and
           continue to grow and amass. An example of one such gene is p53, which is discussed in
           more detail below.


           U   Loss of DNA repair . Gene mutations can also affect the genes that proofread DNA and
                                   U




           fix mutations before they can have a detrimental effect. DNA repair genes look for errors
           in a cell's DNA and make corrections. A mutation in a DNA repair gene may mean that
           other errors aren't corrected, leading cells to become cancerous through unchecked
           replication of damaged cells. Examples of DNA repair genes include BRCA1 and BRCA2
           which are discussed in more detail below.

    Another way of classifying gene mutations is by when they occur.

       1) Inherited gene mutations : Inherited gene mutations are those mutations an individual is
           U                            U




           born with and that are present in all cells of the body. These types of mutations define
           traits and characteristics that have a family history. This type of mutation directly accounts
           for a small percentage of cancers. The indirect effects of this type of mutation is an area of
           active research. There are a growing number of genes and mutations that are known to
           increase the risk of cancer. BRCA1 and BRCA2 mutations and the increased risk for breast
           and ovarian cancer are two examples. While additional genes are being identified, the

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             percentage of individuals affected by mutations in those genes will be significantly less
             than those affected by BRCA1 and BRCA2.


       2) Acquired (somatic) gene mutations : Somatic mutations are acquired after birth. Most gene
             U                                  U




             mutations that directly cause cancer occur after birth and aren't inherited. Gene mutations
             can be caused by a number of events or exposures. These include environmental exposures
             such as smoking, radiation, and cancer-causing chemicals (carcinogens). Biological and
             lifestyle exposures such as viruses, obesity, hormones, and chronic inflammation are also
             known to result in cancer-causing mutations. Each exposure type has its own mechanism
             in increasing risk for cancer. These mechanisms may be direct, such as radiation directly
             damaging DNA, as well as indirect, such as an external agent causing a cellular reaction or
             inflammatory response that then leads to DNA damage or mutation.

             Both inherited and acquired gene mutations work together to cause cancer. While genetic
    testing has become commonplace for both assessing risk for cancer as well as directing treatment,
    the catalog of oncogenes, tumor suppressor genes, and DNA repair genes make genetic testing
    valuable and impactful for informing patients of their genetic risk for cancer. Genetic testing
    generally detects inherited mutations. Currently, genetic screening does not detect acquired gene
    mutations because they occur only in certain cells. Even if one has inherited a genetic mutation
    that predisposes one to cancer, that doesn't mean he or she is certain to get cancer. Rather, one or
    more additional gene mutations may be needed to cause cancer. The inherited gene mutation could
    instead make one more likely to develop cancer when exposed to a certain cancer-causing
    substance. Conversely, an individual may still develop cancer if they do not have mutations known
    to predispose one to cancer. Additionally, chemical and other environmental agents such as talcum
    powder products can interact with inherited mutations to cause ovarian cancer.




       IV.       The Role of Genetics in Ovarian Cancer


             Ovarian cancer is the major cause of death from gynecologic disease and the second most
    common gynecologic malignancy worldwide (Nunes and Serpa, 2018; Siegel, 2015; Torre, 2015).
    The term “ovarian cancer” is often used to include fallopian tubal, ovarian epithelial and peritoneal

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    cancers since the pathogenesis, treatment and clinical courses are similar. Researchers now believe
    that most of these cancers originate in the distal portion of the fallopian tube (Levanon, 2008). The
    significant mortality is primarily associated with late diagnosis and resistance to therapy (Bowtell,
    2010). Epithelial ovarian cancer (EOC) includes most malignant ovarian neoplasms (Chan, 2006)
    that can be classified based on morphologic and molecular genetic features into the following
    types: serous (OSC; low and high grade), endometrioid (EC), clear cell (OCCC) and mucinous
    (MC) carcinomas.


           Certain specific genetic and transcriptional signatures are associated with each histological
    subtype. Low-grade OSC cases generally have genetic alterations in BRAF, KRAS, NRAS, and
    Erb-B2 Receptor Tyrosine Kinase 2 (ERBB2); high-grade OSC has mutations in Tumor Protein
    P53 (TP53), BRCA1/2, Neurofibromin 1 (NF1), RB Transcriptional Corepressor 1 (RB1), and
    Cyclin Dependent Kinase 12 (CDK12) (Chan, 2006). Homologous recombination repair of DNA
    damage is defective in approximately 50% of high-grade serous cancers along with alterations in
    signaling pathways such as PI3/Ras/Notch/ FoxM1 (Nunes and Serpa, 2018).


           Endometroid carcinoma (EC) subtypes involve mutations in AT-Rich Interaction Domain
    1A (ARID1A), Phosphatidylinositol-4,5-Bisphosphate 3-Kinase Catalytic Subunit Alpha
    (PI3KCA), Phosphatase And Tensin Homolog (PTEN), Protein Phosphatase 2 Scaffold Subunit
    Alpha (PPP2R1α), and mismatch repair deficiency.           Ovarian clear cell carcinoma (OCCC)
    subtypes have been found with de novo expression of HNF1β (Mabuchi, 2009; Shen, 2013) as
    well as ARID1A, PI3KCA, PTEN, Catenin Beta 1 (CTNNB1) and PPP2R1α mutations. MC
    comprises tumors with mutations in KRAS and a high frequency of ERBB2 amplification with
    overexpression of mucin-coding genes (Banerjee and Kaye, 2013; Jayson, 2014).


           In addition to inherited mutations, exposure to the environment can result in DNA changes,
    or acquired gene mutations, that lead to cancer. These sources can be from exposure to minerals
    such as asbestos or arsenic, chemical exposures such as benzene or formaldehyde and from natural
    radiation sources like radon or ultraviolet light. These exposures constantly damage human DNA.
    Fortunately, cells have robust DNA repair mechanisms to ensure DNA damage is repaired before
    the DNA is replicated. These “proofreading” mechanisms react to DNA damage and stop DNA

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    replication. The mechanisms involve checkpoint control proteins such as the p53 protein , which
    acts to stop the cell cycle if DNA is damaged, and thus to suppress production of tumors. Cells
    that do not express functional p53 protein exhibit high rates of mutation in response to DNA
    damage, accelerating the formation of tumors.


             BRCA1 and BRCA2 proteins also function in the DNA repair pathway. BRCA1 and
    BRCA2 are normally expressed in the cells of breast and other tissue, where they help repair
    damaged DNA, or destroy cells if DNA cannot be repaired. They are involved in the repair of
    chromosomal damage resulting from double-strand breaks. BRCA1 combines with other tumor
    suppressors, DNA damage sensors and signal transducers to form a large multi-subunit protein
    complex known as the BRCA1-associated genome surveillance complex (BASC). BRCA2
    interacts with the RAD51 protein, also forming a complex that is vital for DNA repair.


             Individuals can inherit mutations in BRCA1, BRCA2 or p53, 1 and are termed “positive” for
                                                                                     P   P




    the gene mutation. Such mutations will detrimentally affect the ability to repair DNA or sense the
    presence of damaged DNA. These defects allow additional mutations to accumulate in cells and
    lead to a higher probability of cells becoming cancerous. BRCA1, BRCA2 and p53 mutations can
    also be acquired in certain cells. If those cells form a tumor, the cancerous tissue can be tested for
    these gene mutations.


             BRCA mutations are inherited in an autosomal dominant fashion, meaning inheriting only
    one copy results in increased cancer risk. Some individuals with a mutation in the BRCA1 or
    BRCA2 gene will develop cancer during their lifetime, but others will not. Penetrance refers to the
    proportion of individuals with a genetic mutation who exhibit symptoms of the disorder. Where
    some carriers do not develop a disorder, as in the case of BRCA carriers, the condition is said to
    have incomplete penetrance. In such instances, additional genetic, environmental and lifestyle
    factors must be present for the disorder to manifest. The lifetime risk for ovarian cancer is
    approximately 40 percent for BRCA1 carriers and 15 to 20 percent for BRCA2 carriers (Berek et



    1
      Genes consist of genetic information that code for functional proteins. Both the gene and the protein they code share
    the same alphanumeric name. To avoid confusion, genes are italicized in text and proteins are not. For example:
    BRCA1 (gene) and BRCA1 (protein).

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    al., 2012; Paluch-Shimon et al., 2016). Therefore, the presence of mutations in the BRCA genes
    do not guarantee that carriers will get cancer. The presence of these mutations increases a person’s
    risk of developing cancer when exposed to a carcinogen (Park, 2018; Vitonis, 2011; Wu, 2015).


           Mutations in BRCA genes are found in the minority of epithelial ovarian cancer cases,
    suggesting additional mechanisms involving other genes that predispose women to ovarian cancer.
    The location of the mutation within the BRCA1 and BRCA2 genes has been associated with
    different ovarian cancer risk (Rebbeck, 2015). Additionally, several common alleles, or alternate
    forms of a gene, have been found to modify ovarian cancer risk for BRCA1 and BRCA2 mutation
    carriers. These modifier genes alter the process by which information from a gene is used to
    synthesize a final gene product (gene expression) in another gene, which in turn causes a disease.
    They are hypothesized to act as low to moderate penetrance alleles that contribute to ovarian cancer
    risk. (Barnes and Antoniou, 2012; Ramus, 2008; Saed, 2017; Sellers, 2008). These modifiers
    consist of changes in the DNA called single-nucleotide variants (SNVs), and result in a point
    mutation in the gene. The mutation can result in a structurally altered protein that is functionally
    defective. Some of the affected proteins are oxidants, antioxidants, or otherwise involved in
    regulatory pathways involving cancer risk, as discussed below.


           Lynch syndrome is another hereditary condition that increases the risk of ovarian cancer.
    It is caused by mutations that impair DNA mismatch repair, and the disease is inherited in an
    autosomal dominant manner similar to BRCA mutations. As in the case of BRCA mutations, due
    to incomplete penetrance inheriting a Lynch-associated mutation does not guarantee an individual
    will get cancer, but rather, that the risk of cancer will increase when exposed to a carcinogen.


           Myriad Genetics was an early pioneer in the development of commercial genetic testing
    for BRCA1 and BRCA2 mutations and predicting risk for breast and ovarian cancer. As with all
    inherited traits, a positive family history is the strongest indicator of the presence of genetic risk
    alleles in an individual. Since the exact identity of those risk alleles and the magnitude of cancer
    risk remain unknown until testing is performed, early guidelines for testing were based on a
    positive family history. The availability of testing has increased and costs of testing have fallen.
    However, genetic testing remains a relatively rare practice in the general population. Since the

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    early 1990s, advanced molecular biological technologies have allowed for the connection to be
    made between specific genetic mutations and the resulting hereditary cancers. Because of the
    large number of individuals tested and the ability to trace their genetic inheritance, the genes
    involved in cancer development are well established. In the overall spectrum, there are additional
    variants and genes with minor involvement, but development is dependent upon specific and
    complex interactions that occur in rare situations, and it is extremely unlikely any would have
    impact of known mutations such as BRCA1 or BRCA2.



       V.       Response to Cellular Injury


             As previously mentioned, from the moment of conception, the human body relies on
    continuous cell growth and development for normal health and function. Some tissues and cell
    types continually turn over. Our skin, blood cells, immune cells and the cells that line our digestive
    tract are examples where cells are continually growing and replacing older cells. In the case of an
    injury, a complex cascade of events begins which involves inflammation and culminates in the
    healing of the wound. During tissue injury, cell proliferation is enhanced while the tissue
    regenerates. After the healing is complete, proliferation and inflammation subside.


             In contrast, proliferating cells that sustain DNA damage and/or mutagenic insult (for
    example, initiated cells) continue to proliferate in microenvironments rich in inflammatory cells
    and growth/survival factors that support their growth. In a sense, tumors act as wounds that fail
    to heal (Dvorak, 1986). Recent studies have shown a link between inflammation associated with
    wound healing and ovarian cancer cell seeding (Jia, 2018). In addition to inflammation, the innate
    immune response plays a role in promoting cancer development and progression. These
    observations are generally accepted in the scientific literature (Coussens and Werb, 2002; Pardoll,
    2002).




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       VI.        Inflammation


             A.      The Role of Inflammation in Cancer - General

             The functional relationship of cancer and inflammation was first described in the mid-
    1800s. Rudolf Virchow noted leucocytes in neoplastic tissues in 1863 and made a connection
    between inflammation and cancer (as cited in Balkwill and Mantovani, 2001). He suggested that
    the "lymphoreticular infiltrate" reflected the origin of cancer at sites of chronic inflammation.
    Research published over the last 20 years has provided further understanding of the inflammatory
    microenvironment of malignant tissues and validates Virchow's hypothesis. Furthermore, the links
    between cancer and inflammation now have quite strong implications for prevention and treatment.
    (Balkwill and Mantovani, 2001).


             Macrophages are versatile immune-system cells that play a variety of roles in health and
    well-being. They act in tissues and free-floating cells in the blood that engulf and digest cellular
    debris, foreign substances, infectious microbes, cancer cells and anything that does not have the
    correct cell surface proteins to indicate a healthy cell to the body. They take various forms with
    various names throughout the body and have specialized tasks, including recruiting other immune
    cells like lymphocytes to sites of infection or acting as antigen presenting cells to T cells. Upon
    activation by contact with substances foreign to the body, macrophages release small proteins
    called cytokines.    Generally speaking, macrophages can increase inflammation or decrease
    inflammation depending on the cytokines released.


             Tumor-associated macrophages (TAM) are a major component of the infiltrate of most, if
    not all, tumors (Franklin and Li, 2016). TAM derive from circulating monocytic precursors, and
    are directed into the tumor by chemoattractant cytokines called chemokines. Many tumor cells also
    produce cytokines called colony-stimulating factors that prolong survival of TAM. When
    appropriately activated, TAM can kill tumor cells or elicit tissue destructive reactions on the
    vascular endothelium to disrupt blood supply to the tumor. However, TAM also produce growth
    and angiogenic factors as well as protease enzymes which degrade the extracellular matrix.
    Therefore, TAM can stimulate tumor-cell proliferation, promote angiogenesis, and favor invasion
    and metastasis (Mantovani, 1992b; Mantovani, 1997). Direct evidence for the importance of

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    protease production by TAM, neutrophils, and mast cells during experimental carcinogenesis was
    reported more than 15 years ago (Coussens, 2000). Since that time, the report by Coussens at el
    has been cited nearly 300 times by other studies. This dual potential of TAM has been described
    in the literature as the "macrophage balance." (Liu and Cao, 2015; Mantovani, 1992a).


           B.       The Role of Inflammation in Ovarian Cancer

           Inflammation has also been shown to play a key role directly in epithelial ovarian cancer.
    This principle is generally accepted in the scientific community and very well reviewed in the
    scientific literature over the last decade, as the role of inflammation is common in many types of
    cancer. (Charbonneau, 2013; Kisielewski, 2013; Maccio and Madeddu, 2012; Mor , 2011; Pardoll,
    2002; Pejovic and Nezhat, 2011; Shan and Liu, 2009). The literature reviews, as well as many
    direct studies, feature the immune system as being an important mediator of ovarian carcinogenesis
    via two models for its role in ovarian cancer: 1) chronic inflammation and 2) incessant ovulation.

       1) Chronic Inflammation: The chronic inflammation model of carcinogenesis proposes that
           U                        U




           chronic exposures to external or endogenous triggers of immunity (such as known
           carcinogens) and the persistence of immune cells cause ovarian cancer.                These
           inflammatory triggers cause injury to surrounding epithelium, damage DNA through the
           release of reactive oxygen species (ROS), or produce cytokines that promote proliferation
           (Saed, 2017). One environmental exposure shown to induce inflammation in animal
           models and human lungs is talcum powder (Wehner, 1994). Composed primarily of
           magnesium silicate, talc has been linked to ovarian cancer risk in a number of studies (Ness,
           2000; Mills, 2004; Merritt, 2008; Wu, 2009; Rosenblatt, 2011; Wu, 2015; Penninkilampi,
           2018).


       2) Incessant Ovulation: As stated in (Charbonneau, 2013), incessant ovulation results in
           U                    U




           damage due to rupturing of the ovulating follicle, which traumatizes the ovarian surface
           causing an immediate inflammatory response and wound repair. Repeating this process of
           damage and epithelial proliferation to repair the wound increases the risk of malignant
           transformation. Epidemiologic studies beginning nearly 50 years ago have implicated
           increased number of ovulations as a risk factor for ovarian cancer (Mahdavi, 2006). In

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           contrast, decreased risk of (i.e., protection from) ovarian cancer has been associated with
           increased parity (Adami, 1994; Modan, 2001), oral contraceptive use (Narod , 1998), breast
           feeding (Jordan, 2012) and older age at first menses (Titus-Ernstoff, 2001). All of these
           protective factors impact the number of lifetime ovulations. One of these early studies
           from the late 1970’s, which has been further substantiated by more recent investigations,
           found protective effects of “anovulatory time” by combining information on both increased
           oral contraceptive use and parity as well as age at first and last menses (Casagrande, 1979),
           supporting the theory of incessant ovulation as an underlying mechanism of
           carcinogenesis.


           As a part of the inflammatory response, macrophages induce oxidative stress through
    production of reactive oxygen species (ROS) and reactive nitrogen species (RNS). Normally,
    oxidants and antioxidants maintain a balance wherein the amount of ROS does not overwhelm the
    ability of the body, and antioxidants, to regulate them. Free radicals such as ROS and RNS are
    highly reactive and adversely alter DNA, proteins, and lipids (which comprise cell membranes) to
    promote tumor development and progression, and many cancers arise from sites that are subject to
    chronic irritation, infection, or inflammation. Cancer cells persist in a pro-oxidant state where
    there is excess production and generation of ROS that allows for tumor initiation, promotion and
    progression.


           The association between exposure to pathogens and chronic inflammation in tumor
    promotion and progression is further support of the generally understood principle that chronic
    inflammation plays a key role in the development of ovarian cancer. Examples of inflammatory
    conditions that are associated with ovarian cancer include endometriosis and pelvic inflammatory
    disease. Evidence strongly suggests that endometriosis is a pelvic inflammatory condition (Agic,
    2006), and that inflammation explains the association between endometriosis and epithelial
    ovarian cancer (Ness, 2000). Studies have found a relationship between pelvic inflammatory
    disease and ovarian cancer risk (Lin, 2011; Merritt, 2008). Moreover, the effect of non-steroidal
    anti-inflammatory drugs (NSAIDs) to reduce the risk of ovarian cancer provides additional
    support. The earlier studies with a focus on NSAIDs were preliminary and results were somewhat



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    inconsistent (Bonovas, 2005; Merritt, 2008), but a recent pooled analysis examining 12 case-
    control studies found aspirin could reduce ovarian cancer risk by 20%-34% (Trabert, 2014).


           Additional studies illustrate the potential protective effects of anti-inflammatory agents,
    including from unexpected drugs such as metformin. As reviewed in Reid, 2017, evidence
    supports a role for the anti-diabetic agent, metformin, in the prevention and treatment of multiple
    cancers (Li, 2011). Studies reviewed include a case-control study including 1,611 incident ovarian
    cancer cases performed using the UK-based General Practice Research Database (Bodmer, 2011).
    Long-term use (≥ 30 prescriptions) of metformin (and not sulfonylureas or insulin) was associated
    with a trend towards reduced risk with an odds ratio of 0.61. Though these results alone were not
    statistically significant, the reported observation that the anti-inflammatory agent, metformin,
    appears to decrease the risk of cancer, is additional evidence that inflammation is a primary
    mediator of ovarian cancer. (Irie, 2016).


           Considering the well-established role that inflammation plays in cancer and the beneficial
    effects of anti-inflammatory compounds on cancer risk and progression, it is logical to examine
    the environmental factors that may directly lead to cancer or that may increase chronic
    inflammation and indirectly lead to cancer. The International Agency for Research on Cancer
    (IARC) has recognized for nearly thirty years that there is sufficient evidence to conclude human
    exposure to asbestos is a cause of ovarian cancer (IARC, 1987; IARC, 2012). Not surprisingly,
    human studies have reported asbestos fibers in ovaries (Heller, 1996; Langseth, 2007). Meta-
    analysis continues to support the conclusion that exposure to asbestos increases risk for ovarian
    cancer (Camargo et al., 2011).

           C.      Talcum Powder Products


           A number of studies have been performed to examine the role of talcum powder use in the
    development of ovarian cancers. A comprehensive and recent meta-analysis by Penninkilampi
    found an association between perineal talc use and ovarian cancer, with a greater association after
    a higher number of lifetime applications (Penninkilampi and Eslick, 2017). The Penninkilampi
    study identified 24 case–control (13,421 cases) and three cohort studies (890 cases). Observational
    studies involving at least 50 cases of ovarian cancer were eligible for inclusion. Penninkilampi
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    analyzed the association between ovarian cancer and any perineal talc use. Included studies
    reported specific types of ovarian cancer, long-term (>10 year) talc use total lifetime applications,
    frequency and use of talc while also using diaphragms or sanitary napkins.

           The Penninkilampi study found a consistent association between perineal talc use and
    ovarian cancer. Variation in the magnitude of the effect was found when considering study design
    and ovarian cancer subtype. Any perineal talc use was associated with increased risk of ovarian
    cancer (OR=1.31, 95%CI 1.24-1.39). Greater than 3,600 lifetime applications (OR=1.42, 95%CI
    1.25-1.61) was slightly more associated with ovarian cancer than less than 3,600 applications
    (OR=1.32, 95%CI 1.15- 1.50).


           In addition to epidemiological evidence, an in vitro experiment by Buz’Zard and Lau
    reported an increase in ROS generation, increased cell proliferation and neoplastic transformation
    (conversion into cancerous cells) in human ovarian cells treated with talcum powder (Buz’Zard
    and Lau, 2007). They also found talcum powder treatment increased the number of reactive
    oxygen species produced by polymorphonuclear neutrophils, inflammatory cells whose role is to
    release large quantities of reactive oxygen species in response to a variety of harmful foreign
    stimuli. Additional studies have also shown the effects of talc on the immune response (Hamilton,
    1984; Keskin, 2009; NTP, 1993).


           Some studies have suggested that the link between ovarian cancer and talcum powder
    product use may be influenced by a number of genes (Belotte, 2015; Fletcher, 2018 a ; Gates, 2008;
                                                                                         P   P




    Shukla, 2009).    Gates and colleagues found that women with certain genetic variants in
    glutathionine S-transferase M1 (GSTM1) and/or glutathionine S-transferase T1 (GSTT1) may
    have a higher risk of ovarian cancer associated with talc use (Gates, 2008). In a recently peer-
    reviewed and accepted abstract, Harper and Saed report a mechanism by which talc enhances the
    pro-oxidant state in normal (ovarian and tubal) and ovarian cancer cells, through induction of gene
    point mutations (corresponding to known specific single nucleotide polymorphisms - SNPs) in
    key oxidant enzymes, altering their activities (Harper and Saed, 2018).


           In a more recent study, talcum powder increased mRNA levels of pro-oxidant enzymes in
    normal ovarian epithelial cells and ovarian cancer cell lines, while decreasing the mRNA levels of
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    antioxidant enzymes (Saed et al., 2017; Saed et al., 2018). A follow-up study reported in an
    abstract showed epithelial ovarian cancer cells treated with talc to demonstrate increased levels of
    CA-125 (Fletcher, 2018 b ). CA-125 is a biomarker that has been found to be elevated in patients
                                P   P




    with ovarian cancer and is currently FDA approved for disease monitoring in patients with
    epithelial ovarian cancer, as well as those with BRCA mutations or who are in another in high-risk
    group.


             D.      Asbestos, Fibrous Talc, Heavy Metals and Fragrance Chemicals


             In addition to the mineral talc, I have seen evidence that talcum powder products, including
    Johnson’s Baby Powder and Shower to Shower, contain asbestos 2 , and heavy metals 3 such as
                                                                                  P                        P   P




    chromium, cobalt, and nickel. A 2017 study by Longo and Rigler on historic samples of Johnson
    & Johnson baby powder ranging in production date over a span of many years showed over one-
    half (17 of 30) of Johnson’s talcum powder product samples contained asbestos (Longo and Rigler,
    2017). Talc containing asbestiform fibers (fibrous talc) was found in 15 of the 30 samples. A
    2018 study by Longo and Rigler reported the presence of fibrous anthophyllite in products tested
    from 1978 as well as fibrous talc in both (Longo and Rigler, 2018). Additionally, I have reviewed
    the expert report of Drs. Longo and Rigler reporting that 37 of 56 historical talcum powder samples
    contained asbestos and 41 of the 42 samples tested contained fibrous talc 4 .        P   P




             Asbestos has long been recognized as a well-known carcinogen and exposure can cause
    lung disease, mesothelioma, and cancers of the lung, larynx, and ovary (IARC 1987, 2012). It is
    established that asbestos exposure can result in macrophage activation, inflammation, generation
    of reactive oxygen and reactive nitrogen species, tissue injury, genotoxicity, and resistance to
    programmed cell death (Aust, 2011; Hein, 2007; IARC, 2012; Jaurand, 1997; Wang, 1987). One
    of the direct mechanisms is through interactions between internalized fibers and components of
    mitosis, resulting in chromosomal alterations and abnormalities (Hesterberg et al., 1986; Wang et
    al., 1987; Yegles et al., 1993). IARC has classified asbestos as a known human carcinogen (Group



    2
      Ex. 28, Hopkins Dep. (Aug. 16 & 17, 2018; Oct. 17, 2018; and Nov. 5, 2018); Blount, 1991; Paoletti, 1984.
    3
      Ex. 47, Julie Pier Dep. (Sept. 12 & 13, 2018).
    4
      Expert Report of William E. Longo, PhD and Mark W. Rigler, PhD (Nov. 14, 2018).

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    1).     Human tumors resulting from asbestos exposure can be characterized by genetic and
    chromosomal alterations that lead to the inactivation of tumor-suppressor genes (IARC, 2012).


               Talc not containing asbestiform fibers has been found by IARC to be a Group 2b or
    “possible” carcinogen (IARC, 2010). IARC has determined that fibrous talc or talc containing
    asbestiform fibers (talc occurring in a fibrous habit) is a carcinogen to humans (IARC, 2012).


               Chromium and nickel are classified by IARC as Group 1, “carcinogenic to humans”
    (IARC, 2012). Cobalt is classified as Group 2B, “possibly carcinogenic to humans” (IARC, 2006).
    IARC defines possibly carcinogenic as “a positive association has been observed between
    exposure to the agent and cancer for which a causal interpretation has been considered by the
    Working Group to be credible, but chance, bias or confounding could not be ruled out with
    reasonable confidence.” Established carcinogenic mechanisms of chromium include DNA
    damage, mutation, genomic instability, and cell transformation (IARC, 2009).               Similar
    mechanisms result from nickel exposure (IARC, 2012). Cobalt exposure has been to shown to
    cause increased production of reactive oxygen species and other inflammatory and proliferative
    changes (IARC, 2006).


               I also reviewed Dr. Michael Crowley’s report discussing the numerous fragrance chemicals
    added to talcum powder products. I am in agreement with Dr. Crowley’s opinion that these
    chemicals contribute to the inflammatory properties, toxicity, and potential carcinogenicity of the
    products. The presence of these constituents as part of talcum powder products provides additional
                P   P




    evidence of biological plausibility for talc and ovarian cancer. 5
                                                                    P




               Carcinogenesis is a complex and dynamic process that occurs due to a combination of
    mutations, both genetic and acquired, in an individual along with other processes. Mutations
    arising from environmental sources have an additive, and possibly multiplicative effect toward
    ultimately causing carcinogenesis (Park, 2018; Vitonis, 2011; Wu, 2015). The presence of
    asbestos, nickel, and chromium, known carcinogens, in talcum powder products provides further
    support for the conclusion that talcum powder causes chronic inflammation.

    5
        Expert Report of Michael Crowley, PhD (Nov. 12, 2018).

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           Based on these observations and lines of evidence, it is my opinion that talcum powder
    causes inflammation which initiates a biological response that includes oxidative stress, cell
    proliferation, inhibition of apoptosis, and genetic mutations which result in cancer development
    and progression. This process explains the biologically plausible mechanism for talcum powder
    products causing ovarian cancer.



       VII.    Conclusion


           Based on my background, training, education, and experience as a geneticist assessing and
    weighing the totality of scientific evidence, my opinions may be summarized as follows:

       1. Genetic mutations can be inherited or acquired. Both types are associated with cancer,
           including ovarian cancer.
       2. Talcum powder products cause chronic inflammation.
       3. Talcum powder product-induced inflammation causes damage to the DNA, genetic
           mutation, genomic instability, and cell transformation.
       4. The properties of talcum powder products as inflammatory agents and the role of
           inflammation in triggering oxidative stress, activating cytokines, cell proliferation, DNA
           damage, and genetic mutations (such as SNVs) provide a biologically plausible mechanism
           for the carcinogenicity of talcum powder products.
       5. Internalization of asbestiform fibers (including fibrous talc), cause DNA damage which
           provides a biologically plausible mechanism for the carcinogenicity of talcum powder
           products.
       6. The presence of an inherited gene mutation, such as BRCA1 or BRCA2, indicates a woman
           has an increased risk of ovarian cancer, but does not necessarily mean she will develop
           ovarian cancer.
       7. Women with inherited gene mutations, such as BRCA, are at least as susceptible to other
           carcinogens as women without inherited gene mutations.




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           I reserve the right to supplement, revise, or amend this report should additional materials,
    including testimony, become available.




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                          Exhibit A
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   Shawn Edward Levy                                                        Curriculum Vitae

   Faculty Investigator                                                     phone: 256.327.5267
   HudsonAlpha Institute for Biotechnology                                  fax: 256.327.9898
   601 Genome Way                                                           slevy@hudsonalpha.org
   Huntsville, AL 35806
   DUNS number: 363616223

   Personal Statement

   My group has been utilizing high performance genotyping and sequencing technologies for the
   past 15 years supporting a vast diversity of projects from plant and animal phylogenetic studies
   to translational and clinical based projects. We have several publications detailing our
   successes using variety of genomic technologies as well as in the field of bioinformatics
   research. As a post-doctoral fellow at Emory University I developed the first microarray designed
   to interrogate mitochondrial gene function. Upon joining the faculty at Vanderbilt University, I
   was responsible for the founding and development of the Vanderbilt Microarray Shared
   Resource (VMSR). From 2000 to 2009, the VMSR became an internationally recognized facility
   supporting a wide variety of genomic technologies from SNP profiling to gene expression
   analysis to next-generation sequencing. I joined the faculty of the HudsonAlpha Institute for
   Biotechnology in 2009 to develop the Genomic Services Laboratory (GSL). Since 2009 the GSL
   has supported more than 1,000 principle investigators from around the world, allowing me to
   collaborate and participate in a broad range of genomics projects with a particular focus on
   applying a diversity of genomic methods to understand complex conditions. We have had a
   particular focus on childhood and adult cancer as well as rare disease and degenerative
   diseases. Together, these efforts have resulted in more than 140 peer-reviewed publications of
   which I am an author or co-author. More than 150 additional publications that have included
   data from our laboratory as a service provider have also been published since 2009. Many of
   these publications involve translational research or describe the genetic underpinnings of rare or
   complex human disease. The diversity of projects and investigators we have worked with over
   the last 15 years have provided a dynamic and amazing experience to evolve our own research
   and technology development efforts.

   Contributions to Science

   The following five sections provide highlights to areas where my work has contributed to areas of science.
   Example publications are provided with each section and a full bibliography is provided at the end of the
   CV.

   1. My scientific career has been a somewhat atypical in that I have spent the last 15 years
      focusing on the development and application of genomic and bioinformatic technologies and
      methods to support scientific investigation in a number of areas. While there have been
      substantial areas of focus, my laboratory does not operate under a single or specific
      biological area or hypothesis. Instead, we examine ways to improve the resolution and
      quality of results to answer complex questions, regardless of biological relationship. The
      publications below are examples of contributions to technical projects or large consortium
      projects with goals in the evaluation or improvement of techniques or technologies.

       a. Statnikov A, Aliferis, C, Tsamardinos, I, Hardin, D, and Levy, S. A comprehensive evaluation of
          multicategory classification methods for microarray gene expression cancer diagnosis.
          Bioinformatics, 2005. 21(5), p. 631-643. PMID:15374862.



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      b. The MicroArray Quality Control Consortium. The MicroArray Quality Control (MAQC) project
         shows inter- and intraplatform reproducibility of gene expression measurements. Nature
         Biotechnology, 2006. 24(9), p. 1151-1161. PMID:16964229.
      c. The ENCODE Project Consortium. An integrated encyclopedia of DNA elements in the human
         genome. Nature. 2012. 489, 57-74. PMID: 22955616 PMCID: PMC3439153
      d. The Sequence Quality Control (SEQC) Consortium. A comprehensive assessment of RNA-seq
         accuracy, reproducibility and information content by the Sequence Quality Control consortium.
         Nature Biotechnology. 2014. 32 (9), 915-925. PMID:25150835; PMCID:4167418.


   2. One area of early focus of my career was the development and analysis of mouse models for
      mitochondrial disease, including the knock out of the Adenine Nucleotide Translocase 2
      (Ant2) gene leading to a more complete understanding of the permeability transition. This
      work also discovered methods to alter the mitochondrial DNA in stem cells and supported the
      first mitochondrial DNA transfers by stem cells.
       a. Levy SE, Waymire, KG, Kim, YL, MacGregor, GR, and Wallace, DC, Transfer of chloramphenicol-
          resistant mitochondrial DNA into the chimeric mouse. Transgenic Research. 1999. 8(2), p. 137-
          145. PMID:10481313.
       b. Sligh JE, Levy SE, Waymire KG, Allard P, Dillehay DL, Nusinowitz S, Heckenlively JR, MacGregor
          GR, and Wallace DC. Maternal germ-line transmission of mutant mtDNAs from embryonic stem
          cell-derived chimeric mice. Proc. of the Nat. Acad. of Sciences USA. 2000. 97(26), p. 14461-
          14466. PMID:11106380; PMCID:18941.
       c. Kokoszka JE, Waymire, KG, Levy, SE, Sligh, JE, Cal, JY, Jones, DP, MacGregor, GR, and
          Wallace, DC, The ADP/ATP translocator is not essential for the mitochondrial permeability
          transition pore. Nature, 2004. 427(6973),p. 461-465. PMID:14749836.
       d. Picard M, Zhang J, Hanecock S, Derbeneva O, Golhar R, Golik P, O’Hearn S, Levy SE, Potluri P,
          Lvova M, Davila A, Lin CS, Perin JC, Rappaport EF, Hakonarson H, Trounce I, Procaccio V, and
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          transcriptional remodeling. Proc. of the Nat. Acad. of Sciences USA. 2014. 111(38), E4033-
          E4042. PMID:25192935; PMCID:4183335.


   3. A long-standing area of research interest is the genomic analysis of cancer, both childhood
      and adult. These efforts have included population-based studies and more directed research
      in specific cancer biology. These efforts have examined many cancer types including breast,
      lung, colon, and myeloid cancer.
       a. Smith JJ, Deane, NG, Wu, F, Merchant, NB, Zhang, B, Jiang, A, Lu, P, Johnson, JC, Schmidt, C,
          Edwards, CM, Eschrich, S, Kis, C, Levy, S, Washington, MK, Heslin, MJ, Coffey, RJ, Yeatman, TJ,
          Shyr, Y, and Beauchamp, RD, Experimentally Derived Metastasis Gene Expression Profile
          Predicts Recurrence and Death in Patients With Colon Cancer. Gastroenterology, 2009. PMID:
          19914252 PMCID: PMC3388775.
       b. Powell AE, Wang Y, Li Y, Poulin EJ, Means AL, Washington MK, Higginbotham JN, Juchheim A,
          Prasad N, Levy SE, Guo Y, Shyr Y, Aronow BJ, Haigis KM, Franklin JL, and Coffey RJ. Lrig1, a
          pan-ErbB negative regulator, marks intestinal stem cells and acts as a tumor suppressor. Cell.
          2012. 149(1), 146-158. PMID: 22464327 PMCID: PMC3563328.
       c. McDaniel JM, Varley KE, Gertz J, Savic DS, Roberts BS, Bailey SK, Shevde LA,
          Ramaker RC, Lasseigne BN, Kirby MK, Newberry KM, Partridge EC, Jones AL, Boone B,
          Levy SE, Oliver PG, Sexton KC, Grizzle WE, Forero A, Buchsbaum DJ, Cooper SJ,
          Myers RM. Genomic regulation of invasion by STAT3 in triple negative breast cancer.
          Oncotarget. 2017;8(5):8226-38. doi: 10.18632/oncotarget.14153. PubMed PMID:
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       d. McKinney M, Moffitt AB, Gaulard P, Travert M, De Leval L, Nicolae A, Raffeld M, Jaffe
          ES, Pittaluga S, Xi L, Heavican T, Iqbal J, Belhadj K, Delfau-Larue MH, Fataccioli V,
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          Hsi ED, Low L, Weisenburger D, Chan WC, Mehta-Shah N, Horwitz S, Bernal-Mizrachi L,
          Flowers CR, Beaven AW, Parihar M, Baseggio L, Parrens M, Moreau A, Sujobert P,
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          Reddy A, Love C, Levy S, Zhuang Y, Datta J, Dunson DB, Dave SS. The Genetic Basis
          of Hepatosplenic T-cell Lymphoma. Cancer Discov. 2017;7(4):369-79. doi:
          10.1158/2159-8290.CD-16-0330. PubMed PMID: 28122867; PMCID: PMC5402251.

   4. My laboratory has had the opportunity to collaborate with a number of outstanding
      investigators in the genetics analysis of complex neurological conditions, including autism,
      schizophrenia and bipolar disorders as well as ALS. We contributed significantly to the
      discovery of the association of de-novo rather than Mendelian mutations in these conditions,
      particularly in schizophrenia.
       a. Xu B, Roos JL, Dexheimer P, Boone B, Plummer B, Levy S, Gogos JA, Karayiorgou M. Exome
          sequencing supports a de novo mutational paradigm for schizophrenia. Nature Genetics. 2011.
          43(9), 864-868. PMID: 21822266. PMCID: PMC3196550.
       b. Neale BM, Kou Y, Liu L, Ma’ayan A, Samocha KE, Sabo A, Lin CF, Stevens C, Wang LS, Makarov
          V, Polak P, Yoon S, Maguire J, Crawford EL, Campbell NG, Geller ET, Valladares O, Shafer C, Liu
          H, Zhao T, Cai G, Lihm J, Dannenfelser R, Jabado O, Peralta Z, Nagaswamy U, Reid JG,
          Newsham I, Wu Y, Lewis L, Han Y, Muzny D, Voight BF, Lim E, Rossin E, Kirby A, Flannick J,
          Fromer M, Shakir K, Fennell T, Garimella K, Boyko C, Gabriel S, dePristo M, Wimbish JR, Boone
          BE, Levy SE, Betancur C, Sunyaev S, Boerwinkle E, Buxbaum JD, Cook EH, Devlin B, Gibbs R,
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          mutations in autism spectrum disorders. Nature. 2012. 485(7397), 242-245. PMID: 22495311
          PMCID:PMC3613847.
       c. Xu B, Ionita-Laza I, Roos JL, Boone B, Woodrick S, Sun Y, Levy S, Gogos JA, and Karayiorgou M.
          De novo gene mutations highlight patterns of genetic and neural complexity in schizophrenia.
          Nature Genetics. 2012. 44(12), 1365-1369. PMID: 23042115 PMCID: PMC3556813.
       d. Cirulli, ET, Lasseigne, BN, Petrovski, S, Sapp, PC, Dion, PA, Leblond, CS, Couthouis, J, Lu, Y-F,
          Wang, Q, Krueger, BJ, Ren, Z, Keebler, J, Han, Y, Levy, SE, Boone, BE, Wimbish, JR, Waite, LL,
          Jones, AL, Carulli, JP, Day-Williams, AG, Staropoli, JF, Xin, WW, Chesi, A, Raphael, AR,
          McKenna-Yasek, D, Cady, J, Vianney de Jong, JMB, Kenna, KP, Smith, BN, Topp, S, Miller, J,
          Gkazi, A, Consortium, FS, Al-Chalabi, A, van den Berg, LH, Veldink, J, Silani, V, Ticozzi, N, Shaw,
          CE, Baloh, RH, Appel, S, Simpson, E, Lagier-Tourenne, C, Pulst, SM, Gibson, S, Trojanowski, JQ,
          Elman, L, McCluskey, L, Grossman, M, Shneider, NA, Chung, WK, Ravits, JM, Glass, JD, Sims,
          KB, Van Deerlin, VM, Maniatis, T, Hayes, SD, Ordureau, A, Swarup, S, Landers, J, Baas, F, Allen,
          AS, Bedlack, RS, Harper, JW, Gitler, AD, Rouleau, GA, Brown, R, Harms, MB, Cooper, GM,
          Harris, T, Myers, RM, Goldstein, DB. Exome sequencing in amyotrophic lateral sclerosis identifies
          risk genes and pathways. Science. 2015. Feb 19. pii: aaa3650. [Epub ahead of print] PubMed
          PMID: 25700176.


   5. My laboratory has played a significant role in the discovery of the causative mutations of a
      number of rare but significant human diseases, particularly in the field of pediatric nephrology
      in collaboration with Friedhelm Hildebrandt at Harvard University. These studies applied
      genomic technologies to better characterize and in some cases diagnose or discover the
      causative mutation for severe phenotypes or disease.
       a. Otto EA, Hurd TW, Airik R, Chaki M, Zhou W, Stoetzel C, Patil SB, Levy S, Ghosh AK, Murga-
          Zamalloa CA, van Reeuwijk J, Letteboer SJF, Sang L, Giles RH, Liu Q, Coene KLM, Estrada-



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          Obermuller H, Koenekoop RK, Bergmann C, Bei X, Lewis RA, Katsanis N, Lopes V, Williams DS,
          Lyons RH, Dang CV, Brito DA, Dias MB, Zhang X, Nurnberg G, Nurnberg P, Pierce E, Jackson P,
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          capture identifies mutation of SDCCAG8 as the cause of a retinal-renal ciliopathy. Nature
          Genetics, 2010. 42(10), 840-850 PMID: 20835237 PMCID: PMC2947620.
       b. Rademakers R, Baker M, Nicholson AM, Rutherford NJ, Finch N, Soto-Ortolaza A, Lash J, Wider
          C, Wojtas A, DeJesus-Hernandez M, Adamson J, Kouri N, Sundal C, Shuster EA, Aasly J,
          MacKenzie J, Roeber S, Kretzschmar HA, Boeve BF, Knopman DS, Petersen RC, Cairns NJ,
          Ghetti B, Spina S, Garbern J, Tselis AC, Uitti R, Das P, Van Gerpen JA, Meschia JF, Levy S,
          Broderick DF, Graff-Radford N, Ross OA, Miller BB, Swerdlow RH, Dickson DW, Wszolek
          ZK.Mutations in the colony stimulating factor 1 receptor (CSF1R) cause hereditary diffuse
          leukoencephalopathy with spheroids. Nature Genetics. 2011. 44(2), 200-205. PMID: 22197934
          PMCID: PMC3267847.
       c. Fiskerstrand T, Arshad N, Haukanes BI, Tronstad RR, Pham KDC, Johansson S, Håvik B, Tønder
          SL, Levy SE, Brackman D, Boman H, Biswas KH, Apold J, Hovdenak N, Visweswariah SS, and
          Knappskog PM. Familial Diarrhea Syndrome Caused by an Activating GUCY2C Mutation. New
          England Journal of Medicine. 2012. 366(17), 1586-1595. PMID: 22436048.
       d. Carlson J, Scott LJ, Locke AE, Flickinger M, Levy S, Myers RM, Boehnke M, Kang HM, Li
          JZ, Zöllner S. Extremely rare variants reveal patterns of germline mutation rate
          heterogeneity in humans. bioRxiv. 2017:108290.
       e. Chao HT, Davids M, Burke E, Pappas JG, Rosenfeld JA, McCarty AJ, Davis T, Wolfe L,
          Toro C, Tifft C, Xia F, Stong N, Johnson TK, Warr CG, Undiagnosed Diseases N,
          Yamamoto S, Adams DR, Markello TC, Gahl WA, Bellen HJ, Wangler MF, Malicdan MC.
          A Syndromic Neurodevelopmental Disorder Caused by De Novo Variants in EBF3. Am J
          Hum Genet. 2017;100(1):128-37. doi: 10.1016/j.ajhg.2016.11.018. PubMed PMID:
          28017372; PMCID: PMC5223093.

   Education

   College
   University of New Hampshire: BS, 1994       (Biochemistry, Microbiology)
   GPA 3.37
   Honors Graduate, Dean’s list.

   Graduate School
   Emory University: PhD, 2000, (Biochemistry)
   GPA 3.75
   Thesis title: “Genetic Alteration of the Mouse Mitochondrial Genome and Effects on Gene
   Expression.”
   Thesis advisor: Professor Douglas C. Wallace

   Post-Graduate Training
   Emory University, Douglas C. Wallace, March 2000-July 2000


   Academic Appointments

   Research Assistant Professor, Department of Molecular Physiology and Biophysics,
   Vanderbilt University Medical Center, Nashville, TN, July 2000-June 2003



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   Adjunct Faculty, Graduate training program, Department of Biomedical Informatics,
   Vanderbilt University Medical Center, Nashville, TN, January 2001-June 2003

   Director, Vanderbilt Microarray Shared Resource, Vanderbilt University Medical Center,
   Nashville, TN, July 2000-August 2009

   Assistant Professor, Department of Biomedical Informatics, Vanderbilt University Medical
   Center, Nashville, TN, July 2003-August 2009. (Primary Appointment)

   Assistant Professor, Department of Molecular Physiology and Biophysics, Vanderbilt
   University Medical Center, Nashville, TN, July 2003-August 2009 (Secondary Appointment)

   Adjunct Associate Professor, Department of Biomedical Informatics, Vanderbilt University
   Medical Center, Nashville, TN, August 2009-Present

   Adjunct Associate Professor, Department of Epidemiology, University of Alabama-
   Birmingham, Birmingham, AL October 2010-Present.

   Adjunct Assistant Professor, Department of Genetics, University of Alabama-Birmingham,
   Birmingham, AL October 2010-Present.
   Adjunct Associate Professor, Department of Biological Sciences, University of Alabama-
   Huntsville, Huntsville, AL January 2014-Present.

   Faculty Investigator, HudsonAlpha Institute for Biotechnology, Huntsville, AL, August 2009-
   Present

   Executive Director, HudsonAlpha Clinical Services Laboratory, LLC, Huntsville, AL, December
   2014-Present


   Professional Organizations

   American Medical Informatics Association, Co-chair, Genomics Working Group (2006-2007)
   Association of Biomedical Resource Facilities
   American Association for the Advancement of Science
   American Association for Cancer Research
   American Society for Human Genetics

   Professional Activities

   Intramural-University
   Vision 2020 Personalized Medicine Committee-Task Force 3 (2009)

   Intramural-Departmental
   Department of Biomedical Informatics Academic Progress Committee (2005-2007)
   Department of Biomedical Informatics Curriculum Committee (2007-2009)

   Intramural-Center Affiliations
   Vanderbilt-Ingram Cancer Center, Associate Member (2000-2009)
   Vanderbilt Diabetes Research and Training Center, Member (2000-2009)


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   Vanderbilt Digestive Disease Research Center, Member (2003-2009)
   Vanderbilt Institute of Chemical Biology, Member (2004-2009)

   Extramural-Journal Review
   §Reviewer- Arteriosclerosis, Thrombosis and Vascular Biology (2001-present)
   §Reviewer-Bioinformatics (2001-present)
   §Reviewer-Journal of Biological Chemistry (2002-present)
   §Reviewer-Neuropsychopharmacology (2003-present)
   §Reviewer-Kidney International (2003-present)
   §Reviewer-Circulation Research (2003-present)
   §Reviewer-Proceedings of the National Academy of Sciences (2004-present)
   §Reviewer-Mitochondrion (2004-present)
   §Reviewer-Molecular Nutrition and Food Research (2005-present)
   §Reviewer-Pattern Recognition Letters (2006-present)
   §Reviewer-PLOS-Genetics (2006-present)
   §Reviewer-Physiological Genomics (2008-present)
   §Reviewer-Genome Biology (2008-present)


   Extramural-Editorial
   ­ Member, Editorial Board- Journal of the American Informatics Association (2005-2007)

   Extramural-Grant Study Section
   §Reviewer- Alzheimer’s Association (2002-present).
   §NIDDK study section ZDK1 GRB-6 “Digestive Disease Research Development Centers”
    December 2002.
   §NIDDK study section ZDK1 GRB-6 “Digestive Disease Research Development Centers” April
    2004.
   §NCI study section ZCA1 SRRB-C “Innovative Technologies for the Detection of Cancer” July
    2004.
   §NLM special study section-P41 Biomedical Informatics Resource Grants, April 2005.
   §NLM special emphasis panel ZLM1 HS RO1, July 2005
   §NIH CSR shared equipment study section ZRG1 GGG-T (30, 31), November 2005.
   §DOD Ovarian Cancer Review Panel OC-2, August 2006
   §NIH Special Emphasis Panel ZRG1 GGG-T Genomics and Genetics Shared Instrumentation,
    October 2006.
   §NCI study section ZCA1 SRRB-U Development of Advanced Genomic Characterization
    Technologies, November 2006.
   §NIDDK DK-06-017 “Silvio O. Conte Digestive Diseases Research Core Centers P30”, June
    2007.
   §NIH Special Emphasis Panel ZRG1 GGG-A (30) - S10s genomics and proteomics shared
    instrumentation, July 2007.
   §NIH Special Emphasis Panel ZRG1 GGG-B (30) - S10s genomics and proteomics shared
    instrumentation, September 2008.
   §NIAAA Special Review Panel ZAA1-GG-01, November 2008
   §NIH Special Emphasis Panel ZRG1 GGG-A (30) – Genes Genomes and Genetics
    instrumentation, October 2010.
   §NIH Study Section 2011/05 GHD-Genetics of Health and Disease Study Section, February
    2011.
   §NIGRI Study Section 2012/05 ZHG1 HGR-P (M1) 1-H3 AFRICA Initiative, March 2012.


   Extramural-Other Review


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   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service-Microarray Facilities for the Vermont Genetics Network. April 2002.
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service-External Review of the Michigan Core Technology Alliance. April 2003.
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service-External Review of the Michigan Core Technology Alliance. April 2004.
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service-External Review of the Rhode Island EPScOR. January 2007.
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service-External Review of the Rhode Island EPScOR. March 2008.
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service- Review of Washington State Life Sciences Discovery Fund June 2008.
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service- Review of Missouri Life Sciences Research Board October 2008
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service-External Review of the Rhode Island EPScOR. June 2009.
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service-External Review of the Rhode Island EPScOR. May 2010.
   §Reviewer, American Association for the Advancement of Science Research Competitive
    Service-External Review of the Rhode Island EPScOR. September 2011.


   Extramural-Advisory
   §Member, Scientific Advisory Board, NuGen Technologies, Inc, San Carlos, CA, October 2003-
    December 2010.
   §Member, Scientific Advisory Board, Genome Quebec Innovation Centre, Montreal, Quebec,
    2008-2011.
   §Member, Scientific Advisory Board, Genomic Explorations Inc, Memphis, TN, 2006-present.
   §Member, Scientific Advisory Board, Rubicon Genomics, Ann Arbor, MI 2013-present.
   §Chairman, Scientific Advisory Board, RainDance Technologies (BioRad), Billerica, MA 2015-
    present.


   Honors and Awards
   §Scholar Athlete, University of New Hampshire, 1993-1994.
   §Dean’s list, University of New Hampshire, 1992-1994.
   §Career Development Award, SPORE in Gastrointestinal Cancer 2004-2005
   §Co-Chair, Genomics Working Group of the American Medical Informatics Association 2006-
    2007.

   Teaching Activities

   Graduate School Courses as Course Director
   BMIF 310-Foundations of Bioinformatics and Computational Biology, 28 lectures, Spring 2004
   BMIF 311-Introduction to Systems Biology, 28 lectures, Spring 2009. This course was a newly
   developed course for 2009.

   Graduate School Courses as Lecturer
   MPB 322-Regulation of Gene Expression, 3 lectures, Spring 2002
   MPB 322-Regulation of Gene Expression, 2 lectures, Spring 2003
   MPB 322-Regulation of Gene Expression, 3 lectures, Spring 2004


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   IGP 301-Methodology, 1 lecture, Fall 2004
   IGP 301-Methodology, 1 lecture, Fall 2005
   IGP 301-Methodology, 1 lecture, Fall 2006
   MIM 351-Functional Genomics and Proteomics, 2 lectures, Spring 2006
   BMIF 310-Foundations of Bioinformatics and Computational Biology, 7 lectures, Fall 2007
   BMIF 310-Foundations of Bioinformatics and Computational Biology, 7 lectures, Fall 2008
   BMIF 310-Foundations of Bioinformatics and Computational Biology, 4 lectures, Fall 2009
   BMIF 310-Foundations of Bioinformatics and Computational Biology, 4 lectures, Fall 2010
   BMIF 310-Foundations of Bioinformatics and Computational Biology, 1 lecture, Fall 2011

   Research Supervision

   Ph.D. Thesis Committee Member
   Stephen VonStetina-Vanderbilt University (2001-2005)
   Laura Wilding-Vanderbilt University (2003-2007)
   Alex Statnikov-Vanderbilt University (2005-2008)
   Alisha Russell-Vanderbilt University (2006-2010)
   Mawuli Nyaku-University of Alabama-Birmingham (2010-2014)

   M.S. Thesis Committee Member
   Alex Statnikov (2003-2005)
   Joel Parker (2000-2002)

   Student Mentorship
   Shristi Shrestha, PhD student (2014-present)
   Nripesh Prasad, PhD student (2010-2014)
   Sidd Pratrap MS student (2005-2007)
   Current position: Director of Bioinformatics, Meharry Medical College, Nashville, TN

   Fellow Mentorship
   Lewis Frey, PhD (2004-2006)
   Current position: Assistant Professor, Department of Biomedical Informatics, University of Utah, Salt Lake
   City, UT.

   Patents Awarded

   Multiplex spatial profiling of gene expression
   US 7,569,392 B2


   Research Support

   ACTIVE

   NIH RFA-HG-16-011 (Cooper/Barsh/Korf)  06/01/2017 – 05/31/2021                   0.60 calendar months
                                                 $2,840,944
   Clinical sequencing across communities in the Deep South
   This proposal outlines an important study to apply WGS to diagnose neonates with rare
   disorders, increase participation of individuals from underrepresented racial/ethnic groups in
   genomics clinical trials, provide educational materials appropriate to diverse audiences, equip
   non-genetics healthcare providers to return WGS results, assess the impact of WGS testing and


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   results, and engage a broad community to implement safer, more effective, and more equitably
   distributed genomic medicine.

   1U24HD090744-01 (Levy/Zhang)           09/23/2016 – 06/30/2019   2.40 calendar months
   NIH/NICHD                              $6,212,400
   Characterizing pediatric genomes through an optimized sequencing approach
   Understanding the fundamental genetic changes associated with structural birth defects and
   childhood cancers is an important step in developing tools to allow more advanced prediction,
   treatment and prevention of these devastating conditions. We propose to combine the resources
   of two world-class centers to support researchers in their investigations of the genetics of birth
   defects and childhood cancers. This centralized resource will provide researchers with the tools
   and support necessary to advance our understanding and drive us closer to curing or preventing
   these diseases.
   5UL1TR001417-02 (Kimberly)               08/18/2015 - 03/31/2019          0.60 calendar months
   NIH/NCATS                                       $83,644
   UAB Center for Clinical and Translational Science (CCTS)
   The UAB CCTS will enhance human health by driving scientific discovery and dialogue across
   the bench, bedside and community continuum. The CCTS support this overall mission in a highly
   integrative network of relationships. Success in creating such an environment is dependent upon
   success in achieving five strategic priorities: 1) enhancing research infrastructure; 2) promoting
   investigator education, training and development; 3) accelerating discovery across the T1
   interface; 4) expanding value-added partnerships; and 5) building sustainability.
   HHSN2722012000231 (Creech)          09/01/2015 – 09/30/2018 0.24 calendar months
   NIH/NIAID                                  $555,660
   Influenza A/H7N9 Vaccine Administered with/without AS03 Adjuvant: Standard and
   Systems Biology
   HudsonAlpha will receive human RNA samples from Vanderbilt University Medical Center. RNA-
   sequencing will be performed per specifications provided in the clinical protocol and clarified in
   the manual of procedures. We will perform all necessary experiments, including quality control
   assays. Once sequencing data are obtained, these FastQ/BAM files will be transferred to
   Vanderbilt University Medical Center and to the DMID Statistics and Data Coordinating Center
   (SDCC) for data analysis.
   HHSN2722012000231 (Creech)                  09/01/2015 – 09/30/2018       0.24 calendar months
   NIH/NIAID                                          $56,630
   Sub-study for DMID 10-0074
   HudsonAlpha will receive human RNA samples from Vanderbilt University Medical Center. RNA-
   sequencing will be performed per specifications provided in the clinical protocol and clarified in
   the manual of procedures. We will perform all necessary experiments, including quality control
   assays. Once sequencing data are obtained, these FastQ/BAM files will be transferred to
   Vanderbilt University Medical Center and to the DMID Statistics and Data Coordinating Center
   (SDCC) for data analysis.

   6U19CA179514-05 (Coffey)              09/01/2013 - 08/31/2018    0.24 calendar months
   NIH/NCI                                      $39,254
   Secreted RNA during CRC progression biogenesis function and clinical markers
   Dr. Levy’s laboratory will fully support RNA sequencing on 48-74 samples per year prepared
   from either total RNA or microRNA at the HudsonAlpha Institute for Biotechnology. Dr. Levy’s
   laboratory will provide all required reagents, personnel and basic analysis support for the


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   proposed sequencing studies during years 1-5 of the project period.
   5U01MH105653-03 (Boehnke)           09/19/2014 - 05/31/2018     0.60 calendar months
   NIH/NIMH                                   $23,557
   Whole Genome Sequencing for Schizophrenia and Bipolar Disorder in the GPC
   Dr. Levy will participate in weekly conference calls and several yearly face-to-face meetings to
   help make this project successful. Any new improvements in sequencing technology, data
   analysis and data interpretation that are developed and/or applied at HudsonAlpha will be made
   immediately available to this project.
   3P30CA013145-44S4 (Partridge)       04/01/2017 – 03/31/2018                 0.60 calendar months
   NIH/NCI                                    $113,863
   Comprehensive Cancer Center Core Support Grant
   Dr. Myers, President and Science Director of HudsonAlpha Institute for Biotechnology, will be
   part of the director’s council. The director’s council meets on a monthly basis to advise the
   director on all major decisions regarding the UAB-CCC, its organization, planning and evaluation
   and to approve new developmental research programs and review program leaderships. In
   addition, Dr. Myers will co-lead UAB-CCC’s Experimental Therapeutics program. Drs. Absher
   and Levy will be co-leaders of the Cancer Cell Biology Program and Cancer Control & Population
   Sciences Program. Dr. Cooper is an Associate Scientist in Experimental Therapeutics program.
   They will consult investigators in study design and analysis related to genomic data.

   4UM1HG007301-04 (Cooper/Myers)         06/14/2013-05/31/2018(NCE)0.60 calendar months
   NIH/NHGRI                                     $1,536,927
   Genomic Diagnosis in Children with Developmental Delay
   The goal of this project is to address technological, analytical, and ethical challenges that prevent
   optimal use of DNA sequencing to improve treatment of diseases and life planning for patients
   and their families. We are applying next-generation DNA sequencing to meet the diagnostic
   needs of children with developmental delay, intellectual disability and related health problems.
   Genomic Services Lab Director                                               4.80 calendar months
   In addition to the projects listed above, Dr. Levy, as the Director of the Genomic Services
   Laboratory (GSL), is involved in the development and application of genomic and bioinformatic
   technologies and methods to support scientific research. These activities, along with fee-for-
   service projects, change often making it difficult to assign a precise percent effort to individual
   projects. Dr. Levy has reviewed his GSL obligations and confirms that the aggregate effort on all
   GSL projects at any given time does not exceed 40% (4.80 calendar months) of institutional
   effort.

   PENDING




   COMPLETED

   US MED Research ACQ Activity (PI: Richard M. Myers)
   9/16/10 - 8/31/15
   Direct Costs for current year: $2,150,777
   Shawn E. Levy effort: 33% effort [4.0 cal. mos.]
   Title: Global genomic analysis of prostate, breast and pancreatic cancer



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   The goals of this study are to provide an unprecedented comprehensive view of the molecular
   pathogenesis of prostate, breast, and pancreatic cancer, as well as the differential response to
   treatments in breast cancer. We will use next-generation DNA sequencing to measure mRNA,
   microRNA, DNA methylation, DNase hypersensitivity sites, histone modifications, and sites of
   transcription factor occupancy in tumors and matched non-tumor tissues for these three cancers.
   No budgetary or scientific overlap.
   Role: Co-investigator

   NIH (PIs of Collaborative R01: Richard M. Myers and Michael Boehnke)
   8/30/11 - 6/30/14
   Direct costs for current year for HudsonAlpha portion: $1,855,348
   Shawn E. Levy effort: 20% [2.4 cal. mos.]
   Title: Whole Genome and Exome Sequencing for Bipolar Disorder
   In this collaborative R01 grant, performed jointly with Dr. Michael Boehnke and colleagues at the
   University of Michigan, we are performing a detailed genetic analysis of bipolar disorder. We are
   using ultrahigh-throughput sequencing to determine the deep whole genome sequences from
   1,000 individuals with bipolar disorder and 1,000 control individuals without the disorder.

   NIH/NIAMS 1 R01 AR057202 (PI: Louis Bridges)
   4/1/09 - 3/31/14
   Direct Costs for current year for Myers/Absher portion: $298,704
   Shawn E. Levy effort: 5% effort [0.60 cal mos.]
   Title: Genome Wide Association Study in African-Americans with Rheumatoid Arthritis
   In this study, the Myers lab and Devin Absher and his lab at HudsonAlpha are collaborating with
   Dr. Lou Bridges and his colleagues at the School of Medicine at the University of Alabama in
   Birmingham to perform a genome-wide genetic association study of rheumatoid arthritis in
   African Americans. No budgetary or scientific overlap.
   Role: Co-investigator

   NHGRI P50 HG02568 (PI: David Kingsley)
   4/19/02 - 5/31/12
   Direct costs for current year: $701,981
   Shawn E. Levy effort: 10% effort [1.2 cal. mos.]
   Title: Center for Vertebrate Diversity
   The continuation of this Center of Excellence in Genome Science (CEGS) has broad goals to
   understand the genetic basis for the striking biological diversity seen in vertebrate animals. We
   use genetics, genomics, molecular biology and computational tools to study this problem,
   focusing on the three-spined stickleback fish. HudsonAlpha performs many of the genomic
   experiments for this project, including genomic DNA sequencing, cDNA sequencing, BAC map
   construction, and genotyping.
   Role: Co-investigator

   5 U54 HG004576-03 (Myers)                  10/01/2007 – 09/30/2011               1.20 calendar
   NIH/NHGRI                                                                        $3,985,643
   “Global Annotation of Regulatory Elements in the Human Genome”

   This project, which is a collaboration between the Myers group at HudsonAlpha and Barbara
   Wold’s group at Caltech, along with contributions from Wing Wong, Arend Sidow, Serafim
   Batzoglou and Gavin Sherlock at Stanford, is part of the ENCODE Project, whose goals are to
   identify and understand the roles of all the functional elements throughout the entire human


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   genome. Our contributions are to identify transcription factor binding sites, assess the
   methylation status and measure RNAs with next-gen sequencing.
   Role: Co-investigator

   1 RC1 DK086594-01 (Southard-Smith)
   09/30/2009 – 09/29/2011                                0.60 calendar months
   NIH                                                    $240,970
   “Gene Networks in Neutral Crest-derived Innervation of the Lower Urinary Tract”
   The studies proposed aim to identify essential genes that control development of nerves in the
   lower urinary tract that regulate bladder control and sexual function. These studies are important
   for understanding how these nerves normally develop and for deriving technologies that will
   restore neural function in urogenital birth defects or after pelvic surgery. This proposal is in
   response to the broad Challenge grant area of Regenerative medicine and meets multiple needs
   for basic research in development lower urinary tract innervation.
   Role: Co-investigator


   5 P30 CA68485-13 (Pietenpol)
   09/28/2004 - 08/31/2009                               1.80 calendar months
   NIH/NCI                                               $3,553,801
   “Cancer Center Support Grant”
   As part of the Vanderbilt Ingram Cancer Center’s support grant, the goal of the Microarray Core
   is to provide genome-scale expression profiling technologies as well as analysis and informatics
   support to researchers who are members of the center.

   5 P30DK058404-07 (Polk)
   08/30/2007 - 05/31/2012                            1.20 calendar months
   NIH/NIDDK                                          $727,500
   “Molecular and Cellular Basis of Digestive Diseases”
   As part of a center grant, the goal of the Microarray Core in the Vanderbilt Digestive Diseases
   Center is to provide support for the use of genome-scale expression profiling technologies to
   researchers involved in digestive disease-related research.
   Role: Core Leader

   5 P60 DK20593-31 (Powers)
   06/01/2007 - 03/31/2012                               0.24 calendar months
   NIH/NIDDK                                             $1,487,659
   “Diabetes Research and Training Center”
   As part of a center grant, the goal of the Microarray and Bioinformatics Core in the Diabetes
   Research and Training Center is to provide support for the use of genome-scale expression
   profiling technologies to researchers involved in DRTC-related research.
   Role: Core Leader

   2 R01 CA064277-10A1 (Zheng)
   08/05/2008 - 05/31/2013                               0.24 calendar months
   NIH/NCI                                               $324,917
   “Shanghai Breast Cancer Study”




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   This proposal is aimed at the development of novel algorithms for the analysis of high-
   dimensionality data towards to the discovery of causal markers and mechanisms.
   Role: Co-investigator

   5 U24 DK58749-03 (George)
   09/30/00 - 08/31/03                                  1.2 calendar months
   NIH/NIDDK
   Vanderbilt NIDDK Biotechnology Center
   Purpose: The goal of this proposal was the establishment of a Biotechnology Center for the
   support of genomic studies of interest to investigators funded by the NIDDK. Microarray
   technologies and related informatics were central to the efforts.
   Role: Co-investigator

   VUMC Discovery Grant 540 (Levy)
   01/01/02 - 12/31/03                                   1.2 calendar months
   VUMC Internal Grant                                   $50,000
   Gene Expression Analysis of Colon Cancer
   The goal of this proposal was the development of an integrated RNA and protein expression
   profile for colon cancer utilizing microarray and high-resolution protein profiling technologies.
   These profiles were useful in designing and developing both technological and informatic
   platforms for the combined analysis of protein and genetic profiles of cancer.
   Role: Principle Investigator

   ACS IRG-58-009-46 (Levy)                     07/01/03 - 06/30/04
   ACS/VICC
   Simultaneous profiling of protein and RNA expression by mass spectrometry in intact tissue
   sections.
   The goal of this proposal is to develop a novel technology platform that facilitates the
   simultaneous profiling of protein and RNA species in intact tissue samples while reporting spatial
   position. This will provide an unprecedented resolution to examine the biology of tumor samples
   and host-tumor interactions.
   Role: Principle Investigator

   1 R21 NS043581-01A1 (McDonald)
   12/01/02 - 11/30/04
   NIH/NINDS
   Gene Discovery in a Putative Mouse Model of ADHD
   In this proposal, microarray technology will be used to examine differential gene expression in
   the mouse model of ADHD, providing a rare opportunity to discover genes downstream of TRß
   activity that are able to produce all of the core symptoms and many adjunct features of ADHD.
   Role: Co-investigator

   1 U01 DK063587-01 (Hayward)
   09/30/02 - 06/30/05
   NIH/NIDDK
   Genetic Markers of Transition Zone Hyperplasia
   The goals of this proposal are the identification of biomarkers for prostate hyperplasia through
   the use of high-density microarray studies on novel models of prostate disease.
   Role: Co-investigator




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   W81XWH-04-1-0626 (Levy S)
   07/15/04-07/14/06
   Department of Defense
   Simultaneous profiling of protein and RNA expression by mass spectrometry in intact breast
   tissue sections.
   The goal of this proposal is to continue the development of a novel technology platform that
   facilitates the simultaneous profiling of protein and RNA species in intact tissue samples while
   reporting spatial position. This proposal will specifically fund the optimization of this technology
   for the analysis of breast tissue samples.
   Role: Principle Investigator

   5 P01 HL6744-04 (Hawiger J)
   12/01/01-11/30/06
   NIH/NHLBI
   Functional Genomics of Inflammation
   As part of a Program Project Grant, the goal of the Microarray Core in the Functional Genomics
   of Inflammation program project is to provide genome-scale expression profiling technologies to
   researchers involved in the program.
   Role: Core Leader

   1 R01 DK068261-01 (Nagy T)
   07/01/04-06/30/07
   NIH/NIDDK (subcontract with UT)
   Antipsychotic Drug-induced Weight Gain
   The goal of this study is to understand the actions of antipsychotic drugs as they alter body
   weight. In this short subcontract with the University of Alabama, an animal model system used
   to study the molecular effects of selected drugs will be analyzed using genomic profiling
   techniques.
   Role: Principal Investigator-subcontract

   5 P60 DK20593-27 (Powers A)
   07/20/02-03/31/07
   NIH/NIDDK
   Diabetes Research and Training Center-Microarray and Bioinformatics Core
   As part of a center grant, the goal of the Microarray Core in the Diabetes Research and Training
   Center is to provide support for the use of genome-scale expression profiling technologies to
   researchers involved in DRTC-related research.
   Role: Core Leader

   5 P50 CA95103-04 (Coffey RJ)
   09/24/02-04/30/07
   NIH/NCI
   SPORE in GI Cancer
   This study will investigate the molecular features of tumors in GI cancer and provide full support
   for genomic profiling projects as part of the overall SPORE program.
   Role: Core Leader

   U24 CA126563 (Myers)
   09/28/06 – 08/31/10
   NIH/NCI
   “The HudsonAlpha Cancer Genome Characterization Center


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   We are characterizing tumors and matched non-tumor samples for copy number variations
   throughout the human genome as part of The Cancer Genome Atlas project, a trans-NIH
   initiative aimed at learning all the genetic and genomic changes associated with cancer. We use
   a whole-genome genotyping method to assay more than 1 million SNPs throughout the genome.
   Role: Co-investigator

   1 RC1 HL100016-01 (Schey)
   09/30/09 – 09/29/11
   NIH-ARRA Funding
   “Proteome and Transcriptome Markers of Hypertension in Urine and Plasma Exosomes”
   The goal of the proposed research is to develop a novel method for discovery of molecular
   markers of disease that circumvents existing obstacles. Through analysis of proteins and RNA
   found in lipid particles isolated from blood and urine, new markers of disease will be discovered
   that improve diagnosis, prognosis, and prediction of response to therapy; that is, improve
   personalized medicine. The new methodology will be applied to reveal biomarkers of salt-
   sensitivity and therapeutic response in hypertensive subjects.
   Role: Co-investigator


   Publications

   162 peer-reviewed publications with a total of 23,891 citations (as of October 2018).

          A full publication and patent listing can be accessed via a public Google Scholar profile at:
          http://scholar.google.com/citations?user=xeKJAZ0AAAAJ
          As well as at NCBI:
          http://www.ncbi.nlm.nih.gov/sites/myncbi/1BODvQqGn4iAa/bibliography/43127950/public/


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                          Exhibit B
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    Depositions

    Deposition of Alice M. Blount in Gail Lucille Ingham, et al. v. Johnson & Johnson, et al.

    Depositions of John Hopkins (Aug 16 and 17, 2018; Oct 26, 2018; Nov 5, 2018)
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    Deposition of Julie Pier (Sept. 12 and 13, 2018)


    Expert Reports

    Expert Report of Michael Crowley, PhD (Nov. 15, 2018)

    Expert Report of William E. Longo, PhD and Mark W. Rigler PhD (Nov. 14, 2018)

    Expert Report of William E. Longo, PhD and Mark W. Rigler PhD. Analysis of J&J Baby
         Powder & Valiant Shower to Shower Talc Products for Amphibole (Tremolite) Asbestos
         Expert Report. August 2, 2017.

    Expert Report of William E. Longo, PhD and Mark W. Rigler PhD. TEM Analysis of
         Historical 1978 Johnson’s Baby Powder Sample for Amphibole Asbestos . February 16,
         2018.


    Documents Produced

    JNJ 000018679-90
    JNJTALC000864509-732
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                         Exhibit 16
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                                 Shawn Levy, Ph.D.

                                                                         Page 1
                            IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF NEW JERSEY


             _______________________________________________________

             IN RE: JOHNSON & JOHNSON
             TALCUM POWDER PRODUCTS
             MARKETING, SALES PRACTICES,
             AND PRODUCTS LIABILITY
             LITIGATION
                                               Case No. 16-2738
             THIS DOCUMENT RELATES TO           (FLW)   (LHG)
             ALL CASES

             MDL Docket No. 2738
             _______________________________________________________


                                  Friday, January 11, 2019

                                           - - - - -



                            The video deposition of SHAWN LEVY, Ph.D.,

                            taken pursuant to notice, was held at the

                            Embassy Suites Huntsville, 850 Monroe Street

                            S.W., Huntsville, Alabama, commencing at

                            approximately 9:04 a.m., on the above date,

                            before Lois Anne Robinson, Registered Diplomate

                            Reporter, Certified Realtime Reporter, and

                            Notary Public for the State of Alabama.




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         1             APPEARANCES                                 1                    INDEX
         2   COUNSEL FOR PLAINTIFFS' STEERING COMMITTEE:
         3        BEASLEY ALLEN, P.C.
                                                                   2   EXAMINATION                               PAGE
                  218 Commerce Street                              3
         4        Montgomery, Alabama 36104
                  BY: P. LEIGH O'DELL, Esquire                     4   By Ms. Brown                          7
         5           Leigh.odell@beasleyallen.com                  5   By Mr. Ferguson                       307
                     JENNIFER K. EMMEL, ESQUIRE
         6           Jennifer.emmel@beasleyallen.com               6   By Ms. O'Dell                      357
         7        BURNS CHAREST, LLP                               7   By Ms. Brown                        372
                  900 Jackson Street, Suite 500
         8        Dallas, Texas 75202                              8   By Ms. O'Dell                      389
                  BY: MARTIN D. BARRIE, J.D., Ph.D.                9
         9           Mbarrie@burnscharest.com
        10        NAPOLI SHKOLNIK PLLC                            10                   ******
                  400 Broadhollow Road, Suite 305                 11
        11        Melville, New York 11747
                  BY: ALASTAIR J. M. FINDEIS, ESQUIRE             12   EXHIBITS
        12           Afindeis@napolilaw.com
        13   FOR THE DEFENDANT, JOHNSON & JOHNSON:
                                                                  13   Deposition Exhibit Number 1                  14
        14        WEIL, GOTSHAL & MANGES, LLP                     14    Notice of Deposition
                  17 Hulfish Street, Suite 201
        15        Princeton, NJ 08542-3792                        15   Deposition Exhibit Number 2                  33
                  BY: ALLISON M. BROWN, ESQUIRE                   16    Levy expert report
        16           Allison.brown@weil.com
        17        WEIL, GOTSHAL & MANGES, LLP                     17   Deposition Exhibit Number 3                  16
                  767 Fifth Avenue                                18    Levy invoices of 5/2/18 and 1/8/19
        18        New York, New York 10153-0119
                  BY: ALEXIS KELLERT, ESQUIRE                     19   Deposition Exhibit Number 4                  19
        19           Alexis.kellert@weil.com                      20    Government of Canada document regarding draft screening
        20        SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
                  4 Times Square                                  21    assessment of talc
        21        New York, New York 10036                        22   Deposition Exhibit Number 5                  21
                  BY: Benjamin Halperin, Esquire
        22           Benjamin.halperin@skadden.com                23    Government of Canada document regarding potential risk of
        23
        24                                                        24    lung effects and ovarian cancer from talc


                                                         Page 3                                                           Page 5
         1         A P P E A R A N C E S - (continued)             1               I N D E X - (Continued)
         2
             FOR THE DEFENDANT, IMERYS TALC AMERICA:
                                                                   2   Deposition Exhibit Number 6                  23
         3                                                         3    Draft manuscript regarding systematic review and
                  GORDON & REES SCULLY MANSUKHANI, LLP
         4        816 Congress Avenue, Suite 1510
                                                                   4    meta-analysis of the association between perineal use of talc
                  Austin, Texas 78701                              5    and risk of ovarian cancer
         5        BY: KENNETH J. FERGUSON, ESQUIRE
                    Kferguson@gordonrees.com
                                                                   6   Deposition Exhibit Number 7                  30
         6                                                         7    Hamilton article
         7   COUNSEL FOR PTI:
         8       TUCKER ELLIS, LLP
                                                                   8   Deposition Exhibit Number 8                  49
                 233 S. Wacker Drive, Suite 6950                   9    Judith Zelikoff expert report
         9       Chicago, Illinois 60606-9997
                 BY: JAMES W. MIZGALA, ESQUIRE
                                                                  10   Deposition Exhibit Number 9                  59
        10         James.mizgala@tuckerellis.com                  11    Mayo Clinic website article entitled "Cancer"
        11
             COUNSEL FOR PERSONAL CARE PRODUCTS COUNCIL:
                                                                  12   Deposition Exhibit Number 10                 72
        12                                                        13    Wikipedia page
                  SEYFARTH SHAW LLP
        13        975 F Street N.W.
                                                                  14   Deposition Exhibit Number 11                 75
                  Washington, D.C. 20004-1454                     15    Coussens and Werb article
        14        BY: RENÉE B. APPEL, ESQUIRE
                    Rappel@seyfarth.com
                                                                  16   Deposition Exhibit Number 12                 82
        15                                                        17    Preprint manuscript of "Molecular Basis Supporting the
        16
        17                                                        18    Association of Talcum Powder Use With Increased Risk of
        18   VIDEOGRAPHER:                                        19    Ovarian Cancer"
                  JULIE ROBINSON
        19                                                        20   Deposition Exhibit Number 13                 82
        20                                                        21    December 26 Email to Dr. Saed
        21
                  LOIS ANNE ROBINSON, RPR, RDR, CRR               22   Deposition Exhibit Number 14                 142
        22        COURT REPORTER                                  23    "Evaluating Biological Plausibility in Supporting Evidence
        23
        24                                                        24    For Action Through Systematic Reviews in Public Health"


                                                                                             2 (Pages 2 to 5)
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         1                I N D E X - (continued)                              1   A       Good morning.
         2   Deposition Exhibit Number 15            190                       2   Q       My name is Alli Brown. I represent
         3    NTP study                                                        3   Johnson & Johnson, and I'll start with some
         4   Deposition Exhibit Number 16            192                       4   questions for you here today.
         5    2014 Citizens Petition to FDA                                    5          Dr. Levy, have you ever been deposed
         6   Deposition Exhibit Number 17            208                       6   before?
         7    Buz'Zard study                                                   7   A       Yes.
         8   Deposition Exhibit Number 18            218                       8   Q       And tell me, how many times?
         9    "Perineal Talc Use and Ovarian Cancer," by Ross Penninkilampi    9   A       In a setting like this, once.
        10   Deposition Exhibit Number 19            249                      10   Q       Okay. What was the nature of that
        11    Heller article                                                  11   deposition?
        12   Deposition Exhibit Number 20            270                      12   A       It was a patent litigation case.
        13    Merritt paper - "Talcum Powder Chronic Pelvic Inflammation      13   Q       Were you serving as an expert witness
        14    and NSAIDs in Relation to the Risk of Epithelial Ovarian        14   in that case?
        15    Cancer"                                                         15   A       I was.
        16   Deposition Exhibit Number 21            326                      16   Q       Were you hired by the plaintiffs or the
        17    Nunes article                                                   17   defendants?
        18   Deposition Exhibit Number 22            367                      18   A       The plaintiffs.
        19    Park article                                                    19   Q       And, just generally, what were the
        20                                                                    20   issues in that case?
        21                                                                    21   A       It was entirely focused on evaluation
        22                                                                    22   of prior art in the genomic space.
        23                                                                    23   Q       And any time --
        24                                                                    24          And do you remember the name of that

                                                                Page 7                                                   Page 9
         1    VIDEOGRAPHER:                                                    1   case, by the way?
         2            We are now on the record. My name is                     2   A       I don't. It was, gosh, twelve years
         3    Julie Robinson. I'm a videographer representing                  3   ago or so.
         4    Golkow Litigation Services.                                      4   Q       I see.
         5            Today's date is January 11th, 2019, and                  5          Did that case go to trial?
         6    the time is 9:04 a.m.                                            6   A       Not that I'm aware of.
         7            This video deposition is being held in                   7   Q       Have you ever testified at trial?
         8    Huntsville, Alabama, in the matter of                            8   A       I have not.
         9    Johnson & Johnson Talcum Power Product Marketing,                9   Q       Okay. And other than that one patent
        10    Sales Practices, and Products Liability                         10   case you just described for us, were there other
        11    Litigation, MDL Docket Number 2738.                             11   depositions that you've given?
        12            The deponent is Dr. Shawn Levy.                         12   A       No.
        13            Counsel will be noted on the                            13   Q       And I think, when you started to answer
        14    stenographic record.                                            14   the question in the beginning, you said "in a
        15            The court reporter is Lois Robinson,                    15   setting like this." Is there another time, in
        16    who will now swear in the witness.                              16   your mind, where you've given testimony under
        17               SHAWN LEVY, Ph.D.,                                   17   oath?
        18           the witness, after having first been                     18   A       No, not under oath. That's why I
        19    duly sworn to tell the truth, the whole truth,                  19   was --
        20    and nothing but the truth, was examined and                     20          So I've had a number of meetings, all
        21    testified as follows:                                           21   limited to the patent space of mainly prior art
        22                  EXAMINATION                                       22   discussions, where there's been representatives
        23    BY MS. BROWN:                                                   23   from both sides where we were having a
        24    Q        Good morning, Dr. Levy.                                24   discussion. But it wasn't a formal deposition


                                                                                                  3 (Pages 6 to 9)
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         1   with a court reporter, under oath, et cetera.       1   with.
         2   Q       Understood.                                 2   Q        Okay. In front of you is the
         3          So this would then be the second time        3   plaintiffs' lawyer's laptop. Is that right?
         4   you've been deposed in a setting like this.         4   A        That's right.
         5   A       Correct.                                    5   Q        Okay. And what is contained on the
         6   Q       Is that fair?                               6   plaintiffs' lawyer's laptop?
         7          Okay. So a few ground rules that you         7   MS. O'DELL:
         8   may already be familiar with from your prior        8          I think I'd probably be better to speak
         9   experience. First, we'll try not to speak over      9   to it.
        10   each other. Is that fair?                          10   MS. BROWN:
        11   A       That's fair.                               11          No, no. Let's get it from the witness,
        12   Q       That way, our court reporter can get       12   and then if you want to make a statement for the
        13   down all my questions and all your answers.        13   record, of course.
        14   Okay?                                              14   Q        Let's -- let's get your understanding
        15   A       (Nods affirmatively.)                      15   of what's on this laptop in front of you.
        16   Q       If you don't understand a question of      16   A        Other than what's on the USB drive that
        17   mine, will you let me know?                        17   I've been using, I -- I don't have any knowledge
        18   A       I will.                                    18   of what's on it.
        19   Q       Okay. Try to verbalize your answers,       19   Q        Okay. Do you know what's on the USB
        20   too, so our court reporter can take them down.     20   drive?
        21   Okay?                                              21   A        I do.
        22   A       Understood.                                22   Q        What's that?
        23   Q       Okay. If you need a break, let me          23   A        It's a collection of literature cited
        24   know, and we'll be happy to accommodate you.       24   in reliance literature list that -- from


                                                  Page 11                                                 Page 13
         1         Do you understand you're under oath           1   my -- from my report.
         2   here today, same as if you were in a court of       2   Q       Did you put together the items that are
         3   law?                                                3   contained on the USB drive that you have in front
         4   A       I do.                                       4   of you?
         5   Q       Okay. I am --                               5   MS. O'DELL:
         6         And, before we get started, Doctor, I         6         Object to the form.
         7   see you have a couple of items in front of you,     7   A       Yes.
         8   and I want to identify what we have for the         8   MS. BROWN:
         9   record.                                             9   Q       Is that your USB drive?
        10         To your right is an iPad that is             10   A       No. I put together the list.
        11   showing the realtime of my questions and your      11         As far as who moved the files and
        12   answers. Will you be using that to assist you in   12   organized the files on the USB, that, I don't
        13   your testimony here today?                         13   know.
        14   A       Yes.                                       14   Q       Okay. Are all of the files on that USB
        15   Q       Okay. In front of you you have a           15   drive documents that you considered in connection
        16   laptop computer.                                   16   with your opinion in this case?
        17   A       (Nods affirmatively.)                      17   A       They are.
        18   Q       Will you be using that to assist you in    18   Q       Any other materials in front of you
        19   your testimony?                                    19   that you'll be using to assist you in your
        20   A       Yes.                                       20   testimony here today?
        21   Q       And tell me, is this your laptop?          21   A       There's a -- I have a hard copy of my
        22   A       It is not.                                 22   report.
        23   Q       Okay. Whose laptop is it?                  23   Q       Did you prepare that hard copy binder?
        24   A       The -- the attorneys I've been working     24   A       No.


                                                                                 4 (Pages 10 to 13)
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         1   Q       Who -- who did?                              1          Thank you.
         2   A       My -- the -- the attorneys I've been         2          -- by marking these, and I'll ask you
         3   working with. So I -- they -- they provided the      3   some questions about what we have.
         4   printout and the nice binder that it's in.           4         (DEPOSITION EXHIBIT NUMBER 3
         5   Q       Okay. Did you, Doctor, make any notes        5          WAS MARKED FOR IDENTIFICATION.)
         6   on the report that you have in front of you?         6   MS. BROWN:
         7   A       No.                                          7   Q       I'll mark as Exhibit 3 to your
         8   Q       Okay. I'm gonna hand you what we have        8   deposition two invoices counsel for plaintiffs
         9   marked as Exhibit 1 to your deposition, which is     9   just handed me, one dated May 2nd, 2018, and the
        10   a notice of your deposition.                        10   other dated January 8th, 2019. And we only have
        11         (DEPOSITION EXHIBIT NUMBER 1                  11   one copy, so let me hand it to you and ask you,
        12          WAS MARKED FOR IDENTIFICATION.)              12   are these invoices that you created, Doctor?
        13   MS. BROWN:                                          13   A       They are.
        14   Q       And I'll ask, is this something that        14   Q       Okay. And I want to take that back for
        15   you have ever seen before?                          15   one second.
        16   A       Yes.                                        16          Looks like the first entry on your
        17   Q       When did you see it?                        17   invoice is dated May 16th, 2017. Does that sound
        18   A       I'd have to review my email, but it was     18   right to you?
        19   some -- sometime ago, some weeks ago.               19   A       That sounds right.
        20   Q       Okay. Have you brought any --               20   Q       When were you first approached about an
        21          And you understand that this Notice of       21   involvement in this case?
        22   Deposition that we've marked as Exhibit 1           22   A       Earlier in 2017.
        23   requests that you bring certain documents with      23   Q       Okay. And who approached you?
        24   you here today?                                     24   A       Leigh and Jennifer. I'd have to verify


                                                  Page 15                                                  Page 17
         1   A        Yes.                                        1   in my email whom I may have heard from first.
         2   Q        Okay.                                       2   Q       Okay. And Leigh and Jennifer are
         3   MS. O'DELL:                                          3   counsel for plaintiffs in this litigation; is
         4          Let me just insert for the record,            4   that right?
         5   we've objected to certain requests contained in      5   A       That's right.
         6   the notice, and objections have been served, and     6   Q       And did they -- had you known them
         7   materials have been brought to this deposition       7   prior to receiving contact early in 2017 --
         8   consistent with those objections.                    8   A       No.
         9   MS. BROWN:                                           9   Q       -- from plaintiffs' lawyers?
        10          And we are in receipt of your                10   A       I -- I did not know them.
        11   objections.                                         11   Q       Did they call you at your place of
        12   Q        And your counsel for the plaintiffs        12   business?
        13   represented that some materials have been brought   13   A       I believe the first contact was email.
        14   to the deposition. Do you have any materials        14   But, ultimately, yes.
        15   with you responsive to this notice?                 15   Q       Okay. And was there any connection,
        16   A        Well --                                    16   meaning did someone refer the plaintiffs' lawyers
        17   MS. O'DELL:                                         17   to you, or do you know?
        18          I'll provide to you invoices that are        18   A       I don't know.
        19   responsive to the Notice, and there are materials   19   Q       Do you have any idea how the
        20   that Dr. Levy has seen since his report was         20   plaintiffs' lawyers found you?
        21   served, and -- and those are copies.                21   A       I do not.
        22   MS. BROWN:                                          22   Q       Okay. It looks like, Doctor, that
        23          Thank you, counsel.                          23   these two invoices have a total of 33 hours.
        24   Q        So, Doctor, let's start --                 24   Does that sound right to you?


                                                                                  5 (Pages 14 to 17)
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         1   A        It does.                                   1          Your report in this case was served in
         2   Q        Looks like something's blacked out on      2   November of 2018; correct?
         3   the second page of the invoices. Do you know        3   A        Correct.
         4   what that is?                                       4   Q        Fair to say, then, that Exhibit 4,
         5   MS. O'DELL:                                         5   which you saw for the first time in December of
         6          I'll just say that redactions were made      6   2018, did not inform the opinions contained in
         7   by counsel. They referenced the subject matter      7   your report?
         8   of conversations between Dr. Levy and counsel,      8   A        That's correct.
         9   and those have been redacted because of work        9   Q        Okay. Did the -- does Exhibit 4
        10   product privilege.                                 10   contain any information regarding chronic
        11   MS. BROWN:                                         11   inflammation as the proposed mechanism of ovarian
        12          Okay.                                       12   cancer induced by talc?
        13   Q        Is it fair, Doctor, that you've spent a   13   A        I don't believe it does. I'd have to
        14   total of 33 hours forming your opinions in this    14   review -- take a look at it to be sure.
        15   case?                                              15   MS. O'DELL:
        16   A        That's fair.                              16          And if you need to look at it, I'm sure
        17   Q        Okay. Do you have any additional          17   counsel will hand it to you.
        18   invoices that you plan to submit to the lawyers    18   MS. BROWN:
        19   for the plaintiffs?                                19   Q        I'm handing you, Doctor --
        20   A        Yes.                                      20   MS. O'DELL:
        21   Q        Okay. And can you ballpark for me how     21          Excuse me. If you need to look at it
        22   much additional time you've spent since the last   22   to answer that question, you may.
        23   entry here, which appears to be December 12th,     23   A        To be sure I'm accurate in my answer,
        24   2018?                                              24   I'd like to take a look at that.


                                                 Page 19                                                  Page 21
         1   A       There's probably another -- not             1   MS. BROWN:
         2   including this morning -- roughly 15 hours.         2   Q      Sure. Sitting here --
         3          Okay. I'll hand you, Doctor, what we         3         Hold on.
         4   have marked as Exhibit 4 to your deposition.        4         Sitting here today, you're not aware if
         5   This is another document counsel for the            5   Exhibit 4 contains any information regarding the
         6   plaintiffs just handed me.                          6   proposed mechanism of chronic inflammation as a
         7         (DEPOSITION EXHIBIT NUMBER 4                  7   cause for ovarian cancer?
         8          WAS MARKED FOR IDENTIFICATION.)              8   MS. O'DELL:
         9   MS. BROWN:                                          9         Object to the question.
        10   Q       Would you identify that for the record,    10         If you need to see the document,
        11   please.                                            11   Doctor, you may ask for it.
        12   A       This is a printed copy from a website      12   A      Yeah. I'm not -- I'm not able to
        13   from the government of Canada discussing their     13   answer it accurately without seeing the document.
        14   draft screening assessment of talc.                14         (DEPOSITION EXHIBIT NUMBER 5
        15   Q       Okay. Is that something you've seen        15         WAS MARKED FOR IDENTIFICATION.)
        16   before today?                                      16   MS. BROWN:
        17   A       Yes.                                       17   Q      Okay. Handing you what we've marked as
        18   Q       When did you see it first?                 18   Exhibit 5, would you tell me what that is,
        19   A       Sometime in December.                      19   Doctor?
        20   Q       Did the lawyers for plaintiffs give it     20   A      This is another document from the
        21   to you?                                            21   government -- government of Canada discussing the
        22   A       They did.                                  22   potential risk of lung effects and ovarian cancer
        23   Q       Okay. Your report in this case --          23   from talc.
        24          Can I have that back?                       24   Q      Is Exhibit 5 a final document, do you


                                                                                 6 (Pages 18 to 21)
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         1   know?                                                1   Q       Does Exhibit 6 contain any information
         2   MS. O'DELL:                                          2   regarding the proposed mechanism of chronic
         3          Object to the form.                           3   inflammation?
         4   A        Yeah. That -- I don't -- I don't have       4   A       It does in reference, I believe. I'm
         5   the information available to answer that             5   reminding myself if -- if it shared the same
         6   accurately.                                          6   materials that I had referenced in my report.
         7   MS. BROWN:                                           7         So, yes, it does.
         8   Q        Have you seen Exhibit 5 prior to this       8   Q       Are you looking at a particular page,
         9   morning?                                             9   Doctor?
        10   A        I have.                                    10   A       I am.
        11   Q        When did you first see Exhibit 5?          11   Q       And would you identify that for the
        12   A        Similar in time to the earlier report      12   record.
        13   or this -- yes. Similar in time to the              13   A       I'm looking at page 23, beginning at
        14   earlier -- to the same document from Exhibit 4.     14   line 220.
        15   Q        To the best of your recollection,          15   Q       And what information does Exhibit 6 at
        16   Doctor, you first saw Exhibit 5 after completing    16   page 23 contain regarding chronic inflammation?
        17   your report in this matter; is that right?          17   A       It discusses inflammation of the
        18   A        That is right.                             18   epithelial ovarian surfaces in animal models and
        19   Q        Fair to say, then, that Exhibit 5 did      19   provides two different references.
        20   not inform the opinions contained in your MDL       20   Q       And were those references information
        21   report?                                             21   you considered in forming your opinions in this
        22   A        That's correct.                            22   case?
        23   Q        Handing you, Doctor, what we've marked     23   A       Let me make sure of that.
        24   as Exhibit 6 to your deposition, another document   24          Yes.

                                                  Page 23                                                  Page 25
         1   counsel provided, counsel for plaintiffs provided    1   Q       And would you state what they are for
         2   in response to your deposition notice.               2   the record, please?
         3         (DEPOSITION EXHIBIT NUMBER 6                   3   A       One reference is T.C. Hamilton, et al.,
         4          WAS MARKED FOR IDENTIFICATION.)               4   The British Journal of Experimental Pathology,
         5   MS. BROWN:                                           5   from 1984.
         6   Q       Would you identify for the record            6          And the other reference is "The
         7   Exhibit 6?                                           7   Pathology of Ovarian" -- "The Pathology of
         8   A       So this is a draft manuscript or             8   Ovarian Cancer Precursors," which is a review of
         9   preprint manuscript that's been submitted for        9   R.E. Scully in the Journal of Cellular
        10   peer review discussing the systematic review and    10   Biochemistry, and that is a supplement from 1995.
        11   meta-analysis of the association between perineal   11   The latter is not referenced in my report.
        12   use of talc and risk of ovarian cancer.             12   Q       Have you reviewed the Scully paper in
        13   Q       Had you seen Exhibit 6 prior to this        13   connection with your opinions in this matter?
        14   morning?                                            14   A       Not specifically, no.
        15   A       Yes.                                        15   Q       You have, however, reviewed the
        16   Q       When did you first see Exhibit 6?           16   Hamilton paper?
        17   A       It was in December as well.                 17   A       Yes.
        18   Q       Exhibit 6 did not inform your opinions      18   Q       You would agree that the Hamilton paper
        19   in this matter. Fair?                               19   does not show inflammation leading to neoplastic
        20   A       They did not inform the content of the      20   changes in animals?
        21   report.                                             21   MS. O'DELL:
        22   Q       Have you reviewed and analyzed Exhibit      22          Object to the form.
        23   6 since December?                                   23   A       I'd have to see the manu- -- or the
        24   A       I have.                                     24   manuscript to answer your specific question


                                                                                  7 (Pages 22 to 25)
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         1   regarding neoplasm.                                  1    MS. O'DELL:
         2   MS. BROWN:                                           2           -- paper in order to answer the
         3   Q        Does the Hamilton paper support your        3    question --
         4   view that chronic inflammation is a plausible        4    MS. BROWN:
         5   mechanism for talc-induced ovarian cancer?           5           Counsel --
         6   A        It supports my opinion that                 6    MS. O'DELL:
         7   inflammation is a component in the progression to    7           -- you may do that.
         8   ovarian cancer.                                      8    MS. BROWN:
         9   Q        Is it your testimony that the Hamilton      9           Counsel, he is absolutely entitled to
        10   paper supports your opinion that chronic            10    get the paper. We're going to do that.
        11   inflammation leads to neoplastic changes?           11    Q        Sitting here today, do you recall --
        12   A        No, not necessarily.                       12    MS. O'DELL:
        13   Q        Okay. Tell me how it is that the           13           But he is not --
        14   Hamilton paper supports your opinion that chronic   14    MS. BROWN:
        15   inflammation can cause ovarian cancer.              15           It's a fair question.
        16   A        Well, the -- so my opinion regarding --    16    MS. O'DELL:
        17   that the role of inflammation in ovarian cancer     17           Is it not a fair question.
        18   is not based on a single study, particularly one    18    MS. BROWN:
        19   that is now approaching or is now over 30 years     19           I'm not gonna --
        20   old.                                                20    MS. O'DELL:
        21   Q        Okay. Does --                              21           He's asking --
        22   A        So it's a -- I reviewed the -- that        22    MS. BROWN:
        23   paper as well as a large number or the totality     23           -- do this with you.
        24   of the available evidence stretching across many    24    MS. O'DELL:

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         1   years to develop the opinion that's represented      1           Yes, you are. If he's asked to see the
         2   in my report.                                        2   paper, he gets to look at the paper. Because
         3   Q       Sure.                                        3   this is not a situation where you can say, "Oh,
         4   A       And to that opinion is -- no one study       4   I'll show it to you later," ask all these
         5   or one singular piece of information is the basis    5   questions, try to get him to answer when he said
         6   of that opinion.                                     6   I want to see the paper and review it. That's
         7   Q       Okay. But, you know, having reviewed         7   the way this works.
         8   Hamilton, that what Hamilton shows is that the       8   MS. BROWN:
         9   inflammation they saw in the animals was not         9   Q        Dr. Levy, can you answer the question
        10   associated with neoplastic changes. Right?          10   without looking at the paper?
        11   MS. O'DELL:                                         11   MS. O'DELL:
        12          Excuse me.                                   12           Would you repeat the question just to
        13          Doctor, if you'd like to -- to pull up       13   make sure we've got it?
        14   Hamilton, you may do that.                          14   MS. BROWN:
        15   MS. BROWN:                                          15           Yes. Would you please keep your
        16   Q       And we'll certainly give you time to do     16   objections to form in accordance with the federal
        17   that, Doctor.                                       17   rules?
        18          Sitting here today, do you recall that       18   MS. O'DELL:
        19   to be the conclusion of Hamilton?                   19           My objections have been in accordance
        20   MS. O'DELL:                                         20   with the federal rules.
        21          Object to the form.                          21   MS. BROWN:
        22          You don't -- if you need to see the --       22   Q        Dr. Levy, my question to you was
        23   MS. BROWN:                                          23   whether the Hamilton paper, the findings of the
        24          Counsel --                                   24   Hamilton paper show that chronic inflammation led


                                                                                  8 (Pages 26 to 29)
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         1   to neoplastic changes. Do you recall that            1   Q        The Hamilton article does not support
         2   question?                                            2   the theory that chronic inflammation leads to
         3   A       I do recall the question.                    3   neoplastic changes in the ovary. Fair?
         4   Q       Can you answer that question without         4   MS. O'DELL:
         5   looking at the paper?                                5          Object to the form.
         6   A       I would need to look at the paper to         6   A        The Hamilton article looked at an
         7   accurately answer your question.                     7   interval of one month, eighteen months, in a rat
         8   Q       Absolutely. Do you have a copy on your       8   model. And, so, in the constraints of that
         9   computer?                                            9   particular experimental design and given the
        10   A       I do.                                       10   state of the art of the technology at the time,
        11   Q       Okay. We'll mark it, so we're all on        11   the authors did not conclude of a significant
        12   the same page, as Exhibit 7.                        12   progression of ovarian cancer. But there's
        13         (DEPOSITION EXHIBIT NUMBER 7                  13   clearly limitations in both their experimental
        14          WAS MARKED FOR IDENTIFICATION.)              14   design and time course of the study to draw wide
        15   MS. BROWN:                                          15   conclusions.
        16   Q       Here's a hard copy, Doctor, if that         16   MS. BROWN:
        17   assists you.                                        17   Q        The conclusions of the Hamilton
        18          Doctor, looking at the Hamilton article      18   article, Dr. Levy, do not support the hypothesis
        19   that you have in front of you, does that refresh    19   that chronic inflammation from talcum powder
        20   you that the authors found no association between   20   causes ovarian cancer. Would you agree?
        21   the talc-induced changes and neoplasm?              21   A        I would not.
        22   A       No. Their -- their conclusions were         22   Q        The authors did not find that the
        23   that the talc-induced changes -- specifically       23   inflammation seen in Hamilton led to neoplastic
        24   fibrosis and the papillary changes -- did not       24   changes. True?

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         1   appear to be a reaction to talc, but they -- I       1   A       The authors did not report observing
         2   don't see the specific inclusion that you asked      2   neoplastic change over the time course of the
         3   in the question regarding neoplasm.                  3   given study.
         4   Q        I'm looking at page 103, Doctor, the        4   Q       Doctor, I'm handing you the report that
         5   first full paragraph that begins "no evidence."      5   you've served in this case, which we'll mark as
         6           You with me?                                 6   Exhibit 2.
         7   A        One moment. "No evidence of cellular,"      7         (DEPOSITION EXHIBIT NUMBER 2
         8   that paragraph?                                      8          WAS MARKED FOR IDENTIFICATION.)
         9   Q        Yes.                                        9   MS. BROWN:
        10           And, for the record, that paragraph         10   Q       And I'd like you to -- I'd like to
        11   reads, "No evidence of cellular atypia or mitotic   11   direct you to page 14. I'd like to direct your
        12   activity was seen in the nonpapillary areas of      12   attention to the last paragraph of -- the last
        13   the surface epithelium of the injected ovaries      13   sentence -- excuse me -- of the second full
        14   and in no ovary was there any evidence of frank     14   paragraph that begins "additional studies."
        15   neoplasia."                                         15          Do you see that sentence, Doctor?
        16           Correct?                                    16   A       What's the beginning of that paragraph
        17   A        It does read that way, yes.                17   so I make sure I'm looking at the right one?
        18   Q        And that was a conclusion of the           18   Q       Sure. I'd like to direct you on page
        19   Hamilton article. Correct?                          19   14 of your report to the second full paragraph
        20   MS. O'DELL:                                         20   that begins "In addition to epidemiologic
        21           Object to the form.                         21   evidence."
        22   A        That was an observation of the Hamilton    22          Do you see that?
        23   article.                                            23   A       I do.
        24   MS. BROWN:                                          24   Q       The last paragraph, or the last


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         1   sentence of that paragraph in your report reads,     1   hypothesis that chronic inflammation leads to
         2   "Additional studies have also shown the effects      2   cancer in animals. Right?
         3   of talc on the immune response."                     3   A       The --
         4          Do you see that sentence?                     4   MS. O'DELL:
         5   A       I do.                                        5          Object to the form.
         6   Q       And you cite the Hamilton article for        6   A       The -- those two references were not
         7   that proposition that we were just reviewing?        7   included in the report to provide the opinion or
         8   A       Uh-huh.                                      8   conclusions that you just described.
         9   Q       True?                                        9   MS. BROWN:
        10   A       True.                                       10   Q       Because you know, Doctor, that there's
        11   Q       And the talc effects on the immune          11   not a single animal study that shows that talc
        12   response that were shown in Hamilton were not       12   causes changes in animals that leads to cancer;
        13   effects that the authors observed led to            13   right?
        14   neoplastic changes. Correct?                        14   MS. O'DELL:
        15   MS. O'DELL:                                         15          Object to the form.
        16          Object to the form.                          16   A       Could you -- could you phrase that
        17   A       I'm sorry. I'm not sure I understand        17   question again? Sorry.
        18   your question.                                      18   MS. BROWN:
        19   MS. BROWN:                                          19   Q       There is not a single animal study,
        20   Q       Sure.                                       20   Doctor, that supports the opinion that chronic
        21   A       Are you asking, if I could clarify, are     21   inflammation caused by talc causes ovarian
        22   you -- are you asking if Hamilton is an             22   cancer. Is that correct?
        23   appropriate reference for the effects of talc on    23   MS. O'DELL:
        24   the immune response or are you asking if            24          Object to the form.

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         1   Hamilton's an appropriate reference for something    1   A       In my review of the literature, there
         2   else?                                                2   are a number of animal studies that support the
         3   Q       In your report, you state that studies,      3   opinions in the report regarding the biological
         4   such as Hamilton, have shown effects of talc on      4   plausibility of talc leading to or contributing
         5   the immune response. Correct?                        5   to neoplastic change.
         6   A       That is correct.                             6   MS. BROWN:
         7   Q       And you said Hamilton as one of the          7   Q       Are you aware of any animal studies,
         8   articles that supports that proposition. True?       8   Doctor, that show talc causing chronic
         9   A       Of the immune response, that's true.         9   inflammation in animals that leads to neoplastic
        10   Q       Okay. The immune response that was          10   or cancerous changes in the animals?
        11   observed in Hamilton was not an immune response     11   MS. O'DELL:
        12   that led to cancer. Right?                          12          Object to the form. Compound.
        13   A       As -- as I stated earlier, on the time      13   A       There is one 1971 study that I'm aware
        14   course of the Hamilton study, the authors did not   14   of. I would have to review to remember the
        15   report specifically to neoplastic change in the     15   author. That was an earlier seminal -- or a
        16   rat or conclude or make that conclusion, nor did    16   earlier study that described the role of talcum
        17   they conclude that that was not a possibility       17   powder and the inflammatory change within the
        18   either.                                             18   ovary.
        19   Q       And on page 14 of your report you have      19   MS. BROWN:
        20   two additional cites for that proposition;          20   Q       Who's the author of that study, Doctor?
        21   correct?                                            21   A       I'm trying to think of where I have
        22   A       Correct.                                    22   that reference.
        23   Q       And you know, Doctor, that neither of       23   Q       Why don't we put that to the side and
        24   those cites, Keskin or NTP, support the             24   at a break we'll see if we can find that article


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         1   and then we can take a look at it. Okay?             1   A       And I have those on the -- available
         2   A       Uh-huh.                                      2   electronically.
         3   Q       Okay. Getting back, then, Doctor, to         3   Q       Okay. Were you provided with completed
         4   what we had marked as Exhibit 6, which is the        4   versions of all the plaintiff experts in the MDL
         5   Taher paper, fair to say you reviewed that paper     5   proceeding?
         6   after your report was submitted in this case?        6   A       I can't speak to whether it was all,
         7   A       Yes.                                         7   but I have been provided with several.
         8   Q       Okay. And did you notice throughout          8   Q       Will you list for me the expert reports
         9   Taher's paper he makes reference to a number of      9   you've been provided with?
        10   supplemental materials?                             10   A       Sure.
        11   A       Not specifically.                           11   Q        Thank you.
        12   Q       Are you in receipt from plaintiffs'         12   A       There are four on -- on this drive,
        13   counsel of those supplemental materials?            13   three -- I'm sorry. Two. Crowley and Longo.
        14   A       I'd have to -- you'd have to give me a      14   Q       Two reports from Dr. Crowley and two
        15   specific example, and I would be able to answer     15   reports from Dr. Longo?
        16   you.                                                16   MS. O'DELL:
        17   Q       So, throughout the paper, the authors       17          I don't think that's what he said.
        18   make reference to a set of supplemental materials   18   A       No. I think there are two, two expert
        19   that support their opinions. Do you recall that?    19   reports, one from Dr. Crowley and one from
        20   A       I certainly recall the reference            20   Dr. Longo.
        21   materials to support their opinion. Whether they    21   MS. BROWN:
        22   were supplemental or otherwise, that doesn't        22   Q       Okay. And the date of the Crowley
        23   stand out to me.                                    23   report, please?
        24   Q       Okay. And I'm not trying to be tricky.      24   A       The -- according to the file, the


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         1   I just want to know if you have those materials,     1   date -- the modified date is November 28, 2018.
         2   and, if so, I'm gonna request production of them.    2   Q         And --
         3   A       No. I -- I -- I don't believe that I         3   A         Whether that was the written date, I --
         4   have the full list of reference -- of literature     4   I don't know.
         5   cited from that -- from this paper --                5   Q         And the Longo report, do you know the
         6   Q       Okay.                                        6   date of that?
         7   A       -- now --                                    7   A         It is listed as August 2nd, 2017, in
         8   Q       Now, Taher --                                8   the title. And then there's a -- sorry. There's
         9   A       -- but I'd have to check.                    9   a second Longo report, 2018, which has a
        10   Q       Sorry.                                      10   November 28, 2018, date. So my -- my apologies.
        11          The Taher paper did not inform your --       11   To correct, there are two expert reports from
        12   the opinions contained in your report dated         12   Dr. Longo.
        13   November of 2018; correct?                          13   Q         Got it.
        14   A       Correct, as written.                        14   MS. O'DELL:
        15   Q       Okay. Are there any additional              15           So when you were talking about --
        16   documents that either you or your counsel have      16   MS. BROWN:
        17   brought with you here today in response to          17           Counsel, no. Huh-uh. No. We -- I'm
        18   Exhibit 1, the Notice of Deposition?                18   gonna ask questions, and he's gonna answer. We
        19   A       So I'm not sure how to answer that          19   are not going to have you testify. You are not
        20   accurately, but I would say there's a -- I've       20   to testify about the expert reports.
        21   been provided with -- since the completion of my    21   MS. O'DELL:
        22   report, I've been provided with reports from        22           I'm not gonna --
        23   other experts in the -- in the case.                23           You asked him what the date of the
        24   Q       Okay.                                       24   report was.


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         1   MS. BROWN:                                          1   MS. BROWN:
         2          He -- then he will answer, counsel.          2   Q        How did you receive them? Was it email
         3   You can't testify.                                  3   or hard copy?
         4   MS. O'DELL:                                         4   A        Neither. They were made available
         5          He gave you the date of the file -- the      5   through a shared storage.
         6   file date --                                        6   Q        And would you have received an email
         7   MS. BROWN:                                          7   alerting you to their existence on a shared file?
         8          That's fine.                                 8   MS. O'DELL:
         9   MS. O'DELL:                                         9          Dr. Levy, communications between
        10          -- not the date --                          10   counsel are -- are subject to the work product
        11   MS. BROWN:                                         11   privilege.
        12          On redirect, you are welcome to clean       12          So to the degree you're asking him to
        13   up whatever you need to. But we're not gonna       13   convey what was in a communication, then I'll
        14   have your testimony on the record about dates of   14   object to that and instruct you not to discuss
        15   expert reports.                                    15   communications between counsel.
        16   A       So, looking at the report itself, the      16   MS. BROWN:
        17   date of the Longo report is November 14th, 2018.   17   Q        Which the question does not ask for,
        18   MS. BROWN:                                         18   Doctor.
        19   Q        And were you provided --                  19   MS. O'DELL:
        20   A       The -- would you like the date of the      20          I believe it does.
        21   earlier report?                                    21   MS. BROWN:
        22   Q       That would be terrific.                    22   Q        Here's what I want to know. Did you
        23   A        It's August 2nd, 2017.                    23   rely on any other expert reports in forming your
        24   Q        Great.                                    24   opinions in this case?

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         1          Were you provided the two Longo reports      1   A        To -- to my -- the content of my
         2   and the Dr. Crowley report by plaintiffs'           2   report, no.
         3   counsel?                                            3   Q        Did you receive the Crowley and two
         4   A       Yes.                                        4   Longo reports after you had already completed
         5   Q       Do you recall when?                         5   your report in this case?
         6   A       Not specifically. It was, obviously,        6   MS. O'DELL:
         7   by their date, sometime after their completion.     7          Object to the form.
         8   So the Crowley report and the later 2018 Longo      8   A        No. There was -- if I recall -- and
         9   report were sometime in November or December        9   the -- at least the earlier Longo report -- and
        10   2018.                                              10   I'd have to review the specifics -- at least the
        11          There's -- I've also had an opportunity     11   earlier Longo report was reviewed and was
        12   to review a number of -- several other expert      12   included in the content in the report.
        13   reports which are not with me today.               13          And I would have to -- since the later
        14   Q       Do you have a listing of the additional    14   Longo report and then the final version of this
        15   expert reports you were provided with?             15   report were quite close together, I don't recall
        16   A       I'd have to -- I could certainly -- I'd    16   if they overlapped or not. I'd have to review
        17   have to provide it. I don't, off the top of my     17   the -- which references I used in here, which
        18   head, recall all of them. There was probably       18   will just take a moment.
        19   approximately a dozen.                             19          So, yes, the -- I did include both
        20   Q       Were all of the plaintiff expert           20   Longo reports.
        21   reports sent to you at once?                       21   Q        The second Longo report was finalized
        22   MS. O'DELL:                                        22   two days prior to your report. Is that right?
        23          Object to the form.                         23   A        Finalized, yes.
        24   A       I'm not -- I'm not certain.                24   Q        Did you see a draft of Longo's 2018


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         1   report?                                              1   Q       Did you type the expert report that
         2   A       Yes. And the --                              2   we've marked as Exhibit 2 yourself?
         3   Q       And did you --                               3   A       I did.
         4   A       And as to when I saw the draft, I            4   Q       Did you write all contents of Exhibit 2
         5   believe it was -- and it was sometime in the fall    5   yourself?
         6   and/or when reports were being revised and           6   A       I did.
         7   expanded as more literature became available.        7   Q       Were there parts of your report that
         8   Q       Prior to Longo finalizing and signing        8   you lifted from other published articles?
         9   his expert report in the MDL, you had access to a    9   MS. O'DELL:
        10   draft of that report; is that right?                10          Object to the form.
        11   MS. O'DELL:                                         11   A       Could you describe "lifted"?
        12          Object to the form.                          12   MS. BROWN:
        13   A       I can't speak to -- to that accurately.     13   Q       Did you take the words of other authors
        14   MS. BROWN:                                          14   and put them in your expert report as Exhibit 2?
        15   Q       I thought you just testified you saw a      15   MS. O'DELL:
        16   version of the Longo 2018 report that was not       16          Object to the form.
        17   final. Is that correct?                             17   A       No. My -- my -- so my report is a
        18   MS. O'DELL:                                         18   review of the available literature at the time
        19          Object to the form.                          19   that the report was being developed. So, as
        20   A       I'd have to -- I'd have to review           20   such, it describes that -- that literature.
        21   my -- the -- the literature that I used for the     21          As far as did I specifically copy words
        22   report to accurately answer your question.          22   from other reports, no.
        23   MS. BROWN:                                          23   MS. BROWN:
        24   Q       Well, your report doesn't say a draft,      24   Q       Did you work with another plaintiff


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         1   and I'm wondering if you ever saw a non-finalized    1   expert on the report that we've marked as
         2   copy of the Longo report.                            2   Exhibit 2?
         3   A        I didn't have an opportunity to compare     3   A       I did not.
         4   the finalized Longo report to a -- what may be a     4   Q       Do you know who Dr. Zelikoff is?
         5   draft or not to accurately answer your question      5   A       The name's not familiar to me.
         6   if I saw a draft that was substantially different    6   Q       Did you review a draft of
         7   than what's referenced as the final.                 7   Dr. Zelikoff's report before submitting your own?
         8   Q        There were two days between Longo           8   A       I did not.
         9   serving his report and you serving your report.      9   Q       Do you think that --
        10   Does that help orient you as to whether you saw a   10   A       Not that I'm aware of.
        11   draft or you saw the final version?                 11   Q       Do you have any explanation as to why a
        12   A        Certainly possible I saw the final         12   paragraph in your report is the same as a
        13   version.                                            13   paragraph in Dr. Zelikoff's report?
        14   Q        How many hours did you spend on your       14   MS. O'DELL:
        15   report in this case, Doctor?                        15          Object to the form.
        16   A        The initial draft of the report? The       16   A       I -- without knowing -- without seeing
        17   initial writing of the report?                      17   the paragraph in both reports would be -- I can't
        18   Q        In total, how many hours did you spend     18   comment.
        19   writing your report?                                19   MS. BROWN:
        20   A        It was 20 hours initially, and then it     20   Q       Let's mark as Exhibit 8 the expert
        21   would be -- it would be difficult to provide an     21   report of Dr. Judith Zelikoff, Ph.D.
        22   accurate answer for the rest of that. I would       22         (DEPOSITION EXHIBIT NUMBER 8
        23   say an additional few hours that I counted as       23          WAS MARKED FOR IDENTIFICATION.)
        24   revision.                                           24   MS. BROWN:


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         1   Q        Is this something you've seen --            1   A       They are --
         2           Oh, sorry. Can I --                          2   Q       The next sentence --
         3           It's okay, actually. It will flag it         3   A       Just one moment, please. I'm just
         4   for you?                                             4   making sure. Your question was are they exactly
         5           Is this a report that you've seen            5   the same, and I'm just confirming if they're
         6   before, Doctor?                                      6   exactly the same.
         7   A        I'll have to see it before I answer.        7          So, yes, I agree they're exactly the
         8   Q         I'm handing you what we've marked as       8   same.
         9   Exhibit 8, which is the expert report of             9   Q       You have reviewed them and satisfied
        10   Dr. Judith Zelikoff. Is this one of the reports     10   yourself that that -- those two sentences are
        11   that you reviewed prior -- you reviewed at all?     11   exactly the same; correct?
        12   A        I would have -- I would actually have      12   MS. O'DELL:
        13   to review my -- the literature that I reviewed      13          Object to the form.
        14   in -- the totality of the literature that I         14   A       There's a single sentence in each
        15   reviewed, which I could answer that after a         15   report that is exactly the same. But important
        16   break, if necessary. But I don't recall,            16   to comment that this single sentence is a -- is a
        17   specifically recall, this report under              17   basic biological premise of cancer, and, so,
        18   Dr. Zelikoff's name. But it is certainly            18   there's no surprise that two expert witnesses
        19   possible that I may have seen...                    19   offering opinions on the role of -- or the
        20   Q        Let's look at page 5 of your report,       20   biological plausibility or mechanisms of
        21   Doctor.                                             21   development of cancer would introduce a
        22   A         Okay.                                     22   fundamental premise in the same manner.
        23   Q        And why don't you put that side by side    23   MS. BROWN:
        24   with page 20 of Dr. Zelikoff's report. And the      24   Q       No surprise that you experts would have

                                                  Page 51                                                   Page 53
         1   paragraph in Dr. Zelikoff's report that I want to    1   one sentence that's the same? Is that what
         2   direct you to is the first full paragraph on         2   you're saying?
         3   page 20 that begins "Genetic mutations."             3   MS. O'DELL:
         4          Do you see that?                              4          Objection. That's not what he said.
         5   A       I do.                                        5   Misrepresents his testimony.
         6   Q       And the paragraph of your report I want      6   A        I'm saying that both would -- both
         7   to direct you to is the paragraph on page 5 that     7   reports detail a fundamental aspect as they
         8   begins "Both inherited."                             8   would -- based on the current understanding of
         9          Do you see that?                              9   the -- that both inherited and acquired gene
        10   A       I do.                                       10   mutations work in concert to cause cancer.
        11   Q       Okay. The first sentence of that            11   MS. BROWN:
        12   paragraph in your report reads, "Both inherited     12   Q        Look at the next sentence on page 20 of
        13   and acquired gene -- and acquired gene mutations    13   Dr. Zelikoff's report. It reads as follows:
        14   work together to cause cancer."                     14   "Even if one has inherited a genetic mutation
        15          Do you see that?                             15   that predisposes one to cancer," comma, "that
        16   A       I do.                                       16   doesn't mean he or she is certain to get cancer."
        17   Q       The third sentence of the paragraph I       17          Did I read that correctly?
        18   directed you to in Dr. Zelikoff's report is         18   A        You did.
        19   identical and reads, "Both inherited and acquired   19   Q        And let's go back to page 5 of your
        20   gene mutations work together to cause cancer."      20   report. Skip ahead, if you would -- one, two,
        21          Do you see that?                             21   three -- four sentences to where you were and
        22   A       I do.                                       22   find the sentence that begins "Even."
        23   Q       Those two sentences are exactly the         23          Are you with me?
        24   same, are they not?                                 24   A        I am.


                                                                               14 (Pages 50 to 53)
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         1   Q       And your report at page 5 reads, "Even       1   identical to your report; correct?
         2   if one has inherited a genetic mutation that         2   A       We have.
         3   predisposes one to cancer," comma, "that doesn't     3   Q       Do you have any explanation for why
         4   mean he or she is certain to get cancer."            4   that would be?
         5          Did I read that correctly?                    5   A       I do.
         6   A       You did.                                     6   Q       What's that?
         7   Q       That's the exact same sentence we just       7   A       That these -- each of these sentences
         8   read in Dr. Zelikoff's report; correct?              8   are describing basic introductory information
         9   A       It is.                                       9   around the relationship between cancer and
        10   Q       So now we have two sentences that are       10   genetic mutation.
        11   exactly the same in your report and                 11   Q       And each of you described it with the
        12   Dr. Zelikoff's report. Correct?                     12   exact same words?
        13   MS. O'DELL:                                         13   A       Apparently so.
        14          Object to the form.                          14   Q       Let's keep going.
        15   A       You have two sentences that are written     15         Page 20 of Dr. Zelikoff's report,
        16   the same but certainly not in precisely the same    16   picking up where we left off, Dr. Zelikoff
        17   context or organization in the total report.        17   writes: "The inherited gene mutation could
        18   MS. BROWN:                                          18   instead make one more likely to develop cancer
        19   Q       We have two sentences that are              19   when exposed to certain cancer-causing
        20   word-for-word identical in two of the plaintiffs'   20   substances."
        21   expert reports in this litigation. Is that fair?    21         Do you see that?
        22   MS. O'DELL:                                         22   A       I do.
        23          Objection. Asked and answered.               23   Q       And let's go back to where we were in
        24   A       So reading your earlier question, you       24   your report, on page 5. "The inherited gene


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         1   asked, "Is that the same exact sentence we just      1   mutation could instead make one more likely to
         2   read in Dr. Zelikoff's report; correct?" And my      2   develop cancer when exposed to a certain
         3   answer was "It is." And it remains the same.         3   cancer-causing substance."
         4   Q       Let's keep going.                            4         Do you see that?
         5          Next sentence, at page 20 in                  5   A       I do.
         6   Dr. Zelikoff's report, states as follows:            6   Q       And other than the tense in that last
         7   "Rather," comma, "one or more additional gene        7   sentence, they, too, are identical. Correct?
         8   mutations may be needed to cause cancer."            8   A       So they're -- they're certainly similar
         9          Did I read that correctly?                    9   sentences, but that -- I believe the tense is an
        10   A       You did.                                    10   important difference between them.
        11   Q       Let's go back to page 4 -- excuse me --     11         Again, as I stated, that these are
        12   page 5 of your report where we just were. And       12   introductory and fundamental perspectives on
        13   you write: "Rather," comma, "one or more            13   cancer and that, in this case, two expert
        14   additional gene mutations may be needed to cause    14   witnesses have summarized those things in a
        15   cancer." Correct?                                   15   similar fashion.
        16   A       Correct.                                    16   Q       It doesn't strike you as odd that four
        17   Q       That is the identical sentence from         17   sentences are identical from two expert reports?
        18   Dr. Zelikoff's report. Correct?                     18   MS. O'DELL:
        19   A       Starting with "Rather, one or more          19         Object to the form.
        20   additional gene mutations may be needed to cause    20   A       Four sentences are not identical.
        21   cancer."                                            21   MS. BROWN:
        22          Yes, correct.                                22   Q       There's one small change in a tense.
        23   Q       So we now have identified three             23   That's it. Right, Doctor?
        24   sentences in Dr. Zelikoff's report that are         24   MS. O'DELL:


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         1          Object to the form.                          1   Q       -- next to your report, which remains
         2   A       There -- there are -- there are three       2   Exhibit 2. And I will direct you to the second
         3   sentences which are, when considered                3   page of the Mayo Clinic printout, the section
         4   individually, they are the same words. When you     4   titled "Causes."
         5   consider the -- now the group of those four         5          Are you with me?
         6   sentences together between the two reports, they    6   A       Second page.
         7   are clearly different organization with             7   Q       Double-sided. Flip it over.
         8   significantly more information between those        8   A       Yes.
         9   identical sentences in one or the other.            9   Q       Okay. And I'll direct you to page 3 of
        10          So the suggestion that they were -- one     10   your report entitled "The Role of Gene Mutations
        11   report was copied into the other, I would say it   11   in the Development of Cancer."
        12   is equally interesting that they are more          12   A       Uh-huh.
        13   different than they are alike, other than the      13   Q       Starting with Exhibit 9, the Mayo
        14   wording of three sentences.                        14   Clinic website, under a section entitled
        15   MS. BROWN:                                         15   "Causes," the Mayo Clinic writes, "Cancer is
        16   Q       Did someone other than you write the       16   caused by changes" -- parentheses --
        17   sentences we've just been looking at in your       17   "(mutations) to the DNA within cells."
        18   report?                                            18          Do you see that?
        19   A       No.                                        19   A       I do.
        20   Q       Did you consult the Mayo Clinic's          20   Q       And, looking at page 3 of your report,
        21   website in connection with writing your report?    21   Doctor, that same sentence or sentence fragment
        22   A       I don't believe so.                        22   appears in the first sentence: "Cancer is caused
        23   Q       Do you consider the Mayo Clinic's          23   by changes" -- parentheses -- "(mutations) to the
        24   website to be authoritative -- an authoritative    24   DNA within cells."

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         1   source, in your view?                               1          Correct?
         2   MS. O'DELL:                                         2   MS. O'DELL:
         3           Object to the form.                         3          Object to the form.
         4   A        I have no basis for that opinion. I --     4   A        Say your question again. Are you
         5   I haven't reviewed the Mayo Clinic website to       5   asking --
         6   determine that.                                     6   MS. BROWN:
         7          (DEPOSITION EXHIBIT NUMBER 9                 7   Q        It's the same; right, Doctor?
         8           WAS MARKED FOR IDENTIFICATION.)             8   MS. O'DELL:
         9   MS. BROWN:                                          9          Object to the form.
        10   Q        Handing you, Doctor, what we've marked    10   A        There are eight words or ten words that
        11   as Exhibit 9 to your deposition, which is a        11   are the same in this first sentence, again, both
        12   printout from the Mayo Clinic website entitled     12   describing some of the fundamental premise of
        13   "Cancer."                                          13   cancer and its -- in its description.
        14   A        Uh-huh.                                   14   MS. BROWN:
        15   Q        I'll hand it to you. And let me know      15   Q        Let's go to the second sentence in the
        16   if this is something that you've ever seen         16   Mayo Clinic website, which reads, "The DNA inside
        17   before.                                            17   a cell is packaged into a large number of
        18   A        Not that I recall.                        18   individual genes, each of which contains a set of
        19   Q        Did you take any language from the Mayo   19   instructions telling the cell what functions to
        20   Clinic website to use in your report?              20   perform," comma, "as well as how to grow and
        21   A        No.                                       21   divide."
        22   Q        Let's take a -- I want you to put the     22          Do you see that?
        23   Mayo Clinic, which we've marked as Exhibit 9 --    23   A        I do.
        24   A        Uh-huh.                                   24   Q        And a nearly identical version of that


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         1   sentence appears in your report at page 3 where     1   subparagraph titled "Loss of DNA Repair."
         2   you state, "The DNA that makes up our genetic       2          Are you with me?
         3   code is organized into a large number of            3   A       Yes.
         4   individual genes, each of which contains a          4   Q       I'm gonna read you two sentences from
         5   specific subset of instructions telling the cell    5   the Mayo Clinic. Tell me if I read them
         6   what functions to perform," comma, "as well as      6   correctly.
         7   how to grow and divide."                            7          "DNA repair genes look for errors in a
         8          Do you see that?                             8   cell's DNA and make corrections. A mutation in a
         9   A        I do.                                      9   DNA repair gene may mean that other errors aren't
        10   Q        Do you notice that nearly all the words   10   corrected, leading cells to become cancerous."
        11   are the same as the Mayo Clinic's?                 11          Do you see those two sentences, Doctor?
        12   MS. O'DELL:                                        12   A       I do.
        13          Objection to form.                          13   Q       Those are two sentences written by the
        14   A        I, again -- we -- we have another         14   folks who produce the Mayo Clinic's website;
        15   example of similar language describing             15   correct?
        16   introductory and fundamental aspects surrounding   16   A       I -- I have no knowledge of who wrote
        17   the basics of cancer biology.                      17   that.
        18   MS. BROWN:                                         18   Q       The same two sentences appear in your
        19   Q        Back to the Mayo Clinic next sentence.    19   report on page 4. Quote: "DNA repair genes look
        20   Quote: "Errors in the instructions can cause the   20   for errors in a cell's DNA and make corrections.
        21   cell to stop its normal function and may allow a   21   A mutation in a DNA repair gene may mean that
        22   cell to become cancerous."                         22   other errors aren't corrected, leading cells to
        23          Do you see that?                            23   become cancerous."
        24   A        I do.                                     24          Do you see that?


                                                  Page 63                                                 Page 65
         1   Q        Back to your report at page 3. An          1   A        I do.
         2   identical sentence: "Errors in the instruction      2   Q       Those two sentences are identical in
         3   can cause the cell to stop its normal function      3   the Mayo Clinic's website and your report. True?
         4   and may allow a cell to become cancerous."          4   MS. O'DELL:
         5           Do you see that?                            5          Object to the form.
         6   A        I do.                                      6   A       Again, we have fund- -- basic
         7   Q        Does that strike you as strange?           7   information that provides an introductory
         8   MS. O'DELL:                                         8   description of the basics of cancer which is used
         9           Object to the form.                         9   as -- as an inform- -- informatory foundation for
        10   A        Strange in what way?                      10   latter opinions in the report but is not germane
        11   MS. BROWN:                                         11   to the -- to the opinion in my report.
        12   Q        That your expert report in this           12          And, again, as stated before, that
        13   litigation contains identical sentences to the     13   succinct fundamental information regarding cancer
        14   Mayo Clinic's website.                             14   biology in two sources that state things
        15   MS. O'DELL:                                        15   succinctly and clearly in layman's language
        16           Objection. Misstates the report.           16   are -- are similar or even identical, again, does
        17   A        I -- I don't find it surprising in the    17   not surprise me.
        18   least.                                             18   MS. BROWN:
        19   MS. BROWN:                                         19   Q       We read at least four sentences that
        20   Q        Let's turn to page 4 of your report,      20   are identical to the Mayo Clinic. Would you
        21   please. And I'll direct you to the final bullet    21   agree?
        22   on the same page of the Mayo Clinic website you    22   MS. O'DELL:
        23   were just looking at. The section of your report   23          Objection to form. The sentences are
        24   on page 4 I'd like to direct you to is the         24   not identical.


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         1   MS. BROWN:                                           1   from our conversation to comment on those.
         2          Counsel, form.                                2   MS. BROWN:
         3   A       There are some similar -- there are          3   Q        You have it right in front of you. We
         4   some similarly stated sentences that                 4   just looked at them.
         5   you're -- that you've taken out of context in        5   A        We did.
         6   both cases to find them identical. So I -- I         6   Q        Right?
         7   agree that they're identical, but, again,            7   A        Yes.
         8   don't -- don't necessarily am surprised since I      8   Q        You recall reading a number of
         9   have no knowledge of where the information from      9   sentences in the Mayo Clinic website that match
        10   the Mayo website was taken from.                    10   word for word a number of sentences in your
        11   MS. BROWN:                                          11   report. True?
        12   Q       You agree a number of sentences in your     12   MS. O'DELL:
        13   report are identical to a number of sentences on    13           Object to the form.
        14   the Mayo Clinic's website. True?                    14   A        We've -- we've read information that
        15   MS. O'DELL:                                         15   is -- that is similar between the two documents.
        16          Object to the form.                          16   And, as answered, given the, again, basic
        17   A       No. I agree that they're -- I don't         17   fundamental introduction in lay language for
        18   agree. There are specific wordings that are the     18   these concepts, it is no surprise that it's the
        19   same.                                               19   same.
        20   MS. BROWN:                                          20   MS. BROWN:
        21   Q       Doctor, do you not agree that a number      21   Q        You're not surprised to find identical
        22   of the sentences we just read are identical to a    22   sentences in your report and Dr. Zelikoff's
        23   number of sentences that appear on the Mayo         23   report?
        24   Clinic's website?                                   24   A        I'm not surprised.


                                                  Page 67                                                  Page 69
         1   MS. O'DELL:                                          1   MS. O'DELL:
         2          Object to the form.                           2          Object to the form.
         3   A       I think we've -- we've specifically          3   MS. BROWN:
         4   gone over those individually and answered those      4   Q       You are not surprised to find identical
         5   questions.                                           5   sentences in your report and the Mayo Clinic?
         6   MS. BROWN:                                           6   MS. O'DELL:
         7   Q       And you'll agree the sentences are           7         Objection to form. Asked and answered.
         8   identical?                                           8   A       No. I -- I've answered that.
         9   MS. O'DELL:                                          9   MS. BROWN:
        10          Object to the form.                          10   Q       You need to answer it again.
        11   A       Again, I -- I've answered -- I've           11          Are you --
        12   answered those when we went through them            12   A       I'm not surprised.
        13   individually.                                       13   Q       -- surprised?
        14   MS. BROWN:                                          14         Did you consult Wikipedia in writing
        15   Q       Well, I want you to answer my question      15   your expert report?
        16   now.                                                16   A       I don't recall.
        17          You'll agree we've looked at a number        17   Q       Do you think it's possible you might
        18   of sentences that are identical in your report to   18   have looked at Wikipedia when writing your expert
        19   the information on the Mayo Clinic's website;       19   report in this litigation?
        20   correct?                                            20   A       I've -- I've looked -- I've looked at a
        21   MS. O'DELL:                                         21   large number of sources in published literature
        22          Object to the form. Misstates his            22   and others.
        23   testimony.                                          23   Q       Did one of those sources include
        24   A       I'd have to go back to the transcript       24   Wikipedia?


                                                                                18 (Pages 66 to 69)
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         1   A        I don't recall.                             1          And we'll mark a Wikipedia page as
         2   Q        Do you consider Wikipedia to be a           2   Exhibit 10.
         3   scientifically reliable source?                      3         (DEPOSITION EXHIBIT NUMBER 10
         4   A        What do you mean by scientifically          4          WAS MARKED FOR IDENTIFICATION.)
         5   reliable.                                            5   MS. BROWN:
         6   Q        Do you understand the concept of            6   Q       I would like to direct you, Dr. Levy,
         7   scientific reliability when answering a              7   to the first full paragraph in your expert report
         8   scientific question?                                 8   at page 7.
         9   MS. O'DELL:                                          9   A       Uh-huh.
        10           Object to the form.                         10   Q       Do you see that?
        11   A        Again, you'd have to -- that's -- you'd    11   A       I do.
        12   have to explain your -- what scientific             12   Q       And I want to direct your attention to
        13   reliability means in the context of your            13   the sentence in the middle of that paragraph that
        14   question.                                           14   begins "BRCA1 combined."
        15   MS. BROWN:                                          15          Do you see that?
        16   Q        What does it mean to you?                  16   A       Yes.
        17   A        Scientific reliability? In general         17   MS. BROWN:
        18   terms, it would mean information that comes from    18   Q       And I want to, side by side with
        19   a peer-reviewed source.                             19   Wikipedia, direct your attention to the third
        20   Q        And Wikipedia is not peer-reviewed;        20   full paragraph that begins, as well, "BRCA1
        21   correct?                                            21   combined."
        22   A        Wikipedia generally reso- -- uses          22          You with me?
        23   a -- is a summary of commonly -- at least in        23   A       I am.
        24   scientific terms, a number of peer-reviewed         24   Q       Wikipedia writes, "BRCA1 combines with


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         1   sources, but it is --                                1   other tumor suppressors, DNA damage sensors, and
         2          So from a true peer-review perspective,       2   single transducers to form a large multi-subunit
         3   Wikipedia actually is peer-reviewed in the sense     3   protein complex known as BRCA1-associated genome
         4   that anyone can contribute and edit the              4   surveillance complex" -- parens --
         5   information in Wikipedia.                            5   "BAC-" -- excuse me -- "(BASC)," end parens.
         6   Q       Including our kids; right?                   6          Do you see that?
         7   MS. O'DELL:                                          7   A       I do.
         8          Object to the form.                           8   Q       Turning to your report, page 7, you
         9   A       Possible.                                    9   write, "BRCA1 combines with other tumor
        10   MS. BROWN:                                          10   suppressors," comma, "DNA damage sensors, and
        11   Q       Anyone in the world could edit a            11   signal transducers to form a large multi-subunit
        12   Wikipedia page. True?                               12   protein complex known as the BRCA1-associated
        13   A       I believe so.                               13   genome surveillance complex" -- parens --
        14   Q       Is it your testimony, Doctor, that          14   (BASC)."
        15   information from Wikipedia is a reliable resource   15          Correct?
        16   when answering a scientific question?               16   A       That is correct.
        17   A       No, that is not my testimony. That is       17   Q       Those two sentences, Doctor, are
        18   not my testimony, no.                               18   identical.
        19   Q       Do you -- do you think you used             19   A       It appears so, yes.
        20   Wikipedia here in writing your report?              20   Q       Okay.
        21   A       Again, I -- I -- I don't recall using       21   A       Except for a -- the reference included
        22   Wikipedia specifically.                             22   on the Wikipedia page is not included in my
        23   Q       Okay. Let's take a look at your report      23   report.
        24   at page 7, Doctor.                                  24   Q       Wikipedia has cited a reference, and


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         1   your sentence stands without a reference. Is         1   Q        I'm sorry. What did we mark the
         2   that right?                                          2   Coussens as? 12?
         3   A       That's right.                                3   A        Twelve.
         4   Q       Other than the footnote, the two             4   Q        That should have been 11.
         5   sentences we just read are identical. True?          5          We have marked the Coussens' article
         6   A       Both sentences state the same fact in        6   now correctly as Exhibit 11, and I'll direct you
         7   the same way. So, similar to our earlier             7   to the last two sentences of the first full
         8   discussions, we've now seen a large collection of    8   paragraph. Put that, if you would, Doctor, side
         9   fundamental factual information with -- with         9   by side with your report at page 9, sentence that
        10   accurate information from now a number of sources   10   begins "in contrast," both sentences that begin
        11   that are stated in similar ways through             11   "in contrast."
        12   Wikipedia, other expert reports, and websites all   12          Are you with me?
        13   about the fundamentals of cancer.                   13   A        I am.
        14   Q       The two sentences we just read, Doctor,     14   Q        All right. So, in this published
        15   are identical. Correct?                             15   article, Ms. or Dr. Coussens writes, "In
        16   MS. O'DELL:                                         16   contrast, proliferating cells that sustain
        17          Object to the form.                          17   DNA" --
        18   A       We read one sentence in Wikipedia.          18   MS. O'DELL:
        19   MS. BROWN:                                          19          Excuse me, Alli. Sorry. Tell me, are
        20   Q       And it is identical. True?                  20   you in the second paragraph?
        21   A       Yes. The wording is the same. With,         21   MS. BROWN:
        22   of course, Wikipedia, as you already stated,        22          I'm on the end of the first full
        23   being editable by anybody and can pull that         23   paragraph.
        24   content from anywhere, and it's the -- I'd have     24   MS. O'DELL:


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         1   to review -- I'd have to look to see what            1          Sorry. I thought you were in the first
         2   reference 16 in Wikipedia is. But it's certainly     2   full paragraph.
         3   possible that I and Wikipedia summarized the same    3   MS. BROWN:
         4   information from the same source.                    4          Begins "In contrast."
         5   Q       Let's go to page 9 of your report. One       5   MS. O'DELL:
         6   of the articles that you relied on is an article     6          Okay.
         7   by Lisa Coussens and Zena Werb. Do you recall        7   MS. BROWN:
         8   that?                                                8          And we have that side by side with
         9   A       That does sound familiar, but I'll have      9   Dr. Levy's report, page 9, the paragraph that
        10   to verify.                                          10   also begins "In contrast."
        11   Q       Handing you what we've marked as            11   MS. O'DELL:
        12   Exhibit 12 [sic] to your report, the Coussens and   12          Thank you.
        13   Werb article.                                       13   MS. BROWN:
        14         (DEPOSITION EXHIBIT NUMBER 11                 14   Q       Dr. Coussens writes, "In contrast,
        15          WAS MARKED FOR IDENTIFICATION.)              15   proliferating cells that sustain DNA damage
        16   A       Yes, this is a -- this is a review.         16   and/or mutagenic assault" -- parens -- "(for
        17   This is an insight review article, which, similar   17   example, initiated cells), continue to
        18   to my report, is likely consolidating information   18   proliferate in microenvironments rich in
        19   from the research knowledge.                        19   inflammatory cells and growth/survival factors
        20   MS. BROWN:                                          20   that support their growth."
        21   Q       I'd like to direct you to the last two      21          Do you see that sentence?
        22   sentences of Exhibit 10, the Coussens' article,     22   A       I do.
        23   the last two sentences in the first paragraph.      23   Q       The next sentence reads, "In a sense,"
        24   A       Exhibit 10 or 12?                           24   comma, "tumors act as wounds that fail to heal."


                                                                               20 (Pages 74 to 77)
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         1          See that?                                     1   Q        My question, Doctor, was: Except for
         2   A        I do.                                       2   one word, the two sentences we just read from
         3   Q        Directing your attention to page 9 of       3   Coussens are identical to the two sentences in
         4   your report, Doctor, you write, "In contrast,"       4   your report. Is that correct?
         5   comma, "proliferating cells that sustain DNA         5   MS. O'DELL:
         6   damage and/or mutagenic insult -- parens -- "(for    6          Object to the form.
         7   example," comma, "initiated cells)," end paren,      7   A        So, I -- as -- as stated, the two
         8   "continue to proliferate in microenvironments        8   sentences are similar.
         9   rich in inflammatory cells and growth/survival       9   MS. BROWN:
        10   factors that support their growth," period. "In     10   Q        Except for one word, they are
        11   a sense, tumors act as wounds that fail to heal."   11   identical. Is that correct?
        12          Do you see that?                             12   MS. O'DELL:
        13   A        I do.                                      13          Object to the form. He's asked --
        14   Q        Except for one word, Doctor, those two     14   you've asked the question. He's answered your
        15   sentences, including the slashes and the            15   question.
        16   parentheses, are identical. Correct?                16   A        Again, the two sentences are similar.
        17   MS. O'DELL:                                         17   MS. BROWN:
        18          Object to the form.                          18   Q        Do you understand "identical," what
        19   A        Those two sentences are similar.           19   "identical" means?
        20   MS. BROWN:                                          20   A        Yes. Exactly the same.
        21   Q        Except for one word, those two             21   Q        Okay. Except for one word, those two
        22   sentences are identical. True?                      22   sentences are exactly the same in the Coussens
        23   MS. O'DELL:                                         23   article and your report. True?
        24          Object to the form. Asked and                24   MS. O'DELL:

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         1   answered.                                            1          Object to the form. Asked and
         2   A         Yeah. I'd certainly appreciate the         2   answered.
         3   similarity between the -- between the two. But       3   A       And we're -- we're saying the same
         4   that's -- again, as we've been discussing now for    4   thing in different ways, which is that the two
         5   an extensive amount of time, in the introductory     5   sentences are similar, stating factual
         6   review content of the report --                      6   information about fundamental cancer biology and
         7           In fact, I reference the Coussens and        7   in two similar review articles.
         8   Werb paper, so certainly it's not a surprise that    8   MS. BROWN:
         9   wording is similar between them and used similar     9   Q       And the only difference is one word.
        10   language to describe, again, these factual          10   Correct?
        11   aspects of fundamental cancer biology, including    11   A       Two sentences are similar.
        12   similar references.                                 12   Q       My question was: The only difference
        13   MS. O'DELL:                                         13   is one word. True?
        14           Excuse me. My microphone is broken.         14   A       Let me review again to be sure that we
        15   VIDEOGRAPHER:                                       15   would -- before answering.
        16           It's still working. You're good. You        16          Taken out of context, those two
        17   can just lay it on the table and we'll fix it at    17   sentences are similar.
        18   a break.                                            18   Q       My question was, Doctor, the only
        19   MS. O'DELL:                                         19   difference is one word. Is that correct?
        20           And we've been going about an hour and      20   MS. O'DELL:
        21   13 minutes.                                         21          Objection to the form. Asked and
        22   MS. BROWN:                                          22   answered.
        23           I'm about to finish up this section.        23   A       You know, I think we've -- we've
        24   We'll take a break.                                 24   answered this a number of times, that the two


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         1   sentences are different in their context and in     1   A       I have.
         2   terms of paragraph, but they are similar in         2   Q       Have you seen the reviewer comments
         3   structure and similar in wording.                   3   referenced in Exhibit 13?
         4          But, as you stated, with the exception       4   A       I have not seen the reviewer comments.
         5   of the -- so they're not. So in a language          5   Q       Okay. Exhibit 13 does not inform the
         6   perspective, they're not identical. They're         6   opinions of your report dated November of 2018.
         7   similar.                                            7   True?
         8   MS. BROWN:                                          8   A       Exhibit 13, being the letter, that is
         9          Let's take a break.                          9   correct. It does not.
        10   VIDEOGRAPHER:                                      10   Q       Okay. And what's Exhibit 12?
        11          Going off -- going off the record. The      11   A       Exhibit 12 appears to be a preprint
        12   time is 10:15 a.m.                                 12   version of the previously mentioned paper,
        13              (OFF THE RECORD.)                       13   "Molecular Basis Supporting the Association of
        14   VIDEOGRAPHER:                                      14   Talcum Powder Use With Increased Risk of Ovarian
        15          We're back on the record. The time is       15   Cancer," with the first author, Nicole Fletcher,
        16   10:25 a.m.                                         16   and Dr. Saed is listed as the senior or
        17   MS. BROWN:                                         17   corresponding author.
        18   Q       Doctor, I am handing you what I have       18   Q       Did the lawyers provide you with this
        19   marked as Deposition Exhibit 12 and 13. These      19   manuscript, Doctor?
        20   are additional documents your counsel identified   20   A       Yes, in a -- but that's -- yes, they
        21   for us this morning as something you have seen     21   did.
        22   since your report.                                 22   Q       Do you recall when you were provided
        23         (DEPOSITION EXHIBITS 12 AND 13               23   with a copy of the manuscript by the plaintiffs'
        24          WERE MARKED FOR IDENTIFICATION.)            24   lawyers?


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         1   MS. BROWN:                                          1   A        It was sometime in December toward --
         2   Q       Would you tell us what those two            2   late in the year. The exact date, I'd have to
         3   exhibits are, please.                               3   review when it came in. And I believe it was --
         4   A       Exhibit -- Exhibit 13 is a printed copy     4   and the version you have here is a more formal
         5   of an email dated December 26th informing           5   preprint version from the -- from Manuscript
         6   Dr. Saed that a manuscript --                       6   Central, whereas the version I received
         7         Is it helpful to identify the                 7   was a -- it appeared to be more of a submission
         8   manuscript?                                         8   version.
         9         -- titled "Molecular Basis Supporting         9          So commenting whether it's
        10   the Association of Talcum Powder Use With          10   exact -- precisely the same content, I -- I
        11   Increased Risk of Ovarian Cancer," submitted to    11   wouldn't be able to say.
        12   Reproductive Sciences, has been reviewed. The      12   Q        Fair to say, though, Doctor, since you
        13   comments were included in the letter.              13   received the manuscript in December of 2018, the
        14   Q       Have you seen --                           14   contents of the manuscript did not inform the
        15   A       And I'm just reading the --                15   expert report that you wrote in November of 2018;
        16   Q       Sure.                                      16   correct?
        17   A       It -- it appears that the -- so,           17   A        Actually, I would say the -- the -- I
        18   summarizing the letter, the manuscript has been    18   would not agree, from the perspective of Dr. Saed
        19   reviewed, the comments from the reviewers were     19   has a number of similar studies, as well as a
        20   provided back, and the journal has informed        20   number of abstracts that I had the opportunity to
        21   Dr. Saed that they'll accept a revised document    21   review that did inform some of the opinions in
        22   for potential publication.                         22   the report. Those same information and data were
        23   Q       Have you seen Exhibit 13 prior to this     23   included in this manuscript and expanded upon
        24   morning?                                           24   actually significantly.


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         1          So the basis of my opinion includes           1   Q       Okay. And I'll ask if you'd be kind
         2   some of the information from this manuscript, but    2   enough to do that at a break. Just let us know
         3   I -- but the report does not contain the totality    3   if you had access to something other than the
         4   of this.                                             4   abstract of Dr. Saed's 2018 report at the time
         5   Q        Right. Because the manuscript wasn't        5   you wrote your report. Fair enough?
         6   available to you until after you wrote your          6   A       I'll make a note.
         7   report. Right?                                       7   MS. O'DELL:
         8   A        No, that's not the case. The -- the --      8          Excuse me. Object to the form.
         9   the research, some of the research information       9   Abstracts, not one.
        10   from this study was available in abstract form,     10   MS. BROWN:
        11   and -- and some -- I believe a preprint from        11   Q       Dr. Levy, you are a Ph.D.; is that
        12   Dr. Saed.                                           12   correct?
        13          So it was -- so it was available.            13   A       Correct.
        14   Portions of it were available for the report.       14   Q       Okay. You are not an M.D.; correct?
        15   Q        Other than the abstract, did you have      15   A       That's correct.
        16   access to an earlier version of what we've marked   16   Q       What's your Ph.D. in, sir?
        17   as Exhibit 12?                                      17   A       Biochemistry and genetics.
        18   A        I can't accurately answer that without     18   Q       You're not an epidemiologist. Fair?
        19   comparing them.                                     19   A       I am not.
        20   Q        Where do you have stored the earlier       20   Q       Okay. And the focus of your work at
        21   version that you're referring to?                   21   HudsonAlpha is on genome sequencing. Is that
        22   A        Let's see if I -- what I have here.        22   right?
        23          So, from Dr. Saed, I have a -- used a        23   A       No. The -- the -- genome sequencing is
        24   book chapter which describes some of his            24   a tool that we apply in -- in the work of my


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         1   oxidative stress experiments that are also           1   laboratory and in my responsibilities at
         2   consistent with the information that's in the --     2   HudsonAlpha.
         3   in Exhibit 12, as well as some of his earlier        3   Q       HudsonAlpha has a team known as the
         4   review articles, and that's --                       4   Breakthrough Breast and Ovarian Cancer Team. Is
         5          Let me make sure I'm not missing              5   that right?
         6   anything from Fletcher, who's been...                6   A       I'm not familiar with that name.
         7          But, otherwise, the -- the experiments        7   Q       Okay.
         8   that were expanded upon in the formal manuscript     8   A       There is a -- a group of faculty who
         9   were described in -- in abstract or, I should        9   have some funding related to breast and ovarian
        10   say, summarized form, meaning an abstract that      10   cancer. It's -- it's certainly possible that
        11   included methods, results, and conclusions from     11   name was used in -- in press for some title.
        12   Fletcher and colleagues in Dr. Saed's group.        12   Q       Since you're not familiar with that
        13   Q        At the time you wrote your report, you     13   team, fair to say you're not a member of the
        14   had an abstract of the 2018 paper that we've        14   Breakthrough Breast and Ovarian Cancer Team?
        15   marked as Exhibit 12; correct?                      15   MS. O'DELL:
        16   MS. O'DELL:                                         16          Object to the form.
        17          Object to the form. He said plural.          17   A       Again, I don't -- my involvement with
        18   A        Yes. I had two abstracts and then          18   breast and ovarian cancer at HudsonAlpha is
        19   possibly --                                         19   specific to some projects. And whether or not I
        20          I'd have to review when I received this      20   was named on that team, I -- I don't know.
        21   preprint versus the final version of my report to   21   MS. BROWN:
        22   see if they overlapped, if they're -- if I had an   22   Q       There are folks at HudsonAlpha,
        23   opportunity to review this or not.                  23   scientists and doctors at HudsonAlpha whose
        24   MS. BROWN:                                          24   practice is devoted to studying ovarian cancer.


                                                                               23 (Pages 86 to 89)
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         1   Correct?                                             1   dating back to my early Ph.D. work, and those
         2   A        No, that's not correct.                     2   include cancer. So certainly the subject of
         3   Q        Your practice is not devoted to ovarian     3   inflammatory response in -- both chronic and
         4   cancer; correct?                                     4   acute, in controlling cancer has been a subject
         5   MS. O'DELL:                                          5   of my research for some time and certainly
         6           Object to the form.                          6   bridged into ovarian cancer as well as other
         7   A        No. My -- my practice is not devoted        7   cancer types.
         8   to ovarian cancer. And -- but that was               8   MS. BROWN:
         9   irrelevant to what I was asked to do in              9   Q        You've never published on chronic
        10   this -- in this particular case for                 10   inflammation as a potential mechanism by which
        11   the -- regarding the content of my report.          11   talcum powder causes ovarian cancer. Correct?
        12   MS. BROWN:                                          12   A        Not specific to talcum powder, no.
        13   Q        I think I saw you've published one         13   Q        You have never given a presentation on
        14   article regarding ovarian cancer over the course    14   chronic inflammation as a mechanism for causing
        15   of your career. Is that right?                      15   ovarian cancer at all; right?
        16   A        That sounds correct.                       16   MS. O'DELL:
        17   Q        You have not given any presentations       17          Object to the form.
        18   regarding ovarian cancer. Is that true?             18   A        I'm thinking through my --
        19   A        I would say that's accurate.               19          I don't recall a specific presentation
        20   Q        You have not received any government       20   with regards to talcum powder and its role in
        21   funding to study ovarian cancer. True?              21   ovarian cancer. As far as my discussions or
        22   A        I received government funding to study     22   presentations around the role of inflammation in
        23   breast and ovarian cancer -- this was in 2002,      23   cancer, including ovarian, it -- it is -- it is
        24   from the Department of Defense -- and then,         24   possible, but I can't think of a specific

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         1   subsequent to that, participated in at least one     1   presentation.
         2   review for the Department of Defense in reviewing    2   MS. BROWN:
         3   ovarian cancer research grants. So that is --        3   Q       Okay. Since you've been hired by
         4          And then my membership in the                 4   plaintiffs' lawyers, you have done some research
         5   Vanderbilt Cancer Center as well as the              5   into the potential role of inflammation and
         6   University of Alabama Birmingham Comprehensive       6   ovarian cancer. Is that right?
         7   Cancer Center certainly have been involved in a      7   MS. O'DELL:
         8   number of projects across a diversity of cancer      8          Object to the form.
         9   types, including ovarian and breast cancer.          9   A       Since -- since my -- what was requested
        10   Q       Prior to being hired by the plaintiffs'     10   of me from the plaintiffs' attorneys was to
        11   lawyers in this litigation, you had not             11   provide a review of the biological plausibility
        12   investigated the potential mechanisms by which      12   and a connection between talcum powder and
        13   talcum powder could cause ovarian cancer. Is        13   inflammation and then discuss the relationship
        14   that fair?                                          14   between inflammation and cancer.
        15   MS. O'DELL:                                         15   MS. BROWN:
        16          Object to the form.                          16   Q       Okay. As I understand you, Dr. Levy,
        17   A       Specific -- as in terms of a specific       17   you were asked by the plaintiffs' lawyers to
        18   fundamental research project?                       18   provide a review of the literature as it relates
        19   MS. BROWN:                                          19   to the biological plausibility of talcum powder
        20   Q       At all.                                     20   and ovarian cancer. Is that right?
        21   MS. O'DELL:                                         21   MS. O'DELL:
        22          Object to the form.                          22          Object to the form.
        23   A       So my research has included the role of     23   A       No, that's not correct. What I was --
        24   inflammation and a number of biological processes   24   I was asked to provide an opin- -- expert opinion


                                                                               24 (Pages 90 to 93)
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         1   on the biological plausibility of the mechanism     1   some neurological diseases.
         2   that -- of the ability of exposure of talc and      2          So this was a similar review as -- of
         3   its constituent components to cause inflammation    3   those topics when asked to examine the biological
         4   and/or cancer.                                      4   plausibility of a cause and effect; in this case,
         5   MS. BROWN:                                          5   cause being exposure to talcum powder and effect
         6   Q        Do you see those as two different          6   being progression to cancer.
         7   things?                                             7   Q       Prior to being hired by the plaintiffs'
         8   A        Yes.                                       8   lawyers, you had not considered the biological
         9   Q        Okay. So you were asked to provide a       9   plausibility of talcum powder causing ovarian
        10   mechanism by which talcum powder could cause       10   cancer. Correct?
        11   cancer?                                            11   A       No. I would say that's not true in
        12   A        No, that's not correct.                   12   isolation. And the reason I say that's not true
        13   MS. O'DELL:                                        13   is I had been aware of some of the literature and
        14          Objection to form.                          14   certainly some of the press that surrounded the
        15   MS. BROWN:                                         15   suspected associations between talcum powder
        16   Q        Okay. Explain it to me.                   16   exposure and cancer. So I was familiar with the
        17   A        I -- I was asked to provide a -- an       17   concept, but I had not at the time, until hired
        18   opinion on the biological plausibility --          18   by the plaintiffs' attorney, spent a significant
        19   Q        Of talcum powder causing cancer?          19   amount of time reviewing the literature and
        20   A        -- of talcum powder leading to the        20   developing a written opinion as to that
        21   biological changes necessary to cause cancer.      21   biological plausibility.
        22   Q        Okay. As I understand what you just       22   Q       You have not published your opinion
        23   said, you were asked to re- -- to provide an       23   contained in -- your opinions contained in the
        24   opinion on the biological plausibility of talcum   24   report that we marked as Exhibit 2. Is that


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         1   powder leading to biologic changes that are         1   correct?
         2   needed to cause cancer. Is that fair?               2   A       That is correct.
         3   MS. O'DELL:                                         3   Q       You have not presented the opinions
         4           Object to the form.                         4   contained in Exhibit 2 at any medical or
         5   A        So I was asked from -- by the attorneys    5   scientific conference; correct?
         6   to review the available literature across the       6   A       That's correct.
         7   spectrum of cancer and talcum powder and            7   Q       You have not disclosed the opinions
         8   constituent literature to develop an opinion        8   contained in Exhibit 2 to any of your colleagues;
         9   around the biological plausibility that exposure    9   correct?
        10   of -- exposure to talcum powder is                 10   MS. O'DELL:
        11   biologically -- that there is a biologically       11          Object to the form.
        12   plausible mechanism that that can cause cancer.    12   A       Not at this time, no. Considering I
        13   MS. BROWN:                                         13   had -- I had just finalized the report a short
        14   Q        Okay. And that is not something that      14   time ago, I haven't had the opportunity to
        15   you had done prior to being hired by the           15   consider publication, presentation, or -- or
        16   plaintiffs' lawyers. Fair?                         16   discussion with colleagues.
        17   A        Developing such an opinion?               17   MS. BROWN:
        18   Q        Correct.                                  18   Q       Do you plan to seek publication of the
        19   A        Or -- or -- so writing such a report,     19   information contained in your report in Exhibit
        20   no, that is not something I -- I had done prior    20   2?
        21   to -- to this. My research has been primarily in   21   A       I -- I haven't made a determination at
        22   data integration and the examination of            22   this time. It's been a fascinating area to
        23   mechanistic effects in cancer, rare disease,       23   research. Certainly there's -- that would
        24   and -- and in diabetes specifically, as well as    24   certainly be a future possibility.


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         1   Q        Does HudsonAlpha --                         1   or -- or -- or dispute whether or not those
         2          First of all, what's your position at         2   ovarian cancer or other cancer types may have had
         3   HudsonAlpha, Doctor?                                 3   a relationship to talcum powder. So the short
         4   A        So I'm a faculty investigator, which        4   answer being I -- I don't have the information to
         5   would be analogous to a faculty member at a          5   answer that.
         6   research institution, similar to -- or I should      6   MS. BROWN:
         7   take a step back and just --                         7   Q         HudsonAlpha has a Code of Ethics. Are
         8          To be accurate, HudsonAlpha is a              8   you familiar with it?
         9   private nonprofit research institution, similar      9   A         Yes.
        10   to Broad Institute, Stowers, et cetera. So we       10   Q         Are you familiar with the financial
        11   are academic in nature, meaning that most of our    11   disclosure requirements of HudsonAlpha?
        12   funding or the vast majority of our funding comes   12   A         I am.
        13   from grants and contracts. So that's why I say      13   Q         Have you complied with those in
        14   it's analogous to faculty at a research             14   connection with your work as an expert witness
        15   institution.                                        15   for plaintiffs in this case?
        16          My other responsibilities are the            16   A         I have.
        17   management and oversight of the production and      17   Q         And tell us what you've done to comply
        18   research laboratories, so that provides us an       18   with HudsonAlpha's Code of Ethics and financial
        19   opportunity to work with approximately 1200         19   disclosure requirements.
        20   different laboratories from around the world in     20   A         Their Code of Ethics and financial
        21   support of roughly 5,000 projects over the last     21   requirement is requirement to disclose any
        22   nine and a half years. And that's -- it's           22   relationships that have a financial component
        23   provided a broad spectrum of activities and         23   over -- I don't recall the minimum amount, but it
        24   abilities to work in these types of projects.       24   is -- it is fairly modest, hundreds of dollars.


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         1           And then I also oversee the clinical         1   And that reporting requirement is the -- is -- is
         2   laboratories as well. And adult oncology is a        2   for the previous year, and it is due in July, I
         3   major focus of that research. I currently lead       3   believe is the time frame, although I'd have to
         4   the largest profiling effort in adult cancer in      4   make sure. It's -- I know it's not the end of
         5   the nation, which involves 15 national cancer        5   the calendar year. So on my next disclosure,
         6   institutes. And ovarian cancer is a component of     6   this, of course, activity would be disclosed.
         7   that research, although not the only cancer that     7          In addition to that, via
         8   we research in that -- in that's -- in that          8   conversation -- regular review with the president
         9   program.                                             9   of the institution, I provide a general report on
        10   Q        None of the 5,000 projects you just        10   consulting activities; for example, these
        11   mentioned have dealt with talc. Is that fair?       11   activities.
        12   A        That is fair.                              12          HudsonAlpha's policy is faculty members
        13   Q        And none of the work at the clinical       13   are allowed up to 20 percent of your time towards
        14   labs that you just mentioned have dealt with        14   consulting activities that have a relationship to
        15   talc; correct?                                      15   your research area, such as the evaluation of the
        16   MS. O'DELL:                                         16   biologically plausible mechanism of talc in
        17           Object.                                     17   ovarian cancer. So based on both the timing of
        18   A        I am -- I would say there's a              18   the Code of Ethics with regards to the financial
        19   statistical probability that some of the ovarian    19   disclosure as well as the ad hoc reporting of
        20   cancer samples that have been observed in the       20   consulting engagements with the president of the
        21   clinical laboratory may very well have              21   institution, I'm in compliance with the current
        22   been -- have come from patients exposed to talcum   22   policies of HudsonAlpha.
        23   powder. But I have no direct knowledge of that,     23   Q        The president of HudsonAlpha is aware
        24   nor have we performed any testing to confirm        24   of your opinions in this case?


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         1   A        I have not discussed my opinions            1   members on both institutions.
         2   specifically to this case with him; just the         2   MS. BROWN:
         3   general knowledge that I was asked to participate    3   Q       Fair to say, then, Doctor, you have not
         4   as an expert witness. He didn't ask, and I           4   participated in any work with the University of
         5   didn't provide the content.                          5   Alabama's Comprehensive Cancer Center?
         6   Q        No one at HudsonAlpha is aware of your      6   MS. O'DELL:
         7   opinion that talcum powder causes chronic            7          Object to the form.
         8   inflammation which can cause ovarian cancer? Is      8   A       No, that's not true.
         9   that right?                                          9   MS. BROWN:
        10   A        I have -- I have not specifically          10   Q       Have you worked with the University of
        11   shared the contents of the report or -- or my       11   Alabama's Comprehensive Cancer Center on projects
        12   opinions widely at HudsonAlpha.                     12   involving ovarian cancer?
        13   Q        Did you disclose last July that you had    13   MS. O'DELL:
        14   already been hired and submitted invoices to the    14          Objection. Asked and answered.
        15   plaintiffs' lawyers?                                15   A       I would -- I would have to review the
        16   A        I'm sure I did.                            16   specific projects that we've -- we've done to
        17   Q        Do you have that documentation?            17   answer that.
        18   A        No. It's -- it's an electronic             18          As the codirector of a core facility
        19   disclosure. It's not actually done on paper.        19   for the University of Alabama Comprehensive
        20   Q        One of the things that HudsonAlpha does    20   Cancer Center, it is likely that we've worked on
        21   is it partners with the University of Alabama in    21   some projects related to ovarian cancer, but I
        22   a comprehensive cancer center; correct?             22   can't specifically name them. They are -- I
        23   A        No, that wouldn't be correct.              23   would -- I would characterize them as infrequent.
        24   HudsonAlpha is very specific --                     24   MS. BROWN:


                                                 Page 103                                                 Page 105
         1          And you may be more familiar with this        1   Q        Have any of those projects attempted to
         2   than I.                                              2   research the potential causes of ovarian cancer?
         3          They're very specific with their use of       3   A        Again, I'd have -- I'd have to review
         4   the word "partnership" and they're, in fact, very    4   the projects. They're certainly --
         5   specific that they do not engage in a -- anything    5   fundamentally, most of the questions regarding
         6   titled "a partnership." So they -- I would not       6   the analysis of cancer samples are routinely to
         7   characterize them as a partner of the University     7   investigate their cause or their treatment. So I
         8   of Alabama Cancer Center.                            8   would -- I would answer that question as highly
         9          We certainly have -- there are faculty        9   likely.
        10   members at University of Alabama Birmingham who     10   Q        Would you agree the cause of ovarian
        11   are -- have adjunct appointments at HudsonAlpha,    11   cancer remains unknown today?
        12   just as I have appointments at University of        12   MS. O'DELL:
        13   Alabama Birmingham and I am a member of their       13          Object to the form.
        14   cancer center.                                      14   A        No, I would -- I would -- I would not
        15   Q        Are you aware of the work that             15   agree that it -- I would not agree to that
        16   HudsonAlpha does with the University of Alabama's   16   general statement.
        17   Comprehensive Cancer Center?                        17   MS. BROWN:
        18   MS. O'DELL:                                         18   Q        What are the causes of ovarian cancer
        19          Object to the form. Asked and                19   in your mind, Doctor?
        20   answered.                                           20   A        Well, the -- the causes of -- of
        21   A        I'm aware of some of the work, but I --    21   a -- of any number of cancers, including ovarian
        22   certainly I -- I don't -- I don't necessarily       22   cancer, are probably more well understood now
        23   have knowledge of the full spectrum of those        23   than ever, and their complexities I think now are
        24   projects, given that they involve many faculty      24   just beginning to be appreciated in the sense


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         1   that cancer is a disease of unregulated cell         1          Now, the -- whether that represents the
         2   growth.                                              2   complete milieu of possibilities is -- is what is
         3          Back to our earlier con- -- earlier           3   currently under research.
         4   conversation, some of the fundamental facts that     4   MS. BROWN:
         5   we had discussed and, in fact, I think well          5   Q       Were you aware that the University of
         6   replicated in a number of sources, as you pointed    6   Alabama Comprehensive Cancer Center is an NCI
         7   out to me, you know, illustrate that there's a       7   center, National Cancer Institute?
         8   milieu of genetic change leading to cellular         8   A       Yes. It's -- it's not only an
         9   transformation, and that cellular damage, if we      9   NCI-designated center; it's an NCI-designated
        10   consolidate that as cellular damage, then has to    10   comprehensive cancer center, which is a slightly
        11   work in concert with a number of other events       11   different classification. It's a -- there's more
        12   providing the right environment for a tumor to      12   criteria for a cancer center to meet to become
        13   grow, such as inflammation, chronic or acute.       13   comprehensive.
        14   And, so, the -- you know, the -- the -- you know,   14   Q       What does it mean to be an NCI center,
        15   giving a singular cause would be inappropriate.     15   to you, if you know?
        16          But I would say the mechanistic causes       16   A       Stated very simply, it means you have
        17   of cancer are reasonably well understood, but how   17   a -- your cancer center is funded by a support
        18   those apply to the wide diversity of cancer types   18   grant directly from the National Cancer Institute
        19   remains an area of active investigation.            19   to provide -- that supports not only patient care
        20          I think what's interesting on cancer in      20   but also supports basic research, epidemiology
        21   general is that there's no -- really no longer a    21   and -- and health outcomes research in cancer.
        22   bucket diagnosis. It is -- it -- lung cancer is     22          So, in a nutshell, it is a fairly
        23   more complex than lung cancer and ovarian cancer,   23   comprehensive grant that supports a wide variety
        24   certainly with the --                               24   of work within a cancer center that extends


                                                 Page 107                                                 Page 109
         1           As I'm sure you're well aware, with the      1   beyond basic -- basic care.
         2   molecular subtypes and other things, it's a          2   Q        The National Cancer Institute has
         3   complicated disease as well.                         3   funded a number of projects that the scientists
         4           So to summarize that is -- to summarize      4   at HudsonAlpha are working on. Is that fair?
         5   all of that complexity by saying that the cause      5   A        I'd have to certainly review the grant
         6   is known or unknown I think would vastly             6   portfolio. But I'm certain that, since I myself
         7   underestimate the -- our current state of the art    7   have funding from that cancer center, yes, the
         8   or knowledge of how complex cancer is as a           8   NCI does fund some -- some number of
         9   condition.                                           9   investigators at HudsonAlpha.
        10   Q        Sure.                                      10   Q        And you consider the NCI to be a
        11           Scientists, researchers, public health      11   reputable public health authority; correct?
        12   authorities continue to investigate the mechanism   12   A        No, not necessarily. The NCI is really
        13   by which ovarian cancer is caused. Correct?         13   not a public health authority. The N -- the NCI
        14   A        That's correct.                            14   is a -- is a scientific administration center
        15   Q        We do not, sitting here today in 2019,     15   within the National Institutes of Health.
        16   have a complete understanding of the etiology of    16           Now, I'm speaking of their extramural
        17   ovarian cancer. Correct?                            17   programs. The NCI also have intramural programs,
        18   MS. O'DELL:                                         18   where they have their own researchers and their
        19           Object to the form.                         19   own projects. I'm less familiar with those
        20   A        I would say we have substantial            20   activities.
        21   knowledge of factors and exposures that either      21           But together, I would state that the
        22   predispose or directly cause cancer in a large      22   NCI is a -- I don't have -- I guess I have not
        23   number of -- large number of cancer areas,          23   had any experience with the NCI that would lead
        24   including ovarian cancer.                           24   me to say that they are an authoritative public


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         1   health authority.                                    1   you are prepared to offer the opinion that talcum
         2   Q       Before forming your opinions in this         2   powder causes ovarian cancer.
         3   case, Dr. Levy, did you look to see what the NCI     3   A       I don't -- I don't think we have the
         4   states about whether talcum powder causes ovarian    4   complete information for a sing- -- you know, to
         5   cancer?                                              5   have the opinion of a singular cause. But, at
         6   A       I believe I did see, from a number of        6   the same time, my opinions are that, as stated in
         7   statements, certainly potentially from the NCI,      7   the report, there's a clear and well-evidenced
         8   regarding the complete opinion and -- and            8   biologically plausible role for talcum powder
         9   knowledge base for the role of talcum powder in      9   leading to ovarian cancer.
        10   ovarian cancer.                                     10   Q       On page 2 of your report, the second
        11   Q       Do you recall that the NCI has              11   full paragraph that begins "My report
        12   concluded that there's inadequate evidence that     12   consists" --
        13   talcum powder increases the risk of ovarian         13          You with me?
        14   cancer?                                             14   A       Yes.
        15   MS. O'DELL:                                         15   Q       -- you state -- you reference your
        16          Object to the form.                          16   conclusions regarding this cause-and-effect
        17   A       Which -- what specifically are you          17   relationship.
        18   referring to? I -- I wouldn't be able to answer     18          Do you see that?
        19   that accurately without knowing which specific      19   A       I do.
        20   report or statement that you're referring to.       20   Q       Do you mean by that that you have an
        21   MS. BROWN:                                          21   opinion that talcum powder causes the effect of
        22   Q       I'm wondering if, sitting here today,       22   ovarian cancer?
        23   you recall looking at information about the         23   A       No. That -- that wasn't the meaning of
        24   classification of risk factors for ovarian cancer   24   that statement of cause and effect. It was -- it

                                                 Page 111                                                 Page 113
         1   as done by the NCI.                                  1   was a -- more of a general statement of a cause
         2   A        I don't recall that specifically. I         2   being exposure to talc and effect being that
         3   don't also recall seeing any statements from the     3   biologically plausible mechanism.
         4   NCI regarding safety of any product.                 4   Q        You mentioned a moment ago that you
         5   Q        In forming your opinions in this case,      5   don't think we have the complete info on a
         6   Dr. Levy, did you consider the conclusions of        6   singular cause of ovarian cancer. Is that right?
         7   public health authorities like the FDA, the NCI,     7   MS. O'DELL:
         8   NIH as it relates to talcum powder in ovarian        8          Objection to form.
         9   cancer?                                              9   A        Sorry. Let me read your question
        10   A        So I certainly considered information      10   again.
        11   from each of those entities. But I would make a     11          I have -- I have not seen any evidence
        12   statement I don't -- I don't recall from any of     12   that suggests that there is a singular cause of
        13   those entities seeing a single conclusion.          13   ovarian cancer.
        14   Q        Is it your opinion, Dr. Levy, that         14   MS. BROWN:
        15   talcum powder causes ovarian cancer?                15   Q        You have not seen sufficient evidence
        16   A        I wasn't asked to provide an opinion if    16   to suggest that talcum powder could be one of the
        17   talcum powder causes cancer. I was -- I was         17   causes of ovarian cancer; correct?
        18   asked to develop an opinion as to the biological    18   MS. O'DELL:
        19   plausibility of -- of talcum powder leading         19          Object to the form.
        20   to -- leading to change.                            20   A        I would disagree. As -- as stated,
        21           Now, that's what I was asked from the       21   the -- I have not seen evidence that there's a
        22   attorneys. If you're asking -- are you asking me    22   singular cause of ovarian cancer. I think there
        23   what my opinion is --                               23   is ample evidence that there are a multitude of
        24   Q        Well, I want to know if, in this case,     24   mechanisms that you can get cellular damage and


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         1   cellular change within the ovary which then leads    1   of observations and studies that
         2   to malignant transformation, and that, as stated     2   have -- certainly exist. And, again, their
         3   in the report, there's a biologically plausible      3   review and -- and content is what went to the
         4   mechanism that exposure to talcum powder and its     4   opinions in my report.
         5   constituents can create those necessary changes.     5   Q       And most of the studies that you cite,
         6   MS. BROWN:                                           6   Dr. Levy, talking about chronic inflammation
         7   Q        Do you believe, Doctor, there's             7   refer to chronic inflammation as a hypothesis of
         8   sufficient evidence that talcum powder, through      8   one of the ways cancer might form in the ovary.
         9   chronic inflammation, causes ovarian cancer in       9   Correct?
        10   some individuals?                                   10   MS. O'DELL:
        11   A        No. That -- that was not my -- not my      11          Object to the form.
        12   opinion or statement. And I would say               12   A       Let me -- sorry. Let me read your
        13   specifically chronic inflammation is, again,        13   question.
        14   narrowing the focus in an inappropriate way, and    14          No. I would disagree. At least,
        15   the evidence doesn't illustrate that chronic        15   certainly not most of the studies that I cite.
        16   inflammation is a singular sufficient detail or,    16   MS. BROWN:
        17   I should say, effect to result in ovarian cancer.   17   Q       Do you believe chronic inflammation is
        18   It's certainly a factor, as -- as well described    18   an established mechanism of ovarian cancer?
        19   in the -- in the literature.                        19   A       Yes, in the sense that chronic
        20          And -- and, again, I would defer to          20   inflammation is a well-established mechanism of
        21   other expert reports that have similar opinions     21   cancer in general, including ovarian cancer.
        22   regarding inflammation, chronic inflammation        22   This is first observed in the 1800s and has since
        23   being one of them.                                  23   been -- become well-established in the -- in the
        24          And it may be important to provide an        24   cancer field that inflammation plays a

                                                 Page 115                                                 Page 117
         1   important distinction that cellular damage or        1   significant role in both the initiation as well
         2   what we can refer to as acute inflammation can       2   as progression of cancer.
         3   cause -- certainly has been shown and is             3   Q        What methodology did you employ for
         4   well-evidenced that it causes -- can lead to         4   coming to the opinion that chronic inflammation
         5   molecular changes that can lead to cancer.           5   is a well-established cause of ovarian cancer?
         6          Chronic inflammation is a slightly --         6   A        Just general mechanism in terms of
         7   is in a slightly different biological perspective    7   evaluating biological plausibility.
         8   in that it provides the correct environment for      8   Q        I understand, Dr. Levy, you have a
         9   those cancerous changes to take hold and allow       9   general opinion that chronic inflammation can
        10   malignant transformation, as I mentioned.           10   lead to some cancer. Is that right?
        11          So I -- I do view them as working in         11   MS. O'DELL:
        12   concert but not necessarily independent. So when    12           Objection to form. Misstates his
        13   you ask a question that specifically narrows it     13   testimony.
        14   to chronic inflammation or even acute               14   A        I -- I have an opinion regarding the
        15   inflammation in a singular fashion, you know, my    15   role and importance of inflammation in the
        16   answers will largely be the same, that that's, in   16   initiation and progression of cancer.
        17   and of itself, is too limited to describe as a      17   MS. BROWN:
        18   specific cause, singular or otherwise, of ovarian   18   Q        And, as it relates to ovarian cancer,
        19   cancer or of cancer in general.                     19   what methodology did you employ to arrive at your
        20   Q        You'd agree that the research regarding    20   conclusion that chronic inflammation is an
        21   whether chronic inflammation can cause ovarian      21   established cause of ovarian cancer?
        22   cancer is ongoing?                                  22   A        I -- I did not arrive at that specific
        23   A        Yes, I would agree it is -- it is          23   conclusion, nor was I asked to.
        24   ongoing research. But there are a large number      24   Q        You do not believe that chronic


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         1   inflammation has been established as a cause of      1   from animal models to in vitro studies, in vivo
         2   ovarian cancer; correct?                             2   studies, cohort studies, case-control studies.
         3   MS. O'DELL:                                          3   There was quite a broad spectrum of information
         4          Object to the form.                           4   across a large number of years.
         5   A       No, that -- that's not what I said.          5   Q       Do you believe you reviewed the
         6   MS. BROWN:                                           6   totality of the epidemiology on talcum powder use
         7   Q       Explain it to me.                            7   and ovarian cancer?
         8   A       I've stated that chronic inflammation        8   MS. O'DELL:
         9   or inflammation in general, including chronic and    9          Object to the form.
        10   acute infor -- inflammation, is a component and a   10   A       I -- I reviewed the available studies
        11   necessary component for the initiation and          11   that appeared to be relevant for the -- for the
        12   progression of -- of cancer as we understand it     12   opinions that are expressed in my report.
        13   today. And, in that, cancer, certainly ovarian      13   MS. BROWN:
        14   cancer as well as a variety of other cancer         14   Q       And when you say "available," what do
        15   types, is included.                                 15   you mean?
        16   Q       What methodology did you employ to          16   A       Meaning that I could -- I could
        17   arrive at the conclusion that ovarian cancer is     17   discover in the scientific literature.
        18   one of the cancers that can be caused by chronic    18   Q       Did you conduct your own literature
        19   inflammation?                                       19   searches in connection with your work in this
        20   MS. O'DELL:                                         20   case?
        21          Object to the form. Misstates his            21   A       I did.
        22   testimony.                                          22   Q       How did you go about finding the
        23   A       Yeah. Again, we're not -- I'm not           23   totality of the evidence relating to whether
        24   making a specific causal opinion with respect to    24   talcum powder causes ovarian cancer?


                                                 Page 119                                                 Page 121
         1   any -- whether -- whether inflammation, talcum       1   A        So the -- my methodology for the
         2   powder use or other exposures. I -- my -- my         2   literature review in establishing my opinion
         3   opinion in the report is -- is -- was not asked      3   regarding the biological plausibility of talcum
         4   to be a causal opinion.                              4   powder exposure inflammation and its potential
         5   MS. BROWN:                                           5   role in ovarian cancer was based on, you know, my
         6   Q       You reference on page 2 of your report       6   activities and many other literature searches, so
         7   that your opinions are based on assessing and        7   using a variety of computational tools and -- and
         8   weighing the totality of the evidence, including     8   web-based resources, from journals to, I would
         9   relevant literature and available documentation      9   say, primarily PubMed being a resource, but also
        10   and your experience as a geneticist and             10   ISI, Web of Science, Google Scholar and a variety
        11   scientific researcher. Do you see that?             11   of -- bioRxiv and I'm sure a number of other
        12   A       Yes.                                        12   sources. But those were probably the more
        13   Q       What do you mean by "the totality of        13   primary resources for establishing what
        14   the evidence"?                                      14   literature was available.
        15   A       All of the evidence available at the        15   Q        Did you ask the plaintiffs' lawyers for
        16   time that I was researching this report.            16   any scientific literature that you used in
        17   Q       All of the evidence concerning what?        17   forming your opinions in this case?
        18   A       Concerning a variety of subjects            18   A        What do you mean by "ask"? There
        19   surrounding ovarian cancer, talcum powder use,      19   is -- as far as did I ask for their similar
        20   and then inflammation and related subjects as my    20   process, no.
        21   literature review and review of available           21           There were some papers that I had
        22   information progressed.                             22   identified but was not able to access the full
        23          So there was a, I guess, a large number      23   content via the libraries that I have access to.
        24   of tangential directions that -- that I examined,   24   So in some of those cases, specific references


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         1   that I provided, those full -- that full content     1   relying on information in that article to form
         2   was provided by the plaintiffs' lawyer to allow      2   your opinions in this case?
         3   me to review it.                                     3   A        No. I'm not relying on any singular
         4   Q       Did the plaintiffs' lawyers give you a       4   article or source to form my opinion on the case.
         5   set of epidemiology on which you're relying on to    5   Q        Are you relying in part on the
         6   form your opinion?                                   6   information contained in the Blount article?
         7   A       No, they did not.                            7   A        Since I include it in the cited
         8   Q       If I look at your report, I see a            8   literature, certainly in some -- in some part.
         9   reference list and then a separate Exhibit B. Is     9   Q        What information are you relying on in
        10   that right?                                         10   the Blount article?
        11   A       Yes.                                        11   A        I would have to review the article to
        12   Q       So, for example, on page 18 of your         12   remind myself where the --
        13   report, you have a list of literature cited.        13   Q        Take a look at it. We'll pull it right
        14   Correct?                                            14   now.
        15   A       Yes.                                        15          What about Paoletti on page 22? Was
        16          Let me make sure I have the page             16   that something you found on your own or did the
        17   correct.                                            17   lawyers give you that?
        18          Yes, beginning on page 18.                   18   A        So Paoletti --
        19   Q       Is everything that appears in the           19   Q        Uh-huh.
        20   literature-cited list something that you found on   20   A        Page 22?
        21   your own, Dr. Levy?                                 21   Q        Uh-huh.
        22   A       I would have to review the -- the list.     22   A        Actually, the Paoletti one is familiar.
        23   But there are certainly --                          23   That's an interesting one because it's in
        24          Let me --                                    24   Italian.

                                                 Page 123                                                 Page 125
         1           I believe the Saed abstracts, as an          1   Q       Are you relying on the information in
         2   example --                                           2   the Paoletti article to form your opinions in the
         3           Let me see if there are --                   3   case?
         4           No. I -- I believe, in the literature        4   A       Again, the -- I wasn't relying on any
         5   cited, there are certainly some number of            5   singular article but instead tried to present and
         6   examples of information that was provided during     6   provide reference to as comprehensive a
         7   the course of the development of my report from      7   collection of relevant literature in this -- in
         8   the plaintiffs' attorneys in terms of literature     8   this space as possible, of which Paoletti,
         9   for my consideration, but that in no case -- in      9   although being in Italian, there were some --
        10   every case it was provided as a -- as               10   enough translated aspects of that that it was
        11   information.                                        11   worthy to include in the -- in that cited
        12           The vast majority or nearly the             12   literature as being relevant to the -- to
        13   totality of this was information that I had --      13   those -- to those opinions.
        14   that I indeed discovered myself and shared with     14   Q       Just to make sure we get on the same
        15   the -- the attorneys, but certainly not complete.   15   page here, Dr. Levy, when I ask are you relying
        16   Q         On page 18 you cite an article by         16   on something, I don't mean by that question to
        17   Blount.                                             17   suggest it's the only thing you're relying on.
        18           Do you see that?                            18   And I'll try to say "in part" to make it easy for
        19   A         Yes.                                      19   us. Okay?
        20   Q         Was that given to you by the              20   A       Right. Just want to be -- make sure
        21   plaintiffs' lawyers?                                21   we're clear.
        22   A         I'd have to look at my records. I         22   Q       Absolutely. So do I.
        23   don't recall.                                       23          And I want to know are you relying in
        24   Q         Off of the top of your head, are you      24   part on anything in the Paoletti article to form


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         1   your opinions in this case?                          1   presented.
         2   A       I would say in -- in part. As far as         2   MS. BROWN:
         3   my opinions regarding the biologically plausible     3   Q        Do you believe that baby talc alone can
         4   mechanism that was presented, no, it does not        4   cause inflammation that may lead to ovarian
         5   rely on that specific conclusions of that paper      5   cancer?
         6   but, rather, that paper was included because of      6   A       Based on my review of the literature,
         7   its results regarding asbestos contamination in      7   there are a number of studies, both of those
         8   industrial talc, which only support -- add           8   involving human studies in terms of case
         9   support to the mechanism that I presented in the     9   controls, as well as a number of animal studies
        10   report.                                             10   and then, more specifically, in vitro studies
        11   Q       Is your opinion in this case, Doctor,       11   that look at talcum powder and its ability to
        12   based on an assumption that baby powder contains    12   produce clear markers of inflammation.
        13   asbestos?                                           13          I am -- the -- I am not aware of any
        14   A       No, it is not.                              14   specific testing that looked at platy talc
        15   MS. O'DELL:                                         15   individually as a singular component without
        16          Object to the form.                          16   the -- or out of the context of the products we
        17   MS. BROWN:                                          17   were just describing in a similar analysis. So I
        18   Q       Is your opinion in this case based on       18   don't -- I don't know that answer.
        19   an assumption that baby powder contains             19   Q        Is it your opinion that
        20   fragrances?                                         20   Johnson & Johnson baby powder products are
        21   MS. O'DELL:                                         21   contaminated with asbestos?
        22          Objection to form.                           22   MS. O'DELL:
        23   A       My -- my opinion considers the totality     23          Object to the form. Asked and
        24   of the constituent components of baby powder,       24   answered.

                                                 Page 127                                                 Page 129
         1   Shower to Shower, you know, under -- either, as      1   A        I -- I -- I have -- I have been
         2   we've been referring to it simply as talc or         2   provided expert report, and some of those are
         3   talcum powder or by trade names such as              3   referenced in the -- in the report, as we were
         4   Johnson & Johnson or Shower to Shower, so the --     4   describing, that describe testing of a number
         5   my opinions, as stated in the report, being          5   of -- number of samples,
         6   reasonably -- or trying to be reasonably             6   included -- Johnson & Johnson included in that,
         7   comprehensive. Therefore, it's not, you know,        7   that showed how they -- that the results of those
         8   limited to any -- any singular component, whether    8   reports showed contamination by asbestos or --
         9   it be majority or minority, in the -- in the         9   or -- or asbestos-like fiber. So, therefore,
        10   talcum powder products, as I just stated.           10   I've been presented with that evidence.
        11   MS. BROWN:                                          11   MS. BROWN:
        12   Q       Is your opinion in this case based on       12   Q        Have you relied on that evidence in
        13   an assumption that Johnson & Johnson baby powder    13   forming your opinions in this case?
        14   products contain heavy metals?                      14   A        Again, no, not -- not as a singular
        15   MS. O'DELL:                                         15   evidence. So, as we just discussed a moment ago,
        16          Objection to form.                           16   that is a component piece of evidence that
        17   A       Again, similar to the earlier               17   leads -- and is supportive of the biologically
        18   statement, the opinion is not subject to            18   plausible mechanism described in the report.
        19   any -- any singular component. I think the          19          You know, certainly, it is inarguable
        20   information regarding the -- in deferring to some   20   that asbestos and asbestos-like fibers cause
        21   of the other experts regarding the knowledge of     21   inflammation. There's also ample evidence of the
        22   constituent components, whether they be heavy       22   inflammatory effects of talc. And -- and talc
        23   metals or asbestos, only helps to support the       23   pleurodesis, for example, is -- is designed to
        24   biological plausibility of the mechanism I          24   produce inflammatory response as a treatment.


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         1          So I think, again, similar to the             1   in any of the above-referenced studies.
         2   relationship of asbestos and inflammation, it's a    2   MS. O'DELL:
         3   well-established scientific fact that talc has an    3          Objection. Misstates his testimony.
         4   inflammatory role now. Or I should say as of         4   A       So reading -- reading back my
         5   today.                                               5   testimony --
         6   Q       Have you attempted to quantify, based        6   MS. BROWN:
         7   on the reports of Dr. Longo that you reviewed,       7   Q       So, Doctor, I see that you're looking
         8   how much asbestos contamination is in                8   at the realtime?
         9   Johnson & Johnson baby powder products?              9   A       Yes.
        10   MS. O'DELL:                                         10   Q       To get clarification on the question?
        11          Objection. Vague as to form.                 11   A       No. To -- to remem- -- to -- you asked
        12   A       I --                                        12   me a question about my statement.
        13   MS. O'DELL:                                         13   Q       Correct.
        14          As to the volume and time contained,         14   A       And I was reviewing specifically what I
        15   et cetera.                                          15   had stated so I could answer your question
        16   A       My -- my answer is simply that I wasn't     16   accurately.
        17   asked to quantify that as part of my report.        17   Q       Terrific. So I want to know what you
        18   MS. BROWN:                                          18   were talking about when you said you were unable
        19   Q       Whether there is asbestos in Johnson &      19   to discover the contamination rate.
        20   Johnson baby powder products or not does not        20   A       To clarify, I was not asked to estimate
        21   impact your opinions in this case; is that right?   21   or determine the contamination rate, and my
        22   MS. O'DELL:                                         22   statement regarding that was in reference to the
        23          Object to the form.                          23   material I reviewed and the literature that is
        24   A       The opinions regarding the biological       24   referenced in my report. I don't recall in any


                                                 Page 131                                                 Page 133
         1   plausibility described in my report and its          1   of those studies observing a specific statement
         2   relationship to asbestos are somewhat separate,      2   of amount of asbestos in the talcum powder
         3   meaning that I have -- I was not able to discover    3   products that were under study. So, therefore, I
         4   what the contamination rate or content of            4   am not able to form an opinion surrounding that
         5   asbestos was in any of the referenced studies        5   contamination rate.
         6   through the course of my report, so, therefore, I    6   Q      Would the same be true, Doctor, for
         7   can't comment on the likelihood or -- of -- of       7   heavy metals?
         8   how many or any -- or any or all of those samples    8   A      Yes, that's correct.
         9   contain asbestos.                                    9   Q      And when I say the same would be true,
        10   MS. BROWN:                                          10   that means you were not able to calculate a rate
        11   Q        And sounds like you did some work          11   of heavy metal contamination of any of the talcum
        12   attempting to see if you could calculate a          12   powder products in the studies you reviewed?
        13   contamination rate. Is that what you were           13   MS. O'DELL:
        14   describing?                                         14         Objection. Vague.
        15   MS. O'DELL:                                         15   A      I was not asked to.
        16           Object -- object to the form.               16   MS. BROWN:
        17   Misstates his testimony.                            17   Q      Did you attempt to quantify the amount
        18   A        No. No, not at all. I stated that I        18   of heavy metals?
        19   didn't have information available to assess         19   MS. O'DELL:
        20   either -- either way.                               20         Objection.
        21   MS. BROWN:                                          21   A      I certainly reviewed the literature to
        22   Q        Tell me what you meant when you            22   understand what information was available
        23   testified that you were not able to discover what   23   regarding the products that may have been used
        24   the contamination rate or content of asbestos was   24   and what testing may have been done on


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         1   those -- on those products.                         1   fragrances as well as asbestos, I would say my
         2   MS. BROWN:                                          2   opinion now is that that information continues to
         3   Q       And, as it relates to fragrances, have      3   support the biologically plausible mechanism
         4   you calculated the amount of fragrances that are    4   presented in my report.
         5   present in Johnson & Johnson's baby powder          5   MS. BROWN:
         6   products?                                           6   Q        Your opinion that chronic inflammation
         7   MS. O'DELL:                                         7   is a biologically plausible mechanism by which
         8         Objection to form.                            8   talcum powder could cause ovarian cancer is not
         9   A       I -- I wasn't asked to -- to make those     9   dependent on heavy metals being present in talcum
        10   calculations. And I would defer to other expert    10   powder; correct?
        11   reports that I had an opportunity to review        11   MS. O'DELL:
        12   recently that did perform those calculations.      12          Object to the form. Asked and
        13   MS. BROWN:                                         13   answered.
        14   Q       Your opinions in this case are not         14   A        My -- my opinions are not based on --
        15   dependent on whether or not --                     15   on any singular component or constituent because
        16   A       I think that was --                        16   the -- the available information did not
        17   Q       -- there are fragrances in                 17   scientifically test any singular components
        18   Johnson & Johnson's baby powder; correct?          18   or -- or allow --
        19   MS. O'DELL:                                        19          I'm not aware of any studies that
        20         Objection.                                   20   examine the inflammatory or other effects of
        21   A       Sorry. Let me read that.                   21   talcum powder that contained heavy metals versus
        22         Sorry. Could you rephrase your               22   did not.
        23   question? The question that appears on the         23   MS. BROWN:
        24   monitor is that there are fragrances in            24   Q        So, for purposes of your opinions in


                                                Page 135                                                 Page 137
         1   Johnson & Johnson baby powder, question mark.       1   this case, for your piece of the puzzle, so to
         2   MS. BROWN:                                          2   speak, it is not important to you whether or not
         3   Q       That's why it's tricky when you read        3   there are heavy metals in baby powder; correct?
         4   the realtime. Just listen to my question. It'll     4   MS. O'DELL:
         5   be more helpful.                                    5          Objection to form. Asked and answered.
         6          Your opinion in this case is not             6   A       No, that's not correct. I would say
         7   dependent on whether or not there are fragrances    7   the presence of all of the constituent components
         8   in Johnson & Johnson baby powder. Correct?          8   is very important for -- from the -- from the
         9   MS. O'DELL:                                         9   perspective of that biologically plausible
        10          Excuse me. Objection to form.               10   mechanism, and that includes the type of talc,
        11          You may refer to realtime any time you      11   the structure of the talc, you know, its -- any
        12   want to, Doctor.                                   12   potential contaminants that are there, as well as
        13          But I object to the form of the             13   the complete spectrum of other constituent
        14   question.                                          14   components, fragrances, heavy metals.
        15   A       So my -- my -- I was -- what was           15          And, of course, fragrances have their
        16   requested of me, again, stating for clarity, was   16   own milieu of constituent components that, again,
        17   to describe a biologically plausible mechanism     17   I was not asked to comment on or describe in
        18   for talc and all of its constituent components     18   detail but certainly are part of the overall
        19   having a role in inflammation and progression to   19   studies.
        20   ovarian cancer based on -- on the information at   20   MS. BROWN:
        21   hand.                                              21   Q       You have a conclusion in your report on
        22          Certainly the fact, as we've been           22   page 17, Doctor, conclusion number 2, that talcum
        23   provided later, the ex- -- the recent review of    23   powder products cause chronic inflammation.
        24   some other expert reports regarding the            24          Do you see that?


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         1   A        Yes.                                        1   don't know if any of the studies used -- used
         2          And I would -- and then my conclu- --         2   that. I'd have to, again, would have to review
         3   Q        Hold on. No question yet.                   3   some of that information to determine if there
         4   A        Okay.                                       4   was a -- if that was a variable in any of the
         5   Q        And what I want to know, Doctor, is how     5   given studies that are the basis of the report.
         6   do you define the talcum powder products that        6   Q       What methodology did you employ here in
         7   you've listed here on page 17 of your report?        7   coming to your conclusion that chronic
         8   A        Primarily the products that are -- when     8   inflammation is caused by talcum powder products?
         9   I consider the totality of everything that I've      9   MS. O'DELL:
        10   been examining, the talcum powder products,         10          Objection. Asked and answered.
        11   including Johnson & Johnson and Shower to Shower    11   A       Yeah. Again, to restate, similar to
        12   as, you know, I refer to those consumer products    12   the earlier questions, the -- my methodology was
        13   under the term "talcum powder."                     13   based on standard methodology for establishing
        14   Q        What about other consumer talcum powder    14   biological plausibility, which is a, in a
        15   products? Are they included in your conclusions     15   summary, a review of the totality of the evidence
        16   here on page 17?                                    16   and then a summary of that to establish if, based
        17   MS. O'DELL:                                         17   on established or -- or known or factual
        18          Object to the form.                          18   principles, is there a -- can -- can a mechanism
        19   A        So my -- my conclusions are based on       19   described go from cause to effect in a -- again,
        20   the -- on the literature review. And, similar to    20   in an evidence-supported biologically plausible
        21   our discussions regarding contaminants and the      21   manner.
        22   ability to quantitate those, many of the studies    22          There's a few references I can provide
        23   did not specifically delineate which product or     23   you that describe that method in a published
        24   the timing of that product.                         24   manner, if that's helpful.


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         1         In contrast, some of the more recent           1   MS. BROWN:
         2   information available specific to the                2   Q        That would be helpful.
         3   constituents did meet that definition, so I would    3   A        They are -- these are our --
         4   say these conclusions apply to both the specific     4   MS. O'DELL:
         5   products that I mentioned, Johnson & Johnson and     5          These are mine.
         6   Shower to Shower, as well as potentially other       6   THE WITNESS:
         7   products. But quant- -- quantifying which study,     7          Yeah.
         8   I would have to go through study by study to         8          There's a -- I can get them --
         9   answer any questions about which specific may be     9   MS. BROWN:
        10   included.                                           10   Q        Are the published methods referenced in
        11   MS. BROWN:                                          11   your report, Doctor?
        12   Q       Do you include talc-containing              12   A        No, actually, those are not.
        13   deodorizing sprays in your definition of a talcum   13   Q        Okay. How would you go about finding
        14   powder product?                                     14   the published methods that contain a description
        15   A       None of the literature that -- that I       15   of the methodology you employed in this case?
        16   reviewed or can recall was limited to those         16   A        No. It's that I was just saying that
        17   deodorant sprays in terms of a -- as a study        17   there's a published -- peer-reviewed published
        18   variable that I can -- that I can think of.         18   article that is the same as the method I used, if
        19   Q       I'm not sure what you mean by that.         19   you -- if you wanted to review that. I didn't
        20   A       So the -- the basis of this report was      20   reference this specific paper in the report.
        21   on the talcum powder products, and I don't recall   21   Q        Okay. And you have a -- do you have a
        22   any of the studies that delineated talcum powder    22   copy of that in front of you right now, Doctor?
        23   as a powder versus a talc-containing deodorant      23   A        I do.
        24   spray as a -- as a variable in the study. So I      24   Q        Okay. So let's mark that as Exhibit


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         1   14.                                                  1   MS. O'DELL:
         2         (DEPOSITION EXHIBIT NUMBER 14                  2          Object to the form.
         3          WAS MARKED FOR IDENTIFICATION.)               3   A        No, that's not true.
         4   MS. BROWN:                                           4   MS. BROWN:
         5   Q       The title of the document is                 5   Q        The lawyers for plaintiffs found
         6   "Evaluating Biological Plausibility in Supporting    6   Exhibit 14 in the scientific literature; correct?
         7   Evidence For Action Through Systematic Reviews in    7   A        That's correct.
         8   Public Health."                                      8   Q        In reviewing the scientific literature,
         9          When is the first time you reviewed           9   did you pay attention to the articles that
        10   this document, Doctor?                              10   classify different types of talcum powder
        11   A       In the last -- the last day or so.          11   products?
        12   Q       Was the document provided to you by the     12   MS. O'DELL:
        13   lawyers for plaintiffs?                             13          Object to the form.
        14   A       Yes.                                        14   A        Could you give a specific example, and
        15   Q       The document is not referenced in your      15   then I --
        16   report. True?                                       16          I wouldn't be able to answer without
        17   A       It is not referenced. That's correct.       17   knowing.
        18   Q       You did not review the document prior       18   MS. O'DELL:
        19   to writing your report; correct?                    19   Q        Sure.
        20   A       That's right.                               20          Do you understand that some of the talc
        21   Q       The document was something the lawyers      21   epidemiology separates use by type of talcum
        22   for plaintiffs gave you after you had already       22   powder product?
        23   written and authored your report; correct?          23   MS. O'DELL:
        24   A       That's correct. I provided that as an       24          Objection to form.

                                                 Page 143                                                 Page 145
         1   example of the -- of a published example of the      1   A        Again, do you have a specific example
         2   methodology that I employed.                         2   of one of the studies so I could -- so I'd be
         3   Q       You didn't endeavor to research the          3   able to accurately answer your question?
         4   scientific literature to find a published --         4   MS. BROWN:
         5   published example of your methodology, did you?      5   Q        Here's what I want to know. Did you
         6   MS. O'DELL:                                          6   look at the studies that separated deodorizing
         7          Objection to form.                            7   sprays from powder products from cornstarch, for
         8   A       I -- it wasn't -- that wasn't what I         8   example?
         9   was -- I wasn't asked to reference the               9   A        Certainly in my review I made as
        10   methodology in my report. I was, again, asked to    10   comprehensive a review of available literature
        11   provide an opinion on a biologically plausible      11   as -- as possible. And, again, if you can name a
        12   mechanism and then, since our discussion has        12   specific study or one of the references, I can
        13   transferred to methodology, to be complete, I       13   confirm if that was -- if that was part of
        14   wanted to provide an example of a published         14   the -- my review of the epidemiology.
        15   version of the methodology that -- that is          15   Q        Do you hold the opinion that talcum
        16   similar to or at least describes in a summary or    16   powder-containing deodorant sprays causes
        17   really in that particular paper an exemplary        17   inflammation?
        18   fashion of the criteria for biological              18   MS. O'DELL:
        19   plausibility and the methods used therein.          19          Objection to form. Vague.
        20   MS. BROWN:                                          20   A        So if the --
        21   Q       Exhibit 14 is the product of research       21          Again, I was asked to provide an
        22   the lawyers for plaintiffs conducted on a           22   opinion on the biologically plausible mechanism
        23   published article regarding your methodology.       23   regarding talc and talcum powder. So,
        24   True?                                               24   presumably, any product that contains talcum


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         1   powder could possibly follow that same               1          Objection to form. Vague.
         2   biologically plausible mechanism.                    2   A        My -- my opinions are based on the
         3   MS. BROWN:                                           3   available scientific literature regarding the
         4   Q        Is there a certain amount of talcum         4   testing performed on talcum powder and talcum
         5   powder that a product must contain to cause          5   powder products.
         6   inflammation?                                        6          I -- in my review of those results, I
         7   MS. O'DELL:                                          7   did not see a specific enumeration of any one
         8           Objection to form.                           8   particular chemical composition that was -- had a
         9   A        That wasn't something I was asked           9   greater or lesser cause or effect relationship.
        10   to -- to quantify, similar to the discussions we    10   MS. BROWN:
        11   had about metals, fragrances, and asbestos.         11   Q        Do you know how much talcum powder is
        12   MS. BROWN:                                          12   in the Shower to Shower product?
        13   Q        In forming your opinion that talcum        13   A        No. I wasn't -- I wasn't asked to
        14   powder products cause inflammation, you have not    14   quantify that, and I would defer to some of the
        15   attempted to quantify how much talcum powder is     15   other expert reports regarding the composition of
        16   in those products; is that right?                   16   those products.
        17   MS. O'DELL:                                         17   Q       Do you include cornstarch as a talcum
        18           Objection to form. Asked and answered.      18   powder product?
        19   A        So my -- my review included a number of    19   MS. O'DELL:
        20   studies that looked at exposure rates, and my       20          Object to the form.
        21   review also included the review of some studies     21   A        Cornstarch was included in some of the
        22   that did not include use frequency as well as use   22   epidemiology studies, as you -- as you mentioned
        23   duration. And, so, both of those considerations     23   a moment ago.
        24   in terms of my review of the epidemiology were      24   MS. BROWN:


                                                 Page 147                                                 Page 149
         1   undertaken, but I did not attempt to quantify        1   Q       Do you consider cornstarch to be a
         2   those relationships specifically.                    2   talcum powder product that also causes
         3   MS. BROWN:                                           3   inflammation?
         4   Q        Okay. So there's two different issues       4   MS. O'DELL:
         5   there that I want to ask you about. One, I want      5          Object to the form.
         6   to talk to you about whether the talcum powder       6   A       My -- my review of the literature
         7   products you've described on page 17 of your         7   doesn't -- I'm thinking through the available
         8   report have a specific composition, in your mind.    8   studies, and I don't recall which studies that
         9   Okay?                                                9   may -- may have been a dependent variable in
        10          Two, I want to talk to you about what        10   terms of the determination. So I -- I can't
        11   you were just answering, which is is there a        11   answer that. I -- I don't have the information
        12   specific amount of the product that you believe     12   to answer that accurately.
        13   causes inflammation.                                13   MS. BROWN:
        14          Do you understand the difference?            14   Q       So, sitting here today, you're not sure
        15   A        I do.                                      15   if cornstarch would be a talcum powder product
        16   MS. O'DELL:                                         16   that causes inflammation as you described on page
        17          Objection to form.                           17   17?
        18   MS. BROWN:                                          18   MS. O'DELL:
        19   Q        Okay. So let's start, one, with the        19          Objection.
        20   product. In forming the opinion that talcum         20   A       No. So --
        21   powder products cause inflammation, is there a      21   MS. O'DELL:
        22   particular chemical composition that you are        22          Misstates the testimony.
        23   relying on?                                         23          But you may answer if you understand
        24   MS. O'DELL:                                         24   the question.


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         1   A        So corn -- cornstarch and -- and talcum     1   on knowledge of how much talcum powder is
         2   powder are -- are -- when I'm referring to talcum    2   actually in the product; correct?
         3   powder and talcum powder products, cornstarch, as    3   MS. O'DELL:
         4   a singular component -- or singular product, is      4           Objection. Misstates his testimony.
         5   not included in that definition.                     5   A        Again, not a -- it wasn't part of -- it
         6          Now, whether products that contain talc       6   wasn't an opinion I was asked to provide.
         7   also contain cornstarch, I -- I'm not able to        7           The -- the only -- or, I should say,
         8   say.                                                 8   a -- a study that looked at the -- summarizing
         9   MS. BROWN:                                           9   the epidemiology literature that I reviewed, some
        10   Q        Right. And so that's my question.          10   of those studies had a duration and component as
        11   What about a product like Shower to Shower that     11   far as general talcum powder and talcum powder
        12   contains talc and cornstarch? How have              12   product use.
        13   you -- what methodology have you employed to        13   MS. BROWN:
        14   arrive at the conclusion that the Shower to         14   Q        And I want to --
        15   Shower product causes inflammation?                 15   A        I don't --
        16   MS. O'DELL:                                         16   MS. O'DELL:
        17          Object to the form.                          17           Excuse me. Let him finish.
        18   A        So my -- what I was requested was to       18   A        I was -- I was going to say I don't
        19   write an opinion as to the, again, the              19   recall those quantitating the percentage of
        20   biologically plausible mechanism that exposure to   20   talcum powder in a -- in a given product in the
        21   talc and its constituents can lead to               21   study.
        22   inflammation.                                       22   MS. BROWN:
        23          I wasn't asked to provide as to what         23   Q        Right. And, so, you're getting a
        24   the minimum or maximum thresholds are of any        24   little into the second question, which I do want

                                                 Page 151                                                 Page 153
         1   product or of any component of that product or       1   to talk about, which is how much people are
         2   constituent.                                         2   exposed to.
         3          The information I was provided was the        3           But sticking with just what's in the
         4   analysis of products like Shower to Shower and       4   product, have you made a determination that there
         5   Johnson & Johnson's product, to evaluate the         5   is a threshold amount of talcum powder that is
         6   spectrum of talc and asbestos contamination in       6   required to be in a product before you can
         7   some of the constituent components, and then --      7   conclude that that product will cause chronic
         8   and, therefore, develop an opinion as to             8   inflammation?
         9   the -- whether or not that those products are        9   MS. O'DELL:
        10   supported by the same mechanism that I developed    10           Objection to form. Asked and answered.
        11   the opinion on, meaning they have the constituent   11   A        I -- again, I wasn't asked to provide
        12   components to cause inflammation.                   12   that -- that threshold opinion.
        13   MS. BROWN:                                          13   MS. BROWN:
        14   Q       You have not made a determination of a      14   Q        And understanding whether or not there
        15   particular amount of talcum powder that is          15   is a threshold of how much talcum powder has to
        16   required to be in a product for it to cause         16   be in a product to cause inflammation is not
        17   chronic inflammation; correct?                      17   necessary for you to opine that talcum powder
        18   MS. O'DELL:                                         18   products cause chronic inflammation?
        19          Object to the form.                          19   MS. O'DELL:
        20   A       I wasn't asked to provide such an           20           Objection. Misstates his testimony.
        21   opinion.                                            21   A        So my -- my use of the terminology
        22   MS. BROWN:                                          22   "talcum powder products" includes the product and
        23   Q       Your opinion that talcum powder             23   all of its constituent components, which would
        24   products cause chronic inflammation is not based    24   be, as we earlier discussed, talcum powder,


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         1   fragrances, and any contaminating substances,        1   exposure to inflammation to the initiation of
         2   such as asbestos or -- or heavy metals.              2   core progression of cancer. And that's -- that's
         3          And, so, therefore, to -- to more -- to       3   been the focus of my opinion.
         4   answer -- to be able to answer your question         4   MS. BROWN:
         5   accurately, we would -- I think we would have to     5   Q       Have you attempted to quantify talc
         6   have some discussions as to the type of talcum       6   exposure as it relates to individuals?
         7   powder and the level of exposure to be able to       7   A       No, I have not.
         8   answer that regarding my opinion in terms of         8          Again, my -- my opinions are primarily
         9   level.                                               9   limited to the -- to the biological mechanism.
        10          You know, the -- to clarify, the --          10   Q       Well, isn't that dependent, though, on
        11   during this research and the -- and having the      11   how much talc a person is exposed to?
        12   opportunity to review much of the literature in     12   MS. O'DELL:
        13   talcum powder, it's a -- it's a fascinating field   13          Objection.
        14   because it is similar to asbestos. It appears       14   A       No. Again, separating the -- so the
        15   that the diversity of products and the diversity    15   question of the mechanism is --
        16   of talc sources are like having a thorn bush with   16          Can an exposure result in a mechanism
        17   different size thorns, and, depending on the        17   is separate from how much of an exposure is
        18   constituent components, you know, those thorns      18   required to cause that mechanism.
        19   are bigger or smaller or otherwise. And -- but      19   MS. BROWN:
        20   my opinion is based on the fact that the presence   20   Q       So you've identified two questions for
        21   of any of those thorns is sufficient to cause       21   us. One, can exposure result in a mechanism.
        22   some inflammatory response.                         22   Correct?
        23   MS. BROWN:                                          23   A       (Nods affirmatively.)
        24   Q        Does a talcum powder product with 10       24   Q       And, two, how much of an exposure do

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         1   percent talc cause chronic inflammation, in your     1   you need to produce a mechanism. Correct?
         2   view?                                                2   MS. O'DELL:
         3   MS. O'DELL:                                          3          Objection to form.
         4           Object to the form. Incomplete               4   A        Correct.
         5   hypothetical.                                        5   MS. BROWN:
         6   A        I -- I don't have the information to        6   Q        And, in this case, you have answered
         7   answer that.                                         7   question number one, can exposure to talc cause
         8   MS. BROWN:                                           8   chronic inflammation. Correct?
         9   Q        Does a talcum powder product with           9   A        So my -- yeah. My -- my report details
        10   50 percent talc cause chronic inflammation, in      10   the -- that opinion regarding a biologically
        11   your view?                                          11   plausible mechanism.
        12   A        Again, I don't have the information to     12   Q        You have not, in this case, answered
        13   answer that.                                        13   question number two, which is how much exposure
        14   MS. O'DELL:                                         14   to talc is needed to cause chronic inflammation.
        15           Object to the form.                         15   Is that right?
        16   MS. BROWN:                                          16   MS. O'DELL:
        17   Q        Is it necessary for you to determine       17          Objection to form.
        18   the level of talc in a product before determining   18   A        I wasn't asked to provide such a
        19   that it can cause chronic inflammation?             19   mechanism or such a -- such an opinion.
        20   MS. O'DELL:                                         20          Part of my review included some of the
        21           Objection. Asked and answered.              21   epidemiology studies that examine that question,
        22   A        No. My -- my -- so my opinion was          22   but I certainly would defer to the -- the number
        23   asked to answer the question of can -- is there a   23   of -- of epidemiologists who are -- who are
        24   biologically plausible mechanism from talc          24   providing testimony in this case, rather than try


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         1   and paraphrase or opine on their work.              1   epidemiology studies found that conclusion and,
         2   MS. BROWN:                                          2   as -- as reviewed in the report, you know, found
         3   Q        Do you believe --                          3   an increased risk with increasing -- increasing
         4   MS. O'DELL:                                         4   exposure appears, with the current knowledge in
         5          Excuse me. We've been going about an         5   the literature, to increase risk. But my opinion
         6   hour and 15 minutes. I'd love to take a break in    6   was not to further quantify or further describe
         7   the next two or three minutes and --                7   that.
         8   MS. BROWN:                                          8   MS. BROWN:
         9          It will probably take me a little            9   Q        Many of the studies you looked at did
        10   longer than that, but I'm mindful of the time,     10   not show a dose response; correct?
        11   and I'll just finish this subject and take a       11   MS. O'DELL:
        12   break --                                           12          Objection to form.
        13   MS. O'DELL:                                        13   A        The limitation of several of the
        14          Well, Dr. Levy, would you like a break      14   studies I reviewed was that they did not examine
        15   now?                                               15   a dose response, so that, therefore, the study
        16   THE WITNESS:                                       16   was unable -- unable to make that conclusion
        17          I think we can finish this subject.         17   because they didn't look.
        18   MS. BROWN:                                         18   MS. BROWN:
        19          Thank you.                                  19   Q        And some of the studies that did
        20   THE WITNESS:                                       20   attempt to look at duration and/or frequency did
        21          I -- I'd rather conclude it than break      21   not show a linear dose response. Correct?
        22   it up.                                             22   A        I would have to look at the specific
        23   MS. BROWN:                                         23   studies. But in -- in summary, studies that did
        24   Q        So, Doctor, as it relates to how much     24   look at dose response, particularly more recent

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         1   talc is needed to cause inflammation that can       1   studies with larger numbers of participants, the
         2   cause cancer, that wasn't what you were asked to    2   meta-analysis studies, found a significant
         3   figure out in this case. Is that right?             3   relationship between duration of use as well as
         4   MS. O'DELL:                                         4   frequency of use in terms of their -- their risk
         5           Objection to form.                          5   ratios.
         6   A        No. Well, I -- I was -- I was asked to     6   Q        And you are not going to offer the
         7   provide a review of the literature in terms of      7   opinion in this case that a woman using Johnson's
         8   talc exposure and inflammation and, in that         8   Baby Powder products perineally is exposed to
         9   review, identified a number of studies that         9   enough talcum powder to cause chronic
        10   examined some relationships to dose.               10   inflammation that can cause cancer. True?
        11           But I -- as you -- as you see in my        11   MS. O'DELL:
        12   conclusions, none of them speak to dose or         12           Object to the form.
        13   duration in terms of that -- of that mechanism.    13   A        I -- I wasn't asked to -- to provide
        14   MS. BROWN:                                         14   that opinion.
        15   Q        You are not offering an opinion in this   15   MS. BROWN:
        16   case, Doctor, that perineal use of talcum powder   16   Q        And so, as such, you haven't attempted
        17   exposes an individual to enough talc to cause      17   to quantify how much talcum powder, as used
        18   chronic inflammation than can cause cancer;        18   perineally, might get to the ovary. Is that
        19   correct?                                           19   fair?
        20   MS. O'DELL:                                        20   A        Again, wasn't -- wasn't asked. I was
        21           Objection to form.                         21   able to review some of the literature that
        22   A        My review of studies that attempted to    22   is -- appears to be long -- longstanding, well
        23   answer that specific question found a -- or a      23   established over the last greater than 40 years
        24   number of studies, both -- or a number of          24   that show a clear -- and I believe the FDA


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         1   statement is -- is describing it as inarguable --    1   talc has to reach the ovary for the chronic
         2   that talc can migrate either from perineal           2   inflammation to occur. Is that right?
         3   exposure or even from inhalation exposure and be     3   MS. O'DELL:
         4   found in the ovary.                                  4          Objection.
         5          A quantitation of how much exposure is        5   A       Not -- specific to your question,
         6   required for that migration to occur and -- or       6   chronic inflammation, no, not necessarily.
         7   how many times of exposure that migration needs      7   MS. BROWN:
         8   to occur, I think it's been a fairly wide            8   Q       Is it your opinion in this case,
         9   diversity of -- of studies on that subject.          9   Doctor, that a woman can develop ovarian cancer
        10          And, so, based on that, I'm not able to      10   from chronic inflammation from talc without any
        11   offer an opinion as to a minimal or maximum dose    11   particle of talc ever reaching the ovary?
        12   required to get there, other than -- but,           12   MS. O'DELL:
        13   instead, state that there is enough evidence to     13          Objection to form.
        14   say factually that migration through the -- or      14   A       No, I didn't -- I -- I certainly did
        15   through at least two mechanisms of exposure, talc   15   not make that statement. And the --
        16   can be found in the ovary. And I would suggest      16          Again, restating the -- this summary of
        17   that -- or I'm not aware of any study that          17   my -- my opinion, that the biologically plausible
        18   quantitates that further.                           18   mechanism for talc exposure to inflammation to
        19   Q        Is it essential to your opinion that       19   cellular damage and then potentially creating the
        20   talc causes chronic inflammation that can lead to   20   correct environment is based on evidence showing
        21   ovarian cancer that some amount of talc be          21   talc exposure in the ovary.
        22   present in the actual ovary?                        22   MS. BROWN:
        23   MS. O'DELL:                                         23   Q       Okay. So critical to your opinion,
        24          Object to the form.                          24   then, some talc has to get to the ovary at some


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         1   A       So my -- my -- my opinion regarding the      1   time; right?
         2   biologically plausible mechanism, again, does not    2   A       Well, the -- again, the -- my opinion
         3   rely on duration of exposure or amount of            3   is not based on how talc migrates or -- or when
         4   exposure.                                            4   it can migrate. It's simply based on the, again,
         5          So, therefore, I would -- I would             5   that biological premise, that exposure to talc.
         6   answer your question directly that it would be       6          So I wasn't asked to opine whether or
         7   no, it does not -- it would not necessarily          7   not talc exposure in a neighboring tissue could
         8   require talc to be present at the ovary at any       8   cause enough of an inflammatory response to
         9   given time point for there to be the potential       9   affect the ovary.
        10   that she had some inflammatory injury due to talc   10          So there is the, certainly, the
        11   exposure at a previous time.                        11   uninvestigated secondary effects that perhaps
        12          That would, of course, be two different      12   talc did not -- is not necessary or -- and
        13   questions, one being effect of exposure and         13   required to get to the ovary to cause that
        14   second question being is there clearance of that    14   effect. I'm -- I'm just not aware of any studies
        15   exposure over time if use is discontinued.          15   that have made that delineation of talc exposure
        16          So that's, again, two different -- two       16   to neighboring or surrounding organs.
        17   very different scientific studies would be --       17          There is limited or some suggestion
        18   would be necessary.                                 18   regarding the inflammatory response related to
        19   MS. BROWN:                                          19   talc exposure in the lung that suggests that any
        20   Q       And you have not undertaken either of       20   talc exposure causes an inflammatory response.
        21   those studies. Is that fair?                        21   Again, but I can't point you to evidence that
        22   A       That's fair.                                22   would take that inflammatory response and tie it
        23   Q       And -- but essential to your theory,        23   specifically to ovarian cancer.
        24   though, Doctor, at some point, some amount of       24          So, again, my answer is there is not


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         1   enough evidence to -- to support nor refute that     1   by well-established biological facts?
         2   any talc exposure can lead to an increased risk      2   A        I would say the -- that chronic
         3   of ovarian cancer. What I do know from my review     3   inflammation as a component of causing ovarian
         4   of the literature is the studies that looked at      4   cancer is well established by biologically
         5   that specific exposure --                            5   plausible facts.
         6          And, to be clear, none of the                 6   Q        And what are those facts?
         7   epidemiology studies in humans quantitated the       7   A        I think a number of studies that
         8   amount of talc reaching the ovary. It was simply     8   include the, first, the -- that talc or talcum
         9   the exposure and the -- and the perineal use of      9   powder causes inflammation. These exist in a
        10   talc. So I think any discussion about how much      10   number of forms, including very recent -- recent
        11   did it reach the ovary and how long was it in the   11   research by Dr. Saed, as we were -- touched on a
        12   ovary is all hypothetical.                          12   little bit earlier in the -- in his paper, as
        13   Q        Why don't we go off the record and take    13   well as classical studies with talc pleurodesis
        14   a break.                                            14   where there's -- you know, the fundamentals of
        15          Thank you, Doctor.                           15   that treatment is the inflammatory response
        16   VIDEOGRAPHER:                                       16   caused by talc.
        17          Going off the record. The time is            17   Q        Uh-huh.
        18   11:51 a.m.                                          18   A        And, so, that would be the -- some of
        19               (LUNCH RECESS.)                         19   the -- two examples of where factual information
        20   VIDEOGRAPHER:                                       20   or at least observations that are supportive
        21          We're back on the record. The time is        21   of -- of that information, you know, being
        22   12:52 p.m.                                          22   considered as a bio- -- part of a biologically
        23   MS. BROWN:                                          23   plausible mechanism.
        24   Q        Welcome back, Doctor.                      24   Q        You would agree, Doctor, that not all

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         1          You were asked in this case to assess         1   inflammation causes cancer; correct?
         2   whether perineal use of talcum powder products       2   A        I would say inflammation is not
         3   induces a biologically plausible mechanism or        3   singularly responsible for cancer. However, I
         4   mechanisms that result in ovarian cancer.            4   would clarify that the progression from cellular
         5   Correct?                                             5   transformation to malignant cancer, at least with
         6   A        Correct.                                    6   our current understanding of cancer biology,
         7   Q       And define for us, if you will,              7   appears to have an inflammatory requirement,
         8   "biologically plausible mechanism" as you used it    8   meaning that all cases of chronic inflammation
         9   in that sentence.                                    9   don't necessarily cause cancer. However, our
        10   A        Excuse me. A mechanism that is             10   understanding of malignant transformation appears
        11   biologically plausible, I mean that it is           11   to have, universally, an inflammatory component.
        12   supported by either well-established biological     12   Q        Okay. You would agree, though, that
        13   facts or supported by at least a single line of     13   not all types of inflammation that the body
        14   evidence in published literature -- you know,       14   experiences is inflammation that will lead to
        15   generally speaking, peer-reviewed literature but    15   cancer. Correct?
        16   certainly not limited to that -- where when you     16   MS. O'DELL:
        17   take -- when you consider the totality of the       17          Object to the form.
        18   mechanism, that, essentially, each of the steps     18   A        So I would -- taking a step back
        19   makes sense and is -- is supported by -- through    19   and -- and -- or to orient us to some of the
        20   either direct or indirect observations.             20   basis of my opinions and some statements on
        21   Q        Okay. And, in this case, as it relates     21   general cancer biology --
        22   to talcum powder, do you believe that the           22   MS. BROWN:
        23   biologically plausible mechanism of chronic         23   Q        Well, let's start with just the
        24   inflammation causing ovarian cancer is supported    24   question, though, Doctor.


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         1   A       Okay.                                        1   cause cancer. The -- you need a contribution of
         2   Q       Okay. Let's just keep it to an answer        2   other factors. And what those factors are is --
         3   to the question. And then if you need an             3   some are understood. Some are areas of active
         4   opportunity to make another statement on the         4   research.
         5   record, that's fine.                                 5           In the -- in the specific case of
         6   MS. O'DELL:                                          6   ovarian cancer, it does appear, given the
         7          Excuse me. Just object to the                 7   late- -- given the observations about latency
         8   direction of the witness.                            8   period, that some level of chronic inflammation
         9          Dr. Levy, you can answer a question           9   appears to be critical, but there is no
        10   however you'd like.                                 10   definition of it being required to then having
        11   MS. BROWN:                                          11   acute inflammation, again, in summary, causing
        12   Q       And, just to orient you, Doctor, what       12   cellular damage and then chronic inflammation
        13   I'm after, the question was: Not all                13   providing a -- a supportive environment for that
        14   inflammation that takes place in the body is        14   transformation.
        15   inflammation that leads to cancer; correct?         15           And, again, I'm -- I'm generalizing,
        16   MS. O'DELL:                                         16   which, as we discussed earlier in the day, cancer
        17          Object to the form.                          17   is very complex, and so we have to be cautious
        18   A       So that, yeah, it's really too general      18   with generalizations.
        19   a question. So you're -- you're -- what you're      19   Q        Talc pleurodesis is a medical procedure
        20   asking is does all inflammation have the            20   by which talc is injected into the pleura;
        21   potential to have -- have a relationship to         21   correct?
        22   cancer, and the answer to that is -- is yes, it     22   A        Correct.
        23   does.                                               23   Q        And it is done that purposefully to
        24          Now, does every inflammatory response        24   elicit an inflammatory response. Correct?

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         1   directly cause cancer? And that's a question         1   A       That's correct.
         2   that I would say would be reasonable to -- in        2   Q       And have you looked in consid- --
         3   layperson's terms, in terms of general               3   forming your opinions in this case at the body of
         4   inflammation, is unlikely.                           4   epidemiology that has followed folks who received
         5           But there -- their distinction               5   talc pleurodesis to see if they developed cancer?
         6   between -- is -- you know, stated simply, is         6   MS. O'DELL:
         7   inflammation is a -- by our current knowledge of     7          Object.
         8   cancer, is a necessary component of cancer           8   A       Somewhat, yes.
         9   progression. That does not equate to all             9   MS. BROWN:
        10   inflammation causing cancer.                        10   Q       And are you familiar with the findings
        11   MS. BROWN:                                          11   of those studies that talc, when injected
        12   Q        Does acute inflammation cause cancer,      12   directly into the pleura for the purpose of
        13   in your mind, Doctor?                               13   causing inflammation, had not caused cancer?
        14   A        It is a component of the cancer            14   MS. O'DELL:
        15   progression process. And, so, in my -- to           15          Object to the form.
        16   provide a simplistic distinction between them is    16   A       I would disagree with your conclusions.
        17   a --                                                17   And, in fact, the literature I reviewed has, I
        18           Acute inflammation which results in         18   think, two fundamental concerns. One is the time
        19   either an inflammatory response or direct           19   period that these patients were followed post
        20   cellular insult or injury can be viewed as having   20   pleurodesis, and the other that there -- there
        21   a -- causing cellular damage that results           21   have been at least one report, perhaps two -- I
        22   in -- in cellular transformation.                   22   would have to review to make sure I'm speaking
        23           Now, that is not sufficient for that --     23   accurately -- where there was indeed a
        24   for those transformed cells to then go on to        24   asbestos-like response in the formation of a


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         1   mesothelioma-like event in the -- in the -- in       1   mid-'80s to early '90s. I'd have to, again, have
         2   the pleural space following talc pleurodesis.        2   to review that --
         3          However, you know, taking a step back,        3           I gave that specific example of a
         4   given the relative rarity of that as a procedure,    4   patient or cohort of patients that were found to
         5   particularly today, I think drawing conclusions      5   have, again, asbestos-like effects in the lung
         6   from that as its -- as its relationship to cancer    6   leading to, at least in a case or more than
         7   would be difficult, but I -- I do think              7   perhaps more than one case, a mesothelioma-like
         8   fundamentally the -- my use of that as an example    8   effect like we -- like I just mentioned.
         9   was not necessarily to tie talc specifically to      9           But, again, to point you to the exact
        10   cancer. It was more to state that it's well         10   reference, I'd have to review.
        11   established that platy talc individually as it --   11   MS. BROWN:
        12   used in those procedures causes an inflammatory     12   Q         Are you relying on that reference in
        13   response. And so, you know -- and that is the       13   forming your opinions in this case?
        14   primary reason I used or reviewed that literature   14   A         No. Specifically -- again, to restate
        15   for that purpose.                                   15   the -- my description of the pleurodesis process
        16   MS. BROWN:                                          16   was to support the early part of the biological
        17   Q       Is it your opinion, Doctor, that talc       17   mechanism that talc causes inflammation. So
        18   pleurodesis leads to cancer?                        18   that -- and, so, in the lung as a tissue, that
        19   MS. O'DELL:                                         19   progression to cancer is -- is -- I think is a --
        20          Object to the form.                          20   is a -- is a supportive observation to the -- to
        21   A       It is my opinion that talc pleurodesis      21   my overall principle. But, again, it's a
        22   creates an environment supportive of cancer. And    22   separate -- separate exposure type, certainly a
        23   whether or not some number of individuals may       23   very different dosing, potentially, and, again, a
        24   progress, could progress or have progressed to      24   very different patient, or the patient is a very

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         1   cancer is -- you know, is -- is of limited           1   different individual in the sense that they
         2   knowledge right now.                                 2   obviously have reasons for going through the talc
         3   MS. BROWN:                                           3   pleurodesis which are -- which are -- which are
         4   Q        What scientific support do you have for     4   potentially compounding to the overall phenotype.
         5   your opinion that talc pleurodesis creates an        5   Q        Have you endeavored to quantify the
         6   environment supportive of cancer?                    6   difference between exposure to talc from
         7   A        Oh, just that it causes an inflammatory     7   pleurodesis versus perineal use of cosmetic
         8   response. And, as we've been discussing, there       8   talcum powder products?
         9   is ample evidence surrounding the role of            9   MS. O'DELL:
        10   inflammation in cancer. There's a -- you know,      10           Object to the form.
        11   in a number of both reference studies and I think   11   A        I have -- I have not attempted to
        12   generally, I would -- I would state that it's a     12   delineate those two simply from the perspective
        13   generally accepted fact in cancer biology.          13   that, again, to the biological mechanism, the
        14   Q        What scientific support do you have for    14   initial premise is talc causes inflammation. And
        15   your opinion that talc pleurodesis patients later   15   when I examined literature to look for evidence
        16   can and do develop cancer?                          16   of that historically, talc pleurodesis is one
        17   MS. O'DELL:                                         17   example of inflammation. There's now others, and
        18          Object to the form. Misstate his             18   there's, subsequent to that, there's been
        19   testimony.                                          19   a -- now a number of -- or, you know, probably
        20   A        I'd have to review my -- review some of    20   a --
        21   the literature. And I can take a look if we want    21           Dr. Saed is one example of a reasonably
        22   to pause for a moment.                              22   comprehensive molecular study examining specific
        23          But there was -- I recall one study          23   inflammatory markers tied specifically to
        24   involving talc pleurodesis that was maybe           24   cellular exposure to, in the case of that paper,


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         1   specific products, you know, such as the Shower      1   powder products cause chronic inflammation in
         2   to Shower and the -- and baby powder.                2   your November 2018 report before having seen the
         3   MS. BROWN:                                           3   Saed paper from 2018; correct?
         4   Q       Do you believe the inflammation caused       4   MS. O'DELL:
         5   by talc pleurodesis is chronic inflammation that     5          Object -- object to the form.
         6   leads to cancer?                                     6   Misstates his testimony.
         7   MS. O'DELL:                                          7   A       The -- so, as we discussed -- we
         8          Objection to form. Asked and answered.        8   discussed earlier, I had seen abstract
         9   A       Again, I believe the inflammatory            9   information as well as earlier publication from
        10   response to talc exposure, which would include      10   Dr. Saed's group and that the current 2018 paper,
        11   talc pleurodesis, induces an inflammatory           11   while not necessary for the opinions described in
        12   response that would be supportive of cancer         12   the report, certainly support those opinions,
        13   development and/or progression.                     13   given that it was a direct assessment of specific
        14   MS. BROWN:                                          14   products, specific -- in specific doses applied
        15   Q       And what scientific literature other        15   to cellular material and then measurements for
        16   than the one study you just referenced for us do    16   inflammation made directly on that material.
        17   you rely on for your opinion that talc              17          So while that particular study was
        18   pleurodesis induces an inflammatory response that   18   not --
        19   would be supportive of cancer development and/or    19          And, again, the -- the earlier studies
        20   progression?                                        20   that were used to inform the 2018 paper were
        21   MS. O'DELL:                                         21   certainly used in this report and referenced
        22          Object to the form.                          22   the --
        23   A       All my -- my opinion is based on            23          And I'm just recalling when. Or if
        24   connecting two basic concepts. Talc exposure        24   we've refer- -- had the opportunity to reference


                                                 Page 179                                                 Page 181
         1   causes inflammation. Inflammation has a              1   the --
         2   significant role in cancer development.              2           Yeah. So we reference primarily the
         3          And, so, as far as -- each of those is        3   abstracts and then, again, as well as some of the
         4   supported by individual -- individual studies,       4   other Saed work, which is the foundation of the
         5   and -- and now -- as I mentioned, there are now      5   directed studies that are described in the
         6   studies that directly tie those together in          6   Reproductive Sciences paper that is Exhibit 12.
         7   observation.                                         7   MS. BROWN:
         8   MS. BROWN:                                           8   Q        Do you know that Dr. Saed is a paid
         9   Q       What is the scientific basis for your        9   expert for the plaintiffs' lawyers in this
        10   support that talc exposure causes the type of       10   litigation?
        11   inflammation that has been linked to cancer?        11   A        I am aware. Yes.
        12   A       The most recent is the Saed publication     12   Q        Have you considered that fact in
        13   that we discussed and -- or at least has been       13   evaluating Dr. Saed's work?
        14   mentioned. In that study, looking at -- there       14   A        I did.
        15   was a assessment and, in some cases, a              15   Q        Other than Dr. Saed's work from 2017
        16   quantitation of the specific molecular markers      16   and 2018, what evidence are you relying on to
        17   for inflammation that were induced, and many        17   support your opinion that talcum powder produces
        18   of -- some of those markers are shared with known   18   the type of inflammation that can lead to cancer?
        19   markers for -- for cancer progression, such as      19   A        There has been -- looking through
        20   CA 125, as well as others.                          20   the -- there's the Buz'Zard and Lau, 2007. We
        21   Q       Are you referring to Saed's 2018 paper,     21   were discussing the Hamilton -- Hamilton paper in
        22   Dr. Levy?                                           22   terms of immune response but then, more
        23   A       Yes.                                        23   specifically, the NTP reference in 1993. And in
        24   Q       And you formed the opinions that talcum     24   those cases, that was either looking at increases


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         1   in reactive oxygen species generation --             1   the details, and I -- there -- I am aware
         2   THE COURT REPORTER:                                  2   of -- mentioned earlier the Woodruff or Woodford,
         3          Wait a minute. You have to slow down          3   the earlier 1971 paper where I couldn't remember
         4   when you read, please.                               4   the author, is one of the earliest studies that I
         5   MS. O'DELL:                                          5   came across that had -- it has an animal model
         6          You may continue.                             6   study.
         7   A       Just to -- before I left off, I think,       7   MS. BROWN:
         8   in those mentioned references, the reactive          8   Q        Doctor, is it your testimony that --
         9   oxygen species generation, increased cell            9           First of all, do you think it's -- that
        10   proliferation, and the use of -- in the specific    10   in opining that there is a biologically plausible
        11   case of Buz'Zard and Lau, was looking at the        11   mechanism by which talcum powder causes chronic
        12   transformation in human ovarian cancer cells that   12   inflammation that can cause ovarian cancer, is it
        13   were treated with talcum powder -- sorry -- human   13   necessary, in your mind, to be able to show in
        14   ovarian cells treated with talcum powder.           14   animals that talcum powder does just that?
        15   MS. BROWN:                                          15   A        That talcum powder causes inflammation?
        16   Q       Other than Buz'Zard, Hamilton, and NTP,     16   Q        That causes ovarian cancer.
        17   is there anything else that you are relying on to   17   A        No, I don't -- I don't think that
        18   support your opinion that the inflammation caused   18   that's -- that's certainly not a requirement.
        19   by talcum powder is the type of inflammation that   19   And the reason I -- the reason I give that answer
        20   causes cancer?                                      20   is -- is quite simple; that there is a wide
        21   A       So there's additional references            21   diversity of animal model studies that have not
        22   mentioned in the report; Gates, Belot, Harper and   22   been able to mimic specifically or correctly
        23   Saed. And then, in addition to that, there was      23   human cancer for both -- both from a detection
        24   a --                                                24   and most often from a treatment perspective,


                                                   Page 183                                               Page 185
         1          Make sure I'm referring to the right          1   meaning that, fundamentally, humans and most --
         2   one.                                                 2   or at least the animal systems used as -- in
         3          So those were the -- those were the           3   scientific modeling are different. Some of their
         4   primary references. And then, of course, there       4   differences are due to different pathways, and
         5   were supporting materials and other earlier-cited    5   others of the differences are due to actually,
         6   work.                                                6   you know, fundamental immune system differences.
         7          But for the opinion regarding the type        7   Q       The Hamilton article that you
         8   of inflammation that is caused by exposure to        8   identified for me, we marked earlier in the
         9   talc and as far as its specific relationship to      9   deposition as Exhibit 7. Do you recall that?
        10   cancer, there's -- there's -- I would point to      10   MS. O'DELL:
        11   the, at least in the Saed work, the specific        11          Counsel, would you mind just placing
        12   quantitation of a very well-known tumor marker,     12   the exhibits by the witness so he can refer to
        13   CA 125, also known as mucin-16 elevation in that    13   them as he'd like, please.
        14   work, and then, in the case of Gates, some of the   14   A       Yes, I recall this.
        15   fundamental glutathione S-transferase has been      15   MS. BROWN:
        16   associated or has been observed as a higher risk.   16   Q       And you would agree with me, Doctor,
        17          And, so, that would -- those would be        17   that the Hamilton study that we discussed this
        18   some examples.                                      18   morning concluded that there were no neoplastic
        19   Q        Are you aware of any animal study,         19   changes in the animals that were injected with
        20   Dr. Levy, that shows the inflammation caused by     20   talcum powder; correct?
        21   talcum powder causing precancerous changes?         21   MS. O'DELL:
        22   MS. O'DELL:                                         22          Object to the form. Asked and
        23          Object to the form.                          23   answered.
        24   A        I would have to review the -- a few of     24   A       No. No, I -- I wouldn't agree.


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         1   MS. BROWN:                                           1   Q       So this article looked at talc that was
         2   Q        What evidence in Hamilton, Doctor, are      2   injected into animals and found no evidence of
         3   you relying on to support your position that         3   changes that lead to cancer. Correct?
         4   Hamilton showed neoplastic changes in animals        4   MS. O'DELL:
         5   injected with talc?                                  5          Objection to form.
         6   A        Well, I'm not -- I'm not stating that       6   A       Over the time period that they -- that
         7   Hamilton specifically showed that.                   7   the study was performed, they did -- they did
         8          What I'm stating is that -- that there        8   not -- they did not report, and, in fact, as you
         9   is a Hamilton study as an animal model system to     9   said, their statements are "no evidence of
        10   make the conclusion that, in this animal model      10   cellular atypia or mitotic activity."
        11   system, that talc or talcum powder does not -- or   11   MS. BROWN:
        12   that causes or does not cause ovarian cancer is     12   Q       So in opining, as you do in this case,
        13   not -- it's -- it is -- it has limitations.         13   that talcum powder can biologically induce
        14          And, as we discussed a bit earlier, the      14   chronic inflammation that causes ovarian cancer,
        15   two limitations are the very limited time points    15   what methodology did you employ to consider the
        16   of the animals. And if we look at the relative      16   findings of the Hamilton article?
        17   and observed time points that we know now, as far   17   A       Well, I considered the findings of the
        18   as latency period, these are well short of          18   Hamilton article, as -- as referenced in the
        19   those -- of those periods, even by rat standards,   19   report, primarily showing that talc has an
        20   and then the number of treated animals is           20   inflammatory or an immune response. And that was
        21   relatively small at ten. So the...                  21   the primary inclusion of the -- of the Hamilton
        22   Q        Doctor, do you rely on the Hamilton        22   paper.
        23   article to support your opinion that talcum         23   Q       Not all inflammatory or immune
        24   powder produces chronic inflammation that causes    24   responses lead to cancer; right?


                                                 Page 187                                                 Page 189
         1   ovarian cancer?                                      1   MS. O'DELL:
         2   A         No, I don't rely -- again, I don't rely    2          Objection. Asked and answered.
         3   on any -- there's not a reliance on any singular     3   A        As -- as we discussed, not -- not all
         4   article.                                             4   inflammatory responses have been shown to
         5   Q         Did not mean to suggest that, Doctor.      5   conclusively lead to cancer. And, so...
         6           I asked you for the scientific support       6   MS. BROWN:
         7   that you have for the opinions you're giving in      7   Q        And Hamilton does not support the
         8   this litigation, and one of the articles you         8   opinion that the type of inflammatory response
         9   identified was the Hamilton article. Correct?        9   that talc causes is the type that causes cancer.
        10   A         Uh-huh. Yes.                              10   Fair enough?
        11   Q         And I -- and this Hamilton article, as    11   MS. O'DELL:
        12   we discussed, at page 103, found no evidence of     12          Object to the form.
        13   neoplasm in the rats injected with talc. Right?     13   A        No. I would say that's unfair.
        14   A         They -- I -- I don't -- they did          14   Because, again, the limitation of the Hamilton
        15   not -- I don't recall seeing a description of       15   study at the time it was performed was -- is a
        16   neoplasm in the Hamilton article.                   16   very short timeline. So there is -- it is an
        17   Q         Page 103, second column, begins with      17   incomplete study in the sense that there is
        18   "No evidence."                                      18   certainly the possibility that the first aspect
        19   A         "No evidence of cellular atypia."         19   or the first event that we're -- that we've been
        20   Q         Uh-huh. "And concludes that in no         20   discussing in cancer biology, the cellular damage
        21   ovary was there any evidence of frank neoplasia";   21   to lead to transformation, could have occurred in
        22   right?                                              22   some of the rat tissues but had not progressed
        23   A         Yes. That's what's written in the         23   enough or had -- or had taken hold enough to
        24   paper.                                              24   cause or to have that be detected in this


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         1   particular study performed in the early '80s.        1   Q        Did you review, Doctor, the --
         2          And, furthermore, rat -- the rat model        2           And -- and what about the findings of
         3   for human cancer, since this study has been in       3   NTP support your opinion?
         4   other cases, has some limitations as it relates      4   A        Well, first, the inflammatory response,
         5   to how applicable it is to the human condition.      5   given the evidence by the accumulation of
         6   MS. BROWN:                                           6   macrophages, and then, secondly, that in the
         7   Q       The NTP study that you identified as         7   female rats, the incidences of alveolar and
         8   supporting your opinion, Doctor, that also does      8   bronchial or adenoma, carcinoma, and adenoma in
         9   not show evidence of neoplastic changes; is that     9   the 18-milligram-per-meter group were
        10   right?                                              10   significantly greater than those of controls.
        11   MS. O'DELL:                                         11   Q        So did you consider the FDA's findings
        12          Object to the form.                          12   as it relates to the evaluation of the NTP study?
        13          Doctor, please feel free to refer to         13   MS. O'DELL:
        14   the study if you need to.                           14           Object to the form. Vague.
        15   A       Yeah. I'll do that now.                     15   A        Which -- which FDA?
        16         (DEPOSITION EXHIBIT NUMBER 15                 16   MS. BROWN:
        17          WAS MARKED FOR IDENTIFICATION.)              17   Q        Have you considered, in connection with
        18   MS. BROWN:                                          18   this case, the FDA's response to the 2014
        19   Q       Doctor, we'll mark as Exhibit 15 to         19   citizens petition?
        20   your deposition the NTP study to which you were     20   A        Yes. That's familiar. And if I recall
        21   referring.                                          21   correctly --
        22   A       Uh-huh.                                     22           Or do you have -- is that handy?
        23   Q       And this study, as well, does not show      23   Q        We'll mark that as Exhibit 16, Doctor.
        24   evidence of neoplastic changes.                     24          (DEPOSITION EXHIBIT NUMBER 16


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         1   MS. O'DELL:                                          1          WAS MARKED FOR IDENTIFICATION.)
         2          Object to the form.                           2   MS. BROWN:
         3          Do you have a copy for me?                    3   Q        The reason I want to talk to you about
         4          It's what number?                             4   this is it contains a review of the NTP study we
         5   MS. BROWN:                                           5   were just discussing.
         6          Fifteen.                                      6          First of all, did you consider this
         7   A        I think the -- the important                7   document in connection with your opinions in this
         8   distinction in this particular study is this was     8   case?
         9   an aerosol-based -- based study. It certainly        9   A        Yes, this document's familiar.
        10   was longer than the Hamilton but was -- was not a   10   Q        Okay. And do you recall that a cancer
        11   study that mimics the perineal use of talc.         11   prevention coalition wrote the FDA requesting
        12   MS. BROWN:                                          12   that a warning label be placed on talcum powder
        13   Q        And, so, as it relates to your opinion     13   products?
        14   in this case, Doctor, that talc induces a chronic   14   A        Yes.
        15   inflammation that can lead to ovarian cancer, the   15   Q        And do you recall, as evidenced on
        16   NTP study does not support that, does it?           16   page 1, the FDA reviewed the data as it related
        17   MS. O'DELL:                                         17   to that question?
        18          Object to the form.                          18   A        I -- I recall that the FDA reviewed the
        19   A        I would say the study does support my      19   data and determined that it was insufficient, and
        20   opinion regarding talc and its role in              20   they did not identify any new compelling
        21   inflammation. And if we refer to page 6 within      21   literature at the time. But this was in 2014.
        22   the first -- the first paragraph, beginning with    22   Q        And the NTP --
        23   "Accumulations of macrophages."                     23   MS. O'DELL:
        24   MS. BROWN:                                          24          Excuse me, counsel.


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         1           Were you finished? If you're finished,      1   the FDA claimed serious flaws.
         2   that's fine. I just didn't know if you completed    2   MS. BROWN:
         3   your --                                             3   Q        At the bottom of page 3 --
         4   A        I'm just reading. There was one            4   A        I see.
         5   other -- I recall --                                5   Q        -- the sentence that begins, "However,
         6   MS. BROWN:                                          6   this study lacks convincing scientific support
         7   Q        Doctor, the NTP study that you pointed     7   because of serious flaws in its design and
         8   us to was from 1993. Is that right?                 8   conduct -- and conduct."
         9   A        I believe that's correct.                  9          Do you see that?
        10   Q        All right. And one of the things that     10   A        I do.
        11   the FDA did in this letter of 2014 is reviewed     11   Q        And one of the things the FDA points to
        12   that study; correct?                               12   is that the investigators used micronized talc
        13   A        Yes.                                      13   instead of consumer grade talc, resulting in the
        14   Q        And I'll direct you to page 3 of 7.       14   experimental protocol not being reflective of
        15   And what the FDA concluded was that the study      15   human exposure conditions in terms of particle
        16   lacked convincing scientific support because of    16   size.
        17   serious flaws in its design and conduct.           17          Do you see that?
        18           Do you see that?                           18   A        I do.
        19   MS. O'DELL:                                        19   Q        Have you made a determination in this
        20           Where are you reading? Sorry.              20   case, sir, about the size of the particles in
        21   MS. BROWN:                                         21   talcum powder products?
        22           Page 3. Page 3.                            22   A        I -- I've not made that distinction.
        23   MS. O'DELL:                                        23   And --
        24           Oh. Page 3. Sorry. I thought you           24   Q        There's --


                                                Page 195                                                 Page 197
         1   said page 2. I'm sorry.                             1   A        And, furthermore, I think the --
         2   MS. BROWN:                                          2   importantly, the -- the flaws that the FDA points
         3   Q        Do you see that, Doctor?                   3   out are, you know, not in disagreement with
         4   A        Starting with --                           4   our -- with our discussions surrounding both the
         5   Q        Bottom of page 3 --                        5   inflammatory response and then some of the
         6   A        -- under toxicology findings?              6   results there. I don't -- I don't see as a
         7   Q        So, to orient us here, Doctor, you         7   concern --
         8   pointed, as evidence of support of your opinions    8          In fact, the -- it appears the FDA does
         9   in this case, to the NTP study. Right?              9   not disagree with the observation of the evidence
        10   A        Correct.                                  10   of carcinogenic activity in the non-asbestiform
        11   Q        And the folks who wrote to the FDA        11   talc. I think they --
        12   requesting a warning on talc, they, too, pointed   12          I share --
        13   to that study; right?                              13   Q        Let's focus back on the question,
        14   A        Yes.                                      14   Doctor.
        15   Q        All right. And, so, the FDA reviewed      15   MS. O'DELL:
        16   that study and, in the letter denying the          16          Excuse me. Let him finish his answer.
        17   citizens petition, included its critique of that   17   He's not finished.
        18   study; correct?                                    18   A        So, the, you know, the serious flaws
        19   A        Correct.                                  19   were the, I think, in this case, the specific
        20   Q        And one of the things the FDA concluded   20   inclusion of nonasbestos talc and use of
        21   was that the study had serious flaws. True?        21   micronized talc instead of consumer grade. So I
        22   MS. O'DELL:                                        22   think in that -- in that sense, it's not
        23          Objection to form.                          23   surprising that it had a different -- perhaps a
        24   A        I don't -- do you -- I don't see where    24   different response than may be observed with


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         1   consumer products or talc that have -- may have      1   when -- when used in the perineum compared to
         2   contaminants, whether it be asbestos or other.       2   inhalation.
         3   MS. BROWN:                                           3          But I have not seen a study that tried
         4   Q        Do you remember the question I asked,       4   to distinguish that in terms of having an exposed
         5   Doctor?                                              5   group who inhaled talc only and then looked for
         6   A        Perhaps it would be helpful to restate.     6   evidence of the presence in the ovary.
         7   Q        I think, probably.                          7   Q        Back to the FDA document we were
         8          I asked if you had made a determination       8   discussing, Doctor, the FDA's critique of the NTP
         9   in this case about the size of the particles in      9   study continues on page 4, where the FDA
        10   talcum powder products.                             10   identifies that the investigators conceded they
        11   A        I -- so as far -- a determination, no.     11   have problems with the aerosol generation system
        12   I would -- I would say I have had an opportunity    12   and that the study did not include positive and
        13   to, you know, review or become more educated in     13   negative dust controls.
        14   the diversity of talc products and the              14          Did you consider those critiques in
        15   interesting geographic relationship to different    15   evaluating the NTP study in this case?
        16   size particles and -- in the presence or absence    16   MS. O'DELL:
        17   of asbestiform particles in talc, which was a,      17          Object to the form.
        18   you know, fascinating area to become educated in.   18   A        Well, I -- I certainly considered --
        19          As far as examining that in each of the      19   you know, considered them in -- as -- as I would
        20   individual studies, I certainly was able to pay     20   consider any -- any other evidence or opinion
        21   attention to earlier or later studies as it         21   on -- on these relevant subjects.
        22   applied to when there was a specific description    22   MS. BROWN:
        23   of the talc, such as in the NTP study where         23   Q        The FDA went on to conclude, Doctor,
        24   there -- that was one of the few that had a         24   that, in light of the shortcoming, a panel of


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         1   specific determination.                              1   experts at the 1994 ISRTP/FDA workshop declared
         2          But I was basing my opinions on the           2   that the 1993 NTP study has no relevance to human
         3   general behavior, summarized behavior of talc        3   risk.
         4   based on the available evidence.                     4          Do you share that conclusion?
         5   Q        In forming your opinions in this case,      5   MS. O'DELL:
         6   Doctor, have you concluded that a particular         6          Object to the form.
         7   route of exposure is more likely when women are      7   A       I do not. And I think, importantly,
         8   using talcum powder products perineally?             8   you know, even there at the bottom of page 4,
         9   MS. O'DELL:                                          9   their point number 4 saying a cogent biological
        10          Object to the form.                          10   mechanism by which talc might lead to ovarian
        11   A        Certainly it would seem logical that       11   cancer is lacking.
        12   the route of talc exposure would be related to      12   MS. BROWN:
        13   the area that the talc is used.                     13   Q       Uh-huh.
        14   MS. BROWN:                                          14   A       I believe, as we're discussing today,
        15   Q        As such, do you believe and have you       15   subsequent research and subsequent studies
        16   assumed for purposes in your -- of your opinions    16   have -- and including my report, have helped
        17   in this case that talc more likely migrates from    17   define that plausible biological mechanism
        18   the perineum to the ovaries, as opposed to talc     18   which -- by which talc may lead to ovarian
        19   being inhaled and then traveling down to the        19   cancer.
        20   ovaries?                                            20   Q       In answering my question, Doctor, you
        21   A        The evidence I've seen would suggest       21   pointed to a different portion of the same page
        22   that that migration that you described from the     22   we were discussing; correct?
        23   perineum through the vagina into the fallopian      23   A       Correct.
        24   tubes into the ovary is certainly far more likely   24   Q       And what you pointed to was the FDA's


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         1   conclusion here in 2014 that a cogent biological     1   A        I -- I disagree with the -- or I -- I
         2   mechanism by which talc might lead to ovarian        2   have found, based on a review of the literature,
         3   cancer is lacking. Correct?                          3   that there are now additional supporting studies
         4   MS. O'DELL:                                          4   that would -- that would refute some of these
         5          Object to the form.                           5   conclusions of -- by the FDA review.
         6   A        I -- I would disagree in the general        6   Q        And explain to us, then, Doctor, what
         7   nature of your statement and clarify it by saying    7   methodology you employed or what research you
         8   the FDA found a lack of that mechanism based on      8   conducted to reach a conclusion different from
         9   the submitted literature of the citizen petition.    9   the FDA's conclusion in 2014.
        10   MS. BROWN:                                          10   A        I think, similar to what the FDA
        11   Q        So do you understand, Doctor, in           11   described, my review is of the literature now,
        12   evaluating the FDA's response, that they, in        12   you know, through 2018, examining the available
        13   fact, did their own investigation in addition to    13   information regarding inflammatory response to
        14   the literature that was provided to them at the     14   talc and then talc exposure as it relates
        15   time?                                               15   to -- to the initiation of progression of cancer.
        16   MS. O'DELL:                                         16   Q        Dr. Leavy -- Dr. Levy, do you think
        17          Objection. Misstates the record.             17   that the FDA, in concluding, as they did in 2014,
        18   A        Well, my reading of it, it says            18   that a cogent biological mechanism by which talc
        19   they -- that their -- that the scientific           19   might lead to ovarian cancer is lacking, do you
        20   literature considered was submitted in support of   20   think they were wrong at that time?
        21   both citizen petitions. And...                      21   A        I would -- I -- I would say that they
        22   MS. BROWN:                                          22   were incomplete at that time. And, in fact, you
        23   Q        Are you finished, Doctor?                  23   know, one of the --
        24   A        Yes. I was just looking to see if          24           If we -- if we look at page 5 in the

                                                 Page 203                                                 Page 205
         1   there was a notation about further --                1   one, two -- third full paragraph beginning with
         2   Q        I'll direct you, Doctor, to page 4, the     2   "while there exists," where the FDA does agree
         3   second full paragraph that begins "In addition,      3   about the -- that it's plausible that perineal
         4   the FDA stated."                                     4   talc and other particulates reach the endometrial
         5          "In addition, we reviewed relevant            5   cavity and -- and associated organs and may
         6   toxicity literature (consisting of 15 articles       6   elicit a foreign-body-type reaction and
         7   from 1980 to 2008) not cited in your petition to     7   inflammatory response that in some exposed women
         8   determine if there was additional support at this    8   may progress to epithelial cancers. What they do
         9   point in time for your suggested warning label."     9   state, "However, there has been no conclusive
        10          Do you see that?                             10   evidence to support causality."
        11   A        I do.                                      11           So I would suggest that this paragraph
        12   Q        And, based on the FDA's review of all      12   is in support of the biologically plausible
        13   the literature that they investigated at the        13   mechanism that I included in the report and
        14   time, they concluded that a cogent biological       14   that -- and, as we've been discussing, I
        15   mechanism by which talc might lead to ovarian       15   haven't -- we -- we've not been discussing a
        16   cancer was lacking. Right?                          16   causal or a formal causal evaluation.
        17   MS. O'DELL:                                         17   Q        What information did you rely on,
        18          Objection to form.                           18   Doctor, in reaching the conclusion that there is
        19   MS. BROWN:                                          19   a biological mechanism that the FDA did not?
        20   Q        That was their conclusion; correct?        20   MS. O'DELL:
        21   A        Yes, as written, that was their -- that    21           Object to the form. Misstates his
        22   was the FDA's conclusion.                           22   testimony.
        23   Q        And you, Dr. Levy, disagree with that      23   A        I'm stating that the -- as we
        24   conclusion; correct?                                24   discussed, as we've been discussing today, the --


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         1   the response to talc -- the response to talc         1   studies on which you're relying?
         2   exposure as an inflammatory response is supported    2   A       Not -- not for the contents of the
         3   by a number of studies, including the NTP study,     3   report. Not that I'm aware of. I think we've --
         4   which, although the FDA had some concerns with,      4   we've already discussed some of the other
         5   the FDA also made statements regarding the           5   references contained in the report
         6   exposure to talc and other particulates having an    6   below and -- or at least by mention and Gates.
         7   inflammatory response and that some exposed          7         (DEPOSITION EXHIBIT NUMBER 17
         8   women's may have progressed to epithelial            8         WAS MARKED FOR IDENTIFICATION.)
         9   cancers.                                             9   MS. BROWN:
        10          So, again, they're -- I think                10   Q       I'm gonna mark as Exhibit 17 to your
        11   they -- they're in agreement there. So even the     11   deposition the Buz'Zard study that you mentioned
        12   concerns with the study withstanding, there's --    12   a moment ago. Do you recall that?
        13   there's -- there's -- I still -- I still think      13   A       Yes.
        14   the FDA report is in support of the mechanism       14   Q       Do you rely on the Buz'Zard study in
        15   that we've been discussing.                         15   supporting your view that chronic inflammation
        16   MS. BROWN:                                          16   from talcum powder use can cause ovarian cancer?
        17   Q       The FDA concludes that a cogent             17   MS. O'DELL:
        18   biological mechanism by which talc might lead to    18         17?
        19   ovarian cancer is lacking, do they not?             19   MS. BROWN:
        20   MS. O'DELL:                                         20         Yes.
        21          Objection to form. Asked and answered.       21   A       Sorry. Can you restate your question?
        22   A       But I would al- -- I would say the FDA      22   It wasn't...
        23   contr- -- perhaps contradicts itself later in the   23   MS. BROWN:
        24   same document, stating that there is both an        24   Q       Do you rely on what we've marked as


                                                 Page 207                                                 Page 209
         1   inflammatory response and that in some exposed       1   Exhibit 17, the Buz'Zard study, to support your
         2   women they may progress to epithelial cancer.        2   view that talcum powder causes chronic
         3   MS. BROWN:                                           3   inflammation that leads to ovarian cancer?
         4   Q       Other than the Woodruff article,             4   MS. O'DELL:
         5   Doctor, are you aware of any other study in          5          Object to the form.
         6   animals that shows inflammation leading to           6   A       As we've discussed, not singularly, but
         7   cancer?                                              7   the -- as part -- as part of a complete picture
         8   MS. O'DELL:                                          8   of talc causing reactive oxygen species
         9          Objection to form. Other than those           9   generation and other inflammatory responses,
        10   he's mentioned?                                     10   certainly this is a study that supports that
        11   A       Yeah. I -- I would have to -- that          11   opinion.
        12   would -- that would require review of the           12   MS. BROWN:
        13   literature to -- to speak generally to animal       13   Q       Did you consider the type of cells that
        14   studies and inflammation leading to cancer.         14   were evaluated in the Buz'Zard study?
        15   MS. BROWN:                                          15   MS. O'DELL:
        16   Q        Let me rephrase.                           16          Objection to form. Vague.
        17          In terms of your opinion here that talc      17   A       Certainly in terms of the overall
        18   causes chronic inflammation that causes ovarian     18   experimental design.
        19   cancer, you identified the Hamilton study, the      19   MS. BROWN:
        20   NTP study, and the Woodruff study as animal         20   Q       Did those -- were those normal human
        21   studies that support that view. True?               21   ovarian cells?
        22   A       I identified those studies as               22   A       The -- the author has labeled them as
        23   supportive of my -- of my opinion, yes.             23   normal human ovarian cells. But the -- you know,
        24   Q       Are you aware of any additional animal      24   one of the key characteristics and similar to our


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         1   comments on -- on animal systems is all -- all       1   MS. O'DELL:
         2   in vitro or in vivo studies that are using cell      2           Figure 3.
         3   lines or animals have limitations. And in this       3   A        Figure 3?
         4   case, you know, cell lines are particularly          4           The one interesting observation in
         5   notorious in research in general for                 5   these two figures, both Figure 3A and Figure 3B,
         6   their -- for -- having to use care in extending      6   being the percentage of reactive oxygen specie
         7   findings to, you know, broad mechanisms in a --      7   generation in two different cell types, one in --
         8   in a complex organism or in the human body.          8   one in Panel A and one in Panel B, is -- what I
         9   Q        Sure.                                       9   did not see included, if I --
        10           What you're -- what you're saying is        10           And I'm reading to see if I recall
        11   you've got to be careful taking the findings from   11   correctly.
        12   one cell study and extrapolating that to humans.    12           -- was a -- the -- the cell viability
        13   Fair?                                               13   assay that they use for normalization has
        14   MS. O'DELL:                                         14   a -- somewhat of a limitation in that it -- it
        15           Object to the form.                         15   doesn't measure cell senescence. It only
        16   A        The -- I think you have to be careful      16   measures cell death. And, so, they -- not to
        17   in evaluating each study in using the relevant      17   dis- -- not that I disagree with your observation
        18   components of that study and observations in that   18   that it did not show the sig- -- significant
        19   study as part of an overall mechanism and whether   19   increase, but there is the possibility that the
        20   it's supportive or refutes such a mechanism.        20   reason that you see an actual decrease in the RS
        21   So --                                               21   generation at the higher doses of talc is that
        22   MS. BROWN:                                          22   cells have gone senescent and are essentially no
        23   Q        Did -- did you exercise that care here     23   longer responding to that increased dose.
        24   as it relates to the Buz'Zard study?                24           So I think there's at least two

                                                 Page 211                                                 Page 213
         1   A       So the Buz'Zard study, you know,             1   different ways to interpret some of these
         2   primarily, as -- as referenced, was to illustrate    2   results. But I don't disagree with your
         3   a study that showed an increase in reactive          3   observations regarding Figure 3.
         4   oxygen species generation, and that's the -- the     4   MS. BROWN:
         5   primary purpose, or I should say primary             5   Q       This study was conducted in a
         6   observation on the -- from this.                     6   nutritional lab, not a cancer lab. True?
         7          Now, certainly, the study contained           7   A       I'm -- I'm not aware of the type of
         8   more observations than that and certainly had        8   laboratory or even the...
         9   some -- you know, a number of other components.      9   Q       And the study was -- the purpose of the
        10   Q       How does the Buz'Zard study support         10   study was to assess whether there was a certain
        11   your view that talcum powder causes chronic         11   effect of pine bark supplement? Is that right?
        12   inflammation that causes ovarian cancer?            12   MS. O'DELL:
        13   A       So the Buz'Zard study supports the view     13          Objection to form.
        14   that exposure to talcum powder causes an            14   A       They were looking at the -- the effect
        15   inflammatory response.                              15   of a proprietary -- as stated by the authors, a
        16   Q       And that inflammatory response you saw      16   proprietary mixture of water soluble
        17   in the Buz'Zard study does not increase with        17   bioflavonoids extracted from French maritime pine
        18   increasing doses of talcum powder. Correct?         18   bark.
        19   A       I have to review. I believe that -- I       19   MS. BROWN:
        20   believe their figures suggest --                    20   Q       Uh-huh.
        21          You know, are you referring                  21          And did you investigate whether the
        22   specifically to their reaction -- reactive oxygen   22   ovarian cells that they used here were
        23   specie generation?                                  23   genetically altered?
        24   Q       Correct.                                    24   A       No, I did not investigate that.


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         1   Q        Did you --                                  1   Q         My question was, Doctor, what this
         2          I'm sorry. Were you done?                     2   study shows is the more talc you give, the less
         3   A        No. I would say it's fair -- it's fair      3   ROS generation there is. True?
         4   to say that, you know, that the -- whether           4   MS. O'DELL:
         5   they're genetically altered or not, the -- the --    5            Objection to form.
         6   you know, the same potential limitations as far      6   A         Again, under -- under the conditions of
         7   as extrapolation to the human system would apply     7   this particular study.
         8   for any signs.                                       8   MS. BROWN:
         9          But, again, the purpose of the Buz'Zard       9   Q         Do you think the Buz'Zard study is
        10   study, as -- as referenced in the report, was to    10   scientifically reliable?
        11   indicate that there are studies that have shown     11   A         I have no basis to -- to suggest that
        12   an increase in reactive oxygen specie generation    12   it's -- that it's not reliable.
        13   under exposure to -- to talc. And I think the       13   Q         Do you think that --
        14   study is reasonably clear on that increase          14   A         But I think there -- it does -- if
        15   relative to control.                                15   there is a -- as we discussed earlier, an
        16   Q        Except what this study showed, Doctor,     16   importance to not overgeneralize conclusions or
        17   is the more talc you give, the decrease from        17   lack of conclusions as, you know, outside of the
        18   baseline in the reactive oxygen species.            18   system under study.
        19   Correct?                                            19   Q         If -- I want you to assume that the
        20   MS. O'DELL:                                         20   Buz'Zard study used genetically altered ovarian
        21          Object to the form. Asked and                21   cells that did not have the p53 protein. Would
        22   answered. Misstates the testimony.                  22   that affect your analysis of Buz'Zard?
        23   MS. BROWN:                                          23   MS. O'DELL:
        24   Q        Take a look at Figure 3; right, Doctor?    24            Object to the form.


                                                 Page 215                                                 Page 217
         1   A       No. I agree. But, as stated, and an          1   A       Well, that's -- that's an impossible
         2   important clarification is whether that decrease     2   question. Like you can't have --
         3   is significant relative to the biology is -- is      3          Well, you can't call a cell type a
         4   unknown.                                             4   normal ovarian cell and -- absent p53 protein.
         5   Q       Right.                                       5   You're -- it'd be -- you're fundamentally
         6          This study certainly does not                 6   changing the biology of the cell as it relates to
         7   conclusively show that the more talc you give,       7   ovarian cancer or cancer in general.
         8   the more ROS is generated. Correct?                  8   MS. BROWN:
         9   MS. O'DELL:                                          9   Q       Because p53 is something that you have
        10          Object to the form.                          10   in your genes that prevents against ovarian
        11   A       In these particular cell lines under        11   cancer. True?
        12   these conditions, the -- the study certainly did    12   MS. O'DELL:
        13   not draw that conclusion.                           13          Objection.
        14   MS. BROWN:                                          14   A       So p5- -- p53 is a well-known, often
        15   Q       In fact, what this study shows is the       15   mutated gene in a number of human cancers.
        16   more talc you give, the less of -- of ROS           16   MS. BROWN:
        17   generation you have. Doesn't it?                    17   Q        And, so, if the ovarian cells that were
        18   MS. O'DELL:                                         18   studied in Buz'Zard did not have p53, it will
        19          Object to the form.                          19   call into question the study. Fair?
        20   A       I think importantly in this study, the      20   MS. O'DELL:
        21   time dependency for each of the doses is more       21          Object to the form.
        22   important at the doses rather than comparing dose   22   A       It would be difficult to answer. From
        23   to dose.                                            23   the perspective of the presence or absence
        24   MS. BROWN:                                          24   of -- of p53 having an effect on the ability of a


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         1   cell to generate reactive oxygen species under --    1   available literature and, in this case, review a
         2   under exposure to a substance like talcum powder     2   meta-analysis of some reasonably large-scale
         3   would need to be tested directly.                    3   studies to try to bring the proposed biologically
         4   MS. BROWN:                                           4   plausible mechanism and include the -- the
         5   Q        Fair to say, in your mind, a cell           5   available epidemiological information for those,
         6   missing p53 is not a normal human ovarian cell.      6   such as the Penninkilampi and Eslick paper we're
         7   True?                                                7   discussing.
         8   A        That is true.                               8   Q        What methodology did you employ in
         9         (DEPOSITION EXHIBIT NUMBER 18                  9   terms of reviewing the Penninkilampi findings as
        10          WAS MARKED FOR IDENTIFICATION.)              10   it relates to the question you addressed in your
        11   MS. BROWN:                                          11   report?
        12   Q        Handing you what we've marked as           12   MS. O'DELL:
        13   Exhibit 18 to your deposition, it's a review        13           Object to the form.
        14   article titled "Perineal Talc Use and Ovarian       14   A        I -- I used the same methodology for
        15   Cancer," by Ross Penninkilampi.                     15   the other studies as a review of the paper and
        16          Do you see that?                             16   its -- and its methods and conclusions.
        17   A        I do.                                      17   MS. BROWN:
        18   Q        This is an article that you cited in       18   Q        Do you believe this review, systematic
        19   your report; correct?                               19   review and meta-analysis, provides evidence that
        20   A        Correct.                                   20   there's a biologically plausible mechanism by
        21   Q        Does this article support your view        21   which talc can cause ovarian cancer?
        22   that there is a biolo -- in part --                 22   A        Yes. It provided -- it shows an
        23          Strike that.                                 23   association between talc use and ovarian cancer.
        24          Does this article, in part, support          24   I don't -- I don't believe this particular study

                                                 Page 219                                                 Page 221
         1   your opinion in this case that there is a            1   goes on to specifically elucidate causation, but
         2   biologically plausible mechanism by which talcum     2   it certainly shows the association.
         3   powder can cause ovarian cancer which can            3   Q        Well, the study specifically says that
         4   cause --                                             4   causation cannot be found, based on the results.
         5          Strike that. Gonna do it again.               5   Right?
         6          Does this article support your view, in       6   MS. O'DELL:
         7   part, that talcum powder can cause chronic           7          Objection to form.
         8   inflammation that can cause ovarian cancer?          8   MS. BROWN:
         9   A        This is an article I considered in          9   Q        If you look at page 42, Doctor, the
        10   the -- in the overall review and, in the            10   very end of that first paragraph, "A certain
        11   conclusions of this article, found a -- an          11   causal link between talc use and ovarian cancer
        12   association between perineal talc use and ovarian   12   has not been established."
        13   cancer, according to the authors.                   13          Do you see that?
        14          So it was supportive of the proposed         14   MS. O'DELL:
        15   mechanism but was, again, in part.                  15          Where are you? Page 42. Where are you
        16   Q        And, on page 13 and 14 of your report,     16   reading, please?
        17   you, in fact, reference the Penninkilampi study     17   MS. BROWN:
        18   and some of its conclusions; correct?               18          Page 42, the end of the first
        19   A        Correct. On the -- on the bottom of        19   paragraph.
        20   page 13, yes.                                       20   A        Yes, I see that.
        21   Q        And what was the purpose of including      21   MS. BROWN:
        22   this description of Penninkilampi in your expert    22   Q        Do you agree with that statement,
        23   report, Doctor?                                     23   Doctor, that a causal link between talc use and
        24   A        Just to be sure to be -- to include        24   ovarian cancer has not yet been established?


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         1   MS. O'DELL:                                         1   examine that comprehensively, when you consider
         2          Objection.                                   2   the etiology of a disease and the latency periods
         3   A        No, I wouldn't. But, again, my review      3   that have been observed in ovarian cancer in
         4   of this was to tie the biologically plausible       4   general and the meta review by both this earlier
         5   mechanism to, you know, human observation, not      5   paper by Penninkilampi and then their subsequent
         6   provide a evaluation of the -- of the causal        6   later work, you have a challenge of a -- in a
         7   link.                                               7   cohort study, a disease that is somewhat rare,
         8          And I think the -- I would suspect that      8   coupled with a exposure and latency period that's
         9   the --                                              9   been, in the -- in the limited number of studies
        10          I'm also not aware of a study that has      10   that have looked at this, appears to be quite
        11   been able to -- or a -- or a -- what would be      11   long, and then when you couple in the -- the
        12   necessary --                                       12   ethical concerns of actually performing a trial,
        13          I'm not aware of a study that has been      13   where it becomes a very difficult causation bar
        14   able to provide all of the recognized and          14   to reach.
        15   established methodology for causation and have     15          And, so, instead, we rely on the
        16   that applied in -- in talc.                        16   case -- the available case-control data and then
        17   MS. BROWN:                                         17   systematic and meta-analysis reviews such as some
        18   Q        You're not aware of any study in the      18   of the epidemiologists have performed to make
        19   talc epidemiology that has concluded that talcum   19   assessments into the likelihood that -- and the
        20   powder causes ovarian cancer; correct?             20   strength of the association between talc use and
        21   MS. O'DELL:                                        21   ovarian cancer.
        22          Objection to form.                          22   Q       Are you intending to provide an opinion
        23   A        I'm aware of a number of studies that     23   on the strength of the association between talc
        24   have shown a strong correlation between the two.   24   use and ovarian cancer as evidenced in the


                                                Page 223                                                 Page 225
         1   But I would have to defer to the epidemiology       1   epidemiology?
         2   expert witnesses as to their opinion on             2   MS. O'DELL:
         3   causation.                                          3           Object to the form.
         4   MS. BROWN:                                          4   A        No. My -- my opinions are limited to
         5   Q       One of the things you told us that you      5   the biologically plausible mechanism and then
         6   reviewed in connection with your opinion was the    6   examining whether that biologically plausible
         7   talc epidemiology. Is that right?                   7   mechanism presented is supported by observations
         8   A       That's right.                               8   in -- in available human studies.
         9   Q       Did you conduct a review of all of the      9   MS. BROWN:
        10   available epidemiology on talcum powder use and    10   Q        And when you say your opinion is
        11   ovarian cancer?                                    11   limited to a biological plausible mechanism, are
        12   A       I certainly tried to review it as          12   you talking of the theoretical concept or are you
        13   comprehensively as -- as possible.                 13   talking about in the context of women using
        14   Q       And, in connection with that review,       14   talcum powder perineally?
        15   you'll agree there is not a single study that      15   A        In the context --
        16   concludes there is a causal association between    16   MS. O'DELL:
        17   talcum powder use and ovarian cancer; correct?     17           Object to the form.
        18   MS. O'DELL:                                        18   THE WITNESS:
        19          Objection to form.                          19           Sorry.
        20   A       So I would -- I would -- interestingly,    20   MS. O'DELL:
        21   there -- it's -- it becomes a -- as more -- as     21           Excuse me.
        22   more and more information has become available     22   A        In the -- in the context of women using
        23   over the last few years, that becomes a more and   23   talcum powder perineally specifically, and
        24   more difficult bar to meet, simply because, to     24   then -- and then certainly also the -- some of


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         1   the fundamental aspects of that mechanism may        1   trial that would examine that in a well-powered
         2   apply to other exposures as well.                    2   fashion to answer that question directly. And,
         3   MS. BROWN:                                           3   certainly, as of today, there would be some
         4   Q       Like what?                                   4   significant ethical concerns with that design.
         5   A       Well, the -- the other exposure we've        5           So, instead, we rely on the cohort and
         6   been discussing, in -- in that some of the           6   case-control studies that are available. And
         7   studies looked at inhalation exposure, et cetera.    7   those, again, studies are supporting an
         8         But the primary review and the primary         8   association between talc use and ovarian cancer.
         9   opinion is based on the perineal use of talcum       9   MS. BROWN:
        10   powder and that exposure that, as -- as we          10   Q        Right. But I'm talking about for your
        11   discussed earlier, has a -- certainly a strong      11   opinion that it's biologically plausible for
        12   association with perineal use and an exposure --    12   perineal use of talc to cause ovarian cancer,
        13   exposure in the ovaries.                            13   have you made a determination, in your mind, of
        14   Q       Your opinion is that if a woman uses        14   how long that perineal use has to take place for?
        15   talcum powder perineally, there is a biologically   15   MS. O'DELL:
        16   plausible mechanism by which enough talcum powder   16           Object to the form.
        17   can migrate from outside of her vagina to her       17   A        I wasn't asked to provide -- to provide
        18   ovary to cause chronic inflammation that can lead   18   that opinion on -- and it -- on that length or
        19   to ovarian cancer?                                  19   exposure or duration.
        20   MS. O'DELL:                                         20           Again, it was -- the focus was on the
        21         Object to the form.                           21   biologically plausible mechanism that if you have
        22   A       So I'd say that the first part of your      22   a single exposure and that -- that that single
        23   question is well established and included in the    23   exposure through to any other may be sufficient
        24   statements from FDA and others that that            24   to trigger that mechanism.

                                                 Page 227                                                Page 229
         1   migration does occur.                                1   MS. BROWN:
         2          And then the next step in the -- in the       2   Q       That's helpful, Doctor.
         3   mechanism is that that causes inflammation which,    3         So, as I understand your opinion, your
         4   again, as we've discussed, in a number of            4   piece of the puzzle here was to look at whether
         5   studies, that the inflammation occurs and then,      5   one single application of talcum powder to the
         6   in these human studies, in their systematic          6   perineum could lead to chronic inflammation that
         7   review, that there is a clear association or a --    7   could cause ovarian cancer.
         8   a observed association between perineal use of       8   MS. O'DELL:
         9   talc and the detection of ovarian cancer at some     9         Objection.
        10   point in the -- in the women's lives and, in the    10   MS. BROWN:
        11   case of the Penninkilampi, with a relationship to   11   Q       Correct?
        12   the number of lifetime applications.                12   A       No, no.
        13          So considering those things together,        13   MS. O'DELL:
        14   yes, there is a biologically plausible mechanism    14         Object to the form of the question.
        15   for perineal talc use through to ovarian cancer.    15   A       No. That's not my -- my statement.
        16   MS. BROWN:                                          16         My statement was that, based on the
        17   Q       Have you -- is -- is your opinion that      17   evidence available, that there's a biologically
        18   there's a biologically plausible mechanism          18   plausible mechanism for the -- for the cellular
        19   dependent on a particular number of years of        19   changes that -- that is independent of the
        20   perineal use?                                       20   exposure.
        21   MS. O'DELL:                                         21   MS. BROWN:
        22          Objection to form.                           22   Q       You've made a determin- --
        23   A       The -- so the -- as we just discussed,      23   A       But certainly a single exposure would
        24   there's no -- I can't point to a formal clinical    24   be the physically minimum number. And I


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         1   believe -- I think we --                             1   effect, it doesn't matter at all how much of the
         2   Q        That's what I want to understand. And       2   product is used?
         3   how you -- how you make this biological              3   MS. O'DELL:
         4   plausibility determination is to evaluate a          4          Objection.
         5   single exposure? Is that right?                      5   MS. BROWN:
         6   MS. O'DELL:                                          6   Q        Do you see what I'm struggling with?
         7          Object to the form.                           7   Can you help me understand? If I'm trying to
         8   A        No.                                         8   figure out does X cause Y, it sounds like what
         9   MS. O'DELL:                                          9   you're saying is it doesn't matter how much X you
        10          Misstates his testimony.                     10   have.
        11   A        That's -- that's not what I'm stating.     11   MS. O'DELL:
        12          My -- my statement is that the -- the        12          Objection to form.
        13   biologically plausible mechanism is a mechanism     13   A        So we're -- we're talking about
        14   that is independent of the exposure and that, as    14   mech- -- so mechanistic action --
        15   part of the description of that mechanism and the   15   MS. BROWN:
        16   evaluation of the studies supporting that           16   Q        Okay.
        17   mechanism through an inflammatory response, the     17   A        -- which means the -- you set aside the
        18   question of exposure, number, and duration,         18   "how much." And the question is, from -- on a
        19   length of time, et cetera, would be a separate      19   molecular level, can the presence of a particular
        20   evaluation.                                         20   compound in a particular location cause a
        21   MS. BROWN:                                          21   biological effect. And, so, that is the primary
        22   Q        Is your opinion that talcum powder         22   focus of the opinion in the -- in the paper or --
        23   products cause chronic inflammation that cause      23   sorry -- in my report.
        24   ovarian cancer limited to perineal use, or have     24          And then extending that to how much,


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         1   you also evaluated body use of talcum powder         1   how long, and the dur- -- and then the intensity
         2   products?                                            2   or duration of the biological effect, again, is a
         3   MS. O'DELL:                                          3   separate -- would be a separate discussion or
         4          Object to the form.                           4   separate study.
         5   A       My -- my focus was on the perineal use,      5          So, again, to clarify, the focus had
         6   and that's where the majority of the studies         6   been on that -- some of the fundamental
         7   have -- have examined. So the focus was on           7   mechanisms, talc -- a talcum powder exposure to
         8   perineal use of talcum powder.                       8   an inflammatory response to the inflammatory
         9   MS. BROWN:                                           9   response causing cancer.
        10   Q       And in conducting that evaluation, the      10          Again, the -- I would refer to and
        11   results of which are contained in your report,      11   defer to the other experts in epidemiology
        12   you did not endeavor to quantify how much talcum    12   regarding their opinions on the validity of
        13   powder used perineally could possibly migrate to    13   the asso- -- validity and strength of the
        14   the ovaries; is that right?                         14   associations, again, from a formal epidemiology
        15   MS. O'DELL:                                         15   perspective.
        16          Object to the form. Asked and answered       16          My review of those studies has ind- --
        17   maybe ten times already today.                      17   has relied on their conclusions, and, then, in my
        18          But you may answer the question.             18   own review of their -- of their methodology
        19   A       Yeah. I -- I wasn't asked to -- to          19   showing a increasing association, that is the
        20   provide that opinion or attempt that                20   bookends of my -- of the mechanism I proposed.
        21   quantitation.                                       21          So what this study is looking at is
        22   MS. BROWN:                                          22   perineal use of talc, getting cancer.
        23   Q       So when you conduct your analysis of        23          The -- what I've proposed is in the
        24   whether something can biologically cause an         24   middle. But this, again, the epidemiology


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         1   studies are asking how many times, what, and         1   that opinion from the observations of a couple of
         2   where, but there's been no evaluation that I'm       2   different studies, including the recent Saed
         3   aware of that looks at exactly how the talc was      3   paper that did look at the specific consumer
         4   applied, when and where. Instead, it was asked       4   product every -- you know, showing a -- if we do
         5   number of lifetime applications, duration of use,    5   it by way of comparison, between the Buz'Zard
         6   and examining latency period.                        6   paper and the recent Saed, seemingly a larger
         7          And when I examine that information           7   magnitude of reactive oxygen species generation.
         8   from the perspective of that biological              8   But, again, that is a -- extrapolating against
         9   mechanism, I, you know, notice some parallels in     9   two different studies.
        10   between latency period averaging roughly twenty     10   Q        Do you --
        11   years, which -- which mimics somewhat what's        11   MS. O'DELL:
        12   observed in the asbestos field as far as, you       12          Excuse me. We've been going about an
        13   know, lung effect latency.                          13   hour and 20 minutes, maybe a little more.
        14          And then that continues into the             14   MS. BROWN:
        15   constituent -- or the other constituent             15          I think a little less. But I'm gonna
        16   components of some of the products, including       16   finish up. Then we'll take a quick break.
        17   testing into asbestos and some of the -- and        17   Q        Does that work for you, Doctor?
        18   heavy metal exposure, et cetera, that those are,    18          I just want to finish Penninkilampi if
        19   again, supportive and offer a potential             19   we can.
        20   amplifying effect in that -- in that mechanism,     20   MS. O'DELL:
        21   given the nature of those other components.         21          How much more do you have to go?
        22   Q       What's the scientific support for the       22   MS. BROWN:
        23   amplification effect you just described?            23          About five or ten minutes.
        24   A       Just that the presence of                   24   MS. O'DELL:

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         1   more -- the --                                       1          If you need a break, we can break now.
         2          So if we extend beyond the opinion that       2   Or we can keep -- if you would like to wait five
         3   talc, as a com- -- as a singular compound, causes    3   or ten minutes, that's fine. Whatever's best for
         4   inflammation and then also, based on the reviewed    4   you, Doctor.
         5   expert reports, find that testing of talc has        5   THE WITNESS:
         6   been shown to contain asbestos or asbestos           6          Yeah, if we could break now, that would
         7   fibers, that the presence of now two potential       7   be great.
         8   insulting --                                         8   VIDEOGRAPHER:
         9          I'm making a hypothesis or making a           9          Going off the record. The time is
        10   statement that the -- you can have -- the more      10   2:10 p.m.
        11   biologically active compounds you have in an        11              (OFF THE RECORD.)
        12   exposure such as talc plus asbestos plus chromium   12   VIDEOGRAPHER:
        13   and then plus a milieu of chemicals that are in     13          We're back on the record. The time is
        14   fragrances may have an amplification effect on      14   2:26 p.m.
        15   that exposure and as part of that overall           15   MS. BROWN:
        16   biological mechanism.                               16   Q       Welcome back, Doctor.
        17   Q        Are you relying on a particular article    17          Before we took a break, we were
        18   or any published scientific support for the         18   discussing the Penninkilampi article. Do you
        19   amplification argument?                             19   remember that?
        20   MS. O'DELL:                                         20   A       I do.
        21          Object to the form. He's answered the        21   Q       And one of the things the authors of
        22   question.                                           22   this very recent meta-analysis discussed is the
        23   A        No. I -- I don't know of a study that      23   potential mechanism of ovarian cancer. Correct?
        24   is delineated. The -- it would be synthesizing      24          And I'll direct your attention to the


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         1   discussion that begins on page 45. In the second     1   presence of the talc or a continued chronic
         2   sentence, the authors conclude here that the         2   immune response or chronic inflammatory response,
         3   mechanism by which perineal talc use may increase    3   again, either directly or indirectly related to
         4   the risk of ovarian cancer is uncertain.             4   the exposure, would help support a environment
         5           Do you see that?                             5   that would allow the cancer progression to occur.
         6   A        I see that sentence, yes.                   6         So that is simply delineating those --
         7   Q        And they go on to discuss the theory        7   those two things as it relates to inflammation
         8   that talc could produce a chronic inflammatory       8   and talc exposure.
         9   response which could predispose to the               9   Q       So you described two potential
        10   development of ovarian cancer.                      10   responses to talc right now. Correct?
        11           Do you see that?                            11   MS. O'DELL:
        12   A        Yes.                                       12         Objection to form.
        13   Q        Okay. And they go on to explain a          13   A       At least two, yes.
        14   little bit more about the theory. Do you see        14   MS. BROWN:
        15   that?                                               15   Q       Okay. And one is an acute inflammatory
        16   MS. O'DELL:                                         16   response; correct?
        17           Object to the form.                         17   A       Yes.
        18   A        Specifically the sentence beginning        18   Q       And for that you point to the Saed data
        19   with "it is argued"?                                19   on reactive oxygen species; is that right?
        20   MS. BROWN:                                          20   MS. O'DELL:
        21   Q        Uh-huh. "It is argued that cellular        21         Objection to form.
        22   injury, oxidative stress, and local increase in     22   A       That is one example, yes.
        23   inflammatory mediators such as cytokines,           23   MS. BROWN:
        24   prostaglandins may be mutagenic and, hence,         24   Q       Okay. Are there -- is there other


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         1   promote carcinogenesis."                             1   scientific support for your opinion that talc can
         2           Do you see that?                             2   cause acute inflammation?
         3   A        I see that.                                 3   A       So it's any of the similar studies to
         4   Q        This sentence refers to chronic             4   Saed. And I would have to double-check the
         5   inflammation promoting cancer. Correct?              5   references, but they would have -- you know, any
         6   MS. O'DELL:                                          6   of the --
         7           Object to the form.                          7   MS. O'DELL:
         8   A        No. This -- this refers to that the         8          Feel free to --
         9   presence of -- proposed that talc as a               9   MS. BROWN:
        10   foreign -- that the presence of a foreign body      10   Q       Buz'Zard?
        11   would instigate a chronic inflammatory response.    11   A       So Buz'Zard would be one. Harper and
        12   That's the statement in the paper.                  12   Saed is -- is another.
        13   MS. BROWN:                                          13   Q       In your --
        14   Q        Is it your opinion that talcum powder      14   A       And so -- yeah. Yes, Buz'Zard and Lau
        15   can cause chronic inflammation that initiates       15   and then -- yeah. So that would --
        16   cancer?                                             16   Q       Okay. So for your opinion that talc
        17   A        It's -- so it is -- it is my opinion       17   causes an acute inflamm- -- inflammatory
        18   is, part of the mechanism, that talcum powder can   18   response, you rely on the cell studies done by
        19   have two effects related to inflammation. The       19   Saed and Buz'Zard; correct?
        20   first effect is an acute effect resulting in        20   MS. O'DELL:
        21   cellular damage, and that is supported by the       21          Object to the form.
        22   study showing increase in reactive oxygen species   22   A       Yes, among others.
        23   related to talc.                                    23   MS. BROWN:
        24           The -- beyond that, the continued           24   Q       In your opinion, Doctor, does that


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         1   acute inflammatory response resolve?                 1   they're not -- I don't have evidence to -- to
         2   A        I don't -- I don't have any evidence to     2   delineate those specifically, other than -- other
         3   suggest it resolves or not. The --                   3   than the supported mechanism that an acute
         4          Again, getting back to the mechanism          4   response can cause cellular damage, and then a
         5   that has been -- that I've described and is          5   chronic response can cause cellular damage and be
         6   supported by the literature we've been discussing    6   supportive of that continued -- that continued
         7   is that there is a acute response as well as         7   transformation.
         8   evidence for talc causing a more chronic             8           So they are -- they -- those -- those
         9   inflammatory response. And so I've proposed a        9   two delineated immune responses can either work
        10   mechanism by which both of those can contribute     10   in -- in concert with each other, but there is no
        11   to or enhance the development of cancer.            11   evidence to suggest that one is insufficient
        12   Q        Can both of those inflammatory             12   relative to the other in terms of progression of
        13   responses that you just described initiate          13   the disease.
        14   cancer?                                             14           And I think specific to the -- to the
        15   MS. O'DELL:                                         15   supported mechanism is that there -- I'm not
        16          Object to the form. Asked and                16   making that distinction in the -- in the report.
        17   answered.                                           17   MS. BROWN:
        18   A        They are certainly a component of that.    18   Q        Right. In your report, you don't talk
        19          And so, again, to restate the                19   about acute versus chronic inflammation.
        20   mechanism, the acute inflammatory response or       20   Correct?
        21   the -- the formation of reactive oxygen species     21   A        That's correct. I don't delineate the
        22   has been known for decades to cause cellular        22   two. Right.
        23   damage, and then cellular damage can result in      23   Q        But, here today, as we discuss in more
        24   mutation of -- of DNA.                              24   detail your opinions, you're explaining that


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         1           And then when you also consider the          1   you're -- in your mind, you see two potential
         2   full constituents of the products, the potential     2   inflammatory responses from talc. Right?
         3   presence --                                          3   MS. O'DELL:
         4           And this gets back to our earlier            4           Object to the form.
         5   discussions about amplification.                     5   A         I would disagree. I would say that
         6           Components such as chromium, which have      6   I -- I -- based on the information and studies,
         7   a direct DNA-damaging effect, can also               7   the -- the review of other expert reports, that
         8   ampli- -- again, add to the level of cellular        8   it presents a supported opinion that talc has an
         9   damage present.                                      9   ability to cause an acute response as well as a
        10           And then the continued inflammatory         10   chronic response.
        11   response, whether it is a -- related to the         11           And, so, then, today we are discussing
        12   initial acute response and a continuation of that   12   using that data in support of the -- of the
        13   or is a separate chronic inflammatory response      13   mechanism as to how those -- those two responses
        14   would then support the environment necessary for    14   can work together or separately in the
        15   the malignant transformation or the malignancy of   15   progression of ovarian cancer.
        16   the cancer to become what we -- what we would       16   MS. BROWN:
        17   generally refer to as ovarian cancer.               17   Q         At the time you wrote your report in
        18   Q        In your opinion, the chronic               18   November of 2018, were you of the view that talc
        19   inflammation promotes the cancer but does not       19   can cause both acute and chronic inflammatory
        20   initiate it?                                        20   response?
        21   MS. O'DELL:                                         21   A         Yes. I mean, it was -- I was of the
        22           Object to the form. Asked and               22   view it causes an inflammatory response. And
        23   answered.                                           23   then, as I continued to review information
        24   A        No. So I wouldn't -- I would say           24   available, it became clear that the talc


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         1   response, being an inflammatory response in          1   important.
         2   totality, may have the ability to have               2   Q        So there is a length of time or an
         3   those -- to -- to have two independent responses     3   amount of exposure that would cause a chronic
         4   in tissues.                                          4   inflammation that is different from the length of
         5   Q        And, in your opinion, can both the          5   time and the magnitude of exposure that will
         6   acute inflammatory response and the chronic          6   cause an acute inflammation?
         7   inflammatory response separately cause ovarian       7   MS. O'DELL:
         8   cancer?                                              8          Object to the form. Misstates his
         9   A        Under the -- the mechanism I've             9   testimony.
        10   proposed, yes, that would be a -- a possibility     10   A        Yeah, no. Not -- that's not what
        11   that they could separately cause, given that        11   I -- that's not what I've stated.
        12   they -- they're both inflammatory responses, they   12          I've simply stated that if we -- if we
        13   both cause cellular damage.                         13   look at the -- what is known about inflammation
        14          And in the case -- in this case,             14   and the biological response to foreign bodies,
        15   delineating the acute from chronic was more to      15   you can have an initial acute response mediated
        16   clarify the cellular damage aspect, the             16   by the immune system and mediated by some of the
        17   transformative aspect of cancer from the -- the     17   cellular damage that takes place, and then that
        18   necessary tumor progression aspects of cancer to    18   same response may continue in a chronic form for
        19   actually progress to disease.                       19   some period of time and at some level of
        20   Q        In your opinion, Doctor, does talc         20   magnitude.
        21   always first cause an acute reaction and then a     21          Now, certainly there is likely a
        22   chronic reaction?                                   22   dependency or, I should say, likely a
        23   MS. O'DELL:                                         23   relationship to the amount of exposure and the
        24          Object to the form.                          24   magnitude of that response.


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         1   A        I -- I -- I don't have evidence             1          But, again, the -- the opinions here
         2   to -- to state that and would defer to some of       2   are specific to the mechanism and the initial
         3   the other expert witnesses, like Dr. Saed, for       3   elucidation of that response and, you know,
         4   opinions on acute response versus chronic.           4   not -- not on a quantitation of a -- a
         5   MS. BROWN:                                           5   dose-response relation -- or a dose-response
         6   Q        In your opinion, though, you have at        6   curve or relationship.
         7   least delineated in your mind two different types    7   MS. BROWN:
         8   of inflammatory responses. Correct?                  8   Q       Do you believe that every time a talc
         9   MS. O'DELL:                                          9   particle enters the human body, it produces a
        10           Objection to form.                          10   inflammatory response?
        11   A        I've -- I have described two mechanisms    11   A       All of the evidence would suggest yes.
        12   for inflammation that -- that both can -- are       12   Q       Have you considered Heller's 1996 study
        13   both supportive of the overall mechanism that       13   on that score?
        14   we're discussing.                                   14   A       I would have to --
        15   MS. BROWN:                                          15          On the score of inflammatory response?
        16   Q        And is it -- is there a length of time     16   Q       Do you recall that Heller looked at
        17   that differentiates an acute inflammatory           17   benign ovarian tissue and identified the
        18   response from a chronic inflammatory response?      18   potential presence of talc?
        19   A        Certainly I would say there -- in my       19   A       Sounds familiar.
        20   opinion, there would -- it would be a potential     20   Q       I'll hand it to you.
        21   time dependency or a magnitude dependency to        21         (DEPOSITION EXHIBIT NUMBER 19
        22   delineate an acute versus chronic response. But,    22          WAS MARKED FOR IDENTIFICATION.)
        23   again, for the purpose of the biological            23   MS. BROWN:
        24   mechanism, separating them on those lines is not    24   Q       Handing you, Doctor, what we've marked


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         1   Heller's '96 article as Exhibit 19.                  1   mechanism that talc causes inflammation and then
         2          And what I want to ask you about is           2   inflammation has a role in ovarian cancer.
         3   Heller's finding as it relates to no reaction to     3          Extending that to circumstances where
         4   the talc particle. Did you consider that --          4   an exposure would not cause inflammation is -- is
         5   MS. O'DELL:                                          5   not germane to that -- to that mechanism and, in
         6          Object to the form.                           6   fact, again, not supported by literature to show
         7   MS. BROWN:                                           7   that, you know, that a single exposure or some
         8   Q       -- in forming your opinion here?             8   number of exposures are necessary or sufficient
         9   MS. O'DELL:                                          9   for a particular phenotype.
        10          Excuse me. Object to the form.               10   MS. BROWN:
        11   MS. BROWN:                                          11   Q        So this Heller study purports to have
        12   Q       I'll direct you, Doctor.                    12   found talc in ovarian tissue without an
        13          On page 1508 of the Heller article,          13   inflammatory response; right?
        14   right above the comments section, "The              14   MS. O'DELL:
        15   investigators on this study concluded no evidence   15          Object to the form.
        16   or response to talc, such as foreign body giant     16   A        In looking at their --
        17   cell reactions or fibrosis in the tissue."          17          Just one moment.
        18          My question is whether, in your              18          So this was a --
        19   opinion, every time talc is -- enters the body,     19          So is your -- is your question that
        20   it necessarily produces an inflammatory response.   20   the -- if the -- if the author showed talc being
        21   MS. O'DELL:                                         21   present in normal ovarian tissue?
        22          Object to the form.                          22   Q        Well, first my question is did you
        23   A       No. My opinion is that every time talc      23   consider this article in connection with your
        24   enters the body, that has the potential to cause    24   opinions in the case?


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         1   an immune response.                                  1   A        I don't recall this article
         2   MS. BROWN:                                           2   specifically, and I don't believe I cited it.
         3   Q       Have you made a determination about          3          I guess there's -- no.
         4   whether or not that always happens?                  4   Q        And then my second question, Doctor, is
         5   A       I'll have --                                 5   is it your opinion that every time the human body
         6   MS. O'DELL:                                          6   is exposed to particles of talc, it necessarily
         7         Object to the form. It's vague.                7   produces an inflammatory response that can either
         8   A       I'm not aware of any --                      8   promote or initiate cancer of the ovaries?
         9         There -- there -- these -- none of the         9   MS. O'DELL:
        10   studies that have been reviewed have been           10           Object to the form.
        11   designed to answer the question of "if ever."       11   A        No. My --
        12   MS. BROWN:                                          12   MS. O'DELL:
        13   Q       So, in your view, then, it's an open        13          Vague.
        14   question about whether talc can be inside the       14   A        My comment was that the -- that any
        15   body and not produce an inflammatory response.      15   exposure to talc, particularly the perineal
        16   MS. O'DELL:                                         16   exposure to talc, has the potential to cause an
        17         Object.                                       17   inflammatory reaction.
        18   MS. BROWN:                                          18          I don't have any evidence that all of
        19   Q       Is that fair?                               19   the studies that we've been reviewing are in
        20   MS. O'DELL:                                         20   support -- are in support of that mechanism, but
        21         Excuse me. Objection to form.                 21   I don't know of a study that perhaps has been
        22   Misstates his testimony.                            22   able to draw a conclusion, from a similar size
        23   A       So my -- my -- my testimony regarding       23   study, to show that you can get significant talc
        24   the mechanism is that there is a well-supported     24   accumulation without an inflammatory response.


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         1   MS. BROWN:                                           1   A        In -- in terms of cancer, the
         2   Q       Do you think you need significant talc       2   epidemiology would suggest -- or I would say
         3   accumulation in the human body to cause or           3   the -- the evidence in the literature is -- does
         4   promote ovarian cancer?                              4   not allow that question to be answered, and the
         5   MS. O'DELL:                                          5   reason being is when you look at the latency of
         6          Objection to form.                            6   the disease and the progression of the disease
         7   A       I wasn't asked to -- to provide --           7   and the challenges in detecting it, there just
         8   provide that opinion.                                8   has not been enough time with the, perhaps, rigor
         9          And, again, referring to the studies          9   of analysis that is undergoing now to make that
        10   that have -- that were reviewed and included in     10   assessment of is it 100 percent of the time or is
        11   the report, there is a relationship between         11   it something less than 100 percent of the time.
        12   lifetime exposure and an increased risk in the      12          I think, statistically speaking,
        13   epidemiology reports.                               13   there -- the only data that -- that is available
        14          But more detail on that in this              14   for review is -- is what is contained in some of
        15   discussion, I would defer to the epidemiology       15   the meta-analysis and epidemiology studies
        16   experts. But the -- there -- there does appear      16   showing a significant increased risk to ovarian
        17   to be a -- more of a response based on more talc    17   cancer based on exposure to talc. And it
        18   in the -- in the studies referenced.                18   would -- it would only be -- I think it would be
        19   MS. BROWN:                                          19   inappropriate at this time to try to infer what
        20   Q       So on --                                    20   percentage of time that would be indicative of
        21          Do you have any reason to dispute the        21   for exposure.
        22   findings of Heller here of talc in the ovaries      22   Q        Have the plaintiffs' lawyers shared
        23   without a foreign body reaction?                    23   with you expert reports from their expert
        24   MS. O'DELL:                                         24   pathologists who have looked at ovarian tissue of

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         1           Objection.                                   1   plaintiffs in this litigation, purported to find
         2   A        I guess my -- I have some -- I guess I      2   talc with no foreign body reaction?
         3   have some concerns with some of the methodology      3   MS. O'DELL:
         4   as it relates to the detection of the...             4           Objection. There have been no
         5   MS. BROWN:                                           5   case-specific pathology reports disclosed in the
         6   Q        Do you think it's possible, Doctor, for     6   litigation we're here about today. And if
         7   talc to enter the body and -- and be completely      7   there's something else you're talking about, you
         8   inert and not cause any reaction?                    8   should be specific.
         9   MS. O'DELL:                                          9   A        The -- I don't recall a pathology
        10           Object to the form.                         10   report. I've seen expert reports from
        11   A        So my -- the -- the mechanism I've         11   epidemiologists, OB-GYN and -- and some -- and
        12   proposed is -- is based -- you know, based on the   12   other scientists. But I don't recall a specific
        13   literature, is that talc causes an inflammatory     13   pathology report.
        14   response and that inflammatory response is          14   MS. BROWN:
        15   supportive of progression to ovarian cancer.        15   Q        If the biologically plausible mechanism
        16   MS. BROWN:                                          16   that you posit in your report is true, would you
        17   Q        Does that happen 100 percent of the        17   expect that the pathology slides of women with
        18   time?                                               18   ovarian cancer who have used talc would evidence
        19   MS. O'DELL:                                         19   talcum powder with a foreign body reaction?
        20           Object to the form. In terms of             20   MS. O'DELL:
        21   inflammatory response or in terms of cancer?        21           Object to the form. Incomplete
        22   MS. BROWN:                                          22   hypothetical.
        23   Q        If you don't understand the question,      23   A        That, I would have to ask how you're
        24   you'll let me know.                                 24   defining a foreign body reaction.


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         1   MS. BROWN:                                           1   mentioned some of the other subtypes and the
         2   Q       Well, would you expect to see some           2   common gene mutations that go along with them and
         3   evidence of inflammation in the ovarian tissue of    3   as, again, supportive of the same mechanism. And
         4   women who used talcum powder products?               4   I think, if anything, the -- the current data
         5   MS. O'DELL:                                          5   would suggest a -- a higher prevalence of a
         6          Object to the form. Incomplete                6   particular subtype of cancer but certainly not
         7   hypothetical.                                        7   the -- the mechanism doesn't -- is not exclusive
         8   A       Overall, speaking to, as we were             8   to any one type.
         9   discussing earlier, the potential for that           9   Q        In your view, all types of epithelial
        10   inflammatory response remains. But given the        10   ovarian cancer can be caused by inflammation?
        11   heterogeneity in individuals, their overall         11   A        No. That's -- that's not my statement.
        12   health, their natural variation in the levels of    12   I would say all types of ovarian cancer are
        13   activities of antioxidants, et cetera, I -- I       13   supported by an inflammatory response but that,
        14   would state that I would expect a variety of        14   as from a causative perspective, that's not what
        15   magnitude of response to a foreign body like talc   15   the mechanism is provided as an opinion as to
        16   among the individuals exposed to it.                16   cause. It's more that the -- an inflammatory
        17   MS. BROWN:                                          17   response plays a role in disease initiation
        18   Q       You'd expect to see something; right?       18   and/or progression.
        19   MS. O'DELL:                                         19   Q        In your view, Dr. Levy, it is
        20          Object to the form.                          20   biologically plausible for inflammation to cause
        21   A       No, not necessarily, because it -- it       21   all types of epithelial ovarian cancer; true?
        22   very much depends on the timing that's -- that is   22   A        Again, I'm not -- I've not been
        23   observed, how -- what methodology is used to        23   speaking to inflammation as a causative -- as a
        24   detect the presence of talc or detect the           24   cause of ovarian cancer. It is a factor in --


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         1   presence of the inflammatory response, if it's,      1   in -- in disease progression.
         2   you know, done histopathologically, if it is         2   Q        So when you conclude, as you do in your
         3   based on a reactive oxygen species assay.            3   report, that talcum powder products cause chronic
         4          So given the -- speaking in general           4   inflammation, you do not conclude that that
         5   terms, I think it's just inappropriate to make a     5   chronic inflammation causes ovarian cancer?
         6   conclusion as to that, yes, you would always         6   MS. O'DELL:
         7   expect to see something.                             7           Object to the form.
         8          I would -- again, to restate what was         8   A        I wasn't asked to provide a causation.
         9   stated earlier, any -- any exposure has the          9   MS. BROWN:
        10   potential to cause that inflammatory response,      10   Q        Your opinion here is limited to the
        11   and then the time, scale, and magnitude of that     11   potential for talcum powder products to produce
        12   response is going to vary by person. Therefore,     12   inflammation; correct?
        13   I would expect there would be a variability in      13   MS. O'DELL:
        14   individuals exposed to talc.                        14           Object to the form.
        15   MS. BROWN:                                          15   A        No. My -- so my opinion is a -- is a
        16   Q        Uh-huh. Is your opinion related to all     16   supported plausible biological mechanism by which
        17   the different histologic types of epithelial        17   the exposure to talc can lead to ovarian cancer.
        18   ovarian cancer?                                     18   And, in my opinion, as supported in the -- in the
        19   A        My -- my opinion is not exclusive to       19   report, that is through an inflammatory response.
        20   any -- any one type. Certainly, the epithelial      20   MS. BROWN:
        21   serous being the more common and most virulent      21   Q        I must be missing you, Doctor. So are
        22   type of cancers I think represents the most         22   you of the opinion that inflammation can cause
        23   common.                                             23   ovarian cancer?
        24          From a mechanistic perspective, I            24   A        I'm of the opinion that inflammation is


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         1   a component of ovarian cancer.                       1           Well, first, we're -- I want to be
         2   Q        Well, I'm not sure what you mean by         2   cautious with our use of the word "cause"
         3   that. Can inflammation cause ovarian cancer?         3   and -- because that's, as we've been discussing,
         4   MS. O'DELL:                                          4   this is a -- it is -- it is not controversial
         5           Object to the form. Asked and                5   that ovarian cancer -- inflammation plays a role
         6   answered.                                            6   in ovarian cancer and -- and, again, my opinion
         7   A        I'm asked -- I suppose -- again, the        7   is not towards causation.
         8   opinion here is of a mechanistic opinion, not a      8   MS. BROWN:
         9   causation. I would defer to some of the              9   Q        Well, I mean, tumors themselves elicit
        10   epidemiology experts to have opinions on            10   inflammatory responses; right?
        11   causation.                                          11   A        What -- so what -- specifically, what
        12   MS. BROWN:                                          12   are you referring to?
        13   Q        You don't have an opinion on whether or    13   Q        Well, you talk about tumor-activated
        14   not inflammation can cause ovarian cancer?          14   macrophages in your report; right?
        15   MS. O'DELL:                                         15   A        Yes.
        16           Different question.                         16   Q        There is an inflammatory response
        17   A        Correct. That's a --                       17   that's produced by the tumor itself; correct?
        18           As we've been discussing, my opinions       18   A        Yes. There are -- there -- there --
        19   are that inflammation is a component of ovarian     19   there are absolutely cancer progression markers
        20   cancer and can be attributed to aspects, not        20   that are associated with continued inflammation.
        21   exclusively, but contributing to aspects of its     21   Q        And that has nothing to do necessarily
        22   initiation and aspects of its progression. But I    22   with the events that cause the cancer. Right?
        23   did not say that ovarian cancer is caused by        23   MS. O'DELL:
        24   inflammation.                                       24           Object to the form.

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         1   MS. BROWN:                                           1   A        Well, so the -- we -- we would be going
         2   Q        And what scientific support do you have     2   down a slightly different road. And if
         3   for your opinion that inflammation is a component    3   we're -- so cancer as a complex disorder, you
         4   of ovarian cancer and can be attributed to           4   know, begins with an initiating event. But there
         5   aspects of ovarian cancer, including its             5   is -- there is absolutely tumor evolution from
         6   initiation?                                          6   that initial event through the progression of the
         7   A        So, again, the synthesis of the -- of       7   disease.
         8   the papers we've been discussing, including Saed     8           So to state that the -- in the initial
         9   and others, showing the reactive oxygen species      9   inflammatory response to the tumor is -- is not
        10   produced from talc. And, then, as far as            10   causative to the continuation of the disease I
        11   inflammation and its role in cancer, there          11   think would be incorrect.
        12   are -- and it's a fundamentally accepted aspect     12   MS. BROWN:
        13   of cancer biology that's been around for -- for     13   Q        The Penninkilampi authors -- to
        14   quite some time. And we mentioned earlier that      14   conclude our discussion here -- concluded that
        15   there's a variety of review articles, including     15   the paragraph you were looking at with the
        16   the ones we were comparing sentences to earlier     16   sentence "The potential mechanism by which
        17   today, that describe that in great detail.          17   genital talc is associated with an increased risk
        18   Q        It's not generally accepted, though,       18   of ovarian cancer, hence, remains unclear," do
        19   that ovarian cancer is caused by inflammation.      19   you see that?
        20   Fair?                                               20   A        Yes.
        21   MS. O'DELL:                                         21   Q        And this meta-analysis was published in
        22           Object to the form.                         22   January of 2018; correct?
        23   A        I think there's a number of studies        23   A        Correct.
        24   that --                                             24   Q        And it is, in fact, cited in the


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         1   majority of the plaintiff expert reports in this     1   available data that there is a biologically
         2   litigation. Did you see that?                        2   plausible mechanism surrounding and, indeed, in
         3   MS. O'DELL:                                          3   the previous paragraph at the end of it where
         4           Object to the form. If you know that.        4   they discuss use of -- or expression of
         5   Don't speculate.                                     5   cyclooxygenase 1 and 2 as well as the action of
         6   MS. BROWN:                                           6   NSAIDs, again, supportive of -- somewhat
         7   Q        That's why I asked "Did you see that?"      7   supportive of the inflammatory model. But...
         8   A        So I didn't specifically look at if         8   MS. BROWN:
         9   this was referenced. I -- I certainly referenced     9   Q        Well, as it relates to the NSAIDs,
        10   it. But I would also point out another important    10   Doctor, they point to the fact that the NSAID
        11   part of the -- of this same reference, a -- about   11   data is inconsistent, at best, as evidence
        12   halfway down the following paragraph, beginning     12   supportive of their conclusions that the
        13   with "If chronic inflammation due to ascending      13   mechanism is unclear; right?
        14   foreign bodies is indeed the mechanism by which     14   A       No. They point to it as -- they
        15   talc use is associated with ovarian cancer risks,   15   actually try to clarify that the -- the seemingly
        16   then these results fit the picture."                16   contradictory data regarding the NSAID use can be
        17           So I think the authors were both            17   explained by the relatively low expression of
        18   describing some things that remain unclear but      18   cyclooxygenase 1 and cyclooxygenase 2, which are
        19   also offering some comments that are supportive     19   the targets of most common NSAIDs.
        20   of our earlier discussions today on this            20   Q       What they say is that the use of
        21   mechanism.                                          21   nonsteroidal anti-inflammatory drugs, NSAIDs, is
        22   Q        And your opinion here today, Doctor, is    22   not inversely associated with the incidence of
        23   limited to the potential mechanism; right?          23   ovarian cancer as may be expected if the etiology
        24   MS. O'DELL:                                         24   was related to chronic inflammation. Right?


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         1          Object to the form.                           1   MS. O'DELL:
         2   A        So my -- my opinion is -- is -- is          2          Objection to form.
         3   regarding a biologically plausible mechanism.        3   A       Yes, that statement is made. But,
         4   But, then -- and, in doing so, have reviewed some    4   importantly, it is incomplete without the next
         5   of these studies that we're discussing now.          5   sentence, again, explaining that -- that
         6   MS. BROWN:                                           6   apparent -- that apparent question.
         7   Q        Good.                                       7          So if the -- if NSAIDs are not
         8          And, as it relates to that potential          8   effective in ovarian cancer and the -- and, in
         9   mechanism, these Penninkilampi authors conclude      9   turn -- and if the observation is also made that
        10   that the potential mechanism remains unclear.       10   ovarian cancer cells don't express cyclooxygenase
        11   Right?                                              11   1 and 2, then they would not -- they would be
        12   MS. O'DELL:                                         12   nonresponsive to NSAIDs.
        13          Objection to form.                           13   Q       You state on page 12 of your report,
        14   A        They -- the article makes a statement,     14   Doctor, in the last paragraph, the second-to-last
        15   "The potential mechanism by which genital talc is   15   sentence that begins "moreover," that the effect
        16   associated with an increased risk of ovarian        16   of nonsteroidal anti-inflammatory drugs, NSAIDs,
        17   cancer, hence, remains unclear."                    17   to reduce the risk of ovarian cancer provides
        18          However, as we've been discussing, they      18   additional support for what you're discussing
        19   go on to state, "If chronic inflammation due to     19   here, which is that chronic inflammation plays a
        20   ascending foreign body is indeed the mechanism,"    20   key role in the development of ovarian cancer.
        21   then there -- the results in this paper             21          Right?
        22   are -- fit that model.                              22   A       Correct.
        23          So I think they're making reason- --         23   Q       And that is, in fact, the opposite of
        24   making reasonable statements based on the           24   what the authors in Penninkilampi report as


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         1   relates to NSAIDs; right?                            1   statement.
         2   MS. O'DELL:                                          2          And then there was, I think,
         3           Object to the form.                          3   importantly, the Lin 2011 paper is also relevant.
         4   A         Not -- not necessarily. So there's --      4   Q       Well, as it relates to the Merritt
         5   getting back to the -- the specific cells under      5   paper, this cite is wrong; right?
         6   question and the inflammatory response being         6   A       I need a moment to --
         7   examined. And, so, if we are lowering overall        7   Q       Let's look at what Merritt actually
         8   chronic inflammation through the use of an NSAID     8   found about pelvic inflammatory disease.
         9   is -- is one question. A separate question is is     9          If you look --
        10   a -- is a ovarian cancer cell responsive to         10   MS. O'DELL:
        11   NSAIDs. So they're two separate biological          11          If you need a moment --
        12   phenomenon.                                         12          Excuse me. I'm sorry. I didn't mean
        13           And, in one case, if those cells are        13   to interrupt you.
        14   not expressing the cyclooxygenase 1 and 2,          14          If you need a moment to refresh
        15   they'll be nonresponsive.                           15   yourself, Dr. Levy, please do.
        16           I would speculate that NSAID use in the     16   MS. BROWN:
        17   rest of the body would still result in the          17   Q       Sure. And if you -- when you're ready,
        18   expected effect due to, you know, the -- due to     18   Doctor, I'll direct you to the second column on
        19   the inhibition of cyclooxygenase 1 and 2.           19   page 174, and I want to talk about the last
        20           So I don't think they're necessarily in     20   paragraph there that begins "if inflammation."
        21   conflict with each other.                           21   A       Page?
        22          (DEPOSITION EXHIBIT NUMBER 20                22   Q       And I'll read it into the record while
        23           WAS MARKED FOR IDENTIFICATION.)             23   you orient yourself. It's page 174, right-hand
        24   MS. BROWN:                                          24   column. Final paragraph states, "If inflammation

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         1   Q       Handing you what we've marked as             1   plays a role in the etiology of ovarian cancer,
         2   Defense Exhibit 20 to your deposition, this is a     2   then it would be expected that PID would be
         3   paper by Merritt entitled "Talcum Powder Chronic     3   associated with increased risks of ovarian
         4   Pelvic Inflammation and NSAIDs in Relation to the    4   cancer. PID is not associated with elevated risk
         5   Risk of Epithelial Ovarian Cancer."                  5   of ovarian tumors in our data, confirming several
         6          Do you see that?                              6   previous reports of no association with PID in
         7   A       I do.                                        7   studies of all subtypes of ovarian cancer."
         8   Q       And, in fact, on page 12 of your             8          Did I read that correctly?
         9   report, you cite this Merritt article. Correct?      9   A       You did.
        10   A       Yes. Uh-huh.                                10   Q       All right. So you cited this study for
        11   Q       And you cite it for the proposition         11   the proposition that studies have found a
        12   that studies have found a relationship between      12   relationship between PID and ovarian cancer risk.
        13   pelvic inflammatory disease and ovarian cancer      13   Right?
        14   risk. Correct?                                      14   A       No. I said -- I cited -- I said
        15   A       Correct.                                    15   studies have found a relationship, yes, between
        16   MS. O'DELL:                                         16   PID and ovarian cancer risk.
        17          Object to the form.                          17   Q       And, in fact, this study did not find a
        18   MS. BROWN:                                          18   relationship between PID and ovarian cancer risk.
        19   Q       And you point to Merritt when you           19   Right?
        20   determine here as a finding of a relationship       20   A       I think this study found a -- I'm just
        21   between pelvic inflammatory disease and ovarian     21   looking at the...
        22   cancer in support of your opinion that              22          So -- I'm sorry. Would you ask your
        23   inflammation can cause ovarian cancer. True?        23   question again? This -- this study did not
        24   A       I'd have to double-check that               24   find your --


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         1          Yes, I --                                    1   quote, "We conclude that, on balance, chronic
         2   Q       Sure. I just -- you cited this study        2   inflammation does not play a major role in the
         3   for the proposition that it showed there was a      3   development of ovarian cancer."
         4   relationship between pelvic inflammatory disease    4   Q       Do you see that, Doctor?
         5   and ovarian cancer risk, but, in fact, the study    5   A       I see that.
         6   showed the opposite. Correct?                       6   Q       And what this study did was it
         7   A       Well, to be clear on the wording,           7   endeavored to look into factors potentially
         8   stated that the studies have found a                8   associated with ovarian inflammation to see if it
         9   relationship. I didn't indicate whether it was      9   could support the theory that chronic
        10   positive or negative.                              10   inflammation plays a role in ovarian cancer;
        11          But I think, importantly, the study         11   right?
        12   also has an important paragraph that is probably   12   MS. O'DELL:
        13   more related to its inclusion, which is on the     13          Object to the form.
        14   same page we were just on, 174, second full        14   A       I would need to -- this one limitation
        15   paragraph in the discussion.                       15   of this particular paper is that it is connecting
        16   Q       One of the things on this page,            16   inflammation as evidenced by pelvic inflammatory
        17   Doctor --                                          17   disease and assuming that that source and type of
        18   MS. O'DELL:                                        18   inflammation would be -- the fact that there's
        19          Are you finished, Doctor?                   19   not a direct association between -- or an
        20   A       I think important to at least finish       20   increased risk of ovarian cancer in the presence
        21   that thought.                                      21   of pelvic inflammatory disease; therefore,
        22          That paragraph reads, "Focusing on talc     22   inflammation must not play a role in ovarian
        23   use, we found that any use of perineal talc was    23   cancer. So that is their conclusions.
        24   associated with a small but significantly          24   MS. BROWN:


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         1   increased risk of ovarian cancer overall and        1   Q        Well, they looked at a bunch of
         2   specifically amongst the invasive and LNP serous    2   different inflammatory conditions, didn't they?
         3   tumors, although no clear dose response with        3   That was the focus of the study. The authors
         4   increase in duration of use was identified. This    4   endeavored to look at a number of different
         5   finding is consistent with results of previous      5   pro-inflammatory factors and see if they
         6   studies."                                           6   influenced ovarian cancer. Do you recall
         7          So in the case of the report and the         7   reviewing that?
         8   biologically plausible mechanism that's been        8   A        I do. I think -- but, more
         9   supported by these studies, these studies           9   importantly, when we look at the -- their
        10   differentiating the process of pelvic              10   specific statements that are surrounding the
        11   inflammatory disease doesn't ex- -- doesn't        11   mechanism we're discussing today, which has to do
        12   exclude or refute the inflammatory role or the     12   with talc exposure and perineal talc use, I think
        13   role inflammation may play in ovarian cancer.      13   their -- their statements in that sense, which
        14   Q       What this study concludes is that, on      14   have already been read, quite stand on their own.
        15   balance, chronic inflammation does not play a      15          So what this may indicate is a variety
        16   major role in the development of ovarian cancer.   16   of types of inflammation do -- as present in
        17   Do you recall reviewing this in connection with    17   other diseases, those individually do not or may
        18   your opinions in this case?                        18   not have a specific role in the progression of
        19   MS. O'DELL:                                        19   ovarian cancer.
        20          Object to the form. Misstates the           20          But it does not -- again, it does not
        21   exhibit.                                           21   mean that ovarian inflammation at the site of
        22   MS. BROWN:                                         22   talc exposure in the ovary can't have a role in
        23          Counsel, I'll direct you to the last        23   the progression of disease where -- again, as we
        24   paragraph of the abstract on page 1 which reads,   24   were discussing earlier, with inflammation, we're


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         1   now connecting independent biological processes.     1   couple times, and that's a 1.17 relative risk
         2          And I think you're -- I want to be sure       2   that you're referring to. Is that right?
         3   we're clear and not drawing the use of the word      3   A        Where is that?
         4   "chronic inflammation" as meaning any                4   Q        I'm looking at -- in the abstract.
         5   inflammation and, therefore, if it's not             5   A        Yes.
         6   associated with ovarian cancer, that inflammation    6   Q        Right. And the confidence interval is
         7   can't have a role.                                   7   1.01 to 1.36. Right?
         8          What we're speaking about in terms of         8   A        Correct.
         9   this mechanism is inflammation caused by the         9   MS. O'DELL:
        10   perineal use of talcum powder in the ovary and      10           As to what finding?
        11   the -- and the -- to explain that increased risk    11   MS. BROWN:
        12   of ovarian cancer, what is a plausible mechanism.   12           The one we're discussing.
        13   Q       The authors write, on page 74 -- 174,       13   Q        And, Doctor, you know that one -- a
        14   Doctor, second column, paragraph that begins with   14   confidence interval that begins with one is not
        15   "It has been hypothesized," "It has been            15   statistically significant?
        16   hypothesized that talc is linked to ovarian         16   MS. O'DELL:
        17   cancer development through inflammation," comma,    17           Object to the form.
        18   "however evidence linking an inflammatory           18   MS. BROWN:
        19   response with talc contamination of the ovaries     19   Q        Did you know that?
        20   is lacking."                                        20   MS. O'DELL:
        21          Do you see that?                             21           Object to the form.
        22   A       I do.                                       22   A        Well, I would say the authors have
        23   Q       And you disagree with that statement?       23   stated in that abstract that it is statistically
        24   A       I would -- I would suggest that a           24   significant.

                                                 Page 279                                                 Page 281
         1   number of studies in the literature since the        1   MS. BROWN:
         2   publication of this paper would -- would suggest     2   Q        Sure, because it's 1.01. My question
         3   that these conclusions may have been premature.      3   to you was do you know that a confidence interval
         4   Q       Do you think that, at the time this          4   that begins with one is not statistically
         5   paper was published in 2008, that Merritt was        5   significant?
         6   accurately representing the data as it related to    6           This finding, Doctor, is barely
         7   whether chronic inflammation could play a role in    7   statistically significant, isn't it?
         8   the development of ovarian cancer?                   8   MS. O'DELL:
         9   MS. O'DELL:                                          9           Object to the form.
        10          Object to the form.                          10   A        Again -- again, it's a -- whether it's
        11   A       I would say that Merritt has an             11   barely or whether it's tremendously statistically
        12   unresolved -- has a number of unresolved            12   significant, it -- it's still a finding that I
        13   conclusions or partial conclusions in their         13   would say is in support of -- has been supported
        14   paper, again, including the paragraph we've         14   by other studies with similar relative risk
        15   discussed where they comment on the talc use with   15   numbers in the -- in the 1.2 range and above, as
        16   an increased risk of ovarian cancer.                16   indicated.
        17   MS. BROWN:                                          17   MS. BROWN:
        18   Q       Did you see the confidence interval on      18   Q        Finally, Doctor, at the very -- the
        19   that finding, Doctor?                               19   very last sentence of this Merritt study we're
        20   A       I'd have to -- in --                        20   discussing, on page 175, concludes, "However,
        21          Is this in this paper or in the number       21   experimental evidence that perineal talc use
        22   of the --                                           22   elicits an inflammatory response in the ovaries
        23   Q       You reference the finding of an             23   is lacking, and overall we conclude that chronic
        24   association between talc use and ovarian cancer a   24   inflammation does not play a major role in the


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         1   development of ovarian cancer."                      1          Again, the observations in this paper
         2          And my question for you is what               2   are regarding chronic inflammation and its -- and
         3   methodology did you employ to consider the           3   its major role in the development of ovarian
         4   findings of the Merritt paper in coming to your      4   cancer; and, again, in this -- in the specific
         5   opinions contained in your report?                   5   individuals that they've looked at, it's in
         6   MS. O'DELL:                                          6   regards to pelvic inflammatory disease.
         7          Object to the form.                           7          And, so, as far as weighting that
         8   A        Again, as we've discussed earlier here      8   paper, it would be similar to other papers and
         9   today, the -- there's been no singular paper that    9   other observations in the sense that it was --
        10   had a specific role in -- in developing the         10   that the mechanism that is supported by a wide
        11   biologically plausible mechanism contained in the   11   variety of work considers a history of -- history
        12   report. And, so, this -- this paper, among many     12   of work in the talc, inflammation, and ovarian
        13   others, was -- was used.                            13   cancer fields both in basic research and
        14   MS. BROWN:                                          14   epidemiology to come up -- to come to the
        15   Q        Right. But the findings of this paper      15   conclusions and mechanisms that are proposed.
        16   is that talcum powder doesn't produce an            16          I don't -- I can't give you a specific
        17   inflammatory response that leads to cancer.         17   weighting algorithm that was used on any -- any
        18   Right?                                              18   given paper.
        19   A        The -- the findings of this paper was      19   MS. BROWN:
        20   that there's not an association of pelvic           20   Q        Did you consider Merritt's finding that
        21   inflammatory disease and risk of ovar- -- of        21   evidence linking an inflammatory response with
        22   epithelial ovarian cancer.                          22   talc of the ovaries is lacking?
        23   Q        They conclude that chronic inflammation    23   A        I certainly considered their -- I
        24   doesn't play a role in the development of ovarian   24   considered their statements in the -- in the

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         1   cancer; right?                                       1   paper. And I would question the dichotomy of
         2   A       I think they've -- they've extended          2   the -- of some of their statements regarding talc
         3   that observation regarding pelvic inflammatory       3   risk to cancer.
         4   disease to that conclusion.                          4           And the first question that would come
         5          But I think the studies that have come        5   to mind for this particular study is how they
         6   after this and other -- certainly other areas of     6   assessed talc-related inflammation in --
         7   review would suggest that those specific -- the      7   specifically in the ovary. I don't recall seeing
         8   wording of those specific statements may not be      8   how they made that assessment.
         9   the most appropriate representation of the -- of     9           It, instead, seemed to me that their
        10   the observations made in the -- in the Merritt      10   assessments were based on chronic inflammation as
        11   paper.                                              11   it related to other biological conditions and
        12   Q       So did you weight the Merritt paper         12   then extrapolating that to rate of ovarian
        13   less than some other papers that came after it?     13   cancer.
        14   Or how did you --                                   14   Q         How do you think one should measure
        15          What I'm trying to understand is your        15   talc-related inflammation in the ovary?
        16   methodology for considering this paper, which       16   MS. O'DELL:
        17   seems to squarely conclude talc doesn't cause       17           Object to the form.
        18   inflammation.                                       18   A         Again, I wasn't asked to -- to provide
        19   MS. O'DELL:                                         19   that opinion. But I would reference the more
        20          Object to the form.                          20   recent Saed paper which -- and other molecular --
        21   A       I'm not -- so I would -- I would            21   and other molecular studies and certainly defer
        22   disagree that -- this paper does not make those     22   to Dr. Saed as an expert witness to discuss
        23   conclusions that talc does not cause                23   appropriate measurements for talc-related
        24   inflammation. What they --                          24   inflammation in the -- in the ovary or ovarian


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         1   cells.                                               1   biologically plausible mechanism that was also
         2   MS. BROWN:                                           2   peer-reviewed, and I would rely on or point you
         3   Q        Have you spoken with Dr. Saed?              3   to a number of other expert reports, particularly
         4   A        I have not.                                 4   in the epidemiology space from this case, where
         5   Q        Have you requested any information from     5   you'll find a great many parallels to -- to this
         6   Dr. Saed?                                            6   case.
         7   A        No, I have not.                             7          So I, instead, would state
         8   Q        Have you -- would you hold to the same      8   independently myself and other respected
         9   opinion if you did not consider the work of          9   scientists have essentially developed the same
        10   Dr. Saed?                                           10   opinions regarding mechanism in this -- in this
        11   MS. O'DELL:                                         11   particular space.
        12           Objection to form. Vague.                   12   MS. BROWN:
        13   A        I -- the work of Dr. Saed is -- is a       13   Q       Is there another plaintiffs' expert
        14   consideration among the wide variety of other       14   that you're aware of who holds the same opinion
        15   literature contained in here. And Dr. Saed's        15   as you do on biological plausibility?
        16   work for in vitro analysis and the quantitation     16   A        Yes.
        17   of specific reactive oxygen species is -- is a      17   Q        Who's that?
        18   factor in and it is in support of the mechanism     18   A       Patricia Moorman, who is an
        19   that I've proposed, which is that that mechanism    19   epidemiologist whose report I had the opportunity
        20   does not rely on that study or any singular study   20   to read yesterday.
        21   for it to be valid.                                 21   Q       Is there -- and -- and even though
        22   MS. BROWN:                                          22   she's an epidemiologist, Dr. Moorman has a view
        23   Q        The mechanism you proposed, Doctor, is     23   on biological plausibility? Is that right?
        24   not yet generally accepted in the scientific        24   MS. O'DELL:


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         1   community. Would you agree?                          1          Object to the form.
         2   MS. O'DELL:                                          2   A        She has a view on --
         3          Object to the form.                           3          In her report was a -- a view on
         4   A       I wouldn't have a basis for that             4   mechanism -- on mechanism, which included the
         5   opinion. As -- as we talked about earlier, I         5   discussion of inflammatory response and its role
         6   haven't shared this mechanism to ask for that        6   in ovarian cancer, which parallels this report.
         7   opinion.                                             7   MS. BROWN:
         8   MS. BROWN:                                           8   Q        Do you consider your proposed mechanism
         9   Q       You haven't published the proposed           9   that is the subject of your report to be a novel
        10   mechanism that is the subject of your report. Is    10   concept in the scientific world?
        11   that right?                                         11   MS. O'DELL:
        12   A       That's right.                               12          Object to the form.
        13   Q       You haven't discussed the proposed          13   A        Which part?
        14   mechanism that is the subject of your report with   14   MS. BROWN:
        15   any of your colleagues at HudsonAlpha; correct?     15   Q        Any part.
        16   A       That's correct.                             16   MS. O'DELL:
        17   Q       So whether or not the proposed              17          Object to the form.
        18   mechanism that is the subject of your report        18   A        Again, I -- my -- the -- what was
        19   would be accepted by your peers in the scientific   19   requested of me was not to develop a novel
        20   community, that's not something you have yet        20   concept or even to describe an untested
        21   evaluated; correct?                                 21   hypothesis. What was requested of me was to
        22   MS. O'DELL:                                         22   review the available literature and provide a
        23          Object to the form.                          23   biologically plausible mechanism for talc
        24   A       My -- I wasn't requested to provide a       24   exposure to ovarian cancer. And, so, that's


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         1   what -- that's what my report provides.              1   for you here, Doctor, is, were -- was there any
         2   MS. BROWN:                                           2   limitation placed on you that you relied on in
         3   Q        Do you think there could be other           3   trying to develop your biologically plausible
         4   biologically plausible mechanisms by which talcum    4   mechanism?
         5   powder would be associated with ovarian cancer?      5   MS. O'DELL:
         6   A        I haven't been asked to -- to make a        6          What's allowed -- you're well aware of
         7   review related to other biological mechanisms. I     7   this, counsel, I know -- that what's discoverable
         8   was asked to develop a biologically plausible        8   is are there materials considered -- you can ask
         9   mechanism. And upon review of the totality of        9   him that -- was there assumptions that he was
        10   the literature, this mechanism that -- that I've    10   asked to make -- that's discoverable -- and the
        11   presented and provided in the report is, in my      11   compensation. Those are the three things. Not
        12   opinion, the correct mechanism.                     12   conversations between counsel and Dr. Levy.
        13   Q        Did you have complete autonomy in your     13   So --
        14   task to develop a biologically plausible            14   MS. BROWN:
        15   mechanism?                                          15          Counsel, you can instruct or we'll get
        16   A        Yes.                                       16   the judge. We do not have time for your
        17   Q        Were there any limitations on how you      17   speeches. We're trying to finish up and let
        18   should go about developing this biologically        18   other people -- other people ask questions.
        19   plausible limita- -- mechanism?                     19   MS. O'DELL:
        20   MS. O'DELL:                                         20          That's straight from the rules. You're
        21          Object to the form of the question to        21   well aware of that.
        22   the degree that the question seeks --               22   MS. BROWN:
        23   MS. BROWN:                                          23          So here's the question. If you want to
        24          Form.                                        24   instruct, we'll take a break and get the judge.


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         1   MS. O'DELL:                                          1   Q        Did you rely on any instruction from
         2          No, no. If it goes to conversations           2   counsel regarding any limitations on how you were
         3   with counsel, it is not form. It is                  3   to attempt to develop your biologically plausible
         4   attorney-client privilege and it's protected.        4   mechanism?
         5   Work product privilege is protected.                 5   A        No. I was -- I was not provided --
         6          And, so, Dr. Levy --                          6   there were no --
         7   MS. BROWN:                                           7          I'm trying to make sure I answer to be
         8          No. Counsel --                                8   correct. But my very simple and direct answer is
         9   MS. O'DELL:                                          9   the requests for the report were very succinct
        10          Excuse me. Excuse me. I'm directing          10   and were given without limitation.
        11   my witness based on privilege, and I can do that.   11   Q        Did you try to develop any mechanism
        12          To the degree that counsel is trying to      12   that you rejected in connection with your report?
        13   seek the substance of discussions you had with      13   MS. O'DELL:
        14   counsel, those are protected, and I direct you      14          Object to the form. Vague.
        15   not to answer.                                      15   A        So I would best answer that by saying I
        16          To the degree there's something in your      16   did not develop an initial mechanism and,
        17   mind to respond that's not that, you may -- you     17   instead, began a literature review looking at the
        18   may respond.                                        18   available literature in talcum powder
        19   MS. BROWN:                                          19   inflammation in cancer, ovarian cancer, and then
        20   Q       And as -- as counsel well knows,            20   in related subjects, and then, through the course
        21   because we've had this discussion earlier this      21   of that review, was able to synthesize the
        22   week, the federal rules allow discovery of any      22   opinion that you have, that we've been
        23   material you relied on in forming your opinions.    23   discussing, in the report.
        24          And, so, my answer here -- my question       24   MS. BROWN:


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         1   Q         Do you consider the biologically           1   mechanism, you mean other experts in this
         2   plausible mechanism that is the subject of your      2   litigation?
         3   report to be a hypothesis?                           3   MS. O'DELL:
         4   MS. O'DELL:                                          4           Object to the form. Misstates his
         5            Object to the form. Asked and               5   testimony.
         6   answered.                                            6   A        Other -- other material -- the
         7   A         No, no. In fact, it is not. And            7   materials that I was -- that I was provided.
         8   it's -- I think it's very fundamentally different    8   MS. BROWN:
         9   than a hypothesis.                                   9   Q        And those materials are in the form of
        10            Because, again, to state, the              10   other expert reports like yours; right?
        11   activities that were undertaken was a review of     11   MS. O'DELL:
        12   the literature and then, based on that review, a    12           Object to the form.
        13   mechanism that was biologically plausible. It is    13   A        They are.
        14   not hypothetical.                                   14   MS. BROWN:
        15   MS. BROWN:                                          15   Q        Are you aware of any nonlitigation
        16   Q         Have you tested your biologically         16   expert that has arrived at the same biologically
        17   plausible mechanism?                                17   plausible proposed mechanism as you?
        18   MS. O'DELL:                                         18   MS. O'DELL:
        19            Object to the form.                        19           Object to the form.
        20   A         Tested in the sense of --                 20   A        Well, I think -- yeah, in the sense --
        21            So I would -- I would answer that as --    21   in the sense of the number of publications we've
        22   in -- in my opinion, I would suggest that this      22   been discussing and some of the more recent both
        23   has been tested based on following the completion   23   reviews and -- and Saed's paper, I suppose, as
        24   of the report and reading other similarly derived   24   we've been discussing, Dr. Saed has been funded

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         1   or similarly requested both literature, some of      1   for some of this work, but I would counter that
         2   the publications that we've been discussing, as      2   with sponsorship of -- of studies that are
         3   well as other expert reports that have, as we've     3   subsequently peer-reviewed, I think are generally
         4   just discussed, some parallel aspects.               4   held to a scientific standard and rigor, and
         5          So, from a formal scientific process,         5   would suggest that his most recent work would
         6   that is -- would not, I think, be considered a       6   fall under that and -- and, therefore, I would
         7   formal test. But from the perspective of this        7   not consider that in the same realm as an expert
         8   biologically plausible mechanism, other              8   report.
         9   scientists undertaking similar methodology came      9   MS. BROWN:
        10   up with similar results.                            10   Q        Are you aware that the plaintiffs'
        11          And, so, therefore, I would say that         11   lawyers funded Dr. Saed's studies?
        12   this report is -- continues to be supported by      12   A        I am.
        13   independent reviews and content.                    13   Q        How do you know that?
        14   MS. BROWN:                                          14   MS. O'DELL:
        15   Q        The other scientists that you just         15          Don't speculate. If you know it,
        16   referenced are also paid experts for the            16   testify to it.
        17   plaintiffs; is that right?                          17   A        No. I'm thinking of --
        18   MS. O'DELL:                                         18          That was disclosed during the
        19          Object to the form.                          19   discussion of the -- of the paper, and the
        20   A        I don't have knowledge of that             20   question I asked and actually looked on the paper
        21   specifically.                                       21   was to --
        22   MS. BROWN:                                          22          And this -- this was getting to my own
        23   Q        Well, when you said other experts          23   opinion as to the appropriateness and the
        24   looking at the same thing came up with a similar    24   potential scientific rigor of the paper, and that


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         1   was whether or not Dr. Saed disclosed that           1   Q       Why is it important, in your mind, to
         2   relationship, which is, of course, ethically a       2   disclose funding for a study?
         3   requirement for sponsored research. And, indeed,     3   A       Well, it's, you know, ethical premise
         4   that sponsorship is made in the paper.               4   of -- of most scientific research or really all
         5   MS. BROWN:                                           5   extramurally funded research that the funding
         6   Q       Was it important to you --                   6   sources are -- are always disclosed. And that's
         7          Did you ask Dr. Saed about the funding        7   true for publication as well as presentation.
         8   for his paper?                                       8          And, so, I think most -- most
         9   A       I did not. As we -- as we discussed, I       9   scientists, during presentation, will present a
        10   haven't spoken with him.                            10   slide that shows their -- their funning support
        11   Q       Were you troubled by the fact that          11   and all of its sources regard- -- whether it's
        12   Dr. Saed's disclosure does not reference which      12   public or private.
        13   side of the litigation he's working for?            13          And then you'll notice in vast majority
        14   MS. O'DELL:                                         14   of publications, if they are grant supported,
        15          Object to the form.                          15   again, whether that grant is from a public or a
        16   A       Are you asking for my opinion on if it      16   private institution, those things are referenced.
        17   troubled me?                                        17   And, in fact, the U. S. Government has a
        18   MS. BROWN:                                          18   requirement that grants be referenced in their --
        19   Q       Yeah.                                       19   in any publications that were supported by that
        20   A       No.                                         20   money.
        21   Q       It sounds like you did a little             21   Q       Do you have any critiques of either of
        22   investigation and you were satisfied with the       22   Saed's papers?
        23   disclosure. Was that your testimony?                23   A       No. Not at this time.
        24   MS. O'DELL:                                         24   Q       Do you have any questions or anything


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         1           Object to the form. He didn't use the        1   that doesn't make sense to you, having reviewed
         2   word "investigation."                                2   the most recent one or the 2017 one?
         3   A         I was satisfied seeing a disclosure        3   A        No. My focus, particularly on the most
         4   made regarding funding, which, again, in the         4   recent one, I actually found his molecular
         5   scientific climate I would -- or I would state       5   studies to be quite comprehensive and --
         6   simply I viewed the support of that study which      6          So there was -- there was no specific
         7   subsequently goes out to peer review functionally    7   concerns that -- that I was able to identify.
         8   equivalent to pharmaceutical support of a study      8   And, again, the -- in the -- in the version of
         9   involving a drug or a condition or a treatment.      9   the paper that -- that I -- that I was given.
        10           The reality of the scientific space         10   Q        And did you have any opportunity to
        11   is -- is -- is funding sponsorship comes from a     11   check to see if you had an earlier version of
        12   variety of cases. And in each institution,          12   that paper?
        13   HudsonAlpha certainly, I'm positive Wayne State     13   A        Oh, I -- I'll be sure and do that at
        14   has a conflict of interest review board which       14   the next break.
        15   Dr. Saed has to report to as far as the -- how he   15   Q        Okay. Why don't we go ahead and take a
        16   manages that potential conflict of interest. And    16   break now. You'll take a look, if you wouldn't
        17   given that he's at a reputable institution that     17   mind, to see if you have something other than
        18   I've actually done a fair amount of review work     18   what we've marked at the deposition.
        19   with over the years, being Wayne State, I'm         19          I'm going to renew -- review my notes.
        20   reasonably -- or I would say I'm quite confident    20   I'm close to finishing, and then I'll hand it
        21   that his conflict of interest has been managed      21   over to my colleague, Mr. Ferguson, who I think
        22   appropriately for the -- for the study that was     22   will have some questions for you as well. Okay,
        23   reviewed.                                           23   Doctor?
        24   MS. BROWN:                                          24   A        Uh-huh.


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         1   Q        Thank you, Doctor.                          1   MS. BROWN:
         2   VIDEOGRAPHER:                                        2   Q        And if that's not the one you were
         3          Going off the record. The time is 3:33        3   thinking of, Doctor, we can move on.
         4   p.m.                                                 4   A        I was thinking Henderson 1971.
         5               (OFF THE RECORD.)                        5   Q        And that's not an animal study; right?
         6   VIDEOGRAPHER:                                        6   A        Maybe this -- this isn't the same one,
         7          We're back on the record. The time is         7   then. I can certainly find it at the end if --
         8   3:48 p.m.                                            8          The -- it was a 1971 study involving a
         9   MS. BROWN:                                           9   rat model that the major point and conclusion of
        10   Q        Welcome back, Doctor.                      10   the study was perhaps something that we've
        11          Did you have an opportunity to take a        11   discussed that's been now well accepted that the
        12   look if you had an earlier version of Dr. Saed's    12   talc can migrate, after exposure, into the
        13   manuscript?                                         13   ovarian tissue.
        14   A        I did.                                     14   Q        Are you aware of any study, Doctor,
        15          I did not.                                   15   that talc on the exterior of a woman's vagina can
        16   Q        Okay. And, so, during this deposition,     16   migrate up the fallopian tubes to the ovary?
        17   you've referred from time to time to Dr. Saed's     17   MS. O'DELL:
        18   2018 paper. Is that right?                          18          Object to the form.
        19   A        (Nods affirmatively.)                      19   A        I am not aware of a study that tested
        20   MS. O'DELL:                                         20   that specifically.
        21          Object to the form. Excuse me.               21   MS. BROWN:
        22   MS. BROWN:                                          22   Q        And did you consider, in connection
        23   Q        And you received that paper after you      23   with your opinions here, IARC's finding that the
        24   authored your report in this case; right?           24   science regarding migration is, quote, "weak"?

                                                Page 303                                                  Page 305
         1   MS. O'DELL:                                          1   MS. O'DELL:
         2         Object to the form.                            2           Object to the form.
         3   A       So I was referring --                        3   A        My -- my primary consideration of IARC
         4         Yes. I -- I -- the manuscript we were          4   was their classification of the talc and the --
         5   discussing was received after the completion of      5   and the fibrous talc, and I don't recall their
         6   this. But, as we discussed earlier, the              6   conclusions of the migration science being weak.
         7   materials in the paper were presented in abstract    7           And, in fact, it appears, as stated by
         8   form or long abstract form, and those are            8   the FDA, that the -- the migration question is --
         9   referenced in the report.                            9   is well resolved.
        10   MS. BROWN:                                          10   MS. BROWN:
        11   Q       And just to close the loop on one thing     11   Q        Finally, Doctor, in connection with
        12   before I hand it over to my colleague,              12   your opinions in this case, did you consider
        13   Mr. Ferguson, you had referenced an animal study    13   articles regarding whether stick lesions evidence
        14   by Woodruff earlier in the day. Do you remember     14   inflammation?
        15   that?                                               15   A        I'd have to review some of the
        16   A       Yes.                                        16   literature for stick lesions specifically. But
        17   Q       That paper doesn't have anything to do      17   that --
        18   with talc; right?                                   18           Can you -- what are you referring to by
        19   MS. O'DELL:                                         19   stick lesions?
        20         Object to the form.                           20   Q        So do you understand that it's now
        21   A       Let me --                                   21   believed, in terms of the -- where ovarian cancer
        22         Yes, I -- you're -- the Woodruff 1979         22   begins, that it begins in the fallopian tubes,
        23   paper is not the one I was -- I was wrong on the    23   epithelial ovarian cancer?
        24   author. Give me a moment to...                      24   A        I certainly would agree that a -- the


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         1   site of initiation, whether -- that it can begin     1   the Genomic Services Laboratory --
         2   in the fallopian tubes, yes, that there's been       2          Right? There's one of those at
         3   studies that have shown that evidence.               3   HudsonAlpha; right?
         4   Q        And some of the early lesions that have     4   A        There is.
         5   been found in the fallopian tubes are sometimes      5   Q        Do you perform services there such as
         6   referred to as stick lesions. Are you familiar       6   running clinical samples to report results to
         7   with that?                                           7   healthcare providers? Is that the kind of things
         8   MS. O'DELL:                                          8   you do?
         9          Object to the form.                           9   A        To be -- to be clear and to,
        10   A        I'm not.                                   10   importantly, differentiate the regulated lab
        11   MS. BROWN:                                          11   versus the research laboratory, the Genomic
        12          So you haven't looked at any studies         12   Services Laboratory is a -- is a entity of
        13   that have looked at stick lesions that have been    13   HudsonAlpha that is responsible for research
        14   removed from women to see if there was any          14   activities.
        15   evidence of inflammation?                           15          There is a separate wholly owned
        16   MS. O'DELL:                                         16   subsidiary of HudsonAlpha creatively named the
        17          Object to the form.                          17   Clinical Services Laboratory. So that laboratory
        18   A        That -- that -- I don't recall that as     18   is the laboratory that performs the testing. And
        19   part of the review.                                 19   to hopefully not provide a level of confusion,
        20   MS. BROWN:                                          20   but the two laboratories coexist in the same
        21   Q        Fair enough.                               21   space. And what this means is I have staff and
        22          No further questions. I'll hand it           22   equipment. Some is dedicated to clinical, some
        23   over to Mr. Ferguson.                               23   is dedicated to research, and some are shared
        24   MR. FERGUSON:                                       24   between the two.

                                                 Page 307                                                 Page 309
         1          Thank you.                                    1          So, in summary, the best way to
         2                 EXAMINATION                            2   consider the laboratory is that it's a clinical
         3   BY MR. FERGUSON:                                     3   regulated laboratory that also performs research.
         4   Q        Good afternoon, Dr. Levy. My -- my          4          Any projects under that research
         5   name is Ken Ferguson, and I represent Imerys in      5   umbrella are referred to as being in the Genomic
         6   this matter. Do you know who Imerys is?              6   Services Laboratory. Anything clinical is
         7   A        Only that they're a mining company.         7   referred to the Clinical Services Laboratory.
         8   Q        Okay. And I have some questions for         8   That lab has been CLIA-licensed now for going on
         9   you. I apologize for my voice. I've kind of had      9   five -- just past four years and has been
        10   my allergies and then going into a cold, so it's    10   CAP-accredited for three and a half.
        11   kind of -- kind of stuffy. So I apologize.          11   Q        So is it the Clinical Services
        12          If you have trouble hearing me or            12   Laboratory, then, that would perform services
        13   understanding me, let me know. Okay?                13   like running clinical samples to get results to
        14   A        Okay.                                      14   healthcare providers?
        15   Q        And -- and just -- I know you've been      15   A        That's correct.
        16   at this with Miss Brown for a little while, but     16   Q        And -- and among those things that the
        17   if there's any question that you don't understand   17   Clinical Services Laboratory does, is that
        18   that I'm asking you, just let me know, and I'll     18   restricted to whole genome sequencing?
        19   restate it so I can make sure that we're            19   A        Our currently -- the only publicly
        20   communicating. Okay?                                20   disclosed and validated test for the Clinical
        21   A        Okay.                                      21   Services Laboratory is whole genome sequencing.
        22   Q        I want to talk to you, first of all,       22          We have two other laboratory-developed
        23   about a little bit more about what you do at        23   tests, or commonly referred to as LDTs, that are
        24   HudsonAlpha Institute. So in the what's called      24   run in a -- as a private assay for some clinical


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         1   trials, so they're not publicly available and to     1   of pre-reviews for tenure. There were no
         2   date have not been publicly disclosed. They're       2   concerns with that progress. But, based on both
         3   protected under confidentiality agreement.           3   funding as well as publication records, I wasn't
         4           And the Clinical Services Laboratory         4   overly concerned with that.
         5   this year will launch a number of other tests        5           But the opportunity to be able to do --
         6   that we have publicly disclosed. Those include       6   and the scale of operations at HudsonAlpha was --
         7   whole exome sequencing, an oncology panel known      7   was too good to turn down, as far as remaining at
         8   as the TruSight Tumor 170, which profiles 170        8   Vanderbilt.
         9   genes with -- that have been -- that have known      9   Q         So you were neither granted tenure nor
        10   involvement in cancer risk and progression, and     10   denied tenure. Is that fair to say?
        11   as well as a 500 panel of similar form.             11   A         That's fair to say.
        12   Q        So let me talk to you a little bit         12           I think the best evidence for the
        13   about your prior position. You were at              13   relationship at Vanderbilt after my leaving was I
        14   Vanderbilt University Medical Center; correct?      14   continued as an adjunct faculty in the same
        15   A        Correct.                                   15   department, again with change in title, for a
        16   Q        And you were an assistant professor?       16   number of years after joining HudsonAlpha. So it
        17   Is that correct?                                    17   was a -- certainly, I wouldn't characterize it as
        18   A        The titles I held there was research       18   a negative departure from the institution. And I
        19   assistant professor and then assistant professor,   19   still remain a collaborator with a number of
        20   and then I was a associate professor as an          20   colleagues there.
        21   adjunct faculty for a number of years after         21   Q         Do you have a copy of your report in
        22   joining HudsonAlpha. So I had to progress           22   front of you?
        23   through a few of the academic ranks at              23   A         I do.
        24   Vanderbilt, but all of them in the professor        24   Q         Okay. What I'm gonna do is I'm gonna


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         1   realm.                                               1   try to go through, probably in -- in order,
         2   Q       As an assistant professor, were you          2   portions of your report that I want to ask about
         3   appointed on a tenure track?                         3   and try to make sure I don't cover things that
         4   A       Yes.                                         4   Miss Brown's already covered.
         5   Q       And do you know generally how many           5          Can you look at page 5 of your report?
         6   years after appointment as an assistant professor    6   A        Yes.
         7   is a tenure decision at Vanderbilt typically made    7   Q        So there -- and I'm looking at number 2
         8   in that department?                                  8   on page 5, Acquired Somatic Gene Mutation.
         9   A       It varies from probably five to nine.        9          Do you see that?
        10   Q       Did you ever achieve tenure at              10   A        I do.
        11   Vanderbilt?                                         11   Q        And you say there that --
        12   A       Actually, I was up for tenure the year      12          I'm skipping the sentences. If you
        13   that I moved to HudsonAlpha.                        13   need to go back, feel free.
        14   Q       So --                                       14          -- "Biological and lifestyle exposures,
        15   A       So, technically, I, which will sound        15   such as viruses, obesity, hormones and chronic
        16   odd, I was promoted to associate professor upon     16   inflammation, are also known to result in
        17   leaving.                                            17   cancer-causing mutations."
        18   Q       Okay.                                       18          Right?
        19   A       In an adjunct role.                         19   A        I see that sentence.
        20   Q       So were you turned down for tenure          20   Q        Okay. Wouldn't you agree that the
        21   or --                                               21   association between obesity and cancer risk is
        22   A       I was not. I never -- I -- the              22   just that, an association and not a known
        23   opportunity at HudsonAlpha predated the time that   23   cause-and-effect relationship?
        24   I would have gone up for tenure. I had a number     24   MS. O'DELL:


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         1           Object to the form.                          1   A       It varies. So the -- the --
         2   A        I would state that it is known that         2   "inflammatory response" is a bit general. So
         3   cancer rates increase in a number of unhealthy       3   depending on specific type of cellular
         4   conditions, including obesity. But I am not          4   recruitment and cellular damage through the
         5   aware of a -- of any studies that have               5   release of cytokines, the release of oxidative
         6   illustrated a causal effect directly between         6   damaging materials from cells like granulocytes,
         7   obesity and cancer.                                  7   you know, or the -- even the cell's own
         8   MR. FERGUSON:                                        8   production of reaction to -- reactive oxygen
         9   Q        And, specifically, isn't it true that       9   species, such as from the mitochondria, which is
        10   there is no direct in vivo experimental evidence    10   the most common sync -- or most common source of
        11   that obesity causes cancer-causing mutations?       11   reactive oxygen species in the cell.
        12   A        I would have to review the literature      12          And, so, those are some examples of --
        13   to -- before answering that question. But the       13   of that relationship between an inflammatory
        14   relationship between obesity and cancer risk        14   response and that cellular reaction.
        15   is -- is quite well established. And I think for    15   Q       Reactive oxygen species are not the
        16   us to discuss that in more detail, we'd have to     16   same thing as inflammation; correct?
        17   start delving into some of the specifics around     17   A       I would say reactive oxygen species are
        18   the physiological changes related to obesity and    18   a hallmark of inflammation.
        19   whether those specific physiological changes play   19   Q       But they're not the same thing.
        20   a role in cancer.                                   20   MS. O'DELL:
        21   Q        And, just below that, the last sentence    21          Object to the form.
        22   in that paragraph, you say, "These mechanisms may   22   A       The -- well, they are --
        23   be direct, such as radiation directly damaging      23          Again, reactive oxygen species are a
        24   DNA, as well as indirect, such as an external       24   component of inflammation. So they're -- the


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         1   agent causing a cellular -- cellular reaction or     1   words are two -- two different definitions, but
         2   inflammatory response that then leads to DNA         2   they are a component.
         3   damage or mutation."                                 3   MR. FERGUSON:
         4          What cellular reactions are you               4   Q        Would you agree that reactive oxygen
         5   referring to that result in DNA damage or            5   species are a normal part of cell physiology?
         6   mutation?                                            6   A        Yes, absolutely.
         7   A       So the presence of reactive -- so a few      7   Q        And the major source of reactive oxygen
         8   different things. Primarily, along the               8   species comes from inside the cell and is
         9   discussions for today, the presence of reactive      9   produced in mitochondria?
        10   oxygen species which can directly -- which are a    10   A        A source, and depending on the site of
        11   cellular reaction that can then cause -- directly   11   the physiology. So a normal, healthy cell not
        12   cause DNA damage.                                   12   under stress or injury would be -- then, yes,
        13          There's protein oxidation effects that       13   that's a true statement.
        14   are similar to that, in the sense that you have a   14          Under different physiological
        15   chemical change and a cellular component that       15   conditions, that statement may not be true.
        16   results in a -- in a protein activity change,       16   Q        Can you distinguish reactive oxygen
        17   again leading to potential DNA damage.              17   species produced inside a cell from reactive
        18          And then you can have --                     18   oxygen species produced outside the cell?
        19          So those are two -- two examples of          19   A        What do you mean? So by -- by
        20   cellular reactions to that.                         20   "distinguish," you mean --
        21   Q       And -- and maybe you just explained it,     21   Q        Can you tell the difference?
        22   but I wanted to make sure I'm clear. What is the    22   A        I'm just thinking if there's a way to
        23   mechanism by which an inflammatory response         23   measure.
        24   results in DNA damage?                              24          So you can measure the effects of


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         1   exogenously introduced reactive oxygen species       1   would be very difficult.
         2   and then compare that to the measurement of          2   MR. FERGUSON:
         3   endogenously produced reactive oxygen species.       3   Q        In your report, on this same page, you
         4           But as far as determining the                4   discuss the fact that, even if someone has a
         5   difference if the cellular integrity is not          5   genetic mutation that predisposes them to cancer
         6   intact, I'm not aware of a method to do that.        6   doesn't mean that he or she is certain to get
         7   Q        Would you agree that generation of          7   cancer. Correct?
         8   reactive oxygen species is an inevitable             8   A        That is correct.
         9   consequence of aging in aerobic organisms?           9   Q        So there is a -- a random component to
        10   MS. O'DELL:                                         10   the effects of known cancer-causing agents.
        11           Object to the form.                         11   Right?
        12   A        So reactive oxygen species are a --        12   MS. O'DELL:
        13   are present at all stages of life. And aging, as    13           Objection to form.
        14   a biological phenomenon, is probably one of the     14   A        There is a complicated relationship
        15   most variable phenomenon that exists.               15   between genetics, environment, and expose -- or
        16          And specific to reactive oxygen              16   environment, including exposure and lifestyle,
        17   species, the diet, lifestyle, and genetics of       17   and the progression of cancer.
        18   that individual will drastically change that.       18           Perhaps the -- a summary analogy is the
        19           And a new area of research that my          19   more predisposing mutations that an individual
        20   laboratory has been undertaking for a short         20   has, it's -- it's equivalent to their body is
        21   time --                                             21   rolling the dice more often to collect a mutation
        22           And, so, I don't have specific              22   sufficient to cause cancer than somebody who does
        23   publications, and it's really not -- I promise      23   not have the same genetic background.
        24   it's not taking us too far afield.                  24           And there's -- there's many, many lines


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         1          -- but is the concept of your annual          1   of evidence. Probably the most prominent is
         2   age versus biological age. And my lab has some       2   BRCA1 and 2 mutation and the role it plays in
         3   assays that are based on epigenetics as well as      3   increased risk of breast and ovarian cancer.
         4   some metabolomic markers. And what we found --       4   MR. FERGUSON:
         5   now, in very, again, preliminary data -- that        5   Q        Wouldn't you agree that even the
         6   individuals will vary by plus or minus 15 years      6   inherited susceptibility cannot entirely explain
         7   from physiological age to annual age based on,       7   this random component of some people getting
         8   again, a number of lifestyle factors not             8   cancer when exposed and some people not?
         9   important for this study.                            9   MS. O'DELL:
        10          But the point I'm making is the              10          Objection to form.
        11   discussion about level of reactive oxygen species   11   A        DNA -- so that, it's very
        12   and its association with age is actually quite      12   gene-dependent. So BRCA1 and 2 is the example
        13   variable based on the long -- or based on the       13   given. That is correct, that if you have a BRCA1
        14   current physiological activity of that person.      14   and -- 1 or 2 mutation, you are not guaranteed to
        15          Stated very simply, which is probably        15   get cancer.
        16   something we all know, the better shape you're      16          Corollary to that is if you do not have
        17   in, the younger your physiology will appear. And    17   a BRCA1 and 2 mutation, your relative risk for
        18   you can actually modulate that quite quickly,       18   canner does not change, meaning that you're at no
        19   meaning that a person who's 60 and has made poor    19   less of a risk than somebody -- somebody else who
        20   lifestyle choices can actually gain back quite a    20   doesn't have that mutation.
        21   bit of that physiological age quite quickly.        21          I should state that there are other
        22          And so, again, to directly answer your       22   genes. P53 is a good example that was mentioned
        23   question, a annual age-related conclusion           23   earlier. If you carry a mutation in that gene,
        24   regarding production of reactive oxygen species     24   the probability that you'll get cancer, assuming


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         1   you don't die from something else, is almost         1          And the point of my mentioning this is
         2   certain, meaning that it's in the mid to high 90     2   to illustrate that an early predisposition to --
         3   percents if you -- if you live until a late age.     3   or a significant predisposition to cancer that
         4   MR. FERGUSON:                                        4   results in a early cancer event, those
         5   Q       Further down this paragraph, you             5   individuals show a lifetime increase in risk of
         6   indicate that "An inherited gene mutation could      6   approximately -- they're -- they're approximately
         7   instead make one more likely to develop cancer       7   six times, depending on the disease, to 13 times
         8   when exposed to certain cancer-causing               8   more likely to get that -- to get a secondary
         9   substances."                                         9   disease.
        10          Correct? That's your statement?              10          So there clearly is a relationship to
        11   A       Yes.                                        11   predisposition in -- in oncology -- or in rate of
        12   Q       Can you provide any examples in which a     12   cancer event.
        13   woman with an inherited mutation in a particular    13   Q        Okay. And I appreciate your response.
        14   gene has been demonstrated to have more             14   But remember that my question was related to
        15   sensitivity to developing ovarian cancer as a       15   ovarian cancer, and -- and we went a little
        16   result of exposure to an environmental agent?       16   afield from ovarian cancer.
        17   A       Not for ovarian cancer specifically. I      17          And I want to ask you another question
        18   would need to review --                             18   in that regard. Can you provide any example in
        19          There is a -- I've seen report of a          19   which a woman with an inherited mutation in a
        20   single gene related to ovarian cancer, which,       20   particular gene has been demonstrated to have
        21   again, I would have to do a bit of searching to     21   more sensitivity to developing ovarian cancer as
        22   be sure I'm naming the correct gene, but I --       22   a result of exposure to talcum powder?
        23   where that has a much high- -- increased risk       23   MS. O'DELL:
        24   specific to ovarian cancer, but I do not recall     24          Object to the form.

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         1   if there was a measurement of any exogenous          1         Answer the question.
         2   exposure risk that amplified that effect or not.     2   A      So the mechanism we proposed would be
         3          But I think the -- as a general               3   independent of -- of that predisposition. But I
         4   premise, it is a -- well established in cancer       4   would have the opinion that an individual with
         5   biology that any mu- -- any mutation that results    5   any predisposition mutation, regardless of the
         6   in a burden related to DNA repair, related to        6   gene but -- and -- in ovarian cancer, that they
         7   cell cycle control, you are more susceptible to      7   would be a more fragile individual as -- when it
         8   cancer.                                              8   comes to this exposure under the mechanism that
         9          In one of our lines of research where         9   we've been discussing today.
        10   we do have some publications, in pediatric          10   MR. FERGUSON:
        11   cancer, I would simply point to in approximately    11   Q      Okay. And what I'm looking for is some
        12   50 percent of adults who are survivors of           12   example or some literature in that regard.
        13   childhood cancer will develop a second cancer       13   A      I would -- I would have to -- I would
        14   event primarily because their -- the fact that      14   have to look --
        15   they developed a childhood cancer generally means   15   Q      Okay.
        16   you are predisposed to that condition.              16   A      -- to see.
        17          And -- and, as evidenced in the              17   Q      So what you've told me is that's your
        18   observations we've done in the analysis of          18   opinion, but you don't have any references for it
        19   thousands of patients in collaboration with         19   as you sit here?
        20   St. Jude and the children's oncology group, we've   20   MS. O'DELL:
        21   identified now a ability to do genetic counseling   21         Objection to form.
        22   in those individuals and predict with very high     22   A      So my -- what was -- I was requested to
        23   accuracy what their secondary cancer is likely to   23   provide this biologically plausible mechanism,
        24   be.                                                 24   and part of that request was not necessarily


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         1   include the influence on that mechanism that         1   further and you have a sentence that starts
         2   specific gene mutations or inherited risks may       2   "epithelial ovarian cancer." Correct?
         3   have within relation to ovarian cancer.              3   MS. O'DELL:
         4          So I'd certainly be delighted to pause        4          On page 6 there?
         5   for a moment and take -- you know, and -- and        5   MR. FERGUSON:
         6   work on that -- give you that -- see if I can        6          Yeah. I apologize. Yeah, it is.
         7   give you that specific example.                      7   A       Yep.
         8   MR. FERGUSON:                                        8   MR. FERGUSON:
         9   Q       But you can't as you sit here?               9   Q       It's on page 6. It's the, I believe,
        10   A       I cannot.                                   10   the last sentence of the partial paragraph at the
        11   Q       Okay. So let's look at -- further down      11   top of 6. See it?
        12   on page 5, you have a section entitled "The Role    12   A       I do.
        13   of Genetics in Ovarian Cancer." Correct?            13   Q       Okay. And you say, "Epithelial ovarian
        14   A       Correct.                                    14   cancer (EOC) includes most malignant ovarian
        15   Q       And I want to look at a reference that      15   neoplasms" -- you cite Chan, 2006 -- "that can be
        16   you -- you have cited. And let me mark this as      16   classified based on morphologic and molecular
        17   an exhibit, please. I guess I can mark it.          17   genetic features into the following types:
        18         (DEPOSITION EXHIBIT NUMBER 21                 18   Serous" -- and, in parentheses, "(OSC) low and
        19          WAS MARKED FOR IDENTIFICATION.)              19   high grade); endometrioid (EC), clear cell,
        20   MR. FERGUSON:                                       20   (OCCC), and mucinous (MC) carcinomas."
        21   Q       Exhibit 21 is the Nunes article. Have       21          Correct?
        22   you seen that?                                      22   A       Correct.
        23   A       I have, yes.                                23   Q       Okay. And then if we look back at page
        24   Q       Okay. So if we look at page 5, at top       24   2 of Nunes, in the second sentence of the first

                                                 Page 327                                                 Page 329
         1   of the page, you indicate that ovarian cancer is     1   paragraph under "Ovarian Cancer, an Overview,"
         2   the major cause of death from gynecologic disease    2   the nearly identical sentence appears there.
         3   and the second most common gynecologic malignancy    3   Correct?
         4   worldwide; correct?                                  4   MS. O'DELL:
         5   A        Correct.                                    5           Object to the form.
         6   Q        And then in your report you cite Nunes      6   A        The two sentences stating the same
         7   and Serpa, the article we've just marked as          7   fundamental facts regarding ovarian cancer and
         8   Exhibit 21, as well as Siegel and Torre; correct?    8   the histological types are -- yes, I agree.
         9   A        Yes.                                        9   MR. FERGUSON:
        10   Q        If we look at page 2 of the Nunes          10   Q         With almost the same wording.
        11   article, the exact same sentence appears on -- at   11   MS. O'DELL:
        12   the bottom of page 2 under the heading of           12           Object to the form.
        13   "Ovarian Cancer, an Overview"; correct?             13   A         They have similar wording.
        14   A        Correct.                                   14   MR. FERGUSON:
        15   Q        Right.                                     15   Q         Remarkably similar; correct?
        16   A        That's correct.                            16   MS. O'DELL:
        17   Q        Okay. And it's --                          17           Object to the form.
        18   A        It's not quite the same sentence, given    18   A         I wouldn't call it -- so they --
        19   that it's the same initial statement, not an        19           Again, we're stating fundamental basic
        20   identical sentence.                                 20   facts around histological type and following a
        21   Q        Very close to identical?                   21   number of, again, factual observations for what
        22   A        Well, they -- they both -- they both       22   the state of the art for genetic knowledge
        23   introduce the same facts.                           23   in -- in different genes and different proteins
        24   Q        Okay. Then if we go down a little bit      24   is as it relates to our understanding of -- of


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         1   cancer with, again, appropriate reference for        1   MS. O'DELL:
         2   those -- for those studies.                          2          I'm sorry.
         3   MR. FERGUSON:                                        3   MR. FERGUSON:
         4   Q        And then if we look at the following        4   Q        -- on page 2.
         5   paragraphs, the first full paragraph there on        5   A        Yes.
         6   page 6, in your report you have a sentence that      6   MR. FERGUSON:
         7   starts "low grade OSC cases generally have           7          Sorry. Leigh, it's on page -- the
         8   genetic alterations" in a number of items you've     8   bottom of page 2.
         9   listed; correct?                                     9   MS. O'DELL:
        10   A        Correct.                                   10          Oh, I'm there. When you said the top,
        11   Q        Okay. And that sentence ends with the      11   I got --
        12   words or "p13/Ras/Notch/FOXM1." Correct?            12   MR. FERGUSON:
        13   A        Correct.                                   13          No worries. That's -- my mistake.
        14   Q        Okay. And then if we go back to Nunes,     14   Q        Okay. It says "EC subtypes," and then
        15   if you look at that same paragraph we've been       15   it goes to mucin-coding genes on the top of page
        16   talking about -- and those -- there's an            16   3. Correct?
        17   introductory phrase that you don't have, and then   17   A        Correct.
        18   it starts with "low grade OSC generally             18   Q        Again, that paragraph is nearly
        19   comprising." Slightly different wording, but you    19   identical to the one in your report. Correct?
        20   list the same types of receptors and the same       20   MS. O'DELL:
        21   types of items. Correct?                            21          Object to the form.
        22   A        Yes. That's providing a review of,         22   MR. FERGUSON:
        23   again, the known associations between specific      23   Q        Same word, same order, same citations;
        24   ovarian subtypes and their most commonly referred   24   correct?

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         1   genetic information or genetic predis- --            1   MS. O'DELL:
         2   sorry -- mutated genes. So I'm -- that's right.      2          Object to the form.
         3   Q        Okay.                                       3   A       So my -- my report is similar to the
         4   A        They are -- they are similar in that        4   review article. It -- it's listing the subtypes
         5   both are, again, introducing factual information     5   of ovarian cancer and -- based on the Nunes
         6   about the current knowledge in ovarian cancer in     6   paper, which is a 2018 publication, so a more
         7   this literature, again pointing out that             7   current review. I'm, again, providing that
         8   referencing the papers that they both came from,     8   referenced information about the -- the -- this
         9   being the Nunes as well as the appropriate           9   observation.
        10   references.                                         10   Q       You're citing the same references as
        11   Q        Okay. And, then, the paragraph below       11   Nunes; correct?
        12   that starts endo- -- "endometrioid carcinoma,"      12   A       Yes.
        13   paren, "(EC)." Correct?                             13   Q       You cite the -- the various gene --
        14   A        Correct.                                   14   expression of gene in the same order they do,
        15   Q        If we look --                              15   so --
        16           And then that goes all the way to the       16          Correct?
        17   word "mucin-coding genes" with two citations;       17   A       Yes.
        18   correct?                                            18   Q       And is that just coincidental? That's
        19   A        Correct.                                   19   just happened? You happened to have put this
        20   Q        If we look at 2 and the top of page 3      20   paragraph in the same order with the same
        21   in Nunes, there's a sentence that starts "EC."      21   notations as -- as Nunes?
        22   It does not spell out endometrioid carcinoma. Do    22   MS. O'DELL:
        23   you see that four lines from the top? I'm sorry.    23          Object to the form.
        24   Four lines from the bottom --                       24   A       Well, I'm listing the same information


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         1   that's contained in the Nunes paper. And seeing      1   or p53 mutations can be considered causes of
         2   as that -- this was a review of the literature       2   cancer?
         3   with -- you know, based on the state of the art,     3   MS. O'DELL:
         4   the Nunes review is exactly that. And, again,        4          Object to the form.
         5   I'm -- I'm repeating the information regarding       5   A        No. Not -- not specifically causal. I
         6   the specific gene information as it relates to       6   think the -- each of these -- as we've discussed,
         7   this -- this ovarian cancer risk and -- and --       7   each of these genes, BRCA1 and BRCA2, or starting
         8   and, again, appropriately citing the basic           8   with BRCA1 and BRCA2, increase the probability of
         9   studies as Nunes did.                                9   a -- of a person -- generally women -- getting
        10   MR. FERGUSON:                                       10   breast or ovarian cancer but do not exclusively
        11   Q        With virtually the same wording?           11   mean somebody with that mutation will get cancer.
        12   A        With similar wording, yes.                 12          So, with that knowledge, I would not
        13   Q        Let's look at page -- page 7.              13   consider BRCA1 and BRCA2 mutation alone
        14   MS. O'DELL:                                         14   sufficient to cause cancer. It increased the
        15           His report?                                 15   risk.
        16   MR. FERGUSON:                                       16          And, as we talked about, p53 is a bit
        17   Q        Yeah. I apologize. Your report.            17   more of a higher-risk gene, and the question as
        18          We can set Nunes aside now.                  18   to whether or not it is possible for someone to
        19          You have a paragraph starts -- that          19   have a -- what the rate of someone having a p53
        20   starts "individuals can inherit mutations in        20   mutation and not getting cancer, I believe, is
        21   BRCA1, BRCA2 or p53."                               21   currently unknown. But there, again, is a much
        22           See it?                                     22   higher probability of developing -- developing
        23   A        Uh-huh.                                    23   cancer.
        24   Q        And you say, "These defects allow          24   MR. FERGUSON:


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         1   additional mutations to accumulate in cells and      1   Q       And then the last line there of page 7,
         2   lead to a higher probability of cells being          2   you say, "The lifetime risk for ovarian cancer is
         3   cancerous."                                          3   approximately 40 percent for BRCA1 carriers and
         4          Correct?                                      4   15 to 20 percent for BRCA2 carriers."
         5   A       Correct.                                     5          Correct?
         6   Q       And you've indicated earlier in your         6   A       Correct. Based on -- based on the
         7   report that cancer is caused by mutations.           7   study that I referenced, yes.
         8   Correct?                                             8   Q       Right.
         9   A       Correct.                                     9          And -- and the -- the -- if we look at
        10   Q       And you say here that mutations in          10   the increased risk of 40 percent as compared to
        11   BRCA1, BRCA2 or p53 can result in the               11   the risk of cancer in the -- of ovarian cancer in
        12   accumulation of additional mutations in cells.      12   the general population, that's a 25-fold increase
        13   Correct?                                            13   for BRCA1 and about a 7- or 8-fold increase for
        14   MS. O'DELL:                                         14   BRCA2; correct?
        15          Object to the form.                          15   MS. O'DELL:
        16   A       Yeah. I made the statement that BRCA1,      16          Object to the form.
        17   BRCA2 and p53, they can be inherited and then, in   17   A       I -- I would have to -- to determine
        18   turn, positive for those gene mutations.            18   that. But I would say so. I'm certainly
        19   MR. FERGUSON:                                       19   comfortable stating that the lifetime risk for
        20   Q       Okay. Would you --                          20   ovarian cancer is approximately 40 percent. I'd
        21   A       So I guess if you could ask the             21   have to verify your -- your math about that
        22   question again to make sure I understand it.        22   indicating a 25-fold increase.
        23   Q       Well, let me -- doesn't this paragraph      23   MR. FERGUSON:
        24   mean, in your comments here, that BRCA1, BRCA2,     24   Q       Do you know what the rate in the


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         1   general population of ovarian cancer is?             1          So the -- the Park paper does discuss
         2   A        It's fairly low. If I -- thinking of        2   the relationship of ovarian cancer risk relative
         3   the cohort studies that were reviewed as part of     3   to benign gynecological conditions.
         4   this, it was roughly a hundred to 200 cases per      4   Q       And -- and your comment that you've
         5   30- to 40,000 women in those -- in those studies,    5   cited these studies for is the presence of these
         6   so relatively low.                                   6   mutations increases a person's risk of developing
         7   Q        And if we go to the top of the next         7   cancer when exposed to a carcinogen. And these
         8   page, you say -- it's page 8 -- "Therefore, the      8   mutations would be what you've been talking about
         9   presence of mutations in the BRCA genes do not       9   in this paragraph, the B -- the BRCA1, BRCA2, and
        10   guarantee that carriers will get cancer. The        10   p53; correct?
        11   presence of these mutations increases a person's    11   MS. O'DELL:
        12   risk of developing cancer when exposed to a         12          Object to the form.
        13   carcinogen."                                        13   A       The sentence is worded, "The presence
        14           Correct?                                    14   of these mutations increases a person's risk of
        15   A        Correct.                                   15   developing cancer when exposed to a carcinogen."
        16   Q        And you cite Park, Vitonis, and Wu for     16   MR. FERGUSON:
        17   that. Is that correct?                              17   Q       Right. Right.
        18   A        That's correct.                            18          And, for example, in Vitonis, isn't it
        19   Q        Looking at Park, isn't it true that        19   true that BRCA1, BRCA2 and p53 were not even
        20   Park does not supply any evidence to support your   20   determined in that study and, instead, Jewish
        21   claim that mutations in BRCA1, BRCA2 and/or p53     21   ethnicity was used as a surrogate for a woman's
        22   increase a person's risk of developing cancer       22   risk of having a mutation in one of these genes?
        23   when exposed to a carcinogen?                       23          Do you recall that --
        24   A        I'd have to remind myself of what's in     24   A       Again, I would have --


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         1   Park.                                                1   Q         -- one way or the other?
         2   Q        Are you going through the entirety of       2   MS. O'DELL:
         3   the article?                                         3            Objection.
         4   A        I'm just reminding myself the content       4   A         I would have to review the -- review
         5   to see if I could find something that was            5   the paper. Because part of the review is to
         6   specifically related to your question about the      6   be -- include appropriate references with regards
         7   presence of a BRCA1 or 2 mutation.                   7   to ovarian cancer risk, and those may -- I think
         8   Q        Okay. Is the BRCA1, BRCA2, p53, any of      8   those publications provide some information in
         9   those even mentioned in the article?                 9   that space.
        10          And -- and I'm not sure we'll have time      10   MR. FERGUSON:
        11   for you to go through each one of them in this      11   Q         All right. But when you cite studies
        12   much --                                             12   for a statement in your report, shouldn't the
        13          You've got -- you cited them for these       13   studies relate to that statement?
        14   propositions. I'm trying to ask you why you         14   MS. O'DELL:
        15   cited them for this proposition.                    15            Object to the form.
        16   A        I -- I'd have to look in more detail.      16   A         Well, the studies relate to a person's
        17   I don't have a specific answer regarding the --     17   risk of developing cancer. But I -- I think
        18   regarding BRCA1 --                                  18   it -- it doesn't change the accuracy of the
        19   Q        Okay.                                      19   presence of the mutation relative to that risk.
        20   A        -- I'm sorry -- BRCA genes.                20   But the -- I don't have a -- a good answer as far
        21          I would suspect the Park reference was       21   as relationship of BRCA1 and 2 to the Park paper.
        22   more in the discussion of overall relative risk     22   MR. FERGUSON:
        23   of developing cancer and not necessarily            23   Q         And -- and, then --
        24   exclusive to the presence of a mutation.            24            Well, we talked about Vitonis, too.


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         1   And then let's get to Wu.                            1   syndrome patients have an increased risk of
         2   MS. O'DELL:                                          2   cancer when exposed to a carcinogen. Correct?
         3          Object to the form. You didn't comment        3   A       Correct.
         4   specifically about Vitonis, if you've got an         4   Q       What carcinogens are you referring to?
         5   issue with Vitonis. You know, it's not fair to       5   A       I'm not -- not referring to a specific
         6   assume that because I don't think you asked a        6   carcinogen. I'm using the term "carcinogen" to
         7   direct question.                                     7   refer to an insult that would result in DNA
         8   MR. FERGUSON:                                        8   damage specifically because, similar to the BRCA
         9          Okay. I thought I did, but I could be         9   mutations, Lynch syndrome impairs DNA mismatch
        10   mistaken.                                           10   repair.
        11   MS. O'DELL:                                         11          So that defect alone is not sufficient
        12          You mentioned it, but I don't think          12   to result in a cellular transformation, so
        13   you -- I think it was more you rather than asking   13   something else has to occur. And when we
        14   a question.                                         14   consider that carcinogens are -- the term
        15   MR. FERGUSON:                                       15   "carcinogen" generally refers to something that
        16   Q       With regard to Wu, do you recall that,      16   has the potential to damage cellular components
        17   in Wu, BRCA1, BRCA2, and p53 inherited carrier      17   or DNA, it's putting the --
        18   mutation status were not even determined in that    18          Inability to repair along with the
        19   study? Do you recall that --                        19   presence of a carcinogen is where that sentence
        20   A       The --                                      20   comes from.
        21   Q       -- one way or the other?                    21   Q       So -- and I want to make sure I
        22   MS. O'DELL:                                         22   understand what you're saying. Are you saying
        23          Object to the form.                          23   that Lynch syndrome patients have an increased
        24   A       The Wu paper specifically discussed         24   risk of developing cancer after exposure to a


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         1   nongenetic risk factors.                             1   carcinogen, just like everyone else?
         2   MR. FERGUSON:                                        2   A       No. I'm stating that Lynch syndrome --
         3   Q        Let's go to the next paragraph, and         3   MS. O'DELL:
         4   there you talk about single nucleotide variance,     4          Object to the form. Excuse me.
         5   SNVs; correct?                                       5   A       Lynch syndrome is a hereditary
         6   A        Towards the bottom of the paragraph.        6   condition that increases the overall risk of
         7   As -- in terms of modifiers, yes.                    7   cancer to an individual, similar to BRCA1 and 2
         8   Q        Yeah. Are -- are single nucleotide          8   mutation.
         9   variants mutations?                                  9   MR. FERGUSON:
        10   A        Yes.                                       10   Q       So you -- are you claiming that Lynch
        11   Q        Do most SNVs result in functionally        11   syndrome patients have a greater increase in
        12   defective proteins?                                 12   relative risk when exposed to a particular
        13   A        Statistically speaking on a genome-wide    13   carcinogen than do people without Lynch syndrome?
        14   basis, no.                                          14   MS. O'DELL:
        15           So a -- a single nucleotide variant is      15          Object to the form.
        16   a variant at any point. And if we consider          16   A       No, I'm not making that statement, to a
        17   statistically that about 1 percent of the genome    17   specific carcinogen.
        18   encodes proteins, again, it's statistically less    18   MR. FERGUSON:
        19   likely that any SNV would affect a protein.         19   Q       In your next paragraph you talk of --
        20   Q        Okay. Let's look at the next               20   you start with "Myriad Genetics," and you say,
        21   paragraph. There you talk about Lynch syndrome;     21   "As with all inherited traits, a positive family
        22   correct?                                            22   history is the strongest indicator of the
        23   A        Correct.                                   23   presence of genetic risk alleles in an
        24   Q        And you make a statement that Lynch        24   individual."


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         1           Correct?                                     1   number higher than that if you're looking at
         2   A        Correct.                                    2   indirect or genetic complex formation.
         3   Q        Isn't it true that many women who have      3          You know, depends how far down the
         4   inherited mutations like BRCA1 or BRCA2 and genes    4   cellular control and signal transduction and
         5   that predispose to ovarian cancer development do     5   growth and proliferation road that we go as far
         6   not have a family history of breast or ovarian       6   as how many genes. But I'm sure, as everyone
         7   cancer?                                              7   well appreciates, everything in biology is
         8   A        So the -- your -- your question is a        8   interrelated in some form.
         9   little bit different than the statement. So          9          And, so, it -- but I would say this
        10   the -- if I could clarify the statement in the      10   statement here is that our ability to look at
        11   report, it is more that a positive family history   11   large-scale genetic analysis in individuals of a
        12   would be a likely indicator that someone has a      12   variety of cancer types, given the number of
        13   genetic risk variant such as BRCA1 and 2.           13   individuals affected by cancer and the analysis
        14   Q        Isn't it true that family history is       14   of their genetics, we've been able to identify
        15   not a sensitive or specific indicator of            15   many of -- many of the fundamental or most --
        16   whether -- of whether a particular woman has        16   perhaps most of the fundamental genes involved in
        17   inherited a mutation in a gene associated with      17   that initial disease initiation or progression.
        18   increased risk of ovarian cancer?                   18          It's important that it is not a
        19   MS. O'DELL:                                         19   comprehensive list. Hence, it is not "all," but
        20           Object to the form.                         20   there are a large number of genes that are well
        21   A        I would say that family -- I would ask     21   established.
        22   to define "sensitive" or "specific," because in     22   Q        Okay. Let's look at the next page, 10.
        23   genetics overall, family history remains a          23   And you have a paragraph that starts
        24   valuable and important characteristic in terms of   24   "Macrophages."


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         1   determining the genetic component of -- of any       1   A         Uh-huh.
         2   disease, cancer included. And, so, if there's        2   Q         And the last sentence says, "Generally
         3   something exact regarding its sensitivity or         3   speaking, macrophages can increase inflammation
         4   specificity that I can comment on, I will if I       4   or decrease inflammation, depending on the
         5   know the answer. But...                              5   cytokines released."
         6   MR. FERGUSON:                                        6           Correct?
         7   Q        In -- in the top of the page -- of          7   A         Correct.
         8   page 9, the next page, you indicate, "Because of     8   Q         So, with that statement, do you agree
         9   the large number of individuals tested and the       9   that inflammation can have both protumorigenic
        10   ability to trace their genetic inheritance, the     10   and antitumorigenic effects, depending on
        11   genes involved in cancer development are well       11   context, just as you state here for macrophages?
        12   established."                                       12   MS. O'DELL:
        13          Is that correct?                             13           Object to the form.
        14   A        Correct. That's what I state. I did        14   A         No, I -- I would not agree with that.
        15   make that statement.                                15   I -- I don't know of any evidence of that, that
        16   Q        And given that they're well                16   inflammation, as a physiological phenomenon, acts
        17   established, can you name all of the inherited      17   as an antitumor effect.
        18   genes that have been identified as being            18   MR. FERGUSON:
        19   associated with an increased risk of ovarian        19   Q         Going to the next page, the page 11 --
        20   cancer?                                             20           I'm trying to get through this
        21   A        No, not -- I can't name them all off       21   hopefully within the next 15 minutes.
        22   the top of my head, no. There's something in the    22           -- under the role of inflammation in
        23   neighborhood of 500 to -- 500 genes of strong       23   ovarian cancer --
        24   association of cancer risk and progression, some    24           Are you with me there?


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         1   A       I am.                                        1   anything on that, so that's -- that's fine.
         2   Q       And you're obviously talking about the       2   Let's move on.
         3   role of inflammation there. Isn't it true that       3   A        Okay.
         4   no published animal model has ever shown that        4   Q        I think you've stated earlier that your
         5   inducing inflammation induces the development of     5   opinion in this case is based on the totality of
         6   ovarian cancer?                                      6   what is included in the product, the talcum
         7   MS. O'DELL:                                          7   powder products. Is that correct?
         8          Object to the form.                           8   A        Correct.
         9   A       We've been -- earlier today we were          9   Q        So you're -- you cannot distinguish
        10   discussing some animal models as it relates to --   10   the -- the carcinogenicity of the constituent
        11   MR. FERGUSON:                                       11   parts of the talcum powder products, correct,
        12   Q       Yeah. You and Miss Brown talked about       12   including the fragrance?
        13   a number of animal models.                          13   MS. O'DELL:
        14   A       Yeah.                                       14          Object to the form.
        15   Q       And -- and what I'm trying to ask you,      15   A        I -- I was -- I was not asked to -- to
        16   is there any of those animal models or any others   16   provide that delineation. And, so, instead,
        17   that have ever shown that inducing inflammation     17   subsequent to seeing some of the other expert
        18   induces the development of ovarian cancer?          18   reports, we began with talcum powder as a product
        19   A       I didn't -- I didn't look specifically      19   and then have since learned more about the
        20   for an animal study of that type in the process     20   constituent components, including asbestos,
        21   of developing the report.                           21   fragrance, potential for heavy metals, which I
        22   Q       Later down that page, you talk about        22   understand or I've observed that there's a
        23   two models. "The literature reviews as well as      23   variety of testing documents that -- that show a
        24   many direct studies feature the immune system as    24   variety of results.


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         1    being an important mediator of ovarian              1           So, to answer your question, I did not
         2    carcinogenesis via two models, chronic              2   specifically evaluate the individual specific
         3    inflammation and incessant ovulation."              3   components in any -- in any individual product as
         4           Correct?                                     4   it relates. Instead, remained focused on the
         5    A        Correct.                                   5   mechanism for the complete -- complete product.
         6    Q        Is it your opinion that incessant          6   MR. FERGUSON:
         7    ovulation is a form of chronic inflammation?        7   Q         And you've made reference to heavy
         8    A        It is not.                                 8   metals throughout your testimony on occasion. Do
         9    Q        Isn't it true that there's no              9   you recall that?
        10    pathological evidence in humans that perineal      10   A         I do.
        11    talc users have ovarian inflammation?              11   Q         Do you have any opinions that any of
        12    MS. O'DELL:                                        12   these heavy metals contribute to the inflammation
        13           Object to the form.                         13   process that you've been talking about?
        14    A        I'm thinking.                             14   A         The -- to the inflammation --
        15           I would have to review the --               15           I'm not aware of any direct evidence
        16           I'm sorry. That's -- it's --                16   for heavy metal contribution to the inflammation
        17    MR. FERGUSON:                                      17   process that we've been discussing. Instead, the
        18    Q        Okay.                                     18   heavy metals, particularly chromium, caught my
        19    A        I would -- again, I would have to look    19   attention because of its well-established ability
        20    more carefully for that. I can't -- I can't name   20   to directly damage DNA and, therefore, you know,
        21    a study of that type right now.                    21   potentially play a role in carcinogenesis.
        22    Q        So I think you've said previously --      22   Q         Do you have any knowledge or opinion
        23           Are you done looking?                       23   about how much chromium you claim is in the -- in
        24           I understood you couldn't give me           24   the body powder products?


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         1   MS. O'DELL:                                          1   talc with asbestiform bodies, I think would be
         2          Object to the form.                           2   very reasonable to state that it has mutagenic
         3   A       I wasn't asked to evaluate the amount        3   properties.
         4   of chromium or whether it was sufficient for         4   MR. FERGUSON:
         5   damage. It was more reviewing. I would have to       5   Q        And can you cite me any literature for
         6   defer to other experts who have done the testing     6   that?
         7   on the products.                                     7   A        I would simply refer to the -- much of
         8   MR. FERGUSON:                                        8   the body of asbestos literature for the -- for
         9   Q       So you have no opinion on that?              9   that.
        10   MS. O'DELL:                                         10   MR. FERGUSON:
        11          Object to the form.                          11          I think that's all I have. I'll turn
        12   A       I'm sorry. An opinion on the amount of      12   it over to someone else to ask some questions.
        13   chromium?                                           13   MS. BROWN:
        14   MR. FERGUSON:                                       14          Anybody with some more?
        15   Q       Correct.                                    15   MS. O'DELL:
        16   A       Again, I wasn't asked to generate such      16          I'm going to take a break for a few
        17   an opinion.                                         17   minutes.
        18   Q       I think -- I think I'm almost done.         18   VIDEOGRAPHER:
        19          Isn't it true that published data have       19          Going off the record. The time is
        20   demonstrated that talc is not genotoxic and does    20   4:54 p.m.
        21   not cause mutations?                                21               (OFF THE RECORD.)
        22   MS. O'DELL:                                         22   VIDEOGRAPHER:
        23          Object to the form.                          23          We're back on the record. The time is
        24   A       I'm not aware of a study that               24   5:20 p.m.

                                                 Page 355                                                 Page 357
         1   specifically looked at the genotoxicity of -- of     1                  EXAMINATION
         2   talc. And I think it would certainly warrant         2   BY MS. O'DELL:
         3   defining which type of talc and components           3   Q        Dr. Levy, I have just a few follow-up
         4   therein. But I'm -- I'm not aware of a study         4   questions for you.
         5   that has concluded that there are no genotoxic       5          I'm gonna ask you to turn to page 14 of
         6   effects of any type of talc.                         6   your report.
         7   MR. FERGUSON:                                        7          And earlier today --
         8   Q        Would you agree there's no evidence         8          I'm going to ask, Doctor, if you could
         9   that talc causes sister chromatid exchange or        9   put the exhibits in front of you, and we'll pull
        10   unscheduled DNA synthesis?                          10   those out.
        11   MS. O'DELL:                                         11          But earlier today you were asked about
        12          Object to the form.                          12   a letter from the FDA that was marked as Exhibit
        13   A        I didn't -- I didn't review the            13   Number 16, and if you could pull that out of your
        14   literature for those two specific phenomenon. I     14   stack there. And, specifically, if you'll turn
        15   would have to, again, specifically look or review   15   to page 4 of the letter.
        16   for that.                                           16          And you'll recall that this letter was
        17   MR. FERGUSON:                                       17   written in 2014. Do you remember that?
        18   Q        So, as you sit here, you have no           18   A        Yes.
        19   opinion as to whether talc is or is not             19   Q        And if you look, however, at page 4 of
        20   mutagenic?                                          20   the letter, it appears that the FDA's review of
        21   MS. O'DELL:                                         21   the relevant toxicity literature stopped at the
        22          Object to the form.                          22   year 2008. Fair?
        23   A        No. We've -- so talc in general,           23   MS. BROWN:
        24   particularly in its -- in its form of fibrous       24          Objection to the form.


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         1   MS. O'DELL:                                          1          Objection to the form of the question.
         2   Q       Did the FDA's review of the toxicity         2   A       Yes, we -- we had a discussion
         3   literature stop in 2008?                             3   regarding the results shown in Figure 3, the
         4   A        Yes.                                        4   level of exposure of talc as well as its
         5   Q       And if you look at page 14 of -- of          5   duration. Sorry. The talc dose as well as
         6   your report, your review of the literature           6   duration.
         7   included multiple references that were published     7   MS. O'DELL:
         8   after 2008?                                          8   Q       And in the -- if you'll look at
         9   MS. BROWN:                                           9   Figure 1, Doctor, explain to us, please, what
        10          Form.                                        10   Figure 1 describes in terms of the viability of
        11   A       That's correct.                             11   the cells at the 72-hour mark.
        12   MS. O'DELL:                                         12   A       So the -- so Figure 1 is a graph
        13   Q       And, in fact, you cited Shukla that was     13   describing percent cell viability versus the
        14   published in --                                     14   different normal or variant cells at a 24-hour
        15          Was Shukla published in 2009?                15   and 72-hour time point, two different ovarian
        16   A       Yes. The reference is in the report to      16   cancer cell lines, as well as doses of talc from
        17   2009.                                               17   zero micrograms per milliliter up to 500
        18   Q        Yes.                                       18   micrograms per milliliter, and each of those is
        19          And, in addition to that, did you cite       19   applied.
        20   other references in support of your opinion that    20          And at the 72-hour time point in both
        21   talc powder causes inflammation that were dated     21   cell lines, OSE2a and GCA1 -- GC1a shows a
        22   and published after 2008?                           22   decrease in cellular viability that is
        23   A       I did.                                      23   dose-dependent in each of the four cell lines.
        24   Q       And, so, the suggestion by counsel for      24   Q       Okay. And --

                                                Page 359                                                  Page 361
         1   Johnson & Johnson that somehow the FDA had           1   A        Sorry. Each of the two cell lines.
         2   reviewed the literature for toxicity up until the    2   Q        And is it fair to say that the reason
         3   date of this letter would have been incorrect?       3   you don't see dose response, you know, at the --
         4   MS. BROWN:                                           4   at the greatest magnitude is because the cells
         5           Objection to the form of the question.       5   essentially die?
         6   A        As -- as we discussed, the -- the           6   MS. BROWN:
         7   letter from the FDA dated April 1st, 2014, states    7          Objection to the form.
         8   to include literature from 1980 to 2008.             8   A        Well, I would say if we consider the
         9   MS. O'DELL:                                          9   results displayed in Figure 1 in relation to the
        10   Q        Let me ask you --                          10   results displayed in Figure 3, an ex- -- an
        11           You can put that aside, Dr. Levy.           11   explanation for the concentrating on the 500 --
        12   Thank you.                                          12   the highest dose, the 500 micrograms per
        13           And I want to ask you to pull out of        13   milliliter, in the talc exposure, the decrease in
        14   the stack the Exhibit 17, which is the Buz'Zard     14   cellular viability is an -- is an explanation --
        15   paper.                                              15   could be an explanation for the decrease in
        16   A        I have it.                                 16   reactive oxygen species.
        17   Q        And if you'll turn to page 581.            17   MS. O'DELL:
        18   A        Okay.                                      18   Q        Okay. Thank you, Doctor.
        19   Q        And just to orient our discussion,         19          And if you'll put that aside and turn
        20   counsel for Johnson & Johnson suggested that --     20   to Exhibit 7, which was the Hamilton paper we
        21   that this paper showed a decrease in reaction or    21   spent quite a lot of time on earlier.
        22   reactive oxygen species at the longest time         22          Do you recall the -- that discussion
        23   interval. Do you recall that discussion?            23   regarding the Hamilton paper?
        24   MS. BROWN:                                          24   A        I do.


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         1   Q        And what was the purpose for which you      1   principle been published in the peer-reviewed
         2   cited the Hamilton paper?                            2   literature?
         3   A        That it was one of the available animal     3   A        It has.
         4   studies looking at the effects of talc on a rat      4   Q        And, in regard to ovarian cancer, prior
         5   ovary.                                               5   to becoming involved in the litigation, did you
         6   Q        And did the paper show that there was a     6   hold the opinion that inflammation was a part of
         7   increase in inflammation as result of talc?          7   the development of ovarian cancer?
         8   A        Yes, in the form of foreign body            8   A        Yes.
         9   granulomas observed in five of the injected          9   Q        And has that been researched and that
        10   ovaries.                                            10   research published in the peer-reviewed
        11   Q        And you're looking at, I guess, that       11   literature?
        12   last sentence on page 103 and carrying over to      12   A        It has.
        13   the -- to the narrative on page 105?                13   Q        In the same way, has the fact that
        14   A        Cellular foreign body?                     14   talc, talcum powder, induces inflammation been
        15   Q        Yes.                                       15   published in the peer-reviewed literature?
        16   A        Foreign body granulomas without any        16   MS. BROWN:
        17   surrounding inflammation were seen in five of the   17           Objection to the form.
        18   injected ovaries. And similar lesions were not      18   A        Yes.
        19   uncommonly noted in the supracapsular fat in the    19   MS. O'DELL:
        20   connective tissue matrix of the capsule.            20   Q        And you were asked whether there was
        21   Q        And if you'll look down in the             21   evidence that talc caused inflammation in humans.
        22   discussion section, Dr. Levy, the first paragraph   22   Do you recall that question?
        23   there in your -- where -- beginning                 23   A        I do.
        24   "Unfortunately," does it appear that talc also      24   Q        And based on your exhaustive review of


                                                 Page 363                                                 Page 365
         1   induced fibrosis --                                  1   the literature, what evidence would you point to
         2   MS. BROWN:                                           2   undergirding your opinion that talc causes
         3           Objection to form.                           3   inflammation in humans?
         4   MS. O'DELL:                                          4   A        I think considering the molecular
         5   Q        -- in the rats?                             5   mechanism we were discussing of the recent paper
         6   A        The manuscript makes the statement          6   by Saed, et al., again, that we discussed earlier
         7   that, "Unfortunately, bursal distention occurred     7   today is a fairly in-depth set of experiments to
         8   as an unforeseen complication" and further states    8   examine the specific inflammatory response
         9   that this probably resulted from talc-induced        9   of -- of human cells to -- to talcum powder.
        10   fibrosis and obliteration of the small channel      10   Q        In addition to the Saed publications,
        11   which normally allows communication between the     11   would you -- would you include the Shukla 2009
        12   cavity where the ovary lies and the perineum.       12   paper in your consideration of talc causing
        13   Q        And though the authors concluded that      13   inflammation in humans?
        14   neoplastic changes were not seen, the authors did   14   A        Yes.
        15   find evidence of inflammation in their study?       15   MS. BROWN:
        16   A        That's correct.                            16          Form.
        17   Q        Prior to becoming involved in the          17   MS. O'DELL:
        18   litigation, Dr. Levy, did you hold the opinion      18   Q        You were asked about your methodology
        19   that inflammation is a cause of cancer?             19   numerous times today, and can -- would you
        20   A        As -- as we've discussed earlier, I        20   describe in -- in general the methodology you
        21   certainly held the opinion that, you know,          21   have used in reaching your opinions in this case?
        22   inflammation is a significant and necessary         22   A        Yes. To clarify or perhaps expand on
        23   component of cancer progression.                    23   the earlier discussions, my methodology involved
        24   Q        And has that been -- that general          24   a literature review to examine the totality of


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         1   the information available to the role that talcum    1   Q         Is this the Park paper that you
         2   powder plays in inflammation in ovarian cancer.      2   referenced --
         3           And, so, that methodology involved,          3   MS. BROWN:
         4   first, a review of the literature and then a         4           Counsel, do you have a copy for us?
         5   development of a report and then a synthesis of a    5   MS. O'DELL:
         6   biologically plausible mechanism where the basis     6           I don't. I'm assuming -- I don't think
         7   of that plausibility was to ask if each of the       7   Ken marked it, but I'm assuming he has a copy.
         8   different component steps that are described in      8   Q         Is that the Park paper that you
         9   that mechanism was supported by peer-reviewed        9   referenced in your report, Dr. Levy?
        10   research. First, does talc cause inflammation?      10   A         It is.
        11   Second, does inflammation cause cancer? And         11   Q         And if you'll turn to page 8 of the
        12   then, third -- or does inflammation cause ovarian   12   paper, about midway down the first column, maybe
        13   cancer? And then, third, is there -- is that        13   a little bit less, see the paragraph starting "We
        14   supportive of a overall mechanism of cancer         14   did find an association"? Page 8.
        15   progression and metastasis?                         15   A         I'm looking for the page number.
        16   Q         Can that methodology be replicated?       16   Q         Sorry. Let me give you a page number.
        17   A         Certainly. I think, you know, anyone      17   I'm not sure it has a page number.
        18   with a similar -- similar background and            18   A         No, it doesn't.
        19   experience who -- who undertook the same            19   Q         Do you see the paragraph beginning "We
        20   activities would likely -- certainly likely come    20   did find associations between overall cancer and
        21   up with the same -- same conclusions.               21   history of fibroid or ovarian cysts"? Do you see
        22   Q         Did you rely on the IARC monograph in     22   that paragraph?
        23   relation to nickel, chromium, and cobalt in         23   A         Well, actually -- yes, I see that
        24   reaching your opinions in this case?                24   paragraph.


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         1   MS. BROWN:                                           1   Q       If you'll look further, the sentence
         2           Objection to the form.                       2   beginning "This observation may suggest," do you
         3   A        I -- so the -- the number of IARC           3   see that?
         4   publications were certainly in the material that     4   A       Yes. Uh-huh.
         5   was reviewed for -- for my -- for my report.         5   Q       And the paper says, "This observation
         6   MS. O'DELL:                                          6   may suggest a possible additive or synergistic
         7   Q        Based on your review of the literature,     7   effect on tumor- -- tumorigenesis influenced by
         8   is it your opinion that nickel causes                8   the proinflammatory milieu from an increased
         9   inflammation?                                        9   burden in the number of benign conditions.
        10   A        Yes. The IARC -- the -- the                10   Increased risk of serous cancer, ovarian cancer,
        11   characterization of those compounds, nickel as      11   women with other proinflammatory risk factors has
        12   well as chromium, among others, are -- would have   12   been reported -- reported, most notably in talc
        13   an inflammatory response.                           13   users."
        14   Q        You were asked questions earlier           14          Do you see that?
        15   today -- actually, not so much earlier -- a few     15   A       I do.
        16   minutes ago regarding the Park paper. And you       16   Q       Is that the section you were thinking
        17   cited the Park paper on page -- I think it was 8    17   of when you cited it in your report?
        18   of your report.                                     18   MS. BROWN:
        19   A        Yes.                                       19          Objection to the form.
        20   Q        And let me show you what I'm marking as    20   A       Yes, it is.
        21   Exhibit 22 to your deposition.                      21   MS. O'DELL:
        22          (DEPOSITION EXHIBIT NUMBER 22                22   Q       Let me ask you to -- a couple of other
        23           WAS MARKED FOR IDENTIFICATION.)             23   final questions, Dr. Levy.
        24   MS. O'DELL:                                         24          Excuse me. Give me one moment.


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         1           In regard to opinions in relation to         1   Q        And did you have the opportunity to
         2   the pathology of ovarian tissue, would you defer     2   consider his report prior to finalizing your
         3   to a gynecologist or gynecologic oncologist or a     3   report?
         4   pathologist regarding that matter?                   4   A        I did.
         5   A        Yes, of course.                             5   Q        I have nothing further. Thank you.
         6   Q        You testified earlier today that you        6                 EXAMINATION
         7   relied on the Longo testing in -- in reaching        7   BY MS. BROWN:
         8   your opinions in this case.                          8   Q        Dr. Levy, would you take Exhibit 16
         9   MS. BROWN:                                           9   out, please, the FDA's response to the citizens
        10           Objection to the form.                      10   petition?
        11   MS. O'DELL:                                         11   A        I have it.
        12   Q        Did you rely on Dr. Longo's testing        12   Q        Counsel asked you some questions that
        13   in -- in reaching your opinions in this case?       13   involved questions that I asked you. Remember
        14   A        Yes. They were -- they were one of         14   she asked you the lawyer for J & J didn't point
        15   the -- among many of the manuscripts we've been     15   out the articles that were reviewed from 1980 to
        16   discussing.                                         16   2008 on page 4? Do you recall those questions
        17   Q        Yeah.                                      17   from plaintiffs' counsel?
        18           In fact, you cite Dr. Longo's report on     18   A        Yes.
        19   page 15 of your report. Is that right?              19   Q        Would you look at the last page of the
        20   MS. BROWN:                                          20   letter, page 6 of 7? I'd like to direct your
        21           Objection to the form.                      21   attention to the second sentence on this page
        22   A        Yes.                                       22   that begins "In consideration of your request."
        23   MS. O'DELL:                                         23   Do you see that?
        24   Q        And -- and in terms of Dr. Longo's         24   A        I do.


                                                 Page 371                                                 Page 373
         1   report, his findings of 37 of 56 historical talc     1   Q        And it states, "In consideration of
         2   samples being positive for asbestos and 41 of the    2   your request, we conducted an expanded literature
         3   42 samples tested containing fibrous talc,           3   search dating from the filing of the petition in
         4   was -- was that information you had prior to         4   2008 through January 2014. The results of this
         5   reaching your opinions and finalizing your           5   search failed to identify any new compelling
         6   report?                                              6   literature data or new scientific data."
         7   MS. BROWN:                                           7          Do you see that?
         8          Objection to the form.                        8   A        I see that.
         9   A       Yes.                                         9   Q        And putting together, then, the
        10   MS. O'DELL:                                         10   information from page 4 and page 6, you see that
        11   Q       And in relation to Dr. Crowley's report     11   the FDA considered literature from 1980 to 2014.
        12   regarding the fragrance chemicals, do you defer     12   Is that correct?
        13   to Dr. Crowley regarding his analysis of the        13   MS. O'DELL:
        14   fragrance chemicals?                                14          Object to the form.
        15   A       Yes.                                        15   A        Yes, that is correct.
        16   Q       And did you rely on the opinions he         16   MS. BROWN:
        17   reached in relation to the fragrance chemicals in   17   Q        And what the FDA concluded, contrary to
        18   reaching your opinions in this case?                18   your opinion here, Doctor, is that a cogent
        19   A       Yes. My -- my review of that just, in       19   biological mechanism by which talc might lead to
        20   addition to deferring it, was -- just made the      20   ovarian cancer is lacking; correct?
        21   general -- or made the statement that I was in      21   MS. O'DELL:
        22   general agreement with his opinions in those        22          Object to the form.
        23   matters, seeing as that's not a -- not an area of   23   A        That's in this --
        24   expertise of mine.                                  24   MS. BROWN:


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         1   Q       Directing your attention to page 4,         1   talc was causing in the body. True?
         2   number 4, the conclusion regarding a cogent         2   MS. O'DELL:
         3   biological mechanism lacking. Do you see that?      3          Object to the form.
         4   MS. O'DELL:                                         4   A       I'm aware of a number of studies that
         5         Object to the form.                           5   looked at inflammatory response in model systems
         6   A       Yes. I see where they -- they made the      6   and cell lines, and additional studies that
         7   statement that cogent biological mechanism by       7   looked at inflammation in humans I believe were
         8   which talc might lead to ovarian cancer is          8   referenced.
         9   lacking and that exposure to talc does not          9          Certainly the Penninkilampi manuscripts
        10   account for all cases of ovarian cancer.           10   described inflammatory observations and -- as
        11   MS. BROWN:                                         11   well as the Buz'Zard and Lau were on human cells.
        12   Q       Next, Doctor, do you rely on the           12   Q       Dr. Levy, is it your testimony that the
        13   findings of the Hamilton article in forming your   13   Penninkilampi meta-analysis of prior
        14   opinions in this case?                             14   case-controlled studies demonstrated a
        15   A       Similar to as we've discussed, in a        15   inflammatory response of -- from perineal use of
        16   portion, yes.                                      16   talc that led to ovarian cancer?
        17   Q       You, Dr. Levy, cannot point us to a        17   MS. O'DELL:
        18   single paper showing an inflammatory response      18          Object to the form.
        19   leading to ovarian cancer in humans from talc      19   A       No. That's not my statement. It was
        20   use. True?                                         20   that those -- those papers reported an
        21   A       There is -- I do not know of a single      21   inflammatory observation as part of those
        22   paper that -- in a controlled fashion in humans    22   studies.
        23   provided talc exposure that then was --            23   MS. BROWN:
        24   subsequently led to cancer in humans. That's       24   Q       Not in the tissue from talc; right,


                                                Page 375                                                 Page 377
         1   correct.                                            1   Doctor?
         2   Q       Controlled aside, you're not aware of       2   MS. O'DELL:
         3   any observational case report, any kind of study    3          Object to the form.
         4   that shows talcum powder use causing an             4   A       It would be those studies in the meta
         5   inflammatory response leading to cancer in          5   review were not examining the tissue content for
         6   humans; correct?                                    6   talc. So they're unable to make that
         7   MS. O'DELL:                                         7   determination.
         8          Object to the form.                          8   MS. BROWN:
         9   A       I would -- my review and development of     9   Q       So we must be missing. I'm -- what I'm
        10   the biological plausibly -- plausible mechanism    10   asking you is for any study at all in the whole
        11   examined literature that led to the conclusions    11   world that shows that talcum powder in somebody's
        12   described in the report. I'm not aware of a --     12   body causing an inflammatory response that led to
        13          The human-based studies were all case       13   ovarian cancer. Can you name one?
        14   cohort and -- or case-controlled and cohort        14   MS. O'DELL:
        15   studies that showed an association with talc       15          Object to the form.
        16   exposure and cancer, but I'm not aware of a        16   A       I mean, we've -- we've discussed a
        17   direct study.                                      17   number of studies that described the risk and
        18   MS. BROWN:                                         18   association of talc in ovarian cancer. But the
        19   Q       There have been some reports of alleged    19   limitation of the -- of your question or the
        20   findings of talc in tissues or in other parts of   20   limitation of the studies relative to your
        21   the body. Are you familiar with those?             21   question is those particular studies may not have
        22   A       Yes.                                       22   also assessed the inflammatory response or an
        23   Q       And you're not aware of any one of them    23   inflammatory response, given the nature of the
        24   demonstrating an inflammatory response that the    24   studies.


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         1   MS. BROWN:                                           1   MS. O'DELL:
         2   Q       Well, we got one. We got the Heller          2          Actually, that wasn't your question.
         3   study that purported to find talc in ovarian         3   But you've clarified it, so --
         4   tissue; right?                                       4   A       The -- so you're excluding -- are you
         5   MS. O'DELL:                                          5   excluding cell lines?
         6          Object to the form. Different --              6   MS. BROWN:
         7   MS. BROWN:                                           7   Q       Yeah. Human beings. Do you know of
         8          Counsel, it's form, please.                   8   any study like Heller in human beings that
         9   MS. O'DELL:                                          9   purports to find talc in human women ovarian
        10          Object to the form.                          10   tissue that shows an inflammatory response?
        11   A       Yeah. What was the -- the Heller            11   MS. O'DELL:
        12   study, here it is.                                  12          Objection to form.
        13          Yes, I recall our discussion of this         13   A       I'm not aware of a study showing that
        14   paper.                                              14   specifically.
        15   MS. BROWN:                                          15   MS. BROWN:
        16   Q        Right.                                     16   Q       Counsel asked you some questions about
        17          And this study reported that there was       17   nickel causing inflammation that leads to ovarian
        18   no inflammatory response around the talc that       18   cancer. Do you recall those?
        19   they claimed to have found in the ovarian tissue.   19   MS. O'DELL:
        20   True?                                               20          Object to the form.
        21   A       They make those statements in the           21   A       No. I was asked if -- if heavy
        22   paper, but the -- the -- I would have some          22   metal -- or components like nickel have been
        23   concern with the histological methods, but I        23   shown to have a potential inflammatory response.
        24   would certainly defer to a pathologist in the       24   MS. BROWN:

                                                 Page 379                                                 Page 381
         1   sense of being able to determine the both            1   Q       Uh-huh. Because you're not aware of
         2   presence of talc and the inflammatory response in    2   any published scientific literature that shows
         3   that.                                                3   heavy metals cause inflamma- -- inflammation that
         4   Q       So you have some critiques of the            4   leads to ovarian cancer; right?
         5   Heller study. Is that fair?                          5   A       I wasn't asked to -- to review for
         6   MS. O'DELL:                                          6   that. I would state that there's a number of
         7          Object to the form.                           7   studies that show the role of metals --
         8   A       I would say I would need a -- I would        8   particularly chromium -- and its -- and its
         9   need a -- a -- I would need a further evaluation     9   damaging effect on DNA, which I think by -- would
        10   of the methodology for detecting both talc as       10   certainly have both an inflammatory as well as
        11   well as inflammation in the same materials using    11   carcinogenic effect.
        12   the methods of the Heller paper.                    12   Q       And we're here on an issue of ovarian
        13   MS. BROWN:                                          13   cancer. And, as it relates to ovarian cancer,
        14   Q       Are you aware of any other paper that       14   you're not aware of any scientific support for
        15   you think is methodologically superior that shows   15   the proposition that heavy metals can lead to
        16   the presence of talc in ovarian tissue exhibiting   16   inflammation that causes ovarian cancer. Fair
        17   an inflammatory response?                           17   enough?
        18   MS. O'DELL:                                         18   A       Well, I was -- certainly, I was asked
        19          Object to the form.                          19   to review the literature to develop a -- and
        20   A       Well, we've discussed the rat studies.      20   develop conclusions of that literature as it
        21   MS. BROWN:                                          21   related to a -- a potential or possible
        22   Q       Human tissue. That's my question.           22   biological mechanism.
        23   A       Human --                                    23          In doing that, in part of that review,
        24   Q       Human tissue.                               24   we certainly made the observation that talc and


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         1   its components, as we discussed earlier, may         1   mineralogy of talc.
         2   have -- there's the possibility of having            2   Q       And whether what Dr. Longo is finding
         3   additional component effects, such as heavy          3   in the samples that he tested is the asbestiform
         4   metals and their effects, asbestiforms and their     4   or nonasbestiform variety of the minerals, you
         5   effects and the like; therefore, really              5   would defer to others? Is that fair?
         6   considering the complete components of the           6   A       I'd certainly defer to Dr. Longo.
         7   product overall.                                     7   Q       And have you looked at any other
         8   Q       And, as it relates to the testimony you      8   testing of the samples that Dr. Longo has tested?
         9   just gave, you're talking about just a               9   MS. O'DELL:
        10   theoretical possibility; right?                     10          Object to the form. Vague.
        11   MS. O'DELL:                                         11   A       Within the literature, there's -- there
        12          Objection to form.                           12   was a number of tables describing testing,
        13   A       Sure. And, then, from that review           13   described tests from previous testimony.
        14   developing a -- a conclusion of a biologically      14   MS. BROWN:
        15   plausible mechanism.                                15   Q       Have you looked at the testing that
        16   MS. BROWN:                                          16   public health authorities like the FDA have done
        17   Q       Has that conclusion been published in       17   on Johnson & Johnson's baby powder?
        18   the peer-reviewed literature, Doctor?               18   A       I believe some of that was provided,
        19   A       No, it has not.                             19   yes.
        20   Q       And, in fact, as you -- all of the          20   Q       Are you relying on any finding of
        21   opinions that you gave here today, those opinions   21   asbestos from Dr. Longo in forming your opinions
        22   have not been published in the peer review          22   here today?
        23   literature. True?                                   23   A       The --
        24   MS. O'DELL:                                         24   MS. O'DELL:


                                                 Page 383                                                 Page 385
         1          Object to the form.                           1          Object to the form.
         2   A       Not at this time.                            2   A        The inclusion of the asbestos, again,
         3   Q       Counsel asked you some questions about       3   as -- as -- as we've discussed a few times today,
         4   Dr. Longo. Do you recall that?                       4   the conclusion I developed from the report were
         5   A       Yes.                                         5   not dependent or independent of any one or
         6   Q       You've done nothing to validate the          6   another component of -- of the talcum powder.
         7   findings that Dr. Longo writes about in his          7          As we discussed a bit ago, the presence
         8   reports. Is that fair?                               8   of asbestos as a known inflammatory mediator, as
         9   A       No, I have not done any experiments to       9   well as potential carcinogen, I think just helps
        10   validate those findings.                            10   lend additional support to the biological
        11   Q       Okay. Are you aware that some of the        11   plausibility of the mechanism. But I think that
        12   samples that Dr. Longo tests and purports to find   12   biological mechanism is not dependent on the
        13   asbestos were purchased off of eBay?                13   presence of asbestos.
        14   MS. O'DELL:                                         14   MS. BROWN:
        15          Misstates -- well --                         15   Q        Other than plaintiffs' expert,
        16   A       My review of the report, I was -- did       16   Dr. Longo, are you relying on anything else to
        17   not include the -- I guess the specific history     17   support the potential for asbestos in baby
        18   of each of the samples.                             18   powder?
        19   MS. BROWN:                                          19   MS. O'DELL:
        20   Q       Do you understand that asbestos -- that     20          Object to the form.
        21   minerals like tremolite or anthophyllite, they      21   A        There's -- so I saw reference to
        22   exist in both the asbestiform and nonasbestiform    22   asbestos content in some of the other literature
        23   way?                                                23   that was reviewed during the time, and, so, there
        24   A       I would defer to other experts on the       24   were other publications that made mention of the


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         1   asbestos content in talc during the overall          1   opinion is independent of Dr. Crowley's findings.
         2   review.                                              2   Is that fair?
         3   MS. BROWN:                                           3   MS. O'DELL:
         4   Q       Sitting here today, are you aware            4          Objection to form. Vague.
         5   whether or not that was Johnson & Johnson's          5   A        Well, my -- my -- my opinion, again,
         6   cosmetic talc?                                       6   similar to -- as we've been discussing that, it
         7   MS. O'DELL:                                          7   considers the totality of the information
         8          Object to the form.                           8   available, including Dr. Crowley's report, but
         9   A       I would have to look closely. I'm not        9   does not rely on any one specific report or
        10   aware of that specifically.                         10   otherwise.
        11   MS. BROWN:                                          11          And, so, the -- again, restating
        12   Q       Counsel asked you some questions about      12   similar to the asbestos, the presence of
        13   Dr. Crowley and whether or not you were relying     13   potential irritants as another component in
        14   on the opinions he reached. Do you remember         14   the -- in the product just provides additional
        15   those questions?                                    15   support for that inflammatory mechanism playing a
        16   A       I do.                                       16   significant role.
        17   Q       What opinions did Dr. Crowley reach on      17   MS. BROWN:
        18   which you rely?                                     18   Q        If none of the chemicals Dr. Crowley
        19   A       Dr. Crowley performed an analysis of        19   identified were present in baby powder, would you
        20   the fragrance components and made assessments of    20   hold the same opinion of biological plausibility?
        21   the individual chemical components and their        21   A        I would.
        22   relationship to -- or I should say their -- their   22   Q        If no asbestos was present in baby
        23   inclusion on various lists for their -- their       23   powder, would you hold the same opinion on
        24   chemical properties or safety. And in most -- in    24   biological plausibility?


                                                 Page 387                                                 Page 389
         1   the majority of cases, the chemicals were not        1   A       Yes.
         2   listed. In a number of cases, there were large       2   MS. BROWN:
         3   numbers of chemicals listed as either irritants      3         No further questions. Thank you.
         4   and, therefore, able to cause inflammation, or,      4   MS. O'DELL:
         5   in a few cases, as potential carcinogens.            5         I have just one follow-up.
         6           And, so, it was that review of that          6         Or do you have anything --
         7   information, similar to our discussions around       7   MR. FERGUSON:
         8   asbestos, that I included or agreed with his         8         Nothing further.
         9   opinions regarding that on the last paragraph or     9   MS. O'DELL:
        10   close to the last paragraph of the report that      10         Excuse me. I'm sorry.
        11   stated I was just in agreement that these -- that   11                EXAMINATION
        12   those chemicals contribute to the inflammatory      12   BY MS. O'DELL:
        13   properties observed.                                13   Q       Dr. Crowley, are your opinions in this
        14   Q        Do you know in what quantity the           14   case contained in your report as well as in the
        15   chemicals Dr. Crowley identifies are present, if    15   testimony that you've given here today?
        16   at all, in Johnson & Johnson's products?            16   A       You said Dr. Crowley.
        17   A        No. I wasn't asked to provide that         17   Q       Oh. Excuse me. Sorry. I had
        18   review. I would defer to Dr. Crowley's report       18   Dr. Crowley on my mind.
        19   regarding any quantitative analysis of those        19         Dr. Levy --
        20   chemicals.                                          20         It's getting late in the day.
        21   Q        And, as it relates to your opinion,        21         Dr. Levy, are your opinions in this
        22   Dr. Levy, it makes no difference whether            22   case expressed in your report and your testimony
        23   Dr. Crowley's list has ten chemicals in             23   today?
        24   Quantity X or five chemicals in Quantity Y. Your    24   A       Yes.


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         1    Q       And do you hold those opinions to a         1           ERRATA PAGE
         2    reasonable degree of scientific certainty?          2
                                                                  3         I, SHAWN LEVY, Ph.D., the witness herein,
         3    A       Yes.
                                                                      have read the transcript of my testimony, and the
         4    MS. O'DELL:                                         4   same is true and correct, to the best of my
         5          I have nothing further.                           knowledge, with the exceptions of the following
         6    MS. BROWN:                                          5   changes noted below, if any:
         7          Thanks for your time, Doctor.                 6   Page/Line Word(s) to be changed/reason Correct Word
         8          I think we're off the record.                 7   _________ ________________________ _____________
         9    VIDEOGRAPHER:                                       8   _________ ________________________ _____________
        10          We're off the record. The time is             9   _________ ________________________ _____________
        11    6 p.m.                                             10   _________ ________________________ _____________
                                                                 11   _________ ________________________ _____________
        12        (Deposition concluded at 6:00 p.m.)
                                                                 12   _________ ________________________ _____________
        13
                                                                 13   _________ ________________________ _____________
        14                                                       14   _________ ________________________ _____________
        15                                                       15   _________ ________________________ _____________
        16                                                       16   _________ ________________________ _____________
        17                                                       17   _________ ________________________ _____________
        18                                                       18   _________ ________________________ _____________
        19                                                       19   _________ ________________________ _____________
        20                                                       20   _________ ________________________ _____________
                                                                 21
        21
                                                                                  ____________________________
        22                                                       22               SHAWN LEVY, Ph.D.
        23                                                       23
        24                                                       24


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         1           CERTIFICATE                                  1           DECLARATION OF WITNESS
         2                                                        2
         3         I do hereby certify that the above and         3          I, the undersigned, declare under penalty
         4   foregoing transcript of proceedings in the matter    4   of perjury that I have read the foregoing
         5   aforementioned was taken down by me in machine       5   transcript, and I have made any corrections,
         6   shorthand, and the questions and answers thereto     6   additions, or deletions that I was desirous of
         7   were reduced to writing under my personal            7   making; that the foregoing is a true and correct
         8   supervision, and that the foregoing represents a     8   transcript of my testimony contained herein.
         9   true and correct transcript of the proceedings       9          EXECUTED this ______ day of ____________,
        10   given by said witness upon said hearing.            10   2019, at ____________________, ___________________.
        11         I further certify that I am neither of                    (City)           (State)
        12   counsel nor of kin to the parties to the action,    11
        13   nor am I in anywise interested in the result of     12
        14   said cause.                                         13
        15                                                       14
        16                                                       15
        17                                                                      _______________________________
        18                                                       16             SHAWN LEVY, Ph.D.
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        19             REGISTERED DIPLOMATE REPORTER             18
                       CERTIFIED REALTIME REPORTER               19
        20                                                       20
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON                         MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY
    LITIGATION

    THIS DOCUMENT RELATES TO ALL CASES




                                RULE 26 EXPERT REPORT OF
                                ANNE MCTIERNAN, MD, PHD




    Date: November 16, 2018
                                          Anne McTiernan, MD, PhD
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    Mandate

    I have been retained to review the current state of the scientific literature regarding talcum powder
    products and opine on whether those products cause ovarian cancer. When I refer to talc or talcum
    powder products in this report, I am referring to commercially available talcum powder products and all
    constituent elements contained within. All my opinions in this report are based upon a reasonable
    degree of scientific and medical certainty. My time is billed at $450 per hour for the literature review
    and preparation of this report. I have not previously provided expert testimony in legal cases.




    Credentials, Expertise, and Experience

    I am a Full Member at the Fred Hutchinson Cancer Research Center in Seattle, Washington, Division of
    Public Health Sciences, Program in Epidemiology. I am also a Full Research Professor at the University of
    Washington School of Public Health, Department of Epidemiology, and the University of Washington
    School of Medicine, Department of Medicine, Division of Geriatrics. I am an elected member of the
    American College of Epidemiology, the Obesity Society, and the American College of Sports Medicine.
    From 2002-2012, I directed the Fred Hutchinson Cancer Research Center’s Prevention Center.


    I have received several prestigious awards for my research work including: the American College of
    Sports Medicine Wolffe Lecture, 2018, the American College of Sports Medicine Citation Award, 2012;
    the McDougall Mentoring Award, Fred Hutchinson Cancer Research Center, 2011; Komen for the Cure
    Scientific Advisory Council/Komen Scholars, 2010-2012; the University of Washington Roger E. Moe
    Award for Translational Research 2009; and the Joan P. Liman MD Award, Recipient, New York Medical
    College, 1989.


    I received my PhD in Epidemiology in 1982 from the University of Washington, and my MD degree in
    1989 from New York Medical College. I completed Internal Medicine residency training from the
    University of Washington in 1992. For the past 25 years, I have focused on epidemiologic research,
    primarily in cancer and women’s health. My research studies used the methodology employed in the
    talcum powder products and ovarian cancer studies, namely, case-control studies, cohort studies, and
    meta-analyses. In addition, I have had leadership positions for several randomized controlled trials


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    testing interventions to prevent cancer. I have published over 400 scientific manuscripts in peer-
    reviewed medical and scientific journals, have contributed to several academic texts, and have edited
    two academic texts.


    I have held several leadership positions in scientific U.S. Government work. Most recently, I was a
    member of the 2018 U.S. Department of Health and Human Services Physical Activity Guidelines
    Advisory Committee and was a member of the 2008 U.S. Department of Health and Human Services
    Physical Activity Guidelines Advisory Committee. I served as chair of the Cancer subcommittees for both
    Committees. I have served on, or chaired, grant review panels for the U.S. Department of Defense
    Congressionally Directed Medical Research Programs and the National Institutes of Health, and serve as
    a program reviewer for NCI intramural epidemiologic research branches and for NCI comprehensive
    cancer centers.


    I have served on editorial boards for the American Association for Cancer Research Cancer Prevention
    Journal, the Journal of Women’s Health, and Medscape Women’s Health. I have reviewed manuscripts
    for over a dozen prestigious journals including: JAMA, Journal of the National Cancer Society, Archives of
    Internal Medicine, American Journal of Epidemiology, Annals of Internal Medicine, European Journal of
    Cancer, British Journal of Cancer, Cancer Causes & Control, Cancer Epidemiology Biomarkers &
    Prevention, Annals of Epidemiology, Epidemiology, and Nutrition.


    My research funding has been provided by the U.S. National Cancer Institute, the National Institutes of
    Health, the National Heart Lung & Blood Institute, Komen for the Cure, the Breast Cancer Research
    Foundation, National Cancer Institute Canada, and various pharmaceutical companies and other
    foundations. I have been Principal Investigator of several randomized clinical trials testing effects of
    various agents in relation to prevention of breast and other cancers, including exemestane, raloxifene,
    tamoxifen, aspirin, and vitamin D. In addition, I have been Principal Investigator of four randomized
    clinical trials testing effects of weight loss and exercise on biomarkers of breast and other cancers. I am
    co-investigator of a pending National Cancer Institute funded trial testing the effect of exercise on
    quality of life in women with ovarian cancer. I was Principal Investigator of the Seattle site of a
    prospective cohort study of 1100 breast cancer survivors that investigated associations of hormones,
    inflammation, diet, exercise, obesity, and breast cancer survival. I was Principal Investigator of a case-
    control study of thyroid cancer and hormones in women, and co-investigator of a case-control study of

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    breast cancer in men. I have published on data from other case-control studies including studies on
    breast cancer, pituitary tumors, melanoma, and colorectal adenomas. I have collaborated in several
    prospective cohort studies, resulting in lead, senior, and co-authorship of several epidemiologic
    manuscripts. These included the Women’s Health Initiative Observational Study, the Tromso study, the
    Carotene and Retinol Efficacy Trial cohort, the VITAL cohort, and the Pancreatic Cancer Cohort
    Consortium.


    While my major focus is in epidemiology of breast cancer, I have also published on ovarian cancer, on
    gynecologic cancers in general, and on women’s cancers, as described below, as well as on colorectal,
    pancreas, melanoma, and prostate cancers. In my randomized clinical trials and prospective cohort
    studies, I have investigated the effects of weight loss and exercise on biomarkers of inflammation, which
    is highly relevant to the topic of this report, because inflammation may be one mechanism linking
    talcum powder products exposure and risk of ovarian cancer.


    My international work in epidemiology has included work with the International Association for
    Research in Cancer (IARC), the World Cancer Research Fund, and the Norwegian Tromso and EBBA
    studies. For IARC, I chaired a working group on mechanisms for a monograph on obesity, physical
    activity, and cancer risk (IARC Handbook of Cancer Prevention 2002: Physical Activity and Weight
    Control, 2000-1). For the World Cancer Research Fund, I am a member of the advisory panel of experts
    that guides interpretation of meta-analyses and systematic reviews of nutrition, physical activity,
    obesity, and risk for many cancers including ovarian cancer (http://wcrf.org/sites/default/files/Ovarian-
    Cancer-2014-Report.pdf).


    From 1992 to 1997, I was the Project Director for clinical work at the Women’s Health Initiative Clinical
    Coordinating Center. I held this role from the inception of the Women’s Health Initiative, and therefore
    directed all aspects of development and implementation of the three clinical trials and observational
    study. This included development of questionnaires and protocols. Of interest to ovarian cancer and
    talcum powder products, one of the Women’s Health Initiative questionnaires includes questions about
    use of talcum powder products. Furthermore, ovarian cancer was one of the primary cancers included
    as an outcome in this study. As Project Director, I oversaw development of the protocol and procedures
    for ascertainment and adjudication of cancer outcomes, including ovarian cancer. When I stepped down
    as Project Director (to lead my own National Cancer Institute funded studies), I retained leadership of

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    the outcomes work for the Women’s Health Initiative through 2005. This outcomes work entailed
    identifying cases of specific diseases such as cancer (including ovarian), collecting medical records, and
    classifying cases according to standardized criteria.


    Although I have not personally conducted research on talcum powder products use and risk for ovarian
    cancer, I have published several manuscripts on gynecologic cancers, including prevention of ovarian
    cancer in women at high genetic risk, as well as effects of weight and exercise on risk for ovarian cancer
    and on survivorship in ovarian cancer patients. In addition, I am co-investigator of a National Cancer
    Institute grant to test an exercise intervention on quality of life in women with ovarian cancer.


    While my expertise is in the area of epidemiology, primarily in women’s health and cancer research, I
    regularly consider the reports and studies from different scientific and medical fields including
    pathology, oncology, gynecology, physiology, molecular biology, and toxicology, and therefore, I have
    experience and expertise to consider evidence presented by experts in these fields, as I do when I
    prepare scientific manuscripts and grant proposals, when I review grants and manuscripts for
    government and private funding agencies, and when I do peer-reviewing for scientific and medical
    journals. Attached as Exhibit A to this report is a current copy of my curriculum vitae.




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    Overall Approach

    The foundation for this report is based upon my education, expertise, and years of experience in
    designing, conducting, and interpreting epidemiologic studies, as well as my medical training. I drew
    upon my years of experience with synthesizing and interpreting large numbers of epidemiologic studies
    for comprehensive reports including work for the U.S. government, the World Health Organization
    International Agency for Research on Cancer (IARC), and the World Cancer Research Fund. My opinions
    are based on the published epidemiologic evidence including original case-control and cohort studies,
    systematic reviews, meta-analyses, and pooled analyses on the topic of talcum powder products
    exposure and risk of ovarian cancer. In reviewing the epidemiologic literature, I used my experience as a
    researcher in evaluating study quality, and in determining evidence of association between talcum
    powder products and ovarian cancer in terms of estimated size of the effect and statistical significance. I
    drew upon my 36 years as a PhD-trained epidemiologist and 26 years as an MD-trained clinical scientist.


    In developing my opinions in this report, I applied the same rigor and standards as I utilize in my
    academic and research work. In addition to my review of epidemiologic studies, I also considered and
    reviewed clinical, pathological, and biologic and mechanistic evidence regarding talcum powder product
    exposure and ovarian cancer development.




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    Executive Summary

    This review assessed relevant published epidemiologic evidence on the association between use of
    talcum powder products in the genital/perineal area and risk of developing epithelial ovarian cancer. My
    review, as discussed more fully in this report, included 38 publications in Medline referenced scientific
    journals. Of these papers, 28 presented data from case-control studies(1-28), 5 presented results from 3
    cohort studies(29-33), 7 were meta-analyses of all epidemiologic studies up to a set date(11, 22, 34-38),
    and 1 was a pooled analysis of 8 case-control studies(39). All of these form the basis for the conclusions
    below. The meta-analyses, which included data summarized from all published case-control and cohort
    studies, consistently showed that ever use of talcum powder products in the genital/perineal area is
    associated with a statistically significant 22 - 31% increased risk of developing epithelial ovarian cancer
    overall compared with never-users. Further, the meta-analyses found a statistically significant 24 – 32%
    increased risk of developing serous ovarian cancer—the most common subtype of epithelial ovarian
    cancer—in women who had ever used talcum powder products compared with never-users. The pooled
    analysis, which included data from 5 previously published and 3 unpublished case-control studies, found
    similar statistically significant increased risks for overall epithelial ovarian cancer and serous ovarian
    cancer (24%). The two most recent meta-analyses, and the pooled analysis, found evidence of
    relationships between increasing amount of exposure to talcum powder products in the perineal/genital
    area (including frequency, years of use, and estimates of lifetime applications) and increased risk of
    developing epithelial ovarian cancer (i.e., dose-response relationships).


    Published laboratory and clinical studies on talc exposure and ovarian carcinogenesis have shown that in
    humans, talc can migrate from the perineum to the ovaries and that it can cause an inflammatory
    response. Elevated levels of biomarkers of inflammation (such as cytokines), as well as oxidative stress,
    provide biologically plausible pathways by which talcum powder product exposure can induce neoplastic
    transformation and result in ovarian cancer.


    Given the frequency with which asbestos, a known carcinogen has been found in cosmetic and personal-
    use talc products, I reviewed the literature on the epidemiology of asbestos and risk of ovarian cancer.
    Due to the presence of not only asbestos but fibrous talc, heavy metals, and fragrance, I also reviewed
    literature on the carcinogenic properties of these constituents. IARC noted in its 2012 report that a
    causal association between exposure to asbestos and cancer of the ovary was clearly established.(40,

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    41) IARC has classified asbestos and talc containing asbestiform fibers grown in an asbestiform habit as
    Class 1 carcinogens(40, 42). Talc fibers grown in an asbestiform habit are often referred to as “fibrous
    talc.” The elongated features of fibrous talc have many of the carcinogenic properties of asbestos that
    are known to cause an inflammatory process.(40) The additional chemicals present in talcum powder
    products discussed above were also classified by IARC to be carcinogenic(40), contributing to the
    biologically plausible mechanisms to explain the carcinogenic effects of talcum powder products.


    The epidemiologic evidence in total, along with the biological and pathological evidence, fits virtually all
    of the Bradford Hill aspects of causation(43), namely: strength, consistency across populations,
    temporality, biologic gradient (dose-response), plausibility, coherence, and analogy. The weight of the
    evidence related to genital use of talcum powder products and ovarian cancer development
    demonstrates a consistent increased risk. There are many instances in which relative risks less than 1.5
    are widely accepted within the scientific community as being causative and have strong public health
    and clinical ramifications, as I point out in the report. Given the high prevalence of use of talcum powder
    products (as much as half of women in some studies), a relative risk/odds ratio in the range observed in
    these studies can have profound effects on clinical events and public health.


    In my opinion, as an epidemiologist and physician, stated to a reasonable degree of medical and
    scientific certainty, use of talcum powder products, including Johnson & Johnson Baby Powder and
    Shower to Shower, in the genital/perineal area can cause ovarian cancer. I base this opinion on the
    statistically significant elevated risk estimates (relative risk, odds ratios) seen when the epidemiologic
    data are combined, the pathological evidence, the consistency of results across geographic areas and in
    different race/ethnic groups, the evidence of a positive dose-response effect, and the plausible
    biological mechanisms.




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    The Science of Epidemiology

    Epidemiology is the science of diseases in human populations. Epidemiologists study patterns of disease
    occurrence to determine causes of the disease of interest, with an aim of finding ways to prevent the
    disease from occurring. Epidemiological research describes and seeks to explain the distribution of
    health and disease within human populations. Its methods are based mainly on comparative
    observations made at the level of individuals within populations. This type of investigation is known as
    observational. By relating differences in circumstances and behavior to differences in the incidence of
    disease, associations are identified that may or may not be causal.


    In epidemiological studies, an ‘exposure’ is a factor or condition that may or may not influence the risk
    of disease. For assessing effects of some exposures, epidemiologists may employ randomized controlled
    clinical trials, but for exposures that have possible adverse effects with little known benefit, such studies
    would be unethical. For example, the effects of vitamin supplements have been tested in large-scale
    clinical trials to determine effects on risk for several cancers. This was considered ethical because the
    expectation was that the vitamin supplements could have benefit, and were unlikely to have risk, for
    study participants. For toxicological exposures, however, with little expectation of benefit to offset
    possible adverse effects, observational studies will usually be the only available epidemiological
    evidence.


    Much public health knowledge derives from epidemiological studies. For example, observational
    epidemiological studies show us that individuals who drink excessive amounts of alcohol have a high risk
    for developing liver failure and other diseases. Such studies have shown that persons with obesity have
    a high risk for developing diabetes and that smokers have high risk for developing lung cancer. Similarly,
    the effects of toxic agents on risk for several diseases have been identified through observational
    epidemiological studies. Examples include the effect of lead paint on cognitive development in children;
    the effect of radium exposure on bone health, blood abnormalities, and cancers; and the effect of
    second hand smoke on risk for lung cancer in nonsmokers.




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    The associations between talcum powder product use and risk for ovarian cancer have been studied
    only in two types of epidemiologic studies—case-control and cohort—and therefore this description of
    epidemiologic methodology below is limited to those types of studies.



    Terminology in Epidemiological Studies

    Disease incidence: The incidence of a disease is the number of new cases that occur. An incidence rate
    is the number of new cases that occur per number of persons over an interval of time. Typically, for
    cancer, incidence rates per 100,000 individuals per year are determined. The incidence rate for ovarian
    cancer in the U.S. is approximately 11.7/100,000 women/year
    (https://seer.cancer.gov/statfacts/html/ovary.html).


    Risk: The risk of a disease refers to likelihood of its occurrence. In epidemiological studies, risk is usually
    used in relative terms, that is, the risk of developing cancer in one group versus the risk in another
    group. In cancer epidemiology, the risk almost exclusively refers to risk of incident cancer, that is, risk of
    a new cancer occurrence.


    Risk factor: The World Health Organization defines a risk factor as any attribute, characteristic or
    exposure of an individual that increases the likelihood of developing a disease or injury
    (http://www.who.int/topics/risk_factors/en/). Risk factors can be inherent, such as sex, age, and
    genetics; lifestyle-related such as diet, physical activity, or smoking; health related such as menstrual
    factors, reproductive history, or history of infectious diseases; toxic exposures such as minerals, metals,
    chemicals, or radiation; or medical, such as use of particular medications.


    Exposures: In epidemiological studies, an ‘exposure’ is a factor or condition that may increase or
    decrease the risk of disease. In this report, use of talcum powder products is the ‘exposure’ investigated.
    Self-reporting of exposure could result in incomplete information. Some women may over-report use of
    personal products, while others may not recall whether they used the products, how often or at what
    quantity they used them, or for how long they continued using them. Studies in which participants are
    queried by trained interviewers may be able to obtain information in greater detail than when
    participants complete questions on a form.(44) However, women may be reluctant to relay sensitive
    personal information to an interviewer as opposed to a self-administered form.(44) This type of


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    systematic bias, however, would underestimate the relative risk, suggesting that effects of talcum
    powder product use in the perineal area may be stronger than reported in epidemiologic studies.


    Association: Epidemiologists use the term association to describe how a disease occurrence varies as a
    result of the effect of an exposure. A positive association indicates that the exposure increases risk of
    the outcome; a negative association indicates that the exposure decreases risk of the outcome.


    Etiology: The etiology is the cause or origin of a disease or condition.


    Multi-factorial etiology: Very few cancers occur as a result of only one cause. Most, on the other hand,
    have several likely causes, each with different levels of effect. The most common risk factor for cancer is
    age, as older persons have increased risk for developing most of the common cancers. So, even though
    certain human papilloma viruses increase risk for head and neck cancers, their effect is most often seen
    with increasing age despite individuals acquiring the virus at a young age. For some cancers, exposures
    add to the effects of other exposures, or even multiply their effects. For example, both smoking and
    alcohol use increase risk for squamous cell carcinoma of the esophagus, but individuals who both smoke
    and drink have a risk of this cancer that is greater than what would be expected by adding the effects of
    the two exposures.


    Latency period: The length of time between when a person is exposed to a causal agent and when their
    cancer is first diagnosed is called the latent period. This period is typically years to decades. For
    exposures that continue over time, it may not be possible to determine the latency period of that
    cancer.


    Relative risk, odds ratio, and hazard ratio: The strength of a relationship between an exposure and the
    occurrence of disease is commonly expressed in terms of relative risk. In cohort studies, relative risk is
    the ratio of risk (or incidence) of a disease among people with an exposure to that among people
    without that exposure. In cohort studies, the hazard ratio can be used, and is the chance of an event
    occurring in one group (exposed) divided by the chance of the event occurring in another group (non-
    exposed). In case-control studies, the odds ratio is used, which is the ratio of the odds of exposure
    among cases to the odds of exposure among controls. Relative risks, odds ratios, and hazard ratios



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    above 1.0 indicate an increased risk, while those below 1.0 imply a protective effect. Therefore, a
    relative risk of 1.3 represents a 30% increased risk.


    Statistical analyses: Epidemiologists use several types of statistical analyses to determine the size and
    significance of relationships among variables in sets of data. The most common in observational studies
    are the relative risk, odds ratio, and hazard ratio. These estimates are based on individual studies, or on
    meta-analyses, which are based on data from multiple studies. To determine the likelihood of these
    being true estimates of risk, rather than just occurring by chance, epidemiologists determine the
    statistical significance. For the relative risk, odds ratio, and hazard ratio, we calculate a confidence
    interval (CI), which shows the range of values that the true risk estimate likely represents. Most
    commonly, we use 95% CI, which means we are 95% sure that a true relative risk or odds ratio lies
    within that interval of numbers. If a confidence interval includes the number 1.0, then we say the
    association between the exposure and the disease could be null. Some epidemiologists consider a CI
    that has 1.0 at one end of the range to be of “marginal statistical significance.” A similar statistic is the p-
    value, which estimates how likely the observed association is likely due to chance. Epidemiologists often
    consider a p-value less than or equal to 0.05 as “statistically significant,” and often describe p-values
    between 0.05 and 0.09 as “marginally statistically significant.” However, the term just refers to the
    likelihood of a chance finding.


    Both confidence intervals and p-values depend largely on the size of the population studied. If a relative
    risk/odds ratio indicates an effect that is consistent across studies, or that is large, we are less likely to
    reject the likelihood of true association, even if the confidence interval includes 1.0 or if the p-value is
    greater than 0.05.


    Sample size: Because development of cancer can be a random event, epidemiologists strive to
    determine whether an association between an exposure and disease could have occurred by chance. If
    the study is designed appropriately, the chance of random-ness explaining observed associations is
    lessened. The number of cases of cancer within the study is a critical element to determining likelihood
    of causality.




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    Standardized incidence ratio and standardized mortality ratio: In some epidemiologic studies, only
    highly exposed persons are available for study. This is a common occurrence in studies of occupations
    with high levels of exposures to carcinogens, such as asbestos. Researchers typically then compare the
    incidence (or mortality) in the exposed cohort with the general population from which the exposed
    cohort is drawn. The standardized incidence ratio compares the actual versus expected number of cases
    of a disease, using the population data to determine expected numbers. Similarly, the standardized
    mortality ratio compares actual versus expected numbers of cause-specific or overall deaths. The
    standardized incidence ratio and standardized mortality ratio are similar to relative risks, and 95%
    confidence intervals are often presented.


    Dose-response: “Dose response” began as a medical concept where it denotes a change in the effect of
    a medication or treatment according to the dose used. This concept can be applied to any exposure,
    including potentially toxic agents such as talcum powder products. The demonstration of a biological
    gradient adds weight to evidence that an exposure may be causal.


    Dose response effects may be linear, where an increase in the exposure increases risk of disease at each
    level of increase in the exposure. A common example is the relationship between average packs/day
    and years of cigarette smoking and risk for lung cancer. Alternatively, there may be a ‘threshold’ below
    which there is no effect seen, but above which there is an effect. An example is the association between
    exposure to menopausal hormone therapy; use for short periods has little effect on risk of breast
    cancer, but risk consistently increases for five years’ or longer use.


    Alternatively, the effect may be to influence risk one way at both low and high levels of exposure, but
    the other way at intermediate levels of exposure, shown as ‘J’- or ‘U’-shaped curves. In such cases, the
    exposure is evidently beneficial or harmful only within certain ranges. For example, intake of alcohol at
    small amounts has been related in some studies to lower risk of cardiovascular disease, whereas heavy
    intake increases risk.


    Some exposures that are continuous variables are often reported in discrete categories. Although this is
    done for statistical reasons and can make effects easier to detect, the number and location of category
    boundaries may obscure the true relationship between exposure and the outcome, and non-linear
    effects of exposure may be missed if inappropriate categories are used.

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    Bias: A systematic error in the design, recruitment, data collection or analysis that results in a mistaken
    estimation of the true effect of the exposure and the outcome.


    Confounding: This type of bias occurs when a third variable interferes with a true relationship between
    an exposure and an outcome. A confounding variable is one that is related to the risk of disease and to
    the exposure. It is not by itself a cause of the disease and does not lie in the pathway between the
    exposure and disease. A classic example is that individuals who report carrying matches in their pockets
    are more likely to develop lung cancer than individuals who do not carry matches. However, the true
    relationship is between smoking and lung cancer. Smokers are more likely to carry matches, and it is the
    smoking that is the true cause. The epidemiologic studies reviewed for this report all adjusted for
    potential confounding factors.


    Effect modification: In some persons, an exposure increases risk of disease while in others it has no
    effect or has a smaller effect. This is called effect modification. An example is that obesity has a larger
    effect on risk for colon cancer in men than in women.


    Generalizability: The goal for epidemiologic research is to identify causes of disease that can be
    applicable to all populations. Most modern-day case-control studies attempt to do this by conducting
    population-based studies. That is, they identify all cases of a cancer occurring in a population and
    attempt to interview as many of those cases as possible. They also identify a similar sample of persons
    from the same population who do not have cancer and attempt to interview as many of those as
    possible. Many of the case-control studies of talcum powder products identified cases through
    population-based cancer registries, which register almost 100% of cases of cancer occurring in the
    population served by the registry. These population-based studies are better able to produce results
    that are generalizable to the whole population. Hospital-based case-control studies of ovarian cancer
    include all cases of the cancer that present to a hospital and compare them to a comparable group of
    hospitalized patients without cancer. While the comparisons between cases and controls can be valid,
    the generalizability of the results to the population can be low if patients from the recruiting hospital
    differ from the population as a whole.




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    Generalizability can be more of an issue for cohort studies, depending on how the study participants
    were recruited. Three cohort studies have reported on talcum powder product use and ovarian cancer
    risk. The Women’s Health Initiative recruited from the general population of postmenopausal women
    from 40 clinical centers around the U.S. The rate of response was only around 1-2%, however, and
    therefore the cohort is unlikely to represent the population of American postmenopausal women. The
    Nurses’ Health Study recruited nurses from around the U.S. Their rate of response was higher than for
    the Women’s Health Initiative, but they are all nurses, and therefore have different health knowledge,
    income, and socioeconomic status compared with the general U.S. population. The Sisters’ Study
    recruited from the general population, targeting women who had at least one sister with breast cancer.
    The responding participants therefore represent only women with a family history of breast cancer, and
    given their self-selection, likely differ from the general population in vulnerability to cancer and other
    characteristics.


    Exposure measurement: Defining whether a person is exposed to a potentially causal agent is critical to
    the science of epidemiology. For many exposures, we must rely on what the individual can tell us about
    their health habits, lifestyle, work history, and use of products and medications. Recall of these variables
    can be challenging. Epidemiologists, therefore, often have interviewers use tools to jog participants’
    memories, such as anchoring around particular ages and life events. The most thorough case-control
    studies queried about both frequency and duration of use of talcum powder products, as well as brand
    and type of product, and areas of exposure (e.g., perineal, sanitary napkin, other body areas, diaphragm,
    etc.) The ascertainment of use of talcum powder products is difficult, especially in determining dose of
    exposure, because women may have been using powders without being aware of what the product
    contained. Furthermore, information on the variable contents of talcum powder products (talc, fibrous
    talc, asbestos, other metals, fragrance) was not available to the scientists conducting the epidemiologic
    studies. While many epidemiologic case-control studies of talcum powder products and ovarian cancer
    risk asked women for brand names and dates of use, and analyzed data separately by likely powder
    contents, these analyses will not have been able to identify the various constituents of talcum powder
    products.


    The Women’s Health Initiative asked about duration of use of talcum powder products but did not ask
    about frequency of use.(29) The Nurses’ Health Study asked about frequency of use but did not query
    regarding duration of use.(31) The Sisters’ Study asked participants about use of talcum powder

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    products in the 12 months before study enrollment, and the frequency of use.(30) None of the cohorts,
    therefore was able to estimate total lifetime dose of talcum powder product exposure. As described
    below, under-reporting of exposures will underestimate a true relative risk.(45) Therefore, the
    estimated relative risks in studies that looked at effects of talcum powder product use and risk of
    ovarian cancer may be under-estimates.


    Diagnosis and classification of disease outcome: “Outcome” refer to the disease or health condition of
    interest; in this report, any type of epithelial ovarian cancer is the outcome. In some reports, cancers of
    the fallopian tubes and peritoneum are combined with epithelial ovarian cancer, as they are believed to
    be the same biological process and are treated the same as ovarian cancer with surgery and
    chemotherapy (https://www.cancer.gov/types/ovarian/hp/ovarian-epithelial-treatment-pdq).


    Determination of outcomes (sometimes called “events”) is a critical part of epidemiologic research. If
    cases of a disease are over- or under-counted, results of exposure-disease associations will be skewed. If
    the source of cases differs from the source of controls, comparisons between cases and controls may be
    biased. In case-control studies, researchers try to include all cases that were newly diagnosed with the
    disease in a defined population within a set period. Population-based cancer studies often identify cases
    through population-based cancer registries. Hospital-based studies, conversely, identify cases that were
    newly diagnosed in one or more hospitals. Whichever method is used, researchers try to include and
    interview as high a proportion as possible of identified cases, to reduce chances of biased results.


    For epidemiologic studies of cancer, it is important to identify, at the minimum, the type of cancer, stage
    of cancer at diagnosis, and subtype of cancer. Using pathologists’ reports from medical records, trained
    coders classify patients into the correct categories depending on the pathology and other medical
    records. There are several different subtypes of cancer of the ovary. Over 90% originate in epithelial
    tissues and are called “epithelial ovarian cancers.” The remaining 10% originate in other ovarian tissues
    (germ cell or sex-cord stromal). Of the epithelial ovarian cancers, approximately 70% are serous, 10%
    are endometrioid, 12% are clear cell, 3% are mucinous, 1% are Malignant Brenner, and the remaining
    are mixed histologies.(46) Epithelial ovarian cancer may be invasive or borderline. Only epithelial
    ovarian cancer has been studied in relation to use of talcum powder products. Therefore, in this report,
    “ovarian cancer” refers to “epithelial ovarian cancer.”



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    Types of Epidemiologic Studies on Ovarian Cancer and Exposure to
    Talcum Powder Products

    Epidemiologists have assessed the relationships between use of talcum powder products and risk of
    ovarian cancer development, using several types of epidemiologic studies. The studies with the greatest
    number of cases of ovarian cancer used case-control designs. Most of these were designed specifically
    to address use of talcum powder products as a potential cause of ovarian cancer. Three cohort studies
    have also reported on associations between talcum powder product use and risk of ovarian cancer.
    These cohort studies were designed to test hypotheses relating hundreds of exposures to scores of
    disease outcomes including common cancers, cardiovascular disease, cerebrovascular disease,
    musculoskeletal diseases, and others. Finally, after several epidemiologic studies were published,
    researchers combined data from these studies using either meta-analyses or a pooled analysis. The
    pooled analysis also included data from previously unpublished studies, and therefore provide
    additional information beyond just summarizing results of published studies. All of these studies
    contribute to the science of the epidemiologic evidence relating use of talcum powder products to risk
    of ovarian cancer development. The totality of evidence on the causal effect of talcum powder product
    use on ovarian cancer development relies on data from epidemiologic studies, pathological evidence of
    migration to the ovaries of talc and other contents of talcum powder products (such as asbestos), and
    laboratory evidence.



    Critical Components to Both Case-control and Cohort Studies

    1) The accurate and complete ascertainment of cases. In case-control studies, this means that all cases
    of ovarian cancer should be identified in a given population and as high percent of them should be
    included in the study as possible. The controls should be free of ovarian cancer and should be as similar
    as possible to the cases except for the exposure under study. In cohort studies, this means that all
    individuals should be followed over time to determine how many did or did not develop ovarian cancer.
    For both types of studies, cases should be confirmed by medical record and pathological report review.


    2) Precise determination of exposure. In both case-control and cohort studies, both cases and non-cases
    should have completed questionnaires about their current and past history of use of talcum powder
    products, including how often they used the products, when they began use, and number of years used.

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    In case-control studies, this is often done with the help of a trained interviewer. In cohort studies, which
    typically involve larger numbers of participants because only a small fraction will go on to develop
    specific diseases, questionnaires are usually self-administered without the assistance of an interviewer.
    In cohort studies, exposures should be updated after the baseline assessments, to ensure that changes
    in exposure can be captured. For an exposure like talcum powder product use, lifetime use would be
    relevant for determining total exposure. For both case-control and cohort studies, determining early life
    exposures depend on participants’ ability to recall typical use patterns. Interviewer-administered
    surveys would typically include prompts to help participants recall past habits. Self-administered
    questionnaires may include some printed prompts, but these are usually minimal.


    For a rare endpoint like ovarian cancer, a cohort must be followed for decades in order for a sufficient
    number of cases to accrue to determine effects of particular exposures. Therefore, there is the
    possibility of bias towards the null via changes in behavior over the course of the decades of follow-up.
    A woman who was originally classified as an “ever” talc user will remain an “ever” user even if she
    subsequently discontinued talc use. A “never” user who subsequently begins talc use will always be
    misclassified as a never user unless a follow-up survey records her change in status.


    In ideal situations, the precise nature of the exposure would be verified. Despite habitual use, however,
    quantification of exposure is difficult.


    (3) For both case-control and cohort studies, the populations should be well-characterized, so that any
    potential confounding variables can be accounted for in comparing exposure rates of cases and non-
    cases.



    Case-control Studies

    In case-control studies, individuals diagnosed with a specific type of cancer (cases) are compared with
    otherwise similar individuals who have not been diagnosed with cancer (controls). The control group is a
    sample of the population from which the cases arose and provides an estimate of how the exposures
    being studied are distributed in that population. In the ideal case, the controls will be similar to the
    cases on all variables other than the exposure under question. Therefore, epidemiologists often match



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    controls to cases on such variables as age, race, and ethnicity, or they include a large enough sample of
    participants that they can adjust for these variables.


    Case-control studies can enroll a large number of cases, are usually less expensive than cohort studies,
    and can be completed over shorter periods of time. Relevant to this report, case-control studies also can
    be designed to answer specific questions related to one outcome, and participants can be queried in
    detail about certain exposures. Selection bias is an increasing problem if participation rates among case
    and control groups is substantially less than 100 percent, and where participation may be related (in
    different ways) to various exposures.


    Case-control studies are subject to their own limitations, including recall bias, which can occur when
    participants’ reports of various exposures are differentially affected by whether they are cases or
    controls in the study. This is a theoretical bias however; studies that have investigated other sources of
    data on exposures have failed to confirm the presence of differential recall between cases and
    controls.(47)


    One of the case-control studies of talcum powder product use and ovarian cancer risk (1) addressed this
    issue by counting as “users” only women who had used talcum powder products for at least six months,
    on at least a monthly basis. This procedure minimizes the potential over-reporting of minimal exposure
    by cases versus controls.


    For this report, I reviewed 28 case-control studies, for most of which the association between use of
    talcum powder products and risk of ovarian cancer was a primary research questions.



    Cohort Studies

    In prospective cohort studies (usually called cohort studies), the exposures of a large group (cohort) of
    people who are assumed to be healthy are assessed, and the group is followed over a period of time.
    During the follow-up period, some members of the cohort will be diagnosed with cancer, while others
    will not, and comparisons are then made between these two groups. Cohort studies may need to be
    very large (up to hundreds of thousands of participants) to have sufficient statistical power to identify
    factors that may increase cancer risk by on the order of 20 or 30 percent. In addition, meaningful


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    comparisons between cases and non-cases can be made only for factors that vary sufficiently within the
    cohort. Importantly, cohort studies must identify exposures of interest when participants are enrolled
    into the study, in order to determine effect of the exposures on eventual development of the outcome
    of interest. Alternatively, if an exposure is ascertained some time after enrollment (as in the Nurses’
    Health Study ascertainment of talcum powder product use), the researchers will consider the date of
    collection of that exposure data to be the start date for follow-up of study participants. Because cohort
    studies typically are designed to look at multiple outcomes such as cancers, cardiovascular diseases,
    mortality, and other diseases, information collected on exposures tends to be minimal, to pertain to
    current levels of exposure, and may not be updated during follow-up.


    Cohort studies provide the opportunity to obtain repeated assessments of participants’ exposures at
    regular intervals, which may improve the assessment of the exposures. However, for this to happen, the
    investigators need to have planned for repeated measures of the exposure. In published cohort studies
    of talcum powder products and ovarian cancer risk, no repeated measures of talcum powder products
    were reported.


    In cohort studies, the ascertainment and adjudication of cancer outcomes can be accomplished by
    directly asking participants about illnesses and hospitalizations, and requesting medical records for
    reviewing these events. In some cases, ascertainment of disease events may be accomplished by linking
    to a cancer registry.


    For this report, I reviewed results of 3 cohort studies, published in 5 papers. None were designed
    specifically to look at the association between talcum powder product use and risk of ovarian cancer.
    Further, none of these studies fully ascertained exposure to talc, as will be discussed below.



    Meta-analyses

    Because there can be random variations within individual epidemiologic studies, and because very large
    sample sizes may be needed to see effects on rare diseases, epidemiologists rarely make causal
    inferences based on results of one study. Rather, we look at the totality of epidemiologic studies to
    determine patterns of exposure-disease relationships. Meta-analysis is a method used to combine the
    statistical results of several studies to produce an average estimate of effect of an exposure on an


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    outcome of interest. These summary estimates can provide evidence regarding the presence or absence
    of an association and can allow examination of dose-response relationships. In the area of talcum
    powder products use and ovarian cancer, 7 meta-analyses have been published (11, 22, 34-38), two of
    which are very recent and covered all studies contained in the previous meta-analyses.(34, 35) Of the 7
    meta-analyses, 2 were included within reports of individual case-control studies (11, 22); the two recent
    meta-analyses contained all studies included in these 2 meta-analyses as well.


    Pooled analysis is a type of meta-analysis where original individual-level data from various published
    and/or unpublished epidemiological studies are combined and re-analyzed. The combination of data
    from multiple studies creates a larger data set and increased statistical power. One such pooled analysis
    was published on the relationship between talcum powder product use and risk of ovarian cancer, and is
    heavily cited in this report because of its significance in including very high numbers of women with
    ovarian cancer and controls, thereby providing a high degree of statistical power.(39)


    The 7 meta-analyses that I reviewed for this report included data from available cohort and case-control
    studies. I also reviewed the pooled analysis of 8 case-control studies.(39) In addition to effect measures
    (relative risks, odds ratios, hazard ratios) and their confidence intervals (or other test of statistical
    significance such as p-value), I reviewed the number of people with and without disease for each
    exposure category, method of exposure ascertainment, estimated exposure categories, assessment of
    dose-response effects, and effect sizes for all epithelial ovarian cancer and for subtypes of epithelial
    ovarian cancer (invasive, borderline, serous, endometrioid, mucinous, clear cell).




    Possible Sources of Bias in Epidemiologic Studies Reviewed

    All studies of all types must be criticality evaluated for both strengths and potential limitations in order
    to determine the totality of evidence. Limitations in epidemiologic studies are often characterized as
    biases. These include the biases listed below. It is important to note that the presence of bias does not
    render an epidemiologic study invalid. Rather, biases are issues that should be carefully considered
    when assessing how much weight should be given to individual studies, and what conclusions can be
    drawn from them.




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    Missing data: Both case-control and cohort studies can suffer from missing data. If the missing data
    items are related to the use of talcum powder products, then the estimated relative risks/odds ratios
    will likely be artificially low. If, in cohort studies, the cases of ovarian cancer are not identified, i.e., the
    cancer data are missing, the statistical power to detect statistically significant effects will be lessened.
    Both of these conditions would likely mean the true association between use of talcum powder products
    and risk of ovarian cancer is actually higher than what is observed in the epidemiologic studies.


    Poor precision of exposure measurement: Determining whether, how much, and for how long women
    were exposed to talcum powder products is difficult. Women may not remember the brand of powder
    products they used, and contents of personal powder products may not be clear or may change over
    time. Women may not remember the amount of products used, frequency of use, and years of use.


    Publication bias: The publication of epidemiologic studies depends on several factors. The investigators
    must have developed hypotheses about certain questions and designed the study accordingly, including
    asking the correct questions about the exposure and potential confounding variables, and collecting
    information from a sufficient number of participants. The investigators then need to perform statistical
    analyses, develop scientific manuscripts, and submit for journal publication. It may be difficult to find a
    journal that will accept null results (i.e. where an exposure is shown to not be related to an
    outcome).(48, 49) The pooled analysis of case-control studies provides some reassurance that
    publication bias is less likely for this association.(39) Of the 8 studies included in that analysis, 3 had not
    been previously published. Ever use of talcum powder products in the genital area produced odds ratios
    of 1.37 (95% CI 1.07–1.67), 1.36 (95% CI (1.06–1.74), and 0.99 (95% CI 0.70–1.41) for the 3 individual
    studies. That the confidence intervals overlapped, and that 2 of the 3 studies showed statistically
    significant associations, suggest low publication bias for the association between use of talcum powder
    products in the genital area and risk of developing ovarian cancer.


    Cancer process affecting likelihood of exposure: If women used talcum powder products in the perineal
    area due to symptoms from an early cancer process, results of studies could be biased. Cohort studies
    often guard against this by eliminating cases that develop within a short time of study enrollment. Case-
    control studies guard against this by asking participants to recall exposures one or more years prior to
    their cancer diagnosis (and similarly ask controls to recall exposures at least one year prior to interview).



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    Confounding: Variables related to both use of talcum powder products and risk of ovarian cancer could
    mask the true relationship between these variables. Epidemiologists handle this by adjusting in the
    analysis for these potential confounding variables. All of the studies reviewed performed adjustment for
    several potential confounding variables. Those studies that presented both adjusted and unadjusted
    odds ratios/relative risks found little effect of confounding variables on these relationships.


    Recall bias: For the case-control studies, media reports of associations between talc and ovarian cancer
    could have influenced cases such that they recalled use of talcum powder products to a greater degree
    than controls. However, the studies for which data collection pre-dated news reports of this association
    showed similar effects to those for which data were collected afterward. Thus, “recall bias” is unlikely to
    be an issue. As mentioned above, recall bias is a theoretical bias; studies that have investigated other
    sources of data on exposures have failed to confirm the presence of differential recall between cases
    and controls.(47)


    Non-response bias: Case-control studies with low levels of response in cases or controls can be biased,
    in that the non-responding cases and controls could differ with respect to use of talcum powder
    products.


    Differential results of cohort versus case-control studies: Ideally, results of case-control and cohort
    studies would be similar for the relationship between an exposure and risk of disease. However, there
    could be several reasons for discrepancy in results between case-control and cohort studies. The
    exposure measurement may differ in the two types of studies. For example, cohort studies may measure
    exposure at study entry without updating and without ascertaining lifetime exposure. The study would
    then have only one time point of an exposure that could significantly attenuate the observed
    associations between exposure and disease.


    Population-based case-control versus hospital-based case-control studies: For some exposure-disease
    relationships, population-based case control studies are the most valid method of comparing risk for
    exposed versus non-exposed persons because the risks to public health can better be estimated. For
    others, however, hospital-based case control studies may provide important information because
    controls with illnesses may be more likely to recall exposures compared with healthy controls from the
    community, and therefore recall bias can be reduced.

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    Causal Inference in Epidemiology

    The overarching goal of epidemiologic research is to determine likely causes of disease, in order to
    determine who is at risk for that disease and how to prevent the disease in individuals and populations.
    Much of epidemiologic observational research in cancer focuses on determining the associations
    between an exposure and an outcome. In other words, in a sample of individuals, are the number of
    persons exposed to an agent more likely to develop a cancer than those who are not exposed? There
    are several related questions. For example, will the persons who are exposed to a higher dose have an
    even greater risk than persons with little exposure? Will those exposed for a longer period of time have
    greater risk than those exposed for only a short time? Epidemiologists follow guidelines and logic in
    determining likelihood of an exposure causing cancer.(50) In addition to epidemiologic data,
    epidemiologists also consider plausible biological mechanisms to explain observed associations. The
    weight of evidence depends on the validity of the data as well as the clinical and biological evidence, if
    available, to explain these associations.


    In epidemiology, and therefore in this report, a positive association means that the exposure in question
    increases risk for a disease or outcome. A negative association refers to an exposure decreasing risk for
    the outcome.


    In 1965, English epidemiologist Sir Austin Bradford Hill attempted to describe several aspects of the
    causal relationship in a speech to the Royal Society of Medicine’s newly-established Section of
    Occupational Medicine.(43) As Bradford Hill explained, this is not a checklist of factors to be counted:
    “What I do not believe—and this has been suggested—is that we can usefully lay down some hard-and-
    fast rules of evidence that must be obeyed before we accept cause and effect. None of my nine
    viewpoints can bring indisputable evidence for or against the cause-and-effect hypothesis and none can
    be required as a sine qua non.”


    These aspects of a causal relationship are:


    Strength of the association. If the risk of developing cancer is several times higher in persons exposed to
    a toxic agent, that increases the likelihood of causality. It is not a necessary condition for establishing
    causality and providing recommendations for avoiding a potential cancer-causing agent, however.

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    Indeed, several carcinogens raise risk of cancer less than doubling of risk, but because of a high
    prevalence of exposure, can have major public health effects. Other exposures may be highly prevalent
    to certain groups such as factory workers; such exposures need to be minimized to meet government
    regulations for worker safety. Several examples follow:


    Alcohol and risk for postmenopausal breast cancer: Risk for postmenopausal breast cancer increases by
    approximately 10% (a relative risk of 1.1) for each 10 gram/day intake of alcohol (the amount in a four-
    ounce glass of wine).(51) Women are advised to avoid alcohol or minimize alcohol intake to no more
    than one alcoholic drink per day to reduce risk for this cancer.(51) As Bradford Hill pointed out in his
    address: “We must not be too ready to dismiss a cause-and-effect hypothesis merely on the grounds
    that the observed association appears to be slight. There are many occasions in medicine when this is in
    truth so.”(43)


    Air pollution and risk for cardiovascular disease: A 2013 meta- analysis found that for each 10 µg/m3 rise
    in PM2.5, the air pollution caused by motor vehicles, yields an 15% increase in risk of cardiovascular
    disease (similar to a relative risk of 1.15). Given the widespread prevalence of exposure to ambient
    pollution, even modest contributions to cardiovascular disease risk can have a substantial effect on
    population health. (52)


    Outdoor particulate matter air pollution and lung cancer: A 2014 meta-analysis including 18 studies
    showed a relative risk of 1.09 (95% CI 1.04-1.14) per 10-μg/m3 of exposure to particulate matter
    (PM2.5).(53) This is highly significant, because 10-μg/m3 of exposure to PM2.5 is the lowest recommended
    limit set by IARC for minimizing health effects of air pollution.


    Benzene at work and risk of leukemia: In 2010, a meta-analysis of 15 epidemiologic studies found that
    worksite benzene exposure increased risk of any leukemia by 40% (relative risk 1.40, 95% CI 1.23-
    1.57).(54)


    Estrogen-progestin menopausal hormone therapy and breast cancer risk: The Women’s Health Initiative
    clinical trial showed that this type of hormone therapy increases risk of breast cancer by 26% after an
    average 5 years of use. That level of risk was sufficient for clinical interest groups and governmental
    agencies to advise women to use hormone therapy for limited periods of time, if at all, because of risk

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    for breast cancer and other adverse events with similar levels of increased risk (29% increase in coronary
    heart disease, and 41% increase in stroke).(55) A meta-analysis of clinical trials and observational studies
    in 2018 found that use of this therapy increased risk of breast cancer by 59% (relative risk 1.59, 95% CI
    1.40-1.81).(56) These results led to FDA-required label warnings on estrogen and progesterone therapy
    preparations(57), and to clinical warnings against use of estrogen plus progesterone for prevention of
    chronic conditions.(58)


    Trichloroethylene and risk of kidney cancer: In 2012, a meta-analysis was published showing that
    occupational exposure to trichloroethylene was associated with an approximately 30% increased risk for
    kidney cancer (relative risk 1.32, 95% CI 1.17-1.50).(59)


    Regular physical activity is associated with reduced risk for cardiovascular disease, diabetes, and various
    cancers in persons who meet national physical activity guidelines of 150 minutes/week of moderate-
    intensity aerobic activity.(60) In one large pooled analysis of 6 cohorts with 661,137 men and women,
    investigators found a 20% lower mortality risk among those performing less than the recommended minimum of
    7.5 metabolic-equivalent hours per week (hazard ratio, 0.80 [95% CI, 0.78-0.82]), a 31% lower risk at 1 to 2 times
    the recommended minimum (hazard ratio, 0.69 [95% CI, 0.67-0.70]), and a 37% lower risk at 2 to 3 times the
    minimum (hazard ratio, 0.63 [95% CI, 0.62-0.65]).(61) To compare with the relative risks for adverse exposure, one
    would look at the inverse of the hazard ratios, i.e., 1.25, 1.45, and 1.59.


    Intermittent intense sun exposure and risk of melanoma: A 2005 meta-analysis included data from 57
    epidemiologic studies with 38,671 cases of melanoma, and found a relative risk of 1.61 (95% CI 1.31-
    1.99) for intermittent intense sun exposure.(62)


    Prevention of skin cancer with use of sunscreen has also been observed, with similar effect sizes. In a
    4.5-year trial with an additional 8-years follow-up, individuals randomly assigned to daily sunscreen use
    had almost a 40% reduced risk of squamous cell carcinoma (rate ratio, 0.62; 95% confidence interval,
    0.38-0.99).(63) To compare with the relative risks for adverse exposure, one would look at the inverse of the risk
    ratio, i.e., 1.6.


    Consistency of the association. A consistent association would be observed in various populations,
    places, circumstances, and times. Has the association been found in different countries, in persons from


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    various race/ethnic groups, and of different ages? This is also not a requirement, as there could be
    occasions when an exposure only increases risk for specific categories of individuals. An example, again
    from the breast cancer field, is that obesity increases risk for breast cancer occurring after menopause
    but decreases it for women who have not yet undergone menopause. Relevant to the association
    between ovarian cancer risk and use of talcum powder products, the association has been observed in
    the U.S., Canada, China, Australia, Israel, and the UK. While most data have been collected in Whites, a
    positive association between use of talcum powder products and risk for ovarian cancer has also been
    found in Blacks and Asians.


    Specificity of the association: This suggests that if an exposure causes only one type of disease, that its
    causal link to that disease is strengthened. However, Bradford Hill recognized the limits of this aspect.
    One noxious agent, such as tobacco smoke, is an accepted cause of multiple cancers as well as
    cardiovascular disease. Similarly, one disease can have multiple causes. For example, lung cancer risk is
    increased with exposure to radon and asbestos, even in persons who do not smoke. In support of this,
    Bradford Hill stated, “One-to-one relationships are not frequent. Indeed I believe that multi-causation is
    generally more likely than single causation…”(43)


    Temporality: The time course between exposure and disease occurrence is an important consideration.
    Bradford Hill was referring to the need to document that the exposure came before the disease, rather
    than something about the disease causing a person to come into contact with the exposure. This is why,
    for case-control studies, researchers have often queried women about their lifetime history of use of
    talcum powder products, beginning from young ages. Some cohort studies, on the other hand, asked
    about current use of these products when the women were first enrolled in the cohort. However, for all
    of these studies, only talcum powder product use prior to the cases’ diagnoses (and prior to a
    comparable time point for controls, in case-control studies) was counted as “exposure.”


    Biologic gradient: This refers to the dose-response curve or the shape of the association between
    exposure and risk as the amount of exposure changes. If risk for a disease increases with increasing
    amount of exposure, the likelihood of a causal relationship is often increased. The exposure can be
    classified by total duration of exposure, by usual amount of exposure, or by a combination of these two.
    For use of talcum powder products, dose has been estimated by total years of use, by frequency of use,
    and by a combination of these two variables. It should be noted that ovarian talc particle burden may

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    not be influenced by number of applications of perineal talc usage(64), and therefore the typical dose-
    response relationship may not be necessary for establishing causality between perineal talcum powder
    product use and risk for ovarian cancer. Indeed, there are numerous substances for which there is no
    safe dose.


    Plausibility: The association is strengthened if it is biologically plausible. However, Bradford Hill
    recognized that “What is biologically plausible depends upon the biological knowledge of the day.” It is
    important to note that biologic plausibility does not require proof of mechanism.


    Coherence: The cause-and-effect interpretation of the data should not significantly conflict with the
    known facts about the natural history and biology of the disease. Therefore, for example, the concurrent
    rise in tobacco smoking rates and rise in lung cancer incidence in the 20th century in the U.S., as well as
    the more recent concurrent decrease in smoking rates and decrease in lung cancer occurrence,
    strengthen the association between smoking and lung cancer as causal. For the case of use of talcum
    powder products and ovarian cancer risk, the prevalence of other risk and protective factors (e.g., use of
    oral contraceptives, hysterectomy, and tubal ligation as protective factors, obesity as risk factor)
    changed over time in the general population. Therefore, it would be difficult to determine if ovarian
    cancer incidence time trends vary by changes in use of talcum powder products. The biology involves, as
    described below, the migration of talc to the ovaries, the inflammatory process which talc elicits, and
    the carcinogenetic effects of inflammation.


    Experiment: The evidence from randomized controlled trials can provide strong support to
    observational evidence. However, in many situations, randomized controlled trials are not feasible. In
    the case of talcum powder products and ovarian cancer risk, a trial would have to be very large,
    involving 50,000 women or more, followed for decades, to determine effects of use of talcum powder
    products on risk for ovarian cancer. This is because ovarian cancer is a rare disease and typically takes
    many years to develop to be clinically diagnosable. In addition, because the effects of genital talcum
    powder product use could be harmful, it would be unethical to conduct a trial of this type.


    Analogy: Bradford Hill states that in some circumstances it would be fair to judge by analogy.
    Therefore, since some toxic agents such as thalidomide or rubella have been shown to cause birth
    defects, other drugs or viral exposures may be recognizable as possibly leading to harmful effects to a

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    fetus. Regarding talcum powder products use and ovarian cancer use: since increased inflammation has
    been associated with increased ovarian cancer risk, and since talc causes an inflammatory response in
    tissues, this strengthens the link between talcum powder products use and ovarian cancer risk.




    Methods Used for this Review

    In performing this evidence review and for purposes of my opinions, I first conducted a review of the
    relevant literature on the epidemiology of ovarian cancer risk in relation to use of talcum powder
    products, using the same process I use for systematic review articles I write for my academic work.(60,
    65) I triaged articles by title, then by abstract, and finally by complete paper. As I read the epidemiologic
    literature, I considered the “Bradford Hill” aspects of causal inference(43), as well as causal inference as
    defined by Rothman(50), and weighed the evidence. My search identified studies that both support and
    do not support my eventual opinion on whether use of talcum powder products can cause ovarian
    cancer.


    I searched in the PubMed database for research studies published in peer-reviewed, PubMed indexed
    journals, using the following search terms: (“talc” OR “talcum powder”) AND (“ovarian cancer” OR
    “ovarian carcinoma”).


    The search produced 110 references, of which 7 included meta-analyses (11, 22, 34-38), one was a
    pooled analysis (39), and 33 were reports of original epidemiologic studies that tested the association
    between talcum powder products and risk of ovarian cancer.


    I did not perform a meta-analysis, because excellent meta-analyses have been recently published,(34,
    35) and all of the published meta-analyses showed similar relative risk estimates for use of talcum
    powder products and risk of ovarian cancer. For all of the reviewed studies, I performed data extraction
    using a standardized data extraction table (see Tables 1-4). I recorded information on the publication
    year, study design, number of cases, number of controls (for case-control studies), total sample size (for
    cohort studies), population type, country, risk estimates, confidence intervals, and the type of ovarian
    cancer. I also indicated whether dose-response relationships were assessed, method used, and results.




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    In this report, I provide descriptions of the study methods and main study results including risk
    estimates (odds ratio, relative risk, or hazard ratio). All studies included control for some confounders
    and presented the risk estimates with adjustment for the confounders. I present below the results from
    adjustment with the greatest number of variables.




    Epidemiologic Evidence on the Association between Talcum Powder
    Products Use and Ovarian Cancer Risk

    Case-control Studies

    Schildkraut et al. (2016)(1) investigated the association between body powder use and ovarian cancer in
    African American women in 11 geographic areas of the U.S. Included were 584 cases and 745 controls,
    in a population-based study. Cases were identified through state or SEER cancer registries, or through
    hospital gynecologic oncology departments. Controls were randomly selected from the same
    populations as the cases. Participants were asked in a phone interview whether they had ever regularly
    used talc, cornstarch, baby, or deodorizing powders. Women were classified as “regular users” if they
    reported using any of these powders at least monthly for at least 6 months, and “never users”
    otherwise. Regular users were asked about frequency and duration of use; use on genital areas,
    underwear, sanitary napkins, or diaphragms; and use on non-genital areas. Lifetime number of
    applications was estimated as number of applications per month times number of months used.
    Occupational exposure (yes/no) was ascertained for a subset of participants. Use of genital powder was
    associated with a statistically significant 44% increased risk for ovarian cancer (odds ratio 1.44, 95% CI
    1.11-1.86). A dose-response trend was noted: compared with never-users, women who used genital
    powder less than daily had a 12% increased risk for ovarian cancer, while women who used genital
    powder daily had a 71% increased risk. The statistical test for trend was significant (p < 0.01).
    Furthermore, a greater number of years used increased risk further: compared with never-users, women
    who used genital powders for less than 20 years had a 33% increased risk of ovarian cancer, while those
    who used genital powders for 20 years or more had a 52% increased risk of ovarian cancer. The
    statistical test for trend was significant (p = 0.02). Estimated lifetime number of applications was also
    related to risk in a dose-dependent manner. Compared with never users, those who used few than 3600
    genital powder applications had a 16% increased risk for ovarian cancer, while those who used 3600 or


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    more applications had a 67% increased risk. The statistical test for trend was significant (p < 0.01). Risk
    of both serous and non-serous ovarian cancer increased statistically significantly with any genital
    powder use by 38% and 63%, respectively (odds ratios, 1.38, 95% CI 1.03-1.85, and 1.63, 95% CI 1.04-
    2.55, respectively).


    Cramer et al. (2016) (2) reported on association between genital talc use and risk of ovarian cancer in
    2,041 cases of ovarian cancer and 2100 controls. Cases were combined from three case-control studies
    interviewed in 1992-97, 1998-2002, and 2003-2008. Cases were identified from tumor boards and
    registries in Eastern Massachusetts and Massachusetts. Controls were identified from the same
    populations as controls. Interviewers asked participants if they “regularly” or “at least monthly” applied
    powder to the genital or rectal area, sanitary napkins or tampons, underwear, or non-genital areas. Type
    of powder, age begun, years used, and applications per month were ascertained. Lifetime exposure was
    estimated by multiplying frequency of applications per month by months used, and talc-years were
    calculated. Participants were then divided into quartiles according to these variables. Participants were
    also asked if their partners dusted or sprayed powder to their genital or rectal areas. Condom and
    diaphragm use were ascertained as potential sources of genital talc exposure. Genital talc use was
    associated with a statistically significant 33% increased risk of ovarian cancer (odds ratio 1.33, 95%CI
    1.16-1.52). Risk decreased with increasing time since last use. There was a clear trend to increasing risk
    for ovarian cancer with increasing frequency of use: compared with never users, risks for 1-7 days per
    month, 8-29 days per month, and 30 or more days per month were increased by 17%, 37%, and 46%,
    respectively, and the trend was statistically significant (p<0.0001). Furthermore, as months per year of
    use increased, risk increased, and the trend was statistically significant (p=0.006). Risk for serous
    invasive, endometroid invasive, and serous borderline were increased with any genital talc use, by
    approximately 40%, and all were statistically significant. Risks of serous invasive and endometroid also
    increased significantly with increased talc-years of use. Risks of serous invasive were increased in both
    premenopausal and postmenopausal women who used genital products, but the results were only
    statistically significant in premenopausal women. Premenopausal women and postmenopausal women
    using hormone therapy had the largest risks associated with talcum powder product use for most types
    of ovarian cancers.


    Wu et al. (2015) (3) investigated the associations of risk of ovarian cancer and talcum powder products
    use and other risk factors. Cases were identified through the SEER population-based University of

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    Southern California cancer registry. A total of 1,701 patients were included; and 2,319 controls were
    recruited from the cases’ neighborhoods using random selection from population lists. In-person
    interviews were conducted. To determine use of talcum powder products, women were asked if they
    ever used talc at least once per month for 6 months or more.(6) If the response was positive, they were
    asked whether they had ever used talc in non-perineal areas (feet, arms, chest or back), perineal areas,
    or on underwear or sanitary pads/diaphragm. Questions on talc use included age at first use, frequency
    of use (times per month) and years of talc use. Use of genital talc for one year or more was associated
    with a statistically significant 46% increased risk for ovarian cancer (odds ratio 1.46, 95% CI 1.27-1.69).
    Similar relative risks were seen in non-Hispanic white, Hispanic, and African-American women. A dose-
    response analysis found that for each 5-year use of genital talc products, risk for ovarian cancer
    increased by a statistically significant 14% (95% CI 1.09-1.20).


    Kurta et al. (2012)(4) published results of a population-based case-control study based in Western
    Pennsylvania, Eastern Ohio, and Western New York State. A total of 902 cases were enrolled, and 1,802
    controls were randomly selected from the general population of those areas. Perineal talc use was
    defined as ever using dusting powder or deodorizing spray on the genital or rectal areas, on sanitary
    napkins, on underwear, or on diaphragms or cervical caps. Use of perineal talc increased risk for ovarian
    cancer by a statistically significant 40% (odds ratio 1.40, 95% CI 1.16–1.69).


    Rosenblatt et al. (2011) (5) published results of a population case-control study set in western
    Washington that investigated the association between genital powder exposure and risk of ovarian
    cancer. A total of 812 women with ovarian cancer were identified through a population-based cancer
    registry and interviewed. A total of 1,313 controls were selected at random from the western
    Washington population. Sources of genital powder were ascertained, including direct perineal
    application, use on sanitary napkins and diaphragms, and use of deodorant vaginal spray. For powder
    use on sanitary napkins and use of vaginal deodorant sprays, the authors recorded the total number of
    months or years in which these products were used. For use of perineal powder, the investigators
    recorded the age began and ended, number of weeks or months of use per year, and average days per
    week used. Study participants were also asked about the types of powder used, including talcum, baby,
    cornstarch, deodorant, body/bath, and other or unknown. The authors then calculated the lifetime
    duration of use, and estimated lifetime number of applications. Perineal use of powder was associated
    with a non-statistically significant 27% increased risk for ovarian cancer (odds ratio 1.27, 95% CI 0.97-

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    1.66). The risk for borderline ovarian tumors was statistically significantly raised by 55% (odds ratio,
    1.55, 95% CI 1.02-2.37), whereas risk for invasive ovarian cancers was increased by a non-statistically
    significant 27% (odds ratio 1.27, 95% CI 0.87-1.58). Use of powder on either sanitary napkins or
    diaphragms did not increase risk. Use of vaginal deodorant spray increased risk by a non-statistically
    significant 15% (odds ratio 1.15, 95% CI 0.85-1.56). None of the dose-response or time variables (years
    of use, lifetime number of applications, age at first use, age at last use, calendar year of first use, time
    since first and last uses) showed evidence of increasing relative risk of ovarian cancer with increasing
    level of exposure to talcum powder products. Similarly, there was no evidence of increased risk for
    ovarian cancer with increasing dose of powder use on sanitary napkins, or of vaginal deodorant sprays.
    Use of perineal powder increased risk for mucinous borderline, serous borderline, endometrioid, and
    other non-mucinous ovarian cancers by 47% to 78%, but none of the odds ratios was statistically
    significant.


    Wu et al. (2009) (6) presented results of a case-control study of ovarian cancer with 609 cases and 688
    controls. Risk of ovarian cancer among users of talcum powder products in the perineal area was
    increased by 53% (odds ratio 1.53, 95% CI 1.13-2.09). Risk of serous ovarian cancer was also significantly
    elevated (odds ratio 1.70, 95% CI 1.27-2.28). A statistically significant trend to increased risk with
    lifetime numbers of applications was observed. Compared with no use, odds ratios for those with <
    5200, >5200 - <15,600, >15,600 - <52,000, and > 52,000 applications were 1.2, 1.38, 1.34, and 1.99,
    respectively (ptrend = 0.0004).


    Moorman et al. (2009) (7) published data from a population-based case-control study in White and
    Black women. In total, 1114 cases and 1086 controls were interviewed. They found no association of
    genital talcum powder product use and risk for ovarian cancer in Whites (odds ratio 1.04, 95% CI 0.82-
    1.33), and a non-statistically significant increased risk in Blacks (odds ratio 1.19, 95% CI 0.68-2.09).
    Neither dose-response nor effects by histologic subtype were addressed.


    Merritt et al. (2008) (8) published results from an Australian-wide population-based case-control study
    on talcum powder products and risk of ovarian cancer. Included were 1,576 women with ovarian cancer
    and 1,509 population-based controls. Women provided information on self-administered
    questionnaires. They were asked if they had ever used powder or talc in the genital area, on underwear,
    or on sanitary pads or diaphragms. They were also asked about age at first use and years of talc use in

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    these areas. Duration of talcum powder use prior to and after surgical sterilization was calculated, and
    all analyses were limited to the time when the fallopian tubes would have been patent. Use of talc
    elsewhere was also collected. Ever use of talc in the perineal region was associated with a statistically
    significant 17% increased risk for ovarian cancer (odds ratio 1.17, 95% 1.01-1.36). The increase was
    strongest for serous (odds ratio 1.21, 95% CI 1.03-1.44), but was also seen for endometrioid (odds ratio
    1.18, 95% CI 0.81-1.70). A statistically significant dose-response trend for years of perineal talcum
    powder use prior to surgical sterilization was seen for all cases combined (p=0.021) and for serous
    ovarian cancer (p=0.022). While not statistically significant, increasing years of use was associated with
    increased risk of mucinous and endometrioid ovarian cancers.


    Mills et al. (2004) (9) reported on a population-based case-control study in 22 counties of Central
    California. A total of 256 cases were recruited from cancer registries and interviewed, and 1,122
    population-based controls were randomly selected and interviewed. Women were asked the following
    about use of talcum powder: use in the genital area, years of use, frequency of use, and total duration of
    use. Ever use of perineal talc statistically significantly increased risk for ovarian cancer by 37% (odds
    ratio 1.37, 95% CI 1.02-1.85). There was a statistically significant trend found in the dose-response
    analysis of frequency of use; women using talc 4-7 times per week had a 74% increased risk for ovarian
    cancer (p=0.015). There was an indication of trend with duration of use up to 4-12 years, although
    number of years beyond that did not increase risk further. A similar relationship was found for
    cumulative dose (frequency times duration). Risk of serous ovarian cancer was also statistically
    significantly elevated (odds ratio 1.77, 95% CI 1.12-2.81).


    Ness et al. (2000) (10) recruited women with ovarian cancer ascertained from 39 hospitals in Eastern
    Pennsylvania, Southern New Jersey, and Delaware. A total of 767 cases of ovarian cancer were
    interviewed, along with 1,367 population-based controls. Women were asked if they ever used talc,
    baby, or deodorizing powder at least once per month for 6 or more months in their genital or rectal
    area, on sanitary napkins, on underwear, on a diaphragm or cervical cap, or on non-genital areas. They
    also were asked about male partner use of talc to the genital area or underwear. Compared with never-
    users, women who used talc in genital/rectal areas had a statistically significant 50% increased risk for
    ovarian cancer (odds ratio 1.5, 95% CI 1.1-2.0). Those who used it on sanitary napkins had a statistically
    significant 60% increased risk for ovarian cancer (odds ratio 1.6, 95% CI 1.1-2.3). Use on underwear
    increased risk by a statistically significant 70% (odds ratio 1.7, 95% CI 1.2-2.4). Use on a

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    diaphragm/cervical cap or by a male partner did not increase risk. Among those who used in the
    genital/rectal or other body areas, there was no evidence of increasing risk with increasing numbers of
    years of use.


    Cramer et al. (1999) (11) published results of a population-based case-control study with 563 cases of
    ovarian cancer and 523 controls. Risk of ovarian cancer among women with perineal talcum powder
    product exposure was increased 60% compared with non-exposed (odds ratio 1.6, 95% CI 1.18-2.15).
    Risk of invasive serous ovarian cancer was significantly increased (odds ratio 1.7, 95% CI 1.22-2.39). No
    dose-response effect, as defined by duration, was seen.


    Wong et al. (1999)(12) conducted a hospital-based case-control study in Buffalo, NY, comparing 499
    patients with ovarian cancer and 755 patients with non-gynecological malignancies. No details were
    given on how talcum powder product use was ascertained, but women were queried on site of talc use
    (sanitary napkin vs. genital/thigh area) and duration of use. Compared with non-users, those who used
    on sanitary napkins or genital/thigh areas had no increase in risk for ovarian cancer. Furthermore, there
    was no apparent trend toward greater risk with longer duration of use. Finally, there was a non-
    statistically significant 20% increased risk of serous ovarian cancer with talcum powder product use
    (odds ratio 1.2, 95% CI 0.7-2.1).


    Godard et al. (1998)(13) studied risk of sporadic (101 cases) or familial (51 cases) ovarian cancer
    according to perineal talc use compared with 152 control in Montreal, Canada. Cases were diagnosed at
    one of two teaching hospitals; controls were randomly selected from the population. Talc use questions
    were not detailed in the paper, but the variable of “ever” versus “never” perineal use of talc was
    reported. Women who had ever used perineal talc had a 2.49 times greater risk of developing any
    ovarian cancer (relative risk 2.49, 95% CI 0.94-6.58, p=.066), which was marginally statistically
    significant. The relative risk for sporadic ovarian cancer was 2.45 (95% CI 0.85-7.07, p=0.098), and for
    familial ovarian cancer it was 3.25 (95% CI 0.85-12.4, p=.084).


    Green et al. (1997)(14) included 824 Australian women with ovarian cancer who were identified through
    cancer registries, as well as 855 population-based controls. No details were provided on the specific
    questions posed regarding talc use, but perineal use was ascertained, as well as duration and ages/years
    used. Women who had ever used talc in the perineal region had a statistically significant 30% increased

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    risk for ovarian cancer (relative risk 1.3, 95% CI 1.1-1.6). The authors investigated whether a history of
    surgical sterilization affected this relative risk (the rationale being that women who are surgically
    sterilized would have lower chance of talc migrating up to the ovaries). They found that compared with
    women who had neither used talc nor had surgical sterilization, risk was highest among talc users
    without surgery (relative risk 1.3, 95% CI 1.0-1.7) and lowest among women with a history or tubal
    sterilization or hysterectomy who had not applied talc to the perineum (relative risk 0.6, 95% CI 0.5-
    0.84). No dose-response relationship by duration of use was found.


    Cook et al. (1997) (15) reported on a population-based case-control study including 313 cases of ovarian
    cancer identified through a cancer registry and 422 population-based controls in Western Washington.
    Women were queried about storing diaphragms in powder, dusting perineal areas with powder after
    bathing, powdering sanitary napkins, and using genital deodorant sprays (which may contain aerosolized
    powder). Women were further asked about duration and frequency of powder application and about
    types of powder applied. There was a statistically significant 50% increase in risk of ovarian cancer
    associated with use of any of the genital powder applications (perineal application, sanitary napkins,
    genital deodorant sprays, diaphragms) (relative risk 1.5, 95% CI 1.1-2.0). The risk was highest, and
    statistically significant, in those women who dusted perineal areas with powder (relative risk 1.8, 95% CI
    1.2-2.9). Compared with never users of genital deodorant sprays, women who used these products for
    12 months or less had a relative risk for ovarian cancer of 1.5, while those who used them for more than
    12 months had a relative risk of 2.7. Compared with never users of genital deodorant sprays, women
    who used 500 lifetime applications or less of genital deodorant sprays had a relative risk for ovarian
    cancer of 1.7, while those who used more than 500 applications had a relative risk of 2.6. Both of these
    dose-response trends were statistically significant (p < 0.05). None of the other types of perineal talcum
    powder product use showed trends to greater risk with greater estimated duration used or applications.
    The authors then categorized powders into specific types: cornstarch, talcum powder, baby powder,
    deodorant powder, and scented body/bath powder (assuming talcum powder was likely a constituent of
    the latter three as well). Exclusive use of cornstarch, or of deodorizing powder, was not associated with
    increased risk for ovarian cancer, but the numbers of cases were very small (5 and 9, respectively).
    Exclusive use of other types of powder increased risk between 20 and 60 percent, but the results were
    not statistically significant. Risk for serous ovarian cancers was statistically significantly increased by 70%
    in women who ever used any genital powder (relative risk 1.7, 95% CI 1.1-2.5). The relative risk for



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    “other tumors” among ever users was 1.8 (95% CI 1.1-2.8), while risks for mucinous or endometrioid
    tumors were not increased in genital powder users.


    Chang et al. (1997)(16) reported on the association between talcum powder product use and risk of
    ovarian cancer in a population-based case-control study in Ontario, Canada. A total of 450 patients with
    borderline or invasive ovarian cancer and 564 population controls were interviewed. Women were
    asked about regular talc use and type of talc used, as well about duration and frequency of use. Women
    were queried about regular application of talc to the perineum and about use of talc on sanitary
    napkins. Use of cornstarch on the perineum and sanitary napkins was also ascertained. Women with any
    regular talc exposure had a statistically significant 42% increased risk of developing ovarian cancer (odds
    ratio 1.42, 95% CI 1.08-1.86). Use of cornstarch was not associated with increased risk, although this was
    a very uncommon exposure in this study. Use of talc on sanitary napkins increased risk to a lesser degree
    (odds ratio 1.26, 95% CI 0.81-1.96), as did use of talc only in the perineal area (odds ratio 1.31, 95% CI
    1.00-1.73). A dose-response trend was seen: per 10 years of use of talc to the perineal area, risk of
    ovarian cancer increased by 6% (odds ratio 1.06, 95% CI 0.99-1.14). Frequency of use per month,
    however, did not show a dose-response trend. Use before and after 1970 showed almost identical odds
    ratios. Risk was higher prior to tubal ligation/hysterectomy than after either procedure. Risk was
    increased for all types of ovarian cancer included (invasive, borderline, serous, mucinous, and
    endometrioid). Only for invasive cancer was the odds ratio statistically significant, likely due to the larger
    numbers of cases in that category.


    Shushan et al. (1996)(17) published results of a population-based case-control study in Israel, looking at
    the association between talcum powder product use and risk of invasive or borderline ovarian cancer. A
    total of 200 cases, identified through a cancer registry, were interviewed, as were 408 controls selected
    randomly from the same population. Details of the talcum powder product use on the standardized
    questionnaire were not provided. Women who reported using talc “moderate to a lot” versus “never or
    seldom” had twice the risk of developing ovarian cancer, and the result was statistically significant (odds
    ratio 2.0, p=0.04).


    Purdie et al. (1995)(19) studied the association between talcum powder product use and ovarian cancer
    risk in 3 Australian states. Cases were recruited from registries at three oncology treatment centers, and
    controls were chosen randomly from the general population. The details of the interview items on talc

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    were not provided. Women who used talc around the perineum or abdomen had a statistically
    significant 27% increased risk for ovarian cancer (odds ratio 1.27, 95% CI 1.04-1.54).


    Cramer et al. (1995)(18) published results of two case-control studies, in which a total of 450 women
    diagnosed with ovarian cancer in Boston, MA area hospitals, and 454 controls selected from the general
    population, were interviewed. Use of talc “in genital hygiene” was associated with a 60% increased risk
    for ovarian cancer (odds ratio 1.6, 95% CI 1.2-2.1).


    Tzonou et al. (1993)(28) conducted a hospital-based case-control study in Athens, which included 189
    women with ovarian cancer and 200 hospital visitor controls. No information was provided on how
    talcum powder product use was ascertained, other than that women were interviewed about whether
    or not they used of talc in the perineal area. There was little evidence of an association: the relative risk
    for ovarian cancer in those who said “yes” versus “no” to perineal talc use was 1.05 (95% CI 0.28-3.98).
    However, only 6 cases and 7 controls reported using talc in the perineal area.


    Rosenblatt et al. (1992)(20) published results of a hospital-based case-control from the Baltimore, MD
    area. A total of 77 cases of ovarian cancer and 46 controls, who were treated for non-gynecologic/non-
    malignant diseases, were included. Participants were interviewed about presence and length of genital
    fiber and respiratory fiber exposure. Fiber exposure was defined as exposure to asbestos, talc, and
    fiberglass. Dose of exposure was calculated as number of years of each type of genital or respiratory
    exposures from all sources, and only exposure prior to tubal ligation (for women who had that
    procedure) was counted. Use of genital talc was associated with a 70% increased risk (odds ratio 1.7,
    95% CI 0.7-3.9). Use of talc on sanitary napkins resulted in almost a 5-fold statistically significant
    increase in risk of ovarian cancer (odds ratio 4.8, 95% CI 1.3-17.8). Talc use on diaphragms tripled risk for
    ovarian cancer (odds ratio 3.0, 95% CI 0.8-10.8). The odds ratios for these latter two exposures were not
    statistically significant. Women who had exposure years above the median had more than double the
    risk of ovarian cancer compared with women with lower exposure years (odds ratio 2.4, 95% CI 1.0-5.8).


    Chen et al. (1992)(21) interviewed 112 women with ovarian cancer and 224 community controls in
    China. No information was provided about how women were asked about talcum powder product use
    prior to 3 years before diagnosis (for cases) and a comparable date in controls. Seven cases and 5



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    controls reported using “dusting powder” to the lower abdomen and perineum for 3 or more months,
    giving a relative risk of 3.9 (95% CI 0.9-10.6).


    Harlow et al. (1992) (22)published a case-control study with 235 cases of ovarian cancer and 239
    controls. The authors found a 50% increased risk of ovarian cancer in women who had ever versus never
    used talcum powder products in the perineal area with marginal statistical significance (odds ratio 1.5,
    95% CI 1.00-2.1). Risk of serous cancer was similarly increased (odds ratio 1.4, 95% CI 0.9-2.2). Risk by
    number of lifetime applications indicated a dose response effect. Compared with no use, odds ratios for
    those with < 1000, 1000 – 10,000, and > 10,000 were 1.3, 1.5, and 1.8, respectively (ptrend = 0.09).


    Booth et al. (1989) (23) reported on a hospital-based case-control study conducted in 15 hospitals in the
    UK. A total of 235 cases with ovarian cancer and 451 controls were interviewed and asked about
    monthly experiences from age 16 to 45 years. Frequency of exposure to perineal talc was ascertained.
    Compared with never-users, women who used genital talc rarely, monthly, weekly, and daily,
    respectively, had relative risks for ovarian cancer of 0.9, 0.7, 2.0, and 1.3, respectively, and the trend
    was statistically significant (p=0.05). Cases and controls did not differ by percentage who stored
    diaphragms in talc.


    Harlow et al. (1989)(24) interviewed 116 women with serous or mucinous borderline ovarian cancer
    identified through a Western Washington population-based cancer registry, as well a population-based
    sample of 158 control women. The authors used an open-ended question asking women to specify the
    types of powder they used for perineal application after bathing, on sanitary napkins, and on
    diaphragms. Powder was categorized as baby, deodorizing, other/unspecified talcum, or cornstarch.
    There was no association between perineal use in general and risk for borderline ovarian cancer, but
    women who reported using powder on sanitary napkins had a relative risk of 2.2 (95% CI 0.8-19.8)
    compared with nonusers. Women who used deodorizing powders had a statistically significant relative
    risk of 2.8 (95%CI 1.1-11.7). No data were presented on frequency or duration of use.


    Whittemore et al. (1988)(25) included 188 ovarian cancer cases (identified through 7 hospitals in the San
    Francisco, CA area, and 539 controls (of which approximately half were hospital controls and half were
    population-based controls). Women were asked whether they had ever use talcum powder on the
    perineum, on sanitary pads, or on diaphragms, and about frequency and duration of use. Women who

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    reported using talcum powder to the perineum had a non-statistically significant 45% increased risk for
    ovarian cancer (relative risk 1.45, 95% CI 0.81-2.60). Use on sanitary pads was associated with a non-
    statistically significant 38% reduced risk, and use on diaphragms was associated with a non-statistically
    significant 50% increased risk. The relative risk for ovarian cancer increased with increasing applications
    of talc per month; relative to nonusers, the relative risk for 1-20 times per month was 1.27, and the
    relative risk for 20 or more times per month was 1.45. None of these values was statistically significant.
    The increased relative risk was apparent for women who had never had tubal ligation or hysterectomy,
    but not for women who had had one of these procedures. Compared with non-users, women with 1-9
    years of use had a relative risk of 1.6 (95% CI 1.00-2.57), but women with greater years of use had only a
    relative risk of 1.11 (95% CI 0.74-1.65).


    Hartge et al. (1983)(26) provided a brief report on a small hospital based case-control study of ovarian
    cancer, which included 135 cases and 171 controls from the Washington, DC area. No information was
    provided on how the talc exposure was ascertained. The authors found that women who reported
    genital talc use had a relative risk of 2.5 compared with never users (95% CI 0.70-10.0), but this analysis
    was based on only 7 cases and 3 controls.


    Cramer et al. (1982) (27) published the first study to look at the association between talcum powder
    product use and risk of ovarian cancer. This population-based study found an odds ratio of 1.92 (95% CI
    1.27-2.89) for ever use of perineal talcum powder products in the perineal area. Dose-response was not
    addressed.


    Summary of Case-control Studies


    These 28 case-control studies included population-based and hospital-based studies from a diverse
    geographic area across the U.S., as well as Australia, Canada, the UK, Israel, Greece, and China. Sample
    sizes ranged from 77 to 2041 cases, with comparable numbers of controls. Of the 28 studies, 24 found
    odds ratio greater than 1.1 for ovarian cancer in women who had any perineal exposure to talcum
    powder products, compared with never users(1-6, 8-11, 13-23, 25-27). Of these 24 odds ratio estimates,
    16 were statistically significant (95% confidence intervals excluded 1.0 or p value < 0.05)(1-4, 6, 8-11, 14-
    19, 27). Among the 8 studies which were not statistically significant, 7 had a sample size lower than that
    estimated to be needed to have power to detect a statistically significant result(13, 20-23, 25, 26). It is

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    important to note that while the 8 studies did not have statistically significant results, they provide
    relevant data because their relative risk estimates were consistent with the 16 studies that showed
    statistically significant results.(50)


    Both population-based and hospital-based studies were represented in the literature on use of talcum
    powder products and risk of ovarian cancer, and odds ratios/relative risks were similar across the two
    classes of studies. Earlier studies were less likely to address dose-response relationships, or to
    investigate effects of talcum powder product use on specific histologic subtypes of ovarian cancer. Most
    studies were limited to white women; later studies included larger numbers of Black women as well as
    Asian and Latina women.


    The larger, and more recent studies, however, added important information on dose-response
    relationships and on risk of particular histologic subtypes of ovarian cancer. Many of the 28 studies
    found evidence of a dose-response effect(1-3, 6, 8, 11, 20, 22, 23, 25). Most often, this took the form of
    lifetime numbers of applications of talcum powder products or years of use. The later studies
    determined that some risk of some subtypes, particularly serous ovarian cancer, were more highly
    related to use of talcum powder products.


    Taken together, the case-control studies, conducted over 40 years, provide consistent and replicated
    evidence of increased risk of ovarian cancer with perineal exposure to talcum powder products, with
    evidence of a dose-response. They support the conclusion that talcum powder products can cause
    ovarian cancer.



    Prospective Cohort Studies

    The Sisters’ Study


    The Sisters’ Study cohort analysis included 135 cases of women with ovarian cancer, 7 cases of fallopian
    tube cancer, 4 cases of peritoneal cancer, and 8 cases with unknown primary site. (30) Of the total 154
    cases, only 96 were confirmed by medical records or death certificate. Women were recruited to the
    cohort from across the United States from 2003-2009. An analysis of talcum powder products use and
    ovarian cancer risk, published in 2016, included 41,654 women who reported having at least one ovary


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    and no history of ovarian cancer at study entry, from among 50,884 women aged 35-74 years at study
    enrollment with at least one sister who had been diagnosed with breast cancer.


    Talcum powder products use for the 12 months prior to study entry was ascertained by self-
    administered questionnaires. Questions included frequency of genital talcum powder products use in
    the form of powder or spray applied to a sanitary napkin, underwear, diaphragm, cervical cap, or vaginal
    area. Response categories were: did not use, used less than once a month, used 1-3 times/month, used
    1-5 times/week, or used more than 5 times/week. Only a dichotomous variable—use/nonuse—was
    used in the analysis. Ovarian cancer cases were identified by yearly follow-up questionnaires; no
    updates on talc use were included. The median follow-up of study participants was only 6.6 years.


    Contrary to all of the other epidemiologic studies, perineal talc use was associated with a non-
    statistically significant 27% decreased risk of developing ovarian cancer (hazard ratio 0.73, 95% CI 0.44 -
    1.2). Of note, the 95% CI’s included 1.2, so the true relative risk in this cohort could have been in the
    range of the other studies. Use of talcum powder products during ages 10-13 years showed a non-
    statistically significant 10% increase in risk (hazard ratio 1.1, 95% CI 0.74, 1.7). No data on risk by ovarian
    cancer subtype were presented.


    Women’s Health Initiative


    In 2014, a report on the use of perineal powder in relation to ovarian cancer risk was published, using a
    total of 429 cases of women with ovarian cancer from the Women’s Health Initiative cohort study.(29)
    Women were aged 50-79 years at study entry, and were recruited from 40 clinical centers across the
    United States between 1993-1998. While over 93,000 women were enrolled in the Women’s Health
    Initiative cohort, this analysis included only 61,576. The largest number, 20,960, were excluded because
    they reported previously having had both ovaries removed or did not know whether they had any
    ovaries at the time of enrollment. Also excluded were 10,622 women with a history of any invasive
    cancer at enrollment. A further 516 were missing follow-up information. At study entry, women
    reported use of perineal powder on self-administered standardized questionnaires, in which they were
    asked if they had ever used powder on their genital areas. Those who responded yes were then asked to
    indicate if they used them for less than 1 year, 1-4 years, 5-9 years, or 20 or more years. Women who
    reported ever using a diaphragm were asked if they used powder on the diaphragm, and for what

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    duration. Women were also asked if they used powder on a sanitary napkin/pad, again with questions
    about duration. Because of the relatively small number of ovarian cancer cases (429) that occurred
    during the study, the investigators combined the duration categories into never, 9 years or less, or 10
    years or more. The investigators then created one variable by combining the perineal use, diaphragm
    use, and sanitary napkin use, with duration as the maximum duration for any of the 3 application areas.
    Cases of ovarian cancer were identified by participants on annual follow-up questionnaires; no updates
    on talc use were included. Medical records and pathology reports were requested for each self-reported
    case and were adjudicated by clinic physicians and central cancer adjudicators. A total of 429 cases were
    included in the analysis.


    Ever use of perineal powder was associated with a non-statistically significant 6% increased risk of
    ovarian cancer compared with never use (hazard ratio 1.06, 95% confidence interval 0.87 - 1.28). Risk of
    serous invasive cancer was increased by a non-statistically significant 13% (hazard ratio 1.13, 95% CI
    0.84 - 1.51). Both of these results, while not statistically significant, are consistent with an association
    between talcum powder product use and risk of ovarian cancer overall and of serous ovarian cancer.


    Nurses’ Health Study


    The Nurses’ Health Study is a cohort established in 1976 that had 307 cases of ovarian cancer at its initial
    publication in 2000; further data with a total of 210 cases were published in 2008; and an unknown
    number of cases were analyzed for publication in 2010. The study initially enrolled 121,700 registered
    nurses between the ages of 30-55 years from across the United States. Use of talcum powder was
    ascertained on the self-administered 1982 questionnaire only, by asking women if they had ever
    commonly used talcum, baby powder, or deodorizing powder on their perineal areas. Possible
    responses were: no, daily, 1-6 times per week, or less than once per week. Women were also asked if
    they had applied these products to sanitary napkins. “Ever talc use” was classified as ever talc use on
    either the perineal area or sanitary napkins. Every two years, participants reported health updates; no
    updates on talc use were included, but self-reported cases of ovarian cancer were adjudicated through
    medical record reviews. Women were excluded from talcum powder products analyses if they did not
    complete the information on the 1982 questionnaire, if they reported having had both ovaries removed,
    if they had had a hysterectomy but did not report whether or not they had at least one ovary remaining,
    or if they had a history of radiation therapy.

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    There have been three publications from the Nurses’ Health Study on the relationship between talcum
    powder products and risk for ovarian cancer.(31-33) The first, published in 2000, included 78,630
    women, of whom 307 cases of ovarian cancer were diagnosed during a 14 year follow-up period. Ever
    use of talc was reported by 40.4% of the cohort; 14.5% ever used talc daily.(31)


    The risk of ovarian cancer was not statistically significantly associated with epithelial ovarian cancer
    overall (relative risk 1.09, 95% CI 0.86-1.37), and risk did not increase with increasing frequency of use.
    Risk of serous ovarian cancer, however, was statistically significantly increased by 40% in women who
    had ever used talc (relative risk 1.4, 95% CI 1.02-1.91).


    The second report from the Nurses' Health Study was in 2008.(32) In this study, 210 cases and a random
    sample of 600 controls from the Nurses’ Health Study were combined with cases and controls from
    other case-control studies. Among the Nurses’ Health Study cases and controls, the relative risk for
    ovarian cancer was 1.24 (95% CI 0.83-1.83).


    Daily use was associated with a 44% increase in risk (relative risk 1.44, 95% CI 0.88-2.37), although
    neither association was statistically significant. Given that only 210 Nurses’ Health Study cases were
    included, the lack of statistical significance is likely due to this insufficient sample size.


    The third Nurses’ Health Study report was published in 2010.(33) This report looked at multiple
    menstrual, hormonal, health habits, and familial risk factors for ovarian cancer; the variable on use of
    talc to the perineal area was limited to a dichotomous “greater than or equal to once per week vs. less
    than once per week)”.


    Use of talc one or more times per week compared with less use was not statistically significantly related
    to risk for epithelial ovarian cancer (relative risk 1.06, 95% CI 0.89-1.28), serous invasive (relative risk
    1.06, 95% CI 0.84-1.35), or for other subtypes including endometrioid, or mucinous ovarian cancer.


    It is difficult to compare the results of these three Nurses’ Health Study publications. The first and third
    used different categories of use as the referent (comparison) group. The first publication used “never
    use” as the comparison and found a statistically significant effect for risk of serous ovarian cancer with

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    any use of talcum powder products. The third publication combined “never use” and “less than once per
    week” into one referent category. If low frequency use increases risk of ovarian cancer, which is entirely
    plausible, combining such women with never users will seriously underestimate the true relative risk
    associated with use of talcum powder products. The second publication found increased risks of total
    and serous ovarian cancer with use of talcum powder products, but the numbers were small and
    therefore the results were not statistically significant.


    Cohort Studies Analysis


    Two of the three cohort studies found small increases in risk of ovarian cancer overall among women
    who used talcum powder products in the perineal areas. The results were not statistically significant for
    ovarian cancer overall, however, likely due to insufficient sample size or incomplete ascertainment of
    talc exposure. The first Nurses’ Health Study publication found a statistically significant association
    between ever versus never use and risk of serous ovarian cancer. The Sisters’ Study found a reduced risk
    of ovarian cancer but did not report data by histologic subtype of ovarian cancer. Similar to the Nurses’
    Health Study, the Women’s Health Initiative found an increase, albeit non-statistically significant, in risk
    of serous ovarian cancer in users versus nonusers of talcum powder products.


    There were serious limitations to these cohort study analyses. None of the studies were specifically
    designed to investigate the relationship of talcum powder product use and risk of ovarian cancer.
    Rather, the cohorts were designed to study a large number of outcomes and a wide variety of
    exposures. Thus, none of the studies obtained detailed lifetime histories of talcum powder product use,
    although two did ask about duration of use for current users. None, therefore, was able to accurately
    measure dose of exposure. The sample sizes (numbers of cases) of most of the cohort study publications
    were likely too small to be able to detect a relative risk in the order of 1.24 (the value found in the Terry
    pooled analysis(39)) with reasonable power, especially for different histologic subtypes.


    To assess likelihood of inadequate sample sizes in these cohort studies, I used an online calculator:
    http://www.openepi.com/SampleSize/SSCohort.htm. I used WHI data(29) to estimate the cohort sizes
    needed to determine a true relative risk of 1.24 (i.e. the relative risk from Terry et al pooled analysis(39))
    with 50% exposure to talcum powder products in non-cases, and an assumption of 0.5% occurrence of
    ovarian cancer in unexposed women(66) over 12 years’ follow-up (the mean number of years of follow-

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    up in the WHI publication). My calculations show that to have sufficient power to identify a statistically
    significant relative risk of 1.24, the necessary cohort size would be over 140,000. None of the 3 cohorts
    had this large a sample size for these publications. Sample size ultimately rests on the numbers of cases
    that occur, rather than the actual cohort size. While the third Nurses’ Health Study publication(33)—had
    a large sample size of cases, the authors’ choice to combine never users with less than once per week
    users could have significantly attenuated the relative risk estimates.


    Results of the cohort studies were overall attenuated compared with results of the case-control studies.
    However, the trend for 2 of the 3 studies was a positive relative risk of talcum powder product use and
    risk of ovarian cancer. In the Nurses’ Health Study, women who used these products had a statistically
    significant 40% increased risk of developing serous invasive ovarian cancer compared with non-
    users.(31) In that study, use in the perineal area directly or on sanitary napkins increased risk of ovarian
    cancer overall by a non-statistically significant 15%.


    In the Women’s Health Initiative, use of talcum powder products to the genital area (or on sanitary
    napkins or diaphragm) increased risk overall by a non-statistically significant 6%, and risk of serous
    invasive ovarian cancer by a non-statistically significant 13%.


    The Sisters Study asked only about use of talcum powder product use in the 12 months prior to
    enrollment; just 14% of the cohort used these products in that period. The cohort included only women
    at high risk for breast cancer recruited beginning in 2003—this may have been a group of women who
    were aware of the potential carcinogenic effect of talc, and therefore avoided use. This cohort study
    found a non-statistically significant 27% lower risk of developing ovarian cancer in users versus non-
    users. Given the likely 30-50-year latency of ovarian cancer development after exposure to a
    carcinogen(67), however, these results of the Sisters’ Study are not likely reflective of risk from exposure
    to talcum powder products.


    It is important to note that the effect sizes in the Nurses’ study and in the Women’s Health Initiative
    were in the same direction as seen in virtually all of the case-control studies.


    Therefore, the attenuated results from these cohort studies do not reduce my confidence in the
    observations from the 28 case-control studies described above.

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    In summary, while the cohort studies on average showed more attenuated relative risks of ovarian
    cancer in relation to use of talcum powder product use, their results as a group do not negate the
    significant case-control study findings and the significant results of the meta-analyses and the pooled
    analysis.



    Meta-Analyses and Pooled Analyses

    I reviewed 7 meta-analyses (11, 22, 34-38) and one pooled analysis (39). All of the meta-analyses, and
    the pooled analysis, found summary elevated risks for ovarian cancer associated with use of talcum
    powder products. These elevated relative risks were statistically significant. Although many of the
    source studies from which they performed their meta-analyses had elevated risks for ovarian cancer
    with use of talcum powder products, the relative risks or odds ratios were not all statistically significant.
    I interpret the lack of statistical significance in some source studies as being due to the small sample
    sizes of many of these studies. I calculated the sample size required for a study in which 40% of controls
    used talcum powder products, in which there is good power (80%) to detect a relative risk of 1.3, and
    that had low chance of estimated a particular relative risk by chance
    (http://www.openepi.com/SampleSize/SSCC.htm). The calculation showed that the minimum number of
    cases and controls would need to be 931 each, for a total sample size of 1862. Almost none of the case-
    control or cohort studies had sample sizes this large. Lack of statistical significance found in the various
    studies is likely due to their small sample sizes. For this reason, evaluation of the meta-analyses and
    pooled analysis, with their larger sample sizes, is critical to understanding the state of epidemiologic
    evidence linking use of talcum powder products to risk of ovarian cancer.


    Perineal Talc Use and Ovarian Cancer: A Systematic Review and Meta-analysis (R. Penninkilampi,
    Eslick GD, 2018)


    In this, most recent, meta-analysis and systematic review, the authors searched 6 electronic databases,
    and selected observational studies with at least 50 cases of ovarian cancer.(34) They analyzed the
    association between ovarian cancer, including specific sub-types, and the following variables regarding
    talcum powder products: any perineal talc use, long-term (> 10 years) use, total lifetime applications,
    and use on diaphragms or sanitary napkins. Included were 24 case-control studies, with 13,421 ovarian


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    cancer cases. Also included were three cohort studies, with 890 cases and a comparison of 181,860
    person-years [numbers of non-cases multiplied by the years of follow-up]).


    The authors found that any perineal talc use was associated with a statistically significant 31% increased
    risk for ovarian cancer (odds ratio 1.31, 95% CI 1.24-1.39).


    There was evidence of a dose-response effect by number of lifetime applications. Women whose
    lifetime applications totaled less than 3600 had a statistically significant 32% increased risk of
    developing ovarian cancer (odds ratio 1.32, 95% CI 1.15-1.50), while those whose lifetime applications
    totaled over 3600 had a statistically significant 42% increased risk for ovarian cancer (odds ratio 1.42,
    95% CI 1.25-1.61).


    Increased risks were seen for all types of ovarian cancer, as well as specific subtypes: all serous (odds
    ratio 1.32, 95% CI 1.22-1.43), serous invasive (odds ratio 1.32, 95% CI 1.13-1.54), serous borderline (odds
    ratio 1.39, 95% CI 1.09-1.78), and endometrioid (odds ratio 1.35, 95% CI 1.14-1.6). For all of these
    subtypes, the confidence intervals did not include 1.0, and therefore are considered statistically
    significant and unlikely to be due to chance findings. For other subtypes, the following non-statistically
    significant associations were seen: all mucinous (odds ratio 1.12), mucinous invasive (odds ratio 1.34),
    mucinous borderline (odds ratio 1.18), and clear cell (odds ratio 1.02).


    The association between ever use of talc and overall ovarian cancer risk was higher in case-control
    studies (odds ratio 1.35, 95% CI 1.27-1.43) than in cohort studies (odds ratio 1.06, 95% CI 0.90-1.25).
    However, the results for case-control and cohort studies were similar for serous ovarian cancer. In
    cohort studies, risk for serous invasive cancer was statistically significantly increased by 25% with any
    perineal talc use (odds ratio 1.25, 95% CI 1.01-1.55), and in case-control studies, it was statistically
    significantly increased by 36% (odds ratio 1.05-1.75). There was insufficient information from the cohort
    studies to calculate the dose-response variable (total lifetime applications).


    In my opinion, the results of this 2018 meta-analysis give strong support for an association between
    perineal talcum powder product use and risk for ovarian cancer. A significant number of the aspects of
    the causal relationship that Bradford Hill describes in his address are present in these data, including
    strength, consistency, temporality, and biologic gradient. Bradford Hill did not define his first aspect—

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    strength—other than to say that the likelihood of causality is greater if the agent causes a “several fold
    higher” increase in risk in exposed persons. However, for agents like perineal talcum powder products
    that have such high prevalence of use (over 50% in some populations), the odds ratio/relative
    risk/hazard ratio for perineal talc use is of great importance for both public health and clinical medicine
    because it means that perineal talc use causes a significant number of ovarian cancer cases every year.


    The corollary example of combined estrogen plus progesterone menopausal hormone therapy and
    breast cancer risk is helpful here. The Women’s Health Initiative clinical trial showed that this type of
    hormone therapy increases risk of breast cancer by 26% after an average 5 years of use. That level of
    risk was sufficient for clinical interest groups and governmental agencies to advise women to use
    hormone therapy for limited periods of time, if at all, because of risk for breast cancer and other adverse
    events with similar levels of increased risk (29% increase in coronary heart disease, and 41% increase in
    stroke).(55) Further examples of relative risks less than 1.5 that have significant public health impact
    because of high prevalence of exposure in the population or in specific subgroups are shown on pages
    26-27.


    Genital Use of Talc and Risk of Ovarian Cancer: A Meta-Analysis (Berge W, Mundt K, Luu H, Boffetta P,
    2017)


    The authors of this meta-analysis performed a systematic search of PubMed, Embase, and Scopus
    databases(35). After quality assurance and redundancy checks, they included in their analysis 24 case-
    control studies and 3 cohort studies that reported on the association between talcum powder products
    and risk of developing ovarian cancer. The main meta-analysis compared ever versus never use of
    genital talc. Additional analyses looked at use of powder on sanitary napkins and diaphragms. Stratified
    analyses were conducted for tumor types.


    From the meta-analysis, the authors observed a statistically significant 22% increased risk of developing
    ovarian cancer in women who had ever used genital talc versus never users (relative risk 1.22, 95% CI
    1.13-1.30).


    Significant results were found for dose-response relationships, both for number of years of use and for
    number of applications. Each 10-year increase in genital talc use was associated with a 16% increase in

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    risk for developing ovarian cancer (relative risk 1.16, 95% CI 1.07-1.26). Furthermore, each increase of
    one application per week was associated with a 5% increase in risk (relative risk 1.05, 95% CI 1.04-1.07).


    Risk of serous carcinoma was the only subtype of ovarian cancer for which risk was elevated, and it was
    statistically significant (relative risk 1.24, 95% CI 1.15-1.34). “Late” exposure, which the authors
    hypothesized could be less likely to include asbestos, conferred a higher risk (relative risk 1.31, 95% CI
    1.03-1.61) than did “early” exposure (relative risk 1.18, 95% 0.99-1.37). Neither specific use on a sanitary
    napkin nor on a diaphragm increased risk. Ever use of genital talc on a diaphragm was associated with
    decreased risk (relative risk 0.75, 95% CI 0.63-0.88).


    The association of talcum powder use with increased risk of ovarian cancer was seen in case-control
    studies (relative risk 1.26, 95% confidence interval 1.17-1.35) but not in cohort studies (relative risk 1.02,
    95% confidence interval 0.85-1.2). Furthermore, hospital-based case-control studies had a higher
    summary relative risk compared with population-based case-control studies (relative risks 1.34 and 1.24,
    respectively, both statistically significant).


    In my opinion, the results of this meta-analysis are very similar to those of the later one described
    above, and further support the causal effect on ovarian cancer of talcum powder products applied in the
    perineal area.


    Perineal Use of Talc and Risk of Ovarian Cancer (Langseth, Hankinson, Siemiatycki, Weiderpass, 2017)


    In a meta-analysis conducted by some of the researchers who had investigated the epidemiologic
    research on talc exposure and ovarian cancer risk for IARC, data from 20 case-control studies were
    combined into a meta-analysis.(36) The authors found an overall odds ratio of 1.35 (95% CI 1.26-1.46)
    for ever- versus never-use of talcum powder products. The authors did not perform dose-response
    analyses.




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    Perineal Application of Cosmetic Talc and Risk of Invasive Epithelial Ovarian Cancer: A Meta-analysis
    of 11,933 Subjects from Sixteen Observational Studies. (Huncharek, Geschwind, Kupelnick, 2003)


    This meta-analysis included fifteen case-control and two cohort studies that had been published
    between 1966 and early 2001, and that fit eligibility criteria, including documenting type of talc
    exposure (e.g. dusting perineum vs. sanitary napkins). The meta-analysis produced a statistically
    significant relative risk of 1.33 (95% confidence intervals 1.16-1.45) for ever versus never use of talc in
    the perineal area.(37)


    The investigators addressed dose-response in the seven studies with information on years of talc
    exposure or numbers of talc applications per month. However, the authors combined categories of dose
    (applications per month) and duration of use (years) into one variable, and treated the dose-response
    analysis as if dose and duration were measuring the same construct. Their statement of lack of dose-
    response effect, therefore, is misleading in my opinion. The authors suggest that perhaps talc use has a
    similar carcinogenic effect as asbestos, and cites research showing that asbestos does not show a clear
    dose-response effect on risk of mesothelioma.


    The authors also separated the results of hospital-based (e.g. both cases and controls from the same
    hospitals) from non-hospital-based (controls selected from the general population) and found a lower
    relative risk for ovarian cancer (1.19, not statistically significant) for the hospital-based studies and 1.38
    (statistically significant) for population-based studies. The authors state that the hospital-based studies
    would be more accurate because they eliminate bias from case referral patterns to particular hospitals.
    However, many of the non-hospital-based studies used population-based case ascertainment (e.g.
    cancer registries) and selected population-based controls, which also eliminates the potential bias of
    hospital referral patterns.


    Genital Talc Exposure and Risk of Ovarian Cancer (Cramer, Liberman, Titus-Ernstoff, Welch,
    Greenberg, Baron, Harlow, 1999)


    In a paper that presented data for a case-control study of genital talc exposure and risk of ovarian
    cancer, Cramer et al. presented results of a meta-analysis of previous publications on the relationship
    between talcum powder product use and risk of ovarian cancer.(11) The authors included results from

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    14 case-control studies, from which they found a statistically significant combined odds ratio of 1.36
    (95% confidence interval 1.24-1.49).


    A Meta-Analytical Approach Examining the Potential Relationship between Talc Exposure and Ovarian
    Cancer (Gross and Berg, 1995)


    In a meta-analysis sponsored by the Johnson and Johnson company, Gross and Berg included nine case-
    control and one cohort study in a meta-analysis, and found that the relative risk for women “exposed”
    versus “non-exposed” to talc was a statistically significant 1.27 (95% confidence interval 1.09-1.48).(38)
    Eliminating studies that included non-epithelial ovarian tumors, and studies that did not adjust for
    potential confounders, the relative risk remained statistically significant (relative risk 1.29, 95%
    confidence interval 1.02-1.63).


    Perineal Exposure to Talc and Ovarian Cancer Risk (Harlow, Cramer, Bell, Welch, 1992)


    Harlow and colleagues presented results of a meta-analysis of previous publications on the relationship
    between talcum powder product use and risk of ovarian cancer (in the same paper in which they
    presented data on a case-control study of ovarian cancer risk in relation to perineal talcum powder
    product exposure).(22) The authors included results from 6 case-control studies, from which they found
    a statistically significant combined odds ratio of 1.3 (95% confidence interval 1.1-1.6).




    Genital Powder Use and Risk of Ovarian Cancer: A Pooled Analysis of 8,525 Cases and 9,859 Controls
    (Terry KL et al., 2013)


    This pooled analysis used resources and data from the Ovarian Cancer Association Consortium, including
    8 population-based case-control studies with relevant data on talcum powder product use.(39) Six of the
    studies were conducted in the U.S.(5, 7, 11, 68-70), one in Australia(8), and one in Canada(16). The
    analysis included 8,525 cases of ovarian, fallopian tube, or peritoneal cancer and 9,859 controls selected
    from the general population. Five of the studies had previously reported on use of talcum powder
    product and risk for ovarian cancer (5, 7, 8, 11, 16). To harmonize data on genital powder use across the
    studies, Terry et al. defined genital powder use as any type of powder (talc, baby, deodorizing,

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    cornstarch, or unspecified/unknown) applied directly or indirectly (by application to sanitary pads,
    tampons, or underwear) to the genital, perineal, or rectal area. Study-specific powder questions varied
    in detail about type and method of application. However, the authors were able to classify women into
    those who “ever used” genital powders vs. those who “never used” powders in the genital area. The
    included studies also had extensive data on other suspected risk factors for ovarian cancer that were
    adjusted for in the analyses. To measure cumulative dose of genital powder use, the authors estimated
    lifetime number of powder applications by multiplying total months of use by frequency of use per
    month.


    Genital powder use was reported by 25% of controls and 31% of cases. In the pooled analysis, ever use
    of genital powder was associated with a statistically significant 24% increased risk of ovarian cancer
    (odds ratio 1.24, 95% CI 1.15-1.33) versus women who never used these products. In contrast, women
    who had used powders only in non-genital areas had no increase in risk for ovarian cancer. Risk for
    several subtypes of ovarian cancer was statistically significantly increased in women who had used
    genital powders. Risk for invasive serous cancer was increased by 24% (1,952 cases; odds ratio 1.24, 95%
    CI 1.13-1.35). Risk for endometroid cancer was increased by 20% (568 cases; odds ratio 1.2, 95% CI 1.03-
    1.4), and risk for clear cell cancer was increased by 26% (327 cases; odds ratio 1.26, 95% CI 1.04-1.52).
    Risk of serous borderline cancer was increased by 45% (odds ratio 1.45, 95% CI 1.24-1.69). Risk of
    mucinous cell invasive cancer and mucinous cell borderline cancer were not statistically significantly
    associated with use of genital powder products (206 cases; odds ratios 1.06, 95% CI 0.82-1.26; and 409
    cases; 1.19, 95% CI 0.98-1.43, respectively).


    There was a striking similarity in findings across studies, and the statistical test for heterogeneity was
    not significant (p > 0.61). All but one study showed odds ratios greater than 1.0, of which 5 were
    statistically significant (i.e., the confidence intervals did not contain 1.0).


    To assess dose-response effects, the authors categorized participants who had used genital powder into
    4 equal groups by lowest to highest level of use (quartiles), and compared their risk for ovarian cancer to
    that in non-users. A clear dose-response trend was evident. Compared with never users of genital
    powder, women in quartile 1 had a 14% increased risk for ovarian cancer (odds ratio 1.14, 95% CI 1.00-
    1.31), women in quartile 2 had a 23% increased risk for ovarian cancer (odds ratio 1.23, 95% CI 1.08-
    1.41), women in quartile 3 had a 22% increased risk for ovarian cancer (odds ratio 1.22, 95% CI 1.07-

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    1.40), and women in quartile 4 had a 32% increased risk for ovarian cancer (odds ratio 1.32, 95% CI 1.16-
    1.52). Slightly higher odds ratios were seen when the cancers were restricted to non-mucinous subtypes
    (i.e., serous invasive, endometroid invasive, clear cell invasive, and serous invasive): 1.18, 1.22, 1.22, and
    1.37, respectively, for increasing levels of use by quartiles. When all 5 categories were included, the
    trend was highly statistically significant (ptrend < 0.0001).


    The authors performed some additional analyses to make sure that the results were not biased. First,
    they excluded cases and controls who only began to use genital powders after undergoing tubal ligation
    or hysterectomy (after which powder likely would not migrate to the ovaries). This had no effect on the
    odds ratios—the increased risks for ovarian cancer remained virtually identical in each quartile. They
    then looked at effect of genital powder use and ovarian cancer risk by subgroups of women according to
    other ovarian cancer risk factors. They found no significant interactions between genital powder use and
    parity, reported history of endometriosis, tubal ligation/hysterectomy, or menopausal status. They did
    find that the effect of genital powder use was higher in normal/overweight women (odds ratio 1.28,
    95% CI 1.17-1.39) than it was in women with obesity (odds ratio 1.14, 95% CI 0.98-1.32).


    Finally, the authors looked at associations between genital powder use and ovarian cancer by years of
    beginning use. They found that the association between genital powder use and ovarian cancer risk was
    similar for women who started use between 1952 and 1961 (odds ratio 1.36, 95% CI 1.19–1.56),
    between 1962 and 1972 (odds ratio 1.27, 95% CI 1.11–1.46), and after 1972 (odds ratio 1.31 95% CI
    1.15–1.51). However, they observed an attenuated association for women who started genital powder
    use before 1952 (odds ratio 1.08, 95% CI 0.93–1.25).


    The Terry et al. pooled analysis provides strong evidence that perineal talcum powder product use
    causes ovarian cancer. “Strong” here does not pertain to size of the odds ratio/relative risk. Rather, it
    refers to the fact that the number of cases included was larger than any previous study, the 8 case-
    control studies included showed similar effect sizes for association of genital powder use and ovarian
    cancer risk (consistency), the dose-response effect was clear, and there were enough numbers of cases
    to determine effects on subtypes of ovarian cancer.




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    Summary of Meta-analyses/Pooled Analysis Results


    All of the meta-analyses and the pooled analysis demonstrate increased risk of ovarian cancer in women
    who used talcum powder products in the genital or perineal area compared with nonusers. The earlier
    meta-analyses included fewer studies, primarily case-control studies. The most recent meta-analyses
    included three cohort studies and 24 case-control studies.(34, 35) The summary relative risks were quite
    consistent across the meta-analyses and the pooled analysis, ranging from 1.22 to 1.4 for any versus no
    use of perineal talcum powder products. Furthermore, all of the summary results were statistically
    significant. Importantly, the later meta-analyses(34, 35) and the pooled analysis(39) assessed dose-
    response relationships, while earlier meta-analyses did not(11, 22, 36), or did so inaccurately(37). These
    findings of increased risk of ovarian cancer with perineal exposure to talcum powder products shows
    that the observed associations overall and those for dose-response are robust.


    One striking observation across the meta-analyses and pooled analysis is that the total sample sizes
    (numbers of cases) in all of the meta-analyses and the pooled analysis were sufficient to detect
    statistically significant relative risks of 1.3 for an overall “exposed” versus “non-exposed” variable with
    prevalence of 40 percent (see page 48 for a calculation of needed sample size). As shown in Tables 3 and
    4, the numbers of cases in the meta-analyses and pooled analysis ranged from 1106 to 14,311, with
    controls of equal or greater number. All of these, therefore exceed the sample size I estimated that is
    needed to have statistical power to determine relative risks of 1.3. In contrast, many of the individual
    case-control or cohort studies did not have large enough samples of cases to have statistical power to
    determine a relative risk of 1.3.




    Asbestos, Fibrous Talc, and Heavy Metals in Talcum Powder Products

    It is important to note that talc is not asbestos-free. Talcum powder products contain other, potentially
    carcinogenic substances; of greatest concern is the presence of asbestos in talc, and the presence of talc
    with asbestiform fibers (fibrous talc), in these products. The presence of any one of these constituents
    add to evidence of biologic plausibility that would support the consistent increased risk seen in the
    epidemiologic studies.




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    Asbestos can take several forms. Proven carcinogenic forms include serpentine (chrysotile) and
    amphibole (actinolite, amosite, anthophyllite, crocidolite, and tremolite) minerals.(40) Both serpentine
    and amphibole asbestos forms are classified by IARC as Class 1 carcinogens(40). In their 2012 report,
    IARC stated that talc deposits may include tremolite, anthophyllite, and actinolite forms of asbestos(40).


    Talc may form true mineral fibers that are asbestiform in habit. This form of talc is also referred to as
    fibrous talc and classified by IARC as a Class 1 human carcinogen(40). The IARC report also noted that
    “talc containing asbestiform fibers” is not the same as “talc contaminated by asbestos”(40). The
    conclusions reached in the 100c monograph about asbestos apply to fibrous talc (40). IARC has classified
    platy (non-fibrous) talc as a 2B “possible” carcinogen(42).


    The primary route of exposure to asbestos is respiratory in the general population, although exposure
    through drinking water and exposure to hair or clothing of asbestos workers has also occurred (40). For
    talc, the primary exposures listed by the IARC report are respiratory and perineal (40).


    Asbestos has been established as a cause of several types of cancer including epithelial ovarian cancer
    (40, 41). In order to assess the causal relationship between asbestos and ovarian cancer, I conducted a
    literature search. My search yielded a total of 26 studies that have investigated the epidemiology of
    asbestos exposure and risk of ovarian cancer. Two of these were meta-analyses, both published in
    2011.(71, 72) One was a pooled analysis of 43 Italian cohorts with high asbestos exposure. (73) In
    addition, IARC published monographs on the carcinogenic role of asbestos, and conducted a systematic
    review through 2009 of asbestos and risk of ovarian cancer. (40, 41, 74) IARC concluded that asbestos,
    fibrous talc, chromium, and nickel are Group 1 human carcinogens.(40) IARC also classified cobalt as a
    2B “possible” carcinogen.


    Published data as recently as 2014 have shown that present-day talcum powder products include
    several types of asbestos.(75, 76) Company documents and testimony also provide further evidence of
    the presence of asbestos, fibrous talc, and heavy metals in talcum powder products.(77, 78) Dr. William
    Longo tested historical samples provided in litigation. Test results reveal the presence of asbestos in
    approximately half of the samples tested. Additionally, fibrous talc was found at varying levels in all
    samples.(79-83)



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    Finally, I have reviewed the report of Dr. Michael Crowley that discusses the different chemicals added
    to the fragrance constituents contained in Johnson’s Baby Powder and Shower to Shower products
    (84)Based on his review, he has concluded that these chemicals may contribute to the potential
    carcinogenicity of talcum powder products.


    Therefore, based on the scientific literature and testing results, it is my opinion that the presence of
    asbestos, heavy metals, fibrous talc, and fragrances are all biologically plausible explanations for talcum
    powder products causing ovarian cancer.




    Biological Mechanisms

    Evidence of Migration of Talcum Powder Products (Talc, Asbestos, Other Minerals) to
    the Ovary and Fallopian Tubes

    Clinical and laboratory studies have shown that talcum powder products can migrate to the ovaries and
    fallopian tubes. An early surgical study in healthy premenopausal women found that inert particles
    placed in women’s vaginas moved to their fallopian tubes within 30 minutes in two of the three patients
    studied.(85) Henderson et al. found talc particles in 10 of 13 (75%) of ovarian tumors studied using an
    extraction-replication technique.(86) The findings were replicated 8 years later, with all surgeons
    removing the ovaries wearing gloves with no talc, to ensure that surgical contamination was not the
    cause of the observed talc within ovaries.(87) This replication study found talc in all 9 samples studied—
    3 normal ovaries, 3 cystic ovaries, and 3 adenocarcinomas.


    In another relevant clinical experiment regarding migration, the researchers placed 3 ml of 90mTc-
    labelled human albumin microspheres in women’s vaginas one day before pelvic surgery.(88) Of the 21
    women for whom the materials moved up from the cervical area, ovaries and fallopian tubes could be
    counted separate from the uterus in 14. Of these 14, 9 showed radioactivity in the fallopian tubes and
    ovaries, and 5 showed no radioactivity. In a pathological study as part of a case-control study of benign
    ovarian conditions, ovaries from 24 women were tested for presence of talc and asbestos by both
    electron microscopy and light microscopy.(64) All tested ovaries were found to have talc present. Only
    half of the 24 women reported a history of perineal talc exposure, which suggests additional routes of
    exposure to talc, such as inhaled powder. The presence of talc was not due to surgical gloves as all

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    surgeons wore talc-free gloves in this study. In another study employing microscopy (Raman), the study
    authors found talc particles in ovarian tissue samples from a woman with known perineal talc exposure
    that were not visible with other methods.(89)


    Another study demonstrated migration of talc evaluated powder on medical gloves used to perform
    pelvic examinations (with gloved hand inserted into the vagina).(90) This study detected powder in the
    peritoneal fluid, fallopian tubes, and ovaries the following day after the pelvic examination in women
    exposed to powdered gloves but almost none in women exposed to unpowdered gloves. The
    differences between the two groups were statistically significant.


    In 2007, Cramer described the presence of talc particles observed in a pelvic lymph node of a 68 year old
    woman with stage III serous ovarian carcinoma.(91) The authors used scanning electron microscopy to
    identify plate-like particulates in the 5-10 µm range within the lymph node, and energy dispersive X-ray
    spectroscopy revealed a magnesium and silicate signature compatible with talc. The authors also noted
    that talc could migrate through transport of the lymphatic system.


    The results of these studies demonstrate talcum powder products can migrate from the perineal area to
    the ovaries and fallopian tube through both genital tract migration and inhalation. In my opinion it is
    biologically plausible that talcum powder products can reach the ovaries via migration from the
    perineum and via inhalation into the lungs, blood stream, and lymphatic system.



    Inflammation in the Causal Pathway between Talcum Powder Product Use and Ovarian
    Cancer Development

    The literature suggests that a likely pathway through which use of talcum powder products increases
    risk of ovarian cancer is through talc-induced inflammatory response.(92) As described above, it is well
    supported that talc can migrate through the female genital tract and settle in the area of the ovaries,
    fallopian tubes, and peritoneum (64, 86-88, 91, 93). Increased blood levels of biomarkers of
    inflammation have been linked to increased risk for ovarian cancer. A recent meta-analysis of 8 cohort
    studies found that women with high blood levels of c-reactive protein (a marker of increased systemic
    inflammation) had almost double the risk of developing ovarian cancer compared with women with low
    levels.(94)


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    Further evidence of the inflammation mechanism comes from studies which evaluate anti-
    inflammatories, like aspirin and NSAIDs, and reduction of risk of ovarian cancer. A pooled analysis of
    case-control studies published in 2014 showed that long-term daily use of aspirin (which blocks
    inflammation) decreased risk of ovarian cancer (odds ratio = 0.91; 95% CI = 0.84-0.99) Similar, but not
    statistically significant, results were shown for use of other nonsteroidal anti-inflammatory
    medications.(95) A 2018 meta-analysis found an 11% reduced risk of ovarian cancer with aspirin use
    (relative risk 0.89, 95% CI 0.83-0.95).(96) Aspirin and other nonsteroidal anti-inflammatory medications
    inhibit the inflammation-mediating enzyme, COX-1(95); COX-1 is frequently overexpressed in ovarian
    cancer tissue.(97, 98)


    Chronic inflammation may result in cell proliferation, inhibition of apoptosis, and secretion of mediators,
    that may promote tumorigenesis.(92) Factors related to the inflammation of the ovarian surface and
    tubal epithelium, such as incessant ovulation, endometriosis, and pelvic inflammatory disease, provide
    further evidence of inflammation and ovarian carcinogenicity. (99-101)


    Talc exposure has also been linked to increased inflammation. It can induce granulomas and other
    inflammatory responses in vivo.(102, 103) Injected into the pleural cavity to treat pneumothorax, talc
    stimulates an intra-pleural inflammatory reaction that causes pleural fibrosis and scarring, leading to
    obliteration of the pleural space and prevention of recurrent pneumothoraces.(104) In humans,
    elevated interleukin 8 (a chemotactic cytokine) occurs after pleural injection of talc.(105) In a study of over
    227 patients treated with talc pleurodesis; about half received small particle talc, and half received
    large-particle talc. Patients who received small particle talc had significantly higher proinflammatory cytokines,
    particularly interleukin 8, in pleural fluid and serum after talc application.(106) In animal models, injection of

    talc into the pleura can cause local and systemic inflammatory responses(107) including elevated
    inflammation-related biomarkers c-reactive protein and interleukin 8(108) as well as VEGF, and TGF-
    beta.(109) This type of inflammation can induce neoplastic changes.(110)



    Additional Evidence of Biological Mechanisms

    Exposing human ovarian stromal and epithelial cells to talc resulted in increases reactive oxygen species
    (oxidative stress), cell proliferation and neoplastic transformation of cells.(110) Similarly, in a recent in


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    vitro study by Fletcher et al., talc was applied in different concentrations, for varying numbers of hours,
    to epithelial ovarian cancer cell lines and normal ovarian epithelial cells.(111) As early as 24 hours post-
    treatment, they found increases in mRNA (gene expression) of pro-oxidant enzymes iNOS and MPO in
    talc-treated epithelial ovarian cancer cells and normal ovarian cells, compared with non-treated
    controls. Marked decreases in several antioxidant enzymes in talc-treated cells were also seen. This
    study supports the role of talc in inducing oxidative stress, providing a molecular basis for epidemiologic
    studies demonstrating an increased risk of ovarian cancer with perineal talcum powder product
    exposure.(111-113) Another in vitro study found that talc induced a biological effect by enhancing CA-
    125 in ovarian cancer cells and in normal cells.(114)



    Talc application to human mesothelial cells in cell culture has also been shown to increase gene
    expression in 30 genes that are relevant to carcinogenesis, and asbestos application increased gene
    expression in over 200 genes.(115) In the same study, asbestos application to human ovarian epithelial
    cells increased gene expression in two genes at 8 hours and 16 genes at 24 hours. Many of the
    expressed genes are relevant to the carcinogenic process. Results from this experimental study show
    that talc causes a statistically significant increase in gene expression in mesothelial cells in several genes
    related to carcinogenesis, including activating transcription factor 3 (ATF3), which controls production of
    several markers of inflammation.(115)


    Asbestos, which has been found in talcum powder products, has been classified by IARC as a known
    ovarian carcinogen after a systematic review of the epidemiological and biological science.(40) Two
    meta-analyses and one pooled analysis have addressed the association between asbestos exposure and
    risk of ovarian cancer.(71-73) The studies of asbestos and ovarian cancer were typically studies of
    cohorts with high levels of occupational or home asbestos exposure, and comparisons were made to the
    general population as controls. The most recent meta-analysis found that women exposed to asbestos
    had a relative risk dying of ovarian cancer of 1.77 (95% CI 1.37-2.28) compared with unexposed
    populations(71). The other meta-analysis found that women exposed to asbestos had a relative risk of
    developing or dying of ovarian cancer of 1.75 (95% CI 1.45-2.10) compared with unexposed women(72).
    An additional four cohort studies (73, 116-119), which were published after the date of the most recent
    meta-analysis(71),as well as the pooled analysis(73) found similar elevated risks of ovarian cancer in
    women with asbestos exposure.


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    IARC also lists mechanisms through which asbestos can cause cancer including: impaired fiber clearance
    leading to macrophage activation, inflammation, generation of reactive oxygen and nitrogen species,
    tissue injury, genotoxicity, aneuploidy and polyploidy, epigenetic alteration, activation of signaling
    pathways, and resistance to apoptosis.(41) Asbestos is another biologically plausible explanation for
    talcum powder products causing ovarian cancer.


    It is my opinion, based on these studies, that talc and asbestos induce inflammation which results in cell
    proliferation, inhibition of apoptosis, and secretion of mediators, that may promote tumorigenesis. This
    adds to the weight of evidence and provides a plausible biological explanation for the association
    between genital talcum powder product use and ovarian cancer.


    Another line of experiments in support of the biologically plausible mechanism for talcum powder
    products causing ovarian cancer were conducted in animals. A study with female rats showed that talc is
    absorbed through the pleural surface and rapidly disseminated throughout internal organs and lymph
    nodes.(120) Henderson et al found that talc placed in the uteruses or vaginas of female rats moved to
    the animals’ ovaries by four days post-administration.(121)


    In another study, exposure of rat ovaries to talc led to cyst formation and epithelial changes.(122) A
    methodology study discovered that talc caused superoxide anion generation and release from mouse
    macrophages.(123)


    Animal experiments conducted by the National Toxicology Program (NTP) of the U.S. Department of
    Health and Human Services are highly relevant to the role of talc in carcinogenesis. An NTP rat
    study provided important “signal “ information of talc toxicity relevant to talc and development of
    ovarian cancer.(124) In an inhalation study, male and female F344/N rats were exposed to daily talc
    aerosols of non-asbestiform talc, with appropriate controls. NTP concluded that there was clear
    evidence of carcinogenic activity of talc in female F344/N rats based on increased incidences of
    alveolar/bronchiolar adenomas and carcinomas of the lung, and benign and malignant
    pheochromocytoma of the adrenal gland. The NTP also concluded that there was some evidence of
    carcinogenic activity of talc in male F344 /N rats based on an increased incidence of benign and
    malignant pheochromocytoma of the adrenal gland.

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    In my opinion, these animal studies further demonstrate that talcum powder products and its attendant
    inflammation can induce carcinogenesis. This provides further evidence of a biologically plausible
    mechanism supporting causation of ovarian cancer from the use of talcum powder products.




    Summary of Findings: Weight of the Evidence/Bradford Hill Analysis

    The summary relative risk estimates from the most recent meta-analyses(34, 35) and the pooled
    analysis(39) indicate that women who have ever used talcum powder products in the perineal/genital
    areas (including use of sanitary napkins, diaphragms, underwear, and direct application) have
    approximately 22-31% increased risk of developing ovarian cancer compared with never-users.


    This review of the association between talcum powder products in the perineal/genital area produced
    several clear findings. Below, they are outlined according to the aspects of causality as described by
    Bradford Hill.(43) The epidemiologic evidence in total, along with the biological and pathological
    evidence, fits virtually all of the Bradford Hill aspects for causation, namely: the strength of the
    association, consistency across populations, specificity, temporality, experiment, biologic gradient
    (dose-response), plausibility, coherence, and analogy.


    Strength of the association and statistical significance: The meta-analyses and pooled analysis showed
    that risk of ovarian cancer among ever users of talcum powder products is 22-31% higher than in
    women who never used these products. A total of 28 case-control studies, 3 prospective cohort studies,
    2 meta-analyses, and one pooled analysis were reviewed in depth. The meta-analyses found a
    statistically significant 24 – 25% increased risk of developing serous ovarian cancer—representing 52%
    of epithelial ovarian cancer cases(125) —in women who had ever used talcum powder products
    compared with never-users. The pooled analysis, which included data from 5 previously published and 3
    unpublished case-control studies, found similar statistically significant increased risks for overall
    epithelial ovarian cancer and serous ovarian cancer (24% and 20%, respectively). Thus, when combining
    these studies through meta-analyses, the totality of the evidence shows a statistically significant
    increased risk of ovarian cancer with use of perineal talcum powder products. Viewed in the context of
    the high consistency of the study results across time, diverse study populations, and strong study


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    designs, bias and chance as explanation for the increased risk are unlikely. Further, my confidence in the
    reliability of the data on magnitude of the risk is enhanced. Therefore, my analysis of these studies
    strongly supports a causal association and, given the high prevalence of use of talcum powder products
    in this population, these levels of risk present a clinically significant public health concern. I placed high
    weight on this aspect of determination of causality.


    Consistency of the association: Across the case-control and cohort studies, the association between use
    of talcum powder products and risk of ovarian cancer was highly consistent. As indicated above, the
    case-control studies included population-based and hospital-based studies from a diverse geographic
    area across the U.S., as well as Australia, Canada, the UK, Israel, Greece, and China. Of the 28 studies, 24
    found odds ratio greater than 1.1 for ovarian cancer in women who had any perineal exposure to talcum
    powder products, compared with never users (1-6, 8-11, 13-23, 25-27). Of these 24 odds ratio estimates,
    16 were statistically significant (95% confidence intervals excluded 1.0 or p value < 0.05). Among the 8
    studies which were not statistically significant, 7 had a sample size lower than that estimated to be
    needed to have power to detect a statistically significant result. Furthermore, the increased risk of
    ovarian cancer with use of talcum powder products has been seen in various race/ethnic groups as well
    as in diverse geographic areas around the world. While the cohort studies on average showed more
    attenuated relative risks of ovarian cancer in relation to use of talcum powder product use, these
    studies were not well designed to determine true risk for ovarian cancer and perineal talc use.
    Therefore, their results as a group do not negate the significant case-control study findings and the
    significant results of the meta-analyses and the pooled analysis.


    The most recent and comprehensive meta-analysis by Penninkilampi et al., assessed consistency across
    the studies included in their analysis by measuring heterogeneity with Cochran’s Q statistic, with P <

    0.10 indicating heterogeneity.(34) They then quantified the degree of heterogeneity using the I2

    statistic. The I2 statistic represents the fraction of the total variability across studies that is due to

    heterogeneity. The authors categorized I2 values of 25%, 50%, and 75% as corresponding to low,
    moderate, and high degrees of heterogeneity, respectively, which is typical for meta-analyses.(126) The
    authors found that there was no heterogeneity in the relative risk estimates for exposure to talcum powder
    products in the perineal area, or on diaphragms or sanitary napkins. Even though the 95% confidence
    intervals contained 1.0 in the cohort studies, given the clearly increased relative risk across the case-control


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    studies, the trend toward increased risk in two of the three cohort studies, and the results from the
    Penninkilampi et al. meta-analysis, it is my opinion that this did not occur by chance but is, in fact, a true
    causal relationship.


    The consistency across studies, led by many investigators, using different study designs, and in diverse
    ethnic, racial, and geographic populations over a period of nearly 35 years weighs heavily as to the
    consistency and reliability of the data in favor of a causal risk. Accordingly, I placed significant weight on this
    factor in my causation analysis.


    Specificity of the association: Use of talcum powder products is strongly associated with epithelial
    ovarian cancer. Analyses by histologic subtype of epithelial ovarian cancer found that serous ovarian
    cancer appeared to be most strongly and consistently related to talc exposure, although the pooled
    case-control project found associations some other subtypes of ovarian cancer. Mucinous cancers have
    been consistently found to be unrelated to use of these products. Therefore, the specificity aspect is
    present for epithelial ovarian cancer and certain subtypes. However, because many carcinogens have
    been shown to cause diverse and nonspecific morbidities, such as smoking, I weighed this aspect
    moderately in my causal analysis as compared to other Bradford Hill factors.


    Temporality: The epidemiologic studies that looked at lifetime talcum powder product use supported
    that exposure to these products predated the diagnosis of ovarian cancer. I did not find any evidence of
    ‘reverse causation’, e.g., using talcum powder products to alleviate symptoms associated with ovarian
    cancer, nor do any investigators report finding reverse causation. Importantly, symptoms related to
    ovarian cancer (bloating, increased abdominal size, abdominal pain, pelvic pain, difficulty eating, feeling
    full quickly)(127) are not vaginal or perineal in origin, and would be unlikely to induce women to
    increase use of talcum powder products. The finding of temporality is an important component in the
    causal analysis and, as such, I place great weight in its applicability to the determination of causality.


    Biologic gradient/ dose-response: The earlier studies were less likely to address dose-response
    associations. The larger, and more recent studies, however, collected important data that inform dose-
    response relationships. Many of the 28 case control studies found evidence of a dose-response effect.
    Most often, this took the form of lifetime numbers of applications of talcum powder products or years
    of use. Thus, while there were studies that did not look for or find a dose-response, the body of

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    literature when taken as a whole does indicate a dose-response effect. Some studies did not gather
    detailed dose data such as frequency of use or length of use. Others gathered either frequency of the
    use or duration of use, but not both. As with smoking, ascertainment of frequency x duration of
    exposure (cumulative exposure) is an optimal metric to determine true dose-response effects. The
    meta-analyses and the pooled analysis also found evidence of relationships between increasing amount
    of exposure to talcum powder products in the perineal/genital area (including frequency, years of use,
    and estimates of lifetime applications) and increased risk of developing epithelial ovarian cancer (i.e.,
    dose-response relationships). Thus, the studies that accurately determined use of talcum powder
    products revealed evidence of dose-response effects. When present, the finding of a biologic
    gradient/dose-response is helpful in determining causation. The findings within the study data,
    particularly meta-analyses and the pooled analysis, thus, supports my causal analysis and I placed
    significant weight on this factor.


    Plausibility: In my consideration of whether talcum powder products can cause cancer, I considered the
    data for biologically plausible mechanisms by which exposure to talc could result in ovarian cancer. In
    that regard, I assessed data and determined that talcum powder products can migrate from the
    perineum through the female genital tract to the ovaries; talcum powder products are found in ovarian
    and fallopian tube tissues; talcum powder products can induce an inflammatory response; and because
    of the inflammatory response, malignant transformation can occur. Support for these finding comes
    from reliable, peer-reviewed scientific literature which indicates that talcum powder products can
    migrate from the perineum up the genital tract to the fallopian tubes and ovaries and become
    imbedded in the ovarian tissue. Thus, it is biologically plausible that genital exposure to talcum powder
    products can result in exposure to the ovaries.


    Data also plausibly indicates that inhalation of talcum powder products can result in exposure leading to
    cancer, including mesothelioma. Studies also show that talcum powder products can be absorbed and
    transported via the lymphatic system or blood stream. Therefore, inhalation of talcum powder products
    could result in similar ovarian exposure. Published scientific data shows that talc reaches the ovary and
    becomes imbedded in the ovarian tissue. There are reliable data to support that talc induces an
    inflammatory response which mediates oxidative stress, release of cytokines and resulting genotoxicity
    which can induce malignant transformation. Further, the presence of asbestos and other constituents in



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    the talcum powder products such as asbestos, heavy metals, and fragrance have been shown to induce
    cancer by similar mechanisms.


    While I have considered the data that do not support the plausibility of talcum powder products’
    carcinogenicity, otherwise overwhelming and reliable evidence indicates that there are biologically
    plausible mechanisms by which talcum powder products can induce ovarian carcinogenicity. Talc and its
    constituents can reach the ovaries, induce an inflammatory response that leads to genotoxicity and to
    development of ovarian cancer. While this mechanism of carcinogenicity is not proven, it is highly
    biologically plausible based on the present scientific information and understanding. Therefore, I place
    significant weight on this aspect of determination of causality.


    Coherence: The cause-and-effect interpretation of the data on talcum powder product use and risk of
    ovarian cancer clearly do not significantly conflict with the known facts about the natural history and
    biology of the disease. Increased inflammation has been linked to risk of ovarian cancer, and talc and
    other contents of talcum powder products elicit inflammatory responses within areas of the body in
    which they have been found (i.e. ovary, peritoneum, lymph nodes, etc.). By analogy, a similar
    mechanism has been reported by which asbestos causes ovarian cancer. These mechanisms are
    consistent with one another and the accepted understanding of the role of inflammation in
    carcinogenesis. While these factors support a causal association and my opinions in this regard, I do not
    weigh them quite as heavily as the strength and consistency of the association.


    Experiment: As discussed above, the evidence from randomized controlled trials can provide strong
    support to observational evidence. However, here, randomized controlled trials are neither feasible nor
    ethical, similar to smoking and lung cancer. This is because ovarian cancer is a rare disease and typically
    takes decades to develop to be clinically diagnosable. In addition, because the effects of genital talcum
    powder product use could be harmful, it would be unethical to conduct a trial of this type. Furthermore,
    the studies involving migration of talc, the inflammatory process and its association with carcinogenesis
    all contribute in a compelling manner to the causal analysis. While there are experimental data
    supporting causation from cell studies and animal models, given the inability to conduct experimental
    studies in humans to test effects of talcum powder products on ovarian cancer development, there are
    no human experimental data. Despite this, data from reliable observational studies as described in this



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    report strongly support causation. Therefore, I placed slight weight to this aspect of determination of
    causality.




    CONCLUSION

    In conclusion, it is my professional opinion, stated to a medical and scientific degree of certainty, that
    based on the totality of the evidence, which includes epidemiological, biological, pathological and
    mechanistic data, perineal use of talcum powder products can cause ovarian cancer.




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    Tables: Epidemiological Studies of Talcum Powder Product Use and Risk
    of Ovarian Cancer
    Table 1: Case-Control Studies
     Study          Country   No.     No.     Source of        Odds      Odds Ratio       Dose-
                              Cases   Non-    participants   Ratio All      Serous      response?
                                      cases                  Ovarian     Ovarian Ca,
                                                              Ca, Any        Any
                                                             Perineal      Perineal
                                                             Talc Use     Talc Use
                                                             (95% CI)     (95% CI)
     /Schildkraut   U.S.      584     745     Population        1.44         1.38        Yes, OR’s:
     2016 (1)                                                  (1.11-    (1.03-1.85)   < 3600 apps
                                                                1.86)                        1.16
                                                                                       > 3600 apps
                                                                                             1.67
                                                                                        ptrend < 0.01
     Cramer         U.S.      2041    2100    Population       1.33        1.42 (a)    Yes
     2016 (2)                                                 (1.16-     (1.19-1.69)   > 24 talc-
                                                               1.52)                   years: OR
                                                                                       1.49
                                                                                       ptrend = 0.02
     Wu             U.S.      1701    2391    Population       1.46         Not         Yes, per 5-
     2015 (3)                                                 (1.27-     addressed       years talc:
                                                               1.69)                      OR 1.14
                                                                                           (95% CI
                                                                                         1.09-1.20)
     Kurta          U.S.      902     1802    Population        1.4         Not              Not
     2012 (4)                                                 (1.16–     addressed      addressed
                                                               1.69)
     Rosenblatt     U.S.      812     1313    Population       1.27           1.47     No (lifetime
     2011 (5)                                                 (0.97-     (borderline) number of
                                                               1.66)      (0.84-2.56)  apps, years
                                                                              1.01       of use)
                                                                           (invasive)
                                                                          (0.69-1.47)
     Wu             U.S.      609     688     Population       1.53           1.70    Yes, lifetime
     2009 (6)                                                 (1.13-      (1.27-2.28) apps OR:
                                                               2.09)                  <=5200:
                                                                                      1.20
                                                                                       >5200 to
                                                                                      <=15600:
                                                                                      1.38 >15,600
                                                                                      to <=52000:
                                                                                      1.34
                                                                                      >52000:
                                                                                      1.99

                                                                                                    69
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                                                                                     ptrend =
                                                                                     0.0004
     Moorman     U.S.     1114    1086      Population    Whites:        Not               Not
     2009 (7)                                              1.04       addressed       addressed
                                                          (0.82-
                                                           1.33)
                                                          Blacks:
                                                           1.19
                                                          (0.68-
                                                           2.09)
     Merritt     Australia 1576   1509      Population     1.17           1.21          Yes, OR:
     2008 (8)                                             (1.01-      (1.03-1.44)      None 1.0
                                                           1.36)                       > 0-10 yrs
                                                                                          1.13
                                                                                      > 10-25 yrs
                                                                                          1.08
                                                                                     > 25 yrs 1.29
                                                                                     ptrend = 0.02
                                                                                     (similar stat
                                                                                      sign trend
                                                                                      for serous)
     Mills       U.S.     256     1122      Population     1.37           1.77        No (freq X
     2004 (9)                                             (1.02-       (1.12-2.8)       dur), OR
                                                           1.85)                       Never 1.0
                                                                                        Q1 1.03
                                                                                        Q2 1.81
                                                                                        Q3 1.74
                                                                                        Q4 1.06
                                                                                     ptrend = 0.05

     Ness        U.S.     767     1367      Population      1.5           Not        No (duration
     2000 (10)                                           (1.1-2.0)     addressed         only)
     Cramer      U.S.     563     523       Population     1.60           1.38       Yes, lifetime
     1999 (11)                                            (1.18 -     (borderline)    apps when
                                                           2.15)      (0.82, 2.31)     fallopian
                                                                                         tubes
                                                                          1.70        patent: OR
                                                                       (invasive)    < 3000: 1.54
                                                                      (1.22, 2.39)       3000-
                                                                                     10,000: 1.72
                                                                                       >10,000:
                                                                                          1.80
     Wong        U.S.     499     755       Hospital        0.92          1.2        No (duration
     1999 (12)                    (non-                  (.24-3.62)    (0.7-2.1)         only)
                                  GYN
                                  cancer
                                  patients)


                                                                                                  70
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     Godard       Canada   170    170   Population     2.49         Not            Not
     1998 (13)                                        (0.94-     addressed      addressed
                                                       6.58)
     Green        Australia 824   855   Population      1.3         Not        No (duration
     1997 (14)                                       (1.1-1.6)   addressed      only, data
                                                                               not shown)
     Cook         U.S.     313    422   Population      1.5         1.70            No
     1997 (15)                                       (1.1-2.3)   (1.1-2.50)    (cumulative
                                                                                 lifetime
                                                                                   days)

     Chang        Canada   450    564   Population      1.42         1.34          No
     1997 (16)                                        (1.08-     (0.96-1.85)   (frequency
                                                       1.86)                   or duration)
     Shushan      Israel   200    408   Population      2.0         Not            Not
     1996 (17)                                       (p=0.04)    addressed      addressed
     Cramer       U.S.     450    454   Population      1.6         Not            Not
     1995 (18)                                       (1.2-2.1)   addressed      addressed
     Purdie       Australia 824   860   Population      1.27        Not            Not
     1995 (19)                                        (1.04-     addressed      addressed
                                                       1.54)
     Tzonou       Greece   189    200   Hospital        1.05        Not            Not
     1993 (28)                                         (0.28-    addressed      addressed
                                                       3.98)
     Rosenblatt   U.S.     77     46    Hospital        1.7         Not        Yes: >= 37.4
     1992 (20)                                       (0.7-3.9)   addressed      years vs. <
                                                                               37.4 years:
                                                                                  OR 2.4
     Chen         China    112    224   Population      3.9         Not            Not
     1992 (21)                                         (0.9-     addressed      addressed
                                                      10.63)
     Harlow       U.S.     235    239   Population      1.5          1.4       Yes, lifetime
     1992 (22)                                       (1.0-2.1)    (.9-2.2)     applications,
                                                                                     OR:
                                                                               < 1000: 1.3
                                                                               1000-
                                                                               10,000: 1.5
                                                                               > 10,000:
                                                                               1.8
                                                                               ptrend = 0.09
     Booth        U.K.     235    451   Hospital     Daily 1.3      Not           Yes, RR:
     1989 (23)                                       (0.8-1.0)   addressed       Never 1.0
                                                      Weekly                     Rarely 0.9
                                                     2.0 (1.3-                 Monthly 0.7
                                                       3.4)                     Weekly 2.0
                                                                                  Daily 1.3
                                                                                ptrend = 0.05


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     Harlow      U.S.   116     158   Population      1.1          Not          Not
     1989 (24)          border-                    (0.7-2.1)    addressed    addressed
                        line
                        only
     Whittemore U.S.    188     539   Hospital +     1.45          Not      1-20
     1988 (25)                        population   (p=0.06)     addressed   applications/
                                                                            mo RR 1.27
                                                                            (0.82-1.96)
                                                                            > 20
                                                                            apps/mo
                                                                            RR 1.45
                                                                            (0.94-2.22)
                                                                            No ptrend
                                                                            provided
     Hartge      U.S.   135     171   Hospital         2.5         Not           Not
     1983 (26)                                     (0.7-10.0)   addressed    addressed
     Cramer      U.S.   215     215   Population      1.92         Not           Not
     1982 (27)                                       (1.27-     addressed    addressed
                                                      2.89)




                                                                                         72
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    Table 2: Prospective Cohort Studies
     Study          Country No.   No. Non-   Baseline   Years of   RR All     RR Serous   Dose-
     Year                   Cases cases      Age        Follow-    Ovarian    Invasive    response
     Published                                          up         Ca, Any    Ovarian
                                                                   Perineal   Ca, Any
                                                                   Talc       Perineal
                                                                   Use        Talc Use
                                                                   (95%
                                                                   CI)

     Sister Study   U.S.    154   41,500     54.8       Median     0.73       Not       Not
     Gonzalez,                                          6.6        (0.44-     addressed addressed
     2016 (30)                                          years      1.21)

     Women’s        U.S.    429   61,147     63.3       Mean       1.06       1.13        No (< 9
     Health                                             12.4       (0.87-     (0.84-      vs. 10+
     Initiative                                         years      1.28)      1.51)       years); no
     Houghton,                                                                            frequency
     2014 (29)                                                                            data
                                                                                          collected

     Nurses         U.S.    307   78,323   36-61        Not      1.09         1.40        No (only
     Health                                years in     provided (0.86-       (1.02-      frequency
     Study                                 1982                  1.37)        1.91)       data
     Gertig, 2000                          (year of              (ever                    collected,
     (31)                                  talcum                use                      no
                                           powder                perineal                 duration
                                           product               talc vs.                 data)
                                           use data              never
                                           collected)            use)
     Nurses         U.S.    210   600      36-61        Not      1.24         1.48        Yes: RR’s
     Health                                years in     provided (0.83-       (0.82-      < 1/wk
     Study                                 1982                  1.83)        2.68)       0.98
     Gates, 2008                           (year of              (>1/wk       (>1/wk      1-6/wk
     (32)                                  talcum                vs. <        vs. <       1.01
                                           powder                1/wk)        1/wk)       > 6/wk
                                           product                                        1.44
                                           use data
                                           collected)
     Nurses         U.S.    797   78,323?? 6-61         Not      1.06         1.06        Not
     Health                                years in     provided (0.89-       (0.84-      addressed
     Study                                 1982                  1.28)        1.35)
     Gates, 2010                           (year of              (>1/wk
     (33)                                  talcum                vs. <
                                           powder                1/wk)
                                           product



                                                                                                      73
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                                     use data
                                     collected)




                                                                             74
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    Table 3: Meta-analyses

     Study                     Number of    Number of         Relative    Relative Risk     Dose-
                               Studies      Cases             Risk All       Serous        Response
                                                            Ovarian Ca,   Ovarian Ca,
                                                                Any       Any Perineal
                                                              Perineal      Talc Use
                                                              Talc Use      (95% CI)
                                                              (95% CI)
     Penninkilampi 2018 (34)      27           14,311       1.31          1.32            Yes: OR 1.32
                                                            (1.24-1.39)   (1.22-1.43)     for < 3600
                                                                                          applications;
                                                                                          OR 1.42 for >
                                                                                          3600
                                                                                          applications
     Berge 2017 (35)              27        Not provided,   1.22          1.24            Yes for
                                             should be      (1.13–1.30)   (1.15–1.34)     duration and
                                              same as                                     frequency: 1)
                                            Penninkilami                                  RR per 10-
                                               above                                      year use 1.16
                                                                                          (95% CI 1.07-
                                                                                          1.26); 2) RR
                                                                                          per weekly
                                                                                          use 1.05
                                                                                          (95% CI
                                                                                          1.04-1.07)
     Langseth 2008 (36)           20        Not provided    1.35          Not             Not
                                                            (1.26-1.46)   addressed       addressed
     Huncharek 2003 (37)          16            5260        1.33          Not             No summary
                                                            (1.16-1.45)   addressed       estimates
                                                                                          calculated.
                                                                                          Dose
                                                                                          response
                                                                                          addressed in
                                                                                          9/16 source
                                                                                          studies: no
                                                                                          dose-
                                                                                          response
                                                                                          apparent
     Cramer 1999 (11)             14            3834        1.4           Not             Not
                                                            (1.2-1.5)     addressed       addressed
     Gross 1995 (38)             10 (N=5        1509        1.29          Not             Not
                                 studies                    (1.02-1.63)   addressed       addressed
                                  with
                                adjusted
                                data and
                               limited to

                                                                                                      75
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                         epithelial
                          ovarian
                         cancers)
     Harlow 1992 (22)        6        1106     1.3 (1.1-1.6)   Not         Not
                                                               addressed   addressed




                                                                                       76
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    Table 4: Pooled Analysis
                       Number       Number of   Odds Ratio     Odds Ratio        Dose-Response
                       of Studies   Cases       All Ovarian       Serous        All Ovarian Cancer
                                                  Ca, Any      Ovarian Ca,
                                                 Perineal          Any
                                                 Talc Use        Perineal
                                                 (95% CI)        Talc Use
                                                                 (95% CI)
     Terry                 8          8,525     1.24          1.24           Yes. OR (95% CI) by
     2013 (39)                                  (1.15–        (invasive)     quartiles of lifetime
                                                1.33)         (1.13–1.35)    applications vs. never
                                                                             use, non-mucinous
                                                                             cases only:
                                                                             Q1 1.18 (1.02-1.36)
                                                                             Q2 1.22 (1.06-1.41)
                                                                             Q3 1.22 (1.06-1.40)
                                                                             Q4 1.37 (1.19-1.58)




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    B6C3F1 Mice
    5.      Carr CJ. Talc: consumer uses and health perspectives
    6.      Chang, et al. Occupational exposure to talc increases the risk of lung cancer: a meta-analysis of
    occupational cohort studies
    7.      CIR Final Report - Safety assessment of talc as used in cosmetics
    8.      Cralley, Key et al. Fibrous and mineral content of cosmetic talcum products
    9.      Current Intelligence Bulletin 62 - Asbestos fibers and other elongate mineral particles: state of
    the science and roadmap for research
    10.     Deposition Transcript - Shripal Sharma (Berg v. J&J)
    11.     Deposition Transcript & Exhibits - John Hopkins (8/16/18, 8/17/18, 10/26/18, 11/5/18)
    12.     Deposition Transcript & Exhibits - Joshua Muscat (9/25/18)
    13.     Deposition Transcript & Exhibits - Julie Pier (9/12/18, 9/13/18)
    14.     Deposition Transcript & Exhibits - Linda Loretz (7/17/18, 10/1/18, 10/2/18)
    15.     Deposition Transcript of Alice Blount, April 2018
    16.     Deposition Transcript of Patricia Moorman (Ingham)
    17.     Expert Report of Jack Siemiatycki
    18.     Fair warning TalcDoc 15
    19.     Fair warning TalcDoc 5 - Exhibit 113 (JNJNL91_000022019)
    20.     Fiber exposure during use of baby powders - Dement, Shuler, Zumwalde - NIOSH
    21.     First Amended Master Long Form Complaint & Exhbits

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    25.     Fletcher, Memaj, Saed. Talcum powder enhances oxidative stress in ovarian cancer cells -
    Abstract
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    Abstract
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    gene point mutations in key redox enzymes - Abstract, Society of Gynecologic Oncology, 2018, in press.
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    32.     Heller et al. The relationship between perineal cosmetic talc usage and ovarian talc particle
    burden
    33.     Henderson et al. Talc and Carcinoma of the Ovary and Cervix
    34.     Henderson et al. Talc in normal and malignant ovarian tissue
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    observational data
    36.     Hopkins Chart - Exhibit 24
    37.     Huncharek et al. Use of cosmetic talc on contraceptive diaphragms and risk of ovarian cancer: a
    meta-analysis of nine observational studies
    38.     IARC - Monograph Vol. 93 - Carbon black, titanium dioxide, and talc, 2010
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    paradigms in research and care
    40.     IMERYS210236-IMERYS210137
    41.     IMERYS241039
    42.     IMERYS241994-IMERYS242004
    43.     IMERYS242050
    44.     IMERYS322241-IMERYS322242
    45.     IMERYS422289-IMERYS422290
    46.     IMERYS422289-IMERYS422290
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    48.     JNJ000251888-JNJ000251890
    49.     JNJ000261010-JNJ000261027
    50.     JNJ000526231-JNJ000526676
    51.     JNJ000637879-JNJ000637881
    52.     JNJAZ55_000000577-JNJAZ55_000000596
    53.     JNJAZ55_000003357
    54.     JNJAZ55_000012423-JNJAZ55_000012430
    55.     JNJAZ55_000012423-JNJAZ55_000012430

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    58.      JNJMX68_000004996-JNJMX68_000005044
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    60.      JNJNL61_000006431-JNJNL61_000006432
    61.      JNJNL61_000020359
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    cosmetics talc products, May 13, 2008
    69.      Letter From Cancer Prevention Coalition to FDA re: Citizen's petition seeeking cancer warning on
    cosmetics talc products, November 17, 1994
    70.      Letter from Personal Care Products Council to FDA re: Commnets on citizen's petition to the
    Commissioner of the Food and Drug Administration seeking a cancer warning on Talc products
    71.      "Levin. ""Baby powder battles: Johnson & Johnson internal documents reveal asbestos worries""
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    73.      Lockey. Nonasbestos fibrous minerals
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    80.      Mallen, Townsend, Tworoger. Risk factors for ovarian carcinoma
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    83.      Medscape - Chustecka, Zosia "Talc use in genital area linked to increased risk of ovarian cancer"
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    87.      Moorman et al. Ovarian cancer risk factors in African-American and White Women
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    https://doi.org/10.1016/j.ygyno.2016.04.011.
    89.      Ness, Cottreau. Possible role of ovarian epthelial inflammation in ovarian cancer
    90.      Ness. Does talc exposure cause ovarian cancer?
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    95.      Reference Manual on Scientific Evidence (rev 2011)
    96.      Reuters, Talck linked to OCVA risk in African Amerrican women
    97.      Rohl, Langer, Selikoff, et al. Consumer talcums and powders: mineral and chemical
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    98.      Rohl. Asbestos in Talc
    99.      Ross. Geology, asbestos and health
    100. Rothman, Greenland, Lash. Modern Epidemiology, 3rd Edition
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    human female genital tract." Human Reproduction 19 (4):991-95.
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    Disease Registry - "Toxicological profile for asbestos"
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    107. Virta. The phase relationship of talc and amphiboles in a fibrous talc sample
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    109. Wehner, Hall et al. Do particles translocate from the vagina to the oviducts and beyond?
    110. Werner. Presence of asbestos in talc samples
    111. Whysner, J., and M. Mohan. 2000. "Perineal application of talc and cornstarch powders:
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    113. Zuckerman D, D Shapiro. Talcum powder and ovarian cancer, National Center for Health
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                                   EXHIBIT A
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                                                                                                         Anne McTiernan



                                                 Curriculum Vitae


ANNE MCTIERNAN, M.D., PH.D.
Office: Fred Hutchinson Cancer Research Center
1100 Fairview Ave North, M4-B874
P.O. Box 19024
Seattle, WA 98109-1024
206-667-7979 phone
206-667-4787 fax
amctiern@fhcrc.org

EDUCATIONAL BACKGROUND
Residency, Primary Care Internal Medicine, 6/92, University of Washington School of Medicine, Seattle, WA
M.D., 6/89, New York Medical College, Valhalla, NY
Ph.D. in Epidemiology, 12/82, University of Washington, Seattle, WA
M.A. in Medical Sociology, 6/76, State University of New York at Buffalo,
B.A. in Sociology, 1/74, Boston University, Boston, MA

PROFESSIONAL POSITIONS
Division of Public Health Sciences, Fred Hutchinson Cancer Research Center, Seattle, WA
        Director, FHCRC Prevention Center (2002 - 2012)
        Full Member (2001 - present)
        Associate Member (1997 – 2001)
        Assistant Member (1996 - 1997)
        Senior Staff Scientist, Associate in (1983 – 1985; 1992 - 1996)
Department of Epidemiology, University of Washington School of Public Health, Seattle, WA
        Research Professor (2003 - )
        Research Associate Professor (1999 – 2003)
        Research Assistant Professor (1996 - 1999)
        Clinical Instructor (1992 - 1996)
Department of Medicine, Division of Geriatrics
        Adjunct Research Professor (2003 - )
        Adjunct Research Associate Professor (1999 - 2003)
Department of Medicine, Division of General Internal Medicine
        Clinical Instructor (1992 – 1996)
Clinical Nutrition Research Unit, University of Washington, Seattle WA
        Affiliate Investigator (1996 – present)
Harborview Medical Center, Adult Medicine Clinic, Seattle, WA
        Attending Physician (1992 - 1995)
University of Washington, Women’s Primary Care Clinic, Seattle, WA
        Attending Physician (1996)

HONORS and TRAINEESHIPS
• American College of Sports Medicine Citation Award, 2012
• McDougall Mentoring Award, Fred Hutchinson Cancer Research Center, 2011
• Komen for the Cure Scientific Advisory Council/Komen Scholars, 2010-2012
• University of Washington Roger E. Moe Award for Translational Research 2009
• The Joan P. Liman MD Award, Recipient, New York Medical College, 1989
• National Institute for Dental Research, Fellowship Award in Behavioral Dental Research, 1983
• National Cancer Institute Traineeship, 1980-1982
                                                  1                                         11/13/2018
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                                                                                                             Anne McTiernan

•    University of Washington Public Health Traineeship, 1978-1979

PROFESSIONAL ACTIVITIES
Committee Memberships and Academic Consulting

     •   2018 U.S. Dept. Health and Human Services Physical Activity Guidelines Advisory Committee, 2016-2018
     •   Member, External Advisory Board, Pennington Biomedical Research Center, Louisiana, 2018
     •   Reviewer, NIEHS Sisters Study, 2018
     •   Patient-Centered Outcomes Research Institute Advisory Panel on Clinical Trials, 2014-2016
     •   University of Alabama, Center for Exercise Medicine External Advisory Committee, 2016
     •   Program Committee Member, American Institute for Cancer Research 2016 Conference on Nutrition, Physical
         Activity, Obesity and Cancer
     •   Consortium Member: NCI Randomized Controlled Trials of Lifestyle Weight Loss Interventions for Genome-
         Wide Association Studies, 2016-
     •   AACR Cancer Prevention Committee, 2010-
     •   World Cancer Research Fund (WCRF) Continuous Update Project Panel, 2010-
     •   2008 U.S. Dept. Health and Human Services Physical Activity Guidelines Advisory Committee, 2007- 2008
         (Chair, Cancer Working Group)
     •   Cancer Prevention Research Institute of Texas, Prevention Review Committee, 2009-2015
     •   Chair, Transdisciplinary Research on Energetics and Cancer (TREC) Steering Committee 2006-7
     •   Chair, Cancer Interest group, the Obesity Society, 2006-7
     •   Steering Committee for International Position Paper and Consensus Conference on Women’s Health and the
         Menopause, NHLBI-Lorenzi Foundation sponsors, 1998 – 2002
     •   International Advisory Board to the 4th International Symposium on Women’s Health and Menopause, 2000 –
         2001 and 2004
     •   Professional Advisory Committee, Breastcancer.org, 2003 –
     •   Women's Health Research Coalition, 2002
     •   Women’s Health Initiative Committee Membership: Morbidity and Mortality (Co-Chair); Performance
         Monitoring Outcomes Committee (Chair); Coordinating Center Outcomes Scientific Committee (Chair);
         Coordinating Center Representative to WHI Program Advisory Committee, 1994-1995; Genetics Working
         Group; Cancer Biomarkers Working Group
     •   Consultant, Moving Forward Study, University of Illinois, Chicago (PI, Melinda Stolley), 2013-
     •   Consultant, The Energy Balance and Breast Cancer Aspects studies: EBBA-I and EBBA-II, Oslo University
         Hospital, Oslo, Norway (PI, Inger Thune), 2013-
     •   American Institute of Cancer Research Meeting Program Committee member, 2010, 2016
     •   Cancer Prevention Expert Panel, Pennington Biomedical Research Center (Baton Rouge, LA), 2010
     •   External Advisory Committee, Cooper Clinic, Dallas, Tx, April 2006
     •   Steering Committee, LISA Trial of Weight Loss for Breast Cancer Patients, Novartis Canada 2005 – 2007
     •   Chair, Breast Clinical Endpoints Committee, DANCE trial of testosterone patch safety, Proctor & Gamble, 2006-7
     •   External Reviewer for NCI Nutritional Epidemiology Program, 2005, 2013
     •   Data and Safety Monitoring Board, “Project Alive”, Kaiser Oakland (B. Sternfeld, PI)
     •   Member, NCI Transdisciplinary Research Working Group, co-Chair section on Lifestyle, 2006
     •   Panels for American Cancer Society Guidelines on Diet, Nutrition and Cancer Prevention and Guidelines for
         Cancer Patients and Survivors (2001, 2003, 2005)
     •   Working Group for International Agency for Research on Cancer Handbook of Cancer Prevention: Volume 6 –
         Weight control and physical activity, 2000 – 2001
     •   Advisory Board for the Tomorrow Study (Alberta, Canada, Cancer Cohort Study), 1999 - 2001
     •   Advisor to The effects of weight loss and exercise on biomarkers of breast cancer risk- a randomized pilot trial
         (M. Harvie, A. Howell, Manchester, England)
     •   Participant, “Workshop on Physical Activity and Breast Cancer”, National Action Plan on Breast Cancer, Nov. 1997

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                                                                                                     Anne McTiernan

   •   Invitee, “Beyond Hunt Valley: Research on Women’s Health for the 21st Century”, Nov. 1997
   •   Participant, “Breast Cancer in Minorities”, National Action Plan on Breast Cancer, March 1999
   •   2005 ASPO Annual Meeting Program Committee
   •   Member, Steering Committee for International Position Paper and Consensus Conference on Women’s Health
       and the Menopause, NHLBI-Lorenzi Foundation sponsors, 1998

Editorial Boards
    • Cancer Prevention Research, 2008 - 2014
    • Journal of Women’s Health, 1998 –
    • Medscape Women's Health and Ob/Gyn & Women's Health, 2001 – 2002

Grant Reviewing
   • Chair, Department of Defense (DOD) United States Army Medical Research and Materiel Command
       (USAMRMC) Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research
       Program - Prevention, January 2017
   • Member, Department of Defense (DOD) United States Army Medical Research and Materiel Command
       (USAMRMC) Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research
       Program - Prevention, January 2018
   • Florida Department of Health Research Program Peer Review, 2017
   • Department of Defense (DOD) United States Army Medical Research and Materiel Command (USAMRMC)
       Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research Program -
       Epidemiology, February, 2016
   • NCI Omnibus: Biomarkers R03 & R21 SEP-12 Review Committee 2015
   • NCI Omnibus: Cancer Management & Behavior 2014
   • MD Anderson NCI CCSG Review 2013
   • Department of Defense (DOD) United States Army Medical Research and Materiel Command (USAMRMC)
       Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research Program Breakthrough
       Award, Epidemiology/Prevention 2013
   • Department of Defense (DOD) United States Army Medical Research and Materiel Command (USAMRMC)
       Congressionally Directed Medical Research Programs (CDMRP) Breast Cancer Research Program Training-
       Epidemiology - Prevention (2 cycles) 2013
   • NIH Special Emphasis Panel Member September 2012
   • NIH PRDP Study Section Member 2008-2012 (ad hoc 2006-2008)
   • Susan G. Komen for the Cure 2009 - 2013
   • Cancer Prevention & Research Institute of Texas 2009 – 2015
   • Qatar National Priorities Research Program 2010-2013
   • Catalan TV3 Marató Call 2005, 2013
   • San Diego State/UC San Diego Pilot Grant Reviewer 2012
   • FHCRC and UW Pilot Grant Reviews yearly
   • NCI Cancer Centers Review Group Ad Hoc Member May 2007
   • Pennsylvania Interim Performance Review 2007, 2008, 2010, 2012
   • Marsha Rivkin Center for Ovarian Cancer Research Grants 2012
   • Memorial Sloan Kettering Cancer Center NCI CCSG Review 2007
   • Department of Defense Breast Cancer Program Predoctoral Fellowship Grants, 2006
   • Chair, NIH Special Study Section “Mechanisms of Physical Activity Behavior Change” 3/04
   • NIH EDC-2 Special Study Section, Sept. 9-10, 1997
   • Alberta Cancer Board Grants, 1998-2002 and other Canadian agencies, and for Spanish and Italian Foundations
   • NCI Administrative Supplements for Disseminating Evidence-based Research Products 8/04
   • Member, ACSM Research Review Committee 2004 – 2006

Journal Reviewing
                                                 3                                      11/13/2018
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                                                                                                           Anne McTiernan

    •   JAMA, Archives of Internal Medicine, American Journal of Epidemiology, Journal of the National Cancer
        Institute, Annals of Internal Medicine, European Journal of Cancer, British Journal of Cancer, Cancer Causes &
        Control, Cancer Epidemiology Biomarkers & Prevention, Annals of Epidemiology, Epidemiology, and Nutrition

College Fellowship and Membership
    • The Obesity Society (Fellow 2003 -)
    • American College of Sports Medicine (Fellow 2003 -)
    • American College of Epidemiology (Fellow 1999 -)

Professional Licenses and Certification
   • Board Certified, American Board of Internal Medicine, 1992
   • Physician & Surgeon License, State of Washington, 7/21/91-2/18/18
   • DEA License, Expires 2017, Schedules 2, 2N, 3, 3N, 4, 5

LEADERSHIP
• Director, FHCRC Prevention Center, 2002-2012
• Chair, TREC Steering Committee 2006-7
• Chair, Cancer Interest Group, Obesity Society 2007-8
• Chair, Cancer Subcommittee, DHHS Physical Activity Guidelines Advisory Committee 2016-18
• Member, Leadership Group, DHHS Physical Activity Guidelines Advisory Committee 2016-18
• Chair, Cancer Working Group, DHHS Physical Activity Guidelines Advisory Committee 2007-8
• Chair, Section on Mechanisms, IARC Handbook of Cancer Prevention 2002: Physical Activity and Weight Control,
  2000-1
• Organized and Chaired Symposium on Physical Activity and Cancer, American College of Sports Medicine, St.
  Louis, June 2002

REFEREED PUBLICATIONS
(** refers to student papers under my supervision; ^ denotes papers from studies on which I was PI)

1983
1. Shy K, McTiernan A, Daling J, and Weiss N: Oral contraceptive use and the occurrence of pituitary prolactinoma.
     Journal of the American Medical Association 249:2204-2207, 1983.
1984
2. ^McTiernan A, Weiss N, and Daling J: Incidence of thyroid carcinoma in women in relation to reproductive and
     hormonal factors. American Journal of Epidemiology 120:423-435, 1984.
3. ^McTiernan A, Weiss N, and Daling J: Incidence of thyroid carcinoma in women in relation to radiation exposure
     and history of thyroid disease. Journal of the National Cancer Institute 73:575-581, 1984.
1985
4. McTiernan A, Chu J, and Thomas D: Cancer in whites in the Pacific Basin. In Fourth Symposium on Epidemiology
     and Cancer Registries in the Pacific Basin. National Cancer Institute Monograph 69:65-72, 1985.
1986
5. ^McTiernan A, Weiss N, and Daling J: Bias resulting from using the card-back system to contact patients in
     epidemiologic studies. American Journal of Public Health 76:71-73, 1986.
6. McTiernan A, Whitehead A, Thomas D, and Noonan E: Efficient selection of controls for multi-centered
     collaborative studies of rare diseases. American Journal of Epidemiology 123:901-904, 1986.
7. McTiernan A, Thomas D, Johnson L, and Roseman D: Risk factors for estrogen receptor-rich and estrogen
     receptor-poor breast cancers. Journal of the National Cancer Institute 77:849-854, 1986.
8. McTiernan A and Thomas D: Evidence for a protective effect of long-term lactation on risk of breast cancer: results
     from a case-control study. American Journal of Epidemiology 124:353-358, 1986.
9. ^Mueller B, McTiernan A, and Daling J: Level of response in epidemiologic studies using the card-back system to
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2. "The Women's Health Initiative: An Overview." University of Washington, Department of Epidemiology Seminars,
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3. "Risk Assessment for Breast Cancer." University of Washington, Department of Surgery Breast Cancer Conference,
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5. “Assessing Individual Risk for Breast Cancer.” Cancer in Lesbians Symposium, Fred Hutchinson Cancer Research
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6. “Breast Cancer in High Risk Populations: Women’s Health Initiative.” Fred Hutchinson Cancer Research Center
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7. “The Women’s Health Initiative.” Invited presentation at American Society for Preventive Oncology, Women’s
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8. “Prevention in Practice and Trials.” Current Concepts in the Early Detection of Breast Cancer, Multicare, Madigan
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9. “Exercise and Breast Cancer.” Beating Breast Cancer in the ‘90’s: What Everyone Needs to Know about Breast
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10. “Women’s Health Initiative.” Women’s Health Grand Rounds, University of Washington Medical Center-Roosevelt,
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11. “Exercise and Cancer.” Interdisciplinary Cancer Course, Fred Hutchinson Cancer Research Center, March 26, 1997.
12. “Exercise and Breast Cancer.” Nutrition Seminar, Department of Nutrition, University of Washington School of
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13. Panel Discussant, “Epidemiologic Issues”, NAPBC Workshop on Physical Activity and Breast Cancer, Nov 13-14,
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14. “Diet and Exercise” Breast Cancer Forum: Clinical Implications of Current Research, FHCRC, October 7, 1998.
15. “Exercise and Breast Cancer” American College of Sports Medicine, Seattle, WA, June 2, 1999.
16. “Physical Activity and Reproductive Hormones” Cooper Institute Conference on Physical Activity and Cancer,
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17. “Weight Matters in Breast Cancer Prevention and Rehabilitation” Oncology Grand Rounds. Southwest Cancer Center
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18. “Body mass, physical activity, and sex hormones in postmenopausal breast cancer patients”. American Cancer
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22. “Physical Activity after Cancer: Physiologic Outcomes” in Exercise and the Cancer Survivor: What Should we
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23. ** “Exercise and the Prevention of Colorectal Cancer” European School of Oncology Second Colorectal Cancer
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24. “Energy Balance – an Etiologic Factor in Human Cancer: Randomized Trial of Exercise Effect on Breast Cancer
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25. “Exercise and Breast Cancer: Impact on Prevention and Recurrence” The Gibson Lecture in Cancer Prevention
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26. “Exercise, Body Fat, and Breast Cancer” Florence Ettelson Memorial Lectureship Medicine Grand Rounds,
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27. “Exercise and Breast Cancer” U. Washington Geriatrics Grand Rounds October 2003
28. “Body Mass Index & Breast Cancer Risk” Challenges & Controversies in Breast Cancer, U Washington School of
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29. “Diet and Physical Activity” 2nd Emerging Trends in Adjuvant Therapy of Breast Cancer Conference, New York
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30. “Exercise in the Prevention of Breast and Colon Cancer” New England American College of Sports Medicine,
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31. “Managing Toxicities of Therapy: Weight Loss and Exercise” School of Breast Oncology, November 2003
32. “Exercise and Breast Cancer Prevention” U. Hawaii, January 2004
33. ** “Obesity and Cancer” 2nd International Conference on the Future of Supportive Therapy in Oncology, St. Kitts,
    Carribean, February 2004
34. “Exercise and Breast Cancer” University of Alabama at Birmingham, CNRC/Nutrition Sciences Seminar Series,
    March 2004
35. “WHI Estrogen plus Progestin and Breast Cancer Results” FHCRC Gynecologic Cancer Research Program, March
    2004
36. ** “Exercise Effects on Total Body Fat, Intra-Abdominal Fat, Insulin, Leptin, and the Metabolic Syndrome in
    Menopause” Plenary Session, 5th International Symposium on Women's Health and Menopause, Florence, Italy,
    April 2005
37. “Exercise and Women’s Health” University of Virginia, May 2004
38. “Colon ca, biomarkers, and exercise” American College of Sports Medicine, 2004
39. “Obesity Management in Cancer Patients” ASCO, June 2004
40. ** “Effect of Physical Activity on Breast and Colon Cancer Biomarkers” Ireland/Northern Ireland/NCI Cancer
    Consortium Seminar on Obesity and Cancer, Dublin, Ireland, September 2004
41. “Exercise Trials in Cancer Prevention” AACR Frontiers in Cancer Prevention, Seattle, WA October 2004
42. “Physical Activity, Endogenous Hormones, and Cancer Etiology” Plenary Session AACR Frontiers in Cancer
    Prevention, Seattle, WA October 2004
43. “Obesity in Breast Cancer Patients” School of Breast Oncology, Atlanta, Georgia, November 2004
44. “Nutrition, Physical Fitness, and Cancer “ Aultman Cancer Center, Canton, Ohio, November 2004
45. "Effects of Menopausal Hormone Therapy and Tamoxifen on Mammographic Density" University of Virginia,
    Department of Radiology, Februrary 2005.
46. “Optimizing Health Outcomes” in Oncology Care in the 21st Century: Integrating Care along the Health Care
    Continuum, Arthur G. James Cancer Hospital Ohio State University, February 2005
47. “Obesity, Exercise, and Breast Cancer”, Tyler, Texas Breast Cancer Conference (talks to oncologists and lay
    audiences) March 2005
48. “Breast Fitness” talk to women’s health providers, Anchorage, Alaska, May 2005
49. “Low Carb Diets: Will They Be Effective in Reducing Breast Cancer Risk?” ASCO, Orlando 2005.
50. ** “Biologic mechanisms involved in the association between physical activity and cancer: results from recent

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    randomized controlled intervention trials” Eurocancer, Paris, June 2005.
51. ** “Exploring Mechanisms Relating Energy Balance and Cancer” IARC, Lyon, France, June 2005.
52. “Prevention of New and Recurrent Cancers: Lifestyle and Chemoprevention” and “Cancer Screening and
    Management: The PCP's Role” Issues in Aging Conference, New Orleans, July 2005
53. "Exercise and Cancer Prevention" Rockefeller, NYC, September 2005
54. ** “Open Forum of Breast Health”, Mexico City, Mexico, October 2005
55. “Breast Fitness: Exercise for Breast Cancer Patients and Survivors”, Cancer Wellness Center Northbrook,IL,
    November 2005
56. “Obesity in Breast Cancer Patients”, School of Breast Oncology, Atlanta GA, November 2005
57. "Insulin Resistance Syndrome and Cancer Risk", International Conference on Metabolic Syndrome, San Francisco,
    November 2005
58. “Selected Major Findings from the OS Results: Breast Cancer”, WHI Conference, Bethesda, February 2006.
59. “Intermediate Endpoints in Energy Balance and Physical Activity Trials” NCI Workshop on State of the Evidence for
    a Weight Control Trial to Prevent Breast Cancer, Bethesda, March 2006.
60. “Physical Activity and Cancer Recurrence and Survival”, Symposium: "Physical Activity across the Cancer
    Continuum" for the CDC International Congress on Physical Activity and Public Health, Atlanta, April 2006
61. “Exercise, Estrogens, and Breast Cancer: Physical Activity Trials” American College of Sports Medicine, May 2006.
62. “Exercise and Nutrition in Chemoprevention” WCRF/AICR International Research Conference, Washington DC,
    July 2006.
63. ** “Exercise and Cancer Prevention”. National University of Singapore, Singapore, July 2006.
64. ** “Breast Cancer Prevention”, “Lifestyle, Diet, and Breast Cancer ”, “Lifestyle changes may reduce the risk of
    recurrence” Mexican Association of Breast Diseases 5th Annual Meeting, Leon, Mexico, August 2006.
65. “WHI and Breast Cancer” Seattle Gynecological Society, Seattle, September, 2006
66. "Physical Activity, Weight Control, and Cancer Prevention” Dana Farber Cancer Center Channing Laboratory and
    Harvard School of Public Health Seminar Series Speaker, October 2006.
67. “Obesity in Breast Cancer Patients”, School of Breast Oncology, Atlanta GA, November 2006
68. “Energy Balance and Cancer: Human Intervention Studies” NCI Energy Balance Working Group, Bethesda, MD,
    January 2007
69. “Overweight, Obesity, and Sedentary Lifestyle in Breast Cancer Prognosis”. Interdisciplinary Science, Health
    Promotion, and Disease Prevention. Pasadena, CA. May 2, 2007.
70. “Transdisciplinary Research to Elucidate the Pathways Linking Components of Energy Balance to the Cancer
    Process” Transatlantic Research and Innovation Symposium. Research Triangle Park, North Carolina, May 3, 2007.
71. “Obesity, Physical Activity, & Breast Cancer” University of Washington CNRU May 11, 2007
72. “Women’s Health Initiative Clinical Trials” Northwestern University Clinical Research Educational Conference,
    Chicago, May 18, 2007.
73. “Exercise and Weight Loss in Women and Men” Northwestern University Dept of Preventive Medicine, May 18,
    2007.
74. FASEB Energy Balance, Body Fat & Disease, “Exercise and Cancer Prevention”, and chair of session “Exercise and
    Cancer Prevention & Prognosis” Indian Wells, CA, August 2007
75. MD Anderson Cancer Prevention Grand Rounds, “Overweight, Obesity, Physical Activity, and Breast Cancer
    Prevention” Houston, Sept 2007
76. MD Anderson Integrative Medicine Program Lecture Series talk “Obesity, Weight Loss, and Physical Activity for
    Cancer Patients and Survivors” Houston, Sept 2007
77. **Breast Health Global Initiative “Primary prevention of breast cancer: lifestyle changes, diet, western lifestyle”,
    Budapest, Hungary, October 2007
78. “Obesity in Breast Cancer Patients”, School of Breast Oncology, Atlanta GA, November 2007
79. “Breast Cancer: Women at Risk and New Strategies for Prevention”, Practicing Clinicians Exchange, San Francisco,
    CA November 2007
80. “Exercise Effect on Inflammation and Other Cancer Biomarkers”, Southeast ACSM, Birmingham, AL, February
    2008
81. “Professional Development for Women”, Southeast ACSM, Birmingham, AL, February 2008
82. “Exercise and Body Composition Change Effects on Sex Hormones in Postmenopausal Women”, AACR – TREC

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    Markers & Mediators, Virginia, February 2008
83. “Obesity in Breast Cancer Risk and Prognosis”, Case Western University, Cleveland, OH, March 2008
84. “Exercise Interventions in Breast Cancer Prevention and Outcomes”, Cleveland, OH, March 2008
85. “TREC Talk”, Cancer Prevention and Research Center Retreat, Coeur d’ Alene, ID, March 2008
86. ** “Fitness vs. Fatness: Evidence from Epidemiologic and Intervention Studies on the Separate and Combined
    Effects of Physical Activity and Obesity on Cancer Risk”, International Physical Activity Meeting, Amsterdam, April
    2008
87. “Influence of Exercise on Immune Function: Possible Link to Breast Cancer”, ACSM, Indianapolis, May 2008
88. “Breast Cancer Prevention and Survivorship through Lifestyle and Chemoprevention”, Memorial Sloan Kettering
    Cancer Center, New York City, NY, September 2008
89. ** “Early Detection, Diet, Physical Activity, and Cancer”, Women in High Places meeting, Riyadh, Saudia Arabia,
    October 2008
90. **“Diet and Breast Cancer”, Saudi Arabian Cancer Conference, Riyadh, Saudia Arabia, October 2008
91. “Physical Activity & Weight Control in Breast Cancer Prevention & Prognosis”, Alaska Conference: “Reducing the
    Risk, Advancing the Cure: New Recommendations, New Options for Primary Care Providers and Survivors.”
    Televised from Seattle, October 2008
92. “Lessons Learned from Real-Life Lifestyle Interventions”, The Obesity Society, Phoenix, AZ, October 2008
93. “Breast Cancer: Weight Loss and Exercise”, School of Breast Oncology, Atlanta, GA, November 2008
94. “Fitness vs. Fatness in Breast Cancer Risk and Prognosis”, Frontiers of Cancer Prevention, Washington, DC,
    November 2008
95. "Effects of Exercise and Obesity on Inflammation and Cancer Risk", University of Washington, DERC Seminar
    Series, February 2009
96. “Does Weight Loss Reduce Cancer Risk?” The Obesity Society, October 2009.
97. Roger E. Moe Award for Translational Research Lecture “Effects of Weight and Physical Activity on Breast Cancer
    Prognosis” University of Washington Current Concepts and Challenges in Breast Cancer October 2009
98. “Lessons learned from physical activity (exercise) interventions” AICR Annual Research Conference on Food,
    Nutrition, Physical Activity and Cancer, Washington, DC, November 2010
99. “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2010
100.    “Transdisciplinary studies of weight loss and exercise interventions in women at increased risk for breast
    cancer”, AACR, Washington, DC, April 2010
101.    “Exercise Effects on Breast Cancer Biomarkers”, International Society for Behavioral Nutrition & Physical
    Activity, Minneapolis, MN, June 2010
102.    **“Physical Activity & Cancer” Lecture, Helsedirektoratet (Directory of Health), Oslo, Norway, December 2010
103.    “Physical Activity, Weight Control and Cancer Prevention” Physical Activity and Nutrition seminar series
    University of Michigan. The School of Kinesiology, February 2011.
104.    “Physical Activity in Cancer Prevention” American College of Sports Medicine President’s Talk, Denver, CO,
    June 2011
105.    “Breast Cancer Prevention” Foundation for Care Management, Lakewood, WA, January 2011
106.     “Breast Cancer Prevention” Foundation for Care Management, Coupeville, WA, February 2011
107.    “Inflammation, Insulin, & Obesity in Breast Cancer Survival”, University of Texas Southwestern Medical
    Center, Dallas, Texas, September 2011
108.    “Interventions in cancer survivors; issues and challenges in this population”, Institute of Medicine Workshop
    “The Role of Obesity in Cancer Survival and Recurrence”, Washington, DC, October 31-November 1, 2011
109.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2011
110.    **"Obesity, Physical Activity, & Related Mechanisms in Breast Cancer Survival", Norwegian Congress in
    Oncology, Oslo, Norway, November 2011
111.    “Impact of Obesity on Cancer “ Swedish Hospital Medical Center CME, Seattle, WA May 2012
112.    "Effects of Weight Loss and Physical Activity on Cancer Risk Factors: Evidence from Randomized Trials",
    University of Hawaii, July 2012
113.    “The Impact of Intentional Weight Loss on Cancer Risk”, The Obesity Society, San Antonio, Texas, September
    2012
114.    “Dietary Weight Loss and Exercise Effects on Metabolic Hormones in Postmenopausal Women”, Fred

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    Hutchinson Cancer Research Center Symposium on Metabolism and Cancer, September 2012
115.    **“Lifestyle Modifications to Reduce Cancer Risk and Improve Overall Health", Global Summit on International
    Breast Health, Vienna, Austria, October 2012
116.    **“ Medical Perspective on the Influential Role of Obesity in the Risk and Prognosis of Breast Cancer” and
    “Obesity, chronic diseases and cancer, a common link with lifestyle” Mexican Association of Mastology,
    Villahermosa, Tabasco, Mexico, October 2012
117.    "Effects of Weight Loss and Physical Activity on Cancer Risk Factors: Evidence from Randomized Trials"
    Oregon Health Sciences University, October 2012
118.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2012
119.    "Dietary weight loss and exercise effects on metabolic and sex hormones in postmenopausal women." American
    Association for Cancer Research, Washington, DC, April 2013
120.    “Obesity, Weight Loss, Vitamin D, and Cancer Biomarkers” Fred Hutchinson Cancer Research Center Joint
    Cancer Prevention/Epidemiology Seminar Series, May 2013
121.    **“The WCRF/AICR Continuous Update Project – Systematic Reviews on Nutrition, Physical Activity & Health
    Outcomes in Cancer Survivors” International Union of Nutrition Scientists (IUNS) 20th International Congress of
    Nutrition, Granada, Spain, 2013
122.    **“Appraisal of Evidence for Obesity Effects on Cancer” IASO/WCRF Obesity, Physical Activity and Cancer,
    London, 2013
123.     “Weight Loss & Exercise Effects on Breast Cancer Biomarkers” University of Illinois Symposium, Chicago,
    October 2013
124.    **“Obesity, Physical Activity and Cancer” State Institute of Diabetes and Endocrinology & Catholic University
    Post Graduation course on Endocrinology and Metabolism. Rio de Janeiro, Brazil, October 2013
125.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2013
126.    “Obesity, Physical Activity and Cancer” Keynote Speaker, The Center for Energy Balance in Cancer Prevention
    & Survivorship Research Retreat, MD Anderson Cancer Center, February 2014
127.    **”Exercise in Cancer Prevention & Survivorship”, Athens Institute for Education and Research, 10th Annual
    International Conference on Kinesiology and Exercise Sciences, Athens, Greece, August 2014
128.    **“Weight Loss & Exercise Effects on Cancer Biomarkers,” University of Tromso, Norway, September 2014
129.    “Breast Cancer Survivors: Findings from the Continuous Update Project,” American Institute for Cancer
    Research Annual Conference, October, 2014.
130.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2014
131.    “Obesity, Weight Loss, & Breast Cancer,” University of Iowa Diabetes and Obesity Talks Seminar Series,
    November, 2014
132.    “Weight Loss & Exercise Effects on Breast Cancer Biomarkers,” Memorial Sloan Kettering Cancer Center, New
    York, February, 2015.
133.    “Physical Activity & Weight Loss Effects on Cancer Biomarkers", NCI Schatzkin Talk, May 2015
134.    “Obesity, Weight Loss, Exercise & Breast Cancer” Seattle Cancer Care Alliance, May 2015
135.    **“Associations of Weight, Physical Activity, & Diet with Breast Cancer Survival”, International Society for
    Behavioral Nutrition & Physical Activity, Edinburg Scotland, June 2015
136.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2015
137.    **“The role of physical activity on cancer risk: epidemiology & molecular mechanisms” WCRF International
    and World Obesity Federation Joint Conference, September 2016
138.    **“Anthropometry: What Can We Measure & What Does It Mean?” WCRF International and World Obesity
    Federation Joint Conference, September 2016
139.    ““Exercise, Weight, and Cancer Risk” University of Alabama Center for Exercise Medicine, Birmingham,
    September 2016
140.    **“Long-term Effects of Exercise & Weight on Breast Cancer Biomarkers” University of Tromso, Norway,
    October 2016
141.    “Exercise, Weight, and Cancer Risk” Roswell Park Prevention Grand Rounds, Buffalo, NY, October 2016
142.    “Modifiable Health Behaviors for Cancer Survivors // Health Promotion: Exercise, Physical Rehab” SCCA
    Cancer Survivorship for Physicians CME, October 2016
143.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2016

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144.    “Physical Activity & Cancer – What We Know, What We Don’t Know” American Institute for Cancer Research
    AICR’s 25th Research Conference, November 2016
145.    **“Screening for Breast Cancer: Pro”, EuroMedLab, Athens, Greece, June 2017
146.    **“Weight Control and Exercise for Breast Cancer Pts & Survivors”, Mexican Association of Mastology, 14th
    National Congress, Guadalajara – México, August, 2017
147.    “Weight Loss and Exercise” School of Breast Oncology, Atlanta GA, November 2017
148.    **“Effects of Weight Loss on Cancer Biomarkers, ” Canadian Cancer Research Conference, Vancouver, BC,
    Canada, November 2017
149.    “Physical Activity and Diet for Cancer Prevention and Treatment: State of the Evidence,” Arizona State
    University, Tempe, Arizona, February, 2018
150.    “Physical Activity for Cancer Prevention and Treatment: State of the Evidence,” Wolffe Lecture, American
    College of Sports Medicine, May 2018
151.    ** Diet, Weight & Exercise in Cancer Prevention & Survival: the World Cancer Research Fund Report,”
    Oncology Grand Rounds, BC Cancer, Vancouver, BC, Canada, September 2018
152.    **“Physical Activity and Cancer Prevention,” National Center for Sport and Exercise Medicine, University of
    Loughborough, England, July 2018
153.    “Weight Control and Exercise for Breast Cancer Prevention,” National Cancer Institute, Stars in Nutrition and
    Cancer lecture, October, 2018


** International Presentations

FUNDED RESEARCH PROJECTS (total dollars unless otherwise noted)
Completed
• A Case-Control Study of Thyroid Cancer in Women, PI: Anne McTiernan, American Cancer Society Institutional
   Grant 1N-26-U, 1979-1982.
• Counseling Strategies for Breast Cancer Risk, PI: Deborah Bowen, PhD, NIH Grant #HG/CA01190-01, 1994-97,
   $654,409.00.
• Fenfluramine as an Adjunct to Smoking Cessation Therapy, PI: Deborah Bowen, PhD, NIH Grant #R29CA50858,
   1990-94.
• Feasibility Study of an Exercise-Diet Program for Breast Cancer Patients, PI: Anne McTiernan, FHCRC Bid and
   Proposal funds, 1995-1996, $10,000 (direct)
• Echocardiographic Follow-up to a Randomized Trial of Fenfluramine in Women Smokers, PI: Deborah Bowen, PhD,
   Wyeth Ayerst research contract, 1998, $1,957,627.
• A Randomized Controlled Trial of Fat Reduction and Risk of Proliferative Forms of Benign Breast Disease, WHI
   Ancillary Study, PI: Tom Rohan, MD; PI of FHCRC subcontract to U. Toronto: Anne McTiernan, $13,699.
• Effect of Exercise on Mammogram Densities, PI: Anne McTiernan, FHCRC Bid and Proposal funds, 1999-2000.
• SEER Special Studies RFP Interaction of Genetic Susceptibility and Hormonal Exposures in Breast Cancer
   Prognosis, PI: Anne McTiernan, 1999-2001, $137,465.
• SEER Special Studies RFP Mammographic Breast Density and Breast Cancer Prognosis, PI: Anne McTiernan,
   1999-2001, $123,558.
• Genetic Risk Information for a Defined Populations, PI: Deborah Bowen, PhD, NIH grant #HG/CA1190-01, 1998-
   2001, $1,143,890.
• Effect of Hormone Replacement Therapy on Mammographic Density, WHI Ancillary Study, PI: Barbara Hulka, MD,
   MPH; PI of FHCRC subcontract to UNC Chapel Hill: Anne McTiernan, 1998-2003, $876,824.
• Effect of Exercise on Sex Hormones in Postmenopausal Women, PI: Anne McTiernan, NIH R01CA/AG69334-
   01A2, 1997-2003, $1,562,811.
• Effect of Exercise on Immune Function in Postmenopausal Women: Supplement to Effect of Exercise on Sex
   Hormones in Postmenopausal Women, PI: Anne McTiernan, NIH R01CA/AG69334-01A2, 1998-2003, $439,112.
• Women’s Intervention Nutrition Study (WINS) FHCRC Clinical Center, PI: Alan Kristal; Past-PI, $28,400.
• Exercise Intervention Trial for Colorectal Polyp Patients, PI: Anne McTiernan, R01 CA77572-01, 2000-2007,
   $4,046,212.
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•    Clinical Coordinating Center, Women's Health Initiative Trial & Observational Study, PI: Ross Prentice; Role on
     project: Co-Investigator, NIH N01-WH-2-2110, 1992-2007+, $112,336,577.
•    Randomized, Double-Blind, Placebo Controlled Trial of 4-OH Tamoxifen Gel in Premenopausal Women with 50-
     80% Density in Breast tissue Based on Digitized Analysis of Screening Mammography, Besins International U.S. Inc.
     PI: Anne McTiernan, 2002-2003, $116,165.
•    Seattle Cancer & Aging Program – Pilot: Effect of Exercise on Prostate Cancer Biomarkers: An Ancillary Study to a
     Randomized Controlled Clinical Trial, PI: Peter Rabinovitch; PI of Pilot Study: Anne McTiernan, P20 CA103728,
     2004-2006, $39,049.
•    Study of Tamoxifen vs. Raloxifene (STAR), PI: R. Clarfeld; Role on project: Co-Principal Investigator.
•    Exercise and Fitness in Childhood Cancer Survivors, PI: Debra Friedman; PI of FHCRC Subcontract: Anne
     McTiernan, NCI R21, 2004-2006, $23,904 (direct).
•    Proteomic Markers of Health Behaviors, PI: Paul Lampe/Yutaka Yasui; Role on project: Co-Investigator, NCI-5
     R03 CA108339-02, 2004-2006, $173,000.
•    Randomized placebo-controlled biomarker modulation trial using Celecoxib in premenopausal women at high risk for
     breast cancer, SWOG, PI: Powell Brown; PI of FHCRC subcontract: Anne McTiernan, NIH/NCI CA37429, 2005-
     2006, $37,799.
•    Effects of Aspirin on Biomarkers of Breast Cancer Risk (Avon Progress for Patients Funds), PI: Nicole Urban; Role
     on project: Project Leader, wrote proposal and directed trial, 2004-2007, $496,238.
•    ALPHA Trial: Alberta Physical Activity and Breast Cancer Prevention Trial. Canadian Breast Cancer Research
     Initiative, PIs: Christine Friedenreich and Kerry Courneya; Role on project: Co-Investigator, 2002-2007,
     $1,104,147.
•    Mammographic Density and Invasive Breast Cancer, PI: Etta Pisano, PI of FHCRC Subcontract: Anne
     McTiernan, R01 CA105007-01, 2004-2007, $50,524 (direct).
•    Cognitive Effects of Aerobic Exercise for Adults with Impaired Glucose Tolerance: A Controlled Trial (American
     Diabetes Association), PI: Laura Baker; Role on project: Co-Investigator, 2004-2007.
•    Cognitive Effects of Aerobic Exercise for Adults with Mild Cognitive Impairment: A Controlled Trial (Alzheimer’s
     Association), PI: Laura Baker; Role on project: Co-Investigator, 2004-2007.
•    Social and Physical Activity of Childhood Cancer Survivors, PI: Debra Friedman; Role on project: Co-Investigator,
     NIH/NCI CA 104123-01A2, 2005-2007, $107,500.
•    UW Multidisciplinary Research Training Grant, PI: R Deyo; Role on project: Co-Investigator, Mentor, 1 K12 HD
     49100-01, 2004-2009, $1,172,239.
•    Epidemiology of Gallbladder Sludge and Stones in Pregnancy, PI: Sum Lee; Role on project: Co-Investigator, RO1
     DK46890, 2003-2008, $372,840.
•    Breast Cancer Prognostic Factors/Pathobiology by Age, PI: Kathi Malone; Role on project: Co-Investigator, NCI-1
     R01 CA098858-01A2, 2004-2009.
•    Seattle TREC Center, PI: Anne McTiernan, NIH/NCI U54 CA116847, 09/23/2005 – 08/31/2011, $12,612,045.
•    Exercise, Diet, and Postmenopausal Sex Hormones, PI: Anne McTiernan, NIH/NCI R01 CA105204, 09/01/2004 –
     06/30/2011, $3,348,605.
•    Reducing Obesity at the Workplace: A Randomized Trial, PI: Shirley Beresford; Role on project: Co-Investigator,
     NIH/NHLBI R01 HL079491, 7/1/2004-6/30/2011.
•    Effect of Exercise and Weight Loss on Adipose Tissue Biology, PI: Anne McTiernan, NIH/NCI R21 CA131676,
     05/01/2008 – 04/30/2011, $435,600.
•    Effect of Dietary Intervention on Insulin and IGF-1 Receptors in Prostate Cancer (Pacific NW Prostate SPORE pilot
     project), PI: Anne McTiernan, NIH/NCI P50 CA97186, 09/01/2009 – 08/31/2011, $48,836.
•    Alberta Physical Activity (ALPHA) and Breast Cancer Prevention Trial: an ancillary study examining androgens,
     biomarkers of obesity, and inflammation. Alberta Breast Cancer Research Initiative, PI: CM Friedenreich; Role on
     project: Co-Investigator, $170,000.
•    Bid & Proposal Funds to Assess Baseline Body Composition, by Dual X-ray Absorptiometry (DXA), in Participants
     of an Ongoing Clinical Trial (Vitamin D, Diet & Activity Study, ViDA) PI: Anne McTiernan, 12/1/2010 –
     06/30/2011, $16,000 (direct).
•    A Phase III Randomized Controlled Study of Exemestane Versus Placebo in Postmenopausal Women at Increased
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     Risk of Developing Breast Cancer. PI of FHCRC Clinic: Anne McTiernan, National Cancer Institute of Canada,
     10/2004 – 11/2012, $1,631,150.
•    Komen Scientific Advisory Council Award “Vitamin D, Weight Loss, and Breast Cancer Biomarker,” PI: Anne
     McTiernan, SAC110024, 07/01/2010 – 06/30/2012, $500,000.
•    Weight Loss & Exercise Effects on Telomere Length in Postmenopausal Women, PI: Anne McTiernan, NIH/NCI
     R21 CA155823, 12/14/10 – 11/30/12, $428,705.
•    Oxidative Stress in Chronic Kidney Disease, University of UW PI: Jonathan Himmelfarb; Role on project: PI of
     FHCRC subcontract, NIH/NHLBI R01 HL070938, 01/01/2011 – 12/31/2012, $197,630 (FHCRC only).
•    Komen Scientific Advisory Council Award “Vitamin D, Weight Loss, and Breast Cancer Biomarker,” PI: Anne
     McTiernan, SAC110024, 07/01/2012 – 06/30/2013, $225,000.
•    NCI: Exercise Effects on Serum Biomarkers of Angiogenesis, PI: Catherine Duggan, PhD; Role on Project: Co-
     Investigator & Mentor, NIH/NCI R03 CA152847, 04/01/2011 – 03/31/2013, $176,000.
•    HEAL Follow-up, NIH/NCI Contract. Manuscript Development for the HEAL Study of Breast Cancer Prognosis, PI:
     Anne McTiernan, NCI contract, 10/2012-9/201/3
•    Vitamin D Effect on Body Composition During Behavioral Weight Loss in Women, PI: Anne McTiernan, NIH
     1R03CA162482, 04/01/12 – 03/31/14, $175,000
•    Effect of Vitamin D and Weight Loss on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
     Research Foundation, 10/1/13-9/30/14, $230,378.
•    Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
     Research Foundation, 10/1/14-9/30/15, $250,000.
•    Weight Loss & Cancer Biomarkers in Women: Oxidative Stress & Inflammation, PI: Anne McTiernan, NIH/NCI,
     1R01CA161131, 04/15/2012 – 9/30/2015, $863,179.
•    Safeway Foundation Assessing Vitamin D, Weight Loss and Breast Cancer Risk Factors, Safeway Foundation, PI:
     Catherine Duggan, PhD; Role on Project: Co-Investigator & Mentor, 7/1/2013 – 6/30/2014, $36,000 (in NCE).
•    Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
     Research Foundation, 10/1/15-9/30/16, $250,000.
•    Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
     Research Foundation, 10/1/16-9/30/17, $250,000.
•    Methods for Measurement Error in Physical Activity & Diet, PI: CY Wang; Role on Project: Co-Investigator,
     NIH/NHLBI R21HL121347, 12/1/13-12/31/16, $494,493.

Active
• Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
   Research Foundation, 10/1/17-9/30/18, $250,000.
• Effect of Weight Loss & Exercise on Biomarkers of Breast Cancer Risk, PI: Anne McTiernan, Breast Cancer
   Research Foundation, 10/1/18-9/30/19, $250,000.
•   INTense Exercise foR surVivAL among men with Metastatic Castrate-Resistant Prostate Cancer (INTERVAL –
   MCRPC): A Multicenter, Randomized, Controlled, Phase III Study, PI: Jonathan Wright; Role on Project: Co-
   Investigator, Movember, 2016 - .
• Exercise Effects in Men & Women on Colon DNA Methylation, PI: Anne McTiernan, NIH/NCI 1R21CA209203-
   01A1, 3/15/17 – 2/28/19, $421,080.
• Exercise Effects in Men & Women on Colon DNA Methylation, PI: Anne McTiernan, NIH/NCI 1R21CA209203-
   01A1, 3/15/17 – 2/28/19, Administrative supplement, $176,000.
• Impact of an exercise program in cancer patients on chemotherapy treatment, PI’s: Anne McTiernan & Blair Irwin,
   Ben Greer SCCA Pilot Study Funds, 9/17-8/18, $50,000 (no cost extension).
• Longitudinal Weight Data from Two Behavioral Weight Loss Randomized Controlled Trial, PI: Anne McTiernan,
   FHCRC Bid & Proposal Funds, 10/17-9/18, $15,000.
• The effects of moderate exercise on distress, quality of life, and biomarkers of angiogenesis and chronic stress in
   ovarian cancer survivors, NCI R21CA215662-01A1, PI: Kathyrn Pennington; Role on Project: Co-Investigator



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                                                                                                       Anne McTiernan

TEACHING/MENTORING
Junior Faculty
        Katy Pennington, MD (School of Medicine, OB/GYN, University of Washington)
        Holly Harris, PhD (Epidemiology Program, PHS, FHCRC)
        Catherine Duggan, PhD (Epidemiology Program, PHS, FHCRC)
        Blair Irwin, MD (Multi-Care, Tacoma, SCCA affiliate)
        Jonathan Wright, MD, MPH (School of Medicine, Urology, University of Washington & Epidemiology Program,
        PHS, FHCRC)
Postdoctoral Fellows
    1. Melinda Irwin, PhD (current Full Professor, Yale University)
    2. Melanie Palomares, MD, MPH (current faculty City of Hope, Los Angeles)
    3. Laura Frank, PhD
    4. Page Abramson, PhD
    5. Karen Foster-Schubert, MD (current Assistant Professor, U. of Washington)
    6. Kristin Campbell, PhD (current Assistant Professor, U. British Columbia)
    7. Lisa Cadmus, PhD (current staff scientist U. C. San Diego)
    8. Ikuyo Imayama, MD (current medical resident, Seton Hall University, St. Francis Medical Center, Trenton, NJ)
    9. Caitlin Mason, PhD (current postdoctoral fellow, FHCRC)

Additional Postdoctoral Fellows Working with My Studies’ Data
   10. Jean De Dieu Tapsoba, PhD (current postdoctoral fellow, FHCRC; primary mentor is CY Wang, PhD)
   11. Aaron Thrift, PhD (current postdoctoral fellow, FHCRC; primary mentor is T. Vaughan, MD)

PhD Committees and Predoctoral Trainee Mentoring
   1. Lisa Godefroy Johnson (member of PhD committee)
   2. Shelley Slate Tworoger (member of PhD committee)
   3. Cara Frankenfeld (member of PhD committee)
   4. Victoria M. Chia (member of PhD committee)
   5. Lori Williams (member of PhD committee)
   6. Angela Kong (co-chair of PhD committee)
   7. Babbette Saltzman (member of PhD committee)
   8. Anita Iverson (visiting Norwegian predoctoral student 2009-10, advising)
   9. Adriana Villasenor (member of PhD committee)
   10. Sissi Espetvedt Finstad, MD (Norwegian PhD student, advising)

MS and MPH Committees
1. Margaret Krieg, MD (member of MPH committee)
2. Sylvia Young, MD (chair of MPH committee)
3. Jana Pruski (chair of MPH committee)
4. Melanie Palomares (chair of MPH committee)
5. Susan Stanford (member of MPH committee)
6. Melinda Irwin, PhD (chair of MPH committee)
7. Andrew Shors, MD (member of MPH committee)
8. Libbby Morimoto (member of M.S. committee)
9. Breanna Mitchell (member of M.S. committee)
10. Erin Aiello (chair of MPH committee)
11. Erin Shade (member of M.S. committee)
12. Julie Meyers (member of M.S. committee)
13. Manish Mohanka (chair of MPH committee)
14. Vivian Hawkins (chair of MPH committee)
15. Isaac Rhew (member of MPH committee)
16. Ann Ready (member of MPH committee)

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17. Alanna Boynton (member of MS committee)
18. Heather Hildebrant (member of MPH committee)
19. Jo Henderson (chair of MPH committee)
20. Laura Hooper (member of MPH committee)
21. Kristen Sipsma (member of MPH committee)
22. Karen Foster-Schubert (chair of MS committee)

Advising: Medical Students Research (University of Washington ISMS): Jennifer Rupert, Erin Griffith, Kelley D. Pratt,
Maegan Ashworth
Post-Graduate Physician Training in Cancer Prevention & Control (FHCRC): Elliott Rosenberg, MD, MPH, Mary Ann
Gilligan, MD, MPH, Maureen Brown, MD
Formal Career Development Mentoring: Karen Foster- Schubert, MD, University of Washington NIH K-12 Fellow 2005-
2010; Karen Mustian, PhD University of Rochester NCI Cancer Control Clinical Research Training Program 2004-
FHCRC scientists mentoring: Neli Ulrich, PhD, Rebecca Rudolph, MD, MPH, AnneClaire DeRoos, PhD, Alyson
Littman, PhD, Jonathan Wright, MD, MPH, Catherine Duggan, PhD, Larissa Korde, MD
Individual Study Credits
Course              Title                           Credits                  Years
Epi 499             Undergraduate Research          Var                      1997-2005
Epi 600             Graduate Study/Research         Var                      1997-2005
Epi 700             Masters Research                Var                      1998-2005
Cancer Epi          guest lecture                   1999, 2002-2005

Continuing Medical Education Teaching
• Breast Cancer in Young Women, University of Washington Continuing Education Conference, August 6, 1994,
    Depts. of Surgery and Medicine.
• Current Concepts in the Early Detection of Breast Cancer, Multicare, Madigan Army Medical Center, and American
    Cancer Society 3rd Annual Oncology Conference, April 11, 1995.
• Current Concepts in Breast Cancer – 1997, University of Washington Continuing Medical Education, October, 1997,
    1999, 2000 (session moderator), 2001, 2003, 2009, 2010
• “Update to the Women’s Health Initiative” March 18, 2001, University of Washington talk to IM, GYN, FM
    residents.
Clinical Teaching (U. of Washington School of Medicine)
• Attending Physician, Adult Medical Center, Harborview Medical Center, 1992-95 – supervised internal medicine
    residents in primary care setting.
• Mentoring and training geriatric fellow, Dr. Michi Yukawa, in exercise tolerance testing and testing VO2 max (1999)
Other Academic
Primary Opponent, PhD Thesis Defense, Aina Emaus, University of Oslo, Norway (thesis chair, Inger Thune) 2009

FHCRC SERVICE
• Director, Prevention Center Shared Resource, 2001-2012
• Chair or Member of several faculty promotion committees and 5-year review committees
• Reviewer for CCSG renewal: 2013, 2018
• Member, Scientific Advisory Committee for the Seattle Cancer Care Alliance Prevention Clinic
• Member, Research Trials Office Oversight Committee, 2003 – 2005
• Member, Fred Hutchinson Cancer Research Center Institutional Review Board, 1984-5; 2002 - 2003
• Member, FHCRC Health Care Task Force, 1996
• Member, Clinical Protocol Scientific Review and Monitoring Committee, 1996- 1997
• Organizer, FHCRC Public Health Sciences Hormone Special Interest Group 1995-96
• Member, Seattle Breast Cancer Program Executive Committee, 1998 - 2000
• Member, Ad-Hoc Committee on Improvements in Public Health Sciences Procedures, 1998
• Member, CSS Advisory Committee, 1999 – 2000

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•    Nutritional/Hormonal Biomarkers group, 2001 – 2002
•    Member, CDS Users Group, 2001 – 2002

UNIVERSITY OF WASHINGTON SERVICE
• Reviewer, Royalty Research Fund, Spring, 1997
• U. Washington Breast Cancer Update 2000 Continuing Medical Education – session moderator

PROFESSIONALLY-RELATED COMMUNITY SERVICE
• Medical Advisory Board, Team Survivor Northwest 1997-
• Professional Advisory Committee, Breastcancer.org, 2003-

LAY AUDIENCE PRESENTATIONS
• National Council of Jewish Women, Seattle Section, “Women’s Health Initiative”, Nov 1992
• Nordstrom’s “Face of Breast Cancer” breast cancer awareness seminar, October 1997
• Danskin Women’s Triathalon, 8/15/98
• Afternoon of Hope, Horizon of Hope National Charity Campaign, Longaberger Co., FHCRC, 8/29/98
• Media roundtable, Women’s Health Initiative, December, 1995
• Breast Cancer Forum: Clinical Implications of Current Research, FHCRC, 10/8/98
• Women’s Health Issues Panel, The Healthy Living Expo, Seattle, WA, 2/7/99
• Virginia Mason Hospital Breast Cancer Support Group “Weight Control and Cancer Survival” September 1999.
• FHCRC Volunteer Conference “Breast Cancer Risk Factors” May 2000.
• FHCRC Women’s Health Series “Exercise and Breast Cancer” April 2000.
• Bellevue Rotary Club, “Exercise and Breast Cancer” October 2000.
• Cardio Pulmonary Rehabilitation InstituteOncology Rehabilitation, Lubbock Texas, “Exercise for Breast Cancer
  Prevention and Rehabilitation”, March 2001
• Greater Cincinnati Breast Cancer Association, October 2001.
• FHCRC Community Lecture "Exercise for Breast and Colon Cancer Prevention" November 2001
• Providence/St. Vincent Medical Center, Portland, OR October 2003
• Women’s Health Day, Anchorage, Alaska 2005
• Cancer Wellness Center, Northbrook, IL 2005

MEDIA
• Media (TV) interviews on physical activity, obesity, vitamin D, sleep, cancer: Today Show (NBC); MSNBC News
  Show; ABC News w/Peter Jennings; ABC World News Tonight; CBS Evening News; CBS News; Seattle KOMO,
  KIRO, KING, FOX13; WZTV-FOX, KOCO-ABC, WFLA-NBC, WBTV-CBS, WLUK-FOX
• Media (radio): KJZZ, Canadian health radio talk show; numerous Seattle-area radio interviews
• Media (print) –Prevention Magazine, American Health Magazine, Time Magazine, Parents’ Magazine, Family Circle,
  Associated Press, Time, Women’s World, Cosmopolitan, Glamour, Self, Reader’s Digest, New York Times, Wall
  Street Journal, LA Times, Parade Magazine, Seattle Times Pacific Magazine, USA Today, U.S. News and World
  Report, Health Magazine, Seattle Magazine, Self, More and others
• Several on-line news media each year
• “Preventing Breast Cancer” written commentary for ABC.com, April 2002.
• Ivanhoe National TV Productions specials on Breastfeeding, Breast Cancer, and Breast Gel Study September 2002




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                         Exhibit 18
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                               Anne McTiernan, Ph.D




                            IN THE UNITED STATES DISTRICT COURT



                               FOR THE DISTRICT OF NEW JERSEY




                                                      )

              IN RE: JOHNSON & JOHNSON TALCUM         )

              POWDER PRODUCTS MARKETING, SALES        )

              PRACTICES, AND PRODUCTS LIABILITY       ) MDL No. 2738 (FLW)(LHG)

              LITIGATION                              )

                                                      )

                                                      )




                       VIDEOTAPED DEPOSITION OF ANNE MCTIERNAN, PH.D.



                                      January 28, 2019



                                    Seattle, Washington




                 Golkow Litigation Services - 1.877.370.DEPS
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                                                                  Anne McTiernan, Ph.D
                                                                      Page 2                                                                     Page 4
         1             APPEARANCES                                              1             EXAMINATION INDEX
         2   For Johnson & Johnson:
         3           Bart H. Williams, Esquire
                                                                                2   EXAMINATION BY:                PAGE NO.
                     Susan Gutierrez, Esquire                                   3   MR. WILLIAMS                   10
         4           Proskauer Rose LLP                                         4   MS. ERFLE                  299
                     2029 Century Park East                                     5   MS. PARFITT                 305
         5           Suite 2400
                     Los Angeles, CA 90067-3010                                 6
         6           310.284.4520                                               7              EXHIBIT INDEX
                     310.557.2193 Fax                                           8     EXHIBIT NO. DESCRIPTION                           PAGE NO.
         7           Bwilliams@proskauer.com
                     sgutierrez@proskauer.com
                                                                                9
         8                                                                     10   Exhibit No. 1 Notice of oral and videotaped 15
                      Benjamin S. Halperin, Esquire                                            deposition of Anne McTiernan
         9            Skadden Arps Slate Meagher & Flom LLP                    11              and duces tecum.
                      4 Times Square
        10            New York, NY 10036                                       12   Exhibit No. 1A Plaintiff's steering       21
                      212.735.2453                                                             committee's response and
        11            917.777.2453 Fax                                         13              objections to the notice of
                      Benjamin.halperin@skadden.com
        12                                                                                     oral and videotaped
             For Plaintiffs:                                                   14              deposition of Anne McTiernan
        13                                                                                     and duces tecum.
                      Michelle A. Parfitt, Esquire                             15
        14            Ashcraft & Gerel, LLP
                      1825 K Street NW                                              Exhibit No. 2 "Rule 26 expert report of            19
        15            Suite 700                                                16              Anne McTiernan, MD, PHD,"
                      Washington, D.C. 20006                                                   dated 11/16/18.
        16            202.803.7077
                      Mparfitt@ashcraftlaw.com
                                                                               17
        17                                                                          Exhibit No. 3 "Additional materials to   63
                      Cynthia L. Garber, Esquire                               18              Dr. Anne McTiernan."
        18            Robinson Calcagnie, Inc.                                 19   Exhibit No. 4 World Cancer Research Fund    69
                      19 Corporate Plaza Drive
        19            Newport Beach, CA 92660                                                  and American Institute for
                      949.720.1288                                             20              Cancer Research, "Ovarian
        20            949.456.0037 Fax                                                         cancer 2014 report."
                      Cgarber@robinsonfirm.com
        21                                                                     21
                      Richard M. Golomb, Esquire                                    Exhibit No. 5 World Cancer Research Fund                82
        22            Golomb & Honik, PC                                       22              and American Institute for
                      1835 Market Street
        23            Suite 2900
                                                                                               Cancer Research, "Diet,
                      Philadelphia, PA 19103                                   23              nutrition, physical activity
        24            215.985.9177                                                             and ovarian cancer - Revised
                      215.985.4169 Fax                                         24              2018."
        25            rgolomb@golombhonik.com
                                                                               25

                                                                      Page 3                                                                     Page 5
         1   APPEARANCES (CONTINUED)                                            1            EXHIBIT INDEX (CONTINUED)
         2                                                                      2
                 For Imerys:                                                        Exhibit No. 6 World Cancer Research Fund       83
         3                                                                      3              International, CUP panel web
                               Nancy M. Erfle, Esquire                                         page excerpt, "CUP expert
         4                     Gordon & Rees Scully Mansukhani, LLP             4              panel."
                               121 SW Morrison Street                           5   Exhibit No. 7 World Cancer Research Fund       98
         5                     Suite 1575                                                      web page excerpt, "Myths and
                               Portland, OR 97204                               6              controversies about what
         6                     503.222.1075                                                    causes cancer."
                               503.616.3600 Fax                                 7
         7                     Nerfle@grsm.com                                      Exhibit No. 8 American Institute for Cancer 103
         8                                                                      8              Research, "GMOs and other hot
                                                                                               topics."
                 For PTI Union, LLC and PTI Royston:
                                                                                9
         9
                                                                                    Exhibit No. 9 Hutch News, "How to reduce      105
                               Michael Anderton, Esquire                       10              the odds of getting cancer."
        10                     Tucker Ellis LLP                                11   Exhibit No. 10 World Cancer Research Fund      110
                               950 Main Avenue                                                 and American Institute for
        11                     Suite 1100                                      12              Cancer Research, "Judging the
                               Cleveland, Ohio 44113-7213                                      evidence."
        12                     216.696.4835                                    13
                               216.592.5009 Fax                                     Exhibit No. 11 "Language from CUP judging      138
        13                     Michael.anderton@tuckerellis.com                14              the evidence report quoted
        14                                                                                     without citation in
                 For Personal Care Products Council:                           15              Dr. McTiernan's expert
        15                                                                                     report."
                               Thomas T. Locke, Esquire                        16
        16                     Seyfarth Shaw LLP                                    Exhibit No. 12 Article, "Information bias in 164
                               975 F Street NW                                 17              epidemiological studies with
        17                     Washington, D.C. 20004-1454                                     a special focus on obstetrics
                               202.828.5376                                    18              and gynecology."
        18                     202.641.9276 Fax                                19   Exhibit No. 13 Article, "Prospective study 167
                               Tlocke@seyfarth.com                                             of talc use and ovarian
        19                                                                     20              cancer."
        20                                                                     21   Exhibit No. 14 Article, "Genital talc      169
        21                                                                                     exposure and risk of ovarian
        22       Also present: Anthony Bocci, Videographer                     22              cancer."
        23                                                                     23   Exhibit No. 15 Article, "Perineal talc use 180
        24                                                                                     and ovarian cancer."
        25                                                                     24
                                                                               25

                                                                                                                 2 (Pages 2 to 5)
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                                                                 Anne McTiernan, Ph.D
                                                                     Page 6                                                     Page 8
         1             EXHIBIT INDEX (CONTINUED)                               1               BE IT REMEMBERED that on Monday,
         2
             Exhibit No. 16 Article, "Genital use of talc 192                  2   January 28, 2019, at 1301 Second Avenue, Suite 2000,
         3              and risk of ovarian cancer: A
                        meta-analysis."                                        3   Seattle, Washington, at 9:11 a.m., before Terilynn
         4
             Exhibit No. 16A Article, "Genital use of talc 197
                                                                               4   Simons, Certified Court Reporter, CCR, RMR, CRR, CLR,
         5              and risk of ovarian cancer: A                          5   appeared ANNE MCTIERNAN, PH.D., the witness herein;
                        meta-analysis."
         6                                                                     6               WHEREUPON, the following proceedings
             Exhibit No. 17 Study, "Systematic review and 203
         7              meta-analysis of the                                   7   were had, to wit:
                        association between perineal                           8
         8              use of talc and risk of
                        ovarian cancer."                                       9               <<<<<< >>>>>>
         9
             Exhibit No. 18 Article, "The relationship   232                  10
        10              between perineal cosmetic
                        talc usage and ovarian talc                           11                VIDEOGRAPHER: We are now on the
        11              particle burden"                                      12   record. My name is Anthony Bocci. I am a videographer
        12   Exhibit No. 19 Collection of tests from     260
                        John Hopkins' deposition, his                         13   for Golkow Litigation Services. Today's date is
        13              Exhibit No. 24.
        14   Exhibit No. 20 Collection of tests from     263                  14   1/28/2019, and the time is 9:11 a.m.
                        John Hopkins' deposition, his
        15              Exhibit No. D-1, including
                                                                              15      This video deposition is being held at 1301 Second
                        "The whole story."                                    16   Avenue, Suite 2000, Seattle, Washington 98101 in the
        16
             Exhibit No. 21 "IARC monographs on the       274                 17   matter of In Re Johnson & Johnson Talcum Powder Products
        17              evaluation of carcinogenic
                        risks to humans. Volume 93 -                          18   Marketing Sales Practices and Products Liability
        18              Carbon black, titanium
                        dioxide, and talc," Lyon,
                                                                              19   Litigation, for the United States District Court,
        19              France, 2010.                                         20   District of New Jersey.
        20   Exhibit No. 22 Article, "Perineal use of 279
                        talc and risk of ovarian                              21      The deponent is Dr. Anne McTiernan.
        21              cancer."
        22   Exhibit No. 23 Testing document from       302                   22      Will Counsel please identify themselves for the
                        Ms. Pier's deposition, Pier
        23              Exhibit No. 47.
                                                                              23   record.
        24   Exhibit No. 24 Copies of Dr. McTiernan's   303                   24                MS. PARFITT: Good morning. Michelle
                        invoices to Ms. Parfitt.
        25                                                                    25   Parfitt, counsel for the plaintiffs.

                                                                     Page 7                                                     Page 9
        1                    EXHIBIT INDEX (CONTINUED)                         1                MS. GARBER: Good morning. Cynthia
        2                                                                      2   Garber on behalf of the plaintiffs.
             Exhibit No. 25 Rule 26 expert report of Anne 304                  3                MR. GOLOMB: Richard Golomb on behalf
        3              McTiernan, MD, PHD, dated                               4   of Plaintiffs.
                       November 16, 2018.                                      5                MS. ERFLE: Nancy Erfle on behalf of
        4
                                                                               6   Imerys Talc America.
             Exhibit No. 26 "Draft screening assessment," 306
        5              dated December 2018.                                    7                MR. LOCKE: Tom Locke from Personal
        6                                                                      8   Care Products Council.
        7                                                                      9                MR. ANDERTON: Michael Anderton for
        8                                                                     10   PTI Royston, LLC and PTI Union, LLC.
        9                                                                     11                MR. HALPERIN: Benjamin Halperin for
       10                                                                     12   Johnson & Johnson.
       11                                                                     13                MS. GUTIERREZ: Susan Gutierrez for
       12
                                                                              14   Johnson & Johnson.
       13
       14                                                                     15                MR. WILLIAMS: And Bart Williams for
       15                                                                     16   Johnson & Johnson.
       16                                                                     17                VIDEOGRAPHER: Thank you.
       17                                                                     18      Will the court reporter now please swear in the
       18                                                                     19   witness.
       19                                                                     20
       20                                                                     21   ANNE MCTIERNAN, PH.D., having been first duly sworn
       21
                                                                              22             by the Certified Court Reporter,
       22
       23                                                                     23             testified as follows:
       24                                                                     24   /////
       25                                                                     25   /////

                                                                                                       3 (Pages 6 to 9)
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                                                 Anne McTiernan, Ph.D
                                                           Page 10                                                            Page 12
         1                     EXAMINATION                                  1                  MS. PARFITT: If I may, I am not sure
         2    BY MR. WILLIAMS:                                              2    that Dr. McTiernan knows that.
         3   Q Good morning, Dr. McTiernan.                                 3        The additional materials, they are not, to my
         4   A Good morning.                                                4    knowledge, on that thumb drive.
         5   Q We just met this morning. My name is Bart Williams, and      5        It was a list of some additional materials. I'm not
         6    I represent Johnson & Johnson in this matter, which is        6    sure that she's reviewed them all, and please feel free
         7    pending in the District of New Jersey Federal Court.          7    to make that inquiry, if you will, but I don't believe,
         8       Are you aware of that?                                     8    Mr. Williams, they may be included on that thumb drive.
         9   A Yes.                                                         9        That thumb drive should include the report, the
        10   Q Have you ever had your deposition taken before?             10    references to the report.
        11   A Never.                                                      11                  MR. WILLIAMS: Okay.
        12   Q The way this will work is I'll ask you questions.           12   Q (By Mr. Williams) Dr. McTiernan, when were you first
        13    Counsel may interpose objections to my questions. There      13    approached about any involvement in talcum powder
        14    will be no judge here ruling on the objections, and after    14    litigation?
        15    the objections, if any, you are supposed to answer the       15   A It should have been 2016.
        16    question.                                                    16   Q And by whom were you approached?
        17       Do you understand that?                                   17   A By Ms. Parfitt.
        18   A Yes.                                                        18   Q Michelle Parfitt, counsel who is--
        19   Q My understanding is that you have provided us with a USB    19   A Yes.
        20    drive; is that correct?                                      20   Q One thing I should have told you, in order for the court
        21   A Michelle Parfitt provided you with that drive, yes.         21    reporter to take down everything that is said, you need
        22   Q Are you aware of what's on that drive?                      22    to wait until I'm completely finished--
        23   A Yes. It's all the documents that I've used in forming my    23   A Oh, sorry.
        24    opinion.                                                     24   Q --with my question.
        25   Q Are all of the files on the USB drive documents that you    25        You should take a pause and then answer the

                                                           Page 11                                                            Page 13
         1    considered in connection with your opinions in this case?     1    question, okay?
         2   A Yes.                                                         2   A Mm-hm, okay.
         3   Q Are there any other files on the USB drive?                  3   Q Otherwise, she has to cut off part of the question, write
         4   A Not to my knowledge there are no other files.                4    down your partial answer, and then the rest of my
         5   Q Can you be a little bit more particular about what types     5    question.
         6    of documents, categories of documents, are contained on       6       Do you understand that?
         7    the drive?                                                    7   A Okay, yes.
         8   A So these will be scientific manuscripts published in         8   Q So the first person who approached you was Michelle
         9    peer-reviewed journals.                                       9    Parfitt?
        10       They will be some expert testimony.                       10   A Yes.
        11       There was government reports, and I don't have the        11   Q Do you remember--
        12    full list right in front of me, so there are hundreds of     12   A For this-- yes, for this litigation, yes.
        13    these things, but in general classifications, I think        13   Q When in 2016 did Ms. Parfitt approach you?
        14    that is-- that covers it generally.                          14   A I don't have that in my head.
        15   Q Those are all the things you recall at this time?           15       We should have a record of that first interaction.
        16   A That's what I recall.                                       16   Q I will just get your memory for now.
        17       My report should be on there as well, my CV, and          17       Was it winter, spring, summer or fall?
        18    government reports of-- other expert reports-- if I          18   A It would be late summer.
        19    mentioned that.                                              19   Q Did Ms. Parfitt contact you at your place of business?
        20   Q Let me stop you there.                                      20   A She approached me first by an e-mail at my institutional
        21   A Yeah.                                                       21    e-mail address, yes.
        22   Q Does the USB drive contain all of the materials that were   22   Q And what is that e-mail address?
        23    just recently produced to the defense in the case a few      23   A At that time it was probably still amctiern@fhcrc.
        24    days ago, which were entitled, "Additional materials"        24       My institution has changed the middle part to
        25    that you had reviewed?                                       25    FredHutch, so I believe she did the first one.

                                                                                                  4 (Pages 10 to 13)
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                                                 Anne McTiernan, Ph.D
                                                           Page 14                                                           Page 16
         1       Either one goes to the same place.                         1   A Yes.
         2   Q Have you known Ms. Parfitt or any of the other               2   Q When did you first see this?
         3    plaintiffs' lawyers prior to their contacting you?            3   A Approximately a month ago.
         4   A No, I did not.                                               4   Q In response to this deposition notice, which lists
         5   Q How long after Ms. Parfitt first contacted you did you       5    certain categories of documents, have you brought any
         6    agree to work with them in connection with the talcum         6    documents with you here today?
         7    powder litigation?                                            7   A We have documents for reports that were available only
         8   A It was approximately two months, and my institution          8    recently, so too recent to have them on the thumb drive,
         9    requires that I get permission for doing such consulting,     9    so these include the Health Canada report, weight of
        10    so the process took approximately two months before I        10    evidence, the screening-- the draft screening assessment,
        11    received approval.                                           11    risk management scope, information sheet, key messages,
        12   Q As of late summer 2016, when Ms. Parfitt first contacted    12    and a "Draft systematic review of meta-analysis" by
        13    you, what institution are you talking about?                 13    Taher, so it's a signed manuscript.
        14   A Oh, so Fred Hutch Cancer Research Center in Seattle.        14   Q Anything else?
        15   Q And if it took two months, that would mean that it was      15   A These others are all in my list of documents. These are
        16    late summer, early fall when you had received approval;      16    just copies of them.
        17    is that correct?                                             17   Q So just let me clear that up.
        18   A I believe, yes.                                             18       You have just mentioned that there are some reports
        19   Q And that's late summer, early fall of 2016, right?          19    in--
        20   A I believe, yes.                                             20   A The Health Canada report.
        21   Q How much per hour are you billing for the literature        21   Q Let me just take them one at a time.
        22    review and preparation for your report in this matter?       22   A I'm sorry.
        23   A That was $450 an hour.                                      23   Q You listed the Health Canada report, correct?
        24   Q At what rate are you charging for your time spent           24   A Yes.
        25    providing deposition testimony?                              25   Q Something called the draft screening assessment?

                                                           Page 15                                                           Page 17
         1   A $650.                                                        1   A So these are all part of the Health Canada report.
         2   Q Is that the same amount that you would charge for hearing    2       These are the components of it.
         3    testimony if you were to testify at the Daubert, and          3       A screening assessment document, weight of evidence
         4    that's D-A-U-B-E-R-T, hearing in the summer of 2019?          4    document, a document called "Risk management scope," one
         5   A Yes.                                                         5    called-- the title is, "Talc - potential risk of lung
         6   Q Do you charge for travel related to your work as an          6    effects and ovarian cancer." I am calling it key
         7    expert witness, separate and apart from any work that you     7    messages because that's the first title underneath that.
         8    may do while traveling?                                       8       There's a talc information sheet.
         9   A I have not previously been an expert witness, so I can't     9       And a government of Canada talc sheet.
        10    give you an answer on what I usually do.                     10       It looks like it's a public messages sheet.
        11   Q So this is the very first time in your career where you     11       The last thing is a systematic review of
        12    have served as an expert witness; is that correct?           12    meta-analysis of the association between perineal use of
        13   A That's right.                                               13    talc and risk of ovarian cancer by Taher, et al.
        14                      (Exhibit No. 1 marked                      14   Q And let me ask you to go a little bit more slowly when
        15                       for identification.)                      15    you read today so that the court reporter can get it
        16                                                                 16    down.
        17   Q (By Mr. Williams) We have marked as Deposition Exhibit      17       Is that okay with you?
        18    No. 1 the deposition notice, and we will hand that out to    18   A Yes.
        19    you through your counsel.                                    19   Q Is it accurate to say that the items you have just listed
        20                MS. PARFITT: I believe you have that,            20    were not in your possession at the time that you prepared
        21    Anthony, the first notice.                                   21    your report that has been provided in this case?
        22   Q (By Mr. Williams) Do you have Exhibit No. 1, the            22   A That is correct.
        23    deposition notice, in front of you?                          23       They were published after that period.
        24   A Yes.                                                        24   Q Is it accurate to say that none of the materials that you
        25   Q Is this something you have seen before?                     25    have in front of you now were able to inform the opinions

                                                                                                  5 (Pages 14 to 17)
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                                                             Page 18                                                         Page 20
         1    that you expressed in the report, which predated your        1   Q We will take a look at that during a break and perhaps
         2    receipt of those materials?                                  2    get a copy of it.
         3   A The Health Canada report, that is true for.                 3   A Okay.
         4       However, the other documents that I have here, one        4   Q When were the notes that you have written on your expert
         5    is a paper that I cited from Blount.                         5    report written on the report?
         6       One is information from the FDA website, which is--       6   A In the past week.
         7    I was able to access before doing my report.                 7       I realized, as I was reviewing and preparing, that I
         8       Then the last thing is-- I'm sorry, it's a                8    had not used a program that would give the full name of
         9    deposition of Dr. Blount held last April, so I had access    9    the references, so to aid in my review, I wrote in the
        10    to that earlier as well.                                    10    first author of the documents, the manuscripts that I was
        11   Q Let's do this, we previously went through a list of        11    referring to.
        12    materials, most of which related to the Health Canada       12       Everything listed here is-- that I've written is the
        13    report.                                                     13    first author of an article, and then I've also underlined
        14       Do you remember that?                                    14    a few places to jog my memory.
        15   A Yes.                                                       15   Q Other than what you've just described, are there any
        16   Q Other than that set of materials that you previously       16    other notations that appear on the report document?
        17    described, is everything in the blue folder that's in       17   A No, not to my knowledge, no.
        18    front of you, that you have brought with you today, a       18   Q Did you bring with you today any invoices reflecting
        19    duplicate of another report that has already been           19    statements that you have given to plaintiffs' counsel for
        20    produced to us?                                             20    payment?
        21   A Yes.                                                       21   A I did not bring them myself, but I believe you have them.
        22       There was also one list here of additional               22                 MS. PARFITT: We did-- we have them.
        23    materials, so that should have been-- additional            23       If we can just take a look at them-- they were just
        24    materials to Dr. McTiernan, and that should be in your      24    sent this morning to us, to my office, so if I could have
        25    list of what you have as well.                              25    a chance to look through them, and maybe after the break

                                                             Page 19                                                         Page 21
         1   Q We are going to mark a copy of that additional materials    1     we can get them marked.
         2    list in a moment, but for now, is it accurate that at the    2        Would that be appropriate?
         3    time that you prepared your report in this case, which       3                 MR. WILLIAMS: That's fine.
         4    was submitted to us in November of 2018, you had not         4                 MS. PARFITT: The only other thing I
         5    reviewed the additional materials list materials that you    5     ask, Mr. Williams, could we perhaps note the Exhibit 1A,
         6    have just pointed to?                                        6     the objection to the notice of depo?
         7   A That is correct.                                            7                 MR. WILLIAMS: Sure.
         8       Those were not available at that time.                    8                 MS. PARFITT: Thank you.
         9   Q Let's mark as Exhibit No. 2 to the deposition a copy of     9                      (Exhibit No. 1A marked
        10    your expert report from November of 2018.                   10                       for identification.)
        11       I think your counsel already has that.                   11
        12                      (Exhibit No. 2 marked                     12   Q (By Mr. Williams) Your counsel-- we have premarked as
        13                       for identification.)                     13    Exhibit No. 1A the objections that were served by
        14                                                                14    Plaintiffs' counsel to the deposition notice that we
        15   Q (By Mr. Williams) Is the document marked Exhibit No. 2 a   15    provided.
        16    copy of the expert report that you prepared in this case?   16      Have you seen that before?
        17   A Yes, it is.                                                17      It's in front of you now.
        18   Q It's dated November 16th, 2018?                            18   A This, no, I have not.
        19   A Yes.                                                       19   Q So you have never seen the objections?
        20   Q You have a copy of that report in front of you that you    20   A No, I have not.
        21    are holding right now; is that right?                       21   Q Did counsel consult with you at all at the time that was
        22   A Yes.                                                       22    prepared?
        23   Q Does the copy that you are holding right now have notes    23   A No.
        24    on it?                                                      24   Q Let's go back to the point in time when you first spoke
        25   A Yes, it does.                                              25    with plaintiffs' counsel.

                                                                                                 6 (Pages 18 to 21)
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         1       You said Ms. Parfitt reached out to you by e-mail at       1   Q When you say you did preliminary searches on Medline, can
         2    your institution, which was the Fred Hutch Institution;       2    you recall any articles that you came up with?
         3    is that right?                                                3   A I previously had already reviewed for the New York
         4   A Yes.                                                         4    Times-- when they contacted me about my scientific
         5   Q Was anyone else on the phone?                                5    opinion or my clinical opinion of this matter, I had been
         6   A No.                                                          6    given two of the cohort study papers, one by Gertig, et
         7   Q How long was that call?                                      7    al., and one by Houghton, et al., and so I briefly
         8   A I don't remember.                                            8    reviewed those, and-- as well as the Terry case-control
         9       I think it was brief, but I don't remember.                9    study in order to talk with the New York Times, so I knew
        10   Q And you said "I think" that it took a few months for the    10    about those papers.
        11    process at your institution to be completed; is that         11       In the epidemiology field, we often see things over
        12    right?                                                       12    time.
        13   A Yes.                                                        13        This has been something that has been studied for
        14   Q How long after that first approach by Ms. Parfitt in the    14    quite a few years, so I've been aware of the issue but
        15    summer, late summer, of 2016 did you decide that you         15    have not done a systematic review and not done a causal
        16    would in fact want to serve as an expert in this matter?     16    analysis, was not a focus of my research at that point.
        17   A I decided within a week that I would be interested, but I   17   Q At the time that you agreed to participate as an expert
        18    am required to do this process at my institution which       18    in this litigation, is it accurate to say that the
        19    involves informing my division director and the senior       19    studies that you had reviewed included the Terry 2013
        20    vice presidents of the institution as well as the            20    analysis, the Gertig cohort study, the Houghton cohort
        21    president, and in aiding that, our legal counsel reviews     21    study, you had reviewed as all those things before you
        22    all of these requests to do such consulting.                 22    decided to participate; is that true?
        23       So that process happened to take a while.                 23   A I had read those, yes.
        24       This time, I'm not sure. I think somebody was on          24   Q And you can't remember anything else, as you sit here
        25    vacation, so that's why it took two months, so during--      25    right now, that you had reviewed before you made that

                                                           Page 23                                                            Page 25
         1    in order to start the process, I had to be interested in      1    decision?
         2    doing this, so that's why I did it, but I couldn't firmly     2   A I can't remember others.
         3    say I could do it until they gave me approval.                3   Q Were there others or not?
         4   Q In that week's period of time, between the time              4   A I can't remember.
         5    Ms. Parfitt first contacted you and the time that you         5       I believe that I only looked at those two cohort
         6    made the decision to participate in this litigation as an     6    studies and the Terry pooled analysis.
         7    expert, what, if any, documents relating to talcum powder     7   Q Let me ask you to focus on Exhibit No. 2, your report.
         8    and ovarian cancer did you review?                            8       Do you have that in front of you?
         9   A I had already known some of the literature, some of the--    9   A Yes.
        10    for example, the pooled analysis by Terry, et al., I had     10   Q Does that report contain all of the opinions that you
        11    already reviewed that in the past, and I think I did some    11    intend to offer at any hearing on this matter?
        12    preliminary searches through Medline to see what the         12   A Yes, unless-- so you are talking about any future-- any
        13    available data were, but I did not do a systematic           13    future questioning I face in the court?
        14    review.                                                      14       If there's more research that is published by that
        15       I was not able to share that with the counsel, who        15    time, I would want to know about it to see if it affects
        16    was Ms. Parfitt at this point, because I wasn't able to      16    my opinion or what the research is.
        17    officially consult, but I was curious. I wanted to know      17       As a scientist I would want to keep up to date, but
        18    what the data was looking like, what papers were             18    for right now, this is my scientific opinion, what's in
        19    available.                                                   19    this report.
        20   Q Other than the Terry 2013 article that you mentioned and    20   Q Today is my opportunity to ask you questions about your
        21    some preliminary searches that you did on Medline, is        21    opinions in this matter.
        22    there anything else you did in that week's period of         22       You understand that, right?
        23    time?                                                        23   A Yes.
        24   A In that week? I don't recall anything else in that          24   Q Have you modified your opinions in this litigation beyond
        25    period.                                                      25    the opinions set forth in Exhibit No. 2?

                                                                                                  7 (Pages 22 to 25)
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         1   A No, I have not.                                              1    was given approval to work on this, so anything I read
         2   Q Are there any few or additional opinions that you expect     2    before that, I did not charge my time.
         3    to testify to at any hearing in this matter, other than       3   Q (By Mr. Williams) Is it accurate to say that the 240
         4    what is contained in your report, Exhibit No. 2?              4    hours reflects all of the hours, through today, that you
         5   A Nothing that I foresee, that I expect.                       5    have spent on this matter?
         6   Q Did you personally type the report that's marked as          6   A Yes.
         7    Exhibit No. 2?                                                7   Q And you broke it down to 211 hours through December 2018
         8   A Yes, I did.                                                  8    and another 25 hours since that time, correct?
         9   Q Did anyone assist you in the preparation of your report?     9   A Approximately 25 since that time, yeah.
        10   A The only assistance I had was occasionally if I couldn't    10   Q Let me ask you to look at your report and refer you to
        11    get a paper myself, through my own institutional library,    11    Pages 78 through 84.
        12    then we have an administrative assistant that I can ask      12       You identify 127 documents or other materials as
        13    for that, and I believe I asked for a couple of papers       13    references, correct?
        14    through that source.                                         14   A Yes.
        15       There were a couple of times when I asked                 15   Q Are those the materials that you are relying on to form
        16    Ms. Parfitt's firm if they had a paper. This was quite a     16    the basis of your opinions in this case?
        17    few months after that period, perhaps half a year or         17   A Yes, although there are different materials that I was
        18    longer by the time I asked them.                             18    able to review after the report was done, and they help
        19   Q When did you start drafting the litigation report marked    19    support my opinion.
        20    as Exhibit No. 2?                                            20   Q And are those additional materials, materials that we
        21   A That would have been winter of 2016 to spring of 2017.      21    have already discussed this morning?
        22   Q Since you typed the report yourself, am I right that you    22   A Yes.
        23    have a file of it either at home or on your office           23   Q Did the Plaintiffs' lawyers provide you with any of the
        24    computer?                                                    24    references that are contained in Nos. 1 through 127?
        25   A Yes, on my home computer.                                   25   A I believe some of them they provided if it was one that I

                                                          Page 27                                                             Page 29
         1   Q From start to finish did you work in the same file to        1    couldn't obtain on my own.
         2    draft this report or did you have different files or          2       A few of the mechanistic studies, I believe.
         3    drafts?                                                       3   Q If you can identify them by number, that would be good.
         4   A I copied different drafts as a way of backing up.            4   A Yeah.
         5   Q Have you maintained the drafts, the iterations, as it        5       Well, certainly some of the depositions I had no-- I
         6    went along?                                                   6    did not access myself, so No. 77, 78, 79.
         7   A Yes.                                                         7       The Longo reports, so 79 through 83.
         8   Q How many hours would you say you have spent preparing the    8       84 as well they provided.
         9    litigation report since the winter of 2016 to the spring      9   Q Anything else?
        10    of 2017 when you started writing it?                         10   A I am trying to search.
        11   A I would say approximately 240 hours.                        11       They sent me some of the IARC monographs, but I had
        12   Q And on what do you base that estimate?                      12    access previously to them myself, so I'm not sure which
        13   A On invoices that I submitted through December 2018, plus    13    way you would want to count that, if I accessed the IARC
        14    an additional 25 hours since that time.                      14    myself online, but that-- Ms. Parfitt also sent their
        15   Q I take it from your last answer, that up through December   15    copy of it, so from two sources I had the same things.
        16    2018 you billed 240 hours total; is that accurate?           16       These are the IARC monographs, "The evaluation of
        17   A No.                                                         17    carcinogenic effects," No. 40 and 42.
        18        As of December 2018 I believe it was 211 hours.          18       I think there was a third IARC report.
        19   Q And is that 211 hours the total amount of time that you     19   Q Would that be No. 74?
        20    have spent grappling with the issues in this litigation      20   A Yes.
        21    or is that just the time that you have spent writing the     21   Q Other than items 40, 42, 74, and 75 through 84, are there
        22    report?                                                      22    any other materials that were provided to you by
        23                 MS. PARFITT: Objection; form.                   23    plaintiffs' counsel?
        24        You may answer.                                          24   A I am searching here.
        25                 THE WITNESS: It was since the time I            25       Some of the mechanistic studies they were able to

                                                                                                  8 (Pages 26 to 29)
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         1    provide when I couldn't get them myself, and some of          1   A Yes.
         2    these journals were journals that were difficult to get,      2   Q Have you read all of those items?
         3    so I believe 85 and 90.                                       3   A Not in full.
         4   Q Had you identified Items 85 and 90 prior to the time they    4       Do you want me to go through them one at a time?
         5    were provided to you or did Counsel simply provide them       5   Q Let me just ask you generally, what's the difference
         6    to you?                                                       6    between the references to your report and the items
         7   A No, I don't think they-- no, they didn't simply provide      7    listed as additional materials and data considered? Why
         8    them to me.                                                   8    did you spread them out like that?
         9       At the time that I added these, these were added           9   A These up to 127 were available at the time that I was
        10    toward the end of the time that I was preparing the          10    actively writing my report.
        11    report.                                                      11       Some of these other documents came along later and
        12        I was able to see some other expert reports. One         12    were available to me, so the counsel did provide them.
        13    was a gynecologist -- I believe it was Plunkett -- who       13       Some of them were-- some of them were earlier, these
        14    mentioned that there were-- that-- the issue of              14    Fletcher papers on-- on some of the mechanistic work was
        15    transporting had some additional references that I did       15    done earlier.
        16    not have.                                                    16       Many of these are-- to my knowledge they were
        17       I had, originally, some mechanism-related papers          17    exhibits that were available from the case from the law
        18    related to migration of talcum powder products through       18    firm.
        19    the vaginal tract, and I didn't-- there were some            19       One of these is a repeat. 38 was listed originally.
        20    additional ones here that I had not known about.             20       I think there's a little bit of variability here.
        21       I believe Egli and Sjosten were two-- sorry, 85 and       21   Q Let me stop you there for a moment.
        22    90.                                                          22   A Yes.
        23   Q References 77 through 84 appear to be deposition            23   Q Did you read each of the 113 items in their entirety?
        24    transcript exhibits and expert reports in litigation.        24   A No, I did not.
        25       Do you see that?                                          25   Q In describing the difference between the additional

                                                           Page 31                                                           Page 33
         1   A Yes.                                                         1    materials and data considered and the 127 references that
         2   Q Have you reviewed all of those transcripts?                  2    we've already gone over, is it accurate to say that the
         3   A I skimmed 77 and 78 and looked at some of the exhibits       3    additional materials were all provided by plaintiffs'
         4    that they had with them.                                      4    counsel?
         5       I skimmed Longo, but I read through the November           5                MS. PARFITT: Objection to form.
         6    and-- this is another one-- these are not dated here-- of     6                THE WITNESS: It's not true.
         7    February and November.                                        7       Some of these I had myself--
         8   Q Let's take them one at a time on Longo.                      8   Q (By Mr. Williams) Could you please identify all of the
         9       No. 79 says Longo, Rigler, April 2017.                     9    items on here, of the 113 items, that you had yourself
        10       Did you review that?                                      10    prior to them being provided by plaintiffs' counsel?
        11   A Only skimming that.                                         11   A Okay. No. 2, American Cancer Society, I accessed their
        12       For all of these, I looked at the summary in the          12    website several times.
        13    beginning, which presented the numbers of samples that       13       31 is a Hartge paper on talc and ovarian cancer, so
        14    were tested and the numbers that were considered to have     14    I accessed that myself.
        15    asbestos.                                                    15       This isn't a Hartge paper title, so that's one
        16   Q So you only reviewed the summaries; is that accurate?       16    problem, one reason I'm struggling here, so I assume that
        17   A Summaries, yes.                                             17    this is another review that she has written, Hartge, but
        18   Q And that applies to 77 through 83?                          18    I'm not sure if it's the same as the paper that I
        19   A Through 83, yes.                                            19    referenced as one of my case-control studies that are
        20   Q Take a look at Page 84 of your litigation report.           20    referenced.
        21       Do you have that in front of you?                         21       The same issue with 33, 34 because I did reference
        22   A Yes.                                                        22    Henderson, these are migration papers, so I'm not sure
        23   Q It lists here, "Additional materials and data               23    about that.
        24    considered," and it lists thereafter 113 items.              24       No. 37 I do consider. It was a subset of the other
        25       Do you see that?                                          25    Huncharek review, so I did see this earlier. I just did

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         1    not reference it for my report.                              1   Q Is that how you phrased it, "what available evidence
         2       38 is the same IARC monograph paper-- work that is        2    there was"?
         3    referenced in the paper.                                     3   A As the questions came along of various-- of parts of
         4       Institute of Medicine I was not able to review.           4    data-- so this came up with a question of what other
         5       These other things look like they are Johnson &           5    constituents are there in Johnson & Johnson Baby Powder
         6    Johnson or-- no-- other industry documents.                  6    and Shower to Shower, and I relied first on published
         7   Q Let me stop you there for a moment.                         7    data from Blount and Gordon, but I was interested in what
         8       Remember, my question is simply:                          8    other testing had been done to see what are the
         9       Of the 113 items, please just list the numbers that       9    constituents, because otherwise there's no information,
        10    you had before they were provided by Plaintiffs' counsel.   10    but it was a very general question. I didn't know what
        11    That's all I need.                                          11    was available.
        12   A Okay. Sorry.                                               12   Q In response to that question that you just described, the
        13       67 I had previously, 79, 80, 87, 88, 89, 90, 91.         13    items that are listed here and the numbers that I just
        14        92 I believe I referenced earlier, so 92, 93, 94,       14    gave you, 40 through 47 for Imerys-- excuse me, 40
        15    100-- can you remind me, is this for-- to distinguish       15    through 46 for Imerys, and 47 through 65 for Johnson &
        16    what was in my report or what I obtained on my own?         16    Johnson, are the only documents that were provided to
        17   Q What you obtained on your own.                             17    you?
        18   A Okay. 103 I obtained on my own.                            18                MS. PARFITT: Objection.
        19       That's it.                                               19                THE WITNESS: For that, I would also
        20   Q All of the items, other than those that you just listed,   20    have received Longo, but one issue is I don't know-- from
        21    were provided to you by Plaintiffs' counsel, correct?       21    looking at these numbers, I don't have them memorized
        22   A I believe so, yes.                                         22    what they are.
        23   Q You did not read each and every page of the materials      23       I would have to look them up.
        24    that were provided to you by Plaintiffs' counsel; is that   24       I do know that the Longo reports are the results of
        25    true?                                                       25    testing of constituents of the products.

                                                          Page 35                                                            Page 37
         1   A I did not, that's true.                                     1   Q (By Mr. Williams) And as you sit here today, you do not
         2   Q Let me direct your attention to No. 47 through 65 on the    2    know whether or not the documents that are listed in
         3    list that begin with the letters JNJ.                        3    References 40 through 65 are in fact authentic documents
         4       Do you see that?                                          4    of Johnson & Johnson or of Imerys, right, one way or the
         5   A Yes.                                                        5    other?
         6   Q Do you understand that these are internal Johnson &         6                 MS. PARFITT: Objection; form.
         7    Johnson documents?                                           7                 THE WITNESS: I don't have memorized
         8       Is that right?                                            8    what these are.
         9   A I believe you.                                              9   Q (By Mr. Williams) Pardon me?
        10       I don't know what they are from looking at just the      10   A I don't have memorized what these are, what these numbers
        11    numbers. I would have to reference back to my documents.    11    refer to.
        12   Q No. 40 through 46 all start with the word Imerys,          12   Q With respect to any of the internal company documents
        13    I-M-E-R-Y-S.                                                13    that you have reviewed from either Imerys or Johnson &
        14        Do you see those?                                       14    Johnson, as you sit here now, you do not know whether any
        15   A Yes.                                                       15    of those documents are in fact authentic Johnson &
        16   Q Do you understand those to be internal Imerys documents?   16    Johnson or Imerys documents, correct?
        17   A Again, I would have to look and see what they look like.   17                 MS. PARFITT: Objection; form.
        18   Q Did you ask Plaintiffs' counsel to provide you with the    18                 THE WITNESS: When I looked at any of
        19    Imerys and Johnson & Johnson documents?                     19    these documents that were provided, they had stickers on
        20   A No, I did not.                                             20    them, I noticed, like-- so exhibit numbers, so I assumed
        21   Q So they just gave those to you?                            21    this were exhibit numbers for some litigation.
        22   A I asked to see what available evidence there was, and      22       That's all I know.
        23    the-- the evidence that had been collected for the case     23   Q (By Mr. Williams) Are you relying on any of those
        24    in general, so that was a very general question, and they   24    internal company documents to form the basis of your
        25    provided these.                                             25    opinions in this case?

                                                                                               10 (Pages 34 to 37)
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                                                Anne McTiernan, Ph.D
                                                          Page 38                                                            Page 40
         1                  MS. PARFITT: Objection; form, vague.           1    question at issue?
         2                  THE WITNESS: I looked through them.            2                 MS. PARFITT: Objection; form.
         3    I did not read them in enough detail to have them form       3                 THE WITNESS: No, I don't-- well, it
         4    the primary basis of my opinion.                             4    depends how you define a company, because occasionally if
         5   Q (By Mr. Williams) Do they form something other than a       5    you're doing a full review of the scientific literature,
         6    primary basis for your opinion?                              6    you may-- for example, if you are doing a meta-analysis,
         7   A They added to some-- to consideration of what might be      7    they want to request data from other sources that aren't
         8    contained in these products.                                 8    yet in the public domain, and if that study happens to be
         9   Q Do you have any idea what percentage of the entire          9    run through a company, then that could have happened.
        10    document production from Johnson & Johnson these 18         10       I can't say it's common.
        11    documents comprised?                                        11       Typically we look at published data-- published
        12   A I do not.                                                  12    scientific data from scientific opinions.
        13   Q When you asked Counsel to provide you with what some of    13   Q (By Mr. Williams) When drafting a publication on a
        14    the evidence was with respect to the question you were      14    medical or a scientific question, have you ever sought
        15    being asked to consider, did you ask for both evidence      15    internal company documents related to the subject matter?
        16    that tends to show that, for example, Johnson's Baby        16                 MS. PARFITT: Objection; asked and
        17    Powder contains asbestos, and for evidence that it does     17    answered.
        18    not contain asbestos?                                       18                 THE WITNESS: So I'm curious, is that
        19   A I asked about totality of evidence.                        19    the same question as before? Did you just ask that
        20        I didn't use the words, "Please show me where it        20    question-- are you asking it again?
        21    contains and where it doesn't."                             21   Q (By Mr. Williams) I'll ask it another way.
        22        One thing I'm interested in is if something contains    22   A Okay.
        23    it, that's very concerning to me, so whether it's 50        23   Q Out of the multiple hundreds of publications that your
        24    samples out of 100 that have asbestos in it, I would be     24    resume lists with you as an author, how many cite to
        25    concerned, but if it's only five, so even if more           25    internal company documents?

                                                          Page 39                                                            Page 41
         1    negative samples were provided, and there's only five        1                 MS. PARFITT: Objection; form.
         2    that are positive, that's still concerning.                  2                 THE WITNESS: I believe that none do.
         3   Q Were you provided any negative samples?                     3       Most of my papers are with data from my own studies.
         4   A I did see evidence that some were negative, yes.            4   Q (By Mr. Williams) Now, you were asked in this matter to
         5   Q Where did you see that?                                     5    review the current state of scientific literature
         6   A I saw that in the Longo report, so there was-- each         6    regarding talcum powder products and to opine on whether
         7    report had a different percent that were positive.           7    those products cause ovarian cancer.
         8       Some were 50 percent positive, some 66 or 70 percent      8       Is that accurate?
         9    positive, so that means the inverse, 30 to 50 percent        9   A Yes. I was asked to do a causal analysis and to form an
        10    were negative, did not have asbestos.                       10    opinion on the association between use of talcum powder
        11       Also, from my perusal of the Johnson & Johnson and       11    products and risk of ovarian cancer.
        12    Imerys documents that seem to be exhibits, it looked like   12   Q Were you given any other questions to answer or opine on?
        13    there were some, but sometimes it was small amounts but     13   A So I'm just looking at your question. I'm sorry.
        14    sometimes it was larger, but that some contamination or     14       I think this summarizes the question I was asked to
        15    inclusion of asbestos, but many times not.                  15    answer.
        16       There was also an FDA website that was able to look      16   Q You were not retained to provide an opinion about whether
        17    at where they only tested, however, two products, two       17    or not talc can cause pleural or peritoneal mesothelioma,
        18    bottles of Johnson & Johnson, and those were both           18    were you?
        19    negative.                                                   19   A I was not, no.
        20   Q In the normal course of your work outside of litigation,   20   Q And you are not in fact providing an opinion on that
        21    do you review internal company documents for any reason?    21    subject?
        22   A No, not-- I would not have a reason to do that.            22   A I am not.
        23   Q When setting out to conduct research on a medical or       23   Q Did you in fact review what you believe to be the current
        24    other scientific question, outside of litigation, have      24    state of scientific literature regarding the question of
        25    you ever sought internal company documents related to the   25    whether talc can cause ovarian cancer?

                                                                                               11 (Pages 38 to 41)
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         1   A Yes, I believe I did.                                       1       It's in the table, and in the report I did note
         2   Q Did you consider literature and sources that refuted an     2    where there was a dose response note-- I did note whether
         3    association or causal association between talc and           3    there was a dose response seen in the paper.
         4    ovarian cancer?                                              4       I can't-- let me see, I can look through-- I'm not
         5   A Yes, I did.                                                 5    sure if you want me to look through for each--
         6       I looked at the entirety of literature as I knew          6   Q We'll do that a little later.
         7    it-- as I was able to find it.                               7   A Okay.
         8   Q Did you consider literature and sources that have           8   Q Let me ask you now to turn to Page 68 of your report with
         9    concluded that the totality of the scientific evidence is    9    the heading that says, "Conclusion."
        10    insufficient to find a causal association between talc      10   A (Witness complies.)
        11    and ovarian cancer?                                         11   Q Do you have that in front of you?
        12                 MS. PARFITT: Objection; form.                  12   A Yes.
        13                 THE WITNESS: Yes.                              13   Q Does that conclusion accurately summarize your opinion in
        14   Q (By Mr. Williams) When you wrote your report setting       14    this case on the question of whether or not perineal use
        15    forth your opinions in this case, did you identify the      15    of talcum powder products can cause ovarian cancer?
        16    sources that refuted the propositions that you were         16   A Yes.
        17    making?                                                     17   Q Now, your opinion is stated to a, quote, "medical and
        18   A Those papers would have been part of my report, yes.       18    scientific degree of certainty," closed quote.
        19   Q So is it your testimony that the report that you have in   19       Do you see that?
        20    front of you, Exhibit No. 2, actually identifies the        20   A Yes.
        21    sources that refuted the propositions that you were         21   Q What do you mean by the use of the term "degree" in that
        22    making?                                                     22    sentence?
        23   A Yes.                                                       23   A I would say a high degree.
        24       If these were papers that included data-- so I use       24       I don't put percentages on my opinion. It's not
        25    data-- I reviewed the data from these studies, and          25    typical in my field to do that, but I would say with a

                                                           Page 43                                                           Page 45
         1    regardless of what those studies concluded, I included       1    high degree of certainty that based on the totality of
         2    them in the report.                                          2    evidence, that use of talcum powder products can cause
         3   Q Did you discuss in your report the part or parts within     3    ovarian cancer.
         4    those sources that refuted the propositions you were         4   Q Do you believe that perineal use of talcum powder
         5    making, including the data?                                  5    products manufactured today, in 2019, can cause ovarian
         6   A I believe that I discussed in general that-- whether        6    cancer?
         7    there is evidence of a causal relationship between talcum    7   A So talcum powder products, yes.
         8    powder product use and risk of ovarian cancer.               8       There's no evidence that it would have changed.
         9       I did not, for each paper, reiterate what they            9       The evidence from the epidemiologic studies were
        10    concluded. I looked at their data.                          10    from people's use decades previously, but then looking at
        11   Q If there were parts of a study, for instance, that did     11    contents of talcum powder products over time it looks
        12    not support one of your opinions, did you make a note of    12    like they continue to have constituents that could be
        13    that in your report?                                        13    carcinogenic, as well as talcum powder by itself has been
        14                 MS. PARFITT: Objection; form.                  14    shown to be carcinogenic, and so I believe that if
        15                 THE WITNESS: If the studies did not            15    somebody was using them today, they could still have the
        16    show an association between talcum powder product use and   16    same potential for developing ovarian cancer as if they
        17    risk of ovarian cancer, I included those data, yes.         17    used them 50 years ago.
        18       I included it both in the content of the report as       18   Q So the answer to my question is that you believe that
        19    well as in the data table that I included at the end of     19    perineal use of talcum powder products manufactured
        20    the report, and I included those data.                      20    today, in 2019, can cause ovarian cancer, correct?
        21   Q (By Mr. Williams) If those data did not, for instance,     21   A Yes-- yes.
        22    show a dose response related to exposure to talcum powder   22   Q Did you reach the opinion, to a degree of medical and
        23    and the incidence of ovarian cancer, did you note in your   23    scientific certainty, that perineal use of talcum powder
        24    report where the data did not support dose response?        24    products can cause ovarian cancer before or after you
        25   A I did note that.                                           25    were hired by Plaintiffs' counsel?

                                                                                               12 (Pages 42 to 45)
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         1   A After I had conducted a full systematic review of the       1    cause ovarian cancer.
         2    epidemiology data and mechanistic data, including            2   Q And that is true whether it's Johnson's Baby Powder or
         3    biologic evidence, and then done a causal analysis,          3    any other talcum powder product?
         4    that's when I concluded that these products could            4                 MS. PARFITT: Objection; form.
         5    increase-- could cause ovarian cancer.                       5                 THE WITNESS: Yes.
         6   Q So the answer is after you were hired by Plaintiffs'        6   Q (By Mr. Williams) Is it your opinion that genital
         7    counsel; is that correct?                                    7    perineal use of Shower to Shower product specifically can
         8                MS. PARFITT: Objection; misstates her            8    cause ovarian cancer?
         9    testimony, asked and answered.                               9   A To my knowledge it includes both talc, and some percent
        10   Q (By Mr. Williams) I am looking for a temporal answer.      10    may include asbestos and other constituents, and so that
        11    So my question is:                                          11    would be my opinion, yes.
        12       Did you reach your conclusions before or after you       12   Q And same question:
        13    were retained by Plaintiffs' counsel?                       13       Even if Shower to Shower product did not contain
        14                MS. PARFITT: Objection; form, asked             14    asbestos, it is your conclusion that because it contains
        15    and answered.                                               15    talc, it can cause ovarian cancer, correct?
        16                THE WITNESS: It was after I had done            16   A Yes.
        17    the causal analysis.                                        17   Q And it's your testimony here today that it has been
        18   Q (By Mr. Williams) And that was after you were retained?    18    established, to a degree of medical and scientific
        19                MS. PARFITT: Objection.                         19    certainty, that that is the case?
        20                THE WITNESS: That was after I did the           20   A Yes.
        21    causal analysis, which was after I began this project       21   Q Is it your testimony today that it is accepted in the
        22    with Counsel.                                               22    medical and scientific field that talcum powder causes
        23   Q (By Mr. Williams) Did you consider whether some brands     23    ovarian cancer?
        24    of talcum powder products can cause ovarian cancer but      24                 MS. PARFITT: Objection; form.
        25    others may not?                                             25                 THE WITNESS: I would say that many

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         1   A The epidemiology data were insufficient to determine        1    scientists, many clinicians do believe that it can cause
         2    whether any particular brand was used by women, except       2    ovarian cancer.
         3    for one study, Cramer, in 2016.                              3   Q (By Mr. Williams) My question is different.
         4       It's my understanding that Johnson & Johnson              4       My question is whether or not, Dr. McTiernan, it is
         5    products had the vast proportion of the market share over    5    accepted in the medical and scientific community today
         6    time, but I did not come to a conclusion that any            6    that exposure to talcum powder causes ovarian cancer.
         7    particular product was causing this.                         7   A And I think I'm having trouble with the word "accepted,"
         8       All I know is that use of these products by these         8    so I am not sure specifically what you mean that it was
         9    women over time increased their risk for ovarian cancer      9    "accepted."
        10    and that it can cause ovarian cancer.                       10       Who it is accepted by, does somebody have
        11   Q So it is your opinion that genital perineal use of         11    guidelines, is somebody giving advice to the public--
        12    Johnson's Baby Powder specifically can cause ovarian        12    there are lots of different organizations that you could
        13    cancer, correct?                                            13    call "the medical field," so I think that's why I'm
        14   A Yes, given that it's been shown to contain asbestos,       14    having some trouble there.
        15    given that it contains talc, which has been shown to be     15       To me it's a question that's not specific enough for
        16    carcinogenic, then I would say yes, it could be-- it        16    me to figure out how to answer it.
        17    could be a cause of ovarian cancer.                         17   Q Well, it's one thing if there is a person in the medical
        18   Q Let me tease that out a little bit.                        18    or scientific field who holds an opinion and quite
        19       If the product did not contain asbestos, is it your      19    another to say that something is generally accepted in
        20    testimony that-- is it your opinion that genital perineal   20    the medical and scientific community that a substance
        21    use of Johnson's Baby Powder can cause ovarian cancer       21    causes cancer; isn't that right?
        22    without containing asbestos?                                22                 MS. PARFITT: Objection; form.
        23   A Yes, even without asbestos, my opinion is that talc can    23                 THE WITNESS: Yeah, I still have a
        24    increase risk of ovarian cancer, that there are             24    problem with the word "accepted" because I work in many
        25    biological mechanisms, and so that these products could     25    other areas, and I have seen that there are so many

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                                                          Page 50                                                           Page 52
         1    different opinions by clinicians, by scientists about        1    causes ovarian cancer, isn't it accurate to say that that
         2    associations, and then it comes to the point of policy       2    survey is at best inconsistent as to that conclusion?
         3    and coming up with guidelines.                               3                 MS. PARFITT: Objection; form,
         4       That's why I am having a little problem answering a       4    misstates her testimony-- excuse me, it doesn't misstate
         5    question of whether it's accepted.                           5    her testimony. It's been asked and answered, clearly.
         6       I think that for me what I can come up with is this       6                 THE WITNESS: I think-- I think from
         7    is my opinion from the research that I've done.              7    what you're asking is I've surveyed the medical community
         8       I can't speak for other medical groups of whatever        8    and scientific community, which I have not. I have not
         9    you are talking about.                                       9    surveyed them.
        10       I'm not sure which groups you are talking about.         10       My job was to review studies to look at the
        11   Q (By Mr. Williams) Wouldn't it be accurate to say,          11    epidemiologic data. That was my primary purpose.
        12    Dr. McTiernan, that it is, at best, inconsistent in terms   12       Then to look at biological mechanisms.
        13    of the medical and scientific community as to whether or    13       And then to do a causal analysis.
        14    not exposure to talcum powder in the perineal area causes   14       I did not contact and survey the medical community
        15    ovarian cancer?                                             15    in this field, which could be vast because we are talking
        16                 MS. PARFITT: Objection; form.                  16    about gynecology, prevention, government bodies,
        17                 THE WITNESS: Oh, I would say that any          17    epidemiology-- I just did not-- I was not asked to do
        18    exposure, any medical treatment, any medical prevention     18    that and I did not do that.
        19    method is going to be inconsistent, and I do know that      19   Q (By Mr. Williams) In forming your opinion that perineal
        20    IARC has classified talc, even talc without asbestos, as    20    talc use can cause ovarian cancer, did you calculate how
        21    a possible carcinogen, and they have a pretty high bar      21    much talc is needed to cause ovarian cancer?
        22    for whether they're going to consider something a           22   A I looked at that. I was not able to determine because
        23    carcinogen, and they were talking about ovarian cancer      23    there's no-- no study has been able to collect
        24    specifically.                                               24    information in enough depth to know how much the
        25   Q (By Mr. Williams) We'll talk about that a little bit       25    individual woman used, exactly how much in a particular

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         1    later, but let me go back to my question.                    1    day she used, and what was the content of the particular
         2       My question is whether or not it is at best               2    bottle that she used or the bottle she used over time,
         3    inconsistent, in terms of looking across the available       3    and many of the studies did not also even include enough
         4    medical and scientific information regarding an              4    information to look at how frequently or how often they
         5    association between talcum powder and causing ovarian        5    did, but once they did, then you could see if you had
         6    cancer, to conclude that in fact talcum powder exposure      6    people that used it more often for a longer period of
         7    in the perineal area causes ovarian cancer; isn't that       7    time, that's when there was even a great increase in
         8    true?                                                        8    risk, and that would be a dose response effect.
         9                  MS. PARFITT: Objection; form.                  9   Q Is the answer to my question "no," you did not calculate
        10                  THE WITNESS: So I think I would feel          10    how much talc is needed to cause ovarian cancer?
        11    a little better if you are talking now about across the     11                 MS. PARFITT: Objection; form, asked
        12    evidence or across all of this research, all of these       12    and answered.
        13    studies, and there were-- there have been 24 to 25          13   Q (By Mr. Williams) I am not asking for the reasons.
        14    case-control cohort studies that have looked at this        14       I am just asking for the bottom line.
        15    information, and when you look at them in totality,         15       The bottom line is that you did not calculate how
        16    either meta-analysis or pooled analysis, you really see     16    much talc is needed to cause ovarian cancer, correct?
        17    clear evidence that ovarian cancer risk is higher in        17                 MS. PARFITT: Objection; form.
        18    people who have-- and statistically significantly higher    18                 THE WITNESS: It was not possible to
        19    in people who have used these products.                     19    determine exactly how much talcum powder product was
        20   Q (By Mr. Williams) Let me ask you, for purposes of my       20    used, so therefore it's not possible to determine how
        21    question, to focus on the medical and scientific            21    much of each dose particular-- of a particular product
        22    community, okay, not your personal opinion of the data.     22    increases risk.
        23       With respect to your survey of the medical and           23   Q (By Mr. Williams) In your mind is there a dose of talc
        24    scientific community and its analysis of whether or not     24    that does not cause ovarian cancer when applied
        25    exposure to talcum powder in the perineal area actually     25    perineally?

                                                                                              14 (Pages 50 to 53)
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                                                           Page 54                                                           Page 56
         1   A There's no evidence that there's any lower threshold         1                 MS. PARFITT: Objection; asked and
         2    than--                                                        2    answered.
         3   Q I-- I'm sorry. I didn't mean to cut you off.                 3       She has responded.
         4   A So the question is there a dose of--                         4                 THE WITNESS: I am saying I couldn't
         5   Q Is there a dose of talc that does not cause ovarian          5    find data from the studies about one dose, the effect of
         6    cancer when applied perineally?                               6    one dose on ovarian cancer, but I am saying that one dose
         7   A There's no evidence that there's any lower limit to a        7    could cause inflammation.
         8    dose-- to use of these products that could increase risk.     8   Q (By Mr. Williams) When you said "theoretically one dose
         9   Q It is your testimony here today that a single dose from a    9    could be enough," you were speculating, correct?
        10    single perineal application of talc is enough to cause       10                 MS. PARFITT: Objection; asked and
        11    ovarian cancer based upon your review of the studies?        11    answered, and she has given you the answer, Mr. Williams.
        12   A The studies did not give that level of detail, of whether   12                 THE WITNESS: I am saying I don't have
        13    somebody used one dose in terms of ovarian cancer risk.      13    the data to say exactly.
        14       However, if you think of the biology, if this one         14   Q (By Mr. Williams) You don't have the data to say one way
        15    dose was introduced perineal, then could move up through     15    or the other?
        16    the vagina, through the cervix and the uterus, and get to    16                 MS. PARFITT: Objection; misstates her
        17    just as far as the fallopian tubes, if it sits in there      17    testimony.
        18    and causes an inflammatory reaction, theoretically one       18                 THE WITNESS: I don't have the data on
        19    dose could be enough.                                        19    ovarian cancer and one dose.
        20       Typically in epidemiologic studies we look for dose       20                 MS. PARFITT: Mr. Williams, without
        21    response, so if somebody is using something longer, more     21    breaking any train of thought, we have gone about an hour
        22    time, more frequently, that increases the chance that        22    and 15 minutes. Maybe in an appropriate place, we could
        23    some of that content could get up into her perineal--        23    take a minute, but I don't want to break your stride.
        24    sorry, her peritoneal, fallopian tubes, ovaries, but         24                 MR. WILLIAMS: In a minute. Thank
        25    there's no reason that one dose couldn't do that.            25    you.

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         1       We do know from the biology that one dose of talc          1   Q (By Mr. Williams) When you said a few moments ago that
         2    injected either into the pleura or into the lungs can         2    you believe that even one dose could cause inflammation,
         3    cause an inflammatory response.                               3    based upon your review of the science, have you reviewed
         4   Q When you say "theoretically one dose could be enough,"       4    scientific literature, any study that says talcum powder
         5    you are speculating; are you not?                             5    causes inflammation, which inflammation causes ovarian
         6                MS. PARFITT: Objection; misstates her             6    cancer?
         7    testimony, form.                                              7   A The evidence that I was able to look at, because you can
         8                THE WITNESS: I am saying that we know             8    not do-- ethically you cannot do a clinical trial where
         9    from other evidence, the biology, that if one dose is         9    you expose women to talcum powder products in one group
        10    injected into the pleura, and I'm talking humans, or         10    and a placebo in another and then follow them forward for
        11    inhaled into the lungs, one dose can cause an                11    30 or 40 years to see if you develop ovarian cancer--
        12    inflammatory response, so that's why I believe one dose      12    because that trial cannot be done, we have to look at
        13    could cause a response in the peritoneal area-- sorry, in    13    different lines of evidence, so we look at the
        14    the fallopian tube or ovarian area.                          14    epidemiology, we look at whether materials can be
        15   Q (By Mr. Williams) You used the phrase "theoretically one    15    introduced into the peritoneal area and make their way up
        16    dose could be enough," did you not, in your answer a few     16    through the vaginal tract and get to the fallopian tubes
        17    moments ago?                                                 17    or ovaries, and then we know that inflammation does
        18   A I said that because it would be unethical to introduce      18    increase risk for ovarian cancer.
        19    one dose of this substance into the fallopian tubes or       19       There have been many studies that show that
        20    ovary area, so you couldn't test that in a human             20    individuals with high levels of inflammatory markers in
        21    directly.                                                    21    their blood, for example, have increased risk for ovarian
        22   Q My question is different, ma'am.                            22    cancer, and people with inflammatory conditions, again,
        23       My question is that you are the person in the room        23    endometriosis, are at an increased risk for ovarian
        24    who used the phrase "theoretically one dose could be         24    cancer.
        25    enough" just a few moments ago, correct?                     25   Q Does all inflammation cause cancer, ma'am?

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         1   A It's not clear that all does, but it certainly increases     1    there.
         2    risk.                                                         2       The work I do for the World Cancer Research Fund
         3   Q So the answer is "no," not all inflammation causes           3    looks at association of diet and physical activity and
         4    cancer?                                                       4    obesity, and risk of cancer and ovarian cancer is one of
         5                 MS. PARFITT: Objection; misstates her            5    those.
         6    testimony.                                                    6   Q I didn't mean to include the work you have done on the
         7                 THE WITNESS: I am saying that the                7    World Cancer Research Fund. I meant separately published
         8    inflammation-- increased inflammation is associated with      8    articles of the sort that are referenced on your CV.
         9    increased risk for cancer.                                    9       Did you understand that to be my question?
        10   Q (By Mr. Williams) What types of cancer?                     10   A Yes.
        11   A For example, some inflammatory conditions like Crohn's      11       So the first one is in press for 2019, for March of
        12    disease increases risk for colon cancer.                     12    2019, and ovarian was one of those cancers.
        13       Individuals with rheumatoid arthritis have increased      13   Q And where is that to be published?
        14    risk for lymphoma.                                           14   A Medicine & Science in Sports & Exercise.
        15       Those inflammatory markers that I mentioned, like         15   Q Have you ever given any lectures regarding talcum powder
        16    C-reactive protein and to interleukin 6 or 8, if those       16    products and ovarian cancer?
        17    are increased, all those are can increase risk for breast    17   A No, I have not.
        18    cancer, ovarian cancer, colon cancer, and other cancers.     18   Q Have you ever given any presentations regarding talcum
        19   Q Now, you have a medical degree, correct?                    19    powder products and ovarian cancer?
        20   A Mm-hm.                                                      20   A No, I haven't.
        21   Q Is that a "yes"?                                            21   Q Have you ever posted on social media at all regarding
        22   A Yes.                                                        22    talcum powder products and ovarian cancer?
        23   Q And you held a license to practice medicine in the state    23   A I don't believe so.
        24    of Washington from July of 1991 to February 18th of 2018;    24   Q Have you ever written any textbook chapters regarding
        25    is that right?                                               25    talcum powder products and ovarian cancer?

                                                           Page 59                                                           Page 61
         1   A I apologize, it's still active. I still have a license.      1   A No, I haven't.
         2   Q And you held what's known as a DEA license that allows       2   Q You are not and were not ever an oncologist of any kind?
         3    one to prescribe medicines?                                   3   A No.
         4   A Yes.                                                         4   Q You are not a pathologist, correct?
         5   Q Is that still active?                                        5   A No.
         6   A That's still active, yes.                                    6   Q You are not a cancer biologist, right?
         7   Q Is it accurate to say that you have never been a             7   A No.
         8    gynecological oncologist?                                     8   Q You are not a toxicologist?
         9   A That's accurate.                                             9   A No.
        10   Q Now, you have written two articles about how diet and       10   Q You are not an industrial hygienist?
        11    exercise affect women after they have been diagnosed with    11   A No.
        12    gynecologic cancer, correct?                                 12   Q Prior to being hired by the Plaintiffs' lawyers in talc
        13   A At least two, yeah.                                         13    litigation, you had not personally conducted research on
        14   Q None of the articles that you've written on that topic      14    talcum powder product use and risk for ovarian cancer,
        15    studied what causes or may cause gynecological cancers;      15    true?
        16    is that true?                                                16                 MS. PARFITT: Objection; misstates her
        17   A That's correct.                                             17    testimony, form.
        18   Q Can we agree that you have never written any                18                 THE WITNESS: Let me look at the--
        19    peer-reviewed, published article or study on the causes      19    prior to being hired-- it depends on what you consider
        20    of ovarian cancer?                                           20    research because I had read some articles, but I had not
        21   A If we're talking about an overall general article, that's   21    produced a report in that area.
        22    true.                                                        22   Q (By Mr. Williams) Let me put it this way:
        23       However, we have a paper in press that is looking at      23        You have published several manuscripts on
        24    the association of physical activity with various            24    gynecologic cancers, including the prevention of ovarian
        25    cancers, and ovarian cancer was one that was included        25    cancer in women at high genetic risk, correct?

                                                                                               16 (Pages 58 to 61)
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                                                 Anne McTiernan, Ph.D
                                                           Page 62                                                           Page 64
         1   A Yes.                                                        1   Q (By Mr. Williams) Dr. McTiernan, before you were ever
         2   Q And you have published manuscripts regarding the effects    2    retained as a paid consultant for this litigation in the
         3    of weight and exercise on the risk for ovarian cancer,       3    fall of 2016, you had written literally hundreds of
         4    correct?                                                     4    articles for peer-reviewed journals.
         5   A Yes.                                                        5       Is that true?
         6   Q But you have not personally conducted research on talcum    6   A Yes.
         7    powder use and risk for ovarian cancer, correct?             7   Q You have worked on comprehensive written reports for the
         8                 MS. PARFITT: Objection.                         8    U.S. government in your career?
         9                 THE WITNESS: The report that I've               9   A Yes.
        10    just prepared I would say is research because it was a      10   Q Can you just describe very briefly, if you would, the
        11    systematic review.                                          11    types?
        12   Q (By Mr. Williams) Let me have you look at Exhibit No. 2,   12   A The U.S. government, I did two reports on physical
        13    your report, and then we'll take a break in a minute.       13    activity and cancer risk and survival, 2008 and 2018, so
        14   A (Witness complies.)                                        14    this was the-- it's called a physical activity guidelines
        15   Q Could you turn to Page 6, please?                          15    advisory committee, and for that we relied on
        16       The first full paragraph on Page 6 begins by saying,     16    meta-analyses. We did not do our own research.
        17    "Although I have not personally conducted research on       17       I've also over the years done grant reviews for the
        18    talcum powder product use and risk for ovarian cancer, I    18    government. I have reviewed their intramural program, so
        19    have published several manuscripts," and it goes on.        19    that means their science, have reviewed their science,
        20       Do you see that?                                         20    and I have prepared reports years ago for National Cancer
        21   A Yes.                                                       21    Institute for-- I've done grant reviews for other
        22   Q Is the first clause in that sentence true or not true?     22    country's governments.
        23   A Yes, that's true.                                          23       That's my governmental service.
        24   Q Let's just mark, before we take a break, these other       24       I was on-- sorry, the United States government
        25    items we said we were going to mark.                        25    still-- grant reviews for the Department of Defense and

                                                           Page 63                                                           Page 65
         1       First is Exhibit No. 3, we would like to mark it,         1    the National Institute of Health.
         2     "Additional materials to Dr. Anne McTiernan."               2   Q Let me ask you to look in your report, Exhibit No. 2, at
         3                      (Exhibit No. 3 marked                      3    Page No. 7.
         4                       for identification.)                      4       In the section of your report entitled, "Overall
         5                                                                 5    approach," you write, in the second sentence, "I drew
         6   Q (By Mr. Williams) Now, I think you told us that the         6    upon my years of experience with synthesizing and
         7    additional materials that you brought here today support     7    interpreting large numbers of epidemiologic studies for
         8    your opinions; is that correct?                              8    comprehensive reports, including work for the U.S.
         9   A Yes.                                                        9    government," and we have gone through that, right?
        10   Q Other than believing that those materials you brought      10   A Mm-hm.
        11    today support your opinions with respect to the             11   Q Is that a "yes"?
        12    association between perineal talcum powder use and          12   A Yes. Sorry.
        13    ovarian cancer, have your opinions changed at all since     13   Q You go on to say, "the World Health Organization,
        14    you first prepared your report that we've marked as         14    International Agency for Research on Cancer"-- IARC,
        15    Exhibit No. 2?                                              15    correct?
        16   A No, they have not.                                         16   A Yes.
        17                MR. WILLIAMS: Thanks. Let's take a              17   Q --"and the World Cancer Research Fund," correct?
        18    quick break, about ten minutes.                             18   A Yes.
        19                VIDEOGRAPHER: Going off the record,             19   Q And you have drawn upon your experience with all of those
        20    the time is 10:28 a.m.                                      20    organizations in setting forth your conclusions here?
        21                      (Recess 10:28 to 10:40 a.m.)              21   A Yes.
        22                                                                22   Q And that's what you write in your report?
        23               VIDEOGRAPHER: The time is 10:40 a.m.             23   A Yes.
        24     We are back on the record. This is the start of Media      24   Q And you write that your opinions are based on the
        25     Unit 2.                                                    25    published epidemiologic evidence, including original

                                                                                              17 (Pages 62 to 65)
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                                                  Anne McTiernan, Ph.D
                                                           Page 66                                                             Page 68
         1    case-control and cohort studies, systematic reviews,          1    cancers.
         2    meta-analyses, and pooled analyses on the topic of talcum     2       I can't say who wrote them because I never quite
         3    powder products exposure and a risk of ovarian cancer,        3    know who exactly did what-- what one person did the main
         4    correct?                                                      4    report drafting.
         5   A Yes, that's what I wrote.                                    5   Q As a panel member, you read the reports though, right?
         6   Q Okay. For the World Cancer Research Fund, you are a          6   A Yes.
         7    member of the advisory panel of experts that guides           7   Q As a panel member you make recommendations based on the
         8    interpretation of meta-analyses and systematic reviews of     8    reports, don't you?
         9    nutrition, physical activity, obesity, and risk for many      9   A Say it again--
        10    cancers, correct?                                            10   Q As a panel member--
        11   A Yes, that's correct.                                        11   A You make recommendations-- that means to them or to--
        12   Q On Page 5, if you flip one page earlier, you reference,     12   Q To the public.
        13    in the section of your report citing your credentials,       13       Let me rephrase the question.
        14    the work that you have done for the World Cancer Research    14       As a panel member for the World Cancer Research
        15    Fund, right?                                                 15    Fund, the WCRF, you read the reports that are prepared by
        16   A Yes.                                                        16    that organization and make recommendations to the public
        17   Q In the middle of the page on Page 5 of Exhibit No. 2 you    17    based upon those reports, right?
        18    say, "For the World Cancer Research Fund, I am a member      18   A I do read the reports. I give input because I'm part of
        19    of the advisory panel of experts that guides                 19    a panel. It doesn't mean I can drive exactly what gets
        20    interpretation of meta-analyses and systematic reviews of    20    sent there.
        21    nutrition, physical activity, obesity, and risk for many     21       When the public recommendations come out, we are
        22    cancers, including ovarian cancer," right?                   22    given a set of guidelines that if there are
        23   A Yes.                                                        23    recommendations that are developed, they will be
        24   Q And you have a link there to an ovarian cancer 2014         24    standardized, and we are asked to follow those standards.
        25    report that you did, right?                                  25       I cannot develop my own standards for what

                                                           Page 67                                                             Page 69
         1   A Yes.                                                         1     recommendations or what statements are made to the public
         2   Q And that--                                                   2     from that.
         3   A Maybe I could correct that.                                  3                   (Exhibit No. 4 marked
         4        I'm on the advisory panel. I don't prepare those          4                    for identification.)
         5    reports.                                                      5
         6        I help interpret them, but it's the World Cancer          6   Q (By Mr. Williams) Let me have you take a look at what
         7    Research Fund scientists-- sorry, Imperial College does       7    we've marked as Exhibit No. 4, which is a copy of this
         8    the meta-analyses and the systematic reviews, and then        8    report that you provided a link to in your report at Page
         9    the World Cancer Research Fund has scientists that write      9    5.
        10    the reports.                                                 10       Page 5 of your report in this case, Exhibit No. 2--
        11        As an advisory committee member, I give opinions         11    Dr. McTiernan, can I have your attention?
        12    on-- with the rest of the committee on-- and we summarize    12   A Yes.
        13    what we think we are seeing in those-- in the data.          13   Q In the report that you wrote for this case at Page No. 5,
        14   Q So just to make sure that I understand the process, the--   14    you provided a link.
        15    you mentioned that there are staff members, I suppose,       15       Do you see that?
        16    from Imperial College who actually write the reports?        16   A Yes.
        17   A The staff members-- the scientists from Imperial College    17   Q That link is to a report that you are holding in your
        18    do the meta-analyses. They collect the data from all         18    hand, which is a 2014 ovarian cancer report, "Food,
        19    available studies, and they prepare data tables, and         19    nutrition, physical activity, and prevention of ovarian
        20    there are scientists at World Cancer Research Fund-- so      20    cancer" that was prepared by the World Cancer Research
        21    it's a funding organization and a scientific                 21    Fund, right?
        22    organization, so their scientists write the reports.         22   A Correct.
        23        For some of these cancers they also contract to          23   Q In the bottom right-hand corner of the page do you see
        24    the-- to IARC, to scientists there who will write some of    24    there's a logo for something called the Continuous Update
        25    the background epidemiology and the biology of particular    25    Project?

                                                                                                18 (Pages 66 to 69)
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                                                 Anne McTiernan, Ph.D
                                                          Page 70                                                            Page 72
         1   A Yes.                                                        1    convincing cause of ovarian cancer; is that true?
         2   Q That is the "CUP" for short?                                2   A Can you point to where you see this?
         3   A Yes.                                                        3   Q Page 5.
         4   Q You helped to oversee the CUP as part of its expert         4       I will direct your attention to the bottom of the
         5    panel, true?                                                 5    page.
         6   A I'm on an advisory committee for this project.              6       It says, "The CUP panel judges as follows," right?
         7   Q Take a look at Page 20 of Exhibit No. 4-- actually, Page    7   A Yes.
         8    19, the acknowledgments section.                             8   Q And it says the CUP panel-- that's the panel that you sit
         9       Do you have that in front of you?                         9    on, right?
        10   A Yes.                                                       10   A Yes.
        11   Q And that lists the panel members, correct?                 11   Q That isn't the people who write it and that isn't the
        12   A Correct.                                                   12    people who review the science. That's you, right?
        13   Q And amongst the ten panelists, you are listed, right?      13   A Correct.
        14   A Yes.                                                       14   Q And it says that "The evidence that developmental factors
        15   Q And the chair is Alan Jackson from the University of       15    leading to greater linear growth (marked by adult
        16    Southampton in Southampton, UK, right?                      16    attained height) are a cause of ovarian cancer is
        17   A Correct.                                                   17    convincing."
        18   Q You are still on the CUP panel today, are you?             18        That's what the panel wrote, correct, or
        19   A It's not clear.                                            19    recommended?
        20       I am advising on survivorship issues.                    20   A That's correct.
        21        It's not clear if this panel will continue.             21   Q Strike that.
        22       My term on it finished very recently, and we are         22       That's what the panel "judged," is the word that's
        23    renegotiating who is going to be on it and what it's        23    used, correct?
        24    going to look like for the future.                          24   A Correct.
        25   Q In 2018--                                                  25   Q Is that another way of saying that factors that make some

                                                          Page 71                                                            Page 73
         1   A I was a part of it, yes--                                   1    people taller than others cause ovarian cancer?
         2   Q You need to let me finish.                                  2                MS. PARFITT: Objection; form.
         3       In 2018 you were a part of the panel, correct?            3                THE WITNESS: This panel did not do a
         4   A Correct.                                                    4    full causal analysis.
         5   Q Let's take a look at Page 1 of Exhibit No. 4, which         5       It does-- its purpose is quite different from the
         6    describes the mission with reference to the World Cancer     6    purpose of the report I prepared on talcum powder
         7    Research Fund Global Network.                                7    products and ovarian cancer risk.
         8       It says, "Our mission: Today the World Cancer             8       The purpose is not to establish causality but rather
         9    Research Fund Global Network continues," and it mentions     9    to come up with guidelines for those variables that can
        10    funding, interpreting the accumulated scientific            10    be interpreted into-- can be interpreted into guidelines.
        11    literature in the field, and educating people about         11       There is a set of information on how these different
        12    choices, correct?                                           12    categories are formed, for convincing, probable
        13   A Correct.                                                   13    associations, and then later what can be done for that,
        14   Q And then at the bottom of Page 1 it references the World   14    what kind of recommendations can be made to the public.
        15    Cancer Research Fund Global Network, and in that            15                MR. WILLIAMS: Move to strike that as
        16    paragraph it references, among others, the American         16    nonresponsive, Doctor, if we were in court, and I will do
        17    Institute for Cancer Research, which is the AICR, right?    17    that now for the record.
        18   A Yes.                                                       18   Q (By Mr. Williams) I would like to ask you to answer my
        19   Q And on the first-- the cover page of this document, you    19    question.
        20    see the AICR is referenced up at the top with the World     20       My question is whether that first paragraph there,
        21    Cancer Research Fund, right?                                21    under the "CUP panel judges as follows," is that
        22   A Yes.                                                       22    paragraph another way of saying that factors that make
        23   Q As a member of the panel, you concluded that               23    some people taller than others cause ovarian cancer?
        24    developmental factors leading to greater linear growth,     24                MS. PARFITT: Objection; form, asked
        25    which is marked by adult-attained height, are a             25    and answered.

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                                                 Anne McTiernan, Ph.D
                                                           Page 74                                                           Page 76
         1                 THE WITNESS: So I still want to                  1    No. 4, was not exclusively related to diet and exercise,
         2    under-- state that we didn't do a full causal analysis,       2    was it?
         3    but there is a statement here that says these are             3   A I believe it was.
         4    causes-- the panel considers the strength strong enough       4   Q Let me see if I can help you there.
         5    that adult height and body fatness are causes of ovarian      5       You consider causes of ovarian cancer other than
         6    cancer.                                                       6    those relating to diet and exercise, true?
         7   Q (By Mr. Williams) Does "greater linear growth" mean          7                 MS. PARFITT: Objection; form.
         8    height?                                                       8                 THE WITNESS: From my knowledge the
         9   A It may not mean-- so this particular variable is never       9    meta-analysis work was focused on nutrition variables,
        10    measured.                                                    10    physical activity variables, and obesity-related
        11       You don't have the data in a population to look at        11    variables, all because they are related to nutrition, as
        12    linear growth over time, and so they were looking at just    12    well as lactation because that's also a nutrition-related
        13    by adult height.                                             13    variable.
        14       Because adult height can be-- have so many variables      14   Q (By Mr. Williams) Your panel wrote about causes of
        15    associated with it -- genetic, nutrition -- they didn't      15    ovarian cancer other than those relating to diet and
        16    want to assume that it's only genetic association that is    16    exercise, true?
        17    driving the risk of cancer, so that's why they're talking    17                 MS. PARFITT: Objection; form.
        18    about growth, but it's a difficult variable because you      18                 THE WITNESS: The panel did not-- I
        19    can't tell which cause the eventual adult height and         19    will have to look and see what they said about other
        20    which of those parts are associated with ovarian cancer      20    causes, but the panel was focused on, in terms of the
        21    or any cancer.                                               21    meta-analysis, the new data that they are presenting, is
        22   Q You keep saying "they"-- saying "they" in your answers.     22    all related to nutrition, physical activity, and diet.
        23       This is you. This is the CUP panel that made that         23   Q (By Mr. Williams) Whether it's new data-- strike that.
        24    judgment that is set forth in Paragraph No. 1, true or       24       First of all, Doctor, you said "they" again.
        25    not true?                                                    25       You mean you, you mean "our panel," correct?

                                                           Page 75                                                           Page 77
         1   A Correct, it was the panel.                                   1   A When I say "they," the meta-analysis, I did not do the
         2                 MS. PARFITT: Objection.                          2    meta-analysis.
         3   Q (By Mr. Williams) The second paragraph says, "Greater        3        the meta-analysis was done by Imperial College.
         4    body fatness, which the panel interprets to be marked by      4       The meta-analysis was contracted by World Cancer
         5    the body mass index, is probably a cause of ovarian           5    Research Fund to Imperial College to do those
         6    cancer."                                                      6    meta-analysis.
         7       Do you see that?                                           7       What the panel did is-- we're a group of scientists.
         8   A Yes.                                                         8    We review those data once they're done.
         9   Q That was a judgment made by the panel upon which you sit,    9   Q You review the data once it's done?
        10    correct?                                                     10   A Once it's done.
        11   A Correct.                                                    11   Q And you make recommendations as a panel member, correct?
        12   Q The third paragraph says, "The evidence suggesting that     12   A We make judgments.
        13    lactation protects against ovarian cancer is limited."       13       The recommendations are a combination of us and
        14       That too was a panel judgment made by the panel upon      14    WCRF.
        15    which you sit, right?                                        15   Q One of the judgments that is-- strike that.
        16   A Correct.                                                    16       On Page 7 of the document, Exhibit No. 4, there is a
        17   Q The panel that you were on, at least as of 2018, was        17    listing entitled, "Other established causes."
        18    primarily looking at causes of ovarian cancer related to     18       Do you see that?
        19    diet and exercise; is that accurate?                         19   A Yes.
        20   A The panel only looks at those related variables.            20   Q And those are established causes of ovarian cancer,
        21       Lactation is included because it has some                 21    correct?
        22    nutritional components, but all of the variables that        22   A Correct.
        23    this organization looks at and-- that's their mission.       23   Q That paragraph--
        24    The nutrition-related variables is what they look at.        24   A Sorry, say that again.
        25   Q But the panel report that is in front of you, Exhibit       25   Q The other established causes that are being referred to

                                                                                               20 (Pages 74 to 77)
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                                                 Anne McTiernan, Ph.D
                                                          Page 78                                                           Page 80
         1    here are established causes of ovarian cancer, correct?      1    probable cause of ovarian cancer, true?
         2                MS. PARFITT: Objection; form.                    2   A If you're talking about this paragraph, I don't see it
         3   Q (By Mr. Williams) Do you understand my question?            3    there.
         4   A I do.                                                       4   Q And this paragraph does not describe talc as a risk
         5       What I'm trying to say-- what I want to say here is       5    factor for ovarian cancer, such as hormone replacement
         6    there was no systematic review done here.                    6    therapy, correct?
         7       This was information that was largely taken from the      7   A Talcum powder products are not mentioned there, correct.
         8    second expert report and repeated here, so this was data     8   Q This 2004 CUP report-- strike that.
         9    from 2007-- information from 2007, and there was no--        9       Did this 2014 CUP report come out before or after
        10    except for lactation, among all these variables there was   10    Plaintiffs' counsel hired you as an expert in this case?
        11    no new review done by the panel.                            11   A This came out before I was hired.
        12       This was the knowledge at the time of the second         12       This was a 2014 report.
        13    annual report, 2007, of variables that are-- that the       13       We may have downloaded this recently.
        14    2007 expert panel thought were related to ovarian cancer.   14       The way these reports work is the work for the
        15   Q Hold on, Doctor.                                           15    meta-analysis is done, and then the panel reviews the
        16       In 2014, which is the date of this document, you         16    data, and then a report is drafted and published online
        17    were sitting on the World Cancer Research Fund's panel,     17    at that time, so if it says, "2014," then it would have
        18    correct?                                                    18    been online in 2014, would have been public then.
        19   A Correct.                                                   19   Q And there have been reports that have been prepared by
        20   Q The panel reviews the results of the epidemiological       20    the World Cancer Research Fund and the American Institute
        21    analysis that is done by others, correct?                   21    for Cancer Research since this 2014 report, right?
        22   A Reviews the data, the meta-analysis from the nutrition     22                 MS. PARFITT: Objection to the form.
        23    variables, yes.                                             23                 THE WITNESS: Different cancers would
        24   Q And then it sets forth judgments and it writes the text    24    have been since then.
        25    that appears in this document, correct?                     25       I don't have memorized exactly when the different

                                                          Page 79                                                           Page 81
         1   A The panel did not write this text.                          1    years came out.
         2       The panel-- the World Cancer Research Fund wrote          2       In-- last spring, and I think it was 2018, but it
         3    this text.                                                   3    could have been 2017, there was a final report of WCRF
         4   Q Are you disavowing Page 7, third paragraph, "Other          4    that included all of these reports, but this was not
         5    established causes," that's set forth other established      5    changed at that time.
         6    causes for ovarian cancer?                                   6       The final report that came out was more of a global
         7                MS. PARFITT: Objection; form,                    7    summary and global nutrition recommendations, but these
         8    misstates her testimony.                                     8    all-- that's why it's called the Continuous Update
         9                THE WITNESS: The question was am I               9    Project, because these things are updated at various
        10    disavowing-- I am not disavowing.                           10    points and then they become part of that final report,
        11       I am saying it was not written by our panel.             11    2017, 2018.
        12       We reviewed it. We had opportunity to have input,        12       This is why I was-- I said that the panel may be
        13    but we were not the final authors of this section.          13    reconstituted, because we finished one set of cancers,
        14   Q (By Mr. Williams) When you read the section, did you       14    one set of reports.
        15    say, "Wait a minute, you haven't included anything in       15   Q (By Mr. Williams) The whole idea of the CUP reports is
        16    here about talc causing ovarian cancer"?                    16    that they get updated continuously, right?
        17       Did you tell anybody that?                               17                 MS. PARFITT: Objection; form.
        18   A I don't recall doing that.                                 18                 THE WITNESS: The ovarian cancer was
        19       At the time I had not done a full analysis of            19    not updated after 2014.
        20    ovarian cancer risk factors.                                20       Is that your question?
        21   Q When you say that you don't recall doing it, are you       21   Q (By Mr. Williams) Are you sure about that?
        22    saying it might have happened, it might not have            22   A From my knowledge it was not updated.
        23    happened, or are you saying that it did not happen?         23   Q Take a look at Page 2 of Exhibit No. 4 that you have.
        24   A It did not happen.                                         24       At the top of Page 2 it says, "Please cite the
        25   Q This document does not include talc as a cause or          25    report as follows," and it gives instructions about how

                                                                                              21 (Pages 78 to 81)
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                                                  Anne McTiernan, Ph.D
                                                           Page 82                                                           Page 84
         1    the report should be cited, correct?                         1   A Correct.
         2   A Yes.                                                        2   Q The CUP expert panel that you sat on through last year is
         3   Q It's accurate to say that the expectation of the            3    in fact the body that issues these reports, like Exhibit
         4    publication of this report is that it may be cited by        4    No. 5, correct?
         5    others, right?                                               5   A Correct.
         6   A Yes.                                                        6   Q Now let me have you look at Exhibit No. 5, which is the
         7   Q That's why you have this at the top of Page No. 2,          7    2018 CUP report.
         8    correct?                                                     8       I will just quickly refer you to Page 4.
         9   A Yes.                                                        9       On Page 4 there's a heading that says, "Our
        10   Q Let me show you another document, which we'll mark as      10    Continuous Update Project, CUP"-- do you see that?
        11    Exhibit No. 5.                                              11   A Yes.
        12                      (Exhibit No. 5 marked                     12                 MS. PARFITT: Give her just one
        13                       for identification.)                     13    moment.
        14                                                                14   Q (By Mr. Williams) And then the second paragraph says,
        15   Q (By Mr. Williams) Exhibit No. 5, for the record, is a      15    "An independent panel of experts carries out ongoing
        16    multi-page document that says, "Diet, nutrition, physical   16    evaluations of this evidence, and their findings form the
        17    activity and ovarian cancer - revised 2018" on the cover    17    basis of the WCRF network's cancer prevention
        18    page.                                                       18    recommendations."
        19       Do you see that?                                         19       Do you see that?
        20   A Yes.                                                       20   A Yes.
        21   Q The CUP expert panel that you sat on through 2018 issued   21   Q That's referring to your panel, correct?
        22    this collection of reports entitled, "Diet, nutrition,      22   A Yes.
        23    physical activity and cancer, a global perspective,"        23   Q And if you look at the back of this document that's on
        24    right?                                                      24    Page 21, in the acknowledgments section, it lists the
        25   A Yes.                                                       25    panel members.

                                                           Page 83                                                           Page 85
         1   Q This is the most recent version of the Continuous Update    1       I've counted. There are now nine panelists as of
         2    Project report that we were just looking at, right?          2    2018, and you are listed as one, correct?
         3   A Yes.                                                        3   A You are looking at-- sorry, which?
         4   Q Let me show you another document, which is-- we'll mark     4   Q Page 21 of Exhibit No. 5.
         5    as Exhibit No. 6.                                            5       Do you see it listed there on Page 21?
         6                     (Exhibit No. 6 marked                       6   A Yes.
         7                      for identification.)                       7   Q Now, please go back to Page 6 of Exhibit No. 5, the 2018
         8                                                                 8    report of the World Cancer Research Fund.
         9   Q (By Mr. Williams) I will ask you to keep Exhibit No. 5      9       Under the box "Summary of panel judgments," do you
        10    nearby.                                                     10    see there that the same conclusions that were set forth
        11       Exhibit No. 6, I will represent to you, is the CUP       11    in the 2014 report concerning the panel judgments are set
        12    panel web page, which we printed out on January 7th,        12    forth?
        13    2019.                                                       13   A So you are talking about this table--
        14       Are you pictured in the picture there?                   14   Q If you look in the lower left-hand corner of the page, it
        15   A Yes.                                                       15    has Page No. 6.
        16   Q Is that you five people over from the right?               16       Are you looking at the 2018--
        17   A Yes.                                                       17   A It says, "Summary of panel judgments."
        18   Q Above the photo that you appear in, do you see where it    18   Q Correct, and do you see the box that's underneath there
        19    says, "In 2018 the expert panel, chaired by Professor       19    with subheadings?
        20    Alan Jackson, issued our latest cancer prevention           20   A Yeah.
        21    recommendations as part of the World Cancer Research        21       One thing to point out is that this table, which is
        22    Fund/American Institute for Cancer Research third expert    22    the summary-- so you are in Exhibit No. 5 ? It says,
        23    report, 'Diet, nutrition, physical activity and cancer: a   23    "2014," so it's the exact same as this 2014 report.
        24    global perspective."                                        24   Q Ma'am, I am not even looking at that page.
        25       That's what it says, correct?                            25   A Okay.

                                                                                               22 (Pages 82 to 85)
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                                                 Anne McTiernan, Ph.D
                                                          Page 86                                                           Page 88
         1   Q I am asking you to look at Page 6.                          1     in 2018, which is after you had been retained by
         2   A Page 6.                                                     2     plaintiff lawyers to opine on whether or not talc could
         3   Q Which says, "The summary of the panel judgments."           3     cause ovarian cancer, true or not true?
         4   A Okay.                                                       4                  MS. PARFITT: Objection; form, asked
         5   Q In that summary of the panel judgments it sets forth the    5     and answered.
         6    same conclusions that were contained in the 2014 report      6                  THE WITNESS: I want to be able to
         7    regarding linear growth, body fatness, and lactation,        7     answer this to try to make it more clear.
         8    correct?                                                     8        If you see on the cover, it says, "2014."
         9   A That's correct.                                             9         This is the 2014 report that was added to all of the
        10   Q There's no reference to talcum powder here either,         10     other reports.
        11    correct?                                                    11        Some were developed in 2011, some in 2017.
        12   A That's correct.                                            12        We did not redo the meta-analyses. We did not redo
        13   Q As of 2018 you had been retained as an expert by the       13     the entire report.
        14    plaintiffs' lawyers in this litigation; is that correct?    14        They were added together.
        15                 MS. PARFITT: Objection; form.                  15        The World Cancer Research Fund for the first two
        16                 THE WITNESS: The summaries are                 16     reports did all of the work at one time and came up with
        17    regarding the data analyzed by WCRF on nutrition            17     books, so the most recent one was 2007.
        18    variables.                                                  18        This time they decided to do reports on a rolling
        19       They do not consider-- they do not do systematic         19     basis. That's why Ovarian came out in 2014, but that
        20    reviews for other ovarian cancer risk factors, only         20     their final-- when they put it all together, they
        21    nutrition variables.                                        21     celebrate, come out with big systematic-- sorry, summary
        22   Q (By Mr. Williams) Let me ask you to go to Page 3.          22     guidelines for the public for preventing cancer-related
        23       Again in your last answer you said "they."               23     nutrition, physical activity, things that people can do--
        24       You are a panelist for this organization, correct?       24     that was all added together in 2018, but this ovarian
        25   A Yes, I am a panelist, but I don't-- I am not in a          25     report was from 2014.

                                                          Page 87                                                           Page 89
         1    position to choose what WCRF decides to contract out for     1                  MR. WILLIAMS: I will move to strike
         2    analyses.                                                    2    that as nonresponsive.
         3       They contract with the Imperial College of what the       3   Q (By Mr. Williams) Dr. McTiernan, on the first page of
         4    focus is going to be: nutrition, physical activity, diet.    4    this document it says it was revised in 2018.
         5       It's my-- I have the ability to refuse to be on the       5       This document that's in front of you now was
         6    panel, to decline if I don't want to be involved with        6    published in 2018, wasn't it?
         7    nutrition, physical activity, and obesity research           7                 MS. PARFITT: Objection; form.
         8    because that's the mission. The mission are those            8        She has been asked and answered it.
         9    variables, not to do systematic reviews on other risk        9       You have limited time, Mr. Williams, so I suggest
        10    factors.                                                    10    you listen to her answer.
        11       We don't do anything on cigarette smoking or other       11   Q (By Mr. Williams) This document was published in 2018,
        12    types of carcinogens, for example.                          12    yes or no?
        13       We only do nutrition, physical activity,                 13                 MS. PARFITT: Objection; form, asked
        14    obesity-related variables.                                  14    and answered.
        15   Q To be clear, this CUP update on ovarian cancer came out    15                 THE WITNESS: This document was
        16    in 2018, which is after you were retained by plaintiff      16    published along with all of the other documents, but the
        17    lawyers to opine on whether or not talc could cause         17    document was prepared in 2014.
        18    ovarian cancer.                                             18       It's a report in 2014.
        19       Is that true or not true?                                19   Q (By Mr. Williams) What year was this document published?
        20                  MS. PARFITT: Objection; form, asked           20                 MS. PARFITT: The document speaks for
        21    and answered.                                               21    itself. Objection; form.
        22   Q (By Mr. Williams) I am looking for a temporal answer.      22                 THE WITNESS: It says, "Revised 2018."
        23       This--                                                   23   Q (By Mr. Williams) 2018 was after you were retained by
        24                  MS. PARFITT: Same objection.                  24    Plaintiffs' counsel, correct?
        25   Q (By Mr. Williams) This update on ovarian cancer came out   25                 MS. PARFITT: Objection; form,

                                                                                              23 (Pages 86 to 89)
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                                                 Anne McTiernan, Ph.D
                                                           Page 90                                                            Page 92
         1    mischaracterizes her testimony.                               1        This says, "Our cancer prevention recommendations."
         2   Q (By Mr. Williams) You may answer, Doctor.                    2       When it says "our" there, that refers to the panel
         3                 MS. PARFITT: Objection; form.                    3    on which you sat in 2018, correct?
         4       Answer as best you can.                                    4   A This is correct.
         5                 THE WITNESS: Yes, 2018 is after I was            5       This is a separate document.
         6    retained.                                                     6       It must have been from the ovarian report because
         7   Q (By Mr. Williams) It was a couple years after you had        7    this is-- there are separate recommendations based on all
         8    been retained, right?                                         8    of the cancers.
         9   A That's correct.                                              9   Q The panel does not recommend limiting or stopping the use
        10   Q Could you list for me all of the members of the panel who   10    of talcum powder, correct?
        11    served with you on the World Cancer Research Fund whom       11   A The panel did not look at all potential carcinogens.
        12    you told, "We need to update this to state that talc,        12       The panel looked and developed recommendations based
        13    which is something that people can use or not use, is        13    on nutrition, physical activity, and obesity-related
        14    something that they should not use because it causes         14    variables.
        15    ovarian cancer"?                                             15   Q Is the answer that it does not list talc?
        16       List for me the people who are listed on Page 21, as      16                 MS. PARFITT: Objection; form.
        17    fellow panel members, all of the people that you have        17                 THE WITNESS: It does not list talc,
        18    told that.                                                   18    but it doesn't list other carcinogens as well.
        19   A I didn't talk with others about other risk factors for      19   Q (By Mr. Williams) Please turn to Page 8.
        20    ovarian cancer because we were using the same report         20       I am referring to Page 8 of the 2018 CUP report.
        21    unchanged from 2014.                                         21       I will direct your attention to Section 4 at the top
        22   Q Is the answer that there's no one?                          22    that says, "Other established causes."
        23                 MS. PARFITT: Objection; misstates her           23       Do you see that?
        24    testimony.                                                   24   A Yes.
        25   Q (By Mr. Williams) Is the answer that there is no one        25   Q Not bearing children is listed as something that may be

                                                           Page 91                                                            Page 93
         1     there?                                                       1    seen as a cause of ovarian cancer, correct?
         2                 MS. PARFITT: Objection; form,                    2   A Correct.
         3    misstates her testimony.                                      3   Q Early menarche or age of first period is listed as
         4   Q (By Mr. Williams) You may answer.                            4    something that your panel concluded may be seen as a
         5   A Correct.                                                     5    cause of ovarian cancer, true?
         6                 MS. PARFITT: You may answer.                     6   A It wasn't a panel conclusion. We weren't asked to judge
         7   Q (By Mr. Williams) Is the answer correct?                     7    data.
         8   A Correct.                                                     8       This was written up as a background for other
         9                  MS. PARFITT: Objection.                         9    potential causes.
        10                 MR. WILLIAMS: Counsel, I am entitled            10       There were no data that was reviewed by the panel.
        11    to an answer to the question.                                11   Q The heading is, "Other established causes," right?
        12                 MS. PARFITT: You can, and I'm                   12   A Right.
        13    entitled to object to the form.                              13       WCRF prefers to use that language. I'm not sure I
        14                  MR. WILLIAMS: But you are objecting            14    would have used that.
        15    over her answer.                                             15   Q Talc is not listed as an established cause, correct?
        16                  MS. PARFITT: No, I am objecting-- she          16   A It is not.
        17    is answering quite quickly. I am trying to object before     17       It looks like the paragraph was unchanged from 2014.
        18    she answers, but after you.                                  18    It was not updated.
        19                 MR. WILLIAMS: Fair enough.                      19       This report, from my knowledge, is the same in 2014
        20                 MS. PARFITT: Thanks.                            20    as this-- as what's called "Revised," but I believe it's
        21   Q (By Mr. Williams) Please turn to the second-to-last page    21    the same report.
        22    of this 2018 CUP report, which is entitled, "Our cancer      22   Q Did you, as a member of this expert panel, conclude that
        23    prevention recommendations."                                 23    talc could be seen as a cause of ovarian cancer?
        24       It is a purple page. It is the inside cover of the        24   A This expert panel didn't consider talc.
        25    pamphlet.                                                    25   Q Is the answer "no?

                                                                                                24 (Pages 90 to 93)
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                                                 Anne McTiernan, Ph.D
                                                          Page 94                                                             Page 96
         1                 MS. PARFITT: Objection; form--                   1    cancers.
         2                 THE WITNESS: All I can say is we                 2       "Spontaneous" means something else caused it.
         3    didn't consider-- we didn't review the literature. We         3   Q However you define "spontaneous," do you agree that most
         4    didn't do-- review any of these other variables in            4    ovarian cancers occur spontaneously?
         5    totality.                                                     5                 MS. PARFITT: Objection; form.
         6   Q (By Mr. Williams) Is there any reason why you don't do       6                 THE WITNESS: I agree that most-- I
         7    that?                                                         7    would not use that word myself because it can be
         8   A We were tasked at looking at nutrition, physical             8    misconstrued by nonscientists.
         9    activity, and obesity-related variables.                      9       "Spontaneous" means "nongenetically inherited," so I
        10   Q Tasked by whom?                                             10    would say environmental, that most cancers-- most ovarian
        11   A By WCRF, World Cancer Research Fund.                        11    cancers are caused by something in the environment, some
        12   Q Did the World Cancer Research Fund say that you could not   12    exposure.
        13    look into talc?                                              13   Q (By Mr. Williams) Did you tell someone to take out the
        14                 MS. PARFITT: Objection; form.                   14    word "spontaneously"?
        15                 THE WITNESS: They did-- in our                  15   A I don't recall.
        16    personal lives, that we could look into any variable you     16        We did have an opportunity in 2014 to edit these
        17    wanted to, but for this purpose of this panel, we were       17    various reports.
        18    only looking at and evaluating the meta-analysis, which      18       None of us had final say on exactly what came out of
        19    was focused on physical activity, diet, and nutrition        19    the report.
        20    variables.                                                   20       We did go through a process of editing.
        21   Q (By Mr. Williams) Let me ask you to turn to Page 7 of       21   Q When you had the opportunity to edit the report in 2014,
        22    the CUP report.                                              22    did you ask someone to take out the word "spontaneously"?
        23   A Which one?                                                  23   A I don't recall.
        24   Q Page 7 of the 2018 report, Exhibit No. 5.                   24   Q When you say you don't recall, are you saying it may have
        25   A Okay.                                                       25    happened, it may not have happened?

                                                          Page 95                                                             Page 97
         1   Q Do you see the heading that says, "Pathogenesis"?            1   A It may have happened, it may not.
         2   A Yes.                                                         2       I apologize, I don't recall.
         3   Q Do you see where in the second paragraph the panel           3   Q And after you make such a recommendation as a panelist,
         4    concluded that the-- quote, "Most ovarian cancers occur       4    who decides what gets put in?
         5    spontaneously, although five to ten percent of cases          5   A The World Cancer Research Fund. The scientific officers
         6    develop due to a genetic disposition," Closed quote?          6    would decide.
         7       Do you see that?                                           7   Q They would listen to the input and then decide one way or
         8   A I see that, and above that I see that "The epithelial        8    the other?
         9    cells are subjected to a unique pro-inflammatory              9   A Yes.
        10    microenvironment, which can increase the rate of DNA         10   Q In 2014 the Gertig 2000 and Terry 2013 studies on talc,
        11    damage, thus affecting cancer risk."                         11    that you reviewed in 2016, had already been published,
        12        In this case the word "spontaneous" just means "as       12    correct?
        13    opposed to genetics."                                        13   A I am hesitating because I don't remember when this exact
        14        Spontaneous cancers mean they can be caused by           14    writing was.
        15    anything else, including environment, but not solely due     15       If it's a 2014 report, that's when it came out.
        16    to an inherited genetic predisposition.                      16       It could have been being written within 2013, so at
        17   Q Do you agree that most ovarian cancers occur                17    the time I was not doing research on all of the variables
        18    spontaneously?                                               18    related to ovarian cancer, so I can't say what was
        19   A I believe most are caused by environmental causes as for    19    published at that time.
        20    many other cancers.                                          20   Q 2014 is after 2013, correct?
        21       I am using the word "spontaneous." I mean "non            21   A That's correct.
        22    solely genetic."                                             22   Q If Gertig was published in 2000, Gertig would have been
        23       Cancer is a genetic disease, but the familial             23    published prior to the time that this exhibit, the 2014
        24    genetic-inherited cancers account for only about five to     24    version of this exhibit, was published, correct?
        25    ten percent of ovarian cancers, similar to many other        25   A Published but perhaps not when it was prepared, that's

                                                                                                25 (Pages 94 to 97)
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                                                          Anne McTiernan, Ph.D
                                                                  Page 98                                                    Page 100
         1     what I'm saying.                                              1    if you are trying to get to the World Cancer Research
         2   Q If the Terry study was published in 2013, it would have       2    Fund website.
         3     been published prior to the time that the 2014 version of     3       Will you accept that representation, ma'am?
         4     the World Cancer Research Fund would have been published,     4   A It looks like it comes from their website.
         5     correct?                                                      5       I am not clear on who developed this or-- it
         6   A It would have been published prior to publication, not        6    certainly didn't have oversight by our committee.
         7     necessarily prior to report preparation.                      7       Our committee was tasked at looking at the data from
         8   Q Have you ever been on the World Cancer Research Fund web      8    the meta-analysis and systematic review.
         9     page?                                                         9       None of these variables-- none of the variables
        10   A Yes, I have.                                                 10    here, except perhaps coffee, were considered by my panel.
        11   Q Let me show you what we've marked as Exhibit No. 7 or        11       My panel does not oversee all World Cancer Research
        12     what we will mark as Exhibit No. 7 to your deposition.       12    Fund. There are other groups that oversee them.
        13                        (Exhibit No. 7 marked                     13       I do not.
        14                        for identification.)                      14       I oversee-- sorry, I participate on one panel that
        15                                                                  15    focuses on nutrition, physical activity, and diet
        16   Q (By Mr. Williams) Exhibit No. 7 is the World Cancer          16    meta-analyses.
        17     Research Fund web page.                                      17   Q Take a look at Page 2 of this document, which is Exhibit
        18       We printed this out as of January 8th, 2019.               18    No. 7.
        19       It's a five-page document, and the portion that we         19       At the top of the page it says, "Cosmetics and
        20     printed out is "Myths and controversies about what causes    20    toiletries."
        21     cancer."                                                     21       Do you see that?
        22       Do you see that?                                           22   A I do.
        23   A Yes, I do.                                                   23   Q It says, "Most studies have found no link between cancer
        24   Q There is only one World Cancer Research Fund, to your        24    and the chemicals used in cosmetic and toiletry products,
        25     knowledge, correct?                                          25    such as moisturizers, shampoos, deodorants, and

                                                                  Page 99                                                    Page 101
         1   A That's correct.                                               1    toothpastes. The majority of countries have strict
         2   Q The World Cancer Research Fund, the organization for whom     2    regulations to ensure these products are safe."
         3     you have served as an advisory panel member for years,        3       Do you see that?
         4     tries to advise the public about potential causes for         4   A Yes.
         5     cancer, correct?                                              5   Q It goes on, second paragraph, "Some studies have found a
         6                  MS. PARFITT: Objection; form.                    6    link between talcum powder, talc, and ovarian cancer, but
         7                  THE WITNESS: Their focus is on                   7    there is not enough evidence to be certain of this. Even
         8     nutrition, physical activity, and obesity variables.          8    if there were an increased risk, scientists estimate it
         9       That's what they advise on. That's what their               9    would be small. Not smoking, followed by maintaining a
        10     recommendations are.                                         10    healthy weight through eating a healthy diet and keeping
        11   Q (By Mr. Williams) The World Cancer Research Fund tries       11    active, are the most effective ways to reduce your cancer
        12     to debunk myths about what has been established as a         12    risk."
        13     cause of cancer, correct?                                    13       Did I read that right?
        14                  MS. PARFITT: Objection; form.                   14   A Yes, you did.
        15                  THE WITNESS: Before I answer that, I            15   Q Do you disagree with that statement of the World Cancer
        16     would like to know if this is a Blount post.                 16    Research Fund?
        17       If it's not-- it's not something that has come             17   A I do.
        18     before the World Cancer Research Fund.                       18       I am surprised it's there.
        19       We would never investigate or were never asked to          19   Q Is it accurate to say that your opinion in this case that
        20     comment on these particular issues.                          20    the state of known scientific evidence establishes that
        21   Q (By Mr. Williams) I will represent to you that the           21    perineal use of talc causes ovarian cancer conflicts with
        22     address that is listed at the bottom of the page, which      22    the conclusion set forth on the website of the World
        23     includes                                                     23    Cancer Research Fund that there is not enough evidence to
        24     www.wcrf-uk.org/uk/preventing-cancer/cancer-risk-factors-    24    be certain that there is a link between talcum powder use
        25     and it goes on, is, in fact, where you get-- where you go    25    and ovarian cancer?

                                                                                              26 (Pages 98 to 101)
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                                                   Anne McTiernan, Ph.D
                                                           Page 102                                                        Page 104
         1                MS. PARFITT: Objection; form,                    1   A Yes.
         2    misstates the document.                                      2   Q And the second paragraph that's listed there on Exhibit
         3                THE WITNESS: I do disagree.                      3    No. 8 is identical to the paragraph that we just went
         4   Q (By Mr. Williams) Your opinion in this case conflicts       4    over in Exhibit No. 7 relating to talcum powder and
         5    with the--                                                   5    ovarian cancer; is that right?
         6   A Yes, my opinion conflicts--                                 6   A Yes, I see that.
         7   Q You need to wait until I'm done, ma'am if you would.        7   Q Is it accurate to say that your opinion in this case,
         8   A Okay.                                                       8    that the state of known scientific evidence establishes
         9   Q Your opinion in this case, as set forth in your report,     9    that perineal use of talc causes ovarian cancer,
        10    conflicts with the conclusions set forth specifically       10    conflicts with the conclusion of the American Institute
        11    regarding talcum powder on the World Cancer Research Fund   11    for Cancer Research, that there is not enough evidence to
        12    website, correct?                                           12    be certain that there is a link between talc use and
        13                MS. PARFITT: Objection to the form.             13    ovarian cancer?
        14                THE WITNESS: Yes, that's correct.               14                 MS. PARFITT: Objection; form.
        15   Q (By Mr. Williams) The American Institute for Cancer        15                 THE WITNESS: Yes, I disagree with
        16    Research tries to advise the public regarding potential     16    what they have written here.
        17    causes of cancer; is that right?                            17   Q (By Mr. Williams) You have never told anyone from the
        18                MS. PARFITT: Objection; form,                   18    AICR, I take it, that you disagree?
        19    misstates her testimony.                                    19                 MS. PARFITT: Objection; form.
        20                THE WITNESS: The American Institute             20                 THE WITNESS: I did not know that they
        21    for Cancer Research is part of the World Cancer Research    21    had this on their website.
        22    Foundation, and they have the same mission, to focus on     22       I think I will talk to them now.
        23    nutrition, physical activity, and obesity in relation to    23   Q (By Mr. Williams) Let me direct your attention to a new
        24    cancer risk and survival.                                   24    document, which is an article from Hutch News that refers
        25   Q (By Mr. Williams) Did you know that the American           25    to you.

                                                           Page 103                                                        Page 105
         1    Institute for Cancer Research includes a page on its         1       We'll mark it as Exhibit No. 9.
         2    website discussing whether different exposures can cause     2                     (Exhibit No. 9 marked
         3    cancer?                                                      3                      for identification.)
         4   A I would have to see it, but no, I do not follow whatever    4
         5    page you're talking about.                                   5   Q (By Mr. Williams) This is an article that was published
         6       I don't know what you're referring to.                    6    on May 25th, 2018, correct?
         7                     (Exhibit No. 8 marked                       7      It's a commentary written by you?
         8                      for identification.)                       8   A Yes. It was edited by-- our communications department
         9                                                                 9    edited it, so I authored it, but they adjusted it.
        10   Q (By Mr. Williams) Let me show you what we've marked as     10   Q May 25, 2018 was at least a year and a half after you had
        11    Exhibit No. 8.                                              11    been retained by plaintiffs' counsel for this engagement,
        12       Exhibit No. 8 is a three-page document, which is a       12    correct?
        13    printout of the website of the AICR. The address is         13                 MR. LOCKE: We haven't seen Exhibit
        14    listed at the bottom of Page 1 of Exhibit No. 8.            14    No.--
        15       You are familiar with the American Institute for         15   Q (By Mr. Williams) Did you hear my question?
        16    Cancer Research?                                            16   A No-- yes.
        17   A Yes, I am.                                                 17   Q You're quoted in this article-- strike that.
        18       It is a part of the World Cancer Research Fund.          18      The title of your article is, "How to reduce the
        19   Q I would like you to look at the first page of Exhibit      19    odds of getting cancer," right?
        20    No. 8.                                                      20   A Yes.
        21       There is a listing that says, "GMOs and other hot        21   Q You are quoted in this article as saying there are steps
        22    topics," and then there are seven different topics that     22    people can take to absolutely cut their risk of getting
        23    are set forth, the fifth of which is cosmetics and          23    cancer, true?
        24    toiletries.                                                 24   A Yes.
        25       Do you see that?                                         25   Q Directly under the title there's a quote that says,

                                                                                          27 (Pages 102 to 105)
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                                                 Anne McTiernan, Ph.D
                                                         Page 106                                                          Page 108
         1    "There are steps you can take that will absolutely cut        1                 MS. PARFITT: Objection; form.
         2    your risk, says Fred Hutch's doctor Anne McTiernan, who       2                 THE WITNESS: When we do a causation
         3    contributed to a new report on diet, nutrition, physical      3    analysis as epidemiologists, we primarily rely on results
         4    activity and cancer," did I read that right?                  4    in humans and especially epidemiology, but we also look
         5   A Yes.                                                         5    to see if there are plausible biologic mechanisms that
         6   Q Now, at the time that you were writing this commentary, I    6    can link what we see in the human data, in terms of
         7    take it that you were not limited in any way in what you      7    exposure to risk of disease, so we do look at biological
         8    could talk about as a way that someone could cut their        8    mechanisms as well.
         9    risk of getting cancer?                                       9   Q (By Mr. Williams) Much of epidemiologic observational
        10       No one was editing your words, true?                      10    research in cancer focuses on determining the
        11   A That's not true.                                            11    associations between an exposure and an outcome, true or
        12       The communications department has final say on what       12    not true?
        13    goes out from our institution, so I don't have full          13   A Yes, that's true.
        14    leeway of what went out.                                     14   Q The mere existence of an association does not itself
        15       They had asked me to write about something, with          15    prove a cause and effect relationship between the
        16    their help, their editing, on the new report by the World    16    exposure and the disease, right?
        17    Cancer Research Fund, so it focused primarily on             17   A The existence of an association is typically part of the
        18    nutrition, physical activity, and diet information.          18    scientific data we would use in order to determine if
        19   Q Are you suggesting that you could not have referenced       19    it's a cause and effect, and there could be some-- some
        20    talcum powder or stopping the use of talcum powder as it     20    associations that would be so difficult to explain
        21    relates to your view of ovarian cancers, ma'am?              21    otherwise, that you would understand that that has to be
        22   A I am saying I was asked to focus on these variables in      22    a cause, but typically in the epidemiology of cancer, we
        23    this new report.                                             23    are looking at both the results in human, human
        24       Fred Hutchinson is-- the communications department        24    population studies, epidemiology studies, but we also
        25    is a news program-- sorry, a news service-- they call        25    look at plausible biologic mechanisms.

                                                         Page 107                                                          Page 109
         1    themselves a news service, and they wanted me to talk         1   Q Association is not synonymous with causation, is it,
         2    about new results.                                            2    ma'am?
         3       I added-- I did add to try to avoid other                  3   A Association, correct, it's not exactly the same as
         4    carcinogens, and I specifically mentioned air pollution       4    causation.
         5    and asbestos as some things that affect many different        5   Q As you read the epidemiologic literature as part of your
         6    cancers, but I was primarily tasked to talk about             6    work in this matter, you considered the Bradford Hill
         7    nutrition, physical activity, and diet, and especially        7    aspects of causal inference, right?
         8    since that was a new report.                                  8   A That's correct.
         9       That's why this article is focused on that.                9   Q The continuous research project, for which you serve as a
        10   Q Did you identify talc use as an actual or probable          10    panel member, also uses the Bradford Hill criteria as the
        11    carcinogen of any kind of cancer in this article?            11    basis for its systematic review analyses, true?
        12   A This was not focused on any particular risk factor, so I    12   A The World Cancer Research Fund has a modified version of
        13    was talking about very generic environmental causes of       13    Bradford Hill.
        14    cancer, and I can see that I did mention asbestos as an      14       Most groups that are looking at these types of
        15    example, but I did not list all of the cancer-causing        15    variables, and are looking at developing public
        16    chemicals that can be encountered.                           16    recommendations, will use some kind of modification of
        17   Q In terms of your day-to-day research activities, those      17    Bradford-Hill-like criteria, so the World Cancer Research
        18    are in the field of epidemiology, correct?                   18    Fund has developed criteria that are very different in
        19   A Epidemiology and clinical trials.                           19    some way from other epidemiology studies, and
        20       Some people consider that clinical research, and          20    particularly because they're focused on nutrition, and
        21    some consider it epidemiology, but I'm an epidemiologist     21    nutrition is a variable different from other types of
        22    and an internist.                                            22    exposures in terms of developing them.
        23   Q When it comes to assessing cause, epidemiology, your        23       They also have further developed those criteria for
        24    field, is only one part of the causation analysis; is        24    survivorship, so it's not exactly a Bradford Hill
        25    that true?                                                   25    analysis.

                                                                                           28 (Pages 106 to 109)
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                                                 Anne McTiernan, Ph.D
                                                         Page 110                                                          Page 112
         1   Q The Bradford Hill criteria are the basis for the            1       That was my question.
         2    Continuous Update Project systematic review analyses and     2                 MS. PARFITT: Mr. Williams, if I could
         3    the criteria for judging the evidence, true or not true?     3    just say, she is a doctor, if we could refer to her as
         4                 MS. PARFITT: Objection; form, asked             4    "Doctor."
         5    and answered.                                                5                 MR. WILLIAMS: I'm sorry. Pardon me.
         6                 THE WITNESS: I would say Bradford               6   Q (By Mr. Williams) Dr. McTiernan, excuse me, is that last
         7    Hill criteria were considered in developing the              7    sentence of the second paragraph on Page 5 accurate or
         8    guidelines for the systematic review interpretation.         8    not?
         9                       (Exhibit No. 10 marked                    9                 MS. PARFITT: Thank you.
        10                        for identification.)                    10       Objection.
        11                                                                11                 THE WITNESS: When I said "basis," I
        12   Q (By Mr. Williams) Let me have you look at what we've       12    would say it's the beginning because it was revised quite
        13    marked as Exhibit No. 10.                                   13    a bit.
        14        Exhibit No. 10 is a multi-page document from the        14       I will add to that.
        15    World Cancer Research Fund entitled, "Judging the           15       There are things in this document, in this
        16    evidence," and dated 2018.                                  16    evidence-- "Judging the evidence" document that go much
        17       Do you recognize this document?                          17    beyond what Bradford Hill aspects considered and are much
        18   A Yes, I do.                                                 18    more specific to these types of variables.
        19   Q This document was published at a time when you were        19   Q (By Mr. Williams) Let me have you turn to-- let's take a
        20    serving as a panelist for the World Cancer Research Fund?   20    look back at the exhibit that we marked as Exhibit No. 5.
        21   A It was developed before then, but it was published again   21       Exhibit No. 5 is the 2018 revised report.
        22    at that time, yes.                                          22       Do you have that in front of you?
        23   Q Let me have you look at Page 4.                            23   A Yes.
        24       Page 4 sets forth how to cite the third expert           24   Q This document at Page 9 sets forth the methodology for
        25    report ; does it not?                                       25    the report.

                                                         Page 111                                                          Page 113
         1   A How to cite the whole report, yes.                          1       Do you see that on Page 9?
         2   Q It was contemplated at the time that this document,         2   A Yes.
         3    "Judging the evidence," was published, that it could be      3   Q And it says, "Through this process," and this is the
         4    cited by experts, correct?                                   4    third paragraph on that page. "Through this process the
         5                 MS. PARFITT: Objection; form.                   5    CUP ensures that everyone, including policy-makers,
         6                 THE WITNESS: Yes.                               6    health professionals, and members of the public, has
         7   Q (By Mr. Williams) Look at Page 5, if you would.             7    access to the most up-to-date information on how to
         8   A (Witness complies.)                                         8    reduce the risk of developing cancer."
         9   Q Page 5 under the title, "Introduction," the second full     9       Do you see that?
        10    paragraph, I will direct you to the last sentence. It       10   A No-- so you are on Page 9?
        11    says, "The Bradford Hill criteria are the basis for the     11       Which paragraph?
        12    Continuous Update Project, CUP, systematic review           12   Q I'm sorry, Page 4. I misspoke.
        13    analyses and the criteria for judging evidence."            13                MS. PARFITT: Thank you.
        14       Do you see that?                                         14   Q (By Mr. Williams) Pardon me, ma'am-- Doctor.
        15   A Yes, I do.                                                 15       Page 4, third paragraph, under "Our Continuous
        16   Q Is that an accurate statement?                             16    Update Project."
        17   A I would say it's the beginning because they did change,    17       Do you see that?
        18    and it spanned quite a bit compared to Bradford Hill.       18   A Yes.
        19       Bradford Hill's speech, when he developed it and         19   Q The whole purpose of the continuous update process is to
        20    when the result was published in the World Society of       20    try to ensure that members of the public have access to
        21    Medicine, was very basic, did not have the many criteria    21    the most up-to-date information on how to reduce the risk
        22    that World Cancer Research Fund uses, and their criteria,   22    of developing cancer, correct?
        23    the way they developed it, beyond Bradford Hill, was        23                MS. PARFITT: Objection; misstates the
        24    because of the nutrition-related variables.                 24    document.
        25   Q Is it an accurate statement or not, ma'am?                 25                THE WITNESS: If you are looking at

                                                                                          29 (Pages 110 to 113)
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                                                 Anne McTiernan, Ph.D
                                                         Page 114                                                           Page 116
         1    that sentence, you would also have to put it in context       1    and those can have case-control studies in them.
         2    of what this report is.                                       2       It's just that when they do their meta-analyses,
         3       It's related to diet, nutrition, physical activity         3    which is actually looking at data from the various
         4    and cancer.                                                   4    studies, they make the choice for nutrition variables to
         5       It is not all potential causes of cancer that an           5    focus on cohort studies for some cancers and some
         6    individual could modify in order to reduce risk.              6    exposures.
         7       We are talking only about diet, nutrition, and             7       As I mentioned, arsenic, there was some other
         8    physical activity.                                            8    exposures, like very hot teas that were studied in
         9   Q (By Mr. Williams) Let's look at Page No. 9 of this           9    case-control studies, so that's not a complete sentence--
        10    exhibit.                                                     10    statement for all of the projects.
        11       At the end of the first paragraph, under the              11                   MR. WILLIAMS: I move to strike that
        12    heading, "Methodology," it says, halfway down that           12    as nonresponsive.
        13    paragraph, "The literature search was restricted to          13   Q (By Mr. Williams) My question to you is this:
        14    Medline and included only randomized controlled trials,      14       The last sentence under "Methodology" on Page 9 of
        15    cohort and case-control studies. Due to their                15    this exhibit, Exhibit No. 5, says that "Due to their
        16    methodological limitations, case-control studies were not    16    methodological limitations, case-control studies were not
        17    analyzed in the Ovarian Cancer SLR 2013."                    17    analyzed in the Ovarian Cancer SLR 2013."
        18       Do you see that?                                          18       That's what it says, right?
        19   A Yes.                                                        19   A And I was explaining what it means.
        20   Q And "SLR" refers to "systematic literature review"?         20   Q You would agree with me that each study design, cohort
        21   A Yes, it does.                                               21    study, case-control study, other types of studies, has
        22   Q When you were considering the literature in your work for   22    its advantages and limitations, correct?
        23    the World Cancer Research Fund to determine what causes      23   A That's true.
        24    cancer, it is accurate that your panel did not look at       24   Q And you would agree that the hierarchy of epidemiological
        25    any case-control studies?                                    25    evidence places cohort studies above case-control

                                                         Page 115                                                           Page 117
         1   A That's not true for the entire work that we did.             1     studies?
         2       For some of the cancers and some of the exposures we       2                MS. PARFITT: Objection; form.
         3    did include case-control studies; for example, arsenic        3                THE WITNESS: I would say the
         4    and some other carcinogens.                                   4    hierarchy of epidemiology evidence depends entirely on
         5       When I mentioned that the Bradford Hill aspects were       5    the question under review.
         6    extended for this analysis, it is particularly because of     6       If you have an exposure, which is very difficult to
         7    nutrition variables.                                          7    measure and which can change over time or which you are
         8       Nutrition variables are very difficult to ascertain        8    trying to determine lifetime exposure, then often it's
         9    for exposure because as opposed to the use of talcum          9    more-- it's easier to do that in a case-control study.
        10    powder products, which might be used once or twice a day,    10       The case-control studies that were reviewed for the
        11    nutrition variables are occurring sometimes 50 to 100        11    talcum powder product used and ovarian cancer risk
        12    times a day.                                                 12    primarily used interview questionnaires, so an
        13       The amount that people eat, what they're eating, how      13    interviewer spending time, sometimes several hours with a
        14    often they're eating, the variables are so difficult to      14    patient in control, to determine lifetime exposures.
        15    collect, that the results from case-control studies are a    15       The cohort studies, however, typically, and
        16    concern to some investigators.                               16    especially the three cohort studies that were included in
        17       Many epidemiologists disagree with this choice of         17    this review and that have been published on ovarian
        18    what World Cancer Research Fund decided to do.               18    cancer and talcum powder products, those studies were
        19       When it says-- however, I should also mention when        19    designed to look at multiple diseases.
        20    it says, "analyzed," that's analyzed for the                 20       Nurses' Health Study was started to--
        21    meta-analysis.                                               21   Q (By Mr. Williams) Ma'am, I am going to have to cut you
        22       The World Cancer Research Fund, when they do the          22    off because-- look, when I ask you questions, I need you
        23    systematic reviews, also looks for pooled analyses and       23    to answer the question that I've asked. Otherwise, you
        24    meta-analyses, and they present them in the SLR, and         24    could just talk for a half an hour, so if you would,
        25    reports will have information from those other reports,      25    please, Doctor, just focus on the question that I'm

                                                                                             30 (Pages 114 to 117)
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                                                 Anne McTiernan, Ph.D
                                                        Page 118                                                           Page 120
         1    asking you.                                                  1    question to you now is:
         2        The question that I'm asking you is:                     2       Is it your testimony that there is in fact no
         3        As a matter of epidemiological practice in your line     3    generally accepted hierarchy of epidemiological evidence
         4    of work, is it true or not true that case-- excuse me,       4    that places cohort studies above case-control studies?
         5    that cohort studies are placed higher in the hierarchy       5                 MS. PARFITT: Objection.
         6    than case-control studies?                                   6                 THE WITNESS: And I would again say it
         7        If the answer is that's not true, please just say        7    depends entirely on the question, the scientific
         8    it's not true.                                               8    question.
         9                 MS. PARFITT: Objection to form; asked           9   Q (By Mr. Williams) Here this references that cohort
        10    and answered.                                               10    studies are likely to be the main source of evidence
        11                 THE WITNESS: I think-- yeah, I did             11    owing to the long latent period for cancer and owing to
        12    try to answer that before. I will try to do it better       12    their prospective design.
        13    this time.                                                  13       Those are the two concepts that it mentions in that
        14        For one thing, I am not sure what hierarchy you are     14    sentence, correct?
        15    referring to, but what I'm saying is that depending on      15   A That's what that mentions, yes.
        16    the question, one type of study could be preferable to      16   Q And the latent period for cancer refers to the fact that
        17    another, but in general all of the studies provide          17    exposure to a substance can sometimes take some time
        18    information, and we look at the totality of evidence.       18    before cancer is developed, right?
        19   Q (By Mr. Williams) So it is your view that there is no      19   A That's correct.
        20    generally accepted hierarchy of epidemiological evidence?   20   Q That's the latency period?
        21                 MS. PARFITT: Objection; form,                  21   A Yes.
        22    misstates her testimony.                                    22   Q And the idea of a prospective cohort study is that people
        23                 THE WITNESS: I think it depends                23    are asked about their-- what they do and put on and in
        24    entirely on what the question is.                           24    their bodies right now when they are healthy, and then
        25   Q (By Mr. Williams) Let's look at Exhibit No. 10, which is   25    they are followed along, correct?

                                                        Page 119                                                           Page 121
         1    the "Judging the evidence" document from 2018 from the       1   A That's correct.
         2    World Cancer Research Fund, and I will direct your           2   Q Okay. And retrospective case-control studies are
         3    attention to the seventh page.                               3    backwards-looking where people are asked questions after
         4       At the bottom of Page 7 of this exhibit, Exhibit          4    they have contracted a disease and they are asked to
         5    No. 10, it has a section that says, "Study design," that     5    recall what they put on and in their bodies, true?
         6    says, "Each study design has its advantages and              6   A So that is typical.
         7    limitations. The hierarchy of epidemiological evidence       7       Cohort studies, by the way, could also ask
         8    places cohort studies above case-control studies, with       8    retrospectively what somebody had done over their
         9    ecological studies and case reports at the bottom.           9    lifetime.
        10       "There are merits in considering a number of             10       In this particular case, with talcum powder
        11    different study designs. Cohort studies are likely to be    11    products, they did, but I have seen many studies do that.
        12    the main source of evidence owing to the long latent        12       They can do a lifetime exposure, and then if-- the
        13    period for cancer to develop and also to their              13    better cohort studies focused on certain-- depending on
        14    prospective design"--                                       14    the question, they update their data so that then you
        15   A I'm sorry, can you say where you're reading from?          15    could have a lifetime exposure variable from a cohort
        16                MS. PARFITT: 7. He's right here.                16    study.
        17                THE WITNESS: Okay.                              17       For the-- in terms of long latent period for cancer,
        18   Q (By Mr. Williams) And I've read through that heading,      18    case-control studies, if they're asking about lifetime
        19    "Study design," through to the last sentence that says,     19    exposure and collecting that information, that would not
        20    "However, in some circumstances case-control studies and    20    be an issue or a problem for case-control studies.
        21    ecological studies may also make a useful contribution to   21   Q Let me have you turn to Section No. 7, which is on Page
        22    the evidence," and it refers to Section 7.                  22    21.
        23       Do you see that?                                         23       That's the section that's referred to at the end of
        24   A Yes.                                                       24    the page we were just looking at, the study design
        25   Q Now, we are going to go to Section 7 in a minute, but my   25    section referring to Section 7, so I want to go there.

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                                                 Anne McTiernan, Ph.D
                                                         Page 122                                                           Page 124
         1       Do you have Page 21 in front of you?                       1    showed that there was no statistically significant
         2   A Yeah.                                                        2    relationship between talc use and ovarian cancer,
         3   Q In the left-hand column under Section 7, "Evidence           3    correct?
         4    collated for the Continuous Update Project," at the very      4                 MS. PARFITT: Objection; form.
         5    bottom, it has the sentence that says, "The first stage       5                 THE WITNESS: One of those studies did
         6    of the SLRs was a comprehensive search using a                6    show a statistically significant association with use of
         7    standardized search strategy for the scientific               7    talcum powder products and risk of serous ovarian cancer,
         8    literature for randomized trials and cohort studies           8    and that was the Gertig study, but I also did an analysis
         9    published since 2006 using Medline. Because case-control      9    showing there was insufficient number of cases in all
        10    studies are particularly prone to recall (and other)         10    three of those studies in order to find a statistically
        11    bias, they were not routinely reviewed"--                    11    significant result.
        12   A Where are you again? Okay. Sorry.                           12       The driver of statistical significance is the number
        13                 MS. PARFITT: Just give her a moment,            13    of cases in a study, regardless of whether it's a cohort
        14    Mr. Williams, to catch up.                                   14    study or case-control study.
        15   Q (By Mr. Williams) Do you see where I am?                    15   Q (By Mr. Williams) We will get to the number of cases in
        16   A Yes.                                                        16    a moment, but with respect to the Gertig study, you are
        17   Q In the right-hand column of Page 21 it says, "Because       17    aware and came across in your review, because you
        18    case-control studies are particularly prone to recall        18    referenced them in your report, that that Gertig study
        19    (and other) bias, they were not routinely reviewed.          19    was updated in 2008 and 2010 under the name "Gates,"
        20       "However, if there were no or very few RCTs or            20    correct?
        21    cohort studies, they were included."                         21                 MS. PARFITT: Objection; form.
        22       Do you see that?                                          22                 THE WITNESS: 2008 I would not call an
        23   A Yes.                                                        23    update.
        24   Q In the case of talc and ovarian cancer, as of 2018, is it   24       It only included 200 cases from the Nurses' Health
        25    accurate to say that there are five cohort studies that      25    Study. It also included other cases from the New England

                                                         Page 123                                                           Page 125
         1    you have had the benefit of reviewing?                        1    case-control study, so when you look at just the Nurses'
         2   A That is not correct.                                         2    Health Study, part of it was only 200 cases, and it is
         3       In the three cohort studies, one of which had three        3    very difficult to determine which cases those were.
         4    publications with different numbers of cases in them--        4       The second update wasn't an update, but at that time
         5    there are three cohort studies.                               5    they ended up looking at a different variable, a
         6   Q So if we count the study that has three different cohort     6    different comparison.
         7    studies within it, and then add the other two cohort          7       The first study compared no use, never-users, to
         8    studies, we would get to five; would we not?                  8    users of different categories.
         9                 MS. PARFITT: Objection; form.                    9       The second-- the third study compared-- combined
        10                 THE WITNESS: I repeat, the three                10    never-users with use of less than once a week, so you
        11    cohort studies, just that one of them has three              11    have a very different comparison, so I think that was--
        12    publications.                                                12    that was concerning.
        13   Q (By Mr. Williams) And do you consider three cohort          13       It's not clear it's a real update-- the data aren't
        14    studies, one of which had three separate sets of data, to    14    really there.
        15    be insufficient to do an analysis of whether talc causes     15       That third study also didn't focus just on talc.
        16    ovarian cancer?                                              16        Talc was just one of the variables in the study.
        17                 MS. PARFITT: Objection; form.                   17   Q (By Mr. Williams) To the extent that the 2010 study by
        18                 THE WITNESS: I would consider those             18    Gates, that update-- first of all, the 2010 update wasn't
        19    three-- what I would do is look at the individual studies    19    an update.
        20    of those three studies. I would look at how the data         20        You just said that yourself, correct, Doctor?
        21    were collected and whether you can get the information       21                  MS. PARFITT: Objection.
        22    that you want to look at your question, before deciding      22                  THE WITNESS: It was an update of
        23    that they were sufficient on their own.                      23    cases.
        24   Q (By Mr. Williams) Every single cohort study that you        24       It is not clear it was an update of the data.
        25    looked at in this case, for your work in this litigation,    25   Q (By Mr. Williams) True or not true, the 2010 Gates

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                                                 Anne McTiernan, Ph.D
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         1    update did not show a statistically significant increased     1     12:30? What's your pleasure?
         2    risk of serous invasive ovarian cancer?                       2                 MS. PARFITT: Can we go off the
         3                 MS. PARFITT: Objection.                          3     record?
         4                 THE WITNESS: It did not show a                   4                 MR. WILLIAMS: Let's go off the
         5    statistically significant association, correct.               5     record.
         6   Q (By Mr. Williams) Can you identify any cohort study that     6                 VIDEOGRAPHER: Going off record, the
         7    concluded that there was a statistically significant          7     time is 12:07 p.m.
         8    overall association between talc and ovarian cancer?          8                       (Recess 12:07 to 12:0 p.m.)
         9                 MS. PARFITT: Objection; form.                    9
        10                 THE WITNESS: So you are talking about           10                  VIDEOGRAPHER: We are back on the
        11    for talc and any type of epithelial ovarian cancer?          11    record. The time is 12:09 p.m.
        12   Q (By Mr. Williams) Any statistically significant overall     12   Q (By Mr. Williams) Dr. McTiernan, would you agree that if
        13    association between talc and ovarian cancer.                 13    you had only looked at the cohort studies in this case,
        14   A That's correct, I didn't have sufficient sample size to     14    like it is suggested is appropriate in the World Cancer
        15    do it.                                                       15    Research Fund "Judging the evidence" document, Exhibit
        16   Q The answer to my question is that you cannot identify any   16    No. 10, that you would not have been table to opine that
        17    cohort study concluding that there was a statistically       17    talcum powder causes ovarian cancer?
        18    significant overall association between talc and ovarian     18                  MS. PARFITT: Objection; form.
        19    cancer, correct?                                             19                  THE WITNESS: First I want to respond
        20                 MS. PARFITT: Objection to form; asked           20    by characterizing the World Cancer Research Fund
        21    and answered.                                                21    document, that they're referring to nutrition variables,
        22   Q (By Mr. Williams) You may answer, Doctor.                   22    so that is why they consider case-control studies to be a
        23   A So my answer is the same, that statistical significance     23    much lower hierarchy than cohort studies.
        24    is not seen because the sample size is too small.            24       In terms of what was seen in the cohort studies, we
        25   Q Is there any other reason why statistical significance      25    did see, with the Nurses' Health Study, elevated risk of

                                                         Page 127                                                          Page 129
         1    was not seen besides the sample size being too small?         1    serous cancer.
         2   A Sample size is one of the major drivers.                     2       We also saw in the two cohort studies elevated risk
         3       The other thing is there is a lot of variability           3    that was not statistically significant, and I-- my
         4    around the point estimate, the relative risk.                 4    opinion is that's because the sample size was small.
         5       When you see a sample size that's that small, that's       5       In answer, two of the three cohort studies did show
         6    the major thing you start thinking about.                     6    elevated risk of ovarian cancer, but they were not
         7   Q Other than sample size and variability, is there any         7    statistically significant, with the exception to the
         8    other factor that you believe makes the cohort studies        8    serous subtype in the Nurses' Health Study.
         9    unreliable?                                                   9   Q (By Mr. Williams) Have you completed your answer?
        10   A I don't think I used the world "unreliable." I used the     10   A Yes.
        11    word "not statistically significant."                        11   Q The only type of cancer for which there was a
        12                 MS. PARFITT: Objection.                         12    statistically significant finding in one of the studies
        13   Q (By Mr. Williams) Other than sample size and                13    related to serous invasive ovarian cancer, correct?
        14    variability, is there anything else that bears upon          14   A Only one type showing statistical significance around
        15    statistical significance that is important?                  15    that relative risk, yes.
        16                 MS. PARFITT: Objection; form.                   16   Q And that was the Gertig 2000 study?
        17       You are referring to the collective group of cohort       17   A Yes.
        18    studies?                                                     18       The--
        19                 THE WITNESS: The statistical                    19   Q Ma'am, you have answered my question.
        20    significance-- you are not talking about the effects.        20       Was the Gertig 2000 study the only study where there
        21    You are talking about statistical significance. Those        21    was a statistically significant finding that serous
        22    are the things that would drive it, in my opinion.           22    invasive ovarian cancer was associated with talc use?
        23                 MR. WILLIAMS: Counsel, I am going to            23                  MS. PARFITT: Objection; form.
        24    go to a different topic.                                     24                  THE WITNESS: For the cohort studies,
        25       Do you want to take lunch now? Do you want to go          25    yes, that's correct.

                                                                                           33 (Pages 126 to 129)
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                                                  Anne McTiernan, Ph.D
                                                          Page 130                                                          Page 132
         1   Q (By Mr. Williams) I take it you and I disagree as to         1    World Cancer Research report or my report?
         2    whether or not the Gates 2010 update showed that that         2   Q (By Mr. Williams) I am referring to--
         3    previously seen statistically significant increased risk      3   A For the talcum powder products--
         4    for serous invasive cancer went away?                         4   Q I'll restate the question.
         5       You think it did not go away. I represented to you         5        For purposes of preparing your report, Exhibit No. 2
         6    that the study says that it did go away, right?               6    for this deposition, which is the report you prepared for
         7                 MS. PARFITT: Objection; form.                    7    this litigation-- do you have that in mind?
         8                 THE WITNESS: My issue with them is               8   A Yes.
         9    not-- is that different comparisons were made.                9   Q It is true that you relied heavily on Exhibit No. 10, the
        10       The first one looked at never-use versus ever-use--       10    "Judging the evidence" document, in preparing your
        11   Q (By Mr. Williams) You have already explained that,          11    report, which is Exhibit No. 2?
        12    ma'am--                                                      12                  MS. PARFITT: Objection; form.
        13                 MS. PARFITT: Please allow her to                13                  THE WITNESS: I didn't rely heavily.
        14    complete.                                                    14    I cited it as some of the methods of reviewing
        15                 THE WITNESS: I am just referring to             15    meta-analyses. I used some of the methods that I used
        16    my answer.                                                   16    for that as well as what was used for the government
        17       The second study, the 2010 Gates study, was then          17    physical activity guidelines, but I did not use this
        18    comparing never-user plus less than once a week use          18    entirely.
        19    versus greater use, so it's a different comparison.          19        In terms of determining causality, I used-- I went
        20    That's going to dampen, going to lower the relative risk     20    back to the original Bradford Hill aspects, listed
        21    by putting some of the users in with the nonusers.           21    aspects, to determine causality. I did not use the
        22   Q (By Mr. Williams) The Gates 2010 study did not show a       22    guidelines for the CUP analysis in determining whether
        23    statistically significant increased risk for serous          23    the association that's seen between talcum powder
        24    invasive ovarian cancer, true or not true?                   24    products and risk of ovarian cancer meets criteria for
        25                 MS. PARFITT: Objection; form, asked             25    causal.

                                                          Page 131                                                          Page 133
         1    and answered.                                                 1   Q (By Mr. Williams) Let me be very specific about what I
         2                  THE WITNESS: It showed a six percent            2    mean.
         3    increase in risk that was not statistically significant,      3       When you were typing up Exhibit No. 2, your report
         4    and it's not comparing nonusers to users. It's comparing      4    for this case, you literally had this exhibit, Exhibit
         5    nonusers plus less-than-once-a-week users to more-often       5    No. 10, next to you as you typed?
         6    users.                                                        6                 MS. PARFITT: Objection.
         7   Q (By Mr. Williams) Let me ask you to look, Doctor, at         7   Q (By Mr. Williams) True or not true?
         8    Exhibit No. 10--                                              8                 MS. PARFITT: Objection; form.
         9   A Which one?                                                   9                 THE WITNESS: It's not true.
        10   Q Exhibit No. 10, the "Judging the risk" document from        10   Q (By Mr. Williams) Is it your testimony that you prepared
        11    2018-- excuse me, "Judging the evidence."                    11    your report without any reference at all to any part of
        12       I misspoke.                                               12    Exhibit No. 10?
        13       First, I haven't done this yet, but if you look at        13   A I did reference it. It's one of the references here.
        14    Page 30, the acknowledgments section, it lists you as a      14   Q Show me that, if you would.
        15    panel member for this review, correct?                       15   A I think-- I used-- I included the website.
        16   A Yes.                                                        16   Q You included the website for the 2014 report on Page 5 of
        17   Q It is true that you relied very heavily on this document,   17    your report, but if you did refer to this document,
        18    that is Exhibit No. 10, in drafting your report for this     18    Exhibit No. 10, in your references or anywhere else,
        19    case?                                                        19    please let me know where that is.
        20                  MS. PARFITT: Objection; misstates              20   A So I don't see it if I did.
        21    testimony.                                                   21   Q Have you completed your answer?
        22                  THE WITNESS: I did not draft this              22   A What was the question again?
        23    report.                                                      23   Q I was asking you to point out for me--
        24       Is that what you mean?                                    24   A Did I refer to it or did I reference it?
        25       The World Cancer-- so you are talking about the           25       I may not have referenced it.

                                                                                           34 (Pages 130 to 133)
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                                                 Anne McTiernan, Ph.D
                                                         Page 134                                                           Page 136
         1       I thought I had.                                           1       Is it accurate to say that the sentences that are
         2       Yeah, I just have the website here.                        2    set forth under that heading, "Epidemiological evidence,"
         3   Q Let me refer you to your report in this case, Exhibit        3    are identical to sentences found in your report on Page
         4    No. 2, and ask you to turn to Page 10.                        4    10, with one exception, that there is a sentence that
         5       You have a heading that says, "The science of              5    appears in your report that does not appear on Page 6 of
         6    epidemiology" at Page 10.                                     6    Exhibit No. 10?
         7       Do you see that?                                           7                 MS. PARFITT: Object to the form of
         8   A Yes.                                                         8    the question.
         9   Q And with the first paragraph there, starting about a         9                 THE WITNESS: I think you are talking
        10    third of the way into the paragraph, you write,              10    about the sentences up here.
        11    "Epidemiological research describes and seeks to explain     11   Q (By Mr. Williams) I am actually talking about the three
        12    the distribution of health and disease within human          12    sentences that I read from Page 10 of your report, two
        13    populations."                                                13    sentences from the first paragraph, and one sentence, the
        14       Did I read that correctly?                                14    first sentence from the second paragraph.
        15   A Yes.                                                        15        Those three sentences are identical, word for word,
        16   Q And skipping a sentence, you write, "This type of           16    to the sentences that appear on Page 6 of Exhibit No. 10?
        17    investigation is known as observational. By relating         17                 MS. PARFITT: Objection; form.
        18    differences in circumstances and behavior to differences     18   Q (By Mr. Williams) Correct?
        19    in the incidence of disease, associations are identified     19   A Yes.
        20    that may or may not be causal."                              20   Q Now, just so we're clear, did you provide the people who
        21       Is that what it says?                                     21    wrote the text of the World Cancer Research Fund a copy
        22   A Yes.                                                        22    of your expert report in this case when this document,
        23   Q And then the first sentence of the next paragraph says,     23    "Judging the evidence" was prepared?
        24    "In epidemiological studies, an exposure is a factor or      24   A No, they did not get a copy of this.
        25    condition that may or may not influence the risk of          25       Nobody has seen it, other than Ms. Parfitt and her

                                                         Page 135                                                           Page 137
         1    disease," right?                                              1    colleagues.
         2   A Yes.                                                         2   Q So to this day there is nobody from the WCRF who has seen
         3   Q Throughout your report you included a lot of citations to    3    your expert report in this litigation, correct?
         4    works that you relied upon, correct?                          4   A That's correct.
         5   A Yes.                                                         5   Q So the way this work was, you had in front of you Exhibit
         6   Q Your reference section includes, I think we said, 127        6    No. 10, and you prepared-- took out sentences from the
         7    citations, right?                                             7    WCRF document and included them word for word in your
         8   A Yes.                                                         8    report, correct?
         9   Q You did not provide a citation for any of the sentences      9                 MS. PARFITT: Objection; form.
        10    that we just read, right?                                    10                 THE WITNESS: I can't recall where I
        11   A That is not here, no.                                       11    took this.
        12   Q And by that I mean there is no reference to a footnote,     12       I have many different documents where I have
        13    there is no reference to any of the 127 items in the back    13    information about what epidemiology is.
        14    of your report, correct?                                     14       If I took it from here, I should have cited it, but
        15   A That's correct.                                             15    I can't recall where exact sentences came from.
        16   Q Now, turn back to the "Judging the evidence" document,      16   Q (By Mr. Williams) Wherever you took it from--
        17    which we marked as Exhibit No. 10, and I will ask you to     17   A I should have cited it.
        18    turn to Page 6 under the heading, "Epidemiological           18   Q Whether it was the "Judging the evidence" document or
        19    evidence."                                                   19    someplace else, you didn't cite it?
        20       Right underneath that heading the "Judging the            20   A I should have cited it, you're right.
        21    evidence" document from the World Cancer Research Fund       21   Q Now, we went through your expert report and the
        22    says, and I'm quoting, "Epidemiological research             22    Continuous Update Project's "Judging the evidence"
        23    describes and seeks to explain the distribution of health    23    document, Exhibit No. 10, and we put the text side by
        24    and disease within human populations," and I will stop       24    side for various sections for ease of reference, and I'm
        25    there.                                                       25    going to pass those out to you, and we'll mark it as

                                                                                           35 (Pages 134 to 137)
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                                                 Anne McTiernan, Ph.D
                                                        Page 138                                                           Page 140
         1     Exhibit No. 11.                                             1       "The combination of data from multiple studies
         2       We will give it to Counsel.                               2    creates a larger data set and increased statistical
         3                     (Exhibit No. 11 marked                      3    power."
         4                      for identification.)                       4       Did I read that right from Exhibit No. 10?
         5                                                                 5   A Yes.
         6   Q (By Mr. Williams) Now, what we set forth here are a         6   Q Now, when you prepared your litigation report, you copied
         7    total of 13 different places where the language from the     7    a lot of the language verbatim into your litigation
         8    "Judging the evidence" report was used word for word,        8    report but made a few changes.
         9    with some exceptions, in your report.                        9       Have you noticed those?
        10       Do you see that?                                         10                 MS. PARFITT: Objection to that form.
        11       I am not asking you to agree or disagree, but let me     11   Q (By Mr. Williams) Let me refer you to Exhibit No. 2,
        12    ask you to see that there are 13 different examples where   12    Page 22 of your report.
        13    the language is either word for word or roughly word for    13       Exhibit No. 2, Page 22.
        14    word used in your report, taking language that also         14       I would ask you to keep Exhibit No. 2, Page 22 open
        15    appears in the "Judging the evidence" report.               15    and keep Page 11 of Exhibit No. 10 open, and put them
        16       Do you see that?                                         16    side by side.
        17       Take your time to look through there.                    17       Referring you now to Page 22 of Exhibit No. 2, the
        18                MS. PARFITT: Objection to form.                 18    first full paragraph on that page says, "Pooled analysis
        19                THE WITNESS: I can see that some of             19    is a type of meta-analysis where original
        20    these are very common epidemiologic terms.                  20    individual-level data from various published and/or
        21   Q (By Mr. Williams) Let's look for a little-- why don't      21    unpublished epidemiological studies are combined and
        22    you put that to one side for a moment and let me just ask   22    re-analyzed."
        23    you some other questions, and then we'll take lunch.        23        Did I read that correctly from your report?
        24       I want to discuss a few places where it appears that     24   A Yes.
        25    you copied from the "Judging the evidence" document and     25   Q Now, when you wrote your report, the only difference

                                                        Page 139                                                           Page 141
         1    made some changes.                                           1    between the language that's set forth in Exhibit No. 10,
         2                 MS. PARFITT: And I will object to the           2    in that first sentence, the only language that is added
         3    form of that.                                                3    is "and/or unpublished."
         4       Please continue.                                          4       Do you see that?
         5   Q (By Mr. Williams) In describing what a pooled analysis      5   A Yes.
         6    is in the Continuous Update Project report, and I will       6   Q So while the Exhibit No. 10, the "Judging the evidence"
         7    refer you to Exhibit No. 10 at Page 11, in the right-hand    7    document that was put out by the World Cancer Research
         8    column--                                                     8    Fund, when they described a pooled analysis, they didn't
         9                 MS. PARFITT: Just give us a moment--            9    say anything about unpublished studies, true?
        10                 THE WITNESS: Exhibit No. 10?                   10   A So again--
        11   Q (By Mr. Williams) Right, Exhibit No. 10 at Page 11 on      11   Q Pardon me?
        12    the right-hand column.                                      12       I am asking you to look at Exhibit No. 10, Page 11.
        13       There is a heading that says-- there's a paragraph       13   A Right.
        14    that begins, "Pooled analysis," last paragraph on the       14   Q Right-hand column.
        15    page.                                                       15   A Right.
        16       Do you see that?                                         16   Q That sentence does not say anything about "and/or
        17   A Mm-hm.                                                     17    unpublished," does it?
        18   Q Is that a "yes"?                                           18   A Right-- yes, it doesn't.
        19   A Yes.                                                       19   Q And then in that sentence, if you go back to Page 22 of
        20   Q In Exhibit No. 10, which is the "Judging the evidence"     20    your report, after you added "and/or unpublished
        21    document, it says, "Pooled analysis is a type of            21    epidemiological studies," you took out some information,
        22    meta-analysis in which original individual-level data       22    did you not, some words?
        23    from various published epidemiological studies of a         23   A What are you referring to that I took out?
        24    similar type - usually prospective cohort studies - are     24   Q Well, the words that you took out were, dash, "Usually
        25    combined and re-analyzed.                                   25    prospective cohort studies," dash, right?

                                                                                          36 (Pages 138 to 141)
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                                                 Anne McTiernan, Ph.D
                                                         Page 142                                                          Page 144
         1        Actually, you also took out the words "of a similar       1    studies, but you changed that language for your
         2    type," so let me restate the question.                        2    litigation report to include "unpublished studies,"
         3        In your report you took out the words "of a similar       3    right?
         4    type - usually prospective cohort studies"-- and I will       4                   MS. PARFITT: Objection; form.
         5    put a closed quote there.                                     5                   THE WITNESS: The Continuous Update
         6        You took those words out, right?                          6    Project did make a decision to use only published data
         7   A So, again, I can't remember every place-- because when I     7    because it did not have the personal power to get
         8    write projects, I do take sections from things that I've      8    unpublished.
         9    previously been involved with, since I'm considered on        9        It is typical in pooled analysis and sometimes in
        10    this panel and it's considered as something I'm involved     10    meta-analyses to look for additional data if it's known
        11    with. I should have cited it, but I would be citing          11    to exist, even if it's not published.
        12    something that I'm part of.                                  12        This is true for clinical trial pooled analyses,
        13        This-- it's not true that pooled analyses is only        13    case-control pooled analyses, and cohort pulled analyses.
        14    prospective cohort studies, and it is not even true that     14        It is not surprising at all that-- it was not
        15    it's usually.                                                15    unusual to see that in the Terry pooled analysis there
        16        Many pooled analyses of case-control studies-- there     16    were three studies that were previously unpublished that
        17    are many pulled analyses of clinical trials, so when         17    were added to the published data for that pooled
        18    they're saying, "usually prospective cohort studies,"        18    analysis.
        19    they're referring for what they usually-- for their data     19        I've seen this for one of the pooled analyses we
        20    or WCRF data, are usually prospective for the nutrition      20    relied on for the physical activity guidelines committee,
        21    variables, so that's what they specified there.              21    and so it's a common method.
        22   Q The words "of a similar type - usually prospective cohort   22        As long as you use the same criteria to determine if
        23    studies," do not appear in your report.                      23    that study has valid data, then it's quite customary to
        24        Can we agree on that?                                    24    include it in a pooled analysis.
        25                  MS. PARFITT: Objection; form.                  25   Q (By Mr. Williams) The only pooled analysis that you

                                                         Page 143                                                          Page 145
         1                  THE WITNESS: It wouldn't be relevant            1    looked at for this litigation was Terry 2013, correct?
         2    because I am talking generally about pooled analysis, and     2                 MS. PARFITT: Objection; form.
         3    it's individual data from-- it could be any type of           3                 THE WITNESS: It's the only one that
         4    studies.                                                      4    characterizes a pooled analysis.
         5        I mentioned it could be clinical trials. There are        5       There were some of the case-control studies that
         6    many pooled analyses of clinical trials.                      6    added together more than one study.
         7         It could be cohort studies, it could be case-control     7       The second study of the Nurses' Health Study was a
         8    studies.                                                      8    pooled analysis of Nurses' Health cases and New England
         9        And sometimes the cohorts and case-control studies        9    case-control studies, so that was a pooled study that
        10    will be combined together where the cohort studies are       10    involved just two sets of studies.
        11    nested case-control studies, so it could be a combination    11   Q (By Mr. Williams) The only pooled analysis that you
        12    of two different types.                                      12    cited in your paragraph on Page 22, referencing Item 39,
        13                  MR. WILLIAMS: I move to strike that            13    which I'll represent to you is the Terry 2013 study, the
        14    as nonresponsive.                                            14    only pooled analysis that you studied in your report on
        15   Q (By Mr. Williams) Doctor, my question is this:              15    Page 22 is the Terry study, correct?
        16        The words "of a similar type - usually prospective       16   A I cited that singly because it was large enough.
        17    cohort studies," those words do not appear in your           17       My point is that it's large enough to be able to
        18    report.                                                      18    look at some of these associations.
        19        Can we agree on that?                                    19   Q And that Terry 2013 study pooled eight case-control
        20                  MS. PARFITT: Objection; form, asked            20    studies, correct?
        21    and answered.                                                21   A That's correct.
        22                  THE WITNESS: I agree they don't                22       It's a pooling project that has been done for many
        23    appear in my report.                                         23    other variables as well.
        24   Q (By Mr. Williams) So the Continuous Update Project          24   Q Doctor, we will be here all day and it will go late into
        25    document stated that you should only pool published          25    the night.

                                                                                           37 (Pages 142 to 145)
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                                                 Anne McTiernan, Ph.D
                                                        Page 146                                                          Page 148
         1      I would ask you to answer just the question that I         1   A That's correct.
         2    ask.                                                         2   Q My question to you then is:
         3      The question that I'm asking you now is:                   3       Can you point us to any reference material anywhere
         4      The Terry 2013 pooled eight case-control studies,          4    that uses word for word the formulation for pooled
         5    correct?                                                     5    analyses that you have set forth in the first two
         6      That's all I'm asking.                                     6    sentences of that paragraph?
         7   A That's correct.                                             7   A So I think you're asking about pooled analyses that
         8   Q You deviated from the Continuous Update Project's           8    include studies that are not published; is that correct?
         9    definition of a pooled analysis, which is on Page 11 of      9   Q I am asking the question that I asked.
        10    Exhibit No. 10, in order to accommodate a study that you    10       I will restate it one more time.
        11    found helpful for the plaintiffs in this case, correct?     11       Can you point us--
        12                MS. PARFITT: Objection; form,                   12                  MR. WILLIAMS: Counsel, I would as
        13    completely misstates her testimony and her opinions.        13    that you not point to anything.
        14      You may answer.                                           14                  MS. PARFITT: I am just trying-- there
        15                THE WITNESS: The Continuous Update              15    is a monitor, for the Ladies and Gentlemen of the Jury,
        16    Project definition was discussing studies related to        16    in front of the doctor, and I am just reminding her to
        17    nutrition, and the Continuous Update Project decided to     17    look at the monitor, but you can--
        18    only look at cohort studies for some of the relationships   18                  MR. WILLIAMS: I think that's
        19    they were addressing.                                       19    inappropriate.
        20      I believe this is why this sentence was written in        20   Q (By Mr. Williams) But, Doctor, here is my question
        21    that way, but it is not true that pooled analyses are       21    again:
        22    usually prospective cohorts.                                22        The first full paragraph on Page 22 describes pooled
        23      If you look at pooled analyses in general, many of        23    analyses. I'm referring you to the first two sentences
        24    them are clinical trials, they are done in the treatment    24    there-- are you with me so far?
        25    area, many of them are case-control studies, and many can   25   A Yes.

                                                        Page 147                                                          Page 149
         1    be cohort studies.                                           1   Q Looking at those sentences word for word, and I mean
         2   Q (By Mr. Williams) Let me ask my question this way:          2    every word in both of those two sentences-- are you still
         3       Doctor, could you point us to some learned treatise,      3    with me?
         4    study, summary of studies that uses the formulation for      4   A Yes.
         5    pooled analysis word for word that is set forth on Page      5   Q Okay. Looking at those two sentences, can you point us
         6    22 of your report; that is, could you point us to some       6    to any reference material that you have reviewed anywhere
         7    source that says that pooled analyses is a type of           7    that describes pooled analyses using the words, and I
         8    meta-analysis that includes published and unpublished        8    mean word for word, as you set it forth here in the first
         9    studies and that simultaneously does not reference           9    two sentences of Paragraph No. 22?
        10    prospective cohort studies?                                 10                 MS. PARFITT: Objection; form.
        11       Is there something that you can point us to that         11   Q (By Mr. Williams) You either can or you can't.
        12    uses the formulation for pooled analysis that you've set    12       The answer is yes, the answer is no.
        13    forth?                                                      13        I just need to know--
        14                 MS. PARFITT: Objection; form.                  14   A Since I wrote that sentence, I am not sure where else it
        15                 THE WITNESS: I'm a little bit                  15    would be.
        16    confused by the question, but--                             16       If I was going to cite-- no, I can't.
        17   Q (By Mr. Williams) Let me stop you there because if         17       I wrote that sentence.
        18    you're confused, it does me no good.                        18   Q Okay. What we do know is that the description of pooled
        19       I will restate it.                                       19    analysis in Exhibit No. 10, which is the World Cancer
        20       Your paragraph here on Page 22 has one, and only         20    Research Fund "Judging the evidence" document that has,
        21    one, citation, and that's to 39, the Terry 2013 study,      21    on Page 2, a description of how one is to cite to it,
        22    correct?                                                    22    what we do know is that that document describes pooled
        23   A That's correct.                                            23    analysis as including published epidemiological studies
        24   Q There are no other citations of any sort in that           24    of a similar type, usually prospective cohort studies,
        25    paragraph, correct?                                         25    right?

                                                                                          38 (Pages 146 to 149)
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                                                        Page 150                                                           Page 152
         1                 MS. PARFITT: Objection; form.                   1   A That's correct.
         2                 THE WITNESS: And I disagree with that           2   Q Now, early menarche or age of first-- a woman first
         3     characterization of pooled studies.                         3    having her period is also listed as something that may be
         4                 MR. WILLIAMS: Why don't we take a               4    seen as a cause of ovarian cancer in this paragraph,
         5     lunch break.                                                5    right?
         6                 VIDEOGRAPHER: Going off the record.             6   A Yes.
         7     The time is 12:40 p.m.                                      7   Q Can we agree that early menarche, not bearing children,
         8                    (Lunch recess 12:40 to 1:21 p.m.)            8    and late natural menopause are not related to nutrition,
         9                                                                 9    physical activity, or diet?
        10                  VIDEOGRAPHER: We are going on the             10   A This paragraph is related to background, and it's talking
        11    record at 1:21 p.m.                                         11    about menstrual cycles during a woman's lifetime. That's
        12       This is the start of Media Unit 3.                       12    why it's talking about all of those variables related to
        13   Q (By Mr. Williams) Good afternoon, Doctor.                  13    early menarche, late menopause.
        14       This morning there have been several occasions when      14       I am not sure why whoever wrote this focused in on
        15    I've used the word "ma'am," and I really apologize, and I   15    that, on a woman's menstrual cycle.
        16    mean no disrespect. I am going to try to use the word       16       They did not do a full systematic review of the risk
        17    "Doctor."                                                   17    factors for ovarian cancer.
        18        It's just how I was raised, and I apologize, but I      18       I can see from what was written here--
        19    do understand that that can be disrespectful. I don't       19   Q Whether you consider it to be a full systematic review or
        20    mean that at all.                                           20    not, my question is:
        21   A No problem. Thanks.                                        21       Early menarche, not bearing children, and late
        22   Q In response to several of my questions earlier today       22    natural menopause are not, in and of themselves, related
        23    about the various World Cancer Research Fund and CUP        23    to nutrition, physical activity, or diet, right?
        24    reports that we have marked as Exhibits 4, 5, and 10,       24   A And the whole report was not-- was to discuss and
        25    there have been several times when you have made            25    interpret and summarize meta-analyses-- for all of the

                                                        Page 151                                                           Page 153
         1    reference to your view that the focus of those reports       1    cancers, different writers put in paragraphs about some
         2    was on nutrition, physical activity, and diet.               2    general factors about the cancers, and there was no
         3       Do you recall that that has happened occasionally?        3    effort to do a systematic review, so these are not causal
         4   A Yes.                                                        4    analyses that were listed here.
         5   Q If you could take out Exhibit No. 5, which is the 2018      5       I don't know why these particular ones were picked.
         6    report of the WCRF-- and I will ask you to turn to Page      6    They're missing some.
         7    8.                                                           7       They're missing endometriosis, for example, as well
         8        Section 4, "Other established causes," Page 8-- do       8    as talcum powder.
         9    you have that in front of you, ma'am?                        9       They are missing public inflammatory disease, so it
        10   A Yes.                                                       10    is not a full review.
        11   Q Section No. 4 is entitled, "Other established causes,"     11       For some reason they picked just some
        12    and let me-- while you have that in front of you, let me    12    menstrual-related variables to mention here.
        13    ask:                                                        13   Q Now, again, you said, "they."
        14       Not bearing children is listed as something that         14       Once this draft was prepared, you have testified
        15    this report says may be a cause of ovarian cancer,          15    this morning that the panel, on which you are a member,
        16    correct?                                                    16    reviews and makes judgments based upon the draft that is
        17   A It says, "May be seen as protective against ovarian        17    received, right?
        18    cancer," yes.                                               18   A In-- the 2014 draft.
        19   Q Well, actually, it says-- I will just read it. The         19       To my knowledge it was not changed.
        20    second sentence says, "Not bearing children increases the   20       We did not see another update to review prior to the
        21    risk of and may be seen as a cause of ovarian cancer,"      21    2018 publication of everything together.
        22    and it goes on to say, "The reverse also applies: Bearing   22       This was a 2014 document and it was on the website
        23    children reduces the risk of and may be seen as             23    in 2014.
        24    protective against ovarian cancer."                         24   Q I want the record to be clear the document that I'm
        25       Do you see that?                                         25    referring you to right now, the Exhibit No. 5 to your

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                                                        Page 154                                                           Page 156
         1    deposition, is the revised document dated 2018.              1     talc or not using talc is a modifiable behavior.
         2       We have that clear, right?                                2        If you would, with your answer, as you describe how
         3   A Yes, but it also says, "2014" on the label for ovarian      3     you think these are unrelated and different contexts, how
         4    cancer.                                                      4     is it that those contexts are different for purposes of
         5   Q It does, but it also says that it was revised and           5     the analysis that you have done in this case?
         6    published in 2018, right?                                    6                   MS. PARFITT: Objection; form.
         7       I don't want to argue with you, but it does say that      7                   THE WITNESS: So this is an issue
         8    was revised and published in 2018, true?                     8     about measuring the exposure.
         9                MS. PARFITT: Objection; form.                    9        If you ask about talcum powder product use, you
        10   Q (By Mr. Williams) Go ahead.                                10     typically are asking about something that is used once or
        11   A To my knowledge, the content was not changed.              11     twice a day.
        12       I am not sure exactly why it was called "Revised,"       12         Somebody may just use one product. Perhaps they use
        13    except that everything was put together and the             13     more, but they're not going to be using as many variables
        14    recommendations were added to this obviously, the overall   14     as in nutrition.
        15    cancer recommendations, but to my knowledge the             15        Assessing nutrition is extremely difficult.
        16    meta-analysis for the nutrition variables and all were      16        Assessing nutrition for a lifetime is even more
        17    not updated.                                                17     difficult, and so this is why for case-control studies
        18       Clearly this review of other potential causes was        18     nutrition analyses are very difficult to do if you are
        19    not updated, so in my mind it's the 2014 report.            19     trying to ask somebody retrospectively, "What did you eat
        20   Q Now, let me focus you back on the lack of connection       20     when you were in your 20s?"
        21    between early menarche, nutrition, and physical activity,   21        You can ask somebody whether they used some products
        22    and diet, okay?                                             22     in their 20s and expect their recall to be much better
        23       Whether you believe this was a complete analysis or      23     than what they ate 30, 40 years ago because we are always
        24    not, the fact is that this report, which is marked as       24     talking about decades of latency between exposure and
        25    Exhibit No. 5, does discuss menarche, not bearing           25     development of ovarian cancer.

                                                        Page 155                                                           Page 157
         1    children, and late menopause, right?                         1       Case-control studies can be done for numbers of
         2                MS. PARFITT: Objection; form.                    2    exposures, and they can be-- characterize exposure very
         3                THE WITNESS: It does include those,              3    well, but nutrition is a special case.
         4    and it's missing other risk factors for ovarian cancer.      4       Some epidemiologists still do do case-control
         5   Q (By Mr. Williams) So the statement "Epidemiological         5    studies of nutrition, but some, like-- because there are
         6    principles" in this report, and those that we looked at      6    so many cohort studies available in nutrition, some
         7    in other exhibits, Exhibit 4 and Exhibit No. 10, do apply    7    epidemiologists prefer to look at that, especially when
         8    to your analysis of talc and ovarian cancer in this case,    8    you're looking at a cancer that has a long latency
         9    right?                                                       9    period, and so you are looking for long integral between
        10       They do apply to things that are not limited to          10    when the exposure happened and when the cancer occurred.
        11    nutrition, physical activity, and diet, correct?            11   Q (By Mr. Williams) Have you completed your answer?
        12                MS. PARFITT: Objection; form,                   12   A Pardon me?
        13    misstates her testimony.                                    13   Q Have you completed your answer?
        14                THE WITNESS: I am curious, what is              14   A Yes.
        15    the statement "epidemiologic principles"? Are you           15   Q Anything else that you want to add about the differences
        16    referring to something in this ovarian cancer report?       16    between the context of nutritional and dietary concerns
        17   Q (By Mr. Williams) Let me ask it this way:                  17    versus the use of talcum powder?
        18       Why is it that nutrition is a totally separate           18   A I think that's it.
        19    context than talc?                                          19   Q Okay. Why is it harder to remember-- strike that.
        20       Explain, if you would, to the Court, who is the          20       Why would it be harder for me or anyone else to
        21    person who is going to review this-- describe to the        21    remember the types of foods I ate in my teens or my 20s
        22    Court how nutrition is a separate context than talc, with   22    as compared to whether I used talcum powder during a
        23    particular attention, Dr. McTiernan, to the notion that     23    particular time in my life?
        24    nutrition, what someone eats and takes into their body,     24   A When you ask people about nutrition, you don't just ask
        25    is a modifiable behavior in the same manner that using      25    one question, "How often did you eat beef?"

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                                                         Page 158                                                           Page 160
         1       You are asking them for multiple types of foods, how       1                  THE WITNESS: I think if you wanted to
         2    often they ate it, how much they ate it.                      2    see if-- if you had just that one question, what somebody
         3       We often use food frequency questionnaires that can        3    ate, what meat they ate, a case-control study would be
         4    be 12 pages long, each with about 20 to 30 items on them,     4    just fine, you could ask somebody what they ate in the
         5    and to ask about-- somebody to recall that much               5    past if it's just one variable.
         6    information retrospectively is more difficult than to ask     6       If you're asking them to remember 50 to 100
         7    them to recall using one item.                                7    variables, it's much more difficult.
         8       Medications, we can often get information                  8   Q (By Mr. Williams) Have we exhausted all of the reasons
         9    retrospectively, like hormone therapy. We can ask that        9    why you believe that the context of this Exhibit No. 5,
        10    about that case-control studies and help the woman           10    this CUP update, is totally different, as you said, than
        11    remember, but because it was one pill that the woman had     11    the context of the talc-related studies?
        12    to take per day, it is an easier thing to remember than      12       Is there anything else that you need to add to your
        13    50 to 100 variables that you have to remember with a         13    answer?
        14    dietary recall.                                              14   A I can't think of anything.
        15   Q Do you think it would be easier for a woman to recall       15   Q Pardon me?
        16    that she used talcum powder during her 20s than it would     16   A I can't think of anything, no.
        17    be for her to recall that she ate red meat in her 20s?       17   Q Let me change topics slightly.
        18   A I think it would be easier in the sense that people are     18       As an epidemiologist, you are familiar with a type
        19    going to remember something that intimate, how often--       19    of bias called confounding, right?
        20    whether they used it or not, and we don't ask people just    20   A Yes.
        21    one question, "Did you eat red meat?"                        21   Q Confounding is a type of bias that occurs when a third
        22        We ask them hundreds of questions of what they ate.      22    variable interferes with a true relationship between an
        23   Q Do you ask hundreds of questions about red meat?            23    exposure and an outcome, right?
        24   A We don't usually do studies with just red meat.             24   A Yes.
        25        We do studies where we are asking about entire           25   Q Those are the words you used in your report, right?

                                                         Page 159                                                           Page 161
         1    dietary pattern.                                              1   A  Mm-hm.
         2        I don't know of any study that asks just that one         2   Q  "Yes"?
         3    question.                                                     3   A  Yes.
         4   Q These studies that relate to talcum powder refer often to    4   Q  A confounder is one that is related both to the risk
         5    multiple products and substances that a person puts on or     5    disease and to the exposure, correct?
         6    in her body; do they not?                                     6   A That's correct.
         7                 MS. PARFITT: Objection; form.                    7   Q The classic example that you use in your report is people
         8                 THE WITNESS: From the questionnaires             8    who carry matches are more likely to develop lung cancer
         9    that I've looked at from these studies, when they're          9    than individuals who do not carry matches, right?
        10    available, they are much simpler questions, and often        10   A Correct.
        11    they were assisted with remembering by in-person             11   Q In that example, the cause and effect relationship, the
        12    interview or telephone interview with someone that is        12    true one, is not between matches and lung cancer, but
        13    helping them remember what they did during that period of    13    rather between smoking and lung cancer, correct?
        14    life.                                                        14   A Correct.
        15       That can be used for a simple question, simple            15   Q Correlation does not equal causation, correct?
        16    exposure.                                                    16       The two do not equate?
        17        For diet, it's much more difficult.                      17   A I wouldn't go from one to the other, so-- this just means
        18   Q (By Mr. Williams) I understand that some questionnaires     18    that there's another variable explaining an association
        19    may be longer than others, but with respect to an            19    in the first example, which is confounding.
        20    individual question, that is whether someone ate red meat    20   Q Do you believe that correlation and causation mean one in
        21    in their 20s or someone used talcum powder in their 20s,     21    the same thing when you are dealing with epidemiological
        22    do you really see those questions as-- one of those          22    studies?
        23    questions as more complicated than the other, taken          23   A I don't usually use the word "correlation."
        24    individually?                                                24       Association is one thing we look at when we're
        25                 MS. PARFITT: Objection to the form.             25    trying to determine if there's a causal relationship.

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         1   Q What I'm juxtaposing is correlation on the one hand and      1    that Counsel gave you and produced to us on January 25th,
         2    causation on the other.                                       2    a few days ago.
         3       Do you have my question in mind?                           3        Do you see that on the list?
         4   A I see it here, yes.                                          4   A No.
         5   Q Do you believe that correlation is identical to              5        Which list is this?
         6    causation?                                                    6                MS. PARFITT: If I may, Counsel, I
         7                MS. PARFITT: Objection; asked and                 7    will hand her Exhibit No. 3.
         8    answered.                                                     8                THE WITNESS: Oh, Kesmodel?
         9                THE WITNESS: I think by "correlation"             9                MR. WILLIAMS: Yes.
        10    you mean "association."                                      10                THE WITNESS: Yes.
        11   Q (By Mr. Williams) I mean a correlation between two          11   Q (By Mr. Williams) So Kesmodel is one of the studies that
        12    variables.                                                   12    was provided to us, Defense counsel, by Plaintiffs'
        13                MS. PARFITT: Objection; form.                    13    counsel on January 25th, correct?
        14                THE WITNESS: Yeah, I think                       14   A Is that the date?
        15    correlation is one way that two variables can be related,    15   Q That's the date we received it. I will represent that to
        16    and causation is a much more complicated analysis.           16    you.
        17   Q (By Mr. Williams) Same question with respect to             17   A Okay.
        18    association.                                                 18   Q Have you read that study?
        19       Does association equate with causation?                   19   A Yes.
        20   A I would say the same thing, association is part of causal   20   Q We'll mark that as Exhibit No. 12.
        21    analysis.                                                    21                       (Exhibit No. 12 marked
        22   Q So in a paper studying the association between              22                        for identification.)
        23    match-carrying, for example, and lung cancer, you would      23    /////
        24    need to adjust for smoking before making any conclusions     24   Q (By Mr. Williams) I will just refer you quickly to the
        25    about the risk estimates, true?                              25    abstract on the first page of Exhibit No. 12, the

                                                         Page 163                                                           Page 165
         1   A I think usually we would want to look at it the other        1    Kesmodel study.
         2    way.                                                          2        About three-quarters of the way down, the abstract
         3       If you're looking at-- you wouldn't adjust for it          3    paragraph, it says, "Misclassification of confounders is
         4    necessarily. You might make sure to be aware that it's        4    an issue that needs special attention by researchers, as
         5    part of the causal-- part of the pathway.                     5    failure to measure accurately one or more strong
         6       If you totally adjust for it, then it might make the       6    confounders may seriously bias the observed results."
         7    relationship disappear, so perhaps it's not the best          7       Did I read that correctly from the abstract?
         8    explanatory variable to use-- the best example, but the       8   A Yes.
         9    premise is that there can be a second variable that can       9   Q In the case of talcum powder use and the epidemiological
        10    be interfering with the relationship, which is why we        10    studies that you've reviewed, a confounder is one that is
        11    adjust for things that can potentially be related to both    11    related to ovarian cancer and perineal talc use, correct?
        12    the exposure and to the disease.                             12   A Correct, within that data set, yes.
        13   Q And the second variable in the example that I used and      13   Q You agree that high body mass index, or BMI, is an
        14    that you used in your report was that variable of whether    14    established risk factor for ovarian cancer, true?
        15    someone smokes?                                              15   A It is a risk factor, yes.
        16   A Yes.                                                        16   Q And the WCRF document that we looked at this morning,
        17   Q In addition to the variable of their having matches         17    that actually said that body mass index is probably a
        18    often, right?                                                18    cause of ovarian cancer.
        19   A Yes.                                                        19        Do you remember that this morning?
        20   Q And one of the studies that you gave us this morning is a   20                 MS. PARFITT: Objection.
        21    study written by Ulrik, U-L-R-I-K S. Kesmodel,               21                 THE WITNESS: Yes.
        22    K-E-S-M-O-D-E-L.                                             22   Q (By Mr. Williams) Body mass index is a measure of weight
        23       Do you remember giving that one to us this morning?       23    as compared to a measurement of height, right?
        24   A Is this in the list?                                        24   A Yes.
        25   Q It was in the-- I'm sorry, it was identified on the list    25   Q Now, the Continuous Update Project, for which you served

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                                                        Page 166                                                             Page 168
         1    as a panel member, has actually concluded that body mass     1   A Yes.
         2    index is a probable cause.                                   2   Q Let me direct you to Page 250, which should be the second
         3        That was Exhibit No.-- I believe it was Exhibit          3    page of the copy that was handed to you, the left-hand
         4    No. 5 from this morning.                                     4    column, first paragraph, last sentence-- hold on. I am
         5        Do you remember that?                                    5    trying to find the citation.
         6   A I believe so.                                               6       Under the results section on that page, Page 250, do
         7        Yes.                                                     7    you see that first paragraph?
         8   Q In May 2018, after you were hired by Plaintiffs' lawyers    8   A Yes.
         9    in the talc litigation, you wrote an article concluding      9   Q The last sentence there says, "Talc use was associated
        10    that there was strong evidence that being overweight or     10    with higher body mass index and inversely associated with
        11    obese increased the risk for cancers.                       11    current cigarette smoking."
        12        Do you remember that?                                   12       Do you see that?
        13        That was Exhibit No. 9 that we talked about this        13   A Yes.
        14    morning.                                                    14   Q Talc use, this study found, was associated with higher
        15                 MS. PARFITT: Sorry, Exhibit No. 9?             15    body mass index, true?
        16                 MR. WILLIAMS: Yes.                             16       That's what it says?
        17                 THE WITNESS: The article--                     17   A It doesn't give us any statistics on it, but if you look
        18   Q (By Mr. Williams) The article that had your picture on     18    at the table, you can see a slight association, yes.
        19    it this morning, Exhibit No. 9 that we showed you--         19   Q Well, Table No. 1 does give us some information, correct?
        20   A Oh, press--                                                20                MS. PARFITT: Objection; form.
        21   Q It's 9.                                                    21                THE WITNESS: It doesn't give us any P
        22        On the second page in the first paragraph it says       22    values of how different it was. It doesn't give us
        23    that the latest report found strong evidence that being     23    percents, but-- yeah.
        24    overweight or obese increased the risk for a number of      24   Q (By Mr. Williams) Okay. And do you remember that in the
        25    things, and one of the things that is mentioned is cancer   25    Cramer 1999 paper, that you rely upon, said that

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         1    of the ovary, right?                                         1     characteristics, such as body odor or excessive
         2                 MS. PARFITT: Objection.                         2     perspiration, might predispose to both talc use and
         3                 THE WITNESS: Yes.                               3     ovarian cancer, but adjusting for BMI should control for
         4   Q (By Mr. Williams) Okay. Talc use is associated with         4     those effects.
         5    higher body mass index, true?                                5        Do you remember that?
         6   A I have not investigated that.                               6                 MS. PARFITT: Counsel, do you have a
         7        I did not do a review on body mass index and talc        7     copy of Cramer 1999 or could we get that?
         8    use.                                                         8                 MR. WILLIAMS: I am just asking if she
         9   Q The observation that talc use is associated with higher     9     remembers it now, and if she doesn't--
        10    body mass index is something that was noted in many of      10                 THE WITNESS: I don't recall. I would
        11    the studies that you reviewed for purposes of your work,    11     have to look at it.
        12    right?                                                      12                       (Exhibit No. 14 marked
        13                 MS. PARFITT: Objection.                        13                         for identification.)
        14                 THE WITNESS: I didn't focus on body            14
        15    mass index and talc use.                                    15   Q (By Mr. Williams) We will mark the Cramer 1999 study as
        16   Q (By Mr. Williams) Let me ask--                             16    Exhibit No. 14.
        17   A If you have something to point to, we can look at it.      17       I will direct your attention to the page that has in
        18   Q Let's look at the Gertig 2000 study. We have talked        18    the upper right-hand corner "355," the left-hand column,
        19    about that one today.                                       19    second paragraph, the one that begins with, "Regarding
        20        This is going to be Exhibit No. 13.                     20    potential."
        21                      (Exhibit No. 13 marked                    21       About midway down that paragraph it says,
        22                       for identification.)                     22    "Characteristics such as body odor or excessive
        23    /////                                                       23    perspiration might represent subtle constitutional
        24   Q (By Mr. Williams) Do you have the Gertig study in front    24    features that might predispose to both talc use and
        25    of you, what we have marked as Exhibit No. 13?              25    ovarian cancer, but adjusting for BMI should control for

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         1    these effects."                                              1    multivariate adjusted.
         2       Do you see that?                                          2        If it was confounding from any of these variables
         3   A Yes.                                                        3    that they adjusted for, you would see very big
         4   Q Does it make sense to you, separate and apart from these    4    differences or much more marked than you see between
         5    studies that I've shown you, that people who use talc on     5    age-adjusted relative risk and multivariate adjusted
         6    their bodies, including people who use talc in their         6    relative risk.
         7    perineal area, do so to absorb sweat and other moisture?     7   Q Now, have you done the analysis to determine whether or
         8   A I didn't do a survey of why people use this.                8    not BMI was associated with greater talc use or whether
         9       It's not clear that only people who sweat and have        9    BMI was associated as a confounder in terms of causing a
        10    body odor are choosing to use body powders, so this isn't   10    higher odds ratio or risk ratio in the Gertig study?
        11    a substantiated sentence.                                   11   A Did I personally do any statistics on these? I didn't
        12       I'm not quite clear.                                     12    have the data to do the statistics, but you can see that
        13       One statement it has about-- that it may predispose      13    its multivariate relative risk is so similar to
        14    to ovarian cancer, I don't know of any literature           14    age-adjusted relative risk. That means that it is not
        15    associating body odor or perspiration for risk of or even   15    confounding in the data.
        16    early diagnosis of ovarian cancer, so I'm confused by       16   Q Did you do that analysis as part of your work?
        17    that.                                                       17                 MS. PARFITT: Objection; asked and
        18   Q Well, let me ask you to make an assumption then.           18    answered.
        19       If you make an assumption for me that BMI increases      19                 THE WITNESS: I am doing it right now.
        20    the risk for ovarian cancer, and you further make the       20   Q (By Mr. Williams) Did you--
        21    assumption that more talc users have high BMI than          21   A Since you pointed it out.
        22    nontalc users, do you believe that studies looking at       22   Q Did you do that analysis as part of your work--
        23    talc and ovarian cancer should adjust for BMI?              23   A When I presented relative risk, I tended to present the
        24                 MS. PARFITT: Objection; form,                  24    most adjusted relative risk I could find, I believe.
        25    misstates the evidence.                                     25       That's what I tried to do.

                                                         Page 171                                                          Page 173
         1                 THE WITNESS: So we see in one study--           1   Q You reviewed three cohort studies in connection with your
         2    I did not do a full review of all these studies, and I       2    report, according to you, because you count Gates 2008
         3    don't believe the data was available in all of them the      3    and Gates 2010 as part of Gertig, correct? So that
         4    way the Nurses' Health Study presented, which showed body    4    counts as one, right?
         5    moss index-- in all of the studies, and I didn't do a        5   A I believe those cases-- those two other cases that were
         6    survey to look at the association between body mass index    6    in the second-- you are talking about the second Nurses'
         7    and talc use.                                                7    Health Study, the Gates 2008? I believe those 2010 were
         8       I can see from these data in the Gertig study that        8    in the first one, but they're never quite clear.
         9    it wasn't a confounder.                                      9   Q Let me start over.
        10       They adjusted for it, but if you look at Table No. 2     10   A Sorry.
        11    in the Gertig paper, the age-adjusted relative risk is      11   Q I don't want to quibble with you.
        12    very similar to the multivariate adjusted relative risk.    12       You reviewed Gertig 2000, Houghton 2014, and
        13       The multivariate adjusted relative risk included         13    Gonzalez 2016, correct?
        14    body mass index, so this tells me that it's unlikely to     14   A That's correct.
        15    be any or extremely little confounding when you see such    15   Q You also reviewed Gates 2008 and Gates 2010, correct?
        16    a similar result for age-adjusted relative risk as you do   16   A Correct.
        17    for multivariate relative risk.                             17   Q Each one of those studies found no overall statistically
        18   Q Just so we are clear, you are looking right now at         18    significant association between perineal talc use and
        19    Exhibit No. 13, the Gertig study?                           19    ovarian cancer?
        20   A Sorry. Yes.                                                20                 MS. PARFITT: Objection.
        21   Q Table No. 1 on Page 250, correct?                          21   Q (By Mr. Williams) I am not asking about serous invasive,
        22   A Table 1 and Table 2.                                       22    as you went to before.
        23        Table 1 shows the association of BMI versus talc        23       I am talking about overall perineal task use.
        24    use.                                                        24                  MS. PARFITT: Objection.
        25        Table 2 shows the relative risk, age adjusted and       25   Q (By Mr. Williams) Correct?

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                                                         Page 174                                                           Page 176
         1                 MS. PARFITT: Objection; form.                    1    able to tell us, as you sit here, how many of the
         2                 THE WITNESS: And the sample sizes                2    case-control studies that you read and reviewed and are
         3    were too small to be able to determine statistical            3    relying on in this case do not adjust for body mass
         4    significance with that level of relative risk.                4    index?
         5   Q (By Mr. Williams) It was a consistent finding of those       5                 MS. PARFITT: Objection; form.
         6    cohort studies that there was not a statistically             6                 THE WITNESS: No, I did not count
         7    significant association between perineal talc use overall     7    that.
         8    and ovarian cancer, right?                                    8   Q (By Mr. Williams) Why not?
         9                 MS. PARFITT: Objection; form, asked              9                 MS. PARFITT: I'm sorry, what was the
        10    and answered.                                                10    question?
        11                 THE WITNESS: The studies were not               11   Q (By Mr. Williams) Why not?
        12    large enough.                                                12                 MS. PARFITT: Objection.
        13       There were not enough cases to determine statistical      13                 THE WITNESS: I was tasked to look at
        14    significance or to have a statistically significant          14    the overall association.
        15    result.                                                      15       I did not look at specific confounders for each of
        16   Q (By Mr. Williams) Is it your testimony that those           16    the studies.
        17    studies found a statistically significant association        17   Q (By Mr. Williams) So if there were a confounder that
        18    overall between perineal talc use and ovarian cancer?        18    could impact the answer to the question of whether
        19                 MS. PARFITT: Objection; form.                   19    perineal use of talcum powder causes cancer, you didn't
        20       Counsel, that has been asked now about three or four      20    look at it?
        21    times.                                                       21                 MS. PARFITT: Objection; form,
        22       I think she has given an answer.                          22    misstates the testimony.
        23       I know you don't like it, but she has responded.          23                 THE WITNESS: There could be
        24   Q (By Mr. Williams) Are you saying that those studies         24    confounding variables in any type of research that may or
        25    found a statistically significant association between        25    may not be available.

                                                         Page 175                                                           Page 177
         1    perineal talc use and ovarian cancer?                         1       I noticed in the Gertig study, the data that we just
         2                 MS. PARFITT: Objection, form.                    2    talked about, that body mass index was not a confounder,
         3       Again, a fifth time asked and answered.                    3    so that gives me some-- at least in one data set, that it
         4                 THE WITNESS: I am saying that they               4    wasn't an issue, nor would the other variables adjusted
         5    did not have a large enough sample size to find a             5    for have been confounders because the multivariate
         6    statistically significant association.                        6    relative risk is so similar to the age-adjusted relative
         7   Q (By Mr. Williams) Identify for us on the record any          7    risk.
         8    cohort study that concluded that there was a                  8   Q (By Mr. Williams) Did the Gertig study conclude what you
         9    statistically significant overall association between         9    just said?
        10    talc and ovarian cancer.                                     10   A I think I just presented it.
        11   A I can't identify any.                                       11   Q While you are reading, Doctor, I just want to be clear
        12   Q In forming your opinions in this litigation, did you take   12    with what my question is.
        13    note of the fact that each of those cohort studies           13       My question is:
        14    accounted for body mass index or BMI?                        14       Did-- strike that.
        15   A I believe I did not go through specific-- I am sure I       15       Where in the Gertig study did the Gertig study say
        16    didn't go through specific confounding variables.            16    or conclude that BMI is not a confounder for talc use?
        17       I just noted that they adjusted for potential             17   A It's a general epidemiologic principle that if you see
        18    confounders and presented the most adjusted variable.        18    similar results for the multivariate relative risk that
        19   Q Your written report does not take note of the fact that     19    you see with just a-- either an unadjusted or in this
        20    each of the cohort studies you reviewed accounted for        20    case age-adjusted relative risk, that the confounding
        21    body mass index, did it?                                     21    variables that were adjusted for in the multivariate are
        22                 MS. PARFITT: Objection; form.                   22    unlikely to be confounders.
        23                 THE WITNESS: No, I didn't note one              23       If they were, the data would look different.
        24    particular variable for adjustment.                          24   Q Have you completed your answer?
        25   Q (By Mr. Williams) Without reviewing the studies, are you    25   A Yes.

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                                                         Page 178                                                          Page 180
         1   Q Did the Gertig study expressly state that BMI is not a      1    case-control studies, the eight case-control studies,
         2    confounder for talc?                                         2    plus three previous and published studies.
         3                 MS. PARFITT: Objection; asked and               3   Q You did not perform your own meta-analysis, right?
         4    answered.                                                    4   A No, I didn't.
         5                 THE WITNESS: I don't see that they              5   Q One of the reasons you did not perform your own
         6    said that, but the data are showing it to me.                6    meta-analysis was because you believe that there were
         7   Q (By Mr. Williams) In forming your opinions in this          7    two, in your words, excellent meta-analyses that had
         8    litigation, you did not do any analysis of whether the       8    recently been published, Penninkilampi and Berge,
         9    studies that you relied upon adjusted for body mass          9    correct?
        10    index, correct?                                             10   A Correct.
        11   A I didn't enumerate that, no.                               11   Q "Penninkilampi" is spelled P-E-N-N-I-N-K-I-L-A-M-P-I.
        12   Q I would like to ask you about another type of study, the   12       That was from 2018, correct?
        13    meta and the pooled analyses.                               13   A Yes.
        14        You rely significantly on those study types,            14   Q And the Berge analysis, B-E-R-G-E, was from 2017?
        15    correct?                                                    15   A Yes.
        16   A That's correct.                                            16   Q You believe that those two studies are consistent with
        17   Q For the meta and the pooled analysis, the ones with the    17    one another?
        18    combined data, you believe that the summary relative        18   A Yes, they have very similar results.
        19    risks for any talc use versus no talc use were              19   Q Do you believe they support your opinion in the case that
        20    consistent, true?                                           20    perineal talcum powder can cause ovarian cancer?
        21   A Yes, I want to look at the--                               21   A Yes.
        22   Q For reference, in your report, Exhibit No. 2 at Page 56.   22   Q Let me show you the Penninkilampi study. We'll mark it
        23   A I want to look at the papers too.                          23    as Exhibit No. 15, I believe.
        24   Q I am just asking about your report, not the papers yet.    24                     (Exhibit No. 15 marked
        25        As far as your report is concerned, you believe that    25                      for identification.)

                                                         Page 179                                                          Page 181
         1    the summary of relative risks for any talc use versus no     1
         2    talc use are consistent, right?                              2   Q (By Mr. Williams) Do you recognize Exhibit No. 15,
         3   A And where are you, Page 56?                                 3    Penninkilampi 2018, as one of the two studies that you
         4   Q Page 56, the top paragraph, middle of the paragraph,        4    described as excellent and supportive of your opinions?
         5    sentence starting with, "The summary relative risks,"        5   A Yes.
         6    about four lines down.                                       6   Q Do you know the source or sources of funding for this
         7   A "Were quite consistent," yes, I wrote that.                 7    paper?
         8   Q Are there other ways in which the meta and the pooled       8   A No, I don't.
         9    analyses are consistent, in your opinion?                    9   Q Do you personally know who the author is?
        10   A I am not sure what you're asking.                          10   A No, I don't.
        11   Q Well, in addition to the notion that the relative risks    11   Q Do you know what, if any, conflicts of interest any of
        12    were quite consistent, in your opinion, across the meta     12    the authors may have?
        13    and the pooled analyses, were there any other ways in       13   A I am just looking to see.
        14    which those meta and pooled analyses were consistent, any   14       They claim no conflicts of interest.
        15    other hallmarks of a consistency, other than the relative   15   Q Do you know whether some of the authors are serving as
        16    risk rates that you found notable?                          16    consultants to Plaintiffs' counsel in this litigation?
        17   A I think if you could give some examples-- one--            17   A No, I don't.
        18   Q I am just asking you for your expert opinion.              18   Q Do you have any criticisms of the Penninkilampi 2018
        19   A One thing that is consistent is that for the two           19    meta-analysis?
        20    meta-analyses that are most recent, which is why I put      20                 MS. PARFITT: Objection; form.
        21    most weight on them, they have all of the previous          21                 THE WITNESS: I think the only issue
        22    studies included, is that they included the same study,     22    that I see are based on all of the-- all of the
        23    so that's similar between those two meta-analyses,          23    meta-analyses had this issue that depends on what results
        24    Penninkilampi and Berge.                                    24    were available from the source studies, so if there
        25       The pooled analysis was a subset of those                25    weren't many studies that could do-- that could look at

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                                                         Page 182                                                           Page 184
         1    subgroups, for example, or if there weren't enough--          1    correctly that are implemented.
         2    wasn't enough information to do dose response-- but by        2       What I'm most intrigued by, all the cohort studies I
         3    doing a meta-analysis, you have the best chance of being      3    reviewed, all seven of them, come up with just about the
         4    able to look at these because in the individual study         4    same overall relative risk of ever-use of talcum powder
         5    those variables are-- the numbers of people within            5    products and risk of ovarian cancer. It is consistently
         6    particular subgroups is going to be too small to be able      6    1.25 to 1.3, and that tells me that this is a robust
         7    to do an analysis.                                            7    finding because you see it in so many of these studies.
         8   Q (By Mr. Williams) Did you do an independent verification     8   Q (By Mr. Williams) Would you expect the association for
         9    of the data that the Penninkilampi study reports in--         9    long-term perineal talc use, say more than ten years, to
        10    strike that.                                                 10    be greater than, the same, or less than the association
        11       Did you do an independent verification that the data      11    for any talc use, which could include a single use?
        12    that this study reports is indeed accurate?                  12   A I would say it depends on what the individual study had
        13   A Did I do a meta-analysis myself on statistics? I did        13    in terms of sample size within categories.
        14    not.                                                         14       It really depends on sample size, and it depends on
        15   Q No, just whether the data that is reported accurately       15    what the data look like.
        16    reflects what was reported in the study's records.           16       It's a difficult question to answer.
        17   A So there was a supplementary data table for this, I         17   Q Take a look at Page 46, Figure No. 2 of the Penninkilampi
        18    assume.                                                      18    study, Exhibit No. 15.
        19       I am pretty sure I looked at that and then compared       19       Do you see the explanation of the tables in Figure
        20    the relative risk that I abstracted onto my data table,      20    No. 2?
        21    and I believe they were similar, but I don't see             21       Do you see that Table A refers to odds ratios for
        22    supplementary data here.                                     22    any perineal talc use?
        23   Q Take a look at Page 46 of the document in the lower         23   A Yes.
        24    left-hand corner, Page 46 of Exhibit No. 15.                 24   Q And the odds ratio for the combined data, the data for
        25       Do you see that the Penninkilampi study includes,         25    any talc use in Table A, is 1.31?

                                                         Page 183                                                           Page 185
         1    for each study, a purported odds ratio, a lower limit and     1       Do you see that?
         2    an upper limit?                                               2   A Yes.
         3   A Yes.                                                         3   Q Now look at Table B.
         4   Q Did you go back to the individual studies to verify that     4       Do you see that this table refers to long-term
         5    the numbers were recorded accurately?                         5    perineal talc use?
         6   A I didn't compare the lower and upper limit of the            6   A Yes.
         7    confidence interval.                                          7   Q The odds ratio for that combined data, the data for
         8   Q Would it be important to you, in determining that a study    8    long-term use, is 1.25.
         9    is excellent, that the authors accurately report the odds     9       Do you see that?
        10    ratio and the confidence intervals?                          10   A Yes.
        11   A I think that would be useful, but for a meta-analysis,      11   Q So as between Penninkilampi's reported overall
        12    the data that goes into it, to my knowledge, are the odds    12    association for any talc use, on the one hand, and its
        13    ratios and the sample size, so I am not sure what            13    reporting for long-term talc use on the other, which one
        14    variable-- which particular study you're talking about is    14    reflects a higher risk rate or odds ratio?
        15    not reported correctly.                                      15   A I would say they're very similar, 1.31 and 1.25, because
        16   Q I am asking you whether it's important, not just whether    16    the confidence interval include both, so the confidence
        17    it's notable.                                                17    interval in the top, 1.24 to 1.39, also includes the
        18        Would it be important to you, in determining--           18    bottom odds ratio of 1.25. That tells me they're very
        19    concluding that a study is excellent, that the authors       19    similar.
        20    accurately report the odds ratios and the confidence         20   Q Doctor, I am just asking you a simple question.
        21    intervals; that is, if they get it wrong, that's not the     21        I asked you which one reflects a higher risk rate.
        22    sign of an excellent study, right?                           22                 MS. PARFITT: Objection; form, asked
        23                 MS. PARFITT: Objection; form.                   23    and answered.
        24                 THE WITNESS: I think in many studies            24                 THE WITNESS: I am answering as an
        25    there may be occasional data that are transformed not        25    epidemiologist.

                                                                                           47 (Pages 182 to 185)
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                                                         Page 186                                                          Page 188
         1       We would see those answers as quite similar.              1    misstates her testimony.
         2   Q (By Mr. Williams) So epidemiologists would say that 1.31    2                 THE WITNESS: I would say because of
         3    and 1.25, with the confidence intervals there, are the       3    the variable used, it was reasonable that they picked the
         4    same?                                                        4    Gonzalez, the first one.
         5   A I wouldn't say they're the same.                            5       If the data had been collected in an identical way,
         6   Q So which one--                                              6    then the third one would have been incorporated.
         7                  MS. PARFITT: Counsel, please let her           7   Q (By Mr. Williams) Did the study explain that that was
         8    finish.                                                      8    the reason why they omitted the Gates 2010 study?
         9        Thank you.                                               9   A I can't remember.
        10                  THE WITNESS: We wouldn't say they're          10       I think they had an appendix.
        11    the same, but we would state they could be similar.         11       They talk about an appendix here with their
        12       1.31 is clearly larger than 1.25, but they could         12    rationale.
        13    be-- because of those confidence intervals, they could be   13   Q We can check it later, but as you sit here today, can you
        14    similar numbers.                                            14    remember any reference to--
        15   Q (By Mr. Williams) When you evaluated the Penninkilampi     15   A I can't recall--
        16    study, did you take note that the authors omitted certain   16   Q Let me finish the question, if I could.
        17    cohort data?                                                17       Doctor, can you remember any reference, as you sit
        18                  MS. PARFITT: Objection; form.                 18    here, to the notion that they noted, in Penninkilampi,
        19                  THE WITNESS: I noted that they                19    that they were not using the data from Gates 2010?
        20    included one paper from each study, which is really         20                 MS. PARFITT: If you need to consult
        21    important.                                                  21    the document, please do.
        22       If you include more than one paper from each study,      22                 MR. WILLIAMS: My question is not
        23    then you're over-counting or counting cases or noncases a   23    asking her to read it.
        24    second time.                                                24   Q (By Mr. Williams) My question is whether you remember
        25       It's really important to only have one cohort            25    it?

                                                         Page 187                                                          Page 189
         1    represented in each of these meta-analyses.                  1                MS. PARFITT: Without reading the
         2   Q (By Mr. Williams) But if there had been additional          2    document, do you recall?
         3    cohorts after the first cohort, wouldn't it make sense to    3                THE WITNESS: I don't recall.
         4    use the last one rather than the first?                      4   Q (By Mr. Williams) Take a look at Figure No. 2, Table C
         5                 MS. PARFITT: Objection; form.                   5    of Page 46 of that study.
         6                 THE WITNESS: I think you are talking            6       Do you see that it describes the purported
         7    about the Nurses' Health Study.                              7    association for increased risk of serous ovarian cancers?
         8   Q (By Mr. Williams) I am.                                     8   A Yes.
         9   A Whether they included the first one or the third one,       9   Q And that's reporting the original Berge study from 2010,
        10    because the second one wouldn't do them any good. There     10    right?
        11    are only 200 cases. We don't know how they picked those.    11   A 2000? Berge 2000?
        12        The third one, as I mentioned earlier, the problem      12   Q Excuse me, not 2010. Pardon me.
        13    with the third one is it used a different comparison to--   13        2000-- Berge 2000?
        14    than the first one.                                         14   A Yes.
        15        They are not comparing no-use versus ever-use.          15   Q As you sit there, you don't know-- you don't recall any
        16        They're comparing no-use plus less-than-once-a-week     16    explanation for the omission of the Gates 2010 data,
        17    versus higher levels, so you want to compare, as much as    17    right?
        18    possible, nonusers versus users, which is-- they are        18                MS. PARFITT: Objection; form.
        19    trying to look at any ovarian-- sorry, any perineal talc    19                MR. WILLIAMS: I'm sorry, did I get an
        20    use in the Category A would be more accurate to use the     20    answer to that one?
        21    first Nurses' Health Study.                                 21                MS. PARFITT: No. She-- I think she
        22   Q Should I take your last answer to mean that you believe    22    is reading the document.
        23    it is a good thing that the Gates 2000 study was omitted    23                 THE WITNESS: Sorry.
        24    from the Penninkilampi analysis?                            24                 MS. PARFITT: Take your time.
        25                 MS. PARFITT: Objection; form,                  25                 MR. WILLIAMS: My question-- well,

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                                                        Page 190                                                             Page 192
         1    hold on.                                                     1    considered improper-- improper methodology.
         2        Counsel, that just eats up the time.                     2        Usually these meta-analyses, and I believe they had
         3   Q (By Mr. Williams) I am asking-- Doctor--                    3    it too, usually they will have supplementary data that's
         4                 MS. PARFITT: Counsel, you asked--               4    available also that will give more of their methods and
         5                  MR. WILLIAMS: Let me finish--                  5    the search terms, and I don't see that in what you've
         6                  MS. PARFITT: Let me finish.                    6    provided here today.
         7        You asked her in the middle of a question-- she          7   Q (By Mr. Williams) Let me ask you to look at the Berge
         8    hasn't answered it.                                          8    study from 2017. We will mark that as Exhibit No. 16.
         9        Your question is right there.                            9                      (Exhibit No. 16 marked
        10       She hadn't answered it.                                  10                       for identification.)
        11        She is reading the document. That's reflected on        11
        12    the camera.                                                 12   Q (By Mr. Williams) Do you recognize Exhibit No. 16, which
        13       Give her-- if you want an answer to the question,        13    is the Berge 2017 study, as the other of the two
        14    give her an opportunity--                                   14    meta-analyses that you described as excellent?
        15   Q (By Mr. Williams) Here is the problem, Doctor--            15   A Yes.
        16                  MR. WILLIAMS: Are you done, Counsel?          16   Q Please turn to Page 9 of the study.
        17                  MS. PARFITT: I am.                            17       I direct your attention to the left-hand column, the
        18   Q (By Mr. Williams) Here is the problem, Doctor:             18    last paragraph before "Acknowledgments."
        19       If I ask a question that is separate and apart from      19       Do you see that?
        20    the document in front of you, and you choose to just read   20   A Yes.
        21    the entire document, all of our time is lost, so when I     21   Q The Berge study says, "Several aspects of our results,
        22    specifically ask you what you remember as you sit there,    22    including the heterogeneity of results between
        23    I would ask you not to read the document because that's     23    case-control and cohort studies and the lack of a dose
        24    not part of the question.                                   24    response with duration and frequency of use, however, do
        25       Is that okay with you?                                   25    not support a causal interpretation of the association."

                                                        Page 191                                                             Page 193
         1                  MS. PARFITT: Counsel, that's actually          1       Do you see that conclusion?
         2    not okay as a question.                                      2   A Yes, I do.
         3       If the question is asking if this is a memory             3   Q The author's conclusion that the reported association did
         4    contest-- when she has the document in front of her, why     4    not support a causal interpretation, is the opposite of
         5    aren't you allowing her to refer to the document?            5    the conclusion that you would come up with in this case,
         6       It's not a memory contest.                                6    correct?
         7   Q (By Mr. Williams) Here is my question, Doctor:              7                 MS. PARFITT: Objection; form.
         8       As you sit here, do you remember, one way or the          8                 THE WITNESS: That's correct.
         9    other, whether the Penninkilampi study explains why it       9   Q (By Mr. Williams) If you would, keep the Berge 2017
        10    omitted any reference to the data from the Gates 2010       10    paper out.
        11    report--                                                    11       I will also ask you to refer for a moment to your
        12                  MS. PARFITT: And I'm going to again           12    own report, which is Exhibit No. 2, and specifically Page
        13    object.                                                     13    75.
        14       Counsel, if she needs to look-- are you suggesting       14       There is a table, Table No. 3, of data that you
        15    she can't look at the document to refresh her               15    compiled about the various meta-analyses.
        16    recollection? Is that what you want the record to           16       Do you see that table?
        17    reflect.                                                    17   A Yes.
        18   Q (By Mr. Williams) You may answer, Doctor.                  18   Q And Berge 2017 is the second one that is referenced?
        19                  MS. PARFITT: Take your time, Doctor.          19   A Yes.
        20                  THE WITNESS: Looking at the methods           20   Q The right-most column of your table is called, "Dose
        21    here, I don't see that they've mentioned here why they      21    response," correct?
        22    chose particular studies.                                   22   A Yes.
        23       I do know that it's standard for meta-analysis to        23   Q And I'm going to talk a little more about dose response
        24    only include one study from a cohort.                       24    later, but for now can we agree that under the "Dose
        25       If you included more than one, it would be               25    response" column for Berge 2017, you wrote, "Yes," for

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                                                        Page 194                                                           Page 196
         1    duration and frequency-- did you write that?                 1                  MS. PARFITT: Counsel, there are.
         2   A Yes.                                                        2        If I can help, there's two Berge papers. One talks
         3   Q And then you wrote a colon, and you went on to reflect      3     about the dose response and one does not, and I think you
         4    that each ten-year increase in genital talc use was          4     handed her the copy about-- that does not address the
         5    associated with a 16 percent increase in relative risk,      5     dose response, and the one she has in her binder
         6    and each increase of one application per week was            6     addresses the dose response, both 2018 and very
         7    associated with a five percent increase in relative risk.    7     confusing, but--
         8       Do we have that right?                                    8                  MR. WILLIAMS: So they are two
         9   A Yes.                                                        9     different studies entirely?
        10   Q Now, if you would, please, turn back to the Berge study.   10                  MS. PARFITT: No, they are actually
        11       Can you just-- we couldn't find it. Maybe you can,       11     very, very close, but one addressed the dose response and
        12    and this one I do want you to look through it.              12     one did not.
        13       Would you please point out where the figures we just     13        One, Doctor-- just for clarify, the one that
        14    discussed from your table are actually reflected in the     14     Mr. McTiernan has in her notebook and that you all have
        15    study?                                                      15     in your reference material is Exhibit No.-- Reference
        16       I'm sure it's there. We just couldn't find it.           16     No.-- what is that?
        17   A I am not finding it.                                       17                  THE WITNESS: 35.
        18                 MS. PARFITT: Counsel, I can make it            18                  MS. PARFITT: 35 in the notebook,
        19    quicker, so we can save on time.                            19     which is the Berge study that deals with the dose
        20        Do you want me to show her where it is or have her      20     response.
        21    keep looking?                                               21        The one you handed her is the Berge that does not
        22                  MR. WILLIAMS: I actually prefer that          22     address the dose response or indicated there was no
        23    that not be what we do.                                     23     trend.
        24                 MS. PARFITT: All right. I am just              24                  MR. WILLIAMS: Let's mark for the
        25    trying to move time along.                                  25     record the one that Dr. McTiernan has in her hand as

                                                        Page 195                                                           Page 197
         1   Q (By Mr. Williams) If you could turn to Page 6 of the        1     Exhibit No. 16A.
         2    Berge meta-analysis, in the left-hand side, Table No. 3      2                MS. PARFITT: Very good.
         3    there, it says there-- it has a table in Table No. 3 that    3                    (Exhibit No. 16A marked
         4    lists the duration of frequency, "Ever use of genital        4                      for identification.)
         5    talc - results of meta-analysis."                            5
         6       Do you see that?                                          6                 MR. WILLIAMS: Do you happen to have
         7   A Yes, Table No. 3?                                           7    another copy of that one?
         8   Q Right.                                                      8                MS. PARFITT: Yeah, I can check.
         9       It says, "Duration, ten years," and then there's a        9                MR. WILLIAMS: Thank you.
        10    risk ratio of 0.97, with a confidence interval that drops   10   Q (By Mr. Williams) If you could look at Exhibit No. 16,
        11    below 1.0.                                                  11    and turn to Page 7.
        12       Do you see that?                                         12   A So we are back to the other one?
        13   A It looks like you have a different version than I have.    13   Q The original--
        14   Q Do I?                                                      14   A That I did not reference?
        15   A Yeah.                                                      15   Q Exhibit No. 16.
        16       Yours is-- my table looks different.                     16      Do you have that in front of you?
        17       That's odd.                                              17   A Page 7?
        18   Q Are you looking at the-- I see, you are comparing-- just   18   Q Page 7, the right-hand column.
        19    for the record, you are comparing what we gave you as       19      Do you see in the right-hand column it says, "The
        20    Exhibit No. 16 with something in a notebook.                20    presence or absence of a dose response is an important
        21       Which notebook are you looking in?                       21    aspect to consider in assessing the plausibility of the
        22   A My data-- all the references that I used.                  22    causal nature of an association observed in a
        23   Q Okay.                                                      23    meta-analysis"?
        24   A I am just wondering--                                      24      Did I read that right?
        25   Q Are there different versions of it?                        25   A Yes, and the other version says the same thing.

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                                                         Page 198                                                          Page 200
         1   Q Okay. It goes on to say, I believe in both versions,         1                 MS. PARFITT: Objection; form.
         2    "Although the numbers of studies included in the analysis     2                 THE WITNESS: And I tend to look at
         3    of duration and frequency of genital talc use was not         3    data, not necessarily what somebody has written as their
         4    very large, and the exclusion of the reference category       4    conclusion.
         5    from the dose response analysis might have reduced the        5       The data to me show that there is an increased risk
         6    power of this analysis, the lack of a dose response --        6    of ovarian cancer with use of talcum powder products, and
         7    irrespective on an analytical approach chosen to combine      7    I think their data show it very clearly, and they have
         8    categorical results across studies -- is a potentially        8    shown dose response relationships as well.
         9    important and novel contribution of this meta-analysis."      9   Q (By Mr. Williams) My question to you is a little bit
        10       Did I read that right?                                    10    different.
        11   A Except the next version does not say, "lack of"-- if you    11       My question is:
        12    read the paragraph from 16A, it does not say "lack of        12       You disagree-- strike that.
        13    dose response."                                              13       You disagree with the conclusion reached by the
        14       You have that right there.                                14    authors of the Berge study in that last sentence of their
        15       They have taken out that.                                 15    report that finds heterogeneity between the results of
        16       They must have replaced this table with a corrected       16    case-control and cohort studies, correct?
        17    table, because that does show dose response in Table         17                 MS. PARFITT: Objection; form,
        18    No. 3.                                                       18    misstates her testimony.
        19   Q So Table No. 3 in the two different versions of the Berge   19                 THE WITNESS: So you are only asking
        20    study are different?                                         20    about the first part of that sentence not the causal
        21   A Yes.                                                        21    interpretation, but the first part; is that correct?
        22       That's why I was so confused.                             22   Q (By Mr. Williams) I am asking about the entirety of the
        23       My data and my table was identical-- I abstracted         23    sentence.
        24    this.                                                        24   A The entirety of the sentence?
        25                MS. PARFITT: "This" being 16A?                   25        So yes, there was heterogeneity between the

                                                         Page 199                                                          Page 201
         1                THE WITNESS: 16A, the version I used,             1    case-control and cohort studies, but no, I do not think
         2    and that's the version that was on the website and my         2    that that detracts from the causal association.
         3    library.                                                      3   Q What was the heterogeneity and the results between the
         4   Q (By Mr. Williams) Did you at any time read this study        4    case-control and the cohort studies that you observed?
         5    that was marked as Exhibit No. 16?                            5   A There was a smaller increase in risk with the
         6   A No.                                                          6    case-control studies.
         7   Q And how did you access the version at 16A?                   7   Q How much smaller?
         8   A This one I would have gotten from my Fred Hutch library.     8   A Quite a bit.
         9   Q Let me have you look at Exhibit No. 16A.                     9       The relative risk was 1.02 in the cohort studies,
        10       Do you have Page 9 in front of you?                       10    1.26 in the case-control studies.
        11       Can you turn to that page, just before the                11   Q And you conclude, based upon your own analysis, totally
        12    acknowledgments?                                             12    separate from the Berge study-- you conclude, based on
        13   A Okay.                                                       13    your own analysis, that that disparity, 1.02 for the
        14   Q And this is the conclusion paragraph.                       14    cohorts, 1.26 for the case-control studies, constitutes
        15       Do you see that it begins, "In conclusion"?               15    heterogeneity between those two types of studies?
        16   A Yes.                                                        16                MS. PARFITT: Objection; misstates her
        17   Q In the 16A version that you have in front of you they       17    testimony.
        18    wrote, "Several aspects of our results, including the        18       She says she relied on the data.
        19    heterogeneity of results between case-control and cohort     19                MR. WILLIAMS: Counsel, I would ask
        20    studies, however, do not support a causal interpretation     20    you not to coach.
        21    of the association."                                         21                MS. PARFITT: I am not coaching.
        22       Do you see that?                                          22       Let the record reflect I am not coaching. I am
        23   A Yes.                                                        23    making it clear.
        24   Q And that was the conclusion of the Berge study from 2017    24                THE WITNESS: I agreed that there's
        25    in both versions 16 and 16A, correct?                        25    heterogeneity between those two sets of results, but that

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                                                         Page 202                                                          Page 204
         1    it does not subtract from the causal interpretation.         1   A Ms. Parfitt sent them.
         2       The other thing I note when I look at a figure like       2   Q Did she--
         3    this, Figure No. 2 in that Berge paper, that almost all      3   A I am trying to remember if there was a website as well.
         4    of the relative risks are to the right of the line; "the     4   Q Do you know how she obtained them?
         5    line" being the line where the relative risk would be one    5                 MS. PARFITT: Objection; form.
         6    or no effect.                                                6                 THE WITNESS: I do not know.
         7       It's unusual to see so many studies with the              7   Q (By Mr. Williams) Are you relying on the Taher 2018
         8    relative risk over on the right side.                        8    study for your opinion in this litigation?
         9       I review a lot of meta-analyses, so this is unusual       9   A I am not relying on the study, but it did add to my-- it
        10    to see that level of consistency.                           10    does substantiate my opinion.
        11   Q (By Mr. Williams) So just so we're clear, you disagree     11       It's very similar results to what we saw in the
        12    with the second half, the second clause of the final        12    other meta-analyses.
        13    sentence in the Berge study, but you agree with the first   13   Q Is the Taher 2018 article peer-reviewed?
        14    portion, correct?                                           14   A Not to my knowledge, but I don't know what process it
        15                 MS. PARFITT: Objection; form,                  15    went through to get to this point.
        16    misstates her testimony.                                    16   Q Do you know one way or the other whether it has been
        17                 THE WITNESS: I agree that the cohort           17    accepted for publication?
        18    studies have lower relative risks than do the               18   A I don't know.
        19    case-control studies, yes.                                  19   Q Do you know the source or sources of funding for the
        20   Q (By Mr. Williams) And you agree that that makes them       20    Taher 2018 article?
        21    heterogeneous, correct?                                     21   A I think it said Health Canada, but--
        22                 MS. PARFITT: Objection; form.                  22   Q Other than the reference to Health Canada-- it references
        23   Q (By Mr. Williams) Those two different types of studies?    23    a contract with Health Canada.
        24                 MS. PARFITT: Objection; form.                  24        Other than that, do you have any knowledge as to the
        25                 THE WITNESS: That's part of the                25    sources of funding?

                                                         Page 203                                                          Page 205
         1    definition of "heterogeneity," is to see differences.        1                 MS. PARFITT: Objection; form.
         2   Q (By Mr. Williams) Let me ask you some questions about       2                 THE WITNESS: All I know is source of
         3    the Taher 2018 study.                                        3    funding is Health Canada, what it says in the paper.
         4      We will mark that study as Exhibit No. 17.                 4   Q (By Mr. Williams) Do you personally know any of the
         5                     (Exhibit No. 17 marked                      5    authors who are listed on the first page?
         6                      for identification.)                       6   A No, I don't.
         7                                                                 7   Q Have you discussed your opinion on talc and ovarian
         8   Q (By Mr. Williams) The Taher 2018 study is not one of the    8    cancer with any of those authors?
         9    articles that you originally included in your reference      9   A No, I haven't.
        10    list, right?                                                10   Q Do you know what conflicts of interest, if any, the
        11   A That's correct.                                            11    authors may have?
        12       It was made public after my report was submitted.        12                 MS. PARFITT: Objection; form.
        13   Q It is included in the additional materials to Dr. Anne     13                 THE WITNESS: No, I don't.
        14    McTiernan, a listing that we marked earlier today?          14   Q (By Mr. Williams) Do you know whether some of the
        15   A Yes.                                                       15    authors are serving as consultants to the plaintiffs in
        16   Q Have you read the entire transcript?                       16    this litigation?
        17   A Yes, I have.                                               17   A No, I don't.
        18   Q Did you have access to this article before it was          18   Q Were you asked to be a co-author of that paper?
        19    published?                                                  19   A No, I wasn't.
        20   A It's not published. It's a draft manuscript.               20   Q Did you provide comments to it?
        21   Q Do you have access to the appendixes or supplemental       21   A No, I didn't.
        22    tables that are referenced in the publication?              22   Q Did the authors ever consult you in any way in connection
        23   A Yes.                                                       23    with their publication?
        24       I don't have them with me, but I did have access.        24   A No, they didn't.
        25   Q How did you have access to them?                           25   Q Did you attend the National Cancer Institute directors'

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                                                         Page 206                                                           Page 208
         1    meeting in Lyon, France on July 11, 2013 of last year,        1    International Association for Research of Cancer, 2010
         2    2018?                                                         2    monograph with respect to perineal use of talc, right?
         3   A No, I didn't.                                                3                 MS. PARFITT: Objection; form.
         4   Q The Taher study contains a meta-analysis, right?             4                 THE WITNESS: 2010 monograph was from
         5   A That's correct.                                              5    data up until 2007, so they did not have the benefit of
         6   Q If you turn to Page 28, Page 28 calculates or reports an     6    the last ten years.
         7    overall relative risk of 1.28 with a confidence interval      7       I believe IARC would have given a stronger
         8    of 1.20 to 1.37, right?                                       8    characterization of talcum powder applied to the perineum
         9   A It's written there-- okay, yes.                              9    if they were to review the data today, but they did
        10   Q If you turn to Page 49, under the heading, "Conclusion,"    10    categorize talcum applied to the perineum as a possible
        11    the very last sentence says, in part, "The present           11    carcinogen Grade 2B.
        12    comprehensive evaluation of all currently available          12   Q (By Mr. Williams) I would move to strike that as
        13    relevant data indicates that perineal exposure to talc       13    nonresponsive, Doctor, but my question is:
        14    powder is a possible cause of ovarian cancer in humans,"     14       You are speculating when you say what IARC would or
        15    right?                                                       15    would not have done; are you not?
        16   A Yes, I see that.                                            16                 MS. PARFITT: Objection--
        17   Q Do you agree that the 2018 paper represents a               17                 THE WITNESS: Correct.
        18    comprehensive evaluation of all currently available          18   Q (By Mr. Williams) In fact, and point of fact, in 2010
        19    relative data?                                               19    IARC, in the 2010 monograph, reached a conclusion that
        20   A It appeared to be a relevant meta-analysis.                 20    perineal exposure to talcum powder is a possible cause of
        21       As you mentioned, it's not peer-reviewed.                 21    ovarian cancer, and they put it in Group 2B, right?
        22       I would like to see it be peer-reviewed, but it has       22                 MS. PARFITT: Objection; form.
        23    a remarkably similar relative risk of the other              23                 THE WITNESS: Using data that they had
        24    meta-analyses that I've reviewed that were peer-reviewed,    24    available and through 2007, then yes, they classified it
        25    so not only the most recent comprehensive ones but also      25    that way in 2B.

                                                         Page 207                                                           Page 209
         1    the previous meta-analyses.                                   1   Q (By Mr. Williams) Do you have any criticisms of the
         2   Q Do you agree with the conclusion of the authors in Taher     2    Taher 2018 meta-analysis?
         3    2018 that perineal exposure to talcum powder is a             3   A As I mentioned before, it has remarkable similar results
         4    possible cause of ovarian cancer in humans?                   4    to the other meta-analyses, so that gave me some
         5   A I believe that it is a cause of ovarian cancer in humans.    5    confidence.
         6   Q My question is different.                                    6        I was a little curious why they picked-- I think
         7       My question is whether you agree with the conclusion       7    it's some of the supplementary tables.
         8    of the authors, what they wrote here, which is that           8        They picked relative risk for some of the-- a couple
         9    perineal exposure to talcum powder is a possible cause of     9    of the studies that I would not have picked, and some of
        10    ovarian cancer in humans.                                    10    the meta-analyses did not pick-- when many of the studies
        11   A And I am saying I would use a stronger statement than       11    have presented data, it's a little difficult to tell
        12    that.                                                        12    which of the data are the most basic, meaning no use of
        13       I would say these data support a causal association       13    talcum powder products to the perineum versus any use,
        14    with cancer, ovarian cancer.                                 14    and sometimes it's difficult to determine which is the
        15   Q So you disagree with them?                                  15    correct relative risk to pick, odds ratio, but I don't
        16   A Yes.                                                        16    have that here, don't have the supplemental data here.
        17   Q It would be faster if you just do that upfront.             17   Q Other than what you've just expressed, do you have any
        18   A I like to be exact. Sorry.                                  18    other criticisms?
        19   Q Just so we're clear, you disagree with the conclusion of    19   A I didn't see other concerns.
        20    the authors in the Taher study, that talcum powder is a      20        I think Table No. 2, the summary for the Bradford
        21    possible cause of ovarian cancer in humans, right?           21    Hill criteria of causation, they--
        22   A I believe that talcum powder product use is the cause of    22   Q Could you give me the page?
        23    ovarian cancer in humans, based on my review.                23   A I'm sorry, Page 25, Table No. 2.
        24   Q The conclusion in this Taher 2018 article is the same as    24   Q Thank you.
        25    that-- as the conclusion that was reached in the IARC,       25   A The question I had there is when they looked at strengths

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                                                         Page 210                                                           Page 212
         1    of association, they looked across individual studies and     1                  THE WITNESS: That's what they stated,
         2    didn't take into account the meta-analyses, so I think        2    yes.
         3    they could have used their own data as well as the other      3   Q (By Mr. Williams) And the importance of statistical
         4    meta-analyses, and they could have mentioned that there       4    significance is-- strike that.
         5    as part of strengths of association.                          5       Statistical significance is evaluated in order for
         6   Q Have you now listed all of your criticisms of the study?     6    epidemiologists and other researchers to try to rule out
         7   A Yes, I believe so.                                           7    chance, right?
         8   Q Do you believe it was improper of the authors of this        8   A Statistical significance depends largely on sample size,
         9    study to include both the Wu 2009 and the Wu 2015 studies     9    and it's merely a probability, so if you have a P value
        10    in the meta-analysis, as reflected on Page 29?               10    of 0.05, it means you have a five percent chance of
        11   A I would have to look back and see if those are the same--   11    making an error.
        12    if they include some of the same cases.                      12       There's nothing magical about 0.05.
        13   Q If they included the same cases, then for the reasons you   13       0.06 could be a very relevant study as well.
        14    described earlier today, you would criticize this study      14       Statistical significance is often determined-- it's
        15    because there would be double counting, right?               15    often thought to be statistically significant if the P
        16                  MS. PARFITT: Objection.                        16    value is less than or equal to 0.05.
        17                  THE WITNESS: Yes.                              17       As I said, it's not magical.
        18   Q (By Mr. Williams) Please turn to Page 3 on-- Figure         18        It really depends on sample size, so when I look at
        19    No. 3 on Page 39.                                            19    studies, I look at the totality of evidence, I look at
        20        It says, underneath that table, "Figure No. 3:           20    consistency, and I look at whether the relative risk is
        21    Ovarian cancer risk estimates at increasing levels of        21    above one consistently.
        22    exposure to talc, as reported from multiple studies."        22   Q What I'm trying to get at, Doctor, is whether-- is the
        23        Do you see that?                                         23    purpose of statistical significance.
        24   A Yes.                                                        24       Will you agree with me, and you can say "no," you
        25   Q Does Figure No. 3 provide evidence of a dose-response       25    can say "yes," you can say "maybe," but do you agree with

                                                         Page 211                                                           Page 213
         1    relationship, in your opinion?                                1    me or not that the purpose of evaluating statistical
         2   A I don't think I could evaluate that because I don't see      2    significance is to try to rule out the possibility that
         3    an explanation of where they get that data from.              3    results are a result of chance?
         4   Q Let me ask you to look back on-- at Page 29-- actually,      4   A I would modify that.
         5    Page 25. Excuse me.                                           5       I would say you would look at a statistical test in
         6       Do you see where it says, "Consistency: 15 out of          6    order to determine what is the likelihood that chance
         7    30 studies reported positive and significant associations     7    explained your result.
         8    reported in:" and then there's a colon and four bullet        8       I wouldn't say the word "rule out," because, as I
         9    points?                                                       9    mentioned, a P value of 0.06 could be as relevant as a P
        10       Do you see that?                                          10    value of 0.05.
        11   A Yes.                                                        11       It really depends on the sample size.
        12   Q 15 out of 30 is 50 percent of the case-control studies,     12   Q You are familiar with IARC ratings?
        13    right-- 15 out of 30 is 50 percent of the total number of    13       You mentioned them earlier today, right?
        14    studies reported, right?                                     14   A Yes.
        15                 MS. PARFITT: Objection; form.                   15   Q And you know that IARC ratings for Group 2B, which is
        16                 THE WITNESS: Yes, that would be 50              16    what IARC found for talc in 2006, I think, was that talc
        17    percent.                                                     17    should be listed as a possible cause of ovarian cancer,
        18   Q (By Mr. Williams) And 50 percent of the studies did not     18    correct?
        19    find a positive significant association that was             19                 MS. PARFITT: Objection; misstates the
        20    statistically significant, correct?                          20    document.
        21                 MS. PARFITT: Objection; form,                   21                 THE WITNESS: Maybe I should reframe
        22    misstates the data.                                          22    my answer.
        23                 THE WITNESS: You are asking me if               23       My understanding is a classification 2B means a
        24    that's what it stated?                                       24    possible carcinogen.
        25                 MR. WILLIAMS: Yes.                              25   Q (By Mr. Williams) Okay. And as you sit there, can you

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                                                         Page 214                                                         Page 216
         1    tell us what the definition of a Group 2B substance is,      1   Q There you refer to sample size as opposed to the number
         2    according to IARC?                                           2    of cases, did you not, in that sentence that I just read
         3   A I don't have that memorized.                                3    you?
         4       I do know that there are different panels set up for      4   A The reason I'm hesitating is I do two sample size
         5    each carcinogen, and there is an overall group that helps    5    calculations.
         6    the scientists to decide what classification to put          6       In here I am talking about calculation-- I was
         7    something in, but that-- it's not a clear-cut,               7    talking about the sample sizes from case-control studies,
         8    necessarily.                                                 8    and after this link that I provide, the calculation
         9       The scientific panel has to look at the totality of       9    showed the minimum number of cases in controls need to be
        10    evidence as they decide what level of evidence they have.   10    931 each, and then there's another place where I
        11   Q Does it sound familiar to you that in assigning a Group    11    calculate the cohort sizes.
        12    2B status for talcum powder, that the IARC team concluded   12   Q Can we stay here for just one moment on Page 48?
        13    that chance, bias, and confounding factors could not be     13   A Yes.
        14    ruled out?                                                  14   Q First of all, you performed what is known as a power
        15   A I don't have the document in front of me.                  15    calculation to determine the sample size that you
        16       I would need to look at that.                            16    believed is required for a study?
        17       Do we have it?                                           17   A That's correct.
        18   Q We do, and I will get to it in a minute.                   18   Q And you place particular importance, you told me a moment
        19       I am asking you, as you sit here, do you have any        19    ago, on the number of cancer cases total, correct?
        20    memory that the way that IARC analyzes whether a            20   A That's correct.
        21    substance is in Group 2B or some other grouping, is that    21   Q Based on your calculation, you concluded that the minimum
        22    if chance, bias, and confounding factors cannot be ruled    22    number of cases would need to be 931, correct?
        23    out, then the substance should be in Group 2B?              23   A That's correct, to have-- to have good power to detect
        24                MS. PARFITT: Objection; form.                   24    relative risk of 1.3 with statistical significance of
        25       Again, object to the memory aspect of this.              25    0.05.

                                                         Page 215                                                         Page 217
         1       If there's a document available, you should show it       1   Q You also concluded that the minimum number of controls
         2    to her.                                                      2    would need to be 931, correct?
         3                  THE WITNESS: And I can't remember.             3   A That's the simplest model.
         4   Q (By Mr. Williams) One reason that you have stated for       4        Different case-control studies will have different
         5    the lack of statistical significance in cohort studies is    5    numbers, and that can affect the power one way or the
         6    the sample size in those studies, correct?                   6    other.
         7   A The number of cases, the sample size of cases, yes.         7        I just did a simple calculation, but you could have
         8   Q Right.                                                      8    power increased by having a small number more of controls
         9       So now in your last answer, you are distinguishing        9    or a small number of more cases, so it depends on how--
        10    between the total sample size on the one hand and the       10    how it ends up working out, but this is the simplest
        11    number of cases of cancer on the other, correct?            11    model.
        12   A Yes.                                                       12   Q The point you were making in performing your power
        13   Q What's important for your analysis, in terms of sample     13    calculation was that meta-analyses, with their larger
        14    size, is the number of cancer cases?                        14    combined sample sizes, can be used to overcome that lack
        15   A That's correct.                                            15    of statistical power; is that true?
        16   Q You believe that the number of cases affects the           16   A Yes.
        17    statistical power of the studies?                           17   Q One of the two meta-analyses that you called excellent
        18   A Yes.                                                       18    combine data from three of the cohort studies to arrive
        19   Q Doctor, let me ask you about your report though.           19    at a single risk estimate.
        20       If you could look at Exhibit No. 2, Page 48, do you      20       Do you remember that?
        21    see there in the middle of the page it says, "I interpret   21   A No, I don't.
        22    the lack of statistical significance in some source         22       Which study?
        23    studies as being due to the small sample sizes of many of   23   Q Let me ask you to look at the 2017 Berge analysis, and
        24    these studies"?                                             24    let's use Exhibit No. 16A.
        25   A Yes.                                                       25                 MS. PARFITT: Not cutting you off

                                                                                          55 (Pages 214 to 217)
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                                                         Page 218                                                         Page 220
         1    right now, but maybe when you get to a good place, we can    1   Q If you add those two numbers together, what do you get?
         2    take a break.                                                2   A I don't know exactly-- over 1300.
         3                 MR. WILLIAMS: Okay. Sure.                       3   Q 1300 is more than 931, correct?
         4   Q (By Mr. Williams) Do you have Exhibit No. 16A in front      4   A Yes.
         5    of you?                                                      5   Q 900 and 1300-- to be precise, it's 1372. You add those
         6   A I do.                                                       6    two numbers together.
         7   Q And I would like to have you focus on Page-- I believe      7       1372 cancer cases is well above the 931 that you
         8    it's 7, Figure No. 2.                                        8    calculated would be necessary to find statistical
         9        Do you see where the authors list the three cohort       9    significance, right?
        10    studies they analyzed?                                      10   A Yes.
        11   A Yes.                                                       11   Q And because of the nature of cohort studies, there were
        12   Q Gates 2010, Houghton 2014, Gonzalez 2016?                  12    also many times that the number of women who did not get
        13   A Hold on a minute.                                          13    ovarian cancer-- right-- that's a separate number?
        14   Q And "Houghton" is--                                        14   A What did you say about the cohort studies?
        15   A Sorry.                                                     15   Q In addition to the cases where women ultimately,
        16        (Phone interruption) I was getting a call on this.      16    unfortunately, were diagnosed with cancer, the 1372,
        17    I am going to turn it off.                                  17    there are many times that number of women who were
        18   Q Do you see in the middle of Page 7 the reference to        18    followed along in their lives who did not get ovarian
        19    Gates, Houghton, and Gonzalez?                              19    cancer, correct?
        20        Do you see the reference in Figure No. 2, middle of     20   A Yes.
        21    the page, that says, "Cohort studies," and it references    21   Q So this meta-analysis is sufficient, under your power
        22    those three studies?                                        22    calculation, to be able to find a statistically
        23   A Yes.                                                       23    significant association, true?
        24   Q And "Houghton," for the record, is H-O-U-G-H-T-O-N.        24   A Yes, and that's why overall we see 1.22 is statistically
        25         Now, look back one page to Page 6 of Exhibit           25    significant.

                                                         Page 219                                                         Page 221
         1    No. 16A, and take a look at the paragraph starting at the    1   Q Please explain.
         2    top of the right column.                                     2   A Pardon?
         3       Do you see that one?                                      3   Q Please explain your answer.
         4   A Yes.                                                        4   A The overall relative risk of 1.22, the confidence
         5   Q About halfway down that paragraph the authors state as      5    interval is 1.13 to 1.3-- you see the overall
         6    follows, "It should be noted that the cohort studies         6    statistically significant effect.
         7    included in the meta-analysis comprised a total of 429       7   Q That wasn't what they concluded for the cohort studies
         8    cases of ovarian cases exposed to genital talc and 943       8    though, correct?
         9    unexposed cases: the statistical power of the                9        The cohort studies had the following on page-- I am
        10    meta-analysis of these cohort studies to detect a risk      10    looking at Page 7, Figure No. 2.
        11    ratio of 1.25, similar to the result of the meta-analysis   11       The cohort studies, for Gates it was 1.12, for
        12    of case-control studies, was 0.99. Thus, low power of       12    Gonzalez it was 0.73-- excuse me, I misspoke.
        13    cohort studies cannot be invoked as explanation of the      13       For Gates it was 1.06, for Houghton it was 1.12, and
        14    heterogeneity of results."                                  14    for Gonzalez the relative risk was 0.73, correct?
        15       Did I read that correctly?                               15   A 0.73, yes.
        16   A Yes, you did.                                              16   Q So if you look at the cohort studies, separate and apart
        17   Q Now, they reference here in the Berge study-- strike       17    from the case-control studies that are listed above, we
        18    that. Let me start over.                                    18    can agree that the relative risk is nowhere near 1.22?
        19       The Berge study is one of the two meta-analyses that     19                 MS. PARFITT: Objection; form.
        20    you said is an excellent study, correct?                    20   Q (By Mr. Williams) Right?
        21   A Yes.                                                       21                 MS. PARFITT: Objection; form.
        22   Q And what they list here on Page No. 6 is 429 cases of      22                 THE WITNESS: Yeah, I think the-- the
        23    ovarian cancer and 943 unexposed cases.                     23    way I look at the meta-analysis, is I look at all of the
        24       Is that correct?                                         24    studies together.
        25   A Yes.                                                       25       I don't just look at one particular type separate

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         1    from others, but as an example, the Houghton study, which     1    that was available at the time, and in total that's what
         2    had about 400 cases, I believe, the Women's Health            2    I look at.
         3    Initiative, with a relative risk of 1.12, if they had had     3       The issue with the cohort studies are that the
         4    900 cases, that probably would have been a statistically      4    information on talcum powder product use was collected at
         5    significant result, so that's what the power calculation      5    one point in time. It was never updated, and it was not
         6    does.                                                         6    retrospective, so we don't know what-- lifetime use in
         7       In this case you have the Gonzalez-- the sister            7    those cohort studies.
         8    study is what brings the relative risk down closer to one     8   Q (By Mr. Williams) We'll take a break in a moment, but my
         9    because you do have one negative result there, but            9    question before the break is this:
        10    overall, looking at all of the meta-analyses-- all of the    10       I was asking, for purposes of my question, for you
        11    studies together, you see definitely a trend towards a       11    to exclude case-control studies from your analysis.
        12    relative risk consistently above one.                        12       My question was:
        13   Q (By Mr. Williams) Now-- have you completed your answer?     13       If you were doing an analysis that had been based on
        14   A Yes.                                                        14    the cohort studies, and not on your analysis of the
        15   Q You just mentioned a moment ago that with a relative risk   15    case-control study relative risks, you would not have
        16    of 1.12, if they had 900 cases, they probably would have     16    been able to conclude that perineal use of talc causes
        17    been a statistically significant-- that probably would       17    ovarian cancer with a 1.02 relative risk that is not
        18    have been a statistically significant result.                18    statistically significant, right?
        19       When you say that that probably would have been the       19                  MS. PARFITT: Objection; form,
        20    case in the women's health study, you're speculating         20    misstates her testimony and her opinions.
        21    there, aren't you?                                           21                  THE WITNESS: I think that's
        22                 MS. PARFITT: Objection; form.                   22    speculative because I wouldn't have ignored the
        23                 THE WITNESS: I am speculating from my           23    significant amount of data from case-control studies.
        24    previous experience with working with the Women's Health     24   Q (By Mr. Williams) On the question of whether or not the
        25    Initiative, that with very large numbers of cases if you     25    difference between case-control and cohort studies may be

                                                         Page 223                                                          Page 225
         1    have-- even with small relative risk you will have a          1    due to sample size and resulting low power, you come to
         2    statistically significant result, an amount, that you         2    the opposite conclusion as the authors of the Berge 2017
         3    would correct on speculating what would be seen with this     3    study that you are relying upon, correct?
         4    particular data set.                                          4                MS. PARFITT: Objection; form,
         5   Q (By Mr. Williams) Let me ask you to focus on Page 7 of       5    misstates her testimony.
         6    the exhibit and Figure No. 2, again, and the cohort           6                THE WITNESS: I am not sure why you
         7    studies for Exhibit No. 16A, the Berge study.                 7    come to that.
         8       You see there's a subtotal there for the cohort            8       I have the opposite conclusion.
         9    studies at the bottom of the table, right?                    9   Q (By Mr. Williams) Well, the authors of the Berge study
        10   A Yes.                                                        10    concluded that-- the authors of the Berge study concluded
        11   Q The combined relative risk for the cohort studies is        11    that low power of cohort studies cannot be invoked as an
        12    1.02, no statistical significance, correct?                  12    explanation of the heterogeneity of results, right?
        13   A Correct.                                                    13       That's what they wrote?
        14   Q The confidence interval combined for those was 0.85 to      14   A That's what they wrote.
        15    1.20, correct?                                               15   Q On the question of whether or not the difference between
        16   A Correct.                                                    16    case-control and cohort studies may be due to sample size
        17   Q If you had been basing your analysis on the cohort          17    and resulting low power, you come to the opposite
        18    studies and not on an analysis of the case-control           18    conclusion as the authors of the Berge study, correct?
        19    studies, you would not have been able to reach your          19                MS. PARFITT: Objection; form.
        20    conclusion that use of talc is a cause of ovarian cancer,    20                THE WITNESS: I don't remember coming
        21    true?                                                        21    to the opposite conclusion.
        22                 MS. PARFITT: Objection; form,                   22       I have opposite-- I have alternative reason why I
        23    misstates the evidence.                                      23    think the cohort studies could have lower relative risk
        24                 THE WITNESS: I looked at the totality           24    than the case-control studies, and-- which I've just
        25    of evidence and looked at all of the epidemiologic data      25    stated about the way the exposures are collected.

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                                                        Page 226                                                           Page 228
         1   Q (By Mr. Williams) In your report, Dr. McTiernan, you        1                MS. PARFITT: Objection; form.
         2    dealt with the heterogeneity issue between the relative      2                THE WITNESS: You are talking about
         3    risk findings for case-controls versus the relative risk     3    this-- yes.
         4    findings for cohorts.                                        4   Q (By Mr. Williams) In your last answer or two answers
         5       You dealt with that disparity by doing a power            5    ago, you referenced the fact that two of the cohort
         6    calculation and concluding that you needed 931 cases in      6    studies had relative risks above one.
         7    order to have sufficient power.                              7       Do you remember saying that?
         8       That's what you said, right?                              8   A Yes.
         9   A A study-- I was talking about individual studies.           9   Q You are referring to Gates, which was 1.06, and Houghton,
        10       I wasn't talking about the combined group of cohort      10    which is 1.12, correct?
        11    studies.                                                    11   A Correct.
        12   Q What the authors said on Page 6 of Exhibit No. 16A was,    12   Q The other relative risk was 0.73, correct?
        13    "Thus, low power of cohort studies cannot be invoked as     13   A Correct.
        14    an explanation of the heterogeneity of results."            14   Q If it had been statistically significant, that would show
        15       They said that, right?                                   15    a protective effect from the use of talc, correct?
        16   A Yes, and I think they mean the cohort studies combined.    16                 MS. PARFITT: Objection; form.
        17   Q I'm sorry?                                                 17                 THE WITNESS: Correct.
        18   A They're talking about the cohort studies combined.         18   Q (By Mr. Williams) Do you think that relative risks of
        19       I'm talking about individual studies.                    19    1.06 and 1.12 are weak? strong? moderate?
        20   Q And you disagree with that conclusion, true or not true?   20        How would you characterize those numbers?
        21                MS. PARFITT: Objection; form.                   21                 MS. PARFITT: Objection; form.
        22                THE WITNESS: I think that they're               22                 THE WITNESS: I tend to look at the
        23    correct in what they're saying, that they had sufficient    23    number of what they are, rather than giving an adjective
        24    power to find a relative risk if it was there, if the       24    to it.
        25    study was done directly when they added those three         25       I believe one possibility for these cohort studies

                                                        Page 227                                                           Page 229
         1    studies together, but I'm saying there were alternative      1    to have lower relative risk is because of the less
         2    reasons why the relative risk is lower, so there's two       2    accuracy in collecting the exposure.
         3    issues, the relative risk and the power and statistical      3       It tends to reduce the point estimate, which is the
         4    significance, and the relative risk for two of those         4    relative risk, if the exposure data is not collected with
         5    studies is over one.                                         5    as much refinement as you can see in-- as we've seen in
         6       They used Gates-- Gertig had a little bit different       6    some of the other studies.
         7    level, but the data was collected in very different ways     7   Q (By Mr. Williams) Why would it reduce the number rather
         8    for cohort studies than case-control studies.                8    than raise the number?
         9       Another problem with the cohort studies is that they      9       Couldn't it do either?
        10    did not follow the women for very long, on average, which   10   A I am not sure exactly why, but it tends to do that-- by
        11    was the case of 12 studies that have lifetime exposure,     11    having incomplete information about an exposure, it tends
        12    so the cohort studies may have not had all of the cases     12    to lower the relative risk.
        13    develop that were going to be developed, so there are       13   Q Can you point us to any treatise, any study, any analysis
        14    reasons-- but it's two different reasons: the effect        14    that makes that point?
        15    size, which is the relative risk, and the statistical       15   A Yes.
        16    significance, which is the P value or the confidence        16   Q That you just made?
        17    intervals.                                                  17   A Yes.
        18   Q (By Mr. Williams) With respect to the issue of power,      18   Q Go ahead.
        19    you said you needed to get to 931 cases, right?             19   A I have a reference.
        20                 MS. PARFITT: Objection; form.                  20   Q And then I promise we'll take a break.
        21                 THE WITNESS: I calculated 91-- 931             21   A Flegal, Brownie, and Haas, so Reference No. 45--
        22    for an individual study.                                    22   Q And you are referring to Reference No. 45 from your
        23   Q (By Mr. Williams) And in these cases, if you combine the   23    report?
        24    cohort studies, the total number of cases, they are far     24   A Yes, Reference No. 45.
        25    in excess of that number, right?                            25                 MS. PARFITT: Counsel, with your

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         1    permission, I will hand her my--                             1       At the bottom of Page 28, the last sentence that
         2                 MR. WILLIAMS: Please.                           2    carries over, you wrote, "It should be noted that ovarian
         3   Q (By Mr. Williams) For the record, are you looking,          3    talc particle burden may not be influenced by number of
         4    Dr. McTiernan, to the portion of the Flegal, F-L-E-G-A-L,    4    applications of perineal talc usage, and therefore the
         5    study, Item No. 45 on your reference list, to try to find    5    typical dose response relationship may not be necessary
         6    something that supports your conclusion that a lack of--     6    for establishing causality between perineal talcum powder
         7    I can't remember how you put it, but a lack of sufficient    7    product use and the risk for ovarian cancer."
         8    questions in a cohort study leads to a lower risk ratio?     8       What's the basis for that statement?
         9   A So I'll read from the abstract, the first two sentences,    9   A I think I addressed that a little bit this morning, that
        10    "In epidemiologic studies individuals may be                10    if a woman is exposed to perineal talc and it moves up to
        11    misclassified with respect to exposure to a risk factor     11    the fallopian tube or ovarian area, all she would need is
        12    for disease.                                                12    potentially one dose to then set up inflammation.
        13       "Such misclassification causes the relative risk of      13       The more that she's exposed to, that suggests the
        14    disease associated with exposure in the population to be    14    more likelihood of having the talc move up to that area,
        15    biassed toward the null value."                             15    so we do look at dose responses to help support this
        16   Q And what is it that you believe caused people-- strike     16    association, but it still seems possible that a smaller
        17    that.                                                       17    number of doses could still increase risk.
        18       I take it you conclude here that the cohort studies      18       The reference that I used here, 64, Heller, do we
        19    somehow misclassified some of the women who were            19    have that available?
        20    participating in the study?                                 20                     (Exhibit No. 18 marked
        21   A In the Nurses' Health Study women were asked in 1982, at   21                      for identification.)
        22    one point, whether they used these products, and it was     22
        23    never updated, and it did not ask about their lifetime      23   Q (By Mr. Williams) And we will mark the Heller study as
        24    use before that.                                            24    Exhibit No. 18.
        25       The Women's Health Initiative asked if they had ever     25      If you could, just point me to the page that you're

                                                        Page 231                                                           Page 233
         1    used it when they entered the study, so that was between     1    referring to.
         2    1992 and 1996.                                               2   A So, yes, if you look at-- just looking at Table No. 1,
         3       It was not updated either.                                3    this is 12 women who reported talc use.
         4       It didn't have a full lifetime exposure collected,        4       You can see the talc counts weren't necessarily
         5    so really you only have one point in time for those two.     5    correlated with the lifetime talc applications, and this
         6       One of them-- one of them asked about years of use        6    is estimated by a woman's report.
         7    and one asked about frequency, but neither asked about       7       So even women that have a smaller number of
         8    both.                                                        8    applications could have a very high talc count.
         9       This is a typical underestimate of exposure when          9   Q Have you finished your answer?
        10    you're asking people just at one point in time and not      10   A Yes.
        11    updating and not going back in time.                        11   Q Couldn't that very high talc count be as a result of the
        12   Q Anything else you want to add?                             12    fact that talc is all over the environment, not just from
        13   A No.                                                        13    talcum powder but from things we eat, places we go,
        14                  MR. WILLIAMS: Let's take a break.             14    contamination?
        15                  VIDEOGRAPHER: Going off the record,           15       Couldn't it be explained by that?
        16    the time is 3:19 p.m.                                       16                 MS. PARFITT: Objection; form.
        17                        (Recess 3:19 to 3:39 p.m.)              17                 THE WITNESS: It seems like a likely
        18                                                                18    way for talc to be present in the ovaries is through
        19                VIDEOGRAPHER: We are back on the                19    movement up through the genital tract.
        20    record. This is the start of Media 4. The time is 3:39      20       There is some data suggesting that, yes, talc could
        21    p.m.                                                        21    migrate through the lymph system, but there's much more
        22   Q (By Mr. Williams) Dr. McTiernan, do you have Exhibit       22    data showing that particles can move-- inert particles
        23    No. 2 in front of you, your report?                         23    can move through the genital tract up through the
        24   A Yes.                                                       24    fallopian tubes and to the ovaries in both animals and
        25   Q Could you turn to Page 28.                                 25    humans.

                                                                                          59 (Pages 230 to 233)
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         1   Q (By Mr. Williams) Do you remember that the Heller study      1    their genital area that she didn't record, she didn't
         2    looked at groups of women that both used talcum powder in     2    recall.
         3    the perineal area and women who did not?                      3   Q You're speculating now, aren't you?
         4   A Yes. It was about half and half, and--                       4                  MS. PARFITT: Objection.
         5   Q Hold on. Let me ask the question.                            5   Q (By Mr. Williams) Are you not speculating right now?
         6   A Sorry.                                                       6   A I don't know. They don't have data saying that the woman
         7   Q You do remember that it looked at both groups of women,      7    misrepresented.
         8    those who used talc and those who did not, correct?           8   Q What we do have data on is the ages of the women who had
         9   A Yes.                                                         9    talc in their ovaries, correct?
        10   Q And then it looked at their ovaries to determine which      10   A Yes.
        11    ones had any evidence of talcum powder.                      11   Q And who were part of this study, right?
        12       Do you remember that?                                     12   A Yes.
        13   A Yes.                                                        13   Q The notion that the fact that they were diapered as
        14   Q And do you remember that the Heller study concluded that    14    babies with talcum powder could be an explanation for how
        15    there were more women who had talcum powder in their         15    they had talc in their ovaries doesn't hold up, does it,
        16    ovaries who had never used talcum powder in the perineal     16    if the ages of the women are, with two exceptions, people
        17    area than there were women who had talc in their ovaries     17    who are in their 60s and 50s and 40s, right?
        18    who had reported use of talcum powder in the perineal        18                  MS. PARFITT: Objection; form,
        19    area?                                                        19    misstates the data.
        20       Do you recall that?                                       20                  THE WITNESS: I don't know if we have
        21                MS. PARFITT: Objection.                          21    data that can show that, but if talc has migrated up and
        22                THE WITNESS: What I see in the table             22    is in the peritoneal area, it sits there. I don't know
        23    is a one point different, five versus six.                   23    how it would be removed.
        24       They were able then to contact the mothers of these       24        It doesn't seem implausible to me that it could
        25    women to find out whether the women had been exposed as      25    remain there for years.

                                                         Page 235                                                           Page 237
         1    babies, if they had been diapered with talc, and you          1   Q (By Mr. Williams) Do you have any opinion on how long
         2    could see quite a few-- three additional that did have        2    talc particles stay in a woman's ovary, assuming it can
         3    genital exposure from talc use as babies.                     3    get to an ovary?
         4   Q (By Mr. Williams) Dr. McTiernan, what is the latency         4   A I have no data to show me one way or the other.
         5    period for ovarian cancer?                                    5   Q What we do know from the Heller study though is in Table
         6   A It's decades, so it's thought to be-- it could be 30, 40     6    No. 3 for those women who reported talc use, five of the
         7    years.                                                        7    12 had talc in their ovary, correct?
         8   Q Isn't it 20 or 30 years?                                     8   A That's correct.
         9                 MS. PARFITT: Objection; form.                    9   Q And six of the women, who reported no talc use, six of
        10                 THE WITNESS: It's not clear if it's             10    the 12 had talc in their ovaries, correct?
        11    exactly that, but it could be much longer.                   11   A That's correct.
        12   Q (By Mr. Williams) Well, take a look at the ages of the      12   Q Now, you cited Heller as a basis for-- strike that.
        13    women in Table No. 2.                                        13       You criticized the cohort studies earlier today for
        14       Do you see those ages?                                    14    asking only at one point in time whether women used
        15       Wouldn't those women have had to have been diapered       15    talcum powder.
        16    in their 30s and 40s, by your analysis?                      16       Do you recall that testimony?
        17   A No, I see one woman is 59, so that would have been a long   17   A Yes, in the sense that it may underreport by asking about
        18    period.                                                      18    one period in time.
        19       One is 40.                                                19   Q But you also just testified a few moments ago and you
        20       One is 64.                                                20    testified earlier today that one-time exposure is
        21   Q If a woman were 59 and the latency period were 40 years,    21    sufficient to support the conclusion that talc causes
        22    that would mean that she would have had to have been         22    ovarian cancer, right?
        23    diapered when she was 19, right?                             23   A I don't recall saying that, and I did say that-- I
        24   A The latency could have been longer in some.                 24    thought I just said that the women may not have
        25       There's also a possibility of other exposure to           25    remembered using it.

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         1       The ones that said they didn't, they may have not          1                 THE WITNESS: I would have to look at
         2    remembered, and that is underreporting.                       2    the question again, but they were asked at one point if
         3   Q But wouldn't asking the question whether-- one time          3    they were using, and--
         4    whether a woman ever used talcum powder be enough to give     4   Q (By Mr. Williams) Weren't they asked in some of the
         5    the cohort studies the ability to analyze whether there       5    cohort studies whether they ever used talcum powder?
         6    was an overall statistically significant association, if      6   A One of them did and one didn't, so I would have to look
         7    in fact one existed, given your testimony that all it         7    back.
         8    takes is one exposure?                                        8   Q Regardless of which one is which, which one said, "Look
         9   A I think-- sorry, are you talking about my testimony of       9    back" or which one side, "Are you currently using," isn't
        10    one exposure in order to cause ovarian cancer?               10    the point that if talcum powder use in the perineal area
        11   Q Yes.                                                        11    is a habitual thing that women did and do after
        12   A There may be other reasons women could say it could not     12    showering, after exercising-- after being out in the
        13    report use of talc-- they may not remember it.               13    world, if they're hot, if it is something that is
        14       They may not feel comfortable reporting it.               14    habitually done, then is there any reason to believe that
        15       In these cohort studies there were some subjects          15    when a woman reports that she has used talcum powder,
        16    that were not included because they didn't report use.       16    that she's only done it one time?
        17       One of the cohort studies didn't include about 500        17                 MS. PARFITT: Objection; form.
        18    women because they didn't have information, they didn't      18                 THE WITNESS: I don't know the answer
        19    answer the question.                                         19    to that. I haven't seen the data.
        20   Q You are speculating now, aren't you?                        20   Q (By Mr. Williams) Earlier today you were asked questions
        21                MS. PARFITT: Objection; form.                    21    about cohort study methodology, and I believe you said
        22                THE WITNESS: We can look at the                  22    that one of the problems with the cohort studies is that
        23    cohort studies to see what the numbers were that didn't      23    they ask about a lot of substances and not just talcum
        24    remember.                                                    24    powder.
        25   Q (By Mr. Williams) Is it your testimony that use of--        25       Do you recall saying that?

                                                         Page 239                                                           Page 241
         1    strike that.                                                  1   A Yes.
         2       Do you have an understanding, as you sit there, as         2   Q And isn't it true-- strike that.
         3    to whether or not use of talcum powder in the perineal        3       Isn't it true that a number of the cohort studies
         4    area is a habitual activity or something that is done         4    ask about multiple substance-- strike that.
         5    once and never again?                                         5       Isn't it true that a number of the case-control
         6   A I don't think we have data showing one way or the other.     6    studies ask about a number of substances?
         7   Q Do you believe that there are no studies that talk at all    7                   MS. PARFITT: Objection; form.
         8    about whether or not this is a habit, the use-- and by        8                   THE WITNESS: Without having the
         9    "this," I mean the use of talcum powder in the perineal       9    questionnaires for all of the case-control studies, I
        10    area?                                                        10    can't answer about exactly what they asked about other
        11   A I didn't review that.                                       11    variables.
        12       The studies talked about what proportion of people        12       Certainly case-control studies, many of the ones
        13    were using talc at the time that they were interviewed.      13    included, asked about several different potential
        14       I noticed the Women's Health Initiative is 40             14    exposures in relation to ovarian cancer.
        15    percent were using it. I think Nurses' Health Study was      15       They were designed to look at ovarian cancer.
        16    about 50 percent using it, whereas the sister study, a       16       The cohort studies, however, were designed to look
        17    very small percent, they were interviewed more recently      17    at exposures related to cardiovascular disease, various
        18    or they answered questions more recently.                    18    cancers, osteoporosis, arthritis, cognition, so there are
        19       I don't recall the studies determining whether            19    many, many different forms that these women filled out,
        20    somebody had used it once versus several times or a          20    and the Women's Health Initiative in the cohort study,
        21    habitual use versus nonhabitual use.                         21    they were completing forms every year with different
        22   Q So the cohort studies that started in 1982, is it your      22    types of information collected.
        23    testimony that those women started using talcum powder in    23       At baseline, which is the only time when talc was
        24    1982?                                                        24    collected, they had multiple forms that they had to
        25                 MS. PARFITT: Objection.                         25    complete.

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                                                         Page 242                                                           Page 244
         1   Q (By Mr. Williams) What is it about asking about multiple     1    not all statistically significant, right?
         2    substances and not just talcum powder that makes that         2                 MS. PARFITT: Objection; form,
         3    practice in some cohort studies unreliable, in your view?     3    misstates her testimony.
         4   A It could make it unreliable, but it certainly is fatigue,    4                 THE WITNESS: When you look at studies
         5    how many questions can somebody answer accurately.            5    that were small, the smaller, older studies tended to be
         6       The cohort studies were self-administered forms, so        6    less likely to have statistical significance, and the
         7    the woman had no prompting, no additional help with           7    newer, larger studies were more likely to be
         8    remembering.                                                  8    statistically significant.
         9       The two studies that I could find, the actual              9   Q (By Mr. Williams) You agree that simply combining data
        10    questionnaire, the Nurses' Health Study and the Women's      10    into meta or pooled analyses does not entirely eliminate
        11    Health Initiative, they're very short and simple             11    the underlying flaws of the individual studies, true?
        12    questions without going through any information about        12   A Yes, when you combine data, then the individual study's
        13    what they might have been doing at different time points     13    data still stand.
        14    in their life.                                               14       What you're doing by combining data is smoothing out
        15       The Nurses' Health Study had one little question          15    variability across studies and increasing sample size.
        16    about five categories to fill in, so something that's        16   Q Take a look at the Berge study, 16A, that we were looking
        17    that short can underestimate the level of exposure.          17    at earlier, and take a look at Figure No. 2.
        18   Q Does being fatigued make a woman check the box saying       18       That's the Forest plot, right?
        19    that she used talc or does it make her not check the box     19   A Yes.
        20    saying that she used talc?                                   20   Q This breaks out the case-control and the cohort studies
        21   A I don't know.                                               21    analyzed for the meta-analysis, right?
        22   Q Then what does fatigue have to do with it?                  22   A Yes.
        23   A If it makes the result less accurate, whichever way it      23   Q There's a combined relative risk for the case-controls
        24    goes, the misclassification, as we just talked about,        24    and the cohort combined, and that is the 1.22 indicated
        25    that then can drive the relative risk lower towards the      25    at the bottom of the table, right?

                                                         Page 243                                                           Page 245
         1    null.                                                         1   A That's correct.
         2   Q But it also can drive it higher, right, depending on         2                MR. LOCKE: Excuse me, can we just
         3    which way it goes?                                            3    take a quick break?
         4                 MS. PARFITT: Objection; form.                    4                VIDEOGRAPHER: Going off the record,
         5                 THE WITNESS: Not usually from this               5    the time is 3:59 p.m. Please stand by.
         6    classification. It usually drives it towards the null.        6                      (Recess 3:59 to 4:00 p.m.)
         7   Q (By Mr. Williams) Your opinion that perineal talc use        7
         8    can cause ovarian cancer is based on what you describe as     8                 VIDEOGRAPHER: We are back on the
         9    a statistically significant elevated risk, right?             9    record. The time is 4 p.m.
        10   A That's correct, overall, looking at the meta-analysis and   10   Q (By Mr. Williams) Dr. McTiernan, do you have the Berge
        11    the pooled analysis.                                         11    study, Exhibit No. 16A, in front of you?
        12   Q And that statistically significant elevated risk estimate   12   A Yes.
        13    is in combined data in the meta-analysis, correct?           13   Q And you are looking at the Forest plot?
        14   A Correct, adding the studies together.                       14   A Yes.
        15   Q By combining the data, you are referring to meta-analyses   15   Q I would like to focus you on the case-control studies.
        16    and pooled analyses, right?                                  16       I have counted the total number there.
        17   A Yes.                                                        17       I count 24 total.
        18   Q Your opinion of that combined data is based upon            18       Is that what you count?
        19    statistical significance, correct?                           19   A Yes.
        20   A Partly. It's based also on consistency across the           20   Q If we look at those studies that have a confidence
        21    individual studies and also the effect size consistently     21    interval that crosses over 1.0, there are 12 of them,
        22    being elevated in most of the studies.                       22    correct?
        23   Q You do agree that when you do not combine the data,         23   A Yes, the earlier studies do.
        24    meaning when you look at the individual sourced studies      24   Q And that means that there are 12 that are not
        25    from which the meta-analyses are performed, the data is      25    statistically significant, correct?

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         1   A Yes.                                                         1    significant?
         2   Q So as between just the case-control studies, the 24          2                  MS. PARFITT: Objection; form, asked
         3    listed here, at best only 50 percent of them or 12 of         3    and answered.
         4    them reflect a statistically significant association,         4   Q (By Mr. Williams) Am I right?
         5    true?                                                         5   A My response is that they showed different results, not
         6                 MS. PARFITT: Objection; form.                    6    just the statistical significance being different, but
         7                 THE WITNESS: And, again, that's                  7    the point estimate is different.
         8    largely based on sample size.                                 8   Q Let me put it this way:
         9       The earlier studies tended to be smaller than the          9       On the question of statistical significance, yes or
        10    older ones-- sorry, than the more recent ones, which the     10    no, are the results-- the combined results of the
        11    sample size drives statistical significance.                 11    case-controls consistent with the combined results on the
        12   Q (By Mr. Williams) It is accurate that 12 of the             12    cohort studies or not, yes or no?
        13    case-control studies did not find a statistically            13                  MS. PARFITT: Objection; form, asked
        14    significant association, true or not true?                   14    and answered.
        15                 MS. PARFITT: Objection; form, asked             15                  THE WITNESS: So I think I answered
        16    and answered.                                                16    before, the statistical significance was different and
        17                 THE WITNESS: The sample size drives             17    they showed different results.
        18    the statistical significance, and the larger, more recent    18   Q (By Mr. Williams) And the different results that they
        19    studies, were more likely to be statistically                19    showed was that one, the cohorts, was not statistically
        20    significant.                                                 20    significant, and the case-controls, overall, were
        21       The smaller, older studies, were more likely to be        21    statistically significant, correct?
        22    not statistically significant.                               22                  MS. PARFITT: Objection; form, asked
        23   Q (By Mr. Williams) The combined risk estimate for the 24     23    and answered multiple times.
        24    case-control studies came out to a statistically             24                  THE WITNESS: So I answered more
        25    significant number, correct?                                 25    fully, I think, than just statistical significance.

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         1   A That's correct.                                              1       I answered both about the relative risk, which is
         2   Q The combined risk estimate for the cohort studies, on the    2    the point estimate, and the statistical significance, so
         3    other hand, did not come out to a statistically               3    the point estimate was 1.02 in the cohort studies, not
         4    significant number, right?                                    4    statistically significant.
         5   A That's correct.                                              5       It was 1.26 in the case-control studies, and that
         6   Q Can we agree that on the question of statistical             6    was statistically significant.
         7    significance, the combined risk estimate for the              7   Q (By Mr. Williams) Perhaps that's where the issue is.
         8    case-control studies are not consistent with the combined     8       For purposes of my question, I am asking you to
         9    risk estimate for the cohort studies?                         9    limit your analysis to the question of statistical
        10                 MS. PARFITT: Objection; form, asked             10    significance.
        11    and answered, misstates her prior testimony.                 11        Are you with me so far?
        12       You may answer.                                           12   A I understand what you're saying.
        13                 THE WITNESS: The combined cohort                13   Q With respect to statistical significance, with respect to
        14    study not only was not significant, the relative risk was    14    that issue, is it your testimony that the case-control
        15    1.02.                                                        15    studies, which find that there is a statistically
        16   Q (By Mr. Williams) I don't believe you answered my           16    significant positive odds ratio or relative risk, and the
        17    question.                                                    17    cohort studies, which do not collectively have a positive
        18       My question is:                                           18    relative risk, is it your testimony that those are
        19       Can we agree that a question of statistical               19    consistent with respect to the issue of statistical
        20    significance, just that question, the combined risk          20    significance?
        21    estimate for the case-control studies are not consistent     21                 MS. PARFITT: Objection; form, asked
        22    with the combined risk estimate for the cohort studies       22    and answered, hopefully for the last time.
        23    because for the cohort studies the result was not            23                 THE WITNESS: And I think I don't look
        24    statistically significant, and for the case-control          24    at statistical significance in the same way for a
        25    studies the combined estimate was statistically              25    relative risk of 1.02 as I do for 1.26, but there is

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         1    something remarkable here, is that the upper limit of the    1       Just so we can remember, my question to you is:
         2    confidence interval for the cohort studies is almost up      2       Are you unable to answer my question because I am
         3    to the relative risk for the case-control studies, so the    3    limiting the question to talk about statistical
         4    statistical significance test tells us the relative risk     4    significance and whether those findings are consistent or
         5    could be as high as 1.2, so even though you call it          5    inconsistent?
         6    nonstatistically significant, it's still within 95           6                MS. PARFITT: Objection; form.
         7    percent chance that it's up at 1.2.                          7       Answer his question.
         8   Q (By Mr. Williams) Are they both statistically               8       You have answered multiple times.
         9    significant or not, the case-controls or the-- and the       9                THE WITNESS: I think my answer is I
        10    cohort studies?                                             10    don't look at just statistical significance. I look at
        11                 MS. PARFITT: Objection; form, asked            11    point estimate as well.
        12    and answered.                                               12   Q (By Mr. Williams) Are you an expert in asbestos?
        13       Counsel, I do believe she is trying to answer the        13   A No, I'm not an expert in asbestos.
        14    question.                                                   14   Q Are you an expert in geology?
        15       This is about the tenth time.                            15   A No.
        16   Q (By Mr. Williams) You may answer.                          16   Q Mineralogy?
        17                 MS. PARFITT: Give your response                17   A No.
        18    again.                                                      18   Q Can you distinguish between an asbestiform fiber on the
        19                 THE WITNESS: I think I'm sorry, but I          19    one hand and a cleavage fragment on the other?
        20    don't think of something as just looking at the             20   A No.
        21    statistical significance.                                   21   Q Can you distinguish between an asbestiform and a
        22       I always look at both the relative risk and the          22    nonasbestiform fiber?
        23    statistical significance.                                   23   A No.
        24       Repeating, the relative risk is only 1.2 for the         24   Q Are you an expert in microscopy?
        25    cohort studies.                                             25   A In which?

                                                        Page 251                                                           Page 253
         1       The confidence interval includes one, so that would       1   Q Microscopy.
         2    be considered not statistically significant, but it          2   A No.
         3    ranges up to 1.2, which means the relative risk could be     3   Q Are you qualified to analyze bulk samples of baby powder
         4    as high as 1.2 for the cohort studies.                       4    using different types of microscopes?
         5   Q (By Mr. Williams) You're speculating; are you not?          5   A No, I'm not.
         6                  MS. PARFITT: Objection; form.                  6   Q Are you qualified to perform any of the following tests
         7                  THE WITNESS: I'm interpreting--                7    for purposes of analyzing a talcum powder sample:
         8                  MS. PARFITT: Misstates your                    8       X-ray defraction?
         9    testimony.                                                   9   A Are you going to list them or do you want me to say
        10                  THE WITNESS: I am interpreting what           10    "no"--
        11    the 95 percent confidence intervals mean.                   11   Q You can answer them one at a time.
        12       It's not a speculation.                                  12   A No.
        13   Q (By Mr. Williams) Is the answer that you are not able to   13   Q Polarized light microscopy?
        14    answer my question as phrased when I limit the question     14   A No.
        15    to an analysis of statistical significance?                 15   Q Transmission electron microscopy?
        16                  MS. PARFITT: Objection; form.                 16   A No.
        17       She has answered your question completely.               17   Q In your work do you review and analyze other people's
        18       Let's move on, Mr. Williams.                             18    defraction patterns or readouts or images or other
        19        You are not going to get a different answer.            19    results of microscopic testing for-- of talcum powder for
        20       You can use up the remaining of your time if you         20    asbestos, the presence of asbestos?
        21    would like, but she has answered the question.              21   A Are you talking about looking at the details of their
        22   Q (By Mr. Williams) You may answer, Doctor.                  22    sampling?
        23                  MS. PARFITT: You are asking questions         23   Q Correct.
        24    10, 15 times--                                              24   A To determine the methods? No, I would not do that.
        25   Q (By Mr. Williams) You may answer.                          25   Q Regardless of the method, have you ever personally tested

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         1    any talcum powder product for asbestos?                      1    2014 have shown that present-day talcum powder products
         2   A No.                                                         2    include several types of asbestos, and you cite two
         3   Q Have you ever been to a talc mine?                          3    sources, right?
         4   A No.                                                         4   A Yes.
         5   Q How about a talc mill?                                      5   Q And those are Gordon 2014 and Blount 1991?
         6   A No.                                                         6   A That's correct.
         7   Q Do you know how talc is selected from a mine, sorted,       7   Q You also cite to Exhibit No. 47 of the deposition of
         8    sterilized, processed before it is ever put into a bottle    8    Imerys witness Julie Pier, P-I-E-R.
         9    of Johnson's Baby Powder?                                    9       Do you remember that?
        10   A No, I don't.                                               10   A Yes.
        11   Q Do you know what methods are used to test the cosmetic     11   Q And to Exhibit No. 24 to the deposition of Johnson &
        12    talc in Johnson's Baby Powder products for asbestos?        12    Johnson witness John Hopkins, correct?
        13   A Are you talking about what your company methods are to     13   A Yes.
        14    test?                                                       14   Q You also have cited to five litigation reports. Those
        15   Q Whether it was the company's methods or someone else's--   15    are referenced as 79 to 83, which were prepared by
        16   A No.                                                        16    Dr. William Longo, right?
        17   Q Do you know how many methods were used over the years to   17   A Yes.
        18    test cosmetic talc in Johnson's Baby Powder products for    18   Q Are you in fact relying upon Gordon 2014, Blount 1991,
        19    asbestos?                                                   19    Pier Exhibit No. 47, Hopkins Exhibit No. 24, and the five
        20   A In some of the documents I've reviewed, I have seen        20    Longo reports for your opinion that asbestos has been
        21    mention of several types, but I couldn't-- I am not an      21    found specifically in Johnson's Baby Powder products?
        22    expert in them.                                             22   A I would have to look at Gordon again to see what that
        23   Q Do you know how often cosmetic talc, in Johnson's Baby     23    said about Johnson & Johnson.
        24    Powder products, were tested for asbestos?                  24       Blount did identify one of the components as baby
        25   A By anybody, I don't know.                                  25    powder.

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         1   Q Is it your opinion that at one point in time or another,    1        Pier and Hopkins were Johnson & Johnson products,
         2    Johnson's Baby Powder products contained asbestos?           2    and Longo tested products from-- my understanding from
         3        I think you told us you believe that's true,             3    the report, from Johnson & Johnson.
         4    correct?                                                     4   Q Other than the materials that we just identified, are you
         5   A Yes, that is my opinion.                                    5    relying on anything else to support your opinion that
         6   Q I will rephrase.                                            6    asbestos has been found specifically in Johnson's Baby
         7       Is it your opinion that Johnson's Baby Powder             7    Powder products?
         8    products sold today contain asbestos?                        8   A No.
         9                 MS. PARFITT: Objection; form, asked             9   Q "No," you are not relying on anything else?
        10    and answered.                                               10   A No, I'm not.
        11                 THE WITNESS: I believe from the                11   Q Are you aware that at the time they authored the article
        12    evidence I've seen, that there was asbestos as recently     12    identified as Reference No. 75 -- that's the Gordon 2014
        13    as samples tested in the 2000s.                             13    report -- that each of the three authors had been a paid
        14       I don't know for 2019.                                   14    expert for the plaintiffs' lawyers in talcum powder
        15       I haven't seen any reports on that.                      15    litigation?
        16   Q (By Mr. Williams) And am I right-- if you take a look at   16   A I believe they said that in their disclosures.
        17    Page 57 of your report, Exhibit No. 2, and I'm referring    17        Do we have 75 available?
        18    you to the bottom of the page, the last paragraph, does     18   Q While they are looking for that, Doctor, do you recall
        19    that paragraph summarize your opinion that asbestos has     19    whether they identified in the Gordon 2014 article, and
        20    been found in Johnson's Baby Powder products                20    by "they," I mean the authors, did they identify whether
        21    specifically?                                               21    they were plaintiff experts; that is, experts retained by
        22   A So are you talking about the whole paragraph?              22    plaintiffs in litigation.
        23   Q Correct.                                                   23   A It says, "Attorneys for the litigation process."
        24       You mention Reference No. 75 and Reference No. 76 as     24   Q It does not say whether it's Plaintiff or Defendant,
        25    supporting the idea that published data as recently as      25    correct?

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         1   A I don't see it here--                                        1   Q Let me ask you about John Hopkins.
         2   Q I'm sorry, what was--                                        2       You referenced having read some documents that bore
         3   A It doesn't say for the plaintiff or the defense. It          3    his name, correct?
         4    doesn't say which.                                            4   A Yes.
         5   Q Do you know, one way or the other, whether the product       5   Q Let's mark as Exhibit No. 19 a document that I believe
         6    tested in that article was Johnson's Baby Powder?             6    was Reference No. 78 in your report.
         7   A No, I can't recall if I saw it.                              7                    (Exhibit No. 19 marked
         8       My paragraph didn't talk about Johnson & Johnson,          8                     for identification.)
         9    just talked about talcum powder products.                     9
        10   Q Okay. Let me ask you to assume, for purposes of my next     10   Q (By Mr. Williams) Do you recognize this as the document
        11    question, that the product that is referred to in the        11    in your report that you cited in support of your opinion
        12    Gordon article was not Johnson's Baby Powder.                12    that talcum powder products contained asbestos?
        13        Will you make that assumption for purposes only of       13   A Yes.
        14    my question?                                                 14   Q It is Exhibit No. 24, you see there, with the little tab,
        15   A Okay.                                                       15    to John Hopkins' August 17, 2018 deposition, correct?
        16   Q Okay. How would an article about a different talcum         16   A Okay. Here it says "19."
        17    powder product than the ones that are at issue in this       17   Q What says 19?
        18    case support your opinion that perineal use of Johnson's     18   A I have Exhibit No. 19 for this one, 24 for the--
        19    Baby Powder products cause ovarian cancer?                   19   Q Correct.
        20                 MS. PARFITT: Objection; form.                   20       Just so you know, for this deposition it's Exhibit
        21                 THE WITNESS: My opinion was-- from my           21    No. 19.
        22    report, my opinion was that talcum powder product use of     22        For Mr. Hopkins' deposition it was Exhibit No. 24.
        23    any source increases risk of ovarian cancer.                 23        Do you understand?
        24   Q (By Mr. Williams) Okay. With respect to the Blount          24   A Yes.
        25    article, 1991, Reference No. 76 in your report is the        25   Q Is this one of the documents that Plaintiffs' counsel

                                                         Page 259                                                           Page 261
         1    article by author A.M. Blount.                                1    sent to you without your asking?
         2       Do you recall that?                                        2                  MS. PARFITT: Objection; form.
         3   A Yes.                                                         3                  THE WITNESS: They did send it to me.
         4   Q What information from the Blount 1991 article are you        4        I don't recall if I asked for it or not.
         5    relying on for your opinion that the contaminated             5   Q (By Mr. Williams) Do you have any idea if the three
         6    products mentioned in that article refer to Johnson's         6    pages of testing contained in Mr. Hopkins' Exhibit No. 24
         7    Baby Powder products?                                         7    is representative of all the testing that was done on
         8   A So there was a table with unidentified samples labelled A    8    Johnson & Johnson talcum powder products?
         9    to O, and I is indicated as-- somewhere it's written as       9   A I don't, but I would be concerned about any bottles
        10    baby powder, I believe.                                      10    having asbestos in them.
        11       Then from litigation there was some indication of         11   Q Do you have a problem with the notion that the seller of
        12    what these different samples were, and so that one was       12    talcum powder products tests for asbestos?
        13    identified as Johnson & Johnson Baby Powder.                 13                  MS. PARFITT: Objection; form.
        14   Q Did you review the entirety of Dr. Blount's deposition?     14                  THE WITNESS: Do I have a problem with
        15   A No. I skimmed part of it. I didn't review-- I skimmed       15    the notion that the seller tests--
        16    part of it. I didn't read the total deposition.              16   Q (By Mr. Williams) I'll rephrase it.
        17   Q Did you read the part of the deposition where Dr. Blount    17   A No, I don't have a problem.
        18    testified that the bottle of Johnson's Baby Powder that      18   Q And the reason you don't have a problem is that the
        19    she brought to the deposition could not possibly be the      19    seller of a product could, in all good faith, seek to
        20    bottle of talc that she identified as Sample No. 1 in her    20    determine whether or not a particular mine where they're
        21    1991 article?                                                21    getting the product contains asbestos, right?
        22   A You mean Sample 1 or Sample I?                              22                  MS. PARFITT: Objection; form.
        23   Q Sample I, thank you.                                        23                  THE WITNESS: Okay.
        24       It's Roman I or I.                                        24   Q (By Mr. Williams) So the mere fact-- what I'm getting at
        25   A I didn't read that, no.                                     25    is:

                                                                                           66 (Pages 258 to 261)
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                                                 Anne McTiernan, Ph.D
                                                         Page 262                                                           Page 264
         1      The mere fact that a company tests to determine             1
         2    whether or not there is asbestos, for example, in a mine      2   Q (By Mr. Williams) Let me show you what we've marked as
         3    where they are mining for talcum powder, that fact, in        3    Exhibit No. D-1-- Exhibit No. 20. Pardon me.
         4    and of itself, is not repugnant to you in any way,            4                 MS. PARFITT: Counsel, I have not seen
         5    correct?                                                      5    this before.
         6   A No.                                                          6       Can you represent to us what this is?
         7                MS. PARFITT: Objection; form.                     7                 MR. WILLIAMS: I will in a second.
         8   Q (By Mr. Williams) It is not repugnant to you, for            8   Q (By Mr. Williams) Have you ever seen this document,
         9    example, for a car company to test whether cars of a          9    Dr. McTiernan, what's been marked as Exhibit No. 20?
        10    particular make and model have brakes that work, right?      10   A I don't think so-- well--
        11   A Correct.                                                    11   Q Did Plaintiffs' counsel provide this to you?
        12   Q The fact that they test for brakes does not mean that the   12   A I don't recall.
        13    brakes do not work, right?                                   13   Q Let me represent to you that this is Exhibit No. D-1,
        14   A Correct.                                                    14    D-1, to John Hopkins October 17, 2018 deposition.
        15   Q The fact that they test for brakes doesn't mean that the    15       Will you accept that representation?
        16    product that is actually sold to people does not have        16   A Yes.
        17    brakes that can stop a car, right?                           17   Q You see the tab number that has-- it bears a deposition
        18                MS. PARFITT: Objection; form.                    18    tab number just like your deposition has exhibits with
        19                THE WITNESS: There are a couple of               19    tabs?
        20    negatives there. I'm just getting a little confused.         20   A Yes.
        21   Q (By Mr. Williams) I will start over.                        21   Q Do you see that Exhibit D-1 appears to contain the same
        22      The mere fact that a car company tests its makes and       22    information as Hopkins' Exhibit No. 24, which you were
        23    models to see whether the brakes work does not mean that     23    provided by Plaintiffs' counsel, except there's an
        24    the cars that are ultimately sold have brakes that do not    24    additional column that says "The whole story"?
        25    work?                                                        25   A I think there's an awful lot of information here.

                                                         Page 263                                                           Page 265
         1   A Correct.                                                     1   Q Let's take a couple-- let's take the first one at the top
         2   Q Do you know whether this Exhibit No. 24 that's in front      2    of the page.
         3    of you, from Dr. Hopkins, represents final or preliminary     3        Under "The whole story," it says, "Tremolite is not
         4    test results?                                                 4    asbestos."
         5                 MS. PARFITT: Objection; form.                    5       Do you see that?
         6                 THE WITNESS: Final or preliminary?               6   A Yes.
         7       Can you explain that, meaning-- what do you mean by        7   Q And you don't know, as you sit here, whether tremolite is
         8    those two?                                                    8    or is not asbestos, right?
         9   Q (By Mr. Williams) Do you know the difference between a       9                 MS. PARFITT: Objection; misstates her
        10    preliminary test and a final test?                           10    testimony.
        11   A I mean, in terms of what it means for the company, I        11                 THE WITNESS: I am confused about that
        12    don't know what final or preliminary would mean in terms     12    because IARC states that tremolite is asbestos, so--
        13    of their testing procedures.                                 13   Q (By Mr. Williams) We'll get to that in a minute.
        14   Q Do you know, one way or the other, if any of the results    14       Is it your testimony that the IARC monograph does
        15    were updated or corrected?                                   15    not make any distinction between a mineral known as
        16                 MS. PARFITT: Objection; form.                   16    tremolite and one known as tremolite asbestos?
        17                 THE WITNESS: Updated for a particular           17                 MS. PARFITT: Objection; form,
        18    sample or updated for all of their products?                 18    misstates her testimony.
        19   Q (By Mr. Williams) Either.                                   19                 THE WITNESS: I don't recall. We
        20   A I think I'm confused.                                       20    would have to read it.
        21       I see what was tested for this, and it says Shower        21   Q (By Mr. Williams) You don't remember one way or another?
        22    to Shower, medicated powder, baby powder, so I would         22   A No.
        23    assume that that's an actual product.                        23   Q Do you see the last line on the first page refers to, in
        24                      (Exhibit No. 20 marked                     24    this same document, Exhibit No. 20 to your deposition,
        25                       for identification.)                      25    D-1 to Dr. Hopkins' deposition, it refers to trace

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                                                 Anne McTiernan, Ph.D
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         1    amounts of fibrous minerals, but "The whole story" column    1   Q Do you know one way or the other whether the samples that
         2    indicates that that does not mean asbestos?                  2    Dr. Longo tested were open and unsealed when he received
         3                 MS. PARFITT: Objection.                         3    them?
         4       Is that what it says?                                     4   A I don't recall reading that.
         5       Is that the question?                                     5       I would have to look at the report again.
         6   Q (By Mr. Williams) Do you see that that's what it says?      6   Q Do you know that Dr. Longo did not personally test any of
         7   A It says, "Fibrous minerals does not mean asbestos," so--    7    the samples he reports on in the litigation documents
         8    is it fibrous talc? That could be carcinogenic as well.      8    that you relied on in the case?
         9       Is that correct?                                          9                MS. PARFITT: Objection; misstates the
        10   Q Do you know the difference between fibrous talc and        10    record.
        11    fibrous minerals?                                           11                THE WITNESS: I just read the summary
        12   A I couldn't distinguish myself. I'm not a mineralogist,     12    report, which looked like his company did the testing.
        13    no.                                                         13   Q (By Mr. Williams) Please turn to Page 57 of your report.
        14   Q What's the basis for your testimony?                       14       I want to focus your attention on the fourth
        15       I think you were suggesting a moment ago that            15    paragraph there that starts with the word "Asbestos."
        16    fibrous talc is somehow carcinogenic.                       16   A Yes.
        17       Is that what you were suggesting?                        17   Q Does that paragraph accurately summarize the bases of
        18   A I believe that IARC considers that it could be, so I       18    your opinion that asbestos is established as a cause of
        19    would have to look at the IARC report again to fully        19    epithelial ovarian cancer?
        20    report.                                                     20   A Yes.
        21   Q So the basis for your testimony then is that you believe   21   Q You cite the 2011 Camargo, C-A-M-A-R-G-O, and the 2011
        22    that IARC states that fibrous talc is carcinogenic?         22    Reid, R-E-I-D, meta-analyses in support of your opinion
        23   A Yes, but I need to look at the report again.               23    that asbestos is a cause of ovarian cancer, correct?
        24   Q Okay. You are relying on five litigation reports           24   A Yes.
        25    authored or co-authored by Dr. Longo as part of his paid    25   Q Those are References 71 and 72, right?

                                                        Page 267                                                           Page 269
         1    expert work for plaintiff lawyers in talcum powder           1   A Yes.
         2    litigation, correct?                                         2   Q You also cite Ferrante, F-E-R-R-A-N-T-E, a 2017 pooled
         3                  MS. PARFITT: Objection; form.                  3    analysis, in support of your opinion that asbestos is a
         4                  THE WITNESS: Correct.                          4    cause of ovarian cancer, right?
         5   Q (By Mr. Williams) Do you know-- do you think the chain      5   A Yes.
         6    of custody is important when it comes to samples that are    6   Q You also cite to the IARC 2012 monograph on asbestos, an
         7    being tested for asbestos?                                   7    article by members of the IARC working group, correct?
         8        Do you know what I mean when I say "chain of             8   A Yes.
         9    custody"?                                                    9   Q Other than those materials, are you relying on anything
        10   A Why don't you explain it.                                  10    else to support your opinion that asbestos is a cause of
        11   Q Sure.                                                      11    ovarian cancer?
        12        I will ask you to assume that "chain of custody"        12   A No, I don't believe so, and I did not do a full
        13    refers to who has custody of a particular substance or      13    systematic search with causal analysis for asbestos.
        14    item that is going to be tested from the time that it       14       I only did that for talcum powder products.
        15    existed at its source to the time that it is tested.        15   Q Why didn't you do one for asbestos?
        16        Do you understand what I mean?                          16   A I wasn't asked to.
        17   A Yes.                                                       17   Q Were you asked to include a discussion of asbestos in
        18   Q Do you know where Dr. Longo got the samples that he        18    your report at all-- excuse me--
        19    tested?                                                     19   A I was asked to respond about mechanisms-- sorry, to talk
        20   A I understood from the summaries in the beginnings of       20    about mechanisms that may be explaining the association
        21    these reports that he received the samples from Johnson &   21    between talcum powder products and ovarian cancer risk,
        22    Johnson.                                                    22    and when I looked at mechanisms, I often would see the
        23   Q All of the samples?                                        23    potential for asbestos being included in talcum powder
        24   A I would have to look at the individual reports to          24    products, so I wanted to include that as one possible
        25    determine that.                                             25    mechanism, especially given that asbestos is a known

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                                                 Anne McTiernan, Ph.D
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         1    carcinogen.                                                  1    you have evidence, do you believe that Johnson's Baby
         2   Q Let me focus your attention on Page 57 of your report,      2    Powder in particular contains chromium, nickel, and
         3    Exhibit No. 2, to the last sentence in that fourth           3    cobalt?
         4    paragraph that says, "IARC concluded that asbestos,          4                  MS. PARFITT: Objection.
         5    fibrous talc, chromium, and nickel are Group 1 human         5                  THE WITNESS: I don't have evidence
         6    carcinogens. IARC also classified cobalt as a 2B             6    one way or the other.
         7    'possible' carcinogen."                                      7        I did not look at that.
         8       Do you see that?                                          8        I looked only at the general comments that talcum
         9   A Yes.                                                        9    powder products could contain these metals.
        10   Q Do you believe that Johnson's Baby Powder products         10        I did not look at Johnson & Johnson.
        11    contained chromium, nickel, and cobalt?                     11   Q (By Mr. Williams) Thank you.
        12   A I would have to review some of these documents that        12        Are any of your opinions dependent on the assumption
        13    talked about these--                                        13    that the chemicals in the fragrance that goes into
        14   Q What are you relying on?                                   14    Johnson's Baby Powder products are carcinogenic?
        15                 MS. PARFITT: Please let her finish             15   A I read one review by Dr. Crowley (Phonetic) who indicated
        16    the answer.                                                 16    that there were quite a few fragrances in these products
        17                 MR. WILLIAMS: I'm sorry.                       17    that fall into the classification of carcinogenicity.
        18                 THE WITNESS: I would need to review            18        Without that data, my opinion would still stand.
        19    the documents in the report responding to that.             19   Q Dr. Crowley is another expert Plaintiffs' witness that
        20   Q (By Mr. Williams) Are those heavy metals, the three        20    Plaintiffs' counsel has paid in connection with talc
        21    metals I mentioned, the metals that you believe are or      21    litigation, correct?
        22    have ever been present in Johnson's Baby Powder products?   22                  MS. PARFITT: Objection; form.
        23                 MS. PARFITT: Objection; form.                  23                  THE WITNESS: To my knowledge, yes.
        24                 THE WITNESS: Again, I would have to            24   Q (By Mr. Williams) Have you ever met or spoken with
        25    review the documents.                                       25    Dr. Crowley?

                                                        Page 271                                                           Page 273
         1   Q (By Mr. Williams) As you sit here today, you are not        1   A No, I have not.
         2    able to tell us what the heavy metals are that are           2   Q Are you relying on Dr. Crowley's litigation report for
         3    supposedly contained in Johnson's Baby Powder?               3    your opinion that perineal use of Johnson's Baby Powder
         4                 MS. PARFITT: Objection; misstates her           4    products can cause ovarian cancer?
         5    testimony, form.                                             5   A Yes, I have looked at his report.
         6                 THE WITNESS: I would want to review             6   Q What chemicals did Dr. Crowley identify as fragrance
         7    the documents.                                               7    constituents contained in Johnson's Baby Powder products?
         8   Q (By Mr. Williams) Let me ask you this:                      8   A There were many.
         9       Is it your opinion today, Doctor, that Johnson's          9       I would have to see the report.
        10    Baby Powder products contain chromium, nickel, and          10       Do you have it?
        11    cobalt?                                                     11   Q I don't want to take the time to do that.
        12   A Again, I would need to look at the documents to see what   12       Let me just ask you this:
        13    was found.                                                  13       Did you do anything to independently verify whether
        14   Q So you can't state whether you have that opinion or not?   14    those constituents are, in fact, contained in Johnson's
        15                 MS. PARFITT: Objection. She needs to           15    Baby Powder products?
        16    look at the document.                                       16   A No, I did not.
        17       What documents do you need to see?                       17   Q We have talked a little bit about IARC today, and I want
        18                 THE WITNESS: I would want to see-- I           18    to ask you some questions about that.
        19    guess Longo-- whoever was looking at these to see what      19       You are familiar with the International Agency for
        20    was there, but my paragraph did not talk about Johnson &    20    Research on Cancer, right?
        21    Johnson.                                                    21   A Yes, I am.
        22       My paragraph talked about talcum powder products         22   Q You have done work with them?
        23    having these constituents.                                  23   A Yes.
        24   Q (By Mr. Williams) That's my point.                         24   Q IARC has five different categories it places substances
        25       So as you sit here today, based on your review, do       25    into with respect to whether they are or may be

                                                                                          69 (Pages 270 to 273)
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                                                   Anne McTiernan, Ph.D
                                                           Page 274                                                        Page 276
         1    carcinogenic, correct?                                        1    review.
         2   A I can't respond to whether it's exactly five or not.         2   Q Okay. And let me refer you to Page 35 again, under Group
         3       I have looked at these-- do we have a list of them?        3    2B where that's the definition of the agent being
         4   Q Sure.                                                        4    possibly carcinogenic to humans.
         5       It is-- we'll mark it as Exhibit No. 21.                   5       Do you see that?
         6                       (Exhibit No. 21 marked                     6   A Yes.
         7                        for identification.)                      7   Q It says, "This category is used for agents for which
         8                                                                  8    there is limited evidence of carcinogenicity in humans
         9   Q (By Mr. Williams) This is the IARC monograph on talc.        9    and less than sufficient evidence of carcinogenicity in
        10   A 2012?                                                       10    experimental animals."
        11   Q This one is 2010.                                           11       Did I read that right?
        12   A 2010, okay.                                                 12   A Yes.
        13   Q Let me refer you to Page 35 of the document.                13   Q Do you remember, as you sit there, the definition of
        14       Do you see "Group 2B" listed there?                       14    "limited evidence of carcinogenicity" under IARC's
        15   A Yes.                                                        15    definitions?
        16   Q That is where the agent is possibly carcinogenic to         16   A No, I don't.
        17    humans, and then there is a fairly long description of       17   Q Take a look at Page 31.
        18    what that means.                                             18       On Page 31 of Exhibit No. 21, there is a definition
        19      Do you see that?                                           19    at the bottom of the page for "limited evidence of
        20   A Yes.                                                        20    carcinogenicity," right?
        21   Q And it is your understanding that talc has been listed as   21   A Yes.
        22    a Group 2B substance?                                        22   Q And it says, "A positive association has been observed
        23   A Yes.                                                        23    between exposure to the agent and cancer for which a
        24      You are using data up to 2006, yes.                        24    causal interpretation is considered by the working group
        25   Q Of the almost 1000 substances that IARC has reviewed, do    25    to be credible, but chance, bias, or confounding could

                                                           Page 275                                                        Page 277
         1    you know how many have been classified as Group 4, which      1    not be ruled out with reasonable confidence."
         2    is on the next page, "The agent is probably not               2       Did I read that right?
         3    carcinogenic to humans"?                                      3   A Yes.
         4   A No, I haven't.                                               4   Q Remember earlier today we were talking about chance,
         5   Q If I were to represent to you that there was one, and        5    bias, and confounding factors needing to be ruled out in
         6    only one, substance that they have reviewed that was put      6    order to move something from a Group 2B designation to a
         7    into Group 4, would that surprise you?                        7    higher designation, and you said, "I would have to look
         8                 MS. PARFITT: Objection; form.                    8    at the IARC monograph"?
         9                 THE WITNESS: It would not surprise me            9       Do you remember that?
        10    because they probably are only looking at things that are    10   A Yes.
        11    potentially carcinogenic.                                    11   Q Now that we are looking at the IARC monograph, and you
        12   Q (By Mr. Williams) You mentioned earlier today that IARC     12    see the definition of "limited evidence of
        13    sets a high bar for listing something as a Group 2B          13    carcinogenicity," will you agree with me now that in
        14    possible substance.                                          14    order for something to move up from this Level 2B, where
        15       Do you remember saying that?                              15    there's limited evidence of carcinogenicity in humans, to
        16   A I don't, but I believe you.                                 16    some higher level, one would need to rule out or
        17   Q What was the basis for your statement that IARC sets a      17    specifically the IARC group would need to rule out
        18    high bar as opposed to some other level bar for              18    chance, bias, and confounding?
        19    determining whether a substance is a Group 2B substance?     19                 MS. PARFITT: Objection; form.
        20   A From my understanding, they do a systematic review. They    20                 THE WITNESS: Yes, because they state
        21    set up a panel of scientists, and then they do a             21    that in the category above, "Sufficient."
        22    systematic review, including studies from humans and         22   Q (By Mr. Williams) And when you say "yes," "yes," they
        23    animals, and they did this for-- for talcum powder           23    would have to rule out all of those things, correct?
        24    products-- for talc, they did it up to 2006, and they did    24   A Yes, with reasonable confidence.
        25    not do meta-analysis, but they did do a systematic           25   Q Now, as we sit here today, IARC still lists talc as a 2B

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                                                 Anne McTiernan, Ph.D
                                                        Page 278                                                           Page 280
         1    substance, correct?                                          1    you relied upon in preparing your report, correct?
         2                 MS. PARFITT: Objection; form.                   2   A Yes.
         3                 THE WITNESS: IARC has not updated               3   Q It was published in 2008?
         4    their 2006 data, correct.                                    4   A Yes.
         5   Q (By Mr. Williams) Therefore the most recent update lists    5   Q That is two years after IARC met to discuss talc?
         6    talc as a Group 2B substance, correct?                       6   A Yes.
         7                 MS. PARFITT: Objection; form.                   7   Q Three of the four authors of this meta-analysis were
         8                 THE WITNESS: Using data up to 2006,             8    participants in the IARC working group.
         9    yes.                                                         9       Do you remember that?
        10   Q (By Mr. Williams) You keep saying, "using data up to       10   A Yes.
        11    2006."                                                      11   Q If you look at the last page of this exhibit, Exhibit
        12       Do you have any basis for-- strike that.                 12    No. 22, there's an acknowledgments section on Page 360.
        13       You testified earlier today that you believe that        13       It says, "The work reported in this paper was
        14    IARC would set a higher designation if they had the         14    initiated while SH, JS, and EW were part of an IARC
        15    results of studies since 2006, correct?                     15    monograph working group of the International Agency for
        16   A I believe it would be reasonable to expect that, given     16    Research on Cancer, Lyon, France."
        17    that there's more studies published since that time.        17       Do you see that?
        18   Q And when you say that you believe it would be reasonable   18   A Yes.
        19    to expect that, you expected it, right?                     19   Q So after the working group determined, and by that I mean
        20                 MS. PARFITT: Objection.                        20    the IARC working group determined, that chance, bias, or
        21                 THE WITNESS: I can't say what a panel          21    confounding could not be ruled out as an explanation for
        22    of scientists would say if it was faced with reviewing      22    the reported association between talc and ovarian cancer,
        23    the literature.                                             23    three of the members of that working group continued
        24       All I can say is the literature-- all I can say is       24    their work in this article, correct?
        25    the literature has been increased significantly in the      25                 MS. PARFITT: Objection; form,

                                                        Page 279                                                           Page 281
         1    last ten years.                                              1    misstates the substance of this article.
         2   Q (By Mr. Williams) And what study are you referring to or    2                 THE WITNESS: Yes.
         3    studies are you referring to?                                3   Q (By Mr. Williams) You may answer.
         4   A So some of the larger case-control studies that were        4   A Yes.
         5    published in recent years, the two meta-analyses, and the    5   Q Does this paper report the perineal use of talc in fact
         6    pooled analysis.                                             6    causes ovarian cancer?
         7   Q Anything else?                                              7   A I don't see that they did a full causal analysis in this
         8   A In terms of epidemiology, that's it.                        8    paper, but I see that they have a pooled odds ratio of
         9   Q Let me show you to one of the studies that has been done    9    1.35, which is statistically significant.
        10    since the IARC monograph was first drafted in 2006.         10        Yeah, 1.35.
        11       We'll mark it as Exhibit No. 22.                         11   Q You read this study, right?
        12                     (Exhibit No. 22 marked                     12   A Yes.
        13                      for identification.)                      13   Q Let's take a look at Page 359.
        14                                                                14        Under the heading "Proposal to research community,"
        15   Q (By Mr. Williams) The Langseth study, which is Exhibit     15    do you see that?
        16    No. 22, is one of the studies there you rely upon,          16   A Yes.
        17    correct?                                                    17   Q Right underneath that it says, "The current body of
        18   A That's correct.                                            18    experimental and epidemiological evidence is insufficient
        19   Q Let me ask you to turn to Page 360, which is the-- I       19    to establish a causal association between perineal use of
        20    believe the last page of the study.                         20    talc and ovarian cancer risk."
        21       Do you see that there are 34 publications cited as       21        Did I read that right?
        22    references to the Langseth article?                         22   A Yes.
        23   A Yes.                                                       23   Q Can you and I agree that that is the opposite of the
        24   Q For the record, "Langseth" is L-A-N-G-S-E-T-H.             24    conclusion that you are intending to express in this
        25       The Langseth study was one of the meta-analyses that     25    litigation?

                                                                                          71 (Pages 278 to 281)
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                                                 Anne McTiernan, Ph.D
                                                        Page 282                                                              Page 284
         1                 MS. PARFITT: Objection; form.                   1     combined?
         2                 THE WITNESS: Using information                  2                  MS. PARFITT: Objection; form.
         3    available to 2018, I do have a different opinion than        3                  THE WITNESS: I don't think we had-- I
         4    these investigators did in using their data up to 2006.      4    don't think we discussed that particular-- and we didn't
         5   Q (By Mr. Williams) They-- strike that.                       5    do a power analysis with the numbers that they had, but
         6       They would have information up until the time they        6    together they had-- what was it, 900, so they probably
         7    published this study, the Langseth study, right, which       7    were powered with a relative risk of 1.3.
         8    was done in 2008?                                            8   Q (By Mr. Williams) Well, whatever that testimony was, it
         9                 MS. PARFITT: Objection.                         9    was.
        10                 THE WITNESS: Not necessarily up until          10       Let me ask you this:
        11    this date.                                                  11       It is a fact that after the IARC monograph-- strike
        12       It takes a while to get-- it was accepted in 2007,       12    that.
        13    so their data are going to be studies probably only up to   13       After-- it is a fact that after the data that
        14    2006, if the paper was already written and accepted in      14    underlay the IARC monograph, after the Langseth study was
        15    2007, October.                                              15    published in 2008, there were additional cohort studies
        16   Q (By Mr. Williams) After this Langseth paper was            16    that were published, correct?
        17    published, there were large cohort studies, prospective     17   A As well as about eight case-control studies.
        18    studies, that were published, true?                         18       Quite a few studies were published after.
        19   A They were small in terms of the number of cases.           19   Q And based upon that, you speculate that if IARC were to
        20       They came from large cohorts, but the number of          20    undertake an analysis of whether talc is causally
        21    cases were small.                                           21    associated with ovarian cancer, that you believe that
        22   Q Are you referring to the cohort studies that were          22    they would change their mind?
        23    published in 2008, 2010, and 2014?                          23                  MS. PARFITT: Objection; form.
        24                 MS. PARFITT: Objection; form.                  24                  THE WITNESS: I speculate it would be
        25                 THE WITNESS: Two thousand-- yes-- how          25    reasonable for a scientific panel to come up with a

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         1    many cases do we have?                                       1     different classification after reviewing the new human
         2       I think we covered that earlier, the number of cases      2     data that have been available the last ten years.
         3    that would be needed.                                        3                 MR. WILLIAMS: Let's take one final
         4       So Women's Health Initiative published in 2014 had        4     break, if we can.
         5    429 cases.                                                   5                 VIDEOGRAPHER: Going off the record,
         6       The sister study in 2016 had 154.                         6     the time is 4:54 p.m.
         7       The Nurses' Health Study, which the problem with          7                        (Recess 4:54 to 5:09 p.m.)
         8    that was they weren't-- they changed their categories        8
         9    with exposure, but that one did have a larger number,        9                 VIDEOGRAPHER: We are back on the
        10    797.                                                        10    record. The time is 5:09 p.m.
        11   Q (By Mr. Williams) You remember earlier today we went       11   Q (By Mr. Williams) Dr. McTiernan, just a few more minutes
        12    through the whole discussion of whether or not there were   12    from me, and then we have just a couple minutes of
        13    sufficient number of cases, right?                          13    questioning from Imerys counsel, but I have to do it. I
        14   A And that was a different discussion that was about the     14    have to have you grab the Berge study one more time,
        15    pooled analysis-- sorry, the meta-analysis of the cohort    15    Exhibit No. 16A.
        16    studies.                                                    16       Earlier today, this afternoon actually, we had a
        17       It wasn't about these individual studies.                17    discussion about statistical significance, and I was
        18   Q Let me talk to you now about the meta-analysis of those    18    trying to focus you on statistical significance as it
        19    studies that were conducted that are cohort studies.        19    relates to the cohort studies that are listed on page--
        20       Do you have those in mind?                               20    listed in Figure No. 2 on Page 7 of Exhibit No. 16A.
        21   A Yes.                                                       21       Do you have that in front of you?
        22   Q Do you wish to change any of the testimony that you gave   22   A Yes.
        23    earlier today concerning the-- whether or not there was a   23   Q And you'll recall that I focused you on the subtotal for
        24    sufficient number of cases, as part of the pooled           24    cohort studies with regard to what the relative risk was
        25    analysis, for the cohort studies to have power if           25    and the confidence interval, and you noted that it was

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                                                  Anne McTiernan, Ph.D
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         1    1.02 as a relative risk with a confidence interval that       1    of the confidence interval was 0.70, correct?
         2    goes all the way up to 1.20.                                  2   A Yes.
         3       Do you recall that?                                        3       One thing that all of these studies had in common is
         4   A Yes.                                                         4    they were very small, and you get a very wide confidence
         5   Q And when I made the point that it was lacking statistical    5    interval with these small studies.
         6    significance, you said, "But the confidence interval          6       You notice the larger studies, the confidence
         7    includes one, so that would not be statistically              7    intervals, such as Cramer 2016, was 1.14 up to 1.5.
         8    significant, but it ranges up to 1.2, which means that        8    That's a much more narrow confidence interval, and that's
         9    the relative risk could be as high as 1.2 for the cohort      9    because it's a larger study.
        10    study."                                                      10   Q So let's focus now on what we were focused on this
        11       Do you recall saying that?                                11    afternoon, which is the cohort studies.
        12   A Correct.                                                    12       With respect to the cohort studies, in the aggregate
        13   Q It is equally true, based on the confidence interval        13    the low point was 0.85, correct?
        14    reported on Page 7, that the relative risks could be as      14   A That's correct.
        15    low as 0.85, correct?                                        15   Q And those cohort studies, we established earlier today,
        16   A That's correct.                                             16    have a total number of cases that exceeded 1300, right?
        17   Q And with respect to each of the case-control studies that   17   A Correct.
        18    did not find statistical significance, first you see         18   Q That's all I need on that.
        19    Cramer in 1982, that one that had a 0.70 relative risk--     19       I wanted to ask you about one of the Bradford Hill
        20    you see that one?                                            20    elements or factors, the one that has to do with
        21   A Yes.                                                        21    biological plausibility, okay?
        22   Q That one had a low--                                        22   A Mm-hm.
        23   A That's Hartge.                                              23   Q Is that a "yes"?
        24   Q That's Hartge, pardon me. I shouldn't have said             24   A Yes.
        25    "Cramer."                                                    25   Q Okay. So can you cite a single study, animal or human,

                                                         Page 287                                                          Page 289
         1       Let me start again.                                        1    that traces externally applied talc up through the
         2       The first case-control study that did not have a           2    reproductive organs to the ovaries?
         3    statistically significant relative risk was Hartge 1983,      3                 MS. PARFITT: Objection; form.
         4    right?                                                        4                 THE WITNESS: So the question is
         5   A Yes.                                                         5    externally applied talc?
         6   Q And its lower confidence interval, the low side of that,     6                 MR. WILLIAMS: Correct.
         7    was 0.83, correct?                                            7                 THE WITNESS: So in humans that would
         8   A You're looking at Whittemore, but I think you're talking     8    be unethical to do to see if that can move up to the
         9    about Hartge.                                                 9    ovaries.
        10   Q Sorry, 0.40.                                                10       In terms of animals-- so in animals, talc was placed
        11   A Yes.                                                        11    in the vaginas, and it moved within four days up to the
        12   Q So the relative risk for Hartge could go as low as 0.40,    12    ovaries.
        13    right?                                                       13   Q (By Mr. Williams) And which study is that?
        14   A Yes.                                                        14   A That's on Henderson 86.
        15   Q The relative risk for Whittemore could go as low as 0.83,   15   Q Okay. Thank you.
        16    right?                                                       16       Anything else?
        17   A Yes.                                                        17   A Let me see.
        18       What it means is a 95 percent chance that the risk        18       In terms of humans, quite a few have been done with
        19    is within that range, 0.83 up to 1.74.                       19    particles of similar size to talc, which was thought to
        20   Q So it could be as high as 1.74 for Whittemore or as low     20    be-- let me try to find where I have these.
        21    as 0.83?                                                     21       So it wouldn't have the ethical issue, so inert
        22   A That's correct.                                             22    particles of carbon black were placed in women's vaginas
        23   Q And for Booth, the low point was 0.80, correct?             23    and were found to move in 30 minutes in two of three
        24   A Yes.                                                        24    patients, and that's the Egli study.
        25   Q And for the next one, Harlow & Weiss, 1989, the low end     25   Q Which one is that?

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                                                 Anne McTiernan, Ph.D
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         1   A Egli, E-G-L-I.                                               1   Q But none of the studies that you mentioned involve
         2   Q Anything else?                                               2    reviewing perineal use external to the vagina and
         3   A There was a surgical glove study with starch.                3    followed the talc up through the reproductive organs,
         4       There was one radioactive tracer labelled human            4    true or not true?
         5    albumin microspheres placed in-- there was--                  5   A That's correct.
         6    radio-labelled albumin was placed in women's vaginas one      6   Q Can you cite any published study concluding that
         7    day before pelvic surgery, and of 14 women, nine showed       7    particles on the outside of the vagina can migrate inside
         8    radioactivity in the fallopian tubes.                         8    and up the genital tract to the ovary?
         9   Q Which study was that?                                        9   A I don't believe it was cited in my report.
        10   A So that was the Venter, V-E-N-T-E-R.                        10   Q Assuming for a moment that talcum powder can reach the
        11       One study on migration of talc-- sorry, no,               11    ovaries, is it your opinion that talcum powder produces
        12    evaluated powder, so this was a starch powder on surgical    12    chronic inflammation that somehow leads to ovarian
        13    gloves that were used to perform pelvic exam in advance      13    cancer?
        14    of surgery, and they found statistically significant-- so    14   A Yes, it is my opinion that it can cause chronic
        15    this is the Sjosten study. It's S-J-O-S-T-E-N.               15    inflammation and it doesn't need to reach the ovaries.
        16   Q Anything else?                                              16       Many cancers, especially serous cancers, are thought
        17   A And that's in terms of migration for humans and animals,    17    to begin in the fallopian tubes, and they would need to
        18    I believe.                                                   18    rise as high as that.
        19   Q So is it accurate to say that not one of the studies that   19   Q So inflammation is the biological mechanism that you
        20    you just mentioned -- Egli, Venter, Sjosten or Henderson     20    believe is plausible for perineal talc use to cause
        21    -- involves tracing externally applied talc in the           21    ovarian cancer, correct?
        22    perineal area up through the reproductive organs through     22   A I believe it's one very plausible mechanism.
        23    the ovaries?                                                 23   Q There are no reports in the literature of externally
        24   A There are no such studies in humans, that's correct.        24    applied talcum powder products leading to inflammation,
        25       It would be unethical to apply it externally and          25    granulomas, fibrosis, or adhesions anywhere along a

                                                         Page 291                                                           Page 293
         1    follow it up through the pelvic organs.                       1    woman's reproductive tract, correct?
         2   Q Same with the animals though, none of the animal studies     2                 MS. PARFITT: Objection; form.
         3    that you just mentioned, or the only animal study you         3                 THE WITNESS: Again, it's the ethics
         4    mentioned, does not deal with externally applied talc         4    of applying something that could potentially be
         5    moving up through the reproductive organs through the         5    carcinogenic to see what would occur.
         6    ovaries, correct?                                             6   Q (By Mr. Williams) Can you identify any study that shows
         7                MS. PARFITT: Object to form.                      7    inflammation, granulomas, fibrosis, or adhesions anywhere
         8                THE WITNESS: They're vaginally                    8    along a woman's reproductive tract as a result of her
         9    applied.                                                      9    external genital talcum powder application?
        10   Q (By Mr. Williams) In the vagina, correct?                   10   A I don't think I cited any such studies.
        11   A Into the vagina, yes.                                       11   Q Can you identify any published animal study where talcum
        12   Q So you and I can agree that there is a difference between   12    powder actually caused ovarian cancer in the animal?
        13    the outer area and inside the vagina?                        13   A There have been studies that showed that talc can lead to
        14                MS. PARFITT: Objection.                          14    cyst formation and epithelial changes in rats.
        15                THE WITNESS: There are plenty of ways            15   Q Which study is that?
        16    for which anything on the external part of the peroneum      16   A That is 122.
        17    can move into the vagina.                                    17       Hamilton.
        18   Q (By Mr. Williams) There's not one study that you've         18   Q Any other studies?
        19    cited for humans that involved particles other than talc     19   A Say that again?
        20    or any known toxic substance.                                20   Q You said "Hamilton," right?
        21       There are articles that inject into the vagina the        21   A Hamilton, 1984.
        22    particles and they see what happens, right?                  22   Q Any other studies?
        23   A Mm-hm.                                                      23   A Oh, and a mouse study, which is 123, Van Dyke.
        24   Q Is that "yes"?                                              24   Q 123?
        25   A Yes.                                                        25   A 123, yes, that talc can cause super NI generation and

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                                                 Anne McTiernan, Ph.D
                                                         Page 294                                                           Page 296
         1    release from mouth to macrophages (phonetic).                 1    concluded that the 1993 rat study was not applicable or
         2   Q Anything else?                                               2    appropriate for application to humans?
         3   A I am just looking.                                           3                MS. PARFITT: Objection; misstates the
         4       So you are talking about ovarian tumors.                   4    evidence.
         5       The NTP, the National Toxicology Program, has also         5   Q (By Mr. Williams) I'm sorry, I misspoke.
         6    done rat studies and found that exposure to talc cause--      6       Are you aware that the FDA concluded that the 1993
         7    it was an inhalation study, caused clear evidence of          7    NTP study was not applicable to human beings?
         8    carcinogenesis in females in terms of cancer of the           8                MS. PARFITT: Objection; misstates the
         9    adrenal gland and the lung and possible carcinogenic          9    evidence in the case.
        10    activity in males.                                           10                THE WITNESS: I would have to see both
        11   Q What was the date of that NTP study?                        11    the FDA statement and the NTP.
        12   A NTP study? That was No. 124.                                12   Q (By Mr. Williams) Can you identify-- strike that.
        13       1993.                                                     13       I want to distinguish between a study, an animal
        14   Q Are you familiar with the methodology of that study?        14    study, where talcum powder caused inflammation on the one
        15   A I have read the study, yes.                                 15    hand, with an animal study that found that talcum powder
        16   Q And you know that the rats were subjected to talcum         16    caused ovarian cancer.
        17    powder pumped into a cage-- a closed cage, I think it        17       Do you have that distinction that I'm making in
        18    was, six hours a day, five days a week, for their entire     18    mind?
        19    lives, right?                                                19       Do you have the distinction I'm making in mind?
        20   A Yes.                                                        20   A I'm just reading through my report.
        21   Q Do you think that that has applicability to human beings    21   Q Inflammation on the one hand, ovarian cancer on the
        22    using talcum powder in their homes?                          22    other.
        23                 MS. PARFITT: Objection; form.                   23       I am trying to make that distinction.
        24                 THE WITNESS: Using talcum powder in--           24       Do you have that distinction in mind?
        25   Q (By Mr. Williams) In their homes.                           25       When you say "yes," I'll ask you a question.

                                                         Page 295                                                           Page 297
         1   A I think the correlation would be a larger concentrated       1   A So in Genofre's, G-E-N-O-F-R-E, study, in animal models,
         2    dose being introduced into the genital tract, and if the      2    injection of talc into the pleura causes local and
         3    talc is carcinogenic to animals and wasn't seen in the        3    systemic inflammatory response, so it includes elevated
         4    control animals, then it's still concerning.                  4    levels of C-reactive protein and interleukin 6, and CEGF
         5   Q Did the 1993 NTP study in fact report any ovarian cancer     5    and TGF beta, and several of these are associated with
         6    in the female rats or mice?                                   6    increased risk of ovarian cancer in humans, including
         7   A I don't believe that these rats developed ovarian cancer.    7    C-reactive protein and interleukin 8.
         8       They did not develop ovarian cancer.                       8   Q Did that study that you are referring to, the Genofre,
         9   Q Not one of them did, correct?                                9    G-E-N-O-F-R-E, 2009 study, are you saying that that study
        10   A No.                                                         10    showed that talc caused inflammation that led to
        11       It may not be an ovarian cancer model.                    11    neoplastic or cancerous changes in the animals?
        12   Q Did the 1993 NTP study report any neoplastic changes in     12   A This was a model looking at inflammation.
        13    the ovaries of the female rats or mice?                      13   Q And did that study show that talc application to the
        14   A Not to my knowledge.                                        14    animal caused inflammation that led to cancerous changes?
        15       Again, it's not a model for ovarian cancer.               15   A To my knowledge, it stopped at the inflammatory response.
        16   Q Can we agree that the NTP 1993 rat and mouse study does     16   Q None of the studies that you are relying upon -- Genofre
        17    not in fact show that talc causes inflammation, which        17    -- compared C-reactive proteins, and that's C hyphen
        18    inflammation leads to neoplastic change or cancer in an      18    reactive proteins, or IL 8 levels between perineal talc
        19    animal's ovaries?                                            19    users and nontalc users, correct?
        20                 MS. PARFITT: Objection; form.                   20                MS. PARFITT: Objection; form.
        21                 THE WITNESS: I don't have the study             21                THE WITNESS: I don't know about
        22    in front of me.                                              22    research that has looked at that.
        23       I don't recall that they did the full mechanistic         23       I do know that women with high levels of C-reactive
        24    study.                                                       24    protein or interleukin 8 are at an increased risk of
        25   Q (By Mr. Williams) Do you recall that the NTP expressly      25    developing ovarian cancer.

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                                                 Anne McTiernan, Ph.D
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         1   Q (By Mr. Williams) None of the studies that you rely on      1   Q Okay. That they, for a period of time, supplied the raw
         2    concluded that C-reactive proteins or IL 8 levels can        2    material talc to Johnson & Johnson for the baby powder.
         3    cause a local inflammatory response in the ovary,            3       Are you aware of that?
         4    correct?                                                     4   A I was aware that they did supply.
         5                MS. PARFITT: Objection; form.                    5       I don't know anything about when or how much, no.
         6                THE WITNESS: C-reactive protein and              6   Q Okay. So just a couple areas of questions:
         7    interleukin 8 are the inflammatory response.                 7       There were some questions that Mr. Williams asked
         8       They are the products that are made during                8    you regarding chromium, nickel, and cobalt, and you said
         9    inflammatory response, to my knowledge.                      9    you do not know if those were contained in the Johnson &
        10   Q (By Mr. Williams) Was that an inflammatory response in     10    Johnson powder specifically.
        11    the ovary?                                                  11       Do you recall that?
        12   A It was blood-- the epidemiologic studies you are talking   12   A I do recall saying that.
        13    about was in blood.                                         13   Q Okay. Same question as to Imerys.
        14   Q Can you identify any published study concluding that       14       You do not know if Imerys raw talc specifically
        15    increased C-reactive protein levels leads to ovarian        15    contained chromium, nickel, or cobalt, do you?
        16    cancer in humans?                                           16   A I would have to look.
        17   A Yes, I have that.                                          17       I know that the Pier deposition had some information
        18       I am looking for it.                                     18    at least about some of the talc.
        19        I thought that I had reference to meta-analysis of      19       Do we have that?
        20    C-reactive protein and risk of ovarian cancer, but it's     20                MS. PARFITT: Give us one moment.
        21    not showing up.                                             21       Do you want to have her identify--
        22   Q Can you identify any published study concluding that the   22                MS. ERFLE: Please do.
        23    C-reactive protein levels are greater in perineal talc      23                THE WITNESS: So this is Exhibit
        24    users than nonperineal talc users?                          24    No. 47 of Pier testimony, 9/13/18.
        25   A I did not look at that.                                    25   Q (By Ms. Erfle) That's great. Let's look at that.

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         1   Q Can you identify any published study concluding that the    1       So you have that in front of you?
         2    interleukin, and that's I-N-T-E-R-L-E-U-K-I-N, dash 8        2   A Yes.
         3    levels are greater in perineal talc users than               3   Q And what about that indicates that there is chromium,
         4    nonperineal talc users?                                      4    nickel, or cobalt in the raw material specifically
         5   A I did not look at that.                                     5    provided to Johnson & Johnson?
         6                MR. WILLIAMS: That's all the                     6   A So these samples are all from Imerys--
         7    questions I have, Doctor. Thank you very much.               7   Q Do you know that to be the case?
         8       Let's go off the record.                                  8   A That was my understanding, that that was the case, and I
         9                VIDEOGRAPHER: Going off the record,              9    see Exhibit No. 38, chromium, cobalt, and nickel in a
        10    the time is 5:33 p.m. Please stand by.                      10    Johnson & Johnson sample.
        11                       (Recess 5:33 to 5:35 p.m.)               11   Q Okay. Do you know-- can you say-- how do you know that
        12                                                                12    that's a J&J sample?
        13               VIDEOGRAPHER: We are back on the                 13   A This is what is stated by the expert witness, to my
        14     record. The time is 5:35 p.m.                              14    understanding.
        15                                                                15   Q So you've done no independent work yourself to confirm
        16                                                                16    what these are or what these samples are, correct?
        17                   EXAMINATION                                  17   A That's correct.
        18    BY MS. ERFLE:                                               18       I am relying on this testimony.
        19   Q Dr. McTiernan, again, my name is Nancy Erfle. I            19   Q So you don't know if these were actually samples that
        20    represent Imerys Talc America, and you understand that's    20    went into a Johnson & Johnson bottle that reached a
        21    a different defendant than Johnson & Johnson, correct?      21    consumer, correct?
        22   A Yes, I do.                                                 22                MS. PARFITT: Objection; form.
        23   Q And do you understand the role in this litigation, what    23   Q (By Ms. Erfle) You can answer.
        24    their role is?                                              24   A Correct.
        25   A No. You can explain it.                                    25   Q And you don't know if any of these items listed in

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                                                   Anne McTiernan, Ph.D
                                                           Page 302                                                           Page 304
         1    Exhibit No. 47 of Ms. Pier's exhibit-- Exhibit No. 47         1   A It should be, yes.
         2    from Ms. Pier's prior testimony, if any of that actually      2                     (Exhibit No. 25 marked
         3    went to a competitor or was a competitor's product not        3                      for identification.)
         4    Imerys, correct?                                              4
         5               MS. PARFITT: Objection; form.                      5   Q (By Ms. Erfle) Let's mark as Exhibit No. 25 this-- can
         6               THE WITNESS: Correct, I don't know                 6    you identify that for the record?
         7    from this data.                                               7   A This is a copy of my report with notes on it.
         8   Q (By Ms. Erfle) And you don't know from Exhibit No. 47        8       Yeah, it's a copy of my report, expert report, of
         9    from Ms. Pier's prior deposition, that you are looking at     9    November 16th, 2018.
        10    now, if any of that talc came from mines that were never     10   Q And it's the one with your handwritten notes?
        11    actually used for Johnson & Johnson product, correct?        11   A Yes.
        12               MS. PARFITT: Objection; form.                     12   Q Okay. One last question:
        13               THE WITNESS: Well, this does state                13       Do you have an invoice that you've generated from
        14    "Johnson & Johnson company" on two of the samples that       14    December of 2018 through today, which is January 28th,
        15    have chromium, cobalt, and nickel.                           15    2019?
        16   Q (By Ms. Erfle) But, again, you don't know if that           16   A Not yet.
        17    actually ever reached into a product that became body        17   Q Okay. And once you generate that invoice, will you
        18    powder from Johnson & Johnson that went to a consumer,       18    please give it to your counsel and make sure that they
        19    correct?                                                     19    provide it to us?
        20               MS. PARFITT: Objection; form.                     20   A Mm-hm.
        21               THE WITNESS: Correct.                             21   Q Is that a "yes"?
        22                     (Exhibit No. 23 marked                      22   A Yes. Yes.
        23                      for identification.)                       23                MS. ERFLE: Okay. That's all I have.
        24   Q (By Ms. Erfle) And just to make the record clear, let's     24                MR. GOLOMB: How much time do you have
        25    put in as Exhibit No. 23 the Julie Pier document that you    25    left--

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         1    are looking at, so we make sure it's a little clearer.        1                   MR. LOCKE: I don't think there's any
         2        So all the questions I just asked you,                    2     more time.
         3    Dr. McTiernan, about the Julie Pier Exhibit No. 47, it's      3                   MR. GOLOMB: How much time is there on
         4    also the same document as we've marked as Exhibit No. 23      4     that disc?
         5    to your deposition, correct?                                  5                  VIDEOGRAPHER: I have another like 15
         6   A I can't read the whole thing, but it looks the same--        6     minutes.
         7    it's the same number.                                         7                MS. PARFITT: Can we take a short
         8   Q I will represent to you that that's another copy of it,      8     break, and we'll come back?
         9    but it's marked as Exhibit No. 23 to this deposition,         9                VIDEOGRAPHER: Okay. The time is 5:42
        10    okay?                                                        10     p.m. We are going off the record.
        11   A Okay.                                                       11                        (Recess 5:42 to 5:50 p.m.)
        12   Q Are you okay with that?                                     12
        13   A Yes.                                                        13               VIDEOGRAPHER: We are back on the
        14                      (Exhibit No. 24 marked                     14     record. The time is 5:50 p.m. This is Media Unit No. 5.
        15                       for identification.)                      15
        16                                                                 16
        17   Q (By Ms. Erfle) Last thing I want to do is put in as         17                  EXAMINATION
        18    Exhibit No. 24-- Dr. McTiernan, can you please look at       18    BY MS. PARFITT:
        19    that and identify that for the record, Exhibit No. 24?       19   Q Dr. McTiernan, good evening. I just have a few questions
        20   A These are invoices that I submitted to Ms. Parfitt's firm   20    for you for the Ladies and Gentlemen of the Jury.
        21    for work up until December 2018.                             21       Dr. McTiernan, have you had an opportunity to review
        22   Q Okay. So let's mark as Exhibit No.-- and are those a        22    the Canadian draft screening assessment by Health Canada?
        23    complete copy of all invoices that you would have            23   A I did, yes.
        24    incurred from the time you began your work on this           24   Q And have you had an opportunity to review the entire
        25    litigation up until December of 2018?                        25    report?

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         1   A Yes, I did.                                                 1    talc can cause ovarian cancer.
         2   Q All right. And who sponsored that study?                    2   Q (By Ms. Parfitt) Specifically what are you referring to,
         3   A It was Health Canada.                                       3    if you will?
         4                    (Exhibit No. 26 marked                       4   A So on-- are there page numbers on here-- on Page 21 of
         5                     for identification.)                        5    the draft-- document called, "Draft screening
         6                                                                 6    assessment," in the fourth paragraph down, the third
         7   Q (By Ms. Parfitt) All right. I am going to have marked       7    line, it says, "Further, available data are indicative of
         8    as Exhibit No. 26, Dr. McTiernan, a copy of just the         8    a causal effect."
         9    draft screening assessment, dated December 2018, and,        9       Another-- also, on Page 29, third paragraph down,
        10    again, ask if you will identify that.                       10    states that "On the basis of information presented in
        11   A Yes, Exhibit No. 26.                                       11    this draft screening assessment, it is proposed to
        12   Q That is one of the documents you have reviewed?            12    conclude that talc meets the criteria under Paragraph
        13   A Yes.                                                       13    No. 64C of CEPA as it is entering or may enter the
        14   Q Have you reviewed any other documents that are part of     14    environment in a quantity or concentrations or under
        15    the Health Canada assessment of talc?                       15    conditions that constitute or may constitute a danger in
        16   A There was several other documents that were available.     16    Canada to human life or health."
        17       These were drafted by the Health Canada for              17       Also in the beginning on Page Roman Numeral No. III,
        18    information sheets for the public, and one that is called   18    it states in the fifth paragraph, "The meta-analyses of
        19    "Talc: potential risk of lung effects and ovarian           19    the available human studies in the peer-reviewed
        20    cancer," another is a talc information sheet, a third is    20    literature indicate a consistent and statistically
        21    on talc, and, again it's also information for the public    21    significant positive association between perineal
        22    of how to minimize exposure, so they are already planning   22    exposure to talc and ovarian cancer. Further, available
        23    what the public health messages will be.                    23    data are indicative of a causal effect."
        24       One is a risk management scope, and this is to do        24   Q Dr. McTiernan, from reviewing the draft screening
        25    with the regulatory decisions, and also the Canadian        25    assessment performed by Health Canada, were you able to

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         1    weight of evidence general principles and current            1    determine whether or not they did indeed perform a
         2    applications at Health Canada.                               2    causality assessment?
         3   Q Now--                                                       3                MR. WILLIAMS: Lacks foundation, calls
         4                  MR. LOCKE: Objection; nonresponsive,           4    for speculation.
         5    move to strike.                                              5                THE WITNESS: They did do a full
         6   Q (By Ms. Parfitt) Dr. McTiernan, the information from        6    causal analysis that includes information from
         7    Health Canada was made available to you, I believe you       7    toxicology, animal studies of the biologic information,
         8    testified, after your report was submitted in November       8    perineal exposure to talc, and then the human studies.
         9    2018; is that correct?                                       9       I am looking for where they did their full
        10   A That's correct.                                            10    causation.
        11   Q All right. And the date, again, of the Health Canada       11       So they then determined characteristic of risk to
        12    assessment was December 2018, correct?                      12    human health, and then came up with their conclusions
        13   A Yes, correct.                                              13    about what-- that further available data are indicative
        14   Q So at the time you submitted your report in the            14    of a causal effect.
        15    multidistrict litigation, you did not have access to the    15   Q (By Ms. Parfitt) What methodology did they employ?
        16    Health Canada report, correct?                              16   A They did methodology that was similar to what I did for
        17   A Correct.                                                   17    my report.
        18   Q All right. Now, have you-- do you have an opinion, to a    18       They reviewed the epidemiologic data from a
        19    reasonable degree of scientific certainty, as to whether    19    meta-analysis.
        20    or not Health Canada has opined that talcum powder          20       They reviewed the data-- the literature on animal
        21    products can cause ovarian cancer?                          21    studies.
        22                  MR. WILLIAMS: Objection; lacks                22       They reviewed toxicology.
        23    foundation, calls for speculation.                          23       They reviewed information in how talc can be-- can
        24                  THE WITNESS: Health Canada does, in           24    reach the ovary areas, and from that came up with their
        25    several places, firmly state that talcum powder-- that      25    conclusions.

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         1   Q Was part of the Health Canada causality assessment a         1               VIDEOGRAPHER: This marks the end of
         2    study by the name of Tair (phonetic)?                         2    today's video deposition. The time is 5:59 p.m.
         3   A Yes. That was the meta-analysis that they reviewed.          3                (Deposition concluded at 5:59 p.m.)
         4   Q Okay. And that was just one part--                           4                (Signature reserved.)
         5   A That was the primary meta-analyses-- the most recent         5
         6    meta-analysis that I reviewed.                                6
         7   Q And that was just one part of the Health Canada              7
         8    assessment; is that correct?                                  8
         9   A Exactly.                                                     9
        10   Q Dr. McTiernan, you were asked by counsel for J&J whether    10
        11    or not it would be repugnant for a company to test their     11
        12    talcum powder products for asbestos.                         12
        13       Do you remember that question?                            13
        14   A I believe the question was posed-- I would have to review   14
        15    the question again.                                          15
        16       I believe there was something about brakes and            16
        17    another--                                                    17
        18   Q Let me just--                                               18
        19   A I think the category was talcum testing for asbestos.       19
        20   Q I believe the question was whether-- first, whether it      20
        21    was repugnant for a company to test for asbestos, whether    21
        22    J&J would be repugnant for them to test-- to actually do     22
        23    testing of their product.                                    23
        24       Do you recall that?                                       24
        25   A Yes.                                                        25

                                                         Page 311
         1   Q And he then asked you whether it was repugnant if a brake    1   STATE OF WASHINGTON ) I, Terilynn Simons, CCR, RMR, CRR
                                                                                           ) ss a certified court reporter
         2    company also tested to determine whether or not their         2   County of Pierce ) in the State of Washington, do
         3    products' brakes failed.                                                         hereby certify:
                                                                            3
         4       Do you remember that?                                      4
         5   A Yes.                                                                That the foregoing deposition of ANNE MCTIERNAN, PH.D.
                                                                            5   was taken before me and completed on January 28, 2019, and
         6   Q In your opinion would it be repugnant for a company, if          thereafter was transcribed under my direction; that the
         7    they found that the brakes had failed, to not inform the      6   deposition is a full, true and complete transcript of the
                                                                                testimony of said witness, including all questions, answers,
         8    public?                                                       7   objections, motions and exceptions;
         9   A Yes.                                                         8      That the witness, before examination, was by me duly
                                                                                sworn to testify the truth, the whole truth, and nothing but
        10                MR. WILLIAMS: Incomplete                          9   the truth, and that the witness reserved the right of
        11    hypothetical.                                                     signature;
                                                                           10
        12                MR. LOCKE: Just note my objection.                       That I am not a relative, employee, attorney or counsel
        13   Q (By Ms. Parfitt) Similarly, would it be repugnant of a      11   of any party to this action or relative or employee of any
                                                                                such attorney or counsel and that I am not financially
        14    manufacturing company or a supplier who tested their         12   interested in the said action or the outcome thereof;
                                                                           13      That I am herewith securely sealing the said deposition
        15    product and found asbestos to not warn or communicate
                                                                                and promptly delivering the same to Bart H. Williams.
        16    with the public and the medical and scientific field         14
                                                                                   IN WITNESS WHEREOF, I have hereunto set my signature on
        17    about the fact that their product had asbestos?              15   the 30th day of January, 2019.
        18                MR. WILLIAMS: Same objection.                    16
                                                                           17
        19                 MS. ERFLE: Objection; also lacks                18
        20    foundation.                                                  19                    ________________________________
                                                                                                 Terilynn Simons, CCR, RMR, CRR
        21                THE WITNESS: Yes.                                20                    Certified Court Reporter No. 2047
        22                MS. PARFITT: I have no further                                         (Certification expires 07/07/19.
                                                                           21
        23    questions, Dr. McTiernan. Thank you.                         22
        24                MR. WILLIAMS: I think that's it--                23
                                                                           24
        25    actually-- that's fine.                                      25

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        1           ------
                    ERRATA
        2           ------
        3    PAGE LINE CHANGE
        4    ____ ____ ____________________________
        5     REASON: _____________________________
        6    ____ ____ ____________________________
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         1       ACKNOWLEDGMENT OF DEPONENT
         2
                      I,_____________________, do
         3   hereby certify that I have read the
             foregoing pages, and that the same
         4   is a correct transcription of the answers
             given by me to the questions therein
         5   propounded, except for the corrections or
             changes in form or substance, if any,
         6   noted in the attached Errata Sheet.
         7
             _______________________________________
         8   ANNE MCTIERNAN, PH.D.      DATE
         9
        10
        11
        12
        13
        14
             Subscribed and sworn
        15   to before me this
             _____ day of ______________, 20____.
        16
             My commission expires:______________
        17
        18   ____________________________________
             Notary Public
        19
        20
        21
        22
        23
        24
        25

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                         Exhibit 19
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    Statement of Dr. Anne Mc Tiernan prepared for the Subcommittee on Economic and Consumer

    Policy Hearing on Examining the Public Health Risk on Carcinogens and Consumer Products,

    March 12, 2019



    Chairman Krishnamoorthi, Ranking Member Cloud, and members of the subcommittee, good

    morning and thank you for inviting me. My name is Dr. Anne McTiernan. I am a cancer

    prevention researcher in the Epidemiology Program, Division of Public Health Sciences, at the

    Fred Hutchinson Cancer Research Center in Seattle, Washington. I am also a Research

    Professor in the University of Washington Schools of Public Health and Medicine. I am not

    representing the Fred Hutchinson Cancer Research Center or the University of Washington in

    the presentation of my testimony to the Subcommittee. I am an internal medicine physician and

    epidemiologist. My research focuses on cancer epidemiology and prevention, particularly

    cancers in women. I was asked to give testimony today because I have conducted a thorough

    and systematic review of the science linking use of talcum powder products and risk for ovarian

    cancer. As part of this review, I prepared an expert report on behalf of consumers for an

    ongoing multi-district litigation on talcum powder products as causes of ovarian cancer.



    My scientific review focused primarily on the epidemiologic research. Epidemiologists look at

    large groups of people with a disease, and compare them to people without that disease, to find

    what might be causing the disease.



    The American Cancer Society and the U.S. National Cancer Institute estimate that in 2019,

    22,530 women will receive a new diagnosis of ovarian cancer and 13,980 women will die from

    ovarian cancer.(1, 2) There is no established method to screen for early ovarian cancer. As a

    result, most women are diagnosed at an advanced, less treatable stage. There is also no
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    established method to prevent ovarian cancer other than surgical removal of ovaries. Therefore,

    it is critical to identify causes of ovarian cancer in order to prevent this serious disease.



    My review identified 38 high-quality epidemiologic studies conducted over the past 40 years.

    These studies asked women about their use of talcum powder products in the genital area, and

    tested associations with risk of ovarian cancer. Together, these studies included over 14,000

    women with epithelial ovarian cancer (the most common type) and an even greater number of

    women without ovarian cancer. Most of these studies were conducted in the United States.



    Ovarian cancer is thought to develop over years. Therefore, a woman’s exposures in her young

    and middle years can affect her risk of ovarian cancer decades later. Women have reported use

    of talcum powder products on sanitary napkins, underwear, and directly to the genital area. In

    some studies, over 4 in 10 women report ever regularly using these products in the genital

    area.(3)



    Summarizing data from all of the published studies consistently shows that women who had

    ever used talcum powder products in the genital area had a statistically significant 22 - 31%

    increased risk of developing epithelial ovarian cancer compared with women who had never

    used them.(4-6) Evidence suggests that these associations hold across diverse race and ethnic

    groups.



    These combined analyses showed that increasing amount of exposure to talcum powder

    products in the genital area resulted in increasing risk of developing epithelial ovarian cancer.



    Published laboratory and clinical studies provide evidence that in humans, talc can migrate from

    the genital area to the ovaries and fallopian tubes. Talc has been shown to cause an
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    inflammatory response in the human body. Elevated levels of inflammation in women are

    associated with increased risk of ovarian cancer. All of this provides a biologically plausible

    pathway by which talcum powder product exposure can cause ovarian cancer.



    Given the frequency with which asbestos has been found in cosmetic and personal use talc

    products, I reviewed the literature on the epidemiology of asbestos and risk of ovarian cancer. In

    2012, the International Agency for Research on Cancer stated that a causal association

    between exposure to asbestos and cancer of the ovary was clearly established.(7) That agency

    has also classified fibrous talc as a Class 1 carcinogen – the most dangerous level of

    carcinogen.



    Given the high prevalence of use of talcum powder products, a 22 - 31% increase in risk can

    have profound effects on clinical events and public health. Women need to know about the risks

    of using talcum powder products in their genital areas. All consumers need to be warned about

    the contents of these products, including asbestos and fibrous talc, so that they can make

    informed decisions about use.



    Thank you for the opportunity to provide this testimony. I would be happy to answer any

    questions you may have.



    Anne McTiernan, MD, PhD

    Full Member, Public Health Sciences

    Fred Hutchinson Cancer Research Center, Seattle, Washington
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                         Exhibit 20
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     From:            McTiernan, Anne
     To:              eccc.substances.eccc@canada.ca
     Bcc:             McTiernan, Anne
     Subject:         comment on Canada Gazette Part 1 December 8, 2018
     Date:            Tuesday, February 5, 2019 5:36:00 PM


     Executive Director,
     Program Development and Engagement Division
     Department of the Environment
     Gatineau Quebec K1A 0H3

     Dear Sirs/Madams:

     Re: Draft Screening Assessment – Talc; Chemical Abstracts Service Registry Number
     14807-96-6, published in Canada Gazette, Part 1, December 8, 2018

     Health Canada has performed an excellent assessment of the state of science regarding the role of
     use of talcum powder products and risk of ovarian cancer. The Draft Screening Assessment on Talc
     presents information on research in humans, animals, cells, as well as toxicological and pathological
     research. The assessment states, “The meta-analyses of the available human studies in the peer-
     reviewed literature indicate a consistent and statistically significant positive association between
     perineal exposure to talc and ovarian cancer. Further, available data are indicative of a causal
     effect.” The assessment concludes, “Based on the available information, it is proposed that there is
     potential for harm to human health in Canada at current levels of exposure. Therefore, on the basis
     of the information presented in this draft screening assessment, it is proposed to conclude that talc
     meets the criteria under paragraph 64(c) of CEPA as it is entering or may enter the environment in a
     quantity or concentration or under conditions that constitute or may constitute a danger in Canada
     to human life or health.”

     This conclusion agrees with my own: I conducted a systematic review and causation analysis of the
     association between use of talcum powder products in the genital/perineal area and risk of
     developing epithelial ovarian cancer. There have been 33 scientific publications from epidemiologic
     studies, as well as a pooled analysis and several meta-analyses that combined data across multiple
     studies. The meta-analyses consistently showed that women who have ever used talcum powder
     products in the genital/perineal area have a statistically significant 22 - 31% increased risk of
     developing epithelial ovarian cancer overall compared with women who reported never using these
     products. These comprehensive combined analyses also show strong evidence of increased risk of
     ovarian cancer with increasing number of estimated lifetime applications of talcum powder products
     in the perineal/genital area.

     Laboratory and clinical studies on talc exposure and ovarian carcinogenesis have provided plausible
     evidence that talc can migrate from the perineum to the ovaries and that it can cause an
     inflammatory response. Elevated levels of inflammation (such as cytokines), as well as oxidative
     stress, are biologically plausible pathways by which talc can induce neoplastic change and cause
     ovarian cancer.
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     Given that use of talcum powder products in the genital/perineal area can cause ovarian cancer,
     Health Canada is right in taking the proposed actions to reduce exposure to these products in order
     to protect the health of Canadian women.

     Sincerely,

     Anne McTiernan, MD, PhD
     Member, Division of Public Health Sciences
     Fred Hutchinson Cancer Research Center
     Research Professor, Schools of Public Health and Medicine
     University of Washington
     Seattle, WA, USA

     Disclosure: Dr. McTiernan has received consulting funds from legal firms representing plaintiffs in
     cases of ovarian cancer and talcum powder products.
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   IN RE JOHNSON & JOHNSON                       MDL NO. 16-2738 GLW) (LHG)
   TALCUM POWDER PRODUCTS
   MARI(ETING, SALES PRACTICES,
   AND PRODUCTS LIABILITY
   LITIGATION

   THIS DOCAMENT REI.ATES TO ALL CASES




                           RULE 26 EXPERT REPORT OF
                        PATRTCIA G. MOORMAN, MSPH, PHn




   Date: November 16,2018
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    Scientific Review of the Epidemiologic Evidence on Talc Use and Ovarian Cancer




                               Patricia G. Moorman, MSPH, PhD


                  Professor, Department of Community and Family Medicine
                 Cancer Control and Population Sciences, Duke Cancer Institute
                              Duke University School of Medicine
                                         Durham, NC




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    Background and Qualifications of Patricia G. Moorman, MSPH, PhD
             I am a tenured professor in the Department of Community and Family Medicine, Duke
    University School of Medicine, Durham, NC and a member of the Cancer Control and Population
    Sciences Program in the Duke Cancer Institute. I am an epidemiologist with more than 25 years
    of experience in conducting research on women’s health issues including ovarian cancer, breast
    cancer and menopause. Attached as Exhibit A to this report is a current copy of my curriculum
    vitae.


    Education
             I received a Bachelor of Science degree with distinction in pharmacy from the University
    of Kansas in 1980. I pursued graduate studies in epidemiology in the School of Public Health at
    the University of North Carolina-Chapel Hill, earning a Master of Science in Public Health
    (MSPH) in 1989 and a Doctor of Philosophy (PhD) degree in 1993.


    Professional Experience
             I have held positions in academic institutions since I completed my PhD, beginning as a
    research assistant professor in the Department of Epidemiology at the University of North
    Carolina-Chapel Hill from 1994 through 1996. From 1997 to 2000, I was an associate research
    scientist in the Chronic Disease Epidemiology division of the Yale University School of Public
    Health. I came to Duke University School of Medicine as an assistant professor in 2000,
    progressing through the academic ranks from associate professor, associate professor with
    tenure to my current position as professor in Community and Family Medicine. I also serve as
    the director of the Clinical Research Unit for the Department of Community Medicine and am a
    member of the Senior Faculty Advisory Committee for the Office for Research Mentoring in the
    School of Medicine. In addition, I am an adjunct faculty member in the Department of
    Epidemiology at the University of North Carolina-Chapel Hill.




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    Compensation and Testimony
           My hourly billing is $400. I have given deposition testimony in one case (Gail Ingham, et
    al., v. Johnson & Johnson, et al., Case No. 1522-CC10417-01, Circuit Court of the City of St.
    Louis, Division 10) and have not testified at trial in the last four years.


    Research Interests and Experience
           My primary research interests are in the area of women’s health issues, with a particular
    focus on studying racial differences in risk factors and outcomes. I have had funding from the
    National Institutes of Health (NIH) for more than 20 years, which has supported my research in
    ovarian cancer, breast cancer and ovarian function after hysterectomy. Three of the key studies
    in my research career are: 1) the African American Cancer Epidemiology Study (AACES), a multi-
    center, case-control study of ovarian cancer in African American women,1 2) the Carolina Breast
    Cancer Study, which is one of the largest studies focused on understanding racial differences in
    breast cancer risk and outcomes,2 and 3) the Prospective Research on Ovarian Function
    (PROOF) Study, a cohort study designed to examine risk for ovarian failure after premenopausal
    hysterectomy.3
           Each of these studies involved primary data collection, meaning that the investigative
    team designed the data collection procedures, developed the surveys, recruited study
    participants and obtained questionnaire data and biological specimens from the participating
    women. Each study has made unique contributions to the scientific literature.
           AACES has enrolled more than four times as many African-American women with
    ovarian cancer than any other study and is providing the most comprehensive epidemiologic
    data on ovarian cancer risk factors in this population to date.4-6 The Carolina Breast Cancer
    Study likewise provided key data on risk factors in African American women and was the first
    study to describe the markedly higher prevalence of the poor-prognosis basal subtype of breast
    cancer in young African American women.7-11 The PROOF study is the largest prospective study
    of ovarian function after pre-menopausal hysterectomy and demonstrated that women




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    undergoing hysterectomy with ovarian conservation were at significantly increased risk for
    earlier menopause as compared to women who did not have a hysterectomy.3,12
           Our study team published an analysis of talc exposure and ovarian cancer in 2016, using
    data from AACES. 13 This peer-reviewed paper, published in Cancer Epidemiology, Biomarkers
    and Prevention, was the first epidemiologic study of talc use and ovarian cancer that was
    focused exclusively on African American women. Our analyses found both a high prevalence of
    talc use in this study population and a statistically significantly increased risk for ovarian cancer
    among talc users. This paper was published prior to my involvement in litigation related to talc
    and ovarian cancer.
           I have also been a co-investigator on the North Carolina Ovarian Cancer Study, which
    was a precursor to the AACES study. Data from this study were included in Terry, et al.’s 14 2013
    analysis of genital powder use and ovarian cancer that pooled from data from eight case-
    control studies. I am currently an investigator in the Ovarian Cancer in Women of African
    Ancestry (OCWAA) consortium. The OCWAA consortium, which was initiated in 2016, is a multi-
    center collaboration that aims to bring together data from case-control and cohort studies to
    evaluate similarities and differences between African American and white women in ovarian
    cancer risk factors and outcomes.
           In addition to these studies, I am an investigator with the Evidence Synthesis Group in
    the Duke Clinical Research Institute, a team of researchers that conducts evidence reviews of
    the scientific literature. I have worked with this group on a number of systematic reviews and
    meta-analyses on women’s health issues including an evaluation of the benefits and risks of
    oral contraceptive use for primary prevention of ovarian cancer 15-17 funded by the Agency for
    Healthcare Research Quality, and an evaluation of the benefits and harms of breast cancer
    screening18 funded by the American Cancer Society to help inform their screening
    mammography recommendations.19
           I am an author on more than 130 scientific publications, with more than 50 of them
    directly related to ovarian cancer. The ovarian cancer papers address a wide variety of risk
    factors including reproductive and hormonal factors, lifestyle characteristics, genetic factors,
    and talcum powder products. The main focus of the manuscripts on which I have been the lead


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    author has been ovarian cancer risk factors in African American women and the effects of
    reproductive characteristics, hormones and other medications on risk for ovarian cancer.5,17,20-
    23 The papers have been published in some of the leading journals in the field of epidemiology,


    gynecology and cancer including the American Journal of Epidemiology, Cancer Epidemiology
    Biomarkers and Prevention, Obstetrics & Gynecology and Journal of Clinical Oncology.
           My teaching experience includes courses in Cancer Epidemiology for graduate students
    in public health and Evidence-Based Medicine for physician assistant students. A primary
    emphasis of these courses has been for the students to gain an understanding of the
    advantages and disadvantages of different types of studies used in clinical and epidemiologic
    research. In particular, the Evidence-Based Medicine course is designed to help the students
    learn how to critically appraise the medical literature and apply findings to clinical practice. In
    addition, I have mentored at the individual level public health graduate students and medical
    students.
           I serve as an editorial reviewer for numerous journals and have served as a peer
    reviewer of grant applications on several dozen study sections over that past twenty years. I
    have reviewed NIH grants for a variety of funding mechanisms ranging from small grants (R03)
    to large multi-project applications (SPORE grants and Program Projects). I also have served as
    both peer reviewer and study section chair for the Susan G. Komen for the Cure Foundation and
    the Department of Defense Ovarian Cancer and Breast Cancer Research Programs.
           In summary, in a career spanning more than 25 years, I have devoted my efforts to
    understanding factors that affect risk for ovarian cancer, breast cancer and menopause. I have
    conducted original research, giving me a deep appreciation of the advantages and
    disadvantages of different study designs and the challenges of collecting high-quality data for
    making etiologic inferences. I also have conducted research involving synthesis of the published
    literature, with the goal of informing decisions based on the best available evidence. A large
    proportion of my publications have focused on the epidemiology of ovarian cancer, and many
    of the others focused on breast cancer or menopause have relevance to ovarian cancer because
    of shared risk factors for the conditions. Based on my education, experience, and expertise, I




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    am highly qualified to assess the literature on the use of talc in relation to ovarian cancer and
    provide an expert opinion to a reasonable degree of medical certainty.




    Purpose
           The purpose of this report is to summarize the epidemiologic evidence related to talc
    use and ovarian cancer risk and to make a judgment as to whether there is sufficient evidence,
    based on the totality of evidence from epidemiologic investigations as well as laboratory and
    mechanistic studies, to conclude with a reasonable degree of scientific certainty that talcum
    powder use Is a causal factor for ovarian cancer.
           Throughout the report, the term "talc" will be used to refer to talcum powder products,
    recognizing that commercial talc products can contain asbestos, talc containing asbestiform
    fibers (e.g., talc occurring in a fibrous habit), heavy metals such as nickel, chromium and cobalt
    and fragrances.


    Role and Importance of Epidemiologic Studies
           It is important to bear in mind that epidemiologic research on factors that are thought
    to increase risk for cancer in human populations will consist of observational rather than
    experimental studies. As with most other now-known carcinogens, including cigarette smoke, it
    is both ethically wrong and pragmatically impossible to conduct randomized controlled trials to
    investigate whether a given exposure increases risk for cancer in humans. The judgment as to
    whether talc causes ovarian cancer will be based on epidemiologic studies in which the
    investigators collected and analyzed information on exposures (i.e., talc use and other risk
    factors) that the study participants chose to use, rather than studies in which exposures were
    randomly assigned to the study subjects in an experimental setting.
           Observational study designs used in the study of talc and ovarian cancer include cohort
    and case-control studies, both of which are well-established and generally accepted methods
    for studying cancer etiology. In a prospective cohort study, a large group of individuals (the
    cohort) is identified and exposure to various factors hypothesized to affect risk of disease is


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    assessed at the time of enrollment (baseline). The cohort is followed over time and the analyses
    focus on whether the exposed group is more or less likely to develop the outcome of interest
    than the unexposed group. Some of the prominent advantages of cohort studies are that
    multiple outcomes/diseases can be assessed within the cohort and exposure assessment
    precedes the development of the disease, limiting recall bias. However, a primary disadvantage
    of cohort studies, particularly in relation to cancer etiology studies, is that they must enroll tens
    of thousands of subjects and follow them for long periods of time to accrue enough cases to
    have a well-powered study. In addition, if cohort studies do not update exposure information
    after the baseline assessment, the exposure of some individuals in the cohort may be
    misclassified.
           Case-control studies identify individuals with the disease of interest and an appropriate
    control group of individuals without the disease and assess exposures that are thought to
    increase or decrease the risk of the disease. The investigators then analyze whether cases are
    more likely than the controls to have a given exposure. Case-control studies focus on a single
    disease, therefore they typically collect more detailed risk factor information for that disease
    than cohort studies. A major advantage of case-control studies is that they are a more efficient
    design for studying diseases that are less common or have a long latency period. Therefore,
    they are very commonly used for etiologic studies of cancer. A disadvantage of case-control
    studies is that they collect exposure information for the cases after they have already been
    diagnosed with the disease, which raises concerns that cases may recall exposures differently
    from controls.
           Cohort studies and case-control studies each have advantages and disadvantages for
    assessing talc as a risk factor for ovarian cancer, and one study design is not clearly superior to
    the other. In addition, specific details related to the conduct of the study such as methods of
    exposure assessment, length of follow-up and choice of control group can impact the validity of
    the findings and the interpretation of results. Therefore, rather than making a judgment based
    only on the overall study design, the evaluation and interpretation of the findings of the studies
    must consider the strengths and weaknesses of the individual studies. As the results of the




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    studies are described and evaluated in this report, specific advantages and disadvantages of
    individual studies will be discussed in more detail.
           In contrast to studies on laboratory animals, studies on humans are subject to more
    variation in exposure assessment and it is impossible to control all other factors that may
    contribute to disease risk. For these reasons, judgments on causality from epidemiologic
    research typically are not based on a single study or even a few studies, but are based on the
    totality of evidence from multiple studies conducted in different study populations, in different
    locations and across different time periods. Evidence from the epidemiologic investigations is
    combined with relevant studies from other disciplines, including pathology, animal and
    mechanistic studies, to make an assessment of the evidence for a causal association between
    genital exposure to talcum powder and ovarian cancer.


    Methodology
           The methodology I used to assess the epidemiologic evidence on talc use as a causal risk
    factor for ovarian cancer involved conducting a literature search on PubMed using the terms
    “ovarian cancer” and “talc” to identify all relevant original studies, systematic reviews, meta-
    analyses, editorials and commentaries (search most recently updated on October 29, 2018).
    The search I did returned 131 articles, all of which were systematically considered and assessed
    as to their relevance to talc as a risk factor for ovarian cancer. Twenty-nine articles were not
    directly relevant to the question at hand (mostly addressing talc in the treatment of malignant
    pleural effusions). Of the remaining 101 articles, 36 were reports of original epidemiologic
    studies directly addressing genital talc exposure and ovarian cancer or meta-analyses of such
    studies.14,24-56 Other articles retrieved included studies of occupational talc exposure, 57-62 other
    original research articles that were not specifically epidemiologic studies of genital talc and
    ovarian cancer (e.g., studies of endometrial cancer, pathology studies, animal studies, etc.)63-80
    and reviews, commentaries and letters 60,81-120 I also examined reference lists from key articles
    to identify any additional relevant studies. In addition, I reviewed relevant studies as well as
    documents provided during the course of discovery process.




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           The primary focus of my review is the epidemiologic studies of genital talc exposure and
    ovarian cancer and the meta-analyses, with supporting information from other types of
    publications, including animal, pathology and mechanistic studies used as appropriate to
    address biological mechanisms underlying the association between talc use and ovarian cancer.
           As I evaluated the individual epidemiologic studies (case-control and cohort studies)
    that described the risk for ovarian cancer associated with talc use, I did not weight one design
    more heavily than the other because there are advantages and disadvantages to each design
    for evaluating talc as a cause of ovarian cancer. I considered the potential biases of individual
    studies, both those that supported and those that did not support an association between talc
    and ovarian cancer, and how those biases may have impacted the findings. As I describe in this
    report, some biases have the potential to lead to an overestimate of the relative risk (e.g. recall
    bias in case-control studies) while others could result in an underestimate of the relative risk
    (e.g. incomplete ascertainment of talc use in the cohort studies).
           I also considered the studies that combined data from multiple studies – meta-analyses
    or pooled analyses from multiple case-control studies. These types of analyses are often
    considered to be some of the strongest evidence for a causal association between an exposure
    and disease as they provide an estimate of the relative risk that is more statistically robust than
    individual studies. Data from meta-analyses are particularly important for evaluating exposure-
    disease relationships such as talc and ovarian cancer where the relative risks from most
    individual studies are approximately 1.2 to 1.5.
           As is standard in epidemiologic research, my assessment of whether there is a causal
    association between talc use and ovarian cancer was guided by the aspects of a causal
    relationship described by Bradford Hill during the 1960’s. Sir Austin Bradford Hill’s writings on
    causal inference provide an accepted framework for assessing whether a given exposure is a
    cause of a specific outcome.121 The aspects of the associations that Hill described are: Strength,
    Consistency, Specificity, Temporality, Biological Gradient, Plausibility, Coherence, Experiment
    and Analogy. As his writings clearly state, these viewpoints or perspectives should be taken into
    account when assessing causality, but are not to be considered absolute criteria and not all
    must be checked off to make a conclusion of a causal relationship. Specifically, he states “What


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    I do not believe is that we can usefully lay down some hard-and-fast rules of evidence that must
    be obeyed before we accept cause and effect. None of my nine viewpoints can bring
    indisputable evidence for or against the cause-and-effect hypothesis and none can be required
    as a sine qua non.” This list of viewpoints was used to guide my assessment of the scientific
    literature on talc use and ovarian cancer.
            It is important to point out that, in the end of this process, the assessment of whether a
    substance is or is not a causal risk factor for a given disease or condition involves scientific
    judgment that is made by considering and weighing the evidence. In any given case, it is not
    unusual for scientists and epidemiologists to weigh the Hill factors differently in reaching a
    conclusion on the causal inference in question. For example, scientists for many years debated
    the evidence that cigarette smoking causes lung cancer or asbestos causes lung disease.


    Epidemiologic Studies Reviewed
            Since 1982, when the first case-control study describing an increased risk for ovarian
    cancer associated with talc use was reported by Cramer, et al., 50 more than two dozen
    additional reports of epidemiologic studies have been published.13,14,24-36,38-44,46-49,51-55,122,123 In
    some instances, data from a particular study were included in more than one publication, due
    either to an additional analysis of data from a cohort study with longer duration of follow-up
    (e.g., 31,34) or to analyses that combined data from more than one study (e.g., 14,25). Included in
    these publications are seven meta-analyses published between 1992and 2018 that combined
    overall results from nine to 27 studies 35,51,52,54-56and a pooled analysis published in 2013 that
    combined individual level data from eight case-control studies.14


    Strength and Consistency of the Association
            The first two aspects of the causal relationship described by Bradford Hill, strength and
    consistency of association, are deeply intertwined. While Bradford Hill referenced the
    assumption that a larger relative risk is more likely to reflect a causal association, Hill also
    clearly stated that we should not be “too quick to dismiss a cause-and-effect hypothesis merely




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    on the grounds that the observed association appears to be slight. There are many occasions in
    medicine when this is in truth so.” 121
            Seven meta-analyses of genital talc exposure and ovarian cancer 35,44,51,52,54-56 calculated
    summary relative risks that were very consistent across the publications, ranging from 1.22 to
    1.36, all with 95% confidence intervals excluding 1, indicating that women who reported talc
    use were at statistically significant increased risk for ovarian cancer. Similarly, the pooled
    analysis of eight case-control studies reported an overall odds ratio of 1.24 (95% confidence
    interval (CI) 1.15 – 1.33).14
            To put this in context, it is useful to compare the epidemiologic data related to the
    strength of the association between genital talc use and ovarian cancer with some other well-
    accepted exposure-disease associations that have relative risks of similar magnitude and are
    generally accepted to be causal associations. Some examples of such associations and the
    relative risks from these exposures estimated from meta-analyses are:
        1. Oral contraceptive use and breast cancer, relative risk 1.08 (95% CI 1.003-1.165) for ever
            versus never use and relative risk 1.21 (95% CI 1.04-1.41) for current or recent use
            versus never use16
        2. Menopausal estrogen use and breast cancer, relative risk 1.20 (95% CI 1.06-1.37) for
            more than 5 years use versus no use124
        3. Passive smoking (also referred to as environmental tobacco exposure or secondhand
            smoke) and lung cancer, relative risk 1.27 (95% CI 1.17-1.37) for ever versus never
            exposure to a spouse who smoked125
        4. Residential radon exposure and lung cancer, relative risk 1.29 (95% CI 1.10-1.51) for
            highest versus lowest exposure126
        5. Trichloroethylene exposure and kidney cancer, relative risk 1.32 (95% CI 1.17-1.50) for
            occupational exposure.127
            Each of these exposure/disease associations is widely accepted as a causal relationship
    in the scientific community and has been judged to be a causal association by the International
    Agency for Research on Cancer (IARC). 128-130 131 The estimates of the relative risks for these
    associations from meta-analyses or pooled analyses are approximately 1.25,16,124-126,132,133


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    which is in the range of estimates of the relative risk from meta-analyses and pooled analyses
    for the association between genital talc use and ovarian cancer. Therefore, we have evidence of
    well-established causal associations in which the magnitude of the relative risk is very similar to
    what has been reported for genital talc use and ovarian cancer.
           It is instructive to compare in more detail the epidemiologic data on passive smoke
    exposure to that of talc and ovarian cancer. Passive smoke exposure, like talc, is a very common
    exposure in the population that can only be assessed retrospectively through self-report,
    therefore it is difficult to determine the precise level of exposure. In a meta-analysis of 55
    studies published between 1981 and 2006 that examined the risk for lung cancer in never
    smoking women with passive smoke exposure from their spouses, Taylor, et al. 125 reported a
    pooled relative risk of 1.27 (95% CI 1.17-1.37). The relative risks from individual studies ranged
    from 0.66 to 2.57, with 44 of the 55 (80%) individual studies reporting a relative risk or odds
    ratio >1. In the individual studies, only 10 of 55 (18%) reported statistically significant
    associations (2 of 7 cohort studies, 3 of 25 case-control studies with population-based controls
    and 5 of 23 case-control studies). These data show that among the many epidemiologic studies
    that assessed passive smoke exposure as a risk factor for lung cancer, not all had statistically
    significant findings and some even reported relative risks less than one, yet the overall
    conclusion from the totality of the evidence is that passive smoke exposure is causally
    associated with lung cancer.
           The most recent meta-analysis published in 2018 on talc and ovarian cancer by
    Pennikilampi et al. reported a pooled relative risk of 1.31 (95% CI 1.24-1.39) with values from
    individual studies ranging from 0.73 to 3.90.56 This result is consistent with other meta-analyses
    performed. Twenty-four of the 26 (92%) studies reported a relative risk or odds ratio >1, and
    statistically significant associations were reported in 14 of the 26 (54%) studies. This
    comparison illustrates that as compared to the well-established causal association between
    passive smoke exposure and lung cancer, the association between talc and ovarian cancer has a
    pooled relative risk estimate of similar magnitude with a greater proportion of the studies
    reporting relative risks >1 and a greater proportion reporting statistically significant




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    associations suggesting the evidence for talc and ovarian cancer is as significant as for passive
    smoke exposure and lung cancer.
           These comparisons also illustrate the importance of meta-analyses in epidemiologic
    research when considering exposures for which the strength of association is approximately 1.5
    or less. Individual studies, especially those with smaller samples sizes, may not detect a
    statistically significant increased risk. When the increased risks in this range are seen
    repeatedly, even when individual studies are not statistically significant, meta-analysis allows
    the data to be aggregated to make a conclusion that is more robust statistically. When
    combining these studies through meta-analysis, the totality of the data shows that there is
    indeed a statistically significant link between genital talc use and ovarian cancer. This
    observation has been quite consistent, with findings replicated in studies conducted by
    different teams of investigators, in different geographic locations within and outside the United
    States, in different race/ethnic groups and over a span of several decades.
           In conjunction with the strength of the association, it is also critical to consider the
    prevalence of the exposure in the population when evaluating its public health impact. A risk
    factor that is less strongly associated with a disease but has a high prevalence in the population
    can be responsible for more cases of the disease than a risk factor that is more strongly
    associated with the disease but has a low prevalence in the population. A measure of the
    contribution of a risk factor to a disease is the population attributable fraction (PAF), which is
    defined as the proportion by which the incidence rates of the outcome in the population would
    be reduced if the exposure was eliminated.134 Wu et al. 26 calculated the PAF for ovarian cancer
    related to talc exposure in their multi-ethnic case-control study in Los Angeles. The odds ratio
    for genital talc use was 1.46 (95% CI 1.27 – 1.69) and the prevalence of use was 41% among the
    cases and 31% among the controls. The PAFs for the different ethnic groups ranged from 12.2
    to 15.1%, which is interpreted as the proportion of ovarian cancer cases that theoretically could
    be prevented if genital talc use in the population could be eliminated and there were no
    changes in other risk factors. In other words, of the estimated 22,440 cases of ovarian cancer
    diagnosed in 2017,135 approximately 3,300 of them could theoretically have been prevented if
    women had not used genital talc. The PAF calculation demonstrates that even with an


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    estimated relative risk for genital talc use of less than 1.5, its high prevalence of use means that
    it contributes to a substantial proportion of the ovarian cancer cases in the population.
             The overall associations seen in the talc-ovarian cancer meta-analyses as well as in many
    of the individual studies are statistically significant, indicating an increase in risk of
    approximately 25 to 30%. While not as high as other relationships like smoking and lung cancer,
    these relative risks are in line with other generally accepted causal relationships (e.g., second
    hand smoke and lung cancer). I consider the strength of the association seen in the talc-ovarian
    cancer epidemiologic studies, to be an important factor in favor of a causal relationship
    between talc and ovarian cancer, particularly when considered along with the consistency of
    the association sees across these studies.
             As described above, among the more than two dozen studies that have reported on the
    association between talc use and ovarian cancer, the vast majority of them reported relative
    risks or odds ratios greater than one, indicating strong consistency in the direction of the effect.
    The findings from the multiple studies are summarized in seven meta-analyses published since
    1992, including two published in 2017-18, that combined overall results from six to 27 studies
    assessing genital talc exposure and ovarian cancer 35,51,52,54,55 56 44 and in a pooled analysis
    published in 2013 that combined individual level data from eight case-control studies. 14 Of the
    27 studies included in Berge et al.’s 2017 meta-analysis 51, 24 were case-control studies (18
    population-based,13,23,25,29,30,32,33,38,39,41,42,44,45,47,50,123,136,137 5 hospital based, 36,43,46,49,122 and 1
    with both hospital and population controls 48) and three were prospective cohort studies 24,27,31.
    The calculated overall relative risks for all studies combined in these meta-analyses were 1.3
    (95% CI 1.1 – 1.6),44 1.27 (95% CI 1.09-1.48),55 1.36 (95% CI 1.24-1.49),35 1.33 (95% CI 1.16-
    1.45),54 1.35 (95% CI 1.26 - 1.46),52 1.22 (95% CI 1.13-1.30)51 and 1.31 (95% CI 1.24-1.39)56 and
    1.24 (95% CI 1.15-1.33) in the pooled analysis of eight case-control studies.14 The conclusions
    from these analyses were quite consistent, even with additional data accumulating over time,
    indicating that women who used talc products as compared to women who reported no talc
    use were at 22 to 36% increased risk for ovarian cancer.
             When considering the consistency from a number of different studies and meta-
    analysis, an epidemiologist should evaluate potential sources of bias including but not limited


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    to publication bias, recall bias, selection bias and information bias. I discuss each of these
    below.
             Publication Bias: When considering a body of epidemiologic evidence from multiple
    studies, several concerns arise about the completeness of the published data and whether
    there is selective publishing of studies that find significant positive associations. These concerns
    were addressed by two distinct analyses conducted in the most recent meta-analyses by Berge,
    et al. (2017) and Penninkilampi and Eslick (2018).51,56 The first approach reported was a funnel
    plot, which is a graphical technique that plots the relative risks derived from the studies on one
    axis and the standard error of the relative risk (an indicator of the size of the study) on the
    other. The concept driving this approach is that studies should cluster around the “true”
    relative risk in the population. Due to random statistical variation, some studies will have
    relative risks that are higher than the true relative risk and some will be lower than the true
    relative risk. As sample sizes increase, there should be more precise estimates of the relative
    risk, therefore larger studies would be expected to produce estimates closer to the true relative
    risk whereas smaller studies may produce results that deviate further from the relative risk in
    the overall population. When the study results are plotted, one would expect them to fall into a
    funnel shape, with the larger studies at the point of the funnel, clustered around the true
    relative risk in the population, and smaller studies, with more variation in results, showing
    greater deviation from the average, forming the wide part of the funnel. Notably, in these
    meta-analyses, the two studies with the highest relative risk estimates (Chen, et al 45 with a
    relative risk of 3.90 and Godard, et al. 38 with a relative risk of 2.49) and the two studies with
    the lowest relative risks (Hartge, et al. 49 and Gonzalez, et al. 24) all had a modest number of
    cases (<=170).
             A funnel plot provides a method for assessing publication bias, i.e., the bias that results
    from studies with statistically significant findings being more likely to be published than studies
    that show no association. If one is concerned that studies that showed no association between
    the exposure and outcome are less likely to be published, the funnel plot allows the visual
    assessment of this potential bias. A lack of symmetry in the funnel plot, with a deficit of studies
    showing no association between the exposure and outcome, would be an indication of


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    publication bias. The papers by Berge, et al. 51 and Penninkilampi and Eslick 56 which are the
    only meta-analyses that specifically addressed publication bias, concluded that there was no
    serious publication bias based on both visual inspection of the funnel plot and a statistical
    assessment of the data from the funnel plot. Therefore, there is a high level of confidence that
    there has not been preferential publication of studies that found a positive association between
    talc and ovarian cancer.
           A second approach used by Berge, et al. 51 was a cumulative meta-analysis, in which
    they showed the estimated summary relative risks over time from the first published report in
    1982 through the most recently published studies in 2016. The plot showed that after the first
    initial reports, the overall summary estimates stabilized with estimates in the range of 1.2 to
    1.25 over the last 25 years even as more and more data accrued from additional published
    studies.
           These quantitative analyses indicate that it is unlikely that there is publication bias in the
    talc and ovarian cancer literature (i.e., the analyses do not suggest that studies that found talc
    use to be a risk factor for ovarian cancer were more likely to be published than those that
    found no association). Furthermore, from a qualitative perspective, it is also unlikely that there
    is a substantial risk for publication bias. Given the considerable public health interest in the risk
    for ovarian cancer associated with a widely-used cosmetic product, it is probable that any well-
    designed and conducted study that addressed this question would be published, even if it had
    null findings. Notably, one of the most recent studies, the Sister Study,24 was published even
    though it found no increased risk for ovarian cancer associated with talc use.
           While the overall conclusions from the meta-analysis and pooled analyses are quite
    consistent, with an overall statistically significant estimate of the relative risk in the range of
    approximately 1.2 to 1.3, it is important to consider possible reasons for heterogeneity of the
    estimates between individual studies.
           Among the individual studies that have examined the association between talc use and
    ovarian cancer, the majority have been case-control studies, with only three prospective cohort
    studies addressing this research question. The meta-analysis by Berge, et al.51 noted that the
    summary relative risk was driven by the stronger associations observed for case-control studies


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    (relative risk = 1.26 (95%CI 1.17 – 1.35) than for cohort studies (relative risk = 1.02 (95% CI 0.85
    – 1.20), which leads one to try to understand possible reasons for the differences by study
    design and to consider the relative advantages and disadvantages of the different study
    designs, specifically in relation to the study of talc and ovarian cancer. While the cohort studies
    do not show a statistically significant association for ever use of talc and ovarian cancer overall,
    the recent meta-analysis by Penninkilampi and Eslick56 reported a statistically significant
    association with the invasive serous subtype of ovarian cancer, which is both the most common
    subtype and the one with the worst prognosis.
           Case-Control Studies – Strengths and Weaknesses: Case-control studies, which are very
    commonly used in cancer epidemiology, have particular advantages for studying a relatively
    uncommon cancer like ovarian cancer, which has an annual incidence (number of new cases) in
    the United States of approximately 11 cases per 100,000 women.138 In this study design,
    women with ovarian cancer (the case group) are identified by the research team, typically
    through a cancer registry, shortly after receiving their diagnosis. A control group of women who
    do not have the disease are also identified and recruited for the study. Both the cases and the
    controls provide information on their past exposure history. In a typical case-control study, the
    study participants complete an extensive questionnaire focusing on a broad range of exposures
    that are hypothesized to either increase or decrease the risk for cancer. In regard to ovarian
    cancer, a typical questionnaire will include questions on demographic characteristics,
    reproductive characteristics like pregnancy and contraception, medical characteristics, family
    history of cancer and lifestyle characteristics such as dietary factors, smoking history, physical
    activity and talc use. Notably, some of the factors queried about are expected to increase risk
    (e.g., family history of ovarian or breast cancer, estrogen use during menopause, talc), whereas
    others are associated with reduced risk (e.g., oral contraceptive use, pregnancies).
           One major advantage of a case-control study is that it is possible to identify and recruit a
    large number of cases within a relatively short timeframe. To illustrate this point, I will use the
    example of AACES, the case-control study that my colleagues and I initiated in 2010 to study
    ovarian cancer in African American women and which was the source of the data we used for
    our 2016 paper on talc and ovarian cancer.1,13 We have enrolled more than 600 women with


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    ovarian cancer and more than 700 control women over a period of approximately 6 years,
    making it by far the largest study of ovarian cancer in African American women. When the grant
    application was originally submitted to the National Cancer Institute, one reviewer expressed
    the opinion that a cohort study would be preferable to the case-control design we proposed. In
    our response to the review, we pointed out that a prospective cohort study was not feasible for
    studying ovarian cancer in this population if we hoped to obtain meaningful information in a
    reasonable timeframe. The Black Women’s Health Study, a large prospective cohort study,
    enrolled approximately 60,000 women starting in 1995 with the goal of studying a wide variety
    of health outcomes in this population.(https://www.bu.edu/bwhs/) In regard to ovarian cancer,
    after 18 years of follow-up, only 115 cases of ovarian cancer had been diagnosed among
    women in the cohort.139 Although a cohort of 60,000 women is a very large epidemiologic
    cohort, it is still inadequate to study a relatively uncommon disease like ovarian cancer in a
    time-efficient manner. We successfully made the argument to the reviewers that a case-control
    study was the only feasible way to investigate the etiology of ovarian cancer in a timely manner
    in the African American population. This example illustrates why it is to be expected that the
    majority of the epidemiologic studies of ovarian cancer would be case-control studies.
           Although case-control studies are commonly used in epidemiologic studies of cancer,
    there are potential biases associated with this study design, including selection bias and recall
    bias. In this study design, the investigator must select a control group of individuals without the
    disease being studied as a comparison group to determine the relative frequency of the
    exposures in the case group as compared to the control group. The goal of selecting a control
    group is to identify a group that is representative of the population from which the cases arose.
    This is often stated in textbooks as if someone in the control group were to develop the disease
    being studied, s/he would have been selected as a case for the study. There are many possible
    strategies for identifying and recruiting population-based controls, including the use of town
    registry books,25,50, telephone recruitment through random digit dialing 13,25,29, neighborhood
    recruitment,30 driver’s license records 25 and electoral rolls.123 In hospital-based case-control
    studies, controls are typically selected from other hospitalized patients, with different studies




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    applying different criteria for eligible diagnoses among the controls, including other cancer
    diagnoses or specific non-cancer diagnoses. 36,43,46,49,122
           Among the studies included in the recent meta-analyses, six were hospital-based case-
    control studies.36,43,46,48,49,122 The individuals that comprised the control group varied between
    these studies including patients with non-gynecologic malignancies,36 patients treated for
    conditions other than gynecologic or malignant diseases,122 patients treated for conditions
    other than those related to reproductive history or oral contraceptive use,46 patients treated
    for conditions other than gynecologic, psychiatric, or malignant diseases or pregnancy,49 both
    hospital patients and population-based controls 48 and hospital visitors.43 While the use of
    hospital controls may be efficient, concerns are often raised as to whether the controls are
    representative of the population from which the cases arose in terms of the exposures they
    experienced or their underlying risk for cancer. This is a particular concern with the study by
    Wong, et al, 36 which is the largest of the hospital-based case-control studies and one that
    found no association between talc use and ovarian cancer (OR=0.92, 95% CI 0.24-3.62). The
    control group in this study was “female patients treated for non-gynecologic malignancies
    during the same period”. Standard epidemiologic textbooks (e.g., Rothman, Modern
    Epidemiology140) state that controls should be selected from the same source population or
    study base that gives rise to the cases. It is difficult to make the argument that other cancer
    patients represent the source population from which the ovarian cancer cases arose, which
    suggests that this was a poor choice of a control group that could have led to biased findings.
           Another of the hospital-based studies, the study by Tzonou et al.43 which reported a
    relative risk of 1.05, also had a significant limitation. This study was conducted in Greece, and
    the overall prevalence of talc use in the study population was 3.5%. Given the small sample size
    and the low prevalence of exposure, this population was ill-suited to study the relation
    between talc use and ovarian cancer.
           As noted in the meta-analysis by Penninkilampi and Eslick, 56 the hospital-based studies
    were older (published before 2000) and with the exception of the Wong study 36, all were
    smaller studies that included fewer than 200 cases. The summary odds ratios from the hospital-
    based studies was lower but not significantly different than the summary odds ratio from


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    population-based studies (OR 1.22 versus 1.33, respectively),56 a result that is not surprising
    given the important limitations in some of the hospital-based studies.
            While there is no ideal method for control selection, arguably population-based control
    recruitment is more likely to result in a control group that is representative of the population
    from which cases arose. All of the larger case-control studies that investigated talc use and
    ovarian cancer (i.e., those with more than 500 cases) were population-
    based,13,23,25,29,30,33,42,123,137 which should have minimized selection bias.
            Recall Bias: Recall bias is another possible bias in case-control studies. Recall bias is
    defined as systematic error due to differences in accuracy or completeness of recall of prior
    events or experiences.134 It is a concern with case-control studies because information on
    exposures is obtained through interviews or questionnaires completed after the cases have
    already been diagnosed with the disease. It is thought that people affected with a disease may
    have given more thought to possible causes of that disease and have more accurate recall of
    risk factors than a person serving as a control in the study.
            A distinction is made between recall bias, which arises from cases recalling exposures
    differently than controls, and inaccurate recall of an exposure that is difficult to remember with
    precision. Recall bias, which is considered differential misclassification between cases and
    controls, can result in either an overestimate or underestimate of the true relative risk.
    Inaccurate recall that occurs to a similar degree in cases and controls is considered non-
    differential misclassification, and for a dichotomous outcome (e.g., ever vs. never use of talc)
    will typically result in an underestimate of the true relative risk. An exposure like talc use,
    especially when assessing use over many years, is clearly one that is subject to a certain amount
    of inaccurate recall. However, inaccurate recall alone would not result in the consistently
    increased relative risks observed in the vast majority of the case-control studies of talc use and
    ovarian cancer.
            Therefore, recall bias, which theoretically could result in a biased estimate of the
    relative risk, must be considered. Situations where recall bias would be considered a particular
    threat to a study’s validity would be: 1) the exposure of interest is one that could be considered
    sensitive (e.g., illicit drug use, induced abortions), 2) the study hypotheses are known to the


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    study subjects or interviewers, or 3) there has been considerable media attention focused on
    an exposure.
           In regard to the first situation, genital talc use, while addressing a rather personal topic,
    would not be considered a particularly sensitive topic. One would not expect that women
    would be disinclined to report its use out of embarrassment or a desire to report what is
    perceived to be more socially acceptable as has been reported for exposures like induced
    abortion.141
           As to the second point regarding the blinding of the interviewers and the study
    participants to the study hypotheses, this is standard practice in epidemiologic research. In
    addition, in the typical case-control study, the investigators are collecting a tremendous
    amount of questionnaire data to address numerous hypotheses and there is not a particular
    focus on a single exposure. As an example, the questionnaires from AACES and the North
    Carolina Ovarian Cancer study each took approximately 1 - 1.5 hours to administer and
    collected information on a large number of exposures including pregnancy history,
    contraceptive and hormone use, family history of cancer, medical history, psychosocial factors
    and lifestyle factors. Data were collected on factors that were expected to be associated with
    increased risk (e.g., family history of cancer, history of infertility, menopausal hormone use, talc
    use) as well as those expected to be associated with decreased risk (e.g., oral contraceptive use,
    pregnancies, physical activity). Given the broad range of hypotheses and the numerous
    exposures that the cases and controls were queried about and the fact that neither cases nor
    controls were told in advance of the interview about the specific topics that would be covered,
    it is unlikely that the women with ovarian cancer would have given more thought to their talc
    use resulting in substantial systematic over-reporting of talc use among cases. This is supported
    by studies of other cancers that used empirical data to assess the likely effect of recall bias on
    relative risk estimates when investigators examined numerous exposures and concluded that
    recall bias did not consistently lead to increased estimates of the relative risk. 142-144
           Further evidence that recall bias in case-control studies does not inevitably lead to an
    overestimate of the association between a risk factor and exposure comes from a recent review
    of meta-analyses of observational studies by Lanza et al.145 This review analyzed a random


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    sample of 23 meta-analyses of observational studies addressing different exposure/disease
    associations published in 2013 and compared findings from case-control studies and cohort
    studies within individual meta-analyses to determine if conclusions from case-control studies
    were significantly different from those from cohort studies. The authors concluded that there
    was no significant difference in effect estimates between the case-control and cohort studies,
    suggesting that the study design did not have an important impact on the conclusions of the
    meta-analyses. Although recall bias theoretically could lead to an overestimate of the
    association between a risk factor and disease, the empirical evidence indicates that in practice
    the effect is small in most situations.
            The third situation of the effect of media attention on an exposure deserves
    consideration as there has been reporting in the lay press in recent years about lawsuits
    involving talc and ovarian cancer. This concern is not relevant to the vast majority of the studies
    as virtually all of the data collection in the epidemiologic studies of talc and ovarian cancer
    occurred prior to such litigation. However one notable exception is AACES,13 which began
    enrollment in 2010 and included data collected up through August, 2015. At the
    recommendation of the reviewer who critiqued the manuscript when it was submitted for
    publication, our group examined the association between talc and ovarian cancer stratified by
    the date of enrollment. The odds ratio for genital talc use and ovarian cancer was 1.44 for the
    overall study population and 1.19 for the participants interviewed before 2014. These data do
    give some credence to the idea that recall bias could have led to the higher odds ratios when
    including women interviewed during the time when there was more media attention focused
    on this exposure, however the fact that the association was attenuated but not eliminated
    when considering the full study population suggests that the association is not due entirely to
    recall bias.
            Another way to approach the issue of whether recall bias is a likely explanation for the
    association between talc use and ovarian cancer is to consider whether the association was
    observed for other gynecologic cancers. The data are admittedly very sparse in this regard,
    however the only published case-control study of talc use and endometrial cancer reported an
    odds ratio of 0.88 (95% CI 0.68 – 1.14).67 A study of ovarian cancer that was conducted by


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    several of the same investigators as the endometrial cancer study used similar methodology,
    was conducted in a similar timeframe (early to mid-2000s) in the same geographic region
    (Australia) and reported a similar prevalence of talc use in the study population. In contrast to
    their endometrial cancer study in which the investigators observed a non-significant inverse
    association with talc use, the investigators found a statistically significant increased risk for
    ovarian cancer associated with talc use (odds ratio=1.17, 95% CI 1.01 – 1.36).123 While this
    comparison clearly needs to be interpreted cautiously because there is only a single published
    case-control study of talc use and endometrial cancer, it does provide evidence to suggest that
    the association between talc and ovarian cancer observed in most case-control studies is not
    due simply to recall bias.
           Cohort Studies – Strengths and Weaknesses: In contrast to the case-control study, the
    prospective cohort study design is less susceptible to the selection bias and recall bias described
    above. Women who develop cancer and the comparison group are from the same population
    (the cohort) so the bias that could arise from improperly selecting a control group is minimized.
    Similarly, because the exposure information is collected before the diagnosis of cancer, one
    would not expect that recall of exposures would differ between the women who went on to
    develop cancer and those who remained free of cancer.
           Despite these advantages, cohort studies do have some important disadvantages in
    relation to studying cancer etiology. The first is that even with large cohorts, it takes many
    years for a reasonable number of cancers to develop within the cohort, especially for an
    uncommon cancer like ovarian cancer. When considering the statistical power of a study to
    assess the association between an exposure and a disease, the size of the cohort is not the only
    driver of study power. A more critical consideration is the number of cases that develop within
    the cohort, which in turn is dependent on the length of follow-up of the larger cohort.
    Therefore, a large cohort with a relatively short duration of follow-up during which time a small
    number of cases developed among cohort will have low statistical power. In contrast, the total
    sample size of a case-control study is likely to be much smaller than a cohort study, but if it has
    a larger number of cases, it will have greater statistical power than the cohort study.




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           Among the three cohort studies included in the most recent meta-analysis,56 the Nurses’
    Health Study reported 307 cases in a cohort of 78,630 women after approximately 14 years of
    follow-up;34,146 the Women’s Health Initiative reported 429 cases in a cohort of 61,576 women
    after a mean of 12.4 years of follow-up27 and the Sister Study reported 154 cases in a cohort of
    41,654 women after a mean of 6.6 years of follow-up.24 Even with tens of thousands of women
    in these studies, the number of ovarian cancer cases within each cohort is smaller than the
    number of ovarian cancer cases in many of the case-control studies. In particular, the number
    of cases within the Sister Study is smaller than the number of cases in any of the case-control
    studies published since 1993. As described in a commentary by Narod81, the lack of a significant
    overall association between ever use of talc and ovarian cancer in the cohort studies may be
    due to the fact that the despite the large size of the cohorts, the studies were not adequately
    powered to detect a relative risk of approximately 1.2.
           Another limitation of cohort studies that is of greater relevance to the question of talc
    use and ovarian cancer is information bias related to exposure assessment. Cohort studies are
    typically designed to examine many different outcomes that develop within the study
    population over time. The Nurses’ Health Study (http://www.nurseshealthstudy.org/selected-
    publications) and Women’s Health Initiative (https://www.nhlbi.nih.gov/whi/references.htm)
    have reported on many different outcomes including, but not limited to, multiple types of
    cancer, cardiovascular diseases, fractures, gastrointestinal conditions and mental health. In
    contrast, case-control studies focus on a single disease, such as ovarian cancer. Because cohort
    studies are designed to examine diverse outcomes, the questionnaires must obtain data on risk
    factors that are relevant to a wider variety of diseases. To keep the questionnaire to a
    manageable length, a cohort study will typically query about more risk factors but in less detail
    than a case-control study that is focused on a single disease. This is the case with the talc
    questions, with the cohort studies collecting less detailed information on talc use, especially in
    regard to duration and frequency of use, than most of the case-control studies.
           It is also worth noting that cohort studies are also subject to recall errors, especially
    when assessing exposures that began early in life. When the cohort studies assessed talc use,
    they were asking women to recall their past use of the products up to the point of interview,


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    similar to how exposure is assessed in the case-control studies. In the Nurses’ Health Study, the
    cohort members were aged 36 to 61 at the time talc use was assessed in 1982, and in the
    Women’s Health Initiative, the mean age at enrollment was 63. Because many women initiate
    use of talc at a young age, the study participants would have been recalling exposures over
    several decades, and it stands to reason that there would be some errors in recall. Therefore, in
    cohort studies as in case-control studies, reported talc use was subject to some degree of
    inaccurate recall. This likely resulted in non-differential misclassification of the exposure, which
    usually results in an underestimate of the true relative risk.
           Another concern with exposure assessment in cohort studies that is highly relevant to
    the question of talc use in relation to ovarian cancer is that risk factor information can change
    over time. If the questionnaire data that were collected when the cohort was assembled do not
    include a comprehensive exposure history to that time point and are not updated over time,
    the information may not reflect the complete exposure history of an individual in the time
    before she was diagnosed with cancer. This could result in some talc users being incorrectly
    identified as non-users or in incorrect estimates of the duration of exposure.
           Incomplete exposure assessment is a potential problem for each of the three cohort
    studies that have reported on talc use and ovarian cancer, however it is a particular issue for
    the Sister Study 24 which reported a non-significant inverse association between talc use and
    ovarian cancer (relative risk of 0.73, 95% CI 0.44 – 1.20). Each of the cohort studies assessed
    talc use at a single point in time and did not update the information at subsequent follow-up
    interviews. The Nurses’ Health Study collected limited information on talc exposure in 1982,
    and did not collect additional data on talc use in subsequent questionnaires between 1982 and
    when the results were described in papers published in 2000 34 and 2010. 146 Similarly, the
    Women’s Health Initiative collected information on talc exposure when the women were
    enrolled into the study and did not obtain updated information during the years the cohort was
    followed. Therefore, any use of talc after that single exposure assessment was not captured,
    and there would be a certain amount of misclassification of the exposure in both the women
    who subsequently developed ovarian cancer and those who did not. If the misclassification was
    non-differential, meaning that the degree of misclassification was similar between the women


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    who developed ovarian cancer and those who did not, the predicted effect would be a bias
    towards the null.140 In other words, non-differential misclassification of talc exposure (as a
    dichotomous variable) would mean that the observed relative risk was not as strong as it would
    have been if there had been not misclassification.
            The degree of misclassification of exposure in the Sister Study 24 is apparently much
    greater than in the other cohort studies. Use of talc was assessed through questions about
    personal care products used only in the 12 months prior to enrollment, including genital talc
    use in the form of powder or spray applied to a sanitary napkin, underwear, diaphragm, cervical
    cap or vaginal area. This assessment is essentially a “snapshot” of talc use during a short period
    of time, capturing neither the cumulative use of talc up to that point nor any subsequent use of
    talc after the baseline interview. Not surprisingly, the reported prevalence of talc use was quite
    low in this study. The 14% prevalence reported in the Sister Study was markedly lower than the
    other two cohort studies (40.2% in the Nurses’ Health Study 34 and 52.6% in the Women’s
    Health Initiative 27) as well as in nearly all of the case-control studies. In addition to
    underestimating the prevalence of talc use in their population, their assessment of talc only
    during the year prior to enrollment probably did not capture exposure during the most relevant
    period of the woman’s life. As the authors acknowledged in their paper, if latency (the time
    between exposure and diagnosis of cancer) is 15 to 20 years, the exposure assessments do not
    accurately reflect the period of risk. The limitations in the assessment of talc use raise serious
    questions about the validity of the findings from the Sister Study for this particular exposure. It
    is impossible to predict the direction or the magnitude of the association between talc use and
    ovarian cancer if the Sister Study had conducted a more complete assessment of the exposure.
            A further limitation of the exposure assessment in the Nurses’ Health Study and
    Women’s Health Initiative is that neither assessed both the frequency and duration of use of
    talc. This additional limitation has ramifications for assessing dose-response gradients, which
    will be discussed in a later section of this report.
            While cohort studies are often considered a stronger study design for assessing causal
    relationships between an exposure and outcome, this is not absolutely true for all exposures
    and outcomes. Rather than making a judgement about the quality of evidence based solely on


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    study design, it is important to consider study design from a more nuanced perspective and
    consider whether a cohort or case-control study provides the most optimal assessment of the
    exposure and outcome. As described above, each of the three cohort studies that has
    addressed talc use and ovarian cancer risk had substantial limitations in their assessment of talc
    use within their study population, which weakens their conclusions that talc use is not
    significantly associated with ovarian cancer risk.
           In addition, the Sister Study,24 which is a study that was designed primarily to examine
    breast cancer outcomes among women who had a sister with breast cancer, the small number
    of ovarian cancer cases despite the large size of the cohort and the inadequate assessment of
    talc exposure arguably make it a much weaker study than some of the larger, well-designed
    population-based, case-control studies. Notably, this study, with a relative risk estimate of 0.73
    (95% CI 0.44 – 1.20) 24 could be considered an outlier as it is only one of two studies that
    reported a relative risk substantially less than 1, the other being Hartge’s 1983 hospital-based
    case-control study.49
           Uncontrolled Confounding in Observational Studies: Uncontrolled confounding is a
    potential concern in both case-control and cohort studies since they are observational studies.
    If a factor is associated with talc use and is a risk factor for ovarian cancer and is not accounted
    for in the statistical analysis, it could confound the association between talc use and ovarian
    cancer. In other words, if there is confounding, the increased risk observed with talc use could
    be due to the failure to account for the other risk factor. Vaginal douching, which was found to
    be associated with ovarian cancer risk in the Sister Study, was examined as a potential
    confounder of the association between talc use and ovarian cancer.24 Their analyses showed
    that adjusting for douching using statistical modelling had a negligible effect on the association
    between talc use and ovarian cancer, providing no evidence of confounding. Other studies have
    either found an association between talc and ovarian cancer when controlling for douching 44 or
    found no association between douching and ovarian cancer,49 thus the available data do not
    support that douching is a confounder of the association between talc and ovarian cancer.
    Although uncontrolled confounding is a theoretical possibility, to my knowledge, in the more




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    than 30 years of research on talc and ovarian cancer no such confounder has been identified
    that could account for the increased risk associated with talc use.
           Overall, the meta-analyses indicate a high level of consistency in findings, especially
    from the case-control studies. Although weaker associations were observed in the cohort
    studies, the most recent meta-analysis did report statistically significant associations with
    invasive serous ovarian cancer in the cohort studies as well as in the case-control studies that
    reported on histologic subtype.56 As a whole, the weaker associations observed for the cohort
    studies could be plausibly explained by limited methods used for talc exposure assessment, the
    limitations described above, including the most recent cohort study by Gonzalez, et al.,24 which
    will have the predicted effect of biasing the results towards the null (i.e., showing an effect that
    is weaker than the true effect).
           Taken as a whole, the overwhelming statistical strength of these studies, whose results
    are replicated over decades across a wide variety of populations and investigators, further
    supported by consistent meta-analysis, weighs very heavily in favor of a causal inference.


    Temporality
           Temporality is the only consideration that is an absolute criterion when making a
    judgment of causality. This criterion states that a cause (the exposure) must precede the effect
    (the outcome of interest) in time. Both the cohort and case-control studies that examined talc
    use in relation to ovarian cancer assessed talc exposure that preceded the diagnosis. In cohort
    studies, the questionnaire data are obtained before any women in the cohort have a diagnosis
    of ovarian cancer, and in the case-control studies, women with ovarian cancer are asked to
    report on exposures that occurred before their diagnosis and controls are asked to report on
    exposures that occurred in a similar time frame. Therefore, there is no question that the
    exposure assessment captured talc exposure that preceded the diagnosis of ovarian cancer.
    Nevertheless, this factor is not highly weighted; while its absence would be fatal to a causal
    inference, its presence is not particularly compelling support for causation.


    Biological Gradient


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           Associations that show evidence of a biological gradient, or dose-response relationship,
    are considered to have stronger evidence of causality. While the inconsistencies in reported
    dose-response trends for talc and ovarian cancer have been noted in some meta-analyses and
    reviews, e.g.,51,54 there are several considerations about this exposure that should be taken into
    account.
           First, for an association like talc and ovarian cancer, the dose that is most relevant is the
    amount of talc that actually reaches the fallopian tubes and ovaries. The epidemiologic data
    rely on measures of external application as a surrogate of the level of exposure, not the actual
    exposure in the upper genital tract.
           Second, there is some inherent inaccuracy in the measurement of the exposure, as the
    participants in most studies were asked to recall their duration and/or frequency of use over
    many years.
           Third, the dose of talc exposure has been assessed differently across the studies. Some
    studies assessed only duration of use (months or years), some assessed only frequency of use
    (e.g., number of days per month) and some used measures of both duration and frequency to
    come up with a measure of total dose (estimated lifetime number of applications). The
    limitations of relying on duration or frequency alone as a measure of talc dose are apparent.
    For certain exposures, oral contraceptive use for example, duration of use is a good measure of
    total exposure because the pills are taken once daily. In contrast, patterns of talc exposure may
    be more inconsistent. Some women may use it daily, others only during their menstrual
    periods, others may apply it only during certain times of the year and others may have still
    different patterns of use. Measures of exposure based only on duration of use or only on
    frequency of use could result in inaccurate estimates of total exposure and obscure a dose-
    response relationship.
           Some of the meta-analyses have cited the lack of a clear dose-response relationship as
    an argument against talc being a cause of ovarian cancer, and when considering measures of
    either years of talc use or number of applications of talc per month, there is considerable
    heterogeneity across studies. When considering the studies that examined dose-response
    associations considering both dose and frequency to estimate the total number of applications


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    of talc,13,14,25,29,30,32,35,41, the majority 13,14,25,30,32 did find significant trends of higher risk with
    more lifetime applications of talc.
            Terry, et al. 14 noted in the pooled analysis of eight case-control studies that the trend
    for increasing risk for non-mucinous ovarian cancers with an increasing number of genital
    powder applications was significant when non-users were included in the analysis, but the
    trend was not significant when the analysis was restricted to ever users. The authors therefore
    concluded that the significant trend was largely due to the comparison of women who had ever
    used talc versus those who had never used it, suggesting that the dose-response relationship
    was not a simple linear increase in risk with greater exposure to talc.
            While there is evidence of a dose response relationship in the majority of the studies
    that considered both frequency and duration of use (i.e., total number of applications), these
    observations are less consistent than the overall association between talc and ovarian cancer.
    There are several possible reasons why not all studies observed dose-response relationships,
    even when an overall association was observed in the study. First, there is likely to be greater
    inaccuracy in the recall of duration of use as compared to ever/never use, which would tend to
    obscure a dose-response relationship. Second, when “ever-users” were stratified into duration
    of use categories, it often resulted in strata with small numbers of women, resulting in less
    stable relative risk estimates within the duration categories. Third, as noted by Terry, et al.14,
    the dose-response relationship may not be a simple linear trend. In many of the studies, even
    the women in the lowest exposed category had hundreds of episode of talc exposure. Because
    there could have been considerable exposure even among the women in the “low” exposure
    categories, greater exposure may not have resulted in substantially increased risk and thus a
    linear trend may not have been apparent.
            Overall, biological gradient was given lesser weight in my assessment of the literature,
    based on: 1) some of the studies that assessed a dose-response relationship evaluated only
    duration or frequency of use and not total number of applications, 2) duration and frequency of
    use are subject to more misclassification than ever use of talc, 3) small sample sizes within
    strata lead to unstable estimates, and 4) there is the possibility of a non-linear dose-response
    relationship. Nonetheless, even with these limitations, there was still evidence of a dose-


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    response relationship in the majority of studies that evaluated it based on the total number of
    applications.


    Biologic Plausibility
              Biological plausibility refers to whether there is a reasonable biological mechanism
    through which the exposure could lead to the disease. Hill is quick to point out that biological
    plausibility depends on the current state of scientific knowledge. Specifically, Hill wrote “It will
    be helpful if the causation we suspect is biologically plausible. But this is a feature I am
    convinced we cannot demand. What is biologically plausible depends upon the biological
    knowledge of the day.” It is clear that from these statements that the consideration of
    biological plausibility does not require that that there is a proven biological mechanism to make
    a judgment of causality between an exposure and disease. Therefore, for this Hill consideration,
    a scientist looks for biological evidence that might explain the associations that are observed in
    the epidemiologic studies. In other words, one has to see whether the observed association
    “makes sense” biologically. In this case, I have considered both clinical plausibility and biological
    plausibility. Both of these show that the association seen in the epidemiologic studies “makes
    sense.”
              It is probably safe to say that our understanding of the complex biological processes that
    lead from exposure to disease is incomplete for all cancers. In some instances, the precise
    biological mechanisms by which an exposure leads to disease remain unclear and in others,
    some mechanisms are well-established but there is not a complete understanding of why some
    exposed individuals develop the disease and others do not. An example of the former is alcohol
    consumption as a cause of breast cancer. While alcohol is considered by IARC to be an
    established cause of breast cancer, 128 recent publications still describe the association as one in
    which the exact biological pathways are unclear, even though several possible mechanisms
    have been hypothesized (i.e., metabolism to acetaldehyde or effects on estrogen levels).147,148
    An example of the latter is smoking and lung cancer. Mechanisms of carcinogenesis from
    constituents of tobacco smoke have been well-described,149 however it remains unclear as to
    why some smokers are more susceptible to developing lung cancer. In short, it is important to


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    recognize that biological plausibility depends on the current state of knowledge and may evolve
    over time as new evidence emerges.
           When considering the likelihood of talcum powder products causing ovarian cancer,
    there is robust data that leads to the conclusion that there are biologically plausible
    mechanisms by which this exposure could lead to ovarian cancer. Specifically, 1) talcum powder
    products can migrate from the perineum through the genital tract to the ovaries and fallopian
    tubes, 2) talcum powder products can become imbedded in the ovarian tissue; 3) talcum
    powder products can induce an inflammatory response, and 4) the inflammatory response can
    result in increased oxidative stress and expression of cytokines, mutagenesis, and cell
    proliferation.
           Pathology studies have demonstrated that particles may ascend the female genital tract
    from the vagina to the fallopian tubes and ovaries,150,151 and talc particles have been identified
    in ovarian tissue.71,76,78,79 In fact, the FDA’s 2014 response to the Citizen’s Petition requesting a
    cancer warning label on cosmetic talc products states that “the potential for particulates to
    migrate from the perineum and vagina to the peritoneal cavity is indisputable”.152 Therefore, it
    is highly plausible that application of talcum powder products to the genital area can result in
    exposure to the ovaries.
           It is also plausible that inhalation of talc products could also be a route of exposure
    leading to cancer. Studies of asbestos exposure indicate that inhalation of asbestos fibers can
    result in exposures to the peritoneal tissue, through transport through the lymphatic system
    and/or blood.153-155 There is strong evidence that such exposure can result in cancer, most
    notably mesothelioma. Inhalation of talcum powder products could result in similar peritoneal
    exposure.
           Given the evidence that external application of talcum powder products can reach the
    ovaries either through upward migration through the genital tract or through inhalation and
    subsequent transport through the lymphatic system and/or blood, there are plausible biological
    pathways by which talc could lead to the development of ovarian cancer.
           It is well-established through several lines of evidence that talc can cause inflammation.
    The inflammatory properties of talc are exploited for clinical use in talc pleurodesis, a treatment


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    for malignant pleural effusions or pneumothorax that involves instillation of talc into the
    pleural space.(https:www.uptodate.com/contents/talc-pleurodesis) The resultant inflammation
    and fibrosis result in adhesion of the layers of the pleura, closing the pleural space. The
    inflammatory properties of talc are also evident in that chronic or acute exposure to talc
    through inhalation which can result in pulmonary talcosis, a chronic inflammation of the lower
    respiratory tract.156,157 Animal studies also confirm that talc causes inflammation, as
    experiments in rats treated with intra-vaginal or perineal talc showed inflammatory changes in
    the genital tract.70 Although neoplastic changes were not observed in this experiment, this
    could be explained by the small number of animals (n=7) in each group or the duration of the
    experiment (3 months).
           Inflammation has been identified as one of the hallmarks of cancer, with both extrinsic
    and intrinsic pathways described.158,159 Talc would be characterized as being involved in an
    extrinsic pathway, in which an exposure or condition results in chronic, non-resolving
    inflammatory responses. Chronic inflammation can lead to a cascade of cellular events that
    could result in damage to DNA, increased cell division and generation of inflammatory
    mediators.
           Recent work by Saed, Fletcher, et al. 160,161 describes the role of oxidative stress in the
    pathogenesis of ovarian cancer and the effects of talc on the oxidative state of ovarian cancer
    cell lines. Oxidative stress results when the balance between oxidant and anti-oxidant enzymes
    and molecules in cells is altered, resulting in an excess of reactive oxygen species or reactive
    nitrogen species. Oxidative stress, which can result from numerous factors including exposure
    to carcinogens, infection and chronic inflammation, has been shown to affect the initiation,
    promotion and progression of several types of cancer. Saed, et al. have reported that talc can
    generate a pro-oxidant state in both normal ovarian epithelial cells and ovarian cancer cells.
    Exposure to talc resulted in an increase in mRNA levels of certain pro-oxidant enzymes and a
    decrease in the mRNA of several anti-oxidant enzymes, suggesting a possible cellular
    mechanism by which exposure to talc could contribute to the development of ovarian cancer.
           There is also evidence in the medical literature that talc products contain additional
    constituents that are known ovarian carcinogens, particularly asbestos.162-166


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           Asbestos is one of the most established carcinogens in our environment, and is
    associated with a variety of cancers including mesothelioma, lung, larynx and ovarian.167,168
    IARC has stated that “a causal association between exposure to asbestos and cancer of the
    ovary was clearly established,” based on strongly positive cohort mortality studies of women
    with occupational exposure to asbestos as well as studies of women with environmental
    exposure to asbestos.169 The Occupational Safety and Health Administration has stated that
    “there is no safe level of asbestos exposure for any type of asbestos fiber” and that asbestos
    exposures as short as a few days have resulted in cancer (mesothelioma), indicating that even
    low levels of exposure may be carcinogenic. (https://www.osha.gov/SLTC/asbestos/)
           Although it has been often stated that talc products manufactured after 1976 are
    asbestos-free, evidence from published scientific reports, 57,162 analyses performed on samples
    manufactured and packaged at different time points after 1976,170-173 and internal documents
    and testimony from the defendants demonstrate that statement is inaccurate.174,175 There is
    evidence that products manufactured after 1976 are not asbestos-free. Studies from Longo, et
    al. show that talc products can contain asbestos and talc containing asbestiform fibers (e.g., talc
    occurring in a fibrous habit).170,171 Therefore it is reasonable to conclude that women who
    regularly used talc products, both before and after 1976, were likely exposed to asbestos and
    talc containing asbestiform fibers through their use of these products.
            Analyses of talcum powder products also demonstrate the presence of other
    constituents such as chromium and nickel which are well established carcinogens, and cobalt
    which is considered a possible carcinogen.169,174 I have also reviewed a report analyzing the
    150+ known fragrance ingredients in talcum powder products, many of which have been
    determined harmful to humans.176 The presence of these substances provide further evidence
    that exposure to talc products could result in cancer
           It is also plausible that even among women recently diagnosed with ovarian cancer,
    exposure to the pre-1976 talc products, which are generally understood to have contained
    asbestos and talc containing asbestiform fibers, increased their risk for ovarian cancer. It is well-
    established that many cancer risk factors have a long latency, which the National Cancer
    Institute defines as “the time that passes between being exposed to something that can cause


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    disease and having symptoms”. Numerous examples of cancer risk factors with prolonged
    latency periods exist. For example, lung cancer typically is not diagnosed among cigarette
    smokers for several decades after initial exposure 177 and having severe sunburns during
    childhood is a risk factor for melanoma,178 which has a median age of diagnosis of 63 years. 135
             It has also been reported that the latency period between exposure to asbestos and
    mesothelioma (the cancer most strongly linked to asbestos exposure), ranges from 15 to more
    than 70 years.179,180 The median latency has been estimated at 22 to 32 years, with longer
    latency periods estimated for women than for men.179,180 Thus, it is not unreasonable to
    conclude that exposure to talc products early in a woman’s life could result in ovarian cancer
    decades later.
             Further, other established risk factors for ovarian cancer also demonstrate long latency
    periods. Oral contraceptive use and history of pregnancy are two of the factors that are most
    consistently reported in association with ovarian cancer (both of which reduce risk). Although,
    these are “exposures” that typically occur when women are in their teens, twenties or thirties,
    the median age of diagnosis of ovarian cancer is 61 years, suggesting that events and exposures
    from early in a woman’s reproductive life can influence her risk for ovarian cancer decades
    later.
             The totality of this evidence indicates that there are plausible biological pathways by
    which use of talc products could lead to ovarian cancer. There is clear evidence that external
    applications of these products can result in exposure to the ovaries, through upward migration
    through the genital tract or inhalation exposure. Once exposed, there are plausible biological
    mechanisms, by which talc itself or constituents of the talcum powder product could lead to
    carcinogenic transformation of ovarian cells. This includes credible evidence that talc products
    contain asbestos fibers, a known ovarian carcinogen, regardless of whether they were
    manufactured before or after 1976. While it is likely that advances in scientific knowledge may
    further refine our understanding of how talc exposure can lead to ovarian cancer, our current
    knowledge is adequate to conclude that there are plausible biological pathways leading from
    talc exposure to ovarian cancer.




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           I have considered the biologic plausibility that would support and detract from the
    hypothesis that talcum powder products can cause ovarian cancer. The more persuasive
    evidence is that talc can migrate to the ovaries through the genital tract and become imbedded
    in ovarian tissue. It is also plausible that talc could reach the peritoneal cavity through an
    inhalation route. Regardless of the route of exposure, it is clear that talcum powder products,
    including constituents like asbestos and fibrous talc, may cause an inflammatory response and
    oxidative stress that could lead to cell damage. These biologically plausible mechanisms are a
    persuasive explanation for the consistent increased risk we have observed in the epidemiologic
    studies. Simply put, the observed association “makes sense” biologically. Along with
    consistency and strength, I considered this a strong factor favoring a causal inference.


    Specificity
           As described by Hill,121, if specificity exists between an exposure characteristic and
    disease, it provides strong evidence of causality. However, he also stated that “one-to-one
    relationships are not frequent …multi-causation of disease is generally more likely that single
    causation”. Clearly, ovarian cancer has multiple causes, with talc exposure among many known
    risk factors. From the standpoint of there being a “one-to-one relationship” between talc and
    ovarian cancer, there is not a high level of specificity. However, given that talcum powder
    products are particularly associated with epithelial ovarian cancer, especially serous ovarian
    cancer, it does support that it is a fairly specific relationship. This aspect was given only modest
    weight, because talc is one of many possible causes of ovarian cancer.


    Coherence
           It is recognized that the plausibility depends on the current state of biological
    knowledge. Knowledge of the biological mechanisms for ovarian carcinogenesis (and virtually
    any other disease) is incomplete and will continue to evolve as further research continues.
    Coherence, as described by Hill, means that, even if the knowledge of biology of the disease is
    not well-defined, the “data should not seriously conflict with the generally known facts of the
    natural history and biology of the disease”.121 Given the current state of knowledge of ovarian


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    carcinogenesis, the postulated mechanisms by which talc exposure leads to ovarian cancer do
    not conflict with the current state of knowledge on ovarian carcinogenesis. This aspect was
    given considerable weight as it is important that the overall evidence fit together in a coherent
    manner. Taking into account the plausible pathways by which talc products could reach the
    target tissue, the expected latency period between exposure and disease, and biological
    mechanisms that are consistent with our knowledge of carcinogenesis, the data are consistent
    with the natural history and biology of ovarian cancer.


    Experiment
           As described above, the epidemiologic data on talc use and ovarian cancer are from
    observational studies, therefore there are no clear cut experimental data on which a causal
    assessment can be made. Hill acknowledged that experimental data are often not available for
    the exposure/disease associations under study, but in some circumstances, experimental or
    semi-experimental evidence is available.121 For example, if a preventive action is taken to
    remove the exposure and the incidence of disease declines, there is strong support for a causal
    relationship. No such experimental evidence is available for talc use and ovarian cancer.


    Analogy
           The final viewpoint defined by Hill 121 is analogy, whereby evidence of an association
    with one risk factor would suggest that a similar risk factor could also plausibly be associated
    with the disease. Because this viewpoint is rather vague, it is often not incorporated into causal
    assessments. Nevertheless, while I did not weight it heavily, the similarity between asbestos
    and asbestiform talc – both of which are widely accepted as causing ovarian cancer – is
    supportive of this viewpoint.


    Conclusion
           Epidemiologic evidence linking genital talc use to ovarian cancer has been accruing since
    1982.50 As I evaluated this evidence, I considered the results from individual studies with
    different designs (case-control and cohort) as well as meta-analyses and a pooled analysis of


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    multiple case-control studies. In my evaluation of the data, I considered the strengths and
    weaknesses of individual studies, recognizing that there are advantages and disadvantages of
    both case-control and cohort studies for evaluating talc as a risk factor for ovarian cancer. I
    used the Bradford Hill framework as a guide for making my weight of the evidence assessment
    of whether there is evidence for a causal association between talc use and ovarian cancer.
           The epidemiologic evidence I evaluated was derived from more than two dozen studies
    conducted in many different settings. The vast majority of studies reported relative risks or
    odds ratios greater than one, indicating that women with ovarian cancer were more likely to
    have used talc products than women without ovarian cancer. Meta-analyses, which combine
    findings across multiple studies to come up with an overall estimate of risk that is more
    statistically robust, have consistently reported that there is a statistically significant increased
    risk for ovarian cancer among women who reported genital talc use. While meta-analyses have
    noted that the relative risk estimates from case-control studies have been larger than from
    cohort studies, limitations in all of the cohort studies could explain the weaker associations
    observed in these studies. It is also noteworthy that the most recent meta-analysis 56 reported
    significantly increased risks for invasive serous ovarian cancer, which is the most common
    subtype as well as the one with the worst prognosis, in both cohort and case-control studies.
           The epidemiologic studies that have examined talc use in relation to ovarian cancer risk
    have been conducted in very diverse populations, both within and outside the United States
    and in women of different race/ethnicities. The consistency of the findings across populations
    adds credibility to the findings of increased risk of ovarian cancer among talc users.
           The relative risk estimates in most studies and the summary relative risk estimates from
    the meta-analyses are of a magnitude (~1.25-1.30) that is comparable to other common
    exposures that are causally related to cancer (e.g., passive smoke exposure and lung cancer,
    oral contraceptive use and breast cancer, menopausal estrogen use and breast cancer,
    residential radon exposure and lung cancer). Additional evidence supportive of talc being an
    ovarian cancer risk factor are biologically plausible mechanisms based on inflammation
    pathways, oxidative stress and the presence of asbestos, asbestiform talc, and other known




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    carcinogens in talcum powder products. Evidence of a dose-response relationship exists in
    many of the studies that considered both duration and frequency of exposure.
             Based on the evidence in total, it is my opinion with a reasonable degree of scientific
    certainty that use of talcum powder products can cause ovarian cancer. I reserve the right to
    modify or refine my opinions based on additional scientific evidence that may emerge on this
    topic.




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    Additional Materials and Data Considered
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                            EXHIBIT A
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                                    Duke University Medical Center
                                                 Curriculum Vitae

                                        Date Prepared: October 2018


                                  Patricia Gripka Moorman, M.S.P.H., Ph.D.


    Primary academic department:                     Department of Community and Family Medicine
                                                     Duke University Medical Center

    Present academic rank and title:                 Professor with tenure, September 2014

    Date and rank of first Duke
    faculty appointment:                             July 1, 2000, Assistant Professor

    Medical licensure:                               N/A

    Date of birth:                                   December 19, 1957

    Place of birth:                                  Kansas City, Kansas, USA

    Citizen of:                                      United States of America



    EDUCATION

                          Institution                                   Year    Degree
     High School          Bishop Ward High School                       1975    Diploma
                          Kansas City, KS

     College              University of Kansas                          1980    B.S. with distinction,
                          Lawrence, KS                                          Pharmacy

     Graduate School      University of North Carolina – Chapel Hill    1989    M.S.P.H., Epidemiology
                          Chapel Hill, NC

                          University of North Carolina – Chapel Hill    1993    Ph.D., Epidemiology
                          Chapel Hill, NC




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    PROFESSIONAL TRAINING AND ACADEMIC CAREER
         Institution                                   Position/Title                        Dates

         Shalinsky Drugs, Kansas City, KS              Pharmacist                            1980-1981

         Community Pharmacy, Wrentham, MA              Pharmacist, Manager                   1981-1982

         Revco Drugs, Durham/Raleigh, NC               Pharmacist, Manager                   1983-1993

         Department of Epidemiology                    Graduate Research Assistant           1987-1993
         University of North Carolina - Chapel Hill    Teaching Assistant

         Burroughs Wellcome                            Epidemiology Research Associate       1988
         Research Triangle Park, NC                    Summer Intern

         Department of Epidemiology                    Research Assistant Professor          1994-1996
         Lineberger Comprehensive Cancer Center
         University of North Carolina - Chapel Hill

         Dept. of Epidemiology and Public Health       Associate Research Scientist          1997-2000
         Yale Comprehensive Cancer Center
         Yale University School of Medicine
         New Haven, CT

         Department of Epidemiology                    Adjunct Assistant Professor           2000-2005
         University of North Carolina - Chapel Hill    Adjunct Associate Professor           2005-present

         Dept. of Community and Family Medicine        Assistant Professor                   2000-2004
         Duke University Medical Center                Associate Professor (non-tenured)     2004-2008
                                                       Associate Professor (tenured)         2008-2014
                                                       Professor (tenured)                   2014-present
                                                       Clinical Research Unit Director       2009-present
                                                       (formerly Site-Based Research
                                                       Director)


    PUBLICATIONS
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    diagnosis of breast cancer. Society for Epidemiologic Research, Seattle, WA, June 2000.
    Hall IJ, Newman B, Millikan RC, Moorman PG. Comparative analysis of breast cancer risk factors among
    African-American women and white women. Congress of Epidemiology, Toronto, Ontario, Canada, June
    2001.
    Moorman PG, et al. Nuts and bolts of field studies: things they didn’t teach you in school. Congress of
    Epidemiology, Toronto, Ontario, Canada, June 2001. (Invited talk)
    Moorman PG, Calingaert B, Vine M, Halabi S, Berchuck A, Schildkraut JM. Comparison of two methods
    for calculating lifetime ovulatory cycles. Congress of Epidemiology, Toronto, Ontario, Canada, June
    2001.
    Plummer P, Jackson S, Konarski J, Mahanna E, Dunmore C, Regan G, Mattingly D, Parker B, Williams S,
    Andrews C, Vannapppagari V, HallS, Deming S, Hodgson E, Moorman P, Newman B, Millikan R. Making
    epidemiologic studies responsive to the needs of participants and communities: the Carolina Breast
    Cancer Study experience. Conference on Breast Cancer and Environmental Mutagens, Research Triangle
    Park, NC, September 2001.
    Moorman PG. Population-based study of breast cancer among African-American and White women in
    North Carolina. North Carolina Central University, Durham, NC, January 2003. (Invited talk)
    Moorman PG. Medication use and breast cancer risk. Psychiatry and Behavioral Sciences Grand Rounds,
    Memorial Sloan-Kettering Cancer Center, New York, NY, March 2003. (Invited talk)
    Sansbury L, Millikan R, Schroeder J, Moorman P, North K, Sandler R. Use of non-steroidal anti-
    inflammatory drugs, cyclooxygenase-2 Val411Ala polymorphism and association with colon cancer in a
    population-based study of African Americans and whites. 3rd Annual AACR International Conference,
    Seattle, WA, October 2004.
    Schildkraut JM, Berchuck A, Murphy S, Marks J, Moorman P, Calingaert B, Halabi S. Trinucleotide repeat
    polymorphisms in the androgen receptor gene and risk of ovarian cancer. 3rd Annual AACR International
    Conference, Seattle, WA, October 2004.
    Moorman PG, Sesay J, Nwosu V, Millikan R. Non-steroidal anti-inflammatory drugs, COX2 polymorphism
    and breast cancer: a study of gene-environment interactions. Triangle Cancer and Disparities
    Symposium, North Carolina Central University, Durham, NC, March 2005.
    Moorman PG. Racial disparities in breast cancer: problem or opportunity? Johnson C. Smith University,
    Charlotte, NC, September 2005. (Invited talk)
    Trivers K, Gammon M, Abrahamson P, Lund MJ, Kaufman J, Moorman P, Cai JW, Porter P, Brinton L, Eley
    JW. Reproductive factors and breast cancer survival in women less than 55 years of age. 4th Annual
    Conference on Frontiers in Cancer Prevention Research, Baltimore, MD, November 2005.
    Moorman PG. The role of epidemiology in the drug development process. University of Ferrara,
    Ferrara, Italy, May 2006. (Invited talk)




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    Moorman PG. Racial disparities in breast cancer: risk factors through survival. Women’s Health
    Research Symposium - Untying the Pink Ribbon: Advances in Breast Cancer. University of Maryland
    School of Medicine. Baltimore, MD, March 2008. (Invited talk)
    Moorman PG, JM Schildkraut JM, ES Iversen ES, ER Myers ER, M Gradison M1, N Warren-White N, F
    Wang. Weight gain after pre-menopausal hysterectomy. Society for Epidemiologic Research, Chicago,
    IL, June 2008.
    Moorman PG. Non-steroidal anti-inflammatory drugs (NSAIDs) as chemopreventives for cancer: are
    they ready for prime time? Genetics and Environmental Mutagenesis Society 26th Annual Fall Meeting.
    Research Triangle Park, NC, October 2008. (Invited talk)
    Moorman PG. Introduction to cancer epidemiology. Osher Lifelong Learning Institute lecture series.
    Chapel Hill, NC, September 2009. (Invited talk)
    Moorman PG. Challenges of epidemiologic research in the genomic era: the example of ovarian cancer.
    Environmental Mutagen Society Annual Meeting, St. Louis, MO, October 2009 (Invited talk)
    Moorman PG. Epidemiology in clinical research: beyond randomized controlled trials. Duke University
    Health System Clinical Education and Professional Development Series, Durham, NC, January 2010.
    (Invited talk)
    Moorman PG. Epidemiology in clinical research: beyond randomized controlled trials. Association of
    Clinical Research Professionals, Durham, NC, June 2010. (Invited talk)
    Moorman PG. The role of epidemiology in understanding disparities in breast cancer. Duke Oncology
    Symposium – Advances in Surgical and Treatment Options for Breast and Colorectal Cancer. Raleigh,
    NC, May 2011. (Invited talk)
    Østbye T, Moorman P. Measurement dilemmas: validity, reliability and messy data. Family Medicine
    Research Seminar Series, Duke University Medical Center, December 2011.
    Moorman P, Østbye T. Research that can tell you something: internal and external validity in study
    design. Family Medicine Research Seminar Series, Duke University Medical Center, November 2011.
    Myers ER, Havrilesky LJ, Gierisch J, Moorman PG, Dinan MA, Coeytaux R, Urrutia RP, Lowery WJ,
    Hasselblad V, McBroom AJ, Sanders GD. Using net benefits and acceptability curves to quantify
    uncertainty about tradeoffs between harms and benefits of oral contraceptives. Society for Medical
    Decision Making, Phoenix, AZ, October 2012.
    Myers ER, Havrilesky LJ, Gierisch J, Moorman PG, Dinan MA, Coeytaux R, Urrutia RP, Lowery WJ,
    Hasselblad V, McBroom AJ, Sanders GD. Net effects of current patterns of oral contraceptive use on
    potentially fatal outcomes in the United States. Society for Medical Decision Making, Phoenix, AZ,
    October 2012.
    Stouder A, Melcher B, Morgan PA, Moorman PG, Lin L, Stem J. Satisfaction Guaranteed? An Analysis of
    Lecturer Characteristics Associated with Physician Assistant Student Satisfaction. Physician Assistant
    Education Association Annual Education Forum, Seattle, WA, November 2012.
    Moorman PG. The African American Cancer Epidemiology Study (AACES). Ovarian Cancer in Women of
    African Ancestry Emerging Consortium Meeting. Bethesda, MD, April 2013.
    Moorman PG. Ovarian Cancer: What You Need to Know. Duke Cancer Institute, Cancer Awareness
    Workshop. Durham, NC, May, August and October 2014.
    Moorman PG. Ovarian Cancer in African American Women: The Challenges of Studying a Less Common




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    Cancer in a Minority Population. Duke Cancer Institute Cancer Control and Population Sciences Seminar
    Series. Durham, NC, July 2014.


    CONSULTANT APPOINTMENTS
    National Institutes of Health, Center for Scientific Review
        • Epidemiology and Disease Control Subcommittee 2 (EDC-2): Oct. 2000, Feb. 2001
        • Special Emphasis Panels: Nov. 2001, Mar. 2002, Nov. 2002, Nov. 2003, July 2004, Nov. 2004,
           June 2005, Mar. 2006, Nov. 2006, Mar. 2007, July 2007, Nov. 2008, June 2009, July 2009, July
           2010, Oct. 2010, Sept. 2011, Dec. 2013, Mar. 2017, Nov. 2017
        • Small Grants Program for Cancer Epidemiology: Nov. 2001, Mar. 2003, June 2016, Mar. 2017,
           June 2017, June 2018, Nov. 2018
        • National Cancer Institute, Program Project Review: Jan. 2003, Aug. 2003, Dec. 2003.
        • SPORE (Specialized Program of Research Excellence) Review: Breast Cancer Feb. 2005, Ovarian
           Cancer June 2008, Feb. 2009.
    Centers for Disease Control and Prevention. Defining the Public Health Research Agenda for Ovarian
    Cancer. Invited panel participant. Nov. 2008.
    Susan G. Komen for the Cure, Study Section Chair for Post-Doctoral Fellowship in Risk and Prevention,
    2010.
    Susan G. Komen Breast Cancer Foundation, Study Section Chair for Risk, Prevention and Epidemiology,
    Member of Programmatic Review Committee, 2005 – 2007.
    Susan G. Komen for the Cure/Susan G. Komen Breast Cancer Foundation, Scientific Reviewer, 2003 -
    2011.
    Department of Defense Breast Cancer Research Program Scientific Peer Review, 1998, 2005, 2007, 2008,
    2009, 2013.
    Department of Defense Breast Cancer Research Program, Study Section Chair for Training - Epidemiology
    and Prevention, 2013.
    Department of Defense Ovarian Cancer Research Program Scientific Peer Review, 2015, 2016.
    Department of Defense Ovarian Cancer Research Program, Study Section Chair for Investigator Initiated
    Research II, 2018.
    National Cancer Institute, Center for Global Health, Data Monitoring Committee for United States – Latin
    American Cancer Research Network, 2013
    CODA, Inc., Research Triangle Park, NC. IRB member, 2004.
    National Institute of Environmental Health Sciences Special Emphasis Panel, Technical Evaluation of
    Support Services for Epidemiology, NIEHS Epidemiology Branch. May 1998.


    PROFESSIONAL AWARDS AND SPECIAL RECOGNITIONS
    Honorary Physician Assistant, Duke University Medical Center Physician Assistant Program - 2018
    Certificate of Appreciation, Duke University Medical Center Physician Assistant Program – 2008
    Delta Omega, Public Health Honorary – 1994




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    The Endocrinologist, Editorial Prize for Volume II – 1993
    Research Service Award, National Cancer Institute - 1988-91
    Edward E. Smissman Award for Medicinal Chemistry, University of Kansas – 1980
    Walter F. Enz Award for Pharmaceutical Chemistry, University of Kansas – 1980
    Watkins-Berger Scholarship, University of Kansas - 1975-1980
    State of Kansas Scholarship, University of Kansas - 1976-1980


    ORGANIZATIONS AND PARTICIPATION
    University of North Carolina School of Public Health Alumni Association, Epidemiology Section President,
         2001-2002.
    Society for Epidemiologic Research
    American Pharmaceutical Association


    TEACHING RESPONSIBILITIES
      Courses Taught

    Evidence Based Medicine-I, Duke University, Department of Community and Family Medicine, Physician
    Assistant program. Primary instructor, 2004-2017.
    Evidence Based Medicine-II, Duke University, Department of Community and Family Medicine, Physician
    Assistant program. Co-Instructor, 2003-2018.
    Evidence Based Medicine-I, Duke University, Department of Community and Family Medicine, Physician
    Assistant program. Lecturer and seminar instructor, 2003.
    Epidemiology and Research Methods (PAP 255), Duke University, Department of Community and Family
    Medicine, Physician Assistant program. Seminar instructor, 2001-2002.
    Epidemiology of Cancer (CDE 532B), Yale University, Department of Epidemiology and Public Health.
    Course director, 1997-2000.
    Co-developer of departmental Master’s Comprehensive Examination, University of North Carolina-Chapel
    Hill, Department of Epidemiology, 1995-1996.
    Cancer Epidemiology (EPID 233), University of North Carolina-Chapel Hill, Department of Epidemiology,
    Teaching Assistant, 1992-1993.
    Principles of Epidemiology (EPID 160), University of North Carolina-Chapel Hill, Department of
    Epidemiology, Teaching Assistant, 1990.


      Student Mentoring

    Helena Furberg, MSPH, University of North Carolina, 1996, Committee Member
    Pamela M. Marcus, PhD, University of North Carolina, 1997, Committee Member




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    Stella Chang, MPH, Yale University, 1997, Committee Member
    Mary Riciutti, MPH, Yale University, 1999, Committee Chair
    Edward A. Lew, MPH, Yale University, 1999, Committee Member
    Shelley Goodstine, MPH, Yale University, 1999, Committee Member
    Rupal Desai, MPH, Yale University, 1999, Committee Member
    Pei-Yu Lin, MPH, Yale University, 2000, Committee Chair
    Lisa Calvocoressi, Ph.D., Yale University, 2003, Dissertation Reader
    Rebecca Cleveland, Ph.D., University of North Carolina, 2003, Committee Member
    Leah Sansbury, Ph.D., University of North Carolina, 2004, Committee Member
    Sumitra Shantakumar White, Ph.D., University of North Carolina, 2006, Committee Member
    Katrina Trivers, Ph.D., University of North Carolina, 2006, Committee Member
    Amy Dailey, Ph.D., Yale University, 2006, Dissertation Reader
    Enid Rivera, M.D., Duke University, 2008, 3rd year Medical Student Preceptor
    Alexis Gaines, Duke University, 2013, Master’s Committee Member
    Chioma Erondu, Duke University, 2013-14, 3rd year Medical Student Preceptor
    Tolulope Teniola, Duke University 2016-17, 3rd year Medical Student Preceptor
    Tengteng Wang, University of North Carolina, 2018, Committee Member


    COMMITTEES AND SERVICE
    Standing Committee on Misconduct in Research, Duke University School of Medicine, 2017-present
    Senior Faculty Advisory Committee, Office for Research Mentoring, Duke University School of Medicine,
    2016-present
    Academy of Mentors, Office of Faculty Mentoring, Duke University School of Medicine, 2014-16
    Society for Epidemiologic Research. Reviewer for Tyroler and Lilienfeld Prize Papers, 2015
    Appointments, Promotions and Tenure Committee, Department of Community and Family Medicine,
    Duke University Medical Center. Committee Member, 2008-2018
    Quality Assurance Sub-Committee for Clinical Research Units, Duke University Medical Center,
    Committee Chair, 2013-2014
    Quality Assurance Sub-Committee for Clinical Research Units (formerly Site-based Research Units), Duke
    University Medical Center, Committee Member, 2011-2013
    Path to Independence Faculty Mentoring Program, Duke University School of Medicine, Peer Reviewer,
    2012-2018
    Society for Epidemiologic Research. Abstract reviewer for annual meeting, 2011
    Cancer Prevention, Detection and Control Research Program, Duke University Medical Center, Cancer
    Control Pilot Study application reviewer, 2010, 2011




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    Executive Council, Department of Community and Family Medicine, Duke University Medical Center
    2009-present
    Education Committee, Department of Community and Family Medicine, Duke University Medical Center,
    2009-2017
    Faculty Search Committee, Cancer Prevention, Detection and Control Research Program, 2010
    Duke Cancer Institute, Editorial Advisory Committee Member, 2010-2011
    Duke Comprehensive Cancer Center Annual Meeting, Judge for poster presentations, 2009
    Director Search Committee, Cancer Prevention, Detection and Control Research Program, 2009
    Partners Allied in Research (PAIR) Pilot Grant application reviewer, Cancer Prevention, Detection and
    Control Research Program, 2005


    Editorial Reviewer
    American Journal of Epidemiology                        Annals of Epidemiology
    Archives of Gynecology and Obstetrics                   Breast Cancer Research and Treatment
    Breast Diseases                                         British Medical Journal-Cancer
    Cancer                                                  Cancer Biomarkers
    Cancer Causes and Control                               Cancer Epidemiology Biomarkers and Prevention
    Cancer Research                                         Clinical Breast Cancer
    Epidemiology                                            Ethnicity and Disease
    Gynecologic Oncology                                    International Journal of Cancer
    International Journal of Epidemiology                   JAMA
    Journal of Community Development                        Journal of the National Cancer Institute
    J of the Women’s American Medical Assn                  Journal of Women’s Health
    Lancet                                                  Lancet Oncology
    Nutrition and Cancer                                    Pharmacogenomics
    Public Health Nutrition                                 Trends in Molecular Medicine
    Women and Health


    CURRENT RESEARCH
    Epidemiology of breast and ovarian cancer
    Ovarian function after hysterectomy
    Racial differences in disease risk and outcomes
    Medication use and cancer risk
    Etiologic factors for uterine fibroids

    EXTERNAL SUPPORT - PAST
     Principal                %
     Investigator           effort   Title of Project and Funding Source            Total Costs       Duration
     Barbara Hulka           25%     High-Density Lipoprotein Cholesterol and           $72,234     1992 – 1993
                                     Breast Cancer, National Cancer Institute,
                                     R03, Supported dissertation research




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    Beth Newman           100%   Carolina Breast Cancer Study, Project 2        $1,275,000   1992 – 1995
                                 SPORE in Breast Cancer, National Cancer
                                 Institute, P50.
    Beth Newman           50%    Carolina Breast Cancer Study, Project 2        $2,511,146   1995 - 1996
                                 SPORE in Breast Cancer, National Cancer
                                 Institute, P50.
    Patricia Moorman      50%    Medication Use and Breast Cancer in a Bi-       $498,302    1996 – 2002
                                 racial Population, National Cancer
                                 Institute, R29-FIRST Award.
    Patricia Moorman       0%    Carolina Breast Cancer Study Participant           $2500          1997
                                 Symposium, North Carolina Division of
                                 American Cancer Society Small Grant.
    Patricia Moorman       0%    Carolina Breast Cancer Study Participant           $5000          1997
                                 Symposium, Susan G. Komen Breast
                                 Cancer Foundation Small Grant.
    Joellen Schildkraut   10%    Carolina Georgia Center, Cancer Genetics       $4,028,129   2002 – 2004
                                 Network, National Cancer Institute, U-24.
    Patricia Moorman       0%    Non-steroidal Anti-Inflammatory Drugs and        $28,040    2003 – 2004
                                 Breast Cancer: A Study of Gene-
                                 Environment Interactions among African-
                                 American and White Women, Minority
                                 Serving Institution Partnership Grant, Pilot
                                 Funds.
    Celette Skinner        5%    Partnerships to Eliminate Disparities in        $517,743    2002 – 2006
                                 Cancer Outcomes and Research, National
                                 Cancer Institute, National Cancer Institute.
    Patricia Moorman       0%    Diversity Supplement to RO1 AG020162            $169,720          2006
                                 Ovarian Failure Among Hysterectomized
                                 Women, National Institute on Aging
                                 (Note: Grant was awarded but post-doc
                                 accepted another position.)
    Andrew Berchuck        5%    Biological Basis for Chemoprevention of         $824,000    2002 – 2007
                                 Ovarian Cancer, Department of Defense.
    Stephen Freedland      5%    Weight Loss and Gain and Cancer Free            $100,000     2007-2009
                                 Survival after Radical Prostatectomy in a
                                 Multiethnic Cohort. Prostate Cancer
                                 Foundation.
    Joellen Schildkraut   10%    Genetic Modifiers of BRCA1 and BRCA2,          $1,795,862   2003 – 2009
                                 Project 3 SPORE in Breast Cancer. National
                                 Cancer Institute.
    Joellen Schildkraut   10%    Molecular Epidemiology of Ovarian Cancer.      $3,750,000   2003 – 2010
                                 National Cancer Institute.




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    Patricia Moorman      40%   Ovarian Failure among Hysterectomized         $3,781,480    2003 - 2010
                                Women.
                                National Institute on Aging.

    Patricia Moorman      3%    Cancer Genetics Network.                        ~$25,000    2010 – 2012
    (Sub-contract PI)           National Cancer Institute.
    Laura Havrilesky      15%   Oral Contraceptive Use for the Primary          $486,476    2010 - 2012
                                Prevention of Ovarian Cancer.
                                Agency for Healthcare Research and Quality
    Jeffrey Marks         5%    Atlantic Breast and Gynecologic Clinical     >$1,500,000    2010 - 2013
                                Validation Center.
                                National Cancer Institute
    Cathrine Hoyo         5%    Disparities in Cervical Cancer Precursors     ~$200,000     2012 – 2013
                                and Deregulation of Imprinted Genes
                                National Cancer Institute
    Emanuel Trabuco       2%    Anti-Müllerian Hormone as a Marker of           $100,000    2012 – 2013
    (Moorman, Duke              Ovarian Reserve in Women with and
       PI)                      without Hysterectomy.
                                Mayo Clinic Internal Funds
    Evan Myers            10%   Systematic Review of Cancer Screening         ~$400,000     2013 - 2014
                                Literature for Updating American Cancer
                                Society Breast Cancer Screening Guidelines
                                American Cancer Society
    Joellen Schildkraut   9%    Cancer Education and Career Development       ~$1,400,000   2009 – 2014
                                Training Grant.
                                National Cancer Institute
    Patricia Moorman      5%    Rare Cancer Genetics Network                  ~$240,000     2010 – 2016
    (Sub-contract PI)           National Cancer Institute

    Joellen Schildkraut   20%   Epidemiology of Ovarian Cancer in African ~$12,000,000      2010 – 2017
    (Moorman, co-PI)            American Women
                                National Cancer Institute
    Gillian Sanders       10%   Management of Infertility                                   2015-2016
                                Evidence-Based Practice Center
    Gillian Sanders       10%   Management of Labor Dystocia                                   2016
                                Evidence-Based Practice Center
    Gillian Sanders       15%   Office of Women’s Health – Topic                               2016
                                Development
                                Evidence-Based Practice Center
    Evan Myers            5%    Comparing Management Options for             ~$19,000,000   2014 – 2018
                                Management: Patient-centered Results for
                                Uterine Fibroids (COMPARE-UF)
                                PCORI




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    EXTERNAL SUPPORT - CURRENT

    Principal               %
    Investigator          effort   Title of Project and Funding Source           Total Costs    Duration
    Joellen Schildkraut    13%     Exploring Factors Related to Racial
                                                                                  ~$450,000    2017 - 2021
    (Moorman, sub-                 Disparities in Ovarian Cancer Incidence and
    contract PI)                   Survival: The OCWAA (Ovarian Cancer in
                                   Women of African Ancestry) Consortium
                                   National Cancer Institute




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    PERSONAL INFORMATION

    Work address: DUMC Box 2715, 2424 Erwin Road, Suite 602, Durham, NC 27705
    Work phone #: (919) 681-4557
    E-mail address: patricia.moorman@duke.edu
    Home address: 3 Skipwith Court, Durham, NC 27707
    Home phone #: (919) 419-9301
    Marital status: Married
    Spouse’s name: Allan R. Moorman, Ph.D.




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                         Exhibit 23
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                       Patricia Moorman, Ph.D., M.S.P.H.

                                                                         Page 1
                    IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                  STATE OF MISSOURI



               GAIL INGHAM, ET AL.,                 )
                                                    )
                            Plaintiffs,             )
                                                    )
               vs.                                  ) Case No.
                                                    ) 1522-CC10417-01
               JOHNSON & JOHNSON, ET AL.,           ) Division 10
                                                    )
                            Defendants.             )
               _____________________________________/




                 DEPOSITION OF PATRICIA MOORMAN, Ph.D., M.S.P.H.
                                  (Taken by Defendants)
                                  Durham, North Carolina
                                  Monday, March 12, 2018




                              Reported in Stenotype by
                           Amy A. Brauser, RPR, RMR, CRR
                Transcript produced by computer-aided transcription

                 Golkow Litigation Services - 1.877.370.DEPS
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                                        Patricia Moorman, Ph.D., M.S.P.H.
                                                          Page 2                                                                  Page 4
         1               APPEARANCES                                 1            INDEX OF EXAMINATIONS
         2   ON BEHALF OF THE PLAINTIFFS:
         3      STEVE FARIES, ESQUIRE                                2   By Mr. Hegarty. . . . . . . . . . . . Page 8, 344, 355
                The Lanier Law Firm                                  3   By Mr. Klatt. . . . . . . . . . . . . Page 290, 359
         4      6810 Cypress Creek Parkway
                Houston, Texas 77069                                 4   By Mr. Faries. . . . . . . . . . . . .Page 353
         5      (713) 659-5200
                steve.faries@lanierlawfirm.com
                                                                     5
         6                                                           6
             ON BEHALF OF THE DEFENDANTS JOHNSON & JOHNSON AND
         7   JOHNSON & JOHNSON CONSUMER COMPANIES INC., NOW KNOWN    7              INDEX OF EXHIBITS
             AS JOHNSON & JOHNSON CONSUMER INC.:                     8   NUMBER         DESCRIPTION            MARKED/IDENTIFIED
         8
                MARK HEGARTY, ESQUIRE                                9   Exhibit 1 Plaintiff's Disclosure of     16
         9      Shook, Hardy & Bacon, LLP
                2555 Grand Boulevard
                                                                    10           Expert Testimony
        10      Kansas City, Missouri 64108                         11   Exhibit 2 CV of Patricia Moorman,          19
                (816) 474-6550
        11      mhegarty@shb.com                                    12           Ph.D., M.S.P.H.,
        12   ON BEHALF OF THE DEFENDANT IMERYS TALC AMERICA, INC:   13   Exhibit 3 Reliance Materials of Patricia 19
        13      MICHAEL R. KLATT, ESQUIRE
                Gordon & Rees, LLP                                  14           Moorman, Ph.D.
        14      816 Congress Avenue, Suite 1510
                Austin, Texas 78701
                                                                    15   Exhibit 4 April 1, 2014, letter from FDA 86
        15      (512) 391-0197                                      16           to Samuel Epstein
                mklatt@grsm.com
        16                                                          17   Exhibit 5 NCI PDQ Screening and            94
             ON BEHALF OF THE WITNESS:                              18           Prevention Editorial Board
        17
                 JEFF GIBSON, ESQUIRE                               19   Exhibit 6 Ovarian, Fallopian Tube, and     96
        18       Cohen & Malad, LLP
                 One Indiana Square, Suite 1400
                                                                    20           Primary Peritoneal Cancer
        19       Indianapolis, Indiana 46032                        21           Prevention (PDQ)- Health
                 (317) 636-6481
        20       jgibson@cohenandmalad.com                          22           Professional Version
        21                                                          23   Exhibit 7 IARC Monographs on the            105
        22
        23   ALSO PRESENT:                                          24           Evaluation of Carcinogenic
        24      Michelle A. Parfitt
        25
                                                                    25           Risks to Humans

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         1          DEPOSITION OF PATRICIA MOORMAN, Ph.D.,           1            INDEX OF EXHIBITS (con't)
         2   M.S.P.H., a witness called on behalf of Defendant,      2   Exhibit 8 Supplemental Selenium May         147
         3   before Amy A. Brauser, Notary Public, in and for the    3           Decrease Ovarian Cancer Risk in
         4   State of North Carolina, at Cambria Hotel & Suites      4           African-American Women
         5   Durham, 2306 Elba Street, Durham, North Carolina, on    5   Exhibit 9 Analgesic Medication Use and      149
         6   Monday, the 12th day of March, 2018, commencing at      6           Risk of Epithelial Ovarian
         7   9:01 a.m.                                               7           Cancer in African-American Women
         8               ********                                    8   Exhibit 10 Dietary Quality and Ovarian     151
         9                                                           9           Cancer Risk in African-American
        10                                                          10           Women
        11                                                          11   Exhibit 11 Socioeconomic Status in Relation 154
        12                                                          12           to the Risk of Ovarian Cancer in
        13                                                          13           African-American Women: A
        14                                                          14           Population-Based Case-Control
        15                                                          15           Study
        16                                                          16   Exhibit 12 Ovarian Cancer Risk Factors     159
        17                                                          17           in African-American and White
        18                                                          18           Women
        19                                                          19   Exhibit 13 Primary Peritoneal and Ovarian 167
        20                                                          20           Cancers: An Epidemiological
        21                                                          21           Comparative Analysis
        22                                                          22   Exhibit 14 Racial/Ethnic Differences in   174
        23                                                          23           the Epidemiology of Ovarian
        24                                                          24           Cancer: A Pooled Analysis of
        25                                                          25           12 Case-Control Studies
                                                                                                    2 (Pages 2 to 5)
                          Golkow Litigation Services - 1.877.370.DEPS
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                             Patricia Moorman, Ph.D., M.S.P.H.
                                                   Page 6                                                       Page 8
        1            INDEX OF EXHIBITS (con't)                  1       PATRICIA GRIPKA MOORMAN, Ph.D., M.S.P.H.,
        2   Exhibit 15 Association between Body Powder 187      2   having been first duly sworn to tell the truth, was
        3           Use and Ovarian Cancer: The                 3   examined and testified as follows:
        4           African American Cancer                     4                 EXAMINATION
        5           Epidemiology Study (AACES)                  5   BY MR. HEGARTY:
        6   Exhibit 16 Perineal Talc Exposure and       193     6       Q. Good morning, Dr. Moorman.
        7           Epithelial Ovarian Cancer Risk              7       A. Good morning.
        8           in the Central Valley of California         8       Q. Would you, please, state your full name
        9   Exhibit 17 Perineal Talc Exposure and       194     9   for the record?
       10           Subsequent Epithelial Ovarian              10       A. Okay. My name is Patricia Gripka Moorman.
       11           Cancer: A Case-Control Study               11       Q. Dr. Moorman, who is your current employer?
       12   Exhibit 18 Association Between Talc Use      196   12       A. Duke University.
       13           and Ovarian Cancer A                       13       Q. Duke University in Durham, North Carolina?
       14           Retrospective Case-Control Study           14       A. Yes, that's correct.
       15           in Two US States                           15       Q. We are here today in Durham, North
       16   Exhibit 19 Perineal use of Talc and Risk 224       16   Carolina, correct?
       17           of Ovarian Cancer                          17       A. Yes, that is correct.
       18   Exhibit 20 Genital use of Talc and Risk of 230     18       Q. How long have you been employed by Duke
       19           Ovarian Cancer: A Meta-analysis            19   University?
       20   Exhibit 21 Genital Powder Use and Risk of 256      20       A. I have -- for almost 18 years.
       21           Ovarian Cancer: A Pooled                   21       Q. What is your current title at Duke?
       22           Analysis of 8,525 Cases and                22       A. Professor in department of community and
       23           9,859 Controls                             23   family medicine.
       24                                                      24       Q. How does the department of community and
       25                                                      25   family medicine compare to the medical school at Duke?

                                                   Page 7                                                       Page 9
        1            INDEX OF EXHIBITS (con't)                  1   Are they related, connected, the same thing? What's
        2   Exhibit 22 Defendant's Johnson & Johnson 283        2   the relationship, if any?
        3           and Johnson & Johnson Consumer              3       A. Okay. The department of community and
        4           Inc.'s First Amended Notice with            4   family medicine is one of the departments within the
        5           subpoena Duces Tecum of Deposition          5   School of Medicine.
        6           of Patricia Moorman, Ph.D., M.S.P.H.        6       Q. Apart from your work at Duke, do you have
        7                                                       7   any type of separate consulting business?
        8                                                       8       A. No, I do not.
        9                                                       9       Q. With regard to the fees you would earn,
       10                                                      10   assuming that you earn fees, from testifying in this
       11                                                      11   case, do they -- do those fees go to you personally?
       12                                                      12       A. Yes, they do.
       13                                                      13       Q. Besides your work at Duke and any fees
       14                                                      14   generated in connection with your work on this case,
       15                                                      15   do you have any other sources of income?
       16                                                      16       A. Very occasionally I will receive like fees
       17                                                      17   like from NIH or Department of Defense if I do grant
       18                                                      18   reviews.
       19                                                      19       Q. Besides those fees, any other sources of
       20                                                      20   income?
       21                                                      21       A. No.
       22                                                      22       Q. What is your rate -- hourly rate or
       23                                                      23   otherwise that you're charging for your testimony in
       24                                                      24   this case?
       25                                                      25       A. It is $400 per hour.
                                                                                         3 (Pages 6 to 9)
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                               Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 10                                                      Page 12
        1       Q. How much have you been paid by Plaintiffs'        1       Q. Who contacted you?
        2   attorneys in this case so far?                           2       A. I was contacted by Mr. Faries.
        3       A. I have not billed them yet. I have                3       Q. Was this a contact by telephone?
        4   received nothing so far.                                 4       A. Let's see. I'm -- we had -- the first
        5       Q. Have you prepared any type of invoice that        5   time I met him was in-person meeting.
        6   you've not yet sent?                                     6       Q. Before that, was the meeting set up by
        7       A. I have not prepared an invoice.                   7   telephone?
        8       Q. Have you kept track of the amount --              8       A. I don't recall if it was telephone or
        9   number of hours you have spent working on the case       9   e-mail.
       10   that we're here to talk about here today?               10       Q. So was this a situation where you had had
       11       A. Yes, I have.                                     11   no prior contact with Mr. Faries?
       12       Q. How many hours have you spent -- I'm sorry       12           MR. HEGARTY: Did I say that right?
       13   to interrupt.                                           13           MR. FARIES: Faries, like the Ferris
       14       A. Okay. I estimate it's approximately 50           14       wheel. It just doesn't look that way.
       15   hours.                                                  15   BY MR. HEGARTY:
       16       Q. Would those hours include your review of         16       Q. Mr. Faries or any attorney for the
       17   materials?                                              17   Plaintiffs in this case? Was this a call or an e-mail
       18       A. Yes, it would.                                   18   out of the blue, so to speak?
       19       Q. Would those hours include your meetings,         19           MR. FARIES: Objection to form.
       20   if any, with the Plaintiffs' counsel in this case?      20   BY MR. HEGARTY:
       21       A. Yes, it would.                                   21       Q. You can answer.
       22       Q. Were you paid any type of retainer before        22           MR. FARIES: Just -- just answer the best
       23   you started working on this case?                       23       that you recall.
       24       A. No, I have not.                                  24           THE WITNESS: No, it wasn't a call "out of
       25       Q. What is your business address at Duke?           25       the blue."
                                                      Page 11                                                      Page 13
        1       A. My business address is Box 2715,                  1   BY MR. HEGARTY:
        2   2424 Erwin Road, Suite 602, Durham, North Carolina       2       Q. Do you know how the contact or the
        3   27705.                                                   3   communication came about?
        4       Q. Dr. Moorman, we're here today to take your        4       A. I have talked with Mr. Gibson and
        5   deposition in the case of Ingham, et al., versus J&J,    5   Mr. Gibson made the contact.
        6   et al. Do you understand that?                           6       Q. Who is Mr. Gibson with?
        7       A. Yes, I do.                                        7       A. He is with the law firm Cohen & Malad.
        8       Q. Do you know where that case is pending?           8       Q. Had you had contact with him prior to
        9       A. Yes, in Missouri.                                 9   hearing from Mr. Faries either by e-mail or by
       10       Q. Do you know where in Missouri?                   10   telephone?
       11       A. I believe St. Louis.                             11       A. Yes, I have.
       12       Q. Have you ever been to the city of                12       Q. When have you had contact with Mr. Gibson?
       13   St. Louis?                                              13           MR. FARIES: Okay, hang on. I'm going to
       14       A. Yes, I have.                                     14       object to that question, that this witness is
       15       Q. When's the last time you've been there?          15       not authorized to speak of communications or
       16       A. Probably at least five years ago.                16       activities she's had with other law firms. She
       17       Q. Are you aware that you've been designated        17       is not a disclosed as a -- she's never testified
       18   as a testifying expert in the Ingham case?              18       or had a report or anything of that matter with
       19       A. Yes, I am.                                       19       any other firms so that is off limits for her
       20       Q. When were you first contacted about              20       deposition today.
       21   possibly serving as an expert witness in the Ingham     21           MR. HEGARTY: Fair enough.
       22   case?                                                   22   BY MR. HEGARTY:
       23       A. It was in December of 2017.                      23       Q. Dr. Moorman, are you aware if you've been
       24       Q. So less than four months ago?                    24   designated to testify as an expert in any other case
       25       A. Yes.                                             25   besides the Ingham case?

                                                                                         4 (Pages 10 to 13)
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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                       Page 14                                                                     Page 16
        1        A. I'm -- I'm not sure of the -- what do you          1   BY MR. HEGARTY:
        2    mean by "designated"?                                     2      Q. As far as your work in this case, though,
        3        Q. Let me -- let me ask it a different way.           3   you understand that that connection was with
        4        A. Okay.                                              4   Mr. Faries beginning back in December, correct?
        5        Q. Are you aware if you've been disclosed in          5      A. That is correct.
        6    some formal way as a testifying expert in any case        6      Q. With regard to that initial contact or
        7    other than the case we're here to talk about today,       7   communication with Mr. Faries, do you recall when it
        8    the Ingham case?                                          8   was you agreed to serve as a testifying expert in the
        9        A. Yes, I believe so.                                 9   Ingham case?
       10        Q. Do you know what other case you've been           10      A. I believe that was in December.
       11    disclosed as a testifying expert in?                     11      Q. Do you recall the date of that
       12        A. I do not know the name of the plaintiff in        12   communication or contact?
       13    that case.                                               13      A. Not the exact date, no, I do not.
       14        Q. Do you know where that case is pending?           14    (EXHIBIT NUMBER 1 WAS MARKED FOR IDENTIFICATION)
       15        A. Not precisely.                                    15   BY MR. HEGARTY:
       16        Q. Do you know the attorneys for the                 16      Q. Dr. Moorman, I'm going to mark as Exhibit
       17    plaintiffs in that other case?                           17   Number 1 a pleading filed by Plaintiffs entitled
       18        A. Yes.                                              18   Plaintiffs' Disclosure of Expert Testimony. Would you
       19        Q. Who are they?                                     19   take a look at Exhibit Number 1, in particular if you
       20        A. Michelle Parfitt and Jeff Gibson.                 20   could turn over to page 9 of that exhibit where it
       21        Q. It's your understanding, though, that             21   refers to you, and first of all, tell me whether
       22    you've actually been formally disclosed in some sort     22   you've ever seen this disclosure prior to right now?
       23    of court document as a testifying expert in that other   23          MR. FARIES: Are you referring to just her
       24    case?                                                    24      piece or the whole document?
       25        A. I believe so, but I am not absolutely             25          MR. HEGARTY: Fair point.

                                                       Page 15                                                                     Page 17
         1   sure.                                                     1   BY MR. HEGARTY:
         2       Q. Do you recall when that disclosure was?            2       Q. Can you tell me whether you've ever seen
         3       A. No, no, I do not.                                  3   the paragraph under your name before right now?
         4       Q. Do you know when you started working with          4       A. I have seen it very recently.
         5   Mr. Gibson in connection with that other case in which    5       Q. When you say "very recently," can you be
         6   you have been disclosed in?                               6   more precise?
         7           MR. FARIES: Okay, hang on. I object to            7       A. Within the last week.
         8       that question. Obviously, the witness doesn't         8       Q. Would it be a correct statement, then,
         9       know whether she's been disclosed or not, she         9   that you did not write the paragraph on page 9 that is
        10       doesn't know what that means, and you -- you         10   below your name?
        11       know that there has been no Rule 26 Disclosure       11       A. That is correct.
        12       for Ms. Moorman or any other plaintiff expert in     12       Q. When you reviewed -- or let me strike
        13       the MDL talc litigation. So this witness is not      13   that.
        14       here to discuss whatever she has going on with       14            Is everything in your disclosure, the
        15       other lawyers and other firms.                       15   paragraph under your name on page 9, correct and
        16           MR. KLATT: Well, she has been disclosed          16   accurate?
        17       in a publicly filed document in the MDL.             17       A. It is not exactly as I would have written
        18           MR. FARIES: That is not a Rule 26                18   it and some minor points. Okay. So in the first
        19       Disclosure. That was a letter to -- to the           19   sentence it says that I am and have been the principal
        20       court on a list of experts that the plaintiffs       20   investigator of a number of ovarian cancer studies. I
        21       in the MDL are just so-called working with. It       21   think it's important to kind of qualify that. I have
        22       is not a -- clearly not a Rule 26 Disclosure and     22   been the principal investigator on a subcontract for
        23       was never intended to be so.                         23   these studies. I have been the -- an investigator on
        24           MR. HEGARTY: We'll come back to that.            24   a number of ovarian cancer studies, but the overall PI
        25                                                            25   for these studies is someone else.
                                                                                                  5 (Pages 14 to 17)
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                                       Patricia Moorman, Ph.D., M.S.P.H.
                                                                      Page 18                                                  Page 20
         1       Q. When you say "these studies," what studies                   1   BY MR. HEGARTY:
         2   are you referring to?                                               2        Q. -- exhibit and would you look at it and
         3       A. I'm referring to the African-American                        3   tell me whether you've seen that document before
         4   Cancer Epidemiology Study and also I'm currently                    4   today?
         5   funded on a study called the -- it's a consortium,                  5            (WITNESS REVIEWS DOCUMENT)
         6   Ovarian Cancer in Women of African Ancestry.                        6        A. Yes, I have seen it.
         7       Q. Who -- who is the principal investigator                     7        Q. When did you first see this document,
         8   in the African-American study?                                      8   Exhibit Number 3?
         9       A. That is Joellen Schildkraut and -- okay.                     9        A. Within the last week, a few days ago.
        10       Q. The next sentence is not accurate, is it?                   10        Q. Did you prepare Exhibit Number 3?
        11       A. No, it is not.                                              11        A. No, I did not.
        12       Q. The study that is referenced there is not                   12        Q. Do you know who prepared it?
        13   a meta-analysis; is that correct?                                  13        A. It was prepared by Mr. Faries or his firm.
        14       A. That is correct.                                            14        Q. Did you review Exhibit Number 3 before it
        15       Q. So that's a mistake, right?                                 15   was finalized, so to speak, and when it was in draft
        16       A. Yes.                                                        16   form?
        17       Q. The study designated there, entitled                        17        A. He showed it to me and no changes were
        18   there, Association Between Body Powder Use and Ovarian             18   made so . . .
        19   Cancer: The African-American Cancer Epidemiology                   19        Q. Did you have a chance to review it?
        20   Study, is a retrospective case-control study, correct?             20        A. Yes.
        21       A. Yes, it is.                                                 21        Q. Is it accurate? In other words, does
        22       Q. Is there any other part of that disclosure                  22   Exhibit Number 3 contain the materials that you rely
        23   that needs clarifying or correction?                               23   upon for purposes of your opinions in this case?
        24       A. No.                                                         24           MR. FARIES: Objection to form.
        25       Q. Besides pointing out that the study we                      25           Just answer the best that you can.
                                                                      Page 19                                                  Page 21
         1   referenced is not a meta-analysis that you are not the  1                       THE WITNESS: Okay. It is -- my opinion
         2   principal investigator on the African-American study,   2                   is based on documents as well as the knowledge
         3   is there anything else that you feel that needs to be   3                   that I have acquired over more than two decades
         4   clarified or explained better than this paragraph sets  4                   as an epidemiologist.
         5   out?                                                    5               BY MR. HEGARTY:
         6        A. No.                                             6                   Q. For purposes of the opinions that you
         7        Q. You also brought with you today a copy of       7               intend to offer, and we'll get to those here shortly,
         8   your CV which I'm marking as Exhibit Number 2.          8               do you rely on all of the materials set out in Exhibit
         9     (EXHIBIT NUMBER 2 WAS MARKED FOR IDENTIFICATION)      9               Number 3?
        10   BY MR. HEGARTY:                                        10                       MR. FARIES: Objection to form.
        11        Q. Would you look at Exhibit Number 2 and         11                       MR. HEGARTY: You can answer.
        12   tell me whether that is a copy of your curriculum      12                       MR. FARIES: Just answer the best that you
        13   vitae and whether it is the current copy?              13                   can.
        14        A. Yes, it is my CV, and yes, it is a current     14                       THE WITNESS: Could you repeat the
        15   copy.                                                  15                   question?
        16        Q. Thank you.                                     16               BY MR. HEGARTY:
        17     (EXHIBIT NUMBER 3 WAS MARKED FOR IDENTIFICATION) 17                       Q. Sure.
        18   BY MR. HEGARTY:                                        18                   A. Again.
        19        Q. Plaintiffs' counsel provided to us in          19                   Q. For purposes of the opinions that you
        20   advance of your deposition what I'm marking as Exhibit 20               intend to offer in this case that we'll get to here
        21   Number 3 which is a document entitled, Reliance        21               shortly, do you rely on all of the materials that are
        22   Materials of Patricia Moorman, Ph.D., produced March   22               identified in Exhibit Number 3?
        23   5, 2018. I'm going to hand you a copy of that --       23                       MR. FARIES: Same objection.
        24           MR. FARIES: Thank you.                         24                       THE WITNESS: Okay. I am not entirely
        25                                                          25                   sure what you mean by the term "rely" in this
                                                                                                     6 (Pages 18 to 21)
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                                Patricia Moorman, Ph.D., M.S.P.H.
                                                       Page 22                                                       Page 24
        1        context. I consider these materials so . . .          1   BY MR. HEGARTY:
        2        Okay.                                                 2        Q. I'll give you a little bit of the basis or
        3    BY MR. HEGARTY:                                           3   a reason for that question which is, this is our
        4        Q. In forming your opinions for purposes of           4   chance to understand your opinions and -- and be
        5    this case, are there materials in Exhibit Number 3        5   prepared, then, to follow up on those opinions when it
        6    that are more important to you than others?               6   comes time to trial and to do that we want to make
        7             MR. FARIES: Objection to form.                   7   sure that we have the opportunity to -- to -- for you
        8             THE WITNESS: I consider everything. I --         8   to list the materials that you primarily rely on or
        9        I think that peer-reviewed literature is              9   will cite, call out, in -- for purpose of your
       10        weighted more heavily in my opinion than, for        10   opinion. So what -- my question was really to make
       11        example, some of the internal documents or even      11   sure that if there's anything that should be on the
       12        testimony.                                           12   reliance list that we received that's not, that I
       13    BY MR. HEGARTY:                                          13   wanted to have those materials identified here today.
       14        Q. Are you able to look at Exhibit Number 3          14   Do you understand that?
       15    and identify particular studies that are the most        15            MR. FARIES: Objection to form. It's
       16    important to you for purposes of your opinions in this   16        impossible to understand that.
       17    case?                                                    17            MR. HEGARTY: Fair point.
       18             MR. FARIES: Objection to form.                  18   BY MR. HEGARTY:
       19             THE WITNESS: No, I consider all of them.        19        Q. With that background, are there any other
       20        My opinion is based on a full body of                20   materials that you're aware of sitting here today that
       21        literature, and I would not say that any are         21   should be on the reliance list that are not?
       22        more important or less important. The whole          22            MR. FARIES: Objection to form and already
       23        body of literature is important.                     23        asked and answered several times.
       24    BY MR. HEGARTY:                                          24            MR. HEGARTY: You can answer.
       25        Q. You mentioned that you rely on your               25            MR. FARIES: Try one more time. Give the
                                                       Page 23                                                       Page 25
         1   experience as well -- as well as what's listed in         1       best answer that you can.
         2   Exhibit Number 3. Do you recall saying that or            2            THE WITNESS: Okay. I am -- cannot think
         3   something to that effect?                                 3       of anything right offhand that I would add to
         4       A. Yes.                                               4       the reliance list.
         5       Q. In terms of, though, documents that you            5   BY MR. HEGARTY:
         6   intend to rely upon for purposes of your opinions in      6       Q. With regard to the materials on the
         7   this case, are there any such documents that are not      7   reliance list, did you gather all these materials
         8   included in Exhibit Number 3?                             8   yourself?
         9           MR. FARIES: Objection to form.                    9       A. No.
        10           THE WITNESS: Once again, could you repeat        10       Q. How were they gathered?
        11       the question?                                        11       A. Different ways. The peer-reviewed
        12   BY MR. HEGARTY:                                          12   articles, those would have arisen from a literature
        13       Q. Sure. For purposes of your opinions in            13   search that I would have performed. Some of the
        14   this case, do you intend to rely on materials,           14   internal documents, some of the transcripts, for
        15   documents, studies, et cetera, that are not referenced   15   example, those would -- not some of them, all of them,
        16   in Exhibit Number 3?                                     16   would have been provided by the attorneys.
        17           MR. FARIES: Objection to form.                   17       Q. Which attorneys provided you the company
        18           THE WITNESS: Okay. Again, how you are            18   documents in the transcripts or litigation reports on
        19       using the term "rely," I am not entirely sure of     19   the back page?
        20       that. I do not believe that I am going to            20       A. Those were provided to me by Mr. Gibson or
        21       specifically cite other references, but, you         21   Ms. Parfitt.
        22       know, I consider -- I consider references here       22       Q. When did they provide those materials to
        23       and, again, things that I might have knowledge       23   you?
        24       of from my years of working as an                    24       A. I don't recall exactly. Probably, at
        25       epidemiologist.                                      25   least a year ago for most of them.

                                                                                           7 (Pages 22 to 25)
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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                       Page 26                                                       Page 28
         1        Q. You mentioned that with regard to                 1   that.
         2   peer-reviewed articles you believe that -- that they      2            If we take out the company documents and
         3   were identified through a literature search by you.       3   the litigation materials on the back page and just
         4   Were any peer-reviewed articles provided to you by        4   look at the peer-reviewed articles, had you reviewed
         5   counsel for Plaintiffs?                                   5   all of those peer-reviewed articles before being
         6        A. Yes, I -- may I go back just a moment,            6   contacted to serve as an expert for Plaintiffs in this
         7   looking at these --                                       7   case?
         8        Q. You're looking at the last page of                8        A. No.
         9   Exhibit 3?                                                9        Q. Are you able to -- if we had time and we
        10        A. Right, the last page of Exhibit 3. Some          10   may come back to it, could you go through this list,
        11   of those documents were provided to me by Mr. Faries.    11   if I asked you to, and identify the articles you had
        12   Okay.                                                    12   not reviewed before being contacted by Plaintiffs'
        13        Q. Can you identify which of the documents on       13   counsel in this case?
        14   the last page of Exhibit 3 were provided to you by       14        A. I don't think that I would be able to do
        15   Mr. Faries?                                              15   that.
        16        A. The last three, I believe, were provided         16        Q. Fair enough.
        17   by Mr. Faries.                                           17            Is it your belief that with regard to the
        18        Q. Going back to my question just before            18   peer-reviewed literature in Exhibit Number 3 that
        19   that, were any of the peer-reviewed articles that are    19   the -- Exhibit Number 3 includes all of the literature
        20   listed in Exhibit Number 3 provided to you by counsel    20   that's in the public domain with regard to talc and
        21   for Plaintiffs?                                          21   ovarian cancer?
        22        A. Mr. Gibson and Ms. Parfitt provided me           22            MR. FARIES: Objection to form.
        23   with some of these, they provided me with materials,     23            I'm sorry. When I object, you can still
        24   but they were, in essence, everything that I had -- I    24        answer --
        25   was aware of already.                                    25            THE WITNESS: Okay.
                                                       Page 27                                                       Page 29
         1        Q. Were these other materials, perhaps the           1            MR. FARIES: -- to the best you can.
         2   peer-reviewed literature provided to you by Mr. Gibson    2            THE WITNESS: Okay. Once again, if you
         3   and Ms. Parfitt, also provided to you at the same time    3       wouldn't mind repeating the question.
         4   they provided you the transcripts and other documents     4   BY MR. HEGARTY:
         5   on the back page?                                         5       Q. Sure. Is it your belief that Exhibit
         6        A. Yes.                                              6   Number 3, as far as peer-reviewed literature, contains
         7        Q. You mentioned you did your own research.          7   all of the articles there are in the public domain
         8   Was this through a PubMed search, some other type of      8   regarding talc and ovarian cancer?
         9   search like that?                                         9            MR. FARIES: Objection to form.
        10        A. A PubMed search is the -- the typical            10            THE WITNESS: I would say probably not.
        11   basis for doing a literature search, and in any type     11   BY MR. HEGARTY:
        12   of review of the literature, that would be a starting    12       Q. Were there articles that you reviewed that
        13   point. Sometimes other articles are identified in        13   concern talc and ovarian cancer that are not listed on
        14   different ways, for example, reviewing articles cited    14   Exhibit Number 3?
        15   by some of the papers you uncovered.                     15       A. No, I don't believe so.
        16        Q. Is that how you did the search in this           16       Q. Why is it your belief that Exhibit
        17   case?                                                    17   Number 3 doesn't include all of the articles in the
        18        A. Yes.                                             18   public domain about talc and ovarian cancer?
        19        Q. Did anyone assist you in doing the               19       A. Okay. It reflects my expertise and what I
        20   literature searches?                                     20   was asked to do. I am an epidemiologist. I have no
        21        A. No.                                              21   doubt that there may be literature in other fields
        22        Q. Did anyone help you pick out articles to         22   that may be relevant to this that I do not have the
        23   review for purposes of your opinions in this case?       23   expertise in, so it may be either more lab science
        24        A. No.                                              24   types of articles, possibly material sciences, and so
        25        Q. Had you read all of the articles -- strike       25   I feel that I have reviewed all of the epidemiologic
                                                                                           8 (Pages 26 to 29)
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                                                      Page 30                                                       Page 32
        1   literature, but I did -- cannot say with complete         1   the case-control studies with regard to whether
        2   assurance that I have reviewed all of the literature      2   there's an association between talc use and ovarian
        3   related to talc and ovarian cancer.                       3   cancer?
        4        Q. With regard to the materials listed in            4           MR. FARIES: Objection to form.
        5   Exhibit Number 3, did you review the entirety of all      5           THE WITNESS: I have read all of the
        6   of them?                                                  6       meta-analyses. Some of them are not restricted
        7        A. I have looked at all of them. Okay. Some          7       to case-control studies. Some include both
        8   of them are clearly in more detail than others.           8       cohort studies as well as case-control studies.
        9        Q. With regard to just the peer-reviewed             9   BY MR. HEGARTY:
       10   literature, did you review every page of every article   10       Q. With regard to the cohort studies, have
       11   listed?                                                  11   you read all of the cohort studies that have looked at
       12        A. Probably not.                                    12   talc use and ovarian cancer?
       13        Q. With regard to the company documents that        13           MR. FARIES: Objection to form.
       14   are listed on page 15 of 16, did you review the          14           THE WITNESS: Yes, I have.
       15   entirety of all of those documents?                      15   BY MR. HEGARTY:
       16        A. I looked at them and really did not give a       16       Q. With regard to the meta-analysis, the
       17   lot of weight to them. I didn't read them in great       17   case-control studies, the cohort studies, have you
       18   detail. It was somewhat hard to put them into            18   carefully assessed the strengths and weaknesses of all
       19   context, and so I -- I saw them, but I just didn't       19   of those studies?
       20   weight them heavily at all in my opinions.               20           MR. FARIES: Objection to form.
       21        Q. Did you review all of the materials listed       21           THE WITNESS: Yes, I believe that I have.
       22   on the last page in their entirety, in other words,      22   BY MR. HEGARTY:
       23   read every page?                                         23       Q. Before making any conclusions or drawing
       24        A. No, I did not.                                   24   any opinions with regard to the epidemiologic studies
       25        Q. Did you review the entirety of any of the        25   concerning talc use and ovarian cancer, do you agree
                                                      Page 31                                                       Page 33
        1   materials cited on the last page of Exhibit Number 3?     1   that it's important to account for bias, chance, and
        2       A. I have read most of these articles -- or           2   confounding in those studies?
        3   most of these documents to some extent intentionally.     3        A. Whenever I review the scientific
        4   I did not, you know -- because I wanted the opinions      4   literature, it's always important to consider
        5   that I offered to be my opinions, I intentionally         5   potential sources of bias.
        6   tried not to really delve into some of these              6        Q. Before reaching any opinions or
        7   transcripts, you know, dissecting every word or every     7   conclusions about talc and ovarian cancer, do you
        8   page.                                                     8   agree that it would be important to look at the entire
        9       Q. Have you read all of the case-control              9   body of literature on the subject?
       10   studies, population based and hospital based,            10             MR. FARIES: Objection to form.
       11   regarding whether there is an association between        11             THE WITNESS: Once again, could you,
       12   genital talc use and ovarian cancer?                     12        please?
       13            MR. FARIES: Objection to form.                  13   BY MR. HEGARTY:
       14            THE WITNESS: I believe that I have.             14        Q. Sure. Before coming to any opinions with
       15   BY MR. HEGARTY:                                          15   regard to talc and ovarian cancer and their
       16       Q. Do you -- have you concluded any                  16   relationship, do you agree that it's -- it would be
       17   particular papers with regard to the case-control        17   important to look at the entire body of literature
       18   studies that are more important to you than others?      18   that looks at talc and ovarian cancer?
       19            MR. FARIES: Objection to form.                  19             MR. FARIES: Objection to form.
       20            THE WITNESS: As I have replied                  20             THE WITNESS: Okay. If I'm understanding
       21       previously, I'm considering the entire body of       21        your question correctly, you're asking me should
       22       literature, it's important to do that, and so        22        I review the epidemiologic literature as well as
       23       all of them are important to make my opinion.        23        literature that may be in fields that are
       24   BY MR. HEGARTY:                                          24        somewhat far afield from my expertise.
       25       Q. Have you read all of the meta-analysis of         25

                                                                                          9 (Pages 30 to 33)
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                                                       Page 34                                                      Page 36
        1    BY MR. HEGARTY:                                          1   again, I am an epidemiologist, I am not a cancer or
        2         Q. Well, I'm not sure that's exactly it, but        2   cell biologist so . . .
        3    the entire body of literature as I would define it       3       Q. Can you name any of the studies that have
        4    would include animal studies, cell studies, other        4   examined whether talc is genotoxic?
        5    medical studies in addition to the epidemiologic         5       A. Once again, the authors I can't name off
        6    literature. Do you feel like it would be important to    6   the top of my head.
        7    review all of that literature as it relates to talc      7       Q. Have you looked at studies exploring
        8    and ovarian cancer before drawing any conclusions        8   whether talc is mutagenic to cells?
        9    about the association, if any, between talc and          9       A. I have not examined studies in detail for
       10    ovarian cancer?                                         10   the same reason as I've described previously.
       11             MR. FARIES: Objection to form.                 11       Q. Have you examined or reviewed studies that
       12             THE WITNESS: I think that it is important      12   have looked at whether talc is cytotoxic?
       13         to consider other literature while also            13       A. Once again, these are all studies in the
       14         recognizing where my expertise is.                 14   realm of cell biology, cancer biology, and I have not
       15    BY MR. HEGARTY:                                         15   reviewed them in detail because of my expertise.
       16         Q. Well, did you review all of the animal          16       Q. Are you an expert in whether talc is
       17    studies that have looked at the effect of talc? Let     17   genotoxic?
       18    me strike that.                                         18       A. No, I would not consider myself an expert.
       19             Have you reviewed all the animal studies       19       Q. Do you consider yourself an expert in the
       20    that have looked at the effects of talc on those        20   cell or animal studies looking at talc and ovarian
       21    animals?                                                21   cancer?
       22         A. I have looked at some of the animal             22       A. No, I do not consider myself an expert
       23    studies that have looked at the effects of talc. That   23   there.
       24    is not my area of expertise so -- my primary area of    24       Q. Are you an expert in the studies that have
       25    expertise so I cannot say with certainty that I have    25   looked at whether talc is mutagenic or cytotoxic?
                                                       Page 35                                                      Page 37
         1   reviewed all of the animal studies.                      1       A. No, I do not consider myself.
         2       Q. Can you name any of the animal studies            2       Q. Have you examined all of the studies
         3   where animals have been exposed and then the effects     3   looking at whether talc can migrate or be transported
         4   looked at?                                               4   from the perineum to the ovaries?
         5       A. I cannot recall the names of the authors.         5            MR. FARIES: Objection to form.
         6       Q. Are you aware that cell studies have been         6            THE WITNESS: I have looked at several of
         7   done where ovarian cancer cells have been exposed to     7       them. I've -- I have reviewed all that I'm
         8   talc? Are you aware of that?                             8       aware of.
         9       A. I am aware that some studies have been            9   BY MR. HEGARTY:
        10   done.                                                   10       Q. So Exhibit Number 3 would include all of
        11       Q. Have you reviewed all of the cell studies        11   the migration or translocation studies with regard to
        12   that have looked at the effects of talc on ovarian      12   talc to the ovaries that you're aware of; is that
        13   cancer cells?                                           13   correct?
        14       A. Once again, that is an area that is              14       A. I think so, but I'm not absolutely sure.
        15   outside my area of expertise. I have seen some of       15       Q. Do you consider yourself an expert in
        16   them. I have not done a comprehensive review of those   16   whether talc can migrate or translocate from the
        17   studies.                                                17   perineum to the ovaries?
        18       Q. Can you name any of those studies, sitting       18       A. Okay. I consider myself an expert in the
        19   here today?                                             19   epidemiology of ovarian cancer. These particular
        20       A. I can -- off the top of my head, I cannot        20   studies I would not necessarily consider myself an
        21   name the authors.                                       21   expert.
        22       Q. Have you reviewed studies looking at             22       Q. In looking back again at Exhibit Number 3,
        23   whether talc is genotoxic?                              23   the very last list of testimony that's cited there,
        24       A. I have looked at some studies that have          24   are you aware that there are tens of other expert
        25   discussed whether or not it is genotoxic, but once      25   transcripts besides those listed on the back page of
                                                                                        10 (Pages 34 to 37)
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                                                        Page 38                                                      Page 40
         1   Exhibit Number 3? Are you aware of that?                  1   documents that have been provided in this case by J&J
         2       A. I assume that there would be others, but I         2   and by Imerys?
         3   can't say that I knew that with certainty.                3       A. As I said, I don't know the volume of
         4       Q. There is one transcript of a Defense               4   documents. I assume that there would be others.
         5   expert on the back page of Exhibit Number 3. Are you      5       Q. Did you ask to review any other company
         6   aware that there are tens of other transcripts of         6   documents besides those listed in Exhibit Number 3?
         7   Defense experts?                                          7       A. I did not.
         8       A. I -- again, I do not know specifically,            8       Q. Why didn't you?
         9   but I certainly made the assumption that there were       9       A. I felt that my charge was to provide an
        10   other transcripts than these.                            10   opinion in my area of expertise, the epidemiology of
        11       Q. Did you ever ask counsel for Plaintiffs to        11   ovarian cancer, and so I felt that the best way to do
        12   provide you transcripts or reports of Defense experts    12   that was to rely on the published literature, the
        13   in this litigation?                                      13   peer-reviewed literature.
        14       A. No, I did not.                                    14       Q. There was a protective order that was
        15       Q. Did you have any interest in reviewing the        15   entered in the Ingham case with regard to review of
        16   transcripts or Defense report -- or -- or reports of     16   company documents. Did you sign that protective order
        17   the Defense experts in this litigation?                  17   before you reviewed the company documents?
        18       A. As I have said previously, I tried to form        18       A. I believe that I did.
        19   the opinions based on my review of the literature        19       Q. Did -- for purpose of your opinions in
        20   rather than basing it on someone else's opinions.        20   this case, did you do any of your own testing to
        21       Q. If we look at the second-to-last page of          21   support those opinions?
        22   Exhibit Number 3, there is a listing of Bates numbers    22           MR. FARIES: Objection to form.
        23   which are company documents which we spoke about a       23           THE WITNESS: Can you tell me what you
        24   moment ago. Do you actually rely on any of the           24       mean by "testing"?
        25   company documents listed on this page for your           25

                                                        Page 39                                                      Page 41
         1   opinions in this case?                                    1   BY MR. HEGARTY:
         2            MR. FARIES: Objection to form.                   2        Q. Sure. Did you do any of your own number
         3            THE WITNESS: As I said before, I gave            3   crunching or meta-analysis or your own analysis of the
         4       these a cursory readthrough. I found it               4   data besides what was listed in the published medical
         5       somewhat difficult to put them into context.          5   literature?
         6       They were over large period of time and so I          6        A. I did not perform a meta-analysis on my
         7       looked at them, I said, okay, there's some            7   own.
         8       information, but it was not something that I          8        Q. Did you reanalyze any of the data that's
         9       weighed heavily in my opinion.                        9   contained in any of the peer-reviewed literature that
        10   BY MR. HEGARTY:                                          10   you reviewed?
        11       Q. This list was not a list of documents that        11        A. No, I did not.
        12   you put -- you provided. Let me strike that, that's      12        Q. Did you come here today prepared to
        13   not -- that's a bad question.                            13   provide to us the opinions that you intend to offer in
        14            The materials listed here as far as Bates       14   this case?
        15   numbered documents were provided to you by Plaintiffs'   15        A. Yes, I did.
        16   counsel, correct?                                        16        Q. Can you tell me those opinions?
        17       A. That is correct.                                  17        A. Okay. My primary opinion is that based on
        18       Q. Are you aware that there are millions of          18   the body of scientific literature that with a
        19   other pages of company documents that have been          19   reasonable degree of scientific certainty that women
        20   produced in this litigation?                             20   who have used talcum powder products are at higher
        21       A. I don't know the volume of it, the                21   risk for ovarian cancer than women who did not use
        22   millions of pages, I assume that, yes, there were many   22   them.
        23   other documents.                                         23        Q. Any other opinions that you intend to
        24       Q. But do you understand that these documents        24   offer in this case?
        25   represent a tiny fraction of the total number of         25            MR. FARIES: Objection to form.

                                                                                         11 (Pages 38 to 41)
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                                                       Page 42                                                      Page 44
        1           THE WITNESS: Okay. That is my                     1   what you mean?
        2       overarching opinion and it is supported by my         2       A. Okay. As I formulated my opinion, as I'm
        3       review of the literature.                             3   sure you are aware, in epidemiology we often consider
        4   BY MR. HEGARTY:                                           4   the work of Austin Bradford Hill. He laid out some
        5       Q. And to your knowledge, do you intend to            5   considerations that scientists should reasonably
        6   offer any other "overarching" opinions besides that       6   consider as they're trying to form an opinion about
        7   opinion?                                                  7   causality. Okay. Not -- these are not criteria that
        8           MR. FARIES: Objection to form.                    8   have to be checked off, but they kind of lead one
        9           THE WITNESS: I will offer, perhaps, other         9   through a careful consideration of several, I think
       10       opinions in support of that primary opinion.         10   that he terms them viewpoints that should be taken
       11   BY MR. HEGARTY:                                          11   into account. And so I did consider what are
       12       Q. Are there any other primary opinions,             12   potential biologically plausible mechanisms for this
       13   though, besides that one?                                13   exposure and this outcome that we're considering.
       14       A. I -- that is my primary opinion, yes.             14       Q. Do you agree that there is talcum powder
       15       Q. With regard to your primary opinion, as it        15   that is asbestos-free?
       16   relates to women who are exposed to talc versus those    16            MR. FARIES: Objection to form.
       17   who are not exposed to talc, are your opinions that      17            THE WITNESS: I -- I am not a mineral
       18   the talc that's at issue is contaminated with            18       scientist and so I could not say that with
       19   asbestos?                                                19       certainty.
       20       A. My opinion is, I'm basing it on exposure          20   BY MR. HEGARTY:
       21   to talcum powder products and that it is possible that   21       Q. Is it your opinion that all talcum powder
       22   there are other constituents in the powder other than    22   products are contaminated with asbestos?
       23   just than -- other than just talc.                       23       A. I, once again, not a mineral scientist who
       24       Q. Do you intend to offer the opinion in this        24   has analyzed all talcum powder products so to say -- I
       25   case that J&J's baby powder and Shower to Shower         25   do not think that it is appropriate to give the
                                                       Page 43                                                      Page 45
        1   products have asbestos in them?                           1   absolutes as you just laid out, either all or none.
        2            MR. FARIES: Objection to form.                   2       Q. Do you have an opinion as to whether --
        3            THE WITNESS: Okay. As I have had                 3   strike that.
        4        discussions with Mr. Faries, he has asked me to      4            Do you -- do you have an opinion you
        5        consider if there is, in fact, evidence of other     5   intend to offer in this case that all talcum powder
        6        constituents, including asbestos, in the talcum      6   products have asbestos contamination?
        7        powder, how that would shape my opinion.             7       A. Once again, I would not offer the opinion
        8   BY MR. HEGARTY:                                           8   that "all" have asbestos contamination. I would
        9        Q. What was your response to that question?          9   refrain from, as I said, the absolutes, all of them do
       10        A. My response was that I -- I could consider       10   or none of them do.
       11   it as I formulated my opinion.                           11       Q. But do you intend to offer the opinion
       12        Q. And did you consider it in formulating           12   that J&J's baby power and Shower to Shower products
       13   your opinions for this case?                             13   over the years have been contaminated with asbestos?
       14        A. Yes, I did.                                      14       A. I will offer the opinion that I think that
       15        Q. And what was the nature of that                  15   there is some evidence that some of their products
       16   consideration?                                           16   have had asbestos contamination.
       17        A. It comes into play in relation to the            17       Q. What evidence is that?
       18   biological plausibility of this exposure and this        18       A. In the literature it is commonly stated
       19   outcome.                                                 19   that there was asbestos contamination of talc
       20        Q. Did you draw any -- let me back up.              20   products, particularly prior to 1976, but there has
       21            Did you analyze for purposes of your            21   also been some published literature as well as some
       22   opinions in this case biologic plausibility of talc      22   documents provided to me by the attorney that
       23   and ovarian cancer?                                      23   suggest -- or that indicates that products since that
       24        A. I considered biological plausibility, yes.       24   time period are not asbestos-free.
       25        Q. When you say "considered," can you tell me       25       Q. With regard to the literature, did any of

                                                                                        12 (Pages 42 to 45)
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                                                       Page 46                                                       Page 48
         1   the -- the literature specifically refer to Johnson's     1            MR. FARIES: Objection to form.
         2   baby powder and Johnson's Shower to Shower products?      2            THE WITNESS: No.
         3       A. I actually don't recall that level of              3   BY MR. HEGARTY:
         4   detail. I recall it being described as talcum powder.     4       Q. Do you feel that you've done enough work
         5       Q. With regard to the documents that you              5   to verify that assumption?
         6   mentioned in addition to that literature, are those       6            MR. FARIES: Objection to form.
         7   the documents that you received that are included in      7            THE WITNESS: To take that assumption, it
         8   Exhibit Number 3?                                         8       was not the full basis of my opinion, but I
         9            MR. FARIES: Oh, I'm sorry.                       9       think that I saw enough to say that this was an
        10            THE WITNESS: Yes.                               10       opinion with at least some scientific basis,
        11   BY MR. HEGARTY:                                          11       that it was not just pulled out of thin air.
        12       Q. Have you reviewed all of the testing              12   BY MR. HEGARTY:
        13   documents that J&J's provided in this case with regard   13       Q. Besides asbestos, did you make -- were you
        14   to the analysis of its talcum powder products?           14   told to make an assumption of any other constituents
        15       A. No, I have not.                                   15   within talcum powder products?
        16       Q. In fact, have you reviewed any testing            16       A. The primary assumption was based on
        17   documents beyond those, if any, that are referenced in   17   asbestos.
        18   Exhibit Number 3?                                        18       Q. Going back to your primary opinion, is it
        19       A. No, I have not.                                   19   your opinion that women who are exposed to -- or
        20       Q. Do you understand that J&J has produced           20   strike -- strike that.
        21   tens of thousands of testing documents in this case?     21            Is it your primary -- is it your opinion
        22       A. Once again, I don't know the volume of            22   that women who use talcum powder products without
        23   documents that J&J has produced.                         23   asbestos are at a higher risk of ovarian cancer than
        24       Q. Do you intend to offer the testimony that         24   women who did not use them?
        25   J&J's baby powder and Shower to Shower products have     25            MR. FARIES: Objection to form.
                                                       Page 47                                                       Page 49
        1    had asbestos in them without reviewing all of the         1           THE WITNESS: Okay. My opinion is that
        2    testing documents that have been produced in this         2       the studies on which I am basing my opinion, the
        3    case?                                                     3       epidemiologic studies, it is not possible to
        4             MR. FARIES: Objection to form.                   4       distinguish asbestos-containing talc products
        5             THE WITNESS: There will be -- my -- it is        5       from talc products that might not contain
        6         my understanding that there will be other            6       asbestos, and so I don't think that it is
        7         experts who are experts in mineral analysis          7       possible with the data I have to make that
        8         and -- and testing that will be testifying in        8       distinction. However, I do think that there is
        9         this case and I would anticipate that they will      9       biologically plausible reasons to expect that
       10         have done a much more thorough review of it. I      10       talc could lead to ovarian cancer even if there
       11         was -- my opinion here, as I stated previously,     11       were no asbestos contained in it.
       12         was based, in part, on Mr. Faries asking me to      12   BY MR. HEGARTY:
       13         make an assumption that some baby powders -- or     13       Q. Going back to your primary opinion, is it
       14         some talcum powder products do contain              14   your opinion that women who use talcum powder products
       15         constituents other than talc including asbestos.    15   that do not contain asbestos do have a higher risk of
       16    BY MR. HEGARTY:                                          16   ovarian cancer than women who do not?
       17         Q. Have you done anything yourself to verify        17           MR. FARIES: Objection to form.
       18    that assumption?                                         18           THE WITNESS: Okay. Once again, as I
       19         A. Okay. I have, again, read peer-reviewed          19       answered just a moment ago, we do not have that
       20    literature that indicates that that is not an            20       data in the epidemiologic studies. There is no
       21    unreasonable assumption.                                 21       way -- when women report their use of talcum
       22         Q. Anything besides the peer-reviewed               22       powder products, there is no way for us to say,
       23    literature and the review of the company documents       23       Did this talcum powder contain asbestos or not.
       24    identified in Exhibit Number 3 to verify that            24   BY MR. HEGARTY:
       25    assumption?                                              25       Q. So you would not be able to -- so you

                                                                                         13 (Pages 46 to 49)
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                                                       Page 50                                                       Page 52
         1   would not have the opinion, because you said you can't    1       A. Exactly.
         2   have the opinion because the data is not there, that      2       Q. There are eight other Bradford Hill
         3   women who use talcum powder without asbestos have a       3   factors, correct?
         4   higher risk of ovarian cancer than women who do not,      4       A. Correct.
         5   correct?                                                  5       Q. Have you analyzed all of the Bradford Hill
         6       A. Please repeat that one more time.                  6   factors besides biologic plausibility with regard to
         7       Q. Sure. Based on what you said, it cannot            7   the risk of talc without asbestos in ovarian cancer?
         8   be your opinion, then, that women who use talcum          8           MR. FARIES: Objection to form.
         9   powder products without asbestos are at a higher risk     9           THE WITNESS: The -- the answer remains
        10   of ovarian cancer than women who do not use such         10       the same. We are analyzing data that is based
        11   talcum powder products, correct?                         11       on women reporting talcum powder products.
        12           MR. FARIES: Objection to form.                   12       Okay. And those data -- those are -- the data
        13           THE WITNESS: My opinion is based on              13       that were analyzed, those are the data that I
        14       talcum powder products and the women in the          14       considered. It can only be based on the talcum
        15       studies that I considered, we -- we don't know.      15       powder products. It cannot be based on whether
        16       They're -- women who use talcum powder, they         16       talc didn't -- talc without asbestos or talc
        17       don't know, was there asbestos in it or not.         17       with asbestos because it's based just on the
        18       They just reported that they used talcum powder      18       reporting of the talcum powder product.
        19       products. So my opinion is based on the use of       19   BY MR. HEGARTY:
        20       talcum powder products.                              20       Q. Is there any data out there that has
        21   BY MR. HEGARTY:                                          21   looked at the risk of ovarian cancer with just talcum
        22       Q. So would -- is it correct, then, that you         22   powder without asbestos?
        23   don't know whether women who use talcum powder           23           MR. FARIES: Objection to form.
        24   products without asbestos are at a higher risk of        24           THE WITNESS: I -- I feel like you're
        25   ovarian cancer than women who don't use such products?   25       asking me the same question again and again.
                                                       Page 51                                                       Page 53
         1           MR. FARIES: Objection to form, asked and          1       All of the epidemiologic studies are asking
         2       answered.                                             2       about talcum powder product use. The women
         3   BY MR. HEGARTY:                                           3       would not have been able to -- to say this was
         4       Q. You can answer.                                    4       without asbestos or with asbestos. It's based
         5           MR. FARIES: You can repeat what you've            5       on talcum powder use.
         6       already said and then we'll move on.                  6           MR. FARIES: Mark, can we take a break
         7           THE WITNESS: Okay. Again, women have              7       now?
         8       reported on talcum powder products and my             8           MR. HEGARTY: Yeah.
         9       opinion is based on women who use talcum powder       9           MR. FARIES: Been going a little over an
        10       products. They had no way of knowing, did the        10       hour.
        11       products that they used contain asbestos or did      11           THE WITNESS: Okay.
        12       not. Okay. My opinion is based on the use of         12      (RECESS TAKEN FROM 10:04 A.M. TO 10:20 A.M.)
        13       the products that they reported.                     13           MR. HEGARTY: We're back on the record.
        14   BY MR. HEGARTY:                                          14   BY MR. HEGARTY:
        15       Q. Have you analyzed any -- strike that.             15       Q. Dr. Moorman, going back to your primary
        16           Have you developed any opinions on whether       16   opinion, is it your opinion -- is it going to be your
        17   talcum powder without asbestos increases the risk of     17   opinion in this case that talcum powder products cause
        18   ovarian cancer?                                          18   ovarian cancer?
        19       A. Okay. My opinion is that there are                19       A. Yes, it will be.
        20   biologically plausible reasons to -- to think that       20       Q. And if I were to ask you the same
        21   talc could lead to an increased risk of ovarian cancer   21   questions I asked you about talc without asbestos,
        22   even if there was no asbestos contamination.             22   your answers -- as I did when I asked you about talc
        23       Q. Understood.                                       23   increasing the risk, your answers would be the same,
        24           That's -- biologic plausibility is one of        24   correct?
        25   the Bradford Hill factors, correct?                      25           MR. FARIES: Objection to form.

                                                                                         14 (Pages 50 to 53)
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                                Patricia Moorman, Ph.D., M.S.P.H.
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         1           THE WITNESS: I would say -- repeat the            1       Q. When I talk about the studies looking at
         2       question, please.                                     2   asbestos and ovarian cancer, do you understand that
         3   BY MR. HEGARTY:                                           3   I'm separating those out of the talcum powder products
         4       Q. Sure. If I ask you the same series of              4   looking at ovarian cancer? Do you understand that?
         5   questions about talc without asbestos as it relates to    5       A. Yes, I do understand that.
         6   your primary opinion about talc increasing the risk of    6       Q. And do you know how many studies that have
         7   ovarian cancer in users versus nonusers, but I asked      7   looked at asbestos exposure in ovarian cancer that are
         8   those same questions as to talc causing ovarian           8   occupational exposures?
         9   cancer, you would give me the same answers; is that       9       A. I do not know the exact number. I know
        10   correct?                                                 10   that there have been quite a few.
        11           MR. FARIES: Objection to form.                   11       Q. Do you know if there have been any
        12           THE WITNESS: My answer would be that             12   nonoccupational exposure studies looking at asbestos
        13       talcum powder products on the basis of how women     13   exposure in ovarian cancer?
        14       reported them in these studies based on the          14       A. Yes, there are studies characterized as
        15       entire body of literature, yes, I would say that     15   more environmental asbestos exposure.
        16       talcum powder products, it can cause ovarian         16       Q. Can you name for me any such studies?
        17       cancer.                                              17       A. I cannot name the specific authors. I
        18   BY MR. HEGARTY:                                          18   believe that there was a study that was done in
        19       Q. If the evidence establishes that Johnson          19   Australia where women were not directly occupationally
        20   baby powder and Shower to Shower have been asbestos      20   exposed, but it was thought that they had exposure
        21   free over the years, is it correct that you would not    21   either through inhalation exposure or, perhaps,
        22   have the opinion that Johnson baby powder and Shower     22   through a family member involved in the industry.
        23   to Shower cause ovarian cancer?                          23       Q. Do you know how many total women have been
        24           MR. FARIES: Objection to form. Objection         24   studied in the studies looking at asbestos exposure in
        25       to the incomplete hypothetical.                      25   asbestos -- I mean, in ovarian cancer?

                                                       Page 55                                                       Page 57
         1   BY MR. HEGARTY:                                           1       A. I do not know the exact number.
         2        Q. You can answer.                                   2       Q. Are you aware of the difficulties that
         3        A. Okay. My opinion is not based on --               3   have existed over time distinguishing between
         4   exclusively on them containing asbestos. My opinion       4   peritoneal mesothelioma and ovarian cancer?
         5   is based on the talcum powder products that the women     5            MR. FARIES: Objection to form.
         6   reported in our -- in the studies.                        6            THE WITNESS: I am aware that that has
         7        Q. Is it your opinion that asbestos causes           7       been an issue that has been discussed in the
         8   ovarian cancer?                                           8       literature.
         9        A. Yes.                                              9   BY MR. HEGARTY:
        10        Q. Have you done an in-depth analysis of the        10       Q. What are the difficulties in
        11   literature looking at asbestos exposure in ovarian       11   distinguishing between peritoneal mesothelioma and
        12   cancer?                                                  12   ovarian cancer?
        13        A. I have looked at the literature related to       13            MR. FARIES: Objection to form.
        14   asbestos in ovarian cancer, yes.                         14            THE WITNESS: Many times ovarian cancer is
        15        Q. How many studies have looked at the              15       rather advanced when it is diagnosed, and there
        16   potential link between asbestos and ovarian cancer?      16       can be some involvement throughout the
        17            MR. FARIES: Objection to form.                  17       peritoneum, and sometimes -- so some authors
        18            THE WITNESS: I cannot give you an exact         18       have indicated that it can be a little bit
        19        answer.                                             19       difficult or have raised the opinion that it
        20   BY MR. HEGARTY:                                          20       might be difficult to distinguish between an
        21        Q. Do you list all of the studies you               21       ovarian and a peritoneal.
        22   reviewed with regard to asbestos only in ovarian         22   BY MR. HEGARTY:
        23   cancer in your disclosure, Exhibit Number 3?             23       Q. That difficulty can lead to a
        24        A. I don't know. I don't know. There have           24   misclassification of cases in controls, correct?
        25   been quite a lot of those studies.                       25       A. That has been an issue discussed in the

                                                                                         15 (Pages 54 to 57)
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                                Patricia Moorman, Ph.D., M.S.P.H.
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        1   literature.                                               1   conclusion either -- or either the overall conclusion
        2        Q. And misclassification -- such                     2   or the -- the strength of the association that you're
        3   misclassification would also be called                    3   looking at.
        4   misclassification bias, correct?                          4       Q. Would you agree that exposure to asbestos
        5        A. It -- yes, it is a potential bias, yes.           5   through perineal cosmetic talc use, assuming that talc
        6        Q. And such a potential bias can affect the          6   has asbestos in it, is different from an occupational
        7   results of any study looking at asbestos exposure in      7   exposure to asbestos in a factory or in a plant?
        8   ovarian cancer, correct?                                  8           MR. FARIES: Objection to form.
        9            MR. FARIES: Objection to form.                   9           THE WITNESS: So you -- is exposure to
       10            THE WITNESS: Yes, we examine biases,            10       asbestos in an occupational exposure different
       11        potential biases because of our concern about       11       than exposure through use in talcum powder?
       12        how they might affect the conclusions of the        12   BY MR. HEGARTY:
       13        study.                                              13       Q. Assuming for purpose of the question that
       14   BY MR. HEGARTY:                                          14   talcum powder has asbestos in it.
       15        Q. And have the studies that have looked at         15       A. Has asbestos in it.
       16   asbestos exposure in ovarian cancer considered           16           MR. FARIES: Objection to form.
       17   confounding as it relates to whether you're looking at   17           THE WITNESS: They are somewhat different
       18   occupational versus nonoccupational -- strike that.      18       exposures.
       19   Let me start over again.                                 19   BY MR. HEGARTY:
       20            Have there been studies looking at or           20       Q. How are they different?
       21   trying to address confounding as an independent risk     21       A. In the -- probably in the level of
       22   factor?                                                  22   exposure.
       23            MR. FARIES: Objection to form.                  23       Q. Would you agree that studies that have
       24            THE WITNESS: Off the top of my head, I          24   looked at, for example, women working in factories
       25        can't recall the extent to which they address       25   where asbestos is part of the product have a different
                                                       Page 59                                                      Page 61
        1       confounding in those studies.                         1   level of exposure than women who use talcum powder
        2   BY MR. HEGARTY:                                           2   products, assuming for the question that there is even
        3       Q. For example, in the talc ovarian cancer            3   any talc -- any asbestos in talcum powder products?
        4   studies, a number of factors are adjusted for in those    4            MR. FARIES: Objection to form.
        5   studies to address confounding, correct?                  5            THE WITNESS: I think that it is
        6       A. Yes, that is very common.                          6        reasonable to assume that women who are working
        7       Q. And have the studies that have looked at           7        in an occupation that makes asbestos-based
        8   asbestos exposure in ovarian cancer all accounted for     8        products, that they're going to have a different
        9   or adjusted for potential confounding factors such as     9        level of exposure than women who have -- who use
       10   other risk factors for ovarian cancer?                   10        talcum powder products.
       11           MR. FARIES: Objection to form.                   11   BY MR. HEGARTY:
       12           THE WITNESS: As I answered previously, I         12        Q. That different level of exposure would be
       13       cannot recall in those studies the degree to         13   a higher level of exposure, correct?
       14       which they controlled for confounding.               14        A. In -- most likely, yes.
       15   BY MR. HEGARTY:                                          15        Q. Have you made any effort to quantify the
       16       Q. If studies don't control for confounding,         16   differences in exposures between the occupational
       17   again, that can lead to results that are potentially     17   studies looking at asbestos and ovarian cancer and
       18   inaccurate, correct?                                     18   studies looking at talcum powder products and ovarian
       19           MR. FARIES: Objection to form.                   19   cancer?
       20           THE WITNESS: If you do not control for           20        A. I have -- I have not done that. However,
       21       confounding, it is a potential bias, yes.            21   I think that it is important to bear in mind that
       22   BY MR. HEGARTY:                                          22   several authoritative bodies have designated that
       23       Q. And a potential bias can distort the              23   there is no safe level of asbestos exposure.
       24   results of the study, correct?                           24        Q. Is it your opinion that there is no safe
       25       A. It can lead to making an inaccurate               25   level of asbestos exposure?

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                                 Patricia Moorman, Ph.D., M.S.P.H.
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         1       A. It is my opinion.                                  1   which subtypes were considered.
         2       Q. And what is that opinion based on?                 2        Q. Generally what had been the range of
         3       A. My opinion is based on, as I said, several         3   relative risks or odds ratios reported between
         4   organizations: The World Health Organization, and I       4   asbestos exposure and ovarian cancer?
         5   believe NIOSH has also indicate -- and The World Trade    5            MR. FARIES: Objection to form.
         6   Organization. I believe that all of them have issued      6            THE WITNESS: You know, there have been
         7   documents indicating that there is no safe level of       7        many papers that have -- that I have looked at.
         8   asbestos exposure.                                        8        All of the papers have many numbers reported in
         9       Q. Any other authorities that you would cite          9        them, so it's rather hard to say precisely. It
        10   to for support for your opinion that there is no safe    10        seems like most of them are in the range of
        11   level of asbestos exposure?                              11        standard mortality ratios around 3ish.
        12       A. Those are the ones that come to mind.             12   BY MR. HEGARTY:
        13       Q. In the studies that have looked at                13        Q. Well, do you have an opinion as to the
        14   asbestos exposure in ovarian cancer, what types of       14   overall relative risk of ovarian cancer with talcum
        15   asbestos have they looked at?                            15   powder product use?
        16           MR. FARIES: Objection to form.                   16        A. The range, the overall --
        17           THE WITNESS: Once again, I -- I cannot           17        Q. Let me ask it again. Do you have a
        18       recall specifically what they had looked at.         18   particular relative risk or odds ratio that you
        19   BY MR. HEGARTY:                                          19   attribute to exposure to talcum powder products in
        20       Q. What is the most common type of asbestos?         20   ovarian cancer?
        21           MR. FARIES: Objection to form.                   21        A. Okay.
        22           THE WITNESS: Once again, I want to point         22            MR. FARIES: Objection to form.
        23       out that I am not a mineral specialist. My           23            THE WITNESS: Based on multiple
        24       understanding is that all forms of asbestos are      24        meta-analyses, the summary relative risk, the
        25       not good for you and all should be avoided, so       25        overall relative risk associated with talcum
                                                       Page 63                                                       Page 65
        1         I -- I really never considered that as I, you        1       powder use has been approximately 1.25, 1.3.
        2         know, evaluated or read that literature.             2   BY MR. HEGARTY:
        3    BY MR. HEGARTY:                                           3       Q. And have you determined such a overall
        4         Q. Can you name the various types of                 4   relative risk for asbestos exposure in ovarian cancer?
        5    asbestos?                                                 5       A. There have been meta-analyses that have
        6         A. Some of them.                                     6   looked at that. Off the top of my head, I cannot
        7         Q. Tell me the names that you know.                  7   recall the exact value.
        8         A. Tremolite and chrysotile, and I know there        8            MR. FARIES: I'm sorry, can we pause for a
        9    are others, but I can't recall them.                      9       second? I'm going to see if I can get these
       10         Q. Does the effect of various types of              10       guys in the hallway outside just to quiet down
       11    asbestos -- strike that.                                 11       for a sec.
       12              Is the risk of ovarian cancer affected by      12           (DISCUSSION HELD OFF THE RECORD)
       13    the type of asbestos to which a person is exposed to?    13   BY MR. HEGARTY:
       14    In other words, is the risk different by -- based on     14       Q. The last question really went back to the
       15    subtype or subtype of asbestos?                          15   previous one where I had asked you whether you
       16              MR. FARIES: Objection to form.                 16   formulated an opinion or came to an overall relative
       17              THE WITNESS: I don't know that any             17   risk or odds ratio for talcum powder use in ovarian
       18         literature has actually evaluated that. I . . .     18   cancer that you then responded by saying as 1.25 to
       19    BY MR. HEGARTY:                                          19   1.3. So my question was whether you've done the same
       20         Q. How about as to subtype of ovarian cancer,       20   thing as to the literature looking at asbestos
       21    is there certain subtypes of ovarian cancer that are     21   exposure and to be more specifically, occupational
       22    believed more strongly linked to asbestos exposure       22   asbestos exposure and ovarian cancer?
       23    than others?                                             23            MR. FARIES: Objection to form.
       24         A. I don't recall in the studies that have          24            THE WITNESS: Okay. Once again, I have
       25    looked at it in relation to asbestos, the extent to      25       read that literature, and I have read hundreds

                                                                                         17 (Pages 62 to 65)
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                               Patricia Moorman, Ph.D., M.S.P.H.
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        1       of papers. I cannot off the top of my head            1       hundreds of documents I reviewed, and some of
        2       recall what the overall estimate like from --         2       the specific details, I believe the IARC
        3       for example, meta-analyses of asbestos exposure       3       document assessed primarily occupational
        4       in ovarian cancer.                                    4       exposure, that I thought that they also looked
        5   BY MR. HEGARTY:                                           5       at some of the nonoccupational exposure.
        6       Q. With regard to the studies that have               6   BY MR. HEGARTY:
        7   looked at asbestos exposure in ovarian cancer, is         7       Q. Do you recall the Working Group's --
        8   there a difference in overall relative risks or odd       8   strike that.
        9   ratios between the cases that have looked at              9            Do you recall the IARC monograph stating
       10   occupational exposure -- studies that have looked at     10   that the Working Group based its causal findings on
       11   occupational exposure and those studies that have        11   five strongly positive cohort mortality studies of
       12   looked at nonoccupational exposure? In other words,      12   women with heavy occupational exposure to asbestos?
       13   are the relative risks different between the two types   13   Does that sound familiar to you?
       14   of studies?                                              14            MR. FARIES: Objection to form.
       15           MR. FARIES: Objection to form.                   15            THE WITNESS: That sounds vaguely
       16           THE WITNESS: Once again, I am having -- I        16       familiar, yes.
       17       cannot say with certainty what exactly they          17   BY MR. HEGARTY:
       18       reported.                                            18       Q. Do you recall the Working Group
       19   BY MR. HEGARTY:                                          19   acknowledging that an association with nonoccupational
       20       Q. Do you recall from reading your -- from           20   exposure was nonsignificant?
       21   your reading of the literature whether the relative      21            MR. FARIES: Objection to form.
       22   risks are higher for occupational exposures versus       22            THE WITNESS: Again, some of the specific
       23   nonoccupational exposures as it relates to asbestos      23       details, it's very hard to recall all of them.
       24   and ovarian cancer?                                      24       I don't recall that specifically.
       25       A. Once again, I cannot recall exactly the           25

                                                      Page 67                                                       Page 69
        1   values reported.                                          1   BY MR. HEGARTY:
        2       Q. Do you recall formulating an opinion or if         2       Q. If there is a causal relationship between
        3   you did -- strike that.                                   3   talcum powder product use and ovarian cancer, wouldn't
        4            Do you recall if you formulated an opinion       4   you expect to find higher rates of other cancers in
        5   that the literature was sufficient to establish a         5   women using talc such as mesothelioma?
        6   causal relationship between nonoccupational exposure      6           MR. FARIES: Objection to form.
        7   to asbestos and ovarian cancer?                           7           THE WITNESS: Please repeat the question.
        8            MR. FARIES: Objection to form.                   8   BY MR. HEGARTY:
        9            THE WITNESS: I do not recall the                 9       Q. Sure. If there was an increased risk of
       10       literature making that distinction. I -- my          10   ovarian cancer with the use of talcum powder products,
       11       overall feeling about it is that any level of        11   wouldn't you expect to find a higher incidence of
       12       asbestos exposure was to be avoided, was the         12   mesothelioma in women using talcum powder products?
       13       overall conclusion from these studies.               13           MR. FARIES: Objection to form.
       14   BY MR. HEGARTY:                                          14           THE WITNESS: I would say that is a "it
       15       Q. Did you review the IARC monograph on              15       depends" answer. Okay? You know, recognizing
       16   asbestos?                                                16       that mesothelioma is a much less common cancer
       17       A. Yes, I did look at that.                          17       than ovarian cancer, it makes it even more
       18       Q. And weren't the Working Group's causal            18       difficult to study. And my opinion is that it
       19   findings based on studies of women with heavy            19       is not simply asbestos that could lead to the
       20   occupational exposure?                                   20       association between talc use -- or talcum powder
       21            MR. FARIES: Objection to form.                  21       products and ovarian cancer. That could be part
       22   BY MR. HEGARTY:                                          22       of it, but that is not the whole thing.
       23       Q. Do you remember that?                             23   BY MR. HEGARTY:
       24            MR. FARIES: Sorry. Objection to form.           24       Q. Is it your opinion that women who use talc
       25            THE WITNESS: Again, this is one of              25   perineally are at a greater risk of mesothelioma?

                                                                                        18 (Pages 66 to 69)
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                                 Patricia Moorman, Ph.D., M.S.P.H.
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         1       A. I have never expressed that opinion.               1       A. Correct.
         2       Q. Is it your opinion that -- or strike that.         2       Q. My question is, having read those
         3           Do you have the opinion that women who use        3   articles, have you formulated an opinion to a
         4   talc perineally are at a greater risk of any other        4   reasonable degree of scientific probability as to the
         5   type of cancer besides ovarian cancer?                    5   mechanism by which asbestos exposure could cause
         6       A. My opinion is that the evidence is                 6   ovarian cancer?
         7   inadequate to make that judgment as compared to           7       A. Yes, I have an overall opinion to my level
         8   ovarian cancer. Other cancer sites have been studied      8   of understanding, considering that I'm not a cancer
         9   much less, and so I don't think that it is -- we can      9   biologist.
        10   make that judgment yet.                                  10       Q. What is that overall opinion?
        11       Q. Have you examined whether the literature          11       A. It seems as if the overall mechanism, in
        12   looking at asbestos exposure in ovarian cancer shows a   12   large part, can be related to chronic inflammation,
        13   consistent relationship between asbestos exposure and    13   and then along with the inflammatory process there are
        14   ovarian cancer?                                          14   many cellular products, including the generation of
        15           MR. FARIES: Objection to form.                   15   reactive oxygen species, that could cause damage to
        16           THE WITNESS: So I'm thinking about the           16   DNA and ultimately lead to cancer.
        17       word "consistent" and how you are using that.        17       Q. Is that biologic mechanism dependent on
        18   BY MR. HEGARTY:                                          18   the volume of fibers that -- to which the ovary is
        19       Q. Let me ask it again.                              19   exposed?
        20       A. Okay.                                             20            MR. FARIES: Objection to form.
        21       Q. Have you done any type of analysis on             21            THE WITNESS: I do not think that it is
        22   whether the literature looking at asbestos exposure in   22       wholly dependent on the volume of fibers.
        23   ovarian cancer is consistent?                            23   BY MR. HEGARTY:
        24       A. I --                                              24       Q. Is there an established number of fibers
        25           MR. FARIES: Objection to form.                   25   that is necessary to cause this biologic mechanism you
                                                        Page 71                                                      Page 73
         1            THE WITNESS: I have not analyzed those           1   just described?
         2        data.                                                2            MR. FARIES: Objection to form.
         3   BY MR. HEGARTY:                                           3            THE WITNESS: I have never read anything
         4        Q. Have you analyzed whether there's a dose          4       that would suggest that.
         5   response in the literature that has looked at asbestos    5   BY MR. HEGARTY:
         6   exposure and ovarian cancer?                              6       Q. Is it your opinion that science has come
         7        A. I have not analyzed those data.                   7   to a consensus about the biologic mechanism by which
         8        Q. Have you analyzed the biologic mechanism          8   asbestos exposure could cause ovarian cancer?
         9   by which asbestos exposure could cause ovarian cancer?    9            MR. FARIES: Objection to form.
        10        A. I have read some about the possible              10            THE WITNESS: I have read this mechanism
        11   biologic or the proposed plausible biological            11       in multiple papers. Inflammation from many
        12   mechanism. As I stated earlier, I am not a cancer        12       causes is sometimes described as like a hallmark
        13   biologist, and so it seems like there are some fairly    13       of cancer, and I think that, though, we do have
        14   consistently reported proposed mechanisms, but, again,   14       to put that in context that scientific knowledge
        15   it is somewhat out of my area of expertise to evaluate   15       is incomplete, and so I think that this is a
        16   those mechanisms.                                        16       commonly described mechanism. I think that it
        17        Q. Well, have you come to an opinion to a           17       may evolve as scientific knowledge evolves.
        18   reasonable degree of scientific certainty as to the      18   BY MR. HEGARTY:
        19   biologic mechanism by which asbestos exposure causes     19       Q. Can asbestos exposure through inhalation
        20   ovarian cancer?                                          20   cause ovarian cancer?
        21        A. I have read papers that have laid out            21       A. Based on the literature that I've read, it
        22   plausible biological mechanisms.                         22   does appear that that is a possible route of exposure.
        23        Q. Sure. My question is a little bit                23       Q. How does asbestos -- or strike that.
        24   different. Having read an article, you understand,       24            Is asbestos exposure to the ovaries
        25   doesn't mean you've formulated an opinion, correct?      25   necessary under your biological mechanism opinion, in

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                                 Patricia Moorman, Ph.D., M.S.P.H.
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        1    other words, is it necessary that the asbestos reach      1            THE WITNESS: You are addressing a
        2    the ovaries for this biologic mechanism to happen?        2        hypothetical --
        3            MR. FARIES: Objection to form.                    3   BY MR. HEGARTY:
        4            THE WITNESS: Again, recognizing that I am         4        Q. Correct.
        5        not an overall expert in the cancer biology, my       5        A. -- that is impossible. The -- every study
        6        understanding is that reaching the ovaries, of        6   asked women to recall their use of talcum powder, and
        7        course, is a key role, but there is also a            7   in many cases it dated back decades. There would be
        8        thought that generalized inflammation in the          8   no way to test whether or not the powders that the
        9        body could also contribute to ovarian cancer          9   women used contained asbestos or not. So it is a
       10        risk.                                                10   hypothetical -- what you're asking is hypothetical and
       11    BY MR. HEGARTY:                                          11   impossible.
       12        Q. How does -- how do talc -- strike that.           12        Q. Well, we are allowed to ask hypotheticals.
       13            How do asbestos fibers that are inhaled          13        A. Yeah, uh-huh.
       14    reach the ovaries?                                       14        Q. And my hypothetical does assume that going
       15            MR. FARIES: Objection to form.                   15   into the study there is some -- have been some way --
       16            THE WITNESS: My understanding is that            16   there's some means to have determined whether the
       17        studies have shown that people who apparently        17   powders that were used by the women had asbestos in it
       18        have only exposure through inhalation, that          18   or not. That's an assumption in that hypothetical.
       19        asbestos fibers have been demonstrated in            19   And if you were able to determine that, understanding
       20        multiple body parts. Some of it, I believe, is       20   that we can't think of a way to do it here today, but
       21        potential transport through the lymphatic            21   if it's possible, wouldn't the asbestos have to be
       22        system, but I believe that people suspect that       22   accounted for as a confounding factor in that study?
       23        there may be other potential mechanisms as well.     23            MR. FARIES: Objection to form.
       24    BY MR. HEGARTY:                                          24            THE WITNESS: Once again, I would not
       25        Q. Do you recall any papers that have                25        consider it a confounder. I would consider it a

                                                       Page 75                                                        Page 77
         1   described that -- any of those potential mechanisms?      1        separate exposure, okay? So much -- if I may
         2        A. Off the top of my head, I could not name a        2        use another example. If we are looking at
         3   specific paper.                                           3        menopausal hormone use in relation to cancer,
         4        Q. We talked earlier about the literature as         4        okay, there may be different effects for
         5   it relates to talcum powder in ovarian cancer. Is it      5        menopausal estrogen use versus menopausal
         6   your contention that the studies that have looked at      6        estrogen plus progestin. When you would do your
         7   talcum powder in ovarian cancer have been confounded      7        analysis, you would not control for progestin
         8   by the presence of asbestos in the talcum powder?         8        use when you're looking at estrogen. You would
         9            MR. FARIES: Objection to form.                   9        look at them as two distinct exposures and not
        10            THE WITNESS: I would not use the word           10        confounders.
        11        "confounding" in this context. I think that as      11   BY MR. HEGARTY:
        12        we have said, we -- the studies -- the              12        Q. So under my hypothetical, you would look
        13        epidemiologic studies have looked at exposure to    13   at -- you would compare women who had asbestos in the
        14        talcum powder products, some of which may           14   talcum powder versus those who -- as one group, and
        15        contain asbestos, some may not, but we don't        15   you would compare women who didn't have asbestos in
        16        know -- women who reported their use don't know     16   the talcum powder as a separate group?
        17        that.                                               17            MR. FARIES: Objection to form.
        18   BY MR. HEGARTY:                                          18   BY MR. HEGARTY:
        19        Q. Don't you agree that if in advance of the        19        Q. Did I say that right?
        20   study, if the scientist could determine if women -- if   20        A. If what you described was possible, which
        21   some women in the study were exposed to talcum powder    21   I've already stated would not be possible, one
        22   with asbestos and some were not, that you would have     22   would -- an epidemiologist would typically compare the
        23   to account for that -- the presence of asbestos as a     23   women who had talc with no asbestos in it, compare
        24   confounding factor in that study?                        24   them to women who reported no powder use, and
        25            MR. FARIES: Objection to form.                  25   similarly they would compare the women with

                                                                                         20 (Pages 74 to 77)
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         1   asbestos-containing talc to those with no powder use.     1       A. I really don't know.
         2       Q. Going back to some of the review materials         2       Q. Are you aware if FDA reviewed that issue,
         3   we talked about a little earlier, with regard to the      3   the issue of a causal link between talcum powder
         4   company documents you reviewed, you had not seen any      4   products and ovarian cancer back in the 1994 time
         5   of those documents before being contacted by a            5   frame?
         6   Plaintiffs' counsel, correct?                             6           MR. FARIES: Objection to form.
         7       A. That is correct.                                   7           THE WITNESS: As I said previously, I
         8       Q. You have never worked for Johnson &                8       don't recall the exact date when they did it.
         9   Johnson, correct?                                         9   BY MR. HEGARTY:
        10       A. No, I have not.                                   10       Q. Are you familiar at all with a workshop
        11       Q. You've never worked for Imerys Talc               11   that was put together by FDA in the ISRTP back in
        12   America, correct?                                        12   1994?
        13       A. No, I have not.                                   13       A. Not specifically, no.
        14       Q. Have you ever worked for any company who          14       Q. Do you know what ISRTP stands for?
        15   has manufactured or sold a talcum powder product?        15       A. No, I do not.
        16       A. Yes.                                              16       Q. Are you aware of FDA evaluating two
        17       Q. Who is that?                                      17   citizen petitions that sought FDA -- or that asked FDA
        18       A. I was a pharmacist, and I worked in               18   to require warnings of ovarian cancer on talcum powder
        19   multiple drugstores over the years and all of them       19   products?
        20   would have sold different types of powders.              20       A. I am --
        21       Q. Have you ever worked for a company who            21           MR. FARIES: Objection to form.
        22   actually manufactured a talcum powder product?           22           THE WITNESS: I am aware of that.
        23       A. No, I have not.                                   23   BY MR. HEGARTY:
        24       Q. Have you ever spoken to anyone at J&J or          24       Q. What did FDA conclude with regard to its
        25   Imerys regarding their talcum powder products?           25   analysis of those two citizen petitions?

                                                       Page 79                                                        Page 81
         1       A. No, I have not.                                    1           MR. FARIES: Objection to form.
         2       Q. Have you ever spoken to any company who            2           THE WITNESS: I do not recall the exact
         3   has made a talcum powder product about their product,     3       conclusion that they made.
         4   what's in it, anything about it?                          4   BY MR. HEGARTY:
         5       A. No, I have not.                                    5       Q. Did you review the FDA's letter that
         6       Q. Have you been involved in the development          6   responded to the two citizen petitions asking for
         7   of any talcum powder product?                             7   warnings as to talcum powder products in ovarian
         8       A. No, I have not.                                    8   cancer?
         9       Q. Have you ever worked directly for FDA?             9       A. I have read that at some point, yes.
        10       A. No, I have not.                                   10       Q. Was that a letter you found on your own,
        11       Q. Are you aware that FDA has looked at the          11   or was that a letter provided to you by Plaintiffs'
        12   issue of a causal link between talcum powder products    12   counsel?
        13   and ovarian cancer?                                      13       A. That was provided to me by the attorney.
        14           MR. FARIES: Objection to form.                   14       Q. Are you aware that FDA has tested consumer
        15           THE WITNESS: I am aware of -- that FDA,          15   talc products for the presence of asbestos?
        16       yes, has done that.                                  16       A. I am aware of that.
        17   BY MR. HEGARTY:                                          17       Q. Do you know when they did that?
        18       Q. When has FDA looked at the issue of a             18       A. Once again, I do not recall the exact
        19   causal link between talcum powder products and ovarian   19   dates.
        20   cancer?                                                  20       Q. Do you recall what the results were of
        21       A. I cannot say the exact date.                      21   those tests?
        22       Q. In what context did that review occur, or         22       A. In general terms, in at least one of --
        23   what was the situation that they looked at the causal    23   the report that I recall reading, they did not
        24   link between talcum powder products and ovarian          24   identify talc in the products that they tested, but I
        25   cancer?                                                  25   believe that they also made the statement to the

                                                                                         21 (Pages 78 to 81)
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        1    effect that they did not test all possible products.     1   analysis in this case in developing your opinions to
        2        Q. Do you recall that FDA as part of that            2   know whether FDA has designated talc as a GRAS
        3    testing process did test samples of Johnson's baby       3   substance?
        4    powder and Shower to Shower?                             4       A. As --
        5        A. I don't remember specifically which               5            MR. FARIES: Objection to form.
        6    products they tested, once again, the many documents     6            THE WITNESS: As I've stated repeatedly,
        7    I've read.                                               7       considering all the information is important in
        8        Q. Did you factor or consider -- strike that.        8       forming the opinion.
        9            Did you consider those test results in           9   BY MR. HEGARTY:
       10    your analysis in developing your opinions in this       10       Q. That's not something that you know one way
       11    case?                                                   11   or the other?
       12        A. As I have stated before, I read a lot of         12       A. I do -- I already told you that I do
       13    papers, considered a lot of things when making my       13   not -- I did not recall anything specifically saying
       14    opinion, and that was part of what I considered.        14   they designated this as GRAS.
       15        Q. Has FDA ever sought your opinions                15       Q. Has FDA ever concluded there is evidence
       16    regarding talcum powder -- regarding talcum powder      16   of a causal relationship between genital use of talcum
       17    products and ovarian cancer?                            17   powder products and ovarian cancer?
       18        A. No, they have not.                               18            MR. FARIES: Objection to form.
       19        Q. You do agree that FDA has authority over         19            THE WITNESS: I do not recall seeing
       20    talcum powder products, they are authorized to          20       anything that they made that conclusion.
       21    regulate that particular line of products?              21   BY MR. HEGARTY:
       22            MR. FARIES: Objection to form.                  22       Q. Has FDA ever required a warning of ovarian
       23            THE WITNESS: I have to say that I am not        23   cancer on talcum powder products?
       24        absolutely certain of that.                         24            MR. FARIES: Objection to form.
       25                                                            25            THE WITNESS: To my knowledge, they have
                                                      Page 83                                                       Page 85
         1   BY MR. HEGARTY:                                          1       not.
         2       Q. Do you know what the designation GRAS             2   BY MR. HEGARTY:
         3   means, G-R-A-S?                                          3       Q. Has any governmental agency or entity
         4       A. Yes.                                              4   anywhere in the world ever concluded that talcum
         5       Q. What does it mean?                                5   powder products cause ovarian cancer?
         6       A. Going back to my pharmacy school days, I          6            MR. FARIES: Objection to form.
         7   recall that it was generally recognized as safe if my    7            THE WITNESS: I don't know in all the
         8   memory serves me correctly.                              8       world. I don't -- I am not aware.
         9       Q. Has FDA applied that GRAS finding to talc?        9   BY MR. HEGARTY:
        10            MR. FARIES: Objection to form.                 10       Q. Has any governmental agency anywhere in
        11            THE WITNESS: I do not know specifically.       11   the world concluded that talcum powder products
        12   BY MR. HEGARTY:                                         12   increase the risk of ovarian cancer?
        13       Q. Is that something you would want to know         13            MR. FARIES: Objection to form.
        14   for purposes of your opinions in this case?             14            THE WITNESS: I am not aware of any that
        15            MR. FARIES: Objection to form.                 15       have.
        16            THE WITNESS: Any more information I have       16            MR. FARIES: I know it hasn't been an
        17       would be the better.                                17       hour, but if you're about to transition, I could
        18   BY MR. HEGARTY:                                         18       use a comfort break.
        19       Q. Well, would it be important for purpose of       19            MR. HEGARTY: Sure, yeah. I was going to
        20   your opinion to look at whether FDA has designated      20       get a document out, so it might go for a little
        21   talc as a GRAS substance?                               21       bit, not long, but yeah, if you want to take a
        22            MR. FARIES: Objection to form.                 22       break now, that's fine.
        23            THE WITNESS: Please repeat.                    23            MR. FARIES: If you don't mind.
        24   BY MR. HEGARTY:                                         24            MR. HEGARTY: Take a short one.
        25       Q. Sure. Would it be important for your             25      (RECESS TAKEN FROM 11:05 A.M. TO 11:14 A.M.)

                                                                                        22 (Pages 82 to 85)
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                                                                      Page 86                                                  Page 88
         1    (EXHIBIT NUMBER 4 WAS MARKED FOR IDENTIFICATION)                   1   BY MR. HEGARTY:
         2   BY MR. HEGARTY:                                                     2        Q. And as of 2014, did you agree with FDA's
         3      Q. Dr. Moorman, we're back on the record. We                     3   position as stated in this exhibit?
         4   left off talking about FDA and governmental agency                  4             MR. FARIES: I'm sorry. Objection to
         5   bodies, and I previously asked you about FDA's review               5        form.
         6   of two citizen petitions. And in connection with that               6             THE WITNESS: Did I agree with their
         7   prior question, I'm going to hand you what I've marked              7        position?
         8   as Exhibit Number 4, which is an April 1, 2014, letter              8   BY MR. HEGARTY:
         9   from FDA to Samuel Epstein, and tell me, first of all,              9        Q. Well, let me ask it differently. As of
        10   whether you've ever seen that letter before right now.             10   2014 do you agree that the -- that there was not
        11      A. I believe that I have.                                       11   conclusive evidence of a causal association between
        12      Q. I believe it's on your reliance list. Do                     12   talc use in the perineal area and ovarian cancer?
        13   you recall that?                                                   13             MR. FARIES: Objection to form.
        14      A. Yes.                                                         14             THE WITNESS: I see that FDA did make that
        15      Q. If we look down to the second-to-last                        15        opinion. My opinion after reviewing the
        16   paragraph of that -- I'm sorry, you need to finish                 16        literature was not the same.
        17   reviewing. Are you finished reviewing it?                          17   BY MR. HEGARTY:
        18            (WITNESS REVIEWS DOCUMENT)                                18        Q. Well, what was your opinion as to the link
        19      A. Okay.                                                        19   between talcum powder products and ovarian cancer back
        20      Q. Do you recall having read the April 1,                       20   in 2014?
        21   2014, letter from FDA marked as Exhibit Number 4                   21        A. It is very hard to say what my opinion was
        22   before right now?                                                  22   at any given point in time. I have considered talc as
        23      A. I did read it at some point, yes.                            23   a risk factor for ovarian cancer for quite some time.
        24      Q. At some point did you read it in its                         24   I don't know at -- what my opinion specifically was at
        25   entirety?                                                          25   that time point, 2014.

                                                                      Page 87                                                  Page 89
        1        A. I believe that I did.                                        1       Q. Was it your testimony here today that back
        2        Q. If you look at the first page,                               2   in 2014 it was your opinion that talcum powder use
        3    second-to-last paragraph from the bottom, do you see                3   causes ovarian cancer?
        4    where it reads: (Reading)                                           4            MR. FARIES: Objection to form.
        5               After careful review and                                 5            THE WITNESS: Once again, at any point in
        6         consideration of the information                               6       time, I -- it's hard to say what specifically
        7         submitted in your petitions, the                               7       was my opinion at that particular time point.
        8         comments received in response to the                           8       There has been an increasing body of literature
        9         petitions, and review of additional                            9       that has played into my opinion including
       10         scientific information, this letter is                        10       recently published articles.
       11         to advise you that FDA is denying your                        11   BY MR. HEGARTY:
       12         petitions. FDA did not find that the                          12       Q. If you turn over to the second page,
       13         data submitted presented conclusive                           13   second -- or last paragraph.
       14         evidence of a causal association                              14       A. Uh-huh.
       15         between talc use in the perineal area                         15       Q. Do you see about four lines down, the
       16         and ovarian cancer.                                           16   letter states: (Reading)
       17             Did I read that correctly?                                17              However, large deposits of
       18        A. Yes, you did read that correctly.                           18        high purity, asbestos-free talc do
       19        Q. You would agree that that is important                      19        exist, and talc purification
       20    information to consider on whether talcum powder use               20        techniques have been developed which
       21    causes ovarian cancer or increases the risk of ovarian             21        can be used to improve talc quality.
       22    cancer, correct?                                                   22            Did I read that correctly?
       23             MR. FARIES: Objection to form.                            23       A. Yes, you did.
       24             THE WITNESS: As I have said, any                          24       Q. Do you disagree with that statement?
       25        information should be considered.                              25            MR. FARIES: Objection to form.
                                                                                                   23 (Pages 86 to 89)
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                                                       Page 90                                                       Page 92
        1             THE WITNESS: Once again, speaking to my          1   BY MR. HEGARTY:
        2        level of expertise, I am not a mineral                2       Q. Do you have any reason to dispute that the
        3        specialist, and so that is what they state. My        3   medical doctors and scientists at FDA who were looking
        4        expertise does not allow me to agree or dispute       4   at this evidence and who put together this analysis
        5        that fact.                                            5   weren't qualified to assess the safety of talc?
        6    BY MR. HEGARTY:                                           6            MR. FARIES: Objection to form.
        7        Q. The next line says: (Reading)                      7            THE WITNESS: I do not know the scientist
        8                Thus, while it has been                       8       who reviewed this. I do not know their
        9         reported in the past that cosmetic                   9       qualifications, so I can't answer that.
       10         talc has been contaminated with                     10   BY MR. HEGARTY:
       11         asbestos, it has also been reported                 11       Q. Do you intend to offer the opinion that
       12         that asbestos-free talc deposits do                 12   they were not qualified to do an analysis and -- and
       13         exist.                                              13   do this assessment as in Exhibit Number 4?
       14           Same question, do you disagree with that          14       A. I am not going to offer that opinion for
       15    statement?                                               15   the reasons stated. I don't know who did them, who
       16             MR. FARIES: Objection to form.                  16   did these analyses.
       17             THE WITNESS: Once again, I do not have          17       Q. You're not -- is it also correct you're
       18        the expertise in that area to agree nor              18   not going to offer the opinion that they did not do a
       19        disagree.                                            19   proper job in doing this analysis and in preparing
       20    BY MR. HEGARTY:                                          20   that letter?
       21        Q. Are you aware that other -- are you aware         21       A. I'm not going to offer -- no, I am not
       22    if other entities or groups have made statements that    22   going to offer that opinion.
       23    there are -- that talc -- that asbestos-free talc does   23       Q. Your reliance materials refer to the fact
       24    exist, are you aware that such statements have been      24   that you reviewed as part of your analysis the NCI's
       25    made by other entities?                                  25   PDQ for ovarian cancer; is that correct?

                                                       Page 91                                                       Page 93
         1            MR. FARIES: Objection to form.                   1       A. Yes.
         2            THE WITNESS: I don't -- I don't know.            2       Q. You know -- you know the NCI, correct?
         3   BY MR. HEGARTY:                                           3       A. Yes, I do.
         4       Q. If you look over to the next page, do you          4       Q. It's a highly-respected cancer research
         5   see the first line where it refers to in 2009 FDA         5   institute, isn't it?
         6   conducting an exploratory survey of currently marketed    6       A. Yes, it is.
         7   cosmetic-grade raw material talc and finished cosmetic    7       Q. It's the US Government's principal agency
         8   products containing talc. Do you recall that -- do        8   for cancer research and training, correct?
         9   you see that?                                             9       A. Yes.
        10       A. I do see that.                                    10       Q. Have you received any funding from NCI?
        11       Q. Do you see the next paragraph begins with         11       A. Yes, I have.
        12   a statement: (Reading)                                   12       Q. Do you have any criticism of NCI?
        13              The survey found no asbestos                  13            MR. FARIES: Objection to form.
        14        fibers or structures in any of the                  14            THE WITNESS: Again, can you be more
        15        samples of cosmetic-grade raw material              15       specific in what you mean by that question?
        16        talc or cosmetic products containing                16   BY MR. HEGARTY:
        17        talc.                                               17       Q. Well, do you have -- do you contend that
        18            Do you see that statement?                      18   NCI is not capable of performing its functions?
        19       A. I do see that.                                    19            MR. FARIES: Objection to form.
        20       Q. Do you have any reason to disagree with           20            THE WITNESS: No, I do not make that
        21   the accuracy of that statement?                          21       contention.
        22            MR. FARIES: Objection to form.                  22   BY MR. HEGARTY:
        23            THE WITNESS: I do not have any reason to        23       Q. Do you contend that the scientists at
        24       disagree with that, again, going to my level of      24   FDA -- I'm sorry, the scientists at NCI are not
        25       expertise.                                           25   qualified to do their jobs?
                                                                                         24 (Pages 90 to 93)
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         1      A. I am not making that contention. There                    1   board has written with regard to perineal talc
         2   are many scientists there.                                      2   exposure in ovarian cancer?
         3      Q. Do you understand that in preparing the                   3      A. Yes.
         4   NCI's PDQ, that they have a Screening and Prevention            4      Q. What they say is the weight of evidence
         5   Editorial Board that's responsible for those PDQs?              5   does not support an association between perineal talc
         6          MR. FARIES: Objection to form.                           6   exposure and an increased risk of ovarian cancer,
         7          THE WITNESS: I am not specifically aware                 7   correct?
         8      of what the process is.                                      8          MR. FARIES: I'm sorry. Objection to
         9    (EXHIBIT NUMBER 5 WAS MARKED FOR IDENTIFICATION)               9      form. Which announcements, which year are you
        10   BY MR. HEGARTY:                                                10      referring to?
        11      Q. Let me show you what I've marked as                      11          MR. HEGARTY: This is from the NCI web
        12   Exhibit Number 5. I only have one copy of this.                12      site printed off on March 1st, 2018.
        13          MR. FARIES: Take a quick look?                          13          MR. FARIES: If you'd like the witness to
        14          MR. HEGARTY: Sure.                                      14      review published comments, web sites, or
        15   BY MR. HEGARTY:                                                15      articles, I'd ask you to please show them to
        16      Q. Exhibit Number 5 is a copy of the PDQ                    16      her.
        17   editorial board that is currently shown on the web             17          MR. HEGARTY: Sure. If she -- if you ever
        18   site of the NCI. Would you look at Exhibit Number 5,           18      want to see something, let me know. I'll mark
        19   Dr. Moorman, and tell me whether you know any of the           19      this as Exhibit Number 6.
        20   individuals listed there?                                      20    (EXHIBIT NUMBER 6 WAS MARKED FOR IDENTIFICATION)
        21      A. I know several of them.                                  21          MR. FARIES: Thank you.
        22      Q. Which ones do you know?                                  22   BY MR. HEGARTY:
        23      A. Anthony Alberg is a collaborator on our                  23      Q. Exhibit Number 6 is the current NCI PDQ
        24   AACES study. Pam Marcus went to graduate school at             24   from the NCI's web site. Does that look familiar to
        25   UNC. I was on her dissertation committee many years            25   you, Dr. Moorman?

                                                                  Page 95                                                                Page 97
         1   ago. And David Ransohoff is a faculty member at UNC             1       A. Yes, it does.
         2   that I met many years ago. And others I know by --              2       Q. If you turn over to page 15 of 21, that's
         3            MR. FARIES: There's more names on the                  3   reported at the top right-hand corner where it lists
         4       back, just in case.                                         4   pages. I'm sorry, it's 14 of 21.
         5            THE WITNESS: I do not know her.                        5           Do you see the heading Perineal Talc
         6   BY MR. HEGARTY:                                                 6   Exposure under the larger heading of Factors With
         7       Q. I think you were about to say you know                   7   Inadequate Evidence of an Association, Risk of Ovarian
         8   others by reputation or by some other means?                    8   Fallopian Tube and Primary Perineal Cancer?
         9       A. Some I know by reputation.                               9       A. Yes, I do see that.
        10       Q. Which ones do you know by reputation?                   10       Q. Have you read the paragraph below the
        11       A. Dr. Kramer, Barnett Kramer in his editor                11   heading Perineal Talc Exposure before right now?
        12   role. I know Don Berry as a statistician, some of his          12       A. Yes, I have.
        13   work.                                                          13       Q. And as I just mentioned, that paragraph
        14       Q. To your knowledge as far as the ones you                14   leads with a statement, The weight of evidence does
        15   know either personally or by reputation, are they              15   not support an association between perineal talc
        16   competent, respected scientists?                               16   exposure and an increased risk of ovarian cancer,
        17       A. Yes.                                                    17   correct?
        18       Q. Do you question their ability to analyze                18       A. Yes.
        19   the literature as it relates to talcum powder products         19       Q. Do you disagree with that statement?
        20   and ovarian cancer and come to conclusions?                    20       A. My opinion differs from that statement,
        21            MR. FARIES: Objection to form.                        21   yes.
        22            THE WITNESS: They are good scientists. I              22       Q. In fact, your opinion is just -- is
        23       do not question their qualifications.                      23   completely opposite of that statement, correct?
        24   BY MR. HEGARTY:                                                24           MR. FARIES: Objection to form.
        25       Q. Have you reviewed what the NCI editorial                25           THE WITNESS: I think that this statement

                                                                                                    25 (Pages 94 to 97)
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                                                       Page 98                                                    Page 100
        1        does not say the evidence says there is no            1        A. I don't recall --
        2        association.                                          2            MR. FARIES: Objection to form.
        3    BY MR. HEGARTY:                                           3            THE WITNESS: -- on a specific date when I
        4        Q. Well, is it your opinion that the weight           4        became aware of it. I just don't recall.
        5    of evidence does support an association between           5   BY MR. HEGARTY:
        6    perineal talc exposure and an increased risk of           6        Q. Do you agree that IARC conducted a full
        7    ovarian cancer?                                           7   and complete review of the question of whether talcum
        8        A. Yes, that is my opinion.                           8   powder products can be causally linked to ovarian
        9        Q. And that statement is completely opposite          9   cancer back in 2006?
       10    of their statement, correct?                             10            MR. FARIES: Objection to form.
       11        A. Yes.                                              11            THE WITNESS: Please say that one more
       12        Q. And do you contend that the editorial             12        time.
       13    board members, which you know, didn't do a proper        13   BY MR. HEGARTY:
       14    review in preparing this summary that we just            14        Q. Sure. Do you agree that IARC did a full
       15    reviewed?                                                15   and complete review of the medical literature at the
       16             MR. FARIES: Objection to form.                  16   time when it did its review of the issue of -- review
       17             THE WITNESS: I am not making that               17   of looking at the issue of whether talcum powder
       18        contention, no.                                      18   products can cause ovarian cancer?
       19    BY MR. HEGARTY:                                          19            MR. FARIES: Objection to form.
       20        Q. Are you critical of their evaluation that         20            THE WITNESS: I think that IARC did a
       21    has led to the publication of this statement?            21        thorough review.
       22             MR. FARIES: Objection to form.                  22   BY MR. HEGARTY:
       23             THE WITNESS: I think that it is possible        23        Q. Did they review all of the relevant
       24        for reputable scientists to look at the evidence     24   literature through 2006 as part of that review?
       25        and come to different conclusions based on how       25            MR. FARIES: Objection to form.
                                                       Page 99                                                    Page 101
         1       they evaluate and weight the evidence. I think        1            THE WITNESS: To my knowledge, they did.
         2       that that is not unreasonable that there may be       2   BY MR. HEGARTY:
         3       differences of opinion.                               3       Q. And based on their review, IARC concluded
         4   BY MR. HEGARTY:                                           4   that talcum powder products were possibly
         5       Q. You then agree that this statement is not          5   carcinogenic, correct, class -- Category 2B?
         6   an unreasonable statement to make, correct?               6            MR. FARIES: Objection to form.
         7           MR. FARIES: Objection to form.                    7            THE WITNESS: That is my recollection of
         8           THE WITNESS: I'm saying that it is                8       their conclusion, yes.
         9       possible for other scientists to come to a            9   BY MR. HEGARTY:
        10       different conclusion based on the same review of     10       Q. IARC did not conclude that talcum powder
        11       evidence.                                            11   products are carcinogenic, correct?
        12   BY MR. HEGARTY:                                          12            MR. FARIES: Objection to form.
        13       Q. Have you reviewed IARC's review of the            13            THE WITNESS: They -- as you stated
        14   issue of talcum powder products and their possible       14       before, their conclusion was that it was a
        15   link to ovarian cancer?                                  15       possible carcinogen.
        16       A. Yes, I have.                                      16   BY MR. HEGARTY:
        17       Q. When did you first review IARC's review of        17       Q. Is that Group 2B?
        18   the issue of talcum powder products in ovarian cancer?   18       A. I believe that's a categorization, yes.
        19       A. I don't recall specifically.                      19       Q. There are two higher groups that IARC can
        20       Q. Did you review it when it was published           20   place a substance into, correct?
        21   back in 2010?                                            21       A. That is correct.
        22       A. I don't remember the first time that I've         22       Q. One is carcinogenetic, correct?
        23   looked at it.                                            23       A. I -- yes.
        24       Q. Do you recall being aware of what IARC            24       Q. The other is probably carcinogenetic,
        25   concluded back in 2006 when it did its review?           25   correct, or possible -- or probable carcinogen?
                                                                                       26 (Pages 98 to 101)
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                                                     Page 102                                                                     Page 104
        1        A. Yes.                                              1   reviewed the IARC monograph as of the time you were
        2        Q. And IARC did not put talcum powder                2   first contacted by Plaintiffs' counsel about serving
        3    products in either of those two categories, correct?     3   as an expert witness?
        4        A. Right. As you stated, they described it           4        A. It is very difficult to say specifically
        5    as a possible carcinogen.                                5   when I reviewed it. You know, it's just in generally
        6        Q. Even that decision was not unanimous,             6   trying to review literature, I don't -- I can't say
        7    correct?                                                 7   did I -- when did I first recall -- review it, when
        8            MR. FARIES: Objection to form.                   8   did I last review it. It's just impossible for me to
        9            THE WITNESS: I don't recall specifically         9   pinpoint that.
       10        how that was described.                             10        Q. Do you recall IARC in its analysis saying
       11    BY MR. HEGARTY:                                         11   that with regard to the epidemiologic and other
       12        Q. Was it -- do you have a -- do you know one       12   literature, that the Working Group considered such
       13    way or another whether the decisions to place talc in   13   evidence of a causal interpretation to be credible,
       14    the category of 2B was a unanimous decision?            14   but chance, bias, and confounding could not be ruled
       15        A. I just answered that. I don't know.              15   out with reasonable confidence? Do you recall them
       16        Q. What is the phrase -- or strike that.            16   making that statement?
       17            Do you know what it means or the IARC           17            MR. FARIES: Objection to form.
       18    designation of Category 2B means? Do you know that      18            THE WITNESS: I don't recall the specific
       19    terminology?                                            19        wording. I recall something that -- some
       20            MR. FARIES: Objection to form.                  20        addressing of whether or not bias could come
       21            THE WITNESS: As you stated, it is a             21        into play. I don't recall the exact wording.
       22        possible carcinogen, and I think that they have     22   BY MR. HEGARTY:
       23        some criteria for putting a specific agent in a     23        Q. Do you recall IARC -- strike that.
       24        specific category.                                  24            Did IARC find a dose response in the
       25                                                            25   literature looking at talcum powder use and ovarian
                                                     Page 103                                                                     Page 105
         1   BY MR. HEGARTY:                                          1   cancer?
         2        Q. Do you know what that criteria is?               2           MR. FARIES: Objection to form.
         3        A. Off the top of my head, I cannot describe        3           THE WITNESS: I can't recall exactly how
         4   it specifically.                                         4       they analyzed it in relation to dose response.
         5        Q. Have you read IARC's 2010 monograph with         5   BY MR. HEGARTY:
         6   regard to talcum powder products and ovarian cancer      6       Q. Do you recall whether they looked at the
         7   before being contacted by Plaintiffs' counsel?           7   translocation or transportation of talc from the
         8        A. I believe that I have, but I don't -- I          8   perineum to the ovaries as part of their analysis?
         9   really don't recall the first time that I read it.       9       A. I believe they considered that, but,
        10        Q. Do you recall if you agreed with IARC's         10   again, all the details of all the articles I've read
        11   findings at the time you reviewed the IARC monograph?   11   are sometimes a little bit challenging to recall what
        12            MR. FARIES: Objection to form.                 12   was in what article.
        13            THE WITNESS: I don't -- I don't really         13       Q. IARC also looked at whether inhaled talc
        14        recall, you know, at that moment what my feeling   14   was a carcinogen. Are you aware of that?
        15        was. Was it an agreement or disagreement, I        15           MR. FARIES: Objection to form.
        16        just don't recall.                                 16           THE WITNESS: I don't recall reading that.
        17   BY MR. HEGARTY:                                         17     (EXHIBIT NUMBER 7 WAS MARKED FOR IDENTIFICATION)
        18        Q. Do you recall when it was you had last          18   BY MR. HEGARTY:
        19   reviewed the IARC monograph as of the time you were     19       Q. Let me mark as Exhibit Number 7 the IARC
        20   contacted by Plaintiffs' counsel as potentially         20   monograph, Volume 93, and I only brought one copy
        21   serving as an expert witness?                           21   because it was too big --
        22        A. I'm sorry.                                      22           MR. FARIES: Yeah, I understand.
        23        Q. Sure.                                           23   BY MR. HEGARTY:
        24        A. I just didn't follow that question.             24       Q. -- to bring so you all have to share it.
        25        Q. Do you recall when it was you last              25           MR. FARIES: I assume you're going to turn

                                                                                         27 (Pages 102 to 105)
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         1       to a page. I will take the --                         1       405. Okay. Okay, we've got it.
         2           MR. HEGARTY: Yes.                                 2           MR. HEGARTY: Okay.
         3           MR. KLATT: I'm sorry, that was which              3   BY MR. HEGARTY:
         4       exhibit?                                              4       Q. If you would look at page 412. The
         5           MR. FARIES: Exhibit 7.                            5   section that reads 6.3, Overall Evaluation, first
         6           MR. HEGARTY: This is 7.                           6   begins by stating that Perineal use of talc-based body
         7   BY MR. HEGARTY:                                           7   powder is possibly carcinogenic to humans, Group 2B,
         8       Q. I asked you a moment ago about the                 8   correct?
         9   statement of whether IARC was able to rule out chance,    9       A. That's what it says, yes.
        10   bias, or confounding with reasonable confidence. Do      10       Q. Do you agree that's where -- that is the
        11   you recall me asking that question?                      11   group that IARC classified its talc assessment for
        12       A. Yes, I do.                                        12   purposes of this monograph?
        13       Q. Do you recall if you agreed at the time           13       A. Yes.
        14   with IARC that chance, bias, and confounding could not   14       Q. The next line below that says: (Reading)
        15   be ruled out with reasonable confidence?                 15               Inhaled talc not containing
        16           MR. FARIES: Objection to form.                   16        asbestos or asbestiform fibers is not
        17           THE WITNESS: As I have stated before, I          17        classifiable as to its
        18       do not recall exactly what my reaction was at        18        carcinogenicity, Group 3.
        19       the time that I read this.                           19          Do you see that?
        20   BY MR. HEGARTY:                                          20       A. Yes, I do see that.
        21       Q. Let's go back to my question with regard          21       Q. Do you agree with that statement?
        22   to inhaled talc. If you would look at page 412, under    22           MR. FARIES: Objection to form.
        23   the Section 6.3, Overall Evaluation.                     23           THE WITNESS: I agree that that is the
        24           MR. FARIES: Hang on before you get --            24       conclusion that IARC made.
        25       okay. I need to orient myself on what section        25

                                                      Page 107                                                     Page 109
        1        we're in.                                             1   BY MR. HEGARTY:
        2            MR. HEGARTY: Sure.                                2       Q. Do you agree with their conclusion?
        3            MR. FARIES: And are we talking talc               3           MR. FARIES: Objection to form.
        4        products or other kinds of talc?                      4           THE WITNESS: In my -- my area of
        5            MR. HEGARTY: Feel free to look at the             5       expertise is in epidemiologic studies, and I
        6        whole document --                                     6       have not specifically identified studies that
        7            MR. FARIES: Yeah.                                 7       looked just at inhaled talc.
        8            MR. HEGARTY: -- if you want to.                   8   BY MR. HEGARTY:
        9            MR. FARIES: I'll keep it short here.              9       Q. So you have not done an analysis so you
       10            MR. HEGARTY: Just try to keep the pages          10   could comment on the Category 3 finding by IARC; is
       11        in order.                                            11   that correct?
       12            MR. FARIES: I'll try. Okay, hang on.             12           MR. FARIES: Objection to form.
       13        I'm keeping them in order.                           13           THE WITNESS: I have not done that
       14            Did you by chance put a tab at the               14       analysis.
       15        beginning of talc?                                   15   BY MR. HEGARTY:
       16            MR. HEGARTY: I did not.                          16       Q. Do you agree with IARC's finding of
       17            MR. FARIES: Okay. Okay, okay. And --             17   talc-based body powders as possibly carcinogenetic to
       18        okay. Twelve. Ooh, I shouldn't have done that.       18   humans Group 2B?
       19            Okay. So I just want to clarify for the          19           MR. FARIES: Objection to form.
       20        record that you're asking her questions about        20           THE WITNESS: My opinion as I have
       21        the IARC's monograph, 93, regarding talc not         21       expressed to you is stronger than this
       22        containing asbestiform fibers?                       22       conclusion here.
       23            MR. HEGARTY: Correct.                            23   BY MR. HEGARTY:
       24            MR. FARIES: Okay. So there's that. And           24       Q. Was it stronger than the conclusion back
       25        then if you need to refer to the -- let's see,       25   when this was published in 2010?

                                                                                     28 (Pages 106 to 109)
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                                                      Page 110                                                     Page 112
         1       A. Once again, I do -- cannot recall exactly          1   You did do -- you have been involved in studies
         2   what my opinion was at that time point. My opinion        2   looking at talcum powder products and the risk of
         3   has -- as more evidence arises, that has informed my      3   ovarian cancer, correct?
         4   opinion.                                                  4       A. Yes.
         5       Q. Well, are you able to pinpoint in any way          5       Q. You have been an author on several papers
         6   when you came to the opinion that talcum powder           6   that have reported relative risks or odds ratios in
         7   products increased the risk of ovarian cancer, for        7   looking at ovarian cancer risk with talcum powder
         8   example, in the 2000s, between 2000 and 2010, if          8   product -- with body powder product or talcum powder
         9   somebody had asked you what your opinion was, would       9   product use, correct?
        10   you have said that my opinion is that talcum powder      10       A. That is correct.
        11   products increase the risk of ovarian cancer?            11       Q. And my question was, at the time you were
        12            MR. FARIES: Objection to form. This has         12   involved in the very first study that you did, do you
        13       honestly been asked and answered several times.      13   agree that you had not concluded that talcum powder
        14       You're welcome to repeat your answer, and then       14   products cause ovarian cancer?
        15       maybe we can move on.                                15            MR. FARIES: Objection to form.
        16            THE WITNESS: Right. I can't identify any        16            THE WITNESS: When we do our studies and
        17       specific point where I formed this opinion. The      17       develop our questionnaires, we are asking
        18       medical -- the epidemiologic literature has          18       questions about what we often say established
        19       evolved on it, has continued to accumulate, and      19       and hypothesized risk factors for the disease,
        20       my opinion has always been informed by the body      20       and there is a spectrum of evidence. And it's
        21       of literature, the entire body of literature.        21       hard to say, again, at the time that we started
        22   BY MR. HEGARTY:                                          22       these studies whether we had concluded that it
        23       Q. Well, would it be a fair statement, then,         23       was a cause or that there was reason to study it
        24   that your opinion has been evolving on this issue over   24       as a cause of ovarian cancer because of the body
        25   time?                                                    25       of literature on it.
                                                      Page 111                                                     Page 113
        1            MR. FARIES: Objection to form.                    1   BY MR. HEGARTY:
        2            THE WITNESS: Yes, yes.                            2       Q. With regard to the studies that you've
        3    BY MR. HEGARTY:                                           3   been involved in in which you've reported on the
        4       Q. In particular, you didn't start out when            4   results of women using talcum powder products and the
        5    you looked at the very first study on talcum powder       5   risk of ovarian cancer, is that data, the
        6    products in ovarian cancer with the belief that talcum    6   questionnaires, the data, the work product, the study
        7    powder products cause ovarian cancer, correct?            7   notes, is all that material still in existence?
        8            MR. FARIES: Objection to form.                    8           MR. FARIES: Objection to form.
        9            THE WITNESS: Okay. I did not do the               9           THE WITNESS: The two studies that I have
       10       first study of ovarian cancer and talc, okay? I       10       been involved in that have been -- have done
       11       have been aware of epidemiologic studies              11       data collection on talc have been the North
       12       examining talc products in relation to ovarian        12       Carolina Ovarian Cancer Study and then the
       13       cancer for quite some time. One would never           13       African-American Cancer Epidemiology Study, and
       14       make a conclusion about causality based on a          14       those data are -- yes, still exist, the
       15       single epidemiologic study, and so the first          15       questionnaires still exist.
       16       time you see something like that, it is very          16   BY MR. HEGARTY:
       17       reasonable to say, hum, that's interesting, but       17       Q. How about all of the work generated in
       18       only with additional studies would one make a         18   ultimately bringing that data to publication, drafts,
       19       conclusion. And so as studies have been done --       19   notes, e-mails, exchanges back and forth, is all that
       20       as we all know, there have been several,              20   data still in existence?
       21       probably a couple dozen or more epidemiologic         21           MR. FARIES: Objection to form.
       22       studies, and so as those studies have come out,       22           THE WITNESS: I -- again, you're
       23       of course my opinion has evolved.                     23       expressing this in an absolute. All of it, I
       24    BY MR. HEGARTY:                                          24       would say probably not. You know, it's not
       25       Q. My question was a little bit different.            25       typical to save every draft and -- you know, and

                                                                                     29 (Pages 110 to 113)
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                                                     Page 114                                                      Page 116
        1       again, like for example this study (indicating),      1   group, entity or organization who has the same opinion
        2       Joellen Schildkraut was the lead author, and so       2   you have with regard to the use of talcum powder
        3       I cannot speak to whether she has retained every      3   products and ovarian cancer whether it's risk or
        4       draft or not.                                         4   cause?
        5   BY MR. HEGARTY:                                           5           MR. FARIES: Objection to form.
        6       Q. How about you, do you have copies or do            6           THE WITNESS: I can't recall. I can't --
        7   you have data, materials still remaining from the         7      I don't know of one.
        8   studies that you have been involved in looking at         8   BY MR. HEGARTY:
        9   talcum powder product or body powder product use in       9      Q. Have you ever made the statement in any
       10   ovarian cancer? Do you have your --                      10   publication you have ever written that talcum powder
       11           MR. FARIES: Objection.                           11   products increase the risk of ovarian cancer?
       12   BY MR. HEGARTY:                                          12           MR. FARIES: Objection to form.
       13       Q. Do you have materials still in your               13           THE WITNESS: I am -- I can't recall if I
       14   possession at your office or your home?                  14      have made specifically that statement. And,
       15       A. So "materials" as defined by?                     15      again, it is important to bear in mind that I
       16       Q. Anything dealing with those studies?              16      have often worked as part of a group of
       17       A. By IRB, Institutional Review Board,               17      investigators, and so, for example, this paper
       18   regulations, the data are retained for a minimum of      18      was not a paper that I wrote, that it was
       19   six years after the studies are completed.               19      Dr. Schildkraut that wrote it. And I think that
       20       Q. How about any other work product you              20      like, for example, statements like "our results
       21   generated in working on those studies? Do you still      21      support that body powder is a modifiable risk
       22   have any of that work product still in your              22      factor for EOC," so epithelial ovarian cancer,
       23   possession?                                              23      "among African-American women." I think it
       24       A. The work product, again, as you said, like        24      is -- this -- the gist of the statement they
       25   drafts and --                                            25      use.
                                                     Page 115                                                      Page 117
        1       Q. Notes, notebooks, any memorandum, if any           1   BY MR. HEGARTY:
        2   exist, do you have any of that material still in your     2       Q. Well, my question was very specific. Have
        3   possession?                                               3   you ever made the statement in any publication which
        4       A. I don't believe that there were any                4   you were an author on or with any public -- any other
        5   notebooks or notes in regard to that.                     5   document you have authored that use of body powders,
        6       Q. If there were any such, would you still            6   talc-based body powders, cause ovarian cancer?
        7   have possession of those?                                 7            MR. FARIES: Objection to form.
        8       A. I don't think they exist, I just -- I just         8            THE WITNESS: I don't think I have written
        9   don't.                                                    9       that in a published document.
       10       Q. Can you cite for me any medical or                10   BY MR. HEGARTY:
       11   scientific group, entity, or organization who has said   11       Q. Have you written in any published document
       12   that the use of talcum powder products causes ovarian    12   in which you are listed as an author or were an author
       13   cancer?                                                  13   that talc body powders increase the risk of ovarian
       14           MR. FARIES: Objection to form.                   14   cancer?
       15           THE WITNESS: Okay. I do not recall any           15            MR. FARIES: Objection to form.
       16       group that has used specifically that                16   BY MR. HEGARTY:
       17       terminology. I think that IARC has described it      17       Q. Versus those women who do not use them?
       18       as possibly carcinogenic.                            18            MR. FARIES: Same objection.
       19   BY MR. HEGARTY:                                          19            THE WITNESS: I can't remember the exact
       20       Q. Can you cite any medical or scientific            20       phrasing being used like that.
       21   group, entity or organization who has said that talcum   21   BY MR. HEGARTY:
       22   powder products increase the risk of ovarian cancer?     22       Q. Can you cite for me any author who has
       23       A. I can't think of any off the top of my            23   ever written in any publication that talcum powder
       24   head.                                                    24   products cause ovarian cancer?
       25       Q. Can you identify any medical or scientific        25            MR. FARIES: Objection to form.

                                                                                    30 (Pages 114 to 117)
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         1            THE WITNESS: I can't recall any -- any           1   products are at a higher risk of ovarian cancer than
         2       document that has that exact phrasing.                2   women who did not use them?
         3   BY MR. HEGARTY:                                           3       A. That is correct.
         4       Q. Can you cite for me any author in any              4       Q. And before you were contacted by
         5   publication who has ever stated that use of talcum        5   Mr. Gibson or Ms. Parfitt, I take it from your last
         6   powder products increase the risk of ovarian cancer?      6   answer, that you had not come -- yet come to the
         7       A. I'm just having trouble recalling any              7   opinion that talcum powder products cause ovarian
         8   specific wording like that.                               8   cancer, correct?
         9       Q. Can you identify for me any doctor who             9           MR. FARIES: Objection to form.
        10   treats ovarian cancer who has the same opinions you do   10           THE WITNESS: I -- epidemiologists by
        11   about cause?                                             11       nature tend to be very cautious. And it was,
        12            MR. FARIES: Objection to form.                  12       you know, reviewing all of the literature in
        13            THE WITNESS: I actually have not                13       probably more detail than I had ever reviewed it
        14       discussed that with -- that specific question        14       before led me to come to the conclusion that I
        15       with any gynecologic oncologist.                     15       think that the evidence is strong enough to say
        16   BY MR. HEGARTY:                                          16       with a reasonable degree of scientific certainty
        17       Q. Have you discussed with any gynecologic           17       that talc use can cause ovarian cancer.
        18   oncologist your opinion that talcum powder products      18   BY MR. HEGARTY:
        19   increase the risk of ovarian cancer?                     19       Q. Have you ever used, before being contacted
        20       A. I have not had a specific discussion in           20   by Plaintiffs' counsel in this case, the phrase
        21   that regard, no.                                         21   "reasonable degree of scientific certainty"?
        22       Q. You provided to us the primary opinion in         22       A. I don't think that I have.
        23   this case that women who use talcum powder products      23       Q. What does that phrase mean to you?
        24   are at a higher risk of ovarian cancer than women who    24       A. I take it to mean that when considering
        25   did not use them. Do you recall making that              25   the bulk -- the overall evidence, that it is
                                                      Page 119                                                     Page 121
         1   statement?                                                1   reasonable to make that statement. I think that it
         2       A. I do.                                              2   takes -- it takes into account that science evolves
         3       Q. Did you have that opinion before being             3   and there may be additional data that could arise
         4   contacted by Plaintiffs' counsel in this case?            4   and -- in which the opinion may evolve, but based on
         5       A. I had the opinion that women who use body          5   the body of evidence now I do feel that there is
         6   powder are at increased risk for ovarian cancer for,      6   reasonable scientific certainty.
         7   yes, before I was contacted by the Plaintiffs'            7       Q. With regard to your prior testimony as to
         8   attorneys.                                                8   looking at cause versus increased risk, you mentioned
         9       Q. You also provided the opinion that women           9   that that opinion came after you had done an in-depth
        10   who use that -- strike that.                             10   review, correct?
        11           You also provided the opinion that talcum        11       A. That is correct.
        12   powder products cause ovarian cancer. Do you recall      12       Q. So it would be a fair statement to say
        13   making -- telling us that today?                         13   before you were contacted by either Mr. Gibson or
        14       A. I do.                                             14   Ms. Parfitt that you had not done an in-depth review
        15       Q. Did you have that opinion before being            15   of all of the literature concerning talcum powder
        16   contacted by Plaintiffs' counsel in this case?           16   products and ovarian cancer, correct?
        17       A. My opinion, I think that it became                17            MR. FARIES: Objection to form.
        18   stronger as I reviewed the body of literature in -- in   18            THE WITNESS: I think that it is a matter
        19   relation to this. It was -- I held the opinion that      19       of degree. I think that I was aware of the
        20   it was a risk factor. It became stronger as I really     20       epidemiologic studies that had addressed this.
        21   delved into it in greater detail.                        21       And as I was -- after I was contacted about this
        22       Q. And let me make sure I'm clear on                 22       case, I tried to do a very critical, very
        23   Plaintiffs' counsel. Before being contacted by           23       in-depth reviews.
        24   Mr. Gibson or Ms. Parfitt is it your testimony that it   24   BY MR. HEGARTY:
        25   was your opinion that women who used talcum powder       25       Q. A review you had not yet done before being

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                                 Patricia Moorman, Ph.D., M.S.P.H.
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         1   contacted by Ms. Parfitt and/or Mr. Gibson, correct?      1           MR. FARIES: Objection to form.
         2           MR. FARIES: Objection to form.                    2           THE WITNESS: The only discussion that I
         3           THE WITNESS: As I said, I think that it           3       had about my involvement in this was with an
         4       is not a matter of had I not or had I done it, I      4       author. It was a former student, and she had
         5       think that it was, perhaps, the level of detail.      5       been contacted by an attorney and asked me what
         6   BY MR. HEGARTY:                                           6       I thought about it and if I had had any
         7       Q. You did a more detailed review and                 7       involvement. And I had just mentioned to her
         8   analysis after being contacted by Ms. Parfitt and/or      8       that I was working with the Plaintiffs'
         9   Mr. Gibson than you had done before they had contacted    9       attorney. But I have not discussed otherwise.
        10   you, correct?                                            10   BY MR. HEGARTY:
        11           MR. FARIES: Objection to form.                   11       Q. Who was that person?
        12           THE WITNESS: Correct.                            12       A. Who was the person?
        13   BY MR. HEGARTY:                                          13       Q. Yes.
        14       Q. Have you ever provided the opinions you've        14       A. Her name is Rachel Weber.
        15   given us here today to any doctor who has ever treated   15       Q. When did this discussion happen?
        16   a patient for ovarian cancer?                            16       A. I believe it was in the fall of last year.
        17       A. I have not.                                       17       Q. Would it be a fair statement that with
        18       Q. That includes any doctor at Duke, correct?        18   regard to the opinions you've offered in this case,
        19       A. That is correct.                                  19   that you've held those opinions for at least a year?
        20       Q. You've not told your opinions about talc          20           MR. FARIES: Objection to form.
        21   and ovarian cancer to any doctor in your own medical     21           THE WITNESS: Yes, that is a fair
        22   school, correct?                                         22       statement.
        23           MR. FARIES: Objection to form, asked and         23   BY MR. HEGARTY:
        24       answered.                                            24       Q. Sitting here today you're not testifying
        25           THE WITNESS: That is correct.                    25   on behalf of Duke University, correct?
                                                      Page 123                                                    Page 125
        1    BY MR. HEGARTY:                                           1       A. No, I am not.
        2        Q. Do you know any of the gynecologic                 2       Q. You're not coming here today testifying
        3    oncologists at Duke?                                      3   that Duke University or the Duke Medical School has
        4        A. Yes, I do.                                         4   the same opinions that you do, correct?
        5        Q. Can you name for me the ones you know?             5           MR. FARIES: Objection to form.
        6        A. I know Dr. Andrew Berchuck, Dr. Laura              6           THE WITNESS: No, I am not.
        7    Havrilesky. I have met Angeles Alvarez Secord. I          7   BY MR. HEGARTY:
        8    believe those are the ones that I know.                   8       Q. You're here on your own behalf, right?
        9        Q. You've not spoken to them about your               9       A. That is correct.
       10    opinions that you provided here today, correct?          10       Q. And the opinions you hold are your own
       11        A. I have not had a direct conversation with         11   opinions, right?
       12    them.                                                    12       A. That is correct.
       13        Q. Well, have you had any conversation with          13       Q. Can you identify for me any regulatory
       14    them about your opinions in this case?                   14   body who has required a warning concerning genital
       15        A. No, I have not.                                   15   talc use and ovarian cancer?
       16        Q. Have you told any of the authors that             16           MR. FARIES: Objection to form.
       17    you're on in the Schildkraut paper of your opinions in   17           THE WITNESS: No, I cannot.
       18    this case?                                               18   BY MR. HEGARTY:
       19            MR. FARIES: Objection to form.                   19       Q. How about any regulatory body who has
       20            THE WITNESS: No, I have not discussed my         20   concluded that genital talcum powder use is a risk
       21        involvement in this case with any of the             21   factor or a cause of ovarian cancer?
       22        authors.                                             22           MR. FARIES: Objection to form.
       23    BY MR. HEGARTY:                                          23           THE WITNESS: No, I cannot.
       24        Q. How about any of the authors on any of the        24   BY MR. HEGARTY:
       25    papers you've been on?                                   25       Q. Outside of your work with Plaintiffs'

                                                                                     32 (Pages 122 to 125)
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        1   counsel, has anyone before being contacted by             1   specifically a cancer epidemiology course.
        2   Plaintiffs' counsel sought out your opinions regarding    2       Q. Have you ever provided to any of your
        3   talc and ovarian cancer?                                  3   peers in any lecture format or otherwise the opinions
        4       A. Before Plaintiffs' counsel --                      4   you've offered here today?
        5       Q. Yes.                                               5       A. No, I have not.
        6       A. -- contacted me, has anybody else sought           6       Q. Do you consider yourself an expert in the
        7   out my opinion?                                           7   possible association between asbestos -- strike that.
        8       Q. Correct.                                           8           Do you consider yourself to be an expert
        9       A. No.                                                9   in asbestos-causing ovarian cancer?
       10       Q. Before being contacted by Plaintiffs'             10           MR. FARIES: Objection to form.
       11   counsel, has anybody sought out your opinion on          11           THE WITNESS: I consider myself to be an
       12   whether talcum powder products increase the risk of      12       expert in the epidemiology of ovarian cancer. I
       13   ovarian cancer?                                          13       do not consider myself to be, specifically, an
       14       A. No.                                               14       expert about asbestos.
       15       Q. Or about potential causes of ovarian              15   BY MR. HEGARTY:
       16   cancer, generally? Has anybody -- strike that.           16       Q. Have you conducted any original research
       17           Has anybody sought out your opinions,            17   on asbestos in talcum powder products and ovarian
       18   generally, about the causes of ovarian cancer?           18   cancer?
       19       A. I'm not sure exactly how to interpret that        19           MR. FARIES: Objection to form.
       20   question. I have -- you know, I have done things over    20           THE WITNESS: Please state that again.
       21   the course of my career such as reviewing grant          21   BY MR. HEGARTY:
       22   applications, several years ago participated in a CDC    22       Q. Sure. Have you conducted any original
       23   panel about ovarian cancer. And so those I think that    23   research looking at the potential for asbestos to be
       24   it would be fair to characterize them as people          24   in talcum powder products?
       25   seeking my opinion about -- my -- my opinion, my         25       A. I think this goes back to the questions
                                                     Page 127                                                      Page 129
        1   knowledge about ovarian cancer.                           1   that you've asked earlier. As you clearly know, we
        2       Q. I'd asked you previously about your                2   did do a study that was evaluating talcum powder in
        3   opinions before being contacted by Plaintiffs' counsel    3   relation to ovarian cancer, and so talcum powder with
        4   through the present date. Have you provided the           4   all its constituents. We would not be able to
        5   opinions you've given us here today to any group,         5   distinguish between asbestos-containing and
        6   person or entity outside of this litigation?              6   nonasbestos-containing talcum powder.
        7           MR. FARIES: Objection to form.                    7        Q. My question is a little bit different.
        8           THE WITNESS: No, I have not.                      8   You had commented earlier about reviewing studies or
        9   BY MR. HEGARTY:                                           9   literature that has commented on the potential for
       10       Q. Has NCI ever sought out your opinions with        10   asbestos to be in talcum powder products. Do you
       11   regard to talcum powder products and ovarian cancer?     11   recall saying that earlier?
       12       A. No, they have not.                                12        A. That I looked at some of those studies.
       13       Q. How about any scientific or medical body          13        Q. Have you ever been involved in any study
       14   or organization?                                         14   looking at whether talcum powder products actually had
       15       A. No, they have not.                                15   asbestos in them?
       16       Q. Do you teach courses?                             16            MR. FARIES: Objection to form.
       17       A. Yes, I do.                                        17            THE WITNESS: Once again, that is outside
       18       Q. Is that currently?                                18        of my realm of expertise. I do not do any
       19       A. Yes.                                              19        mineral studies, testing, like that.
       20       Q. Have you ever taught to any of your               20   BY MR. HEGARTY:
       21   opinions -- have you ever taught to any of the           21        Q. Has there been any study looking at
       22   students in your classes the opinions you've provided    22   actually asbestos in talcum powder products and that
       23   to us here today?                                        23   link -- and such a link -- strike that. Let me say it
       24       A. No, I do not teach -- the course that I           24   again.
       25   teach is called, Evidence-based Medicine. It is not      25            Have there been, actually, any studies

                                                                                    33 (Pages 126 to 129)
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                                Patricia Moorman, Ph.D., M.S.P.H.
                                                     Page 130                                                      Page 132
        1   that have identified products, talcum powder products,    1           MR. FARIES: Objection to form.
        2   that actually have asbestos in them and looking at        2           THE WITNESS: I know several women who
        3   those products link to ovarian cancer?                    3       have ovarian cancer. I have not spoken to them,
        4           MR. FARIES: Objection to form.                    4       specifically, about their use of talcum powder.
        5           THE WITNESS: I think that it goes back to         5       But it is a quite ubiquitous exposure, so it is
        6       the same thing that I've said before. There is        6       very possible that they did have that exposure.
        7       no way to do studies of ovarian cancer and -- in      7   BY MR. HEGARTY:
        8       relation to talcum powder use to distinguish          8       Q. Is it correct that you don't intend, in
        9       between asbestos-containing or not.                   9   this case, to offer the opinion that any particular
       10   BY MR. HEGARTY:                                          10   woman's use of talcum powder products caused their
       11       Q. You are not a medical doctor, correct?            11   ovarian cancer?
       12       A. That is correct.                                  12       A. I was asked to comment on the general
       13       Q. And you have never been involved in the           13   causation meaning it is pulling on my expertise as a
       14   care and treatment of a patient with ovarian cancer,     14   population scientist. I will not be commenting on any
       15   correct?                                                 15   specific woman.
       16       A. No, I have not.                                   16       Q. If we talk about statistical significance
       17       Q. You are not authorized to treat patients,         17   and if we look at relative risk or odds ratios, in
       18   correct?                                                 18   that analysis one is considered the null value,
       19       A. No, I am not.                                     19   correct?
       20       Q. And you have never analyzed a patient's           20       A. That is correct.
       21   risk factors for ovarian cancer, true?                   21       Q. And null value would indicate no
       22       A. No, I have not.                                   22   association between the exposure you're looking at and
       23       Q. You have never attempted to look at a             23   the disease you're looking at, correct?
       24   patient's risk factors and determine which factor, if    24       A. Yes.
       25   any, had anything to do with their ovarian cancer,       25       Q. If a study is statistically significant,
                                                     Page 131                                                      Page 133
        1   correct?                                                  1   it means that the likelihood of the result is caused
        2       A. No.                                                2   by something other than random chance, correct?
        3       Q. Are you aware of a method published in the         3           MR. FARIES: Objection to form.
        4   medical literature for reliably determining the cause     4           THE WITNESS: The statistical significance
        5   of an individual patient's ovarian cancer?                5       is one tool that we use to evaluate the results
        6           MR. FARIES: Objection to form.                    6       from a study.
        7           THE WITNESS: I'm not aware of anything            7   BY MR. HEGARTY:
        8       like that.                                            8       Q. Let me ask it a different way.
        9   BY MR. HEGARTY:                                           9       A. Okay.
       10       Q. Do you know the names of the plaintiffs in        10       Q. If a study is not statistically
       11   this case?                                               11   significant, it means the result could be due to
       12           MR. FARIES: Objection to form.                   12   random chance, correct?
       13           THE WITNESS: No, I do not.                       13           MR. FARIES: Objection to form.
       14   BY MR. HEGARTY:                                          14           THE WITNESS: Okay. It is -- if it is not
       15       Q. Do you know how many plaintiffs are in            15       statistically significant that -- and you
       16   this case?                                               16       give -- a 95 percent confidence interval is
       17       A. No, I do not.                                     17       reported, that is indicating that if you had
       18       Q. Do you know anything about them, where            18       taken another sample from the population, this
       19   they live, where they grew up, their asbestos -- their   19       is a plausible range of values that would be
       20   asbestos exposures, their talcum powder product          20       statistically possible if you were able to
       21   exposure? Do you know any of that information?           21       repeat the study.
       22       A. No, I do not.                                     22   BY MR. HEGARTY:
       23       Q. Do you have any personal knowledge of any         23       Q. And a confidence interval includes the
       24   patient who has used talcum powder products and          24   value of one to a 95 percent -- a 95 percent
       25   developed ovarian cancer?                                25   confidence interval would mean that the result could
                                                                                    34 (Pages 130 to 133)
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        1    be just due to chance, correct?                           1       A. One study.
        2             MR. FARIES: Objection to form.                   2       Q. If you find a non statistically
        3             THE WITNESS: It -- yes, that is how one          3   significant result, then you cannot say that there's
        4        could interpret that.                                 4   any association in that study between the exposure and
        5    BY MR. HEGARTY:                                           5   the disease?
        6        Q. Another way to look at it is the null              6            MR. FARIES: Objection to form.
        7    value could be the actual value, correct?                 7            THE WITNESS: It would be fair to say that
        8        A. It could be the actual value. The actual           8       there is not a statistically significant
        9    value could be higher than the reported relative risk,    9       association.
       10    the confidence interval.                                 10   BY MR. HEGARTY:
       11        Q. But it also could be lower too, correct?          11       Q. Do you agree that epidemiology focuses on
       12        A. That is correct.                                  12   the question of general causation rather than that of
       13        Q. And when you get to both ends of the              13   specific causation?
       14    confidence interval, it's less likely it's at either     14       A. Could you, please, define those terms as
       15    end, correct?                                            15   you understand them?
       16        A. That's correct. The point estimate is             16       Q. Well, you indicated a moment ago that you
       17    the -- the best representation of the data from that     17   were here to comment on general causation.
       18    study.                                                   18       A. Okay. I just want to make sure we're on
       19        Q. If you have a non-statistically                   19   the same page.
       20    significant finding, you cannot draw the conclusion in   20       Q. So you have an understanding of what
       21    that study that the exposure is related to the           21   general causation is, correct?
       22    condition study, correct?                                22            MR. FARIES: Objection to form.
       23             MR. FARIES: Objection to form.                  23            THE WITNESS: I do have an understanding.
       24             THE WITNESS: Okay. Again, I'd like to           24       I -- please, you know, tell me your
       25        emphasize the point that one would never make a      25       understanding as well to make sure we're on the
                                                      Page 135                                                     Page 137
         1       conclusion like that from a single study. We --       1       same page.
         2       in epidemiology we would always rely on multiple      2   BY MR. HEGARTY:
         3       studies to make our conclusions.                      3       Q. Well, you also commented a moment ago that
         4   BY MR. HEGARTY:                                           4   you're not here to testify about specific causation,
         5       Q. My question's a little bit different. I            5   correct?
         6   think your comment about not drawing a conclusion from    6       A. I said that I was not going to testify
         7   a single study would also include a study that does       7   about any specific woman, I believe.
         8   come out statistically significant, correct?              8       Q. So using the definitions that you apply to
         9       A. That is correct.                                   9   general and specific causation, do you agree that
        10       Q. But if you have a study that's not                10   epidemiology focuses on the question of general
        11   statistically significant where you're looking at an     11   causation rather than that of specific causation?
        12   exposure and a disease, that would mean you can't draw   12           MR. FARIES: Objection to form.
        13   the conclusion that the exposure is associated with      13           THE WITNESS: I think that, yes,
        14   the disease, correct?                                    14       epidemiology focuses on general causation in the
        15            MR. FARIES: Objection to form.                  15       studying populations, not individuals.
        16   BY MR. HEGARTY:                                          16   BY MR. HEGARTY:
        17       Q. From that study?                                  17       Q. Do you agree that there are, generally,
        18            MR. FARIES: Same objection.                     18   three categories of phenomena that could result in an
        19            THE WITNESS: Again, it is not                   19   association finding in a study to be erroneous,
        20       statistically significant, but one would never       20   chance, bias and confounding?
        21       make the conclusion on the basis of one study.       21           MR. FARIES: Objection to form.
        22   BY MR. HEGARTY:                                          22           THE WITNESS: Those -- yes, those are
        23       Q. And my question really focused on that --         23       things we consider in all studies.
        24       A. I'm sorry.                                        24   BY MR. HEGARTY:
        25       Q. -- only that one study.                           25       Q. Well, each of those could result in a

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        1   finding in a study to be erroneous correct?               1   retrospective case-control study, correct?
        2        A. Correct.                                          2       A. It is something that one would always
        3        Q. The way to account for chance is through          3   think about in a case-control study.
        4   statistical significance, correct?                        4       Q. Recall bias in a retrospective
        5            MR. FARIES: Objection to form.                   5   case-control study can distort an evaluation of
        6            THE WITNESS: Not exclusively.                    6   whether the exposure is actually related to the
        7   BY MR. HEGARTY:                                           7   disease, correct?
        8        Q. How else can you account for a statistical        8           MR. FARIES: Objection to form.
        9   chance besides statistical significance?                  9           THE WITNESS: Recall bias can lead to an
       10        A. Okay. Once, again, considering the entire        10       erroneous conclusion, yes.
       11   body of literature. A single study, that is not          11   BY MR. HEGARTY:
       12   statistically significant, but it would say that         12       Q. Misclassification bias can also lead to an
       13   they -- those findings are compatible with a chance      13   erroneous conclusion in a study, correct?
       14   finding. But when you consider the whole body of         14           MR. FARIES: Objection to form.
       15   literature, there may be some studies that did not       15           THE WITNESS: It may, yes.
       16   reach statistically significance that could play into    16   BY MR. HEGARTY:
       17   the whole body of -- contribute to the whole body of     17       Q. And confounding is where there -- is where
       18   literature.                                              18   there could be another association in the study that
       19        Q. Do you agree that within an individual           19   confuses the relationship between what you're looking
       20   study a finding of statistical significance does not     20   at and the disease, correct?
       21   rule out that the result was due to bias or              21       A. That is correct.
       22   confounding?                                             22       Q. In every study there exists the potential
       23            MR. FARIES: Objection to form.                  23   for unknown confounders, correct?
       24            THE WITNESS: I do agree with that.              24           MR. FARIES: Objection to form.
       25                                                            25           THE WITNESS: That is possible, yes.
                                                     Page 139                                                      Page 141
        1   BY MR. HEGARTY:                                           1   BY MR. HEGARTY:
        2       Q. Do you agree that in a case-control study,         2       Q. And when considering bias and confounders,
        3   retrospective case-control study, there are a number      3   the weaker the association, the lower the relative
        4   of potential sources of bias?                             4   risk is or odds ratio, the greater the concern is that
        5            MR. FARIES: Objection to form.                   5   bias and confounding could be the result of that
        6            THE WITNESS: I agree with that, but I            6   relative risk or odds ratio, correct?
        7       also think that that is true of any study             7            MR. FARIES: Objection to form.
        8       design.                                               8            THE WITNESS: We consider confounding
        9   BY MR. HEGARTY:                                           9       regardless of the strength of the association.
       10       Q. Okay. It's your belief that any study             10   BY MR. HEGARTY:
       11   design whether it's randomized, placebo controlled,      11       Q. But do you -- I'm sorry, go ahead. I
       12   cohort, case-control, prospective study, has potential   12   didn't mean to interrupt.
       13   bias in it?                                              13       A. Go ahead.
       14            MR. FARIES: Objection to form.                  14       Q. Do you agree, though, that there is
       15            THE WITNESS: I do agree that any study          15   greater concern about bias and confounding when you're
       16       design can have some bias in it.                     16   dealing with a low relative risk or odds ratio versus
       17   BY MR. HEGARTY:                                          17   a high relative risk or odds ratio like one that's 10,
       18       Q. One type of bias is recall bias, correct?         18   20 or 30?
       19       A. That is correct.                                  19            MR. FARIES: Objection to form.
       20       Q. And recall bias is where individuals with         20            THE WITNESS: Okay. I -- in general terms
       21   the disease, the cases, tend to recall past exposures    21       yes. Yes.
       22   more readily than individuals with no disease,           22   BY MR. HEGARTY:
       23   correct?                                                 23       Q. For example, if you're doing a study on
       24       A. That is how the bias is typically defined.        24   smoking and lung cancer and you come up with a
       25       Q. Recall bias is a concern in every                 25   relative risk of ten, is it correct that you're less

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         1   likely to be concerned about the potential effect on      1   same thing?
         2   that finding by confounders or biases?                    2       A. In a general sense, yes.
         3           MR. FARIES: Objection to form.                    3       Q. Do you agree that epidemiologic --
         4           THE WITNESS: You would be concerned about         4   epidemiology or epidemiologic evidence by itself is
         5       confounding regardless of the strength of the         5   insufficient to establish causality?
         6       association. If it is a relative risk that is         6           MR. FARIES: Objection to form.
         7       very large, it would have to be a factor that         7           THE WITNESS: When we -- again, in
         8       was associated with both the exposure, in that        8       epidemiology, we often rely on the Bradford Hill
         9       case the smoking, and the outcome to a similar        9       criteria. And it's not just the epidemiologic
        10       degree of strength.                                  10       evidence, but a very important consideration is
        11           MR. FARIES: Okay. Mark, can you find a           11       the consideration of a plausible biological
        12       stopping point here --                               12       mechanism.
        13           MR. HEGARTY: Yeah.                               13   BY MR. HEGARTY:
        14           MR. FARIES: -- shortly?                          14       Q. And consideration of a plausible biologic
        15           MR. HEGARTY: Give me about -- just about         15   mechanism would take the analysis beyond just
        16       a few minutes --                                     16   epidemiologic studies, correct?
        17           MR. FARIES: Okay.                                17       A. It would consider data from beyond the
        18           MR. HEGARTY: -- and then I'll be done. A         18   epidemiologic study, yes.
        19       few minutes here.                                    19       Q. Do you agree that a risk factor is not
        20   BY MR. HEGARTY:                                          20   necessarily a causal factor?
        21       Q. Do you agree that the size of an odds             21           MR. FARIES: Objection to form.
        22   ratio or relative risk is an important consideration     22           THE WITNESS: I -- I do agree that there
        23   in evaluating the plausibility of a causal               23       are examples of that, yes.
        24   relationship between the exposure and the disease?       24   BY MR. HEGARTY:
        25           MR. FARIES: Objection to form.                   25       Q. Have you ever been on a panel for a CDC?
                                                      Page 143                                                     Page 145
        1             THE WITNESS: One considers the size of           1           MR. FARIES: I'm sorry, is this not a good
        2         the odds ratio, but one would also bear in mind,     2       breaking point now?
        3         and it is pointed out in numerous papers, that       3           MR. HEGARTY: Oh, yeah. No, we can do a
        4         some associations may be smaller in magnitude        4       breaking point. We can do it now.
        5         but still plausible and real.                        5           MR. FARIES: Yeah, let's do it now.
        6    BY MR. HEGARTY:                                           6      (RECESS TAKEN FROM 12:28 P.M. TO 1:30 P.M.)
        7         Q. When you say it's a consideration, what do        7   BY MR. HEGARTY:
        8    you mean? The size of the relative risk or odds ratio     8       Q. Dr. Moorman, when you do a case-control
        9    is a consideration in assessing a causal relationship     9   study, you adjust for confounders that are also risk
       10    between the exposure and the disease?                    10   factors that you believe may have an effect on the
       11         A. Okay. You know, as I have stated earlier,        11   results of the study, correct?
       12    the Bradford Hill viewpoints, I don't want to use word   12       A. Yes, we consider confounders, yes.
       13    "criteria" because he doesn't use that, but the          13       Q. Is a confounder the same thing as a risk
       14    strength of the association is one of the                14   factor?
       15    considerations that is described there. So it's -- it    15           MR. FARIES: Objection to form.
       16    is taken into account in the total picture.              16           THE WITNESS: A confounder is a factor
       17         Q. Do you agree that in looking at                  17       that is associated with the outcome and is also
       18    epidemiologic studies the presence of an association     18       associated with the exposure that you're
       19    does not establish a causal relationship?                19       interested in. So it should have some -- it
       20             MR. FARIES: Objection to form.                  20       should be associated with the outcome.
       21             THE WITNESS: Okay. That is what we              21   BY MR. HEGARTY:
       22         always -- one of the first things we teach          22       Q. Your intent when you do studies is to
       23         students, that correlation is not causation.        23   adjust for all risk factors that are -- could be
       24    BY MR. HEGARTY:                                          24   associated with the outcome, correct?
       25         Q. And is correlation and association the           25           MR. FARIES: Objection to form.

                                                                                     37 (Pages 142 to 145)
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                                        Patricia Moorman, Ph.D., M.S.P.H.
                                                                     Page 146                                                              Page 148
        1             THE WITNESS: I do want to make that a                      1   results section. Do you see that?
        2        little bit more nuanced. We -- our objective is                 2       A. Yes.
        3        to consider them. Sometimes when you do the                     3       Q. The first line there says: (Reading)
        4        analysis you might do it in an iterative process                4              As expected, established
        5        and so you might consider a factor as a                         5        ovarian cancer risk factors differ
        6        potential confounder. If it does not change the                 6        between cases and controls.
        7        overall association, you may not necessarily                    7            You cite the Table 1, correct?
        8        keep that in your final statistical model.                      8       A. Yes.
        9    BY MR. HEGARTY:                                                     9       Q. You did not include in Table 1 body powder
       10        Q. But you agree that in papers where you                      10   exposure as an established ovarian cancer risk factor,
       11    have been an author and looking at -- at risk factors              11   correct?
       12    for ovarian cancer that you have not included as a                 12       A. No, Dr. Terry did not include that in this
       13    confounder body powder use, correct?                               13   table.
       14             MR. FARIES: Objection to form.                            14       Q. You did not recommend that she include
       15             THE WITNESS: I don't believe that is an                   15   that in this table either, did you?
       16        absolute accurate statement. I think that we                   16            MR. FARIES: Objection to form.
       17        may have considered it. As I said, it may not                  17            THE WITNESS: No, I did not make that
       18        have -- if we put it into a model and it made no               18       recommendation.
       19        difference, then there would be no need to                     19   BY MR. HEGARTY:
       20        adjust for it.                                                 20       Q. That's all I have as to that study.
       21    BY MR. HEGARTY:                                                    21            MR. KLATT: I'm sorry, what was that
       22        Q. Did the paper reflect whether you                           22       exhibit?
       23    considered it, that is body powder use as a risk                   23            MR. HEGARTY: 8.
       24    factor, and decided not to adjust for it?                          24            MS. PARFITT: 8.
       25        A. It -- I can't say that with absolute                        25            MR. FARIES: You write that on there?
                                                                     Page 147                                                              Page 149
         1   certainty. It is typical to describe the factors that               1           MR. KLATT: Do you want me to? On the
         2   you considered as risk factors.                                     2       article?
         3       Q. I'm going to hand you what I marked as                       3           MR. HEGARTY: Yeah, on the article itself.
         4   Exhibit Number 8.                                                   4     (EXHIBIT NUMBER 9 WAS MARKED FOR IDENTIFICATION)
         5       A. Okay.                                                        5   BY MR. HEGARTY:
         6     (EXHIBIT NUMBER 8 WAS MARKED FOR IDENTIFICATION)                  6       Q. I'm going to show you what I've marked as
         7           MR. FARIES: Thank you.                                      7   Exhibit 9. This is another paper in which you were an
         8   BY MR. HEGARTY:                                                     8   author on, correct?
         9       Q. This is a paper in which you were a                          9       A. Yes.
        10   coauthor on entitled, Supplemental Selenium May                    10       Q. That paper is entitled, Analgesic
        11   Decrease Ovarian Cancer Risk in African-American                   11   Medication Use and Risk of Epithelial Ovarian Cancer
        12   Women. Is that correct?                                            12   in African-American Women. Correct?
        13       A. Yes.                                                        13       A. Yes.
        14       Q. This was published -- well, it says at the                  14       Q. If you look over on page 823, Tables 2
        15   bottom: (Reading)                                                  15   and 3 and even Table 1 did not include body powder or
        16             Manuscript received                                      16   talcum powder use as a confounder that was adjusted
        17       October 20, 2016; initial review                               17   for, correct?
        18       completed November 23rd, 2016;                                 18            (WITNESS REVIEWS DOCUMENT)
        19       revisions accepted January 17th, 2017.                         19       A. That is correct.
        20           Correct?                                                   20       Q. Did you recommend to the author, Lauren
        21       A. That is correct.                                            21   Peres, that they include talcum powder use or body
        22       Q. Then it notes it was first published                        22   powder use as a potential confounder to consider in
        23   online on February 15, 2017, correct?                              23   this -- this analysis?
        24       A. Correct.                                                    24       A. I do not recall that I did that, no.
        25       Q. If you turn over to page 2 under the                        25       Q. And why would you not have made that

                                                                                                     38 (Pages 146 to 149)
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                                     Patricia Moorman, Ph.D., M.S.P.H.
                                                               Page 150                                               Page 152
        1    recommendation?                                               1            MR. FARIES: Thank you.
        2        A. I don't know exactly what my thought                   2   BY MR. HEGARTY:
        3    process would have been. In this paper, Dr. Peres is          3       Q. This is another paper in which you are an
        4    a post-doc under the direction of Dr. Schildkraut and         4   author, correct?
        5    many times in this situation, the coauthors are not           5       A. That is correct.
        6    involved in every decision along the way and so I             6       Q. This is a paper whose lead author is
        7    don't know the entire thought process that they went          7   Bo Qin; is that correct?
        8    through when they decided which factors they were             8       A. Yes.
        9    going to use including their statistical model.               9            MR. KLATT: Mark, do you mind reading the
       10        Q. Well, when you say "they," you're one of              10       title?
       11    the listed authors, right?                                   11            MR. HEGARTY: Yeah, just a second.
       12        A. I am one of the listed authors, yes.                  12   BY MR. HEGARTY:
       13        Q. You read that paper and signed off on it              13       Q. The title of that paper is, Dietary
       14    before it was published, correct?                            14   Quality and Ovarian Cancer Risk in African-American
       15        A. Yes.                                                  15   Women, correct?
       16        Q. You had the ability in that paper and in              16       A. That is correct.
       17    the paper we just looked at, Exhibit Number 8, to            17       Q. If you turn over to -- first of all, if
       18    recommend adjustment for other risk factors, correct?        18   you look at this paper, first page it said it was
       19             MR. FARIES: Objection to form.                      19   accepted for publication on June 8th, 2016, correct?
       20             THE WITNESS: That is correct.                       20       A. Yes.
       21    BY MR. HEGARTY:                                              21       Q. If you turn over to page 1282 under the
       22        Q. You did not do so as it relates to body               22   section, Statistical Analysis. Do you see that
       23    powder or talcum powder use, correct?                        23   section?
       24        A. No, I did not.                                        24       A. Yes, I do.
       25        Q. This -- these papers use the same study               25       Q. Towards the bottom of the second full
                                                               Page 151                                               Page 153
         1   population that you have been working from, the North1            paragraph it notes that: (Reading)
         2   Carolina and/or the African-American study, in which 2                      The multi-variant adjusted
         3   you do have information as far as body powder use,   3                 model further considered a priority
         4   correct, right?                                      4                 the potential confounders or risk
         5           MR. FARIES: Objection to form.               5                 factors for ovarian cancer of . . .
         6           THE WITNESS: Yes.                            6                    And then it lists a number of risk
         7   BY MR. HEGARTY:                                      7            factors, correct?
         8       Q. And you stand behind every word that's        8                A. Correct.
         9   published in these papers, correct, as an author?    9                Q. And body powder use is not listed,
        10           MR. FARIES: Objection to form.              10            correct?
        11           THE WITNESS: I stand behind these papers    11                A. Correct.
        12       in the -- in the way that authors stand behind  12                Q. This paper also did not adjust for body
        13       them. It's -- I did not write every word. In    13            powder/talcum powder use, correct?
        14       fact, I did not write these papers, and I felt  14                A. Correct.
        15       like overall they were appropriate. The data    15                Q. You, likewise, had the opportunity to make
        16       was -- I didn't have objections to how the --   16            that recommendation if you thought that was
        17       the data were presented.                        17            appropriate to do so, right?
        18   BY MR. HEGARTY:                                     18                A. Yes.
        19       Q. And all the authors, the lead authors, are   19                Q. And you felt that the paper as presented
        20   certainly competent and respectable scientists,     20            was appropriate, correct?
        21   correct?                                            21                    MR. FARIES: Objection to form.
        22       A. Yes.                                         22                    THE WITNESS: Yes.
        23       Q. I'm going to show you what I next marked     23            BY MR. HEGARTY:
        24   as Exhibit Number 10.                               24                Q. Next paper I'm going to show you is one I
        25     (EXHIBIT NUMBER 10 WAS MARKED FOR IDENTIFICATION) 25            marked as Exhibit Number 11.
                                                                                         39 (Pages 150 to 153)
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                                        Patricia Moorman, Ph.D., M.S.P.H.
                                                                     Page 154                                                 Page 156
         1     (EXHIBIT NUMBER 11 WAS MARKED FOR IDENTIFICATION)                 1   BY MR. HEGARTY:
         2   BY MR. HEGARTY:                                                     2       Q. Well, my question is a little bit
         3       Q. This is a paper entitled, Socioeconomic                      3   different.
         4   Status in Relation to the Risk of Ovarian Cancer in                 4       A. Yes, sir.
         5   African-American Women: A Population-Based                          5       Q. Isn't it correct, though, that if you had
         6   Case-Control Study. Correct?                                        6   believed at the time these papers were published that
         7       A. Correct.                                                     7   body powder or talcum powder exposure was an
         8       Q. You're also an author on this study; is                      8   established risk factor for ovarian cancer that you
         9   that right?                                                         9   would have recommended to your fellow authors that
        10       A. Correct.                                                    10   they adjust for it in the papers?
        11       Q. If you look in the abstract, about middle                   11           MR. FARIES: Objection to form.
        12   of the abstract paragraph, it says: (Reading)                      12           THE WITNESS: I think it would be fair to
        13              After adjustment for a                                  13       say that it should be considered, yes.
        14       established ovarian cancer risk                                14   BY MR. HEGARTY:
        15       factors.                                                       15       Q. Well, is it fair to say, though, in answer
        16           Do you see that?                                           16   to my question, that if you believed it would have
        17       A. I do.                                                       17   been -- it was an established risk factor at the time
        18       Q. What that means is that this paper                          18   these papers were published that you would have made
        19   adjusted for established ovarian cancer risk factors,              19   such a recommendation to your coauthors?
        20   correct?                                                           20           MR. FARIES: Objection to form.
        21           MR. FARIES: Objection to form.                             21           THE WITNESS: I'm -- I'm not really -- I'm
        22           THE WITNESS: That's what they state.                       22       not really sure. It's -- as I said many times,
        23   BY MR. HEGARTY:                                                    23       when we are working in these large groups,
        24       Q. In fact, that's what you state?                             24       you -- you may provide input. It -- I might
        25       A. Yes.                                                        25       have been operating on the assumption that they
                                                                     Page 155                                                 Page 157
         1        Q. Nowhere in this paper did you as an author                  1        had looked at it and perhaps it was not a risk
         2   or the other authors adjust for body powder or talcum               2        factor, but I just don't know exactly what my
         3   powder exposure, correct?                                           3        frame of mind was at that point.
         4        A. That is correct.                                            4   BY MR. HEGARTY:
         5        Q. So you would have to agree that as of the                   5        Q. Well, you know better than anyone yourself
         6   date this paper was published you did not believe that              6   and how you would approach being an author on a paper,
         7   body powder exposure or talcum powder exposure was an               7   correct?
         8   established ovarian cancer risk factor?                             8        A. Correct.
         9            MR. FARIES: Objection to form.                             9        Q. Is it your testimony that if you had
        10            THE WITNESS: As I have stated before, I'm                 10   believed that ovarian -- that body powder or talcum
        11        not sure. It's very hard to pinpoint at a                     11   powder use was an established risk factor that you
        12        particular date what my opinion -- what my                    12   would not have passed that information along to your
        13        opinion was.                                                  13   coauthors?
        14   BY MR. HEGARTY:                                                    14            MR. FARIES: Objection to form and
        15        Q. Well, wouldn't it be a fair statement that                 15        mischaracterizes the witness' prior testimony.
        16   as of the date of all these four papers we just looked             16   BY MR. HEGARTY:
        17   at, if you had believed that ovarian -- that body                  17        Q. You can answer.
        18   powder or talcum powder use was an established ovarian             18        A. I'm -- I -- I think that I was probably
        19   cancer risk factor, you would have recommended that                19   relying on my coauthors and I did not make that
        20   the -- you and the other authors adjust for it in the              20   recommendation. That's all I can say.
        21   study findings, correct?                                           21        Q. Well, are you testifying here today that
        22            MR. FARIES: Objection to form.                            22   at the time these papers were published you did
        23            THE WITNESS: I -- I did not make that                     23   believe that body powder or talcum powder use was an
        24        recommendation.                                               24   established ovarian cancer risk factor?
        25                                                                      25            MR. FARIES: Objection to form.

                                                                                               40 (Pages 154 to 157)
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                                    Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 158                                                      Page 160
        1            THE WITNESS: My testimony is that I have          1       A. That is correct.
        2        believed for quite some time that talcum powder       2       Q. Is it correct that this first -- this --
        3        use is a risk factor for ovarian cancer.              3   this paper, Exhibit 12, is the first time you ever
        4    BY MR. HEGARTY:                                           4   reported in the study in which you were on a relative
        5        Q. Understood, but I'm talking about at the           5   risk or odds ratio for body powder or talcum powder
        6    date these papers were published. Is it your              6   use in ovarian cancer?
        7    testimony that at the date these papers were published    7       A. To the best of my knowledge yes.
        8    that you believed that body powder or talcum powder       8       Q. This is a paper in which you are the lead
        9    use was an established risk factor for ovarian cancer?    9   author, correct?
       10            MR. FARIES: Objection to form.                   10       A. That is correct.
       11            THE WITNESS: I would say yes, I did              11       Q. That means you are responsible for
       12        believe it at that point.                            12   everything in this paper, right?
       13    BY MR. HEGARTY:                                          13           MR. FARIES: Objection to form.
       14        Q. And that goes back to even the paper that         14           THE WITNESS: I wrote this paper, yes.
       15    was published in 2015?                                   15   BY MR. HEGARTY:
       16        A. As I have stated before, I have held this         16       Q. And you stand behind the results of this
       17    position for a while. I don't know exactly at what --    17   paper, correct?
       18    what point I would have said I held it or did not hold   18       A. I do.
       19    it.                                                      19       Q. And in this paper you found no association
       20        Q. And it's your testimony that you --               20   between talcum powder use and ovarian cancer in either
       21    despite you holding that belief, you didn't pass that    21   of African-American or white women, correct?
       22    belief on to your coauthors; is that correct?            22           MR. FARIES: Objection to form.
       23            MR. FARIES: Objection. Sorry. Objection          23           THE WITNESS: In this paper there was not
       24        to form, asked and answered multiple times.          24       a statistically significant association, that is
       25                                                             25       true.

                                                      Page 159                                                      Page 161
         1   BY MR. HEGARTY:                                         1     BY MR. HEGARTY:
         2     Q. You can answer.                                    2         Q. Well, with regard to white women, the odds
         3       A. Okay.                                            3     ratio you reported is 1.04, correct?
         4           MR. FARIES: And let this be the last time       4         A. That is correct.
         5       that you ask this question, please.                 5         Q. That is essentially null value, right?
         6           THE WITNESS: Okay. No, I did not pass           6             MR. FARIES: Sorry, hang on, slow down.
         7       that information along to the coauthors.            7             Objection to form.
         8   BY MR. HEGARTY:                                         8             MR. HEGARTY: Okay.
         9       Q. Okay. Now, you -- in none of the papers          9             MR. FARIES: Now you can proceed.
        10   that we just looked at was there a reporting of a      10             THE WITNESS: Okay. Among the white
        11   relative risk or an odds ratio for talcum or body      11         women, that is correct, the odds ratio was 1.04,
        12   powder use in ovarian cancer, correct?                 12         which is very close to the null value.
        13       A. That is correct.                                13     BY MR. HEGARTY:
        14       Q. But you have been an author on several          14         Q. You also compared the results in whites
        15   papers that have reported an odds ratio or relative    15     and African-American women and found no difference
        16   risk for use of talcum powder or body powder --        16     between the two, correct? You did not find
        17   powders and ovarian cancer, correct?                   17     heterogeneity, right?
        18       A. That is correct.                                18         A. If you let me just look for a moment to --
        19     (EXHIBIT NUMBER 12 WAS MARKED FOR IDENTIFICATION) 19            Q. Sure.
        20   BY MR. HEGARTY:                                        20         A. -- just recall.
        21       Q. The first paper, from what I can tell, of       21             MR. FARIES: If you don't feel
        22   your publications that reported an odds ratio or       22         comfortable, always review your paper.
        23   relative risk is what I've marked as Exhibit Number 12 23              (WITNESS REVIEWS DOCUMENT)
        24   which is titled, Ovarian Cancer Risk Factors in        24             THE WITNESS: Uh-huh. That is correct, we
        25   African-American and White Women. Correct?             25         did not find a statistically significant

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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 162                                                      Page 164
         1       interaction between race and talc use in this         1        Q. -- how many cases and controls did you
         2       particular paper.                                     2   have?
         3   BY MR. HEGARTY:                                           3        A. Okay. When you look at the data here,
         4       Q. What that means is, in sort of layperson           4   it's up at the -- the column headings, it tells you we
         5   terms, is that you didn't find a difference in the        5   had 746 white cases, 868 controls, 111
         6   risk of ovarian cancer in white women using talc and      6   African-American cases, and similar number of
         7   in black women using talc?                                7   controls, and then for the talc use, you'll note that
         8       A. I do want to put that in the -- we do have         8   there was missing data for quite a few of them. So I
         9   to keep in mind the statistical -- that was a             9   guess we are looking at 600-plus white cases and only
        10   statistical measure and the statistical measures are     10   about 83 African-American cases.
        11   always dependent on sample size, and so in this case     11        Q. You agree, though, you had enough cases --
        12   we did have a relatively small group of                  12   enough cases and controls in order to -- to do an odds
        13   African-Americans and so our tested interaction was      13   ratio?
        14   not statistically significant, and that is not to say    14            MR. FARIES: Objection to form.
        15   with certainty that there was no difference because      15            THE WITNESS: One can calculate an odds
        16   that test is dependent on sample size.                   16        ratio with a very small number of cases and
        17       Q. You did have enough cases and controls in         17        controls so . . .
        18   order to do an odds ratio, though, correct? I'll let     18   BY MR. HEGARTY:
        19   that -- let me -- let me rephrase that.                  19        Q. You agree you had enough cases and
        20            You don't contend that there was not            20   controls and results in order to report them in this
        21   sufficient power in the study in order to evaluate the   21   study, correct?
        22   risk of ovarian cancer with talcum powder use, do you?   22        A. I -- yes, we did.
        23            MR. FARIES: Objection to form.                  23        Q. And there -- there have been times when
        24            THE WITNESS: When -- this study, the            24   you've published a paper where you said in the paper
        25       North Carolina Ovarian Cancer Study, was             25   you didn't feel like you had enough cases and controls
                                                      Page 163                                                      Page 165
        1        intended to look at many different risk factors       1   in order to present the data, correct?
        2        for ovarian cancer. When the study was                2       A. That is correct.
        3        designed, it was not specifically designed to be      3       Q. You did not find that to be the case with
        4        powered to detect the association specifically        4   this study, correct?
        5        with talc. Talc was one of many risk factors          5           MR. FARIES: Objection to form.
        6        that was considered in this study.                    6   BY MR. HEGARTY:
        7    BY MR. HEGARTY:                                           7       Q. You can answer.
        8        Q. You have over 300 cases and over 300               8       A. Okay. No, we obviously -- we did report
        9    controls, correct?                                        9   odds ratios.
       10        A. I'm -- I'm --                                     10       Q. You stand behind the results of this
       11            MR. FARIES: Objection to form.                   11   study, correct?
       12    BY MR. HEGARTY:                                          12       A. I do.
       13        Q. I'm sorry. In your -- I'm sorry.                  13       Q. And is it safe to say that you did not
       14            You have -- for a number of cases in the         14   have the opinions that you're offering here today back
       15    study you had -- well, how many number of cases did      15   when you did this study, correct?
       16    you have? Let me ask you.                                16           MR. FARIES: Objection to form.
       17        A. Okay.                                             17           THE WITNESS: I want to emphasize, once
       18            MR. FARIES: I'm sorry, which part of the         18       again, that the opinions are formed not on one
       19        study?                                               19       single study, that they were not based just on
       20            MR. HEGARTY: Right, fair point.                  20       this study, my opinion was not based on this,
       21            THE WITNESS: Okay.                               21       and I think that it is also very important to
       22    BY MR. HEGARTY:                                          22       bear in mind that this study was published 2009,
       23        Q. With regard to the talc use section on            23       so about nine years ago. There has been an
       24    Table 2 --                                               24       accumulation of additional data that has
       25        A. Okay.                                             25       informed my opinion since then.

                                                                                     42 (Pages 162 to 165)
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                                      Patricia Moorman, Ph.D., M.S.P.H.
                                                                  Page 166                                                 Page 168
        1    BY MR. HEGARTY:                                                  1   as Exhibit 13 is a paper entitled, Primary Peritoneal
        2        Q. Fair enough. And my question was limited                  2   and Ovarian Cancers: An Epidemiological Comparative
        3    to the time this paper was published back in 2009, and           3   Analysis. This is another paper in which you are an
        4    that question was, it's correct that you did not hold            4   author on, correct?
        5    the opinions that you've expressed here today back in            5       A. That is correct.
        6    2009 when this paper was published, correct?                     6       Q. This paper --
        7             MR. FARIES: Objection to form.                          7           MR. KLATT: Mark, what year is that?
        8             THE WITNESS: Once again, I think it --                  8           MR. HEGARTY: This paper was --
        9        that I have said it repeatedly that my opinions              9           MR. FARIES: 2010.
       10        have evolved with the accumulation of more data             10           MR. HEGARTY: -- received November 18,
       11        as any scientist would. And at any point in                 11       2009; accepted February 10, 2010; published
       12        time, it's impossible to say specifically what              12       online March 23rd, 2010.
       13        was my opinion. Obviously, we did want to                   13   BY MR. HEGARTY:
       14        investigate talc as a risk factor for ovarian               14       Q. In this paper you looked at whether there
       15        cancer.                                                     15   was an association between talc use and serous primary
       16    BY MR. HEGARTY:                                                 16   peritoneal cancer and serous epithelial ovarian
       17        Q. This 2009 paper did not show that talc use               17   cancer, correct?
       18    increased the risk of ovarian cancer, correct?                  18       A. It has been a while since I have --
       19        A. As we -- I stated before, it did not show                19       Q. Sure.
       20    a significantly increased risk in either of the racial          20       A. -- looked at this paper so . . .
       21    groups we examined.                                             21           MR. FARIES: Just take your time.
       22        Q. The results are consistent with no                       22           THE WITNESS: Okay.
       23    increased risk with talc use, correct?                          23            (WITNESS REVIEWS DOCUMENT)
       24             MR. FARIES: Objection to form.                         24           Okay.
       25             THE WITNESS: As we have discussed about                25

                                                                  Page 167                                                 Page 169
         1     odds ratios previously, the odds ratio -- or the    1              BY MR. HEGARTY:
         2     confidence intervals give the range of values       2                  Q. Have you had a chance to look at it?
         3       with which it is statistically compatible, so     3                  A. I have refreshed my memory a bit, yes.
         4       yes, it is compatible with no increased risk,     4                  Q. Again, this paper looked at whether there
         5       it's compatible with a greater risk than what     5              was an association between talc use out of the North
         6       was reported as well.                             6              Carolina -- Carolina Ovarian Cancer Study to serous
         7   BY MR. HEGARTY:                                       7              primary peritoneal cancer and serous epithelial
         8       Q. It is also compatible with a decreased         8              ovarian cancer, correct?
         9   risk of ovarian cancer with talc use, correct?        9                  A. That is correct.
        10       A. Yes.                                          10                  Q. If you look over at Table 2, do you agree
        11            MR. FARIES: Objection to form.              11              that you found no association between talc use and
        12            THE WITNESS: Right. It's, again,            12              serous primary peritoneal cancer and serous -- or
        13       something that is driven in part by the sample   13              serous epithelial ovarian cancer?
        14       size we were examining.                          14                      MR. FARIES: Objection to form.
        15   BY MR. HEGARTY:                                      15                      THE WITNESS: Okay. So our reports here
        16       Q. You certainly didn't include any              16                  are an odds ratio below 1 per serous peritoneal
        17   statements in that paper that talc use increases the 17                  cancer versus controls, so this one study would
        18   risk of ovarian cancer, correct?                     18                  suggest it was not associated there. And with
        19       A. I don't believe that I did, no.               19                  the serous epithelial ovarian cancer, the odds
        20       Q. Did not state that talc use causes ovarian    20                  ratio was 1.15 and, again, the 95 percent
        21   cancer, correct?                                     21                  confidence interval indicates that that was not
        22       A. I did not.                                    22                  a statistically significantly increased risk.
        23     (EXHIBIT NUMBER 13 WAS MARKED FOR IDENTIFICATION) 23               BY MR. HEGARTY:
        24   BY MR. HEGARTY:                                      24                  Q. In fact, as to the odds ratio for serous
        25       Q. Next paper I'm going to show you is marked    25              primary peritoneal cancer, that is a non-statistically
                                                                                            43 (Pages 166 to 169)
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                               Patricia Moorman, Ph.D., M.S.P.H.
                                                    Page 170                                                     Page 172
        1   significant decrease in a risk, correct?                 1       giving you her epi opinion and she doesn't --
        2           MR. FARIES: Objection to form.                   2       she's not referring to just that term alone.
        3           THE WITNESS: That -- yes, that odds ratio        3   BY MR. HEGARTY:
        4       is an inverse association based on a quite small     4       Q. And I guess my question was, why do you
        5       sample size.                                         5   need to call this finding a non-statistically
        6   BY MR. HEGARTY:                                          6   significant -- that you didn't find a
        7       Q. But what that means is that it's a                7   non-statistically significant association?
        8   non-statistically significant protective effect,         8           MR. FARIES: Objection to form.
        9   correct?                                                 9           THE WITNESS: When we look at
       10           MR. FARIES: Objection to form.                  10       associations, statistical significance is
       11           THE WITNESS: I would prefer to                  11       certainly one of the things that we consider.
       12       characterize it as an inverse association.          12       Okay. Sometimes interesting suggestive findings
       13       "Protective" would require some consideration of    13       may be reported that are not statistically
       14       mechanism.                                          14       significant and sometimes that is a relation --
       15   BY MR. HEGARTY:                                         15       in relation to sample size, and so to say no
       16       Q. But in this study with regard to the             16       association very strictly speaking, no
       17   serous form of epithelial ovarian cancer you found no   17       association would mean an odds ratio of 1 and so
       18   association between talc use and that form of ovarian   18       that's why I qualified it as it was not a
       19   cancer, correct?                                        19       statistically significant association.
       20           MR. FARIES: Objection to form.                  20   BY MR. HEGARTY:
       21           THE WITNESS: Please say that one more           21       Q. Is it your opinion that use of talcum
       22       time.                                               22   powder products increases the risk of serous primary
       23   BY MR. HEGARTY:                                         23   peritoneal cancer?
       24       Q. Sure. With regard to the serous form or          24       A. I do not have a well-formed opinion on
       25   type of ovarian cancer, in this study you found no      25   that because primary peritoneal cancers are a fairly
                                                    Page 171                                                     Page 173
        1   association between talc use and that form of ovarian    1   small subset of ovarian cancer and there is -- some
        2   cancer, correct?                                         2   people would consider them a subset of ovarian cancer,
        3           MR. FARIES: Objection to form.                   3   some would consider them a distinct type of cancer,
        4           THE WITNESS: Okay. I have already                4   and there is just not enough data to -- to form an
        5       answered that. The -- for neither the serous         5   opinion.
        6       primary peritoneal nor the epithelial ovarian        6       Q. You stand behind the results of this
        7       cancer the results were not statistically            7   study?
        8       significantly increased.                             8       A. I do.
        9   BY MR. HEGARTY:                                          9       Q. In looking at the last two studies, did
       10       Q. And that means that in this study you            10   you include those two studies on your list of reliance
       11   found no association, correct?                          11   materials that we marked as Exhibit Number 3?
       12       A. We did not find a statistically                  12           MR. FARIES: And just to clarify, that's
       13   significant association.                                13       Exhibit 12 and 13?
       14       Q. Well, is there a non-statistically               14           MR. HEGARTY: Correct.
       15   significant association?                                15           MR. FARIES: Okay.
       16           MR. FARIES: Objection to form.                  16           THE WITNESS: Okay. This one (indicating)
       17   BY MR. HEGARTY:                                         17       is on --
       18       Q. Why did you qualify my question by saying        18   BY MR. HEGARTY:
       19   you didn't find a statistically significant             19       Q. Which one, 12?
       20   association? And my follow-up question, is there a      20       A. Yes, Exhibit 12, Ovarian Cancer Risk
       21   non-statistically significant association?              21   Factors in African-American and White Women, American
       22           MR. FARIES: She's not qualifying her            22   Journal of Epidemiology 2009. And it appears that I
       23       answer. She's asking -- she's answering your        23   did not include that in the list.
       24       questions. You want her to just agree to the        24       Q. Why did you not include Exhibit 13?
       25       phrase "association" with nothing more and she's    25       A. It was an oversight.

                                                                                   44 (Pages 170 to 173)
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                                      Patricia Moorman, Ph.D., M.S.P.H.
                                                                 Page 174                                                Page 176
         1      Q. Do you rely on what I've marked as Exhibit        1                   MS. PARFITT: Page 8?
         2   Number 13 as part of your reliance materials for your   2                   MR. HEGARTY: Page 8.
         3   opinions in this case?                                  3           BY MR. HEGARTY:
         4       A. I consider -- you know, as I said, I             4               Q. -- and you look at the section, Body
         5   considered the full body of literature and so, yes.     5           Powder Use. Do you see that section?
         6       Q. Within the dataset of the North Carolina         6               A. Yes, I do.
         7   Ovarian Cancer Study, are there -- is that a racially   7               Q. First of all, body powder use includes use
         8   diverse population; in other words, does it include     8           of cornstarch products, correct?
         9   white women, African-American women, Hispanic women?    9               A. It may.
        10       A. It was -- is a racially diverse. There          10               Q. It can include deodorizing body powders,
        11   were no exclusions by race/ethnicity, but it was       11           correct?
        12   reflecting the population and the incidence of ovarian 12               A. It -- it may, yes.
        13   cancer, so the vast majority of the -- or a large      13               Q. Body powder use is not exclusive to
        14   majority of the women in the study were white women.   14           powders containing talcum powder for purposes of the
        15       Q. Do you know what percentage?                    15           African-American study, correct?
        16       A. Off the top of my head, I don't know. I         16                   MR. FARIES: Objection to form.
        17   would say probably definitely greater than 80 percent. 17                   THE WITNESS: That is correct.
        18     (EXHIBIT NUMBER 14 WAS MARKED FOR IDENTIFICATION) 18              BY MR. HEGARTY:
        19   BY MR. HEGARTY:                                        19               Q. In fact, some of the women in the
        20       Q. Next study I'm going to hand you I've           20           African-American study used only cornstarch products,
        21   marked as Exhibit Number 14. This is a study           21           correct?
        22   entitled, Racial, slash, Ethnic Differences in the     22                   MR. FARIES: Objection to form.
        23   Epidemiology of Ovarian Cancer: A Pooled Analysis of   23                   THE WITNESS: We do not know that. We
        24   12 Case-Control Studies.                               24               asked about body powder use, so we did not ask
        25       A. Yes.                                            25               them to distinguish.
                                                                 Page 175                                                Page 177
         1       Q. Is that correct?                                         1   BY MR. HEGARTY:
         2       A. That is correct.                                         2       Q. But you did not limit it to body powder
         3       Q. You are an author on this paper; is that                 3   use containing talcum, correct?
         4   correct?                                                        4       A. That is correct.
         5       A. That is correct.                                         5       Q. If you look at the column for body powder
         6       Q. This paper shows in the upper right-hand                 6   use, you found that -- you found no increase in the
         7   corner that it was published on December 2nd, 2017; E           7   risk of ovarian cancer from any genital use in
         8   published ahead of print; is that correct?                      8   Hispanic women, correct?
         9       A. I'm sorry, where are you?                                9           MR. FARIES: Objection to form. When
        10       Q. Upper right-hand corner.                                10       you're referring to "you," do you mean the
        11       A. I am not seeing that on the document.                   11       witness literally or the authors of the study?
        12       Q. I'm sorry, you may have different copy                  12           MR. HEGARTY: Fair point.
        13   than I have. This is the copy I have. I guess they             13   BY MR. HEGARTY:
        14   gave me a different copy. The copy I have shows it             14       Q. Yeah, the -- when I talk about "you," I'm
        15   was published in December 2nd -- on December 2nd; E            15   referring to the paper or the authors. Is that -- do
        16   published ahead of print. Do you know if that's                16   you understand that?
        17   accurate, if whether it was published in December of           17       A. Right. Once again, I want to say the --
        18   2017?                                                          18   found an odds ratio of 1.41. The confidence interval
        19       A. I don't recall the exact date. I know                   19   included 1 so, therefore, it was not a statistically
        20   that it is a paper that came out fairly recently.              20   significant increased risk.
        21       Q. Do you agree it came out in the last three              21       Q. You also not find a statistically
        22   months, four months?                                           22   significant increased risk in Asian/Pacific Islander
        23       A. That sounds about right.                                23   women, correct?
        24       Q. If you turn over to page 8 of this                      24       A. That is correct.
        25   study --                                                       25       Q. Is it your opinion that the increased risk
                                                                                           45 (Pages 174 to 177)
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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 178                                                      Page 180
         1   of body powder -- of ovarian cancer with body powder      1   BY MR. HEGARTY:
         2   use does not vary across racial and ethnicity             2       Q. You also found in this study: (Reading)
         3   features?                                                 3              As reported below, no
         4           MR. FARIES: Objection to form.                    4        statistically significant association
         5   BY MR. HEGARTY:                                           5        between aspirin, acetaminophen, or
         6       Q. Let me ask it a different way.                     6        NSAID use and ovarian cancer.
         7       A. Yeah, there were a couple of double.               7            Correct?
         8       Q. Do you believe -- you've offered the               8       A. Again, all of those associations were not
         9   opinions in this case about body powder use in ovarian    9   statistically significant.
        10   cancer. Do you -- is it your opinion that those apply    10       Q. If turn over to page 9, top of the second
        11   regardless of racial or ethnicity characteristics?       11   column you say: (Reading)
        12           MR. FARIES: Objection to form.                   12              Study heterogeneity was
        13           THE WITNESS: Okay. I based my opinion on         13        present for several characteristics
        14       the overall body of literature, and as all of us     14        which include body powder exposure.
        15       are well aware, the body of literature is            15            Correct?
        16       predominantly white populations. And as we can       16       A. Let me just -- yes, that is what it
        17       see here, the number of Hispanic women is a          17   states.
        18       small fraction of the number of non-Hispanic         18       Q. That means that you found differences in
        19       whites and the same is true but to a lesser          19   the odds ratios across the various racial groups,
        20       extent for black women and Asian and Pacific         20   correct?
        21       Islanders. And again, my opinion was based on        21       A. Yes, that is -- would be -- yes.
        22       the overall body of literature. This one             22       Q. And if you look down at the bottom of that
        23       publication suggests that the strength of the        23   column, the last paragraph says: (Reading)
        24       association may vary somewhat across race/ethnic     24              For a model of established EOC
        25       groups, but again, that is for race/ethnic           25        epithelial ovarian cancer risk
                                                      Page 179                                                      Page 181
        1        groups other than non-Hispanic whites. We are         1        factors.
        2        somewhat more limited in the numbers.                 2            Then you list several of those risk
        3    BY MR. HEGARTY:                                           3   factors in the -- then you list the risk factors in
        4        Q. You found in -- you or the paper or the            4   the parenthetical. Then you state: (Reading)
        5    studies found in this analysis that there was no          5             The average ORs among the
        6    statistically significant association between             6        controls was estimated by race
        7    nongenital use of body powder and ovarian cancer in       7        ethnicity.
        8    any racial group, correct?                                8            Correct?
        9        A. As reported here, so in non-Hispanic               9       A. That's what is stated, yes.
       10    white, the odds ratio 1, that is an accurate             10       Q. In this paper you did not include as an
       11    statement. For the Hispanic woman, it is -- 1.55 is      11   established epithelial ovarian cancer risk factor body
       12    the odds ratio. The lower bound of the confidence        12   powder use, correct?
       13    interval is right at 1 so that would typically           13            MR. FARIES: Objection to form. And just,
       14    translate to a p-value of right at .05, and so at        14       once again, the "you" is the authors, the
       15    least in that group there is some indication of          15       collective publication.
       16    increased risk.                                          16            MR. HEGARTY: That includes her.
       17        Q. But in that group, the real odds ratio            17            MR. FARIES: Yes, she's one of authors.
       18    could be 1.00, correct?                                  18            THE WITNESS: Okay. Yes, the -- talc was
       19             MR. FARIES: Objection to form.                  19       not included in this model.
       20             THE WITNESS: We've talked about the             20   BY MR. HEGARTY:
       21        interpretation of the odds ratio repeatedly.         21       Q. Did you recommend to your fellow authors
       22        This is the range of values with which it is         22   that talcum powder -- or I'm sorry, that body powder
       23        statistically compatible. The lower bound of         23   use should be included in the list of established
       24        the confidence interval is a possible but less       24   epithelial ovarian cancer risk factors?
       25        likely value.                                        25       A. I did not.
                                                                                     46 (Pages 178 to 181)
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                               Patricia Moorman, Ph.D., M.S.P.H.
                                                    Page 182                                                      Page 184
        1       Q. And that's what this line says                    1             MR. FARIES: Objection to form.
        2   when -- strike that.                                     2             THE WITNESS: These two sentences are
        3            When you put the parenthetical -- when the      3        definitely raising that as a concern about
        4   authors put the parenthetical after established          4        factors like this. They outline some of the
        5   epithelial ovarian cancer risk factors, you intended     5        concerns about how difficult it is to accurately
        6   to identify in that parenthetical those the authors      6        report this -- these exposures.
        7   concluded were established risk factors, correct?        7   BY MR. HEGARTY:
        8            MR. FARIES: Objection to form.                  8        Q. And you stand behind the results of this
        9            THE WITNESS: That is a list of them --          9   study too, correct?
       10       the factors that they did include in the model,     10        A. Yes, I do.
       11       yes.                                                11        Q. Now, at the time this study was published,
       12   BY MR. HEGARTY:                                         12   you had been retained as an expert for Plaintiffs in
       13       Q. Well, that they included --                      13   this litigation, correct?
       14       A. And they --                                      14        A. Let's see, I'm trying to -- this -- yes,
       15       Q. I'm sorry.                                       15   I -- I think that I must have been.
       16       A. That they -- the investigators that did          16        Q. Did you have to fill out a conflict of
       17   this statistical analysis, that is what they included   17   interest disclosure as part of this paper?
       18   in that model as -- and they considered the             18        A. I don't recall specifically for this
       19   established risk factors.                               19   paper.
       20       Q. And the investigators included you?              20        Q. Well, as a matter of course, you have to
       21       A. Yes.                                             21   fill out one, correct?
       22       Q. And then if you turn over to the next            22        A. Most journals do.
       23   page, page 10, the very bottom to the right-hand        23        Q. Are you ever published in -- in any
       24   column, the authors write: (Reading)                    24   journal that has not required the authors in the last
       25              A concern with self-reported                 25   few years to provide a conflict of interest
                                                    Page 183                                                      Page 185
        1        data is recall bias especially for                  1   disclosure?
        2        characteristics that are difficult to               2       A. I can't think of one right offhand. I
        3        report with accuracy. Required                      3   just . . .
        4        subjective summarization or can be                  4       Q. This was published in the International
        5        influenced by the investigator, media,              5   Journal of Epidemiology, correct?
        6        or similar factors. Such problematic                6       A. Yes.
        7        characteristics may include body                    7       Q. That journal requires the authors to
        8        powder exposure, analgesic medication               8   identify any potential conflicts of interest, correct?
        9        use, breastfeeding, and possibly                    9              MR. FARIES: Objection to form.
       10        family history.                                    10              THE WITNESS: Once again, I publish in --
       11            Did I read that correctly?                     11       we publish in many journals and I -- I just
       12        A. You did read that correctly.                    12       don't specifically recall the conflict of
       13        Q. What the authors are stating there is that      13       interest form for this one.
       14   the results reported could be inaccurate because of     14   BY MR. HEGARTY:
       15   subjective summarization or the influence by the        15       Q. Did you disclose to the Journal at the
       16   investigator, media, or similar factors, correct, as    16   time this was published that you were a paid
       17   it relates to body powder use, correct?                 17   Plaintiffs' expert in litigation involving talcum
       18            MR. FARIES: Objection to form.                 18   powder or body powder use in ovarian cancer?
       19            THE WITNESS: Please state --                   19       A. I did not.
       20   BY MR. HEGARTY:                                         20       Q. Don't you believe that an author reading
       21        Q. Sure. What that --                              21   this paper with your name on it should know whether
       22        A. -- the question.                                22   you're a paid Plaintiffs' expert who's going to
       23        Q. -- those two sentences state is that            23   testify in litigation that body powder use or talcum
       24   recall bias could influence the results as it relates   24   powder use causes ovarian cancer?
       25   to body powder use, correct?                            25              MR. FARIES: Objection to form.
                                                                                   47 (Pages 182 to 185)
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                                     Patricia Moorman, Ph.D., M.S.P.H.
                                                           Page 186                                                 Page 188
        1             THE WITNESS: Yeah, it is standard. It            1   Dr. Schildkraut and I, we designed, applied for
        2        was an oversight on my part.                          2   funding together. And -- and most of the papers, as
        3    BY MR. HEGARTY:                                           3   you know from our study, Dr. Schildkraut is the last
        4        Q. It's a pretty significant oversight, don't         4   author, the senior author. On this paper she put me
        5    you think?                                                5   last just as a way of acknowledging the key role that
        6             MR. FARIES: Objection to form.                   6   I had in developing this study.
        7             THE WITNESS: I acknowledge that it was an        7       Q. Now, this study did not report on an
        8        oversight.                                            8   association between talc use and ovarian cancer,
        9    BY MR. HEGARTY:                                           9   correct?
       10        Q. And do the ethical requirements of your           10            MR. FARIES: Objection to form.
       11    university, Duke University, require authors to          11            THE WITNESS: This paper reported on body
       12    disclose if they are paid -- paid Plaintiffs' -- paid    12       powder use and ovarian cancer.
       13    experts on either side if they publish a paper on the    13   BY MR. HEGARTY:
       14    very subject matter in which they are offering           14       Q. Body powder use as defined in this paper
       15    testimony in?                                            15   over on page 1412 under exposure to body powder and
       16        A. I don't know that Duke has a specific             16   talc included participants who used talc, cornstarch,
       17    policy. I acknowledge that this was an oversight on      17   baby or deodorizing powders, correct?
       18    my part.                                                 18       A. That is correct.
       19        Q. If you were going to publish this paper           19       Q. With regard to cornstarch powders, those
       20    today and fill out a conflict of interest form, would    20   would not have talc in them, correct?
       21    you disclose that you're a paid Plaintiffs' expert in    21            MR. FARIES: Objection to form.
       22    this litigation?                                         22            THE WITNESS: Cornstarch powders would not
       23        A. Yes, I would.                                     23       contain talc.
       24             MR. FARIES: We're at an hour point. Is          24   BY MR. HEGARTY:
       25        this a good --                                       25       Q. Deodorizing powders don't necessarily

                                                           Page 187                                                 Page 189
         1        MR. HEGARTY: Yeah, that's fine because            1      contain talc, correct?
         2     I'm going to move on to the next --                  2          A. No, not necessarily.
         3            MR. FARIES: Okay, perfect.                    3          Q. Also, baby powders don't necessarily
         4        (RECESS TAKEN FROM 2:24 P.M. TO 2:38 P.M.)        4      always contain talc, correct?
         5      (EXHIBIT NUMBER 15 WAS MARKED FOR IDENTIFICATION)   5          A. That -- I believe that is correct.
         6   BY MR. HEGARTY:                                        6          Q. So with regard to the data reported as
         7        Q. Okay. We are back on the record.               7      shown over in Table 2, you reported the results as far
         8            Dr. Moorman, the next study I want to talk    8      as body powder use, not breaking it out between
         9   about is the study that is specifically referenced in  9      cornstarch or deodorizing powder or talcum powder,
        10   your disclosure that we talked about earlier in the   10      correct?
        11   day that I marked as Exhibit Number 15. The paper's   11          A. We did not have that information to break
        12   titled, Association Between Body Powder Use and       12      it out. It was felt that most women could probably
        13   Ovarian Cancer: The African-American Cancer           13      not recall with any degree of accuracy whether it was
        14   Epidemiology Study, correct?                          14      cornstarch, whether it was a talc product or a baby
        15        A. That is correct.                              15      powder considering how long a period of time we were
        16        Q. That is a paper with the lead author being    16      asking about. Other investigators who have broken
        17   Joellen Schildkraut?                                  17      that out have reported that when people were asked
        18        A. That is correct.                              18      about it, specifically, there were -- a small
        19        Q. You are also an author, right?                19      proportion of the women in the studies reported
        20        A. Yes.                                          20      cornstarch use. So it is a fair assumption to say
        21        Q. You're listed last. Is there anything         21      that most of the use here would have been a talc-based
        22   about the way authors are listed that tells you       22      powder.
        23   anything about an author that's listed last?          23          Q. Do you list that data anywhere in the
        24        A. Many times the last author is considered a    24      paper?
        25   senior author. In this particular paper,              25          A. The data that -- reported from other

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                                Patricia Moorman, Ph.D., M.S.P.H.
                                                     Page 190                                                                      Page 192
         1   studies that --                                          1        relationship with genital powder use
         2       Q. Well, no, the data here as far as -- well,        2        for frequency, duration or number of
         3   strike that.                                             3        applications.
         4            Did you -- I thought you indicated that         4           Do you see that sentence?
         5   with regard to this study, the majority of women you     5        A. I do see that sentence.
         6   are reporting on used talcum powder; is that correct?    6        Q. And that sentence after the word "some"
         7       A. We asked them as it -- the question is            7   you, the authors, including you, use the
         8   phrased here. We asked them about the use of any body    8   parenthetical -- say in the parenthetical 7-15. Does
         9   powder.                                                  9   that mean you're making a statement that references 7
        10       Q. You did not ask them any question where          10   through dash 15 found a dose-response relationship
        11   you tried to break out on an individual basis whether   11   between genital powder use and ovarian cancer?
        12   they had -- which one they had used, correct?           12        A. That -- that is -- it's -- yes, it's how
        13       A. That is correct. The question was not            13   it should be interpreted, typically.
        14   phrased in that way.                                    14        Q. One of the papers you cite in support of
        15       Q. So from the data in this study there's no        15   that statement is a paper by Mills, Reference 11:
        16   way to know if 90 percent used cornstarch or            16   (Reading)
        17   90 percent used talcum powder, correct?                 17              Perineal talc exposure and
        18            MR. FARIES: Objection to form.                 18        epithelial ovarian cancer risk in the
        19            THE WITNESS: As I stated before, we asked      19        Central Valley of California.
        20       about body powder use only, and so we could not     20           Correct?
        21       say what was the specific powder that a woman       21        A. Yes, that is correct.
        22       used.                                               22        Q. I'm going to mark as Exhibit Number 16
        23   BY MR. HEGARTY:                                         23   that paper, Perineal talc exposure in epithelial
        24       Q. Over on page 14 -- I'm sorry, going back.        24   ovarian cancer risk in the Central Valley of
        25   First page, page 1411, in the paragraph -- sorry, I'm   25   California.
                                                     Page 191                                                                      Page 193
        1    looking for the particular sentence that I want to       1     (EXHIBIT NUMBER 16 WAS MARKED FOR IDENTIFICATION)
        2    look at.                                                 2   BY MR. HEGARTY:
        3             Is it correct that within the study not         3       Q. This is the paper that you're citing to in
        4    all women reported a dose, that is, whether frequency    4   Reference 11, correct?
        5    of use, duration of use or both?                         5       A. Yes.
        6             MR. FARIES: I'm sorry, where are you            6       Q. If you look in the abstract of that paper,
        7        referring?                                           7   two-thirds of the way down, do you see where the
        8             THE WITNESS: Yeah, I'm not sure.                8   authors report that no dose-response association was
        9             MR. HEGARTY: I could not find the               9   found?
       10        specific reference, so I switched to a different    10       A. I see what they reported there. And I
       11        question.                                           11   also -- in this paper in Table 2 they report the
       12    BY MR. HEGARTY:                                         12   frequency of use and report a significant p-value for
       13        Q. Did all the women in this study report           13   trend. They report a significant p-value for duration
       14    on -- provide data on dose either by duration,          14   of use. And then for the cumulative use, the duration
       15    frequency or both?                                      15   by frequency, the p-value is .051, so right at the
       16        A. All of the women were asked about -- asked       16   borderline of statistical significance. So I think
       17    how frequently they used it and for how many years.     17   that the statement that -- yeah, the inclusion of this
       18    I'm -- there may have been some that did not answer     18   paper as one that found a -- let's see -- a
       19    those questions or said they didn't know.               19   dose-response relationship for frequency, duration or
       20        Q. In that last paragraph on page 411 you           20   number of applications, that appears to be accurate.
       21    include the sentence, starting the third line that:     21       Q. Despite that the author is saying in the
       22    (Reading)                                               22   paper that there's -- there was no dose-response
       23               Some, but not all previous                   23   association, right?
       24         published studies of talc and ovarian              24            MR. FARIES: Objection to form.
       25         cancer reported a dose-response                    25            THE WITNESS: I think on the basis of the

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                                        Patricia Moorman, Ph.D., M.S.P.H.
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         1      data that's presented in the -- in the table,                   1   and that is indeed cited so . . .
         2      that this was not an inaccurate statement                       2       Q. You also cite in that same paragraph the
         3      despite what the authors -- that statement in                   3   2016 paper by Dr. Cramer, correct?
         4      the abstract.                                                   4       A. I'm sorry, which reference number?
         5   BY MR. HEGARTY:                                                    5       Q. It is Reference 15.
         6      Q. You also cited in support of that                            6       A. And so in -- again, which statement are we
         7   statement the Wong paper called, Perineal talc                     7   referring to?
         8   exposure and subsequent epithelial ovarian cancer, a               8       Q. I'm at the top of page 1412, first full
         9   case-control study, correct?                                       9   paragraph --
        10          MR. FARIES: Reference Number 13?                           10       A. Okay.
        11          MR. HEGARTY: Reference 13.                                 11       Q. -- where you're referring to his finding
        12          THE WITNESS: Yes.                                          12   with regard to an association with genital talc use in
        13   BY MR. HEGARTY:                                                   13   his African-American population.
        14      Q. I'm going to mark as Exhibit 17 that                        14       A. Okay. If you have that paper here, it
        15   reference.                                                        15   would be nice to look at that one. You're correct
        16    (EXHIBIT NUMBER 17 WAS MARKED FOR IDENTIFICATION)                16   that it was cited.
        17   BY MR. HEGARTY:                                                   17       Q. I only have two copies so I'll --
        18      Q. Is that the paper that you're referring to                  18       A. Okay.
        19   in Reference 13?                                                  19       Q. -- mark the other copy I have and let you
        20      A. Yes, it is.                                                 20   share.
        21      Q. If you look in the results section of the                   21       A. Okay.
        22   abstract about a third of the way down, the authors               22     (EXHIBIT NUMBER 18 WAS MARKED FOR IDENTIFICATION)
        23   state: (Reading)                                                  23   BY MR. HEGARTY:
        24            A significant association                                24       Q. Exhibit 18 is the paper, The Association
        25       between duration of talc use and                              25   Between Talc Use and Ovarian Cancer: A Retrospective

                                                                    Page 195                                                                 Page 197
        1          development of epithelial ovarian                            1   Case-Control Study in Two States; is that correct?
        2          cancer was not demonstrated both for                         2       A. That is correct.
        3          one to nine years, for 10 to 15 --                           3       Q. That is the paper that you cited in that
        4          10 to 19 years or for more than                              4   paragraph that we've been talking about at the top of
        5          20 years.                                                    5   page 1412?
        6             Correct?                                                  6       A. Let's see. Okay.
        7         A. That is correct.                                           7       Q. Did you say yes?
        8         Q. Can you find anywhere in that paper where                  8       A. Yes.
        9    they report a statistically significant dose response?             9       Q. You cited in that paragraph an odds ratio
       10             MR. FARIES: Objection to form.                           10   reported in that paper of 5.08 with a confidence
       11             THE WITNESS: I do not. So, apparently,                   11   interval of 1.32 to 19.6. Do you see that in the
       12         that was cited incorrectly in that regard.                   12   paper?
       13    BY MR. HEGARTY:                                                   13       A. Yes.
       14         Q. Okay. If you turn over to the next page,                  14       Q. Is it your opinion that that's an accurate
       15    top left-hand corner, you cite in the carryover in the            15   odds ratio for African-American women exposed to body
       16    first full paragraph there some studies that have                 16   powder use?
       17    looked at in the past the risk of ovarian cancer and              17           MR. FARIES: Objection to form.
       18    genital powder use, correct?                                      18           THE WITNESS: That odds ratio, I believe
       19         A. Correct.                                                  19       that was what was reported in this paper, and as
       20         Q. You did not cite to your 2009 or 2010                     20       was noted in our paper, it was based on a very
       21    papers, correct?                                                  21       small sample of 16 cases and 17 controls. And
       22         A. I did -- those papers were not cited.                     22       so it's -- I think that that number is too small
       23    However, I do want to point out that the North -- the             23       that say -- to say -- you know, that number of
       24    data from the North Carolina ovarian cancer study was             24       cases and controls is to say that that is an
       25    included in the pooled analysis done by Terry, et al.,            25       accurate representation among all

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                                Patricia Moorman, Ph.D., M.S.P.H.
                                                     Page 198                                                     Page 200
        1       African-Americans. You couldn't make that             1            MR. FARIES: Objection to form.
        2       judgment based on only that few women.                2            Go ahead.
        3   BY MR. HEGARTY:                                           3            THE WITNESS: When we consider that,
        4       Q. Would you turn over in the Schildkraut             4       it's -- chance is always a potential
        5   paper, what we marked as Exhibit Number 15, to            5       consideration. We considered the possibility
        6   Table 2, please?                                          6       that there was recall bias. And there's also
        7       A. Yes.                                               7       the possibility that knowing about these
        8       Q. In that table under body powder use by             8       lawsuits might have triggered some memories that
        9   location, the second column you broke down the            9       women really hadn't thought about. So it -- the
       10   reported odds ratios by interviews -- interview date,    10       possibilities range from recall bias to truly
       11   before 2014 and after 2014, correct?                     11       more accurate recall because they were aware of
       12       A. That is correct.                                  12       it.
       13       Q. That was done to look at the potential            13   BY MR. HEGARTY:
       14   effect of the results on the participants' knowledge     14       Q. Are you aware, Dr. Moorman, of the
       15   of lawsuits filed concerning talcum powder use and       15   significant advertisements that have ran across the
       16   ovarian cancer, correct?                                 16   country for -- by Plaintiffs' lawyers with regard to
       17       A. Yes, that was done at a suggestion of a           17   talc and ovarian cancer cases?
       18   manuscript reviewer.                                     18            MR. FARIES: Objection to form.
       19       Q. Who was the manuscript reviewer?                  19            THE WITNESS: I have seen advertisements
       20       A. The reviewers are anonymous.                      20       on TV. I -- I don't know how widely they were
       21       Q. Your results -- sorry, strike that.               21       broadcast, in what markets, what channels.
       22           The results of that breakout between the         22   BY MR. HEGARTY:
       23   before 2014 and after 2014 are listed in this table,     23       Q. You do agree that it's possible given --
       24   correct?                                                 24   strike that.
       25       A. That is correct.                                  25            You agree that in the face of publicity
                                                     Page 199                                                     Page 201
        1       Q. If you just look at the data for interview         1   between an exposure and a disease that such publicity
        2   date before 2014, there was no statistically              2   can be to such an extent that you cannot do an
        3   significant association found, correct, for body          3   accurate retrospective case-control study? Do you
        4   powder use as it relates to any genital use, interview    4   agree that that's a true statement?
        5   date before 2014?                                         5           MR. FARIES: Objection to form.
        6       A. Yes. The confidence intervals include              6           THE WITNESS: I don't agree that -- I
        7   one, so that odds ratio 1.40 and 1.19, they were not      7       cannot agree that that is an accurate statement,
        8   statistically significant.                                8       because I do not know the extent to which
        9       Q. As to interviews after 2014 the odds ratio         9       advertising our knowledge about it would --
       10   went from 1.19 to 2.91 with a statistically              10       would bias the results.
       11   significant confidence interval, correct?                11   BY MR. HEGARTY:
       12       A. That is correct.                                  12       Q. Well, I'm talking in a hypothetical
       13       Q. And if you look at the reported percentage        13   situation where there is awareness across the given
       14   of -- of talc users, any genital use, before 2014 they   14   group of a link, supposed link, between an exposure
       15   report -- reported number was 36.5 percent and the       15   you're looking at and a disease. Is it your opinion,
       16   reported number after that date of 2014 was 51.14,       16   in that environment, you could do an accurate
       17   correct? In the cases?                                   17   case-control study like this?
       18       A. That is correct.                                  18           MR. FARIES: Objection to form. Also
       19       Q. If you look at the controls, the reported         19       objection as to an incomplete ill-defined
       20   use of genital powder was 34 percent before 2014 and     20       hypothetical.
       21   34.4 percent after 2014, correct?                        21           THE WITNESS: I would have to say it
       22       A. That is correct.                                  22       depends on the exposure and the outcome.
       23       Q. How do you account for an increase only in        23   BY MR. HEGARTY:
       24   the cases of 15 percent just based on the interview      24       Q. Is there, in a hypothetical situation, a
       25   date?                                                    25   level of an exposure and an outcome in which you would

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                                Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 202                                                      Page 204
         1   agree that it would be impossible to do a case control    1   correct? Under duration of use?
         2   study that would report accurate results?                 2            MR. FARIES: I'm sorry, objection to the
         3           MR. FARIES: Objection to form.                    3       form of the question.
         4           THE WITNESS: I could not state what               4            THE WITNESS: And the test for trend for
         5       level, what degree, what that would be to say         5       duration of use was not statistically
         6       that we could not do a case-control study.            6       significant for the nongenital use. Yes, that
         7   BY MR. HEGARTY:                                           7       is correct.
         8       Q. You do agree it would be a significant             8   BY MR. HEGARTY:
         9   concern in such an environment?                           9       Q. With regard to the -- any genital use by
        10           MR. FARIES: Objection to form.                   10   number of applications, you use the levels of less
        11           THE WITNESS: Anytime we do a case-control        11   than 3600 and greater than 3600. How did those -- how
        12       study we consider recall bias as a concern.          12   were those levels chosen?
        13   BY MR. HEGARTY:                                          13       A. That was the median number of
        14       Q. But you would consider a concern publicity        14   applications. That was the cut point used.
        15   or awareness of your study group between an exposure     15       Q. Is it correct that you did not -- or
        16   and a disease you're looking at, correct?                16   strike that.
        17       A. Yes, we would, which would play into              17            Did you find any dose response for only
        18   recall bias, why might women recall differently.         18   nongenital use in ovarian cancer?
        19       Q. As you said, recall bias could explain the        19       A. We did not find a significant trend with
        20   difference between the number of cases who reported      20   either duration of use nor with number of applications
        21   body powder use before 2014 and the number that          21   for nongenital use.
        22   reported afterwards, after 2014?                         22       Q. You also found no increase in risk of
        23           MR. FARIES: Objection to form.                   23   ovarian cancer -- I'm sorry, strike that.
        24           THE WITNESS: I said that that was one            24            For occupational exposures you found no
        25       possible explanation.                                25   increase in risk of ovarian cancer, correct?

                                                      Page 203                                                      Page 205
        1    BY MR. HEGARTY:                                           1       A. I'm trying to remember where we reported
        2        Q. Now, you looked at dose response in this           2   that in the paper. Right. In the paragraph below
        3    study, correct?                                           3   that we report an odds ratio of 1.31. And the
        4        A. Yes, we considered that.                           4   confidence interval does include one, so it was not
        5        Q. You found -- you reported on a dose                5   statistically significant. And as I recall, that was
        6    response for only any powder use, correct?                6   a pretty small number of women who reported
        7            MR. FARIES: What table are we looking at?         7   occupational use.
        8            MR. HEGARTY: I'm sorry, for -- let me             8       Q. Did you also report in this study that you
        9        back -- let me break that up. I'm still               9   found that most studies show no association to
       10        Table 2.                                             10   nongenital use?
       11            MR. FARIES: All right.                           11       A. I think that we did make that statement in
       12            THE WITNESS: Okay.                               12   here.
       13    BY MR. HEGARTY:                                          13       Q. Did you make a statement anywhere in this
       14        Q. For duration you found no dose response in        14   paper that body powder use causes ovarian cancer?
       15    any group, correct?                                      15       A. No, I did not make -- no, that statement
       16        A. Okay. We are looking at Table 2 --                16   was not made in this paper.
       17        Q. Duration of use.                                  17       Q. Can you cite for me any epidemiologic
       18        A. -- in duration of use. So the women who           18   study where the authors determined a statistically
       19    reported it for less than 20 years, 1.33, for greater    19   significant increase in risk of talcum powder use in
       20    than 20 years the odds ratio was 1.52 with a             20   ovarian cancer that exceeded 2.0?
       21    significant p-value for trend. So that does indicate     21            MR. FARIES: Objection to the form.
       22    a significant trend with duration of use for any         22            THE WITNESS: I -- I'm sorry, tell me
       23    genital use.                                             23       again.
       24        Q. You did not find one for -- you're not            24   BY MR. HEGARTY:
       25    finding dose response for only nongenital use,           25       Q. Sure. Can you cite for me any
                                                                                     52 (Pages 202 to 205)
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                                Patricia Moorman, Ph.D., M.S.P.H.
                                                     Page 206                                                      Page 208
         1   epidemiologic study where the authors determined a        1        A. No, I have not.
         2   statistically significant increase in risk greater        2        Q. Have you ever done the kind of analysis
         3   than two between perineal talc use and ovarian cancer?    3   you've done here with regard to talcum powder product
         4            MR. FARIES: Objection to form.                   4   use in ovarian cancer where you've been paid by
         5            THE WITNESS: Okay. We have already               5   plaintiffs' lawyers?
         6       talked about one instance of that. In the             6        A. No, I have never done anything like that.
         7       Cramer paper it was greater than two for the          7        Q. Have you ever done any kind of analysis
         8       sample of African-American women. But, again,         8   like you've done here where you've reviewed deposition
         9       we have talked about the imprecision of that          9   testimony and other materials generated in litigation?
        10       estimate based on the small sample size.             10        A. No, I have not.
        11            And I -- I know that there have -- other        11        Q. Have you ever done any type of analysis
        12       studies have reported a relative risk greater        12   like you've done here for any cosmetic other than
        13       than two. I do not recall on the individual          13   talcum powder products?
        14       studies if it was statistically significant          14        A. No, I have not.
        15       right off the top of my head.                        15        Q. How about with regard to any other mineral
        16   BY MR. HEGARTY:                                          16   besides talcum powder?
        17       Q. Are you aware of any paper where the              17        A. No, I have not.
        18   authors reported an overall increase in risk that's      18        Q. In terms of the process you've talked
        19   statistically significant in excess of two between       19   about in reaching your opinions in this case, have you
        20   perineal talc use and ovarian cancer?                    20   ever published in any peer-reviewed publication the
        21       A. So my answer is the same as for the last          21   steps that you took here to come to your opinions?
        22   question that there have been some papers that have      22            MR. FARIES: Objection to form.
        23   reported an odds ratio greater than two but off the      23            THE WITNESS: Have I ever described the
        24   top of my head, I don't recall whether or not they       24        steps I took to evaluate talc and ovarian
        25   were statistically significant.                          25        cancer?
                                                     Page 207                                                      Page 209
        1        Q. Dr. Moorman, have you ever -- strike that.         1   BY MR. HEGARTY:
        2            Dr. Moorman, before being contacted by            2       Q. Yes. In any published, peer-reviewed
        3    Plaintiffs' lawyers in this case, had you ever done       3   piece of literature?
        4    any type of analysis, review and come to opinions as      4       A. I have not.
        5    you have done here in any situation involving any         5            MR. FARIES: Objection to form.
        6    exposure or any disease?                                  6   BY MR. HEGARTY:
        7            MR. FARIES: Objection to form.                    7       Q. I'm sorry, what was the answer?
        8            THE WITNESS: I think that every time we           8       A. I said I have not.
        9        write a paper, we are considering all of the          9       Q. Other than -- strike that.
       10        data and coming to an opinion, so I would argue      10            In terms of -- Dr. Moorman, do you agree
       11        that I have done that many times.                    11   that all women are at risk for developing ovarian
       12    BY MR. HEGARTY:                                          12   cancer?
       13        Q. Have you ever done the same analysis              13            MR. FARIES: Objection to form.
       14    here -- strike that.                                     14            THE WITNESS: I would say that all women
       15            Have you ever done analysis like you did         15       who have ovaries are at risk for developing
       16    here and came to the conclusion that any other           16       ovarian cancer.
       17    exposure caused or causes any other disease?             17   BY MR. HEGARTY:
       18        A. I have never used the phrasing "cause." I         18       Q. With regard to women who have ovaries,
       19    have certainly used the phrasing "increased risk."       19   what is their lifetime risk of developing ovarian
       20        Q. Have you ever done an analysis looking at         20   cancer?
       21    either an increased risk -- looking at either            21       A. That is typically reported as about a 1.3
       22    increased risk or cause where you've received            22   to 1.4 lifetime probability.
       23    materials from a plaintiff's lawyer?                     23       Q. Ovarian cancer existed before any talcum
       24        A. Other than this case?                             24   powder product was ever used by women, correct?
       25        Q. Yes.                                              25       A. Yes.
                                                                                     53 (Pages 206 to 209)
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         1       Q. Ovarian cancer would still exist if women          1   defined mutation in, like, BRCA1 or BRCA2. And so
         2   stopped using talcum powder products, correct?            2   it's contrasting those -- the genetic -- the strong
         3       A. Yes.                                               3   genetic association versus the ones without that.
         4       Q. Ovarian cancer occurs in women who have            4        Q. If a woman's lifetime risk generally is
         5   never been exposed to any talcum powder product,          5   1.3 to 1.4, what is the lifetime risk of a woman who
         6   correct?                                                  6   uses talcum powder products?
         7       A. Yes.                                               7             MR. FARIES: Objection to form.
         8       Q. And any woman who used a talcum powder             8             THE WITNESS: We are talking about the
         9   product was still at risk for ovarian cancer without      9        relative risk. Most of the meta-analyses
        10   regard to the use of the talcum powder products,         10        conclude that there is a relative risk of about
        11   correct?                                                 11        1.25, so multiplying 1.4 by 1.25 gives you a
        12       A. Yes.                                              12        lifetime risk of approximately 1.7 percent,
        13       Q. And there are women who develop ovarian           13        something like that. When -- and, of course,
        14   cancer who have no known risk factors, correct?          14        when you apply it to millions of women, that
        15           MR. FARIES: Objection to form.                   15        small difference becomes more important.
        16           THE WITNESS: Yes.                                16   BY MR. HEGARTY:
        17   BY MR. HEGARTY:                                          17        Q. What is the latency period by which use of
        18       Q. And as to all of the women in this case,          18   talcum powder products can cause ovarian cancer?
        19   if you had been able to talk to them at a young age,     19             MR. FARIES: Objection to form.
        20   you could not have assured them that they would not      20             THE WITNESS: It is usually very difficult
        21   get ovarian cancer if they never used a talcum powder    21        to establish with precision what the latency
        22   product, correct?                                        22        period is for any given exposure. Many times it
        23           MR. FARIES: Objection to form.                   23        is thought that the latency period can be many
        24           THE WITNESS: You could not assure them of        24        decades.
        25       that because ovarian cancer is not caused by one     25
                                                      Page 211                                                     Page 213
        1        single risk factor.                                   1   BY MR. HEGARTY:
        2    BY MR. HEGARTY:                                           2       Q. Well, do you have an opinion as to how
        3        Q. So no single risk factor can be the cause          3   long a woman must use a talcum powder product for it
        4    of an ovarian cancer; is that what -- that what you're    4   to be a -- for it to cause ovarian cancer?
        5    saying?                                                   5           MR. FARIES: Objection to form.
        6        A. No, I am -- I am not saying that. I am             6           THE WITNESS: For an individual woman, I
        7    saying that there is no single risk factor that           7       would not have an opinion, and I also do not
        8    accounts for all ovarian cancers.                         8       think that we have the data that we could say --
        9        Q. Ovarian cancer occurs even in the absence          9       we could say that how many applications, how
       10    of risk factors, correct?                                10       long is too much. I don't think we can identify
       11            MR. FARIES: Objection to form.                   11       any safe period of use.
       12            THE WITNESS: Ovarian cancer, something           12   BY MR. HEGARTY:
       13        has to cause it, okay? And so it is accurate to      13       Q. All right. Do you have the data to have
       14        say that sometimes it occurs in the absence of       14   an opinion as to how long talcum powder products must
       15        known risk factors.                                  15   be used or how frequent they must be used in order to
       16    BY MR. HEGARTY:                                          16   actually increase the risk of ovarian cancer in a
       17        Q. That cause can be what's considered to be         17   woman?
       18    sporadic, correct?                                       18           MR. FARIES: Objection to form.
       19            MR. FARIES: Objection to form.                   19           THE WITNESS: I think my answer is just
       20    BY MR. HEGARTY:                                          20       like for the previous question, that we don't
       21        Q. Do you know what the phrase "sporadic             21       have that data.
       22    cause" means?                                            22   BY MR. HEGARTY:
       23        A. In the epidemiology world, most often when        23       Q. What is the volume of talcum powder
       24    the term "sporadic" is used, it is used to contrast it   24   exposure necessary to either cause or increase the
       25    with, like, a genetic cause or, like, for example, a     25   risk of ovarian cancer?

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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 214                                                     Page 216
         1            MR. FARIES: Objection to form.                   1   Some studies reported on that, some did not, and I
         2            THE WITNESS: We do not have the data to          2   considered all of the data.
         3       say what would cause -- what a safe level would       3       Q. But did you break out your opinions based
         4       be.                                                   4   on odds ratios across the various types of ovarian
         5   BY MR. HEGARTY:                                           5   cancers?
         6       Q. With regard to asbestos exposure, I'll ask         6       A. To some extent. Serous ovarian cancer is
         7   the same questions. Do you have an opinion as to how      7   the vast or the largest subtype of ovarian cancer, and
         8   long or how much or how frequent a woman would need to    8   among studies that have looked at that, there seems to
         9   be exposed to asbestos to either increase their risk      9   be an indication that the risk may be higher for that
        10   or cause ovarian cancer?                                 10   subtype than for others. For the other subtypes, they
        11            MR. FARIES: Objection to form.                  11   comprise a much smaller proportion of ovarian cancers,
        12            THE WITNESS: I don't think that we can          12   and so, again, we run into the numbers game. It is
        13       say any defined cut point. I think that it is        13   harder to make a conclusion within the smaller
        14       very important to rely on the conclusion of the      14   subgroups.
        15       various organizations that have concluded that       15       Q. Did you try to make a conclusion within
        16       there's no safe level of asbestos exposure,          16   the smaller subgroups?
        17       so . . .                                             17       A. I considered the data, but I felt like
        18   BY MR. HEGARTY:                                          18   there was not adequate data to make as strong of a
        19       Q. Is there a background level of asbestos in        19   conclusion as with the serous subtype or the overall
        20   the air?                                                 20   ovarian cancer.
        21            MR. FARIES: Objection to form.                  21       Q. Well, did you draw -- did you come to any
        22            THE WITNESS: I don't know. That's not my        22   conclusions based on the data where you stratified by
        23       area of expertise.                                   23   sub -- across all subtypes? You said that the studies
        24   BY MR. HEGARTY:                                          24   did not -- or the data did not provide as strong of a
        25       Q. In your -- with regard to developing your         25   conclusion. Did you actually, though, break out your
                                                      Page 215                                                     Page 217
        1    opinions, did you break down your opinion by subtype      1   odds ratios or relative risk calculations by subtype
        2    of ovarian cancer?                                        2   of ovarian cancer?
        3             MR. FARIES: I'm sorry? Which --                  3           MR. FARIES: Objection to form.
        4    BY MR. HEGARTY:                                           4           THE WITNESS: Once again, I considered all
        5        Q. With regard to your opinions in this case,         5       of the data and considered that the data for
        6    did you break down your opinions based on subtype of      6       some of the smaller subtypes was not as strong
        7    ovarian cancer?                                           7       as for -- the data, just because it's reflecting
        8        A. So by that you are talking -- please --            8       smaller samples sizes, was not as strong as --
        9        Q. Sure.                                              9       based on the other serous subtype or the overall
       10        A. -- specify.                                       10       ovarian cancer.
       11        Q. For purpose of your opinions in this case,        11   BY MR. HEGARTY:
       12    are they the same for all subtypes, serous, clear        12       Q. Well, are you applying the 1.25 to 1.3
       13    cell, endometrioid, mucinous?                            13   relative risk you provided across all subtypes?
       14        A. Okay.                                             14       A. So when I refer to the 1.25, that is the
       15             MR. FARIES: Objection to form.                  15   conclusion that has been reached in multiple
       16             THE WITNESS: I considered the full body         16   meta-analyses, and the meta-analyses looked at -- most
       17        of literature, and some studies did report by        17   of them did not look at the subtypes. More recent
       18        subtypes, some did not, and so the forming of my     18   meta-analysis did look at it by some of the subtypes
       19        opinion did consider some of that published          19   and reported a significant association if I'm
       20        data.                                                20   recalling with the serous subtype.
       21    BY MR. HEGARTY:                                          21       Q. Do you agree that the vast majority of
       22        Q. In your analysis did you attempt to               22   ovarian cancers have no known cause?
       23    stratify the extent of risk based on type of ovarian     23           MR. FARIES: Objection to form.
       24    cancer?                                                  24           THE WITNESS: I do not agree with that
       25        A. Again, I was relying on published data.           25       statement. I think that we have identified many

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        1       risk factors for ovarian cancer, and probably         1   majority of them reported an odds ratio greater than
        2       the majority of women have at least one of those      2   1, and many of them reported statistically significant
        3       risk factors.                                         3   associations as well.
        4   BY MR. HEGARTY:                                           4           Let's see. I considered the temporality
        5       Q. You agreed earlier that a risk factor is           5   and felt confident that the talc exposure preceded
        6   not necessarily a causal factor, correct?                 6   ovarian cancer consistently across the studies.
        7       A. Yes, I did agree with that.                        7           I considered whether or not there were
        8       Q. If tissue is exposed to talc, talcum               8   biologically plausible mechanisms, and I -- you know,
        9   powder products, what is -- what reaction do you see      9   I considered the other ones, such as coherence analogy
       10   in that tissue?                                          10   experiment as well, but I think my opinion was driven
       11            MR. FARIES: Objection to form.                  11   by the ones that I've described in more detail.
       12            THE WITNESS: Okay. I am not a                   12       Q. So would it be a fair statement from what
       13       pathologist. I am not a laboratory scientist.        13   you just said that your opinions was driven -- were
       14       I have never done that, so I could not describe      14   driven by strength of association, consistency of the
       15       that.                                                15   association, temporality, and biologic plausibility?
       16   BY MR. HEGARTY:                                          16       A. Those were the main drivers, but did also
       17       Q. Can you cite for me any study that is             17   consider coherence experimentation and analogy.
       18   reported -- that was reported what tissue looks          18           MR. FARIES: We're approaching another
       19   like -- strike that.                                     19       hour. If you have a good transition point --
       20            Can you cite for me any study that has          20           MR. HEGARTY: I was going to walk through
       21   reported on what ovarian tissue looks like when          21       the -- those Bradford Hill criteria next.
       22   exposed to talcum powder products?                       22           MR. FARIES: Again?
       23            MR. FARIES: Objection to form.                  23           MR. HEGARTY: You would say again. I
       24            THE WITNESS: I cannot off the top of my         24       would say for the first time, but that's where
       25       head, no, I cannot cite a specific study.            25       I'm going to go next.
                                                     Page 219                                                     Page 221
        1   BY MR. HEGARTY:                                           1            MR. FARIES: Let's take a quick break
        2       Q. You talked a little bit earlier about the          2       then.
        3   Bradford Hill guidelines, correct?                        3            MR. HEGARTY: Okay.
        4       A. I did.                                             4            MR. FARIES: That will take you a few
        5       Q. Did you apply the Bradford Hill guidelines         5       minutes to do that.
        6   in developing your opinions in this case?                 6            MR. HEGARTY: Oh, yeah. No, it's a new --
        7       A. I did.                                             7       it's a transition point.
        8       Q. Did you apply all nine of the Bradford             8       (RECESS TAKEN FROM 3:31 P.M. TO 3:39 P.M.)
        9   Hill guidelines?                                          9   BY MR. HEGARTY:
       10       A. I considered all of them and, again,              10       Q. Dr. Moorman, we have talked about strength
       11   emphasizing that this is not a checklist that you        11   in association. I just have a couple of follow-up
       12   check off all of them.                                   12   questions.
       13       Q. Which of those Bradford Hill guidelines           13            Have you ever published in any
       14   were you able to check off?                              14   peer-reviewed literature a standard description of how
       15       A. So, again, I would not characterize what I        15   you characterize relative risk as, for example, weak,
       16   did as checking off any of them. I considered            16   moderate, strong? Have you ever done any -- have you
       17   strength of the association, and my conclusion from      17   ever tried to categorize ranges of relative risk
       18   that is that the strength of the association was in      18   within some sort of set criteria?
       19   the same range as other factors that have -- that are    19       A. I have not, and I do not believe that it's
       20   generally accepted as carcinogens. And so the            20   a standard within epidemiology.
       21   strength of the association is -- is adequate.           21       Q. What would you, typically, call a relative
       22            I considered the consistency of the             22   risk of 1.25 to 1.3?
       23   association, looking at the overall body of the          23            MR. FARIES: Objection to form.
       24   epidemiologic literature, including the meta-analyses,   24   BY MR. HEGARTY:
       25   and found that the majority of the studies, the vast     25       Q. If I were to use the categories of weak

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                                                    Page 222                                                                      Page 224
        1   and moderate, strong, or you can use your own            1    (EXHIBIT NUMBER 19 WAS MARKED FOR IDENTIFICATION)
        2   categories.                                              2          MAN SPEAKER: What was 18?
        3           MR. FARIES: Objection to form.                   3          MR. FARIES: 18 -- here is 18.
        4           THE WITNESS: I think that it would be            4          MAN SPEAKER: Okay.
        5       probably categorized as modest to moderate           5   BY MR. HEGARTY:
        6       association. We do always want to consider that      6      Q. Doctor, would you look at Exhibit 19 and
        7       the strength -- the public health importance of      7   tell me whether you're familiar with that paper?
        8       an exposure depends not only on the strength of      8      A. I have read this paper, yes.
        9       the association but how common is the exposure       9      Q. If you turn over to the second page,
       10       in the population.                                  10   Figure 1 is a forest plot of case-control studies
       11   BY MR. HEGARTY:                                         11   reported on by Langseth, et al., correct?
       12       Q. You mentioned a little bit ago that the          12      A. Yes, that is correct.
       13   strength of association was consistent with other       13      Q. Figure 1 breaks out the case-control
       14   exposures where -- where causality had also been        14   studies between the population-based studies and the
       15   determined. Can you give me one example?                15   hospital-based studies, correct?
       16       A. One example of that would be secondhand          16      A. That is correct.
       17   smoke. I can give more if needed.                       17      Q. Do you agree with -- do you agree that
       18       Q. Can you give me a -- give me a few? Give         18   every one of the hospital-based case-control studies
       19   me whatever other examples you have.                    19   failed to show a statistically significant association
       20           MR. FARIES: Objection to form.                  20   between talc use and ovarian cancer?
       21   BY MR. HEGARTY:                                         21      A. Yes, all of those confidence intervals
       22       Q. Go ahead.                                        22   include one.
       23           MR. FARIES: Go ahead.                           23      Q. The authors also did a pooled odds ratio
       24           THE WITNESS: Other examples may be oral         24   for the hospital-based studies and reported a
       25       contraceptive use in relation to breast cancer;     25   nonsignificant association, correct?

                                                    Page 223                                                                      Page 225
        1       estrogen, menopausal estrogen use, in relation       1       A. That is correct.
        2       to breast cancer; residential radon exposure in      2       Q. And with regard to the hospital-based
        3       relation to lung cancer.                             3   studies, because they were not statistically
        4   BY MR. HEGARTY:                                          4   significant all of those results, all of the odds
        5       Q. I want to talk next about the consistency         5   ratios, could be due to chance, correct?
        6   factor you mentioned. In doing so I want to look at      6            MR. FARIES: Objection to the form.
        7   that factor as it relates to a particular study and      7            THE WITNESS: Okay. Yes, all of those
        8   that is a study by Langseth from 2008. This would be     8       because of the -- of the confidence interval
        9   Exhibit 21, thank you for reminding me. The              9       including one, it is conceivable that these
       10   exhibit -- this copy has a Ness exhibit on the top --   10       findings are due to chance.
       11            MR. FARIES: Okay.                              11   BY MR. HEGARTY:
       12   BY MR. HEGARTY:                                         12       Q. Do you agree that just looking at the
       13       Q. -- you can ignore that.                          13   hospital-based case-control studies that they do not
       14            MR. FARIES: Okay.                              14   show an increased risk of ovarian cancer with talc
       15   BY MR. HEGARTY:                                         15   use?
       16       Q. The paper is 2008 by Langseth entitled,          16            MR. FARIES: Objection to the form.
       17   Perineal Use of Talc and Risk of Ovarian Cancer.        17            THE WITNESS: Okay. Looking at the
       18            MR. FARIES: I'm sorry, I'm sorry. I            18       summary odds ratio it is not statistically
       19       think we're incorrect on the --                     19       significant, and I agree that three of them have
       20            MR. HEGARTY: Numbering is wrong?               20       reported odds ratios to very close to -- to one.
       21            MS. PARFITT: Is it 19?                         21   BY MR. HEGARTY:
       22            MR. HEGARTY: I'm sorry, you're right. It       22       Q. Overall, if we just looked at the
       23       should be 19. I plucked off -- thank you for        23   hospital-based case-control studies and no other
       24       correcting that, I'm plucked off 21, it should      24   studies, you could not draw the conclusion that there
       25       be 19. Thank you for catching that.                 25   was a causal association between talc use and ovarian

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                                                      Page 226                                                     Page 228
        1    cancer, correct?                                          1        evidence is insufficient to establish
        2             MR. FARIES: Objection to form.                   2        a causal association between perineal
        3             THE WITNESS: Okay. On the basis of only          3        use of talc and ovarian cancer risk.
        4        these six studies we would not conclude that.         4           Did I read that correctly?
        5        We would also consider the -- the overall design      5       A. Yes, you did read that correctly.
        6        and potential limitations of some of these            6       Q. Is it your opinion that that statement was
        7        studies.                                              7   inaccurate when it was made in this publication and
        8    BY MR. HEGARTY:                                           8   published in 2008?
        9        Q. For purposes of your opinions in this              9           MR. FARIES: Objection to form.
       10    case, did you consider the hospital-based case-control   10           THE WITNESS: I think that this is the
       11    studies?                                                 11       statement that these investigators concluded.
       12        A. I considered the overall body of evidence,        12       This was ten years ago, and I think that quite a
       13    yes.                                                     13       lot of data has accumulated since.
       14        Q. That overall body would have included the         14   BY MR. HEGARTY:
       15    hospital-based studies?                                  15       Q. From your experience being in this field
       16        A. Yes.                                              16   for 20 plus years, was that statement a reasonable
       17        Q. Above that analysis of the hospital-based         17   statement to make back in 2008?
       18    studies are the population-based studies they looked     18           MR. FARIES: Objection to form.
       19    at in this study, correct?                               19           THE WITNESS: I think that, as we have
       20        A. Yes, those are their population-based             20       said before, that scientists may review a body
       21    studies.                                                 21       of evidence and come to a different conclusion.
       22        Q. Some of the population-based studies found        22       When we look at the overall odds ratios, it is
       23    a statistically significant odds ratio and some did      23       certainly indicative of significantly increased
       24    not, correct?                                            24       risk. And, you know, I don't know how these
       25        A. That is correct.                                  25       authors took into account other things that
                                                      Page 227                                                     Page 229
         1       Q. The authors then did a test for                    1       would play into assessing causality.
         2   heterogeneity between the population-based studies and    2   BY MR. HEGARTY:
         3   the hospital-based studies, correct?                      3       Q. Do you know any of these authors
         4       A. They did. They did report that.                    4   personally?
         5       Q. The test was statistically significant,            5       A. I believe that I have met Dr. Hankinson at
         6   correct?                                                  6   a grant review or something at some time in the past.
         7       A. Yes, they report a p-value of .036.                7   And the other names I do not know these people
         8       Q. That means they found the two groups were          8   personally.
         9   different, correct?                                       9       Q. Is it your testimony in this case that the
        10       A. Yes.                                              10   statement I just read to you at the time it was made
        11       Q. Do you recall reading the Langseth paper          11   was wrong? Was inaccurate?
        12   when it came out?                                        12           MR. FARIES: Objection to form.
        13       A. I don't remember exactly when I read it.          13           THE WITNESS: I am saying that that is the
        14       Q. Had you read the Langseth paper before            14       statement that they made at that point in time
        15   being contacted by Plaintiffs' counsel in this case?     15       based on their opinions.
        16       A. Once again, I don't recall exactly when I         16   BY MR. HEGARTY:
        17   read it.                                                 17       Q. Understood. But are we going to hear from
        18       Q. If you look under the section on the page         18   you at trial that the -- this statement I just read to
        19   we're looking with the forest plot, under proposal,      19   you, at the time it was made back in 2008 was
        20   the research community? Do you see that section?         20   inaccurate, was incorrect?
        21       A. Yes.                                              21           MR. FARIES: Objection to form.
        22       Q. The first one under that section reads:           22   BY MR. HEGARTY:
        23   (Reading)                                                23       Q. In your opinion?
        24              The current body of                           24       A. It -- again, we have considered the
        25        experimental and epidemiologic                      25   association between talc and ovarian cancer over many

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         1   decades, and many papers have come out, and, you know,  1         in fact, reported a statistically significantly
         2   they continue to come out. And so it would -- I         2         association with serous ovarian cancer. So it would
         3   don't -- I can't say at one point whether I would       3         not be accurate to say that none of them have
         4   consider this accurate or inaccurate. It's like just    4         reported.
         5   over time the evidence continues to evolve. And I       5             Q. I will come back to that just -- in a
         6   can't say at any given point where I would say with     6         second.
         7   absolute certainty that I said this was a cause versus  7                  Is it a correct statement that as to an
         8   this . . . just leave it there.                         8         overall risk of ovarian cancer with talcum powder use
         9       Q. I'm going to show you what I'm next              9         that none of the cohort studies found an association?
        10   marking as Exhibit Number 20 which is a 2017 paper by  10                  MR. FARIES: Objection to form.
        11   Berge, et al., called, Genital Use of Talc and Risk of 11                  THE WITNESS: Once again, none of them
        12   Ovarian Cancer: A Meta-analysis.                       12             reported a statistically significantly increased
        13     (EXHIBIT NUMBER 20 WAS MARKED FOR IDENTIFICATION) 13                risk.
        14   BY MR. HEGARTY:                                        14         BY MR. HEGARTY:
        15       Q. Have you seen this paper before right now?      15             Q. With regard to the serous finding from the
        16       A. Yes, I have.                                    16         Nurses' Health Study from the Gertig 2000 paper, did
        17       Q. Did you review this paper at the time it        17         you review the follow-up study that was published by
        18   was published earlier in 2017?                         18         Gates in 2010?
        19       A. Yes, I -- yes, I saw it shortly after it        19             A. I have looked at all of those papers.
        20   was published.                                         20             Q. And do you recall that Gates in 2010
        21       Q. If you look over on page 7, Figure 2, in        21         reported a non-statistically significant relative risk
        22   the forest plot on that page, the authors do a         22         for the serous type in talcum powder use?
        23   meta-analysis of the cohort studies only, correct?     23             A. I do recall that.
        24       A. That is correct.                                24             Q. That was in a follow-up study that was
        25       Q. You have reviewed all of the cohort             25         done approximately ten years after -- published ten
                                                               Page 231                                                 Page 233
        1    studies listed there, correct?                                1   years after the original study, correct?
        2        A. Yes, I have.                                           2       A. Correct.
        3        Q. The author in that -- the authors in that              3       Q. So if we look at -- strike that.
        4    meta-analysis concluded or came up with a relative            4           With regard to the cohort studies and the
        5    risk of 1.02 with non-statistically significant               5   risk of -- reported -- risk reported as to talc use in
        6    confidential interval for the cohort studies, correct?        6   ovarian cancer, generally, those studies were
        7        A. That is correct, that's what they report.              7   uniformly non-statistically significant, correct?
        8        Q. Do you agree that if you look at the                   8       A. That is correct.
        9    cohort studies only, they do not report a                     9       Q. If we looked -- we looked at the
       10    statistically significant association between talc use       10   hospital-based case-control studies, and those studies
       11    and ovarian cancer?                                          11   were uniformly non-statistically significant between
       12        A. That is correct.                                      12   talcum powder use and ovarian cancer, correct?
       13        Q. That's even from your own conclusions,                13       A. That is correct.
       14    correct?                                                     14       Q. As to the population-based case-control
       15             MR. FARIES: Objection to form.                      15   studies, those are mixed -- have mixed results with
       16             THE WITNESS: I'm sorry?                             16   regard to statistical significance between ovarian
       17    BY MR. HEGARTY:                                              17   cancer -- I'm sorry, between talcum powder use and
       18        Q. Sure. Let me repeat it.                               18   ovarian cancer, correct?
       19             You have looked at all of the cohort                19       A. Individual studies are mixed. The summary
       20    studies, correct?                                            20   odds ratios from them are statistically significant.
       21        A. I have.                                               21       Q. There's a quote in the Bradford Hill paper
       22        Q. Do you agree that none of the cohort                  22   where he identifies the criteria or categories or
       23    studies show a statistically significant association         23   whatever you might call them, he says: (Reading)
       24    between talc use and ovarian cancer?                         24              I would myself put a great
       25        A. I think that the Nurses' Health Study has,            25        deal of weight upon similar results
                                                                                         59 (Pages 230 to 233)
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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 234                                                      Page 236
         1         reached in quite different ways,                    1   cohort studies are consistent with the retrospective
         2         prospectively and retrospectively.                  2   studies?
         3            Do you recall him making that statement in       3            MR. FARIES: Objection to form.
         4   the paper?                                                4            THE WITNESS: I -- I believe that the --
         5        A. I don't recall every word of that paper           5       the conclusions are different, yes.
         6   so . . .                                                  6   BY MR. HEGARTY:
         7        Q. Do you happen to recall that, if that             7       Q. You believe that -- so the answer to my
         8   statement --                                              8   question is they are not consistent?
         9        A. I don't.                                          9            MR. FARIES: Objection to form.
        10        Q. -- is accurate?                                  10            THE WITNESS: I think that we have to
        11        A. I don't recall. As I said, I don't recall        11       think about it, the consistency, in terms of the
        12   that statement, specifically, from that paper.           12       overall odds ratio. They -- they are somewhat
        13        Q. Well, do you agree that with regard to           13       inconsistent.
        14   talcum powder use and ovarian cancer, that prospective   14   BY MR. HEGARTY:
        15   and retrospective studies do not reach similar           15       Q. So with that statement in mind, how is it
        16   results?                                                 16   you concluded under the Bradford Hill criteria that
        17            MR. FARIES: Objection to form.                  17   there was a consistency or that the consistency factor
        18            THE WITNESS: I -- I think that one has to       18   had been satisfied?
        19        look at it in a more nuanced perspective.           19       A. The -- the cohort studies are three of
        20   BY MR. HEGARTY:                                          20   more than like two dozen studies. And when we look at
        21        Q. Well, is it your opinion that the                21   the overall direction of the effect, we do see a great
        22   prospective and retrospective studies reached similar    22   deal of consistency. Whenever we consider studies
        23   results?                                                 23   that have a different finding, one would want to look
        24        A. In subsequent meta-analyses there are            24   at that and try to understand what is different about
        25   definitely some areas of similarity that particularly    25   that study. And very notably here when we look at the

                                                      Page 235                                                      Page 237
        1    related to the cohort studies that reported on the        1   Gonzalez study, they report a relative risk of .73.
        2    serous ovarian cancer.                                    2   And that, certainly, brings down the overall relative
        3        Q. How about with respect to the overall risk         3   risk for the cohort studies.
        4    of ovarian cancer with talcum powder use, is it your      4           The Gonzalez studies has a number of
        5    testimony that the prospective and retrospective          5   limitations in relation to the evaluation of this
        6    studies are consistent?                                   6   exposure and outcome. Most notably -- but there are
        7            MR. FARIES: Objection to form.                    7   two very notable ones. Despite it being a reasonably
        8            THE WITNESS: I -- my testimony is that            8   large cohort there were only about 150 cases in that
        9        stronger associations were observed in the            9   study, and so the statistical power was limited, you
       10        retrospective studies than in the -- the cohort      10   know, again, somewhat related to the duration of
       11        studies.                                             11   follow-up in that study. But more significantly when
       12    BY MR. HEGARTY:                                          12   they assessed the exposure, they asked women about
       13        Q. Well, that's not -- my question was, do           13   their use of talc in the previous 12 months. So,
       14    you -- is it your opinion or testimony that with         14   basically, there is a snapshot of exposure. So it did
       15    regard to the overall risk reported between talcum       15   not capture any exposure before they enrolled in the
       16    powder use and ovarian cancer, that the prospective or   16   study nor in the time after the questionnaire was
       17    cohort studies are consistent with the retrospective     17   completed. So the exposure assessment in that study
       18    studies?                                                 18   is clearly inadequate.
       19            MR. FARIES: I'm going to object to form.         19           And so, you know, you just have to
       20            THE WITNESS: So say it -- please say it          20   consider that the one study that comes up with really
       21        one more time.                                       21   a value that's an outlier there may be some very good
       22    BY MR. HEGARTY:                                          22   reasons why it doesn't fit in with nearly all the
       23        Q. Sure. Is it your opinion that with regard         23   other studies.
       24    to the reporting of the overall risk between ovarian     24       Q. In looking at the biologic plausibility
       25    cancer and talc powder use, that the prospective or      25   analysis under Bradford Hill that you did in this
                                                                                     60 (Pages 234 to 237)
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                                Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 238                                                     Page 240
         1   case, is it your opinion that a biologic mechanism has    1        increased oxidative stress and
         2   been proven for talcum powder use causing ovarian         2        increased cytokine levels.
         3   cancer?                                                   3       Q. In developing your opinions for this case
         4            MR. FARIES: Objection to form.                   4   I believe you said you did not review all the
         5            THE WITNESS: I would not use the                 5   genotoxicity studies looking at talc in ovarian
         6       terminology "proven," because I feel like there       6   cancer, correct?
         7       are very few things that are proven in science.       7       A. Yes, that is correct.
         8       It's the state of knowledge now is -- gives us        8       Q. I believe you also said that you did not
         9       some clear indications of why talc could lead to      9   review the cytotoxicity studies looking at talc and
        10       ovarian cancer. But, you know, science is            10   ovarian cancer, correct?
        11       always evolving we learn -- as we learn more and     11       A. That is correct.
        12       more it will continue to evolve.                     12       Q. But you also said you didn't look at the
        13   BY MR. HEGARTY:                                          13   animal studies that have examined talc and ovarian
        14       Q. Do you have an opinion as to the possible         14   cancer and the effects of talc on animals, correct?
        15   biologic plausibility of talcum powder use causing       15       A. I believe when you asked me those
        16   ovarian cancer?                                          16   questions earlier today, you asked me if I had
        17       A. I do.                                             17   reviewed all of these studies, and I said no to those
        18       Q. What is it?                                       18   questions. I have read some studies, but not all of
        19       A. My opinion is that it is biologically             19   them.
        20   plausible that talc exposure could cause ovarian         20       Q. Have you done an exhaustive review of all
        21   cancer.                                                  21   the animal studies looking at exposure to talc?
        22       Q. Through what mechanism?                           22       A. I cannot say that it was an exhaustive
        23       A. Once again, I'm going to go back to my            23   review, I have looked at some. Again, that is
        24   disclaimer that I am not a cancer biologist. But it      24   somewhat out of my area of expertise as an
        25   seems that the most plausible mechanisms would be an     25   epidemiologist.
                                                      Page 239                                                     Page 241
         1   inflammation pathway. And so through either upward        1       Q. I'm just going to ask you. Are you an
         2   migration of the talc particles to the ovaries, that      2   expert in animal studies?
         3   that could create a -- an environment of chronic          3       A. No, I am not an expert in animal studies.
         4   inflammation. And in that situation that can lead to      4       Q. In your opinion, in your -- strike that.
         5   the production of reactive oxygen species and other       5            For purposes of your opinions in this
         6   cellular components that could cause damage to DNA and    6   case, is it necessary that the ovaries be exposed to
         7   lead to cancer development.                               7   talcum powder products, that they -- the product
         8       Q. In reaching your opinions as to biologic           8   itself reach the ovaries?
         9   plausibility -- well, first of all, let me back up.       9            MR. FARIES: Objection to form.
        10            Have you ever published, lectured or            10            THE WITNESS: As was described in this
        11   otherwise made the statement outside of litigation       11       paper, it is possible that exposure to talc
        12   about the mechanism that you just discussed?             12       could create a generalized inflammatory
        13            MR. FARIES: Objection to form.                  13       condition in the body that could contribute to
        14            THE WITNESS: Okay. In this paper that we        14       ovarian cancer.
        15       published we do refer that inflammation is a         15   BY MR. HEGARTY:
        16       potential mechanism by which ovarian cancer          16       Q. Is it your opinion for purposes of this
        17       could result from exposure to talc.                  17   case that inhalation of talcum powder products causes
        18   BY MR. HEGARTY:                                          18   ovarian cancer?
        19       Q. That's the 2016 Schildkraut paper?                19       A. As I just stated, I believe, excuse me,
        20       A. I believe so. Yes, in the introduction it         20   that inhalation of talc could lead to a generalized
        21   states that: (Reading)                                   21   increased level -- increased inflammatory environment
        22              Talc-containing powders may                   22   in the body that could contribute to the risk of
        23        promote cancer development through                  23   ovarian cancer.
        24        local inflammation, increased rates of              24       Q. Let me ask it a little different way. Is
        25        cell division and DNA repair,                       25   it your opinion to a reasonable degree of scientific

                                                                                     61 (Pages 238 to 241)
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                               Patricia Moorman, Ph.D., M.S.P.H.
                                                     Page 242                                                      Page 244
        1   certainty that inhaled talcum powder products cause       1       A. Yes, I do agree to that.
        2   ovarian cancer?                                           2       Q. Not all chronic inflammatory conditions
        3       A. I don't think that I can make -- state my          3   increase the risk of cancer, correct?
        4   opinion clearly that that -- that route of exposure is    4           MR. FARIES: Objection to form.
        5   the only way -- if that was the only route of             5           THE WITNESS: Again, I -- it's hard to
        6   exposure, that that would be a cause. I just don't        6       answer questions about "all chronic inflammatory
        7   think that the evidence is strong enough.                 7       conditions." Certainly we do have evidence that
        8       Q. Looking at that same question a little bit         8       chronic inflammatory conditions can lead to
        9   different, is it your opinion that inhalation as the      9       cancer. Whether all possible in the entire
       10   sole route of exposure to a reasonable degree of         10       universe do, I can't answer that question.
       11   scientific certainty increases the risk of ovarian       11   BY MR. HEGARTY:
       12   cancer?                                                  12       Q. Rheumatoid arthritis is a chronic
       13           MR. FARIES: Objection to form.                   13   inflammatory condition, correct?
       14           THE WITNESS: I do not think that we have         14       A. Yes, it is.
       15       adequate data about inhalation as the sole route     15       Q. Does rheumatoid arthritis increase the
       16       of exposure.                                         16   risk of any type of cancer?
       17   BY MR. HEGARTY:                                          17           MR. FARIES: Objection to form.
       18       Q. Do you agree that if a woman does have            18           THE WITNESS: I have never specifically
       19   talcum powder products that reach the ovary, that it     19       looked at that question.
       20   doesn't mean that they will develop ovarian cancer?      20   BY MR. HEGARTY:
       21       A. Like with any risk factor, not all people         21       Q. Can you cite for me any animal studies
       22   exposed to that risk factor will develop a cancer.       22   that have shown inflammation in the face of exposure
       23       Q. Can cornstarch -- strike that.                    23   to talcum powder products that have led then to
       24           Can cornstarch exposure to ovarian tissue        24   development of a cancer or a neoplasia?
       25   lead to inflammatory response?                           25       A. Once again, you're asking me questions
                                                     Page 243                                                      Page 245
        1           MR. FARIES: Objection to form.                    1   that are outside my area of expertise.
        2           THE WITNESS: I do not know the answer to          2       Q. So is the answer that you can't cite --
        3       that.                                                 3       A. I cannot --
        4   BY MR. HEGARTY:                                           4       Q. -- any such studies?
        5       Q. How about titanium dioxide, does titanium          5       A. I cannot cite them because -- for the
        6   dioxide exposure to ovarian tissue cause an               6   reasons stated.
        7   inflammatory response?                                    7       Q. Are you aware of any study that has looked
        8           MR. FARIES: Objection to form.                    8   at perineal exposure to talcum powder products and
        9           THE WITNESS: I don't know.                        9   then found those products in the ovaries of women?
       10   BY MR. HEGARTY:                                          10           MR. FARIES: Objection to form.
       11       Q. Have you done any kind of analysis to look        11           THE WITNESS: Yes, I have seen some of
       12   at whether other particles that can potentially reach    12       those studies.
       13   the ovary besides asbestos or talc cause an              13   BY MR. HEGARTY:
       14   inflammatory response that could lead to ovarian         14       Q. Can you cite for me any such study?
       15   cancer?                                                  15       A. I believe that there's a study by
       16       A. Please repeat that.                               16   Henderson quite some time ago, and, again, off the top
       17       Q. Sure. Have you done any type of analysis          17   of my head, can't remember the exact authors.
       18   to look at whether other particles that could reach      18       Q. Is it your memory that the authors in that
       19   the ovary besides asbestos or talcum powder products     19   paper reported that the women who were studied applied
       20   could cause an inflammatory response that leads to       20   talcum powder to the perineal area?
       21   cancer?                                                  21       A. I just can't -- you know, again, among the
       22       A. I have not done that analysis again,              22   hundreds of papers that I've read, I can't remember
       23   considering my area of expertise.                        23   those specific details.
       24       Q. You agree that not all inflammation in the        24       Q. Can you cite for me any other paper where
       25   body leads to cancer, correct?                           25   you believe the authors have looked at women using

                                                                                    62 (Pages 242 to 245)
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                                Patricia Moorman, Ph.D., M.S.P.H.
                                                     Page 246                                                       Page 248
         1   talcum powder products and reported finding talcum        1   oxygen and reactive nitrogen species every day,
         2   powder in their ovaries?                                  2   correct?
         3       A. I'm sorry, how is that question different          3       A. Once again, I am not a cell biologist, but
         4   than the one that I --                                    4   that is my understanding.
         5       Q. I asked you -- my question was whether you         5       Q. Even exercise would cause an increase in
         6   can recall any other paper besides the Henderson paper    6   the generation of reactive oxygen and nitrogen
         7   you mentioned.                                            7   species, correct?
         8       A. I believe that there have been more than           8       A. Once again, you're getting somewhat out of
         9   one paper, but off the top of my head, I just can't       9   my area of expertise, but I think that that is my
        10   remember the author.                                     10   understanding.
        11       Q. With regard to the generation of reactive         11       Q. Obesity is an inflammatory process,
        12   oxygen species, a woman's monthly ovulatory process      12   correct?
        13   causes inflammation that generates reactive oxygen       13       A. Yes.
        14   species, correct?                                        14           MR. FARIES: Objection to form.
        15       A. Yes, there is inflammation.                       15   BY MR. HEGARTY:
        16       Q. So based on your theory, inflammation             16       Q. Obesity would then cause an increase in
        17   resulting from monthly ovulation can cause reactive      17   the generation of reactive oxygen and nitrogen
        18   oxygen species that can lead to cancer; is that          18   species, correct?
        19   correct?                                                 19           MR. FARIES: Objection to form.
        20           MR. FARIES: Objection to form.                   20           THE WITNESS: Yes, that has been -- yes.
        21           THE WITNESS: As part of the overall              21   BY MR. HEGARTY:
        22       inflammation hypothesis, I think that the            22       Q. Are there particular studies -- strike
        23       evidence is pretty consistent showing that the       23   that.
        24       number of ovulatory cycles is related to a risk      24           What studies do you rely upon for purposes
        25       of ovarian cancer.                                   25   of your Bradford Hill analysis as it relates to
                                                     Page 247                                                       Page 249
        1    BY MR. HEGARTY:                                           1   biologic plausibility?
        2        Q. And in a given woman using talcum powder           2       A. In my -- as I have said, not being a
        3    products, how can you distinguish between the effect      3   cancer cell biologist, I have not gone back to
        4    of ovulation versus the effect of using talcum powder     4   original studies talking about reactive oxygen
        5    products?                                                 5   species. I have relied on articles that have more
        6            MR. FARIES: Objection to form.                    6   generally discussed the role of inflammation in
        7            THE WITNESS: Okay. In our studies one of          7   cancer.
        8        the ways that we would do that is to control for      8       Q. Besides those studies, those studies --
        9        factors related to ovulation, such as the number      9   those articles that have discussed generally the role
       10        of pregnancies and periods of oral contraceptive     10   of inflammation in cancer, are there any other
       11        use and -- but when there are multiple exposures     11   particular studies that you rely upon for your opinion
       12        from an epidemiologic study, it would be hard to     12   that the biologic plausibility factor under the
       13        parse out which one.                                 13   Bradford Hill criteria or guidelines supports a
       14    BY MR. HEGARTY:                                          14   finding of causality between talcum powder products
       15        Q. You can only control if you -- in that            15   and ovarian cancer?
       16    situation you described -- if you actually had the       16       A. Again, I'm --
       17    total number of ovulatory cycles of the women in the     17       Q. Well, you had given us one category of
       18    study, correct?                                          18   studies.
       19        A. So you could use the factors that I               19       A. Right.
       20    described as a reasonable proxy for the number of        20       Q. Are there any other categories of studies
       21    ovulatory cycles, but it is a recognition that without   21   that supports a finding of biologic plausibility under
       22    doing hormonal measurements on every woman, every        22   the Bradford Hill guidelines for purposes of your
       23    cycle, you could not absolutely calculate the number     23   analysis in this case?
       24    of ovulatory cycles.                                     24       A. Okay. Once again, when I read multiple
       25        Q. The cells of our bodies produce reactive          25   papers that are describing the role of inflammation in
                                                                                     63 (Pages 246 to 249)
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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 250                                                     Page 252
        1    cancer, I am relying on that. Going back to the           1   tissues?
        2    laboratory studies per se, I am not qualified to          2            MR. FARIES: Objection to form.
        3    evaluate how well they were done, and so I do rely on     3            THE WITNESS: No. In the epidemiologic
        4    these papers that are a summary of the evidence           4       studies, we are -- the studies that considered a
        5    related to inflammation in cancer.                        5       dose response were the reported use of it.
        6        Q. The reason I'm asking is because this is           6       There's no way to measure the dose to the ovary.
        7    our chance to find out what the papers are that you       7   BY MR. HEGARTY:
        8    rely upon under the biologic plausibility factor or       8       Q. What studies, in your opinion -- or strike
        9    section of Bradford Hill. And we don't have the           9   that.
       10    report from you that lists those out, so I'm just        10            Is it your opinion that dose response has
       11    trying to itemize what those studies are. And is         11   been shown under the Bradford Hill criteria between
       12    there any other way, either your review of the           12   talcum powder use and ovarian cancer?
       13    reliance materials that you can define for me the        13       A. Okay. When considering the dose response
       14    studies that you refer to when you're talking about      14   criteria, some studies reported on years of use, some
       15    the generalized papers on inflammation in cancer?        15   reported on frequency of use, and some reported on
       16        A. Once again, you know, I'm considering the         16   some combination of frequency and duration of use.
       17    entire body of literature. To characterize a paper       17   The ones that consider only duration of use or only
       18    as, That is the one that I relied on, I don't think      18   frequency of use, we recognize that that is a
       19    that's a reasonable way to characterize it.              19   suboptimal way to assess dose response because some
       20        Q. Well, you're not relying on the entire            20   women may use it very frequently but not for very
       21    body of literature for the biologic plausibility         21   long, some women may use it for a very long time but
       22    factor under Bradford Hill, are you?                     22   use it very sporadically. And so when considering it,
       23        A. To some extent, yes, because many of the          23   I looked primarily -- you know, I looked at all of the
       24    papers that describe, like, an epidemiologic study,      24   studies, but I felt like the information derived from
       25    they are also discussing the biologic plausibility.      25   the studies that reported on both -- some measure that
                                                      Page 251                                                     Page 253
         1       Q. Are there any papers that you rely upon            1   combined frequency and duration, the majority of the
         2   under the biologic plausibility factor that look          2   studies did, in fact, report a dose response.
         3   specifically at or that tested whether inflammation is    3        Q. Cite for me the studies that looked at
         4   a mechanism by which ovarian cancer occurs, not papers    4   duration and frequency that did report a statistically
         5   that commented on what other papers have done, but the    5   significant dose response.
         6   underlying papers themselves, and not generally, but      6            MR. FARIES: Objection to form. Are you
         7   specifically to ovarian cancer?                           7        waiting on me?
         8       A. I don't recall reading any of those                8            THE WITNESS: Well, I didn't know if you
         9   specifically.                                             9        had more there. Okay.
        10       Q. One of the other criteria under Bradford          10            MR. FARIES: Could we have the question
        11   Hill is dose response. Did you consider dose response    11        either reasked --
        12   for purpose of your opinions?                            12            MR. HEGARTY: Sure.
        13       A. I did.                                            13            MR. FARIES: -- or ask the court reporter
        14       Q. You did not previously list that when I           14        to read it?
        15   asked you about the Bradford Hill criteria that you      15            MR. HEGARTY: I'll restate it.
        16   reviewed. Why didn't you list that?                      16            MR. FARIES: Okay.
        17            MR. FARIES: Objection to form.                  17   BY MR. HEGARTY:
        18            THE WITNESS: There is a whole list of           18        Q. Cite for me the studies that reported a
        19       criterion. As I indicated, I considered all of       19   statistically significant dose response looking at
        20       them at the moment. That one did not come to         20   frequency and duration.
        21       mind as I was trying to list that whole list.        21        A. Okay. Some of our own study, first of
        22   BY MR. HEGARTY:                                          22   all, we came up with the estimated number of
        23       Q. In your analysis of dose response, did you        23   applications, which was a combination of the frequency
        24   try to quantify the amount of talcum powder product      24   and duration, and we did find statistically
        25   exposure for a given use, that is, exposure to the       25   significant associations for the genital use. The

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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 254                                                                     Page 256
        1    Terry study, which combined across eight case-control     1   read to you about the studies that reported on a dose
        2    studies, she also reported a statistically significant    2   response. Do you recall that --
        3    dose response relation. And right off the top of my       3      A. I do.
        4    head, it's just hard to pull up all of the studies,       4      Q. -- that minor question?
        5    but those are two that very definitely come to mind.      5      A. Yes.
        6         Q. Well, feel free, if you want to look at           6      Q. Other than that part of the Schildkraut
        7    your reliance materials, to refresh your memory.          7   paper, can you cite for me any other paper of yours
        8              MR. FARIES: I'll get that out. Just a           8   where you have made the statement that the studies
        9         second.                                              9   generally show a dose response or the majority of
       10               (WITNESS REVIEWS DOCUMENT)                    10   studies show a dose response between talcum powder use
       11              THE WITNESS: Yeah, once again, every           11   in ovarian cancer?
       12         paper has multiple tables, and it is a little       12      A. I don't believe that I have ever made that
       13         bit difficult to remember off the top of my head    13   statement in a published paper.
       14         the whole list of studies that did find that        14      Q. You mentioned the Terry paper --
       15         evidence of the dose response relation when         15      A. Right.
       16         considering some measure of applications.           16      Q. -- as showing a dose response, and I'll
       17    BY MR. HEGARTY:                                          17   mark as Exhibit 21 the Terry paper entitled Genital
       18         Q. Well --                                          18   Powder Use and Risk of Ovarian Cancer: A Pooled
       19         A. You know, I want to be accurate in what          19   Analysis of 8525 cases and 9859 Controls.
       20    I'm stating, and sometimes with so many studies it's a   20    (EXHIBIT NUMBER 21 WAS MARKED FOR IDENTIFICATION)
       21    little bit difficult to remember which -- which found    21   BY MR. HEGARTY:
       22    that. And, I'm sorry, it's -- just with so many, it's    22      Q. Is this the Terry paper you referenced?
       23    a little hard to recall all of them right off the top    23      A. Yes.
       24    of my head late in the day.                              24      Q. If you look at the abstract, on the first
       25         Q. Understood, but you -- do you understand         25   page of that paper, about five lines up from the

                                                      Page 255                                                                     Page 257
         1   that this is our chance, in this setting, to find out     1   bottom the authors write: (Reading)
         2   from you which studies that you contend are in this       2               Among genital powder users,
         3   majority of studies you said that show a statistically    3        we observed no significant trend in
         4   significant association between frequency and duration    4        risk with increasing number of
         5   in ovarian cancer?                                        5        lifetime applications (assessed in
         6            MR. FARIES: Objection to form.                   6        quartiles).
         7   BY MR. HEGARTY:                                           7           Did I read that correctly?
         8        Q. And are you able to cite for me any other         8        A. That is what it says in the abstract, yes.
         9   studies besides your study, the Schildkraut study, and    9        Q. So what the Terry authors are reporting in
        10   the Terry study?                                         10   this part of the paper, is that they found no dose
        11        A. And, again, I believe that the study by          11   response when looking at frequency times duration,
        12   Anna Wu from -- and I also believe that some Cramer --   12   correct?
        13   at least one of the Cramer studies, one or more. And,    13            MR. FARIES: Objection to form.
        14   again, you know, off the top of my head, those are the   14            THE WITNESS: Please repeat that.
        15   ones that are coming to mind.                            15   BY MR. HEGARTY:
        16        Q. Do you recall from -- and feel free,             16        Q. So what the abstract reports -- well,
        17   again, to look at your reliance materials -- what Anna   17   strike that.
        18   Wu study and what Cramer study by year, if you can, or   18            So the abstract notes that the authors
        19   publication name or title.                               19   found no dose response in looking at the number of
        20        A. I -- you know, I do not want to misstate         20   lifetime applications, which is duration times
        21   it, and I'm sorry, just from the title, I can't          21   frequency, correct?
        22   remember which of the Wu studies specifically reported   22        A. That's what the abstract reports. And
        23   on that and similarly with the Cramer study.             23   within the paper, they report a -- Although a
        24        Q. And we looked a moment ago at the 2016           24   significant increase in risk with an increasing number
        25   Schildkraut paper. We looked at a sentence that I        25   of genital powder applications was found for
                                                                                         65 (Pages 254 to 257)
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                                 Patricia Moorman, Ph.D., M.S.P.H.
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        1    nonmucinous epithelial ovarian cancer when nonusers       1   there was -- I don't think that -- I'm trying to
        2    were included in the analysis, and reporting highly       2   remember the exact phrasing of the question.
        3    significant P value for trend, they said no trend was     3       Q. I think my question's a little bit
        4    evident in analyses restricted to ever-users of           4   different.
        5    genital powder, and there is considerable discussion      5       A. Oh, yeah.
        6    about which is the most appropriate way to do that.       6       Q. For purposes of your opinions in this
        7    It's like clearly, the nonusers, that is often            7   case --
        8    included in calculation of trends.                        8       A. Oh, for considering -- for the overall
        9         Q. Is it your testimony that it's improper,          9   opinions. I'm sorry.
       10    that it's not proper epidemiologic methods to include    10       Q. Correct, did you analyze the studies that
       11    only users of only exposed?                              11   looked at talcum powder-covered diaphragms and talcum
       12              MR. FARIES: Objection to form.                 12   powder-covered condoms?
       13    BY MR. HEGARTY:                                          13       A. I did not analyze but I considered studies
       14         Q. Users or exposed?                                14   that reported on that.
       15         A. I am not saying that it is improper. I'm         15       Q. Can you explain to me the difference
       16    saying that it is done both ways in studies.             16   between analyzing and considering?
       17         Q. And for purposes of this study, the              17       A. When analyzing it, I did not do, for
       18    authors chose to report in the abstract the findings     18   example, a meta-analysis where -- actually did an
       19    as to -- as to when users were only included, correct?   19   analysis of the data in that sense.
       20         A. That is what they reported in the                20       Q. Do you recall coming to any conclusions as
       21    abstract.                                                21   to what the papers showed looking at talc-dusted
       22         Q. Have you ever done a study where you             22   diaphragms and talc-dusted condoms in relation to
       23    looked at dose response only considering the exposed     23   ovarian cancer risk?
       24    and not using nonexposed for the calculation?            24       A. In relation to the diaphragms, there have
       25         A. In a specific circumstance, yes.                 25   been several studies. Some found no association, some

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         1       Q. What specific circumstance was that?               1   found an odds ratio greater than 1. None of them were
         2       A. In some of the studies that have looked at         2   statistically significant increased risk.
         3   trying to understand both the effect of the number of     3       Q. How about the studies looking at
         4   pregnancies as well as the timing of pregnancy, for       4   talc-dusted condoms?
         5   statistical reasons we base that analysis only on         5       A. I know that that has been reported in some
         6   women who had a pregnancy.                                6   papers. There -- to my knowledge, there has not been
         7       Q. Do you remember what paper that was?               7   a meta-analysis that combined all of that, and I
         8       A. That was a paper from the North Carolina           8   didn't -- did not consider that as a major factor.
         9   Ovarian Cancer Study. I was the first author, and it      9            MR. FARIES: We've been going for over an
        10   was something related to comparison of characteristics   10       hour, so before you get to the next --
        11   by -- I believe by menopausal status. Hormonal Risk      11            MR. HEGARTY: Okay. I'll just finish up
        12   Factors for Ovarian Cancer in Pre- and Postmenopausal    12       this section.
        13   Women.                                                   13            MR. FARIES: Okay.
        14       Q. You mentioned a moment ago that looking at        14   BY MR. HEGARTY:
        15   dose by duration or looking at dose by frequency was a   15       Q. Why did you not consider the talc-dusted
        16   suboptimal way to measure dose response, but you have    16   condoms studies to be a major factor?
        17   used that -- both of those methods in your papers,       17       A. Mostly because I felt like the amount of
        18   correct?                                                 18   data that was available was quite limited.
        19       A. Yes. Sometimes you have to.                       19       Q. Why wouldn't your analysis of the
        20       Q. In forming your opinions in this case, did        20   talc-dusted diaphragm studies showing no overall
        21   you analyze the literature looking at ovarian -- I'm     21   statistically significant association argue against
        22   sorry, looking at talcum powder exposure via condoms     22   causation?
        23   or diaphragms?                                           23            MR. FARIES: Objection to form.
        24       A. The only analyses from our paper, I               24            THE WITNESS: I agree that that is a
        25   believe they are all presented in this paper, and so     25       somewhat surprising finding. I think that there

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         1       might be reasons for that. The studies                1   relative risk, it's more a lifetime penetrance.
         2       typically looked at women who had that exposure       2       Q. Well, if you had a background rate of 1.4
         3       and no other talc exposure. I believe that's          3   percent and with a BRCA1 mutation your risk went up to
         4       how most of them reported on it. And so there         4   50 percent, wouldn't that be essentially about 30 to
         5       could be issues related to the frequency of use,      5   40 times in terms of a relative risk or odds ratio?
         6       like, for example, women who used it only on a        6           MR. FARIES: Objection to form.
         7       diaphragm might have used it quite less               7           THE WITNESS: Yes, and again that's kind
         8       frequently than daily. Another consideration is       8       of the upper end of the estimated penetrance of
         9       that when women use diaphragms, even if they          9       that gene.
        10       stored them in talc, they may have rinsed them       10   BY MR. HEGARTY:
        11       off, they should have used a spermicidal jelly       11       Q. How about the lifetime risk of a woman who
        12       which might have interfered with any movement of     12   has a BRCA2 genetic mutation?
        13       the particles up the genital track. So those         13       A. Off the top of my head, I can't remember
        14       are potential reasons why those associations         14   the exact lifetime penetrance, but again, strong. I
        15       weren't seen.                                        15   believe it is not as strong as with BRCA1.
        16           MR. HEGARTY: Okay. We can take that              16       Q. It's a stronger -- it's a more strongly
        17       break.                                               17   associated risk factor than talcum powder exposure.
        18           MR. FARIES: Yeah.                                18   Do you agree with that?
        19       (RECESS TAKEN FROM 4:42 P.M. TO 4:58 P.M.)           19           MR. FARIES: Objection.
        20   BY MR. HEGARTY:                                          20           THE WITNESS: I do agree.
        21       Q. All right. Dr. Moorman, we're back on the         21   BY MR. HEGARTY:
        22   record.                                                  22       Q. Do you consider BRCA1 -- a BRCA1 gene
        23           Do you agree that medical science has not        23   mutation to be a cause of ovarian cancer?
        24   yet determined all the risk factors for ovarian          24       A. Yes, I would consider it a cause.
        25   cancer?                                                  25       Q. How about BRCA2 gene mutation, are -- is

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        1        A. I think that that is very possible.                1   that a gene mutation that causes ovarian cancer?
        2        Q. Do you agree that being BRCA1 or BRCA2,            2       A. Yes.
        3    that's B-R-C-A-1 or B-R-C-A-2, is a risk factor for       3       Q. There are other gene mutations that have
        4    ovarian cancer?                                           4   been examined and linked to ovarian cancer risk;
        5        A. Yes, I do agree.                                   5   correct?
        6        Q. In fact, I believe you stated in a paper           6       A. That is correct.
        7    in the past that being BRCA positive is strongly          7       Q. Do you consider any other gene mutation
        8    associated with ovarian cancer. Would that be a fair      8   linked to ovarian cancer to be a cause of ovarian
        9    statement?                                                9   cancer?
       10             MR. FARIES: Objection to form.                  10       A. Yes, I -- I think they are a cause. May I
       11             THE WITNESS: Yes, it is considered a            11   also inject in here that they are not the sole cause,
       12        strong risk factor for ovarian cancer.               12   that not all women with these mutations will develop
       13    BY MR. HEGARTY:                                          13   ovarian cancer.
       14        Q. Do you know approximately what the                14       Q. Can a BRCA1 gene mutation be the sole
       15    relative risk is for getting -- excuse me -- ovarian     15   cause of ovarian cancer?
       16    cancer of being BRCA1?                                   16           MR. FARIES: Objection to form.
       17        A. In those, most studies report a range of          17           THE WITNESS: I think that this, again,
       18    the -- the penetrance, so the lifetime risk of ovarian   18       relies on our knowledge of the biological
       19    cancer, the exact values are hard to come -- pull up     19       process.
       20    right off the top of my head. I want to say some have    20   BY MR. HEGARTY:
       21    a reported lifetime risk as high as 50 percent.          21       Q. What is your answer to my question?
       22        Q. And in terms of a relative risk or odds           22       A. My answer to it is that I -- I am not
       23    ratio, would that be in the range of 30 to 40?           23   sure, again, because I am not a cancer biologist.
       24        A. It is a -- a very strong relative risk.           24       Q. You would have the same answer if I asked
       25    As I said, I don't typically see it reported as a        25   the question about a BRCA2 mutation, correct?
                                                                                     67 (Pages 262 to 265)
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         1       A. Yes, I would.                                      1   a possible cause of ovarian cancer.
         2       Q. Or any gene mutation, correct?                     2       Q. Is it your opinion that being obese
         3       A. Yes.                                               3   increases the risk of developing ovarian cancer?
         4       Q. Sitting here today, can you identify any           4       A. Yes, it is my opinion.
         5   other gene mutation that's been causal -- that you        5       Q. You've actually been an author on several
         6   believe is causally related to ovarian cancer besides     6   papers looking at obesity in ovarian cancer, correct?
         7   BRCA1 and BRCA2?                                          7       A. That is correct.
         8       A. Let's see. I believe that some of the              8       Q. In some of those papers you reported odds
         9   mismatch repair mutations, the MSH. Again, I am not a     9   ratios of 3.2. That's statistically significant,
        10   geneticist, but those are also associated with           10   correct?
        11   increased risk as I understand it.                       11       A. Can you, please, pull out the paper to
        12       Q. How about CHECK2, C-H-E-C-K-2 (sic)?              12   which you are referring?
        13       A. I believe so. I -- again, I'm not as              13       Q. And I'm trying to move things along.
        14   familiar with that literature.                           14       A. Okay.
        15       Q. Do you agree that medical science has not         15       Q. And I'll ask you the name -- I'll give you
        16   identified all gene mutations that may cause ovarian     16   the name of paper --
        17   cancer?                                                  17       A. Okay.
        18       A. I think that that statement is likely             18       Q. -- and we can pull it out if you need to.
        19   true.                                                    19       A. Okay.
        20       Q. BRCA1 and BRCA2 mutations were discovered         20       Q. There's a paper I read by Hoyo, H-O-Y-O,
        21   just about 20 years ago, correct?                        21   in 2005 that showed an odds ratio of 3.2. Do you
        22       A. They -- yes, they were identified in the          22   recall that paper?
        23   mid '90s.                                                23       A. I recall the paper. It's very difficult
        24       Q. But they certainly existed before we              24   to recall all of the specific numbers from a specific
        25   identified them, correct?                                25   paper.
                                                      Page 267                                                     Page 269
        1         A. That is correct.                                  1      Q.     Let me ask it a different way.
        2         Q. And is it your belief that there are other        2            Do you recall in any of the papers in
        3    gene mutations that can cause ovarian cancer that         3   which you've been an author reporting the odds ratio
        4    science has not yet identified?                           4   relative risk between obesity and ovarian cancer to be
        5              MR. FARIES: Objection to form.                  5   higher than a 1.25 to 1.3 odds ratio that you've
        6              THE WITNESS: I think that that is very          6   talked about here today with regard to talcum powder
        7         likely.                                              7   products in ovarian cancer?
        8    BY MR. HEGARTY:                                           8            MR. FARIES: Objection to form.
        9         Q. You've reported on obesity as a risk              9            THE WITNESS: Okay. Again, it's -- I
       10    factor for ovarian cancer, correct?                      10       believe that, yes, we have sometimes reported
       11         A. Yes.                                             11       that in some of the papers. Trying to recall
       12         Q. Is it your opinion that obesity causes           12       the exact numbers from a specific paper is -- is
       13    ovarian cancer?                                          13       challenging.
       14         A. I believe that it is a risk factor and           14   BY MR. HEGARTY:
       15    that there, again, is a plausible biological mechanism   15       Q. Do you -- is it -- strike that.
       16    by which it could lead to it. And again, I think that    16            Is it your opinion that whole milk
       17    it -- it would not be unreasonable to say that it is a   17   consumption and lactose intake causes ovarian cancer?
       18    cause.                                                   18       A. I have not formed a strong opinion on
       19         Q. Have you come to the opinion that obesity        19   that. It's -- I have not reviewed that literature in
       20    causes ovarian cancer?                                   20   the same detail as I have the talc literature.
       21         A. I have not reviewed the obesity literature       21       Q. You mentioned you haven't "formed --
       22    in the same depth as I have reviewed the talc            22   formed a strong opinion," have you formed any opinion
       23    literature. I -- my knowledge of it is that it is a      23   as to whether whole milk consumption and lactose
       24    very frequently reported that there is a plausible       24   intake causes ovarian cancer?
       25    biological mechanism and so I think that it is -- it's   25            MR. FARIES: Objection to form.

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         1            THE WITNESS: I know that has been                1       Q. Fair enough.
         2        reported in some papers. I, again, have just         2           Do you -- do you consider an open question
         3        not looked at the paper -- those -- that topic       3   of whether certain levels of smoking can cause serous
         4        in sufficient detail to really form an opinion.      4   ovarian cancer?
         5   BY MR. HEGARTY:                                           5       A. Once again, one would make that conclusion
         6        Q. That -- that finding of an increased risk         6   based on the entire body of literature and I think
         7   is actually reported in papers you have done, correct?    7   that the body of literature is somewhat inconsistent
         8        A. I believe that was one of the papers that         8   about smoking as a risk factor for ovarian cancer.
         9   was reported and, again, we would not make a judgment     9       Q. Have you done a sufficient analysis to
        10   on any single paper, but more on the body of             10   draw a conclusion as to whether certain levels or
        11   literature.                                              11   extents of smoking can cause ovarian cancer, in
        12        Q. Is it your opinion that high glycemic load       12   particular serous ovarian cancer?
        13   increases the risk of ovarian cancer?                    13       A. I have not done that analysis, no.
        14        A. Once again, that's one of the papers that        14       Q. Is it your opinion that hormone
        15   came out of our group and I believe that we did report   15   replacement therapy use causes ovarian cancer?
        16   that.                                                    16       A. It is my opinion that there is pretty
        17        Q. But do you have the opinion that high            17   consistent evidence that certain types of hormone
        18   glycemic load causes ovarian cancer?                     18   replacement therapy are, indeed, associated with --
        19        A. Once again, I have not reviewed the entire       19   with ovarian cancers.
        20   body of literature related to that factor and I would    20       Q. Is -- is it your opinion that certain
        21   not make a judgment on without doing review of all of    21   types of hormone replacement therapy are at the same
        22   the literature.                                          22   level of risk factor and cause as talcum powder
        23        Q. Is it your opinion that incessant                23   products in ovarian cancer?
        24   ovulation, high ovulatory cycles, causes ovarian         24           MR. FARIES: Objection to form.
        25   cancer?                                                  25           THE WITNESS: I believe that most studies
                                                      Page 271                                                     Page 273
        1        A. That is a very consistently reported risk          1        have reported a relative risk that is pretty
        2    factor, and I think that it -- again, it -- I would       2        comparable to what we are seeing with with talc.
        3    feel comfortable saying that that was a potential         3        I believe that, you know, typically the odds
        4    cause of ovarian cancer.                                  4        ratios are considerably below 2.
        5        Q. Is your opinion the same as to incessant           5   BY MR. HEGARTY:
        6    ovulation as a cause of ovarian cancer as it is talcum    6        Q. Have you formed an opinion as to hormone
        7    powder products as a cause of ovarian cancer?             7   replacement therapy of any level being causally
        8             MR. FARIES: Objection to form.                   8   related to ovarian cancer in the same manner you have
        9             THE WITNESS: I think, yes, yes.                  9   done so in this case as to talcum powder products in
       10    BY MR. HEGARTY:                                          10   ovarian cancer?
       11        Q. Is cigarette smoking, in your opinion, a          11            MR. FARIES: Objection to form.
       12    cause of ovarian cancer?                                 12            THE WITNESS: Okay. Once again, I have
       13        A. It is my opinion that the data are more --        13        read that literature. I have not done it
       14    are fairly inconsistent about that and so, once again,   14        probably in the same detail that I have reviewed
       15    I have not formed that opinion.                          15        the literature related to talc exposure.
       16        Q. You recently did a study with Linda               16   BY MR. HEGARTY:
       17    Kelemen that reported in -- statistically significant    17        Q. So would it be a fair statement that you
       18    increased risk of certain levels of smoking in serous    18   don't have the same level of opinion or confidence in
       19    ovarian cancer. Do you recall that?                      19   your opinion for hormone replacement therapy as you do
       20        A. I recall that paper, yes.                         20   for talcum powder?
       21        Q. That was a -- quite a note worthing               21        A. As I said, I have not reviewed that
       22    finding, wasn't it?                                      22   literature in the same level of detail so probably my
       23        A. It was a finding from the paper, you know.        23   level of confidence about talc is -- is stronger.
       24    I don't know what you mean specifically by "note         24        Q. Same questions that I've been asking as to
       25    worthy."                                                 25   endometriosis. Is it your opinion that endometriosis

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        1    is a cause of ovarian cancer?                             1   asbestos is one.
        2         A. Once again, I'll stipulate that all of            2        Q. I should have you indicated that one --
        3    these other risk factors, I have not reviewed the         3        A. Okay.
        4    literature in quite the same detail that I have talc.     4        Q. -- in your list of opinions. And -- and
        5    However, I think that endometriosis is a pretty fairly    5   you would include talcum powder exposure --
        6    consistently reported risk factor for ovarian cancer.     6        A. Yes.
        7         Q. Do you have the opinion that endometriosis        7        Q. -- correct?
        8    can cause ovarian cancer?                                 8        A. Yes.
        9         A. Yes, I . . .                                      9        Q. Anything else?
       10         Q. How about a first-degree family history of       10        A. You did not touch on pregnancy history, so
       11    ovarian or breast cancer, do you consider that to be a   11   nulliparity.
       12    cause of ovarian cancer?                                 12        Q. Do you consider nulliparity to be a cause
       13              MR. FARIES: Objection to form.                 13   of ovarian cancer?
       14              THE WITNESS: Once again, family history        14        A. It is a uniformly reported risk factor for
       15         is a very consistently reported risk factor and     15   ovarian cancer so I think that it -- again, I'm trying
       16         so . . .                                            16   to understand, you know, the parsing between cause and
       17    BY MR. HEGARTY:                                          17   risk factors.
       18         Q. Is age considered to be a cause of ovarian       18        Q. Well, you believe that talc is not only
       19    cancer?                                                  19   a -- talcum powder products are not only a risk factor
       20         A. Age is a risk factor for ovarian cancer.         20   but also a cause, correct?
       21    When you're looking at a factor like -- like that,       21        A. Right.
       22    does age cause it, I guess in the sense that as you      22        Q. Which of the -- strike that.
       23    age, you -- you are at increased risk, but I think       23            Which other risk factors --
       24    that we consider age in a different way than we would    24        A. Okay.
       25    consider some of these more exogenous exposures.         25        Q. -- is it your opinion are also a cause for

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         1        Q. Is it your opinion that having Lynch              1   ovarian cancer?
         2   syndrome cause -- can cause ovarian cancer?               2            MR. FARIES: Objection to form.
         3        A. Yes.                                              3            THE WITNESS: I --
         4        Q. Can infertility medications, in particular        4   BY MR. HEGARTY:
         5   Clomid, in your opinion, cause ovarian cancer?            5       Q. Besides those we've talked about already.
         6        A. My knowledge of that suggests that the            6       A. Right. Which -- which other ones?
         7   data are somewhat inconsistent in relation to that.       7       Q. That we have not discussed.
         8        Q. Does -- is it your opinion -- or strike           8       A. That we have not discussed. Given that
         9   that.                                                     9   pretty exhaustive list, I think that we've -- I -- I
        10            What is your opinion as to whether coffee       10   can't think of anything off the top of my head that
        11   is a risk factor for ovarian cancer, coffee intake?      11   you have not mentioned.
        12        A. I don't have an opinion on that. I don't         12       Q. Let me just give you a list of other
        13   recall consistent body of literature related to that.    13   things and then when I'm done you can tell me if any
        14        Q. So far I've talked about, for purposes of        14   other --
        15   risk factors, genetic mutation, obesity, whole milk      15       A. Okay.
        16   consumption, high glycemic load, incessant ovulation,    16       Q. -- of those qualify as both a risk factor
        17   cigarette smoking, hormone replacement therapy, family   17   and a cause, and wait until I finish. Diabetes, age
        18   history -- first-degree family of ovarian or breast      18   at menarche, age at menopause, vitamin D deficiency,
        19   cancer, endometriosis, and age and Lynch syndrome and    19   acrylamide use, caffeine use, Peutz-Jeghers syndrome,
        20   Clomid exposure. If you can remember that list, going    20   and I believe that's it.
        21   back -- I'll go back to more of a broad question.        21       A. Okay. Among that list, I think those
        22   Other than what we've talked about, do you consider      22   factors are less consistently associated with ovarian
        23   the evidence as established, in your opinion, any        23   cancer. And I have to say you -- the acrylamide, and
        24   other risk factors that can cause ovarian cancer?        24   I am completely unfamiliar with that so I can't
        25        A. As we have discussed previously today,           25   comment on that. The others, I think, are -- are less

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         1   consistently associated with ovarian cancer and so I      1   besides the three doctors you mentioned who believes
         2   would not describe them as a cause of ovarian cancer.     2   that talcum powder products cause ovarian cancer?
         3        Q. Do you agree that medical science has not         3        A. I don't know what people believe. I --
         4   identified all the causes of ovarian cancer?              4   again, I am relying on what they have written in the
         5        A. I think that that is very possible.               5   literature saying that they consider it a risk factor.
         6        Q. Can you identify anyone in the medical            6        Q. Going back just to a little bit of your
         7   community who has accepted talcum powder exposure as a    7   background. You are not an oncologist, correct?
         8   cause of ovarian cancer?                                  8        A. No, I am not.
         9             MR. FARIES: Objection to form.                  9        Q. You don't have expertise in cell biology,
        10             THE WITNESS: Okay. I think that when you       10   correct?
        11        consider the medical community broadly that         11        A. No, I do not.
        12        there are, indeed, people who have come out as      12        Q. You don't have expertise in pathology,
        13        stating that. Dan Cramer, who has studied this      13   correct?
        14        for many years, has. Jack Siemiatycki. Graham       14        A. No, I do not.
        15        Colditz has. So those are some examples.            15        Q. You are not a toxicologist, correct?
        16   BY MR. HEGARTY:                                          16        A. No, I am not.
        17        Q. Are you aware that all three of those            17        Q. And over the course of your career, have
        18   individuals are experts for Plaintiffs in the talc       18   you ever been reprimanded or disciplined in any way?
        19   litigation?                                              19        A. No.
        20        A. I am aware of that.                              20        Q. Does your CV contain a complete list of
        21        Q. Can you identify for me anyone in the            21   your publications, presentations, abstracts?
        22   medical community who is not a retained expert for the   22        A. It contains a complete list of my
        23   Plaintiffs who has accepted talc as a cause of ovarian   23   publications. The abstracts, I think those are
        24   cancer?                                                  24   selected, so, for example, if I was listed as a
        25        A. I think that there are many people who           25   coauthor on an abstract at some meeting, I wouldn't
                                                      Page 279                                                      Page 281
        1    have published on this who have described it as a risk    1   necessarily have included that in my CV.
        2    factor for ovarian cancer. I think that it is -- as a     2        Q. Over the course of your teaching career,
        3    whole, epidemiologists and people tend to be very         3   have you ever taught courses that examine the
        4    cautious about using the word "cause," and that I         4   literature looking at talcum powder exposure and
        5    think most people interpret risk factors and causes,      5   ovarian cancer?
        6    when there is a plausible biological mechanism, as        6        A. I have you taught a cancer epidemiology
        7    pretty synonymous terms.                                  7   course, and at the time that I taught it, that course
        8        Q. Well, my -- my question is very specific.          8   was -- included lectures given by many different
        9        A. Yes.                                               9   people. I was the course coordinator it was taught
       10        Q. Can you identify any person in the medical        10   by. Many people gave lectures and I did not give the
       11    community besides retained experts for Plaintiffs who    11   lecture on ovarian cancer when I was teaching that
       12    have accepted talcum powder products as a cause of       12   course.
       13    ovarian cancer?                                          13        Q. What percentage of your time do you spend
       14        A. What do you mean --                               14   teaching students?
       15            MR. FARIES: Objection to the form.               15        A. I spend about one-third of my time
       16            THE WITNESS: -- by "accepted."                   16   teaching physician assistant students and then a
       17    BY MR. HEGARTY:                                          17   somewhat less defined amount of time like working with
       18        Q. Who -- who agree that talcum powder               18   students in other capacities such as mentoring medical
       19    products cause ovarian cancer?                           19   students, serving on committees like dissertation
       20        A. Again, I -- I think that we rely on the           20   committees so . . .
       21    published literature and I think that there have been,   21        Q. What do you spend the rest of your
       22    you know, numerous authors that have indicated that      22   two-thirds of time doing?
       23    talc does seem to be a risk factor for ovarian cancer.   23        A. I spend some of that time on research and
       24        Q. My question, though, concerns cause. Can          24   I also have some administrative responsibilities
       25    you cite for me anyone in the medical community          25   within my department as clinical research unit

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        1    director.                                               1   a copy of all the literature you reviewed, that is a
        2        Q. What percentage of that two-thirds rest of       2   hard copy of all the literature reviewed, for purposes
        3    your time is spent on research?                         3   of this case?
        4        A. It's -- all in all, my effort is fairly          4       A. I cannot say that I have hard copies. I
        5    evenly divided.                                         5   have -- probably have copied -- hard copies, some
        6        Q. Have you ever before served as an expert         6   electronic copies, and some things I might have looked
        7    witness in litigation?                                  7   at but never retained a copy of.
        8        A. No, I have not.                                  8       Q. You've not reviewed any person's medical
        9        Q. Have you ever before given a deposition?         9   records for purposes of your analysis in this case; is
       10        A. No, I have not.                                 10   that correct?
       11        Q. Have you ever before testified in a court       11       A. No, I have not.
       12    of law?                                                12       Q. If you look over on page 3 and 4 of
       13        A. No, I have -- other than traffic court,         13   Exhibit 22, there are a number of paragraphs marked
       14    no.                                                    14   1 through 11. Do you see that?
       15        Q. So the first -- this is the first time          15       A. Yes.
       16    you've ever served as an expert witness in any         16       Q. You brought with you your curriculum
       17    context?                                               17   vitae, correct?
       18        A. That is correct.                                18       A. I did.
       19        Q. You brought with you today the -- a copy        19       Q. Do you have any of the other materials
       20    of the Schildkraut paper; is that correct?             20   that are listed in paragraphs 2 through 11 that are
       21        A. I did.                                          21   not also referenced on your disclosure document?
       22        Q. Did you bring with you here today any           22       A. I do not have any of these other
       23    other materials?                                       23   documents. Okay.
       24        A. Only the deposition -- what is it?              24       Q. In terms of your preparation to testify
       25        Q. The deposition notice?                          25   here today, did you review any documents to prepare to
                                                         Page 283                                                 Page 285
         1     A. Notice, that's the word.                          1    testify here today?
         2     Q. I'm marking as Exhibit Number 22 the              2         A. So reviewing documents such as papers?
         3   deposition notice.                                     3         Q. Or anything. Medical literature,
         4       A. Yes.                                            4    textbooks, anything of that nature?
         5     (EXHIBIT NUMBER 22 WAS MARKED FOR IDENTIFICATION)    5         A. Yes, I -- you know, I -- we've given you
         6   BY MR. HEGARTY:                                        6    the -- the reliance list and so all of this.
         7       Q. Is that the same notice that you have           7         Q. Let me ask it in a different way.
         8   brought with you here today?                           8             Specifically for purposes of coming here
         9             (WITNESS REVIEWS DOCUMENT)                   9    today, not for developing your overall opinions but to
        10       A. Yes, appears to be.                            10    prepare for this deposition, in the last couple days
        11       Q. With regard to your work on this case,         11    have you reviewed any articles or documents?
        12   have you prepared any notes yourself where you sat    12         A. Yes.
        13   down and -- and summarized studies or even made notes 13         Q. Which ones did you review?
        14   on written -- or on hard copies of studies?           14         A. Within the last couple of days, I reviewed
        15       A. In -- for preparation for this case, no.       15    the Schildkraut paper. I also reviewed the -- a
        16       Q. For preparation of this case, have you         16    couple of documents that Mr. Faries gave to me related
        17   created any report, any outline, anything that sets   17    to some of the testing of powders for asbestos.
        18   out all or part of your opinions in this case?        18         Q. Those are documents that you had included
        19       A. No, I have not.                                19    on the list of reliance materials under company
        20       Q. And in terms of reviewing articles, did        20    documents?
        21   you ever for purpose of this case review articles and 21         A. Yes.
        22   write notes or comments on the articles themselves?   22         Q. Do you recall which ones those were?
        23       A. I do not typically do that. I don't            23         A. These list -- the last three listed here,
        24   recall doing that.                                    24    the William E. Long reports.
        25       Q. Do you have back in your office or at home     25         Q. Okay. Any other documents you viewed in

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        1   the last couple days for purposes of coming here today    1       Q. In terms of your communications with
        2   to testify?                                               2   counsel for Plaintiffs, without identifying any of the
        3       A. I looked at some other articles, for               3   nature of the communications, can you tell me how many
        4   example, just refreshing my memory.                       4   times that you have spoken with counsel for Plaintiffs
        5       Q. Do you remember which ones those were?             5   for purposes of developing your opinions or getting
        6       A. Let's me see. One of them that I recall            6   prepared to testify here today, just simply the number
        7   looking at specifically was the Gonzalez study from       7   of times?
        8   the Sister Study. There may have been others that         8       A. How many -- how many times? I would say
        9   were on this list that I might have looked at.            9   probably about half a dozen times.
       10       Q. Sitting here right at this moment, do you         10       Q. Are you able to estimate in those half a
       11   recall any other studies having looked at in the last    11   dozen times how much time you spent in those
       12   couple days besides those you've already told us         12   communications?
       13   about?                                                   13       A. Probably 12 hours or so.
       14       A. In the last couple of days, I -- I don't          14       Q. And in those communications, again without
       15   recall.                                                  15   identifying any of the substance of those
       16       Q. You mentioned -- I'm sorry.                       16   communications or anything that you were shown or
       17       A. Go ahead.                                         17   looked at with counsel, can you identify who those
       18       Q. Were you finished?                                18   meetings were with, what attorneys? I assume one was
       19            Well, you mentioned that you thought you        19   Mr. Faries; is that correct?
       20   had spent 50 hours in preparation -- in developing       20       A. That is correct.
       21   your opinions in this case. Is that a fair estimate?     21       Q. And also Mr. Gibson and Ms. Parfitt are
       22       A. Yes.                                              22   here today. Did those meetings include those two
       23       Q. Are you able to estimate how much of that         23   attorneys?
       24   time was spent reviewing medical literature?             24       A. Some of them did.
       25       A. I would say that probably 30 to 40 hours          25       Q. Any other attorneys -- were any other

                                                    Page 287                                                      Page 289
        1   of that.                                                  1   attorneys involved in the work you've done on the
        2       Q. Other than counsel for Plaintiffs in this          2   Ingham case besides those I've just identified?
        3   case, did you speak with anyone in preparation for        3       A. Yes, Dr. Bob Leone.
        4   your deposition in this case about your deposition?       4       Q. Okay. Anybody else?
        5       A. Other than counsel for Plaintiffs?                 5       A. And another attorney, the first name is
        6       Q. Yes.                                               6   Jane and the last name is escaping me.
        7       A. No, I did not.                                     7       Q. Okay. Anybody else?
        8       Q. Have you ever spoken to any person besides         8       A. Oh. And in one of the meetings
        9   counsel for Plaintiffs regarding your work here as an     9   Mr. Faries' associate, Lee Cirsch was there.
       10   expert witness?                                          10       Q. Okay. Is that the list of attorneys you
       11       A. No, I have not.                                   11   can recall?
       12       Q. If you would look at your -- the                  12       A. Yes.
       13   disclosure of expert exhibit?                            13           MR. HEGARTY: I would like the opportunity
       14            MR. FARIES: Oh, I don't -- hang on, let         14       to review my notes while Mr. Klatt is asking
       15       me dig it out.                                       15       questions, if that would be okay.
       16            MR. HEGARTY: Exhibit 1.                         16           MR. FARIES: Of course.
       17            MR. FARIES: Here it is. Oops.                   17           MR. HEGARTY: As opposed to taking time
       18   BY MR. HEGARTY:                                          18       off now.
       19       Q. Would you look at that exhibit, Exhibit 1,        19           MR. FARIES: Yeah.
       20   and tell me whether you have spoken with any of the      20           MR. HEGARTY: And then when he's finished,
       21   other doctors listed on the pages of expert              21       finish up whatever else I can find that I
       22   disclosures in that document regarding your testimony    22       haven't covered in my notes. Is that okay?
       23   or work on this case?                                    23           MR. FARIES: It's okay.
       24       A. No, I have not spoken to any of these             24           MR. HEGARTY: Okay. Thank you.
       25   people.                                                  25           MR. KLATT: Are you all ready to go

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         1       forward?                                              1       on talcum powder product and whatever they may
         2            MR. HEGARTY: Yeah, let's do it.                  2       contain.
         3            MR. KLATT: Okay.                                 3   BY MR. KLATT:
         4                  EXAMINATION                                4       Q. But do you have any specific -- you've
         5   BY MR. KLATT:                                             5   talked about talcum powder today and you talked about
         6       Q. Good afternoon, Dr. Moorman. I'm Mike              6   asbestos. Do you have any opinions on any other
         7   Klatt and I represent the company Imerys Talc America     7   components or constituents of talc other than those
         8   in this case. Have you ever heard of Imerys Talc          8   two that may be in talc-based body powder products?
         9   America before this lawsuit?                              9       A. Again, I'm talking about the overall
        10       A. Before this lawsuit, no.                          10   product. I am aware that there may be other
        11       Q. Do you -- do you understand what Imerys           11   constituents in there and my opinion, again, is based
        12   Talc America's role is here?                             12   on the overall talcum powder product.
        13       A. I -- my understanding is that they provide        13       Q. Do you -- you've expressed specific
        14   material to Johnson & Johnson.                           14   opinions about asbestos --
        15       Q. And when you say "material," what                 15       A. Asbestos.
        16   material?                                                16           MR. FARIES: Hang on.
        17       A. For talc products.                                17           THE WITNESS: Okay.
        18       Q. Is it your understanding that Imerys Talc         18           MR. FARIES: Just slow down.
        19   Americas supplies the raw talc to Johnson & Johnson      19           THE WITNESS: Okay.
        20   for their talc-based body powder products?               20           MR. FARIES: Let him get his whole
        21       A. This is my understanding.                         21       question out.
        22       Q. Without getting into what you talked about        22           THE WITNESS: Okay.
        23   with any attorneys, can you tell us to the best of       23   BY MR. KLATT:
        24   your recollection the first date you were contacted by   24       Q. You've expressed opinions today about
        25   an attorney regarding the talc/ovarian cancer issue?     25   trace asbestos that may or may not be in talc, but
                                                      Page 291                                                     Page 293
        1        A. It was related to this case?                       1   you've given opinions about that. Do you have any
        2        Q. By any attorney contacting you about talc          2   opinions like that about any other components of
        3    and ovarian cancer issue?                                 3   talc-based body powder products?
        4        A. It was approximately summer of 2016.               4       A. I have not formulated opinions about other
        5        Q. And again without disclosing that                  5   constituents.
        6    attorney's identity unless they've already been           6       Q. Have you formed any opinion that
        7    discussed today, was that attorney who contacted you      7   talc-based body powder products cause breast cancer?
        8    in the summer of 2016 one of the attorneys you've         8       A. I have not formed an opinion about that,
        9    already mentioned here today?                             9   no.
       10        A. Yes.                                              10       Q. Have you formed any opinion that
       11        Q. And who was that?                                 11   talc-based body powder products cause kidney cancer?
       12        A. It was Jeff Gibson.                               12       A. I have not formed an opinion about that.
       13        Q. And I'm sorry, I'm skipping around.               13       Q. What about bladder cancer?
       14        A. Okay.                                             14       A. No, I have not formed an opinion.
       15        Q. I'm not going to go back through every            15       Q. Have you formed any opinion that
       16    single thing --                                          16   talc-based body powder products can cause vulvar
       17        A. Okay.                                             17   cancer in women?
       18        Q. -- so if you'll be patient with me, I'm           18       A. I have not formed an opinion about that.
       19    going to jump around.                                    19       Q. And are you aware of the type of cancer
       20        A. Okay.                                             20   called vulvar cancer?
       21        Q. Do you intend to express any opinions in          21       A. Yes.
       22    this case on the subject of any trace metals that may    22       Q. And that's the cancer that can form in the
       23    or may not be in talc-based body powder products?        23   external genital area of women; is that correct?
       24            MR. FARIES: Objection to form.                   24       A. That is correct.
       25            THE WITNESS: Okay. My opinion is based           25       Q. Do you have an opinion about talc-based

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        1    body powder products causing vaginal cancer?              1        am aware of some publications specifically
        2       A. I have not -- I do not have an opinion              2        related to endometrial cancer and talc.
        3    about that.                                               3   BY MR. KLATT:
        4       Q. Do you have an opinion about talc-based             4        Q. And -- and none of those publications show
        5    body powder products causing cervical cancer?             5   an overall increased risk of endometrial or uterine
        6       A. I do not have an opinion about that.                6   cancer in women who used talc-based body powder
        7       Q. Do you have an opinion about talc-based             7   products, correct?
        8    body powder products causing uterine cancer?              8        A. Once again, I have looked at them and the
        9       A. I do not have an opinion about that.                9   over -- my impression overall is that they are not
       10       Q. And uterine cancer is also called                  10   showing increased risk. However, again, recalling
       11    endometrial cancer; is that correct?                     11   whether or -- you know, the overall body of
       12       A. That is correct.                                   12   literature, which is limited, I don't see increased
       13       Q. Do you have any opinion about talc-based           13   risk, but I can't recall if there were any
       14    body powder products causing fallopian tube cancer?      14   statistically significantly increased risks reported.
       15           MR. FARIES: Objection to form.                    15        Q. Okay. Setting aside ovarian cancer and
       16           THE WITNESS: My opinion about that is             16   setting aside endometrial or uterine cancer, for any
       17       kind of wrapped up in my opinion about ovarian        17   of these other types of cancers I've mentioned since
       18       cancer because it is becoming very -- it's been       18   I've been asking you questions the last few minutes,
       19       reported that some ovarian cancers originate in       19   are you aware of any data at all showing an increased
       20       the fallopian tubes and so it is often very           20   risk of any of those types of cancer associated with
       21       difficult to make a distinction about ovarian         21   talc-based body powder product use in women?
       22       versus fallopian tube, and they are often             22            MR. FARIES: Objection to form.
       23       considered all together.                              23            THE WITNESS: I am not aware of literature
       24    BY MR. KLATT:                                            24        showing increased risk for those cancers,
       25       Q. Are you aware of any studies that have             25        but . . .
                                                      Page 295                                                     Page 297
         1   looked specifically at fallopian tube cancer and          1   BY MR. KLATT:
         2   whether or not it's related to use of talc-based body     2       Q. And you agree with me, Dr. Moorman, that
         3   powders in the genital area?                              3   when a woman applies talc in the genital or perineal
         4       A. I am not aware of any study that looked at         4   area that talc -- her rectal area could be exposed to
         5   fallopian tube cancer all on its own.                     5   talc, correct?
         6       Q. With respect to use of talc-based --               6       A. Yes, that is possible.
         7       A. Exactly.                                           7       Q. Because it's in the same proximity as the
         8       Q. -- body powder products?                           8   reproductive tract --
         9       A. That's correct.                                    9       A. That is --
        10       Q. What about rectal or colorectal cancer?           10       Q. -- is that right?
        11   Are you aware of any studies -- or do you have an        11       A. -- that is correct.
        12   opinion whether use of talc-based body powder products   12       Q. But you've seen no data at all that use of
        13   in the genital area or elsewhere can cause rectal        13   talc in the genital area increases the risk of rectal
        14   cancer or colorectal cancer?                             14   cancer; is that right?
        15       A. I have not formed an opinion about that           15            MR. FARIES: Objection to form.
        16   for the same reason that I haven't formed an opinion     16            THE WITNESS: No, I do not recall any
        17   about the other cancers that you've listed. I have       17       papers reporting that.
        18   not reviewed the literature in detail about it, and my   18   BY MR. KLATT:
        19   impression is that the literature on other cancer        19       Q. Now, let's talk for a second about your
        20   sites is very limited.                                   20   opinions about asbestos being related to ovarian
        21       Q. Are you aware of any data at all on the           21   cancer, okay?
        22   use of talc-based body powder products and these other   22       A. Uh-huh.
        23   cancers other than ovarian cancer?                       23       Q. Those studies are all either, I think you
        24            MR. FARIES: Objection to form.                  24   said, occupational studies of women who worked in
        25            THE WITNESS: Am I aware of any data? I          25   industries that had high asbestos exposure or
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         1   environmental studies where women lived in the homes      1   BY MR. KLATT:
         2   where they had workers who worked in the asbestos         2       Q. But in reviewing the literature on an
         3   industry and brought it home; is that correct?            3   association between asbestos exposure and ovarian
         4       A. That is correct.                                   4   cancer, you've undoubtedly seen that until the late
         5       Q. And most of these studies are based on an          5   1990s pathologists didn't even have the ability to
         6   identification of ovarian cancer based on death           6   distinguish between ovarian cancer and mesothelioma,
         7   certificates, correct?                                    7   correct?
         8            MR. FARIES: Objection to form.                   8           MR. FARIES: Objection to form.
         9            THE WITNESS: Yes, many of them are               9           THE WITNESS: I -- I can't recall reading
        10       reporting on standardized mortality ratios.          10       that and, again, I'm not pathologist. I do not
        11   BY MR. KLATT:                                            11       have firsthand knowledge.
        12       Q. And you'd agree that death certificates in        12   BY MR. KLATT:
        13   the epidemiologic community are a notoriously            13       Q. Have you ever consulted with any sort of
        14   unreliable way to determine actual diagnoses, correct?   14   company, pharmaceutical company, medical company,
        15            MR. FARIES: Objection to form.                  15   consumer products company?
        16            THE WITNESS: It is recognized that there        16       A. No, I have not.
        17       are some inaccuracies in death certificates. I       17       Q. Do you think there's anything inherently
        18       would not necessarily go so strong as to say         18   wrong with an epidemiologist or a scientist being
        19       "notoriously unreliable."                            19   consulted on the outside by a company if they want to
        20   BY MR. KLATT:                                            20   get an outside opinion on a medical or scientific
        21       Q. How about just unreliable?                        21   issue?
        22            MR. FARIES: Objection to form.                  22       A. I do not think that there is anything
        23            THE WITNESS: I would, once again, say           23   "inherently wrong" with that.
        24       there are some inaccuracies. I would not go so       24       Q. In fact, if you felt like companies needed
        25       far as to say "unreliable."                          25   to access outside expertise of people like
                                                      Page 299                                                      Page 301
         1   BY MR. KLATT:                                             1   epidemiologists or other types of scientists, it would
         2       Q. Well, you'd agree with me that when                2   be perfectly acceptable to go out and contact them and
         3   someone signs a death certificate, whoever signs that     3   consult with them, correct?
         4   death certificate and states the cause of death, may      4       A. Yes, I think that within the academic
         5   not even be the physician who was treating the person,    5   community many people consult for -- for companies.
         6   correct?                                                  6       Q. And --
         7       A. In truth, I have not been -- I'm not a             7       A. I think it is appropriate.
         8   medical doctor so I have never been around when           8       Q. -- and as far as you know, those people do
         9   someone has signed a death certificate. I have heard      9   the best they can in trying to give an objective
        10   that sometimes that happens, but I have not witnessed    10   assessment of whatever issue they're asked to
        11   it.                                                      11   evaluate, correct?
        12       Q. As an epidemiologist, have you heard,             12           MR. FARIES: Objection to form.
        13   though, that death certificates can be an unreliable     13           THE WITNESS: Again, you're making a
        14   source of accurate diagnosis?                            14       very -- asking me to make an assessment about
        15       A. Again, I would characterize it as they            15       thousands of people, and I don't know. I can't
        16   can -- there can be inaccuracies in them.                16       speak for all of them. I think that there are
        17       Q. Are you aware that in terms of the                17       many people who are doing their best to do it.
        18   pathological tests that could be applied to              18       Some maybe not.
        19   distinguish whether a cancer is ovarian cancer versus    19   BY MR. KLATT:
        20   a mesothelioma, are you aware those tests weren't even   20       Q. Let's -- let's be more specific because
        21   developed until the late 1990s?                          21   you have a fair point. Let's talk about your
        22           MR. FARIES: Objection to form.                   22   colleagues at Duke. You have colleagues at Duke that
        23           THE WITNESS: Once again, I am not a              23   are asked to consult for industry on occasion,
        24       pathologist and I do not have the familiarity        24   correct?
        25       with the tests that you are referring to.            25       A. Yes, I do.

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         1       Q. And as far as you know, your colleagues at         1       events that -- along the pathway from a normal
         2   Duke that are asked to consult for industry do their      2       cell to a transformed cancer cell and I don't
         3   best to give honest objective scientific and medical      3       think that we have the knowledge to say that --
         4   opinions to the people they're consulting with,           4       in most situations I don't think we have the
         5   correct?                                                  5       knowledge to say that a single factor is the
         6           MR. FARIES: Objection to form.                    6       single cause of that cancer.
         7           THE WITNESS: Again, you know, I think             7   BY MR. KLATT:
         8       that as a generalization, I would say that is         8       Q. But you would agree with me things like
         9       true, but again, we're still talking about many,      9   smoking and radiation exposure are known causes of
        10       many people who might consult for industry.          10   cancer, correct?
        11   BY MR. KLATT:                                            11       A. I would agree with --
        12       Q. Do you think -- do you have somebody              12       Q. And --
        13   specific in mind at Duke who isn't giving their best     13       A. Yes.
        14   objective medical or scientific opinion when they're     14       Q. -- and the carcinogens in cigarettes or
        15   consulting with industry on the outside?                 15   the DNA-damaging properties of radiation are
        16       A. I am not aware of anyone, but again, you          16   sufficient in and of themselves to cause cancer,
        17   asked about a very large group of people.                17   correct?
        18       Q. You said in response to Mr. Hegarty's             18           MR. FARIES: Objection to form.
        19   questions earlier that something has to cause ovarian    19           THE WITNESS: I would not agree with that
        20   cancer, correct? Didn't you -- I mean, you said at       20       statement because if -- the way that I would
        21   some level something has to be causing ovarian cancer    21       interpret that is that the DNA damage is
        22   even if we don't know the specific risk factors in a     22       sufficient to cause the cancer, then it seems
        23   patient, correct?                                        23       you would be making the leap that everyone who
        24           MR. FARIES: Objection to form.                   24       was exposed to that should develop cancer and we
        25           THE WITNESS: Okay. So, yes, something            25       know that that is not the case.
                                                      Page 303                                                     Page 305
        1        causes the transformation from normal cells to        1   BY MR. KLATT:
        2        cancer cells.                                         2       Q. Well, there's nothing, there's nothing out
        3    BY MR. KLATT:                                             3   there in the world that causes cancer in every person
        4        Q. And cancer, generally, and ovarian cancer,         4   exposed to it, correct?
        5    specifically, is the result of mutations to the DNA in    5       A. None that I know of.
        6    cells that makes them behave abnormally, correct?         6       Q. But, for example, smoking doesn't cause
        7        A. All cancers are thought to be a result of          7   cancer in every single person that smokes, right?
        8    DNA damage of some kind.                                  8       A. That is correct.
        9        Q. And the DNA damage that starts a cancer in         9       Q. But you believe smoking causes cancer,
       10    a given person can be from a specific cause, correct?    10   correct?
       11             MR. FARIES: Objection to form.                  11       A. I believe that it can cause cancer.
       12    BY MR. KLATT:                                            12       Q. And radiation doesn't cause cancer in
       13        Q. For example, in lung cancer, smoking can          13   everybody that gets an x-ray or gets a sunburn, but
       14    be the cause of the original mutations that start the    14   you would agree with me that radiation is a cause of
       15    cancer, correct?                                         15   cancer, correct?
       16             MR. FARIES: Objection to form.                  16       A. I would agree that radiation can cause
       17             THE WITNESS: Yes, it's . . .                    17   cancer.
       18    BY MR. KLATT:                                            18       Q. What's the typical age range for diagnosis
       19        Q. So there can be a single cause of a               19   of ovarian cancer?
       20    cancer, correct, you don't always have to have           20           MR. FARIES: Objection to form.
       21    multiple causes?                                         21           THE WITNESS: The median age of diagnosis
       22             MR. FARIES: Objection to form.                  22       is approximately 60 years old.
       23             THE WITNESS: I -- again, going back to my       23   BY MR. KLATT:
       24        viewpoint that I am not a cancer biologist, it       24       Q. And "median" means half the cases of
       25        is thought that in most cases there are multiple     25   ovarian cancer are diagnosed in women older than 60

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                                Patricia Moorman, Ph.D., M.S.P.H.
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         1   and half the cases of ovarian cancer are diagnosed in     1       doctor, but that is my understanding.
         2   women younger than 60; is that right?                     2   BY MR. KLATT:
         3       A. Yes, that's the definition of median age.          3       Q. Have you ever given a woman an opinion
         4       Q. Would you --                                       4   that if she has a BRCA1 or BRCA2 mutation but has not
         5            MR. FARIES: I want you to slow down.             5   yet been diagnosed with ovarian cancer that she should
         6            THE WITNESS: Okay.                               6   consider having her ovaries and fallopian tubes
         7            MR. FARIES: After his finishes his               7   removed?
         8       question, let there be a pause so I have a            8       A. No, I have not.
         9       chance to think and object --                         9       Q. So you don't ever counsel women, even
        10            THE WITNESS: Okay.                              10   informally friends or family, about that; is that
        11            MR. FARIES: -- and then you can answer.         11   correct?
        12       Okay?                                                12            MR. FARIES: Objection to form.
        13            THE WITNESS: Okay.                              13            THE WITNESS: No, that is a discussion
        14            MR. FARIES: I know you want to get              14       with a medical professional, not -- a medical
        15       wrapped up, but let's just keep it --                15       doctor.
        16            THE WITNESS: Okay.                              16   BY MR. KLATT:
        17            MR. FARIES: -- going.                           17       Q. Have you seen any data that use of
        18   BY MR. KLATT:                                            18   talc-based body powders by women who have BRCA1 or
        19       Q. Do you agree, Dr. Moorman, that if a woman        19   BRCA2 mutations increases their risk above and beyond
        20   is diagnosed with ovarian cancer in her 30s or 40s,      20   what it is already from having the BRCA1 or BRCA2
        21   that's suggestive of an inherited genetic mutation       21   mutations?
        22   like BRCA or some family predisposition to cancer?       22       A. I have not -- I am not familiar with any
        23            MR. FARIES: Objection to form.                  23   data that has reported on that specifically.
        24            THE WITNESS: I would agree that women who       24       Q. So you can't say use of talc body powder
        25       are diagnosed at a younger age may be more           25   by a woman with a BRCA mutation poses a special risk

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         1       likely to have these genetic mutation, but I          1   to her, correct?
         2       would not say that all women diagnosed at a           2            MR. FARIES: Objection to form.
         3       younger age that it is suggestive that they have      3            THE WITNESS: I cannot say that because I
         4       a genetic mutation.                                   4       do not think that there is adequate data that's
         5   BY MR. KLATT:                                             5       reported.
         6       Q. And -- and these genetic mutations that            6   BY MR. KLATT:
         7   we're talking about like BRCA1 and BRCA2 are inherited    7       Q. If a woman has never had a baby, she's at
         8   either through the mother's family line or the            8   increased risk for ovarian cancer compared to women
         9   father's family line, correct?                            9   who have had one or more children, correct?
        10       A. That is correct.                                  10       A. We talk about it on a population level.
        11       Q. And we're increasingly realizing that             11   We do not -- would not refer to it on an individual
        12   women can have these inherited mutations without         12   woman, an individual level, but on a population level,
        13   having a family history of cancer, correct?              13   women who have not had children are at higher risk for
        14           MR. FARIES: Objection to form.                   14   ovarian cancer than women who have not.
        15           THE WITNESS: Yes, some women may have            15       Q. Does --
        16       those mutations without a reported family            16       A. I think I misspoke that at the end. Women
        17       history.                                             17   who have not had children or had a baby are at higher
        18   BY MR. KLATT:                                            18   risk than women who have had children.
        19       Q. And so that's why increasingly women with         19       Q. What's the magnitude of that increased
        20   ovarian cancer with or without a family history are      20   risk?
        21   being encouraged to have these tests for inherited       21       A. It is reported in many different studies
        22   genetic mutations, correct?                              22   and it somewhat depends on the study population. I
        23           MR. FARIES: Objection to form.                   23   cannot pull a relative risk specifically out of my
        24           THE WITNESS: That is my understanding.           24   head, but in a general sense, typically a nulliparous
        25       Again, I am not a genetic counselor, a medical       25   woman might -- I'm sorry, we typically talk about

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         1   women who have had a baby, so parous women as compared    1        as a reasonable biological mechanism, and I
         2   to nulliparous women, relative risk in the range of .5    2        think that it is -- it is a hypothesis supported
         3   to .7 are pretty commonly reported.                       3        with a great deal of data.
         4       Q. So that would mean that a woman who -- or          4   BY MR. KLATT:
         5   women that have not had children would be at a 1.5 to     5        Q. And you said earlier in response to
         6   1.7 increased risk of ovarian cancer compared to women    6   Mr. Hegarty's questions that the reason monthly
         7   who have had children?                                    7   ovulation can increase the risk of ovarian cancer is
         8       A. That -- that's in the range of what I              8   because monthly ovulation results in a consistent
         9   think most studies have reported.                         9   inflammatory process in which these reactive oxygen
        10       Q. Does not having children cause ovarian            10   species are released which can damage the DNA which
        11   cancer?                                                  11   then, in turn, results in ovarian cancer, correct?
        12           MR. FARIES: Objection to form.                   12            MR. FARIES: Objection to form.
        13           THE WITNESS: Not having children is a            13            THE WITNESS: That is a mechanism that has
        14       risk factor for ovarian cancer and then there        14        been described, yes.
        15       may be biologically plausible reasons why that       15   BY MR. KLATT:
        16       would be the case.                                   16        Q. But you -- just a minute ago you did call
        17   BY MR. KLATT:                                            17   it the "inflammation hypothesis" of ovarian cancer,
        18       Q. Well, not having children is a consistent         18   correct?
        19   risk factor for ovarian cancer in the population of      19        A. I -- don't recall. I think I might have.
        20   women, correct?                                          20        Q. Is --
        21       A. That has been a consistently reported risk        21            MR. FARIES: Before we keep going to
        22   factor, yes.                                             22        something new, we've been going over an hour.
        23       Q. And a risk factor in the range of 1.5 to          23            MR. KLATT: Sure.
        24   1.7 is higher than what you think the overall risk       24            MR. FARIES: I know you haven't, but let's
        25   factor for talc use in ovarian cancer is, correct?       25        take a short break.
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         1           MR. FARIES: Objection to form.                    1           MR. KLATT: Absolutely. And I'm going
         2           THE WITNESS: Yes.                                 2       to -- that will give me some time to --
         3   BY MR. KLATT:                                             3           MR. FARIES: Okay, good.
         4       Q. And so you'd consider not having a                 4           MR. KLATT: -- go through.
         5   child -- or women not having children a cause of          5       (RECESS TAKEN FROM 6:09 P.M. TO 6:20 P.M.)
         6   ovarian cancer, correct?                                  6   BY MR. KLATT:
         7           MR. FARIES: Objection to form.                    7       Q. Would you agree, Dr. Moorman, that women
         8           THE WITNESS: I think that not having              8   who have had more lifetime ovulatory cycles may have
         9       children, it can -- because of various reasons,       9   used more talc-based body powder in conjunction with
        10       for example, we have talked about ovulation          10   those ovulatory cycles over their lifetime?
        11       women -- that is one possible mechanism, so          11           MR. FARIES: Objection to form.
        12       women who have not had children on average would     12           THE WITNESS: I have not looked at that
        13       have had more ovulations than women who have had     13       particular question.
        14       multiple pregnancies. And so through this            14   BY MR. KLATT:
        15       mechanism of the, you know -- again, ovulation       15       Q. And you're aware that several factors can
        16       is one of the risk factors that plays into the       16   cluster together sometimes like that, correct, where
        17       inflammation hypothesis. So through that             17   you have kind of similar factors clustering together
        18       pathway, one possible pathway, we could say not      18   that are hard to parse out?
        19       having children would -- could cause ovarian         19           MR. FARIES: Objection to form.
        20       cancer.                                              20           THE WITNESS: Sometimes there are risk
        21   BY MR. KLATT:                                            21       factors that are more common together.
        22       Q. So at this point, inflammation being a            22   BY MR. KLATT:
        23   cause of ovarian cancer is just a hypothesis, correct?   23       Q. So you never looked to see whether women
        24           MR. FARIES: Objection to form.                   24   who have more lifetime ovulatory cycles also have used
        25           THE WITNESS: I -- it has been described          25   more lifetime talcum powder in the genital area than

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        1    women who have had fewer lifetime ovulatory cycles?       1   talc in the genital area, correct?
        2        A. I don't recall looking at that specific            2            MR. FARIES: Objection to form.
        3    piece of data.                                            3            THE WITNESS: They reported a relative
        4        Q. And that could be a confounding factor,            4       risk, I believe, of about .76 for talc use based
        5    correct?                                                  5       on a fairly small number of exposed cases for
        6            MR. FARIES: Objection to form.                    6       both of those exposures.
        7            THE WITNESS: Yes. If they are related             7   BY MR. KLATT:
        8        and they are both risk factors with a condition,      8       Q. But they did detect a fairly large
        9        that could be a potential confounder.                 9   increased risk of ovarian cancer in women who've used
       10    BY MR. KLATT:                                            10   the vaginal douching products, correct?
       11        Q. You know -- you talked earlier about the          11       A. They did. As I answered, it was a
       12    Gonzalez Sister Study, correct?                          12   significantly increased risk.
       13        A. Yes, I did mention that study.                    13       Q. Doesn't that suggest on a population level
       14        Q. And that was a big prospective study,             14   that women who engage in various feminine hygiene
       15    correct?                                                 15   practices in the genital area, whether it's use of
       16            MR. FARIES: Objection to form.                   16   talc or whether it's use of vaginal douching products
       17            THE WITNESS: It was a prospective study          17   or whatever, there's something about that population
       18        with about 40,000 women and about 150 ovarian        18   that puts them at higher risk for ovarian cancer than
       19        cancer cases.                                        19   women who don't engage in those practices?
       20    BY MR. KLATT:                                            20            MR. FARIES: Objection to form.
       21        Q. And those women were at higher risk than          21            THE WITNESS: This was a single study that
       22    average for ovarian cancer because the condition of      22       reported on this. I would not make a conclusion
       23    participating in the study was that you had a sister     23       on a single study like that. And as I
       24    who had had breast cancer, correct?                      24       indicated, they had a very -- a month --
       25        A. That is correct.                                  25       particularly among the ovarian cancer cases,
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         1       Q. And if you're a woman who's had a sister           1       they had a quite small number of women who
         2   who's had breast cancer, you're at above average risk     2       reported use of either talc or reported
         3   for ovarian cancer compared to women who haven't had a    3       douching.
         4   sister with breast cancer, right?                         4   BY MR. KLATT:
         5       A. Once again, on a population level, women           5       Q. You'd agree -- would you agree with me
         6   with a family history of breast cancer are at higher      6   that if a woman has a tendency to perspire, she may be
         7   risk for ovarian cancer as well.                          7   more likely to use talc-based body powders
         8       Q. And that would include women who've had a          8   particularly in the genital area?
         9   sister with breast cancer, correct?                       9            MR. FARIES: Objection to form.
        10       A. A sister with breast cancer is part of the        10            THE WITNESS: I have not seen any data to
        11   family history, yes.                                     11       support that one way or the other.
        12       Q. And so in the Gonzalez Sister Study, those        12   BY MR. KLATT:
        13   women were at -- the whole population of study were at   13       Q. Well, let me ask you a hypothetical. If
        14   higher-than-average risk for ovarian cancer, correct?    14   there's some genetic or hormonal factor that makes
        15       A. One would make that assumption based on           15   women more likely to perspire and that hormonal or
        16   their family history, yes.                               16   genetic factor is associated with an increased risk of
        17       Q. And the Gonzalez Sister Study found a             17   ovarian cancer, then you could confound the
        18   strong association between vaginal douching practices    18   relationship with talc use, correct?
        19   and ovarian cancer, correct?                             19            MR. FARIES: Objection to form.
        20           MR. FARIES: Objection to form.                   20   BY MR. KLATT:
        21           THE WITNESS: They did report a                   21       Q. Do you understand what I'm saying?
        22       significantly increased risk as I recall.            22            MR. FARIES: Same objection.
        23   BY MR. KLATT:                                            23            THE WITNESS: You are describing a very
        24       Q. Even though they didn't report any                24       hypothetical situation, and hypothetically it is
        25   increased risk of ovarian cancer in women who used       25       possible, but, again, I don't think there is any

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         1       data -- there's no data that I'm aware of that        1   mechanism, so it is -- I think my opinion is that it
         2       would suggest what you hypothesized is the case.      2   could be a cause of ovarian cancer.
         3   BY MR. KLATT:                                             3       Q. You've published that there's a strong
         4       Q. Do you have any information on how the             4   association between weight gain past age 18 and
         5   population of women who use talc-based body powders in    5   ovarian cancer, right?
         6   the genital area differ as a population from women who    6       A. Yes, we have published on that.
         7   choose not to do that?                                    7       Q. And you've talked about something called
         8           MR. FARIES: Objection to form.                    8   adipokines that are substances that fat in the body
         9           THE WITNESS: Some -- I believe that some          9   produces that can increase inflammation and cause
        10       papers have reported on characteristics of the       10   ovarian cancer, right?
        11       women who reported talc use and those that did       11       A. I think that you are referring to a paper
        12       not.                                                 12   done by the's AACES -- based on the AACES study that
        13   BY MR. KLATT:                                            13   was either by Elisa Bandera or Bo Qin.
        14       Q. And can you tell us any differences               14       Q. Sounds familiar, yes.
        15   between those two populations, the women who as a        15       A. Okay. And --
        16   population choose to use talc in the genital area and    16       Q. That you were a coauthor on?
        17   the women who as a population choose not to use talc?    17       A. Yes, I was a coauthor. And, again, on
        18       A. I have seen, I believe, in some papers            18   those papers, off the top of my head, I can't recall
        19   that women with higher BMIs might be more likely to      19   every sentence that was -- were in those papers.
        20   report talc.                                             20       Q. Are you familiar with the concept that
        21       Q. And you think high BMI is a cause of              21   these adipokines are produced by fat tissue and can
        22   ovarian cancer, don't you?                               22   cause chronic inflammation that may result in ovarian
        23           MR. FARIES: Objection to form.                   23   cancer?
        24           THE WITNESS: It has certainly been               24       A. I am familiar with that concept in whole.
        25       associated with ovarian cancer in multiple           25       Q. And obesity leads to a state of chronic

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        1        studies, yes.                                         1   inflammation, correct?
        2    BY MR. KLATT:                                             2           MR. FARIES: Objection to form.
        3        Q. But you believe more than that, you                3           THE WITNESS: Yes.
        4    believe obesity, high BMI is a cause of ovarian           4   BY MR. KLATT:
        5    cancer, correct?                                          5       Q. And it -- I'm sorry, go ahead.
        6            MR. FARIES: Objection. Slow down.                 6       A. Yes, that has been reported.
        7        Objection to form.                                    7       Q. And it -- and obesity also leads to immune
        8            THE WITNESS: Okay. I want to maybe                8   suppression, correct?
        9        clarify my responses in this regard. None of          9           MR. FARIES: Objection to form.
       10        the risk factors that we have discussed, I have      10           THE WITNESS: I am less familiar. I just
       11        not reviewed the literature in the same detail       11       can't recall.
       12        as I have the talc powder and gone through the       12   BY MR. KLATT:
       13        same process of considering all the Bradford         13       Q. Haven't you said that in an article
       14        Hill criteria, and so I -- my opinion is             14   before?
       15        strongest about talc. The other factors that I       15       A. As I have indicated, this was a paper
       16        considered, I do want to make the notation that      16   written by a group of investigate -- a large group of
       17        I have not done the review of all of those risk      17   investigators on the study, and I cannot recall every
       18        factors in the detail that I have with the talc.     18   sentence that was written in it, you know, in that
       19    BY MR. KLATT:                                            19   paper.
       20        Q. Do you believe obesity is or is not a             20       Q. Right. But you were one of these authors,
       21    cause of ovarian cancer as you -- based on the           21   correct?
       22    information you have as we sit here today?               22       A. We are -- again, the paper that we are
       23        A. Again, I have not done the review in the          23   talking about is which paper?
       24    same level of detail, but it is a consistently           24       Q. Let me see. I think you said the name of
       25    reported risk factor with a biologically plausible       25   the person correctly. Did you say Bandera? Is that
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                                 Patricia Moorman, Ph.D., M.S.P.H.
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        1    the name that you threw out?                              1   more forthcoming about that than the healthy people
        2        A. That is our coauthor or our                        2   who don't want to confess up to the use of alcohol?
        3    coinvestigator, I believe, wrote the paper on obesity.    3        A. You are talking about recall bias and
        4        Q. And, again, this is something you were a           4   acknowledge that it is a possibility, and I think that
        5    coauthor on and had a chance to review before it went     5   it is very useful to consider empirical data that
        6    to publication, correct?                                  6   compared findings from case control studies versus
        7        A. Yes.                                               7   cohort studies. Okay. And there was such a paper
        8        Q. You're aware of something called                   8   that was published within the last couple of years,
        9    interview -- interviewer bias, correct?                   9   and they compared what were the -- they took a random
       10        A. Yes, I am.                                        10   sample of meta-analyses that had been performed and
       11        Q. And that's when someone interviewing the          11   compared the results from the case control studies
       12    women who have ovarian cancer or interviewing the        12   where potential for recall bias versus the prospective
       13    healthy women who are the controls somehow tips off      13   cohorts where you would not expect recall bias. And
       14    the -- what they're interested in and encourages a       14   their overall conclusion based on all of these studies
       15    response from one or the other, correct?                 15   was that there was not consistently higher odds ratios
       16        A. That is how interviewer bias is typically         16   reported from the case control studies than the cohort
       17    described in textbooks, yes.                             17   studies, so there is, yes, the theoretical
       18        Q. And you talked earlier about something            18   possibility. There is also a lot of empirical data
       19    called recall bias where women with a disease like       19   suggesting that it is not always a problem and . . .
       20    ovarian cancer may rack their brains to remember an      20        Q. But we haven't -- you're not talking
       21    exposure that healthy women may not recall; is that      21   specifically about the studies that have looked at
       22    correct?                                                 22   talc body powder use in ovarian cancer, correct?
       23            MR. FARIES: Objection to form.                   23        A. No. This is a variety of exposures and
       24            THE WITNESS: Recall bias, yes, is the            24   outcomes that these authors examined.
       25        potential bias that can result if women with the     25        Q. And, in fact, as you said earlier today,
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         1        condition of interest recall things differently      1   in the talc-based body powder in ovarian cancer
         2        from the women who do not have that condition.       2   studies, we saw different outcomes from the
         3   BY MR. KLATT:                                             3   prospective studies, prospective cohort studies
         4        Q. And it can also exist when -- and maybe           4   compared to the population-based case control studies,
         5   it's called something else, but recall bias may also      5   correct?
         6   exist when healthy controls are hesitant to admit to      6            MR. FARIES: Objection to form.
         7   something in their past, like something they perceive     7            THE WITNESS: Yes, I did say that those --
         8   as embarrassing, like, perhaps, genital talc use,         8       the results were . . .
         9   correct?                                                  9   BY MR. KLATT:
        10        A. Yes, we would -- when there is                   10       Q. But my earlier point just that I was
        11   differential reporting between cases and controls,       11   trying to make a few minutes ago and I just want to
        12   yes.                                                     12   make sure you agree with it, is that this phenomenon
        13        Q. There was a spurious relation between            13   of recall bias can affect both women who had the
        14   women having abortions and breast cancer because women   14   disease and may be more motivated to recall past
        15   who had breast cancer gave accurate histories about      15   exposures, but it can also operate in the healthy
        16   abortion, but healthy women were hesitant to volunteer   16   people who may be more reluctant to admit to certain
        17   that information, correct?                               17   past behaviors or uses?
        18        A. I have seen that study, yes.                     18       A. Yes, it is possible that there is
        19        Q. And also, similarly, in studies -- you've        19   differential reporting in both directions.
        20   done studies of alcohol intake, correct?                 20       Q. Are you aware that there can be false
        21        A. That has been a factor that we have looked       21   negative results in women who are tested for BRCA1 and
        22   at in our studies, yes.                                  22   2 mutations? In other words, women are test -- who
        23        Q. And sometimes in epidemiology studies            23   have ovarian cancer are tested to see if they have the
        24   people -- when they're talking about alcohol             24   BRCA1 or BRCA2 mutations, the test says they don't,
        25   consumption, people with an illness or disease may be    25   but, in fact, they do have those. Are you aware of

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                                Patricia Moorman, Ph.D., M.S.P.H.
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         1   that?                                                     1        A. Yes.
         2           MR. FARIES: Objection to form.                    2        Q. And you talked with Mr. Hegarty about that
         3           THE WITNESS: Once again, I am not a               3   study showing that higher consumption of whole milk
         4       genetic -- genetic counselor or a geneticist,         4   and lactose increased ovarian cancer risk, correct?
         5       but . . .                                             5        A. Correct.
         6   BY MR. KLATT:                                             6        Q. And that isn't the first time that's been
         7       Q. Well, I had read an article of yours that          7   shown in a study, correct?
         8   you were the first author of called Evaluation of         8        A. I'm sorry?
         9   Established Breast Cancer Risk Factors as Modifiers of    9        Q. That wasn't -- your study that showed that
        10   BRCA1 or BRCA2: A Multi-Center Case-Only Analysis.       10   whole milk consumption and higher lactose consumption
        11   Do you recall that paper?                                11   increases the risk of ovarian cancer, that wasn't the
        12       A. I do recall that paper.                           12   first time a study had shown that, correct?
        13       Q. And one of the things that that paper             13        A. I believe that that has been reported
        14   stated is that there may be false negative results       14   previously.
        15   where women who actually do have BRCA1 or BRCA           15        Q. In fact, you all found that high lactose
        16   mutations test negative that they don't have them.       16   intake and high whole milk intake almost doubled the
        17       A. Yes, I have heard that, but, again, I'm           17   women's risk of ovarian cancer, right?
        18   not a geneticist.                                        18        A. Once again, I do not recall the specific
        19       Q. You've done studies that show that women          19   odds ratios for those exposures, but I do recall some
        20   who eat a lot of red meat and carbohydrates, that's      20   increased.
        21   called a pro-inflammatory diet, correct?                 21        Q. I'll represent to you the odds ratio was
        22       A. There were investigators on the AACES             22   1.97 statistically significant. That -- if that's
        23   study that did, in fact, examine that.                   23   accurate, that would be almost a doubling of the risk,
        24       Q. And were you a coauthor on any paper that         24   correct?
        25   looked at that?                                          25        A. That is correct.

                                                     Page 327                                                      Page 329
         1       A. I believe that we did publish on that.             1       Q. And I believe in that same study you found
         2       Q. And did you find in your study that                2   that calcium intake -- increased calcium intake
         3   African-American women who had the highest                3   reduced the risk of ovarian cancer. Do you recall
         4   pro-inflammatory diet consisting of red meat and          4   that?
         5   carbohydrate consumption were at markedly increased       5       A. Once again, I'm having a little bit of
         6   risk of ovarian cancer compared to those women who had    6   trouble recalling all the specific odds ratios
         7   a low inflammatory diet?                                  7   particularly for some of the papers where the -- I was
         8           MR. FARIES: Objection to form.                    8   not the lead author on.
         9           THE WITNESS: Again, recalling the exact           9       Q. Do you recall that same Quin paper showing
        10       odds ratios, that is my general sense of the         10   that women who had more sunlight exposure had reduced
        11       paper as I recall it. I have not looked at that      11   risk of ovarian cancer?
        12       paper in detail in a while.                          12       A. That is my general sense of it, but, once
        13   BY MR. KLATT:                                            13   again, recalling the exact odds ratios is -- I don't
        14       Q. In another study you were involved in,            14   recall the exact odds ratio.
        15   showed that women who had more sun exposure had a        15       Q. Do you agree that recall bias and
        16   reduced risk of ovarian cancer, right?                   16   unidentified confounding factors could readily give
        17       A. Once again, I'm trying to recall. As you          17   rise to an odds ratio in the 1.2 to 1.3 range?
        18   know, many papers came out of this study, many           18            MR. FARIES: Objection to form.
        19   exposures considered, and many odds ratios reported.     19            THE WITNESS: I think that it depends.
        20   Can you -- I think you have a specific paper in mind?    20   BY MR. KLATT:
        21       Q. Yes, it's one you talked about earlier            21       Q. But would you agree that when you have
        22   with Mr. Hegarty. It was, I think, the Quin -- is        22   relative risk or odds ratios as low as 1.2 or 1.3,
        23   that the correct pronunciation -- Q-U-I-N, study of      23   that is certainly within the range that could be
        24   dairy, calcium, vitamin D, and ovarian cancer risk in    24   affected by recall bias or unidentified confounding
        25   African-American women?                                  25   factors, correct?

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                                 Patricia Moorman, Ph.D., M.S.P.H.
                                                      Page 330                                                      Page 332
        1            MR. FARIES: Objection to form.                    1   was consistent with there being either no risk at all
        2            THE WITNESS: Again, I think that it               2   or even a decreased risk, correct?
        3        depends on the factor that you're considering.        3       A. The range of the confidence interval, yes,
        4    BY MR. KLATT:                                             4   was from .87 to 1.63.
        5        Q. Well, let's be specific. That -- in the            5       Q. But then if the women with ovarian cancer
        6    case of talc use in ovarian cancer, a relative risk       6   just happened to be interviewed after 2014, their
        7    that you said earlier is in the range of 1.2 or 1.3       7   reported talc use jumped from around 34, 35 percent
        8    could be explained by recall bias and unidentified        8   suddenly up to 51 percent, correct?
        9    confounding factors, correct?                             9           MR. FARIES: Objection to form.
       10            MR. FARIES: Objection to form.                   10           THE WITNESS: That is what our data show.
       11            THE WITNESS: I think that it is important        11   BY MR. KLATT:
       12        to consider how they would come into play. We        12       Q. And you'd agree with me that when you're
       13        asked about talc in our questionnaire. That is       13   interviewing a woman about ovarian cancer and you're
       14        a very extensive questionnaire. And some of the      14   asking specifically about genital talc use, that may
       15        factors we asked about were hypothesized to          15   plant an idea in her head that there's something about
       16        increased risk, some decreased risk. And so          16   that practice related to ovarian cancer, correct?
       17        when a woman is going through a questionnaire        17           MR. FARIES: Objection to form.
       18        like this, it is hard to think that she has          18           THE WITNESS: I -- could it plant that
       19        recalled, that she has given a great deal of         19       idea? Once again, this -- these are a few
       20        thought to talc use, and so she recalls it           20       questions in a very extensive questionnaire, and
       21        differently than a women who does not have           21       I don't think that -- very honestly, I don't
       22        ovarian cancer.                                      22       think that women were giving a whole lot of
       23    BY MR. KLATT:                                            23       thought to it.
       24        Q. Well, you've already said that recall             24   BY MR. KLATT:
       25    could be affected by things like media attention to      25       Q. Well, it's the only thing in the
                                                      Page 331                                                      Page 333
         1   the issue, correct?                                       1   questionnaire that implies some sort of genital
         2            MR. FARIES: Objection to form.                   2   exposure, correct?
         3            THE WITNESS: We did consider that in our         3       A. We also ask about other genital
         4        study. And it's important to bear in mind, in        4   conditions, so . . . Okay.
         5        the entire body of literature, the AACES study,      5       Q. Well, that's a good point. The OCAC
         6        to my knowledge, is the only one that continued      6   organization, are you a part of that?
         7        to collect data in the time frame when there may     7       A. Not currently, no.
         8        have been media attention about talc in relation     8       Q. Okay. You're aware that they have found
         9        to ovarian cancer. So it is hard to say that --      9   no relationship between pelvic inflammatory disease
        10        I mean, it would not be reasonable to say that      10   and serous ovarian cancer, right?
        11        media attention could have led to recall bias in    11           MR. FARIES: Objection to form.
        12        the multiple other studies that have looked at      12           THE WITNESS: I know that they have
        13        talc and ovarian cancer.                            13       published on that, yes.
        14   BY MR. KLATT:                                            14   BY MR. KLATT:
        15        Q. But in that AACES study you're talking           15       Q. And that would be -- that finding is
        16   about before 2014, if the women were interviewed         16   inconsistent with the notion that chronic inflammation
        17   before 2014, there was no increased risk of ovarian      17   can increase ovarian cancer, correct?
        18   cancer in talc users, correct?                           18           MR. FARIES: Objection to form.
        19        A. We reported -- once again, going back to         19           THE WITNESS: Not necessarily.
        20   it, the women who reported any genital use before        20   BY MR. KLATT:
        21   2014, the odds ratio was 1.19, so pretty close to what   21       Q. Doesn't pelvic inflammatory disease
        22   many other studies have reported, and I do acknowledge   22   involve inflammation of the fallopian tubes and the
        23   that that was not a statistically significantly          23   ovaries?
        24   increased risk.                                          24           MR. FARIES: Objection to form.
        25        Q. And, in fact, the confidence intervals, it       25           THE WITNESS: Pelvic inflammatory disease,

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         1       yes, I acknowledge that it can cause -- you           1   certainty about risk factors that ranged from
         2       know, as the name implies, it does cause              2   hypothetical risk factors to -- all the way to
         3       inflammation. And my understanding is that this       3   established risk factors?
         4       is a condition that is not -- is sometimes not        4       A. I believe that I did say something in that
         5       accurately reported. Women may confuse pelvic         5   regard and, again, based on the level of knowledge
         6       inflammatory disease with other genital               6   that we have at a given point in time.
         7       conditions.                                           7       Q. So somebody can talk about a risk factor,
         8   BY MR. KLATT:                                             8   but it may just be hypothetical or uncertain, and at
         9       Q. But pelvic inflammatory disease is -- can          9   another time somebody may talk about a risk factor and
        10   be a chronic inflammatory condition of the fallopian     10   it be an established risk factor, correct?
        11   tubes and the ovaries, correct?                          11           MR. FARIES: Objection to form.
        12       A. Yes.                                              12           THE WITNESS: I think that the modifier
        13       Q. Are you familiar with an epidemiologist           13       that you use is very important, so early in the
        14   named Kenneth Rothman?                                   14       evaluation of a factor, someone may think --
        15       A. Yes.                                              15       there may be reason to think that this factor is
        16       Q. And how do you know him?                          16       associated with an increased risk of disease,
        17       A. I do not know him personally. He has              17       but if you do not have a good body of evidence,
        18   written several textbooks.                               18       it would be appropriate to describe that as a
        19       Q. Is he -- is he a well-recognized                  19       hypothesized risk factor.
        20   epidemiologist?                                          20   BY MR. KLATT:
        21       A. Yes, he is.                                       21       Q. You said in response to Mr. Hegarty's
        22       Q. Is he well regarded in the field?                 22   question earlier today that overall you would put the
        23       A. Yes.                                              23   relative risk or odds ratio of talc-based body powder
        24       Q. And on your reliance materials on page 11,        24   use in ovarian cancer in the 1.2 to 1.3 range,
        25   you cited his textbook Modern Epidemiology as one of     25   correct?
                                                      Page 335                                                     Page 337
        1    your reliance materials, correct?                         1            MR. FARIES: Objection to form.
        2        A. You mean --                                        2            THE WITNESS: That is the conclusion of
        3        Q. Down near the bottom of page 11.                   3       most meta-analyses, and I do agree with that.
        4        A. Yes.                                               4   BY MR. KLATT:
        5        Q. What exhibit are you looking at right now?         5       Q. On a numerical basis, when you're talking
        6             MR. FARIES: Three -- no, I'm sorry.              6   about a 1.2 or 1.3 relative risk or odds ratio, that
        7             THE WITNESS: Three.                              7   means in a group of 12 or 13 women who use talc and
        8             MR. FARIES: Three.                               8   have ovarian cancer, 10 of them would have gotten it
        9    BY MR. KLATT:                                             9   anyway, and only 2 or 3 can be attributable to their
       10        Q. That's the reliance list, correct?                10   talc use, correct?
       11        A. Yes.                                              11            MR. FARIES: Objection to form.
       12        Q. Have you ever communicated in writing or          12            THE WITNESS: When you -- the way that you
       13    verbally about the subject of talc use, talc-based       13       described it, I wouldn't not agree with that.
       14    body powder use in ovarian cancer with Colditz,          14       When we talk about population attributable
       15    Cramer, or Siemiatycki, who you mentioned earlier?       15       fraction, we consider both the odds ratio or
       16        A. Verbally or in writing, no, I have not.           16       relative risk as well as the prevalence of the
       17        Q. Did I understand you to say earlier this          17       risk factor in the population. So you have to
       18    morning that when you're -- on the subject of risk       18       consider both of them to get an estimate of how
       19    factors, risk factors can run the gamut from             19       many women -- the way that we put it, what
       20    hypothetical risk factors, uncertain risk factors,       20       proportion of the population could be
       21    unproven risk factors, all the way to established risk   21       attributable to talc use.
       22    factors?                                                 22   BY MR. KLATT:
       23        A. I -- no, I did not -- I don't think I said        23       Q. Well, doesn't a 1.2 or 1.3 relative
       24    that this morning.                                       24   risk -- let's take a hypothetical population of 10,000
       25        Q. I thought you said there was a spectrum of        25   women with ovarian cancer and 10,000 women without --

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         1   it means that in one group you may have 100 cases of      1           THE WITNESS: We don't know that.
         2   ovarian cancer, and the other you may have 120 or 130,    2   BY MR. KLATT:
         3   correct?                                                  3       Q. Well, you'd have to have a doubling of the
         4       A. And, I'm sorry, it's late in the day to do         4   risk to have more women, correct?
         5   any math.                                                 5           MR. FARIES: Objection to form.
         6       Q. Sure. I understand.                                6   BY MR. KLATT:
         7       A. But yeah.                                          7       Q. If your risk is 1 point -- lifetime risk
         8       Q. I'm just trying to define numerically what         8   is 1.4 without talc and 1.7 with talc, the majority of
         9   you mean when you say an odds ratio or a relative risk    9   women would have still gotten ovarian cancer whether
        10   of 1.2 or 1.3. That means there's going to be a          10   they used talc or not, right?
        11   baseline of people that would have had ovarian cancer    11           MR. FARIES: Objection to form.
        12   regardless, correct, and then you add the increased      12           THE WITNESS: I think that is -- that --
        13   risk on top of that, correct?                            13       again, I think that is really hard to say who
        14       A. That is correct.                                  14       would have gotten it or not.
        15       Q. So that would mean in a group of, say, 12         15   BY MR. KLATT:
        16   or 13 women with ovarian cancer who had used talc that   16       Q. I'm not talking on an individual --
        17   10 of them would have gotten it anyway as a background   17       A. Okay.
        18   rate, correct?                                           18       Q. -- level, Dr. Moorman. I'm talking on a
        19            MR. FARIES: Objection to form.                  19   population level. If your risk, lifetime risk of
        20            THE WITNESS: Once again, you're stating         20   ovarian cancer if you've never used talc is
        21       it in a way that I don't really think about it       21   1.4 percent, and then according to what you've said,
        22       that way. I don't -- the way you're describing       22   if you use talc, that 1.4 percent risk increases to a
        23       it, I don't think that is a way that                 23   1.7 percent lifetime risk --
        24       epidemiologists would typically say out of a         24       A. Right.
        25       small group of women which would have gotten it      25       Q. -- the majority of ovarian cancers would
                                                      Page 339                                                     Page 341
         1       regardless of whether or not they had used talc.      1   have occurred in women whether or not they used talc,
         2   BY MR. KLATT:                                             2   correct?
         3       Q. But the reason you compare a group of              3            MR. FARIES: Objection to form.
         4   exposed women to a group of unexposed women is you        4            THE WITNESS: I'm --
         5   want to know what that background rate is, correct,       5            MR. FARIES: Just answer the best you can.
         6   how many women would have had ovarian cancer whether      6       If you can answer, you can. If you can't, just
         7   or not they used talc, correct?                           7       tell him you're unable to answer the question.
         8       A. Yes, when we calculate a relative risk,            8            THE WITNESS: Yeah, I -- you know, again,
         9   we're comparing what is the rate in the women who used    9       it's -- I think that, you know, where -- what
        10   talc compared to those who did not.                      10       would have happened in the absence of talc use,
        11       Q. So in a group of 100 -- 100 women who             11       and, you know, there -- we're looking at the
        12   didn't use talc but had ovarian cancer compared to a     12       overall population.
        13   group of women who used talc, that 1.2, 1.3 would mean   13   BY MR. KLATT:
        14   120 or 130 of women in the talc group developed          14       Q. And the majority of women if they hadn't
        15   ovarian cancer compared to the 100 women in the          15   used talc would have still developed ovarian cancer
        16   nontalc group, correct?                                  16   who eventually developed it, right?
        17       A. So, again, if we're looking in the overall        17            MR. FARIES: Objection to form.
        18   population, and we have talked about this, the           18            THE WITNESS: Yeah.
        19   estimated lifetime risk is about 1.3 to 1.4 percent,     19   BY MR. KLATT:
        20   and then we would expect that to be about 25 percent     20       Q. You're talking about --
        21   higher among women who use talc.                         21       A. I --
        22       Q. But the majority of women who use talc            22       Q. You know what I'm talking about.
        23   would have gotten their ovarian cancer anyway,           23       A. Yeah.
        24   correct?                                                 24       Q. Don't you? You're talking about a
        25           MR. FARIES: Objection to form.                   25   1.4 percent lifetime risk if you've never used talc,

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         1   and then according to you, it increases three-tenths      1       through the entire process of assessing the
         2   of a percent to 1.7 if you have used talc, correct?       2       causality in the same way that I applied the
         3   So the majority of women who develop ovarian cancer       3       criteria to talc, and so I am not -- I do very
         4   would do it whether or not they used talc, correct?       4       definitely consider it a risk factor. I think
         5            MR. FARIES: Objection to form.                   5       that it is a very -- that it's very probably a
         6            THE WITNESS: Can I just say I'm not              6       cause for ovarian cancer. I just didn't go
         7       comfortable?                                          7       through the same process.
         8            MR. FARIES: Yes.                                 8   BY MR. KLATT:
         9            MS. PARFITT: Yes, absolutely.                    9       Q. I understand.
        10            MR. FARIES: It's quite all right.               10       A. Okay.
        11   BY MR. KLATT:                                            11       Q. Okay. I think I'm done.
        12       Q. I just want to ask one or two things more.        12           MR. FARIES: Mark, before you begin, how
        13   Let me just -- I wasn't quite clear in your responses    13       many minutes do you need?
        14   to Mr. Hegarty's question. Do you believe that           14           MR. HEGARTY: I probably need about 15
        15   postmenopausal hormone replacement therapy use causes    15       minutes.
        16   ovarian cancer or not?                                   16           MR. FARIES: Okay. Are you ready to
        17       A. Yeah, I think I'd like to clarify that. I         17       continue for 15 minutes?
        18   came to the conclusion about making the statement that   18           THE WITNESS: Yes, let's just go ahead.
        19   talc is a cause of ovarian cancer on the basis of a      19                   EXAMINATION
        20   very extensive review of the literature, and I did not   20   BY MR. HEGARTY:
        21   do that same process for all of the other risk factors   21       Q. These are a few follow-up questions, so
        22   that were described there. And so I -- so I feel like    22   I'm going to jump around a little bit.
        23   the evidence is -- does describe hormone -- menopausal   23       A. Okay.
        24   hormone therapy as a risk factor for breast cancer and   24       Q. Dr. Moorman, do you agree that you're not
        25   that I have not gone through the same process, and so    25   an expert in interpreting internal company documents?
                                                     Page 343                                                      Page 345
        1    I would maybe be a little bit more circumspect about      1       A. I do agree with that.
        2    saying whether or not it is a cause because I haven't     2       Q. It's not something you've ever been asked
        3    gone through the same process.                            3   to do before working on this case, correct?
        4        Q. Well, you told us earlier today that               4       A. That is correct.
        5    you're an expert on ovarian cancer epidemiology,          5       Q. And it's fair to say you don't know any of
        6    correct?                                                  6   the individuals whose names are referenced in any
        7        A. That is correct.                                   7   internal company documents that you looked at,
        8        Q. There's been many, many studies of hormone         8   correct?
        9    replacement therapy use in ovarian cancer, correct?       9       A. No, I do not know anybody.
       10        A. Yes.                                              10       Q. Is it also correct you don't have any
       11        Q. And those studies show a consistently             11   familiarity with J&J as a company and how it works
       12    increased risk of ovarian cancer in women who use        12   internally either currently or in years past?
       13    hormone replacement therapy, correct?                    13       A. No, I do not.
       14            MR. FARIES: Objection to form.                   14       Q. For purposes of your opinions in this
       15            THE WITNESS: That is -- yes, I do.               15   case, did you factor into those opinions the Miners
       16    BY MR. KLATT:                                            16   and Millers studies of those who mined and milled talc
       17        Q. And it's certainly at least within the            17   in looking at any increase in lung cancer in those
       18    range of risk of 1.2, 1.3, or more, correct?             18   individuals?
       19        A. That is correct.                                  19            MR. FARIES: Objection to form.
       20        Q. Therefore, applying the same criteria             20            THE WITNESS: I considered all of the
       21    you've applied to talc, you would say that hormone       21       literature, and I did read those papers, at
       22    replacement therapy use is a cause of ovarian cancer,    22       least some of them.
       23    correct?                                                 23   BY MR. HEGARTY:
       24            MR. FARIES: Objection to form.                   24       Q. Is it your opinion that there is a
       25            THE WITNESS: So, once again, I did not go        25   background level of talc in women's ovaries --

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                                                      Page 346                                                      Page 348
         1           MR. FARIES: Objection to --                       1       A. I cannot think of any.
         2   BY MR. HEGARTY:                                           2       Q. We also have covered a number of studies
         3       Q. -- without regard to talcum powder use?            3   over the course of today, correct?
         4           MR. FARIES: I'm sorry. Objection to               4       A. That is correct.
         5       form.                                                 5       Q. Are there any other studies that you
         6   BY MR. HEGARTY:                                           6   consider to be important enough to make sure that we
         7       Q. Let me restate that. Is there a                    7   are aware of that we have not covered here today?
         8   background level of talc in women regardless of talcum    8           MR. FARIES: Objection to form.
         9   powder product use?                                       9           THE WITNESS: I cannot think of any.
        10           MR. FARIES: Objection to form.                   10   BY MR. HEGARTY:
        11           THE WITNESS: I don't know. I don't know          11       Q. Are you currently involved or working on
        12       the data to that.                                    12   any study looking at talcum powder exposure in ovarian
        13   BY MR. HEGARTY:                                          13   cancer?
        14       Q. Is there a background level of asbestos in        14       A. I have already described to you the
        15   the ovaries of women regardless of exposure to           15   studies that I am involved with, the AACES study as
        16   asbestos in the work -- in nonoccupational or            16   well as the OCAC consortium, and those will be -- we
        17   occupational situation?                                  17   will continue to consider talc in the studies.
        18           MR. FARIES: Objection to form.                   18       Q. Let me ask it a different way. Are you
        19           THE WITNESS: I don't know.                       19   currently working on any paper that's going to report
        20   BY MR. HEGARTY:                                          20   on an odds ratio or relative risk of talcum powder
        21       Q. Do background -- does exposure to                 21   exposure in ovarian cancer risk?
        22   background levels of asbestos cause ovarian cancer?      22       A. There is no such paper in process.
        23           MR. FARIES: Objection to form.                   23       Q. I asked you about whether you looked at
        24           THE WITNESS: I don't know that that's            24   the Miners and Millers studies for purposes of your
        25       ever been evaluated.                                 25   analysis in this case. Did you review the studies

                                                      Page 347                                                      Page 349
         1   BY MR. HEGARTY:                                           1   looking at the use of talc as pleurodesis and whether
         2       Q. You were asked -- strike that.                     2   those studies reported an increase in the risk of
         3           You've reviewed with -- in advance of the         3   cancer?
         4   deposition the three Long or Longo studies at the end     4        A. I believe that I looked at one of those,
         5   of your disclosure statement. Do you remember that?       5   at least one of those studies at some point.
         6       A. I did look at those.                               6        Q. Do you recall whether that study or those
         7       Q. Do you have, in your opinion, sufficient           7   studies showed an increase in the risk of any cancer
         8   expertise to interpret those study results?               8   in the patients who have had talc use for pleurodesis?
         9       A. As we --                                           9        A. My recollection is that based on overall
        10           MR. FARIES: Objection to form.                   10   relatively small numbers, they did not report a
        11           THE WITNESS: As we have established              11   significantly increased risk of cancer.
        12       before, I am not a mineral scientist.                12        Q. I should have asked this a moment ago: Do
        13   BY MR. HEGARTY:                                          13   you recall if the Miners and Millers studies reported
        14       Q. Do you know the tests that are used to            14   an increase in risk of any cancer in those workers?
        15   look for asbestos in talc?                               15            MR. FARIES: Objection to form.
        16       A. Once again, I am not -- that is not in my         16            THE WITNESS: Right off the top of my
        17   area of expertise.                                       17        head, I do not recall exactly what they
        18       Q. Over the course of today, we've talked            18        reported.
        19   about your opinions. Is that -- that's a fair            19   BY MR. HEGARTY:
        20   statement, correct?                                      20        Q. I went past the Bradford Hill criteria of
        21       A. Yes.                                              21   coherence, analogy, and experiment. With regard to
        22       Q. Have there been any -- are there any other        22   those three, and we can break them out one at a -- are
        23   opinions that you came in here thinking you -- or        23   there any particular studies or -- that went to your
        24   knowing you want to make sure that you provided to us    24   analysis of those three?
        25   that we have not covered here today?                     25            MR. FARIES: Objection to form.
                                                                                     88 (Pages 346 to 349)
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        1           THE WITNESS: I considered them -- the             1   as to talcum powder products causing ovarian cancer,
        2       experiment is the one that is easiest to deal         2   is there any way to determine a rate of error in that
        3       with when we are talking about an exposure like       3   opinion, that is, the rate by which you may be
        4       talc that is thought to increase risk. There          4   incorrect?
        5       would never be an experimental study, so like a       5            MR. FARIES: Objection to form.
        6       randomized control trial. So there is no              6            THE WITNESS: I don't know how one would
        7       experimental evidence in humans to address this.      7        quantify that.
        8           In terms of coherence, that is typically          8   BY MR. HEGARTY:
        9       described as, is there anything that seriously        9        Q. Mr. Klatt asked you whether you had any
       10       contradicts what is generally -- our general         10   communications with Drs. Colditz, Siemiatycki, and
       11       state of knowledge about this condition? And I       11   Cramer. Have you had communications with any expert
       12       do not think that there is.                          12   who has testified in the talc litigation?
       13           And analogy, even Bradford Hill describes        13        A. No, I have not.
       14       that as perhaps the weakest of the                   14        Q. We asked about the potential for asbestos
       15       considerations. So what are you going to make        15   to be involved in the -- your analysis. Do you intend
       16       an analogy to? You could say, for example,           16   to offer any opinion that arsenic, heavy metals, or
       17       there is an increased risk associated with           17   anything else in talc causes ovarian cancer?
       18       asbestos and ovarian cancer, so what would be        18        A. As I have stated before, my opinion is
       19       analogous to that? Could it be the potential         19   about the talcum powder product as a whole and so
       20       route of administration or route of exposure and     20   whatever its constituents may be.
       21       so on. But, again, that was not one of the           21        Q. Have you done any separate analysis of
       22       criteria that I would weight strongly because        22   arsenic exposure in ovarian cancer?
       23       Bradford Hill indicates it's perhaps the weakest     23        A. No, I have not.
       24       of the factors to consider.                          24        Q. Have you done any separate analysis of
       25                                                            25   heavy metal exposure in ovarian cancer?

                                                     Page 351                                                      Page 353
         1   BY MR. HEGARTY:                                          1      A.    No, I have not.
         2       Q. The last one that we didn't talk about and        2      Q.    I think that's all that I had.
         3   you did mention is specificity. Did you -- what was      3           MR. FARIES: Give us a short break, and
         4   your analysis of specificity?                            4       then we will wrap this up.
         5       A. Again, that can be interpreted in                 5       (RECESS TAKEN FROM 7:19 P.M. to 7:25 P.M.)
         6   different ways. So one aspect of it would be is one      6                  EXAMINATION
         7   factor specifically related to -- is this a specific     7   BY MR. FARIES:
         8   cause? And when we consider that most cancers -- all     8       Q. All right. Dr. Moorman, good evening. I
         9   cancers probably have multiple causes, that the fact     9   just want to clarify that the terms "talc" and "talcum
        10   that this ovarian cancer is not specifically and only   10   powder products" and "body powders" and variations
        11   related to talc, that's -- again, it's a criteria,      11   have been used off and on during your deposition
        12   but, again, not one of the strongest factors that I     12   today. Do you recall that?
        13   considered.                                             13       A. Yes, I do.
        14       Q. Is it your opinion that talc that is             14       Q. And when you have used the word "talc" or
        15   ingested increases the risk of ovarian cancer?          15   similarly, in fact, you're referring to talcum powder
        16           MR. FARIES: Objection to form.                  16   products?
        17           THE WITNESS: Can you define what you mean       17       A. That is correct.
        18       by "ingested"?                                      18       Q. Do you recall some extensive testimony
        19   BY MR. HEGARTY:                                         19   you've given tonight on Bradford Hill analysis or
        20       Q. Sure. If there is talc in food, does             20   similar?
        21   ingesting that food increase the risk of ovarian        21       A. Yes.
        22   cancer, in your opinion?                                22       Q. Do you utilize Bradford Hill analysis or
        23       A. In my opinion, that has not been studied,        23   similar methodologies in your practice as an
        24   and so I do not have an opinion on that specifically.   24   epidemiologist?
        25       Q. With regard to the opinions that you have        25           MR. HEGARTY: Objection, form.

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        1   BY MR. FARIES:                                            1       A. Okay.
        2        Q. You can answer the question.                      2       Q. I'm not asking about whether those are
        3            MR. KLATT: And, Steve, can one objection         3   established criteria. My question was and is: Have
        4        be good for all?                                     4   you ever done the same analysis running through the
        5            MR. FARIES: Yes.                                 5   Bradford Hill criteria for any other exposure and any
        6            THE WITNESS: Yes. Bradford Hill criteria         6   other disease and came to an opinion as to causation
        7        or similar methodology are applied in my work,       7   as you have done in this case?
        8        yes.                                                 8       A. Through -- I mean, throughout all of the
        9   BY MR. FARIES:                                            9   work that I've done, I've gone through this process
       10        Q. And does that work include employing,            10   repeatedly, and whether I ever stated that it was a
       11   utilizing Bradford Hill criteria or analysis or          11   cause, I more commonly would use "risk factor."
       12   similar in your efforts ultimately resulting in          12       Q. So is it your testimony that where you
       13   published scientific literature?                         13   have stated in a publication that a particular factor
       14            MR. HEGARTY: Objection, form.                   14   or particular exposure or event is a risk factor, that
       15            THE WITNESS: Yes.                               15   in every instance you have gone through the Bradford
       16   BY MR. FARIES:                                           16   Hill criteria as you have done with regard to talcum
       17        Q. Okay. And do, in fact, published papers          17   powder products and ovarian cancer?
       18   including those of which you have as a coauthor or an    18            MR. FARIES: Objection to form.
       19   author discuss methods and analysis that were utilized   19            THE WITNESS: These are -- the Bradford
       20   in order to reach discussion and results in a paper?     20       Hill considerations, they are just integrated
       21        A. Yes.                                             21       into my way of thinking about data and one would
       22        Q. And are those methods and analysis akin to       22       consider a body of literature, so . . .
       23   a Bradford Hill criteria analysis?                       23   BY MR. HEGARTY:
       24            MR. HEGARTY: Objection, form.                   24       Q. Let me give you an example, might make it
       25            THE WITNESS: Yes.                               25   clearer. You have gone through the Bradford Hill
                                                     Page 355                                                      Page 357
        1   BY MR. FARIES:                                            1   criteria in this case and came to the conclusion that
        2       Q. Finally, in your role as an expert in this         2   talcum powder products caused ovarian cancer, correct?
        3   case, have you utilized here the same Bradford Hill       3       A. Yes.
        4   analysis and other generally accepted epidemiologic       4       Q. What you've just told me is that you've
        5   scientific methods as you use in your profession to       5   gone through that same criteria, for example, as to
        6   reach your opinions in this case?                         6   obesity, correct?
        7           MR. HEGARTY: Objection, form.                     7            MR. FARIES: Objection to form.
        8           THE WITNESS: Yes.                                 8            THE WITNESS: I have considered these
        9           MR. FARIES: Okay. No further questions.           9       factors, and as I stated previously, I have not
       10           MR. HEGARTY: Just a couple of follow-up          10       reviewed that literature in the same detail that
       11       questions to those, just to those lines of           11       I've reviewed the talc literature.
       12       questions.                                           12   BY MR. HEGARTY:
       13                EXAMINATION                                 13       Q. So you have done some analysis review
       14   BY MR. HEGARTY:                                          14   methodology here as to talcum powder products in
       15       Q. Dr. Moorman, can you identify in any other        15   ovarian cancer that you have not done as to all the
       16   context where you have done the same analysis and        16   other risk factors for ovarian cancer, correct?
       17   reached a conclusion on causation as you have done in    17            MR. FARIES: Objection to form.
       18   this case?                                               18            THE WITNESS: Once again, I have
       19       A. I cannot think of -- I apply these -- you         19       considered all of these things in relation to
       20   know, as we described here, the considerations           20       numerous risk factors and, again, stating I have
       21   described by Bradford Hill are used all the time in      21       not done it to the same in-depth review of these
       22   my -- in my work.                                        22       papers that I have done for talc.
       23       Q. I understand --                                   23   BY MR. HEGARTY:
       24       A. And --                                            24       Q. And so you have not done the same in-depth
       25       Q. I'm sorry, I didn't mean to interrupt.            25   review for any other work you have published on risk

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                                                                 Page 358                                              Page 360
         1   factors that you have done in this case for talc,     1             BY MR. KLATT:
         2   correct?                                              2                 Q. So do you believe anything else other than
         3           MR. FARIES: No, objection to form.            3             talc is a cause of ovarian cancer based on whatever
         4   BY MR. HEGARTY:                                       4             criteria you want to use?
         5       Q. You can answer.                                5                      MR. FARIES: Objection to form. It's been
         6       A. Please repeat it.                              6                 asked and answered many times, and you can go
         7       Q. Would you read back my question?               7                 through the transcript and find all instances
         8      (PREVIOUS QUESTION READ BACK BY THE REPORTER)      8                 where she's answered this question on a host of
         9           MR. FARIES: Objection to form.                9                 risk factors.
        10           THE WITNESS: I think that it is fair to      10                      MR. KLATT: Are you telling her not to
        11       say that this is the most in-depth review that I 11                 answer?
        12       have done. I have done a similar consideration   12                      MR. FARIES: So what I instruct you to do
        13       of all of these factors in relation to other     13                 is tell him to -- I instruct you not to answer
        14       risk factors.                                    14                 the question.
        15   BY MR. HEGARTY:                                      15                      Just go back and go over the transcript.
        16       Q. Can you cite for me any paper in which you    16                      MR. KLATT: Well, all right. We may be
        17   have gone through the Bradford Hill criteria in your 17                 back, but . . .
        18   evaluation of a risk factor?                         18                      MR. FARIES: Well, I think if you go
        19       A. We incorporate this methodology into          19                 through the transcript, will be no need to be
        20   essentially every paper that we write. In our        20                 back.
        21   discussion, we consider what other authors have      21                      MR. KLATT: I'm not sure that's clear, but
        22   published on it. We -- so the consistency, the       22                 if you're instructing her not to answer, that's
        23   strength. We consider the biological plausibility.   23                 your risk.
        24   So I think that it is fair to say that this is       24                      MR. FARIES: Thank you. We're done.
        25   considered in virtually all of our publications.     25                 7:35.
                                                                 Page 359                                              Page 361
        1        Q. Mr. Faries asked you about Bradford Hill                 1            (SIGNATURE RESERVED)
        2    and other epidemiological, I think he may have said,            2        (DEPOSITION CONCLUDED AT 7:35 P.M.)
        3    criteria or concepts, and I'll let Mr. Faries jump in           3               - - -
        4    if he can tell me which --                                      4
        5             MR. FARIES: Scientific epidemiology,                   5
        6        scientific methods.                                         6
        7    BY MR. HEGARTY:                                                 7
        8        Q. What are -- are there any other, besides                 8
        9    Bradford Hill, epidemiologic and scientific methods             9
       10    that you applied here?                                         10
       11        A. The essence of the methodology is pretty                11
       12    consistent. Some people may not refer to --                    12
       13    specifically to Bradford Hill criteria, but they are           13
       14    getting at the same concepts.                                  14
       15        Q. Thank you.                                              15
       16             MR. KLATT: Just one question.                         16
       17                   EXAMINATION                                     17
       18    BY MR. KLATT:                                                  18
       19        Q. Do you think any -- as an ovarian cancer                19
       20    epidemiology expert, do you think there's anything             20
       21    else other than talc that's a cause of ovarian cancer?         21
       22             MR. FARIES: Objection, objection to form.             22
       23        We have spent so much time on risk factors and             23
       24        causes.                                                    24
       25             MR. KLATT: Yeah, and I'm not clear.                   25

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        1            ------                                          1   STATE OF NORTH CAROLINA
                     ERRATA                                          2   COUNTY OF DAVIDSON
        2            ------                                          3              CERTIFICATE
        3    PAGE LINE CHANGE                                        4          I, Amy A. Brauser, RPR, RMR, CRR, Registered
        4    ____ ____ ____________________________                  5   Merit Reporter/Certified Realtime Reporter, the
        5     REASON: _____________________________                  6   officer before whom the foregoing deposition was
        6    ____ ____ ____________________________                  7   taken, do hereby certify that the witness was duly
        7     REASON: _____________________________                  8   sworn by me prior to the taking of the foregoing
        8    ____ ____ ____________________________                  9   deposition; that the testimony of said witness was
        9     REASON: _____________________________                 10   taken by me to the best of my ability and thereafter
                                                                    11   reduced to typewriting under my direction; that I am
       10    ____ ____ ____________________________
                                                                    12   neither counsel for, related to, nor employed by any
       11     REASON: _____________________________
                                                                    13   of the parties to the action in which this deposition
       12    ____ ____ ____________________________
                                                                    14   was taken, and further that I am not a relative or
       13     REASON: _____________________________                 15   employee of any attorney or counsel employed by the
       14    ____ ____ ____________________________                 16   parties thereto, nor financially or otherwise interest
       15     REASON: _____________________________                 17   in the outcome of the action.
       16    ____ ____ ____________________________                 18
       17     REASON: _____________________________                 19      This is on the 13th day of March, 2018.
       18    ____ ____ ____________________________                 20
       19     REASON: _____________________________                                   ____________________________
       20    ____ ____ ____________________________                 21                Amy A. Brauser, RPR RMR CRR
       21     REASON: _____________________________                                   Notary Public # 20023030055
       22    ____ ____ ____________________________                 22
       23     REASON: _____________________________                 23
       24    ____ ____ ____________________________                 24
       25     REASON: _____________________________                 25


         1       ACKNOWLEDGMENT OF DEPONENT
         2
                      I,_____________________, do
         3   hereby certify that I have read the
             foregoing pages, and that the same
         4   is a correct transcription of the answers
             given by me to the questions therein
         5   propounded, except for the corrections or
             changes in form or substance, if any,
         6   noted in the attached Errata Sheet.
         7
             _______________________________________
         8   PATRICIA MOORMAN, Ph.D., M.S.P.H. DATE
         9
        10
        11
        12
        13
        14
             Subscribed and sworn
        15   to before me this
             _____ day of ______________, 20____.
        16
             My commission expires:______________
        17
        18   ____________________________________
             Notary Public
        19
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        21
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        24
        25

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     Research Article                                                                                                              Cancer
                                                                                                                                   Epidemiology,
                                                                                                                                   Biomarkers
                                                                                                                                   & Prevention
   Association between Body Powder Use and
   Ovarian Cancer: The African American Cancer
   Epidemiology Study (AACES)
   Joellen M. Schildkraut1, Sarah E. Abbott1, Anthony J. Alberg2, Elisa V. Bandera3,
   Jill S. Barnholtz-Sloan4, Melissa L. Bondy5, Michele L. Cote6, Ellen Funkhouser7,
   Lauren C. Peres1, Edward S. Peters8, Ann G. Schwartz6, Paul Terry9,
   Sydnee Crankshaw10, Fabian Camacho1, Frances Wang10, and Patricia G. Moorman10,11




   Abstract
      Background: Epidemiologic studies indicate increased ovar-                     Results: Powder use was common (62.8% of cases and 52.9%
   ian cancer risk among women who use genital powder, but                        of controls). Genital powder was associated with an increased
   this has not been thoroughly investigated in African Amer-                     risk of EOC (OR ¼ 1.44; 95% CI, 1.11–1.86) and a dose–
   ican (AA) women, a group with a high prevalence of use. We                     response relationship was found for duration of use and
   evaluate the relationship between use of genital powder and                    number of lifetime applications (P < 0.05). Nongenital use
   nongenital powder in invasive epithelial ovarian cancer                        was also associated with EOC risk, particularly among non-
   (EOC).                                                                         serous EOC cases (OR ¼ 2.28; 95% CI, 1.39–3.74). An asso-
      Methods: Subjects are 584 cases and 745 controls enrolled in                ciation between powder use and upper respiratory conditions
   the African American Cancer Epidemiology Study (AACES), an                     suggests an enhanced inﬂammatory response may explain the
   ongoing, population-based case–control study of EOC in AA                      association between body powder and EOC.
   women in 11 geographic locations in the United States. AA                         Conclusions: In a study of AA women, body powder use was
   controls were frequency matched to cases on residence and                      signiﬁcantly associated with EOC risk.
   age. Logistic regression was used to calculate ORs and 95%                        Impact: The results support that body powder is a modiﬁable
   conﬁdence intervals (CI) for associations between genital and                  risk factor for EOC among AA women. Cancer Epidemiol Biomarkers
   nongenital powder exposure and EOC risk, controlling for                       Prev; 25(10); 1411–7. 2016 AACR.
   potential confounders.                                                           See related commentary by Trabert, p. 1369



   Introduction                                                                   Research on Cancer (IARC) classiﬁed perineal (genital) use of
                                                                                  nonasbestos–containing, talc-based body powder as "possi-
     Genital powder use may be a modiﬁable risk factor for
                                                                                  bly" carcinogenic to humans (2). Although particles of asbes-
   epithelial ovarian cancer (EOC), the most deadly of all gyne-
                                                                                  tos have been found in older body powder formulations,
   cologic cancers (1). In 2010, the International Agency for
                                                                                  particularly prior to 1976 (3), more recent body powder
                                                                                  formulations no longer contain asbestos (4, 5). However,
   1
                                                                                  the relationship between genital powder use and ovarian
     Department of Public Health Sciences, University of Virginia, Char-          cancer appears to persist (6). It has been proposed that
   lottesville,Virginia. 2Hollings Cancer Center and Department of Public
   Health Sciences, Medical University of South Carolina, Charleston,             talc-containing powders may promote cancer development
   South Carolina. 3Population Science Division, Rutgers Cancer Institute         through local inﬂammation, increased rates of cell division
   of New Jersey, New Brunswick, New Jersey. 4Case Comprehensive                  and DNA repair, increased oxidative stress, and increased
   Cancer Center, Case Western Reserve University School of Medicine,
   Cleveland, Ohio. 5Cancer Prevention and Population Sciences Pro-               cytokine levels (7).
   gram, Baylor College of Medicine, Houston, Texas. 6Department of                  A recent pooled analysis of eight population-based case–
   Oncology and the Karmanos Cancer Institute Population Studies and              control studies demonstrated an elevated OR of 1.24 for the
   Disparities Research Program, Wayne State University, Detroit, Michi-
   gan. 7Division of Preventive Medicine, University of Alabama at Bir-           association between genital powder use and EOC (6). Some
   mingham, Birmingham, Alabama. 8Epidemiology Program, Louisiana                 (7–15) but not all (6, 8, 16) previously published studies of talc
   State University Health Sciences Center School of Public Health, New           and ovarian cancer reported a dose–response relationship with
   Orleans, Louisiana. 9Department of Medicine, University of Tennessee
   Medical Center-Knoxville, Knoxville, Tennessee. 10Duke Cancer Insti-
                                                                                  genital powder use for frequency, duration, or number of
   tute, Duke University Medical Center, Durham, North Carolina.                  applications. In addition, some studies reported a stronger
   11
     Department of Community and Family Medicine, Duke University                 association among the most common serous histologic subtype
   Medical Center, Durham, North Carolina.
                                                                                  (4, 10, 14, 16, 17) although the pooled analysis did not conﬁrm
   Corresponding Author: Joellen M. Schildkraut, University of Virginia, PO Box   this ﬁnding (6). Only one prospective study (17) found a
   800765, 560 Ray C. Hunt Drive, Charlottesville, VA 22903. Phone: 434-924-      signiﬁcant association with ever genital talc use and invasive
   8569; Fax: 434-924-8437; E-mail: jms2yf@virginia.edu
                                                                                  serous EOC (RR ¼ 1.40; 95% CI, 1.02–1.91), although no
   doi: 10.1158/1055-9965.EPI-15-1281                                             overall association with EOC was found. The Women's Health
   2016 American Association for Cancer Research.                                Initiative (WHI; ref. 18) did not detect an association with



   www.aacrjournals.org                                                                                                                                1411




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      genital talc use and EOC. Neither prospective study found                 application as nongenital use only, genital use only, or genital
      evidence of a dose–response relationship.                                 and nongenital use. Lifetime number of applications was
         Previous studies of genital powder use have included mostly            calculated by multiplying the number of body powder applica-
      white women. However, two studies reported analyses stratiﬁed             tions per month by the number of months used. Occupational
      by race and both found an increased EOC risk among African                exposure to talc (yes, no) was available only for subjects
      American (AA) women who used genital talc (14, 15). One                   completing the long baseline survey.
      study reported a nonsigniﬁcant association between one or
      more years of talc use and risk of ovarian cancer, OR ¼ 1.56,             Statistical analysis
      [95% conﬁdence interval (CI), 0.80–3.04] among a small                       The prevalence of demographic characteristics was calculated
      sample of 128 AA EOC cases and 143 AA controls, who were                  and t tests and c2 tests were performed to compare distributions
      shown to have higher prevalence of talc use compared with                 between cases and controls. Because of the relatively small num-
      whites (14). A second study reported an imprecise but signif-             ber of women who reported having only used genital powder (43
      icant association with genital talc use with an OR of 5.08 (95%           cases and 44 controls), we merged this exposure category with
      CI, 1.32–19.6) among a very small sample of 16 cases and 17               those who reported use of both nongenital and genital powder,
      controls (15). In this article, we present analyses of the rela-          creating an exposure category of "any" genital powder use.
      tionship between both genital powder and nongenital powder                Unconditional multivariable logistic regression was performed
      exposure from the African American Cancer Epidemiology                    to calculate ORs and 95% CIs for the associations between body
      Study (AACES), an ongoing, multicenter case–control study of              powder exposure ("only" nongenital use, and "any" genital use)
      invasive EOC in AA women.                                                 and risk of EOC. Body powder exposure was further examined by
                                                                                frequency of use (less than 30 times per month, daily), duration of
                                                                                use categorized as less than the median or the median and greater
      Materials and Methods                                                     among the controls (<20 years, 20 years), and lifetime number
      Study population                                                          of applications categorized as less than the median or the median
          AACES is an ongoing, population-based, case–control study of          and greater among controls (<3,600, 3,600 lifetime applica-
      invasive EOC in AA women in 11 locations (Alabama, Georgia,               tions). Trend tests for frequency, duration, and lifetime applica-
      Illinois, Louisiana, Michigan, New Jersey, North Carolina, Ohio,          tions of powder use by route of exposure were conducted sepa-
      South Carolina, Tennessee, and Texas). Institutional review board         rately in two subsamples: only nongenital users plus never users
      approval was obtained from all participating institutions. Meth-          and any genital users plus never users. For each subsample, each of
      ods have been described in detail elsewhere (19). Brieﬂy, cases           the above variables was entered into a logistic regression as
      include AA women 20 to 79 years of age with newly diagnosed               multiple indicator variables representing three levels and two
      EOC. With a goal of enrolling an equal number of cases and                degrees of freedom (i.e., for frequency of use: no exposure, less
      controls, controls were AA women identiﬁed through random                 than daily, daily), adjusting for confounders. Trends were eval-
      digit dialing, with at least one intact ovary and no history of           uated by statistical tests for the association between frequency/
      ovarian cancer, and frequency matched to cases on region of               duration/lifetime applications with EOC risk, using Wald tests to
      residence and 5-year age categories. Participants complete a              simultaneously test the equality of parameter estimates with zero.
      baseline telephone interview, which includes detailed questions           Because experimental data suggest a relationship between inhaled
      on demographic characteristics; reproductive, gynecologic, and            inert particles and asthma (20), a logistic regression analysis was
      medical history; hormone therapy (HT) and oral contraceptive              conducted to determine the association between body powder
      (OC) use; cancer family history and lifestyle characteristics includ-     use and upper respiratory conditions (yes/no), controlling for
      ing smoking, alcohol consumption, and physical activity. In an            EOC case/control status.
      effort to obtain information from as many women as possible, a               Covariates included reference age in years (age at diagnosis
      short version of the questionnaire is offered to those who would          for cases and age at baseline interview for controls); study site
      otherwise refuse to participate in the study. Accrual began in            [Alabama, Louisiana, New Jersey, North Carolina, Ohio, South
      December 2010 and as of August 31, 2015, 593 cases and 750                Carolina, Texas, Michigan and Illinois (combined because of
      controls were enrolled. Eligibility for this analysis was restricted to   sample size and regional similarities), Georgia and Tennessee
      participants for whom data on body powder use and all covariates          (combined because of sample size)]; education (high school,
      were available, resulting in a ﬁnal sample size of 584 cases and 745      some after high school training, college or graduate degree);
      controls; of these, 49 cases and 16 controls completed the short          parity (0, 1, 2, 3þ); duration of oral contraceptives (never, <60
      questionnaire.                                                            months, 60 months); history of tubal ligation (yes/no);
                                                                                family history of breast or ovarian cancer in a ﬁrst-degree
      Exposure to body powder and talc                                          relative (yes/no); smoking (ever/never); and body mass index
         In the baseline interview, participants were asked whether             (BMI < 25, 25–29.9, 30 kg/m2). Two class action lawsuits
      they had ever regularly used talc, cornstarch, baby, or deodor-           were ﬁled in 2014 (21) concerning possible carcinogenic effects
      izing powders. Participants were considered "regular users" if            of body powder, which may have inﬂuenced recall of use.
      they reported using any of these powders at least one time per            Therefore, year of interview 2014 or later (yes/no) was included
      month for at least 6 months, and "never users" if they did not.           as a covariate in the logistic regression models. To assess
      Regular users were asked about their frequency and duration of            potential reporting bias, we also examined whether there were
      use, age at ﬁrst use, and whether they applied powders to                 differences in prevalence of reported powder use by interview
      genital areas (including on underwear or sanitary napkins, or             year (before 2014, 2014 and later) for cases and controls as well
      on birth control devices like diaphragms) and/or nongenital               as whether interview year was an effect modiﬁer of the rela-
      areas. Participants were categorized according to their type of           tionship between powder use and EOC risk.



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                                                                                   Body Powder Use and Ovarian Cancer in African Americans




      Analyses by the histologic subtype versus all controls were also   Table 1. Characteristics of ovarian cancer cases and controls in the African
   conducted and heterogeneity of risk estimates was tested by           American Cancer Epidemiology Study (AACES)
   seemingly unrelated regression (22). Because of the missing data                                                   Cases        Controls
                                                                                                                  (n ¼ 584)      (n ¼ 745)
   for histology, 48 cases were omitted from these analyses. Through
                                                                                                                      n (%)          n (%)          P
   stratiﬁed analyses, we also assessed possible effect modiﬁcation of   Age (years)                                                              <0.01
   the association with powder use and ever use of HT among                 <40                                      31 (5.3)      80 (10.7)
   postmenopausal women using logistic regression. Experimental             40–59                                 299 (51.21)    398 (53.4)
   data show that the inﬂammatory response is enhanced in the               60þ                                   254 (43.5)     267 (35.8)
   presence of estrogen and progesterone and we therefore tested for        Range (years)                             20–79         20–79
                                                                         Education                                                                 0.02
   interaction of the association with body powder use by meno-
                                                                            High school or less                   262 (44.9)     278 (37.3)
   pausal status (20). Logistic regression and trend analyses were          Some after high school training       145 (24.8)      210 (28.2)
   performed using SAS version 9.4 (SAS Institute).                         College or graduate degree             177 (30.3)    257 (34.5)
                                                                         Body mass index (kg/m2)                                                   0.09
                                                                            <24.9 (under- and normal weight)        86 (14.7)    140 (18.8)
   Results                                                                  25–29.9 (overweight)                  148 (25.3)      197 (26.4)
      Descriptive statistics for cases and controls are presented           >30 (obese)                           350 (59.9)     408 (54.8)
                                                                         Parity (# of live births)                                                 0.06
   in Table 1. Cases were older than controls and had lower educa-
                                                                            0                                     105 (18.0)       96 (12.9)
   tional achievement. Although this study was designed to match            1                                       113 (19.4)     141 (18.9)
   controls to cases by 5-year age group, the difference in the age at      2                                      136 (23.3)     198 (26.6)
   diagnosis/age at interview may, in part, be because the study is         3þ                                    230 (39.4)       311 (41.6)
   actively enrolling subjects. However, age ranges of cases (20–79      Tubal ligation                                                            0.02
   years) and controls (20–79 years) overlap. Signiﬁcant differences        Yes                                   201 (34.4)     302 (40.5)
                                                                            No                                    383 (65.6)     443 (59.5)
   in the distributions of well-established risk factors, including a
                                                                         Oral contraceptive use                                                   <0.01
   shorter duration of oral contraceptive use, and lower prevalence of      Never                                 180 (30.8)      155 (20.8)
   tubal ligation in cases as compared with controls, were as               <60 months                            230 (39.4)     334 (44.8)
   expected. As expected, parity was lower among cases compared             >60 months                             174 (29.8)    256 (34.4)
   with controls, but the difference was not signiﬁcant. In addition,    First-degree family history of breast                                    <0.01
   cases were more likely to report a family history of breast or           or ovarian cancer
                                                                            Yes                                   149 (25.5)      132 (17.7)
   ovarian cancer. No signiﬁcant difference in the median years of
                                                                            No                                    435 (74.5)      613 (82.3)
   use of body powder or occupational exposure of talc in cases          Menopausal status                                                         0.31
   compared with controls was observed.                                     Premenopausal                          158 (27.2)     221 (29.7)
      Table 2 shows the results of logistic regression models exam-         Postmenopausal                        423 (72.8)     522 (70.3)
   ining the relationship between any use of body powder (either         Hormone therapy                                                           0.10
   "only" nongenital powder or "any" genital powder) as well as the         Ever use                                118 (20.3)    125 (16.8)
                                                                            Never use                             463 (79.7)      618 (83.2)
   use of body powder by type of application: "only" nongenital
                                                                         Smoking                                                                   0.48
   powder use or "any" genital powder use. Adjusting for potential          Ever                                  257 (44.0)      313 (42.0)
   confounders, we observed a signiﬁcant positive association               Never                                 327 (56.0)     432 (58.0)
   between any powder use and EOC (OR ¼ 1.39; 95% CI, 1.10–              Hysterectomya                                                             0.43
   1.76). The OR for the association with "any" genital powder use          Yes                                     141 (24.1)    166 (22.3)
   was 1.44 (95% CI, 1.11–1.86). An OR of 1.31 (95% CI, 0.95–               No                                    443 (75.9)     579 (77.7)
                                                                         Body powder use (median years)b               20             20           0.48
   1.79) for the measure of association between "only" nongenital
                                                                         Occupational talc exposurec                                               0.16
   powder use and EOC was only slightly lower in magnitude                  Yes                                     58 (10.8)      62 (8.5)
   compared with the association when "any" genital use was                 No                                    477 (89.2)     667 (91.5)
   reported, but not statistically different from one another (P ¼       Histologic subtyped
   0.56). In 2014 and later, we observed an increase in any powder          Serous                                393 (73.2)
   use of 12% and 6% of cases and controls, respectively. Although          Mucinous                                24 (4.5)
                                                                            Endometrioid                             72 (13.4)
   increased, these exposure prevalences were not signiﬁcantly dif-
                                                                            Clear cell                               13 (2.4)
   ferent from those interviewed before 2014 (P ¼ 0.30). For those          Other                                   35 (6.5)
   interviewed in 2014 or later, we observed an OR for "any" genital     a
                                                                           Deﬁned as hysterectomy 2 years prior to diagnosis for cases and 2 years prior to
   powder use of 2.91 (95% CI, 1.70–4.97) compared with 1.19             interview for controls.
   (95% CI, 0.87–1.63) before 2014. We observed a weaker OR              b
                                                                           Among body powder ever users only.
                                                                         c
   of 1.26 (95% CI, 0.69–2.32) for 2014 and later compared with           Data not available for participants who completed the short questionnaire
   1.40 (95% CI, 0.96–2.03) before 2014 for those who reported           (49 cases and 16 controls).
                                                                         d
                                                                           Data missing on histologic subtype for 47 cases.
   "only" nongenital use. A test for effect modiﬁcation by year of
   interview was statistically signiﬁcant (P ¼ 0.005).
      The ORs for the association between daily use of powder for
   either "only" nongenital powder use (OR ¼ 1.53; 95% CI, 1.00–         moderately stronger association for 20 years of "any" genital
   2.35) or "any" genital powder use (OR ¼ 1.71; 95% CI, 1.26–           powder use (OR ¼ 1.51; 95% CI, 1.11–2.06) compared with <20
   2.33) with EOC were larger in magnitude than ORs for less than        years of use (OR ¼ 1.33; 95% CI, 0.95–1.86; Ptrend ¼ 0.02). No
   daily use compared with never use but the test for trend was          dose–response with years of use was detected for "only" nongen-
   signiﬁcant for only "any" genital powder use (Table 2). There is a    ital powder use. The ORs for the number of lifetime applications



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      Table 2. Adjusted ORs for the associations between mode, frequency, and            magnitude and not signiﬁcant (OR ¼ 1.10; 95% CI, 0.76–1.58).
      duration of body powder use and ovarian cancer in the AACES                        Compared with serous cases, larger and statistically signiﬁcant
                                         Cases      Controls                             ORs are found for the associations with type of powder appli-
                                     (n ¼ 584) (n ¼ 745)               ORa
                                                                                         cation in nonserous EOC cases; ORs were 1.63 (95% CI, 1.04–
      Exposure                           n (%)        n (%)         (95% CI)
      Body powder use
                                                                                         2.55) and 2.28 (95% CI, 1.39–3.74), for "any" genital powder
         Never use                    217 (37.2)   351 (47.1)   1.00 (Referent)          use and "only" nongenital powder use, respectively (Table 3). A
         Ever use                    367 (62.8) 394 (52.9)      1.39 (1.10–1.76)         comparison of adjusted odds ratios between serous and non-
      Body powder use by location                                                        serous histologic subtypes and powder use, detected a differ-
         Never use                    217 (37.2)   351 (47.1)   1.00 (Referent)          ence in "only" nongenital powder use (P ¼ 0.008), but did not
         Only nongenital use           119 (20.4) 140 (18.8)    1.31 (0.95–1.79)
                                                                                         detect signiﬁcant differences in association for "any" genital
         Any genital use             248 (42.5) 254 (34.1)      1.44 (1.11–1.86)
         Interview date <2014         (n ¼ 351)     (n ¼ 571)
                                                                                         powder use (P ¼ 0.50).
            Never use                 147 (41.9) 286 (48.4)     1.00 (Referent)             The stratiﬁed results by menopausal status (Table 4) suggest
            Only nongenital use        76 (21.7)   104 (17.6)   1.40 (0.96–2.03)         differences in the association for exposure to "only" nongenital
            Any genital use           128 (36.5) 201 (34.0)     1.19 (0.87–1.63)         powder use among premenopausal where no association is
         Interview date >2014        (n ¼ 233)     (n ¼ 154)                             seen for "only" nongenital powder use, whereas the association
            Never use                  70 (30.0)     65 (42.2)  1.00 (Referent)
                                                                                         with the risk of EOC and "any" genital use is elevated. Among
            Only nongenital use        43 (18.4)     36 (23.3)  1.26 (0.69–2.32)
            Any genital use          120 (51.5)      53 (34.4)   2.91 (1.70–4.97)
                                                                                         postmenopausal women, we observed positive associations of
      Frequency of use                                                                   similar magnitude for both the association between EOC and
         Never use                    217 (37.3)   351 (47.2)   1.00 (Referent)          "only" nongenital powder use (OR ¼ 1.49; 95% CI, 1.04–2.15)
         Only nongenital use                                                             and "any" genital powder use (OR ¼ 1.41; CI, 1.03–1.92).
            Less than daily             61 (10.5)    82 (11.0)  1.15 (0.78–1.71)         However, tests of interaction indicate no evidence for interac-
            Daily                      58 (10.0)     58 (7.8)   1.53 (1.00–2.35)
                                                                                         tion by menopausal status for either route of exposure. Among
            Ptrend                                              0.09
         Any genital use
                                                                                         menopausal women, analyses stratiﬁed by HT use suggest a
            Less than daily            88 (15.1)    119 (16.0)  1.12 (0.80–1.58)         stronger association among users compared with nonusers of
            Daily                     158 (27.2)   134 (18.0)   1.71 (1.26–2.33)         HT for both routes of applications, although we detected a
            Ptrend                                             <0.01                     borderline, nonsigniﬁcant interaction for the associations with
      Duration of use                                                                    "any" genital body powder by HT use (P ¼ 0.06). The test for
         Never use                    217 (37.4)   351 (47.4)   1.00 (Referent)
                                                                                         interaction for nongenital body powder by HT use was not
         Only nongenital use
            <20 years                  59 (10.2)     68 (9.2)   1.37 (0.91–2.07)
                                                                                         signiﬁcant (P ¼ 0.76).
            >20 years                  60 (10.3)     70 (9.5)   1.28 (0.85–1.93)            To further consider the underlying mechanism for the rela-
            Ptrend                                              0.13                     tionship between use of body powder and the risk of EOC, we
         Any genital use                                                                 calculated the association between both "only" nongenital
            <20 years                 101 (17.4)    118 (15.9)  1.33 (0.95–1.86)         powder use and "any" genital powder use and having an upper
            >20 years                144 (24.8) 134 (18.1)      1.52 (1.11–2.07)
                                                                                         respiratory condition. Controlling for case–control status, age
            Ptrend                                              0.02
      Lifetime body powder applications
                                                                                         at diagnosis/interview, study site, education, smoking, and
         Never use                    217 (37.4)   351 (47.4)   1.00 (Referent)          BMI, we found ORs of 1.35 (95% CI, 0.89–2.05) and 1.45
         Only nongenital use                                                             (95% CI, 1.03–2.05) for "only" nongenital and "any" genital
            Below median (<3,600       60 (10.3)     72 (9.7)   1.35 (0.90–2.03)         powder use, respectively, in relation to a reported respiratory
         applications)                                                                   condition, respectively (data not shown). A nonsigniﬁcant, but
            Above median (>3,600       59 (10.2)     66 (8.9)   1.30 (0.86–1.97)
                                                                                         elevated OR of 1.26 (95% CI, 0.77–2.06) was observed with
         applications)
            Ptrend                                              0.14
                                                                                         occupational exposure to talc and respiratory conditions (data
         Any genital use                                                                 not shown).
            Below median (<3,600       92 (15.9)    119 (16.1)  1.16 (0.83–1.63)
         applications)
            Above median (>3,600      152 (26.2)   133 (17.9)   1.67 (1.23–2.26)         Table 3. Adjusted ORs for the associations between talc use and serous/
         applications)                                                                   nonserous EOC
            Ptrend                                             <0.01
      a
                                                                                                                         Cases          Controls
       Adjusted for age at diagnosis/interview, study site, education, tubal ligation,   Histologic subtypea             n (%)           n (%)            ORb (95% CI)
      parity, BMI, duration of OC use, ﬁrst-degree family history of breast or ovarian
                                                                                         Serous (n ¼ 392)
      cancer, and interview year.
                                                                                           Never use                  156 (39.8)        351 (47.1)       1.00 (Referent)
                                                                                           Only nongenital use         71 (18.1)        140 (18.8)        1.10 (0.76–1.58)
                                                                                           Any genital use            165 (42.1)        254 (34.1)        1.38 (1.03–1.85)
      of body powder at or above and below the median support a                          Nonserous (n ¼ 144)
      dose–response with "any" genital powder use (Ptrend < 0.01) but                      Never use                   44 (30.6)        351 (47.1)       1.00 (Referent)
      not for nongenital powder use (Ptrend ¼ 0.14).                                       Only nongenital use         42 (29.2)        140 (18.8)       2.28 (1.39–3.74)
        A report of any occupational talc exposure, for those com-                         Any genital use             58 (40.3)        254 (34.1)       1.63 (1.04–2.55)
                                                                                         a
      pleting the long baseline questionnaire, was found to be                            Test for interaction for association with powder use by serous and non-
      positively, but not statistically signiﬁcantly, associated with                    serous histologic subtype and route of body powder exposure was P ¼
                                                                                         0.008 for "only" nongenital powder use and P ¼ 0.50 for "any" genital
      EOC (OR ¼ 1.31; 95% CI, 0.88–1.93; data not shown). Table 3
                                                                                         powder use.
      shows an OR of 1.38 (95% CI, 1.03–1.85) for the association                        b
                                                                                           Adjusted for age at diagnosis/interview, study site, education, tubal ligation,
      in serous cases with "any" genital powder use. Among serous                        parity, BMI, duration of OC use, ﬁrst-degree family history of breast or ovarian
      cases, the OR for "only" nongenital powder use was lower in                        cancer, and interview year.




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                                                                                                    Body Powder Use and Ovarian Cancer in African Americans




   Table 4. Adjusted ORs for the association between EOC risk and body powder by menopausal status and HT use
                                                        Premenopause                                                               Postmenopause
                                    Cases (n ¼ 158)   Controls (n ¼ 221)                      Cases (n ¼ 423)                     Controls (n ¼ 522)
   Exposure                              n (%)               n (%)           ORa (95% CI)            n (%)                              n (%)               ORa (95% CI)
   Body powder useb
     Never use                      59 (37.3)         103 (46.6)            1.00 (Referent)    157 (37.1)                         247 (47.3)               1.00 (Referent)
     Only nongenital use            22 (13.9)          42 (19.0)           0.90 (0.44–1.84)     97 (22.9)                           98 (18.8)              1.49 (1.04–2.15)
     Any genital use                77 (48.7)          76 (48.7)            1.50 (0.87–2.57)  169 (40.0)                           177 (33.9)               1.41 (1.03–1.92)
   HT ever/never usec,d,e
     HT ever use
       Never use                                                                              34 (32.1)                            55 (48.7)               1.00 (Referent)
       Only nongenital use                                                                    23 (21.7)                            23 (20.4)               1.74 (0.77–3.92)
       Any genital use                                                                        49 (46.2)                            35 (31.0)               2.68 (1.33–5.40)
     HT never use
       Never use                                                                              122 (38.9)                           191 (46.9)              1.00 (Referent)
       Only nongenital use                                                                    73 (23.3)                             75 (18.4)               1.51 (0.99–2.29)
       Any genital use                                                                        119 (37.9)                           141 (34.6)              1.24 (0.87–1.79)
   a
     Adjusted for age at diagnosis/interview, study site, education, tubal ligation, parity, BMI, duration of OC use, ﬁrst-degree family history of breast or ovarian cancer,
   and interview year.
   b
     Test for interaction between menopausal status and route of body powder exposure was nonsigniﬁcant for only non-genital use (P ¼ 0.21) and any genital use
   (P ¼ 0.85) compared with never use.
   c
    Restricted to postmenopausal women.
   d
     Test for interaction between HT use and only nongenital use was nonsigniﬁcant (P ¼ 0.76).
   e
     Test for interaction between HT use and any genital use was nonsigniﬁcant (P ¼ 0.06).



   Discussion                                                                             icant increased risk for nonserous EOC. In fact, we found a
                                                                                          statistically signiﬁcant difference between associations by sub-
      In the largest EOC case–control study in AA women to date, we                       type for "only" nongenital use. Given the inconsistency with
   observed a positive association between regular use of powder                          previous published ﬁndings, it is also reasonable that under-
   and EOC regardless of the route of application. Users of genital                       reporting genital powder use, such as abdominal powder use
   powder were shown to have greater than a 40% increased risk of                         that reaches the genital area, may have led to a spurious result.
   EOC compared with an increased risk of more than 30% among                             Another possible explanation for our ﬁnding may be that there
   those who used only nongenital powder. The OR for the associ-                          is a higher inﬂammatory response in AAs compared with whites
   ation with genital powder use in the current study is consistent                       (23–25). Our results also suggest that the route of powder
   with the association reported in AA women by Wu and colleagues                         exposure may have different effects by histologic subtype. As
   (14). Of note, a high proportion of EOC cases (63%) and controls                       most high-grade serous EOC, but not nonserous subtypes, arise
   (53%) reported any use of body powder. A dose–response trend                           in the fallopian tubes (26), it is possible that direct exposure
   was evident for median years of use or greater as well as median                       through the genital tract speciﬁcally affects this disease subtype.
   number or greater of lifetime applications of "any" genital powder                     The association with any genital powder use and nonserous
   but not for use of "only" nongenital powder. Our results support                       cases may be due to the overlap between genital and nongenital
   that the association with "any" genital powder use is similar in                       powder use (83% of cases and 83% of controls). We were
   premenopausal and postmenopausal women, whereas there                                  unable to examine associations with "only" genital powder
   appears to be an association with use of "only" nongenital powder                      users due to sample size considerations. In contrast, nongenital
   use among postmenopausal but not premenopausal women.                                  powder use may be related to inhalation of the exposure
   Associations were found among nonserous EOC cases and among                            through the lungs. Several large pooled analyses have demon-
   postmenopausal users of HT exposed to either genital or non-                           strated risk factor associations with inﬂammatory-associated
   genital powder.                                                                        exposures, such as smoking (27), endometriosis (28), and
      Most previous case–control studies have not found an asso-                          obesity (29) with nonserous histologic subtypes of ovarian
   ciation between nongenital powder use and ovarian cancer,                              cancer but not high-grade serous EOC, providing a plausible
   including a large pooled analysis by Terry and colleagues who                          theoretical basis for differences we found in associations by
   reported an adjusted OR of 0.98 (95% CI, 0.89–1.07; refs. 6,                           histologic subtype.
   16). No prospective studies have evaluated nongenital powder                              Akin to talc powders, titanium dioxide (TiO2) is another
   use, nor has any study examined these associations by histo-                           inert particle that induces an inﬂammatory response upon
   logic subtype (17, 18). In the current study, the overall asso-                        inhalation and has been considered to be "possibly carcino-
   ciation with nongenital use and EOC was similar to that for                            genic to humans" by IARC (2). Experimental evidence of
   genital powder use though it did not reach statistical signiﬁ-                         enhanced inﬂammation due to exposure to inert environmen-
   cance possibly due to small numbers and random variation.                              tal particulates of TiO2 showed inhibition of phagocytic activity
   However, we also did not ﬁnd a dose–response relationship                              of alveolar macrophages in pregnancy, and was found to be
   with frequency, duration, or lifetime applications of "only"                           associated with increased asthma risk in the offspring of BALB/
   nongenital powder use. Furthermore, we did not detect a                                c mice exposed to TiO2. In this study, elevated estrogen levels
   signiﬁcant association with use of "only" nongenital powder                            during pregnancy were found to contribute to the resulting
   among serous cases, whereas the OR for the association with                            asthma risk (20). Our ﬁndings also support that enhanced
   use of "only" nongenital powder showed over a 2-fold signif-                           airway inﬂammation is due to exposure to inert particles.



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      Consistent with a recent study (15) where an association with           case–control study such as AACES, especially due to heightened
      powder use and asthma was reported, the relationship between            awareness of the exposure as a result of two recent class action
      body powder use and respiratory conditions likely reﬂects an            lawsuits (21). Because of such publicity, we adjusted for date of
      enhanced inﬂammatory response due to powder use, suggest-               interview in the analysis. However, there is still a possibility that
      ing a mechanism by which EOC risk is increased. Therefore,              recall bias may have caused some inﬂation of the ORs. Although
      lung inhalation of powder could be a biologically plausible             our ﬁndings suggest that the publicity of the class action lawsuits
      mechanism for the association between nongenital body pow-              may have resulted in increased reporting of body powder use, our
      der use and increased EOC risk, particularly in nonserous EOC           data do not support that recall bias alone before 2014 versus 2014
      cases.                                                                  or later would account for the associations with body powder use
         To further explore whether estrogen inﬂuences the inﬂam-             and EOC. It is possible that the lawsuits sharpened memories of
      matory response, we performed stratiﬁed analyses by meno-               body powder use and improved the accuracy of reported use for
      pausal status. We did not see a difference in the association with      both cases and controls interviewed in 2014 or later. As the
      premenopausal compared with postmenopausal use of "any"                 association with nongenital body powder use is not consistent
      genital powder use, which is not consistent with a recent report        with the published literature, the possibility of misclassiﬁcation of
      (15) where an association with premenopausal use but not                exposure, residual confounding, or a chance ﬁnding cannot be
      postmenopausal use was found. However, consistent with this             ruled out as an explanation for the associations with nongenital
      report, we found a stronger association between "any" genital           powder use.
      powder use and EOC among postmenopausal women who                          In summary, we found that the application of genital powder is
      reported HT use compared with nonusers. This ﬁnding is also             associated with serous and nonserous EOC in AA women, a novel
      consistent with experimental data showing that in the presence          observation in this population that is consistent with some large
      of estrogen and/or estrogen and progesterone, the ability of            studies in whites. Our data are consistent with the notion that
      macrophages to clear inert particulates is altered, enhancing the       localized chronic inﬂammation in the ovary caused by exposure
      inﬂammatory response leading to the development of asthma               to genital powder contributes to the development of EOC.
      in mouse offspring (20). It has also been proposed that chronic         Although associations with nongenital powder use and EOC have
      inﬂammation, resulting from exposure to body powder, wheth-             not been previously reported, we cannot rule out the possibility
      er through inhalation or through a transvaginal route, may              that this relationship may be speciﬁc to AA women. The high
      exert a suppressive effect on adaptive immunity, leading to             prevalence of exposure to both genital and nongenital body
      increased risk of EOC (30). These ﬁndings suggest that AA               powder among AA women compared with the mostly white
      women may be particularly susceptible to exposure to body               subjects (41%), as in the large pooled analysis (6), underscores
      powder due to having higher endogenous estrogen levels com-             the importance of the study's ﬁndings. The results of the current
      pared with white women (31, 32). Because of the limited                 study suggest that the use of body powder is an especially
      sample size, we were not able to evaluate associations with             important modiﬁable risk factor for EOC in AA women.
      the timing or duration of HT use or the concurrent effects of
      both HT and powder use. Tests for interaction of the associa-           Disclosure of Potential Conﬂicts of Interest
      tions in the stratiﬁed analyses by HT use were not signiﬁcant              No potential conﬂicts of interest were disclosed.
      and our ﬁndings should be considered exploratory.
         The results of the current study showed that genital powder use      Authors' Contributions
      was associated with ovarian cancer risk in AA women and are             Conception and design: J.M. Schildkraut, A.G. Schwartz, P. Terry, P.G. Moorman
      consistent with localized chronic inﬂammation in the ovary due          Development of methodology: J.M. Schildkraut, P. Terry, F. Camacho, F. Wang,
      to particulates that travel through a direct transvaginal route. The    P.G. Moorman
      dose–response observed for duration of genital powder use               Acquisition of data (provided animals, acquired and managed patients,
      provides further evidence for the relationship between genital          provided facilities, etc.): J.M. Schildkraut, A.J. Alberg, E.V. Bandera, J.S. Barn-
                                                                              holtz-Sloan, M.L. Bondy, M.L. Cote, E. Funkhouser, E.S. Peters, A.G. Schwartz,
      powder and overall EOC risk. Our data suggest that the increased
                                                                              P. Terry, S. Crankshaw, F. Camacho, P.G. Moorman
      risk due to use of genital powder applies to both serous and            Analysis and interpretation of data (e.g., statistical analysis, biostatistics,
      nonserous histologic subtypes of EOC. Use of "only" nongenital          computational analysis): J.M. Schildkraut, S.E. Abbott, M.L. Bondy,
      powder was not found to be associated with the serous subtype,          M.L. Cote, L.C. Peres, E.S. Peters, A.G. Schwartz, F. Camacho, F. Wang,
      but our data suggest a relationship with nonserous EOC. The             P.G. Moorman
      association with serous EOC is consistent with several previous         Writing, review, and/or revision of the manuscript: J.M. Schildkraut,
                                                                              S.E. Abbott, A.J. Alberg, E.V. Bandera, J.S. Barnholtz-Sloan, M.L. Bondy,
      studies (4, 6, 14–17). Only the pooled analysis found associations
                                                                              M.L. Cote, E. Funkhouser, L.C. Peres, A.G. Schwartz, P. Terry, F. Camacho,
      with the endometrioid and clear cell subtypes (6). The association      P.G. Moorman
      with any occupational talc exposure and EOC (OR ¼ 1.31; data            Administrative, technical, or material support (i.e., reporting or orga-
      not shown), though not statistically signiﬁcant, is also consistent     nizing data, constructing databases): P. Terry, S. Crankshaw, F. Camacho,
      with the results for "only" nongenital powder use and suggest           P.G. Moorman
      other routes of exposure, aside transvaginal, may effect EOC risk.      Study supervision: J.M. Schildkraut, S. Crankshaw, P.G. Moorman
         A recent publication of data from the WHI, which did not ﬁnd
      an association with genital talc use and ovarian cancer (18), was       Acknowledgments
      accompanied by an editorial that emphasized the challenges in              The authors thank the AACES interviewers, Christine Bard, LaTonda Briggs,
                                                                              Whitney Franz (North Carolina), and Robin Gold (Detroit). The authors also
      assessing the exposure to talc due to the reliance on self-report
                                                                              thank the individuals responsible for facilitating case ascertainment across the
      (33). This limitation in the measurement of the exposure variables      ten sites including: Jennifer Burczyk-Brown (Alabama); Rana Bayakly, Vicki
      in the current study needs to be considered when interpreting our       Bennett and Judy Andrews (Georgia); the Louisiana Tumor Registry; Lisa
      results. The possibility of differential misclassiﬁcation exists in a   Paddock, Natalia Herman, and Manisha Narang (New Jersey); Diana Slone,




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                                                                                                    Body Powder Use and Ovarian Cancer in African Americans




   Yingli Wolinsky, Steven Waggoner, Anne Heugel, Nancy Fusco, Kelly Ferguson,            E. Funkhouser, E.S. Peters, A.G. Schwartz, P. Terry, and P.G. Moorman).
   Peter Rose, Deb Strater, Taryn Ferber, Donna White, Lynn Borzi, Eric Jenison,          Additional support was provided by the Metropolitan Detroit Cancer Surveil-
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   (South Carolina); Martin Whiteside (Tennessee) and Georgina Armstrong and                 The costs of publication of this article were defrayed in part by the
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Association between Body Powder Use and Ovarian Cancer: The
African American Cancer Epidemiology Study (AACES)
Joellen M. Schildkraut, Sarah E. Abbott, Anthony J. Alberg, et al.

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                     Patricia G. Moorman, M.S.P.H., Ph.D.

                                                                         Page 1
                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

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               IN RE:    JOHNSON & JOHNSON

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               AND PRODUCTS LIABILITY                  16-2738 (FLW)(LHG)
               LITIGATION


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               ALL CASES
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               ______________________________________________________
                                 FRIDAY, JANUARY 25, 2019
                                     9:04 A.M.
               ______________________________________________________

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                  Morristown, New Jersey 07962                            Exhibit 14 IARC Monographs Document titled . . . .91
         9        Telephone: (973) 267-0058                           9           "Arsenic, Metals, Fibres, and
                  By: JONATHAN F. DONATH, ESQ.                                    Dusts, Volume 100 C, A Review of
        10           jdonath@coughlinduffy.com                       10           Human Carcinogens"
        11                                                           11   Exhibit 15 AACR Journal Article titled "Does . . 107
             ON BEHALF OF THE DEFENDANT PERSONAL CARE PRODUCTS                    Exposure to Asbestos Cause Ovarian
        12   COUNCIL:                                                12           Cancer? A Systematic Literature
        13       SEYFARTH SHAW LLP                                                Review and Meta-analysis," by
                 975 F Street, N.W.                                  13           Alison Reid, et al.
        14       Washington, DC 20004-1454                           14   Exhibit 16 American Journal of Epidemiology . . 136
                 Telephone: (202) 463-2400                                        Article titled "Ovarian Cancer Risk
        15       By: RENÉE B. APPEL, ESQ.                            15           Factors in African-American and
                    rappel@seyfarth.com                                           White Women," by Patricia G.
        16                                                           16           Moorman, et al.
        17   ON BEHALF OF THE DEFENDANT PTI:                         17   Exhibit 17 Cancer Causes Control Article . . . . 139
        18       TUCKER ELLIS LLP                                                 titled "Primary peritoneal and
                 233 South Wacker Drive                              18           ovarian cancers: an epidemiological
        19       Chicago, Illinois 60606                                          comparative analysis," by Delores
                 Telephone: (312) 624-6300                           19           J. Grant, et al.
        20       By: JAMES W. MIZGALA, ESQ.                          20   Exhibit 18 Printout from ACOG's Website: . . . . 149
                    james.mizgala@tuckerellis.com                                 "Talc Use and Ovarian Cancer"
        21                                                           21
        22   VIDEOGRAPHER:                                           22
        23       Brad Smith                                          23
        24                                                           24
        25                                                           25

                                                                                                        2 (Pages 2 to 5)
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                                                                       Page 6                                                    Page 8
         1          INDEX OF EXHIBITS (Continued)                                1               PROCEEDINGS
         2   NUMBER              DESCRIPTION                  MARKED
         3   Exhibit 19 National Cancer Institute PDQ . . . . 151                2              THE VIDEOGRAPHER: We are now on
                     titled "Ovarian, Fallopian Tube,
         4           and Primary Peritoneal Cancer                               3   record. Today's date is January 25th, 2019, and the
                     Prevention (PDQ®) - Health                                  4   time is approximately 9:04 a.m. This is the
         5           Professional Version
         6   Exhibit 20 Epidemiology Article titled . . . . . 165                5   videotaped deposition of Dr. Patricia Moorman.
                     "Perineal Talc Use and Ovarian
         7           Cancer, A Systematic Review and                             6          Could counsel please now introduce
                     Meta-Analysis," by                                          7   themselves for the record, and then our court reporter
         8           Ross Penninkilampi, et al.
         9   Exhibit 21 Review Article titled "Genital . . . 169                 8   will swear in the witness.
                     use of talc and risk of ovarian
        10           cancer: a meta-analysis," by                                9              MR. JAMES: Scott James for the Johnson
                     Wera Berge, et al.
        11
                                                                                10   & Johnson Defendants.
             Exhibit 22 Research Report titled "Perineal . . 173                11              MS. BRENNAN: Jessica Brennan for the
        12           use of talc and risk of ovarian
                     cancer," by H. Langseth, et al.                            12   Johnson & Johnson Defendants.
        13
             Exhibit 23 Anticancer Research Article . . . . . 175
                                                                                13              MS. FOSTER: Jennifer Foster for Imerys
        14           titled "Perineal Application of                            14   Talc America, Inc.
                     Cosmetic Talc and Risk of Invasive
        15           Epithelial Ovarian Cancer: A                               15              MR. DONATH: Jonathan Donath for Imerys
                     Meta-analysis of 11,933 Subjects
        16           from Sixteen Observational
                                                                                16   Talc, Inc.
                     Studies," by Michael Huncharek,                            17              MS. APPEL: Renée Appel, here for
        17           et al.
        18   Exhibit 24 AACR Journal Research Article . . . . 180               18   Personal Care Products Council.
                     titled "Genital Powder Use and Risk
        19           of Ovarian Cancer: A Pooled
                                                                                19              MR. MIZGALA: James Mizgala for PTI.
                     Analysis of 8,525 Cases and 9,859                          20              MR. FINDEIS: Alastair Findeis,
        20           Controls," by Kathryn L. Terry,
                     et al.                                                     21   Plaintiffs' Steering Committee.
        21
             Exhibit 25 JNCI Article titled "Perineal . . . . 202
                                                                                22              MR. FARIES: Steve Faries for the
        22           Powder Use and Risk of Ovarian                             23   Plaintiffs.
                     Cancer," by Serena C. Houghton,
        23           et al.                                                     24              MS. PARFITT: Michelle Parfitt for the
        24
        25                                                                      25   Plaintiffs.
                                                                       Page 7                                                    Page 9
         1          INDEX OF EXHIBITS (Continued)                                1   Whereupon,
         2   NUMBER              DESCRIPTION               MARKED
         3   Exhibit 26 Journal of the National Cancer . . . 205                 2        PATRICIA G. MOORMAN, M.S.P.H., PH.D.
                     Institute Article, titled
         4           "Prospective Study of Talc Use and                          3       having first been duly sworn/affirmed,
                     Ovarian Cancer," by Dorota M.                               4        was examined and testified as follows:
         5           Gertig, et al.
         6   Exhibit 27 PLOS ONE Research Article titled . . 227                 5          EXAMINATION BY COUNSEL FOR THE
                     "Comparison of Estimates between
         7           Cohort and Case-Control Studies in                          6            JOHNSON & JOHNSON DEFENDANTS
                     Meta-Analyses of Therapeutic                                7   BY MR. JAMES:
         8           Interventions: A
                     Meta-Epidemiological Study," by Amy                         8      Q. Good morning, Dr. Moorman.
         9           Lanza, et al.
        10   Exhibit 28 AACR Journal Research Article . . . . 234
                                                                                 9      A. Good morning.
                     titled "Association between Body                           10      Q. My name is Scott James. We've had the
        11           Powder Use and Ovarian Cancer: The
                     African American Cancer                                    11   pleasure of meeting before the deposition. I'm
        12           Epidemiology Study (AACES)," by
                     Joellen M. Schildkraut, et al.
                                                                                12   counsel for the J&J Defendants in this matter.
        13                                                                      13          Do you understand that?
             Exhibit 29 AACR Journal Article titled "Body . . 237
        14           Powder and Ovarian Cancer Risk -                           14      A. I do.
                     What is the Role of Recall Bias?"
        15           by Britton Trabert
                                                                                15      Q. Super. Could you state your name for the
        16   Exhibit 30 International Journal of Cancer . . . 273               16   record, please.
                     Article titled "Perineal Talc
        17           Exposure and Epithelial Ovarian                            17      A. My name is Patricia Moorman.
                     Cancer Risk in the Central Valley                          18      Q. And you have been deposed before in a talc
        18           of California," by Paul K. Mills,
                     et al.                                                     19   ovarian cancer case; correct?
        19
             Exhibit 31 Paper titled "Systematic Review . . . 307               20      A. Yes, I have.
        20           and Meta-Analysis of the                                   21      Q. And you've testified on behalf of the
                     Association between Perineal Use of
        21           Talc and Risk of Ovarian Cancer,"                          22   Plaintiffs in that case; correct?
                     by Mohamed Kadry Taher, et al.
        22                                                                      23      A. Yes, I did.
        23                                                                      24      Q. And the allegations in that case were that
        24
        25                                                                      25   cosmetic talc powders cause ovarian cancer; correct?
                                                                                                         3 (Pages 6 to 9)
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                                                       Page 10                                                       Page 12
        1       A. That's correct.                                     1       A. I'm afraid I'm a little bit unclear about the
        2       Q. You were deposed in the Ingham case.                2   particular cases. I understand that this is an MDL
        3           Do you recall the name of the case?                3   case. I have been in touch with attorneys about
        4       A. Yes, I do.                                          4   various cases since, you know, 2016, but I'm a little
        5       Q. And you were last deposed in that case in           5   bit unclear about the distinctions.
        6    March of 2018. Do you recall that?                        6       Q. In preparing for today's deposition for the
        7       A. Yes, I do.                                          7   talc MDL, did you meet with counsel?
        8       Q. Has there been any change in your employment        8       A. Yes.
        9    status since your March 2018 deposition?                  9       Q. Okay. And who did you meet with?
       10       A. I am still a professor at Duke University,         10       A. I have met with the individuals here,
       11    yes.                                                     11   Michelle Parfitt, Steve Faries, Alastair, and -- I'm
       12       Q. Has there been any change in your work or          12   blanking on his last name all of a sudden -- and Jeff
       13    teaching activities since your deposition?               13   Gibson.
       14       A. Yes.                                               14       Q. Are those the only attorneys that you've met
       15       Q. What are those changes?                            15   with regard to your deposition today?
       16       A. I am in a preretirement transition, and so         16       A. Yes.
       17    I have been reducing my effort. And so I do not --       17       Q. In preparing your MDL talc report, are there
       18    I'm not doing as much teaching as I was a year ago.      18   any other attorneys that you worked with other than
       19       Q. Other than that fairly significant change,         19   the ones that you just mentioned with regard to the
       20    are there any other changes in your teaching or work     20   MDL?
       21    activities since the deposition?                         21              MS. PARFITT: Objection. Form.
       22       A. No.                                                22          You may answer.
       23       Q. Have you done any new expert witness work          23          I just wanted to make sure that -- I believe
       24    since the last deposition other than the talc MDL that   24   he's asking the names of people, not the
       25    we're here about today?                                  25   communications.
                                                       Page 11                                                       Page 13
         1       A. No, I have not.                                    1              MR. JAMES: Yes.
         2       Q. And you understand that we are taking your         2              THE WITNESS: Okay. I believe that on
         3   deposition today in the talc MDL; correct?                3   teleconferences, Chris Tisi was also on one of the --
         4       A. Yes.                                               4   at least one of the teleconferences, probably more
         5       Q. Who first contacted you about serving as an        5   than one.
         6   expert in the talc MDL?                                   6   BY MR. JAMES:
         7       A. It was -- let's see -- Jeff Gibson was the         7       Q. Was Mr. Tisi involved in teleconferences
         8   first person who contacted me about talc litigation.      8   pertaining to the report that you authored?
         9       Q. When you say "talc litigation," are you            9       A. Yes.
        10   referring to the Ingham case?                            10       Q. And, again, I'm not asking you about the
        11       A. I'm afraid that I'm a little unclear on --        11   substance of the communications, just the
        12   you know, there are multiple attorneys, multiple         12   identification of the attorneys that you've worked
        13   cases, and I don't know who was the Defendant and when   13   with. Okay?
        14   he first approached me.                                  14       A. Okay.
        15       Q. Understood.                                       15       Q. Are there any other attorneys that you've
        16       A. Or the Plaintiff, rather. I'm sorry.              16   worked with on the MDL report?
        17       Q. Do you recall the time frame that Mr. Gibson      17       A. None that I recall.
        18   contacted you?                                           18       Q. Are you working with any of the counsel that
        19       A. It was in summer of 2016.                         19   you just identified on any other litigation or
        20       Q. Are you retained in any talc cases other than     20   matters?
        21   the talc MDL and the Ingham case?                        21       A. No, I am not.
        22       A. Not to my knowledge, no.                          22       Q. Okay. Today at the deposition, we'll follow
        23       Q. Sitting here today, do you have the ability       23   the same ground rules as the Ingham deposition. So
        24   to distinguish as to whether any attorney contacted      24   I know that you're familiar with them, but as a
        25   you specifically about the talc MDL?                     25   reminder, my questions will be verbal and I ask that
                                                                                           4 (Pages 10 to 13)
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                                                       Page 14                                                       Page 16
        1    your answers be verbal as well. Okay?                     1              MS. PARFITT: And I've just got to add
        2        A. Okay.                                              2   some clarity to that.
        3        Q. And that's so the court reporter can take          3              MR. JAMES: Sure.
        4    down what you're saying and can take down what I'm        4              MS. PARFITT: There might be some
        5    saying as well.                                           5   overlap. I think that's the problem. There might
        6           Also, Michelle has told you this, but              6   just be some overlap.
        7    anytime you need a break, just let us know and we'll      7   BY MR. JAMES:
        8    be happy to accommodate you. Okay?                        8       Q. Are there any invoices that you have prepared
        9        A. Okay.                                              9   for your work in the talc litigation that you have not
       10        Q. And if you have any -- if you have any -- let     10   produced to us today in the MDL, be it Exhibit 1 or in
       11    me rephrase that.                                        11   your work in Ingham?
       12           If you don't understand any questions that        12       A. These are the only invoices related to the
       13    I ask you, please ask me to rephrase. Okay?              13   talc litigation, period.
       14        A. Okay.                                             14       Q. And do you have an estimate of -- when you
       15        Q. Great.                                            15   say that these are the only invoices for the talc
       16           What are you charging Plaintiffs' counsels        16   litigation -- and if these questions continue to be
       17    in the MDL?                                              17   confusing, let me know -- but are there other invoices
       18        A. My rate is $400 per hour.                         18   that you submitted in the Ingham case that are not
       19        Q. How much have you invoiced in the MDL to          19   part of Exhibit 1?
       20    date?                                                    20       A. No. These are all the invoices submitted.
       21        A. For the MDL, I believe it is 21,000.              21       Q. We got there finally. Sorry about that.
       22        Q. Okay. And prior -- sorry. Did I cut you           22       A. Okay.
       23    off?                                                     23       Q. Have you discussed your work in this
       24        A. No, you did not.                                  24   litigation with any other experts who are working on
       25        Q. This morning, your counsel handed me a copy       25   behalf of the Plaintiffs?
                                                       Page 15                                                       Page 17
         1   of the invoices that you furnished in the MDL, and I'm    1        A. No. To my knowledge, I have not.
         2   going to mark this as Exhibit No. 1.                      2        Q. Have you had any emails or other
         3      (Exhibit No. 1 was marked for identification.)         3   communications with Plaintiffs' experts in the talc
         4   BY MR. JAMES:                                             4   litigation?
         5       Q. Exhibit No. 1 is containing four invoices.         5        A. No, I have not.
         6   I'm going to hand those to you and ask you to confirm     6        Q. And you recall giving your testimony in the
         7   that those are the invoices that you have prepared for    7   Ingham case in March 2018; correct?
         8   your work in the MDL.                                     8        A. Yes, I do.
         9       A. There are some for -- that work that was done      9        Q. After that testimony that you provided, you
        10   with the Ingham case, and my understanding, that's not   10   also had an opportunity to review that testimony;
        11   part of the MDL.                                         11   correct?
        12       Q. That's fair. Yes.                                 12        A. I did.
        13       A. Okay.                                             13        Q. And do you recall preparing a single
        14       Q. So are the invoices that I've handed you as       14   correction to the Ingham transcript?
        15   part of Exhibit 1, are those the invoices related to     15        A. Yes.
        16   the work that you've done on the MDL?                    16        Q. And so I have with me a copy of what we refer
        17       A. I -- I'm sorry. I'm -- I'm trying to answer       17   to as an errata sheet, which is the correction sheet
        18   your question, but the ones for prior -- other than      18   that you signed in Ingham. I'm going to mark that as
        19   the Ashcraft & Gerel, my understanding was that these    19   Exhibit No. 2. Okay?
        20   were for, like, the Ingham case and the state cases,     20       (Exhibit No. 2 was marked for identification.)
        21   not the MDL.                                             21   BY MR. JAMES:
        22       Q. Okay. Let me ask it this way: Are these the       22        Q. And the way that we're configured, there's
        23   invoices that you've submitted to Michelle Parfitt?      23   some space between me and your counsel. So when
        24       A. They've been submitted to the people noted on     24   I have exhibits, as I will throughout the day --
        25   there. So --                                             25   we may have to figure out how to approach this, but I
                                                                                           5 (Pages 14 to 17)
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                                                        Page 18                                                       Page 20
         1   may hand them to you and ask that you hand them over      1       A. I am.
         2   since we're all miked up.                                 2       Q. Okay. So for purposes of the record, this
         3          Okay. And do you recognize your handwriting        3   morning, before the deposition, your counsel handed me
         4   on that Exhibit?                                          4   a copy of your updated CV.
         5       A. I do.                                              5          Is that what you're looking at right now?
         6       Q. Does that reflect the correction that you          6       A. Yes, it is.
         7   made to your testimony?                                   7       Q. Okay. I'm going to mark a copy of that as
         8       A. Yes, it does.                                      8   Exhibit No. 3.
         9       Q. And if you flip over to the other side of          9      (Exhibit No. 3 was marked for identification.)
        10   Exhibit 2, does that contain your signature?             10              MR. JAMES: Michelle, you have a copy,
        11       A. Yes, it does.                                     11   I presume?
        12       Q. By signing that errata sheet, you confirmed       12              MS. PARFITT: Actually, I think I gave
        13   that the testimony that you gave in Ingham was true      13   them all to you. Sorry.
        14   and correct; correct?                                    14              MR. JAMES: Again, apologies for having
        15       A. Yes.                                              15   to handle it that way.
        16       Q. Do you still stand behind the testimony that      16              THE WITNESS: Oh, I'm sorry.
        17   you provided in Ingham today?                            17              MS. PARFITT: Thank you.
        18       A. Yes, I do.                                        18              THE WITNESS: Okay. The article that
        19       Q. Subject to the one correction that you made;      19   I was referring to is -- the first author is Park.
        20   correct?                                                 20   The title of the article is "Benign gynecologic
        21       A. Yes, I do.                                        21   conditions are associated with ovarian cancer risk in
        22       Q. Sitting here today, do you believe there are      22   African-American women: A case-control study."
        23   any other changes or corrections that you need to make   23          And I was a coauthor on that paper, and talc
        24   to your testimony in Ingham?                             24   was included as a potential confounder.
        25       A. I can't think of any, no.                         25

                                                        Page 19                                                       Page 21
        1        Q. Did you review your Ingham deposition in           1   BY MR. JAMES:
        2    preparation for today's deposition?                       2       Q. And, for the record, can you tell us the
        3        A. I did within the last few weeks, yes.              3   number of the item you're looking at on your CV?
        4        Q. And so when you've reread the transcript in        4       A. Okay. On page 14, it is Article No. 120.
        5    the last few weeks, did you see anything in that          5       Q. And in that paper, Dr. Moorman, did you say
        6    transcript that you wanted to correct?                    6   that you described talc as a potential confounder?
        7        A. No.                                                7       A. Yes.
        8        Q. Since your Ingham deposition in March of           8       Q. In that paper, did you include a disclosure
        9    2018, have you authored any publications or articles      9   of your involvement in this talc litigation as an
       10    pertaining to talc, asbestos, or ovarian cancer risk     10   expert for the Plaintiffs?
       11    factors?                                                 11       A. I disclosed it -- actually, I had a
       12        A. Yes, I have.                                      12   discussion with the senior author on this paper, who's
       13        Q. Okay. And let's break up that, then.              13   Michele Cote, and disclosed what I was doing. And she
       14           Have you authored any articles pertaining to      14   was -- she actually said she had also done some work
       15    talc?                                                    15   related to talc and ovarian cancer and she was going
       16        A. I have not authored any articles that             16   to check with the editor and see if it required a
       17    directly address talc as the main focus of the paper.    17   disclosure. And so there was no disclosure. So
       18    Talc has been mentioned in at least one paper as a       18   apparently the editor did not feel it was warranted.
       19    potential confounder.                                    19       Q. So the article, as published, does not
       20        Q. And what was the name of that article,            20   contain a disclosure of your involvement in the
       21    please.                                                  21   litigation; correct?
       22        A. If you'll give me just a moment, let me           22       A. That is correct.
       23    look --                                                  23       Q. Did you review the disclosure requirements of
       24        Q. Dr. Moorman, are you looking at a copy of         24   the journal in which the article was published?
       25    your CV?                                                 25       A. I can't remember if I specifically looked at

                                                                                            6 (Pages 18 to 21)
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        1   that journal's requirements. I don't recall if I did      1      Q. Did they communicate with you about the
        2   or not.                                                   2   disclosure in a written format?
        3       Q. Do you believe that it is important -- for an      3      A. It was an email communication.
        4   author who's working on an article for a publication      4      Q. Was it a single email, or was it multiple
        5   pertaining to an issue that she's testifying about in     5   emails?
        6   litigation, do you believe it's important to disclose     6      A. As I recall, I sent an email to the editor
        7   that to the reader of the article?                        7   disclosing the situation, and he -- I think he
        8       A. I think that it is important to disclose it        8   responded that, yes, it should be disclosed. And then
        9   in conjunction with the journal's policies, as I          9   I believe there was another email from -- I don't
       10   described. I did disclose it to the corresponding        10   know -- an editorial assistant or someone asking
       11   author, who said she was going to discuss it with the    11   specifically what was the -- what was the wording of
       12   editor. So I think that I did what was appropriate.      12   the disclosure that I wanted to make, and I gave them
       13       Q. Did you communicate your involvement in the       13   that.
       14   litigation to anyone with the journal?                   14          So it was, you know, two or three emails,
       15       A. I did not. It is typical that the                 15   but...
       16   communication with the journal is through the            16      Q. Do you still have that email traffic in your
       17   corresponding author.                                    17   possession?
       18       Q. Have you attempted to amend any disclosures       18      A. Probably.
       19   in your prior papers since the last deposition?          19      Q. It's on your computer?
       20             MS. PARFITT: Objection. Form.                  20      A. I would think so.
       21             THE WITNESS: I do --                           21      Q. Okay. Could you ensure that you preserve
       22             MR. JAMES: You're looking at your              22   that email traffic for us, please.
       23   counsel. Michelle can correct me if I'm wrong. She's     23      A. Yes.
       24   allowed to make the objections. And once she does,       24             MR. JAMES: And then, Michelle, we will
       25   unless she tells you not to answer, you may answer.      25   request a copy of the email traffic.
                                                      Page 23                                                        Page 25
        1             MS. PARFITT: That's fine.                       1             MS. PARFITT: We'll certainly take it
        2             THE WITNESS: Okay. Yes. In my last              2   under advisement, sure.
        3   deposition, there was an article that I was one of 40     3   BY MR. JAMES:
        4   authors that looked at about 20 different risk factors    4      Q. Do you have any similar written
        5   for ovarian cancer. I acknowledged in my deposition       5   communications about the disclosure with the paper
        6   that it was an oversight. In my career, you know,         6   that we just discussed, the Park paper?
        7   spanning 25 years, I've never had to make disclosures     7      A. No, I do not. That was a telephone
        8   about potential conflicts of interest. I acknowledged     8   conference.
        9   that it was an oversight on my part. When it was          9      Q. Other than the Park article that you just
       10   brought to my attention, I contacted the journal, and    10   identified, have you authored any other articles since
       11   they said, "Okay. What's your disclosure?" And           11   your last deposition concerning talc, asbestos, or
       12   I disclosed it.                                          12   risk factors for ovarian cancer?
       13   BY MR. JAMES:                                            13      A. As you can see on my CV, since the last
       14       Q. So just to be clear, this was after the           14   deposition, Article No. 121 is a paper on effect of
       15   deposition; correct?                                     15   cultural, folk, and religious beliefs on delays in
       16       A. It was.                                           16   diagnosis of ovarian cancer. I was first author on
       17       Q. Is this the Peres paper?                          17   that paper.
       18       A. Yes.                                              18          Article 119, first author Anderson, was
       19       Q. Did they respond to you in any way about the      19   looking at individual, social, and societal correlates
       20   reported conflict?                                       20   of health-related quality of life among
       21       A. The editor just said, "Okay. What is your         21   African-American survivors of ovarian cancer.
       22   disclosure?"                                             22          And I was a coauthor on a paper by Mills
       23           And I gave it to him. And I believe that         23   that was looking at immune regulatory molecular
       24   they subsequently published a correction to the          24   expression.
       25   article.                                                 25      Q. Since your Ingham deposition, have you
                                                                                          7 (Pages 22 to 25)
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         1   authored any articles that pertain to talc or asbestos    1   communications or written paperwork about your
         2   other than the Park article?                              2   conflict for that paper? Your litigation disclosure
         3       A. No.                                                3   for that paper? Is there anything in writing about
         4       Q. Are you currently working on any articles or       4   that to anyone or the journal itself, or a journal?
         5   publications that pertain to the issues addressed in      5       A. At this point, no, because it is still in
         6   your expert report?                                       6   draft form. It's not ready to be submitted.
         7       A. I am a coauthor on a paper that is in              7       Q. Okay. Other than the papers we have
         8   preparation that is describing the OCWAA Consortium,      8   discussed this morning, are there any other papers
         9   which stands for Ovarian Cancer in Women of African       9   that you -- that are works in progress that discuss
        10   Ancestry. And this is a relatively newly formed          10   talc or asbestos that you're working on?
        11   consortium, and it's describing the overall structure    11       A. Another paper that is in progress is looking
        12   of the consortium and some of the factors that we        12   at infertility as a risk factor for ovarian cancer.
        13   intend to consider. And in the draft of the paper,       13   And talc is, again, considered as a potential
        14   talc is included along with a long list of other risk    14   confounder of that association.
        15   factors that we will be considering.                     15           So, again, draft form. It hasn't been
        16       Q. Is that paper in draft form?                      16   disclosed yet because it's not at the point where one
        17       A. It is in draft form. It's being -- yeah, it       17   would disclose that.
        18   has not been submitted yet.                              18       Q. Okay. And you answered my next question, and
        19       Q. So it has not been submitted for peer review?     19   that's fine. So thank you.
        20       A. No, it has not.                                   20           Can you identify the coauthors on the paper
        21       Q. Is talc mentioned in the context of a             21   that you've just -- that you just mentioned, the
        22   potential confounder, like the Park paper?               22   infertility paper?
        23              MS. PARFITT: Object to form.                  23       A. The infertility paper? Okay. This was work
        24              THE WITNESS: Talc is mentioned in that        24   that was done with a medical student, Tolu Teniola is
        25   paper as one of many ovarian cancer risk factors that    25   the medical student that I was working with. And then
                                                       Page 27                                                       Page 29
         1   we hope to examine in this -- within this consortium.     1   all of the AACES -- this is, again, African American
         2   BY MR. JAMES:                                             2   Cancer Epidemiology Study, which is an ovarian cancer
         3       Q. So one of the purposes of that paper, as           3   study that I've worked on for about the last nine or
         4   you've described, is that you will be looking at the      4   ten years, and so all of the collaborators on that
         5   association between talc and ovarian cancer; is that      5   study.
         6   correct?                                                  6           And when you look at the CV, the papers that
         7              MS. PARFITT: Objection. Form.                  7   come from AACES, it's Dr. Schildkraut, Dr. Bondy,
         8              THE WITNESS: It is -- the purpose of           8   Dr. Cote. It's a large multicenter study; there are
         9   the paper is to describe the consortium. So there is      9   many coauthors, and so they would all be included.
        10   relatively little data about risk factors for ovarian    10       Q. And with respect to the other
        11   cancer among African -- African-American women, or       11   work-in-progress paper that you have identified, can
        12   women of African ancestry. And so the purpose of the     12   you identify the coauthors on that paper.
        13   paper is not focused just on talc, but it is             13              MS. PARFITT: Are you speaking of the
        14   describing how the consortium hopes to compare risk      14   infertility paper?
        15   factors for ovarian cancer between African-American      15              MR. JAMES: The first question was
        16   and white women. So talc is among a long list of risk    16   about the infertility. So now we're back to the first
        17   factors that will be considered as we progress with      17   work-in-progress paper that you identified.
        18   this consortium.                                         18              THE WITNESS: Okay. So the study
        19   BY MR. JAMES:                                            19   describing the OCWAA Consortium, is that what you're
        20       Q. Have you yet disclosed your involvement in        20   asking me about?
        21   the litigation with respect to that paper?               21   BY MR. JAMES:
        22       A. The -- I will disclose it when the paper will     22       Q. Yes, Doctor. Thank you for clearing that up.
        23   be submitted, which is the typical time when such a      23       A. Okay. So it includes -- again, this is a
        24   disclosure would be made.                                24   multicenter study -- quite a few coauthors. They
        25       Q. Have you engaged in any written                   25   would include Dr. Schildkraut, Lynn Rosenberg, Traci

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         1   Bethea, Wendy Setiawan.                                   1   communications with your professional colleagues about
         2           Again, it's a large consortium with a lot of      2   your opinions?
         3   coauthors. There would be probably at least a dozen,      3        A. No, I have not.
         4   probably more.                                            4        Q. And when I say "about your opinions," I mean
         5       Q. For both work-in-progress papers, are you          5   about your opinions in this litigation.
         6   aware of whether any of those coauthors are experts       6           Is there any written communications, emails,
         7   for the Plaintiffs in the talc litigation?                7   or other writings expressing your opinions in this
         8       A. I am not aware of -- if any of them are.           8   litigation to your professional colleagues?
         9       Q. Have you -- are there any other works in           9        A. No, I do not believe so.
        10   progress that pertain to talc or asbestos that you're    10        Q. Have you had any discussions, since your
        11   working on?                                              11   Ingham deposition, with any healthcare professionals
        12       A. No, I do not believe so.                          12   who treat ovarian cancer patients about your
        13       Q. Have you submitted the substance of your          13   litigation opinions?
        14   opinions in the MDL report to anyone for peer review?    14        A. No, I have not.
        15       A. No, I have not.                                   15        Q. Have you prepared any letters to the editor
        16       Q. Have you engaged in any internet postings,        16   about any of the publications that you cite in your
        17   blogs, chatroom postings concerning your opinions in     17   MDL report?
        18   this litigation?                                         18        A. No, I have not.
        19       A. No, I have not.                                   19        Q. Okay. I am going to hand you a copy of the
        20       Q. Have you given any presentations, speeches,       20   deposition notice for this case. I'm going to mark
        21   or lectures concerning talc or asbestos or ovarian       21   that as Exhibit No. 4.
        22   cancer risk factors since your March 2018 deposition?    22       (Exhibit No. 4 was marked for identification.)
        23       A. No, I have not.                                   23               MR. JAMES: Michelle, do you need a
        24       Q. Have you given any interviews, public             24   copy?
        25   statements, or other public speaking engagements         25               MS. PARFITT: I believe I might have

                                                       Page 31                                                       Page 33
         1   concerning talc, asbestos, or ovarian cancer risk         1   given you mine. If you would be so kind, I appreciate
         2   factors since your Ingham deposition?                     2   that.
         3       A. No, I have not.                                    3              MR. JAMES: Dr. Moorman.
         4       Q. Since your Ingham deposition -- and I'm            4              THE WITNESS: Thank you.
         5   structuring my questions sometimes this way in hopes      5   BY MR. JAMES:
         6   of expediting. Okay?                                      6       Q. Okay. Dr. Moorman, have you seen the
         7           So since your Ingham deposition, have you         7   deposition notice that I just handed you before?
         8   discussed your opinions in this litigation with any of    8       A. Yes, I have.
         9   your professional colleagues?                             9       Q. Okay. And you understand from your prior
        10       A. To some extent, yes.                              10   deposition, that this is a document that formally
        11       Q. Okay. And can you tell me who that is?            11   notices the time and place and why we're here; right?
        12       A. I already mentioned Dr. Cote, Michele Cote,       12       A. Yes.
        13   described the work that I was doing.                     13       Q. And if you turn to page 3 of the notice, you
        14           I have mentioned some of the work that I'm       14   see that there is a section for definitions, and then
        15   doing to some of my colleagues within my department,     15   it follows with a list of document requests; correct?
        16   Dr. Truls Ostbye for one, Dr. Kat Pollak for another.    16       A. Yes.
        17       Q. And when you say that you've mentioned your       17       Q. Okay. And your counsel this morning has
        18   litigation work with your department colleagues, what    18   produced to me a copy of your invoices, a copy of your
        19   have you told them?                                      19   updated CV, an additional-materials-considered list,
        20       A. I have basically described that I have been       20   and has also indicated that the references to your MDL
        21   working as an expert witness in this -- in this case,    21   report are going to be available to us on a thumb
        22   and expressing my opinion, you know, that -- working     22   drive.
        23   for the Plaintiffs and my opinion that talc is a cause   23           Other than those materials that I just
        24   of ovarian cancer.                                       24   described, are there any other materials that you've
        25       Q. And have you engaged in any written               25   brought with you today that respond to this deposition

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        1    notice?                                                   1   in your possession that are not contained in this
        2        A. No, there are no other documents.                  2   binder?
        3              MR. JAMES: Michelle, is there anything          3       A. No. It's there and the report. That's it.
        4    else that you brought with you that is responsive to      4             MS. PARFITT: Mr. James, if we could,
        5    the deposition notice?                                    5   do you mind, could she have that back? In the event
        6              MS. PARFITT: You know, the only thing           6   you start to ask her questions about it, she may want
        7    that might -- I believe you asked this, Mr. James --      7   hers instead, and then we'll make sure you get it.
        8    any notes that she might have taken.                      8          Thank you.
        9              MR. JAMES: Yes, I was going to ask              9   BY MR. JAMES:
       10    that.                                                    10       Q. And before we commenced this morning, your
       11              MS. PARFITT: So why don't we just wait         11   counsel, Ms. Parfitt, handed me a copy of the
       12    for that. I do have something for that.                  12   objections that they have lodged -- that the
       13              MR. JAMES: Okay. Fair enough.                  13   Plaintiffs have lodged to the deposition.
       14    BY MR. JAMES:                                            14             MR. JAMES: Ms. Parfitt, do you want to
       15        Q. Dr. Moorman, did you provide to your counsel      15   mention that on the record?
       16    any working copies of materials that you've reviewed     16             MS. PARFITT: Yes. If we could kindly
       17    for purposes of preparing your report or preparing for   17   have marked as Exhibit No. -- I believe it's 6 now.
       18    today's deposition?                                      18   This is the Plaintiffs Steering Committee's Response
       19        A. Can you tell me what you mean by "working         19   and Objections to the Oral and Video Deposition of
       20    copies"?                                                 20   Dr. Patricia Moorman.
       21        Q. Sure. Have you made any notes on any of the       21          Thank you.
       22    materials that you reviewed for purposes of your work    22      (Exhibit No. 6 was marked for identification.)
       23    on the MDL?                                              23   BY MR. JAMES:
       24        A. Yes. In this notebook here, there are             24       Q. Dr. Moorman, I'm just going to hand you a
       25    articles. Most of them are the epidemiologic studies.    25   copy of this because it looks like you're keeping a
                                                       Page 35                                                       Page 37
         1   And on some of them, I have notes that basically help     1   pile over there for us of all the exhibits. Okay?
         2   me kind of categorize and -- categorize the articles      2   I'm not going to ask any questions about it.
         3   and some of the main things that they looked at. You      3       A. Okay.
         4   know, did they address dose-response? Did they look       4       Q. Okay. Dr. Moorman, in anticipation -- or in
         5   at histology? Those types of things. It was just to       5   preparation for your work on the MDL, or in
         6   kind of help me sort them out.                            6   conjunction with your work on the MDL, you also
         7       Q. And you brought that binder with you here          7   authored an expert report; correct?
         8   today; correct?                                           8       A. That is correct.
         9       A. Correct.                                           9       Q. I'm going to mark a copy of that as
        10              MR. JAMES: Michelle, I'm going to mark        10   Exhibit No. 7. And we'll be talking about this
        11   that as Exhibit No. 5.                                   11   throughout the day today. Okay?
        12              MS. PARFITT: You can. What I would            12       A. Okay.
        13   ask, last evening we didn't have the ability to get      13      (Exhibit No. 7 was marked for identification.)
        14   everything copied. So what we will do is, we can mark    14       Q. Okay. I'm handing you Exhibit 7. Is that a
        15   that, and we'll make some arrangements to get that       15   copy of your report that you've authored in the MDL?
        16   copied so we can get the originals back to               16       A. Yes, it is.
        17   Dr. Moorman.                                             17       Q. Do you agree that the report defines the
        18              MR. JAMES: Sure. That's fine.                 18   scope of the opinions that you intend to offer in the
        19          So I'm going to mark this binder                  19   MDL?
        20   Exhibit No. 5.                                           20       A. Yes.
        21      (Exhibit No. 5 was marked for identification.)        21              MS. PARFITT: If I may, Scott, may
        22   BY MR. JAMES:                                            22   I just see a copy of that report?
        23       Q. Dr. Moorman, other than what you've provided      23              MR. JAMES: I have extra copies as
        24   to me in Exhibit No. 5, are there any other notes or     24   well, Michelle. If you need anything, just let me
        25   working copies of materials considered that you have     25   know.

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        1            MS. PARFITT: Thank you. That would be            1   transcript for Curtis Omiencinski, I do not recall
        2   great.                                                    2   reviewing that at all. It might have been provided to
        3            MR. FARIES: I'll be the runner on this           3   me, but I don't recall reviewing it.
        4   one.                                                      4       Q. Is there any way sitting here today that we
        5             MR. JAMES: Thank you.                           5   can efficiently identify which items on the additional
        6   BY MR. JAMES:                                             6   materials list that you have reviewed and which you
        7       Q. Did you review your report prior to -- in          7   haven't?
        8   preparation -- let me start that over.                    8       A. I don't know what you mean by "efficiently."
        9          Did you review your report in preparation          9   You know, it's kind of hard to recall exactly. You
       10   for today's deposition?                                  10   know, there are lots of articles here. That might
       11       A. Yes, I did.                                       11   have been provided to me. I don't know how I could go
       12       Q. Are there any changes that you want to make       12   through it in just a few minutes to say did I look at
       13   to the report today?                                     13   it or not. It would just take some time.
       14       A. No, there are not.                                14       Q. Did Plaintiffs' counsel provide you all the
       15       Q. Did you write the report?                         15   items on this list, the additional materials list?
       16       A. Yes, I did.                                       16       A. No, I don't believe so. I mean, some of the
       17       Q. Okay. Are all parts of the report in your         17   articles I've had -- like, again, some of them just
       18   wording?                                                 18   kind of jump out at me, like the reference 31,
       19       A. Yes.                                              19   Fathalla, "Incessant ovulation and ovarian cancer, a
       20       Q. Okay. If you can turn with me, Dr. Moorman,       20   hypothesis," that is an article that I have probably
       21   to page 41. And you see here that there is a list of     21   referred to dozens of times.
       22   references; correct?                                     22       Q. So the additional materials list contains a
       23       A. Yes.                                              23   mixture of items that you had on your own and items
       24       Q. Okay. And if you also turn to page 50, do         24   that were provided to you; is that fair?
       25   you see that there's a separate list that begins on      25       A. That is correct.
                                                       Page 39                                                      Page 41
        1   page 50, halfway down, that's titled "Additional          1       Q. Now, do you intend to rely on any materials
        2   materials and data considered"?                           2   for your opinions in this case that are not identified
        3       A. I'm sorry --                                       3   in the reference list or the additional materials
        4       Q. On page 50.                                        4   list?
        5       A. -- let me get to the right page.                   5              MS. PARFITT: Objection. Form.
        6          Yes.                                               6              THE WITNESS: I mean, I am relying on
        7       Q. Can you explain to me the difference between       7   the expertise that I developed over more than 25 years
        8   the reference list and the additional materials and       8   as an epidemiologist. And so there may be
        9   data considered list?                                     9   publications, knowledge that I have that is not
       10       A. Okay. The reference list are the references       10   specifically listed here. But, in general, I think
       11   to support the opinions and the statements in the        11   that is a fairly comprehensive list. I don't know
       12   report that I wrote. There are some other materials      12   that I could say that it is completely exhaustive.
       13   that I was provided, might have read, but they just      13   BY MR. JAMES:
       14   did not meet the level of actually needing to be         14       Q. All right. I'm going to mark now as
       15   referenced in the report to support a certain            15   Exhibit No. 8 a copy of a list entitled "Additional
       16   statement.                                               16   Materials to Dr. Patricia Moorman."
       17          Some of these I might have read in more           17      (Exhibit No. 8 was marked for identification.)
       18   detail than others, but I feel like the reference list   18   BY MR. JAMES:
       19   are the ones that actually supported the statements      19       Q. Have you seen a copy of Exhibit 8 before,
       20   that I made in my report.                                20   Dr. Moorman?
       21       Q. As described by you just now, are there items     21       A. I don't think that I have seen this
       22   on the additional materials and data considered list     22   particular list.
       23   that you have not reviewed at all?                       23              MS. PARFITT: And for the record, this
       24       A. There are -- along the way, there seem to be      24   list was compiled by Plaintiffs' counsel, Mr. James,
       25   some -- like, for example, item 62, comparing a          25   and I'm not sure whether or not my office -- the

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        1   materials were sent, but I'm not sure whether the list    1   reports have you reviewed?
        2   was sent to Dr. Moorman.                                  2       A. Again, I have reviewed them in different
        3             MR. JAMES: Okay.                                3   levels of detail and completeness. But I have looked
        4   BY MR. JAMES:                                             4   at the report of Anne McTiernan, April
        5      Q. Looking at this list, Dr. Moorman, this list        5   Zambelli-Weiner, Daniel Clarke-Pearson, David Kessler,
        6   was furnished to us this week.                            6   Jack Siemiatycki, Michael Crowley, Rebecca
        7          Do you understand that?                            7   Smith-Bindman, and Sonal Singh, you know, to some
        8             MS. PARFITT: Objection.                         8   extent.
        9             THE WITNESS: I -- if you say so.                9          And I might have looked at some of the
       10   BY MR. JAMES:                                            10   others, but those were the ones that I specifically
       11      Q. Fair enough. This list -- does this list           11   recall looking at to some extent.
       12   include items that you were provided after you           12       Q. Did you ask for Plaintiffs' counsel to
       13   authored your MDL report?                                13   furnish you the expert reports in the litigation?
       14      A. Yes.                                               14       A. I did not. They provided them to me without
       15      Q. This list of materials did not form the            15   asking.
       16   opinions that you included in your MDL report;           16       Q. Why did you review the reports of the other
       17   correct?                                                 17   experts?
       18             MS. PARFITT: Objection. Form.                  18       A. Intellectual curiosity is the main thing.
       19             THE WITNESS: I did not have access,            19   I'm always interested to learn other people's
       20   you know, to these expert reports and all before         20   perspectives. And also to see if there was any
       21   I wrote my report, no. So they did not inform my         21   additional evidence that I might consider.
       22   report.                                                  22       Q. And after reviewing those reports, did you
       23   BY MR. JAMES:                                            23   find any additional evidence that you might consider
       24      Q. Have you reviewed the materials on this list       24   that you didn't list in your MDL report?
       25   as Exhibit No. 8 in their entirety?                      25       A. I really didn't. I thought that there was a

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        1       A. No, not in their entirety.                         1   remarkable level of consistency in the opinions,
        2       Q. Have you reviewed some and not reviewed            2   particularly among the people who were reviewing the
        3   others? Is that fair?                                     3   epidemiologic literature.
        4       A. I have -- yes, I have reviewed some of them.       4       Q. Dr. Moorman, I am going to now hand you a
        5   I have not reviewed all of them.                          5   copy of the reliance materials -- which is the title
        6       Q. Okay. Is there any way for us to, again,           6   of the list -- that you cited in the Ingham case.
        7   efficiently determine today which of these you've         7   Okay? I'm going to mark that as Exhibit No. 9.
        8   reviewed and which ones you haven't?                      8      (Exhibit No. 9 was marked for identification.)
        9       A. I -- again, I could go through them and, to        9   BY MR. JAMES:
       10   the best of my knowledge, tell you which ones            10       Q. Does that list look familiar to you?
       11   I reviewed. Again, some of them I reviewed in more       11       A. Yes.
       12   detail, read more completely; others I looked at         12       Q. And you see on the front of that list, it
       13   more -- in a more cursory way.                           13   says it was produced on March 5th, 2018; correct?
       14       Q. Did your review of any of these additional        14       A. That is correct.
       15   materials change the opinions that you've included in    15       Q. And did you prepare this list?
       16   your MDL report?                                         16       A. I did not personally prepare it, no.
       17       A. No, they did not change my opinion.               17       Q. Do you know that the reliance list that you
       18       Q. Did you review all of these expert reports        18   produced in Ingham and the reliance list that you have
       19   listed?                                                  19   attached as a reference list and a materials
       20       A. I did not review all of them. I reviewed          20   considered list to your MDL report are substantially
       21   some of them.                                            21   different?
       22       Q. Okay. And these are the Plaintiffs' expert        22       A. I would --
       23   reports that are listed on this list; correct?           23              MS. PARFITT: Objection. Form.
       24       A. That is my understanding.                         24              THE WITNESS: I would not be surprised
       25       Q. Okay. Which of the Plaintiffs' expert             25   to say that there are some different references cited,

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        1    yes.                                                     1   have become part of the public domain since that time.
        2    BY MR. JAMES:                                            2          Do you understand that?
        3        Q. Do you understand that there's a large number     3             MS. PARFITT: Objection. Form.
        4    of additional references that you have now cited in      4             THE WITNESS: I understand that some of
        5    your MDL report?                                         5   them had been published before my deposition in March
        6        A. I -- the reference list is longer, yes.           6   2018.
        7        Q. Do you have any idea by how much?                 7   BY MR. JAMES:
        8              MS. PARFITT: Objection. Form.                  8       Q. Are there specific topics of the new
        9              THE WITNESS: No, I do not.                     9   materials that you added between your Ingham
       10    BY MR. JAMES:                                           10   deposition and your MDL report?
       11        Q. Would it surprise you to find out that there     11       A. I'm trying to think what they might be. I --
       12    are 94 new items listed in your MDL report that were    12   some -- I think that some of the work, for example, by
       13    not listed in your March 2018 report?                   13   Fletcher and Saed describing some of their work
       14              MS. PARFITT: Objection. Form.                 14   related to possible biological mechanisms by which
       15              THE WITNESS: I -- you know, as you go         15   talc exposure could lead to ovarian cancer -- I think
       16    along, I think that it is not unusual to include more   16   that was some work that I, perhaps, had not been aware
       17    references. I didn't know the exact number of new       17   of previously. And so that's one thought that comes
       18    items.                                                  18   to mind.
       19    BY MR. JAMES:                                           19       Q. All of the items that you added from March
       20        Q. Again, did you prepare the lists that are        20   2018 Ingham list to your MDL list, were all of those
       21    attached to your MDL report?                            21   items provided to you by Plaintiffs' counsel?
       22        A. The -- the list of references, I prepared        22             MS. PARFITT: Objection. Asked and
       23    that. The list of additional items, I think that was    23   answered.
       24    a combination of some of what I had prepared and        24             THE WITNESS: I don't -- I don't think
       25    I think what counsel had provided to me.                25   so.

                                                       Page 47                                                      Page 49
         1       Q. When you provided your opinion in March of        1   BY MR. JAMES:
         2   2018 in the Ingham case, did you do so based on a        2       Q. Would you say the majority of the items that
         3   comprehensive review of the literature?                  3   you've added from March 2018 to your MDL report were
         4       A. I think that -- yes, I believe that it was a      4   provided to you by Plaintiffs' counsel?
         5   comprehensive review, particularly of the                5             MS. PARFITT: Objection. Form.
         6   epidemiologic data.                                      6             THE WITNESS: I don't know what
         7       Q. Why did you expand your list of references        7   quantity, what fraction was provided by counsel and
         8   and materials considered for the MDL?                    8   which I identified.
         9       A. I think just as you acquire, you know, become     9             MR. JAMES: Okay. I'm going to mark as
        10   aware of more references, maybe if there were any new   10   Exhibit No. 10 a copy of your references and materials
        11   publications, or just as I expanded the knowledge,      11   considered list for the MDL report.
        12   I think that it would be appropriate to include more    12     (Exhibit No. 10 was marked for identification.)
        13   references.                                             13   BY MR. JAMES:
        14       Q. Do you know that a number -- a large number      14       Q. Okay. Dr. Moorman --
        15   of the new references and materials considered were     15             MS. PARFITT: Just one correction,
        16   available in the public domain or in the -- in this     16   Mr. James. I think Exhibit 10 is just identified as
        17   litigation at the time that you gave your March 2018    17   "references." I believe you characterized it as
        18   deposition?                                             18   "references and material considered."
        19              MS. PARFITT: Objection. Form.                19             MR. JAMES: Yeah. I think if you keep
        20              THE WITNESS: It would not surprise me        20   flipping, Michelle -- or Ms. Parfitt -- it contains
        21   to say that -- to see that some of them were there.     21   both.
        22   BY MR. JAMES:                                           22             MS. PARFITT: Fair enough.
        23       Q. So, to be clear, the additional materials        23   BY MR. JAMES:
        24   that you have added between March 2018 and your MDL     24       Q. Okay. And you see, Dr. Moorman, if you've
        25   report, those materials are not simply materials that   25   had a chance to flip through it while counsel have

                                                                                        13 (Pages 46 to 49)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                       Page 50                                                       Page 52
         1   been talking, you see that this Exhibit 10 includes       1   "search terms" or the primary search that was done, it
         2   some highlighting; right?                                 2   was very simple. It was "talc" or "talcum powder" and
         3      A. Yes.                                                3   "ovarian cancer." But many times, the initial search
         4      Q. The highlighting, I'll state for the record,        4   will not generate all of the articles that you would
         5   represents our effort to capture the items that have      5   need to describe the science. There may be additional
         6   been added between Ingham and your MDL report.            6   articles, either things that I was aware of or
         7          Do you see that highlighting?                      7   different searches that might be done.
         8      A. Mm-hmm.                                             8          But the overall search term to find the
         9      Q. Again, I think we discussed this earlier, but       9   literature on talc and ovarian cancer, I did not
        10   does it surprise you to find out that there are 94 new   10   change that.
        11   items on the two MDL lists?                              11          Would it be a good time to take a break?
        12             MS. PARFITT: Objection. Asked and              12   We've been going for over an hour.
        13   answered.                                                13              MR. JAMES: For sure.
        14             THE WITNESS: Again, I believe that             14              MS. PARFITT: Certainly.
        15   I answered that question previously.                     15              THE VIDEOGRAPHER: Going off record at
        16   BY MR. JAMES:                                            16   10:05 a.m.
        17      Q. 13 of the 20 references that are new were          17       (Recess taken from 10:05 a.m. to 10:18 a.m.)
        18   available to you as of March 2018. Did you know that?    18              THE VIDEOGRAPHER: Back on record at
        19             MS. PARFITT: Objection. Asked and              19   10:18 a.m.
        20   answered.                                                20   BY MR. JAMES:
        21             THE WITNESS: Again, I answered the             21       Q. Dr. Moorman, are you ready to proceed?
        22   question when you asked it previously.                   22       A. I am.
        23   BY MR. JAMES:                                            23       Q. Great. Dr. Moorman, do you consider yourself
        24      Q. I don't think that we've talked specifically       24   to be an expert in animal studies and talc?
        25   about the references, but the references -- the          25       A. No, I do not.
                                                       Page 51                                                       Page 53
        1    references that you've cited to your MDL report, those    1      Q. Do you consider yourself to be an expert in
        2    are materials that you say form the opinions issued in    2   cell studies and talc?
        3    your MDL report; correct?                                 3      A. No, I do not.
        4       A. Yes.                                                4      Q. Okay. Do you consider yourself to be an
        5       Q. And you added 20 new references from your           5   expert in cytotoxicity studies and talc?
        6    Ingham list to your MDL report. Do you know that?         6      A. No, I do not.
        7       A. I know that there are new references, yes.          7      Q. Do you consider yourself to be an expert in
        8       Q. And did you know that 13 of the 20 new              8   mutagenicity studies and talc?
        9    references -- again, the references are the list of       9      A. No, I do not.
       10    materials that formed your MDL report -- those were      10      Q. Do you consider yourself to be an expert in
       11    available before March 2018? Did you know that?          11   genotoxicity studies and talc?
       12       A. I am aware that some of them were available.       12      A. No, I do not.
       13           Would like to make the point that many of         13      Q. Do you consider yourself to be an expert in
       14    the points that I make in my report can be supported     14   mineral testing methods?
       15    by many, many references. And so the fact that           15      A. No, I do not.
       16    I added new references, that's really not too            16      Q. Okay. Do you consider yourself an expert in
       17    surprising. It's -- again, if I felt like wanted to      17   mineral characterization?
       18    emphasize a point more strongly, including additional    18      A. No, I do not.
       19    references, I don't think that would be surprising to    19      Q. Do you consider yourself to be an expert in
       20    add additional references.                               20   cancer biology?
       21       Q. Did you change your standards or search terms      21      A. I am not a cancer biologist; however, I
       22    that you used in the Ingham literature review for the    22   consider cancer biology frequently in my work.
       23    MDL review?                                              23      Q. Do you consider yourself to be an expert in
       24              MS. PARFITT: Objection to form.                24   geology?
       25              THE WITNESS: When we talk about                25      A. No, I do not.
                                                                                         14 (Pages 50 to 53)
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                              Patricia G. Moorman, M.S.P.H., Ph.D.
                                                       Page 54                                                       Page 56
         1      Q. And do you consider yourself to be an expert        1   BY MR. JAMES:
         2   in mining?                                                2       Q. Have you done anything between your March
         3      A. No, I do not.                                       3   deposition and today in regards to obtaining expertise
         4      Q. Do you have expertise in pathology?                 4   in pathology?
         5      A. I -- once again, I am not a pathologist.            5       A. No, I have not.
         6   Sometimes rely on pathology and have collaborated with    6       Q. Dr. Moorman, that's all I have on the
         7   pathologists, but I am not an expert pathologist.         7   transcript for right now.
         8      Q. And would you agree do that not have                8          Dr. Moorman, do you agree that, prior to
         9   expertise in pathology?                                   9   offering expert opinion on a particular topic, an
        10              MS. PARFITT: Objection. Asked and             10   expert should be conducted to -- expected to conduct a
        11   answered.                                                11   comprehensive review of the medical and scientific
        12              THE WITNESS: You asked that I -- I do         12   literature on that topic?
        13   not have expertise in pathology. I stated that I am      13       A. I'm sorry, I'm reading the question.
        14   not a pathologist, but I do know some pathology from     14          I -- I think that it is important to be
        15   my work in ovarian cancer and other cancers over the     15   comprehensive. I think it's also important to
        16   years. So to say that I have no expertise isn't --       16   recognize that there are expertise in different areas.
        17   I don't think that is correct. But we both -- I          17   And so we recognize that my expertise is in
        18   acknowledge that I am not a trained pathologist.         18   epidemiology, and I have supplemented that with
        19   BY MR. JAMES:                                            19   other -- information from other areas as well.
        20      Q. Do you recall being asked in Ingham if you         20       Q. And with respect to the epidemiology on talc
        21   considered yourself to have expertise in pathology?      21   and ovarian cancer, do you believe you conducted a
        22      A. I don't recall that question, specifically.        22   comprehensive review of that body of literature?
        23      Q. I'm going to hand you a copy of the                23       A. I believe that I have.
        24   transcript from Ingham that I brought with me, and I'm   24       Q. Do you believe you conducted a comprehensive
        25   going to refer you --                                    25   review of the literature and scientific evidence on
                                                       Page 55                                                       Page 57
        1              MR. JAMES: And, Ms. Parfitt, I have             1   mechanism?
        2    two copies, unfortunately, not three. And this will       2       A. I considered the scientific mechanisms and,
        3    be just a couple questions, Ms. Parfitt. So if you        3   again, recognizing what my expertise is. As I have
        4    bear with me --                                           4   indicated earlier, I am not a cancer biologist. I'm
        5              MS. PARFITT: You can just direct me to          5   not a laboratory scientist. I consider some of that
        6    the page.                                                 6   data, but I recognize that I am not -- you know, that
        7              MR. JAMES: Sure. Looking at page 280.           7   is not my major area of expertise.
        8              MS. PARFITT: Just bear with us both --          8       Q. And I do understand from your MDL report that
        9    me. All right.                                            9   you considered biology; correct?
       10              MR. JAMES: I'm looking at lines 12             10       A. I did consider biology.
       11    through 14.                                              11       Q. And so my precise question is whether you
       12              MS. PARFITT: Thank you.                        12   conducted a comprehensive review on the issue of
       13    BY MR. JAMES:                                            13   mechanism.
       14       Q. Do you see the question, Dr. Moorman, where        14              MS. PARFITT: Objection. Asked and
       15    you were asked if you have expertise in pathology?       15   answered.
       16           Do you see that question?                         16              THE WITNESS: I considered it, and,
       17       A. I do.                                              17   again, I think that there is information out there
       18       Q. Okay. And you answered that you do not;            18   that a cancer biologist would have the expertise to
       19    correct?                                                 19   review it in more detail because of their training,
       20              MS. PARFITT: Objection.                        20   which is different than the training and expertise
       21              THE WITNESS: Yes, that is how                  21   that I have.
       22    I answered. I think that the more qualified answer       22              MR. JAMES: I object to the
       23    that I gave today is probably a more accurate            23   nonresponsive portion of the answer.
       24    representation.                                          24   BY MR. JAMES:
       25                                                             25       Q. Dr. Moorman, did you conduct a comprehensive

                                                                                         15 (Pages 54 to 57)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 58                                                       Page 60
         1   review of all of the literature on animal studies and    1   have referred to another article.
         2   talc?                                                    2       Q. Did you conduct a comprehensive review of the
         3              MS. PARFITT: Objection. Form.                 3   genotoxicity studies that are relevant to talc and
         4              THE WITNESS: I don't believe that -- I        4   ovarian cancer?
         5   cannot say that I considered -- identified or            5       A. My answer to this question is similar to the
         6   considered every animal study.                           6   answers that I have given there.
         7              MR. JAMES: Object to the nonresponsive        7          I have read some of the mechanistic studies.
         8   answer.                                                  8   I would not say that I necessarily identified every
         9   BY MR. JAMES:                                            9   relevant genotoxicity study.
        10       Q. Did you conduct a comprehensive review of the    10       Q. And I'm not asking you, Dr. Moorman, if you
        11   literature on animal studies and talc?                  11   did find 100 percent of the studies. I'm asking you
        12              MS. PARFITT: Asked and answered.             12   if part of your review in this case began with the
        13   Objection.                                              13   intention to capture that body of literature.
        14              THE WITNESS: I -- I believe that             14              MS. PARFITT: Objection. Asked and
        15   I answered your question. I said that I don't think     15   answered several times.
        16   that I identified or considered every animal study      16              THE WITNESS: My intent was, as an
        17   related to talc and ovarian cancer.                     17   epidemiologist, was to be very comprehensive in my
        18   BY MR. JAMES:                                           18   area of expertise. There were certainly some other
        19       Q. Did you conduct a comprehensive review of        19   related areas where I reviewed the literature, but
        20   cell studies and talc?                                  20   there are experts that will speak to that more
        21       A. Once again, I considered some of that            21   directly because of their expertise.
        22   literature. Whether it was comprehensive or not, I --   22   BY MR. JAMES:
        23   I don't think that I have the expertise to say that     23       Q. Okay. So will you agree with me today that
        24   I considered all of the cell studies and talc.          24   you have not conducted a comprehensive review of the
        25       Q. Did you conduct a comprehensive review on the    25   cell studies and talc?
                                                      Page 59                                                       Page 61
        1    issue of migration in this case?                         1             MS. PARFITT: Objection. Misstates her
        2         A. I believe -- again, I considered every study     2   testimony.
        3    that I was aware of on migration of talc. It's a         3          You may answer, Dr. Moorman.
        4    little bit outside my area of expertise, so I am not     4             THE WITNESS: I -- I think that --
        5    sure that I identified every single study in that        5   I think that it is fair to say that I have probably
        6    regard.                                                  6   not reviewed every cell study and talc.
        7         Q. And with the methods that you applied in this    7   BY MR. JAMES:
        8    case, was it your intention to capture every study       8       Q. Okay. Dr. Moorman, I'm going to refer you
        9    pertaining to the issue of migration?                    9   back to the Ingham transcript, please, that's in front
       10                MS. PARFITT: Objection. Form.               10   of you.
       11                THE WITNESS: I tried -- you know, my        11             MS. PARFITT: Are we marking this,
       12    intent was to read the articles that I was aware of,    12   Scott?
       13    that were brought to my attention. Because it is a      13             MR. JAMES: We can. Sure.
       14    little bit outside my area of expertise, I cannot say   14          Dr. Moorman, when we finish this, I'll take
       15    with 100 percent certainty that I identified every      15   that back from you and mark it as Exhibit No. 11.
       16    single study related to migration.                      16   Okay?
       17    BY MR. JAMES:                                           17      (Exhibit No. 11 was marked for identification.)
       18         Q. But you testified that your intent was to       18   BY MR. JAMES:
       19    read the articles that you are aware of or that were    19       Q. Dr. Moorman, if you look at page 35 of your
       20    brought to your attention.                              20   transcript, please. And if you look at lines -- it's
       21            When you say brought to your attention, was     21   lines 11 through 17. It's a question and answer. If
       22    that by Plaintiffs' counsel?                            22   you could review that for me.
       23         A. It's some -- some of them could have been       23       A. Okay.
       24    brought to my attention in that way. Some of them       24       Q. And do you see that on line 16, you answered
       25    could have been -- like, an article that I read might   25   in Ingham:
                                                                                        16 (Pages 58 to 61)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                       Page 62                                                       Page 64
         1            "I have not done a comprehensive                 1   literature in greater detail.
         2            review of those studies."                        2       Q. Have you undertaken a comprehensive review of
         3           And there, you're referring to cell studies;      3   literature pertaining to the allegation that asbestos
         4   correct?                                                  4   may contaminate talcum powder products?
         5       A. Yes, that is what it says here.                    5              MS. PARFITT: Objection. Form.
         6       Q. Is that a truthful answer?                         6              THE WITNESS: A comprehensive review of
         7       A. I think --                                         7   the literature pertaining to the allegation that
         8              MS. PARFITT: Objection. Form.                  8   asbestos may contaminate talcum powder?
         9           Go ahead.                                         9           I have read quite a few articles and
        10              THE WITNESS: I think that we -- you           10   documents addressing that. Whether or not I have read
        11   know, as you have asked me the questions and I have      11   every document addressing that, I'm not absolutely
        12   responded to them, that it's -- I have looked at some    12   sure.
        13   of these studies. I would not have looked at all of      13   BY MR. JAMES:
        14   them.                                                    14       Q. Okay. Dr. Moorman, you're answering a
        15   BY MR. JAMES:                                            15   question that I didn't ask. And so I object to the
        16       Q. As an epidemiologist, do you understand the       16   nonresponsiveness again.
        17   significance of the term "comprehensive review"?         17           Did you conduct a comprehensive review of
        18       A. Yes, I understand the term.                       18   the body of literature assessing whether asbestos
        19       Q. Okay. And you understand that you have            19   contaminates talcum powder products?
        20   testified that you conducted a comprehensive review of   20       A. I believe that I have answered your question.
        21   the epidemiology literature for talc and ovarian         21   It's --
        22   cancer; correct?                                         22       Q. Could you please answer it again.
        23              MS. PARFITT: Asked and answered.              23       A. I have read many articles on it. I do not
        24              THE WITNESS: Yes.                             24   know that I have read every article related to that
        25                                                            25   topic, again. So...
                                                       Page 63                                                       Page 65
         1   BY MR. JAMES:                                             1       Q. You understand that if you were going to
         2       Q. And so I'm asking if you have applied the          2   publish an opinion in peer-reviewed literature about
         3   same comprehensive review to these other areas,           3   the allegation that asbestos contaminates talcum
         4   including cell studies, animal studies, and mechanism     4   powder products, you would be expected to conduct a
         5   studies.                                                  5   comprehensive review of that literature; correct?
         6             MS. PARFITT: Objection. Form. Asked             6              MS. PARFITT: Objection. Form.
         7   and answered.                                             7              THE WITNESS: If I were to publish an
         8   BY MR. JAMES:                                             8   opinion in a peer-reviewed literature, you would want
         9       Q. Have you conducted the same comprehensive          9   to have a comprehensive review of the literature, yes.
        10   review on that body of literature that you've            10   BY MR. JAMES:
        11   conducted on the epidemiology?                           11       Q. And have you conducted a comprehensive review
        12             MS. PARFITT: Objection.                        12   of the literature on that topic, such that you would
        13             THE WITNESS: Once again, I have                13   feel comfortable providing an opinion for a
        14   answered the question. This is not my primary area of    14   peer-reviewed journal?
        15   expertise. And so I have not done the review to the      15              MS. PARFITT: Objection. Form.
        16   depth and the -- as comprehensive as I have done in my   16   BY MR. JAMES:
        17   area of expertise, which is epidemiology.                17       Q. And the topic being the allegation that
        18   BY MR. JAMES:                                            18   asbestos contaminates talcum powder products.
        19       Q. Have you done a comprehensive review of the       19              MS. PARFITT: Objection. Form.
        20   epidemiology on the relationship between asbestos and    20              THE WITNESS: I think that I'm maybe
        21   ovarian cancer?                                          21   having some difficulty answering this question because
        22       A. I believe that I have looked at a pretty          22   it would seem like this would be a topic that would be
        23   comprehensive -- I've had a pretty comprehensive look    23   more appropriately addressed by a mineralogist. And
        24   at the asbestos and ovarian cancer. I believe that       24   I -- I actually cannot see myself writing a
        25   I have looked at the talcum -- talc and ovarian cancer   25   peer-reviewed article about this because it seems

                                                                                         17 (Pages 62 to 65)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 66                                                        Page 68
        1   somewhat -- it's related to the epidemiology of talc      1      A. It was part of the basis for my opinion,
        2   and ovarian cancer, but I would not be writing an         2   along with some peer-reviewed literature.
        3   article focused solely on that.                           3      Q. Okay. With respect to the company documents,
        4   BY MR. JAMES:                                             4   were those documents hand-selected for you by
        5       Q. You understand that, in your expert report,        5   Plaintiffs' counsel?
        6   you have opined with -- that there's "credible            6              MS. PARFITT: Objection. Form.
        7   evidence" there has been asbestos in talcum power         7              THE WITNESS: They were provided to me
        8   products.                                                 8   by Plaintiffs' counsel.
        9          Do you recall making that conclusion in your       9   BY MR. JAMES:
       10   report?                                                  10      Q. Okay. When you saw those documents, did you
       11       A. Yes.                                              11   ask if there were additional documents that would
       12       Q. So to support that conclusion that you            12   address the issue of asbestos contamination?
       13   believe there's "credible evidence" in talcum powder     13      A. I don't know that I asked if there were
       14   products, did you conduct a systematic review of the     14   additional documents. It was my impression that there
       15   literature to support that conclusion?                   15   were probably many other documents related to this
       16       A. I did not --                                      16   that were not provided to me.
       17              MS. PARFITT: I'm going to object to           17      Q. And as a scientist, wouldn't you be
       18   the form of the question. Some words were left out.      18   interested in knowing if there are other documents
       19          You may answer.                                   19   that have been produced in this litigation that rebut
       20              THE WITNESS: In my report, I cited            20   the claim that asbestos contaminates talcum powder
       21   literature that did support that opinion.                21   products?
       22          Did I conduct a systematic review that            22              MS. PARFITT: Objection. Form.
       23   identified possibly every piece of literature that       23              THE WITNESS: This is an interesting
       24   addressed the topic? No, I did not do that.              24   question because the claim had been made that
       25                                                            25   asbestos -- or, rather, that talcum -- talcum powder
                                                      Page 67                                                        Page 69
        1   BY MR. JAMES:                                             1   products had been asbestos-free since 1976. And it
        2       Q. Do you believe that the standards for              2   is -- the documents provided, including the
        3   providing opinions in litigation reports differ from      3   peer-reviewed as well as the other, saying that --
        4   the standards for providing opinions in published         4   provide evidence that that is not an accurate
        5   literature?                                               5   statement.
        6             MS. PARFITT: Objection. Form.                   6           We're not saying that every container of
        7             THE WITNESS: No. No. I think that               7   talcum powder contains asbestos, but what I was saying
        8   one is trying to provide evidence to support one's        8   in my report is that there is evidence that some
        9   opinions.                                                 9   talcum powder products have asbestos in them.
       10   BY MR. JAMES:                                            10              MR. DONATH: Move to strike,
       11       Q. With respect to the issue of asbestos             11   nonresponsive.
       12   contamination, Dr. Moorman, you said you did review      12   BY MR. JAMES:
       13   some articles.                                           13       Q. So are you changing your report -- because in
       14          How did you characterize that?                    14   the report, you say that there is "credible evidence."
       15       A. I said that I reviewed some -- some articles      15           Do you recall making that conclusion?
       16   and some -- some documents. I don't think that           16       A. Yes.
       17   I reviewed every article or document that is available   17       Q. As a scientist, you understand that to give
       18   on that topic.                                           18   something credit, you would necessarily need to
       19       Q. With respect to documents, are you referring      19   consider both sides of the story; correct?
       20   to company documents provided to you by Plaintiffs'      20              MS. PARFITT: Objection. Misstates her
       21   counsel?                                                 21   testimony. She's...
       22       A. That -- that's part of what I reviewed, some      22           You can answer, Dr. Moorman.
       23   of those documents provided by counsel.                  23              THE WITNESS: I'm sorry?
       24       Q. And looking at those documents provided the       24              MS. PARFITT: I said it misstates what
       25   basis for your opinion; is that right?                   25   you're trying to suggest to the ladies and gentlemen

                                                                                        18 (Pages 66 to 69)
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                              Patricia G. Moorman, M.S.P.H., Ph.D.
                                                        Page 70                                                      Page 72
        1    of the jury.                                              1   company documents and other materials to support your
        2           But if you can answer that question again,         2   conclusions about asbestos contamination?
        3    please try and answer Mr. James' question. And            3       A. I -- I wouldn't be able to quantify that.
        4    look -- if you need to look at the question, please       4   I don't know specifically.
        5    do.                                                       5       Q. Can you give us an estimate?
        6               THE WITNESS: I think that I did -- it          6       A. I think it would be pretty difficult to come
        7    says "As a scientist, you understand that to give         7   up with an estimate. You know, I read some documents
        8    something credit, you would necessarily need to           8   from the company. I read documents -- some
        9    consider both sides of the story."                        9   peer-reviewed literature. I reviewed documents
       10           And I think that I did consider both sides        10   provided by Plaintiffs' counsel.
       11    of the story.                                            11          Perhaps -- I don't know. Perhaps ten -- ten
       12           I think that, as I stated, the evidence does      12   hours or so.
       13    not suggest that every container of talcum powder has    13       Q. When you said that you reviewed company
       14    detectable asbestos in it. But my statement that         14   documents, again, those are the documents provided to
       15    there is credible evidence that some talcum powder       15   you by Plaintiffs' counsel; correct?
       16    products contain asbestos, I think that that statement   16       A. Yes.
       17    is absolutely true. There is some evidence to            17             MS. PARFITT: Objection. Form.
       18    indicate that some talcum powder -- or asbestos has      18             THE WITNESS: Yes, the Plaintiff
       19    been identified in some talcum powder products.          19   provided those documents to me.
       20    BY MR. JAMES:                                            20   BY MR. JAMES:
       21        Q. Do you understand what Johnson & Johnson's        21       Q. And you did not ask Plaintiffs' counsel to
       22    position is with respect to that claim?                  22   provide you additional documents once you saw the
       23        A. I -- I don't know specifically. Perhaps you       23   first batch of documents; correct?
       24    could -- could tell me.                                  24             MS. PARFITT: Objection. Form.
       25        Q. You understand that Johnson & Johnson's           25             THE WITNESS: I did not ask, no.

                                                        Page 71                                                      Page 73
         1   position is that talcum powder products have not been     1   BY MR. JAMES:
         2   contaminated with asbestos? Do you know that that's       2       Q. You also looked at litigation reports from
         3   Johnson & Johnson's position?                             3   Plaintiffs' expert regarding asbestos contamination;
         4      A. I -- if you are telling me that now, I don't        4   correct?
         5   know that I have -- I -- I'm trying to think what         5       A. Yes, I did.
         6   I have read. I think that, yes, I have probably read      6       Q. And you understand those experts are paid
         7   statements from the company that describes that as        7   litigation experts by the Plaintiffs; correct?
         8   their position.                                           8              MS. PARFITT: Objection. Form.
         9      Q. And do you know what Johnson & Johnson bases        9              THE WITNESS: Yes, I understand that
        10   their position on?                                       10   they are paid by the Plaintiffs.
        11      A. Not specifically.                                  11   BY MR. JAMES:
        12      Q. Wouldn't that be pretty important to               12       Q. One of those experts is Longo; correct?
        13   understand before making an opinion about whether        13       A. That is correct.
        14   there's credible evidence of asbestos contamination?     14              MS. PARFITT: Is that Dr. Longo?
        15             MS. PARFITT: Objection. Form.                  15              MR. JAMES: Thank you, Michelle.
        16             THE WITNESS: Again, I think that when          16   BY MR. JAMES:
        17   one is trying to make a statement that there is no       17       Q. Dr. Longo; is that correct?
        18   asbestos contained in talc products, if you are          18       A. That is correct.
        19   finding evidence from multiple sources that there is     19       Q. Okay. So you reviewed Dr. Longo's reports?
        20   asbestos contained in some talc products, that           20       A. I looked at them, yes.
        21   supports the statement that I made in report that        21       Q. Okay. Do you understand that in this
        22   there is credible evidence that not all talc products    22   litigation, Johnson & Johnson has presented experts to
        23   are asbestos-free.                                       23   rebut Dr. Longo's findings?
        24   BY MR. JAMES:                                            24              MS. PARFITT: Objection. Just let the
        25      Q. How many hours did you spend reviewing             25   record reflect that the defense expert reports have

                                                                                         19 (Pages 70 to 73)
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                                                        Page 74                                                      Page 76
        1    not yet been provided in this litigation, in the MDL      1   there's no safe level of asbestos, that any level of
        2    litigation, so it would have been difficult to provide    2   asbestos in a talcum powder product is bad for the
        3    that to Dr. Moorman.                                      3   health of the people who use it.
        4    BY MR. JAMES:                                             4       Q. Do you intend to offer any opinions about the
        5        Q. You can still answer the question.                 5   purported amount of contamination in talcum powder
        6        A. It would not surprise me to know that there        6   products over the course of history?
        7    were reports provided by -- that was done for the         7              MS. PARFITT: Objection. Form.
        8    defense, but I have not seen them.                        8              THE WITNESS: I am not going to offer
        9        Q. Did you ask to see them?                           9   an opinion about the quantity of asbestos in talcum
       10              MS. PARFITT: Objection. Form.                  10   powder products.
       11              THE WITNESS: I did not ask to see --           11   BY MR. JAMES:
       12    no, I did not.                                           12       Q. Have you, in the course of forming your
       13    BY MR. JAMES:                                            13   opinions in this case, ever reviewed the FDA testing
       14        Q. And counsel just made a note on the record        14   of talcum powder products for the presence of
       15    about these litigation reports from the defense not      15   asbestos?
       16    being made available yet in the MDL.                     16       A. I recall reviewing a document from FDA, yes.
       17            Do you understand that the defense has           17       Q. Okay. And that document is not discussed in
       18    presented experts, for example, in the Ingham case to    18   your report, is it?
       19    rebut Dr. Longo's findings?                              19       A. No, I don't think that I specifically
       20        A. I was not specifically aware of that. It          20   reference that.
       21    would not surprise me, however.                          21       Q. Why is that?
       22        Q. You understand Dr. Longo's litigation reports     22       A. I don't -- I don't know why I didn't
       23    that you reviewed, those are not peer-reviewed.          23   reference it. I read it, but...
       24            Do you understand that?                          24              MR. JAMES: I'm marking Exhibit No. 11
       25              MS. PARFITT: Objection. Form.                  25   [sic], talc testing information from the FDA, that I'm
                                                        Page 75                                                      Page 77
         1              THE WITNESS: Yes, I know that they are         1   handing you, Dr. Moorman.
         2   not peer-reviewed.                                        2      (Exhibit No. 12 was marked for identification.)
         3   BY MR. JAMES:                                             3               MR. JAMES: I provided an extra copy if
         4       Q. With regard to the literature that you've          4   you want to hand one to your counsel, please. Thank
         5   referenced having reviewed pertaining to the              5   you much.
         6   allegation that talcum powder products are                6               MR. FARIES: This is 12.
         7   contaminated with asbestos, what does that literature     7               MS. PARFITT: 11 is the transcript.
         8   say about Johnson & Johnson products specifically?        8               MR. JAMES: Got it. Thank you. I'll
         9       A. I'm trying to recall specifically. I believe       9   fix the sticker once we finish the question.
        10   that some of the articles were not specific about the    10               MS. PARFITT: No worries.
        11   particular brand names that they tested. I think they    11   BY MR. JAMES:
        12   just described them as commercially available            12       Q. Okay. Dr. Moorman, is this the document that
        13   products. But I believe that -- I want to say that       13   you had seen before?
        14   I recall at least one that described the products as     14       A. I'm not sure if this is the same one or if
        15   being Johnson & Johnson.                                 15   I -- no, I -- actually, I think that I did see this.
        16       Q. With respect to everything that you reviewed      16       Q. And if you look over on page 2 of the
        17   pertaining to your claim in your report of "credible     17   exhibit -- it's page 2 of 8 -- do you see at the
        18   evidence" of contamination of talcum powder products,    18   bottom, it says in the section "The results of FDA's
        19   what did everything you reviewed tell us about the       19   survey" -- do you see where I'm reading?
        20   amount of contamination in the products?                 20       A. Yes.
        21          Do you have any opinions about amount?            21       Q. And the FDA here says (as read):
        22       A. I do. My opinions are that most of the            22             "The survey found no asbestos
        23   analyses that detected asbestos fibers in talcum         23             fibers or structures in any of the
        24   powder products detected low levels, and putting that    24             samples of cosmetic-grade raw
        25   in the context that asbestos has been characterized as   25             material talc or cosmetic products
                                                                                         20 (Pages 74 to 77)
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                                                       Page 78                                                      Page 80
        1              containing talc."                              1   proportion of the talcum powder products in the US are
        2            Did I read that correctly?                       2   Johnson & Johnson products.
        3       A. You did.                                           3       Q. Do you know if the FDA test results
        4               MS. PARFITT: Are you going to complete        4   specifically pertain to Johnson & Johnson products?
        5    this paragraph, or are you going to leave it at that?    5       A. I'm -- I believe that some of the products
        6               MR. JAMES: Michelle, you'll have an           6   tested -- I believe that some of them were Johnson &
        7    opportunity to ask your questions.                       7   Johnson products, if I'm not mistaken. But I can't
        8               MS. PARFITT: Well, just for                   8   say that with certainty.
        9    completeness. Certainly, if that's how you'd like to     9          Actually, when I look at the report, I do
       10    handle it, that's fine.                                 10   see that they list Johnson's baby powder.
       11               MR. JAMES: Okay. That's how it works.        11       Q. And, Dr. Moorman, you're referring to page 7;
       12               MS. PARFITT: Oh, I -- Scott, you don't       12   correct?
       13    have to educate me on how it works. I get how you're    13       A. Yes.
       14    working, and we'll make it work on our side too.        14       Q. Okay. Do you understand that the FDA also
       15    Thank you.                                              15   tested samples provided to them by the supplier of
       16    BY MR. JAMES:                                           16   talc for Johnson & Johnson products? Did you know
       17       Q. Dr. Moorman, is that conclusion cited             17   that?
       18    anywhere in your report?                                18       A. I -- I think that I knew that. I believe
       19       A. That --                                           19   I did know that.
       20               MS. PARFITT: Objection to the partial        20       Q. Again, that's not quoted anywhere in your
       21    conclusion.                                             21   report either, is it?
       22            Please answer.                                  22       A. No, that is --
       23               THE WITNESS: Right. It's -- I did not        23              MS. PARFITT: Object to form.
       24    put it in there. However, I considered as I was, you    24              THE WITNESS: -- not.
       25    know, evaluating this literature, what it goes on to    25

                                                       Page 79                                                      Page 81
         1   say (as read):                                           1   BY MR. JAMES:
         2            "The results were limited by the                2       Q. Before offering opinions about "credible
         3            fact that only four talc suppliers              3   evidence," don't you think it would be important to
         4            submitted samples and by the                    4   mention the findings of the FDA on such an important
         5            number of products tested."                     5   issue?
         6   BY MR. JAMES:                                            6              MS. PARFITT: Objection. Form.
         7      Q. Okay.                                              7              THE WITNESS: As I have stated before,
         8      A. And so it goes on to say, you know,                8   my opinion was that there is credible evidence that --
         9   (as read):                                               9   from peer-reviewed articles, from some other sources
        10            "They do not prove that most or                10   as well, that asbestos has been found in talcum powder
        11            all talc or talc-containing                    11   products. I believe that that evidence is credible.
        12            cosmetic products currently                    12          I did not make the statement that it is in
        13            marketed in the US are likely to               13   all products, but I think that my statement that there
        14            be free of asbestos                            14   is credible evidence that some talcum powder products
        15            contamination."                                15   contain asbestos I think is accurate.
        16          So...                                            16   BY MR. JAMES:
        17      Q. You're offering opinions in the MDL -- let me     17       Q. And is that a conclusion that you would feel
        18   re-ask this.                                            18   comfortable providing in published peer-reviewed
        19          Are you offering opinions in the MDL that        19   literature?
        20   Johnson & Johnson talcum powder products have been      20              MS. PARFITT: Objection. Form.
        21   contaminated with asbestos at some point in time?       21              THE WITNESS: To say that there is
        22      A. In my opinion, I am referring to talcum           22   credible evidence that some talcum powder products
        23   powder products. Okay? I don't believe in my report,    23   contain asbestos, I think that that -- I would feel
        24   I ever specifically say Johnson & Johnson talcum        24   comfortable saying that based on peer-reviewed
        25   powder products, but I do recognize that a large        25   literature that has found that.

                                                                                        21 (Pages 78 to 81)
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                                                       Page 82                                                       Page 84
         1   BY MR. JAMES:                                             1   BY MR. JAMES:
         2      Q. But you never undertook an effort to conduct        2      Q. Dr. Moorman, have you seen a 2014 letter from
         3   a comprehensive review of the literature on the topic,    3   the FDA addressing a request for a warning on talcum
         4   did you?                                                  4   powder products?
         5              MS. PARFITT: Objection. Form. Asked            5      A. Yes, I have.
         6   and answered several times.                               6      Q. Do you know that within that letter, the FDA
         7              THE WITNESS: Yes, I feel like I -- you         7   comments on the issue of alleged asbestos
         8   have asked that, and I think that I have answered it.     8   contamination?
         9   BY MR. JAMES:                                             9             MS. PARFITT: Objection. Form.
        10      Q. What's your answer?                                10             THE WITNESS: If I could see the
        11      A. My answer is that I have found evidence            11   document. It has been a while since I have actually
        12   that -- from peer-reviewed literature, from other        12   looked at it.
        13   documents, that some asbestos has been detected in       13   BY MR. JAMES:
        14   some talcum powder products.                             14      Q. Absolutely.
        15      Q. With regard to the company documents that you      15             MR. JAMES: And if counsel could remind
        16   reviewed that were provided to you by Plaintiffs'        16   me, are we now on 13?
        17   counsel, do you consider yourself an expert in           17             MS. PARFITT: We are indeed.
        18   reviewing the information conveyed by those documents?   18             MR. JAMES: Thank you.
        19              MS. PARFITT: Objection. Form.                 19             MS. PARFITT: You are very welcome.
        20              THE WITNESS: As I have indicated              20     (Exhibit No. 13 was marked for identification.)
        21   previously, I am not a mineralogist or a geologist,      21   BY MR. JAMES:
        22   and so I would not consider myself an expert in          22      Q. Okay. Dr. Moorman, I'm handing you a copy of
        23   reviewing those types of documents.                      23   the 2014 FDA letter with an extra copy to pass to your
        24   BY MR. JAMES:                                            24   counsel.
        25      Q. Do you have any knowledge about the                25             MS. PARFITT: Thank you.
                                                       Page 83                                                       Page 85
         1   specifications that are used by Johnson & Johnson in      1   BY MR. JAMES:
         2   manufacturing its talcum powder products?                 2       Q. Dr. Moorman, if you could turn to the second
         3       A. No, I do not.                                      3   page of the letter. Is this the letter that you've
         4       Q. Do you have any expertise in the sufficiency       4   seen before, Dr. Moorman?
         5   of the specifications to detect the presence of           5       A. Yes, it is.
         6   asbestos?                                                 6       Q. And do you see that, in the section entitled
         7       A. No, I do not.                                      7   "Chemistry Findings," there's a discussion there by
         8       Q. Did you know that Johnson & Johnson produces       8   the FDA pertaining to asbestos; correct?
         9   its talcum powder products in accordance with             9       A. Yes, I see that.
        10   specifications set out by the US Pharmacopeial           10       Q. And do you see that at the bottom of the
        11   Convention?                                              11   letter, the very last sentence, the FDA says
        12               MS. PARFITT: Objection. Form.                12   (as read):
        13               THE WITNESS: I was not specifically          13             "You have not provided evidence
        14   aware of that. I don't know what their specifications    14             that asbestos-contaminated
        15   are.                                                     15             talc-containing cosmetic products
        16   BY MR. JAMES:                                            16             are currently being marketed,
        17       Q. Did Plaintiffs' counsel provide to you those      17             since the data submitted is almost
        18   specifications?                                          18             40 years old."
        19       A. Not that I recall.                                19           Do you see that?
        20       Q. Did you know that the specifications provide      20       A. I do see that.
        21   mechanisms to test for the absence of asbestos?          21       Q. Okay. And you said that you have reviewed
        22               MS. PARFITT: Objection. Form.                22   this letter in its entirety before?
        23               THE WITNESS: I have already stated           23       A. I have read it, yes.
        24   that I -- I don't know what those specifications are.    24       Q. Do you have any reason to quarrel with the
        25                                                            25   scientists at the FDA that have looked at the issue of
                                                                                         22 (Pages 82 to 85)
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                                                        Page 86                                                       Page 88
         1   asbestos contamination in talcum powder products?         1          Did you form your opinions about asbestos
         2              MS. PARFITT: Objection. Form.                  2   and talcum powder that are contained within your MDL
         3              THE WITNESS: I don't know who those            3   report after being retained as an expert?
         4   scientists are. I don't know any scientists at the        4              MS. PARFITT: Object to form.
         5   FDA who would have done -- would have done this. I --     5              THE WITNESS: I -- it is often -- has
         6   so I can't say that I have a quarrel with them because    6   often been reported in the literature that talcum
         7   I don't know them.                                        7   powder contained asbestos prior to 1976, and that
         8   BY MR. JAMES:                                             8   products produced after that did not contain asbestos.
         9       Q. Do you have any opinions about the type of         9          And as I became involved in this litigation,
        10   asbestos that is alleged to contaminate talcum powder    10   I was made aware of and discovered some of the
        11   products?                                                11   articles that showed that talcum powder products after
        12       A. I am certainly aware that there are different     12   1976 contained asbestos.
        13   types of asbestos. Again, from a health perspective,     13          And so my opinion was that -- my opinion
        14   there is no safe form of asbestos. So if there are       14   that asbestos in current or recently marketed talcum
        15   different types, it really doesn't make a lot of         15   powder products could explain -- was part of the
        16   difference in terms of the potential health effects.     16   biological mechanism by which exposure to talcum
        17              MR. JAMES: Object to the nonresponsive        17   powder, that was -- that was formed as I became aware
        18   portion.                                                 18   of more of the available information, when I became
        19   BY MR. JAMES:                                            19   involved in this litigation.
        20       Q. Do you intend to offer any opinions about the     20   BY MR. JAMES:
        21   type of asbestos that Plaintiffs contend contaminates    21       Q. Setting aside the issue of asbestos in talcum
        22   talcum powder products?                                  22   powder, do you believe that asbestos is a cause of
        23       A. No, I am not going to specifically address        23   ovarian cancer?
        24   the types of asbestos in talcum powder products.         24       A. Yes, I do.
        25       Q. Do you hold the opinion that asbestos causes      25       Q. How many studies have explored the link

                                                        Page 87                                                       Page 89
         1   ovarian cancer?                                           1   between asbestos and ovarian cancer?
         2       A. Yes.                                               2              MS. PARFITT: Objection. Form.
         3       Q. Do you hold the opinion that exposure to           3              THE WITNESS: In terms of epidemiologic
         4   asbestos through use of talcum powder products causes     4   literature, there have been a couple of meta-analyses;
         5   ovarian cancer?                                           5   and the exact number, I don't have that off the top of
         6       A. My opinion is based on exposure to talcum          6   my head, but I want to say approximately a dozen
         7   powder products and whatever is contained within them.    7   studies.
         8   And so if there is asbestos within talcum powder          8   BY MR. JAMES:
         9   products, which we have some evidence to suggest that     9       Q. Did you review the entire body of literature
        10   that is the case, then that provides a potential         10   looking at a purported link between asbestos and
        11   biological mechanism by which talcum powder products     11   ovarian cancer?
        12   could cause ovarian cancer.                              12              MS. PARFITT: Objection. Form.
        13       Q. The opinion that you have pertaining to           13              THE WITNESS: I know that I looked at
        14   asbestos and ovarian cancer, did you form that opinion   14   the meta-analyses. I looked at some data from IARC,
        15   in the context of litigation?                            15   and I believe that I have looked in some degree at,
        16              MS. PARFITT: Objection. Form.                 16   I think, all of the epidemiologic studies about
        17              THE WITNESS: I'm not sure how -- could        17   asbestos and ovarian cancer.
        18   you perhaps restate the question?                        18   BY MR. JAMES:
        19   BY MR. JAMES:                                            19       Q. So did you look at all of the studies that
        20       Q. Absolutely.                                       20   are discussed in the IARC monograph?
        21       A. I'm not sure --                                   21              MS. PARFITT: Objection. Form.
        22       Q. Absolutely.                                       22              THE WITNESS: I have -- the IARC
        23       A. -- what you're asking.                            23   monograph, as they typically do, they look at many of
        24       Q. Did you form the opinion that -- did you          24   the animal studies, some of the laboratory studies.
        25   form -- let me start over.                               25   I have not looked at all of them. I have looked at
                                                                                         23 (Pages 86 to 89)
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                                                      Page 90                                                        Page 92
        1   the epidemiologic studies, which, again, is my area of    1   Dr. Moorman.
        2   expertise.                                                2       A. Yes.
        3   BY MR. JAMES:                                             3       Q. Actually, 256 is where it carries into. And
        4      Q. And we're speaking currently about the IARC         4   on page 256, there's a section entitled "syntheses."
        5   monograph on asbestos; correct?                           5          Do you see where I am, Dr. Moorman?
        6      A. Correct.                                            6       A. Yes.
        7      Q. On page 34 of your report, if that you have         7       Q. Okay. And if you look at the right-hand
        8   handy, Dr. Moorman -- actually, I think I have the        8   column, it's the first full paragraph in the middle of
        9   wrong page number. Give me one second.                    9   the page.
       10         Okay. It's actually page 35. My apologies.         10       A. Yes.
       11         And you see -- I'm looking at the first --         11       Q. And there, the IARC states that (as read):
       12   the top paragraph. And you state in the second           12            "The working group noted that a
       13   sentence -- do you see where I am? It starts with        13            causal association between
       14   "IARC"?                                                  14            exposure to asbestos and cancer of
       15      A. Yes.                                               15            the ovary was clearly established
       16      Q. Says (as read):                                    16            based on five strongly positive
       17           "IARC has stated that a causal                   17            cohort mortality studies of women
       18           association between exposure to                  18            with heavy occupational exposure
       19           asbestos and cancer of the ovary                 19            to asbestos."
       20           was clearly established based on                 20          Do you see that?
       21           strongly positive cohort mortality               21       A. Yes.
       22           studies of women with occupational               22       Q. Okay. And so the IARC then goes on to say,
       23           exposure to asbestos, as well as                 23   in the next sentence, that the conclusion (as read):
       24           studies of women with                            24            "Received additional support from
       25           environmental exposure to                        25            studies showing that women and
                                                      Page 91                                                        Page 93
        1            asbestos."                                       1            girls with environmental, but not
        2      A. Yes.                                                2            occupational exposure to asbestos,
        3      Q. Do you see where I was reading?                     3            had positive, but nonsignificant,
        4      A. Yes.                                                4            increases in both ovarian cancer
        5      Q. To be clear, Dr. Moorman, that's not                5            incidence and mortality."
        6   precisely how IARC has stated that, is it?                6          Do you see that?
        7              MS. PARFITT: Objection. Form.                  7      A. Yes.
        8              THE WITNESS: I --                              8      Q. And so the IARC's conclusion here with
        9   BY MR. JAMES:                                             9   respect to asbestos and ovarian cancer.
       10      Q. I'm sorry, Doctor.                                 10          Again, this conclusion is being made outside
       11          If I may, Dr. Moorman, I'll just provide you      11   the context of talcum powders; correct?
       12   a copy. Is that okay?                                    12      A. Right. This is based on asbestos exposure.
       13      A. Okay.                                              13      Q. And the way that IARC has structured this
       14      Q. I'm going to mark as Exhibit 14 a copy of          14   paragraph is that they have said that they've based
       15   the -- what we're referring to as the asbestos           15   their conclusion on the occupational studies; correct?
       16   monograph that's 100C.                                   16              MS. PARFITT: Objection. Form.
       17     (Exhibit No. 14 was marked for identification.)        17              THE WITNESS: Yes.
       18              MS. PARFITT: Mr. James, just for the          18   BY MR. JAMES:
       19   record, that's not the entire 100C monograph, is it?     19      Q. And then they do note the additional support
       20              MR. JAMES: Thank you. Thank you. Let          20   after that sentence; correct?
       21   me clarify. This is excerpts of -- Exhibit 14 is         21              MS. PARFITT: Objection to form.
       22   excerpts of the monograph.                               22              THE WITNESS: Yes.
       23              MS. PARFITT: Thank you.                       23   BY MR. JAMES:
       24   BY MR. JAMES:                                            24      Q. Okay. And just to be clear, the IARC here
       25      Q. Okay. And if we turn to page 254,                  25   acknowledges that the non-occupational studies report

                                                                                        24 (Pages 90 to 93)
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                                                       Page 94                                                       Page 96
         1   nonstatistically significant associations; correct?       1      A. Yes.
         2       A. They note "positive, though nonsignificant         2      Q. The IARC has not concluded that the presence
         3   increases."                                               3   of asbestos in talc powders renders such powders as
         4          Yes, that's what it states.                        4   carcinogenic, has it?
         5       Q. And if you turn with me to page 280 of the         5             MS. PARFITT: Objection. Form.
         6   same monograph, Dr. Moorman, with respect to talcum       6             THE WITNESS: I can't recall if they
         7   powder, specifically, on the right-hand column of         7   have made that conclusion or not.
         8   page 280, it's the third full paragraph down, the IARC    8   BY MR. JAMES:
         9   monograph states (as read):                               9      Q. You understand that when the IARC separately
        10            "The association between exposure               10   assessed talcum powders in the other monograph that
        11            to talc, potential or retrograde                11   we're talking about, they classified perineal talc use
        12            translocation to the ovarian                    12   as a 2B do you know that?
        13            epithelium, and the development of              13             MS. PARFITT: And you're referring to
        14            an ovarian cancer is                            14   the 2010 monograph?
        15            controversial."                                 15             MR. JAMES: Yes, and I think that's
        16          Do you see where I was reading that?              16   what I said, and if I didn't, my apologies.
        17       A. I do see that.                                    17             THE WITNESS: Yes, to be a possible
        18       Q. So in the same monograph where they're            18   carcinogenic.
        19   talking about asbestos and ovarian cancer in general,    19   BY MR. JAMES:
        20   the IARC calls out the issue of talcum powder as a       20      Q. Okay. And by designating perineal talc use
        21   controversial association; correct?                      21   as a 2B, the IARC is not concluding that it is, in
        22              MS. PARFITT: Objection. Form.                 22   fact, a carcinogenic; correct?
        23              THE WITNESS: That's what it states,           23      A. What they are concluding is that it is a
        24   yes.                                                     24   possible carcinogen.
        25                                                            25      Q. IARC has multiple classifications; correct?
                                                       Page 95                                                       Page 97
         1   BY MR. JAMES:                                             1       A. That is correct.
         2       Q. Did you cite that conclusion in your report?       2       Q. If they characterize -- if they -- if they
         3              MS. PARFITT: Objection. Form.                  3   characterize something as a carcinogen, they label it
         4              THE WITNESS: I did not specifically            4   as a Group 1; correct?
         5   cite this, because, you know, again, this was a           5       A. That is correct.
         6   conclusion made IARC 2010, and additional data has        6       Q. If they characterize something as a probable
         7   accumulated. And so I think that we're seeing that if     7   carcinogen, they label it a 2A; correct?
         8   they had -- you know, of course, I have no way of         8       A. That is correct.
         9   knowing what they would conclude, but I think that, in    9       Q. And if they characterize something as a
        10   light of additional evidence that has arisen since the   10   possible, it's a 2B; correct?
        11   time that this report was written, a different           11       A. That is correct.
        12   conclusion could have been reached.                      12       Q. And the IARC has settled on 2B with talc --
        13              MR. JAMES: Okay. And I object to the          13   and with perineal talc use; correct?
        14   nonresponsive portion of that answer.                    14              MS. PARFITT: Objection. Form.
        15   BY MR. JAMES:                                            15              THE WITNESS: Once again, at the time
        16       Q. And for purposes of the record, Dr. Moorman,      16   of the report, that's what they decided on.
        17   the monograph that we're looking at here together was    17   BY MR. JAMES:
        18   published in 2012; correct?                              18       Q. The opinions that you're offering in
        19       A. That is correct.                                  19   litigation in this MDL report are contrary to those
        20       Q. I think that you're probably thinking of the      20   reached by IARC; correct?
        21   other monograph, which is the 2010 monograph; correct?   21              MS. PARFITT: Objection. Form.
        22   When you said 2010?                                      22              THE WITNESS: No. I don't think that
        23       A. Well, I was looking at what was stated in         23   they are contrary. I think possible carcinogen --
        24   that paragraph.                                          24   they are not saying it is not a carcinogen; they're
        25       Q. Fair enough. Fair enough.                         25   saying a possible carcinogen.
                                                                                         25 (Pages 94 to 97)
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                                                      Page 98                                                      Page 100
        1          And I -- my report, with the additional            1               MR. MIZGALA: There's a big difference.
        2   information that has been published since the time        2               MR. JAMES: Let's just move on.
        3   that this report was done, I think that it strengthens    3               MS. PARFITT: I didn't say
        4   the conclusions. And that's why I felt comfortable        4   "peritoneal." That may be what the court reporter --
        5   saying that it is a cause of ovarian cancer.              5           And, Sophie, the record should reflect that
        6   BY MR. JAMES:                                             6   when we are saying -- for the most part, when someone
        7       Q. And so what you're saying is different than        7   wants to say something, it's "perineal" --
        8   what the IARC said in 2010; correct?                      8               MR. JAMES: May we continue?
        9              MS. PARFITT: Objection. Misstates her          9               MS. PARFITT: I appreciate it. Thank
       10   testimony. Asked and answered.                           10   you.
       11              THE WITNESS: I'm saying that there is         11           I just want to help the court reporter out,
       12   additional evidence that has arisen, and it              12   Scott. I'm sure you want a very clear record.
       13   strengthens the -- it strengthens the evidence for the   13           And, James, thank you very much for making
       14   association between talc and ovarian cancer.             14   sure it is clear.
       15   BY MR. JAMES:                                            15           So, Sophie, thank you. When we say
       16       Q. And in 2010, IARC did not determine that          16   "perineal," we mean "perineal." Not your fault at
       17   perineal talc use was carcinogenic; correct?             17   all.
       18       A. They said --                                      18           Thank you.
       19              MS. PARFITT: Objection. Misstates             19               MR. JAMES: Are we good?
       20   testimony.                                               20               MS. PARFITT: We are so good.
       21              THE WITNESS: -- it was a possible             21   BY MR. JAMES:
       22   carcinogen.                                              22        Q. In 2010, the IARC declared talc -- perineal
       23              MR. JAMES: I didn't misstate any              23   talc a 2B; correct?
       24   testimony. I didn't state anything about her             24        A. That is correct.
       25   testimony. I asked a question.                           25        Q. Okay. In 2010, the evidence that was before
                                                      Page 99                                                      Page 101
        1              MS. PARFITT: You actually                      1   the IARC -- was the evidence at that time sufficient
        2   misrepresented her answer in your question. That was      2   for IARC to have said something more than 2B?
        3   my objection. You can go ahead.                           3               MS. PARFITT: Objection. Form.
        4              MR. JAMES: If you'd like to read the           4               THE WITNESS: I'm not quite sure.
        5   realtime, I didn't say anything about what she            5   BY MR. JAMES:
        6   testified to. I asked a question --                       6        Q. You want me to rephrase?
        7              MS. PARFITT: You said, "In 2010" --            7        A. Yes, if you wouldn't mind.
        8                (Over-speaking.)                             8        Q. You alluded to evidence that has -- and if
        9              MR. JAMES: But if you want to continue         9   I'm misstating your testimony, Ms. Parfitt, please
       10   to do that all day --                                    10   object, because now I actually am talking about your
       11              MS. PARFITT: -- "IARC did not                 11   testimony.
       12   determine that peritoneal [sic] talc was carcinogenic;   12        A. Okay.
       13   correct?"                                                13        Q. But you alluded earlier that evidence has
       14          Just before that, she had said that it was        14   developed since the 2010 monograph; correct?
       15   carcinogenic.                                            15        A. Right.
       16              MR. JAMES: But I wasn't misstating her        16        Q. And so my question is, in your expert
       17   testimony.                                               17   assessment in 2010, when the IARC declared perineal
       18              MS. PARFITT: Well, when you say that,         18   talc use to be a 2B, was the evidence at that snapshot
       19   and she answered the question before that that's not     19   in time sufficient to support something more than 2B,
       20   what IARC said, and then you say that is what IARC       20   less than 2B, or did the IARC get it right?
       21   says, you are misstating her testimony.                  21               MS. PARFITT: Objection. Form.
       22              MR. MIZGALA: It's "perineal," not             22               THE WITNESS: I -- I think that their
       23   "peritoneal."                                            23   statement that it is a possible carcinogen -- I don't
       24              MR. JAMES: Let's just move on. If you         24   know if you can -- you know, possible versus probable,
       25   continue to --                                           25   it's -- I don't know that there is any checklist to

                                                                                      26 (Pages 98 to 101)
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                                                      Page 102                                                      Page 104
        1    say this level of evidence would lead it to possible      1              MS. PARFITT: Objection to form.
        2    versus probable.                                          2              THE WITNESS: I -- when I look at some
        3           And so to say whether or not they got it           3   of the studies, there are limitations, as there are
        4    right, I don't know how to answer that question.          4   with -- I would say, with any study of humans and
        5    I think that they certainly are indicating that there     5   cancer.
        6    was evidence indicating a problem, and now we have        6           One of the things that comes to mind as a
        7    more evidence that strengthens the -- I think there's     7   possible limitation is that, in the occupational
        8    greater evidence that talc can cause ovarian cancer.      8   studies, the cohorts are relatively small for looking
        9    BY MR. JAMES:                                             9   at cancer outcomes. So in many -- maybe the
       10        Q. If someone had asked you to assess the body       10   majority -- of them, they had a few hundred people in
       11    of scientific and medical literature in 2010 on the      11   the cohort; and, when you looked at the expected
       12    claim that talcum powder products cause ovarian          12   versus the observed number of cases, we're talking
       13    cancer, would you have opined in 2010 that the           13   about a handful of cases.
       14    evidence was sufficient to state that talcum powder      14           So it might be, you know, two or three
       15    products generally cause ovarian cancer?                 15   observed cases versus .6 expected or something like
       16              MS. PARFITT: Objection. Form.                  16   that.
       17              THE WITNESS: I think that it is                17           So that is a limitation of all of -- as
       18    impossible to say with certainty what -- at that point   18   I recall, all of the occupational cohort studies that
       19    in time what would I have opined? I think that, as we    19   the sample cites of the cohort.
       20    are well aware, the body of literature has continued     20   BY MR. JAMES:
       21    to grow over time. I think that it has only              21        Q. Would you also acknowledge that another
       22    strengthened over time. At what point would I have       22   limitation to that body of literature is the fact that
       23    been able to opine that talc is a cause of ovarian       23   it's in the occupational context?
       24    cancer? I can't pinpoint that exactly.                   24              MS. PARFITT: Objection. Form.
       25                                                             25              THE WITNESS: I don't necessarily
                                                      Page 103                                                      Page 105
         1   BY MR. JAMES:                                             1   consider that a limitation. That is where people had
         2       Q. And when you say in 2010 IARC declared talc a      2   exposure to this -- to asbestos in an occupational
         3   2B, I think the phrasing that you used was that they      3   setting. So if you want to look at the health effects
         4   were saying that there was, quote, a problem.             4   of that exposure, that's exactly where you would do
         5           Is that what you said?                            5   the study.
         6       A. I think that I said something to that effect.      6   BY MR. JAMES:
         7       Q. Okay. You understand that the IARC's               7       Q. Do you agree that the body of literature in
         8   classification system does have a checklist of sorts      8   the occupational context, which looks at exposure to
         9   to determine if something is a 1, a 2A, or a 2B;          9   asbestos in the occupational setting, is different
        10   correct? Or a 3 and so on and so forth.                  10   than the allegation that exposure to contaminated
        11       A. I am not familiar with the exact checklist.       11   talcum powder products causes ovarian cancer?
        12   Yes.                                                     12       A. The -- I agree that there is some difference
        13       Q. Do you understand that, if IARC declares          13   in the exposure, but it's part of the body of
        14   something a 2B, it's concluding that chance, bias, and   14   literature. It's -- people exposed in this way, they
        15   confounding cannot be ruled out? Did you know that?      15   are at increased risk for ovarian cancer. So they may
        16       A. Again, off the top of my head, I cannot           16   have different levels of exposure, different routes of
        17   recall exactly what are their -- you know, as you put    17   exposure, but it's all part of the body of literature.
        18   it, what is their checklist.                             18       Q. You would agree that someone that's exposed
        19       Q. Returning now back to the body of literature      19   to asbestos-containing products in a factory
        20   on asbestos and ovarian cancer, you have testified       20   environment for a full workday is experiencing a
        21   that you have reviewed that body of literature;          21   different level of exposure to someone who is using
        22   correct?                                                 22   allegedly contaminated asbestos talcum powder
        23       A. Yes.                                              23   products?
        24       Q. Do you recognize any limitations to that body     24             MS. PARFITT: Objection. Form.
        25   of literature?                                           25

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                                                      Page 106                                                      Page 108
         1   BY MR. JAMES:                                             1   meta-analysis before; correct?
         2       Q. Let me rephrase that, because I jumbled that       2      A. I have.
         3   up.                                                       3      Q. You don't have any discussion of the Reid
         4          Would you agree that the level of exposure         4   paper in your report; correct?
         5   that someone would experience in the occupational         5      A. I don't -- I don't believe I do.
         6   setting to asbestos products is qualitatively             6      Q. Do you understand that the Reid paper
         7   different than what Plaintiffs are alleging in this       7   conflicts in part with the claim that asbestos is a
         8   case, which is exposure to talcum powder products that    8   cause of ovarian cancer?
         9   are allegedly contaminated with asbestos?                 9             MS. PARFITT: Objection.
        10       A. I acknowledge that the exposures are              10             THE WITNESS: I know what they -- what
        11   different. It's how they are applied -- or, you know,    11   these authors concluded.
        12   the -- you know, we're talking about exposure to the     12   BY MR. JAMES:
        13   genital area when we're talking about talcum powder      13      Q. And if you look with me on page 1294,
        14   products that may contain asbestos, where we would not   14   Dr. Moorman, in the "conclusions" section, you see at
        15   expect to have genital exposure of asbestos in an        15   the bottom of that paragraph, with the sentence
        16   occupational setting.                                    16   beginning with the word "however" -- it's sort of
        17          So, yes, there are differences.                   17   three-fourths of the way down -- the authors state
        18       Q. Do you acknowledge another limitation in the      18   (as read):
        19   body of literature that IARC looked at to be             19           "However, the authors of this
        20   misclassification?                                       20           article suggest that the IARC
        21       A. In epidemiology, we -- we recognize that          21           decision to determine asbestos
        22   there is likely to be misclassification in any           22           exposure as a cause of ovarian
        23   epidemiologic study that you do. This is not a           23           cancer was premature and not
        24   situation like with laboratory studies of animals        24           wholly supported by the evidence."
        25   where you can control every exposure, measure it very    25          Do you see where I read that?
                                                      Page 107                                                      Page 109
        1    accurately.                                               1      A. I do see that.
        2           So some potential misclassification is             2      Q. Okay. And so you acknowledge here that the
        3    possible, as it is in any epidemiologic study.            3   authors of this paper have called into question the
        4        Q. And the issue of misclassification has been        4   IARC decision; correct?
        5    specifically acknowledged in this body of literature;     5             MS. PARFITT: Objection. Form.
        6    correct?                                                  6             THE WITNESS: I see what they have
        7               MS. PARFITT: Objection to form.                7   stated here, that --
        8               THE WITNESS: Can you be more specific          8   BY MR. JAMES:
        9    about which misclassification you're referring to?        9      Q. And --
       10    BY MR. JAMES:                                            10      A. -- that is their opinion, yes.
       11        Q. Sure. So what I'm referring to is                 11      Q. Excuse me, Doctor. My apologies.
       12    misclassification of disease.                            12      A. Yes.
       13           Do you -- do you recall that, in this body        13      Q. And, again, this paper is assessing the
       14    of literature, there is discussion that, given the       14   IARC's conclusion about asbestos and ovarian cancer in
       15    small number of cases which you described earlier,       15   general; correct?
       16    misclassification -- the potential for disease           16             MS. PARFITT: Objection. Form.
       17    misclassification is a limitation to this body of        17   BY MR. JAMES:
       18    literature?                                              18      Q. It's not -- this article isn't pertaining to
       19        A. I am aware that that is an issue that has         19   the issue of alleged asbestos contamination in talcum
       20    been discussed in this literature, yes.                  20   powder products, is it?
       21               MR. JAMES: And I'm going to mark as           21      A. Right. This is focused just on asbestos and
       22    Exhibit No. 15 the Reid paper.                           22   ovarian cancer.
       23       (Exhibit No. 15 was marked for identification.)       23      Q. And if you look at the bottom of that -- the
       24    BY MR. JAMES:                                            24   very last sentence in that paragraph, you see where
       25        Q. And, Dr. Moorman, you've seen this Reid           25   the authors there discuss the potential problem of

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                                                     Page 110                                                      Page 112
        1   misclassification?                                        1       Q. Did you review those articles?
        2       A. I'm sorry, where are you?                          2       A. I did look at them, and as I recall, almost
        3       Q. It's the very last sentence, Doctor.               3   all of those -- the miners and -- almost all of the
        4       A. Yes, I see what is written there.                  4   miners, and probably the millers, they were focusing
        5       Q. So this article conflicts with your                5   primarily on males who were the people who were mostly
        6   litigation opinion; correct?                              6   involved in that type of work.
        7              MS. PARFITT: Objection. Form.                  7       Q. You would agree with me that if talcum
        8              THE WITNESS: This reflects the opinion         8   powder, that is used in cosmetic talc products, is, in
        9   of these authors. There was another meta-analysis of      9   fact, contaminated with asbestos, then you would
       10   asbestos and ovarian cancer that I believe was           10   expect to see increased cancer incidence rates, for
       11   published in the same year. And as I recall, the         11   example, of mesothelioma, in cosmetic talc miners and
       12   conclusions of those authors, while acknowledging        12   millers; correct?
       13   potential misclassification of disease, they felt like   13             MS. PARFITT: Objection. Form.
       14   the evidence was adequate to rule that out as a          14             THE WITNESS: I wouldn't be surprised
       15   possible source of bias that would explain the           15   to see that, yes.
       16   association that was observed.                           16   BY MR. JAMES:
       17   BY MR. JAMES:                                            17       Q. And did you know that that body of literature
       18       Q. And you're speaking of the Camargo article,       18   reports no increased cancer incidence in talc miners
       19   I believe?                                               19   and millers?
       20       A. Yes.                                              20       A. It has been a while since I have looked at
       21       Q. And have you separately assessed the issue of     21   those papers, so I don't remember exactly what they
       22   misclassification and whether, in your mind, that        22   reported.
       23   presents a significant enough problem to call into       23       Q. And those papers are not discussed in your
       24   question the IARC conclusions?                           24   report; correct?
       25              MS. PARFITT: Objection. Form.                 25       A. Once again, I was focusing primarily on

                                                     Page 111                                                      Page 113
        1              THE WITNESS: Let me read your...               1   ovarian cancer. And as many of these were on male
        2          I believe that I was convinced by the              2   subjects, I had looked at them, but they were of
        3   information presented in the Camargo article that         3   somewhat lesser importance to my review.
        4   I don't think that misclassification was enough of a      4       Q. If --
        5   problem to change the conclusion.                         5              MS. PARFITT: I don't want to
        6   BY MR. JAMES:                                             6   interrupt, and maybe a few follow-up questions. We're
        7      Q. Are you familiar with -- did you undertake a        7   probably into about an hour and 20 minutes or so. But
        8   Bradford Hill analysis of the literature on asbestos      8   I don't want to interrupt your flow either.
        9   and ovarian cancer to reach the conclusion that           9              MR. JAMES: I can finish up in a few,
       10   asbestos is a cause of ovarian cancer?                   10   or if you need a break now, we can take it now.
       11      A. I didn't -- did not do the Bradford Hill           11              THE WITNESS: Let's finish up in a few.
       12   analysis as I did with the talcum powder products and    12              MR. JAMES: And when I say "finish up,"
       13   ovarian cancer. I felt like it was pretty well           13   I just mean this line. I apologize for that. That
       14   accepted.                                                14   was misleading, I think.
       15      Q. Did you consider a body of literature              15          Sure. Give me a couple more, and then we'll
       16   commonly referred to as the "miners and millers          16   take a break.
       17   studies"?                                                17              THE WITNESS: Yeah, we can go a few
       18      A. Please -- I'm sorry. When you talk about the       18   more minutes.
       19   miners and millers studies, I'm not sure that I'm on     19              MS. PARFITT: Thank you, Scott.
       20   the same page with you.                                  20   BY MR. JAMES:
       21      Q. Are you familiar -- are you aware of the fact      21       Q. If asbestos-contaminated talcum powder
       22   that there's a body of literature that has looked at     22   products have existed on the market for some period of
       23   cancer incidence rates in miners and millers of talc?    23   time, wouldn't you expect to find higher incidence
       24      A. Yes, I am aware of some of those articles.         24   rates of other cancers of talcum powder users?
       25   Yes.                                                     25              MS. PARFITT: Objection. Form.

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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 114                                                      Page 116
         1             THE WITNESS: It depends.                        1              MS. PARFITT: Objection. Form.
         2   BY MR. JAMES:                                             2              THE WITNESS: I considered it as part
         3       Q. For example -- oh, I'm sorry. I thought you        3   of the constituents of the talcum powder products. My
         4   were done.                                                4   overall opinion is based on exposure to talcum powder
         5       A. I am done. Go ahead.                               5   products and whatever constituents are in there,
         6       Q. For example, if asbestos has contaminated          6   including the fibrous talc.
         7   talcum powder products for some period of time,           7   BY MR. JAMES:
         8   wouldn't you expect to see higher rates of                8       Q. Given that you have opined in your MDL report
         9   mesothelioma in users of cosmetic talcum powder           9   for the first time on fibrous talc and did not provide
        10   products?                                                10   that opinion in the Ingham case, can you tell me what
        11       A. You know, mesothelioma is an exceedingly rare     11   you're basing your opinion on with regard to the
        12   cancer, and I don't know -- I don't know to what         12   fibrous talc?
        13   extent it has been -- talcum powder products --          13              MS. PARFITT: Objection.
        14   cosmetic talcum powder products has been examined as a   14           Hey, Scott, if I can ask -- I'm sorry, it
        15   risk factor for that.                                    15   isn't rolling. Is there some reason? I don't want to
        16       Q. Are you aware of any data showing that users      16   interrupt. We'll deal with it.
        17   of cosmetic talcum powder products are at greater risk   17              THE COURT REPORTER: I can come over
        18   of mesothelioma, asbestosis, or any other                18   and do it, but we'll have to go off.
        19   asbestos-related diseases?                               19              MS. PARFITT: Sorry about that.
        20             MS. PARFITT: Objection. Form.                  20              THE VIDEOGRAPHER: Going off the record
        21             THE WITNESS: I can't think of that             21   at 12:40 p.m.
        22   data right offhand, no.                                  22                (Off the record.)
        23             MR. JAMES: Okay. And how about now             23              THE VIDEOGRAPHER: Back on record at
        24   for a break?                                             24   12:41 p.m.
        25             THE WITNESS: Okay.                             25

                                                     Page 115                                                      Page 117
         1              MS. PARFITT: Thank you.                        1   BY MR. JAMES:
         2              THE VIDEOGRAPHER: Going off record at          2      Q. Dr. Moorman, before the quick break -- I'll
         3   11:45 a.m.                                                3   just restate the question.
         4       (Recess taken from 11:45 a.m. to 12:39 p.m.)          4      A. Okay.
         5              THE VIDEOGRAPHER: Back on record at            5      Q. So what do you base your opinions on with
         6   12:39 p.m.                                                6   regard to fibrous talc?
         7   BY MR. JAMES:                                             7      A. Okay. My opinion, I guess, is -- again, it's
         8       Q. Dr. Moorman, you include in your MDL report        8   always been based on the constituents of the talcum
         9   references to "talc occurring in the fibrous habit."      9   powder products. And so maybe clarifying based on
        10           Do you recall referring to that in your          10   maybe further reading on the constituents of, like,
        11   report?                                                  11   asbestiform talc, that this again contributes to the
        12       A. Yes, I do.                                        12   biological plausibility of it, that this is another
        13       Q. That terminology is new to the MDL for you,       13   potential constituent of the talcum powder product
        14   isn't it?                                                14   that could contribute to ovarian cancer risk.
        15              MS. PARFITT: Objection. Form.                 15      Q. So one component of your opinion is that
        16   BY MR. JAMES:                                            16   there is fibrous talc in talcum powder products;
        17       Q. I'll clarify.                                     17   correct?
        18       A. Please. Please do.                                18      A. Yes.
        19       Q. You did not -- in your Ingham testimony,          19      Q. Okay. And given that that is a new opinion,
        20   where you provided your opinions in the Ingham case,     20   I am attempting to source the bases for that opinion.
        21   you did not refer to "fibrous talc," did you?            21          Are the opinions that you have about the
        22       A. No, I don't believe I did.                        22   presence of fibrous talc in talcum powder products
        23       Q. So that -- sorry.                                 23   based upon the same materials that you rely on for
        24           So that's a new component of your opinion in     24   your opinions about the presence of asbestos in talcum
        25   the MDL?                                                 25   powder products?

                                                                                     30 (Pages 114 to 117)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 118                                                      Page 120
         1              MS. PARFITT: Objection. Form. As far           1   BY MR. JAMES:
         2   as a new opinion.                                         2       Q. Would you defer to others with regard to the
         3              THE WITNESS: I'm sorry, let me read            3   question of whether heavy metals are in the talcum
         4   that.                                                     4   powder products?
         5           So my opinions about the presence of fibrous      5       A. I -- by deferring to others, okay, I clearly
         6   talc in talcum powder products is based on some of the    6   do not do the analyses of those -- of those -- those
         7   same materials that have done analyses of talcum          7   types of analyses myself, so I am relying on a report.
         8   powder products, yeah.                                    8   In this case, it was a report done by Dr. Crowley.
         9   BY MR. JAMES:                                             9       Q. Just to clarify, and Ms. Parfitt can correct
        10       Q. Would that include the Longo -- Dr. Longo         10   me if I'm wrong, but when you refer to Dr. Crowley's
        11   litigation testing?                                      11   report, are you referring to Dr. Crowley's report
        12       A. I believe that he did make some mention of        12   about fragrances?
        13   that in his report, yes.                                 13       A. And I believe that it was not just
        14       Q. And other -- would that include other             14   fragrances, but it was a number of substances that he
        15   litigation reports that you reviewed?                    15   analyzed in that -- that he addressed in his analysis.
        16              MS. PARFITT: Objection. Form.                 16       Q. Did you do any independent searching for
        17              THE WITNESS: I'm -- precisely where           17   materials or scientific literature on the allegation
        18   the information came from, that there is fibrous talc    18   that heavy metals in cosmetic talc powders cause
        19   in talcum powder products, I -- I don't recall exactly   19   ovarian cancer?
        20   where -- where I gleaned that information.               20             MS. PARFITT: Objection.
        21   BY MR. JAMES:                                            21             THE WITNESS: Okay. I'm reading your
        22       Q. And did you -- did you ask counsel if there       22   question again.
        23   was any information provided by Johnson & Johnson in     23          No. I -- the -- what I looked at in regards
        24   the talc litigation rebutting the claim that there's     24   to heavy metals -- again, we have this report
        25   fibrous talc present in the products?                    25   indicating that these can be found in some talcum
                                                      Page 119                                                      Page 121
        1              MS. PARFITT: Objection. Form.                   1   powder products, and then again we have data
        2              THE WITNESS: No, I did not                      2   indicating that these heavy metals can cause certain
        3    specifically ask them for that information.               3   types of cancer.
        4    BY MR. JAMES:                                             4           So it contributes to the biological
        5        Q. Have you relied on any epidemiology                5   plausibility that there are substances in the talcum
        6    substantiating a claim that fibrous talc is               6   powder products that could lead to cancer.
        7    carcinogenic?                                             7   BY MR. JAMES:
        8        A. I am not aware of any epidemiologic                8       Q. With regard to opinions about the presence of
        9    literature that specifically addressed that question.     9   heavy metals in talcum powder products, did you ask to
       10        Q. Turning to your opinions on heavy metals,         10   see any information or materials presented in the talc
       11    Dr. Moorman, you have opined in your report about        11   litigation by Johnson & Johnson as to that claim?
       12    chromium, nickel, and cobalt; correct?                   12       A. No, I did not.
       13        A. Yes, I have.                                      13       Q. Did you do any separate analysis of the
       14        Q. Yet your opinions in the MDL report about the     14   talcum powder products to determine the presence of
       15    alleged presence of chromium, nickel, and cobalt in      15   heavy metals in these products?
       16    talcum powder products is new in the sense that you      16       A. I did not do any analyses of talcum powder
       17    did not express that opinion in the Ingham case;         17   products.
       18    correct?                                                 18       Q. Do you have any knowledge concerning the
       19              MS. PARFITT: Objection. Misstates her          19   testing that is performed by Johnson & Johnson and
       20    testimony -- our testimony.                              20   third parties with respect to constituent elements in
       21              THE WITNESS: I think the gist of my            21   the products?
       22    opinions are based on talcum powder products and         22       A. No. This is outside my area of expertise.
       23    whatever constituents are in there; so talc, asbestos,   23       Q. Do you have any information about allowable
       24    any fragrances or other contaminants that may be in      24   levels of constituent elements in the talcum powder
       25    there. So it's based on the product.                     25   products?

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                                                     Page 122                                                      Page 124
         1       A. No, I do not.                                     1             THE WITNESS: I -- I think that we do
         2       Q. Do you have any basis to believe that if          2   not have the data to specifically address that
         3   talcum powder products exceeded allowable levels for     3   question specifically in regard to ovarian cancer.
         4   constituent elements, that those products went to        4   BY MR. JAMES:
         5   market?                                                  5       Q. With regard to the opinions you've expressed
         6              MS. PARFITT: Objection. Form.                 6   as to fragrances, is the sole basis of those opinions
         7              THE WITNESS: No, I -- I don't have any        7   the value of work?
         8   information in that regard.                              8       A. That's the only document that I referred to.
         9   BY MR. JAMES:                                            9       Q. And you understand --
        10       Q. Okay. Turning to -- with -- to your opinion      10             MR. JAMES: Ms. Parfitt, is it
        11   on -- strike that.                                      11   Dr. Crowley?
        12          Do you hold the independent opinion that         12             MS. PARFITT: Dr. Crowley.
        13   cadmium, chromium, and cobalt cause ovarian cancer?     13   BY MR. JAMES:
        14              MS. PARFITT: Objection. Form.                14       Q. Okay. Do you understand that Dr. Crowley is
        15              THE WITNESS: I do -- I am not aware of       15   a paid expert in this litigation for the Plaintiffs?
        16   papers that have directly addressed those metals in     16       A. I do understand that.
        17   relation to ovarian cancer risk. I am basing it more    17       Q. Do you know if Dr. Crowley conducted any sort
        18   on the conclusions from IARC that they do have          18   of risk assessment with regard to his calculations?
        19   carcinogenic potential.                                 19       A. I do not know that.
        20   BY MR. JAMES:                                           20       Q. If Johnson & Johnson talcum powder products
        21       Q. And is the same true for nickel?                 21   were not contaminated with asbestos, if you would
        22       A. Yes.                                             22   accept that proposition from me, would you still hold
        23       Q. With regard to the alleged carcinogenicity of    23   the opinion that talcum powder products are a general
        24   the constituent metal elements that you've identified   24   cause of ovarian cancer?
        25   in your report, did you consider anything other than    25             MS. PARFITT: Objection. Form.
                                                     Page 123                                                      Page 125
         1   the IARC monograph that you cited?                       1           You can answer.
         2        A. No, I did not.                                   2             THE WITNESS: Okay. The opinion
         3        Q. Did the IARC monograph that you cited include    3   I formed is based primarily on the epidemiologic data;
         4   any assertion that the presence of these metals in       4   and the epidemiologic data is based on talcum powder
         5   talcum powders rendered those powders carcinogenic?      5   products, whatever is contained in them. And in study
         6        A. I do not believe so.                             6   after study, we see increased risk for ovarian cancer.
         7        Q. Did the IARC 2010 monograph on talc include      7   So whatever is contained in the talcum powder products
         8   any assertion that the presence of heavy metals in       8   leads me to conclude that it can cause ovarian cancer.
         9   those powders supports the 2B conclusion?                9   BY MR. JAMES:
        10              MS. PARFITT: Objection. Form.                10       Q. And just to make sure that I understand your
        11              THE WITNESS: I don't recall any              11   answer --
        12   mention of heavy metals in that monograph.              12       A. Yes.
        13   BY MR. JAMES:                                           13       Q. -- if the talcum powder products were not
        14        Q. Returning back to fragrances, in your MDL       14   contaminated with asbestos, would you still reach the
        15   report, you refer to a report by Crowley. Did I say     15   general cause opinion that you've offered in this
        16   that right?                                             16   case?
        17        A. I've never met the man, so I don't know how     17             MS. PARFITT: Objection. Form.
        18   it's pronounced, but yes, that's what I said.           18             THE WITNESS: I am -- I think that I've
        19        Q. And that's the report you identified for the    19   answered the question that it's based on talcum powder
        20   basis of your fragrance opinions; correct?              20   products, whatever is contained them -- in them. If
        21        A. Yes.                                            21   it is shown that there is no asbestos, that doesn't
        22        Q. Do you have -- do you hold the independent      22   change the fact that these dozens of epidemiologic
        23   opinion that the fragrance ingredients in talcum        23   studies have led to the conclusion of increased risk.
        24   powder products renders those products carcinogenic?    24   BY MR. JAMES:
        25              MS. PARFITT: Objection.                      25       Q. And does that same answer hold true if

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        1    I asked you the same question with respect to heavy       1   BY MR. JAMES:
        2    metals, fibrous talc, and fragrance ingredients?          2      Q. On page 4 of your -- actually, it's page 5 of
        3              MS. PARFITT: Objection. Form.                   3   your report, Dr. Moorman. You refer on the top of
        4              THE WITNESS: Yes. I am basing my                4   that page, in the first full paragraph, to the
        5    opinion on the use of talcum powder products and          5   Schildkraut 2016 study; correct?
        6    whatever are -- whatever their constituents are.          6      A. First paragraph? Yes, that is correct.
        7    BY MR. JAMES:                                             7      Q. And you say in that paragraph -- and if
        8        Q. As a professional epidemiologist -- is that a      8   you're looking at the same paragraph as I am -- you
        9    fair way to say it?                                       9   say there that (as read):
       10        A. Yes.                                              10            "This was the first study of talc
       11        Q. Okay. As a professional epidemiologist, part      11            use and ovarian cancer focused
       12    of your day-in, day-out work is to look at literature    12            exclusively on African-American
       13    on purported associations and make conclusions about     13            women."
       14    the strengths or weaknesses of that literature;          14          Correct?
       15    correct?                                                 15      A. Yes, I do.
       16        A. Yes.                                              16      Q. And to be clear, Dr. Moorman, that study did
       17        Q. And you have done that before you were            17   not look exclusively at talc use, did it?
       18    brought into the talc litigation on a variety of         18      A. No. The purpose of the African American
       19    different exposures or other things evaluated for        19   cancer epidemiology study was to look at the
       20    associations; correct?                                   20   epidemiology of ovarian cancer in African American
       21        A. That is correct.                                  21   broadly. So we've looked at a number of exposures.
       22        Q. And setting aside the issue of talcum powder      22      Q. And specific to the issue of powder, the
       23    products, have you ever before, in assessing other       23   Schildkraut 2016 study -- and I guess is the
       24    exposures or other associations, relied upon company     24   underlying study, the AACES -- looks at body powder,
       25    documents to reach your conclusions?                     25   not talc per se; correct?
                                                      Page 127                                                     Page 129
         1       A. I -- I'm trying to think.                          1      A. That was how the question was asked in the
         2          We have -- my colleagues and I have                2   questionnaire, yes.
         3   published systematic reviews of oral contraceptive use    3      Q. Okay. And so the statements in your report
         4   and ovarian cancer and other cancer risk. And as part     4   that state that the study looked at talc powder should
         5   of that procedure -- this was through the Agency on       5   be clarified; correct?
         6   Healthcare Research and Quality, or AHRQ -- and as        6              MS. PARFITT: Objection. Form.
         7   part of that procedure trying to ensure that we have      7              THE WITNESS: I think to be absolutely
         8   all relevant documents, I believe that there was an       8   precise, we should have -- I should have said body
         9   effort to see if there were any company document          9   powder. But based on other literature, most body
        10   studies that would be relevant to that systematic        10   powder use is talcum powder product use. So I agree,
        11   review.                                                  11   I could have been more precise in my language there.
        12       Q. What about any internal company testing           12   BY MR. JAMES:
        13   documents? Have you ever looked at any internal          13      Q. And you understand body powders are made up
        14   company testing documents in assessing any association   14   of a variety of constituents; correct?
        15   that you've considered throughout your career?           15      A. Yes.
        16       A. No --                                             16      Q. There are baby powders that are made of
        17              MS. PARFITT: Objection.                       17   things other than talc; correct?
        18              THE WITNESS: -- I did not.                    18      A. I believe so, that there are cornstarch
        19   BY MR. JAMES:                                            19   powders as well.
        20       Q. Have you ever considered any paid litigation      20      Q. And there are deodorizing powders that are
        21   expert reports in assessing any other association that   21   made of things other than talc; correct?
        22   you've looked at through your career?                    22      A. I believe so, yes.
        23              MS. PARFITT: Objection. Form.                 23      Q. And you know cornstarch, if there's a baby
        24              THE WITNESS: I -- I can't think of            24   powder made of cornstarch, that product does not
        25   another instance where I have done that.                 25   contain talc; correct?

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        1        A. Yes.                                               1   anywhere else in your report, that for any genital use
        2        Q. Or -- I should clarify.                            2   of body powder with an interview date before 2014, the
        3           If the version of the baby powder one is           3   results were not statistically significant; correct?
        4    purchasing is labeled as a cornstarch product, it's       4              MS. PARFITT: Objection.
        5    cornstarch, not talc; correct?                            5              THE WITNESS: If you would give me just
        6        A. That is correct.                                   6   a moment to look through the report, I'd like to
        7        Q. So the study participants in this study are        7   verify how I addressed that.
        8    not limited to talc users; correct?                       8          I -- on page 23, I acknowledged that there
        9        A. That is correct.                                   9   was an attenuation of the odds ratio when comparing
       10        Q. You also say in the report, in conjunction        10   the women who were interviewed in the later time frame
       11    with these statements, that the study found a high       11   than in the earlier time frame.
       12    prevalence of talc use; correct?                         12   BY MR. JAMES:
       13        A. Yes.                                              13      Q. Okay. And I'm looking at where you're
       14        Q. And we're looking at the same paragraph,          14   looking, I believe, and it's the middle paragraph on
       15    Dr. Moorman. And, again, to be clear, the study          15   page 23; correct?
       16    didn't find that. The study, instead, found a high       16      A. That is correct.
       17    prevalence of powder use; correct?                       17      Q. And there you say (as read):
       18               MS. PARFITT: Objection.                       18             "The fact that the association was
       19               THE WITNESS: Again, once I -- as I            19             attenuated but not eliminated when
       20    acknowledged earlier, I could have been more precise     20             considering the full study
       21    in the language, that it's -- I think that it -- based   21             population suggested that the
       22    on our knowledge of the sales and other studies that     22             association was not due entirely
       23    have specifically reported on the types of powder use,   23             to recall bias."
       24    the majority of the powder use would have been talc.     24          Did I read that correctly?
       25                                                             25      A. That is correct.

                                                      Page 131                                                      Page 133
         1   BY MR. JAMES:                                             1       Q. Okay. And, again, here you do not report --
         2       Q. You're not offering opinions on the MDL            2   let me start over.
         3   litigation about cornstarch, are you?                     3           The association for talc users before 2014
         4       A. No, I am not.                                      4   date was not statistically significant; correct?
         5       Q. And you understand that the body of                5              MS. PARFITT: Objection. Form.
         6   epidemiological literature that has developed over the    6              THE WITNESS: Yes. The -- the odds
         7   last several decades has included findings looking at     7   ratio was elevated but not statistically significant.
         8   talc powders versus cornstarch powders versus non-talc    8   BY MR. JAMES:
         9   powders; correct?                                         9       Q. And you don't call that out in your report,
        10       A. Some studies, yes, have looked at the             10   do you?
        11   different powders.                                       11              MS. PARFITT: Objection. Form.
        12       Q. And your -- the Schildkraut 2016 study didn't     12              THE WITNESS: No. It's as it's
        13   undertake the effort to make that distinction, did it?   13   written.
        14              MS. PARFITT: Objection.                       14   BY MR. JAMES:
        15              THE WITNESS: I've already acknowledged        15       Q. And as it's written, it says, "The
        16   that the question in the questionnaire just asked        16   association was attenuated but not eliminated."
        17   about body powder use.                                   17           That's the wording you used; correct?
        18   BY MR. JAMES:                                            18       A. Yes.
        19       Q. You state that this study found a                 19       Q. Okay. But if the association is not
        20   statistically significant increase for risk among talc   20   statistically significant, would you still refer to
        21   users; right?                                            21   that association as attenuated and not eliminated? Is
        22       A. Yes. We're in the same paragraph. Right?          22   that the proper way to refer to it?
        23       Q. Yes, Doctor. Thank you.                           23       A. If the association was eliminated, if there
        24       A. Yes.                                              24   was no association, we would have had an odds ratio of
        25       Q. But you did not know in this paragraph, or        25   1. We have an odds ratio of 1.19.

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        1            It is -- I acknowledge that it was not            1   with respect to talc?
        2    statistically significant, but it was not eliminated.     2       A. If you -- I know you have it right in front
        3    It was attenuated. I think that my statement in my        3   of you. So if I could see it, so I could report it
        4    report is accurate.                                       4   accurately. I think I know what I found, but that was
        5        Q. So for any epidemiologic study that has an         5   paper that was done ten years ago.
        6    odds ratio that crosses 1 but is reported to be above     6             MR. JAMES: Okay. And, Dr. Moorman,
        7    1 with the odds ratio crossing 1 -- do you understand     7   I'm marking as Exhibit 16 a paper entitled "Ovarian
        8    what I'm asking? -- would you refer to that as an         8   Cancer Risk Factors in African-American and White
        9    association, an null association, a not statistically     9   Women."
       10    significant association? What terminology would you      10          I'm handing you two copies to pass along.
       11    use?                                                     11     (Exhibit No. 16 was marked for identification.)
       12        A. I would refer to it as a non-statistically        12             THE WITNESS: Okay. So we reported on
       13    significant association. If the data show 19 percent     13   talc use for white women and for African-American
       14    increased risk, it's not statistically significant.      14   women. Neither association was statistically
       15        Q. And by saying that, what you're saying is         15   significant, again, particularly for the African
       16    that the odds ratio that -- could fall with any --       16   American, which can be a reflection of the relatively
       17    within the range identified; correct?                    17   small sample size for African-American women. It was
       18                MS. PARFITT: Objection. Form.                18   an odds ratio of 1.19; in the white women, it was
       19                THE WITNESS: The -- when you report a        19   1.04.
       20    95 percent confidence interval, it gives a range of      20   BY MR. JAMES:
       21    values which is statistically compatible with what you   21       Q. And those two associations reported in your
       22    found. Like, if the study were repeated again with       22   paper in 2009 are not reported in your report, are
       23    other samples, you might find an odds ratio that was a   23   they?
       24    bit higher or a bit lower.                               24       A. I did not -- I do not believe that I reported
       25            But I think that it's very important to make     25   those specific odds ratios. Data from the

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         1   the distinction between no association and no             1   North Carolina ovarian cancer study was included in
         2   statistically significant association.                    2   the meta-analyses that I did describe.
         3   BY MR. JAMES:                                             3      Q. And with respect to odds ratio of 1.04 for
         4       Q. But you didn't make that distinction in your       4   white women -- do you see that? Are we looking at the
         5   report?                                                   5   same table together? Table 2?
         6               MS. PARFITT: Objection.                       6      A. Yes.
         7               THE WITNESS: You've asked the                 7      Q. Okay. And the 1.04 association there is very
         8   question, and I've acknowledged that I did not address    8   close to the null; correct?
         9   statistical significance in that sentence.                9              MS. PARFITT: Objection. Form.
        10   BY MR. JAMES:                                            10              THE WITNESS: Yes, it's close to 1.
        11       Q. On the same page of your report, if we go         11   BY MR. JAMES:
        12   back to page 5, you refer to a 2009 paper entitled       12      Q. And it has the odds ratio that crosses 1;
        13   "Ovarian Cancer Risk Factors in African-American and     13   correct? The odds ratio range? Is that a fair way to
        14   White Women"; correct?                                   14   say it?
        15       A. Let me get to page 5. Which paragraph are         15      A. No.
        16   you --                                                   16      Q. Okay. Tell me how to say it.
        17       Q. So it's the second paragraph. In fact, you        17      A. The 95 percent confidence interval --
        18   refer to it here as the North Carolina Ovarian Cancer    18      Q. That's right.
        19   Study; correct?                                          19      A. -- does cross 1.
        20       A. Right. Right. Okay. Yes.                          20      Q. So we have the 1.04 with the CI crossing 1;
        21       Q. My apologies. I -- with -- in conjunction         21   correct?
        22   that study, you published a paper in 2009; correct?      22      A. Yes.
        23       A. Right. Talc was not the primary focus of it,      23      Q. Would you refer to the 1.04 as an association
        24   but it was one of the risk factors that we looked at.    24   that is attenuated but not eliminated?
        25       Q. And do you recall the results of that study       25      A. Well, first of all, I would not refer to it

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        1   as attenuated because that implies that there's a         1       A. Yes, that's what's reported there based on a
        2   comparison with something else; and in the other          2   quite small sample size.
        3   paper, it was comparing the full study population to a    3       Q. And, again, both of these associations are
        4   subset. So I would never refer to this as attenuated.     4   not statistically significant; correct?
        5          This is what was shown in this particular          5       A. That is correct.
        6   study. It's an odds ratio of 1.04. It's very close        6       Q. And also I see over here to the left, the
        7   to 1.                                                     7   category listed here is labeled "Talc use"; correct?
        8       Q. Fair enough. And fair point about                  8       A. Yes.
        9   attenuated.                                               9       Q. So this paper looks specifically at talcum
       10          Would you refer to a 1.04 with a CI that          10   powders; is that right?
       11   crosses 1 as a positive association, as professional     11       A. I -- I believe that, in that questionnaire,
       12   epidemiologist?                                          12   it was specifically asking about talc use.
       13       A. When I would look at that, I would say that       13       Q. And, again, the results of this study are not
       14   there's little evidence of an association, very close    14   reported in your report; correct?
       15   to 1, in this study population -- in this study.         15       A. As I said before when you asked that, the
       16       Q. You've also published another study coming        16   data from the North Carolina Ovarian Cancer are
       17   out of the North Carolina Ovarian Cancer Study;          17   included in the Terry paper that combined data from
       18   correct?                                                 18   multiple studies.
       19       A. I have published quite a few papers that came     19       Q. On page 11 of your report, Dr. Moorman, you
       20   out of the North Carolina Ovarian Cancer Study.          20   state, in the -- I guess it's the second paragraph
       21       Q. And do you recall publishing a paper in 2010      21   down from the top, starting with the "it is important"
       22   entitled "Primary peritoneal and ovarian cancers: An     22   language.
       23   epidemiologic comparative analysis"?                     23       A. Mm-hmm.
       24       A. I was a coauthor on that paper, yes.              24       Q. Okay. And if you look down to the second
       25       Q. Okay. And is this paper discussed in your         25   sentence, you note there that (as read):
                                                     Page 139                                                      Page 141
        1   expert report at all?                                     1           "It is not unusual for scientists
        2       A. I don't think that I specifically addressed        2           and epidemiologists to weigh the
        3   it. Again, the data from the North Carolina Ovarian       3           Hill factors differently in
        4   Cancer Study was included in the Terry analysis --        4           reaching the conclusion."
        5              MR. JAMES: And I've marked the study           5          Correct?
        6   that I just referenced as Exhibit No. 17. I'm going       6      A. Yes, I state that.
        7   to hand you two copies.                                   7      Q. And then in the next sentence, you go on to
        8      (Exhibit No. 17 was marked for identification.)        8   provide examples of that; correct?
        9   BY MR. JAMES:                                             9      A. Correct.
       10       Q. And, Dr. Moorman, if we turn to page 995,         10      Q. And you note there (as read):
       11   there is a Table 2 continued onto page. And if you       11           "The evidence that cigarette
       12   look down, this paper does report odds ratios for talc   12           smoking causes lung cancer or
       13   use; correct?                                            13           asbestos causes lung disease."
       14       A. Yes, it does.                                     14          Right?
       15       Q. And for -- if you look over to the right, all     15      A. Yes.
       16   the way to the right, you see that you've reported a     16      Q. And those are the examples that you're
       17   1.15 not statistically significant association for       17   providing to support the prior sentence that
       18   serous invasive ovarian cancer; correct?                 18   epidemiologists can sometimes weigh things
       19       A. That's correct.                                   19   differently; is that right?
       20       Q. And that's with a CI that crosses 1; correct?     20      A. I give that as an example, yes.
       21       A. That is correct.                                  21      Q. For the two examples that you've provided
       22       Q. And if you look to the left of that, you've       22   there, has the medical and scientific community
       23   reported here a .76 odds ratio for the relationship      23   accepted that smoking causes lung cancer and that
       24   between talc use and primary peritoneal cancer;          24   asbestos causes lung disease?
       25   correct?                                                 25      A. I think that, yes, that is true. Now, the
                                                                                    36 (Pages 138 to 141)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 142                                                     Page 144
         1   point that I am making here is that some scientists,      1   that the criteria that I applied to come to a
         2   especially in the early years when the data were          2   conclusion of causality are based on strong data.
         3   accumulating related to smoking and lung cancer, some     3              MR. JAMES: Object to the nonresponsive
         4   people weighted the evidence differently.                 4   answer.
         5          For example, some of the studies looked at         5              THE WITNESS: Maybe you can clarify
         6   whether people reported whether or not they inhaled or    6   your question, because I'm -- maybe I didn't
         7   not, and some funny results were observed there. And      7   understand what you were asking.
         8   some scientists thought that was really important         8   BY MR. JAMES:
         9   evidence against an association, whereas others           9      Q. Sure. Dr. Moorman, you provided these
        10   thought it was -- it was not to be regarded very         10   examples in your report; correct?
        11   seriously.                                               11      A. These are examples to make the point that, as
        12      Q. Do you regard the body of evidence on smoking      12   we have said here, that some people weigh different
        13   and asbestos to be equivalent to the body of evidence    13   parts of the evidence a bit differently.
        14   on talc and ovarian cancer with regard to evaluating     14      Q. And so if someone who's reading your report
        15   cause?                                                   15   gets an impression that you are equating the body of
        16              MS. PARFITT: Objection.                       16   scientific and medical evidence on the issue of
        17              THE WITNESS: Could you clarify what           17   smoking and lung cancer to the body of scientific
        18   you mean by "equivalent"?                                18   evidence on talc and ovarian cancer, then they would
        19   BY MR. JAMES:                                            19   be getting the wrong impression; is that correct?
        20      Q. Sure. By providing these two examples              20              MS. PARFITT: Objection.
        21   here -- first, the smoking example, and second, the      21              THE WITNESS: I don't think that I am
        22   asbestos example -- are you suggesting that the body     22   equating the evidence for the two. I am -- equating
        23   of evidence to support the causal conclusion with        23   the evidence for the two types of cancer. I was using
        24   respect to asbestos and smoking is qualitatively         24   that to illustrate -- to support the sentence right
        25   and/or quantitatively the same or similar to the body    25   before that, is that, when we look at these Hill
                                                      Page 143                                                     Page 145
        1    of evidence we have in 2019 as to talc and ovarian        1   factors, scientists can look at them and they might
        2    cancer?                                                   2   weight one more heavily than another.
        3        A. To say that it is the same is -- I don't know      3   BY MR. JAMES:
        4    that you can say that it's the same. It's different       4       Q. And you -- you believe that the medical
        5    studies done in different time frames. The assessment     5   community accepts that smoking is a cause of lung
        6    of the exposure is a bit different.                       6   cancer; correct?
        7           So there are similarities and, you know, the       7       A. Yes, in general, I think that's true.
        8    criteria that I applied to come to my conclusion of       8       Q. Does the medical community believe that talc
        9    causality, I think, are similar to what has been          9   is a cause of ovarian cancer? Is that the medical
       10    applied to smoking and lung cancer. But the data are     10   community's consensus?
       11    different. There are different studies, different        11             MS. PARFITT: Objection. Form.
       12    time frame.                                              12             THE WITNESS: I'm not sure who you mean
       13        Q. Would you say that the data on smoking and        13   by "the medical community." I -- I think that there
       14    lung cancer is stronger than the data on talc and        14   are certainly -- there's plenty of evidence to support
       15    ovarian cancer --                                        15   my conclusion. We have evidence very recently from
       16               MS. PARFITT: Objection.                       16   Health Canada that they have come to the same
       17    BY MR. JAMES:                                            17   conclusion. So...
       18        Q. -- to support a causal conclusion?                18   BY MR. JAMES:
       19        A. I'm not sure why one would make such a            19       Q. Did Health Canada come to a causal
       20    comparison of what is stronger or not. I mean,           20   conclusion?
       21    clearly, we know that smoking and lung cancer is one     21       A. That was my reading of their document.
       22    of the strongest associations between an exposure and    22       Q. When's the last time you've read the
       23    a cancer.                                                23   documents from Health Canada?
       24           The odds ratio that is associated with talc       24       A. Probably within the last few days.
       25    use and ovarian cancer is not as large, but I think      25       Q. Did Plaintiffs' counsel provide those to you?

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                              Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 146                                                      Page 148
        1       A. Yes, they did.                                      1   ovarian cancer. So...
        2       Q. Okay. And your recollection is that the             2       Q. And when you say talc -- sorry. I think
        3    Health Canada documents state that talc is a cause of     3   you're dropping off a bit, and so I'm jumping in too
        4    ovarian cancer?                                           4   quickly. And I apologize.
        5       A. I definitely recall them using the "causal"         5          Are you done?
        6    language in the document. If -- we can pull it up if      6       A. I'm finished, yes.
        7    we want to confirm the precise language.                  7       Q. You're referring there to a journal article;
        8       Q. Other than identifying Health Canada, which         8   is that right?
        9    you've just done, are there any other bodies or           9       A. It was a summary of -- I think it was
       10    scientific organizations or medical organizations that   10   something like "What's new in ovarian cancer." It was
       11    you can cite to that have concluded that talc is a       11   published maybe --
       12    cause of ovarian cancer?                                 12       Q. And do you believe the article that you're
       13       A. We've already discussed the IARC conclusion        13   referring to represents the consensus view of the
       14    that it's possibly carcinogenic.                         14   medical community?
       15       Q. And so, again, I'm asking you about -- sorry.      15              MS. PARFITT: Objection. Form.
       16       A. Sorry. Go ahead.                                   16              THE WITNESS: I don't know that it does
       17       Q. Sorry. My apologies.                               17   or not. It wasn't presented as the official opinion
       18       A. Okay.                                              18   of that organization.
       19       Q. Were you done?                                     19   BY MR. JAMES:
       20       A. I'm finished.                                      20       Q. And the article that you were mentioning, you
       21       Q. So my question, I think, is different than         21   said increased risk -- or increased association. Is
       22    that the one you're answering.                           22   that what you said? I don't have the realtime in
       23       A. Yeah.                                              23   front of me right now.
       24       Q. So I'm asking you if you're aware of any           24       A. I don't have it in front of me either.
       25    scientific or medical bodies that have concluded that    25       Q. Okay.
                                                      Page 147                                                      Page 149
         1   talc is a general cause of ovarian cancer.                1       A. I am recalling something like there is --
         2       A. I'm not aware of a -- I'm not aware of a           2   I don't know what the phrasing was. It's associated
         3   statement that has been published, other than the ones    3   with increased risk or there is an increased risk of
         4   that I mentioned.                                         4   ovarian cancer with talc use.
         5       Q. And by others that you mentioned, you're           5       Q. Do you recall if that article made a
         6   referring to the Health Canada document?                  6   statement on causality?
         7       A. Yes.                                               7       A. I don't recall.
         8       Q. Okay. And we will turn back to that, and           8       Q. Have you consulted information provided by
         9   that way we can have a copy in front of us both.          9   the ACOG or the SGO with respect to the talc ovarian
        10   Okay?                                                    10   cancer hypothesis?
        11       A. Okay.                                             11             MS. PARFITT: Objection.
        12       Q. With regard to IARC, again, you understand        12             THE WITNESS: I don't recall if I have
        13   that they have concluded "possible." Correct?            13   or not.
        14       A. They conclude possible at that point in time,     14   BY MR. JAMES:
        15   which was 2010.                                          15       Q. Would you be interested to know the positions
        16       Q. Have you ever looked to see if any medical        16   by the leading organizations for the gynecologic
        17   organizations that represent the gynecologic oncology    17   oncology community on this issue?
        18   community have concluded that talc is a cause of         18             MS. PARFITT: Objection. Form.
        19   ovarian cancer?                                          19             THE WITNESS: Of course. Any
        20       A. I am aware that, in a recent article in           20   information is important to know.
        21   Obstetrics and Gynecology, which is one of the leading   21             MR. JAMES: I'm going to mark as
        22   journals in the field, they were summarizing some of     22   Exhibit No. 18 a copy of a statement issued by ACOG on
        23   the information that is new. They were describing the    23   talc use and ovarian cancer.
        24   Penninkilampi meta-analysis, and their conclusion was    24     (Exhibit No. 18 was marked for identification.)
        25   that talc is associated with increased risk for          25             MR. JAMES: I'm handing you two copies

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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 150                                                       Page 152
        1    again.                                                    1   inadequate evidence of an association?
        2    BY MR. JAMES:                                             2       A. Yes.
        3         Q. Dr. Moorman, have you seen this statement         3          And if I may address this document --
        4    before?                                                   4       Q. If you could give me just one second, and
        5         A. I don't recall if I have or not. I might          5   then --
        6    have.                                                     6       A. Okay.
        7         Q. Do you see at the bottom of the statement --      7       Q. -- I'll let you finish, if you don't mind.
        8    it's a single paragraph -- the statement concludes        8       A. Okay.
        9    with the quote (as read):                                 9       Q. Have you considered this before?
       10              "There was no medical consensus                10       A. Have I --
       11              that talcum powder causes ovarian              11              MS. PARFITT: Objection.
       12              cancer."                                       12   BY MR. JAMES:
       13            Do you see where I was reading?                  13       Q. Yes.
       14         A. I do see that.                                   14       A. -- considered it?
       15         Q. Do you disagree with that statement?             15       Q. In forming your opinions in this case?
       16         A. Again, going back to the recent conclusion       16       A. Yes.
       17    from Health Canada, I think that that is some evidence   17       Q. Okay. It's not cited or discussed in your
       18    of medical consensus. And I do acknowledge that          18   report, is it?
       19    this -- what is said here, that -- yeah, I acknowledge   19       A. I don't know that I have, but again, it's one
       20    what they have written here, yes.                        20   of the documents that I have -- I have seen in my --
       21         Q. Have you, in preparing your report for this      21   in my work.
       22    litigation, have you taken a look to see what the        22       Q. And so within your report, you do discuss
       23    National Cancer Institute has said about the purported   23   findings of IARC; correct?
       24    association between talc and ovarian cancer?             24       A. Yes.
       25         A. Yes, I have.                                     25       Q. But you don't discuss findings of the NCI; is
                                                     Page 151                                                       Page 153
         1       Q. Okay. And what do they say?                        1   that right?
         2       A. I -- when you are -- I think you are               2       A. I don't think that I specifically addressed
         3   referring to the PDQ --                                   3   it.
         4       Q. Yes.                                               4       Q. Is that because it conflicts with your
         5       A. -- from NCI.                                       5   litigation opinion?
         6       Q. Would you like a copy of it?                       6              MS. PARFITT: Objection.
         7       A. I would very much like a copy.                     7              THE WITNESS: No.
         8       Q. Fair enough.                                       8           May I ask --
         9          Okay. Dr. Moorman, I'm going to hand you a         9   BY MR. JAMES:
        10   copy of the NCI PDQ on "Ovarian, Fallopian Tube, and     10       Q. And, Dr. Moorman, you said you wanted to
        11   Primary Peritoneal Cancer, Health Professional           11   comment, and now is fine.
        12   Version."                                                12       A. Let's see. I wanted -- when did you print
        13     (Exhibit No. 19 was marked for identification.)        13   out this version of the PDQ, if I may ask you?
        14             THE WITNESS: Thank you.                        14       Q. So do you understand that this is a -- this
        15   BY MR. JAMES:                                            15   is a -- well, if you turn to the back page of the copy
        16       Q. And if you turn to -- this is not paginated,      16   that I handed you --
        17   unfortunately -- have you gotten there already? Or       17       A. Mm-hmm.
        18   I can count for us. I flipped seven times to get         18       Q. -- the very back --
        19   there. Looks like you beat me to it.                     19       A. Okay.
        20       A. Okay.                                             20       Q. -- it says "Updated: December 21, 2018."
        21       Q. And do you see here that is this the PDQ you      21       A. Okay.
        22   were thinking of, Dr. Moorman?                           22       Q. All the way on the back page.
        23       A. Yes.                                              23       A. Yeah.
        24       Q. Okay. And in here, do you see that the NCI        24       Q. Got it.
        25   has listed perineal talc exposure as a factor with       25       A. Okay. One of the -- I have looked at this
                                                                                     39 (Pages 150 to 153)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 154                                                      Page 156
         1   very recently, and on the online version, there were      1   with the NCI?
         2   some rather what I considered kind of interesting         2       A. Okay. Just looking at this, and it came
         3   conclusions that were made. I'm actually not seeing       3   up -- it says "with inadequate evidence of an
         4   it in this version here. But, for example, they --        4   association."
         5   I'm sorry. I don't see it even mentioned here.            5           Did you say "adequate" or "inadequate"?
         6           But on the online version, they had listed        6       Q. I said "inadequate."
         7   DMPA -- depot medroxyprogesterone acetate -- as           7       A. Okay. My judgment based on the evidence is
         8   something that there was adequate evidence of reduced     8   that there is adequate evidence. So I would disagree
         9   effect. And they were basing that -- there are very       9   with the NCI in the conclusion that they reached.
        10   few studies on that to begin with, and as they           10       Q. With regard to your discussion that we've had
        11   summarized it, again, the last time I looked at it       11   just now on the body of evidence to look at
        12   online, they said it was inconsistent data, but they     12   breastfeeding and ovarian cancer risk --
        13   still summarized that there was adequate evidence.       13       A. Yes.
        14           And then in regard to things like comparing      14       Q. -- and this is a yes-or-no question -- did
        15   the evidence for something like breastfeeding, they      15   you conduct a comprehensive review of the scientific
        16   said (as read):                                          16   medical literature and evidence surrounding the
        17             "Based on solid evidence,                      17   association between breastfeeding and ovarian cancer?
        18             breastfeeding is associated with               18       A. I did not do as comprehensive a review of
        19             decreased risk of ovarian cancer."             19   that literature as I did for the talc.
        20           If we compare the evidence to breastfeeding      20       Q. And have you, in the course of your career,
        21   to the evidence for talcum -- talc use, again, the       21   ever looked comprehensively at the body of scientific
        22   online version that I last looked at, it gave a little   22   and medical evidence surrounding the association of
        23   bit more detail about the meta-analyses and so on.       23   breastfeeding and ovarian cancer to the cell studies,
        24           So the meta-analyses for breastfeeding and       24   the plausibility, the dose-response, have you done all
        25   the meta-analyses for talc, there were a lot of          25   of that with respect to breastfeeding and ovarian
                                                      Page 155                                                      Page 157
         1   similarities. There are roughly 30 studies addressing     1   cancer?
         2   each of them. For breastfeeding, it's about a             2       A. I -- in the course of looking at ovarian
         3   25 percent reduction in risk; for talc, about a           3   cancer, I have actually never written a paper that was
         4   25 percent increased risk.                                4   strictly focused on breastfeeding and ovarian cancer,
         5          When you look at the overall number of             5   and that is typically where one would go through the
         6   studies, roughly 90 percent of them support               6   very comprehensive review.
         7   breastfeeding -- in terms of just looking at the          7          I am familiar with much of the literature,
         8   direction of the effect -- about 90 percent of them       8   but the degree to which I reviewed the literature was
         9   support that breastfeeding is associated with reduced     9   not in the same level of detail as I did the talc
        10   risk. When you look at the meta-analyses for talc,       10   literature.
        11   about 90 percent of the studies have an odds ratio       11       Q. And do you know if the scientists at the NCI
        12   greater than 1.                                          12   who have commented on the association between
        13          And so when we look at the overall body of        13   breastfeeding and ovarian cancer have conducted an
        14   evidence, to me, I think it's comparable for             14   examination of the scientific and medical literature
        15   breastfeeding versus talc, but they conclude that the    15   that is more comprehensive, less comprehensive, or the
        16   evidence is adequate for breastfeeding but not           16   same that you've conducted?
        17   adequate for talc. And they don't really describe        17              MS. PARFITT: Objection to form.
        18   their methodology for how they reach their               18              THE WITNESS: They do not describe
        19   conclusions.                                             19   their methodology, and so I can't say if it was more
        20          So it leaves me just a little bit baffled         20   or less comprehensive.
        21   about why is one adequate evidence and one inadequate    21   BY MR. JAMES:
        22   evidence.                                                22       Q. Okay. Dr. Moorman, on page 10 of your
        23       Q. If the NCI's PDQ that's available on their        23   report --
        24   website as of today classifies talc as a factor with     24       A. Yes.
        25   inadequate evidence of an association, do you disagree   25       Q. -- you have the -- it's the third full

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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 158                                                      Page 160
         1   paragraph down, and you make the statement that           1   data as reported. It could not correct the bias.
         2   meta-analyses are "considered to be some of the           2       Q. So to the extent the meta-analyses are
         3   strongest evidence for a causal association."             3   collecting data from underlying studies that are
         4          Do you see where I'm reading that?                 4   flawed by recall bias or confounding, those
         5       A. Yes, I do.                                         5   inaccuracies carry over into the meta-analyses;
         6       Q. Okay. So that's -- so you've made that             6   correct?
         7   comment.                                                  7              MS. PARFITT: Objection.
         8          And then further down, you say (as read):          8              THE WITNESS: I would not characterize
         9            "Data from meta-analyses are                     9   it as "carry over." We recognize when we combine the
        10            particularly important for                      10   data from the meta-analyses, it is combining the
        11            evaluating exposure-disease                     11   reported data. If there were biases that either led
        12            relationships such as talc and                  12   to an underestimate or an overestimate of the relative
        13            ovarian cancer where the relative               13   risk, they are not correcting that.
        14            risks for most individuals are                  14   BY MR. JAMES:
        15            approximately 1.2 to 1.5."                      15       Q. And do you caution the reader of your MDL
        16          Do you see where I've read that?                  16   report about that limitation to meta-analyses anywhere
        17       A. Yes, I do.                                        17   in your report?
        18       Q. Can you cite any published authority for the      18       A. I do not specifically make that caution, no.
        19   statement that meta-analyses are considered to be some   19       Q. The meta-analyses that we have on the talc
        20   of the strongest evidence for causal association?        20   ovarian cancer issue, they are progressed over a
        21       A. I'm trying to think of whether it's a             21   period of time; correct?
        22   published source. It's something that I have seen,       22       A. That is correct.
        23   for example, multiple times in lectures and so on        23       Q. And we know that there's been two recent
        24   where it will give a hierarchy of evidence. And          24   meta-analyses. And all of the meta-analyses that have
        25   meta-analyses combining data from multiple studies is    25   been published on this association are in some ways
                                                     Page 159                                                      Page 161
         1   often put at kind of the top of the pyramid for making    1   overlapping; correct?
         2   causal assessments.                                       2               MS. PARFITT: Objection to form.
         3          I want to say that maybe some of the               3               THE WITNESS: The meta-analyses, their
         4   evidence-based medicine -- I know that there are          4   intent is to combine all the published data. So, yes,
         5   online summaries of evidence-based medicine that would    5   there is some overlap. More recent ones would have
         6   describe meta-analyses as kind of some of the             6   included studies that had been published in prior
         7   strongest evidence for causality.                         7   meta-analyses.
         8       Q. Meta-analyses combine data from underlying         8   BY MR. JAMES:
         9   studies; correct?                                         9       Q. And recognizing that meta-analyses can differ
        10       A. That is correct.                                  10   here and there for various -- various reasons, the
        11       Q. Meta-analyses do not correct for bias and         11   talc ovarian cancer meta-analyses generally pull data
        12   confounding in underlying studies; correct?              12   from the same body of literature; is that fair?
        13       A. The meta-analysis itself -- no. They combine      13       A. Yes.
        14   the data. They...                                        14       Q. And any suggestion that because you have
        15       Q. And -- were you finished?                         15   multiple meta-analyses reaching around the same odds
        16       A. Yeah. They do not correct for the bias.           16   ratio and that that somehow demonstrates consistency,
        17       Q. Meta-analyses, for example, do not eliminate      17   isn't that a little bit misleading?
        18   recall bias if there is a recall bias problem in the     18               MS. PARFITT: Objection. Form.
        19   underlying studies; correct?                             19               THE WITNESS: I think that when we look
        20       A. That is correct. Meta-analyses cannot do          20   at it, when we see that, early on, you see some
        21   that.                                                    21   meta-analyses were done, I want to say maybe in the
        22       Q. And the meta-analyses studies that you            22   '90s, and then as more data are added in, you -- they
        23   reviewed and discussed in your report all concede that   23   still settled in on roughly the same summary odds
        24   point, don't they?                                       24   ratio as even more data were accumulated.
        25       A. They acknowledge that they are combining the      25           Sometimes there is a concern that early on

                                                                                     41 (Pages 158 to 161)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 162                                                     Page 164
        1   the studies with positive associations are published,     1   opportunity to ask questions afterwards.
        2   and then after -- as time goes on, other studies are      2      A. Some of them did raise some concerns about
        3   done that didn't find that association. So you would      3   whether or not it could be a causal association.
        4   expect that the summary odds ratio might become           4      Q. We're going to take a look at the studies
        5   attenuated as more studies were added.                    5   shortly as I grab these folders out.
        6           And that's not the situation with the talc        6          Did you report in your report for the MDL
        7   literature. It's been pretty consistent from the          7   any of the cautionary language from these
        8   meta-analyses done in the 1990s to the 2000s to 2018.     8   meta-analyses about causation?
        9   BY MR. JAMES:                                             9      A. I -- in my report, when you look at some of
       10       Q. And the 2018 meta-analyses that they are          10   the cautionary language, they will refer to perhaps
       11   grabbing in the studies from decades prior, they're      11   concerns about recall bias or things like that.
       12   grabbing in the same studies that the 1990s              12          In my report, I went through potential
       13   meta-analyses grabbed in; right?                         13   biases and how I weighed that and whether I thought it
       14              MS. PARFITT: Objection. Form.                 14   was an important concern in the studies that
       15              THE WITNESS: Yeah. The purpose is to          15   contributed to the meta-analyses.
       16   include all of the published data. So yes, of course.    16      Q. Did you talk about any weaknesses or problems
       17   BY MR. JAMES:                                            17   with the meta-analyses themselves?
       18       Q. And in your report, you place significant         18      A. I don't believe I did in my report.
       19   emphasis -- if that's a fair word -- on meta-analyses.   19      Q. And just -- okay.
       20   Is that a fair way to describe it?                       20             MR. JAMES: I'm going to mark as
       21              MS. PARFITT: Objection.                       21   Exhibit No. 20 a meta-analysis that I think that
       22              THE WITNESS: Yes, I think I -- I think        22   you've mentioned this morning. It's the Penninkilampi
       23   that's fair to characterize it that way.                 23   study.
       24   BY MR. JAMES:                                            24             THE WITNESS: Yes.
       25       Q. You -- did you read the conclusions of all of     25             MR. JAMES: I'm going to hand you two
                                                     Page 163                                                     Page 165
        1   the meta-analyses performed to date?                      1   copies again.
        2       A. I did.                                             2     (Exhibit No. 20 was marked for identification.)
        3       Q. Do any of the authors of the meta-analyses         3             MR. JAMES: It's marked as Exhibit 20.
        4   performed to date conclude causation?                     4             THE WITNESS: Would this be a good time
        5       A. If I may take a minute to address the issue        5   to take a break before we get into --
        6   of how causation is reported in the epidemiologic         6             MR. JAMES: Absolutely.
        7   literature.                                               7             THE WITNESS: Okay.
        8       Q. With all due respect, Doctor, if you could         8             THE VIDEOGRAPHER: Going off record at
        9   just answer the question.                                 9   1:48 p.m.
       10       A. I think that they typically refer to, like,       10        (Recess taken from 1:48 p.m. to 2:03 p.m.)
       11   increased risk. I don't know that any of them refer      11             THE VIDEOGRAPHER: Back on record at
       12   to -- made the conclusion of -- I don't know that they   12   2:03 p.m.
       13   used the word "causal."                                  13   BY MR. JAMES:
       14       Q. In fact, many of the meta-analyses                14       Q. Dr. Moorman, I handed you had a copy of the
       15   specifically caution against a causal interpretation,    15   Penninkilampi paper.
       16   don't they?                                              16       A. I'm sorry, the papers were moved while
       17              MS. PARFITT: Objection.                       17   I was...
       18              THE WITNESS: Once again, if -- may            18       Q. It was marked as Exhibit 20, I believe.
       19   I take a moment to address how the word --               19          Here, I have an extra, if that would speed
       20   BY MR. JAMES:                                            20   things along. I'm sure it's somewhere in there.
       21       Q. Because my time is limited --                     21       A. It got moved around. Oh, here it is.
       22       A. Okay.                                             22       Q. Okay. Again, Dr. Moorman, this is one of the
       23       Q. -- I'm really going to have to respectfully       23   meta-analyses that you reviewed to inform your
       24   ask you to answer my question to the extent that         24   opinions in this case; correct?
       25   you're able, and then your counsel will have an          25       A. That is correct.

                                                                                    42 (Pages 162 to 165)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 166                                                      Page 168
        1       Q. It's also one of the more recent                   1            "Hence, while perineal talc use
        2   meta-analyses on the issue; correct?                      2            has not been shown to be safe, in
        3       A. That's correct.                                    3            a similar regard, a certain causal
        4       Q. And what did the Penninkilampi authors say         4            link between talc use and ovarian
        5   about causation?                                          5            cancer has not yet been
        6       A. Okay. They describe perineal talc is               6            established."
        7   associated with a 24 to 39 percent increased risk of      7          That's what the authors say; correct?
        8   ovarian cancer.                                           8      A. That's what they say, yes.
        9          And this is a very typical way that it would       9      Q. Okay. So they caution that causation has not
       10   be described in the epidemiologic literature. It --      10   been established; correct?
       11   as described very eloquently in some articles in the     11              MS. PARFITT: Objection.
       12   American Journal of Public Health last spring, they      12              THE WITNESS: They say a certain causal
       13   noted that, to the detriment of the science, that        13   link has not been established -- not yet been
       14   epidemiologists are frequently loathe -- or don't        14   established.
       15   often use the word "causal" when they describe a risk    15   BY MR. JAMES:
       16   factor; and, in part, this is because we are relying     16      Q. And you're here today testifying about what
       17   on observational data. This is not an experimental       17   you believe to be evidence supporting the causal link;
       18   study.                                                   18   correct?
       19          And so, many times, reviewers, if they refer      19      A. Yes, I am -- I am.
       20   to "we found that talc caused ovarian cancer," they      20      Q. Okay. And so where in your report do you
       21   would object to that, saying that it wasn't a            21   advise the reader that the Penninkilampi authors
       22   randomized controlled trial.                             22   expressed reservations about causation?
       23          But in this series of articles in the             23      A. I do not have anything like that in my
       24   American Journal of Public Health, they indicated that   24   report.
       25   the tendency not to use the word "causal" is to the      25              MR. JAMES: The next meta-analysis that
                                                     Page 167                                                      Page 169
        1   detriment of the science. It's like "Why would we be      1   we can look at is the Berg -- or Berge meta-analysis.
        2   looking at risk factors for a disease if we didn't        2   I'm going to mark that as Exhibit 21.
        3   think that it caused the disease?"                        3     (Exhibit No. 21 was marked for identification.)
        4          So I think that when an epidemiologist sees        4   BY MR. JAMES:
        5   an increased risk of ovarian cancer, we are thinking      5      Q. Do the Berge authors conclude that the
        6   that this is -- this causes ovarian cancer.               6   evidence is sufficient to support a causation
        7       Q. But epidemiologists, including many of the         7   conclusion?
        8   meta-analyses that we're about to review, have talked     8      A. They do not make that conclusion, no.
        9   about cause, haven't they?                                9      Q. In fact, they actually -- they do address
       10              MS. PARFITT: Objection.                       10   causation, don't they?
       11              THE WITNESS: Some of them have                11      A. They state their opinion, yes.
       12   addressed, yes.                                          12      Q. Okay. And their opinion is expressed several
       13   BY MR. JAMES:                                            13   times throughout the article. The first is in the
       14       Q. For example, Penninkilampi doesn't seem shy       14   abstract of the article; correct?
       15   of the word "cause." If we look at page 42,              15         If we look at the abstract, it's the first
       16   Dr. Moorman, we see, in the top paragraph in the         16   page of the article, page 248, the last sentence of
       17   left-hand column, at the bottom of that paragraph, the   17   the abstract. Do you see that?
       18   Penninkilampi authors write, quote -- this is the last   18      A. Yes, I do.
       19   sentence --                                              19      Q. They say (as read):
       20       A. Wait. Page 42?                                    20            "The heterogeneity of results by
       21       Q. Page 42.                                          21            study design, however, detracts
       22       A. Yes.                                              22            from a causal interpretation of
       23       Q. It's the top left paragraph. The bottom last      23            this association."
       24   sentence of that paragraph, the authors state            24         Correct?
       25   (as read):                                               25      A. That's what it says, yes.
                                                                                    43 (Pages 166 to 169)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 170                                                       Page 172
        1        Q. Where do you advise the reader of your MDL         1             MR. JAMES: And I'm going to reserve
        2    report that the authors of the Berge meta-analyses        2   the time that it takes --
        3    expressed reservations about causation?                   3             MS. PARFITT: No, you're not going to
        4              MS. PARFITT: Objection. Form.                   4   reserve the time. You asked her a question; she was
        5              THE WITNESS: That is not in my report.          5   answering it.
        6    BY MR. JAMES:                                             6             MR. JAMES: It was a yes-or-no
        7        Q. Do you see at the very the end of article, at      7   question.
        8    the very last page on 256, before the acknowledgment      8             MS. PARFITT: You can object -- it was
        9    section, again, the authors conclude the article with     9   not, Scott. Let's have her finish her statement, and
       10    a statement that the results (as read):                  10   you can decide what you want to do it with it. But
       11             "do not support a causal                        11   she's going to finish her comment.
       12             interpretation of the                           12          Dr. Moorman, please.
       13             association."                                   13             THE WITNESS: So I think that in my
       14           Do you see where I'm reading?                     14   report, I did address the aspects of the heterogeneity
       15        A. They say some -- several aspects of the           15   of the results, although I might not specifically have
       16    results there.                                           16   addressed -- said anything specifically about the
       17        Q. Fair enough.                                      17   limitation of the Berge.
       18        A. Yes.                                              18   BY MS. PARFITT:
       19        Q. So let's just read the sentence in full. So       19       Q. Right. So my question, which was very
       20    they say (as read):                                      20   precise, is where do you note in your MDL report the
       21             "Several aspects of our results,                21   causation reservations of the Berge authors?
       22             including the heterogeneity of                  22             MS. PARFITT: Objection.
       23             results between case-control and                23             THE WITNESS: And as I stated before,
       24             cohort studies, however, do not                 24   that is not in -- that specific reservations of the
       25             support a causal interpretation of              25   Berge authors, I do not have that in my -- in my
                                                     Page 171                                                       Page 173
         1            the association."                                1   report.
         2          That's what they say; correct?                     2   BY MS. PARFITT:
         3       A. Right.                                             3       Q. The next meta-analyses is -- and I'm working
         4       Q. And, again, do you advise the readers of your      4   backwards chronologically -- is the Langseth
         5   MDL report that those are the conclusions of the Berge    5   meta-analyses.
         6   meta-analysis?                                            6          Are you familiar with that paper?
         7             MS. PARFITT: Objection. Form.                   7       A. Yes, I have seen that paper.
         8             THE WITNESS: I do not specifically do           8             MR. JAMES: And I'm going to mark the
         9   that. But in my report, I think that I really address     9   Langseth paper as Exhibit No. 23.
        10   some of the heterogeneity of the results between         10     (Exhibit No. 22 was marked for identification.)
        11   case-control and cohort studies and why some of the      11             MR. JAMES: I'm handing you two copies.
        12   differences might be observed and, for example, some     12             MR. DONATH: 23 or 22?
        13   of the biases in the cohort studies would lead to an     13             MS. BRENNAN: 22.
        14   underestimate of the --                                  14             MR. JAMES: It's 22. So we'll sub
        15   BY MR. JAMES:                                            15   stickers.
        16       Q. And, Dr. Moorman --                               16   BY MR. JAMES:
        17             MS. PARFITT: Excuse me --                      17       Q. So Langseth is 22. Did the authors of
        18   BY MR. JAMES:                                            18   Langseth conclude that causation is shown? Yes or no,
        19       Q. -- I'm going to ask you questions about that.     19   please.
        20             MS. PARFITT: -- Mr. James, she was in          20       A. They -- if I may take just a moment to read
        21   the middle of her sentence.                              21   through it --
        22             MR. JAMES: I object to the                     22       Q. Sure.
        23   nonresponsive portion of her answer.                     23       A. -- as it...
        24             MS. PARFITT: You may, but let her              24          No, they do not.
        25   complete her answer.                                     25       Q. And, in fact, the authors do address the

                                                                                     44 (Pages 170 to 173)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                    Page 174                                                     Page 176
        1    issue of causation on page 359 of the article;          1   conclude that the evidence was sufficient to support
        2    correct, under the section "Proposal to research        2   causation?
        3    community."                                             3      A. No, they did not.
        4           Do you see where I am?                           4      Q. Okay. And, in fact, the authors did address
        5        A. I do see that.                                   5   causation in their paper in the abstract; correct?
        6        Q. Okay. And the authors state (as read):           6             MS. PARFITT: Objection. Form.
        7             "The current body of experimental              7             THE WITNESS: Yes, they do.
        8             and epidemiological evidence is                8   BY MR. JAMES:
        9             insufficient to establish a causal             9      Q. Okay. And at page 195 in the conclusion of
       10             association between perineal use              10   the abstract, the authors say (as read):
       11             of talc and ovarian cancer risk."             11            "The available observational data
       12        A. That is correct. And, again, noting the date    12            do not support the existence of a
       13    of this paper, 2008. So quite a lot of evidence has    13            causal relationship between
       14    emerged since then. And one of the authors on the      14            perineal talc exposure and
       15    paper has since concluded that there is sufficient     15            increased risk of epithelial
       16    evidence for causality.                                16            ovarian cancer. Selection bias
       17        Q. And you're talking about a paid expert in       17            and uncontrolled confounding may
       18    this case; correct?                                    18            account for the positive
       19              MS. PARFITT: Objection.                      19            associations seen in prior
       20              THE WITNESS: Dr. Siemiatycki, who's a        20            epidemiological studies."
       21    paid expert, well-respected epidemiologist.            21         That's what the authors say; correct?
       22    BY MR. JAMES:                                          22      A. That is what these authors say.
       23        Q. And he's a paid expert in this litigation for   23      Q. And did you report to the reader of your MDL
       24    the Plaintiffs; correct?                               24   report the Huncharek authors' reserved judgment on
       25              MS. PARFITT: Objection.                      25   causation?
                                                    Page 175                                                     Page 177
         1              THE WITNESS: That is correct.                1             MS. PARFITT: Objection.
         2   BY MR. JAMES:                                           2             THE WITNESS: As with the other
         3      Q. Where in your report -- and this is a             3   meta-analysis, this is now 16 years old, and I did not
         4   yes-or-no question, or actually it's not "yes" or       4   specifically report that, but I did consider in my
         5   "no." You tell me if it exists or not.                  5   report the biases and uncontrolled confounding that
         6          Where in your report do you show to the          6   they were concerned about.
         7   reader of the report that the Langseth authors          7   BY MR. JAMES:
         8   reserved judgment on causation?                         8       Q. Do any of the -- there are a handful of
         9              MS. PARFITT: Objection to form.              9   meta-analyses that precede the Huncharek 2003
        10              THE WITNESS: I did not specifically         10   meta-analyses; correct?
        11   include that in my report.                             11       A. That is correct.
        12   BY MR. JAMES:                                          12       Q. Do any of those meta-analyses conclude
        13      Q. Dr. Moorman, have you reviewed the Huncharek     13   causation?
        14   2003 meta-analyses?                                    14             MS. PARFITT: Objection. Form.
        15      A. Yes, I have.                                     15             THE WITNESS: I don't believe that they
        16              MR. JAMES: And I'm going to mark the        16   do.
        17   Huncharek 2003 meta-analyses as Exhibit No. 23, and    17   BY MR. JAMES:
        18   we'll switch stickers at the break.                    18       Q. And returning back to our discussion on the
        19     (Exhibit No. 23 was marked for identification.)      19   Langseth meta-analyses, you noted sort of -- when I
        20   BY MR. JAMES:                                          20   asked you a question about their conclusions on
        21      Q. I'm handing you two copies, Dr. Moorman.         21   causation, you noted the timing of the article;
        22          Is this another meta-analysis that you          22   correct?
        23   reviewed in forming your opinions in this case?        23       A. Yes.
        24      A. Yes, it is.                                      24       Q. You noted that the article was published
        25      Q. Okay. Did the authors of this meta-analysis      25   in --
                                                                                   45 (Pages 174 to 177)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 178                                                      Page 180
        1       A. 2008.                                              1       A. No --
        2       Q. -- 2008?                                           2              MS. PARFITT: Objection.
        3       A. Yes.                                               3              THE WITNESS: -- for the same reasons
        4       Q. That is right?                                     4   I described prior.
        5           So is your opinion that the evidence in 2008      5              MR. JAMES: And I'm going to mark the
        6   was, in fact, insufficient to support a causal            6   2013 Terry paper as Exhibit 24.
        7   conclusion but has now transitioned to a status where     7     (Exhibit No. 24 was marked for identification.)
        8   it is sufficient?                                         8              MR. JAMES: I think I'm back on track
        9              MS. PARFITT: Objection. Form.                  9   on the numbers. I'm handing you two copies.
       10              THE WITNESS: You have asked me that           10   BY MR. JAMES:
       11   question in -- that or a similar question before.        11       Q. And again, Dr. Moorman, you've used this
       12           There is a growing body of evidence.             12   paper to inform your opinions in the case; correct?
       13   I would be hard-pressed to say at what point in time,    13       A. That is correct.
       14   you know, it reached the tipping point where there is    14       Q. And if you look at the last page of the text
       15   enough evidence to say that there is this causal         15   on 820 with me, you see in the last paragraph, which
       16   association.                                             16   is -- the last paragraph on page 820, the authors
       17           At this point in time, I feel very confident     17   state at the top right-hand column (as read):
       18   in saying that, but I can't say when sufficient data     18             "More work is needed to understand
       19   accumulated to say that. I think that's an impossible    19             how genital powders may exert a
       20   answer -- or an impossible question to answer.           20             carcinogenic effect and which
       21   BY MR. JAMES:                                            21             constituents may be involved."
       22       Q. And the reason I asked it again is because        22             Do you see that sentence?
       23   you made the qualification in discussing the Langseth    23       A. Yes, I do.
       24   paper. When I asked you about the authors'               24       Q. There, the authors are again noting that --
       25   conclusions on causation, you specifically noted that    25   let me rephrase it this way.
                                                     Page 179                                                      Page 181
        1   it was a paper from the 2008 time frame; correct?         1          The authors there are reserving judgment on
        2       A. Right. And I think that -- I think that it         2   causation; correct?
        3   is obvious that one of the authors, considering all       3              MS. PARFITT: Objection. Form.
        4   the additional data that's accumulated, would -- has      4              THE WITNESS: I don't think that that
        5   made a different conclusion at this point in time.        5   is how I would necessarily interpret that.
        6       Q. And the author you're referring to there is        6   BY MR. JAMES:
        7   the author that we were discussing as a paid expert in    7       Q. Okay.
        8   this case; correct?                                       8       A. I think that, first of all, basically, any
        9              MS. PARFITT: Objection. Form.                  9   scientific paper concludes with "more work is needed."
       10              THE WITNESS: Yes. We established he           10   And so it's talking about, you know, trying to advance
       11   is a paid expert and, at the same time, a very           11   scientific knowledge by understanding the biological
       12   well-respected epidemiologist.                           12   mechanism.
       13   BY MR. JAMES:                                            13          But I don't see anything -- any statement
       14       Q. There's also a pooled analysis that you           14   there related to causal. It says "small to moderate
       15   looked at to inform your opinions in this case;          15   increased risk of ovarian cancer." And as I've stated
       16   correct?                                                 16   previously, basically, when we talk about risk
       17       A. Yes.                                              17   factors, we are thinking that this is something that
       18       Q. Okay. And the pooled analysis is the Terry        18   causes this cancer.
       19   2013 paper?                                              19       Q. So in your professional opinion, the word
       20       A. That is correct.                                  20   "risk factor" is equivalent to "causation"?
       21       Q. Okay. Did the Terry 2013 paper conclude           21       A. Not always equivalent. And if I may give an
       22   cause?                                                   22   example.
       23              MS. PARFITT: Objection. Form.                 23          Women who have higher educational level are
       24   BY MR. JAMES:                                            24   at increased risk for breast cancer. And so higher
       25       Q. It's yes or no.                                   25   education level, we might describe it as a risk factor

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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 182                                                     Page 184
        1   for breast cancer. But, clearly, going to college is      1   meta-analyses.
        2   not going to cause breast cancer. It's the other          2       Q. Are you aware of any flaws in the
        3   factors that are associated with it, like your            3   Penninkilampi study?
        4   childbearing patterns, alcohol use, other things.         4             MS. PARFITT: Objection. Form.
        5          But when we talk about a risk factor and           5             THE WITNESS: Overall, I felt like it
        6   there is a plausible biological mechanism to get from     6   seemed to be a very well done meta-analysis. When we
        7   that exposure to cancer, I think that "risk factor"       7   look at judgments of meta-analyses, we like to see
        8   and "cause" are pretty synonymous.                        8   things like, you know, what were the search terms they
        9      Q. But to say something is associated in               9   used? What were the criteria for including or
       10   epidemiologic literature is not to say that it's         10   excluding studies? Were the study questions defined
       11   causal.                                                  11   in advance?
       12          Do you agree with that?                           12          And when I look through all of that,
       13              MS. PARFITT: Objection.                       13   I judged it overall to be a very well done
       14              THE WITNESS: Yes. That's kind of              14   meta-analysis.
       15   epi 101, that everything that is associated is not       15   BY MR. JAMES:
       16   necessarily a cause.                                     16       Q. And so your answer to the question that
       17   BY MR. JAMES:                                            17   I asked is no; correct?
       18      Q. To reach a causal conclusion, it's -- one          18             MS. PARFITT: Objection.
       19   must undertake a more in-depth analysis; correct?        19             THE WITNESS: I -- I don't see any
       20      A. As I did for this, and as all of us in this        20   serious problems with any -- you characterized it as
       21   room are well aware, the Bradford Hill framework is a    21   "flaws." I don't -- I don't see anything that I would
       22   framework for taking the data and leading to making a    22   characterize as a flaw in their methodology.
       23   judgment on causality.                                   23   BY MR. JAMES:
       24      Q. So if a paper refers to something as a risk        24       Q. If you look at page 47 with me, Dr. Moorman,
       25   factor or a potential risk factor or a modifiable risk   25   in the "Conclusions" section.
                                                     Page 183                                                     Page 185
        1   factor, that terminology by itself does not suggest       1         The conclusions section, I think you had
        2   that the authors of that paper have concluded             2   previously read in the first sentence of the
        3   causation; correct?                                       3   conclusions, the percentage increased risk reported in
        4       A. I -- I think that I have answered that             4   the paper.
        5   question already.                                         5         The second sentence says (as read):
        6          When they're -- if they refer to it as a           6           "While the results of case-control
        7   risk factor, they may or may not have gone through the    7           studies are prone to recall bias,
        8   full Bradford Hill evaluation of it. And then, also,      8           especially with intense media
        9   some things that we refer to as risk factors, where       9           attention following the
       10   there is not a plausible biological mechanism, we        10           commencement of litigation in
       11   wouldn't equate risk factor and cause in that            11           2014, the confirmation of an
       12   situation as well.                                       12           association in cohort studies
       13       Q. So you -- returning back to the Penninkilampi     13           between perineal talc use and
       14   meta-analysis, which I believe will be somewhere in      14           serous invasive ovarian cancer is
       15   that pile --                                             15           suggestive of a causal
       16       A. Mm-hmm.                                           16           association."
       17       Q. -- you cite Penninkilampi 14 times in your        17         Do you see where I was reading?
       18   report.                                                  18      A. Yes, I do.
       19          Were you aware of that?                           19      Q. Okay. So here we see that Penninkilampi is
       20       A. I don't know how many times I've cited it.        20   acknowledging the recall bias problems of the
       21       Q. It's one of the most cited articles in your       21   case-control studies; correct?
       22   report.                                                  22      A. They are acknowledging that it is a
       23          Were you aware of that?                           23   possibility.
       24       A. I know that I referred to it frequently           24      Q. Okay.
       25   because it is one of the most up-to-date, most recent    25      A. Okay.
                                                                                    47 (Pages 182 to 185)
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                              Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 186                                                     Page 188
         1              MS. PARFITT: Wait. Are you still --            1   entirely sure of their rationale for why they looked
         2   thank you.                                                2   at one rather than the other. There were some
         3          Please, finish.                                    3   differences between the studies; like the later study,
         4              THE WITNESS: Yes. And, you know, this          4   the unexposed group was actually women who had used it
         5   is, again, one of the things that I addressed in my       5   for less than once a week rather than never used. And
         6   report. I very carefully considered recall bias and       6   so they don't really go into the detail why they made
         7   how it could have contributed or not to the elevated      7   that decision.
         8   risk that has been seen across so many studies.           8          But investigators will make a judgment
         9   BY MR. JAMES:                                             9   sometimes about which of a -- which studies to include
        10       Q. And one of the -- so within the sentence          10   when there's more than one publication from a given
        11   "after acknowledging the recall bias" that we just       11   study.
        12   discussed, the Penninkilampi authors emphasize the       12       Q. And do you know that with respect to the NHS
        13   confirmation of an association in cohort studies.        13   cohort, they have published two studies arising from
        14          Do you see that?                                  14   the NHS cohort looking at the issue of talc and the
        15       A. I do.                                             15   ovarian cancer association; correct?
        16       Q. Okay. Are there cohort studies that support       16              MS. PARFITT: Objection. Form.
        17   the association?                                         17              THE WITNESS: They actually -- they
        18       A. There are three cohort studies that have          18   have published two studies, and data from the Nurses'
        19   examined talc use and ovarian cancer, and you're         19   Health Study was also included in at least one other
        20   probably very much aware of them: the Gonzalez study,    20   publication. I believe Cramer was -- I'm not sure if
        21   the Houghton -- which was from the Sister Study -- the   21   he was the first author or one of the authors where
        22   Houghton study, which was the Women's Health             22   they combined data.
        23   Initiative; and the Nurses' Health Study, which has      23   BY MR. JAMES:
        24   been published in several of them.                       24       Q. The NHS cohort has published two papers with
        25          And as they indicate in here, when you look       25   respect to the talc/ovarian cancer association;

                                                      Page 187                                                     Page 189
         1   at the studies that reported on invasive serous -- and    1   correct?
         2   if you will give me just a second here -- find it on      2       A. I just answered the question. It's -- data
         3   this paper. Okay.                                         3   from it was also in another -- in another publication.
         4          When they report in Table 2 that combining         4       Q. The Gertig 2000 paper reported on the
         5   the two studies that reported on the histologic           5   talc/ovarian cancer association; correct?
         6   subtypes, there was a significantly increased risk of     6       A. Yes.
         7   serous invasive cancer in the cohort studies as well      7       Q. And that's an NHS publication; correct?
         8   in the case-control studies.                              8       A. It is.
         9       Q. Sorry.                                             9       Q. The Gates 2010 paper reported on talc/ovarian
        10       A. Okay.                                             10   cancer association; correct?
        11       Q. You did pause there.                              11       A. That is correct.
        12       A. I did.                                            12       Q. And that's an NHS publication; correct?
        13          The one study that really found no                13       A. Correct.
        14   association whatsoever with talc was the Gonzalez        14       Q. An NHS publication of 2010 offered an
        15   study, the Sister Study, that has numerous problems      15   additional ten years of follow-up to the talc/ovarian
        16   with it, most specifically in their assessment of the    16   cancer hypothesis; correct?
        17   talc exposure, the sample size, the duration of          17              MS. PARFITT: Objection. Form.
        18   follow-up.                                               18              THE WITNESS: It was additional
        19       Q. And returning to my question about this           19   follow-up, but no update on exposure during that
        20   article, were you aware that the Penninkilampi authors   20   time -- period of follow-up.
        21   didn't factor in the Gates 2010 data at all?             21   BY MR. JAMES:
        22       A. When one does a meta-analysis, sometimes when     22       Q. For that period of follow-up, they followed
        23   data are reported in a couple of reports, you have to    23   the study participants for an additional ten years;
        24   make a decision about which one to include.              24   correct?
        25          I believe they used data from the -- I'm not      25              MS. PARFITT: Objection. Form.
                                                                                     48 (Pages 186 to 189)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 190                                                     Page 192
         1              THE WITNESS: Yes. I answered that              1      Q. So one of your complaints --
         2   already. Yes.                                             2      A. So I --
         3   BY MR. JAMES:                                             3      Q. Sorry.
         4       Q. And you agree more follow-up for a cohort is       4      A. Okay.
         5   better; correct?                                          5      Q. One of your issues with the cohort studies is
         6              MS. PARFITT: Objection. Form.                  6   lack of follow-up; correct?
         7              THE WITNESS: In general, longer                7      A. For -- yes, for -- there are -- it's one of
         8   follow-up would be desirable. However, when they're       8   several concerns I have about the cohort studies.
         9   not updating exposure information, that could -- that     9      Q. And the Penninkilampi study did not factor in
        10   creates a bias, a possible bias.                         10   the additional period of follow-up through the 2010
        11   BY MR. JAMES:                                            11   paper; correct?
        12       Q. Do you think the 2010 data and the Gates          12      A. I don't believe they did. I think they went
        13   paper with respect to the talc ovarian cancer issue is   13   with the earlier study.
        14   superior to the 2000 data in the Gertig 2000 paper?      14      Q. In fact, they didn't even cite to the Gates
        15              MS. PARFITT: Objection. Form.                 15   2010 data, did they?
        16              THE WITNESS: I already made the point         16             MS. PARFITT: Objection.
        17   that how they define the unexposed group was different   17             THE WITNESS: No, they -- they didn't.
        18   between the two studies; and so including some women     18   BY MR. JAMES:
        19   who had low levels of exposure in their unexposed        19      Q. And they didn't offer any explanation about
        20   group, that could potentially have had the effect of     20   why they went with the earlier study, did they?
        21   attenuating the association.                             21      A. Not that I recall.
        22          And so, you know, longer follow-up is             22      Q. And do you understand that in the 2010 NHS
        23   generally better, but some of the other things they      23   paper through Gates, the association with serous
        24   did, that's -- they were not so good.                    24   ovarian cancer washed out?
        25                                                            25             MS. PARFITT: Objection to form.
                                                      Page 191                                                     Page 193
        1    BY MR. JAMES:                                             1              THE WITNESS: "Washed out," I don't
        2        Q. Elsewhere in your report, you do complain          2   like that term. But again, I fully acknowledge that
        3    about lack of follow-up in the cohort studies, don't      3   the later study showed weaker associations, yes.
        4    you?                                                      4   BY MR. JAMES:
        5        A. I do mention that as one of the limitations,       5      Q. And the association for serous invasive
        6    yes.                                                      6   ovarian cancer in the Gates 2010 paper was not
        7        Q. And you specifically discuss the NHS cohort        7   statistically significant; correct?
        8    as having a period of -- I believe you say it's           8      A. I believe that is correct.
        9    14 years; is that right?                                  9      Q. So when you include the critique in your
       10        A. From -- yeah. I -- I can't remember               10   report about the follow-up being a 14-year period, you
       11    specifically. It's from the 1980s to -- I don't          11   also, like Penninkilampi, aren't crediting the
       12    remember the exact date of the last -- the last date     12   additional ten years of follow-up that the Gates paper
       13    of follow-up in their papers.                            13   published on; correct?
       14        Q. And, again, that's the exposure period that       14              MS. PARFITT: Objection to form.
       15    Penninkilampi is looking at as well; correct?            15              THE WITNESS: "Aren't crediting the
       16           Or excuse me, not the exposure period, the        16   additional ten years of follow-up."
       17    period of time that they follow the study                17           You know, as I have stated before, when
       18    participants; correct?                                   18   people do meta-analyses, they will make decisions
       19           Penninkilampi is looking at from                  19   about which studies to include. I acknowledge that
       20    questionnaire to 2000; correct?                          20   Penninkilampi didn't describe in detail why they went
       21        A. Correct.                                          21   with the Gertig rather than a later study.
       22        Q. Okay. And when you say in your report that        22           My understanding, however, is that other
       23    the NHS study has a 14-year follow-up period, that's     23   people -- other meta-analyses have looked at -- have
       24    what you're looking at too, as well; correct?            24   included the later study, and the overall conclusions
       25        A. Right. From the time of exposures --              25   were not changed in any real way.

                                                                                     49 (Pages 190 to 193)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 194                                                     Page 196
         1   BY MR. JAMES:                                             1   BY MR. JAMES:
         2      Q. Well, Penninkilampi, you say, didn't describe       2      Q. They're heterogeneous. Did I pronounce that
         3   in detail about why they went with the earlier study,     3   correctly?
         4   but, in truth, they didn't describe it at all.            4      A. No. Heterogeneous.
         5              MS. PARFITT: Objection.                        5      Q. Heterogeneous. Thank you. I figured I got
         6              THE WITNESS: That's -- that's correct.         6   that wrong.
         7   BY MR. JAMES:                                             7          So what they're saying there is that the
         8      Q. And when you refer to other studies that            8   results by the study design are different; right?
         9   have, in fact, looked at the Gates 2010 cohort data       9      A. That's -- yes, that's what they are saying.
        10   that provides a longer period of follow-up, those        10      Q. And here we see, again, that this study used
        11   papers have necessarily noted that the serous            11   the more recent data; correct?
        12   relationship found in Gertig 2000 disappeared in 2010;   12             MS. PARFITT: Objection. Form.
        13   correct?                                                 13             THE WITNESS: It used the more recent
        14              MS. PARFITT: Objection. Form.                 14   publication from the Nurses' Health Study, yes.
        15              THE WITNESS: Can you -- can we -- tell        15   BY MR. JAMES:
        16   me which -- specifically which article you're --         16      Q. Which includes the more recent data; correct?
        17   BY MR. JAMES:                                            17             MS. PARFITT: Objection.
        18      Q. Sure. Let's turn to the Berge article.             18             THE WITNESS: Yes.
        19      A. Okay.                                              19   BY MR. JAMES:
        20      Q. The Berge article was marked as                    20      Q. On page 8 of your report, Dr. Moorman, you
        21   Exhibit No. 21. And you have it before you, Doctor?      21   say at the bottom paragraph (as read):
        22      A. I do.                                              22            "Cohort studies and case-control
        23      Q. Okay. And if you turn to Figure 2, which is        23            studies each have advantages and
        24   on page 254, do you see that there that in the forest    24            disadvantages for assessing talc
        25   plot, they have listed the cohort studies at the         25            as a risk factor for ovarian
                                                      Page 195                                                     Page 197
        1    bottom; correct?                                          1             cancer, and one study design is
        2        A. Correct.                                           2             not clearly superior to the
        3        Q. Okay. And there they report data from the          3             other."
        4    Gates 2010 study; correct?                                4          Do you see where I was reading that?
        5        A. Correct.                                           5       A. Yes, I do.
        6        Q. Okay. They do not report the data from the         6       Q. So your expert opinion in this case is that
        7    Gertig 2000 paper; correct?                               7   the cohort studies on talc ovarian cancer and the
        8        A. That is correct.                                   8   case-control studies on talc ovarian cancer are on
        9        Q. And if you look at the conclusions of the          9   equal footing?
       10    Berge authors -- and we talked about this before --      10       A. I think -- again, using terminology like
       11    but if you look at the abstract of the paper,            11   "equal footing," it's -- I wouldn't really describe it
       12    Dr. Moorman, the authors say (as read):                  12   like that.
       13             "The heterogeneity of results by                13          I think that case-control studies and cohort
       14             study design, however, detracts                 14   studies are both well-established, well-accepted
       15             from a causal interpretation of                 15   methods for studying cancer epidemiology. There are
       16             this association."                              16   strengths and weaknesses to each design, as I have
       17           Do you see that?                                  17   indicated here. And some of them very -- some of the
       18        A. Yes. You've asked that before. Yes.               18   strengths and weaknesses are very specific to this
       19        Q. And what the authors there are saying is that     19   exposure and outcome.
       20    the results from the case-control studies, the           20       Q. Doesn't the body of talc ovarian cancer
       21    meta-analyses of the case-control studies, and the       21   literature that you've looked at for your MDL opinions
       22    results of the meta-analyses of the cohort studies are   22   emphasize the importance of cohort data on the issue?
       23    different; right?                                        23              MS. PARFITT: Objection. Form.
       24               MS. PARFITT: Objection.                       24              THE WITNESS: I considered all of the
       25               THE WITNESS: They -- yes.                     25   epidemiologic data; and when we look at the body of

                                                                                     50 (Pages 194 to 197)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                    Page 198                                                       Page 200
        1   literature, more of the literature comes from             1   And it's the number of cases rather than the overall
        2   case-control studies than from cohort studies. So all     2   size of the cohort that contributes to the statistical
        3   of the data are important. There just happen to be        3   power. And that doesn't address all the other
        4   more case-control studies than cohort studies.            4   problems with that study.
        5   BY MR. JAMES:                                             5          But sometimes people will mistakenly say
        6       Q. But your testimony is that the cohorts are         6   these large studies -- you know, this large study,
        7   not superior to the case-controls, and the                7   40,000 people, and they didn't find an association.
        8   case-controls are not superior to the cohorts;            8   But they're not looking into all the limitations of
        9   correct?                                                  9   that particular study.
       10       A. As I describe in my report -- the same page,      10   BY MR. JAMES:
       11   I say (as read):                                         11       Q. Okay, Dr. Moorman, I'm going to object to the
       12            "Rather than making a judgment                  12   nonresponsive nature of your answer.
       13            based only on the overall study                 13       A. I -- I think that I was responsive, but
       14            design, the evaluation and                      14   please ask your question again.
       15            interpretation of the findings of               15       Q. Okay. So the question that I asked you is
       16            the studies must consider the                   16   whether you are aware that the body of literature that
       17            strengths and weaknesses of the                 17   you've looked at has generally emphasized the
       18            individual studies."                            18   importance of cohort data on this topic. The answer
       19          And I think that I did consider that.             19   is yes or the answer is no.
       20   I considered strengths and weaknesses of the cohort      20              MS. PARFITT: The answer is -- first,
       21   studies. I considered strengths and weaknesses of the    21   I object to the question. And the witness has
       22   case-control studies.                                    22   answered the question several times. Your time.
       23       Q. And you're not claiming that the study design     23   You're on your clock.
       24   of these studies -- the cohort versus the                24   BY MR. JAMES:
       25   case-control -- one is superior to the other? You're     25       Q. Are you aware that the body of literature has
                                                    Page 199                                                       Page 201
        1   not claiming that?                                        1   emphasized the importance of cohort data? Are you
        2              MS. PARFITT: Objection. Asked and              2   aware of that? Yes or no?
        3   answered several times.                                   3             MS. PARFITT: Objection.
        4              THE WITNESS: Right. I -- again,                4             THE WITNESS: I -- I disagree that --
        5   I think that I have answered that, that they -- the       5   your characterization of it.
        6   study designs are both well-accepted study designs;       6   BY MR. JAMES:
        7   they have advantages and disadvantages; and so you        7       Q. Then, the answer is no.
        8   have to look at some of the specific characteristics      8       A. No. You asked am I aware --
        9   of the individual studies.                                9       Q. The answer is yes or it's no, Dr. Moorman.
       10   BY MR. JAMES:                                            10   I have limited time to ask questions today.
       11       Q. And so the body of talc literature that           11          Were you aware -- are you aware that the
       12   you've looked at, whether it be cohort studies,          12   body of literature on talc and ovarian cancer has
       13   meta-analyses, case-control studies, are you aware       13   emphasized the importance of cohort data on this
       14   that that body of literature has generally emphasized    14   topic?
       15   the importance of cohort data on this topic?             15             MS. PARFITT: Objection. Form.
       16              MS. PARFITT: Objection. Misstates the         16             THE WITNESS: I don't think --
       17   record -- scientific record.                             17             MS. PARFITT: Asked and answered.
       18              THE WITNESS: I am aware -- I have read        18             THE WITNESS: -- the statement is true.
       19   some studies that mistakenly say that the cohort         19   I think that the --
       20   studies, because they involve 40,000 or 60,000 people,   20   BY MR. JAMES:
       21   that they provide more of the evidence than all the      21       Q. So then the answer is no.
       22   case-control studies, which are generally smaller.       22             MS. PARFITT: Stop. Let her answer.
       23          However, just, again, to take the example of      23             THE WITNESS: No. You're asking me if
       24   the Gonzalez sisters study, that's a cohort with         24   I'm aware --
       25   40,000 people in it, but there were only 154 cases.      25             MS. PARFITT: Why do you ask her the
                                                                                    51 (Pages 198 to 201)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                    Page 202                                                     Page 204
        1   same question?                                           1            exposure."
        2               THE WITNESS: -- that this has                2          Do you see where I read that?
        3   emphasized that. And I don't think that is it at all.    3       A. I do.
        4          I think that the body of literature               4       Q. Okay. Again, do you agree with that
        5   emphasizes again and again and again that of the         5   statement as a general proposition?
        6   roughly 25 to 30 studies, only three of them are         6       A. I would like to point out there are --
        7   cohort studies.                                          7   potential reason, a potential for an overestimation.
        8          It's part of the data on the topic, but it's      8   And in my own report, I acknowledge the potential for
        9   just part of it. So to say that it has emphasized the    9   recall bias, and I go back to explain why I don't
       10   importance of cohort data, I don't agree with that      10   think that recall bias is a full explanation for this
       11   statement.                                              11   association.
       12   BY MR. JAMES:                                           12       Q. Nevertheless, you will agree with me that the
       13      Q. I marked the Houghton WHI study as                13   authors of this paper are acknowledging the importance
       14   Exhibit No. 25, and I'm going to hand you two copies.   14   of cohort data? Agree?
       15     (Exhibit No. 25 was marked for identification.)       15             MS. PARFITT: Objection.
       16               THE WITNESS: Thank you.                     16             THE WITNESS: As you would expect the
       17   BY MR. JAMES:                                           17   investigators on a cohort study to do.
       18      Q. All right. Dr. Moorman, you see here in the       18   BY MR. JAMES:
       19   abstract, the "Background" section of the paper, the    19       Q. And the answer was yes --
       20   authors of the WHI study in 2014 say that (as read):    20       A. Yes.
       21             "The purpose of this analysis was             21       Q. -- comma, as you would expect?
       22             to assess perineal powder use and             22             MS. PARFITT: Objection.
       23             risk of ovarian cancer                        23             THE WITNESS: Yes.
       24             prospectively."                               24             MR. JAMES: I'm going to mark as the
       25          Correct?                                         25   next exhibit the Gertig 2000 paper, which is
                                                    Page 203                                                     Page 205
        1       A. That is what it says, yes.                        1   Exhibit No. 26.
        2       Q. Okay. And if we look towards page 5, we see,      2     (Exhibit No. 26 was marked for identification.)
        3   at the top of the left-hand column, the authors there    3   BY MR. JAMES:
        4   emphasize (as read):                                     4       Q. Again, this is the NHS 2000 paper; correct?
        5            "The prospective nature of our                  5       A. That is correct.
        6            study would eliminate the                       6       Q. And we see that in the abstract of this
        7            potential for recall bias."                     7   cohort paper, the authors state at the -- well, it's
        8           Do you see that?                                 8   not in the abstract -- it's right above the "Methods"
        9       A. I do see that.                                    9   section, the authors state (as read):
       10       Q. Do you agree with that general proposition?      10            "Despite the relative consistency
       11   "Yes" or "no"?                                          11            among studies, the limited
       12       A. It eliminates the potential for recall bias.     12            supporting biologic evidence,
       13   It does not eliminate the potential for inaccurate      13            together with the possibility of
       14   recall.                                                 14            recall and selection bias in
       15       Q. And if you look at page 4, it's the preceding    15            case-control studies, has raised
       16   set of sentences, the authors note -- quote -- at the   16            questions about the plausibility
       17   bottom of the right column (as read):                   17            of the association. We,
       18            "One potential reason that                     18            therefore, prospectively examined
       19            case-control studies have found                19            the relationship between perineal
       20            slight increases in risk is the                20            talc use and ovarian cancer risk
       21            potential for an overestimation of             21            in a large cohort of US women."
       22            the true association due to recall             22          Do you see where I read that?
       23            bias, because the participants are             23       A. Yes, I do.
       24            aware of their ovarian cancer                  24       Q. And again, methodologically, the authors of
       25            status when reporting powder                   25   this cohort paper are emphasizing the importance of
                                                                                   52 (Pages 202 to 205)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 206                                                      Page 208
        1   cohort data on the topic; correct?                        1   again stressing the desire for cohort data on this
        2               MS. PARFITT: Objection.                       2   topic; correct?
        3               THE WITNESS: Yes. Again, they                 3             MS. PARFITT: Objection. Misstates the
        4   emphasize the importance of doing it prospectively, as    4   evidence.
        5   you would expect the investigators on a cohort study      5             THE WITNESS: When -- if we were to
        6   to do.                                                    6   look at a cohort study where women were enrolled in
        7   BY MR. JAMES:                                             7   the study early in their life when they started using
        8      Q. Do you think that's just because there's some       8   talc and they were followed throughout their life and
        9   sort of subjective bias the authors of that cohort        9   exposure information was updated throughout the period
       10   paper have towards cohorts? Do you think that's just     10   of follow-up and you followed them for 50 years, that
       11   their personal opinion?                                  11   would be a wonderful way -- a stronger design than to
       12               MS. PARFITT: Objection.                      12   do a case-control study. So I could not disagree with
       13               THE WITNESS: I have no way of knowing        13   that.
       14   what their opinion is.                                   14          But we're being asked to make a judgment on
       15   BY MR. JAMES:                                            15   the data that we have here -- here and now, not
       16      Q. A number of the meta-analyses that we've           16   something that's decades away.
       17   looked at today and that you looked at to inform your    17   BY MR. JAMES:
       18   report have also talked about the benefits of cohort     18       Q. Do you agree that case-control studies are
       19   data. And I've asked that question before, and that's    19   low-level evidence?
       20   where we -- that's where we sort of ran into issues,     20       A. No, I do not agree with that.
       21   so I'll just strike that question.                       21       Q. Do you know that the Penninkilampi authors
       22           If you can turn to -- back to the                22   referred to case-control studies as low-level
       23   Penninkilampi study. And the Penninkilampi study is      23   evidence?
       24   the recent meta-analysis that you cited 14 times in      24       A. I see that in their paper.
       25   your report; correct?                                    25       Q. Do you --

                                                     Page 207                                                      Page 209
        1              MS. PARFITT: Objection. Form.                  1      A. I --
        2              THE WITNESS: As stated below -- or             2      Q. I'm sorry.
        3   stated above, I have cited it. I don't know how many      3      A. I will disagree with that. It's -- just
        4   times.                                                    4   using the example of my own study, the AACES study.
        5   BY MR. JAMES:                                             5   Of all the studies that have looked at talc and
        6       Q. And meta-analyses also are what you refer to       6   ovarian cancer, I believe that one is the one that has
        7   in your report as some of the strongest evidence;         7   been most recently funded. So about 2009, 2010. It's
        8   correct?                                                  8   quite an expensive study, and I can't imagine that the
        9       A. Yes, that is correct.                              9   National Cancer Institute would have invested that
       10       Q. Okay. And so the authors of this                  10   much money in the study if they thought that we were
       11   meta-analysis, on page 47 in the conclusion section,     11   only going to get low-level evidence.
       12   which we have looked at already, again note that         12              MS. PARFITT: Scott, we've been going
       13   case-control studies are "prone to recall bias";         13   about an hour and ten.
       14   right?                                                   14          You may want to keep going? Just let me
       15       A. That's what it says, yes.                         15   know.
       16       Q. Okay. And then if you continue on past the        16              THE WITNESS: I could use a break.
       17   section that we've already read -- and actually, it      17              MR. JAMES: May I finish this line? Is
       18   begins at the bottom of page 47 and carries to 48 --     18   that okay with you?
       19   but the authors state (as read):                         19              THE WITNESS: Yes.
       20            "Additional epidemiologic evidence              20              MR. JAMES: Everyone?
       21            from prospective studies with                   21              MS. PARFITT: Sure.
       22            attention to effects within                     22   BY MR. JAMES:
       23            ovarian cancer subtype is                       23      Q. Dr. Moorman, if you can turn with me to the
       24            warranted."                                     24   Langseth study. It's Exhibit 22. And this will be
       25          So here the authors of Penninkilampi are          25   the last series of questions, and then we'll take our

                                                                                    53 (Pages 206 to 209)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 210                                                      Page 212
        1    break.                                                   1       Q. And you cite Narod for your comments about
        2        A. Langseth -- okay. The exhibit number is           2   power in the cohorts; correct?
        3    incorrect.                                               3       A. Yes.
        4        Q. Oh, you're right. And I'm going to fix that       4       Q. Have you analyzed the calculations performed
        5    at break. Thank you.                                     5   by Narod? Have you separately analyzed his
        6        A. Okay.                                             6   calculations?
        7        Q. If you turn with me to page -- well, you          7       A. No, I did not.
        8    don't have to turn. It's page 358. It's the first        8       Q. Have you considered any other commentaries or
        9    page of the article. And, again, Langseth is one of      9   articles looking at the issue of power in the cohort
       10    the meta-analyses upon which you rely; correct?         10   studies in the talc ovarian cancer literature?
       11        A. Correct.                                         11       A. I -- I'm trying to remember specifically. It
       12        Q. And the meta-analyses authors here say, in       12   seems like the Sister Study might have mentioned power
       13    the left-hand column at the bottom, the second          13   as a limitation of their study because of the number
       14    sentence of the bottom paragraph, they say (as read):   14   of cases.
       15             "In the cohort study, arguably the             15       Q. Did you consider -- let me just hand this to
       16             strongest study because of its                 16   you. We already have it marked. It's the Berge
       17             partly prospective ascertainment               17   article, which is Exhibit 21.
       18             of exposure, there was no                      18       A. Okay.
       19             association between cosmetic talc              19       Q. And I'm turning to page 253. And at the
       20             use and risk of all subtypes of                20   far -- the right column, top paragraph, and halfway
       21             ovarian cancer combined."                      21   down through that paragraph, the authors state
       22           Do you see that?                                 22   (as read):
       23        A. Yes.                                             23            "It should be noted that the
       24        Q. Okay. You agree with the Langseth authors        24            cohort studies included in the
       25    that the cohort study is arguably the strongest study   25            meta-analyses comprised a total of

                                                     Page 211                                                      Page 213
         1   because of its prospective nature?                       1            429 cases of ovarian cancer
         2       A. I really can't say that I agree with that,        2            exposed to genital talc and 943
         3   because the prospective aspect of it is certainly a      3            unexposed cases. The statistical
         4   positive for the study, but the way they did exposure    4            power of the meta-analysis of
         5   assessment kind of weakened the study.                   5            these cohort studies to detect a
         6          So I think that there were some very well         6            relative risk of 1.25, similar to
         7   done case-control studies, so I wouldn't necessarily     7            the result of meta-analyses of
         8   say this was the strongest study.                        8            case-control studies, was .99.
         9              MR. JAMES: And now is a good time for         9            Thus low power of cohort studies
        10   the break.                                              10            cannot be invoked as an
        11              THE WITNESS: Okay.                           11            explanation of the heterogeneity
        12              MR. JAMES: Thank you.                        12            of results."
        13              THE VIDEOGRAPHER: Going off record at        13          You see where I was reading?
        14   3:02 p.m.                                               14       A. I do.
        15       (Recess taken from 3:02 p.m. to 3:16 p.m.)          15       Q. Have you considered this portion of the Berge
        16              THE VIDEOGRAPHER: Back on record at          16   article before?
        17   3:16 p.m.                                               17       A. I have looked at this article, and I have
        18   BY MR. JAMES:                                           18   considered all aspects of it, as I did all of the
        19       Q. Dr. Moorman, on page 25 of your report, you      19   other meta-analyses and articles.
        20   make a comment about power and the cohort studies;      20       Q. You did not cite the Berge article with
        21   correct?                                                21   regard to the issue of power in your report; correct?
        22       A. Can you --                                       22             MS. PARFITT: Objection. Form.
        23       Q. It's the bottom of first paragraph, where you    23             THE WITNESS: No, I -- I did not.
        24   cite the Narod article.                                 24   BY MR. JAMES:
        25       A. Yes.                                             25       Q. Okay. And why is that?
                                                                                    54 (Pages 210 to 213)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 214                                                      Page 216
        1       A. I can't cite any specific reason.                  1   but with respect to the issue of follow-up -- it's the
        2       Q. Is that because this conflicts with your           2   paragraph above the Narod comment.
        3   litigation opinion on power?                              3          Do you see where I am?
        4              MS. PARFITT: Objection. Form.                  4      A. Yes.
        5              THE WITNESS: No. I -- I don't -- that          5      Q. Okay. And there, we talk about -- excuse me.
        6   was not my reason, no.                                    6   There, you talk about the follow-up for the cohort
        7   BY MR. JAMES:                                             7   studies; correct?
        8       Q. Do you have any reason to disagree with the        8      A. Yes.
        9   power analysis set forth in the Berge paper?              9      Q. Okay. And with respect to the NHS follow-up,
       10       A. I -- I don't have a reason to disagree with       10   there is where you report 14 years of follow-up;
       11   the power issue, but I think that it's only one part     11   right?
       12   of the picture, that there are other factors that        12      A. Correct.
       13   could contribute to differences in the findings          13      Q. And as we discussed earlier today, that does
       14   between the cohort studies and the case-control          14   not account for the additional ten years of data as
       15   studies.                                                 15   reflected by the Gates 2010 paper; correct?
       16       Q. With respect to this precise power                16      A. What I am referring here, I'm describing the
       17   calculation in the Berge paper, do you have any          17   three cohort studies in the most recent meta-analyses
       18   criticisms of this power calculation?                    18   and what they reported in that meta-analysis --
       19       A. They do not provide much detail on how they       19      Q. Understood.
       20   calculated it, so there's really -- I can't say if       20      A. Okay.
       21   they did it correctly or not. But I -- I just can't      21      Q. So you're referring there to the
       22   comment on it. It's just a single sentence there.        22   Penninkilampi meta-analysis; correct?
       23       Q. Similar to the Narod sentence that you            23      A. I believe that is the case. Let me check the
       24   reviewed?                                                24   reference. Yes.
       25       A. I --                                              25      Q. So Penninkilampi reports the 14 years of
                                                     Page 215                                                      Page 217
        1       Q. Let me rephrase it if it helps.                    1   follow-up; correct?
        2          Did you separately assess the Berge --             2       A. I believe so.
        3   excuse me -- the power calculation in either the Narod    3       Q. And we know that the Penninkilampi paper did
        4   article or the Berge article?                             4   not include the additional 10 years of follow-up as
        5       A. If I may go back to my report for just a           5   reflected by the Gates 2010 paper; correct?
        6   moment.                                                   6       A. Yes. We have already -- you've already asked
        7       Q. Sure.                                              7   and I've already answered that.
        8       A. I think that this statement that I have            8       Q. And then the next one you discuss is the WHI
        9   here -- I'm -- I think my intent in my report was         9   study where you are reporting Penninkilampi's
       10   indicating that the lack of statistical significance     10   reporting of 12.4 years of follow-up; correct?
       11   in the individual studies was a power concern.           11       A. That is correct.
       12          Berge was talking about the statistical           12       Q. And do you know that the follow-up period in
       13   power for the combined studies. So I think that there    13   the WHI -- do you know that the WHI asked about
       14   is some distinction there between what I'm referring     14   duration of talc use?
       15   to individual studies versus what Berge is describing    15       A. May I go back to that study?
       16   as the power of the combined analysis.                   16       Q. Sure.
       17       Q. Well, Berge is saying that the low power of       17       A. Do you --
       18   cohort studies cannot be invoked as an explanation for   18       Q. It's 25.
       19   the heterogeneity of results.                            19       A. Yes, they describe in their exposure
       20          Do you agree or disagree with that                20   assessment, that they did ask about duration of use
       21   statement?                                               21   using five categories from less than a year all the
       22       A. When they are combining them, I -- I don't        22   way up to 20 or more years.
       23   disagree with that. I think there are other reasons      23       Q. And so we know that they -- they followed the
       24   that can explain the heterogeneity.                      24   study participants for, according to Penninkilampi,
       25       Q. On page 25, we've touched upon this already,      25   12.4 years. But, in addition to that, they also asked

                                                                                    55 (Pages 214 to 217)
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                              Patricia G. Moorman, M.S.P.H., Ph.D.
                                                      Page 218                                                      Page 220
         1   about the -- study participants about their prior         1   excuse me -- page 26, you discuss updating exposure
         2   duration of usage; correct?                               2   information in the cohort studies.
         3       A. They asked about that, but I think that one        3       A. Yes.
         4   has to consider some of the caveats that go along with    4       Q. Do you have any basis to dispute the accuracy
         5   that. These -- may I continue?                            5   of the reported talc use at the time it was initially
         6          These women, they report that they were, on        6   ascertained in the cohort studies?
         7   average, 63 years of age when they -- at baseline, so     7       A. The accuracy of the reported talc use at the
         8   at the start of enrollment in the cohort. So they         8   time that they started follow-up in the cohorts.
         9   were asking them to recall an exposure that went back,    9       Q. Correct.
        10   for many women, that probably started in their teens     10       A. I believe that, when you are asking people to
        11   or twenties. So there was certainly the possibilities    11   recall exposures that occurred over a long period of
        12   of some inaccurate recall because they were asking       12   time, there will be some inadvertent inaccuracies.
        13   them to recall an exposure that went back quite a few    13       Q. And are you saying with respect to questions
        14   years.                                                   14   about duration?
        15          Another consideration with this study is          15       A. It could be with ever use or with duration.
        16   they excluded roughly -- let's see -- the cohort         16   Some women who used it might have forgotten and never
        17   was -- they started off with 90-some-thousand women in   17   reported it. So that's just kind of an inherent
        18   the cohort, and they excluded any history of any women   18   problem anytime you ask someone to recall exposures,
        19   with cancer at baseline, which is appropriate to do,     19   particularly if they might have occurred decades ago.
        20   but the potential concern about that is, if there were   20       Q. Is that true for the case-control studies as
        21   talc users who had developed ovarian -- or had           21   well?
        22   developed ovarian cancer before the follow-up began,     22       A. Yes. In my report, I indicate that -- I make
        23   that would never be captured.                            23   the distinction between recall bias and inaccurate
        24              MR. JAMES: Okay. Dr. Moorman, just            24   recall and indicate that inaccurate recall --
        25   very respectfully, I'm going to have to object to the    25   specifically on page 21, make the distinction between

                                                      Page 219                                                      Page 221
         1   nonresponsive portion of the answer.                      1   recall bias and inaccurate recall that is difficult --
         2   BY MR. JAMES:                                             2   inaccurate recall and exposure that is difficult to
         3      Q. So the question that I asked is not the             3   remember with precision.
         4   question that you ended up answering.                     4          And that's an issue with any type of study
         5      A. I did answer your question, I believe.              5   when you're asking people to recall past exposures.
         6      Q. Okay. I didn't ask you for your critiques of        6      Q. And transitioning to the topic that you
         7   the WHI. I asked you about the follow-up issue.           7   brought up, which is the recall bias. We can stay on
         8   Okay? Do we need to look at the question again?           8   page 216 your report.
         9          I asked -- my question is:                         9      A. Yes.
        10          "Question: But in addition to that,               10      Q. And there, you address -- at the bottom
        11          they also asked about -- the study                11   paragraph, you say that (as read):
        12          participants about their prior                    12            "Recall bias, which theoretically
        13          duration of usage; correct?"                      13            could result in the bias estimate
        14      A. And I answered it but thought that there were      14            of the relative risk, must be
        15   important relevant considerations.                       15            considered."
        16              MR. JAMES: Can we go off the record           16          Do you see where I am?
        17   for a second --                                          17      A. I do.
        18              MS. PARFITT: Yes.                             18      Q. And you cite three situations where recall
        19              MR. JAMES: -- please?                         19   bias would be a "particular threat" to a study's
        20              THE VIDEOGRAPHER: Off record at 3:29.         20   validity; right?
        21            (Discussion off the record.)                    21      A. Yes.
        22              THE VIDEOGRAPHER: Back on record at           22      Q. And with -- let's walk through those three
        23   3:31 p.m.                                                23   together.
        24   BY MR. JAMES:                                            24          The first is -- the first threat that you
        25      Q. On page 25 of your report, Dr. Moorman --          25   identify is "if the exposure of interest is one that
                                                                                     56 (Pages 218 to 221)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 222                                                       Page 224
         1   could be considered sensitive"; right?                    1   them, or any reason why a woman, if she's telling you
         2       A. Yes.                                               2   her whole pregnancy and menstrual history, why she
         3       Q. Okay. And then you address that reason in          3   would feel embarrassed about her use of genital talc.
         4   turn on the next page, on page 22 of your report?         4      Q. And do you have any empirical data to support
         5       A. Yes.                                               5   that opinion?
         6       Q. And you state there that (as read):                6      A. I am unaware of any empirical data that
         7            "In regard to the situation,                     7   specifically addresses that.
         8            genital talc use would 'not be                   8      Q. Okay. The second situation you identify on
         9            considered a particularly                        9   page 21 and then discuss on page 22 is if -- is if the
        10            sensitive topic.'"                              10   study hypotheses are known to the study subjects or
        11          Right?                                            11   interviewers.
        12       A. That's what I state in my report, yes.            12          Do you see that?
        13       Q. Okay. And what basis do you have for that         13      A. Yes.
        14   statement? Do you cite to anything? Have you             14      Q. Okay. And your analysis is on page 22.
        15   conducted any studies to support that statement? What    15          What did you do to evaluate this factor?
        16   scientific basis do you have for that statement?         16      A. Whether the study hypotheses are known to the
        17       A. This is based on my professional judgment,        17   study subjects or interviewers?
        18   based on years and years of doing studies where we       18      Q. Correct. With respect to the talc ovarian
        19   collect data, getting feedback from interviewers. In     19   cancer literature.
        20   our studies, we ask about a lot of personal things,      20      A. Okay. Again, this is based on my experience
        21   you know, their menstrual history, their contraceptive   21   in having done epidemiologic studies for many years.
        22   history, those kind of things.                           22   As I state here, it's standard practice in
        23          And I have never gotten the impression that       23   epidemiologic research where we're not discussing the
        24   these were things that women considered sensitive and    24   hypotheses with the interviewers. We're asking a lot
        25   did not want to reveal, whereas when you get into        25   of questions. Some thought to increase risk; some
                                                     Page 223                                                       Page 225
         1   other topics, say -- like, I give the example of          1   thought to decrease risk. It's standard that you
         2   induced abortion, that, I have heard from some of our     2   would not really discuss the hypotheses with the
         3   interviewers, that sometimes that evokes strong           3   interviewers.
         4   emotions in the women.                                    4          And, similarly, when we invite or ask women
         5          And so I think that, you know, there are           5   to be in our studies, we will tell them that, you
         6   some exposures that are sensitive, as I describe, that    6   know, it is a study of ovarian cancer, but we're not
         7   women might be hesitant to report. And I contrast         7   telling them which factors we think might be
         8   that with things that are personal but not                8   associated with increased risk and which ones might be
         9   particularly sensitive.                                   9   associated with decreased risk.
        10          When a woman has agreed to be in a study,         10       Q. To support this statement, did you conduct
        11   she knows that we're going to be asking some of these    11   any post-interview interviews?
        12   questions. And I have never heard any comments from      12       A. Can you restate that? Tell me -- I'm not
        13   any of the interviewers in the many studies I've done    13   sure what you're asking.
        14   that this was a question that women felt uncomfortable   14       Q. So to determine if study hypotheses were
        15   with.                                                    15   known to the study subjects at the time that they were
        16      Q. Do you acknowledge the possibility that a          16   asked the questions, there would be methods or ways to
        17   person's use of a cosmetic talcum powder in their        17   which you could find that out; correct?
        18   genital region could be viewed by some as a sensitive    18       A. We -- I'm thinking about it. I have never
        19   topic?                                                   19   known that to be -- I've never known a study that has
        20      A. I -- again, I -- I kind of make the                20   done that.
        21   distinction between something that is personal -- and    21          In one breast cancer study, at the end of
        22   we ask them a lot of personal questions, but it's --     22   the interview, we asked the women if they had any
        23   I don't see any aspect of that that would seem           23   ideas about what caused breast cancer. And, you know,
        24   particularly sensitive, why someone might be             24   we thought it might maybe raise some new ideas, but we
        25   embarrassed or feel that someone was going to judge      25   found that it was largely -- we didn't see anything

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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 226                                                      Page 228
        1   that was usable. I think that the most common             1   are that the estimates did not differ between
        2   response was that women thought it was stress. So --      2   case-control and prospective or retrospective cohort
        3       Q. But you don't have any evidence of anything        3   studies; correct?
        4   similar being done in the talc ovarian cancer             4       A. Where are you reading, please?
        5   literature; correct?                                      5       Q. I'm in the "Results" section.
        6       A. Not to my knowledge.                               6       A. Okay. Yes.
        7       Q. At the bottom of page 22, and then carrying        7       Q. And then they say, "Heterogeneity was also
        8   over through 23, you cite to the Lanza study; correct?    8   low," below that; right?
        9       A. That's correct.                                    9       A. Yes.
       10       Q. And you cite Lanza for the proposition            10       Q. Again, if I'm understanding this paper
       11   that -- to provide "further evidence that recall bias    11   correctly, the situation for talc and ovarian cancer
       12   in case-control studies does not inevitably lead to an   12   is completely different, isn't it? Where we do have
       13   overestimate."                                           13   heterogeneity between the prospective studies and the
       14          Do you see where I was reading? It's at the       14   retrospective case-control studies; right?
       15   bottom of 22.                                            15              MS. PARFITT: Objection. Form.
       16       A. Yes. Yes, I see where you're reading.             16              THE WITNESS: We have one example in
       17       Q. Lanza did not pertain to talc and ovarian         17   the talc and the -- and the ovarian cancer -- in the
       18   cancer; correct?                                         18   meta-analyses, they did note some heterogeneity
       19       A. As I state in my report, yes. It's looking        19   between the cohort studies and the case-control
       20   at a variety of meta-analyses that looked at both        20   studies.
       21   case-control studies and cohort studies. And the         21          I think that the point that I was trying to
       22   point of that paper was to determine if recall bias      22   get with that is in the observational studies, there's
       23   seemed to lead to a consistently increased risk. And     23   always concern, as several of these people have -- as
       24   their conclusion, as I state in here, there's no         24   several of the meta-analyses and other papers have
       25   significant difference in the effect estimates between   25   reported, that the stronger association due to --
                                                     Page 227                                                      Page 229
        1   the case-control and cohort studies, suggesting that      1   among the case-control studies was due to some kind of
        2   the study design didn't have an important impact on       2   recall bias.
        3   the conclusions of the meta-analyses.                     3          So the point is, if it was recall bias, you
        4              MR. JAMES: Okay. I marked Lanza as             4   would expect to see that case-control studies always
        5   Exhibit 27. I'll hand you two copies.                     5   had higher estimates than the cohort studies; and this
        6      (Exhibit No. 27 was marked for identification.)        6   study is making the point that in this wide variety of
        7   BY MR. JAMES:                                             7   interventions that they looked at, that doesn't seem
        8       Q. And so Lanza concerns therapeutic                  8   to be the case at all. Okay.
        9   interventions; correct?                                   9   BY MR. JAMES:
       10       A. Yes.                                              10       Q. So, again, this study is saying, "Look, the
       11       Q. And isn't -- and correct me if I'm wrong          11   results of case-control studies and the results of
       12   here, but looking at Lanza, isn't what Lanza doing is    12   prospective cohort studies on these therapeutic
       13   they're comparing the odds ratios reached in both the    13   interventions are similar, same ballpark, and so thus,
       14   case-control studies and in the prospective studies on   14   we can conclude that recall bias in this body of
       15   a completely different body of literature; right?        15   literature must not be a big deal."
       16       A. It is not dealing with talc and ovarian           16          Is that a layman's fair way to describe the
       17   cancer, if that is your question.                        17   results of this paper?
       18       Q. And they're looking at whether the results of     18              MS. PARFITT: Objection. Form.
       19   the case-control studies on that separate body of        19              THE WITNESS: Yeah. I -- I mean,
       20   literature and the results of the prospective cohort     20   I think that it's one part of the -- I think that,
       21   studies on that separate body of literature reached      21   overall, that's a pretty fair summary of the point
       22   different results; right?                                22   that this paper is making. So...
       23       A. Yes.                                              23   BY MR. JAMES:
       24       Q. Okay. And so the author's conclusions in the      24       Q. And if you acknowledge that in the talc
       25   abstract here are -- which you note in your report --    25   ovarian cancer literature, there is a disparity

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                                                    Page 230                                                       Page 232
        1   between the retrospective case-control studies and the    1       Q. If you're looking at Lanza objectively,
        2   prospective cohort studies, then Lanza isn't really       2   doesn't it say exactly the opposite of what you're
        3   applicable at all, is it?                                 3   saying here, Doctor?
        4              MS. PARFITT: Objection.                        4          I mean, again, the justification for Lanza
        5              THE WITNESS: It is -- I think that it          5   is the results are the same, and so recall bias isn't
        6   is very applicable because it's trying to get at the      6   a problem. But that justification doesn't exist in
        7   recall -- is recall bias -- is that a problem in          7   the world of talc ovarian cancer.
        8   case-control studies that is going to inevitably lead     8          That will be my last question on that.
        9   to higher risk estimates than what you would get in       9       A. No. I think that this addresses the recall
       10   cohort studies?                                          10   bias in the -- you know, I acknowledge it doesn't
       11          And as we have seen in these articles, we         11   directly address talc and ovarian cancer in this
       12   see recall bias is frequently cited as a potential       12   paper; but it does address this -- this commonly-cited
       13   reason that we saw stronger associations in              13   thing that, you know, recall bias in case-control
       14   case-control studies than in cohort studies.             14   studies could lead to higher risk estimates. And it's
       15          And I think this paper is really pointing         15   saying that's not necessarily the case always.
       16   out that that's not inevitable, that you're always       16       Q. I promised that was my last question --
       17   going to have higher estimates with case-control         17       A. Okay.
       18   studies than cohort studies.                             18       Q. -- so we'll move on.
       19          Specifically in relation to the                   19          The third factor that you discuss as a
       20   heterogeneity between the cohort studies and the         20   particular threat for recall bias is if there is
       21   case-control studies in talc, I think that we have to    21   considerable media attention.
       22   consider other biases that may be operating.             22          Do you see where I've returned back to on
       23   BY MR. JAMES:                                            23   page 22?
       24       Q. I mean, the justification for the Lanza           24          21 is where you -- 21 through 22 is where
       25   conclusions is that the results in the two study         25   you lay out the three reasons. At the top of 22, you
                                                    Page 231                                                       Page 233
        1   designs are pretty much the same. So these two study      1   say "considerable media attention."
        2   designs didn't reach different results. And so in         2      A. Yes.
        3   this body of literature, we don't really need to be       3      Q. And then you evaluate the media attention
        4   worried about recall bias. Recall bias was not            4   factor on the following page; right?
        5   operating to create a disparity of results in this        5      A. On page 23, yes.
        6   body of literature.                                       6      Q. On 23, you say that, for the media attention
        7           But, in contrast, in the talc ovarian cancer      7   concern, you say in the middle of the first full
        8   world, there is a disparity in the results by study       8   paragraph (as read):
        9   design; right?                                            9            "The concern is not relevant to
       10       A. We've already acknowledged there is some          10            the vast majority of the studies
       11   heterogeneity in results. Is it due to recall bias?      11            as virtually all the data
       12   Is it -- do we have to assume that recall bias is in     12            collection in the epidemiologic
       13   play here and that explains the higher -- or the         13            studies of talc and ovarian cancer
       14   stronger associations generally reported in the          14            occurred prior to such
       15   case-control studies.                                    15            litigation."
       16           And this article is addressing one -- one        16          Do you see that?
       17   potential bias, the recall bias. And I don't --          17      A. Yes, I do.
       18   I think that it provides support that we cannot just     18      Q. And you agree that media attention is not
       19   do a knee-jerk reaction of "case-control studies, they   19   limited to litigation; correct?
       20   have the potential for recall bias, that leads to        20      A. Yes.
       21   higher estimates, and therefore, these studies are       21      Q. Did you undertake any effort to analyze the
       22   biased."                                                 22   extent of publicity or media attention to the talc
       23           There are other biases in play in the cohort     23   ovarian cancer issue prior to 2014?
       24   studies that I think are very plausible explanations     24      A. I did not do any specific analysis of that.
       25   for why there might be some differences.                 25   I personally was unaware of any media attention on
                                                                                    59 (Pages 230 to 233)
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                                                     Page 234                                                      Page 236
        1   this topic prior to the litigation.                       1       Q. And you -- I believe this table reflects --
        2       Q. Then I believe on page 23, you go on to            2   though I'm still looking for it, and maybe you can
        3   discuss the Schildkraut 2016 paper; correct?              3   help me with it -- but the data in this table reflects
        4       A. Yes.                                               4   that pre-2014 interviewees reported talc usage at the
        5       Q. Okay. And if we can pull that back out. It         5   rate of 36 percent, and post-2014 interviewees
        6   is the exhibit -- did I mark it?                          6   reported rates -- excuse me, reported usage at the
        7             MS. PARFITT: I don't think so.                  7   rate of 51 percent.
        8             MR. JAMES: Okay. I'll mark it as the            8       A. Yes, I see that in the table.
        9   next one, so you don't have to fish for it here. It's     9       Q. And so that's a significant disparity in
       10   Exhibit 28.                                              10   reported usage rates; would you agree with that?
       11     (Exhibit No. 28 was marked for identification.)        11              MS. PARFITT: Objection. Form.
       12             MR. JAMES: Which is the Schildkraut            12              THE WITNESS: Clearly, it is what it
       13   2016 paper. I'll hand you two copies.                    13   is. It's 36 percent as -- versus 51 percent. Okay.
       14   BY MR. JAMES:                                            14   BY MR. JAMES:
       15       Q. And so we touched upon this a bit earlier,        15       Q. And so we have your paper here showing that
       16   Dr. Moorman, where we talked about the phraseology       16   before 2014, before the onset of the litigation, you
       17   where you say the association was "attenuated but not    17   had study participants reporting talc usage at a lower
       18   eliminated."                                             18   rate; right?
       19          Do you recall that exchange we had earlier?       19       A. Than -- yes.
       20             THE WITNESS: Yes, I do.                        20       Q. And if you isolated the association analysis
       21   BY MR. JAMES:                                            21   to those -- to that group, you also have a
       22       Q. Okay. And in this 2016 paper, again, you,         22   non-statistically significant association; correct?
       23   among the authors, compared the odds ratios for talc     23       A. And again, when you stratify -- we've already
       24   and ovarian cancer for participants before 2014 and      24   covered that. I acknowledge that prior to 2014, it
       25   for participants after 2014; correct?                    25   was not statistically significant. We also indicated
                                                     Page 235                                                      Page 237
        1       A. Correct.                                           1   certainly in the range of what many other studies have
        2       Q. And if we look at page 1414 -- I'm looking         2   seen. But when you stratify like that, you are
        3   for my place here.                                        3   getting into smaller sample sizes. So there's
        4          If you look at Table 2, Dr. Moorman, you see       4   statistical significance that -- the fact that it's no
        5   there where you have broken out the data on interview     5   longer statistically significant is not all that
        6   date after 2014; right?                                   6   surprising.
        7       A. Yes.                                               7       Q. Have you seen the Trabert editorial that
        8       Q. And then above that is the interview date          8   followed the publication of the Schildkraut article?
        9   before 2014; correct?                                     9       A. I'm sure that I have read it at some point,
       10       A. Yes.                                              10   but --
       11       Q. And we see that the odds ratio here for           11       Q. Okay. I'm going to -- I'm sorry.
       12   interview date after 2014 is 2.91; correct?              12       A. -- please, let's -- I haven't looked at it in
       13       A. That is correct.                                  13   quite some time.
       14       Q. That's well in excess of any odds ratio           14       Q. So I'm going to mark as Exhibit 29 an
       15   reported in any of the meta-analyses; correct?           15   editorial by Britton Trabert entitled "Body Powder and
       16       A. For the overall summary odds ratio, yes.          16   Ovarian Cancer Risk -- What is the Role of Recall
       17       Q. And before 2014, we see that the odds ratio       17   Bias?"
       18   is a 1.19 that is not statistically significant, which   18           I'll hand you two copies.
       19   is what we discussed earlier; correct?                   19     (Exhibit No. 29 was marked for identification.)
       20       A. Yes, we discussed that earlier.                   20   BY MR. JAMES:
       21       Q. And you also report in this article a             21       Q. Dr. Moorman, does this editorial look
       22   distinction between the pre-2014 interviewees and the    22   familiar to you? Have you seen it before?
       23   post-2014 interviewees based upon their reported talc    23       A. Yes, I have seen it before.
       24   usage; right?                                            24       Q. Have you ever spoken with or communicated
       25       A. Yes.                                              25   with Britton Trabert about this editorial?

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                                                    Page 238                                                      Page 240
        1       A. No, I have not.                                   1   possibility of recall bias, but I think that we looked
        2       Q. And you see that in the right-hand column,        2   at the other side of the coin as well.
        3   about midway down, Dr. Trabert refers to the data        3       Q. And can you tell me where you're reading that
        4   points that we were just discussing; correct?            4   sentence from, Dr. Moorman?
        5       A. Yes.                                              5       A. Let's see. The -- it is on page 1416, the
        6       Q. And if you look to the second page of the         6   right-hand column, and it's about -- probably about
        7   editorial, Trabert reports, at the last paragraph of     7   eight or nine lines down.
        8   the article (as read):                                   8          So I think that this sentence -- or this
        9            "The current study highlights the               9   whole paragraph gives a pretty balanced assessment of
       10            concern over recall bias in                    10   the data, that we thoughtfully considered the issue of
       11            case-control studies, particularly             11   recall bias, but we also considered that maybe the
       12            once an exposure becomes the                   12   greater publicity led to -- was kind of a memory
       13            subject of considerable media                  13   trigger that led to more accurate recall.
       14            coverage."                                     14       Q. And in your report, do you include a caution
       15          Do you see where I was reading that?             15   on the Schildkraut 2016 study about the potential for
       16       A. Yes, I do.                                       16   recall bias based upon the 2014 pre- and post-data?
       17       Q. Do you agree with Dr. Trabert's concerns         17       A. I -- let's see. We have discussed that
       18   about media coverage impacting the results of the       18   section of the report a couple of times already. And
       19   Schildkraut study?                                      19   I state that there is the possibility that recall bias
       20       A. I -- I think that the investigators on our       20   could have led to the higher odds ratios when
       21   study, they had that concern. That's why we did those   21   including women interviewed during the time when there
       22   analyses. So...                                         22   was more media attention focused on this exposure.
       23       Q. So do you acknowledge the possibility that       23       Q. And you're at page 23; right?
       24   the results of the 2016 study may reflect recall bias   24       A. Yes.
       25   in the study?                                           25       Q. Okay. And then you conclude the middle

                                                    Page 239                                                      Page 241
        1       A. In this discussion -- if I may take just a        1   paragraph with the statement that -- the "attenuated
        2   moment to --                                             2   but not eliminated" statement. But I'm not going to
        3       Q. Certainly.                                        3   ask about that again. But you go on in that sentence
        4       A. Okay. You know, I think that                      4   to say (as read):
        5   Dr. Schildkraut, who did the major writing of this       5            "The association is not due
        6   article -- and I think all of the coauthors were in      6            entirely to recall bias."
        7   agreement -- that we were concerned about the recall     7          Do you see that phrasing that I just read?
        8   bias. As I said, that was some of the reason for         8       A. Yes.
        9   doing those analyses.                                    9       Q. So are you conveying in that wording that you
       10          I think that it's also important to point        10   think some portion of the odds ratio that you are
       11   out here the other possibility. There may have been     11   seeing in these case-control studies that you're
       12   some recall bias. But she also makes the statement      12   relying on or the meta-analyses that you're relying
       13   that (as read):                                         13   on, that some portion of that odds ratio is
       14             "It is possible that the lawsuit              14   attributable to recall bias?
       15             sharpened memories of body powder             15              MS. PARFITT: Objection.
       16             use and improved the accuracy of              16              THE WITNESS: I think that probably
       17             reported use for both cases and               17   every meta-analysis published, probably every
       18             controls interviewed in 2014 or               18   case-control study that was published, we acknowledge
       19             later."                                       19   this as a -- recall bias is a potential bias. But
       20          I think that that goes to say that anytime       20   I think that we went on to give evidence --
       21   someone -- you know, there's some memory trigger, it    21   I explained why I did not think that it was a complete
       22   could have made actually more accurate recall.          22   explanation.
       23          So we --                                         23          Can we completely rule out any possibility
       24       Q. And Dr. --                                       24   of recall bias? I don't know that we can do it. But
       25       A. I'm sorry. So we acknowledge both the            25   I think that as -- for some of the reasons

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                                                     Page 242                                                       Page 244
        1    I articulated.                                            1       Q. Okay. Dr. Moorman, on page 11 of your
        2           I know that Dan Cramer in his 2016 paper           2   report, you talk about -- this is where you begin your
        3    also went into great detail considering the issue of      3   analysis of the Bradford Hill factors.
        4    recall bias. And I don't think that we can attribute      4       A. Yes.
        5    this association to recall bias.                          5       Q. And are you there with me?
        6    BY MR. JAMES:                                             6       A. Yes, I am.
        7        Q. Can you cite to any publication that has           7       Q. Okay. You say, in page 11 -- you have a
        8    analyzed the literature and ruled out recall bias --      8   section titled "Strength and consistency of the
        9               MS. PARFITT: Objection.                        9   association"; correct?
       10    BY MR. JAMES:                                            10       A. Correct.
       11        Q. -- as a method -- as a basis for the elevated     11       Q. You say in the first sentence that strength
       12    odds ratio of the 1.2 to 1.3 that you're citing in       12   and consistency are "deeply intertwined." Correct?
       13    your report?                                             13       A. Yes.
       14               MS. PARFITT: Objection.                       14       Q. Can you cite to any publication where you
       15               THE WITNESS: Okay. I went back to the         15   have combined the analysis of strength and consistency
       16    Dan Cramer article, and I'm hoping that I'm recalling    16   before?
       17    that particular article, the date of it, accurately.     17       A. I -- I can't cite any publication that
       18    But he did analyze the data and the degree of            18   specifically addresses that, no.
       19    misclassification that would have had to occur for       19       Q. Can you cite any published authority that
       20    recall bias to account for this association. He gave     20   states these two Bradford Hill criteria are deeply
       21    other reasons for why it seemed unlikely that recall     21   intertwined?
       22    bias would account for this association.                 22       A. I -- I think that as I was -- I cannot cite a
       23           So I think he did a pretty thorough               23   published authority.
       24    analysis -- a thoughtful analysis of it.                 24          I think that, again, this is based on when
       25                                                             25   I was looking at these and how I was weighting these
                                                     Page 243                                                       Page 245
         1   BY MR. JAMES:                                             1   considerations.
         2       Q. Can you cite any other publications other          2       Q. Do you agree that strength is an important
         3   than the Cramer 2016 paper, sitting here today, that      3   criteria in and of itself?
         4   have addressed recall bias in the fashion that you        4       A. I think that the strength of the association
         5   just described?                                           5   is an important criteria, but I think that we also
         6       A. The Cramer article is the one that I -- that       6   have to bear in mind that as -- that there are many
         7   comes to mind as the one that addressed it most           7   well-established causal associations that are
         8   thoroughly.                                               8   certainly not in the order of magnitude of what we
         9       Q. Have you ever published the three factors          9   see, for example, with smoking and lung cancer.
        10   that you have addressed with regard to recall bias?      10       Q. Do you think the criteria of strength is met
        11       A. The three factors are --                          11   with the talc and ovarian cancer literature?
        12       Q. Sure. So --                                       12       A. When -- as I go through my report, I give
        13       A. Okay.                                             13   numerous examples of well-accepted causal associations
        14       Q. Within your report, you -- we just walked         14   that are of a similar magnitude as what we see with
        15   through the three factors that you've considered, the    15   talc and ovarian cancer, and so I think that the data
        16   three factors that you deemed to be a particular         16   are strong enough.
        17   threat to case-control studies for recall bias;          17       Q. And I think that I'm going to ask my question
        18   correct? We just walked through those three?             18   again.
        19       A. Yes.                                              19       A. Okay.
        20       Q. Have you ever published those three in any        20       Q. Do you think that the criteria of strength is
        21   article or journal or anything else?                     21   met with the talc and ovarian cancer literature?
        22       A. I have not published that. That is just           22       A. Okay --
        23   based on my general epidemiologic knowledge from doing   23              MS. PARFITT: Objection. Asked and
        24   this type of research and teaching in this field for     24   answered.
        25   the last couple of decades.                              25          Try again, Dr. Moorman.

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                                                    Page 246                                                     Page 248
        1               THE WITNESS: Okay. So, once again,           1              MR. JAMES: It hasn't been answered.
        2   I -- we have to use -- we have to be careful of --       2              MS. PARFITT: It's been asked.
        3   Dr. Hill did not refer to these as "criteria," but       3              THE WITNESS: I don't think that we
        4   guidelines or viewpoints I think was the terminology     4   have any actual definition of what is modest. I think
        5   he used. And I do think that the criteria of strength    5   that the association is what it is, a 25 to 30 percent
        6   has been met.                                            6   increased risk.
        7   BY MR. JAMES:                                            7   BY MR. JAMES:
        8       Q. Can you cite to a single study in the talc        8       Q. As an epidemiologist, you're not capable of
        9   ovarian cancer literature that refers to the             9   discerning whether an association is modest or not
       10   association as a strong association?                    10   modest?
       11       A. I -- I cannot, off the top of my head, think     11              MS. PARFITT: Objection.
       12   of anyone that refers to it as a strong association.    12              THE WITNESS: As I have said before,
       13   I do, once again, want to say that we see evidence of   13   I don't think there is any clear definition of that
       14   causal associations of similar magnitude; so I think    14   adjective.
       15   that it is strong enough to be a causal association.    15   BY MR. JAMES:
       16       Q. Do you understand that a number of the papers    16       Q. Is there a definition in the epidemiologic
       17   that you have cited in your reference list or           17   community of a weak association? Are you able to
       18   materials-considered list refer to the association as   18   understand what that would mean in the epidemiologic
       19   weak?                                                   19   community?
       20               MS. PARFITT: Objection.                     20       A. Once again, there is no -- to my knowledge,
       21               THE WITNESS: Which papers are you           21   there is nothing that would say, you know, an odds
       22   referring to specifically?                              22   ratio in this range is weak, this is modest, this is
       23   BY MR. JAMES:                                           23   moderate, this is strong.
       24       Q. If an author in the talc ovarian cancer          24          And, again, going back to Bradford Hill, he
       25   literature has referred to the association as a weak    25   certainly emphasizes that there are some associations
                                                    Page 247                                                     Page 249
        1   association, would you agree or disagree with that       1   that are not in the magnitude of smoking and lung
        2   characterization?                                        2   cancer, but they are certainly real.
        3              MS. PARFITT: Object to form.                  3       Q. And I think you're conflating -- or you're
        4              THE WITNESS: I would disagree with            4   misunderstanding my question, because you're answering
        5   the -- I would disagree with that.                       5   the question about whether the association is real or
        6   BY MR. JAMES:                                            6   not real, and my question for you is whether the
        7        Q. If an author or authors in the talc ovarian      7   association is weak, modest, or strong.
        8   cancer literature have referred to the association as    8           How would you characterize it?
        9   modest, would you agree or disagree with that?           9       A. And I would -- as I have said, there is no
       10        A. Once again, I think that many of the risk       10   absolute terminology that would say what is a weak
       11   factors that we are considering are not going to be     11   association, what is modest, and what is strong. So
       12   the odds ratios of 10 or greater that we saw with       12   I think that it is more accurate just to describe it
       13   this.                                                   13   as it is, a 25 to 30 percent increased risk of ovarian
       14           And when you read the papers written by         14   cancer.
       15   Dr. -- by Bradford Hill, he certainly makes the point   15       Q. Well, in assessing the Bradford Hill factors
       16   that some weaker associations can certainly be real.    16   or considerations or criteria -- in assessing that and
       17        Q. So is this a weaker association?                17   determining whether the association is strong or not
       18        A. Weaker is in comparison to what? It's not --    18   strong, as an epidemiologist, don't you need to be
       19   it's weaker than smoking and lung cancer. It is --      19   capable of determining whether the association is
       20   I keep making the point that it -- we fully             20   strong or not strong?
       21   acknowledge that it is not a tenfold increased risk.    21       A. Once again, it is an adjective that is not
       22   It's a 25 to 30 percent increased risk.                 22   well defined. And --
       23        Q. Would you call the association modest?          23       Q. And do you -- I'm sorry.
       24              MS. PARFITT: Objection. Asked and            24       A. I -- I -- I keep going back to I think that
       25   answered.                                               25   the association that we see is what it is, a 25 to

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                                                    Page 250                                                      Page 252
         1   30 percent increased risk. It is consistent with        1      A. Yes.
         2   other factors that we consider causal associations.     2      Q. And these associations that you've listed,
         3   They have a similar strength of association.            3   you have concluded are generally accepted to be
         4      Q. And I do -- I do intend to go to that very        4   causal; correct?
         5   next topic next --                                      5      A. I think so, yes.
         6      A. Okay.                                             6      Q. And below that, you state that the IARC has
         7      Q. -- but in assessing strength, what I'm asking     7   reached a causal conclusion with respect to each of
         8   is whether, in all of the papers that you've cited,     8   these associations; is that right?
         9   when the epidemiologists that you've cited refer to     9      A. Yes, that is what I state.
        10   the association as weak or modest or small, is that    10      Q. And so to state that, are you saying that all
        11   terminology that you can accept, or is that            11   five of these exposures and associations have been
        12   terminology that you reject?                           12   classified by IARC as Category 1?
        13      A. I say that it is terminology that is             13      A. I don't recall if -- I don't recall the
        14   imprecise. What one would consider modest, someone     14   classifications, specifically, for all of these.
        15   else might consider moderate. It's imprecise           15      Q. Well, to say that the IARC has made a causal
        16   terminology.                                           16   judgment on these associations, you are necessarily
        17      Q. And certainly in the epidemiology world, if      17   saying that they have classified these associations as
        18   you have a small or modest or weak association, what   18   Category 1; correct?
        19   you're saying is that that doesn't bar a causal        19      A. I -- you know, I answered the question.
        20   conclusion. But wouldn't you agree with me that if     20   I don't recall which IARC category that each of these
        21   the association is small or modest or weak, it makes   21   exposures is right off the top of my head.
        22   the other considerations more important?               22      Q. But do you say in the report that they are
        23             MS. PARFITT: Objection.                      23   judged to be causal by IARC; correct?
        24             THE WITNESS: I think that all of the         24      A. I do say that in my report.
        25   considerations are important. It's --                  25      Q. And IARC has not judged talc ovarian cancer
                                                    Page 251                                                      Page 253
        1    BY MR. JAMES:                                           1   to be a causal association, has it?
        2       Q. Do you agree that, with a small association,      2       A. As we have discussed several times today,
        3    there's more concern for recall bias?                   3   they describe it as possibly carcinogenic.
        4              MS. PARFITT: Objection.                       4       Q. Can you cite to any publication that assesses
        5              THE WITNESS: I think that with a              5   the strength of an epidemiologic association by
        6    smaller association, there is more concern that it      6   considering "similar magnitude" odds ratios from
        7    could be due to bias from various reasons.              7   unrelated exposures to diseases?
        8    BY MR. JAMES:                                           8       A. I -- off the top of my head, I can't cite any
        9       Q. Can you cite to any scientific agency or          9   such publication.
       10    organization that has described the talc ovarian       10       Q. Have any scientific agencies that have looked
       11    cancer association as strong?                          11   at this issue assessed strength of the talc ovarian
       12       A. I do not recall anyone describing it that        12   cancer relationship by considering similar magnitude
       13    way.                                                   13   associations of unrelated exposures to diseases?
       14       Q. Okay. And then we will turn now to page 12       14       A. I know that in the Health Canada report, they
       15    of your report, Dr. Moorman, where you cite a number   15   went through assessing the strength of the
       16    of other exposures.                                    16   association. I don't recall if they kind of
       17       A. Yes.                                             17   considered it in relation to other exposures that have
       18       Q. And do you see where I am?                       18   a similar magnitude of association.
       19       A. Yes.                                             19       Q. With regard to the associations that you have
       20       Q. And you say on page 12 that (as read):           20   identified on page 12, did you review the entire body
       21             "Well-accepted exposure to these              21   of scientific and medical literature pertaining to
       22             associations have relative risks              22   those associations?
       23             of similar magnitude and are                  23       A. In -- let's see. Since when I cited these,
       24             generally accepted to be causal."             24   I did not go through the same level of detail like
       25           Do you see where I was reading?                 25   I have done for the talc and ovarian cancer.
                                                                                   64 (Pages 250 to 253)
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                             Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 254                                                      Page 256
        1            The oral contraceptive use and breast cancer     1   BY MR. JAMES:
        2    that I cite, I was part of a team of researchers that    2       Q. So in your report, when you are assessing
        3    did a systematic review and meta-analysis of oral        3   strength, and you discuss the fact that there are
        4    contraceptives in relation to ovarian cancer as well     4   similar magnitude odds ratios from other exposures
        5    as breast cancer and some other cancers.                 5   upon which one could conclude causation, you do not
        6            The other ones, again, I did not go in --        6   also remark that there are similar magnitude ratios
        7    did not review the body of literature in the same        7   upon one which could not conclude causation.
        8    detail as I did the talc and ovarian cancer.             8          Why is that? Why did you lay out the
        9        Q. Did you assess, in any of these bodies of         9   analysis this way?
       10    literature, the risks for recall bias?                  10       A. What I was trying to do here is to make the
       11        A. I did not.                                       11   point that an association in the range of a 25 to
       12        Q. Did you consider, in these bodies of             12   30 percent increased risk is something that there are
       13    literature, biologic mechanism for these five           13   multiple examples of this being generally accepted as
       14    exposures that you've identified?                       14   a causal association.
       15        A. I considered biologic mechanism, again, not      15          I -- it was not my intent to describe the
       16    in the level of detail with the talc and ovarian        16   entire universe of exposures and some that might be in
       17    cancer.                                                 17   this range.
       18        Q. Did you assess them in a manner sufficient to    18       Q. There are certainly examples that you didn't
       19    which you would opine in a published article or a       19   cite in the 1.2 to 1.3 range that are not causal;
       20    litigation report about the evidence supporting         20   right?
       21    causation?                                              21       A. Did you have something specific in mind that
       22        A. I'm reading your question again.                 22   you are --
       23        Q. So am I.                                         23       Q. I'm asking you, actually.
       24        A. I'm not sure.                                    24          Did you just go searching for similar
       25        Q. For these five exposures and diseases that       25   magnitude ratios upon which one could reach a
                                                     Page 255                                                      Page 257
         1   you've cited on page 12, did you assess the body of      1   causation conclusion?
         2   scientific and medical literature and evidence in a      2        A. I -- I think that I was trying to get at that
         3   manner sufficient to which you would feel comfortable    3   is this association strong enough to be causal? And
         4   offering an opinion in the published literature or in    4   we have evidence from these other exposures that, yes,
         5   a litigation report about causation?                     5   it's certainly possible.
         6       A. I think that I have answered the question         6           The point is that you do not -- or you do
         7   repeatedly that I did not do it in the detail that       7   not dismiss an association of 1.25 or 1.3 as it
         8   I did the talc and ovarian cancer. If I were to put      8   couldn't possibly be causal. We have evidence to
         9   in published literature or a litigation report,          9   suggest that it -- there are many examples of it.
        10   I would want to make sure that I had done it as         10        Q. But in your report, Dr. Moorman, you're not
        11   absolutely thoroughly as possible.                      11   just not dismissing it. You're not just using the
        12       Q. Your comparison of the odds ratios to these      12   similar magnitude odds ratios to not dismiss the
        13   five exposures -- you acknowledge that there are        13   possibility that this is a real association. You're
        14   exposures that you have not identified in your report   14   using the similar magnitude ratios in an effort to
        15   that are in the 1.2 to 1.3 range that are not causal    15   ascribe strength to the association; correct?
        16   or have not proven to be causal; correct?               16        A. Right. I am saying that I think this is
        17              MS. PARFITT: Objection. Form.                17   strong enough to be a real association, and I think
        18              THE WITNESS: I acknowledge that -- of        18   that we have other examples of similar magnitude
        19   course, that there are reports of exposures that have   19   associations that are generally accepted as causal
        20   reported relative risk in this range, and it could      20   associations.
        21   either be something that was associated with another    21        Q. But if there are other odds ratios for other
        22   risk factor and it was not the causal factor or the     22   exposures to diseases that you did not identify in
        23   level of evidence was not adequate. Maybe people --     23   your report in the 1.2 to 1.3 range that are not
        24   there were fewer articles, people have not gone         24   causal, then the magnitude ratio that you have here in
        25   through the whole evaluation of the causal criteria.    25   the top ovarian cancer literature, in that instance,

                                                                                    65 (Pages 254 to 257)
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                                                      Page 258                                                     Page 260
         1   is not strong enough to support causation?                1          Do you see where I'm reading that?
         2              MS. PARFITT: Objection. Form.                  2       A. Yes.
         3   BY MR. JAMES:                                             3       Q. There, are you referring to epidemiologic
         4       Q. I'll just restate it because it's confusing.       4   literature?
         5       A. Yeah, it is.                                       5       A. What -- you're taking one sentence and --
         6       Q. To support strength in your report, why do         6   I think that I discussed what I considered related to
         7   you select only similar magnitude ratios that, by your    7   the passive smoke exposure and lung cancer and
         8   estimation, are Category 1 -- by your estimation, have    8   described it in more detail on page 13, the first full
         9   been declared by IARC to be causal associations? Why      9   paragraph.
        10   do you only select associations by which one has -- by   10       Q. And is it fair to say that that body of
        11   which IARC has concluded causation? Why don't you        11   evidence that you're referring to there is the
        12   also acknowledge that there are associations of a        12   epidemiologic literature?
        13   similar magnitude that don't support causation?          13       A. Yes.
        14              MS. PARFITT: Objection.                       14       Q. You're not referring there to any sort of
        15              THE WITNESS: I'm not really sure --           15   mechanistic studies or plausibility studies or
        16   I'm still not really sure what you're getting at with    16   anything like that; correct?
        17   this question.                                           17       A. No. I was looking at -- basically, I was
        18          I think that I was trying to make the point       18   comparing the two -- or the meta-analyses for the two
        19   that the association we see here is strong enough to     19   topics.
        20   be accepted as a causal association. I'm not -- I'm      20       Q. On page 14, Dr. Moorman, you discuss the
        21   not saying that every association of this magnitude      21   "prevalence of exposure."
        22   has gone through the same process of assessing all of    22          Do you see where I am? It's the --
        23   the Bradford Hill viewpoints and have come to the same   23       A. It's about halfway down?
        24   conclusion, but I am saying that we have multiple        24       Q. Yeah, second full paragraph.
        25   examples of where an association of this magnitude is    25       A. Yes.
                                                      Page 259                                                     Page 261
         1   causal.                                                   1       Q. And you say that it's critical to consider
         2             MS. PARFITT: Scott, is this a breaking          2   the prevalence of exposure in conjunction with
         3   point or no?                                              3   considering strength; correct?
         4             MR. JAMES: How long have we been                4       A. I say (as read):
         5   going?                                                    5            "It's critical to consider the
         6             MR. FARIES: About an hour and 15.               6            prevalence of the exposure in the
         7             MS. BRENNAN: Yeah, we've been going             7            population when evaluating its
         8   about an hour and 15.                                     8            public health impact."
         9             MR. JAMES: Sure. Are we ready for a             9       Q. Before that, you say "in conjunction with the
        10   break?                                                   10   strength of the association." Right?
        11             MS. PARFITT: Sure. Just a short one,           11       A. Yes.
        12   yeah. Thank you.                                         12       Q. Okay. Do you think that the prevalence of
        13             THE VIDEOGRAPHER: Going off the record         13   exposure in the population, that that impacts your
        14   at 4:33 p.m.                                             14   analysis on whether an association is strong or not
        15       (Recess taken from 4:33 p.m. to 4:46 p.m.)           15   strong?
        16             THE VIDEOGRAPHER: Back on record at            16       A. I think that the way that I stated it here
        17   4:47 p.m.                                                17   is, you know, as an epidemiologist, a public health
        18   BY MR. JAMES:                                            18   professional, I'm interested in the public health
        19       Q. Dr. Moorman, on page 13 to 14 of your report,     19   impact and how many cases of disease could be
        20   and really the top of page 14, you have a sentence       20   attributable to this exposure.
        21   stating that (as read):                                  21          So I go through and describe that factor
        22            "The evidence for talc and ovarian              22   that has a stronger association but is less common in
        23            cancer is as significant as for                 23   the population could have potentially less public
        24            passive smoke exposure and lung                 24   health impact than a risk factor that is -- doesn't
        25            cancer."                                        25   have as high an odds ratio but you have many more
                                                                                     66 (Pages 258 to 261)
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                                                      Page 262                                                     Page 264
        1    exposed people in the population.                         1   cancer?
        2       Q. Moving on to consistency, Dr. Moorman, is           2      A. They -- if we can go back to them, we see
        3    consistency met on this body of literature?               3   that there are multiple studies from the Nurses'
        4       A. I do feel that consistency is met.                  4   Health Study, and then the Houghton study. They are
        5       Q. And on page 14, you -- I think it's page 14.        5   showing a relative risk in most cases, I think, 1.12
        6    Yes. In the first full paragraph, you discuss your --     6   to 1.19. And, again, we have discussed some of the
        7    you see the last sentence of that paragraph, where you    7   biases that might result in an attenuation of the
        8    say (as read):                                            8   association.
        9             "This observation has been quite                 9          And so I acknowledge that, with the
       10             consistent with findings                        10   exception of the serous invasive cancer in one of the
       11             replicated in studies conducted by              11   studies, the associations have not been statistically
       12             different teams of investigators                12   significant, but they are certainly kind of in the
       13             in different geographic locations               13   direction of -- as the case-control studies.
       14             and different race ethnic groups                14      Q. Doctor, let's turn back briefly to the
       15             over a span of several decades."                15   Houghton study. It's Exhibit 25.
       16           Do you see that?                                  16          Are you with me?
       17       A. Yes, I do.                                         17          Dr. Moorman, if we look at the Houghton
       18       Q. Is that reflective of -- is that the basis         18   study on the first page in the results section of the
       19    upon which you conclude consistency is met?              19   abstract. Do you see where I'm looking?
       20       A. It is part of the basis of it. I think that,       20      A. Yes.
       21    when we look at the overall meta-analyses, we look at    21      Q. Okay. The authors there, they report
       22    the direction of the effect in all the studies and of    22   every-use odds ratio as a 1.06.
       23    these, like, 27 different studies, like, 90 percent of   23          Do you see that?
       24    them show an increased -- or an odds ratio greater       24      A. I do see that --
       25    than 1.                                                  25      Q. Okay. I'm running out of time, Dr. Moorman,
                                                      Page 263                                                     Page 265
         1          When we look at epidemiologic data, for            1   so I really am going to ask you to answer my precise
         2   reasons that we have discussed earlier today, it is       2   question.
         3   very uncommon for every single study to reach the same    3           Do you see where the authors, they say
         4   conclusion. Some are going to have higher risk; some      4   there -- the authors say that it's "not associated
         5   are going to be lower risk. And the level of              5   with risk of ovarian cancer compared with never-use."
         6   consistency seen here, where virtually every study is     6           Do you see that?
         7   showing an odds ratio greater than 1, I consider that     7       A. Yes, that is what they state.
         8   quite consistent.                                         8       Q. Okay. And 1.06 is -- again, it's not a
         9       Q. You understand that Bradford Hill, when he         9   statistically significant association; correct?
        10   describes consistency, he talks about consistency        10       A. With the confidence interval that they
        11   across study design.                                     11   report. That's what tells you whether or not it's
        12          Were you aware of that?                           12   statistically significant. And with that confidence
        13       A. Yes, I am. And I actually do -- the way that      13   interval, no, it is not statistically significant.
        14   I described consistency, where even, you know -- two     14       Q. And it's also very close to the null, isn't
        15   of the three cohort studies -- and we've already         15   it?
        16   discussed the concerns I have about the Sister Study,    16       A. Yes. It's the 1.06, yes.
        17   which is really quite an outlier when we look at this    17       Q. And the conclusion of the authors here is
        18   whole body of literature. But both the Houghton study    18   that (as read):
        19   and the Nurses' Health Study, they are consistent in     19            "Perineal powder use does not
        20   terms of the direction of the effect. And we have        20            appear to influence ovarian cancer
        21   discussed the statistical significance at all.           21            risk."
        22          But in terms of the direction of the effect,      22           Correct?
        23   I think that it is consistent.                           23       A. That's what they state, yes.
        24       Q. So is your position that the cohorts              24       Q. So this is one of the cohorts that you're
        25   demonstrate an association between talc and ovarian      25   talking about today; correct?

                                                                                     67 (Pages 262 to 265)
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        1      A. Right. And --                                       1   right around 1. About half the studies have odds
        2      Q. And the authors here conclude that there's          2   ratios greater than 1; about half have odds ratios
        3   not an association between ovarian cancer risk and        3   less than 1. So in that case, I would say there is no
        4   perineal talc use, don't they?                            4   consistency.
        5              MS. PARFITT: Objection. Form.                  5          I contrast it with this where, when you look
        6              THE WITNESS: Okay. Yes, I acknowledge          6   at the forest plots from the meta-analyses, nearly all
        7   that's their conclusion. And I think that -- I'm          7   of the studies have odds ratios greater than 1.
        8   sorry -- the data that I was referring to comes from      8   BY MR. JAMES:
        9   Table 3. And I, again, acknowledge that it was not        9       Q. And you're including in that testimony the
       10   statistically significant, but he said only genital      10   cohort studies?
       11   powder use -- which is mostly what we're                 11       A. Yes.
       12   considering -- it had a hazard ratio of 1.4 or 1.3 --    12       Q. Odds ratios that are not statistically
       13   I'm sorry -- 1.14 or 1.13.                               13   significant, in your mind, demonstrate consistency
       14           And so, again, it's in the direction of          14   by -- among study design. Is that your testimony?
       15   effect, and, as we have discussed, biases could have     15              MS. PARFITT: Objection. Form.
       16   led to some attenuation.                                 16              THE WITNESS: I'm sorry --
       17   BY MR. JAMES:                                            17   BY MR. JAMES:
       18      Q. Are you saying that you believe that there's       18       Q. Your testimony here today is that the results
       19   consistency among -- or between the case-control         19   reached by the cohort studies and the case-control
       20   studies and the cohort studies in the talc ovarian       20   studies are consistent. Is that your testimony?
       21   cancer literature?                                       21       A. My testimony, as I have stated repeatedly,
       22      A. I am saying that -- as I have pointed out          22   that there is a great deal of consistency in the
       23   here and with also the Nurses' Health Study, I am        23   direction of the effect, that nearly all of the
       24   saying that there is consistency in the direction of     24   studies report an odds ratio greater than 1. And
       25   the effect that they observed, and acknowledging that    25   I acknowledge that not all studies are statistically
                                                     Page 267                                                      Page 269
        1   these were not statistically significant findings.        1   significant, but I'm just saying that the direction of
        2       Q. So even though the authors report that             2   the effect is very consistent.
        3   there's not an association, you're claiming today that    3       Q. And we talked earlier today about the Berge
        4   the cohort studies are consistent with the                4   paper; correct?
        5   case-control studies in finding a association?            5       A. Yes, we did.
        6               MS. PARFITT: Objection. Form.                 6       Q. And they have performed an analysis for
        7               THE WITNESS: I think that I have              7   heterogeneity on the -- by study design; right?
        8   answered the question already that, in terms of the       8       A. If I could go back to that.
        9   direction of the effect, that the Houghton study for      9       Q. Sure.
       10   the genital powder use and as well as some of the data   10       A. Okay.
       11   from the Nurses' Health Study, it is consistent that     11       Q. Dr. Moorman, if we look at the abstract of
       12   there -- the odds ratio is greater than 1.               12   the paper, at the beginning, this is the point we
       13   BY MR. JAMES:                                            13   discussed earlier. Here, the authors say (as read):
       14       Q. So as long as the odds ratio, even if it's        14            "The heterogeneity of results by
       15   statistically insignificant, exceeds 1, then you are     15            study design detracts from a
       16   claiming that that's reflective of an association that   16            causal interpretation."
       17   is consistent with the case-control studies?             17          Correct?
       18               MS. PARFITT: Objection. Form.                18       A. That is the statement that they make in their
       19               THE WITNESS: I am saying that there is       19   abstract, yes.
       20   consistency in the direction of the effect.              20       Q. Okay. And then we looked earlier also at the
       21           If I may clarify. If you look at something       21   Figure 2; correct?
       22   like alcohol use and ovarian cancer, which is a fact,    22       A. Yes, we did.
       23   which overall there seems to be little association       23       Q. Okay. And, again, that reflects an analysis
       24   between alcohol and ovarian cancer, if you look at the   24   of the cohorts as compared to the case-controls;
       25   meta-analyses from there, the overall estimate is        25   correct?
                                                                                    68 (Pages 266 to 269)
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                            Patricia G. Moorman, M.S.P.H., Ph.D.
                                                     Page 270                                                      Page 272
        1      A. Yes.                                                1             noted in some meta-analysis and
        2      Q. If you look at page 253 of the Berge article,       2             reviews, there are considerations
        3   and we look at the right column, the first -- the         3             about those that should be taken
        4   second full paragraph, the authors there state            4             into account."
        5   (as read):                                                5       Q. Do you believe that there are inconsistencies
        6             "The fact that the association                  6   in the literature with regard to dose-response? Yes
        7             between genital talc use and risk               7   or no.
        8             of ovarian cancer is present in                 8       A. I think that, yes, that there -- that across
        9             case-control but not in cohort                  9   the studies, some have found a dose-response, some
       10             studies can be attributed to bias              10   have not.
       11             in the former type of studies."                11       Q. At the bottom of page 30, you say that
       12          Do you see that?                                  12   (as read):
       13      A. I do see what they say.                            13             "When considering the studies that
       14          I -- I think that they are not considering        14             examine dose-response associations
       15   that there is also potential bias in the cohort          15             considering both dose and
       16   studies. They say "bias in the former type of            16             frequency to estimate the total
       17   studies," not acknowledging the biases in the cohort     17             number of applications of talc,
       18   studies.                                                 18             the majority did find significant
       19          When you look at these data for the cohort        19             trends of higher risk with more
       20   studies, you look at the Gonzalez study, which again,    20             lifetime applications of talc."
       21   I have referred to it as kind of an outlier with its     21          Do you see that, where I read that?
       22   relative risk of .73, there are many problems with       22       A. Yes.
       23   that study. They assessed exposure in the past 12        23       Q. Okay. And so for that proposition, you're
       24   months. The level of exposure is very different than     24   citing to eight studies. If you look at the
       25   many of the other studies.                               25   footnotes, you would agree with me that that's
                                                     Page 271                                                      Page 273
        1           And so part of the heterogeneity by study         1   reflective of eight studies cited; correct?
        2   design could be attributed to this Gonzalez study that    2       A. Yes.
        3   has very significant biases.                              3       Q. And you're saying that five of the eight
        4       Q. If other experts for Plaintiffs in this MDL        4   studies that have looked at dose and frequency
        5   litigation have conceded that there is not consistency    5   together did find significant trends; correct?
        6   between the cohorts and the case-controls, then you       6       A. Yes.
        7   would differ with those experts; correct?                 7       Q. Among those studies that you cite for that
        8              MS. PARFITT: Objection. Form.                  8   proposition that the majority of those studies reflect
        9              THE WITNESS: I have --                         9   a dose-response, you cited to the Mills study;
       10              MS. PARFITT: Misstates the evidence.          10   correct?
       11           Thank you.                                       11       A. I believe so.
       12              THE WITNESS: I have answered the              12              MS. PARFITT: And, Dr. Moorman, you
       13   question, I think I've answered it repeatedly, why       13   have your binder in front of you as well if you need
       14   I think that the aspect of consistency is met.           14   it.
       15   BY MR. JAMES:                                            15              MR. JAMES: Okay. I'm going to mark
       16       Q. Okay. On dose-response -- on page 30, you         16   Mills as Exhibit 30.
       17   include discussion of dose-response in the literature.   17      (Exhibit No. 30 was marked for identification.)
       18       A. Yes.                                              18   BY MR. JAMES:
       19       Q. And you acknowledge in your report that there     19       Q. I'm going to hand you two copies.
       20   are inconsistencies in reported dose-response;           20          And, again, this is one of the papers you've
       21   correct?                                                 21   cited for the proposition that there's a dose-response
       22       A. I -- what I state is (as read):                   22   in the majority of studies that have looked at
       23            "While the inconsistency in                     23   frequency times duration; correct?
       24            reported dose-response trends for               24       A. Okay. Yes.
       25            talc and ovarian cancer have been               25       Q. And we're looking at Table 2 as the relevant
                                                                                    69 (Pages 270 to 273)
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                                                     Page 274                                                     Page 276
        1   table with the data; correct?                             1       Q. And they're not just acknowledging that
        2      A. Yes.                                                2   there's not a perfect linear increase; they're saying
        3      Q. And if you look at Table 2, you go down to          3   that there's no dose-response for cumulative use.
        4   the cumulative use category, it says "frequency times     4       A. They say there is not a clear dose-response.
        5   duration"; correct?                                       5   I think -- you know, again, that's what they say. My
        6      A. Yes.                                                6   conclusion here was, again, based on the test for
        7      Q. And if I'm looking at this correctly,               7   trend that they did. I don't think that it was
        8   Dr. Moorman, doesn't the data in that table reflect an    8   inaccurate, what I said here.
        9   actual decrease in the odds ratio for the highest         9       Q. Another paper that you cite for the majority
       10   exposure category?                                       10   claim is the Terry 2013 paper; correct?
       11             MS. PARFITT: Objection. Form.                  11       A. Yes.
       12             THE WITNESS: It is -- the highest              12       Q. And do you know what the authors concluded in
       13   category, yes, does report an odds ratio of 1.06.        13   that paper about dose-response for cumulative use?
       14   BY MR. JAMES:                                            14       A. May we look at that article?
       15      Q. And based upon that, is it fair to say that        15       Q. Sure. It's Exhibit 24. And if we look at
       16   this paper reflects a dose-response when measuring       16   the abstract first together, the abstract says, the
       17   frequency times duration?                                17   second sentence from the bottom (as read):
       18      A. They looked at the -- they did a test for          18            "Among genital powder users, we
       19   trend, and we have a p-value of .051, so right at        19            observed no significant trend in
       20   borderline statistically significant. Some people        20            risk with increasing number of
       21   would argue that you should never use two decimal        21            lifetime applications assessed in
       22   points for p-values. But nonetheless, it's -- the        22            quartiles."
       23   trend test was what I was referring to here, that it     23          Did I read that correctly?
       24   was right at borderline statistical significance.        24              MS. PARFITT: In the abstract?
       25      Q. And if you look at page 463 of the article,        25              THE WITNESS: I'm sorry, I wasn't quite
                                                     Page 275                                                     Page 277
        1   the third full paragraph down -- 463 in the left          1   there with you. Could you --
        2   column -- the authors -- this is in the authors'          2   BY MR. JAMES:
        3   words. They say (as read):                                3      Q. Understood. No worries.
        4             "As in other studies, the present               4      A. Okay.
        5             study did not find a clear                      5      Q. So second sentence from the bottom of the
        6             dose-response based on duration of              6   abstract, the author's conclusions on dose-response
        7             use or cumulative use."                         7   are as follows (as read):
        8           Do you see that?                                  8            "Among genital powder users, we
        9       A. Right. And they go on to say that -- again,        9            observed no significant trend in
       10   I was basing what I said here based on their test for    10            risk with increasing number of
       11   trend, and -- and I think they do acknowledge that in    11            lifetime applications assessed in
       12   that category where they had relatively few exposed      12            quartiles."
       13   cases, they didn't -- it was not a perfectly linear      13      A. That's what they describe, and --
       14   association.                                             14      Q. I just asked, is that -- did I read that
       15       Q. So the authors are concluding that there's        15   correctly?
       16   not dose-response for cumulative use; correct?           16      A. You did read that correctly.
       17              MS. PARFITT: Objection.                       17      Q. So the authors of the paper that you've cited
       18   BY MR. JAMES:                                            18   as one of the five papers that finds dose-response by
       19       Q. Yes or no? That's what the authors conclude       19   measuring lifetime of cumulative use says the exact
       20   in the text that we just read together?                  20   opposite; correct?
       21       A. I -- what we read -- yes. I'm trying --           21              MS. PARFITT: Objection.
       22   let's see.                                               22              THE WITNESS: If I may take just a
       23           Yeah, I think that they are acknowledging        23   moment. I want to find the part of this paper that
       24   that it was not a perfect linear increase. My report     24   supported the statement that I made in my report.
       25   was basing it on the test for trend that they did.       25              MR. JAMES: Sure. Let's go off the
                                                                                    70 (Pages 274 to 277)
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         1   record.                                                   1   questions, Dr. Moorman.
         2               THE VIDEOGRAPHER: Going off record at         2             MR. JAMES: Michelle, is it fine if
         3   5:14 p.m.                                                 3   I have some time to review my notes while the others
         4                (Off the record.)                            4   are asking questions and then come back?
         5               THE VIDEOGRAPHER: Back on record at           5             MS. PARFITT: Sure.
         6   5:15 p.m.                                                 6             MR. JAMES: Is that okay with you?
         7             THE WITNESS: Okay. On page 817, it              7             MS. PARFITT: That's fine. Sure.
         8   reads (as read):                                          8             MS. FOSTER: Can we go off and I'll
         9            "Although a significant increase                 9   switch.
        10            in risk with an increasing number               10             THE VIDEOGRAPHER: Going off the record
        11            of genital powder applications was              11   at 5:18 p.m.
        12            found for non-mucinous epithelial               12               (Off the record.)
        13            ovarian cancer when non-users were              13             THE VIDEOGRAPHER: Back on record at
        14            included in the analysis."                      14   5:20 p.m.
        15          And it then goes on (as read):                    15    CROSS-EXAMINATION BY COUNSEL FOR THE DEFENDANT
        16            "Note trend in cumulative use was               16             IMERYS TALC AMERICA, INC.
        17            evident in analyses restricted to               17   BY MS. FOSTER:
        18            ever-users of genital powders."                 18      Q. Good evening, Dr. Moorman. We met a long
        19          And so, again, my -- the statement that           19   time ago this morning. My name is Jennifer Foster.
        20   I had here, "a significant trend with increasing         20   I represent one of the Defendants in this action,
        21   number of genital powder applications," they make the    21   Imerys Talc America, Inc. Do you understand that?
        22   distinction of looking at the trend when you include     22      A. Yes, I do.
        23   non-users, and that's a pretty standard thing to do in   23      Q. And before you got involved in this
        24   epidemiology. It's -- you look -- can look as            24   litigation, did you know who Imerys Talc America, Inc.
        25   non-users as your reference group and then assess a      25   was?

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        1    trend.                                                    1       A. No, I did not.
        2           I know what they say here, but I -- but            2       Q. Had you ever heard of them before?
        3    I think that what I stated in my report is accurate,      3       A. No.
        4    that they did find that a significant trend. So           4       Q. And do you have an understanding of who they
        5    I don't think that I'm misstating what -- the data in     5   are now that you've become involved in the litigation?
        6    the paper.                                                6       A. I do.
        7    BY MR. JAMES:                                             7       Q. And you understand that Imerys mines and
        8        Q. So the results that are reported by the            8   supplies talc to Johnson & Johnson for use in some of
        9    authors in the abstract you disagree with; correct?       9   its talcum powder products?
       10                MS. PARFITT: Objection. Form.                10       A. That is my understanding, yes.
       11    BY MR. JAMES:                                            11       Q. Do you understand that Imerys does not sell
       12        Q. The statements in the abstract pertaining to      12   talcum powder products directly to consumers?
       13    dose-response, do you disagree with those statements?    13       A. That was my understanding, yes.
       14        A. What they say is "among genital powder            14       Q. And based on some testimony earlier today
       15    users." And so the statement that they make is           15   about the basis of your opinions being grounded in
       16    accurate, but I think that they are citing data          16   epidemiology studies about talcum powder products, am
       17    that -- it's one way to look at the data, but I think    17   I correct that you wouldn't have any personal
       18    that considering the non-users in their test for trend   18   knowledge with respect to the composition of the talc
       19    is also a very well-accepted way to do that, to do a     19   that Imerys mines and supplies to Johnson & Johnson?
       20    test for trend.                                          20              MS. PARFITT: Objection.
       21           And so I think that both -- they reported         21              THE WITNESS: No, I would not have that
       22    one aspect of their analysis, and I reported what        22   personal knowledge.
       23    I think accurately reflects another aspect of their      23   BY MS. FOSTER:
       24    analysis.                                                24       Q. And you have no opinions about any talc
       25        Q. Okay. I am getting close to the end of my         25   mining practices that Imerys employs; correct?

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        1       A. I know nothing about their mining practices.       1       A. Yes, that is.
        2       Q. And you have no opinions about Imerys's            2       Q. And is that a study that's designed to
        3   compliance with any applicable standards or               3   collect new data from study participants, or is that
        4   specifications regarding the mining of talc; correct?     4   going to be an evaluation of data that you already
        5       A. I do not know anything about that.                 5   have collected from other studies?
        6       Q. And I'm going to be hopping around a lot           6       A. It is a consortium that is planning to
        7   because Mr. James covered a lot of ground, so just        7   analyze data that have already been collected. It
        8   bear with me. If I go somewhere and you don't know        8   involves -- I believe it is a total of seven studies;
        9   what I'm talking about, please just tell me you don't     9   some case-control, some cohort studies.
       10   know what I'm talking about --                           10       Q. And -- were you finished? I'm sorry.
       11       A. Okay.                                             11       A. Go ahead.
       12       Q. -- and I'll rephrase so that we can get on        12       Q. And how were the studies selected to be
       13   the same page.                                           13   included in that consortium?
       14          One of the first things you talked about          14       A. It was -- the purpose of that was to try to
       15   this morning when you were talking to Mr. James is       15   put more data together, especially related to women of
       16   that you have entered a period I think you called        16   African ancestry. So they're all US studies, so
       17   preretirement transition. Do I have that right?          17   African American. Recognizing that the AACES study,
       18       A. Yes.                                              18   with about 600 cases, we still have some issues with
       19       Q. Okay. And do you have a retirement date in        19   statistical power. So we contacted -- Dr. Schildkraut
       20   mind?                                                    20   is the PI on this study as well.
       21       A. That's still somewhat being discussed with my     21           And so studies that had a reasonable number
       22   husband.                                                 22   of African American study participants, they were
       23       Q. Okay. So you don't have a set "I'm going to       23   contacted to see if they were interested in
       24   retire in a year," for example?                          24   participating in such a study.
       25       A. The exact date is not defined yet.                25           And so it includes studies such as the Black

                                                     Page 283                                                      Page 285
        1       Q. And when you do retire, are you still going        1   Women's Health Study Cohort, that's out of Boston
        2   to have any involvement with what you've defined as       2   University; the Multiethnic Cohort, which is out of
        3   the AACES study, the African American Cancer              3   California; the Southern Community Cohort Study; the
        4   Epidemiology Study?                                       4   Women's Health Initiative; as well as a Los Angeles
        5       A. That is still to be determined as well.            5   case-control study and a case-control study out of
        6       Q. And am I correct that that study is still          6   Chicago, in addition to the AACES study.
        7   ongoing?                                                  7          I think that that's most of them.
        8       A. The funding for that study ended -- I think        8       Q. Okay. Are you involved in any current
        9   it was 2015/2016. I don't recall the exact date. And      9   research where the intent is to collect new data for
       10   so we have not collected any data for that study since   10   evaluation of risk factors for ovarian cancer?
       11   that time.                                               11       A. Other than what I described to you, that we
       12          We have continued to do analysis of data          12   hope to -- that we are applying for funding to
       13   that we have collected, and we are also trying to        13   continue the AACES study, I'm not currently doing any
       14   secure funding to continue data collection with that     14   data collection related to ovarian cancers.
       15   study.                                                   15       Q. Are the coauthors and coinvestigators that
       16       Q. That was going to be my question. Who have        16   you worked with on the AACES and the North Carolina
       17   you made that request to for additional funding?         17   Ovarian Cancer Study aware of your involvement in the
       18       A. The grant application was submitted to            18   talcum powder litigation?
       19   National Cancer Institute.                               19       A. Some of them are. I -- you know, as --
       20       Q. And that's who funded the original research;      20   I have disclosed it on one publication, and if they've
       21   correct?                                                 21   read it, they are aware. I've discussed it with some
       22       A. That is correct.                                  22   of them but not all of them. You know, I haven't had
       23       Q. And you also mentioned a publication that is      23   a conversation, per se, with all of them.
       24   in draft form regarding something called the OCWAA       24       Q. And you mentioned earlier, with respect to
       25   Consortium; is that correct?                             25   some of the new publications that are in draft form

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        1    that are currently in the peer review process, that       1   did you have a particular paper in -- in mind?
        2    they have talc as a -- as a confounding factor under      2   BY MS. FOSTER:
        3    investigation; correct?                                   3       Q. Not with 20 minutes left, no.
        4        A. I think -- I'm going to reread your --             4       A. I'm sorry. I just -- you know, you're asking
        5        Q. I can rephrase it.                                 5   me what did they mean, and I'm not even sure which
        6           I think when you were talking earlier about        6   paper might have described something as a weak
        7    the studies that you have in draft, the question was      7   positive association, and I'm not sure who would have
        8    whether or not you had any publications that, you         8   used that terminology or what was going through their
        9    know, mentioned talc. And I thought your testimony        9   mind when they chose those words.
       10    was that talc was listed as a possible confounding       10       Q. I assume there are standard epidemiology
       11    factor in some of the studies that were in draft form.   11   textbooks that you use in your field; correct?
       12    Is that correct?                                         12       A. Yes.
       13        A. Right. I mentioned that specifically in           13       Q. Okay. And what are some of your go-to
       14    relation to the infertility and ovarian cancer paper     14   epidemiology textbooks?
       15    that is in draft form, it's -- talc is considered as a   15       A. Let's see. Ken Rothman's Modern Epidemiology
       16    confounder there.                                        16   is -- different editions of it have been around since
       17           In regard to the description of the OCWAA         17   I was in school 30 years ago. I still refer to that.
       18    study, that paper, we are listing it as one of the       18           When I have taught the physician assistant
       19    factors that we are likely to evaluate as a risk         19   students, the textbook that we use, which is a little
       20    factor for ovarian cancer.                               20   bit lower-level textbook, was going to us. Those are
       21        Q. Okay. And my question is have you ever            21   probably my go-to ones.
       22    included asbestos as a risk factor under investigation   22       Q. Okay. Do any of the standard epidemiology
       23    in your epidemiology studies?                            23   textbooks use terms like "weak," "modest," "strong,"
       24        A. If I am not mistaken, I think that we had a       24   to describe associations?
       25    question on the AACES questionnaire that we asked if     25       A. I -- I imagine that in the textbooks, they
                                                     Page 287                                                      Page 289
         1   women had ever been -- ever had a job where they were     1   might use that. But the point that I have been trying
         2   exposed to asbestos, and I don't know that we have        2   to make is that there is no numerical value to go
         3   analyzed that data yet.                                   3   along with those descriptors.
         4      Q. Okay. And you had some discussion with              4       Q. All right. Switching topics, I want to talk
         5   Mr. James earlier today about different types of          5   a little bit about some of the things that you
         6   terminology that might be used to describe                6   reviewed before you came and gave your deposition
         7   associations in the epidemiology literature.              7   today.
         8          Do you recall that?                                8           Now, you confirmed earlier that you reviewed
         9      A. Yes.                                                9   the reports of some of the other Plaintiffs' experts
        10      Q. And you were talking about weak associations,      10   in this case; correct?
        11   modest associations, strong associations. Do you         11       A. Yes.
        12   remember that general discussion?                        12       Q. And you reviewed those all between the time
        13      A. Yes.                                               13   that you finished your report and when you came here
        14      Q. Now, as an epidemiologist, how would you           14   to testify; correct?
        15   define a weak positive association?                      15       A. That is correct.
        16      A. As we have said before, there is no absolute       16       Q. And those were all provided to you by
        17   cut-point what's a weak association, what's a modest,    17   Plaintiffs' counsel; correct?
        18   what's a moderate association. I -- I can't put a        18       A. That is correct.
        19   number on that. I don't think any epidemiologist         19       Q. And how did you choose which of the 22 expert
        20   could.                                                   20   reports that you were going to sit down and read?
        21      Q. In papers that you've authored that have used      21       A. I knew which of the ones that were more of
        22   the words "weak positive association," what do the       22   the epidemiology-focused ones. And because that is my
        23   authors mean by that?                                    23   area of expertise, those were the ones that I went to
        24             MS. PARFITT: Objection. Form.                  24   first.
        25             THE WITNESS: I'm -- I'm not -- if --           25           Also, some of it was, you know, some of the

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         1   names that I recognized: David Kessler, former chair      1   2016, and then updated it to make sure that my report
         2   of the -- former head of the FDA; Daniel                  2   reflected the current literature.
         3   Clarke-Pearson, who is a gynecologic oncologist who       3       Q. Did you do any kind of Bradford Hill analysis
         4   was formerly at Duke. He's now at UNC.                    4   of the claimed association between talcum powder usage
         5       Q. Do you know Dr. Clarke-Pearson?                    5   and ovarian cancer before you were retained as an
         6       A. Only by reputation.                                6   expert in the talcum powder litigation?
         7       Q. You haven't talked to him about your opinions      7       A. Doing -- considering the talcum powder -- or
         8   in this litigation?                                       8   considering the Bradford Hill criteria, this is
         9       A. No, I have not.                                    9   something that we do in our work all the time. It's
        10       Q. And you haven't talked to any other               10   probably not as formalized as what was done here.
        11   Plaintiffs' expert about your opinions in this           11          As you're aware, I was a coauthor, but I was
        12   litigation?                                              12   not the lead author on the AACES study of talc and
        13       A. No, I have not.                                   13   ovarian cancer. And in regard to the North Carolina
        14       Q. In reviewing those reports, did you work          14   Ovarian Cancer Study, that was not the major focus of
        15   under the assumption that the authors of those reports   15   the -- those papers that reported on talc and -- that
        16   had employed generally accepted methodologies in         16   reported on talc as a risk factor.
        17   forming their conclusions?                               17          So have I done the Bradford Hill criteria?
        18       A. I -- I assumed that they had. You know, some      18   Certainly not in the detail that I have done for the
        19   of the experts, they are names that I know, even if      19   report that I prepared.
        20   I don't know the individual personally. You knows,       20       Q. And when you were -- when Mr. James asked you
        21   Dr. Siemiatycki, Dr. McTiernan, these are very           21   about the NCI PDQ -- and you all looked at that as an
        22   well-known epidemiologists. And so my assumption is      22   exhibit to the deposition.
        23   that they use generally accepted methodologies.          23          Do you recall that earlier today?
        24       Q. I noticed on the                                  24       A. Yes, I do.
        25   additional-materials-provided list -- I think it was     25       Q. And one of the things that you mentioned is

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        1    marked as Exhibit 8 earlier. It's a document that         1   you see some kind of inconsistency in the way that NCI
        2    I believe you said counsel had prepared, and it has       2   evaluates data as to whether there is adequate
        3    the expert reports on it. It also has a couple of         3   evidence of association or inadequate evidence of
        4    deposition transcripts on it from Dr. Plunkett and        4   association and specifically used the example of the
        5    Dr. Singh.                                                5   way that that they evaluated the breastfeeding data.
        6           Did you review either of those before you          6          Do you remember that?
        7    came and testified today?                                 7       A. Right. What I -- I think the point that
        8        A. Dr. Plunkett and Dr. Singh, S-I-N-G-H?             8   I was trying to make when I was asked about that is
        9        Q. Yes.                                               9   that the NCI PDQ, they do not describe their
       10        A. I don't believe that I read Dr. Plunkett's        10   methodology. So we're kind of left at what method did
       11    deposition. I did read a fair bit of Dr. Singh's         11   they use to evaluate the data? Did they do a complete
       12    deposition.                                              12   systematic review, or was it -- was it something less
       13        Q. When did you do that?                             13   than a complete systematic review?
       14        A. Probably a week or so ago.                        14          And my point is that, from the information
       15        Q. Do you have any intention of reading the rest     15   provided, we don't know what methods they used.
       16    of the reports that Plaintiffs' counsel sent to you      16       Q. Have you ever tried to communicate with any
       17    after you're closed here today?                          17   of the editorial board members who write the NCI PDQ?
       18        A. I think that it is possible that I will read      18       A. No, I have not.
       19    some of them, time permitting.                           19       Q. And you haven't submitted your report to
       20        Q. You testified about a literature search that      20   IARC; correct?
       21    you conducted on talcum powder and ovarian cancer.       21       A. My --
       22           When did you first conduct that search?           22       Q. Your expert report. You haven't submitted a
       23        A. I believe that probably the first time I did      23   copy of your expert report to IARC for their
       24    that search was not long after I was contacted about     24   consideration; correct?
       25    possible involvement in this. So probably summer of      25       A. No, I have not.

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         1      Q. Being conscious of the fact that we have                       1   referring to talcum powder products?
         2   limited time left, I'm going to -- okay. One last                    2       A. Yes, because all of the literature is -- the
         3   question.                                                            3   epidemiologic literature is based on talcum powder
         4         In terms of the expert report that you                         4   products, whatever the women reported that they used.
         5   provided in the MDL litigation that we've been talking               5       Q. So is it correct, Dr. Moorman, that you had
         6   about all day today, are all of the opinions that you                6   not formed an opinion as to whether pure talc is a
         7   intend to give in this litigation contained within                   7   risk factor for forming ovarian cancer?
         8   that report?                                                         8              MS. PARFITT: Objection.
         9      A. I believe they are, yes.                                       9              THE WITNESS: Again, my opinion is
        10               MS. FOSTER: I don't have anything else                  10   based on the product that women have used, and my
        11   for you. So I'm going to pass you on to my colleague                11   understanding is that all of the products, they have
        12   here. Thank you very much.                                          12   other constituents in them. So they may contain, you
        13               THE WITNESS: Okay.                                      13   know, as we have discussed previously, fragrances, for
        14     CROSS-EXAMINATION BY COUNSEL FOR THE DEFENDANTS                   14   example. We have also talked about that there are
        15           PERSONAL CARE PRODUCTS COUNCIL                              15   other -- there's evidence to suggest other
        16   BY MS. APPEL:                                                       16   constituents, such as asbestos or possibly heavy
        17      Q. Hi, Dr. Moorman. You can you hear me okay?                    17   metals.
        18      A. I can, yes.                                                   18   BY MS. APPEL:
        19      Q. And just as a reminder from this morning,                     19       Q. And as to those constituents, would you defer
        20   I am Renée Appel, and I represent Personal Care                     20   to other experts to opine on them, based on the
        21   Products Council. And I just have a handful of                      21   examples you just provided, fragrances or heavy
        22   questions to follow up on.                                          22   metals?
        23         When did you first form your opinion in your                  23              MS. PARFITT: Objection. Form.
        24   expert report that talcum powder products can cause                 24              THE WITNESS: You're asking me defer to
        25   ovarian cancer?                                                     25   other estimates to opine on them in what sense? Opine
                                                                      Page 295                                                 Page 297
        1        A. I think that we have talked about this, that                  1   on them in what sense?
        2    the literature on talc and ovarian cancer has been                   2   BY MS. APPEL:
        3    accruing since 1982, and to say at what point I formed               3      Q. Sure. Would you defer to other experts to
        4    my opinion that it causes ovarian cancer, I can't                    4   opine on whether those particular constituents in
        5    pinpoint that date.                                                  5   isolation are a risk factor for ovarian cancer?
        6           I can say that I have considered talc as a                    6              MS. PARFITT: Objection. Form. Asked
        7    risk factor for ovarian cancer for quite some time.                  7   and answered.
        8    Just over my career, it just seems like it has been an               8              THE WITNESS: Okay. Those particular
        9    accumulating volume of evidence.                                     9   constituents in isolation are a risk factor for
       10        Q. Did you hold that opinion before you were                    10   ovarian cancer.
       11    retained as an expert in the talc litigation dating                 11          I think that we have discussed this
       12    back to the Ingham case?                                            12   previously today, that what is the evidence about, for
       13        A. I think that, yes, I did.                                    13   example, the heavy metals in isolation in ovarian
       14        Q. But, sitting here today, you can't recall a                  14   cancer and limited to -- limited epidemiologic data in
       15    specific year or point in time in which you formed                  15   that regard.
       16    that opinion?                                                       16          So I don't know that I'm deferring to other
       17               MS. PARFITT: Objection.                                  17   experts, but, as I phrased it earlier today, I --
       18               THE WITNESS: I think that I've                           18   the -- whether or not these substances are in talc
       19    answered that. I can't pinpoint at what point that                  19   products, it adds to the biologic plausibility, but
       20    I concluded it was a risk factor for ovarian cancer.                20   the epidemiologic data is based on the talc products.
       21    It's been something that I've considered a risk factor              21   That's what the women were exposed to.
       22    for ovarian cancer for quite -- quite a number of                   22   BY MS. APPEL:
       23    years.                                                              23      Q. Okay. So in forming your opinion, you are
       24    BY MS. APPEL:                                                       24   assuming that those constituents that you've
       25        Q. And when you refer to "it," Doctor, are you                  25   mentioned -- heavy metals, asbestos -- that they are
                                                                                                75 (Pages 294 to 297)
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                                                    Page 298                                                       Page 300
        1   in the talc powder product that you've rendered an        1             MS. PARFITT: Objection. Form.
        2   opinion about today?                                      2             THE WITNESS: I think that the sentence
        3               MS. PARFITT: Objection. Misstates her         3   that followed the one that you're reading is that, for
        4   earlier opinions.                                         4   all the pragmatic reasons, we rely on the measures of
        5          You might want to read that.                       5   external application as a surrogate of the level of
        6               THE WITNESS: I -- I am not making,            6   exposure. There's no way that we could measure what
        7   really, any assumptions that these are in the             7   dose of talc reached the ovaries or the fallopian
        8   products. My -- you know, my focus on the                 8   tubes for something that women might have applied over
        9   epidemiologic data is based on the use of the talc        9   20, 30, 40 years of their lives.
       10   products, whatever is contained in them.                 10   BY MS. APPEL:
       11   BY MS. APPEL:                                            11       Q. Earlier today, you had discussed the
       12       Q. In your report on page 30, you've indicated       12   hierarchy of scientific evidence.
       13   that -- second paragraph, I'm reading from. And I'll     13          Do you recall that discussion?
       14   give you a moment to turn to it. (As read):              14       A. I don't think that I used that terminology,
       15             "For an association like talc and              15   but I think that -- in talking about the
       16             ovarian cancer, the dose that is               16   meta-analyses, yes. Yes.
       17             most relevant is the amount of                 17       Q. In terms of that hierarchy, that you
       18             talc that actually reaches the                 18   understand that I'm referring to based on that prior
       19             fallopian tubes and ovaries."                  19   discussion, where do cohort studies fall in comparison
       20          Did I read that correctly?                        20   to case-control studies?
       21       A. Yes, you did.                                     21             MS. PARFITT: Objection. Asked and
       22       Q. There is, in fact, though, no dose that has       22   answered.
       23   been determined that actually reaches the fallopian      23             THE WITNESS: Okay. If you have a
       24   tubes and the ovaries in any of the studies that         24   cohort study that was able to determine exposure
       25   you've relied upon; correct?                             25   completely and accurately, and follow women for a

                                                    Page 299                                                       Page 301
        1              MS. PARFITT: Objection. Form.                  1   sufficient period of time, I think most people would
        2              THE WITNESS: Let's see.                        2   consider that a -- generally a stronger design than a
        3   BY MS. APPEL:                                             3   case-control study.
        4       Q. I can rephrase if you don't understand.            4          But, as I have indicated in my report, you
        5       A. If you wouldn't mind, please.                      5   can't rely just on what is the stronger study design,
        6       Q. Absolutely.                                        6   in general. You look -- have to look at the strengths
        7          In the studies that you've relied upon in          7   and limitations of the individual studies.
        8   forming your opinion, none of those studies have          8          Cohort studies have some strengths; they
        9   determined a particular dose of talc that actually        9   have some notable weaknesses. And I've described
       10   reaches the fallopian tubes and ovaries; correct?        10   those weaknesses several times over the course of
       11              MS. PARFITT: Objection.                       11   today. And I also acknowledge that case-control
       12              THE WITNESS: Okay. So if we are               12   studies have some weaknesses, but they also have
       13   talking about the epidemiologic studies, there -- no,    13   noticeable strengths too.
       14   of course, they did not measure what dose of talc        14   BY MS. APPEL:
       15   reached the ovaries and fallopian tubes. That would      15      Q. Is it accurate, Dr. Moorman, that, when you
       16   not be feasible to do for -- reflecting the many, many   16   were previously discussing meta-analyses and where
       17   years of use, and also it would be completely            17   that falls on the hierarchy, you were envisioning a
       18   unfeasible to do something like that in an               18   pyramid graphic? Is that correct?
       19   epidemiologic study.                                     19      A. I have -- yes, I have seen graphics that
       20   BY MS. APPEL:                                            20   depict it like that.
       21       Q. But you maintain the opinion that a               21      Q. And in those particular graphics, where is
       22   determination of that amount -- the amount being what    22   cohort studies listed in comparison to case-control
       23   talc reaches the fallopian tubes and ovaries -- is       23   studies?
       24   important to making a determination about an             24              MS. PARFITT: Objection.
       25   association between talc and ovarian cancer; correct?    25              THE WITNESS: As I have said, that in
                                                                                    76 (Pages 298 to 301)
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                                                     Page 302                                                      Page 304
         1   that pyramid, it is -- typically, the cohort study is     1   is sufficient to conclude that inhaled talcum powder
         2   ranked as a stronger study design. But, again, I          2   can cause ovarian cancer?
         3   cannot emphasize strongly enough that you have to         3       A. I do not think that there are epidemiologic
         4   consider strengths and weaknesses of individual.          4   studies that have actually looked at inhaled talcum
         5   BY MS. APPEL:                                             5   powder in relation to ovarian cancer.
         6       Q. And, Dr. Moorman, have you considered              6       Q. And so is your answer that -- let me just ask
         7   publishing your expert report or the findings that you    7   this again.
         8   arrived at in your expert report?                         8          Do you believe there's sufficient evidence
         9       A. I have considered it. I have not actually          9   upon which you can conclude that inhaled talc powder
        10   done anything to translate it into a manuscript.         10   causes ovarian cancer?
        11             MS. APPEL: Okay. Thank you,                    11              MS. PARFITT: Objection.
        12   Dr. Moorman. That concludes my questions.                12              THE WITNESS: I think that I answered
        13             THE WITNESS: Okay.                             13   that when I said that I don't think that there are
        14             MR. JAMES: I think there's about eight         14   epidemiologic studies that have looked at that. So
        15   minutes. Off the record.                                 15   I can't say that there is sufficient evidence.
        16             THE VIDEOGRAPHER: Going off the record         16   BY MR. JAMES:
        17   at 5:50 p.m.                                             17       Q. Dr. Moorman, are you generally aware that, in
        18            (Discussion off the record.)                    18   the African-American population, there is a lower
        19             THE VIDEOGRAPHER: Back on record at            19   incidence of ovarian cancer?
        20   5:51 p.m.                                                20       A. Yes.
        21        FURTHER EXAMINATION BY COUNSEL FOR THE              21       Q. And you have -- have you also seen in the
        22            JOHNSON & JOHNSON DEFENDANTS                    22   literature that there is at least some discussion in
        23   BY MR. JAMES:                                            23   the literature that the prevalence of talcum powder
        24       Q. Dr. Moorman, in regard to your general cause      24   used in the African-American populations may be
        25   opinion, do you hold the opinion that the evidence is    25   higher?
                                                     Page 303                                                      Page 305
         1   sufficient to support a general cause opinion for all     1       A. Yes.
         2   subtypes of ovarian cancer or do you distinguish among    2       Q. If both of those things are true, can you
         3   the subtypes?                                             3   provide us an explanation as to why -- why that would
         4       A. Okay. The majority of the studies looked at        4   be the case?
         5   epithelial ovarian cancer as a whole. Some of the         5       A. There are many causes of ovarian cancer. And
         6   studies did look at subtypes. As we are aware, the        6   some of the risk factors are more common in
         7   serous subtype is the vast majority, probably about       7   African-American women; some are less common.
         8   60 -- maybe "vast majority" is overstating it. But        8          So when you consider the whole spectrum of
         9   serous subtypes are roughly 60 percent of ovarian         9   risk factors, you know, breastfeeding, pregnancy, oral
        10   cancer cases. And so the studies that looked at the      10   contraceptive use, to pinpoint one factor like talc
        11   subtypes tended to focus on that.                        11   that is used more frequently in African Americans and
        12          The other subtypes -- the mucinous, the           12   then say that that conflicts with the lower incidence
        13   clear cell, and the other subtypes -- they are a much    13   of ovarian cancer that we see in African-American
        14   smaller percentage of epithelial ovarian cancer. And     14   women, it doesn't take into account the full spectrum
        15   so there's really not adequate data to make a            15   of risk factors.
        16   conclusion about these subtypes.                         16       Q. With regard to the Health Canada assessment
        17       Q. With regard to inhalation, which you touch        17   that we discussed much earlier today, do you
        18   upon in your report, do you hold the opinion that        18   understand that that assessment is in draft form
        19   inhalation of talcum powder products can cause ovarian   19   currently?
        20   cancer?                                                  20              MS. PARFITT: Objection.
        21       A. I have stated that that is a possible route       21              THE WITNESS: My understanding is that
        22   of exposure to the ovaries. The epidemiologic studies    22   the scientific assessment they did is complete and
        23   have not specifically addressed the risk associated      23   that they are -- that there is a period of comment
        24   with inhalation only of talcum powder products.          24   that -- so, I'm sorry, I want to make sure...
        25       Q. So is there evidence upon which you believe       25

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                                                     Page 306                                                      Page 308
         1   BY MR. JAMES:                                             1      A. Yes, I --
         2       Q. Do you understand that right now that              2             MS. PARFITT: Is the question is that
         3   assessment is currently in the process of a comment       3   what it says?
         4   period?                                                   4   BY MR. JAMES:
         5              MS. PARFITT: Objection. Form.                  5      Q. That is the question.
         6              THE WITNESS: My understanding is the           6          We had a discussion earlier today about
         7   assessment of the risk that they did, that is             7   possible cause; correct?
         8   complete, and then they are assessing -- or it is in a    8      A. Yes.
         9   comment period. And I think that, you know,               9             MS. PARFITT: Objection.
        10   potentially, if there were some serious concerns         10   BY MR. JAMES:
        11   raised, they might revisit the risk assessment that      11      Q. And, Dr. Moorman, with respect to the
        12   they did. But my understanding is what they published    12   Bradford Hill analysis --
        13   is their -- that they felt like the risk assessment      13             MS. PARFITT: Can we stop for a minute?
        14   was complete.                                            14          Are you going to tell us when we're off and
        15   BY MR. JAMES:                                            15   when we're done?
        16       Q. And to be very quick here, I understand that      16             THE VIDEOGRAPHER: Just one minute.
        17   one of the materials provided to you in the additional   17             MS. PARFITT: Thank you. Oh, that's
        18   materials list was the Taher paper; correct?             18   good.
        19       A. Yes.                                              19   BY MR. JAMES:
        20       Q. And do you understand that the Taher paper is     20      Q. With respect to your Bradford Hill
        21   one of the items discussed in the Health Canada          21   analysis -- and this should be my last question --
        22   assessment?                                              22      A. Okay.
        23       A. Yes.                                              23      Q. -- you will agree with me that in order to
        24       Q. And do you understand the Taher paper's           24   reach a causal conclusion, you must rely on items
        25   conclusion is consistent with the IARC's conclusion of   25   other than the cohorts, case controls, and
                                                     Page 307                                                      Page 309
        1    possible cause?                                           1   meta-analyses of the epidemiologic literature;
        2               MS. PARFITT: Objection. Form.                  2   correct?
        3    Misstates the evidence.                                   3              MS. PARFITT: Objection. Form.
        4               THE WITNESS: If you have the Taher             4              THE WITNESS: The -- some of the
        5    paper -- again, just recalling exactly what they          5   Bradford Hill aspects which I think I discussed in my
        6    stated, I -- too many papers to remember all the          6   report were the biological plausibility, and so I did
        7    detail.                                                   7   rely on literature other than the epidemiologic
        8    BY MR. JAMES:                                             8   literature.
        9        Q. When is the last time you reviewed the Taher       9   BY MR. JAMES:
       10    paper?                                                   10       Q. And those are necessary as part of your
       11        A. I would say probably a week or two ago.           11   methodology to reach a causal conclusion; correct?
       12               MR. JAMES: So if Michelle doesn't cut         12              MS. PARFITT: Objection. Form.
       13    me off, I will hand you a copy of it. I'm going to       13              THE WITNESS: They are a consideration.
       14    mark it as Exhibit 31.                                   14   When you do a Bradford Hill analysis, of course you
       15      (Exhibit No. 31 was marked for identification.)        15   take into account the biological plausibility and the
       16    BY MR. JAMES:                                            16   data that may come from cancer biology studies, animal
       17        Q. I'll hand you two copies.                         17   studies, and so on. So yes, it should be considered.
       18            Okay. And, Dr. Moorman, again, because I'm       18              MR. JAMES: Okay. Dr. Moorman, thank
       19    running out of time, I'll direct you to the precise      19   you for your time.
       20    portion of the article that founds my question. It's     20              THE WITNESS: Okay.
       21    on page 49, and it's in the conclusion section of the    21              MS. PARFITT: Can we go off the record,
       22    paper.                                                   22   please.
       23            And you see in the last sentence -- in the       23              THE VIDEOGRAPHER: Going off the record
       24    last sentence, they report that the data indicates       24   at 6:01 p.m.
       25    "possible cause of ovarian cancer"?                      25        (Recess taken from 6:01 p.m. to 6:14 p.m.)

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                                   Patricia G. Moorman, M.S.P.H., Ph.D.
                                                                    Page 310                                                 Page 312
         1            THE VIDEOGRAPHER: Back on record at                       1   of the opinion of Health Canada vis-à-vis exposure to
         2   6:15 p.m.                                                          2   talcum powder products and ovarian cancer?
         3     CROSS-EXAMINATION BY COUNSEL FOR THE PLAINTIFF                   3       A. My -- my understanding is that Health Canada
         4   BY MS. PARFITT:                                                    4   indicated that talcum powder products can cause
         5      Q. Dr. Moorman, good evening.                                   5   ovarian cancer.
         6      A. Good evening.                                                6       Q. Mr. James showed you a study, the Taher
         7      Q. I just have a few questions to follow up with                7   study.
         8   counsel for J&J and then for PCPC.                                 8       A. Yes.
         9         Dr. Moorman, you were asked not too long ago                 9       Q. And you had an opportunity to review the
        10   by Mr. James a question with regard to your general               10   Taher study as well; correct?
        11   causation opinions as they relate to does talc -- do              11       A. Yes.
        12   talcum powder products cause ovarian cancer.                      12       Q. Is the Taher study a -- one of the pieces of
        13         Do you remember that discussion?                            13   evidence that you looked at in your review of the
        14      A. Yes, I do.                                                  14   Health Canada assessment?
        15      Q. All right. And I believe the question dealt                 15       A. One of -- it's one of the pieces of evidence,
        16   with subtypes of epithelial ovarian cancer.                       16   but not the sole body of evidence that they
        17         Do you remember that?                                       17   considered.
        18      A. Yes.                                                        18       Q. Okay. And is the Taher study also considered
        19      Q. All right. And I believe your testimony was                 19   a meta-analysis?
        20   that there's really not adequate data to make a                   20       A. Yes.
        21   conclusion about the subtypes.                                    21       Q. Okay. For purposes of rendering your
        22         Did you mean, when you said that, that                      22   opinions in this case, that talcum powder products can
        23   there's not adequate data to make a conclusion about              23   cause ovarian cancer, you have shared with the ladies
        24   these other subtypes, that that was because the                   24   and gentlemen of the jury that you have reviewed
        25   non-serous subtypes were relatively rare?                         25   multiple meta-analyses; correct?
                                                                    Page 311                                                 Page 313
         1       A. Yes, but the bulk of the literature is                      1       A. That is correct.
         2   addressing epithelial ovarian cancer, which includes               2       Q. And I believe you spent time today talking
         3   all of the subtypes.                                               3   with us with regard to the various meta-analyses that
         4       Q. All right. So that the ladies and gentlemen                 4   you've looked at, examined, and assessed; correct?
         5   are clear as to what your opinion is, is it your                   5       A. That is correct.
         6   opinion that talcum powder products can cause -- or                6       Q. Okay. Based upon the totality of the
         7   exposure -- let me strike that.                                    7   meta-analyses that you have reviewed, what is your
         8           Is it your opinion that exposure to talcum                 8   opinion with regard to whether or not they demonstrate
         9   powder products can cause ovarian cancer? Is that                  9   that talcum powder products can cause ovarian cancer?
        10   your opinion?                                                     10       A. I think that the meta-analyses show
        11       A. That is my opinion.                                        11   consistent conclusions of a 25 to 30 percent increased
        12       Q. All right. And does that include all types                 12   risk for ovarian cancer; and that coupled with the
        13   of epithelial ovarian cancer?                                     13   other criteria that I considered -- the biological
        14       A. That -- yes. The data are based -- are                     14   plausibility and the various other Bradford Hill
        15   largely based on all types of epithelial ovarian                  15   criteria -- that I came to the conclusion that talc is
        16   cancer. Yes.                                                      16   a cause of ovarian cancer.
        17       Q. You were questioned a little earlier, and                  17       Q. Dr. Moorman, is it fair to say that the
        18   briefly, about the Health Canada assessment. Do you               18   method -- method of review and your methodology and
        19   recall those discussions?                                         19   the analysis that you performed, for purposes of the
        20       A. Yes.                                                       20   preparation of your report and the opinions that you
        21       Q. Okay. And have you had an opportunity to                   21   shared today, is the type of methodology and the type
        22   review the recommendations of Health Canada?                      22   of process that is generally accepted in your
        23       A. I have, yes.                                               23   scientific community of epidemiologists?
        24       Q. All right. Based upon your review of the                   24              MS. FOSTER: Objection to form.
        25   Health Canada assessment, what is your understanding              25              THE WITNESS: I think that the methods

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                                                     Page 314                                                       Page 316
         1   that I used are what I do routinely in my work as an      1      A. The most pronounced difference that we are
         2   epidemiologist and that is routinely done when we         2   aware of is that smoking seems to be more strongly
         3   conduct systematic reviews.                               3   associated with mucinous ovarian cancer than with
         4   BY MS. PARFITT:                                           4   other subtypes.
         5       Q. You were questioned numerous times today with      5          But in most -- for most other risk factors,
         6   regard to the IARC review of talcum powder products       6   there -- the risk factors seem to be pretty consistent
         7   and ovarian cancer. Do you recall those discussions?      7   across the subtypes.
         8       A. Yes, I do.                                         8      Q. Are you aware that many clinicians consider
         9       Q. The IARC committee put out a monograph in          9   the various subtypes of ovarian cancer to be different
        10   2010. Is that your understanding?                        10   diseases?
        11       A. That is my understanding, yes.                    11              MS. PARFITT: Objection. Form.
        12       Q. Do you have any knowledge as to when the IARC     12              THE WITNESS: I think that clinicians
        13   committee met to make their findings as it pertained     13   recognize that they -- there are differences. Again,
        14   to the role of talcum powder products in ovarian         14   going to pathologists, they can distinguish between
        15   cancer?                                                  15   them.
        16       A. I don't recall the exact date, but I believe      16          But in terms of how they treat them, it's
        17   that it was quite a bit earlier than that. I'm not       17   my -- I'm not aware of any real difference in how they
        18   sure of the exact date.                                  18   would treat the different subtypes of ovarian cancer.
        19       Q. Okay. But it preceded the monograph that          19   BY MR. JAMES:
        20   came out in 2010?                                        20      Q. And other than smoking, which is the factor
        21       A. Yes.                                              21   that you just mentioned, can you think of any other
        22             MS. PARFITT: Dr. Moorman, I have no            22   risk factors that have a different impact on a
        23   further questions. Thank you very much. I appreciate     23   specific subtype of ovarian cancer as opposed to
        24   it. A long day.                                          24   another subtype?
        25             MR. JAMES: Dr. Moorman, just a handful         25      A. That is the only one that comes to mind.
                                                     Page 315                                                       Page 317
         1   more questions. Okay?                                     1             MR. JAMES: That's all I have. Thank
         2             THE VIDEOGRAPHER: Mr. James.                    2   you again for your time.
         3             MR. JAMES: Oh, of course.                       3             THE WITNESS: Okay.
         4          Can we go off just for one second?                 4             MS. PARFITT: Thank you.
         5          How long did Ms. Parfitt go?                       5             THE VIDEOGRAPHER: This concludes the
         6             THE VIDEOGRAPHER: Going off record at           6   deposition of Dr. Patricia Moorman. The time going
         7   6:22 p.m.                                                 7   off record is 6:25 p.m.
         8            (Discussion off the record.)                     8    (Whereupon, at 6:25 p.m., the deposition ceased.
         9             THE VIDEOGRAPHER: Back on record at             9             Signature was reserved.)
        10   6:23 p.m.                                                10
        11        FURTHER EXAMINATION BY COUNSEL FOR THE              11
        12            JOHNSON & JOHNSON DEFENDANTS                    12
        13   BY MR. JAMES:                                            13
        14      Q. Dr. Moorman, since the IARC published its          14
        15   monograph in 2010, we have had the publication of        15
        16   additional cohort data on the talc ovarian cancer        16
        17   association; correct?                                    17
        18      A. Correct.                                           18
        19      Q. With regard to the subtypes issue, do you          19
        20   believe that different subtypes of ovarian cancer have   20
        21   different risk profiles?                                 21
        22             MS. PARFITT: Objection. Form.                  22
        23          You can answer.                                   23
        24   BY MR. JAMES:                                            24
        25      Q. And I'm talking about in general.                  25

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                               Patricia G. Moorman, M.S.P.H., Ph.D.
                                                          Page 318                                                     Page 320
         1            ACKNOWLEDGMENT OF DEPONENT                         1   STATE OF NORTH CAROLINA )
         2         I, PATRICIA G. MOORMAN, M.S.P.H., PH.D., do                                 ) CERTIFICATE
         3   hereby acknowledge that I have read and examined the        2   COUNTY OF ORANGE                   )
         4   foregoing testimony, and the same is a true, correct,       3       I, Sophie Brock, Court Reporter and Notary Public,
                                                                         4   the officer before whom the foregoing proceeding was
         5   and complete transcription of the testimony given by me,
                                                                         5   conducted, do hereby certify that the witness(es) whose
         6   and any corrections appear on the attached errata sheet
                                                                         6   testimony appears in the foregoing proceeding were duly
         7   signed by me.                                               7   sworn by me; that the testimony of said witness(es) were
         8                                                               8   taken by me to the best of my ability and thereafter
         9   _____________________ ____________________________          9   transcribed under my supervision; and that the foregoing
        10      (DATE)           (SIGNATURE)                            10   pages, inclusive, constitute a true and accurate
        11                                                              11   transcription of the testimony of the witness(es).
        12                                                              12       I do further certify that I am neither counsel for,
        13
                                                                        13   related to, nor employed by any of the parties to this
                                                                        14   action, and further, that I am not a relative or
        14
                                                                        15   employee of any attorney or counsel employed by the
        15                                                              16   parties thereof, nor financially or otherwise interested
        16                                                              17   in the outcome of said action.
        17                                                              18       This, the 26th day of January, 2019.
        18                                                              19
        19                                                              20
        20                                                              21
        21
                                                                                         ___________________________
                                                                        22
        22
                                                                                         Sophie Brock, RDR, CRR
        23                                                              23               Notary Number: 200834000001
        24                                                              24
        25                                                              25

                                                          Page 319
         1              ERRATA
         2   CASE NAME: TALCUM POWDER LITIGATION MDL NO. 2738
         3   WITNESS NAME: PATRICIA G. MOORMAN, M.S.P.H., PH.D.
         4   CASE NUMBER: 16-2738 (FLW)(LHG)
         5   PAGE LINE       READS         SHOULD READ
         6   ____ ____ ___________________ ____________________
         7   ____ ____ ___________________ ____________________
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